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                 ATTACHMENT 1
ICE ERO TMO               Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 20 of 1402
Contractor G‐391 Upload Template | Version 6

The purpose of this tool is to automate the upload of G‐391 data templates from contractors.

Automation Tool Instructions:
1. Click "Enable Content.", if prompted by the Excel security warning shown to the right.
2. Fill in all required information on the "Input" Tab.
3. Populate User Defined columns and change User Defined column headers, if desired. User Defined columns 1 through 10 (columns ED
through EM) are available to store additional information for the consolidated data and User Defined PII columns 1 through 10 (columns ES
through FB) will be removed before being uploaded to the TMO SharePoint site. PII information can be included in the User Defined PII
columns provided that users securely transfer the file.
4. Click on "Vendors: Click Here to Validate G‐391 Workbook" to run validation procedures through the Contractor G‐391 Upload Template.      Vendors: Click Here to Validate
This step does not remove User Defined PII columns and does not upload the template to the TMO SharePoint site.                                    G‐391 Workbook

5. Click on "Vendors: Click Here to Delete Extra Columns" to delete content from the User Defined PII columns 1 through 10 (columns ES      Vendors: Click Here to Delete Extra
through FB). This step is optional as the Upload G‐391 Workbook also will remove User Defined Columns                                                    Columns


6. Verify that there is no Sensitive PII in the spreadsheet other than in the User Defined PII columns 1 through 10.

7. Press the blue "Upload G‐391 Workbook" within the "Input" tab. This button deletes content from the User Defined PII columns 1
                                                                                                                                            CORs: Click Here to Validate and
through 10 (columns ES through FB) and uploads the G‐391 templete to the TMO SharePoint site. Please note users must have access to           Upload G‐391 Workbook
the TMO SharePoint site and have access to the ICE intranet (e.g., VPN, LAN) to successfully upload.
          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 21 of 1402

AOR:                                                                      Time Period:
Prime Contractor:                                                         Invoice #
Contract Number:                                                          Sub‐Office
COR:                                                                      AOR‐Sub‐Office
Upload Template Version 6 * If copying and pasting from a different workbook, it is highly recommended to use
General                              Vehicle                                                    Movement
Mission #         Mission Date       Vehicle Owner      Vehicle Type      Vehicle Number        Provider
           Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 22 of 1402


                             Vendors: Click Here to Validate             Vendors: Click Here to Delete Extra
                                   G‐391Validation
                                           WorkbookAttempts:                        0 Columns

e "Paste Values" (ctrl + alt + v, then V alues). Add rows only to the bo om of the table below. Add columns only t
                                                                                                        Total Alien
Movement Type           Overtime       Total Overtime Hours         Contract Officers    ICE Officers   Male
           Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 23 of 1402


      CORs: Click Here to Validate and
         Upload G‐391 Workbook

to the right of EC.
ns Moved                                               Start
 Female       Transgender   Juvenile     Family Unit   Start Location   Start Odometer
          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 24 of 1402




                                       Use start and end fields for starting and end location information. Stop
                                       Stop 1
Start Departure Time   Start Pick Up   Stop 1 Location       Stop 1 Odometer         Stop 1 Arrival Time
           Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 25 of 1402




ps should only be used for stops made between the starting and end location.
                                                Stop 1                Stop 2
Stop 1 Departure Time         Stop 1 Pick Up    Stop 1 Drop Off       Stop 2 Location   Stop 2 Odometer
           Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 26 of 1402




                                                               Stop 2            Stop 3
Stop 2 Arrival Time   Stop 2 Departure Time   Stop 2 Pick Up   Stop 2 Drop Off   Stop 3 Location
         Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 27 of 1402




                                                                                 Stop 3
Stop 3 Odometer   Stop 3 Arrival Time   Stop 3 Departure Time   Stop 3 Pick Up   Stop 3 Drop Off
          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 28 of 1402




Stop 4
Stop 4 Location   Stop 4 Odometer   Stop 4 Arrival Time   Stop 4 Departure Time   Stop 4 Pick Up
          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 29 of 1402




Stop 4            Stop 5
Stop 4 Drop Off   Stop 5 Location   Stop 5 Odometer   Stop 5 Arrival Time   Stop 5 Departure Time
          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 30 of 1402




                 Stop 5            Stop 6
Stop 5 Pick Up   Stop 5 Drop Off   Stop 6 Location   Stop 6 Odometer   Stop 6 Arrival Time
          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 31 of 1402


                                                                   (‐‐) Hide all stops         (+ +) Unh

                                                                (‐) Hide additional stop    (+) Unhide
                                         Stop 6            End
Stop 6 Departure Time   Stop 6 Pick Up   Stop 6 Drop Off   End Location     End Odometer   End Time
           Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 32 of 1402


hide all stops

additional stop
                  General
End Drop Off      Comments                                      User Defined 1
          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 33 of 1402




                                       User Defined (Remains in Template and Included in Upload)
User Defined 2   User Defined 3   User Defined 4 User Defined 5 User Defined 6 User Defined 7
          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 34 of 1402




User Defined 8   User Defined 9   User Defined 10 User Defined PII 1User Defined PII 2User Defined PII 3
           Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 35 of 1402




          User Defined PII (Removed from Template Prior to Upload)
User Defined PII 4User Defined PII 5User Defined PII 6User Defined PII 7User Defined PII 8User Defined PII 9
           Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 36 of 1402




User Defined PII 10
          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 37 of 1402

AOR:                ATL                                                    Time Period:
Prime Contractor:   Transport Company A                                    Invoice #
Contract Number:    ABCDE‐XX‐XXXXX
COR:                John Smith

General                             Vehicle
Mission #      Mission Date         Vehicle Owner       Vehicle Type       Vehicle Number
 AOR‐MMYY‐XXXX  MM/DD/YYYY          Contractor or ICE   Select from list   XX0001
          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 38 of 1402

                     Jan 17 ‐ Feb 17
                     XXXXXXXX
                                                      Submission Attempts:                      0


Movement
Provider               Movement Type   Overtime   Total Overtime Hours      Contract Officers
Prime / Subcontractor NTransfer        Yes / No                       10.00                     2
           Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 39 of 1402




                 Total Aliens Moved                                                Start
ICE Officers     Male       Female    Transgender       Juvenile     Family Unit   Start Location
               0          5         5               0              0 Yes / No      Stewart Detention C
          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 40 of 1402




                                                               Stop 1
Start Odometer     Start Departure Time      Start Pick Up     Stop 1 Location       Stop 1 Odometer
          50000.00                     10:00                 5 Atlanta City Detentio            50250.00
           Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 41 of 1402




                                                                                                Stop 2
Stop 1 Arrival Time      Stop 1 Departure Time       Stop 1 Pick Up       Stop 1 Drop Off       Stop 2 Location
                   13:30                       14:00                  2                     2
         Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 42 of 1402




Stop 2 Odometer   Stop 2 Arrival Time   Stop 2 Departure Time   Stop 2 Pick Up   Stop 2 Drop Off
          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 43 of 1402




Stop 3
Stop 3 Location   Stop 3 Odometer   Stop 3 Arrival Time   Stop 3 Departure Time   Stop 3 Pick Up
          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 44 of 1402




                  Stop 4
Stop 3 Drop Off   Stop 4 Location   Stop 4 Odometer   Stop 4 Arrival Time   Stop 4 Departure Time
          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 45 of 1402




                                   Stop 5
Stop 4 Pick Up   Stop 4 Drop Off   Stop 5 Location   Stop 5 Odometer   Stop 5 Arrival Time
          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 46 of 1402




                                                           Stop 6
Stop 5 Departure Time   Stop 5 Pick Up   Stop 5 Drop Off   Stop 6 Location   Stop 6 Odometer
           Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 47 of 1402




                                                                                 Stop 7
Stop 6 Arrival Time   Stop 6 Departure Time   Stop 6 Pick Up   Stop 6 Drop Off   Stop 7 Location
         Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 48 of 1402




Stop 7 Odometer   Stop 7 Arrival Time   Stop 7 Departure Time   Stop 7 Pick Up   Stop 7 Drop Off
          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 49 of 1402




Stop 8
Stop 8 Location   Stop 8 Odometer   Stop 8 Arrival Time   Stop 8 Departure Time   Stop 8 Pick Up
          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 50 of 1402




                  Stop 9
Stop 8 Drop Off   Stop 9 Location   Stop 9 Odometer   Stop 9 Arrival Time   Stop 9 Departure Time
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                                   Stop 10
Stop 9 Pick Up   Stop 9 Drop Off   Stop 10 Location   Stop 10 Odometer   Stop 10 Arrival Time
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                                                              End
Stop 10 Departure Time   Stop 10 Pick Up   Stop 10 Drop Off   End Location      End Odometer
                                                              Stewart Detention         50500.00
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                              General
End Time     End Drop Off     Comments                             AOR   Prime
       16:30                5 Daily Trip from Stewart to Atlanta   ATL   Transport Compan
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Contract Number     COR           Time Period       Invoice Amount
ABCDE‐XX‐XXXXX      John Smith    Jan 17 ‐ Feb 17   XXXXXXXX
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           Grand Total                  Grand Total            Grand Total            Grand Total
               7                            10                      25                     8
Critical Incomplete count   Count of incomplete warning   Total incomplete   Count of inaccurate rows
               7                           17                      17
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                                  Definitions ‐ ICE Electronic G‐391 Database
This tab defines acronyms and commonly used terms associated with transportation of aliens by ERO officers and
 contractor staff for the purpose of completing the monthly G‐391 contractor report. Please note that Sensitive
   1.   Contract Details – This section is filled out by the prime contractor.

        ∙      AOR: Three letter abbreviation for the Area of Responsibility (e.g., SNA, MIA).
        ∙      Prime Contractor: Company or Government Agency who was awarded the transportation contract.
        ∙      Contract Number: The number associated with the awarded contract for transportation services.
        ∙      COR: The Contracting Officer Representative who is responsible for managing the contract.
        ∙      Time Period: The beginning and end dates for the time period when trips were collected for this repo
        ∙      Total Monthly Invoice Amount: The total invoice amount associated with the contract and time peri
   2.   Transportation Activities – This section is filled out by the prime contractor for each movement during the
   General
       ∙       Mission Number: A uniquely identifiable number associated with each transportation movement.
       ∙       Mission Date: The date that the trip began (MM/DD/YYYY).
   Vehicle
       ∙       Vehicle Owner: Owner of the vehicle used for the mission (e.g. Contractor or the Government).
       ∙       Vehicle Type: Type of vehicle used to perform the mission (e.g., Sedan, Van, Bus).
             ∙   Bus ‐ Any vehicle with a passenger seat capacity greater of 25 or greater.
             ∙   Van ‐ Any vehicle with a passenger seat capacity between 6 and 24.
             ∙   SUV / Mini‐Van ‐ Any vehicle with a passenger seat capacity between 3 and 5.
             ∙   Sedan ‐ Any vehicle with a passenger seat capacity of 2 or less.
        ∙      Vehicle Number: Vehicle identification number for the ICE or contractor vehicle used to complete th
   Movement
      ∙   Provider: The name of the company that provided the movement (subcontractor, prime contractor,
      ∙   Movement Type: See descriptions below:
        ∙     Air Removal ‐ Ground transportation of aliens to an airport for final removal via air.
        ∙     Air Transfer ‐ Transporting aliens in custody to or from an airport for domestic transfers.
        ∙     Land Removal ‐ Ground transportation of aliens to their country of origin for final removal. (e.g., b
        ∙     Legal ‐ Transporting of aliens for legal appointments (i.e. court, lawyer or consulate visits).
        ∙     Medical ‐ Transporting detainees to a hospital or clinic for medical reasons.
        ∙     Ambulatory ‐ Chasing an ambulance.
        ∙     Pick Up ‐ Apprehension of an alien from a non‐ICE location. (e.g., pick up from jail / prison).
        ∙     Release ‐ Transporting aliens that have been released from custody to a U.S. domestic location (i.
        ∙     Transfer ‐ Transporting detainees in ICE custody from one facility to another.
        ∙     Stationary Duty ‐ Time spent performing detention related guard duties (e.g. front gate guard
        duty, facility patrols, interview escorts, detainee in/out processing, and other guard duties including
        ∙     Other ‐ Transportation for a reason other than moving aliens (e.g. vehicle maintenance, file transf
      ∙   Overtime: Yes/No if overtime was needed for this trip.
      ∙   Total Overtime Hours: The number of overtime hours for the trip.
      ∙   Contract Officers: Number of contract staff participating in the mission’s transportation team.
      ∙   ICE Officers: Number of ICE employees participating in the mission’s transportation team.
   Total Aliens Moved
        ∙     Males: Number of adult males transported.
        ∙     Females: Number of adult females transported.
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      ∙       Transgender: Number of transgender aliens transported.
      ∙       Juvenile: Number of juvenile aliens transported.
      ∙       Family Unit: Yes/No if a family unit was transported.
3.      Trip Details – This section is filled out by the prime contractor for each movement during the time period.
Start
      ∙       Start Location: Location where the trip began
      ∙       Start Odometer: The odometer reading of the vehicle before the vehicle leaves the start location
      ∙       Start Departure Time: The time (HH:MM) when the vehicle left the start location.
      ∙       Start Pick Up: The number of aliens in the vehicle at the time of departure.
Stop 1 ‐ 10
     ∙     Stop 1‐10 Location: Location where the stop occurred.
     ∙     Stop 1‐10 Odometer: Odometer reading from the vehicle after arriving at the stop location.
     ∙     Stop 1‐10 Arrival Time: The time (HH:MM) when the vehicle arrived at the stop location.
     ∙     Stop 1‐10 Departure Time: The time (HH:MM) when the vehicle left the stop location.
     ∙     Stop 1‐10 Pick Up: The number of aliens that were picked up at the stop location.
     ∙     Stop 1‐10 Drop Off: The number of aliens that were dropped off at the stop location.
End
      ∙       End Location: Location where the trip ended.
      ∙       End Odometer: The odometer reading of the vehicle when the vehicle arrives at the end location.
      ∙       End Arrival Time: The time (HH:MM) when the vehicle arrived at the end location.
      ∙       End Drop Off: The number of aliens dropped off at the time of arrival at the end location.
        ∙     Comments: Any comments regarding the trip that are relevant to the invoice or trip details.
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ort.
od reported.
e time period.




e mission.

or ICE if applicable).




busing or walking aliens into Mexico).




e. bus terminal).




fers).
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This G‐391 templat
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                                   Validation Explanations
te includes validation mechanism that highlights missing or invalid data inputs. Please refer to the table below for

  Cells with red dotted borders Indicate critical key fields that are missing. These fields must be populated in order
         ‐ Critical Key Fields: AOR, Prime Contractor, Contract Number, COR, Time Period, Mission #, Mission Date,
  Rows with yellow highlighted Mission # indicate that one or more trip fields are incomplete or have invalid
  input. Look for cells highlighted in orange or with red borders to identify missing or invalid input. If Mission # is
  Cells that are highlighted in orange indicate missing or invalid data input.
         ‐ Examples of Invalid Input: input does not match drop‐down choices and/or incorrect data format such
         as number, date, etc.; Total trip miles equal 0 or exceed 2000 miles; last stop and end location are
  Mission # and Mission Dates cells highlighted in blue indicate duplicate trips. There should not be duplicate trips
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 for the upload to be successfully completed.
, Vehicle Owner, Vehicle Type, Provider, Movement Type




included in the G‐391 upload.
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                 ATTACHMENT 2
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Attachment 2[Document title]


QUALITY ASSURANCE SURVEILLANCE PLAN


1. INTRODUCTION

ICE’s Quality Assurance Surveillance Plan (QASP) is based on the premise that the Service
Provider, and not the Government, is responsible for the day-to-day operation of the Facility and
all the management and quality control actions required to meet the terms of the Agreement. The
role of the Government in quality assurance is to ensure performance standards are achieved and
maintained. The Service Provider shall develop a comprehensive program of inspections and
monitoring actions and document its approach in a Quality Control Plan (QCP). The Service
Provider’s QCP, upon approval by the Government, will be made a part of the resultant
Agreement.

This QASP is designed to provide an effective surveillance method to monitor the Service
Provider’s performance relative to the requirements listed in the Agreement. The QASP
illustrates the systematic method the Government (or its designated representative) will use to
evaluate the services the Service Provider is required to furnish.

This QASP is based on the premise the Government will validate that the Service Provider is
complying with ERO-mandated quality standards in operating and maintaining detention
facilities. Performance standards address all facets of detainee handling, including safety, health,
legal rights, facility and records management, etc. Good management by the Service Provider
and use of an approved QCP will ensure that the Facility is operating within acceptable quality
levels.

2. DEFINITIONS

Performance Requirements Summary (Attachment A): The Performance Requirements
Summary (PRS) communicates what the Government intends to qualitatively inspect. The PRS
is based on the American Correctional Association (ACA) Standards for Adult Local Detention
Facilities (ALDF) and ICE 2011 Performance Based National Detention Standards (PBNDS).
The PRS identifies performance standards grouped into nine functional areas, and quality levels
essential for successful performance of each requirement. The PRS is used by ICE when
conducting quality assurance surveillance to guide them through the inspection and review
processes.

Functional Area: A logical grouping of performance standards.

Contracting Officer Representative (COR): The COR interacts with the Service Provider to
inspect and accept services/work performed in accordance with the technical standards
prescribed in the Agreement. The Contracting Officer issues a written memorandum that
appoints the COR. Other individuals may be designated to assist in the inspection and quality
assurance surveillance activities.


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Performance Standards: The performance standards are established in the ERO ICE 2011
PBNDS at http://www.ice.gov/detention-standards/2011 as well as the ACA standards for
ALDF. Other standards may also be defined in the Agreement.

Measures: The method for evaluating compliance with the standards.
Acceptable Quality Level: The minimum level of quality that will be accepted by ICE to meet
the performance standard.

Withholding: Amount of monthly invoice payment withheld pending correction of a deficiency.
See Attachment A for information on the percentages of an invoice amount that may be withheld
for each functional area. Funds withheld from payment are recoverable (See Sections 7 and 8) if
the COTR and Contracting Officer confirm resolution or correction and should be included in the
next month’s invoice.

Deduction: Funds may be deducted from a monthly invoice for an egregious act or event, or if
the same deficiency continues to occur. The Service Provider will be notified immediately if
such a situation arises. The Contracting Officer in consultation with the ERO will determine the
amount of the deduction. Amounts deducted are not recoverable.

4. QUALITY CONTROL PLAN
The Service Provider shall develop, implement, and maintain a Quality Control Plan (QCP) that
illustrates the methods it will use to review its performance to ensure it conforms to the
performance requirements. (See Attachment A for a summary list of performance requirements.)
Such reviews shall be performed by the Service Provider to validate its operations, and assure
ICE that the services meet the performance standards.

The Service Provider’s QCP shall include monitoring methods that ensure and demonstrate its
compliance with the performance standards. This includes inspection methods and schedules that
are consistent with the regular reviews conducted by ERO. The reports and other results
generated by the Service Provider’s QCP activities should be provided to the COR as requested.

The frequency and type of the Service Provider’s reviews should be consistent with what is
necessary in order to ensure compliance with the performance standards.

The Service Provider is encouraged not to limit its inspection to only the processes outlined in
the 2011 PBNDS; however, certain key documents shall be produced by the Service Provider to
ensure that the services meet the performance standards. Some of the documentation that shall be
generated and made available to the COR for inspection is listed below. The list is intended as
illustrative and is not all-inclusive. The Service Provider shall develop and implement a program
that addresses the specific requirement of each standard and the means it will use to document
compliance.

•Written policies and procedures to implement and assess operational requirements of the
standard


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•Documentation and record keeping ensuring ongoing operational compliance with the standards
(e.g.; inventories, logbooks, register of receipts, reports, etc.)

•Staff training records

•Contract discrepancy reports (CDRs)

•Investigative reports
•Medical records
•Records of investigative actions taken

•Equipment inspections

•System tests and evaluation


5. METHODS OF SURVEILLANCE

ICE will monitor the Service Provider’s compliance with the Performance Standards using a
variety of methods. All facilities will be subject to a full annual inspection, which will include a
review of the Service Provider’s QCP activities. In addition, ICE may conduct additional routine,
follow-up, or unscheduled ad hoc inspections as necessary (for instance, as a result of unusual
incidents or data reflected in routine monitoring). ICE may also maintain an on-site presence in
some facilities in order to conduct more regular or frequent monitoring. Inspections and
monitoring may involve direct observation of facility conditions and operations, review of
documentation (including QCP reports), and/or interviews of facility personnel and detainees.

5.1 Documentation Requirements: The Service Provider shall develop and maintain all
    documentation as prescribed in the PBNDS (e.g., post logs, policies, and records of
    corrective actions). In addition to the documentation prescribed by the standards, the Service
    Provider shall also develop and maintain documentation that demonstrates the results of its
    own inspections as prescribed in its QCP. The Government may review 100% of the
    documents, or a representative sample, at any point during the period of performance.

6. FUNCTIONAL PERFORMANCE AREAS AND STANDARDS

To facilitate the performance review process, the required performance standards are organized
into nine functional areas. Each functional area represents a proportionate share (i.e., weight) of
the monthly invoice amount payable to the Service Provider based on meeting the performance
standards. Payment withholdings and deductions will be based on these percentages and weights
applied to the overall monthly invoice.

ICE may, consistent with the scope the Agreement, unilaterally change the functional areas and
associated standards affiliated with a specific functional area. The Contracting Officer will notify

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the Service Provider at least 30 calendar days in advance of implementation of the new
standard(s). If the Service Provider is not provided with the notification, adjustment to the new
standard shall be made within 30 calendar days after notification. If any change affects pricing,
the Service Provider may submit a request for equitable price adjustment in accordance with the
“Changes” clause. ICE reserves the right to develop and implement new inspection techniques
and instructions at any time during performance without notice to the Service Provider, so long
as the standards are not more stringent than those being replaced.

     7. FAILURE TO MEET PERFORMANCE STANDARDS
Performance of services in conformance with the PRS standards is essential for the Service
Provider to receive full payment as identified in the Agreement. The Contracting Officer may
take withholdings or deductions against the monthly invoices for unsatisfactory performance
documented through surveillance of the Service Provider’s activities gained through site
inspections, reviews of documentation (including monthly QCP reports), interviews and other
feedback. As a result of its surveillance, the Service Provider will be assigned the following
rating relative to each performance standard:


      Rating        Description
      Acceptable Based on the measures, the performance standard is
                    demonstrated.
      Deficient     Based on the measures, compliance with most of the attributes
                    of the performance standard is demonstrated or observed with
                    some area(s) needing improvement. There are
                    no critical areas of unacceptable performance
      At-Risk       Based on the performance measures, the majority of a
                    performance standard’s attributes are not met.




Using the above standards as a guide, the Contracting Officer will implement adjustments to the
Service Provider’s monthly invoice as prescribed in Attachment A.
Rather than withholding funds until a deficiency is corrected, there may be times when an event
or a deficiency is so egregious that the Government deducts (vs. “withholds”) amounts from the
Service Provider’s monthly invoice. This may happen when a significant event occurs, when a
particular deficiency is noted multiple times without correction, or when the Service Provider has
failed to take timely action on a deficiency about which he was properly and timely notified. The
amount deducted will be consistent with the relative weight of the functional performance area
where the deficiency was noted. The deduction may be a one-time event, or may continue until

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the Service Provider has either corrected the deficiency, or made substantial progress in the
correction.
Further, a deficiency found in one functional area may tie into another. If a detainee escaped, for
example, a deficiency would be noted in “Security,” but may also relate to a deficiency in the
area of “Administration and Management.” In no event will the withhold or deduction exceed
100% of the invoice amount.
8.     NOTIFICATIONS
(a)     Based on the inspection of the Service Provider’s performance, the COR will document
instances of deficient or at-risk performance (e.g., noncompliance with the standard) using the
CDR located at Attachment B. To the extent practicable, issues should be resolved informally,
with the COR and Service Provider working together. When documentation of an issue or
deficiency is required, the procedures set forth in this section will be followed.
(b)     When a CDR is required to document performance issues, it will be submitted to the
Service Provider with a date when a response is due. Upon receipt of a CDR, the Service
Provider shall immediately assess the situation and either correct the deficiency as quickly as
possible or prepare a corrective action plan. In either event, the Service Provider shall return the
CDR with the action planned or taken noted. After the COR reviews the Service Provider’s
response to the CDR including its planned remedy or corrective action taken, the COR will either
accept the plan or correction or reject the correction or plan for revision and provide an
explanation. This process should take no more than one week. The CDR shall not be used as a
substitute for quality control by the Service Provider.


(c)     The COR, in addition to any other designated ICE official, shall be notified immediately
in the event of all emergencies. Emergencies include, but are not limited to the following:
activation of disturbance control team(s); disturbances (including gang activities, group
demonstrations, food boycotts, work strikes, work-place violence, civil disturbances, or protests);
staff use of force including use of lethal and less-lethal force (includes detainees in restraints
more than eight hours); assaults on staff or detainees resulting in injuries requiring medical
attention (does not include routine medical evaluation after the incident); fights resulting in
injuries requiring medical attention; fires; full or partial lock down of the Facility; escape;
weapons discharge; suicide attempts; deaths; declared or non-declared hunger strikes; adverse
incidents that attract unusual interest or significant publicity; adverse weather (e.g., hurricanes,
floods, ice or snow storms, heat waves, tornadoes); fence damage; power outages; bomb threats;
significant environmental problems that impact the Facility operations; transportation accidents
resulting in injuries, death or property damage; and sexual assaults. Note that in an emergency
situation, a CDR may not be issued until an investigation has been completed.




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(d)    If the COR concludes that the deficient or at-risk performance warrants a withholding or
deduction, the COR will include the CDR in its monthly report, with a copy to the Contracting
Officer. The CDR will be accompanied by the COR’s investigation report and written
recommendation for any withholding. The Contracting Officer will consider the COTR’s
recommendation and forward the CDR along with any relevant supporting information to the
Service Provider in order to confirm or further discuss the prospective cure, including the
Government’s proposed course of action. As described in section 7 above, portions of the
monthly invoice amount may be withheld until such time as the corrective action is completed,
or a deduction may be taken.


(e)    Following receipt of the Service Provider’s notification that the correction has been
made, the COR may re-inspect the Facility. Based upon the COR’s findings, he or she will
recommend that the Contracting Officer continue to withhold a proportionate share of the
payment until the correction is made, or accept the correction as final and release the full amount
withheld for that issue.


(f)     If funds have been withheld and either the Government or the Service Provider
terminates the Agreement, those funds will not be released. The Service Provider may only
receive withheld payments upon successful correction of an instance of non-compliance. Further,
the Service Provider is not relieved of full performance of the required services hereunder; the
Agreement may be terminated upon adequate notice from the Government based upon any one
instance, or failure to remedy deficient performance, even if a deduction was previously taken
for any inadequate performance.
(g)    The COR will maintain a record of all open and resolved CDRs.


9.      DETAINEE OR MEMBER OF THE PUBLIC COMPLAINTS
The detainee and the public are the ultimate recipients of the services identified in this
Agreement. Any complaints made known to the COTR will be logged and forwarded to the
Service Provider for remedy. Upon notification, the Service Provider shall be given a pre-
specified number of hours after verbal notification from the COTR to address the issue. The
Service Provider shall submit documentation to the COTR regarding the actions taken to remedy
the situation. If the complaint is found to be invalid, the Service Provider shall document its
findings and notify the COTR.


10.   ATTACHMENTS
A. Performance Requirements Summary
B. Contract Discrepancy Report



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              ATTACHMENTS 2A
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            Attachment 2A – Performance Requirements



FUNCTIONAL AREA/               ACCEPTABLE QUALITY LEVEL                     WITHHOLDING/DEDUCTION
    WEIGHT                              and/or PERFORMANCE                        CRITERIA
                                       STANDARD (PBNDS 2011)
     Safety (20%)            PBNDS References: Part 1 - SAFETY          A Contract Discrepancy Report that cites
 Addresses a safe work       1.1 Emergency Plans;                       violations of cited PBNDS or PWS
 environment for staff,      1.2 Environmental Health and Safety;       (contract) sections that provide a safe work
 volunteers, contractors     1.3 Transportation (by Land).              environment for staff, volunteers,
     and detainees                                                      contractors and detainees, permits the
                                                                        Contract Officer to withhold or deduct up
                                                                        to 20% of a month invoice until the
                                                                        Contract Officer determines there is full
                                                                        compliance with the standard or section.
     Security (20%)          PBNDS References: Part 2 -                 A Contract Discrepancy Report that cites
Addresses protection of      SECURITY                                   violations of PBNDS or PWS (contract)
  the community, staff,      2.1 Admission and Release;                 sections that protect the community, staff,
 contractors, volunteers     2.2 Classification System;                 contractors, volunteers, and detainees from
and detainees from harm      2.3 Contraband;                            harm, permits the Contract Officer to
                             2.4 Facility Security and Control;         withhold or deduct up to 20% of a monthly
                             2.5 Funds and Personal Property;           invoice until the Contract Officer
                             2.6 Hold Rooms in Detention Facilities;    determines there is full compliance with the
                             2.7 Key and Lock Control;                  standard or section.
                             2.8 Population Counts;
                             2.9 Post Orders;
                             2.10 Searches of Detainees;
                             2.11 Sexual Abuse and Assault
                             Prevention and Intervention;
                             2.12 Special Management Units;
                             2.13 Staff-Detainee Communication;
                             2.14 Tool Control;
                             2.15 Use of Force and Restraints.
     Order (10%)             PBNDS Reference: Part 3 - ORDER            A Contract Discrepancy Report that cites
  Addresses contractor       3.1 Disciplinary System.                   violations of PBNDS or PWS (contract)
    responsibility to                                                   sections that maintain an orderly
   maintain an orderly                                                  environment with clear expectations of
 environment with clear                                                 behavior and systems of accountability
expectations of behavior                                                permits the Contract Officer to withhold or
     and systems of                                                     deduct up to 10% of a monthly invoice
     accountability                                                     until the Contract Officer determines there
                                                                        is full compliance with the standard of
                                                                        section.
       Care (20%)            PBNDS References: Part 4 - CARE            A Contract Discrepancy Report that cites
  Addresses contractor       4.1 Food Service;                          violations of PBNDS or PWS (contract)
responsibility to provide    4.2 Hunger Strikes;                        sections that provide for the basic needs
 for the basic needs and     4.3 Medical Care;                          and personal care of detainees, permits the
     personal care of        4.4 Personal Hygiene;                      Contract Officer to withhold or deduct up
        detainees            4.5 Suicide Prevention and Intervention;   to 20% of a monthly invoice until the
                             4.6 Terminal Illness, Advanced             Contract Officer determines there is full
                             Directives, and Death.                     compliance with the standard or section.
                             4.7 Electronic Quality Medical Care
                             (QMC) reporting, and;
                             PWS Section V.(D.) (Medical) and
                             related Attachments

    Activities (10%)         PBNDS References: Part 5 -                 A Contract Discrepancy Report that cites
   Addresses contractor      ACTIVITIES                                 violations of PBNDS or PWS (contract)
responsibilities to reduce   5.1 Correspondence and Other Mail;         sections that reduce the negative effects of
  the negative effects of    5.2 Escorted Trips for Non-Medical         confinement permits the Contract Officer
       confinement           Emergencies;                               to withhold or deduct up to 10% of a
                             5.3 Marriage Requests;                     monthly invoice until the Contract Officer
                             5.4 Recreation;                            determines there is full compliance with the
                             5.5 Religious Practices;                   standard or section.
                             5.6 Telephone Access;
                             5.7 Visitation;

                                                        A-1
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            Attachment 2A – Performance Requirements
FUNCTIONAL AREA/               ACCEPTABLE QUALITY LEVEL                   WITHHOLDING/DEDUCTION
    WEIGHT                               and/or PERFORMANCE                     CRITERIA
                                        STANDARD (PBNDS 2011)
                             5.8 Voluntary Work Program.
     Justice (10%)           PBNDS References: Part 6 - JUSTICE       A Contract Discrepancy Report that cites
  Addresses contractor       6.1 Detainee Handbook;                   violations of PBNDS or PWS (contract)
 responsibilities to treat   6.2 Grievance System;                    sections that treat detainees fairly and
   detainees fairly and      6.3 Law Libraries and Legal Materials;   respect their legal rights, permits the
respect their legal rights   6.4 Legal Rights Group Presentations.    Contract Officer to withhold or deduct up
                                                                      to 10% of a monthly invoice until the
                                                                      Contract Officer determines there is full
                                                                      compliance with the standard or section.
 Administration and          PBNDS References: Part 7 - -ADMIN        A Contract Discrepancy Report that cites
 Management (10%)            &                                        violations of PBNDS or PWS (contract)
 Addresses contractor        MANAGEMENT                               sections that require the Contractor’s
   responsibilities to       7.1 Detention Files;                     administration and management of the
administer and manage        7.2 News Media Interviews and Tours;     facility in a professional and responsible
     the facility in a       7.3 Staff Training;                      manner consistent with legal requirements,
    professional and         7.4 Transfer of Detainees;               permits the Contract Officer to withhold or
  responsible manner         7.5 Transportation Reporting             deduct up to 10% of a monthly invoice
 consistent with legal           requirements (G-391 Upload           until the Contract Officer determines there
      requirements               Template)                            is full compliance with the standard or
                             7.6 Pre-Transition and Transition        section.

                             Accommodations for the Disabled, 4-
                             ALDF-6B-04, 4-ALDF-6B-07
 Workforce Integrity         Staff Background and Reference           A Contract Discrepancy Report that cites
          (10%)              Checks (Contract) 4-ALDF-7B-03           violations of the ALDF Standards
Addresses the adequacy                                                associated with Workforce Integrity or
           of the            Staff Misconduct 4-ALDF-7B-01            PWS (contract) sections permits the
 detention/correctional                                               Contract Officer to withhold or deduct up
 officer hiring process,     Staffing Pattern Compliance within       to 10% of a monthly invoice until the
    staff training and       10% of required (Contract) 4-ALDF-       Contract Officer determines there is full
 licensing/certification     2A-14                                    compliance with the standard or section.
and adequacy of systems
                             Staff Training, Licensing, and
                             Credentialing (Contract) 4-ALDF-4D-
                             05, 4-ALDF-7B-05, 4-ALDF-7B-08
        Detainee             Discrimination Prevention 4-ALDF-6B-     A Contract Discrepancy Report that cites
Discrimination (10%)         02-03                                    violations of the ALDF Standards
Addresses the adequacy                                                associated with Detainee Discrimination
     of policies and                                                  or PWS (contract) sections permits the
 procedures to prevent                                                Contract Officer to withhold or deduct up
 discrimination against                                               to 10% of a monthly invoice until the
detainees based on their                                              Contract Officer determines there is full
 gender, race, religion,                                              compliance with the standard or section.
   national origin, or
        disability




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               ATTACHMENT 2B
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                       Attachment 2B – Contract Discrepancy Report

                                                                                                                   1. CONTRACT NUMBER
                           CONTRACT DISCREPANCY REPORT
                                                       .

Report Number:                                                                                                     Date:
2. TO: (Contractor and Manager Name)                                              3. FROM: (Name of COR)




                                                                       DATES
CONTRACTOR NOTIFICATION                      CONTRACTOR RESPONSE DUE              RETURNED BY CONTRACTOR              ACTION COMPLETE
                                             BY

4. DISCREPANCY OR PROBLEM (Describe in Detail: Include reference in PWS / SOW or Directive: Attach continuation sheet if necessary.)




5. SIGNATURE OF CONTRACTING OFFICER’S REPRESENTATIVE (COR)


                                                                                  7. FROM: (Contractor)
6. TO: (COR)




8. CONTRACTOR RESPONSE AS TO CAUSE, CORRECTIVE ACTION AND ACTIONS TO PREVENT RECURRENCE. ATTACH
 CONTINUATION SHEET IF NECESSARY. (Cite applicable Q.A. program procedures or new A.W. procedures.)




9. SIGNATURE OF CONTRACTOR REPRESENTATIVE                                                                             10. DATE




11. GOVERNMENT EVALUATION OF CONTRACTOR RESPONSE/RESOLUTION PLAN: (Acceptable response/plan, partial acceptance of response/plan,
rejection: attach continuation sheet if necessary)




12. GOVERNMENT ACTIONS (Payment withholding, cure notice, show cause, other.)




                                                                     CLOSE OUT
                                               NAME AND TITLE                                    SIGNATURE                             DATE
         CONTRACTOR
           NOTIFIED

               COR


         CONTRACTING
           OFFICER



                                                                         B-1
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                 ATTACHMENT 3
                                                    Office ofEnforcementand Removal Operations
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                                                                 U.S. Department of Homeland Security
                                                                500 12th Street. SW
                                                                Washington. D.C. 20536

                                                                U.S. Immigration
                                                             £1 and Customs
                                                                Enforcement


                                       SEP 2 9 2016
MEMORANDUM FOR:              All Field Office Directors, Deputy Weld Office Directors.
                             Assistant Directors. ancLEtoputy Assistant Directors

FROM:                        Thomas 1Ionian
                             Executive As


SUBJECT:                     Authorizea Firearms for Enforcement and Removal Operations

Purpose:

To provide guidance and clarification on certain items within the Interim U.S. Immigration and
Customs Enforcement (ICE) Firearms Policy. This memorandum will provide guidance for
armed personnel within Enforcement and Removal Operations (ERO).

Background:


The Interim ICE Firearms Policy requires the Director of the operational programs to determine
which firearms listed in Appendix 1, ICE Approved Firearms and Intermediate Force Devices,
may be carried by armed personnel within their program. ERO has been working with the Office
of Firearms and Tactical Programs (OFTP) to bring forth new firearms technology that will
better serve the needs of the armed workforce. The changes reflected in this memorandum are
intended to immediately address specific operational requirements based on information received
from the field.


This memorandum supersedes the ERO firearms authorization memorandum dated February 1,
2016, "Authorized Firearms for Enforcement and Removal Operations." Remaining superseded
memoranda include the January 21. 2016 "Authorized Firearms for Enforcement and Removal
Operations," February 19, 2013, "Authorized Firearms for Enforcement and Removal
Operations," the April 30, 2012, "Authorized Firearms for Enforcement and Removal
Operations," and the August 18, 2011, "Authorized Firearms for Enforcement and Removal
Operations.'"

Discussion:


ERO armed personnel are authorized to carry the following ICE-issued or approved, personally
owned handguns on or off duty:

       1. Sig Sauer P229 (.40)
       2. Sig Sauer P226 (.40)
       3. Sig Sauer P239 (.40)




                                                                    www.ice.gov
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                 ATTACHMENT 4
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              U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT
                             ICE Policy System


OFFICE OF PRIMARY INTEREST: Director of Operations (National Firearms and
                            Tactical Training Unit)

                            DISTRIBUTION:                  ICE
                            DIRECTIVE NO.:                 70001.1
                            ISSUE DATE:                    02/04/2005
                            EFFECTIVE DATE:                02/04/2005
                            REVIEW DATE:                   02/04/2008
                            SUPERSEDES:                    see section 3

DIRECTIVE TITLE: ICE Body Armor Policy

1.       PURPOSE and SCOPE. To establish the U.S. Immigration and Customs
         Enforcement (ICE) policy for the use of personal protective soft body armor
         (body armor) and identify related management and employee responsibilities.
         This directive applies to all components of ICE with armed officers.

2.       AUTHORITIES/REFERENCES.

2.1.     Statutory and Regulatory Authority

         8 USC 1103

2.2.     ICE Policy

         Interim ICE Firearms Policy (July 7, 2004)

         Interim ICE Use of Force Policy (July 7, 2004)

2.3      National Institute of Justice Reference Documents

         Ballistic Resistance of Personal Body Armor (NIJ Standard 0101-03 and 0101-04
         and amendments)

         Selection and Application Guide to Personal Body Armor (NIJ Guide 100-01 and
         100-98, and amendments)

3.       SUPERSEDED/CANCELLED POLICY/SUMMARY OF CHANGES.
         This directive supersedes previous legacy policies, issuances and previously
         recognized processes for soft body armor for all ICE offices with armed officers.




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4.       DEFINITIONS.

4.1.     Body Armor - A protective garment designed to stop a variety of standard
         handgun projectiles. The armor is not designed to stop all projectiles, especially
         those fired from high-caliber rifles. Unless rated as stab resistant, this armor is
         not designed to prevent injury from sharp or cutting or piercing-type weapons.
         No body armor is designed as a replacement for common sense, good judgment
         and proper street survival procedures and tactics.

4.2.     Technology Standards for Body Armor – The Law Enforcement and
         Corrections Standards and Testing Program (LECSTP) is sponsored by the Office
         of Science and Technology of the National Institute of Justice (NIJ),
         Department of Justice (DOJ). The LECSTP is an applied research effort that
         determines the technological needs of justice systems agencies, sets minimum
         performance standards for specific devices, tests commercially available
         equipment against those standards and disseminates the standards and the test
         results to criminal justice agencies nationally and internationally. The NIJ
         reference documents for this policy are listed in the Authorities section and are as
         follows: Ballistic Resistance of Personal Body Armor (NIJ Standard 0101-03 and
         0101-04) and Selection and Application Guide to Personal Body Armor
         (NIJ Guide 100-01 and 100-98), to include amendments.

5.       POLICY.

5.1.     All ICE employees authorized to carry firearms as a condition of employment
         shall be issued protective body armor. New employees will be fitted for
         body armor during their initial training at the Federal Law Enforcement Training
         Center (FLETC) or as specified by ICE. Replacement of expired or damaged
         body armor in the field shall be coordinated with the designated official for that
         operational component, most often the Senior Firearms Instructor (SFI).

5.2.     The ballistic resistance performance standard for protective body armor requires a
         minimum of threat level type IIA protection, with side panel coverage, and must
         meet the current NIJ standards.

5.3.     All ICE armed officers are strongly encouraged to wear their issued body armor
         while performing law enforcement duties. When not being worn, body armor
         should be readily accessible in the vehicle or building where the officer is
         working. When away from the vehicle or building, the ICE armed officer does
         not have to carry the body armor, unless instructed by a supervisor.

5.4.     All Federal Protective Service (FPS) armed uniformed officers shall wear their
         issued body armor while in the performance of their law enforcement duties.
         When in a non-uniform status or not being worn, body armor should be readily
         accessible in the vehicle or building where the officer is working. When away




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         from the vehicle or building, the ICE armed officer does not have to carry the
         body armor, unless instructed by an FPS supervisor.

5.5.     All Detention and Removal Operations (DRO) armed uniformed officers shall
         wear their issued body armor while in the performance of their law enforcement
         duties. When not being worn, body armor should be readily accessible in the
         vehicle or building where the officer is working. DRO armed officers performing
         administrative duties or duties inside a detention facility shall not be required to
         wear their issued body armor.

5.6.     Due to their covert mission within the aviation environment, Federal Air Marshals
         shall wear issued body armor according to their internal guidance and procedures
         as established by the Director, Federal Air Marshal Service.

5.7.     The wearing of body armor during normal operations is at the discretion of the
         employee, except during activities as specified in the Procedures Section of this
         directive and for FPS and DRO armed officers as stated above in sections 5.4 and
         5.5.

5.8.     All employees need to be aware of the health risks associated with the wearing of
         body armor in high-heat/high humidity conditions and/or during strenuous
         exertion. When employees are required to wear body armor, they shall be
         provided opportunities to rehydrate and remove the body armor as necessary.

5.9.     ICE does not authorize the use of personally owned body armor for armed
         officers while functioning as ICE employees. Any exception to this requirement
         first must be approved by the director of the operational component and then by
         the Director of the National Firearms and Tactical Training Unit (NFTTU).

6.       RESPONSIBILITIES.

6.1.     The NFTTU is responsible for the development of all national policy and
         procedures, and exercises program management responsibility for the body armor
         program.

6.2.     The NFTTU shall coordinate all research, testing, evaluation, procurement,
         distribution and destruction of body armor.

6.3.     The SFIs are responsible for coordinating requests for body armor, ensuring
         training requirements are met and conducting inspections of all body armor as
         required by the NFTTU.

6.4.     Supervisors are responsible for ensuring armed personnel under their supervision
         are issued body armor and that it has not exceeded its expiration date.




ICE BODY ARMOR POLICY
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6.5.     Supervisors are responsible for ensuring that all personnel issued body armor
         comply with the mandatory requirements for wearing body armor specified in the
         Procedures Section of this policy.

6.6.     ICE officers are responsible for the proper care and inspection of the issued
         body armor in accordance with the manufacturer’s recommendations and ballistic
         panel labeling.

6.7.     ICE officers are required to attend, participate and complete all mandated body
         armor training as required by ICE and/or their operational component.

7.       PROCEDURES.

7.1.     The NFTTU will develop standard operating procedures to be used for the
         selection, procurement, issuance, accountability, replacement and disposal of all
         ICE-owned and issued body armor.

7.2.     The NFTTU shall maintain the national inventory system for body armor. Unless
         otherwise identified by the NFTTU, the Firearms Inventory System (FIS) module
         in the Automated Management Information System is the national inventory
         system and will be the official system of record for the accountability, transfer
         and inventory of all ICE body armor.

7.3.     The officer to whom the body armor is issued is responsible for electronically
         accepting it in the designated automated inventory system. Body armor should
         not be documented on any other ICE property record document other than for
         exigent circumstances and only as an interim hand receipt until FIS can be
         properly updated by the responsible officer(s).

7.4.     A 100 percent body armor inventory shall be performed annually by all
         employees issued body armor in FIS. Responsible officials (supervisory
         personnel) shall ensure that the employees complete their annual inventory and
         verification process in FIS within 30 days of notification of the initiation of the
         inventory process. Employees who fail to complete their inventory and
         verifications within the specified 30 days may be subject to disciplinary action.

7.5.     In the event that body armor is lost or stolen, it must be reported to the NFTTU
         via facsimile (814-946-9995) and FIS within 48 hours of discovery by the
         employee to whom it was issued. This FIS reporting requirement does not
         preclude any other reporting requirement(s) mandated by any other ICE policy or
         procedure. The stolen body armor information, with serial number, shall also be
         entered into the National Crime Information Center (NCIC) database.




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7.6.   The wearing of body armor by ICE armed officers is mandatory during the
       following activities:

7.6.1. Special Response Team (SRT) deployments when officers are part of an arrest, or
       operate as an entry or perimeter element;

7.6.2. Executing arrests in pre-planned situations. ICE officers working in an
       undercover capacity, or in support of another officer working in an undercover
       capacity, may be exempted from the requirement of wearing body armor stated in
       this section, if the wearing of the body armor presents a danger of being exposed
       as a law enforcement officer. This exemption pertains to officers who will be
       working in close proximity to violators and who may identify the officer as a
       law enforcement officer by noticing the body armor. In all cases, the exemption
       must be approved by a first-line supervisor prior to the operation;

7.6.3. Execution of high-risk search warrants until the premises are secured and cleared
       or at the discretion of the first-line supervisor;

7.6.4. Apprehension phases of air and marine interdiction operations;

7.6.5. Transportation, storage or destruction of seized narcotics, currency or other
       high risk or valuable commodity;

7.6.6. During normal operations for FPS and DRO officers, if armed, and in uniform as
       stated above in sections 5.4., 5.5. and 5.7.;

7.6.7. In emergency situations where ICE management determines there is an immediate
       threat to the safety of employees. In addition to the nature of the emergency
       situation, ICE management will also determine the duration of the emergency
       and, accordingly, the length of time that body armor must be worn; and,

7.6.8. During all DRO fugitive apprehension operations regardless of whether it is a
       formalized, preplanned operation or not. This does not include simple
       investigative inquiries when an apprehension is not anticipated by the DRO armed
       officer.

7.7.   SFIs shall ensure that training is provided to each employee who is issued
       body armor. SFIs shall ensure that all training is documented in the appropriate
       system as identified by the NFTTU.

7.8.   Body armor training covers the following:

       •   Circumstances/situations when body armor must be worn;

       •   Type of body armor that is necessary;




ICE BODY ARMOR POLICY
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                 ATTACHMENT 5
Revision Date: 5/10/2018                      IHSC MinimumDocument
                               Case 1:22-cv-00586-CDB      Staffing Requirements
                                                                      64-1 Filed by 07/21/23
                                                                                    Facility Size*Page 85 of 1402
                                                               per 2011 PBNDS Standards
  Position         Ratio                                                     Number of staff required by position
               Facility Beds    250      500      750      1000      1250      1500    1750       2000    2250      2500      2750      3000      3250
  HSA/AHSA         1:750         1        1         1        2         2         2       3          3       3         4         4         4         5
     AA           1:1800         1        1         1        1         1         1       1          2       2         2         2         2         2
     MD            1:750         1        1         1        2         2         2       3          3       3         4         4         4         5
     APP           1:186         2        2         4        5         6         8       9         10      12        13        14        16        17
    MHP            1:415         1        1         1        2         3         3       4          4       5         6         6         7         7
     DDS           1:750         1        1         1        2         2         2       3          3       3         3         3         4         4
     DT            1:750         1        1         1        1         1         2       2          2       3         4         4         4         5
 Psychiatrist     1:1000         1        1         1        1         2         2       2          2       3         3         3         3         4
    RDH           1:1000         1        1         1        1         2         2       2          2       3         3         3         3         4
   Pharm          1:1500         1        1         1        1         1         1       2          2       2         2         2         2         3
 Pharm Tech       1:1000         1        1         1        1         2         2       2          2       3         3         3         3         4
    MRT         1:250‐350        1        2         3        4         4         4       5          5       6         7         7         8         8
      RT          1:1500         1        1         1        1         1         1       2          2       2         2         2         2         3
    Nurse           1:53         5        9        14       19        24        28      33         38      42        47        52        57        61
         Total Staff            19       24        32       43        53        60      73         80      92        103       109       119       132
                                        The available bed space is the only element used for this spreadsheet. It does not factor in: gender, security
                                                             levels, medical/ mental health complexities, or rapid throughput.

HSA/AHSA ‐Health Services Administrator/ Assistant Health Services Administrator
AA ‐ Administrative Assistant
MD ‐Physician
APP ‐ Advanced Practice Provider (Physician’s Assistant, Nurse Practitioner)
MHP‐ Mental Health Provider (Psychologist, Licensed Clinical Social Worker)
DDS ‐Dentist
DT ‐Dental Assistant
RDH ‐Registered Dental Hygienist
Pharm‐Pharmacist
Pharm Tech ‐ Pharmacy Technician
MRT ‐ Medical Records Technician
RT‐ Radiology Technician
Nurse ‐ Registered Nurse, Licensed Vocational Nurse, Licensed Practical Nurse




                                 *Minimum staffing includes relief factors, ratios are in accordance with NIAC guidelines
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                 ATTACHMENT 6
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                                                               INTAKE SCREENING

Identification
Patient was identified by (check 2 sources):       Wrist Band            Picture     Verbally        ID Badge          Other:

Chaperone Present?             Yes     No If yes, give chaperone name:

Date of arrival at facility:                                   Time of arrival:                            Time of initial screening:

If transferred from another facility, did medical transfer summary accompany the patient?                  Yes         No       Not Applicable
Was the Pre-Screening Note reviewed?               Yes      No

Subjective
Communication Assessment:
What language do you speak?             English      Spanish            Other:

Interpreter provided?          Yes    No    If yes, name or INT number:

If No, patient speaks:         English fluently     Provider fluent in patient’s native language                No interpreter available at this time

Do you have any difficulty with:         Hearing         Speech          Vision Check if yes. If yes, what accommodation do you need to help you
read, communicate, or navigate the facility?

Disability Screening:
Do you have any difficulty with walking, standing, or climbing stairs?             Yes       No     If yes, explain:

Do you have any difficulty reading or writing?           Yes       No If yes, explain:

What was the highest grade completed in school?

Do you have any difficulty understanding directions?              Yes      No If yes, explain:

Medical Screening:
How do you feel today? (Explain in his/her own words)


Are you currently having any pain?          Yes      No If yes, complete pain assessment below
a. Character of pain:                                    b. Location:                            c. Duration:                    d. Intensity: (0-10 pain scale)


e. What relieves pain or makes it worse?



Do you have any current or past medical problems?                Yes       No If yes, explain:




Last Name:                                                                         First Name:

A#:                                                                                Country of Origin:

Date of Arrival:                                                                   DOB:

Facility:                                                                          Sex:
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Medical Screening (continued)

Are you currently or in the past year have you taken any medication on a regular basis, including over the counter and herbal?                      Yes   No
If yes, list medications:
Do you have your medications with you?         Yes     No If yes, list medications and disposition:




Do you have any allergies to medication or food?        Yes         No If yes, list all:



Are you now or have you ever been treated by a doctor for a medical condition to include hospitalizations, surgeries, infectious or
communicable diseases?     Yes     No If yes, explain:




Do you now or have you ever had Tuberculosis (TB)?               Yes      No

In the past 2 months, have you experienced any of the following signs or symptoms continuously for more than 2 weeks:
Cough?       Yes      No   Coughing up blood?         Yes         No   Chest pain?          Yes         No     Loss of appetite?         Yes   No

Fever, chills, or night sweats for no known reason?          Yes       No      Unexplained weight loss?             Yes         No

Symptom screening with positive responses(s) is concerning for active TB:                  Yes        No     If yes, explain:




Referred to provider for further evaluation.    Yes         No

Have you had any recent sudden changes with your vision or hearing?                  Yes         No    If yes, explain:




Do you have any specific dietary needs?        Yes          No    If yes, explain:




Have you traveled outside of the US within the past 30 days?             Yes         No    If so, where?



Have you ever had or have you ever been vaccinated against Chicken Pox?                     Yes       No        Admits prior infection



LGBT Screening
 Are you gay, lesbian, bisexual, transgender, intersex or gender non-conforming?                  Yes         No

 If transgender, what is your gender self-identification?


Last Name:                                                                       First Name:

A#:                                                                              Country of Origin:

Date of Arrival:                                                                 DOB:

Facility:                                                                        Sex:
Female Patient Only
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Are you pregnant?           Yes         No         Not Applicable      If yes, date of last menstrual period:

Are you currently breastfeeding?             Yes       No     If yes, when is the last day you breastfed?

Have you had unprotected sexual intercourse in the past 5 days?                     Yes          No
If yes, would you like to speak to a medical provider about emergency contraception to prevent a possible pregnancy?                       Yes     No
If yes, contact a medical provider immediately for guidance.

Oral Screening
Are you having any significant dental problems?                Yes        No If yes, explain:



Do you have dentures, partials, braces, etc?                Yes        No If yes, do you have these items with you?

Mental Health Screening
Have you ever been diagnosed with mental illnesses or mental health conditions?                          Yes    No If yes, what illness?




Have you ever received counseling, medication or hospitalization for mental health problems (to include outpatient treatment)?
   Yes        No     If yes, explain.




Refer for follow-up and appropriate treatment as necessary.


Do you have a history of self-injurious behavior?              Yes      No    If yes:          Cutting     Self-mutilation   Other
Most recent                              If yes, refer for follow-up and appropriate treatment as necessary.
Have you ever tried to kill or harm yourself?            Yes          No If yes, when did the attempt occur?
Method:        Gun        Hanging        Cutting skin         Pills      Other
If attempt was within the last 90 days, make referral to mental health immediately.

Are you currently thinking about killing or harming yourself?                 Yes        No       If yes, make referral to mental health immediately.

Do you have a history of assaulting or attacking others?                Yes         No

Do you know of someone in this facility whom you wish to attack or harm?                        Yes      No
If yes, who is this person?                                                      If yes, make referral to mental health immediately.

Do you now or have you ever heard voices that other people don't hear, seen things or people that others don't see, or felt others were
trying to harm you for no logical or apparent reason?  Yes      No If yes, explain:




Last Name:                                                                              First Name:

A#:                                                                                     Country of Origin:

Date of Arrival:                                                                        DOB:

Facility:                                                                               Sex:
   Sexual Abuse andCase
                    Assault Screening
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\\\\\
  Have you been a victim of physical or sexual abuse or assault?          Yes          No If yes, explain:



  If yes, refer for medical or mental health evaluation as appropriate.
  Do you feel that you are in danger of being physically or sexually assaulted while you are in custody?      Yes       No If yes, explain:


  If yes, refer for follow-up and appropriate treatment as necessary.
  Have you ever sexually assaulted or abused another person?           Yes        No If yes, explain:



  If yes, refer for medical or mental health evaluation as appropriate.

  Trauma History Screening

  Have you had a physical or emotional trauma due to abuse or victimization?              Yes      No

  Have you ever experienced, witnessed or been confronted with an event that involved actual or threatened death or serious injury (can
  include domestic violence, sexual assault, robbery, natural disaster, war, serious illness, terrorism). Yes    No
  If yes, answer the following:
         • Was your response to this event intense fear, helplessness or horror?                                            Moderate       Extreme
         • Has this experience caused significant distress or impairment in your life?                                      Moderate       Extreme
         • Has it affected your interpersonal relationships, work or other areas?                                           Moderate       Extreme
         • Is this experience currently causing significant distress or impairment in your life?                            Moderate       Extreme
  If the patient experienced any of the above, refer for follow-up and appropriate treatment as necessary.

  Cultural/Religious Assessment
  Is there anything important to know about your religious or cultural beliefs that are of concern to you while in detention?        Yes   No
  If yes, explain:




  Substance Use/Abuse Screening
  Have you ever been treated for drug and/or alcohol problems?                                                        Yes       No

  Have you ever suffered withdrawal symptoms from drug and/or alcohol use?                                           Yes        No
  Are you able to stop using drugs or alcohol if you want?                                                           Yes        No

  Have you ever blacked out or experienced memory loss from drinking or drug use?                                    Yes        No

  Have drug or alcohol use negatively impacted your life (family, work, relationships, criminal charges)?            Yes        No

  If yes to any of the above questions, explain:




  Refer for follow-up and appropriate treatment as necessary.


  Last Name:                                                                    First Name:

  A#:                                                                           Country of Origin:

  Date of Arrival:                                                              DOB:

  Facility:                                                                     Sex:
Substance Use/Abuse
              Case Screening (continued)
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In the past three months, have you used tobacco, alcohol, illegal drugs, or misused prescription drugs?                             Yes      No

If yes, complete the following (refer for follow-up and appropriate treatment as necessary).
                       Substance Used/Route of Use                                          Date of Last Use                        Amount/Quantity Last Used




Objective
Patient does not appear to have abnormal physical, mental, and/or emotional characteristics.                          Yes      No

Patient does not appear to have barriers to communication.                 Yes         No

Patient is oriented to: Person          Yes        No    Place       Yes         No      Time         Yes      No

If you observe any of the following, check the appropriate box and document findings below:
Appearance:        Sweating        Shaking/tremors           Anxious          Disheveled              Ill appearance
               Findings:

Behavior:          Disorderly      Appropriate          Insensible         Agitation          Inability to
               focus/concentrate Findings:

State of Consciousness:         Alert          Responsive         Lethargic
               Findings:

Ease of Movement:          Body deformities          Gait
               Findings:

Breathing:         Persistent cough            Hyperventilation
               Findings:
Skin:              Lesions       Jaundice           Rashes         Infestations         Nits (lice)         Bruises         Scars
                   Tattoos Needle Marks or Indications of Drug Use               Findings:

Developmental or Physical Disabilities:            Developmental Delay                Para/quadriplegia         Stroke         Amputation          Cardiac condition
               Findings:

Assistive Devices:       Glasses/Contacts            Hearing aid(s)        Denture(s)/Partial(s)              Orthopedic brace            Prosthetic     Cane
               Findings:

    None Observed

Comments/Other Findings:




Vital Signs
T                  P                    Resp                BP                   HT                   WT               HCG Results:          Pos       Neg      N/A




Last Name:                                                                             First Name:

A#:                                                                                    Country of Origin:

Date of Arrival:                                                                       DOB:

Facility:                                                                              Sex:
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Assessment
Initial Medical Screening:
   No findings requiring referral

   Findings requiring referral identified. See disposition below.

   List all findings:




Plan
Disposition:
   General population

   General population with referral for:     Medical         Mental health care

   Isolation until medically evaluated

   Referral for immediate:     Medical       Mental health        Dental care

Details of referral:




Care/Intervention/Follow-up:
   Physical examination/Health Assessment will be performed within 14 days.

   Physical exam will be scheduled for patient.

   Tuberculin Skin Test (TST) administered         Left forearm       Right forearm

   Chest X-Ray (CXR) completed with appropriate shielding

   TST or CXR not needed. Transfer Summary accompanying patient documents negative screening within timeframe allowed by policy.

   The following care/treatment was provided during this Intake Screening.




Last Name:                                                                  First Name:

A#:                                                                         Country of Origin:

Date of Arrival:                                                            DOB:

Facility:                                                                   Sex:
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Patient Education:
   Tuberculosis screening and need for tuberculin skin test (TST) or chest x-ray (CXR) explained to patient prior to performance.

   Access to medical, dental, and mental health care explained to patient as well as grievance process.

   Given the Dealing with Stress brochure in                                      language.

   Given the Medical Orientation brochure in                                      language.

   Given the Health Information brochures in                                      language.

   Patient verbalized understanding of teaching or instruction provided.

   Patient was asked if he or she had any additional questions and all questions were addressed.

   Female ONLY: Educated and provided brochure describing female medical and mental health services related to pregnancy,
   terminated/miscarried pregnancies, contraception, family planning and age-appropriate gynecological health care.

   Other education provided:




                   Provider's Signature                             Stamp / Printed Name                          Date              Time




               Reviewer's Signature                                 Stamp / Printed Name                          Date              Time




Last Name:                                                                 First Name:

A#:                                                                        Country of Origin:

Date of Arrival:                                                           DOB:

Facility:                                                                  Sex:
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                 ATTACHMENT 7
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 Clinical Guidelines for the Diagnosis, Evaluation and Management of Adults with
          Asthma (≥ 12 years of Age)

  Introduction:
 As all Guidelines are intended to be flexible, they serve as recommendations, not rigid
criteria. The guideline for asthma (reactive airway disease) should be followed in most
cases, but depending on the patient, and the circumstances, the clinical practice guidelines
for asthma may need to be tailored to fit individual needs. These guidelines are tied to the
concept of severity, control and responsiveness and domains of impairment and risk.


 1. Criteria that suggest the diagnosis of asthma:

       Consider a diagnosis of asthma and perform spirometry if any of these indicators are
            present *:
               The symptoms of dyspnea, cough and/or wheezing, especially nocturnal-
                  difficulty breathing or chest tightness-
               With acute episodes: hyperventilation of thorax, decreased breath
                  sounds, high pitched wheezing, and use of accessory muscles
               Symptoms worse in presence of exercise, viral infection, inhaled
                  allergens, irritants, changes in weather, strong emotional expression,
                  stress, menstrual cycles
               Reversible airflow obstruction: FEV 1> 12% from baseline or increase in
                  FEV 1 > 10 % of predicted after inhalation of bronchodilator, if able to
                  perform spirometry
               Alternative diagnoses are excluded.

 * Eczema, hay fever, and/or a family history of asthma or atopic diseases are often
 associated with asthma, but they are not key indicators.

  2.    Goal of Therapy : Control of Asthma

             A). Reduce Impairment
                  Prevent chronic and troublesome symptoms (e.g., coughing or
                   breathlessness in the daytime, in night, or after exertion).
                  Require infrequent use (< 2 days a week) of inhaled Short-Acting Beta
                   2-Agonist (SABA) for quick relief of symptoms (not including
                   prevention of exercise-induced bronchospasm [EIB])
                  Maintain (near) normal pulmonary function; Peak Expiratory Flow
                   circadian variation < 20%
                  Maintain normal activity levels (including exercise and other physical
                   activity and attendance at work)
                  Meet patients’ expectations under his/her detention environment
                   regarding satisfaction with asthma care.
             B). Reduce Risk



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               Prevent recurrent exacerbations of asthma and minimize the need for
                emergency department visits or hospitalizations.
               Provide optimal pharmacotherapy with minimal or no adverse effects
                of therapy.


 3). Refer to Asthma Specialist such as an allergist or pulmonologist when the
following occurs:

               A life-threatening asthma exacerbation
               Failure to meet the goals of asthma therapy after 3-6 months of
                treatment. An earlier referral or consultation is appropriate if the
                physician concludes that the patient is unresponsive to therapy.
               Signs and symptoms are atypical, or there are problems in differential
                diagnosis.
               Other conditions complicate asthma or its diagnosis, e.g., sinusitis;
                nasal polyps; Bronchopulmonary aspergillosis (BPA) which is
                uncommon and results from an allergic pulmonary reaction to inhaled
                spores of Aspergillus fumigatus and occasionally from other
                Aspergillus species; severe rhinitis; vocal cord dysfunction; GERD;
                chronic obstructive pulmonary disease.
               Additional diagnostic testing is indicated (e.g., allergy skin testing,
                rhinoscopy, complete pulmonary function studies, provocative
                challenge, bronchoscopy)
               Additional education and guidance is required on complications of
                therapy, problems with adherence, or allergen avoidance.
               The detainee patient is being considered for immunotherapy.
               The detainee patient requires step 4 care or higher.
               The detainee patient has had more than two bursts of oral
                corticosteroids in one year or has an exacerbation requiring
                hospitalization.
               Requiring confirmation of a history that suggests that an
                occupational or environmental inhalant or ingested substance is
                provoking or contributing to asthma. Depending on the complexities
                of diagnosis, treatment, or the intervention required in the detention
                environment, it may be appropriate in some cases for the specialist to
                manage the patients over a period of time or to co-manage with the
                IHSC provider.




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           Table 1                Classification of Asthma Severity ≥ 12 years of Age & Adults


           Component      of    Severity                Intermittent                               P ERS I S TENT
                                                                                        Mild              Moderate                 Severe
                                 Symptoms               ≤ 2 days/week              ≥ 2 days/week but       Daily               Throughout day
                                                                                  not daily
  Impairment              Nighttime awakenings          ≤ 2x/month                3-4x/ month         ≥ 1x/week but              Often 7x/week
                                                                                                        not nightly
Normal FEV1/FVC:       Short-acting beta2-agonist use                           > 2 days/week but
                       for symptom control ( not pre-   ≤ 2 days/week           not daily, and not          Daily                Several times
 8-19 yr    85 %;      vention of Exercise Induced                              more than 1x on any                              per day.
20-39 yr    80 %;         Bronchospasm )                                         day
40-59 yr    75 %;
60-80 yr    70 %;      Interference with normal
                            activity                     None                    Minor limitation      Some limitation           Extremely
                                                                                                                                 limited

                         Lung Function                  Norm. FEV1 between                                                  FEV1 < 60%
                                                        exacerbations.                                                         predicted
                                                         FEV1> 80%         FEV1≥ 80%                   FEV1> 60% but<80% FEV1/FVC reduced
                                                               predicted         predicted                  predicted            5%
                                                        FEV1/FVC normal    FEV1/FVC normal             FEV1/FVC reduced
                                                                                                              5%
                                                         0-1/year ( see note)              ≥ 2 in 1 year ( see note)
   Ri sk               Exacerbations requiring oral     Consider severity & interval since last exacerbation. Frequency & severity may
                       systemic corticosteroids         fluctuate over time for patients in any severity category.
                                                                   Relative annual risk of exacerbations may be related to FEV1

Recommended                      Step 1                         Step 2                Step 3             Step 4 or Step 5
step for initial Rx.                                                            and consider short course of oral systemic corticosteroids
( see table 2 )                   in 2-6 weeks, evaluate level of asthma control that is achieved and adjust therapy accordingly

           Notes:
            * Level of severity is determined by assessment of both impairment and risk. Assess impairment domain by patient's/ caregiver's
              recall of previous 2-4 weeks and spirometry. Assign severity to the most severe category in which any feature occurs.

            * At present, there are inadequate data to correspond frequencies of exacerbations with different levels of asthma severity. In general
              ,more frequent and intense exacerbations (e.g.,requiring urgent, unscheduled care, hospitalization, or ICU admission) indicate
              greater underlying disease severity. For treatment purpose, patients who had ≥ 2 exacerbations requiring oral systemic corticosteroids
              in the past year may be considered the same as patients who have persistent asthma, even in the absence of impairment levels
              consistent with persistent asthma.




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Table 2                    Stepwise Approach for Managing Asthma in ≥ 12 years of Age and Adults Table 3-1 & 3-2

           Intermittent                                    Persistent Asthma ; Daily Medication
            Asthma                   ( Consult with asthma specialist if step 4 care or higher is required. Consider consult at step 3)




                                                                                                                         Step 6
                                                                                                                       Preferred:
                                                                                                    Step 5             High-dose
                                                                                                   Preferred:          ICS +LABA +          Step up if needed
                                                                            Step 4                High-dose ICS+       oral corticosteroids ( first, check adherence,
                                                                         Preferred :              LABA                                       environmental control,
                                                    Step 3               Medium -dose                                  and                   & comorbid conditions)
                                                  Preferred:             ICS+ LABA                and                  Consider
                              Step 2             Low-dose ICS+LABA                                Consider             Omalizumab               Assess Control
                            Preferred :          or Medium-dose ICS    Alternative:               Omalizumab           for patients who
             Step 1         Low-dose ICS                               Medium-dose ICS+           for patients         have allergeries      Step down if possible
          Preferred :                            Alternative:         either LTRA,                who have allergies                           ( and asthma is
           SABA PRN         Alternative:         Low-dose ICS+either Theophylline, or                                                          well controlled at
                            Cromolyn, LTRA,      LTRA,Theophylline,   Zileuton                                                                 least 3 months)
                            Nedocromil, or       or Zileuton
                            Theophylline


                    Each Step : Patient education, environmental control, and management of comorbidities.
                    Step 2-4 : Consider subcutaneous allergen immunotherapy for patients who have allergic asthma.
                    * SABA as needed for symptoms. Intensity of treatment depends on severity of symptoms: up to 3 treatments at 20-minute
                      intervals as needed. Short course of oral syste,ic corticosteroids may be needed.
                    * Caution : Increasing use of SABA or use > 2 days a week for symptom relief ( not prevention of Exercise Induced broncho-
                      spasm) generally indicates inadequate control and the need to step up treatment.
                   * ICS, Inhaled Cortocisteroids; LTRA, Leukotriene Receptor Antagonist; SABA, Short-Acting Beta2-Agonist; LABA, Long-Acting Beta2-Agonist




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Table 3-1           LONG -Term Control Medications & QUICK-Relief Medications
                               ( For ≥ 12 years of Age & Adults )

Usual Doses for Quick -Relief Medictions

                             Inhaled Short-Acting Beta 2-Agonists ( SABA)                               Dosage

              M              Albuterol HFA MDI ( 90 mcg/puff; 200puffs/canister)             2 puffs every 4-6 hours, as needed for symptoms;
                                                                                             2 puffs 5 minutes before exercise
              E
                             Albuterol Nebulizeer Solution                                   1.25- 5 mg in 3 cc of saline q 4-8 hours, as needed
              D
                             Levalbuterol HFA ( 45 mcg/puff; 200 puffs/ canister)            2 puffs every 4-6 hours, as needed for symptoms;
               I                                                                             2 puffs 5minutes before exercise

              C              Levalbuterol ( R-albuterol) Nebulizer Solution                  0.63-1.25 mg, q 8hours, as needed

              A              For Asthma Exacerbations

              T              Albuterol MDI ( 90mcg/puff)                                     4-8 puffs every 20 minutes up to 4 hours, then every
                                                                                             1-4 hours as needed.
               I
                             Albuterol Nebulizer solution                                    2.5-5 mg every 20 minutes for 3 doses, then 2.5-10 mg
              O                                                                              every 1-4 hours as needed, or 10-15 mg/hour continuously.

              N              Anticholinergics

              S              Ipratropium HFA MDI (17mcgpuffs,200 puffs/canister)             2-3 puffs every 6 hours

                             Ipratropium HFA ( Nebulizer soultion)                           0.25 mg every 6 hours

                             Ipratropium with albuterol MDI ( 18mcg/puff of Ipratropium
                             bromide and 90mcg/puff of albuterol; 200puffs.canister)         2-3 puffs every 6 hours

                             Ipratropium with albuterol ( Nebulizer solution)                3 ml every 4-6 hours

                             Systemic Corticosteroids

                             Methylprednisolone ( 2,4,6,8,16,32 mg tablets)
                             Prednisolone ( 5mg tablets,5mg/5cc,15mg/5cc)                    Short course "burst": 40-60 mg/day as single or 2 divided
                             Prednisone ( 1,2.5,5,10,20,50mg tablets; 5mg/5cc,5mg/cc)         doses for 3-10 days

                             Repository Injection ( Methylprednisolone acetate)              240mg IM once




                             Notes: HFA, hydrofluoroalkane; IM , intramuscular; MDI, metered-dose inhaler




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Table 3-2   Usual Doses for LONG-Term Control Medications


                     Inhaled Corticosteroids                                             Dosage

                     Beclomethasone HFA (40 or 80mcg/puff)                                80 mcg - > 480mcg
                     Budesonide DPI ( 90,180, or 200mcg/inhalation)                      180mcg- 1,200mcg
             M       Flunisolide ( 250 mcg/puff )                                         500mcg- > 2,000mcg
                     Flunisolide HFA ( 80mcg/puff )                                       320mcg- > 640mcg
             E       Fluticasone HFA/MDI ( 44,110,or 220 mcg/puff )                       88mcg-. 440mcg
                     Fluticasone DPI ( 50,100, or 250 mcg/inhalation)                     100mcg- >500mcg
             D       Mometasone DPI ( 200mcg/inhalation )                                 200mcg-> 400mcg
                     Triamcinolone acetonide ( 75 mcg/puff )                              300mcg- >1,500 mcg
             I
                     Oral Systemic Corticosteroids
             C
                     Methylprednisolone                                                  7.5 -60 mg daily in a single dose in A.M. or
             A       Prednisolone                                                        qod as needed for control.
                     Prednisone
             T                                                                           Short course "burst": to achieve control,
                                                                                         40-60mg/day as single or two divided doses
             I                                                                           for 3-10 days.
                     Inhaled Long-Acting Beta 2-Agonists ( LABAs)
             O
                     Salmeterol ( DPI: 50 mcg/blister )                                  1 blister every 12 hours
             N       Formoterol ( DPI: 12 mcg/single-use capsule )                       1 capsule every 12 hours.

             S       Combined Medication

                     Fluticasone/ Salmeterol                                             1 inhalation bid, dose depends on level of
                                                                                         severity or control
                     Budesonide/Formoterol                                               2 puffs bid, dose depends on level of
                                                                                         severity or control

                     Cromolyn/Nedocromil

                     Cromolyn ( MDI: 0.8 mg/puff )                                       2 puffs qid
                     Nebulizer ( 20mg/ampule )                                           1 ampule qid
                     Nedocromil ( MDI: 1.75 mg/puff )                                    2 puffs qid

                     Immunomodulators

                     Omalizumab ( Anti IgE)                                              150-375 mg SC q 2-4 weeks, depending on
                                                                                         body weight & pretreatment serum IgE level
                     Leukotriene Modifiers ( Leukotriene Receptor Antagonists)

                     Montelukast                                                         10mg qhs
                     Zafirlukast                                                         40mg daily ( 20 mg tablets bid)
                     Zileuton ( 5-Lipoxygenase Inhibitor )                               2,400 mg daily

                     Methylxantines

                     Theophylline ( Liquid,sustained-release tablets, & capsules)        Starting dose 10mg/kg/day up to 300 mg
                                                                                         maximum; usual maximu 800mg/day

                     Note: DPI, Dry Powder Inhaler; IgE, immunoglobulin E; MDI, meter-dose inhaler.
                      * Dosages are provided for those products that have been approved by the U.S. Food and Drug Administration
                     or have sufficient clinical trial safety & efficacy data in the ≥12 years of age and adults to support their use.




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Figure 1.             Diagnosis, Evaluation, and mangement of Adults-detainees with Asthma

                                   Detainee with symptomatic or History of reactive airway disease



                                              SYMPTOMATIC Table 1




                   YES                                                                   NO

Assess detainee for Bronchial Asthma exacerbation                    Does detainee have own medications or are
      1. O2 Saturations ( < 90%)                                     they familiar with his/her medications regimen?
      2. Peak flow X 3 ( average < 200 )
      3. breath sounds ( excessive wheezing)
      4. Respiratory rate ( > 30/min.)                               YES                                      NO

            Does detainee meet 1 of the
            above criteira ?                              IF afterhours;
                                           NO               1. Give albuterol from Night Pharmacy
               YES                                           2. Have detainee place medications in
                                                               "personal property & document.
              Ensure no contraindication to
            albuterol and start rebulizer treatment
                                                       If known patient, refer this finding/ results
                                                       to primary care physician.provider. Figure 2


                                                          Figure 2

                                 Notify to a Provider !!!
                         ( Should consider an immedaite referaal to the Hospital E.R. via
                           an ambulance service.)



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Figure 2
                    Sensible approaches to patient with Asthma Table 1


                         Complete history includes patient’s
                          & family history of atopy
                       (C/c. dyspnea on exertion, cough, wheezing)
                                 Trigger symptoms
                       (e.g. , exercise, cold air, upper respiratory
                       tract infections, animal dander, pollen, mold,
                      tobacco smoke)


                                 Physical examination
                        (Often completely normal. A triad; nasal polyps
                         and aspirin sensitivity, Cobblestoning, Wheezing
                         or stridor)


                         Spirometry with bronchodilator test


Obstruction ( FEV1/FVC < 70 % or                                 Normal †
 Or response to bronchodilator)


          Initial step Rx Table 2
                &
 In addition to pharmacological intervention,
Environmental controls, Smoking cessation ( essential!!).
“ Action Plans” with patients based on
Peak Flow measurements with thresholds for
increasing Rx and seeking a referral.


Note : † ; The American Thoracic Society criteria for “ responsiveness “ require an
           increase 200ml and 12 % in either FEV1 or FVC. A key aspect of asthma
           is variability in airflow obstruction. Spirometry testing can often be effort
           dependent. After being instructed in appropriate technique, patients should
           obtain peak flows at different times of day, when asymptomatic and when
           dyspneic or wheezy. Variability in peak flows > 20 % is consistent with
           asthma. Although useful diagnostically, the peak flow meter is generally
           more useful as a way to monitor for control of established disease.




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                                  ICE Health Service Corps
                    Clinical Guidelines for the Treatment of Gender Dysphoria
                              (formerly Gender Identity Disorder, GID)

Introduction

Gender, that is the essence of male and female, is not a clear cut distinction, but rather a spectrum
on which an individual perceives themselves and is perceived by others. Transgender individuals
identify with a gender which is different than their sex assignment at birth. This gender identity
often manifests early in childhood but may emerge in adolescence or even adulthood.
Transgender individuals may identify with the opposite sex (e.g. male to female or
transwoman/girl, female to male or transman/boy) or somewhere along the gender spectrum
identifying with characteristics of both genders (gender non-conforming).

Discordance between self-perception, perception of and treatment by others, and gender
assignment at birth lead to conflict regarding gender identity, the most extreme of which is Gender
Dysphoria (GD). Gender dysphoric individuals do not identify with their birth-assigned gender
which in turn generates distress from internal discord as well as external (family and social)
misunderstanding and rejection which may culminate in neglect and/or abuse.

Many patients with GD have a strong desire to modify their appearance to match the gender they
identify with, and this may be achieved through hormonal supplementation as well as a vast array
of surgical procedures. Both hormone treatment, as well as gender affirming (reassignment)
surgery (most conservatively referring to genital reconstruction only), are covered as necessary
medical treatment by major health plans as long as appropriate medical evaluation has occurred
and been documented.

Basic Tenets of Managing Patients with Gender Dysphoria

    1. Evaluation and treatment of detainees with GD should involve a multidisciplinary team
       including medical, mental health, pharmacy, nursing and administrative staff.
    2. Treatment of GD is not cosmetic; denial of treatment may lead to worsening mental
       health and self-harm by distressed detainees.
    3. Use of the pronoun corresponding to the desired gender should be utilized; slang terms
       (“tranny”, “he-she”, etc.) are derogatory and are not permissible.
    4. Instituting treatment for ICE detainees with GD does not require previous hormone
       treatment. Newly diagnosed and/or previously untreated GD will be managed with the
       same liberality as newly diagnosed and/or previously untreated hypertension or
       diabetes – if treatment is clinically indicated, is desired by the patient and no
       medical/mental health contraindications exist, it will be initiated. Initiation of treatment
       does, however, require 1) evaluation by a mental health provider to officially establish
       the diagnosis of GD as well as evaluation for comorbid mental health illness and 2)
       counseling by a trained medical provider regarding the risks and benefits of treatment as
       well as reasonable expectations of hormone treatment. Gender affirming surgery will be
       considered, on a case-by-case basis, consistent with applicable medical standards.
  5. Laboratory values are utilized to guide your treatment plan; corresponding physiologic
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    changes are slow and variable amongst individuals and “failure to see changes” should
    not prompt an increase in dosage without supportive laboratory data. In addition,
    laboratory monitoring, pertinent review of systems, extensive counseling and physical
    examinations are all necessary to optimize patient safety. See Appendix A and B for the
    current treatment protocols and Appendix E and F for the informed consent documents
    which will be utilized as a counseling tool as well as documentation of the patient’s
    understanding of the risks and benefits of hormone treatment.
 6. Screening for concomitant medical conditions
        • Mental Health (MH) conditions (mood disorders, anxiety disorders, PTSD etc.) are
           more common in transgender individuals than the general population. All
           transgender individuals will be referred to a MH professional for the initial
           evaluation of GD as well as other concomitant MH conditions; the care plan
           including frequency of MH appointments will follow as deemed clinically
           appropriate by the MH provider. In addition, the patient should be assessed for
           readiness to start/continue treatment: consolidation of gender identity (if time in
           custody allows), progress in stabilizing mental health, and is deemed likely to take
           hormone treatment responsibly.
        • Blood borne pathogens and sexually transmitted infections (STIs) – HIV, syphilis,
           hepatitis B and C, chlamydia and gonorrhea - are common infections among
           transgender patients and should be actively screened for at the initial provider
           evaluation. Failure to diagnose may lead to untoward clinical outcomes and/or
           spread of infection both within and outside of the correctional environment.
 7. For additional staff training and resources, see Appendix B.

Special Issues for Transgender Individuals in Custody

 1. Housing determination
     Segregation is not required nor encouraged unless the detainee self-identifies as feeling
     vulnerable or at risk of harm because of their gender identity. Such concerns will be
     addressed during custody processing and should also be queried at the time of intake, as
     well as during periodic medical and mental health evaluations. Automatic assignment to
     administrative segregation for simple disclosure of gender dysphoria without perceived
     risk of harm/vulnerability may lead to the well-recognized risk of prolonged isolation,
     including significant self-harm and suicide.

     In facilities which have adopted or implemented best practices found in the “ICE Detention
     Facility Contract Modification for Transgender Care,” transgender detainees may initially be
     placed in administrative segregation for a maximum of 72 hours (not counting weekends
     and holidays) to allow for the Transgender Classification and Care Committee to convene
     and determine a detention plan which includes housing. Housing options include: 1) general
     population male or female, 2) special unit housing (e.g., Gay-Bisexual-Transgender (GBT) or
     transgender only), or
     3) in rare cases, administrative segregation.

     Housing of transgender detainees in facilities which have not adopted or implemented this
     contract’s best practices will be left to the discretion of the medical and custody staff.
     Several factors should be considered including the degree of gender expression of the
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      detainee, comfort and safety of the detainee and the layout of individual units including
      privacy factors. Medical staff are encouraged to assist custody staff in establishing housing
      assignment.

    2. Gender Specific Undergarments

        Undergarments which reflect the gender identity of the individual should be provided.
        Special needs forms should suffice as medical orders which custody staff shall honor.

    3. Additional support and resources

        A correctional setting poses many challenges for a transgender person given the lack of
        privacy, targeted discrimination and abuse which may be amplified in close quarters and
        the risk of sexual assault. Resources are available to help these detainees share common
        experiences for support and encouragement. See Appendix C.

Continuity of Care Referrals

If a transgender detainee is released to the U.S., there are many regional centers of excellence as
well as independent practitioners where the detainee may continue their care. See Appendix D.
In the case of deportation, in country resources for transgender care may be limited and IHSC-
directed referrals won’t usually be possible. However, transgender detainees will be provided
with two weeks of medication (in line with standard IHSC guidelines) to provide them with a
chance to establish care once they have repatriated.

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       Executives. Transgender Cross-Sex Hormone Therapy Use. February 2012
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Disclaimer – Clinical guidelines have been established to provide medical providers at IHSC facilities with
general information regarding the management of patients. Guidelines are not statements of policy.
Medical providers should consider each case individually, in the context of good clinical judgment and
within the provider’s experience and comfort level. This guidance is not intended to, does not, and may
not be relied upon to create any right or benefit, substantive or procedural, enforceable at law by any
party in any administrative, civil, or criminal matter.
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Appendix A – Male to Female (MTF) Transgender Treatment Protocol

Initiating MTF transgender treatment:

Visit 1 – assessment, referral to BH if not already done, order blood work (HIV serology, RPR,
GC/chlamydia nucleic acid test, hepatitis B surface antigen, hepatitis C serology, testosterone,
estradiol, lipids, cmp prolactin*), general counseling including completion of eCW informed
consent document.

Visit 2 (1 week later)– if baseline lab work is normal and confirmed GD by BHP then start
estradiol 2 mg / spironolactone 50 mg / aspirin 81 mg daily. Order bmp for the next visit.

Visit 3 (1 month later) – if bmp (potassium and creatinine) is normal, increase
spironolactone to 100 mg daily. Order lab work (testosterone, estradiol, prolactin, cmp,
lipids) for next visit.

Visit 4 (2 months later) – review lab work, PE assessment; if testosterone is not fully suppressed
(<50) would increase spironolactone to 150 mg daily**; if estradiol is not at female pre-
menopausal (100-200) level, increase estradiol by 2 mg daily.

Visit 5 (2-3 months later) and every 2-3 months thereafter for the first year until at goal; if 1
year of steady follow up, can reduce full blood work panel to every 6 months if hormone
levels are at steady, physiologic level and no signs of end organ effects (LFTs, renal function,
electrolytes).
If the patient is 60 yrs or older, please order a baseline bone mineral density scan. Perform age
appropriate breast cancer screening if the patient has been on 10 years or more of hormone
therapy (HT) (cumulatively).


Continuing MTF transgender treatment:

Visit 1 – assessment, referral to BH if not already done, order blood work (HIV serology, RPR,
GC/chlamydia nucleic acid test, hepatitis B surface antigen, hepatitis C serology, testosterone,
estradiol, lipids, cmp, prolactin), general counseling including completion of eCW informed
consent document.
Continue outpatient oral dose (maximum of estradiol 8 mg daily, maximum spironolactone 150
mg daily) add aspirin 81 mg daily (if not already receiving), add spironolactone if not yet
receiving, start at 50 mg daily

Visit 2 (2 weeks later)– confirm GD diagnosis as per by BHP, review laboratories with patient. If
was not previously on spironolactone, can increase from 50 mg to 100 mg daily if potassium
and creatinine are normal. Otherwise, no need to modify treatment at this point assuming
labs are within normal limits. Order lab work (testosterone, estradiol, prolactin, cmp, lipids) for
next visit.

Visit 3 (2 months later) – review lab work, PE assessment; if testosterone is not fully suppressed
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(<50) would increase spironolactone to 150 mg daily; if estradiol is not at female pre-
menopausal (100-200) level, increase the estradiol by 2 mg daily. Order lab work (testosterone,
estradiol, prolactin, cmp, lipids) for next visit.

Visit 4 (2-3 months later) and every 2-3 months thereafter for the first year following labs above
and making adjustments based on estradiol and testosterone levels (assuming monitoring labs
are normal); after 1 year of steady follow up, can reduce full blood work panel to every 6
months if hormone levels are physiologic and no signs of end organ effects (LFTs, renal function,
electrolytes).
If the patient is 60 yrs or older, please order a baseline bone mineral density scan. Perform age
appropriate breast cancer screening if the patient has been on 10 years or more of HT
(cumulatively).


*Prolactin levels are often mildly elevated and this is normal; prolactin levels should ideally be
obtained in the early AM and fasting. If levels are above 50, consider decreasing the estrogen
supplementation to see if prolactin declines as well as inquire about the symptoms of
prolactinoma which may include galactorrhea, headaches and diplopia. If the level does not
decline or rises regardless of the medication adjustment OR review of systems is positive,
consider an MRI of the sella (pituitary gland) to exclude a prolactinoma.

**spironolactone can be increased to 200 mg daily if indicated, but please split dose as 100 mg
2x/day

Estrogen conversion¥

 Estradiol (P.O.) daily         Premarin (P.O.) daily
 2 mg                           1.8 mg
 4 mg                           2.7 mg
 6 mg                           3.75 mg
 8 mg                           5 mg
¥ Estimated values, please use serum estradiol to adjust accordingly
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Appendix B – Female to Male (FTM) Transgender Treatment Protocol


Initiating FTM transgender treatment:

Visit 1 – assessment, referral to MH if not already done, to confirm GD diagnosis and to
assess for readiness to start treatment. Order blood work (HIV serology, RPR, GC/chlamydia
nucleic acid test, hepatitis B surface antigen, hepatitis C serology, testosterone, estradiol,
lipids, lfts, and cbc), general counseling including completion of eCW informed consent
document.

Visit 2 (1 week later)– if baseline lab work and confirmed GD and demonstrates readiness to start
treatment by BHP, then start testosterone cypionate 100 mg IM every 2 weeks. Order lfts, lipids,
testosterone, estradiol, and cbc for 8-12 weeks after treatment has begun (to be timed 1 week
after an injection; e.g., injections are day 1 and 15 of each month, the lab draw should fall on ~
day 7 or 21 of the calendar month). If a family history of osteoporosis exists or the patient is 60
yrs or older, please order a baseline bone mineral density scan.

Visit 3 (2-3 months later) – review labs, if estradiol is not suppressed and testosterone is not
above 350 ng/dL, increase testosterone dose to 200 mg every 2 weeks. The serum
testosterone level should not exceed 700 ng/dL.

Visit 4 etc. (2-3 months later) and every 2-3 months thereafter for the first year until at goal; if
1 year of steady follow up, can reduce full blood work panel to every 6 months if hormone
levels are at steady, physiologic level and no signs of end organ effects (LFTs, renal function,
electrolytes). Note, once uterine bleeding stops, estradiol levels are not necessary to obtain.

If the uterus has not been removed, pap smears should be conducted per usual preventive
guidelines; likewise if mastectomy has not been performed, mammogram cancer screening is
per usual guidelines.

Continuing FTM transgender treatment:

Visit 1 – assessment, referral to BH if not already done to confirm GD diagnosis and to assess
for readiness to continue treatment. Continue outpatient testosterone (maximum of
testosterone cypionate 200 mg IM every 2 weeks), order blood work (HIV serology, RPR,
GC/chlamydia nucleic acid test, hepatitis B surface antigen, hepatitis C serology, testosterone,
estradiol, lipids, lfts and cbc), (to be timed 1 week after an injection; e.g. injections are day 1
and 15 of each month, the lab draw should fall on ~ day 7 or 21 of the calendar month).
Provide general counseling including completion of eCW informed consent document.
Visit 2 (2 weeks later)– confirm GD diagnosis/readiness as per by BHP, review laboratories
with patient. If testosterone is not above 350 ng/dL, increase testosterone dose to 200 mg
every 2 weeks. The serum testosterone level should not exceed 700 ng/dL.

Visit 3 etc. (2-3 months later) and every 2-3 months for the first year until at goal; if 1 year of
steady follow up, can reduce blood work to every 6 months if hormone levels are at steady,
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physiologic level and no signs of end organ effects. Note, once uterine bleeding stops,
estradiol levels are not necessary to obtain.

If the uterus has not been removed, pap smears should be conducted per usual preventive
guidelines; likewise if mastectomy has not been performed, mammogram cancer screening is
per usual guidelines.
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Appendix C - Additional Provider and Patient Resources

   1. Trans in Prison Journal, produced by the Gender Identity Center of Colorado; you can
      download a copy and give to your detainees; they can mail in the request form on the
      issue and they will receive the future publications gratis as long as they are in a
      correctional setting.
       https://www.gic-colorado.org/programs/trans-in-prison/

   2. “Cruel and Unusual”, documentary by Janet Baus and Dan Hunt, about transgender
      persons and the challenges they face in and out of the correctional
      System. ~ 1 hour long
      https://www.youtube.com/watch?v=5Yzy8oh5Fw0
      www.fandor.com/films/cruel_and_unusual

   3. Resources on children diagnosed with GD, Most of our detainees will receive their
      hormone treatment during adolescence or adulthood but to benefit the most from
      this treatment, diagnosis of GD and treatment should occur during childhood.
      www.youtube.com/watch?v=YfqmEYC_rMI
      http://www.huffingtonpost.com/2014/05/30/whittington-family-ryland-      transgender-
      son_n_5414718.html
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Appendix D – Transgender Care Regional Centers of Excellence for Continuity of Care or Referring Challenging Cases

                                                               Phone
      AOR                      Facility name                                                         Website
                                                              number
   Washington
                   Transgender Health Empowerment           202-636-1646                       http://theincdc.org/
      DC

     Boston                   Fenway Health                 617-267-0900                  http://www.fenwayhealth.org

                                                            212-620-7310         https://gaycenter.org/wellness/gender-identity
    New York             The Center
                         Transgender Resources                                            http://transgendercny.org/

                                                                                http://callen-lorde.org/our-services/sexual-health-
    Newark                     Callen Lorde                 212-271-7200
                                                                                        clinic/transgender-health-services/
                  City of Newark Dept of Child and Family
                                                            973-733-7635
                                Well Being

  Philadelphia               Mazzoni Center                 215-563-0658      http://mazzonicenter.org/content/transgender-services

                  Endocrinology center of Western New
     Buffalo                                                716-887-4069
                                  York

     Detroit                   UMHS-CGCP                    734-736-0465       http://www.med.umich.edu/transgender/index.htm

    Chicago           Howard Brown Health Center            773-388-1600                     www.howardbrown.org

                                                                           http://www.intownprimarycare.com/glbt-health/transgender-
     Atlanta              In-town Primary Care              404-541-0944
                                                                                                 health.html

     Miami                    Care Resource                 305-576-1234   http://www.careresource.org/programs/transgender-services/

  New Orleans           Louisiana Trans Advocates           337-580-4615         http://www.latransadvocates.org/resources.html
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                                                               Phone
    AOR                       Facility name                                                        Website
                                                              number

  Houston        Dr. Hammill Transgender Health Clinic     713-799-8994              http://drhammill.transhouston.com/

                          Transgender Center               713-520-8586                     http://www.transgend
                                                                                                   erctr org/
                                                          sagacal09@gma
San Antonio                      SAGA                     il.com                  http://www.sagender.com/local-resources/

                                                           210-370-7743
                              Pride Center                                        http://pridecentersa.org/resources/

   Dallas              Transgender Health Clinic           214-528-2336

                       Resource Center of Dalllas          214-528-0144          http://www.rcdallas.org/family/transgender
                                                                                     2301 N Oregon St, El Paso, TX 79902
   El Paso             Trans Health Referral Line          915-532-7000

                 Transgender Health Services University
 Saint Paul                                                612-625-1500    http://www.med.umn.edu/fm/phs/clinic/transgender.html
                                of MN

   Denver         Gender Identity Center of Colorado       303-202-6466                   http://www.gicofcolo.org

Salt Lake City               Susan Chasson                 801-357-7930

                              D. S. Burton                 385-282-2750

                           LeAnne Swenson                  385-282-2000

  Phoenix                 Prime Medical Clinic             602-840-3584                http://www.myprimeclinic.com/

   Seattle              Gay City Health Project            206-323-5428              https://www.gaycity.org/resources/
                                                          (415) 865-5555
San Francisco          The San Francisco Center                                           http://www.sfcenter.org/
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                                                    Phone
    AOR                  Facility name                                                Website
                                                   number

San Francisco      UCSF Center of Excellence     415-597-8198             http://www.transhealth.ucsf.edu/

Los Angeles     Western Medical Center Anaheim   714-533-6220

                  UCLA LGBT Resource Center      310-206-3628                 http://www.lgbt.ucla.edu

 San Diego                The Center             619-692-2077               http://www.thecentersd.org

  General
                                                                http://www.transgenderlynnsplace.com/transgender-medical-
 Resources
                                                                resources.htm
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   Appendix E: Informed Consent Document for Hormone Therapy (male to female)


                      Estrogen/Antiandrogen                            Therapy               Consent                 Form
For                       Male                         to                        Female                          Transition
Informed Consent: Information about this form.
This form refers to the use of estrogen and antiandrogens by detainees who wish to become more feminized as part of
a gender transitioning process.
Your agreement or disagreement of the various statements on this form indicate that the risks as well as the changes
which may occur as a result of the use of estrogen and antiandrogens have been explained and that you understand
them.
If you have any questions or concerns about this information, you are encouraged to take the time you need to ask for
clarification, read, research, talk with staff and think about the potential effects of this treatment before signing.
IF YOU DO NOT UNDERSTAND THIS INFORMATION STOP AND ASK FOR CLARIFICATION



1. I understand that estrogen may cause or contribute to depression. If I have a history of depression I will discuss this
with my provider to explore treatment/therapy options that are available to me.

      AGREE          DISAGREE
Some of these changes will be permanent including:
Breast development: Breast development may take years to reach full size.
There are natural variations in the size of breasts, and one person's breast development will not correlate with that of
another person's.
If estrogen therapy is discontinued, there may be some breast shrinkage, but breast development will not completely
disappear.
Brain structures are affected by testosterone and estrogen.
The long term effects of changing the levels of ones hormones through the use of estrogen therapy and testosterone
suppressants have not been scientifically studied & are impossible to predict.
These effects may be beneficial, damaging, or both. Changes in fertility and sperm production (see information below
in # 5).
These additional changes will not be permanent if I stop taking estrogen:
Decreased acne
Male pattern balding stops or slows (no hair loss will be reversed once it occurs)
Skin may become softer
Facial and body hair growth may decrease (not stop) in thickness or quantity to a greater or lesser extent.
Redistribution of body fat to a more female pattern (i.e., abdominal fat may decrease while fat on the buttocks and
thighs may increase)

      AGREE          DISAGREE
2. I understand the effects of estrogen will not protect me from sexually transmitted diseases or HIV and that condoms
or barrier methods should be used.

     AGREE          DISAGREE
3. Due to breast development with estrogen therapy, I understand that I will need to do monthly breast self-
examinations, have an annual medical exam, and, once I am 40 or older, I will need to have an annual mammogram.

       AGREE           DISAGREE
4. I understand that estrogen therapy will decrease hormones that support the size and function of my testicles, which
may then effect overall sexual functioning and fertility.
The changes that may occur include:
a. Up to 40% shrinkage in size of the testicles.
b. Decrease in testosterone production from the testicles
c. The amount and quality of erections and ejaculation may decrease or stop entirely.
d. Sperm will still be present in the testicles, but may stop maturing which may cause infertility.
e. If estrogen therapy is stopped, the ability to make sperm healthy, mature sperm may or may not ever come back.
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f. Erections may no longer be firm enough for penetrative intercourse.
g. There may be a decrease or loss of morning and spontaneous erections. Sex drive or libido may decrease.

      AGREE           DISAGREE
5. I understand that taking estrogen can significantly increase the risk of blood clots (thrombosis)
This risk of blood clots can result in:
a. death
b. deep vein thrombosis (clots in large veins)
c. chronic leg vein problems
d. pulmonary embolism (blood clot in the lung, which can cause permanent lung damage or death)
e. cerebral vascular accident (stroke) which may result in permanent brain damage, blindness, paralysis, difficulty
talking or death.

      AGREE          DISAGREE
6. I understand that the risk of blood clots, heart attack, and stroke on estrogen therapy is increased further if I smoke
tobacco, especially if I am over the age of 35.

      AGREE          DISAGREE
7. I understand that estrogen can cause increased blood pressure. If I have existing high blood pressure it may not be
controlled on my current regimen of medication and/or diet and exercise.

     AGREE           DISAGREE
7a. I understand that I may be able to take estrogen safely with close medical monitoring.

      AGREE          DISAGREE
8. I understand that estrogen use may lead to liver inflammation or liver disease. I agree that while I am on estrogen
therapy I will be monitored for liver problems before and periodically during therapy.

      AGREE         DISAGREE
8a. I understand that there is a slight risk of long-term estrogen use causing liver cancer.

      AGREE          DISAGREE
9. I understand that estrogen may increase migraine headaches and that this may be a reason for me to choose to
stop taking estrogen or may be a reason for estrogen to be discontinued by my provider.

      AGREE          DISAGREE
9a. I also understand there is a very small risk of developing a tumor at the base of the brain (pituitary gland), but that
my blood tests will be monitored regularly to detect this problem early.

      AGREE          DISAGREE
9b. If I develop new headaches, double vision and/or breast milk production, I should inform my health care provider
immediately.

      AGREE         DISAGREE
10. I understand that estrogen may cause nausea and vomiting, similar to morning sickness in a pregnant woman. If I
experience nausea and vomiting that are severe and/or prolonged.

      AGREE         DISAGREE
11. I understand that the most dangerous side effects from estrogen therapy occur in connection with smoking
cigarettes, being overweight, being over 40 years old & having a history of blood clots, high blood pressure, or prior
estrogen dependent cancer.

      AGREE         DISAGREE
12. I understand that estrogen therapy may be discontinued or adjusted at any time if concerns or complications arise
which are threatening to my continued physical and/or psychological well-being.
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      AGREE         DISAGREE
13. I understand that estrogen may cause changes in my cholesterol. My HDL (good cholesterol) may go up and my
LDL (bad cholesterol) may go down.

      AGREE          DISAGREE
14. I understand that estrogen may prevent prostate problems. I have been informed that there is a slight chance that
taking estrogen will cause overgrowth of the prostrate.

     AGREE          DISAGREE
14a. Prostate cancer screening is recommended for people 50 years of age and older as well as in younger people if
otherwise medically indicated.

      AGREE         DISAGREE
15. I understand that antiandrogen side effects include dehydration, high potassium levels, breast enlargement, low
blood pressure and kidney problems. My labs and blood pressure will be routinely monitored to detect changes.

      AGREE         DISAGREE
16. I understand that everyone's bodies will respond differently to estrogen and that there is no way to predict what will
be my response to hormones.

      AGREE         DISAGREE
16a. I understand that the correct dosage for me may not be the same as for another person. I understand I must
follow my prescribed regimen of estrogen treatment to continue to receive hormone therapy at this clinic.

      AGREE          DISAGREE
17. I agree to take estrogen and all other transition related medications as prescribed and to inform my provider of any
problems or dissatisfactions I may have with my treatment.

      AGREE          DISAGREE
18. I will have a complete physical examination annually and lab tests periodically as required to make sure I am not
having an adverse reaction to hormone treatment and to continue good health care.

      AGREE         DISAGREE
19. I understand that there are medical conditions that could make taking estrogen either dangerous or physically
damaging.

       AGREE          DISAGREE
19a. I agree that if my provider suspects I may have any condition that could be dangerous to me, I will be evaluated
for it before the decision to start or continue my hormones is made.

     AGREE          DISAGREE
19b. I understand that if I do not agree to be evaluated, my prescription for estrogen may be cancelled or refused.

      AGREE         DISAGREE
20. I understand that I can choose to stop taking estrogen at any time. I also understand that my provider can
discontinue treatment for clinical reasons.

     AGREE           DISAGREE
20a. I agree to follow a prescribed reduction plan if either of these situations occurs to reduce negative and potentially
harmful side effects that may occur if I suddenly stop my hormone therapy.

     AGREE          DISAGREE
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CONSENT:
Having considered all of the above counseling I would like to:

     Begin Estrogen / Antiandrogen Therapy           Defer Estrogen / Antiandrogen Therapy at this time
Patient Signature:
Patient Printed Name:
Date:
Provider Information:
Provider Signature:
Provider Printed Name:
Date:
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   Appendix F: Informed Consent Document for Hormone Therapy (female to male)

                                Androgen Therapy Consent Form
For Female to Male Transition
Informed Consent: Information about this form.
This form refers to the use of androgens by detainees who wish to become more masculinized
as part of a gender transitioning process.
Your agreement or disagreement of the various statements on this form indicate that the risks as
well as the changes which may occur as a result of the use of androgens have been explained
and that you understand them.
If you have any questions or concerns about this information, you are encouraged to take the
time you need to ask for clarification, read, research, talk with staff and think about the potential
effects of this treatment before signing.
IF YOU DO NOT UNDERSTAND THIS INFORMATION STOP AND ASK FOR
CLARIFICATION
    1. Some changes will be permanent including:
       • Brain structures are affected by testosterone and estrogen
              o The long term effects of changing the levels of one’s hormones through the use
                  of androgen therapy have not been scientifically studied and are impossible to
                  predict
              o These effects may be beneficial, damaging, or both
       • Deepening of the voice, which occurs after 6 to 10 weeks of androgen administration, is
          irreversible
       • Breast changes similar to menopausal women including loss of firmness, changed shape,
          smaller size, etc.
              o There are natural variations in the size and changes of breasts, and one person’s
                  breast changes will not correlate with that of another person’s
      These additional changes will not be permanent if I stop taking androgen:
       • Development of sexual hair which follows the pattern of boys in puberty
              o First upper lip, then chin, then cheeks
              o The predicted pattern and degree of this hair growth can be predicted by the
                  pattern and degree in male members of the same family.
              o Hair loss, “male pattern baldness” occurrence can also be predicted from the
                  degree and pattern of male members of the same family
       • Menses (monthly period) will usually stop within a few months of treatment; however,
          sometimes bleeding may continue
       • Increase in lean body mass (average of 4kg (~9 pounds)) and an even greater increase in
          body weight
       • Reduction of subcutaneous fat overall but focally increased abdominal fat
       • Occurrence of acne (occurs in ~40% of patients)
       • Clitoral enlargement will occur, but the degree varies from patient to patient
       • Increased libido in most patients
       • Polycystic-like changes in ovaries

    2. I understand the effects of androgen will not protect me from sexually transmitted diseases
       or HIV and that condoms or barrier methods should be used.
    3. I understand that I will need to continue to do monthly breast self-examinations, have an
       annual medical exam, and, once I am 40 and older, I will need to have an annual
       mammogram
    4. I understand that androgen therapy will decrease hormones that support the functioning of
       my reproductive organs which may then effect overall sexual functioning and fertility.
    5. I understand that androgen use may lead to major adverse cardiovascular events. I agree that
       I will be monitored for cardiovascular risk factors and cardiovascular events before and
       periodically during therapy. These adverse events include:
           a. death
           b. myocardial infarction (heart attack)
           c. cerebral vascular accident (stroke) which may result in permanent brain damage,
               blindness, paralysis, difficulty talking or death
    6. I understand that the most dangerous side effects from androgen therapy occur in patients
       with a history of cardiovascular events or cardiovascular risk factors including high blood
       pressure, tobacco use, elevated blood glucose (including diabetes), physical inactivity,
       unhealthy diet, elevated cholesterol, being over 55 years old and overweight/obesity.
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        6a. I understand that androgen therapy may be discontinued or adjusted at any time if
        concerns or complications arise which are threatening to my current physical and/or
        psychological wellbeing.
    7. I understand that androgen therapy can cause increased blood pressure. If I have existing
        high blood pressure and it is controlled with medication and/or diet and exercise:
        7a. I understand that I may be able to take androgen safely with close medical monitoring
    8. I understand that androgen therapy may cause changes in my cholesterol. I agree that while
        I am on androgen therapy I will be monitored for changes in my cholesterol
    9. I understand that androgen therapy use may lead to liver inflammation or liver disease. I
        agree that while I am on androgen therapy I will be monitored for liver problems before and
        periodically during therapy.
    10. I understand that there is a risk of androgen therapy causing an abnormal increase in
        circulating red blood cells and an increased number of red blood cells may be a reason to
        stop therapy.
    11. I understand that there is a slight risk of long-term androgen causing breast cancer.
    12. I understand that there is a slight risk of androgen causing ovarian cancer.
    13. I understand that everyone’s bodies will respond differently to androgen therapy and that
        there is no way to predict what will be my response to hormones.
        13a. I understand that the correct dosage for me may not be the same as for another person.
        I understand I must follow my prescribed regimen of androgen treatment to continue o
        receive hormone therapy at this clinic.
    14. I agree to take androgen therapy and all other transition related medications as prescribed
        and to inform my provider of any problems or dissatisfaction I may have with my treatment.
    15. I will have a complete physical examination annually and lab tests periodically as required
        to make sure I am not having an adverse reaction to hormone treatment and to continue
        good health care.
    16. I understand that there are medical conditions that could make taking androgen either
        dangerous or physically damaging.
        16a I agree that if my provider suspects I may have any condition that could be dangerous
        to me, I will be evaluated for it before the decision to start or continue my hormones is
        made.
        16b I understand that if I do not agree to be evaluated, my prescription for androgen may be
        cancelled or refused.
    17. I understand that I can choose to stop taking androgen at any time. I also understand that my
        provider can discontinue treatment for clinical reasons.
        17a. I agree to follow a prescribed reduction plan if either of these situations occurs to
        reduce negative and potentially harmful side effects that may occur if I suddenly stop my
        hormone therapy

CONSENT:
Having considered all of the above counseling I would like to:

     Begin Androgen Therapy                          Defer Androgen Therapy at this time
Patient Signature:
Patient Printed Name:
Date:
Provider Information:
Provider Signature:
Provider Printed Name:
Date:
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IHSC Hepatitis C Clinical Guidelines – February 2, 2018


Treatment of ICE Detainees with Chronic Hepatitis C
Given the transitional nature of ICE detention, medical care is provided to ICE detainees
taking into consideration: the potential risks/harms of initiating treatment when the
period of detention is uncertain, the benefits to the detainee, and whether treatment is
considered necessary to prevent immediate harm to a detainee.
Prior to initiation of treatment for hepatitis C detainees must undergo specialty testing
and specialty consultation; furthermore, and in some cases a liver biopsy may be
required to stage the disease. Medical therapies for hepatitis C may be complex, have
significant side effects, require specific monitoring, have little benefit to the detainee if
interrupted and have logistics and/or cost considerations. Once released from ICE
custody, former detainees are responsible for their health care needs. Initiating such
treatment and then releasing the detainee in the US or deporting the individual prior to
completion of such therapy is unlikely to result in sustained virologic response
(treatment success) and can impact the detainee adversely (e.g., if drug resistance
develops). Therefore, if a treatment course cannot be completed in its entirety, there
may be little benefit to initiate such therapies.
Medical providers need to consider the impact to the patient when determining whether
a given therapy should be pursued. Providers need to weigh the significance of other
co-morbid conditions, degree of fibrosis or evidence of cirrhosis, medication
interactions, detainee mental health, and treatment compliance, including cessation of
known risk behavior (i.e. intravenous drug use) when considering whether hepatitis C
treatment may be appropriate or not.
While hepatitis C can cause significant health complications, it is a chronic infection and
not life threatening in the near future for most affected individuals. Delaying treatment
will generally have little effect on the patient. Most individuals diagnosed with hepatitis C
have had the infection for extended periods of time and are not at risk of immediate
decompensation. Over decades, hepatitis C can cause progressive liver damage that
may lead to cirrhosis and other complications such as hepatocellular carcinoma (HCC)
so consideration for treatment should be made for those with anticipated longer custody
stays where disease is more advanced.
In the case of definitive treatment of hepatitis C infection, IHSC generally follows care
prioritization as advocated by the Federal Bureau of Prisons which is based on
guidance from the American Association for the Study of Liver Diseases and the
Infectious Disease Society of America (www.hcvguidelines.org). Prioritization groups
include advanced liver fibrosis/cirrhosis, liver transplant recipients, HIV co- infection,
comorbid medical conditions associated with hepatitis C (e.g., cryoglobulinemia,
lymphoma), and continuity of care for newly detained ICE detainees who enter custody
on a hepatitis C treatment regimen. IHSC does offer general education and counseling,
and if indicated, immunization for hepatitis A and B, pneumococcus and seasonal
influenza, as well as screening for cirrhosis and associated complications (such as
HCC). If detainees remain in ICE custody for extended periods, hepatitis C treatment
will be considered and clinical factors will be identified that would support treatment
safely and to completion.
The following algorithm should guide providers in determining what interventions should
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IHSC Hepatitis C Clinical Guidelines – February 2, 2018


be considered for detainees with laboratory confirmed hepatitis C:

               Column A                                      Column B
     anticipated custody < 6 months                anticipated custody > 6 months


    Counseling/education                         Counseling/education
    Screen for hepatitis B and HIV               Immunizations: hepatitis A/B,
    Immunizations: hepatitis A/B,                 pneumovax, influenza
     pneumovax, influenza                         Calculate basline APRI
    Calculate basline APRI                       Avoid hepatotoxins
    Avoid hepatotoxins                           Obtain INR; obtains labs to exclude
                                                   hephepatitis B, HIV,
                                                   hemochromatosis and autoimmune
                                                   hepatitis^
 Three month follow up to assess
                                                  Obtain relevant prior records
 changes in clinical status or custody
                                                   including prior treatment, genotype,
 status which would prompt following
                                                   liver biopsy results, ultrasound, etc.
 column B
 If albumin is low, obtain INR
 If evidence of cirrhosis is present,
                                               If comorbidity is identified or cirrhosis
 obtain liver ultrasound if not done in
                                               is suspected, obtain hep C RNA with
 the past year
                                               reflex to genotype (if not known), and
 Conservative management of
                                               liver ultrasound with Doppler flow (if
 cirrhosis, if evident
                                               none within 1 year) to exclude HCC,
                                               cirrhosis and/or portal hypertension.



                                               1) Discuss case with CD and/or RCD
                                               2) Nat’l ID consultant may review for
                                                  management decisions including
                                                  treatment and/or GI consult
                                               3) Consider for SDI list based on the
                                                  gravity of clinical illness
                                               4) if treatment is being requested,
                                                  please complete form “Request for
                                                  Hepatitis C Treatment”



 ^see following page for suggested screening diagnostics




                                           2
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Additional useful information:
APRI calculator: https://www.hepatitisc.uw.edu/page/clinical-calculators/apri
Signs/symptoms of cirrhosis:
o albumin <3.4
o INR greater than the upper limit of normal of platelets less than the lower limit of
  normal of elevated bilirubin
o history of GI variceal bleed, ascites, or hepatic encephalopathy
o taking medication to treat manifestations of cirrhosis (e.g., lactulose or rifaximin for
  hepatic encephalopathy; nadalol or propranolol for portal hypertension;
  spironolactone for ascites)
o evidence of hepatic encephalopathy (day/night reversal, asterixis/”flap”, slowed
  mentation)
Suggested laboratory tests for autoimmune hepatitis: ANA screen; if positive anti-smooth
muscle antibodies, anti-LMK1, anti-LC1, quantitative immunoglobulins
Suggested laboratory tests for hemochromatosis: iron studies (transferrin saturation),
ferritin
Patient information for counseling: https://www.cdc.gov/hepatitis/hcv/patienteduhcv.htm#cdc
Common drugs to use with caution in patients with chronic liver disease:
acetaminophen (max 2 grams/day), NSAIDs, aminoglycosides (risk of hepato-renal
syndrome), ACE inhibitors, furosemide, drugs with a narrow therapeutic index*.
  Narrow therapeutic index drugs*
  Carbamazepine                Phenytoin                      Cyclosporine
  Procainamide                 Digoxin                        Tacrolimus
  Ethosuximide                 Theophylline                   Levothyroxine
  Warfarin                     lithium
  Adapted from: North Carolina Pharmacy Practice Act. Article 4A. 90-85.28(b1).

Disclaimer –Clinical guidelines have been established to provide medical providers at
IHSC facilities with general information regarding the management of patients.
Guidelines are not statements of policy. Medical providers should consider each case
individually, in the context of good clinical judgment and within the provider’s experience
and comfort level. This guidance is not intended to, does not, and may not be relied
upon to create any right or benefit, substantive or procedural, enforceable at law by any
party in any administrative, civil, or criminal matter.




                                                 3
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                   IMMIGRATION AND CUSTOMS ENFORCEMENT
                          ICE HEALTH SERVICE CORPS
                     REQUEST FOR HEPATITIS C TREATMENT
 Alien Number            Date of Birth  Country of Origin
 A
 Alien’s first name                     Last name

 Location                                       Provider

 Date of Request               Date entered custody        Anticipated length of stay:

 Proposed hepatitis C treatment regimen (medications, doses, and duration of
 treatment):
 1.
 2.
 3.
 4.
 Continuation of Treatment                      Mark if applicable
    Yes, Treatment initiation date:                HIV positive
    No                                             Liver transplant recipient
 Date of Hepatitis C Diagnosis                     Cryoglobulinemia
                                                   Chronic hepatitis B
 Any instance of non-compliance or refusal of      Autoimmune hepatitis
 treatment while detained?                         Hemochromatosis
    Yes                  No                        Unstable medical condition
 Any history of substance use and/or diversion     Unstable mental health
 while detained?                                   condition
    Yes                  No
REQUIRED DIAGNOSTICS
 Hep C genotype              Hep C Viral Load           Date

Results of last liver ultrasound or other   Platelet count:            Date:
imaging                                     INR:                       Date:
Date:            Result:                    Albumin:                   Date:
Date:            Result:                    AST:                       Date:
Date:            Result:                    Total bilirubin:           Date:
Date:            Result:
Hepatitis C Related complications:           AST to Platelet Ration Index (APRI):
1.
2.                                           http://www.hepatitisc.uw.edu/page/clinical-
3.                                           calculators/apri
4.                                           Child-Turcotte-Pugh Classification for
5.                                           Cirrhosis score:

                                             http://www.hepatitisc.uw.edu/page/clinical-
                                             calculators/ctp




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                    IMMIGRATION AND CUSTOMS ENFORCEMENT
                              ICE HEALTH SERVICE CORPS
                       REQUEST FOR HEPATITIS C TREATMENT
Not required for hepatitis C treatment consideration, but if these results are
available please include:
Date/results of liver biopsy (attach pathology
report): Date/results of last Fibrosure (attach lab
result):

A GI consultation is not recommended prior to submission of this request. If one has
been obtained either during this custody stay or prior, please attach a copy of the
consultant’s report. Please also include endoscopy report(s), if performed.
Hepatitis C Treatment Request Board Review
Date of review:
Review Board Decision:
   Detainee meets criteria for treatment priority level 1 or 2. Treatment request
   approved.
   Detainee does not meet criteria for treatment priority level 1 or 2. Treatment request
   not approved.
   Additional information is needed. Treatment request not approved.

Priority level 1-3 criteria listed on following page. Recommendations:

Name/signature:




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Hepatitis C Treatment Prioritization

Priority Level 1 – Highest Priority for Treatment*
•   Continuity of care for those already started on treatment
•   Cirrhosis: Cases of decompensated cirrhosis with a CTP score of 7 to 9 should
    receive the highest priority for treatment.
•   Liver transplant candidates or recipients
•   Hepatocellular carcinoma (HCC)
•   Comorbid medical conditions associated with HCV, including: cryoglobulinemia
    with renal disease or vasculitis, certain types of lymphomas or hematologic
    malignancies
•   Immunosuppressant medication for a comorbid medical condition
•   APRI score ≥ 2
•   Porphyria cutanea tarda

Priority Level 2 – Intermediate Priority for Treatment*
•   Advanced fibrosis on liver biopsy (e.g., Metavir Stage 3 bridging fibrosis)
•   HIV coinfection
•   Comorbid liver diseases (e.g., HBV coinfection, autoimmune hepatitis,
    hemochromatosis, steatohepatitis, etc.)
•   Chronic kidney disease (GFR ≤mL/min per 1.73 m2 )
•   Diabetes mellitus

Priority Level 3 – Low Priority for Treatment*
•   All others not meeting priority levels 1-2

*Exceptions to the above criteria for Priority Levels 1–3 will be made on an
individual basis and will be determined primarily by a compelling or urgent need
for treatment, such as evidence for rapid progression of fibrosis, or deteriorating
health status from other comorbidities.

Other Criteria for Treatment
In addition to meeting the above criteria for Priority Levels 1–2, detainees being
considered for treatment of HCV infection should:
• Have no contraindications to, or significant drug interactions with, any component of
    the treatment regimen.
• Not be pregnant, especially for any regimen that would require ribavirin or interferon.
• Have sufficient time remaining in custody to complete a course of treatment.
• Have a life expectancy > 18 months.
• Demonstrates willingness and an ability to adhere to the treatment regimen and to
    abstain from high-risk activities while detained.

Prioritization for treatment based on the Federal Bureau of Prisons Clinical Practice
Guideline for the Evaluation and Treatment of Hepatitis C, May 2017.
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                The Guidelines for the management of sickle cell disease

                                    October 9, 2014


Introduction;
Sickle cell disease (SCD) is the life-threatening genetic disorder affecting nearly 100,000 individuals in
the United States and is associated with many acute and chronic complications requiring immediate
medical attention. Two disease-modifying therapies, hydroxyurea and long-term blood transfusions, are
available but underused. In addition, hematopoietic stem cell transplantation; the only curative
approach, has been used in only a small proportion of affected individuals. This IHSC guideline to
support and expand the number of health providers able and willing to provide care for detainees with
SCD while in detention. Recognizing the need to provide practical guidance for common problems that
may lie outside of the evidence, this IHSC guideline is supplemented by the expertise of the specialists
who have many years of experience in managing and studying individuals with SCD. This guideline is
divided into sections related to health maintenance as well as clinical manifestations of sickle cell
anemia, diagnosis and management of acute and chronic complications. The final 2 sections address
hydroxyurea and blood transfusion therapies.



Clinical manifestations of Sickle Cell Anemia;
Most patients with sickling syndromes suffer from hemolytic anemia, with hematocrits from 15-30 %,
and significant reticulocytosis.

Granulocytosis is common. The white count can fluctuate substantially and unpredictably during and
between painful crises, infectious episode, and other intercurrent illness.

Vasoocclusion of which component usually dominates the clinical course and causes protean
manifestations. Intermittent episodes of vasoocclusion in connective and musculoskeletal structures
produce painful ischemia manifested by acute pain and tenderness, fever, tachycardia, and anxiety.
These recurrent episodes, called painful crises, are the most common clinical manifestation. Their
frequency and severity vary greatly. Pain can develop almost anywhere in the body and may last from a
few hours to 2 weeks. Repeated crises requiring hospitalization (> 3 per year) correlate with reduced
survival in adult life, suggesting that these episodes are associated with accumulation of chronic end-
organ damage. Provocative factors include infection, fever, excessive exercise, anxiety, abrupt changes
in temperature, hypoxia, or hypertonic dyes.

Repeated micro-infarction can destroy tissues having microvascular beds that promote sickling. Thus the
spleen is frequently lost within the first 18-36 months of life, causing susceptibility to infection,
particularly by pneumococci. Acute venous obstruction of the spleen; splenic sequestration crisis , a rare

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occurrence in early childhood, may require emergency transfusion and/or splenectomy to prevent
trapping of the entire arterial output in the obstructed spleen.



Occlusion of retinal vessels can produce hemorrhage, neovascularization, and eventual detachments.

Renal papillary necrosis invariably produces isosthenuria. More widespread renal necrosis leads to renal
failure in adults, a common late cause of death.

Bone and joint ischemia can lead to aseptic necrosis, especially of the femoral or humeral heads; chronic

arthropathy; and unusual susceptibility to osteomyelitis, which may be caused by organisms, such as
Salmonella, rarely encountered in other settings.

The hand-foot syndrome is caused by painful infarcts of the digits and dactylitis.

Stroke is especially common in children; a small subset tends to suffer repeated episodes. Stroke is less
common in adults and is often hemorrhagic.

Priapism is a particularly painful complication in males. It is due to infarction of the penile venous
outflow tracts; permanent impotence is a frequent consequence.

Chronic lower leg ulcers probably arise from ischemia and superinfection in the distal circulation.

Acute chest syndrome (ACS) is a distinctive manifestation characterized by chest pain, tachycardia, fever,
cough, and arterial oxygen desaturation. It can mimic pneumonia, pulmonary emboli, bone marrow
infarction and embolism, myocardial ischemia, or in situ lung infarction.

 Repeated episodes of acute chest pain correlate with reduced survival. Acutely, reduction in arterial
oxygen saturation is especially ominous because it promotes sickling on massive scale. Chronic acute or
subacute pulmonary crises lead to pulmonary hypertension and cor pulmonale, an increasingly common
cause of death as patients survive longer.




Diagnosis;
Sickle cell diseases (syndromes) are suspected on the basis of hemolytic anemia, RBC morphology, and
intermittent episodes of ischemic pain. Diagnosis is confirmed by hemoglobin electrophoresis and the
sickling tests. Sickle hemoglobin (HbS; most prevalent genotype, HbSS), the predominant hemoglobin
that is present in the red blood cells of persons with SCD, results from substitution of the amino acid
valine for glutamic acid at the six position of the β-chain. When deoxygenated, red blood cells from
persons with SCD can develop a sickle or crescent shape, become inflexible, and increase blood viscosity
through intrinsic properties of the sickle cells as well as abnormal interactions of these cells with

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leukocytes, platelets, vascular endothelium, and clotting factors. The most prevalent genotype, HbSS,
and the much less common HbSβ°-thalssemia, both commonly referred to as sickle cell anemia because
they are phenotypically very similar and are associated with the most severe clinical manifestations.
Most of those affected are of African ancestry or self-identify as black, with a minority being of Hispanic,
Middle Eastern, or Asian Indian descent. Thorough characterization of the exact hemoglobin profile of
the patient is important, because sickle thalassemia and hemoglobin SC (a variant that causes
manifestations of sickle cell disease when paired with HbS) disease have distinct prognoses or clinical
features. Diagnosis is usually established in childhood, but occasional patients, often with compound
heterozygous states, do not develop symptoms until the onset of puberty, pregnancy, or early adult life.
Details of the childhood history establish prognosis and need for aggressive or experimental therapies.
Factors associated with increased morbidity and reduced survival are more than three crises requiring
hospitalization per year, chronic neutrophilia, a history of splenic sequestration or hand-foot syndrome,
and second episodes of acute chest syndrome. Patients with a history of cerebrovascular accidents are
at high risk for repeated episodes and require especially close monitoring using Doppler carotid flow.
Patients with severe or repeated episodes of acute chest syndrome may need lifelong transfusion
support, utilizing partial exchange transfusion, if possible.



Management (Evidence-Based Recommendations by Expert Panel Members)
 1.    Health maintenance;

      " Prevention of invasive pneumococcal infection:

      ¾ Administer oral penicillin prophylaxis( 125mg for those < 3y and 250mg for those ≥ 3y) twice
        daily until age 5 y in all children with HbSS
      ¾ Ensure that persons of all ages with SCD have been vaccinated against Streptococcus pneumonia



      " Immunizations:

      ¾ Children aged 6-18 y with functional or anatomic asplenia receive 1 dose of PVC 13( conjugate
        13-valent vaccine)
      ¾ Adults aged ≥ 19 y who have not received pneumococcal vaccine but have functional or
        anatomic asplenia and whohave not previously received PCV 13 or PPSV 23 ( 23-valent
        polysaccharide vaccine) should receive 1 dose of PCV 13 first, followed by a dose of PPSV 23 at
        least 8 wk later, with subsequent doses of PPSV23 to follow current PPSV23 recommendations
        for adults at high risk; a second PPSV 23 dose is recommended 5 y after the first PPSV23 dose for
        persons aged 19-64 y with functional or anatomic asplenia, in addition, those who received PPSV
        23 before age 65 y for any indication should receive another dose of the vaccine at age 65 y or
        later if at least 5 y have elapsed since their previous PPSV 23 dose



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    ¾ Adults aged ≥ 19 y with previous PPSV23 vaccination and functional or anatomic asplenia who
      received ≥1 dose of PPSV23 should be given a PCV 13 dose ≥1 y after the last PPSV23 dose- For
      those who require additional doses of PPSV23, the first such dose should be given no sooner than
      8 wk after PCV13 dose and at least 5 y after the most recent dose of PPVC23



" Screening for hepatitis C:

  Screen for hepatitis C virus (HVC) infection in persons at high risk for infection (e.g., those with multiple
transfusions) and offer 1-time screening for HVC infection to all adults born between 1945 and 1965



" Electrocariogram (ECG) screening:

  Do not screen asymptomatic children or adults with SCD with ECG



" Screening for retinopathy:

  Refer to an ophthalmologist for a dilated eye examination to evaluate for retinopathy beginning at
age 10 y, then, a normal dilated retinal examination -rescreen 1- to 2-y intervals



" Screening for risk of stroke using neuroimaging;

      ¾ In chidren with sickle cell anemia, screen annually(beginning at age 2 y and continuing until at
        least 1ge 16y)with transcranial Doppler. According to the methods used STOP( Stroke
        Prevention Trial in Sickle Cell Anemia) studies
      ¾ In children with conditional (170-199cm/s) or elevated (≥200cm/s) transcranial Doppler
        results, refer to a specialist with expertise in long-term transfusion therapy aimed at
        preventing stroke
      ¾ In children with genotypes other than SCA( e.g,HbSbeta + -thalassemia or HbSC), do not
        perform screening with transcranial Doppler
      ¾ In asymptomatic children with SCD, do not perform screening with MRI(magnetic resonance
        imaging) or CT( computed tomography)
      ¾ In asymptomatic adults with SCD, do not perform screening with neuroimaging ( transcranial
        Doppler, MRI, or CT

" Screening pulmonary disease:

  Do not screen asymptomatic children and adults with pulmonary function tests



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" Contraception, reproductive counseling, and opioid use during pregnancy:

Consensus-adapted recommendation from the World Health Organization (WHO) and the US Center for
Disease Control and Prevention (CDC).



 2.    Managing Acute Complications ;

" Vasoocclusive crisis:

      ¾ Continue treatment with nonsteroidal anti-inflammatory drugs (NSAIDs) in adults and children
        with a vasoocclusive crisis associated with mild to moderate pain in those who report relief with
        NSAIDs in the absence of contraindications
      ¾ Rapidly initiate treatment with parenteral opioids in adults and children with a vasoocclusive
        crisis with severe pain
      ¾ Initiate around-the-clock opioid administration by patient-controlled analgesia or frequently
        scheduled doses vs as requested administration in adults and children with a vasoocclusive crisis
        associated with severe pain
      ¾ Use incentive spirometry during hospitalization for vasoocclusive crisis to reduce the risk of
        acute chest syndrome
      ¾ Do not administer a blood transfusion unless there are other indications for transfusion in
        children and adults with a vasoocclusive crisis
      ¾ Use an individualized prescribing and monitoring protocol (written by the patient’s SCD clinician)
        or an SCD-specific protocol whenever possible to promote rapid, effective, and safe analgesic
        management and resolution of the vasoocclusive crisis in children and adults

" Acute chest syndrome (ACS):

      ¾ Treat persons with SCD who have ACS with an intravenous cephalosporin, an oral macrolide
        antibiotic, supplemental oxygen ( to maintain oxygen saturation of > 95%), and close monitoring
        for bronchospasm, acute anemia, and hypoxemia
      ¾ In persons with sickle cell anemia, give simple blood transfusion (10mL/kg of red blood cells) to
        improve oxygenation-carrying capacity to persons with symptomatic ACS whose hemoglobin
        concentration is >1.0 g/dL below baseline; if baseline hemoglobin is ≥ 9g/dL, simple blood
        transfusion may not be required
      ¾ In persons with HbSC disease or HbSβ+ -thalassemia, consult an SCD expert regarding decisions
        about transfusion
      ¾ Perform urgent exchange transfusion in consultation with hematology, critical care, or apheresis
        specialists, when there is rapid progression of ACS as manifested by oxygen saturation of < 90%
        despite supplemental oxygen, increasing respiratory distress, progressive pulmonary infiltrates,
        decline in hemoglobin concentration despite simple transfusion, or all of these
      ¾ Encourage use of incentive spirometry while awake



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" Acute stroke:

    ¾ Consult an SCD expert and perform exchange transfusion in persons with SCD who develop acute
      stroke confirmed by neuroimaging
    ¾ Initiate a program of monthly simple or exchange transfusions in children and adults who have
      had s stroke
    ¾ Initiate hydroxyurea therapy when it is not possible to initiate a transfusion program in children
      and adults who have had a stroke



" Priapism:

    ¾ Initiate interventions to include vigorous oral or intravenous hydration and oral or intravenous
      analgesia when an episode of priapism lasts ≥ 4h
    ¾ Consult with a urologist when an episode of priapism lasts ≥ 4h
    ¾ Do not use transfusion therapy for immediate treatment of priapism associated with SCD
    ¾ Consult with a hematologist for possible preoperative transfusion if surgical intervention is
      required

" Hepatobiliary complications:

    ¾ Treat asymptomatic gallstones with watchful waiting in children and adults with SCD; in those
      who develop symptoms specific to gallstones, treat with cholecystectomy ( the laparoscopic
      approach is preferred if surgically feasible and available)



" Splenic sequestration:

    ¾ Provide immediate intravenous fluid resuscitation in persons with hypovolemia due to severe
      splenic sequestration
    ¾ Consult an SCD expert and begin transfusion in persons who have acute splenic sequestration
      and severe anemia to increase hemoglobin to stable level, while avoiding overtransfusion
    ¾ Consult an SCD expert to address the performance and timing of splenectomy in persons with
      recurrent acute splenic sequestration or symptomatic hypersplenism

" Acute renal failure:

    ¾ In a patient with an acute increase in serum creatinine level of ≥ 0.3mg/dL, (1) monitor renal
      function daily, including serum creatinine level, fluid intake, and fluid output; (2) avoid potential
      nephrotoxic drugs and imaging agents; and (3) evaluate the patient thoroughly for all potential
      etiologies in consultation with a nephrologist as needed


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     ¾ Do not give blood transfusions to treat acute renal failure unless there are other indications for
       transfusion
     ¾ Use renal replacement therapy ( e.g., hemodialysis) when needed for acute renal failure



3.    Managing chronic complications;

" Avascular necrosis:

     ¾ Evaluate all children and adults with SCD and intermittent or chronic hip pain for avascular
       necrosis by history, physical examination, radiography, and magnetic resonance imaging, as
       needed
     ¾ Treat avascular necrosis with analgesics and consult physical therapy and orthopedic for
       assessment and follow-up

" Pulmonary hypertension:

     ¾ Refer persons who have symptoms or signs suggestive of pulmonary hypertension for
       echocardiography

" Renal complication:

     ¾ Refer persons with proteinuria (>300mg/24h) to a nephrologist for further evaluation
     ¾ For adults with micoralbuminuria without other apparent cause, initiate angiotensin-converting
       enzyme (ACE) inhibitor therapy
     ¾ For adults with proteinuria without apparent cause, initiate ACE inhibitor therapy
     ¾ Initiate ACE inhibitor therapy for renal complications when indicated even in the presence of
       normal blood pressure
     ¾ Renal replacement therapy (e.g., hemodialysis, peritoneal dialysis, renal transplantation) should
       be used in persons with SCD if needed

" Ophthalmologic complications:

     ¾ Refer children and adults with vitreoretinal complications of proliferative sickle retinopathy(PSR)
       refractory to medical treatment for evaluation and possible vitrectomy
     ¾ A Refer persons of all ages with PSR to an ophthalmologist for evaluation and possible laser
       photocoagulation therapy

" Leg ulcers:

     ¾ Treat leg ulcers in persons with SCD with initial standard therapy ( e.g., debridement, wet to dry
       dressings, topical agents)
     ¾ Evaluate persons with chronic recalcitrant deep leg ulcers for osteomyelitis
     ¾ Evaluate possible etiologies of leg ulcers to include venous insufficiency and perform wound
       culture if infection is suspected or if the ulcers deteriorate

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      ¾ Treat with systemic or local antibiotics if leg ulcer site is suspicious for infection and wound
        culture is positive and organisms are susceptible



    4. Hydroxyurea therapy;

      ¾ In adults with sickle cell anemia (SCA) who have ≥ 3 moderate to severe pain crises associated
        with sickle cell disease(SCD) during a 12-mo period, initiate treatment with hydroxyurea
      ¾ In adults with SCA who have sickle cell-associated pain that interferes with daily activities and
        quality of life, initiate treatment with hydroxyurea
      ¾ In adults with SCA who have a history of severe or recurrent acute chest syndrome(ACS), initiate
        treatment with hydroxyurea
      ¾ In adults with SCA who have severe symptomatic chronic anemia that interferes with daily
        activities or quality of life, initiate treatment with hydroxyurea
      ¾ In infants 9 mo of age or older, in children, and in adolescents with SCA, offer treatment with
        hydroxyurea regardless of clinical severity to reduce complications (e.g., pain, dactylitis, ACS,
        anemia)related to SCD
      ¾ Discontinue hydroxyurea therapy in women who are pregnant or breastfeeding
      ¾ Use an established prescribing and monitoring protocol to ensure proper use of hydroxyurea and
        maximize benefits and safety
      ¾ In persons with HBSβ+ -thalassemia or HbSC who have recurrent SCD-associated pain that
        interferes with daily activities or quality of life, consult an SCD expert for consideration of
        hydroxyurea therapy
      ¾ In persons not demonstrating a clinical response to appropriate doses and duration of
        hydroxyurea therapy, consult an SCD expert

.

5. Blood transfusion in the management of SCD ;

" Indications for prophylactic perioperative transfusion:

      ¾ In adults and children with sickle cell anemia(SCA), transfuse red blood cells to bring the
        hemoglobin level to 10 g/dL prior to undergoing a surgical procedure involving general
        anesthesia
      ¾ In persons with HbSS disease who require surgery and who already have a hemoglobin level
        higher than 8.5 g/dL without transfusion, are receiving long-term hydroxyurea therapy, or who
        require high-risk surgery(e.g., neurosurgery, prolonged anesthesia, cardiac bypass), consult a
        sickle cell disease(SCD) expert for guidance as to the appropriate transfusion method
      ¾ In adults and children with HbSC or HbSβ+-thalassemia, consult an SCD expert to determine if full
        or partial exchange transfusion is indicated before a surgical procedure involving general
        anesthesia


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" Appropriate management and monitoring:

   ¾ Red blood cell units that are to be transfused to individuals with SCD should include matching
     for C, E, and K antigens
   ¾ In persons with SCA who do not receive transfusions long-term and who are therefore at risk for
     hyperviscosity due to high percentage of circulating HbS-contining erythrocytes, avoid
     transfusing to a target hemoglobin level > 10 g/dL
   ¾ In children with SCA who receive transfusions long-term, the goal of transfusion should be to
     maintain a HbS level of < 30% immediately prior to the next transfusion
   ¾ The expert panel recommends that clinicians prescribing long-term transfusion therapy follow
     an established monitoring protocol

" Management and prevention of transfusion complications:

   ¾ Consult the blood bank for a workup of a possible delayed hemolytic transfusion reaction in a
     patient with any of the following signs or symptoms : acute anemia, pain, or jaundice within 3
     weeks after a blood transfusion
   ¾ In persons who receive long-term transfusion therapy, perform serial assessment of iron
     overload to include validated liver iron quantification methods such as liver biopsy, MRI R2,T2,
     and R2; the optimal frequency of assessment has not been established and will be based in part
     on the individual patient’s characteristics
   ¾ Administer iron chelation therapy (with consultation with a hematologist)to persons with SCD
     and documented transfusion-acquired iron overload




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                 ATTACHMENT 8
Department of Homeland Security
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Immigration and Customs Enforcement: Enforcement and Removal Operations



                Quality of Medical Care (QMC) Inspection Worksheet




                                      IHSC QMC for Facilities

Facility Information
Facility Name:
AOR:                         Select
Address:
City:                                                     County:
State:                       Select            Zip:
Inspection Information
Start Date:                   Select
End Date:                     Select
Organization:                                    Select
# Detainees at Time of Visit:
Total Facility Population at Time of Visit:
Facility Capacity:


Notes:


Reviewer Information
Lead Reviewer                                                        Date
                                                                              Select
   Name:                                                            Signed:




   Signature:       X

HQ Use Only:                                               29


                       FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)
                             IHSC QMC Inspection Worksheet - Rev: 1/17/2018
                            IHSC QMC
            Case 1:22-cv-00586-CDB   Inspection64-1
                                   Document     Worksheet: Dashboard Page 145 of 1402
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                                    Compliance Dashboard
Subject Area Description                                        Compliance
   ASM       Asthma
    CG       Complaints and Grievance                               0        *Total Number
    CM       Continuity of Medications
    DC       Dental Care
    DM       Diabetes
   DSA       Diagnostic Services and Specialty Care Access
   EED       Evaluation of Care Prior to Emergency Department
    HA       Health Assessment
    HIV      Human Immunodeficiency Virus
   HTM       Hypertension
    LT       Laboratory Testing
    MR       Medical Recordkeeping
   MAR       Medication Administration Records
   MHS       Mental Health Screen
   MHT       Mental Health Treatment Planning
    PG       Pregnant Women
    SZ       Seizure Disorder
    SS       Suicide Screening
    TD       Treatment of Disability
    UC       Urgent Care (Sick Call)




Dashboard            FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)                       1 of 1
                                   IHSC QMC Inspection
                    Case 1:22-cv-00586-CDB  DocumentWorksheet:  Staffing
                                                       64-1 Filed        Matrix
                                                                  07/21/23    Page 146 of 1402

                                           CDF STAFFING MATRIX

                                                      Total FTE Per
         Position     # FTE Filled     # FTE Vacant                    # Day Shift   # Evening Shift   # Night Shift
                                                      Staffing Model
C.N.A.
Dental Assistant
Dentist
EMT
H.S.A.
LVN/LPN
MH Counselor
MRT
NP/PA
Nurse Manager
Paramedic
Pharmacist
Pharmacy Tech
Physician
Psychiatrist
Psychologist
RN
Social Worker
X-ray Tech
Other 1
Other 2
         TOTAL              0               0               0              0               0                0




                                FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)
                               IHSC QMC Inspection Worksheet: Introduction
            Case 1:22-cv-00586-CDB   Document 64-1 Filed 07/21/23 Page 147 of 1402



                                               INTRODUCTION TO THE QMC
These Quality of Medical Care (QMC) audit tools focus on the assessment of clinical performance using a set of standardized
measures. The measures are based on either nationally-accepted clinical guidelines or industry best practices regarding
healthcare services for chronic diseases, such as National Commission for Correctional Healthcare, National Institutes of
Health, American Diabetes Association, etc.

Measurement of clinical performance is only one aspect of a facility quality assessment. It is an adjunct, not a substitute, for
assessment of the effectiveness of policies and procedures, sanitation and hygiene, space and equipment, etc.
• These tools are designed to provide a snapshot of care for current or recent detainees, focused on areas of high risk.
• The data collected can be used to analyze opportunities for improvement, for tracking and trending performance over a
period of time, and for cross-comparisons with other facilities.
• The measures on each audit tool are “proxy” measures which can be used to generalize about the health care for a specific
situation or condition based on the answers to each question. For example, there are eight measures on the diabetes audit
tool. If performance on these measures is acceptable, it is assumed that the overall care for diabetics is acceptable.

• The recommended sampling design is intended to measure recent care provided in the facility, generally on patients who
have been in custody for enough time to provide expected care, follow-through and measurable outcomes. For example, the
health assessment sample is taken from a list of detainees in custody ≥ 14 days.
• In most cases, the recommended sample size will provide a reliable picture of care that can be generalized.
• While the goal is 100% compliance, the performance objective for most of the audit tools is ≥ 90%.       That is, a facility is
meeting expectations when performance on each measure meets or exceeds 90%.
• The performance objective for the audit tool on ambulatory sensitive conditions is 100%.
• In general, the answers are either “yes,” “no,” or “not applicable due to length of stay” (N/A - LOS) or “not applicable – not
due to length of stay” (N/A - NLOS). In general, a ‘yes’ response indicates that the measure has been met and a ‘no’ response
indicates the measure has not been met. Two exceptions to this are noted in the section below.

                                                   AUDIT TOOL COMPLETION
Reviewers are required to complete each audit tool. If there are no detainees who meet the criteria for a particular audit tool,
this should be noted on the worksheet by clicking the appropriate box. If there are no detainees who meet the criteria, but
there are general questions to answer on the tool, the answers to these questions should still be filled out. If the number of
detainees who meet the audit tool criteria is less than the recommended sample size, the reviewer should answer the measures
for the number of detainees available and add a note in the overall remarks section about why the full sample size was not
reviewed. If certain measures are not applicable to a particular detainee, the reviewer will select the ‘NA – LOS’ answer, if
the reason it was not applicable is related to the shortened stay of the detainee in the facility. If the reason is not applicable
due to other reasons, the reviewer will select ‘NA – Not LOS’ as the answer.

Reviewers should note that in item #2 in the Evaluation of Care Prior to Emergency Department/Hospital Visit for Conditions
Sensitive to Ambulatory Care audit tool a ‘no’ response is the desired answer that would indicate that the criteria was met.
Thus if all responses are ‘no’ for this item, this reflects 100% compliance with this measure. The same should be noted by
reviewers for item #5 in the Suicide Screening audit tool. A ‘no’ response is the desired answer that would indicate the
criteria was met.

                                                   TIPS FOR REVIEWERS
• Keep control of the medical record sample selection. Select the records to review from the primary or secondary source
identified on each audit tool. Ask the medical records staff to return the list of selected records with the corresponding stack
of records to know why those records were requested and what proportion of the requests were not available.

• Take note of the proportion of the requested medical records that were not available and the proportion of laboratory and
diagnostic reports that were not filed and acknowledged within the medical record. These are indicators of medical record
system problems.




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                               IHSC QMC Inspection Worksheet: Introduction
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• Try to maintain the sample size. If several records requested are not available, select the same number of additional records
to maintain the expected sample size.
• If a question asks for clinical judgment as to timeliness or appropriateness and the reviewer is unsure of the answer, make a
simple note of the circumstances and discuss with a physician before finalizing the data. This may be done “back in the
office.”
• Don’t neglect to ask for any paper records in facilities that use electronic health records. Many facilities maintain a paper
record for certain documents.
• Don’t hesitate to use a detainee’s record for more than one audit tool. If the name shows up on two lists, and it was selected
multiple times, use that record again.
• Don’t make any assumptions about the reason for the absence of medical record documentation for any measure in the audit
tools. Inquire with the facility health authority to obtain a clear understanding of the absence of information.
• Don’t let facility staff select the records for review. This introduces bias, even if not intentional.
• Don’t confuse the policy governing a certain practice with what was actually done in specific instance. Actual practice
should be well-documented in the medical record.
• Don’t think about calculating a composite score for an audit tool. Composite scores are misleading.         Failure to achieve ≥
90% on any single measure is an opportunity for improvement that can reduce a potential risk to detainees.




                                 FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)
                    IHSC QMC
 Case 1:22-cv-00586-CDB      Inspection
                         Document  64-1Worksheet: Key
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Term                    Description
A#                      Enter A# in format 123456789.
                        Omit all leading characters such as "A".
N/A - LOS               N/A Due to Length of Stay
N/A - NLOS              N/A Not Due to Length of Stay
ASM                     Asthma
CG                      Complaints and Grievance
CM                      Continuity of Medications
DC                      Dental Care
DM                      Diabetes
DSA                     Diagnostic Services and Specialty Care Access
EED                     Evaluation of Care Prior to Emergency Department
HA                      Health Assessment
HIV                     Human Immunodeficiency Virus
HTM                     Hypertension
LT                      Laboratory Testing
MR                      Medical Recordkeeping
MAR                     Medication Administration Records
MHS                     Mental Health Screen
MHT                     Mental Health Treatment Planning
PG                      Pregnant Women
SZ                      Seizure Disorder
SS                      Suicide Screening
TD                      Treatment of Disability
UC                      Urgent Care (Sick Call)




             FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)
                                             IHSC QMC Inspection Worksheet: ASM
              Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 150 of 1402

                                        ASTHMA (MODERATE AND SEVERE)
Number of Files Reviewed for Patients
                                                     Select
Meeting this Criteria:

                   To assess conformance with nationally-accepted guidelines for chronic disease and to prevent deterioration in
Purpose:
                   function and cost of unnecessary care.
Source:            Chronic disease registry or MARs (Medical Administrative Record).
                   10 patients with moderate or severe asthma (for example, those on inhaled or oral steroids), chosen at random, if
Sample:
                   available.
                   NCCHC Federal Clinical Guidelines
                   https://www.ncchc.org/federal-clinical-guidelines
                   National Heath, Lung, and Blood Institute. (Sept., 2012). Asthma Care Quick Reference: Diagnosing and
Guidelines:
                   https://www.nhlbi.nih.gov/files/docs/guidelines/asthma_qrg.pdf
                   Peak Expiratory Flow Rates, (Sept, 2016)
                   http://www.sh.lsuhsc.edu/fammed/outpatientmanual/PeakFlowTables.htm


Remarks:                                                               Type Text Here

Reviewer:                               Type Text Here                              Date Reviewed:                   Select
                                                              Facility (f)
      fASM-1a:     Does the facility follow a particular clinical practice guideline to manage asthma?               Select
      fASM-1b:     If yes, what is the guideline?                                         Type Text Here

                                                             Clinical (c)
                   Was patient seen in CCC by mid-level provider or physician within 14 days of illness identification? *14 days for
      cASM-1
                   stable patients. Unstable patients or those on multiple medications (4 or more) should be seen sooner.
      cASM-2       Was a peak flow completed at the initial physical exam?
      cASM-3       Was a peak flow completed at the CC visit or within the last 3 months?
                   Was a chronic disease guideline followed, which addressed disease severity, prescription of medication
      cASM-4       consistent with severity, and documented degree of control? *This criterion may require physician review. Please
                   note in remarks if physician input was utilized.
     Totals:                    0                     0              0              0              0
   Compliance:
    Patient(s)        A# (numbers only)             cASM-1       cASM-2         cASM-3         cASM-4
        1                                            Select       Select         Select         Select
        2                                            Select       Select         Select         Select
        3                                            Select       Select         Select         Select
        4                                            Select       Select         Select         Select
        5                                            Select       Select         Select         Select
        6                                            Select       Select         Select         Select
        7                                            Select       Select         Select         Select
        8                                            Select       Select         Select         Select
        9                                            Select       Select         Select         Select
       10                                            Select       Select         Select         Select




ASM                              FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)                                               1 of 1
                                  Case 1:22-cv-00586-CDBIHSC QMC Inspection Worksheet: DM
                                                           Document    64-1 Filed 07/21/23 Page 151 of 1402

                                                                                 DIABETES
Number of Files Reviewed for Patients
                                                   Select
Meeting this Criteria:

Purpose:           To assess conformance with nationally-accepted guidelines for chronic disease and to prevent deterioration in function and cost of unnecessary care.
Source:            Chronic disease registry or MARs.
Sample:            10 patients with diabetes chosen at random, if available.
                   NCCHC Federal Clinical Guidelines
Guidelines:
                   https://www.ncchc.org/federal-clinical-guidelines

Remarks:                                                                                    Type Text Here

Reviewer:                                       Type Text Here                                      Date Reviewed:                       Select
                                                                                   Facility (f)
                   What clinical practice guideline does
       fDM-1:                                                                                                    Type Text Here
                   the facility use to manage diabetes?
                                                                                  Clinical (c)
       cDM-1       Was blood sugar measured and recorded on intake?
                   Was patient seen for chronic care by mid-level provider or physician within 14* days of illness identification? (14 days for stable patients. Unstable
       cDM-2
                   patients or those on multiple medications (4 or more) should be seen sooner.)
       cDM-3       Was a baseline HgbA1C performed within 30 days of intake or within the past 3 months?
       cDM-4       Were lipids measured within one year?
       cDM-5       Was patient followed at least every 90 days with appropriate vital signs?
       cDM-6       Was aspirin prescribed, as clinically indicated? *Refer to User Guide for clinical indications.
       cDM-7       Was degree of control (goal HgbA1C <8.0) documented?
       cDM-8       Was a strategy to attain diabetes control documented if HgbA1C was above goal?
       Totals:                   0                   0              0              0              0               0                0               0              0
     Compliance:
      Patient(s)      A# (numbers only)           cDM-1           cDM-2         cDM-3             cDM-4         cDM-5          cDM-6              cDM-7        cDM-8
           1                                       Select          Select        Select            Select        Select         Select             Select       Select
           2                                       Select          Select        Select            Select        Select         Select             Select       Select
           3                                       Select          Select        Select            Select        Select         Select             Select       Select
           4                                       Select          Select        Select            Select        Select         Select             Select       Select
           5                                       Select          Select        Select            Select        Select         Select             Select       Select
           6                                       Select          Select        Select            Select        Select         Select             Select       Select
           7                                       Select          Select        Select            Select        Select         Select             Select       Select
           8                                       Select          Select        Select            Select        Select         Select             Select       Select
           9                                       Select          Select        Select            Select        Select         Select             Select       Select
          10                                       Select          Select        Select            Select        Select         Select             Select       Select




DM                                                       FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)                                                                  1 of 1
                                                 IHSC QMC
                             Case 1:22-cv-00586-CDB       Inspection
                                                      Document  64-1Worksheet: HIV
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                                                                         HIV
Number of Files Reviewed for Patients
                                                     Select
Meeting this Criteria:

                    To assess conformance with nationally-accepted guidelines for chronic disease and to prevent deterioration in function and cost
Purpose:
                    of unnecessary care.
Source:             Chronic disease registry or MARs for current detainees and those detained within the last 6 months.
Sample:             10 patients with HIV chosen at random or the universe of HIV-infected detainees, if < 10.
                    National Institutes of Health. Aids Info.    https://aidsinfo.nih.gov/guidelines
Guidelines:         University of California, San Francisco. HIV Clinical Consultation Center.
                    http://nccc.ucsf.edu/ACA 2004 4-ALDF-4C-18

Remarks:                                                                        Type Text Here

Reviewer:                                 Type Text Here                                Date Reviewed:                         Select
                                                                       Facility (f)
                    What clinical practice guideline does the
      fHIV-1:                                                                                          Type Text Here
                    facility use to manage HIV?
                                                                      Clinical (c)
      cHIV-1        How was HIV status identified? By laboratory, prior medical records or patient report?
      cHIV-2        Was a CD4+ and viral load completed within 14 days of arrival, or within the last 3 months?
      cHIV-3        Was patient seen by an HIV or ID specialist within 30 days of HIV identification?
      cHIV-4        Was antiretroviral treatment considered and documented?
      cHIV-5        Was the patient seen by a mid-level provider or physician for chronic care at least every 90 days?
      cHIV-6        Was a chest x-ray completed within 72 hours of problem identification, if not already done?
     Totals:                    0                                       0               0                 0              0                0
   Compliance:
    Patient(s)         A# (numbers only)            cHIV-1            cHIV-2          cHIV-3         cHIV-4          cHIV-5             cHIV-6
        1                                            Select            Select          Select         Select          Select             Select
        2                                            Select            Select          Select         Select          Select             Select
        3                                            Select            Select          Select         Select          Select             Select
        4                                            Select            Select          Select         Select          Select             Select
        5                                            Select            Select          Select         Select          Select             Select
        6                                            Select            Select          Select         Select          Select             Select


HIV                                        FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)                                                          1 of 2
                                            IHSC QMC
                        Case 1:22-cv-00586-CDB       Inspection
                                                 Document  64-1Worksheet: HIV
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      Patient(s)   A# (numbers only)         cHIV-1       cHIV-2     cHIV-3      cHIV-4    cHIV-5    cHIV-6
          7                                   Select       Select     Select      Select    Select    Select
          8                                   Select       Select     Select      Select    Select    Select
          9                                   Select       Select     Select      Select    Select    Select
         10                                   Select       Select     Select      Select    Select    Select




HIV                                    FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)                       2 of 2
                                             IHSC QMC Inspection Worksheet: HTM
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                                                          HYPERTENSION
Number of Files Reviewed for Patients
                                                     Select
Meeting this Criteria:

                   To assess conformance with nationally-accepted guidelines for chronic disease and to prevent deterioration in
Purpose:
                   function and cost of unnecessary care.
Source:            Chronic disease registry or MARs.
Sample:            10 patients with hypertension chosen at random, if available.
                   NCCHC Federal Clinical Guidelines
Guidelines:
                   https://www.ncchc.org/federal-clinical-guidelines

Remarks:                                                               Type Text Here

Reviewer:                               Type Text Here                             Date Reviewed:                    Select
                                                              Facility (f)
      fHTM-1a:     Does the facility follow a clinical practice guideline to manage hypertension?                    Select
      fHTM-1b:     If yes, what is the guideline?                                         Type Text Here

                                                             Clinical (c)
      cHTM-1       Was a blood pressure reading noted at intake?
                   Was the patient seen by an MD/PA/NP within 14 days of illness identification? *14 days for stable patients.
      cHTM-2
                   Unstable patients or those on multiple medications (4 or more) should be seen sooner.
                   If blood pressure was >140 systolic or >90 diastolic, was a treatment plan initiated within 14 days of
      cHTM-3       identification? *14 days for stable patients. Unstable patients or those on multiple medications (4 or more)
                   should be seen sooner.
    cHTM-4         Was a chronic disease guideline, including baseline laboratory testing, followed?
     Totals:                    0                    0               0               0              0
   Compliance:
    Patient(s)        A# (numbers only)             cHTM-1       cHTM-2         cHTM-3        cHTM-4
        1                                            Select       Select         Select        Select
        2                                            Select       Select         Select        Select
        3                                            Select       Select         Select        Select
        4                                            Select       Select         Select        Select
        5                                            Select       Select         Select        Select
        6                                            Select       Select         Select        Select
        7                                            Select       Select         Select        Select
        8                                            Select       Select         Select        Select
        9                                            Select       Select         Select        Select
       10                                            Select       Select         Select        Select




HTM                              FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)                                                1 of 1
                                              IHSC QMC Inspection Worksheet: SZ
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                                                     SEIZURE DISORDER
Number of Files Reviewed for Patients
                                                   Select
Meeting this Criteria:

Purpose:           To prevent deterioration in function and cost of unnecessary care.
Source:            Chronic disease registry or MARs.
Sample:            10 patients with seizure disorder chosen at random, if available.
Guidelines:

Remarks:                                                                Type Text Here

Reviewer:                               Type Text Here                                   Date Reviewed:              Select
                                                               Facility (f)
                   What clinical practice guideline does the
       fSZ-1:                                                                                Type Text Here
                   facility use to manage seizures?
                                                              Clinical (c)
       cSZ-1       Was an appropriate neurological history completed at the initial physical examination?
                   Was the patient seen in CCC by mid-level provider or physician within 14 days of illness identification? *14 days
       cSZ-2
                   for stable patients. Unstable patients or those on multiple medications (4 or more) should be seen sooner.
                   Were serum drug levels performed and acknowledged in the medical record every 3 months until stable, then
       cSZ-3
                   every 6 months, where indicated?
       cSZ-4       Was a treatment plan established?
       cSZ-5       Are there orders for a bottom bunk?
       Totals:                  0                      0                 0             0             0              0
     Compliance:
      Patient(s)     A# (numbers only)             cSZ-1               cSZ-2        cSZ-3          cSZ-4        cSZ-5
          1                                        Select              Select       Select         Select       Select
          2                                        Select              Select       Select         Select       Select
          3                                        Select              Select       Select         Select       Select
          4                                        Select              Select       Select         Select       Select
          5                                        Select              Select       Select         Select       Select
          6                                        Select              Select       Select         Select       Select
          7                                        Select              Select       Select         Select       Select
          8                                        Select              Select       Select         Select       Select
          9                                        Select              Select       Select         Select       Select
         10                                        Select              Select       Select         Select       Select




SZ                               FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)                                              1 of 1
                                             IHSC QMC Inspection Worksheet: CM
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                                              CONTINUITY OF MEDICATIONS
Number of Files Reviewed for Patients
                                                  Select
Meeting this Criteria:

Purpose:           To assess timeliness of medication, as ordered.
                   Patients with initial intake orders for chronic medications with time urgency, such as HIV medications,
Source:            Coumadin, psychotropic medication, diabetes medication, or new prescriptions for antibiotics (psychotropic
                   medication must be part of the sample).
                   Initially identify 10 patients (if available) from MARs, cross check date of first dose with order date in the
Sample:
                   medical record.
Guidelines:

Remarks:                                                             Type Text Here

Reviewer:                               Type Text Here                             Date Reviewed:                     Select
                                                             Clinical (c)
       cCM-1       Period of time from completion of intake screening to the ordering of medications less than 24 hours?
       cCM-2       Period of time from order to first dose less than 24 hours?
       Totals:                  0                     0              0
     Compliance:
      Patient(s)      A# (numbers only)          cCM-1           cCM-2
          1                                       Select          Select
          2                                       Select          Select
          3                                       Select          Select
          4                                       Select          Select
          5                                       Select          Select
          6                                       Select          Select
          7                                       Select          Select
          8                                       Select          Select
          9                                       Select          Select
         10                                       Select          Select




CM                               FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)                                                  1 of 1
                                              IHSC QMC Inspection Worksheet: DC
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                                                           DENTAL CARE
Number of Files Reviewed for Patients
                                                  Select
Meeting this Criteria:

Purpose:           To assess compliance with detention standards and continuity of care.
Source:            Dental sick call list or dental referral log.
                   10 records (if available) from recent schedule of patients evaluated for a dental complaint, selected for acuity,
Sample:
                   e.g., on pain medication or antibiotics for toothache.
Guidelines:        NCCHC 2014 J-A-01, J-E-02, J-E-04, J-E-06; ACA 2004 4-ALDF-4C-20.

Remarks:                                                             Type Text Here

Reviewer:                               Type Text Here                              Date Reviewed:                      Select
                                                            Clinical (c)
       cDC-1       Was patient screened for symptoms during the intake process?
       cDC-2       Was patient evaluated by a qualified health professional within 48 hours of request?
       cDC-3       Do dental clinical notes describe findings, diagnosis, treatment, and plans?
       cDC-4       Was the patient scheduled for follow-up treatment as recommended?
       Totals:                 0                     0              0                0            0
     Compliance:
      Patient(s)      A# (numbers only)           cDC-1           cDC-2          cDC-3           cDC-4
          1                                       Select          Select         Select          Select
          2                                       Select          Select         Select          Select
          3                                       Select          Select         Select          Select
          4                                       Select          Select         Select          Select
          5                                       Select          Select         Select          Select
          6                                       Select          Select         Select          Select
          7                                       Select          Select         Select          Select
          8                                       Select          Select         Select          Select
          9                                       Select          Select         Select          Select
         10                                       Select          Select         Select          Select




DC                               FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)                                                 1 of 1
                                               IHSC QMC Inspection Worksheet: DSA
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                                DIAGNOSTIC SERVICES AND SPECIALTY CARE ACCESS
Number of Files Reviewed for Patients
                                                     Select
Meeting this Criteria:

Purpose:           To assess timeliness of off-site diagnostic services and specialty care.
Source:            Referrals log, medical records or MedPars.
                   10 specialty patients (if available) chosen by acuity or risk of harm if access is delayed, particularly in specialties
Sample:            where timely access has been a problem for detainees in this facility.
Guidelines:        NCCHC 2014 J-D-05; ACA 2004 4-ALDF-4C-06.

Remarks:                                                               Type Text Here

Reviewer:                                 Type Text Here                                 Date Reviewed:                      Select
                                                             Clinical (c)
      cDSA-1       Was there a documented time urgency included on the order for specialty care or diagnostic services?
                   Was the appointment accomplished within 45 days of the order or within the ordered timeframe, e.g., “return in 90
      cDSA-2
                   days”?
      cDSA-3       Was the patient re-evaluated for deterioration every 30 days until off-site service completed?
                   Did the facility clinician acknowledge the specialist's report in the medical record within 7 days of the date the
      cDSA-4
                   service was performed?
     Totals:                   0                                         0               0               0               0
   Compliance:
    Patient(s)       A# (numbers only)              Clinic            cDSA-1         cDSA-2          cDSA-3          cDSA-4
        1                                           Select             Select         Select          Select          Select
        2                                           Select             Select         Select          Select          Select
        3                                           Select             Select         Select          Select          Select
        4                                           Select             Select         Select          Select          Select
        5                                           Select             Select         Select          Select          Select
        6                                           Select             Select         Select          Select          Select
        7                                           Select             Select         Select          Select          Select
        8                                           Select             Select         Select          Select          Select
        9                                           Select             Select         Select          Select          Select
       10                                           Select             Select         Select          Select          Select




DSA                                FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)                                                   1 of 1
                                                               IHSC QMC Inspection Worksheet: EED
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 EVALUATION OF CARE PRIOR TO EMERGENCY DEPARTMENT/HOSPITAL VISIT FOR CONDITIONS SENSITIVE TO AMBULATORY CARE
Number of Files Reviewed for Patients
                                                            Select
Meeting this Criteria:

                   To determine whether earlier intervention might have prevented morbidity and cost of outside care. To measure continuity and coordination of
Purpose:           care for inbound patients.
Source:            Emergency Department (ED) logs.
                   Within the past 6 months, 10 patients (if available) sent to ED with ambulatory sensitive conditions, such as seizure, alcohol and/or substance
Sample:
                   withdrawal, skin or deep tissue infections, DKA, abdominal pain, or chest pain.
Guidelines:        NCCHC 2014 J-E-12.

Remarks:                                                                              Type Text Here

Reviewer:                                                 Type Text Here                                                Date Reviewed:                    Select
                                                                             Clinical (c)
      cEED-1       Is there an outbound progress note?
                   Is there evidence that earlier intervention might have prevented deterioration to the point of need for ED/hospital care? If yes, please describe in
      cEED-2       the remarks portion of the report.*This will require physician review in some cases. If a physician assists with completion of this review, please
                   include his or her name in the report comments.
     cEED-3        Is there discharge documentation from the hospital or ED in the chart?
     cEED-4        Is there an inbound assessment?
     cEED-5        Does the assessment reflect hospital findings and concurrence or deviation from hospital recommendations?
     Totals:                    0                                                        0               0              0              0                0
   Compliance:
    Patient(s)        A# (numbers only)                Chief Complaint               cEED-1          cEED-2         cEED-3          cEED-4         cEED-5
           1                                                                           Select         Select         Select          Select         Select

           2                                                                           Select         Select         Select          Select         Select

           3                                                                           Select         Select         Select          Select         Select

           4                                                                           Select         Select         Select          Select         Select

           5                                                                           Select         Select         Select          Select         Select

           6                                                                           Select         Select          Select         Select         Select

           7                                                                           Select         Select          Select         Select         Select

           8                                                                           Select         Select          Select         Select         Select

           9                                                                           Select         Select          Select         Select         Select

          10                                                                           Select         Select          Select         Select         Select




EED                                                FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)                                                                      1 of 1
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                                                        COMPLAINTS AND GRIEVANCES
Number of Files Reviewed for Patients
                                                   Select
Meeting this Criteria:

Purpose:           To assess use of medical grievance data as part of the quality management program.
Source:            Facility grievance logs.
                   Facility’s periodic grievance analyses, with underlying data (grievances and responses). Include no greater than 30 A#’s per grievance
Sample:
                   category.
Guidelines:        NCCHC 2014 J-A-06, J-A-11.

Remarks:                                                                        Type Text Here

Reviewer:                                 Type Text Here                                    Date Reviewed:                            Select
                                                                       Facility (f)
                   Does your review of the facility’s grievances reveal any possible barriers to care or repetitive concerns that could
      fCG-1:       affect clinical care?                                                                                                       Select
                   If yes, please address in the remarks section whether and how the facility uses this information to implement change.
      fCG-2:       How many medical grievances were submitted over the past 3 months?                     Select
                   Of medical grievances submitted over the past three months, how many were
      fCG-3:                                                                                              Select
                   appropriately addressed within 5 working days of receipt?
                                                                      Clinical (c)
      cCG-1        What is the A# for each of the grievances submitted over the past 3 months for each category in the table below?
      cCG-2        What was the number of grievances submitted, by A#, over the past 3 months for each category in the table below?
      Totals:                  0                      0                 0                 0                  0                  0                 0
                                                                   Denial or
                                               Availability of                                       Competency/pr
                                                                   refusal of                                               Attitude,
                                                    care                                                ofessional
                                                                    specific                                              demeanor or
     Patient(s)      A# (numbers only)        (sick call hours,                    Delay(s) in care     skillset of                            Other
                                                                 request(s) for                                         conduct of staff
                                                    etc.)                                             medical staff
                                                                      care

           1                                       Select            Select             Select            Select             Select            Select
           2                                       Select            Select             Select            Select             Select            Select
           3                                       Select            Select             Select            Select             Select            Select
           4                                       Select            Select             Select            Select             Select            Select
           5                                       Select            Select             Select            Select             Select            Select


CG                                          FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)                                                           1 of 2
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                                                             Denial or
                                        Availability of                                      Competency/pr
                                                             refusal of                                        Attitude,
                                             care                                              ofessional
                                                              specific                                       demeanor or
     Patient(s)   A# (numbers only)    (sick call hours,                    Delay(s) in care   skillset of                     Other
                                                           request(s) for                                   conduct of staff
                                             etc.)                                            medical staff
                                                                care

         6                                  Select             Select           Select           Select          Select        Select
         7                                  Select             Select           Select           Select          Select        Select
         8                                  Select             Select           Select           Select          Select        Select
         9                                  Select             Select           Select           Select          Select        Select
        10                                  Select             Select           Select           Select          Select        Select




CG                                    FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)                                                 2 of 2
                                              IHSC QMC Inspection Worksheet: HA
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                                                    HEALTH ASSESSMENT
Number of Files Reviewed for Patients
                                                   Select
Meeting this Criteria:

                   To determine compliance with detention standards to assure continuity and coordination of care for serious
Purpose:
                   medical needs.
                   Detainees arriving during recent period, at least 2 weeks prior to review, to allow for evaluation of timely follow-
Source:
                   up.
Sample:            20 medical records chosen at random.
Guidelines:        NCCHC 2014 J-E-04; ACA 2004 4-ALDF-4C-24, 4-ALDF-4C-25

Remarks:                                                             Type Text Here

Reviewer:                                Type Text Here                               Date Reviewed:                     Select
                                                             Clinical (c)
       cHA-1       Initial screen complete within 12 hours of booking?
                   PPD placed during medical screening and read within 48-72 hours, or chest x-ray is taken, or if PPD is positive by
       cHA-2
                   history, chest x-ray is ordered and read?
       cHA-3       Are detainees who screen positive for mental illness or suicide risk referred for evaluation?
                   Is there timely follow-up for significant findings of acute and chronic conditions? *A significant finding is a
       cHA-4       condition that, without timely intervention, could lead to deterioration in function, pain, death, or risk to the
                   public health.
                   Is there a complete health evaluation? Vital signs, adequate medical and behavioral health history, physical
                   examination by licensed MD/PA/NP/RN within 14 days of booking? Patients with HIV, diabetes, dialysis, asthma
       cHA-5
                   (on daily meds), and other chronic illness will be seen within 2 business days or addressed by phone and seen on
                   the next business day.
       Totals:                 0                      0                0              0               0              0
     Compliance:
      Patient(s)     A# (numbers only)             cHA-1            cHA-2          cHA-3           cHA-4          cHA-5
          1                                        Select           Select         Select          Select         Select
          2                                        Select           Select         Select          Select         Select
          3                                        Select           Select         Select          Select         Select
          4                                        Select           Select         Select          Select         Select
          5                                        Select           Select         Select          Select         Select
          6                                        Select           Select         Select          Select         Select
          7                                        Select           Select         Select          Select         Select
          8                                        Select           Select         Select          Select         Select
          9                                        Select           Select         Select          Select         Select
         10                                        Select           Select         Select          Select         Select




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                                                    LABORATORY TESTING
Number of Files Reviewed for Patients
                                                    Select
Meeting this Criteria:

Purpose:            To assess timeliness, continuity, and coordination of care.
Source:             Medical records, laboratory logs, sick call logs, and/or chronic care logs.
Sample:             10 orders for labs within the last 6 months (refer to User Guide for additional guidance) , if available.
Guidelines:

Remarks:                                                              Type Text Here

Reviewer:                                Type Text Here                               Date Reviewed:                      Select
                                                            Clinical (c)
       cLT-1        Was blood drawn or test done within 1 business day of ordered date?
       cLT-2        Was there a report back within 24 hours, as appropriate, for acute labs or within 7 days for routine labs?
       cLT-3        Was there clinical acknowledgment?
       cLT-4        Was there an appropriate clinical response?
       cLT-5        Was patient advised of laboratory results?
       Totals:                  0                     0              0               0               0                0
     Compliance:
      Patient(s)       A# (numbers only)            cLT-1           cLT-2           cLT-3           cLT-4           cLT-5
           1                                        Select          Select          Select          Select          Select
           2                                        Select          Select          Select          Select          Select
           3                                        Select          Select          Select          Select          Select
           4                                        Select          Select          Select          Select          Select
           5                                        Select          Select          Select          Select          Select
           6                                        Select          Select          Select          Select          Select
           7                                        Select          Select          Select          Select          Select
           8                                        Select          Select          Select          Select          Select
           9                                        Select          Select          Select          Select          Select
          10                                        Select          Select          Select          Select          Select




LT                               FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)                                                 1 of 1
                                            IHSC QMC Inspection Worksheet: MAR
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                                        MEDICATION ADMINISTRATION RECORDS
Number of Files Reviewed for Patients
                                                  Select
Meeting this Criteria:

Purpose:           To assess continuity of ordered care and notification to clinician of poor adherence to medication orders.
Source:            MARS.
                   MAR and medical record for 10 patients, if available. Medication refusals and/or no shows are defined as those
Sample:            instances in which a patient refuses medications on 3 consecutive days or for 3 consecutive doses and /or 4 or
                   more doses in a week.
Guidelines:

Remarks:                                                            Type Text Here

Reviewer:                               Type Text Here                             Date Reviewed:                    Select
                                                              Facility (f)
                   Does facility have a policy in place stating which medications, if missed a certain
      fMAR-1:                                                                                                        Select
                   number of consecutive doses, require provider notification and/or follow-up?
                   Based on review of current month MARs or previous month’s MARs, if available,
      fMAR-2:      what percentage of MARs that have either blanks, consecutive refusals, or no shows                Select
                   on the MARs?
                   In the medical record filing area, how many months of MARs are unfiled, not
      fMAR-3:                                                                                                        Select
                   counting unfiled MARs within 14 days of the end of the previous month?
                   Estimate the percentage of patients on self-administered medication ordered by a
      fMAR-4:                                                                                                        Select
                   provider.
      fMAR-5:      OTCs provided by medical, commissary or both?                                                     Select
                                                           Clinical (c)
      cMAR-1       What is the number of refusals and no shows during the previous month for each patient?
      cMAR-2       Is there documentation in the medical record that the prescribing clinician was notified of consecutive refusals?
                   Was there an appropriate response from the clinician (i.e., was the patient interviewed or was the prescription
      cMAR-3
                   changed or discontinued?)
     Totals:                    0                   0              0                0
   Compliance:
    Patient(s)        A# (numbers only)         cMAR-1         cMAR-2          cMAR-3
        1                                        Select         Select          Select
        2                                        Select         Select          Select
        3                                        Select         Select          Select
        4                                        Select         Select          Select
        5                                        Select         Select          Select
        6                                        Select         Select          Select
        7                                        Select         Select          Select
        8                                        Select         Select          Select
        9                                        Select         Select          Select
       10                                        Select         Select          Select




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                                                                                                                                                                                                                         IHSC QMC Inspection Worksheet: MR


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                                                            MEDICAL RECORD-KEEPING PRACTICES
Number of Files Reviewed for Patients
                                                     Select
Meeting this Criteria:

Purpose:           To assess completeness of the medical record and appropriateness of medical record practices.
Source:            Medical Records, Chronic Care Log, and MARs.
Sample:            10 records of detainees with chronic disease, if available.
                   For all answers that are “partial compliance” or “non-compliant”, the reviewer should insert a comment in the remarks section of the report. For
Instructions:      example, if most of the progress notes are legible, but one or two practitioner’s notes are barely legible, the appropriate comment would be “Dr. XX’s
                   notes are not legible.”
Guidelines:        NCCHC 2014 J-H-01, J-H-03.

Remarks:                                                                                    Type Text Here

Reviewer:                                   Type Text Here                                      Date Reviewed:                       Select
                                                                                 Facility (f)
       fMR-1:      Type of Medical Records?                                  Select
       fMR-2:      Name of Electronic Health Record?                                                              Type Text Here
       Totals:                 0                        0                       0                     0                   0                     0                  0                   0               0                 0                   0                  0                  0                  0                 0                 0                0                 0                    0                     0                 0                    0
     Compliance:

                                                                                                                  Progress notes:                                                                                                                                                                                                                                                                                                                   Integrated health
                                                                       Current problem                                                                                                                                                                     Results of                                                                                                                                          Content organized
                                                  Identifying                                                     For all encounters,                                              Lab and                                                                                                                                                                                                                                                          information with
                                                                        list: Medical and                                                                                                                                                                   specialty         Discharge                                                               Integrated                          Consolidated          for easy retrieval
                                                 information:                                Receiving screen with documentation of Clinician orders     MARs: Placed in          diagnostic                       Consents for                                                                 Special needs     Immunization                                                                                                                        EHR, where
                                                                           mental health                       significant findings,                                                                                                 Signed refusals of consultations and   summaries from                                         Date and time of medical, dental     Timely filing,   medical record:       of outside records,   EHR password
      Patient(s)      A# (numbers only)        Detainee name, ID                                and health                           for medication are record within 2 weeks      reports:        Flowsheets     medical care and                                                             treatment plan,    records, where                                                                                                                       applicable:
                                                                           diagnoses and                      diagnoses, treatments,                                                                                                       care             referrals:         ED and                                               each encounter and mental health   within 72 hours   Records from prior         pertinent          protected
                                              number, date of birth,                         assessment forms                             signed          of previous month     Acknowledged and                    treatment                                                                  where applicable     applicable                                                                                                                         Incorporation of
                                                                        treatments; known                        and dispositions,                                                                                                                       Acknowledged and   hospitalizations                                                            record                           stays incorporated.    diagnostics, and
                                                    gender.                                                                                                                          dated.                                                                                                                                                                                                                                                         information that arrives
                                                                              allergies.                           preferably SOAP                                                                                                                            dated.                                                                                                                                              consultations                     on paper into the EHR.
                                                                                                                        format.

           1                                         Select                  Select                 Select             Select                 Select             Select              Select          Select            Select             Select              Select             Select             Select            Select            Select           Select            Select              Select                Select             Select              Select
           2                                         Select                  Select                 Select             Select                 Select             Select              Select          Select            Select             Select              Select             Select             Select            Select            Select           Select            Select              Select                Select             Select              Select
           3                                         Select                  Select                 Select             Select                 Select             Select              Select          Select            Select             Select              Select             Select             Select            Select            Select           Select            Select              Select                Select             Select              Select
           4                                         Select                  Select                 Select             Select                 Select             Select              Select          Select            Select             Select              Select             Select             Select            Select            Select           Select            Select              Select                Select             Select              Select
           5                                         Select                  Select                 Select             Select                 Select             Select              Select          Select            Select             Select              Select             Select             Select            Select            Select           Select            Select              Select                Select             Select              Select
           6                                         Select                  Select                 Select             Select                 Select             Select              Select          Select            Select             Select              Select             Select             Select            Select            Select           Select            Select              Select                Select             Select              Select
           7                                         Select                  Select                 Select             Select                 Select             Select              Select          Select            Select             Select              Select             Select             Select            Select            Select           Select            Select              Select                Select             Select              Select
           8                                         Select                  Select                 Select             Select                 Select             Select              Select          Select            Select             Select              Select             Select             Select            Select            Select           Select            Select              Select                Select             Select              Select
           9                                         Select                  Select                 Select             Select                 Select             Select              Select          Select            Select             Select              Select             Select             Select            Select            Select           Select            Select              Select                Select             Select              Select
          10                                         Select                  Select                 Select             Select                 Select             Select              Select          Select            Select             Select              Select             Select             Select            Select            Select           Select            Select              Select                Select             Select              Select




MR                                                                                                                                                                                                              FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)                                                                                                                                                                                                              1 of 1
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                                                MENTAL HEALTH SCREEN
Number of Files Reviewed for Patients
                                                 Select
Meeting this Criteria:

Purpose:           To assess conformance with nationally-accepted guidelines for mental health evaluation.
Source:            Intake screens of detainees, mental health referral logs, mental health caseload.
Sample:            10 randomly selected intake screens with positive mental health screens, if available.
Guidelines:

Remarks:                                                            Type Text Here

Reviewer:                               Type Text Here                             Date Reviewed:                    Select
                                                            Clinical (c)
                   Are detainees with positive screens for mental illness evaluated by mental health professionals in a timely
      cMHS-1       manner (emergent = immediately; urgent = within 24 hours; routine = within 7 days)? *14 days for stable
                   patients. Unstable patients or those on multiple medications (4 or more) should be seen sooner.
     Totals:                   0                     0
   Compliance:
    Patient(s)        A# (numbers only)         cMHS-1
        1                                        Select
        2                                        Select
        3                                        Select
        4                                        Select
        5                                        Select
        6                                        Select
        7                                        Select
        8                                        Select
        9                                        Select
       10                                        Select




MHS                             FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)                                                1 of 1
                                            IHSC QMC Inspection Worksheet: MHT
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                                        MENTAL HEALTH TREATMENT PLANNING
Number of Files Reviewed for Patients
                                                 Select
Meeting this Criteria:

                   To conform with detention standards for mental health intervention, consistent with nationally-accepted clinical
Purpose:
                   guidelines (NCCHC).
Source:            Patients on mental health caseload, including all patients on psychotropic medication.
Sample:            10 patients selected from mental health caseload log or MARs, currently or recently in custody, if available.
Guidelines:        NCCHC 2014 J-G-04 (Item 2)

Remarks:                                                            Type Text Here

Reviewer:                               Type Text Here                            Date Reviewed:                     Select
                                                             Clinical (c)
    cMHT-1         Is a clinical assessment, treatment, and follow-up plan documented?
    cMHT-2         Are treatment plans updated at a minimum of every 90 days?
     Totals:                     0                   0               0
   Compliance:
    Patient(s)        A# (numbers only)         cMHT-1         cMHT-2
        1                                        Select         Select
        2                                        Select         Select
        3                                        Select         Select
        4                                        Select         Select
        5                                        Select         Select
        6                                        Select         Select
        7                                        Select         Select
        8                                        Select         Select
        9                                        Select         Select
       10                                        Select         Select




MHT                             FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)                                               1 of 1
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                                                     PREGNANT WOMEN
Number of Files Reviewed for Patients
                                                   Select
Meeting this Criteria:

Purpose:            To determine compliance with detention standards and continuity and coordination of care.
Source:             Current census of pregnant detainees or pregnant detainees in custody in the last 6 months.
Sample:             10 pregnant detainees, if available.
Guidelines:         NCCHC 2014 J-G-09; ACA 2004 4-ALDF-4C-13.

Remarks:                                                             Type Text Here

Reviewer:                               Type Text Here                              Date Reviewed:                     Select
                                                            Facility (f)
                    Does the facility perform a pregnancy test on females aged 10 to 56
       fPG-1:                                                                                   Select
                    during intake screening?
                                                            Clinical (c)
       cPG-1        Was a pregnancy test performed prior to x-ray or before initiation of any medications?
       cPG-2        Was an OB/GYN consult ordered for each pregnant patient with 7 days of pregnancy confirmation?
       cPG-3        Was the pregnant patient seen by OB/GYN within 30 days of pregnancy confirmation?
       cPG-4        Was the pregnant patient screened for HIV, STI and viral hepatitis?
       cPG-5        Were prenatal vitamins prescribed?
       Totals:                  0                    0               0               0            0           0
     Compliance:
      Patient(s)       A# (numbers only)          cPG-1           cPG-2          cPG-3           cPG-4            cPG-5
           1                                      Select          Select         Select          Select           Select
           2                                      Select          Select         Select          Select           Select
           3                                      Select          Select         Select          Select           Select
           4                                      Select          Select         Select          Select           Select
           5                                      Select          Select         Select          Select           Select
           6                                      Select          Select         Select          Select           Select
           7                                      Select          Select         Select          Select           Select
           8                                      Select          Select         Select          Select           Select
           9                                      Select          Select         Select          Select           Select
          10                                      Select          Select         Select          Select           Select




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                                                       SUICIDE SCREENING
Number of Files Reviewed for Patients
                                                     Select
Meeting this Criteria:

Purpose:           To assess conformance with nationally-accepted guidelines for suicide risk assessment and prevention.
Source:            Patients on suicide watch or hospitalized for suicidality within the last 3 months or since the most recent review.
                   Medical records for 10 patients (if available) placed on suicide watch or hospitalized for suicidality within the last 3
Sample:            months or since the most recent review.
Guidelines:        NCCHC 2014 J-G-05; ACA 2004 4-ALDF-4C-32

Remarks:                                                               Type Text Here

Reviewer:                                 Type Text Here                                 Date Reviewed:                    Select
                                                               Facility (f)
                   What is the total number of patients placed on suicide watch or hospitalized for suicidality
       fSS-1:                                                                                                        Select
                   within the last 3 months or since the most recent review?
                   Does the facility use an acceptable suicide risk management screening instrument,
       fSS-2:      including at a minimum, asking for a history of suicide attempts and for current suicidal         Select
                   ideation?
                   Are all screeners and all staff in direct contact with detainees trained to assess suicide risk
       fSS-3:                                                                                                        Select
                   (see training logs)?
                                                               Clinical (c)
        cSS-1      What type of monitoring was practiced while the patient was on suicide watch?
        cSS-2      Were checks documented consistently?
        cSS-3      Was the suicidal patient evaluated by a mental health professional within 24 hours of identification?
        cSS-4      Was the patient evaluated by a qualified mental health professional daily while on suicide watch?
                   Is there evidence that earlier intervention might have prevented deterioration to the point of need for a suicide
        cSS-5
                   watch? If yes, please describe in the remarks section.
       Totals:                  0                                          0            0               0              0
     Compliance:
      Patient(s)     A# (numbers only)               cSS-1             cSS-2           cSS-3           cSS-4         cSS-5
          1                                          Select            Select          Select          Select        Select
          2                                          Select            Select          Select          Select        Select
          3                                          Select            Select          Select          Select        Select
          4                                          Select            Select          Select          Select        Select
          5                                          Select            Select          Select          Select        Select
          6                                          Select            Select          Select          Select        Select
          7                                          Select            Select          Select          Select        Select
          8                                          Select            Select          Select          Select        Select
          9                                          Select            Select          Select          Select        Select
         10                                          Select            Select          Select          Select        Select




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                                                  TREATMENT OF DISABILITY
Number of Files Reviewed for Patients
                                                     Select
Meeting this Criteria:

                    To assess the care of patients with disabilities who need accommodations to access the facility’s programs or
Purpose:
                    activities as a result of their disabilities.
                    Facility logs, tour of facility, list of patients who require DME (to include walkers, canes, wheel chairs,
Source:             hearing aids, or other items to assist the patients to access the facility’s programs and activities), and
                    interviews with patients with disabilities who need accommodations to access the facility’s programs and
                    10 patients (if available) within the population who have a disability that requires medical involvement.
Sample:             Determine if the patients with disabilities received appropriate treatment and disability accommodations
                    through medical record examination.
Guidelines:         NCCHC J-G-02.

Remarks:                                                                Type Text Here

Reviewer:                                 Type Text Here                                 Date Reviewed:                Select
                                                               Facility (f)
       fTD-1:       Does the facility maintain a current list of all patients with disabilities on site?         Select
                                                               Clinical (c)
       cTD-1        Is the disability prominently noted in the file, along with any needed accommodations?
       cTD-2        Was the patient assessed for assistance with activities of daily living (ADL) upon identification of disability?
                    Were appropriate accommodation orders entered (e.g., lower bunk, mobility device (wheelchair, walker, canes,
       cTD-3
                    crutches), hearing aid, assistive listening device, sign language interpreter, meal, etc.)?
       cTD-4        Was ADL assistance provided, if applicable?
       Totals:                    0                     0               0               0              0
     Compliance:
      Patient(s)       A# (numbers only)             cTD-1           cTD-2            cTD-3            cTD-4
           1                                         Select          Select           Select           Select
           2                                         Select          Select           Select           Select
           3                                         Select          Select           Select           Select
           4                                         Select          Select           Select           Select
           5                                         Select          Select           Select           Select
           6                                         Select          Select           Select           Select
           7                                         Select          Select           Select           Select
           8                                         Select          Select           Select           Select
           9                                         Select          Select           Select           Select
          10                                         Select          Select           Select           Select




TD                                FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)                                                 1 of 1
                                                                IHSC QMC Inspection Worksheet: UC
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                                                                  URGENT CARE (SICK CALL)
Number of Files Reviewed for Patients
                                                            Select
Meeting this Criteria:

Purpose:           To assess for timely and appropriate nursing care for acute conditions.
Source:            Urgent care log, sick call request list, or sick call visit list, preferably with reason for visit noted on log.
                   10 urgent care visits for detainees with potentially serious complaints that occurred 1 to 3 weeks prior to review, if available. Common potentially
Sample:            serious complaints include chest pain, abdominal pain, seizure, vomiting, skin infection, diabetic complications, etc.
Guidelines:        NCCHC 2014 J-A-01, J-E-07; ACA 2004 4-ALDF-4C-03, 4-ALDF-4D-03.

Remarks:                                                                              Type Text Here

Reviewer:                                                Type Text Here                                              Date Reviewed:                        Select
                                                                            Clinical (c)
       cUC-1       Was there timely and appropriate evaluation by nursing staff, depending on the nature of the complaint?
       cUC-2       Was care delivered within the scope of the nurse’s license?
       cUC-3       Were vital signs documented during the nurse's assessment?
       cUC-4       If necessary, was a nursing referral to an MD/PA/NP/DMD submitted within 24 hours where appropriate?
       cUC-5       If referred, was an MD/PA/NP/DMD assessment and plan documented?
       Totals:                  0                                                       0              0             0            0                    0
     Compliance:
      Patient(s)      A# (numbers only)               Chief Complaint                 cUC-1           cUC-2          cUC-3           cUC-4          cUC-5
           1                                                                           Select         Select         Select          Select         Select

           2                                                                           Select         Select         Select          Select         Select

           3                                                                           Select         Select         Select          Select         Select

           4                                                                           Select         Select         Select          Select         Select

           5                                                                           Select         Select         Select          Select         Select

           6                                                                           Select         Select         Select          Select         Select

           7                                                                           Select         Select         Select          Select         Select

           8                                                                           Select         Select         Select          Select         Select

           9                                                                           Select         Select         Select          Select         Select

          10                                                                           Select         Select         Select          Select         Select




UC                                                 FOR OFFICIAL USE ONLY (LAW ENFORCEMENT SENSITIVE)                                                                      1 of 1
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                 ATTACHMENT 9
                                                  Email
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                                                   ICE Health Service Corps
                                                    Incident Reporting Document
The information placed on this form is confidential and privileged IAW 42 U.S.C. 11137. UNAUTHORIZED DISCLOSURE CARRIES A FINE
UP TO 20,000. DO NOT FILE OR REFER TO THIS FORM IN PATIENT RECORD. REPORT EVENT TO SUPERVISOR/DEPARTMENT
CHIEF IMMEDIATELY. Email completed to: DIHSHQINCIDENTS@dhs.gov This Form must be completed electronically.

 1. Date of Event:                           2. Time of Event:                    3. Name of Facility:
 4. Age:                                     5. Gender:      Female               6. (State in block # 16):    Detainee         Visitor     Staff       Other
7. Attending Medical Provider:                                                    8. Location of Event:
9. Diagnosis (Medical/Psychiatric if any):                                                    10. Work Related:       Yes          No
11. Weapons Involved:        Yes        No         12. Witnesses:        Yes      No          12a. Name of Witness:

13. Type of Incident/Ocurrence:
      Adverse Drug Reaction               Equipment                            Injury            Pharmacy             Property Loss or Damage
      Airborne Exposure                   Escape                               Medication (to include IV)             Suicide/Suicide Attempt
      Bloodborne Exposure                 Fall/Discovered on Floor             Medication Administration              Other (Explain in narrative block # 16)

14. Condition After Occurrence (Check one box only):
      No Apparent Effect                  Minor Injury or Effect               Significant Injury or Effect           Death or Loss of Function
                                                                                                                      Other (Explain in narrative block # 16)

15. Action Taken
Yes      No                                            Yes       No                                            Yes   No
              Medical Provider Notified                               Laboratory Tests Ordered/Taken                       Infection Control Precautions
                                                                      Reported to Supervisor/                              Taken (Explain type of precaution
              Did Medical Provider See Patient
                                                                                                                           in narrative block # 16)
                                                                      Department Chief
              X-Rays Ordered/Taken
                                                                      Transported to Other Health                          Other
                                                                      Care Facility                                        (Explain in narrative block # 16)

16. Description of Event (Concise, Factual, Objective Statements), Include Location of Event:




17. Immediate Intervention (If more space is needed, use a blank sheet of paper for continuation):




   Name, Grade, Title of Individual Completing Form (Print)                                        Signature                                Date of Report


 For HQ Use Only:
  21. Log Number:                                                                 22. Further Analysis Indicated:         Yes       No


Last Name:                                                                     First Name:
X                                                                              X
A#:                                                                            Country of Origin:
X                                                                              X
Date of Camp Arrival (DCA):                                                    DOB:
12/02/2019                                                                     01/01/1999
Medical Clinic:                                                                Sex:
X                                                                              Female


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                                       ICE Health
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                                         Incident Reporting Document (Continued)
22. Body Diagram:




23. Evaluation: (Concise Objective Statements e.g., Practice/Procedure variance involving staff. Include other possible contributing factors, etc. and suggested
    improvement measure if any):

HSA:                                                                                                                                   Date:




Medical Director:                                                                                                                      Date:




Performance Improvement Committee:                                                                                                     Date:




Last Name:                                                                       First Name:
X                                                                                X
A#:                                                                              Country of Origin:
X                                                                                X
Date of Camp Arrival (DCA):                                                      DOB:
12/02/2019                                                                       01/01/1999
Medical Clinic:                                                                  Sex:
X                                                                                Female


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                ATTACHMENT 10
                                                                                                                                                                                                                                                                                                                                                                                                                                    Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 176 of 1402




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Target IOC/
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Testing
      Req ID #                                                                                                      Requirement Statement                                                                                                                                                                                                  Functionality   Revised Statement   Comment/Interpretation and Clarifications Required                                                   Verification           Status (OPEN/CLOSED)   Status Comment (See NOTE Column if detail)      FOC/
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Team
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   NA




1.0              1.0 GENERAL REQUIREMENTS                                                                                                                                                                                                           1.0 GENERAL REQUIREMENTS

GR.1.1           Supports applicable directives of the National Interoperable Electronic Health Record and support exchange of information as directed by the Office of the National Coordinator of Health Information Technology                   1.0 GENERAL REQUIREMENTS
                 (ONC-HIT), Department of Health and Human Services (DHHS). Addresses compliance in management approach




GR.1.2           Maintains certification from a HIT certifying body recognized by ONC-HIT supporting compliance with Health Information Technology Standards Panel (HITSP) and Health Information Exchange (HIE) standards                          1.0 GENERAL REQUIREMENTS




GR.1.3           Manage the Care Provided to Detainees while in custody at immigration and Customs Enforcement Facilities meeting all "meaningful use" healthcare quality initiatives set for in the High Tech Act, the American                    1.0 GENERAL REQUIREMENTS
                 Recovery and Reinvestment Act (ARRA) and the Affordable Healthcare Act.




GR.1.4           Utilizes medical industry standards for orders, encounters, clinical coding, test results, medical documentation and medical decision support for all systems and subsystems.                                                      1.0 GENERAL REQUIREMENTS




GR.1.5           Meet specialized requirements of a correctional environment applying advanced technology to streamline medical processing of detainees.                                                                                            1.0 GENERAL REQUIREMENTS




GR.1.6           Support Efficiency, Risk Management and Quality Assurance and Compliance in all systems deployments of all policies and standards in the ICE healthcare delivery system.                                                           1.0 GENERAL REQUIREMENTS



GR.1.7           Ensures all systems clearly identify all entries that are part of the medical record at the point of entry to differentiate from parts not part of the medical record. User's must have a clear indication of what entries are     1.0 GENERAL REQUIREMENTS
                 part of the medical record and not.



GR.1.8           All solutions (systems and sub-systems) deployed to support the EHR-S shall be integrated to support use of all sub-systems in a seamless manner (single sign on, mirrored roles and task based security,                          1.0 GENERAL REQUIREMENTS
                 instantaneous availability, embedded links to other applications, etc.) such that there is only 1 medical record on each detainee (no duplicate records or medical information in separate records).




GR.1.9           All solutions (systems and sub-systems) deployed to support the EHR requirements must use the same security processes set for in the Electronic Medical Record system.                                                             1.0 GENERAL REQUIREMENTS




GR.1.10          All solutions (systems and sub-systems) deployed to support the EHR requirements must support data analysis and reporting across all subsystems and data obtained through interfaces.                                              1.0 GENERAL REQUIREMENTS




GR.1.11          All solutions (systems and sub-systems) deployed to support the EHR requirements must support single sign-on capability to prevent users from logging into separate systems for any task.                                          1.0 GENERAL REQUIREMENTS




GR.1.12          Support expansion of exchange of information to ensure continuity of information to expand the availability of complete medical records throughout the sites that are using the full capability of the EHR-S.                      1.0 GENERAL REQUIREMENTS




GR.1.13          Provide a comprehensive testing capability for all systems and subsystems for field sites to use the system during development to provide feedback to system managers (configuration, etc).                                        1.0 GENERAL REQUIREMENTS




GR.1.15          Provide comprehensive logs for auditing purposes for all systems and subsystems, include all times, dates, creations, modifications, etc for every entry in the eHR) for field sites to use the system during development 1.0 GENERAL REQUIREMENTS
                 to provide feedback to system managers (configuration, etc).




GR.1.14          All systems must work together to ensure there is no additional medical risks occur in the transfer of information between systems.                                                                                                1.0 GENERAL REQUIREMENTS




1.1              1.1 CORE - CLINIC SUPPORT                                                                                                                                                                                                          1.1 CORE - CLINIC SUPPORT

GR.1.1           General Requirements (GR) for the Clinic Support Core Module)                                                                                                                                                                      1.1 CORE - CLINIC SUPPORT

GR.1.1.1         Must provide comprehensive Graphical User Interface supportive of clinical (medical, mental health, dental) processes that provide all required information for each decision that will take place from that screen.               1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.2         Apply a time stamp and user identification on each entry to lock the content and prevent the editing of the content after entry (editing and auditing purposes) to maintain the legal integrity of the medical record.             1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.3         Provide the ability to identify specific functions to be signed at the end of each entry once the documentation is complete based on user role or specific user (to support oversight of inexperienced staff).                     1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.4         Provide the ability to establish a standardized timeframe for all documentation to be finalized.                                                                                                                                   1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.5         Provide the ability for individuals to request to change their own notes after completion, locking and digital signature. Show changes with a date and time stamp with changes, as an addendum, marking the original               1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
                 entry with strikethrough and highlighting the additions to the note to all users that view the medical record.




GR.1.1.6         Provide the ability to add an addendum to an encounter highlighting what was added and the date/time and user adding the addendum.                                                                                                 1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.7         Require all changes to prompt for a reason for the change to the documentation (error, wrong patient, duplicate).                                                                                                                  1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.8         Record all access (view, edit, change) to any medical record by individual, role, date, time and provide the ability to view the history of the access.                                                                            1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.9         Provide role based security based on staff type: Clinical Director, Psychiatrist, Physician, Health Services Administrator, Psychiatrist, Psychologist, Social Worker, Mental Health Nurses, Nurse Practitioner,                   1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
                 Physician Assistant, Registered Nurse, Licensed Vocational Nurse, Certified Nursing Assistant, Medical Records, Administrative Assistant, Pharmacist, Pharmacy Technician, Dentist, Dental Assistant, and
                 Hygienist.




GR.1.1.10        Provide the ability to add roles to the role based security postures that are specific to ICE Health Service Corps (IGSA) operations where individuals user types can be granted access to each capability available in      1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
                 the system require. These user capabilities must be in addition to the capabilities of the roles they are from the standard roles within the industry as indicated in GR.1.1.9. Currently, these non-standard roles include:
                 Infection Control Officer, Case Manager, Managed Care, Regional Medical Director, Regional Health Services Administrator, and Regional Dental Consultant




GR.1.1.11        Provide the ability for organizational leadership to define the activities that must be completed by specific staff types at the individual task level. Allow facilities to be more restrictive than the established role based 1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
                 security at the individual task level based on scope of practice, training, education and experience. Must customize (allow or deny) various activities based on local policy. Must be configurable by facility as the rules
                 for coverage and assignments will vary between facilities.




GR.1.1.12        Provide the ability for individuals holding key positions (HSAs, CDs, On call Providers) to designate other individuals who cover various tasks to effectively cover for another individual when unavailable.                      1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.13        Provide the ability to reference vital signs taken by another individual or another process in current documentation to allow reference in current progress note.                                                                  1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.14        Prevent duplication of entry of any data during the varying major business processes that are already in the system to include: recent vital signs, diagnoses, procedures, interventions, orders, admissions/discharges, 1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
                 or other specific actions in the system.




GR.1.1.15        Provide the ability to collect Nursing Minimum Data Set. http://www.nursing.umn.edu/ICNP/USANMDS/home.html                                                                                                                         1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.16        Provides scanning of paper documents into the medical record with streamlined attachment to the correct medical record utilizing technology to prevent posting medical information to the incorrect medical record.                1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
                 (Examples: printed labels or cover sheets with digital recognition through scanning)




GR.1.1.17        Provide the ability to review each scan to validate the accuracy and completeness and move the scan to the appropriate record if accidentally posted to the wrong medical record.                                                  1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.18        Ensures each scanned document can be indexed by various parameters / meta data to include the type of document, date of entry, date of document, completeness of the document (additional information pending) and 1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
                 additional meta data.




GR.1.1.19        Ensure each scanned document is incorporated into the flow of the full medical record based on the type of document, date of entry, or date of document indicating whether or not there are more documents pending.                1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.20        If two records are created on a single detainee, specified users must have the ability to combine detainee medical records.                                                                                                        1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.21        If the combine function was in error, must be able to revert back to separate records with the ability to separate each item added since the merge into their respective medical record.                                           1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.23        Provides users access to all medical record information in chronological view with the ability to progress through the full medical record (including scanned images) presenting all information available in the                  1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
                 medical record in a single view that scrolls chronologically.




GR.1.1.24        Provide the ability to view a chronological list of by subsection of the medical record or category of medical information (lab tests, blood sugars, etc).                                                                         1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.25        Provide the ability to change the order of the full medical record or subsection view based on all available parameters.                                                                                                           1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.26        Provides the ability to add fields, additional questions (to a standard list), data categories without modifying previous data recorded in the medical record.                                                                     1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.27        Provides the ability track the Functions and Decision Support (Workflow, Alerts, Queries, Reports) that are impacted by any change in the configuration given to the users to modify.                                              1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.28        After functions, questions or decision support (Workflow, Alerts, Queries, Reports) are changed through configuration, provide the ability to differentiate data required at the time the data was collected versus                1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
                 changes that occurred after the date the documentation was entered.




GR.1.1.29        Provide the ability to retain all historical data that was used in clinical assessment to support any clinical decision at the time the decision was used. (Example: High risk ranges were different at the time of a previous 1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
                 clinical decision).




GR.1.1.30        Provide appropriate compliance analysis of performance of the application per screen and complete business processes .                                                                                                             1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.31        Provide appropriate design and safeguards to prevent the performance of system from degrading with high utilization, increase in patient data and addition of sites.                                                               1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.32        Provide the ability to receive, post and read medical images (Pictures, X-Rays) for electronic otoscope, dermatology into EHR from various TeleHealth devices for incorporation in the full medical record. It is                  1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
                 acceptable to provide a link to the image through interoperability with a lower quality representation of the image and an appropriate annotation that the original image is stored in another location or system.




GR.1.1.33        Provide the ability to receive, post and read results from medical diagnostic equipment that have the capability to download results directly into the EHR (vital signs monitor, echocardiogram, etc.)                             1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.34        Provide a digital signature solution for all types of consent for treatment (initial consents, treatment plans, psychotropic medications, all refusals, patient histories, treatment plans, do not resuscitate) at all points of   1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
                 care (intake screening, sick call, pill line, encounters, SSU, Tele-Radiology, offline/remote).




GR.1.1.35        Provide the ability to document consents or refusals of any kind during all points of care (on-line and offline/remote) with specific focus on: pill line, lab draws, encounters, immunizations and special monitoring with        1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
                 an electronic signature.




GR.1.1.36        Provide the ability for the detainee signing a consent or refusal electronically to review the entire document that is being signed (general consent or refusal, consent for psychotropic medications, consent for dental          1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
                 oral treatment, consent for dental endodontic treatment plans, periodontal, treatment plan, mental health treatment plans) such that detainees are able to see the document they signed with the electronic signature
                 placed on the document.




GR.1.1.37        Provide the ability for the nurse to defer to a refusal to another individual (nurse level, provider level, CD) based on demand (not available, bring to clinic, address language deficit through translator, provider level       1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
                 education required).




GR.1.1.38        Provides they ability to defer a refusal signature if a detainee is not available to sign or the provider recommends the detainee discuss the refusal with the primary provider.                                                   1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
                                                                                                                                                                                                                                                                                                                                       Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 177 of 1402




GR.1.1.39    Provide the ability to list all detainee refusals with a status of whether or not a refusal signature was obtained.                                                                                                            1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.40    Provide the ability to present consent forms in various languages (http://www.vistawide.com/languages/top_30_languages.html) with the ability to document an interpreter identification number if used.                        1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.41    Provide the ability to notate an interpreter identification number of on any document or consent where an interpreter was used.                                                                                                1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.42    Provide an opportunity for two witnesses to sign on each electronic document and allow initial entry of a witness and the ability to quickly select the name after initial entry (correctional or ICE detention officers)      1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.43    Provide the ability for a non-EHR user to provide and sign their name if signing as a witness at the point of care.                                                                                                            1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.44    Provide the ability select from a drop down list of non-EHR users that have previously signed as a witness for easy selection for future signatures.                                                                           1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.45    Provide the ability to identify specific default EHR users or groups for individual processes.                                                                                                                                 1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.46    Provide the ability to identify specific default Non-EHR users for individual processes (signature witness)                                                                                                                    1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.47    After signature, place the physical electronic signature on the document that is signed by the detainee or witness and place in the medical record per industry standard signature requirements.                               1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.48    Provide the ability to sign consents and refusals at all healthcare delivery locations (Pill Line or Sick Call in offline/remote mode).                                                                                        1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.49    Support collection of biometrics of the detainee during signature to improve the validation that the individual signed the form.                                                                                               1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.50    Provide the ability to show patients their mental health, dental history, dental treatment plans, nursing care plans and other treatment plans customized for each individual patient showing the detainee the complete        1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
             treatment and apply a signature to the document for the patient to acknowledge their customized plan of care.




GR.1.1.51    Provide the ability to print individual or several labels on a single patient for use in labeling medication bags, special equipment for transport, and other medical documentation for detainees. Prevent                     1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
             interchangeability between Patient Identification labels and all other labels that are generated for Medical processes (Example: Medical Supply, Laboratory Slips, Medications)




GR.1.1.52    For common tasks requiring Medical Supply labels (transfers with medications, intake screening, transfers with equipment), allow users to print a single label for detainees at all work areas (nurse station, intake,         1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
             remote sick call)




GR.1.1.53    Provide the ability to print current common patient education statements to the detainee in the languages.                                                                                                                     1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.54    Provide the ability for the provider to be prompted to determine if a translator is required. When required, mandate that a translator number is entered by the user.                                                          1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.55    Provide the ability to configure system to collect answers to a defined list of questions required for various conditions and scenarios throughout the detention stay (facility arrival/intake, physical exam, chronic         1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
             conditions, mental health, dental)




GR.1.1.56    Provide the ability to develop several lists of questions grouped in various manners (Intake Screening, Protocols, Sick Call, Mental Health Intake, Dental Intake) that would require the user document the responses by 1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
             selecting from a standardized list of possible answers to the questions as indicated in medical and mental health practice to reduce or eliminate free text entries.




GR.1.1.57    Provide the ability to link answers to defined question to trigger Clinical Decision Support (WBS 1.3.2 to 1.3.5, Reports, Queries, Alerts, Workflow) and Advanced Clinical Decision Support set forth 1.3.1 Clinical          1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
GR.1.1.58    Provide the ability to complete offline/remote documentation (mass influx, worksite enforcements) where access to the network may be available.                                                                                1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.59    Provide the ability to select from common answers or responses using mouse, keyboard and touch screen.                                                                                                                         1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.60    Provide a comprehensive view of each set of questions and answers that includes the individual answers and the additional information entered by the provider (text).                                                          1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.61    Provide the ability to review all "other" text entries (where allowed) to consider adding a standard answer or answers for the question to eliminate future text entries.                                                      1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.62    Provide the ability to prompt to answer each individual question separately with one click automatically prompting for an answer to the next question.                                                                         1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.63    Provide the ability to indicate all negative responses to a set of questions with a prompt to validate that all questions were asked individually to meet standards of accrediting bodies.                                     1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.64    Provide the ability to easily view and print a complete medical record ensuring providers can easily access all medical information available on the patient in chronological order without having to click or use separate 1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
             screens to quickly go through the chart.




GR.1.1.65    Provide the ability to produce a paper version of the medical record based on the design of the paper record for consistency of documentation, training and contingency planning                                               1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.66    Provides a historical list of encounters viewable on a contiguous screen for quick review of historical encounters without any additional mouse clicks.                                                                        1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.67    Supports the use of algorithmic evidence based medicine guidelines and standards at all points of care as referenced in 1.3.1 of the Work Breakdown Structure, Clinical Decision Support.                                      1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.68    Provides the ability to collect the information required by the selected algorithmic evidence-based clinical guidelines selected.                                                                                              1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.69    Provide the ability to require users to apply of specific decision support prior to proceeding to the next step.                                                                                                               1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.70    Provide medical terminology spell check at any time within the EHR system.                                                                                                                                                     1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.71    Provide the ability to allow use of the approved abbreviations per IGSA policy and compliance with accrediting body standards.                                                                                                 1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.72    Provide a baseline set of "hot keys" applicable to the medical industry that spell out in full text in the medical record to prevent the inclusion of prohibited abbreviations in the medical record per IGSA policy.          1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.73    Provide the ability to use smart keys that enter all full information based on entering partial information (abbreviations, codes for common medical terminology, etc) during documentation process at all points of care.     1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.74    Provide the ability for additional hot keys to be enter to the existing hot keys as approved by HQ IGSA.                                                                                                                       1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.75    Provide ability for providers (based on role based user rights) to add, remove and change an active problem list (diagnoses) on a detainee during all patient encounters.                                                      1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.76    Provide the ability to document several allergies on a single screen during all processes and at all points of care.                                                                                                           1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.77    Provide a patient summary screen with demographic and custody information (date booked in, security level) and detailed medical information all conditions (current and historical), past encounters, future                   1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
             appointments, medication (active and historical), major milestones (physical exam) on a single screen.




GR.1.1.78    Show the problem list (diagnoses) are presented to all providers on all screens for consideration throughout patient care.                                                                                                     1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.79    Ensure the complete diagnosis history (current and historical) is visible to all EHR users.                                                                                                                                    1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.80    Provide the ability to identify individuals that do not have allergies (No Known Allergies) after completion of the initial encounter at the facility that will no longer present when an allergy is entered by an EHR user.   1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.81    Presents allergy information to all providers on all screens at all points of care for consideration by all providers.                                                                                                         1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.82    Identifies all data collected as a part of the medical record is indicated to the user to separate from any non-medical record information such that all users are aware whether the information entered is included in the    1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
             medical record..




GR.1.1.83    Provide the ability to allow individual fields to be identified as mandatory fields and prevent null values when necessary for all detainees.                                                                                  1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.84    Provide the ability to use drop downs with hot keys for standard responses available to allow for responses to be selected with single key stroke.                                                                             1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.85    Support use of mouse, keyboard or touch screens for all entries depending on the preference of the user.                                                                                                                       1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.86    Provide the ability to setup terminology definitions for users to access during workflow. Must allow continuous updating from management module and maintain a history of changes over time.                                   1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




GR.1.1.87    Provide the ability to create bar coded identification wristbands with photographs and demographic information to be issued to each detainee that will be used for validating identity during medication administration        1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)
             and keep on person distributions. Wristbands must be tamper resistant and sturdy enough to handle detention wear. If deemed cost effective, issue wristbands for all detainees upon arrival that can be used will not
             need to be removed until released




GR.1.1.88    All EHR-S sub-systems must collectively share the same identification process to include bar code identification wrist bands streamline access the correct medical record.                                                     1.1 CORE - CLINIC SUPPORT (General Requirements (GR) for the Clinic Support Core Module)




             Equipment                                                                                                                                                                                                                      1.1 CORE - CLINIC SUPPORT

GR.1.1.89    Provide equipment for specified locations (examples: clinic rooms, remote clinic rooms, non-dedicated shared remote rooms, portable/offline/remote services) to support the use of all point of care capabilities of the       1.1 CORE - CLINIC SUPPORT (Equipment)
             EHR system.




GR.1.1.90    All point of care devices must prevent penetration of any substances (liquid, fluids or solids) to specifically prevent transfer of bodily fluids and other medical substances.                                                1.1 CORE - CLINIC SUPPORT (Equipment)



GR.1.1.91    Each point of care device must support being cleaned with varying liquid, spray and disposable towel disinfectant products without harming any aspect of the machine (screen, keyboard, mouse, docking station).               1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.92    Ensure all equipment meet all requirements of medical devices that apply to the use of equipment on a patient to provide patient care.                                                                                         1.1 CORE - CLINIC SUPPORT (Equipment)


GR.1.1.93    Provide equipment and application design to support for offline/remote access for areas where care is provided outside of clinic (intake, sick call in pods, pill call in pods, bus, plane, etc.) and is deemed feasible for   1.1 CORE - CLINIC SUPPORT (Equipment)
             offline/remote use.




GR.1.1.94    Provide hardware to support download and continued documentation in the medical record that will sync upon return to network access.                                                                                           1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.95    Provide specialized mobile platforms/devices to ensure secure use of electronic in remote areas of correctional facilities.                                                                                                    1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.96    Provide durable "mobile" platforms/devices with adequate storage capability and/or access to support offline/remote use of the system to support pill line to document the delivery of medication, general medical record 1.1 CORE - CLINIC SUPPORT (Equipment)
             queries and follow up action that may be required as a result of a patient interaction (referral to medical sick call follow up, claim made by a detainee that needs review. )




GR.1.1.97    Provide equipment to secure the platform/devices to prevent an unauthorized individual from taking the device from its location.                                                                                               1.1 CORE - CLINIC SUPPORT (Equipment)


GR.1.1.98    Provide the ability to authenticate the user documenting the user that took the device and the date time removed and returned.                                                                                                 1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.99    Provide platform/devices suitable for use in a remote capacity to support medical operations at ICE Investigation worksite enforcement efforts, continuing care provider during evacuation of a facility and to support        1.1 CORE - CLINIC SUPPORT (Equipment)
             review and documentation of the care provided while in flight..




GR.1.1.100   For all platform/devices with battery capability for use in offline/remote periods, provide the ability hot swap batteries while the equipment is in operation without powering it down.                                       1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.101   Provide high volume scanners (>200 pages per run) to expedite the scanning and information in bulk for action at a later time through workflow.                                                                                1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.102   Provides the ably to index information at the time of scan to be used by EHR in prompt placement in the proper medical record                                                                                                  1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.103   Provide scanning and technology that uses appropriate technology to expedite posting of information into the appropriate chart (digital cover pages or labeling of each page with bar coding read by the scanning              1.1 CORE - CLINIC SUPPORT (Equipment)
             device ).
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GR.1.1.104   Provide the ability for users to reset their password through email validation using a designated email system without an administrator.                                                                                        1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.105   Ensure all times for the EHR-S should support 24-hour format (example: 23:35)                                                                                                                                                   1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.106   Provide hardware required to capture signatures for the collection of a signature at any time for consent or refusal.                                                                                                           1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.107   Automatically populate consent or refusal with appropriate detail based on the item that is being refused to include but not limited to: medication name, general care, intake screening, encounter and allow the user to       1.1 CORE - CLINIC SUPPORT (Equipment)
             select an alternative reason.




GR.1.1.108   Supports the placement of the signature visibly on the document that the individual reviews to ensure the detainee can see the placement of the signature on the document they are signing.                                     1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.109   Provide the use of biometric devices (fingerprint scan) to manage access to the system and expedite the entry into the medical record.                                                                                          1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.110   Supports use of the same biometric device to allows capture of a detainee fingerprint as a part of their signature on consent, refusals and care plan confirmation.                                                             1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.111   Provides printers print individual detainee labels to use in placing on property assigned to a specific detainee (examples: medication bags for transport, wheelchairs)                                                         1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.112   Provide capability to change the print quality based on the type of document.                                                                                                                                                   1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.113   Provide the ability to print to devices for information while in offline/remote mode while using the portable platform/device.                                                                                                  1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.114   Provide the ability to view digital images (pictures, DICOM X-rays, etc) posted to the medical record.                                                                                                                          1.1 CORE - CLINIC SUPPORT (Equipment)
GR.1.1.115   Provide the ability to identify patients using all available resources for identification (examples: wristbands, RFID, enforce picture, biometrics,) during all points of care to ensure the two forms of ID is used on all     1.1 CORE - CLINIC SUPPORT (Equipment)
             patient interaction.




GR.1.1.116   Provide the ability to pull up a specified patient record using the available resources for identification.                                                                                                                     1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.117   Require all data entered into the EHR system to be discrete data fields unless free text is the only way to provide adequate documentation.                                                                                     1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.118   Use discrete data fields to the maximum extend across the entire EHR system minimizing the use of an "other" response when free-text is necessary. Allow the addition of common responses to eliminate the use of               1.1 CORE - CLINIC SUPPORT (Equipment)
             free text over time.




GR.1.1.119   Provide computerized drug storage cabinets (ADCs) devices that allow medications to be stored and dispensed near the point of care, while controlling and tracking drug distribution and ADC inventory (with the                1.1 CORE - CLINIC SUPPORT (Equipment)
             stock controlled by the Pharmacist and Pharmacy system). ADC systems must be linked to the EMR to support stat medications (for after hours medications, short stay unit medications and stat medication orders)
             by granting access to a single compartment (stocked after pharmacist validation) for the medications to ensure the correct medication is administered. Inventory management capability should ensure full
             accountability is maintained.




GR.1.1.120   Provide Automated Medication Packaging Systems (AMPS) defined as computerized devices that package and label medications for dispensing. These devices package and label medications in single-unit, unit-                      1.1 CORE - CLINIC SUPPORT (Equipment)
             dose, and multi-dose packets. Automated packaging and dispensing systems enable the organization to implement medication processes that improve patient safety by packaging medications and providing access
             to medications that ensure the five "Rs" (patient, strength, route, regimen, time) of medication administration reducing the medication error risks. In addition, these systems have been shown to reduce waste and
             diversion of medications, which in turn translate into cost savings.




GR.1.1.121   Provide the ability to reconcile the inventory of medication within ADC, AMPS and the Pharmacy inventory on a recurring basis, complete the count and submit documentation for inspection..                                     1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.122   Provide Automated Medication Packaging Systems (APMS) that have a strong interface with the EHR system to accept medication orders from providers and nursing and fill the orders by packaging each                             1.1 CORE - CLINIC SUPPORT (Equipment)
             medication with unit-dose




GR.1.1.123   Provide Automated Medication Packaging Systems (APMS) that have a strong interface with the EHR system to accept medication orders from providers and nursing and fill the orders by packaging each                             1.1 CORE - CLINIC SUPPORT (Equipment)
             medication with unit-dose




GR.1.1.124   Provide the ability to receive accurate patient housing/bed location from jail management system prior to processing medications due to a pill line or provide the ability to manually enter the detainee housing and bed       1.1 CORE - CLINIC SUPPORT (Equipment)
             assignment for use in supporting various processes within the EHR specifically focused on finding the patient (Pill Line, Sick Call, Consent/Refusals, etc.).




GR.1.1.125   Provide a graphical user interface intuitive to ADCs and APMS systems to support pharmacists and nurses in managing required site activities.                                                                                   1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.126   Provide the ability to interface with the ADC and APMS system through a touch screen interface.                                                                                                                                 1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.127   Provide an ADC that supports at least 20 medication administrations per hour.                                                                                                                                                   1.1 CORE - CLINIC SUPPORT (Equipment)



GR.1.1.128   Provide the ability to support high speed packaging of at least APMS 20 packages of medications per minute.                                                                                                                     1.1 CORE - CLINIC SUPPORT (Equipment)



GR.1.1.129   Provide the ability to package single-unit and patient specific unit-dose.                                                                                                                                                      1.1 CORE - CLINIC SUPPORT (Equipment)



GR.1.1.130   Provide the ability to package multiple medications within a single packet due to a specific patient at a specific time.                                                                                                        1.1 CORE - CLINIC SUPPORT (Equipment)



GR.1.1.131   Provide the ability to customize the print information on the APMS packaging to include patient demographics, medications enclosed and a patient bar code.                                                                      1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.132   Provide the ability to issue non-patient specific, single dose packaging with appropriate labeling identifying the medication for use in ordering and administering by nurses as supported by nursing guidelines                1.1 CORE - CLINIC SUPPORT (Equipment)
             (Tylenol, Motrin).




GR.1.1.133   Provide the ability to complete patient-specific administration for unit-dose and/or multi-dose packaging at a specific medication pass time using labeling available on the APMS packaging to complete the                     1.1 CORE - CLINIC SUPPORT (Equipment)
             chronological contiguous medication administration due to the entire detained population.




GR.1.1.134   Provide option on each APMS package to include patient demographics, housing unit, medication pass time, bar coding and medication description.                                                                                 1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.135   Provide option on each APMS package to include housing unit, medication pass time, bar coding and medication description for a specific patient based on a list of patients transferring, departing for court (or other         1.1 CORE - CLINIC SUPPORT (Equipment)
             off site obligation).




GR.1.1.136   Provide the ability to defer orders that require restocking for another batch without having to re-initiate the order.                                                                                                          1.1 CORE - CLINIC SUPPORT (Equipment)



GR.1.1.137   Provide the ability to resume packaging any medications within a batch that needed to be deferred for a lack of adequate stock within the APMS machine.                                                                         1.1 CORE - CLINIC SUPPORT (Equipment)



GR.1.1.138   Provide automated canister recognition ensuring there is no confusion with the medication canisters filled by pharmacy staff and preventing a canister from being placed in the wrong location.                                 1.1 CORE - CLINIC SUPPORT (Equipment)



GR.1.1.139   Provide security systems in the APMS to prevent unauthorized access to restocking medications and dispensing medications.                                                                                                       1.1 CORE - CLINIC SUPPORT (Equipment)



GR.1.1.140   Provide security systems in the APMS to allow super users to make needed adjustments to the system to support continuity of operation.                                                                                          1.1 CORE - CLINIC SUPPORT (Equipment)



GR.1.1.141   Provide the ability for a designated user to define authorized quantities of medications that can be dispensed based upon defined categories, e.g. after-hours, controlled substances, PRN, transfer, OTC, high-risk,           1.1 CORE - CLINIC SUPPORT (Equipment)
             and specific drugs.



GR.1.1.142   Provide the ability to monitor stock and maintain lot number and expiration date tracking within the APMS and APS.                                                                                                              1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.143   Provide the ability to utilize bar codes for loading APMS and all other steps in managing the APS inventory.                                                                                                                    1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.144   Provide the ability to track all restocking and dispensing transactions to include as applicable date, time, user, patient, drug, dose.                                                                                         1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.145   KOP medication preparation - Provide the ability for a user to select the AMPS to prepare/package medications in a chronological order contiguous strip of packets based on medication pass time specific, patient-             1.1 CORE - CLINIC SUPPORT (Equipment)
             specific (unit-dose and/or multi-dose), and housing location.




GR.1.1.146   OTC medication preparation.- provide the ability for an authorized user to prepare/package medications AMPS to in a contiguous strip of packets based on patient-specific (unit-dose and/or multi-dose) parameters. 1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.147   Bulk Stock medication preparation - Provide the ability for the user to be able to trigger AMPS to prepare/package medications in a contiguous strip of packets with all medications due to a detainee in the same or           1.1 CORE - CLINIC SUPPORT (Equipment)
             several packages.




GR.1.1.148   After-hours, controlled substances, PRN medication Provide the ability for a user to trigger the AMPS to prepare/package medications limited to defined/authorized "after-hours, controlled substances, PRN"                    1.1 CORE - CLINIC SUPPORT (Equipment)
             quantities, based on patient-specific (unit-dose and/or multi-dose) orders.




GR.1.1.149   Provide the ability for users to select workflow from AMPS to prepare/package medications in a contiguous strip of packets based on patient-specific (unit-dose and/or multi-dose) and designation as "transfer"                1.1 CORE - CLINIC SUPPORT (Equipment)
             authorized medication parameters.




GR.1.1.150   For the APMS, provide a hot swap packaging mechanism that slides out of the cabinet easily and can be replaced by IGSA personnel with an on-site back-up so that production will have minimal chance of being                   1.1 CORE - CLINIC SUPPORT (Equipment)
             delayed while waiting for technical support and parts.




GR.1.1.153   Provide the ability to link medication bar coding for each APMS canister and associated medication within the system to prevent placement of the wrong medication in the canister .                                             1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.154   Provide option on each APMS package to include housing unit, medication pass time, bar coding and medication description for a specific patient based on a list of patients transferring, departing for court (or other         1.1 CORE - CLINIC SUPPORT (Equipment)
             off site obligating).




GR.1.1.151   Provide the ability to print or trigger an print job to a specific printer that will initiate when the offline/remote device is connected/accessed/synced.                                                                      1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.152   Provide the ability to document on a body diagram with the ability to make comment on each marking.                                                                                                                             1.1 CORE - CLINIC SUPPORT (Equipment)




GR.1.1.155   The Clinic Support, Pharmacy Information System (PIMS) and associated technology (Bar Code Medication Administration system, ADCs and AMPS') must collectively manage and prioritize the medication                             1.1 CORE - CLINIC SUPPORT (Equipment)
             ordering, daily drug preparation and fulfillment processes regardless of the source of fulfillment (in house, central fill, mail order, or local pharmacy).




GR.1.1.156   The Clinic Support, PIMS and associated technology must collectively share the same identification process to include bar coded identification wrist bands (linear and 2D matrix) and bar code readers to prevent               1.1 CORE - CLINIC SUPPORT (Equipment)
             misidentification of detainees throughout the delivery of healthcare.




             Remote Capability                                                                                                                                                                                                               1.1 CORE - CLINIC SUPPORT

GR.1.1.157   Provide remote access to the electronic medical record through encrypted, network standard laptops and handheld devices.                                                                                                        1.1 CORE - CLINIC SUPPORT (Remote Capability)


GR.1.1.157   Provide ability to authorize and restrict user access to the clinic support on the status of their credentialing and privileging.                                                                                               1.1 CORE - CLINIC SUPPORT (Remote Capability)




GR.1.1.158   Provide wireless LAN Capabilities in specialized areas of the clinic where feasible in workflow and process.                                                                                                                    1.1 CORE - CLINIC SUPPORT (Remote Capability)


GR.1.1.159   Support Wireless WAN communications and/or off-site access with a Laptop                                                                                                                                                        1.1 CORE - CLINIC SUPPORT (Remote Capability)


GR.1.1.160   Provide handheld device compatibility with approved ICE handheld devices (Example: Blackberry) to allow approve medication orders or other specific task requiring a provider order a when a facility is staffed without 1.1 CORE - CLINIC SUPPORT (Remote Capability)
             a provider (after-hours, weekends).




GR.1.1.161   Provide the ability for Pharmacists to review the patient record, review medications, answer questions and ensure appropriate consultations when accessing "after hours" night cabinet medications.                             1.1 CORE - CLINIC SUPPORT (Remote Capability)




             Offline/Remote Capability for Pill Line / Sick Call / Facility Activities / Tasks / Special Operations / W orksite Enforcement / Disaster Planning / Evacuations                                                                1.1 CORE - CLINIC SUPPORT




GR.1.1.162   Provide the ability to review the full medical records of detainees currently on site and those that departed within 5 days in an offline/remote state in the event of a system outage and downtime estimated at 5000           1.1 CORE - CLINIC SUPPORT (Offline/Remote Capability for Pill Line / Sick Call / Facility Activities / Tasks / Special Operations / Worksite Enforcement / Disaster Planning / Evacuations)
             maximum records.




GR.1.1.164   All portable/offline/remote equipment must be liquid/substance resistant, have extended battery life, private screen, adjustable brightness for external use, have a stylus (electronic pen) capability and touch screen as 1.1 CORE - CLINIC SUPPORT (Offline/Remote Capability for Pill Line / Sick Call / Facility Activities / Tasks / Special Operations / Worksite Enforcement / Disaster Planning / Evacuations)
             applicable to fully leverage proposed technology.




GR.1.1.167   Provide the ability to provide an electronic signature at all points of care regardless of availability of the LAN/WAN at the point of care delivery.                                                                           1.1 CORE - CLINIC SUPPORT (Offline/Remote Capability for Pill Line / Sick Call / Facility Activities / Tasks / Special Operations / Worksite Enforcement / Disaster Planning / Evacuations)




GR.1.1.168   Provide the ability to work in offline/remote mode while in air transport for several patients being escorted by a medical staff member back to their country of origin providing the ability to document the care provided     1.1 CORE - CLINIC SUPPORT (Offline/Remote Capability for Pill Line / Sick Call / Facility Activities / Tasks / Special Operations / Worksite Enforcement / Disaster Planning / Evacuations)
             during flight - there is a current assumption, but not a constraint, that the device(s) used in air transport would not have access to a network.




GR.1.1.169   Provide the ability to provide medical services supporting worksite enforcement operations where each individual will be initially screened off-site and transport to an ICE facility.                                          1.1 CORE - CLINIC SUPPORT (Offline/Remote Capability for Pill Line / Sick Call / Facility Activities / Tasks / Special Operations / Worksite Enforcement / Disaster Planning / Evacuations)




GR.1.1.170   Provide the ability to initiate documentation in an existing medical record or create a medical record medical information (intake screening, medical history, medications) on a detainee in a remote capability that has       1.1 CORE - CLINIC SUPPORT (Offline/Remote Capability for Pill Line / Sick Call / Facility Activities / Tasks / Special Operations / Worksite Enforcement / Disaster Planning / Evacuations)
             not yet been registered in Enforce to be linked to the enforce record after entry.




GR.1.1.171   Provide the ability to maintain all medical record information on all detainees in custody at the specific facility on a device such that the full medical record can be reviewed and required activities completed during an   1.1 CORE - CLINIC SUPPORT (Offline/Remote Capability for Pill Line / Sick Call / Facility Activities / Tasks / Special Operations / Worksite Enforcement / Disaster Planning / Evacuations)
             evacuation.




GR.1.1.172   Provide the ability to review and document care provided to detainee even when detainees are split up into dynamic groups after evacuation .                                                                                    1.1 CORE - CLINIC SUPPORT (Offline/Remote Capability for Pill Line / Sick Call / Facility Activities / Tasks / Special Operations / Worksite Enforcement / Disaster Planning / Evacuations)




GR.1.1.173   Provide the ability to document the care while in evacuation mode so assignments can be tracked and documented in the patient record by the individual that completes the medical care activity.                                1.1 CORE - CLINIC SUPPORT (Offline/Remote Capability for Pill Line / Sick Call / Facility Activities / Tasks / Special Operations / Worksite Enforcement / Disaster Planning / Evacuations)




GR.1.1.174   Provide real time updates of all care provided during the evacuation such that all documented care is available to all providers in real time.                                                                                  1.1 CORE - CLINIC SUPPORT (Offline/Remote Capability for Pill Line / Sick Call / Facility Activities / Tasks / Special Operations / Worksite Enforcement / Disaster Planning / Evacuations)




GR.1.1.175   Provide the ability to print various documents required based on the disposition and movement of the detainees to other destination.                                                                                            1.1 CORE - CLINIC SUPPORT (Offline/Remote Capability for Pill Line / Sick Call / Facility Activities / Tasks / Special Operations / Worksite Enforcement / Disaster Planning / Evacuations)




GR.1.1.176   Provide locked medication carts (1 for each facility) for after hours medications that are linked to the EHR and grant access to common individual compartments where medication is stocked by Pharmacy with                    1.1 CORE - CLINIC SUPPORT (Offline/Remote Capability for Pill Line / Sick Call / Facility Activities / Tasks / Special Operations / Worksite Enforcement / Disaster Planning / Evacuations)
             adequate stock to administer individual doses of all active medications.




GR.1.1.177   Provide the ability to document the inventory of the pill line cart after pill each pill line and document a medication inventory adjustment with appropriate acknowledgement by appropriate members of the staff (CD, HSA, 1.1 CORE - CLINIC SUPPORT (Offline/Remote Capability for Pill Line / Sick Call / Facility Activities / Tasks / Special Operations / Worksite Enforcement / Disaster Planning / Evacuations)
             Pharmacist, etc)




GR.1.1.178   Provide access to references from an industry Nursing Drug Handbook that provides a resource during the workflow of all Nursing activities in both online and offline/remote modes.                                             1.1 CORE - CLINIC SUPPORT (Offline/Remote Capability for Pill Line / Sick Call / Facility Activities / Tasks / Special Operations / Worksite Enforcement / Disaster Planning / Evacuations)




             Deployment Support Capability                                                                                                                                                                                                   1.1 CORE - CLINIC SUPPORT

GR.1.1.179   Provide the ability to create medical records for all detainees in custody and prompt for scanning of all active medical records.                                                                                               1.1 CORE - CLINIC SUPPORT (Deployment Support Capability)


GR.1.1.180   Provided the ability to enter all active orders to automatically create facility tasks based on all active orders of those currently present in the facility.                                                                   1.1 CORE - CLINIC SUPPORT (Deployment Support Capability)




GR.1.1.181   Provide the ability to enter all specific Facility Tasks due based on existing Orders (paper or electronic) to support seamless transition to electronic processes from existing logs that indicate detainees with active       1.1 CORE - CLINIC SUPPORT (Deployment Support Capability)
             orders.
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GR.1.1.182   Support workflow to prompt for scanning of medical record when a detainee that was recently housed at the same facility returns within a specific date range during the deployment process.                                     1.1 CORE - CLINIC SUPPORT (Deployment Support Capability)




1.1.1        Accept Detainee into the Medical Facility / Intake Screening (Reference W BS 1.1.1)                                                                                                                                             1.1 CORE - CLINIC SUPPORT

1.1.1.1      Accept ICE detainee demographic data from Enforce (EARM / EADM), the BOP Sentry System (US Marshals) or allow manual entry if detainees arrive prior to entry into enforce or sentry.                                           1.1 CORE - CLINIC SUPPORT (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.1.1.2      Provide ability to trigger the creation of a detainee health record in conjunction with import capability or manually create any records that may not be included in the update.                                                1.1 CORE - CLINIC SUPPORT (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




             Tele-Radiology Data Transfer                                                                                                                                                                                                    1.1 CORE - CLINIC SUPPORT

1.1.1.3      Transfer demographic information and patient identifier into Radiology upon order.                                                                                                                                              1.1 CORE - CLINIC SUPPORT (Tele-Radiology Data Transfer)




1.1.1.4      Develop the optimal information exchange with Tele-Radiology and other external providers.                                                                                                                                      1.1 CORE - CLINIC SUPPORT (Tele-Radiology Data Transfer)




             Manual Entry of Detainee Demographic Information                                                                                                                                                                                1.1 CORE - CLINIC SUPPORT

1.1.1.5      Provide the ability to allow entry of detainees that are not yet entered in Enforce or if the Enforce interface is deferred.                                                                                                    1.1 CORE - CLINIC SUPPORT (Manual Entry of Detainee Demographic Information)




1.1.1.6      Provide the ability to document all additional identifiers that my apply to the patient to include (Hospital Record Numbers, Prior Correctional Facilities, Social Security Number) to support medical record requests          1.1 CORE - CLINIC SUPPORT (Manual Entry of Detainee Demographic Information)
             from partner correctional and healthcare organizations.




1.1.1.7      Provide a reconciliation process to manage all manually entered and link to entries in Enforce or Sentry.                                                                                                                       1.1 CORE - CLINIC SUPPORT (Manual Entry of Detainee Demographic Information)




1.1.1.8      Provide a list of list of detainees manually entered that have not yet been matched to Enforce or Sentry system entry.                                                                                                          1.1 CORE - CLINIC SUPPORT (Manual Entry of Detainee Demographic Information)




1.1.1.9      Provide a list of detainees manually entered that have matched an Enforce entry automatically for validation.                                                                                                                   1.1 CORE - CLINIC SUPPORT (Manual Entry of Detainee Demographic Information)




1.1.1.10     Provide the ability to allow medical records of family members be linked so they are easily accessible while in custody and after some members of the family have departed.                                                     1.1 CORE - CLINIC SUPPORT (Manual Entry of Detainee Demographic Information)




1.1.1.11     Support the merge process custody systems (Enforce or Sentry) and automatically merge medical records when there is no medical information is present in one of the two records merged.                                         1.1 CORE - CLINIC SUPPORT (Manual Entry of Detainee Demographic Information)




1.1.1.12     Provide a list of detainees that were automatically merged and manually merged with an Enforce or Sentry entry.                                                                                                                 1.1 CORE - CLINIC SUPPORT (Manual Entry of Detainee Demographic Information)




1.1.1.13     Provide the ability for the user to undo any merge from the time it was complete and determine which entries (that followed the errant merge) go to the appropriate patient.                                                    1.1 CORE - CLINIC SUPPORT (Manual Entry of Detainee Demographic Information)




             Patient Identification and Tracking                                                                                                                                                                                             1.1 CORE - CLINIC SUPPORT

1.1.1.14     Utilize all identification processes available in Enforce for the all sub-systems being offered or existing identification system (GFE) at all points of care. (e.g. - Biometrics, barcode wristbands, id cards)                1.1 CORE - CLINIC SUPPORT (Patient Identification and Tracking)




1.1.1.15     Provide a list of detainees that have arrived by date range and provide a status on intake screening based on EADM or Sentry entries and identify anyone entered that has not been screened.                                    1.1 CORE - CLINIC SUPPORT (Patient Identification and Tracking)




1.1.1.16     When a detainee departs from the facility and returns within a specified amount of time, allow nurse to use the previous screening to meet the intake screening requirement.                                                    1.1 CORE - CLINIC SUPPORT (Patient Identification and Tracking)




1.1.1.17     Provide the ability to document the actual the time of arrival regardless of the Enforce or Sentry book-in time.                                                                                                                1.1 CORE - CLINIC SUPPORT (Patient Identification and Tracking)




             Intake Screening Questions                                                                                                                                                                                                      1.1 CORE - CLINIC SUPPORT

1.1.1.18     Provide the ability to review and accept medical intake screening done at an appropriate EHR facility (IGSA or Staging Facility) within a specified number of days through co-signature.                                        1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.19     Provide the ability to allow Nurse to accept the previous screening within a specified number of days and ensure the questions are validated and validation is incorporated into current progress note.                         1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.20     Provide the ability to force certain facility tasks required at intake to be redone (examples: vital signs, pregnancy test, vision screen, lice check) to supplement the review of the previous intake screening based on the   1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)
             sending facility (staging facility or other facility).




1.1.1.21     Provide the ability to pull previous medical answers into the current intake screening for validation when detainees were seen at a IGSA facility but do not meet the criteria for use of previous intake screening.            1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.22     List all new arrivals that have already received intake screening from another facility within specified timeframes.                                                                                                            1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.23     Provide the ability to capture vital signs in the electronic medical record through the use of an interface to standards compliant equipment (example: vital signs monitors, oxygen sensors)                                    1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.24     Provide the ability to enter vital signs manually on a single screen and provide options to transfer from field to field easily (tab, mouse and hot keys).                                                                      1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.25     Incorporate vital signs into the medical progress note for reference within the text of the progress note. Automatically place the collected vital signs in text of progress note without duplicate entry.                      1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.26     Utilize IGSA Standardized questions for Intake Screening for: a) SPC/CDF/IGSAs and/or b) Staging Facilities. IGSA I-794A                                                                                                        1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.27     Provide the ability to allow questions to be conditional and expand to show additional questions for certain answers.                                                                                                           1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.28     Provide the ability to allow the questions to be updated by HQ IGSA when additional questions are required or other questions need to be deleted with no impact on historical information based on the changes from             1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)
             previous versions.




1.1.1.29     Provide the ability to allow appropriate staff to change the intake screen questions as required by policy. The system must present the current list of questions for new patients while maintaining all historical             1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)
             questions and answers.




1.1.1.30     Provide the ability to allow addition of questions at specific sites as approved by IGSA HQ to meet specific guidelines                                                                                                         1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.31     Provide the capability to select all normal responses at once and present the following warning to the user: "WARNING: Are you sure you have asked each of these questions?"                                                    1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.32     Provide capability to enter provisional/unconfirmed diagnosis from patient report, transfer summary, documentation or patient history.                                                                                          1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.33     Provide the ability to allow providers to validate or confirm the provisional diagnosis                                                                                                                                         1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.34     Ensure it is clear that provisional diagnoses are not determined by nurse determination and clearly identifies individual and provider type who entered.                                                                        1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.35     Provide the ability for Nurses shall have the ability to utilize the North American Nursing Diagnosis Association (NANDA) during all encounters.                                                                                1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.36     Provide the ability to mandate completion of a complete progress note within a specified time limit.                                                                                                                            1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.37     Provide capability to enter medications from Master Medication List in a streamlined fashion with limited typing based on information received during intake screening for use in workflow to notify provider for order to      1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)
             continue medication. Entry by Nurse does not constitute an order.




1.1.1.38     Provide the ability to allow the nurse to differentiate whether the medications are with the detainee, verified through the intake screening process and provide the ability to document the source of the medications          1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)
             (verbal, medical records, transfer summary, medication bottle, prescription) recorded in intake screening.




1.1.1.39     Provide the ability to enter a specific diagnoses collected in history that is not included on the "Problem List" until a determination is made by a provider (Nurse Practitioner, Physician Assistant or Physician).           1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.41     Provide the master medication list for use by nursing to quickly enter the medications that come with the detainee.                                                                                                             1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.42     Provide the ability for nurse to identify the source of the prescription (pill bottles, pharmacy information, with detainee, transfer summary, verbal)                                                                          1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.43     Provide the ability to allow nurses to designate which detainees are required to have a Provider Level and Nursing Level Physical Exam triggering a review and concurrence by provider.                                         1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.44     Provide the ability to present algorithmic evidence-based standards based on the information entered for consideration and use in all clinic workflow.                                                                          1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.45     Provide ability to view the TB screening result (chest X-ray or PPD) from previous EHR facility to ensure it is available for the nurse to review.                                                                              1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.46     Identify the source (facility name, provider) of the various results (lab, CXR, etc).                                                                                                                                           1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.47     Provide the ability to allow manual entry of TB screening (PPD or CXR Results) and date completed if documentation is available on transfer summary or other document                                                           1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.49     Provide the ability to allow Nurse to document TB Clearance after review of complete intake screening and TB screening (CXR, PPD) result.                                                                                       1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.50     Prevent manual entry of TB result if date of completion does not meet standards (currently within 90 days).                                                                                                                     1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)


1.1.1.51     Support prompt to trigger documentation PPD plant and automatically schedule PPD read appointment in 48 days with date/time stamp                                                                                               1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.52     For sites with Tele-Radiology, when a nurse determines the detainee does not meet TB Screening requirements, provide the ability to send demographic information directly to the Tele-Radiology system for capture 1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)
             of the Tele-Radiology system. See Interface Requirement 2.2.2 - Tele-Radiology (DiannAssociates)




1.1.1.53     Accept CXR results into the record electronically from the Tele-Radiology (Contract Owner: DiannAssociates/Silver Star) network ensuring the requirement for a single identifier is achieved. See Interface                     1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)
             Requirement 2.2.2 - Tele-Radiology (DiannAssociates)




1.1.1.54     Support the documentation of over-reads and allow staff to manually change to the result is received to trigger scanning of the upgraded document.                                                                              1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.55     At the end of the Intake Screening Process, allow nurse to determine disposition (General Population, General Population with referral to medical, isolation, or immediate referral to medical)                                 1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)
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1.1.1.56   Support the use of algorithmic evidence based guidelines during intake screening.                                                                                                                                               1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.57   Based on real time Enforce and Sentry interface or manual entry of arrivals, provide a list of all new arrivals based on time of arrival and their status with Intake Screening (In process w/user) and TB Screening- PPD 1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)
           (Pending, Planted) or CXR (Not Complete, Pending, Result), and the disposition to complete the intake screening.




1.1.1.58   Provide the ability to review the list of arrivals (by date range) with status to review the full medical record and accomplish the TB Clearance.                                                                               1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.59   Provide the ability to sort the detainees based on how they are housed in the intake screening area.                                                                                                                            1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.60   Provide a notice when the last detainee of each group receives their clearance.                                                                                                                                                 1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)


1.1.1.61   Send a notification to Enforce when both Intake Screening (Preliminary) and/or TB Clearance (Final) are complete.                                                                                                               1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.62   Provide an alert to providers to review any immediate referral requests.                                                                                                                                                        1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.63   Provide the ability to allow HQ to define a minimum set of notifications that are sent to providers and nurses.                                                                                                                 1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.64   Provide the ability to allow facilities to enhance what information posts to the Provider and Nursing queue that are deemed critical.                                                                                           1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.65   Provide a confirmation to the shared nursing queues.                                                                                                                                                                            1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)


1.1.1.66   Automatically send appointments to a scheduling queue when certain conditions exist to be incorporated into the clinic schedule at the appropriate time by the appropriate individual.                                          1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.67   Provide a list of all referrals (general population with referral to medical vs. immediate referral to medical) for review and validation by a provider and allow changing of the priority of the referral based on review by   1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)
           local clinical authorities (Clinical Director or equivalent).




1.1.1.68   Provide a list of referrals that have not been validated so an appropriate provider can complete the validation.                                                                                                                1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.69   If already scheduled, pull any referral with that has a changed level of priority during validation, pull off schedule and place back in scheduler queue with newly assigned priority.                                          1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.70   Provide the ability to document a complete vaccination history using a standard template covering all required vaccinations based on current ICE standards.                                                                     1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.71   Provide the ability to require nurses to document the immunization history (ensure the system differentiates history versus validated immunizations via labs/titer) at intake screening.                                        1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.72   Provide the ability to define the required immunizations based on immunization requirements by policy.                                                                                                                          1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.73   Automatically schedule immunizations required based on policy.                                                                                                                                                                  1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)




1.1.1.74   For family residential facilities, provide the ability to accomplish additional children screening for Lead poisoning and Sickle Cell Anemia.                                                                                   1.1 CORE - CLINIC SUPPORT (Intake Screening Questions)


1.1.2      Scheduling (Reference W BS 1.1.2)                                                                                                                                                                                               1.1 CORE - CLINIC SUPPORT

1.1.2.1    Provide role based Schedule Management with the ability to define standard schedule for each provider or medical resource (examples: provider or nurse).                                                                        1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.2    Provide the ability to allow scheduler to post appointments from the a scheduler queue to the provider schedule based on providers or by a resource (Nurse) that will be identified during the shift.                           1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.3    Provide template-based scheduling to allow appointment times with varying duration assigned to sections of the day for use in establishing a schedule.                                                                          1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.4    Provide the ability to allow providers and schedulers to block out sections of the schedule for administrative activities (for example: training, meetings, leave) as needed that will prevent the scheduler from booking an    1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))
           appointment at that time.




1.1.2.5    Support the creation of various appointment types (Medical, Physical Exam, Chronic, Sick Call, Dental, Psychologist, Social Work, Psychiatry, Pharmacy, Chest X-Ray, Special Monitoring) per the organization                   1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))
           definitions.




1.1.2.6    Support the application of a level of provider to each referral that will prevent the scheduler from placing an appointment on a lower level provider (Physician, Mid-Level, Nurse).                                            1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.7    Provide access to the scheduling queue to several individuals responsible for monitoring all appointment types (examples: Medical, Chronic, Mental Health, Dental, Sick Call, Special Monitoring, Lab Draw, CXR)                1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))
           allowing those with access to control the schedule for their specific appointment types. Based on local facility policy, the types of encounters not scheduled by the providers/specialty members will be centrally
           scheduled (Healthy Physical Exams, Unhealthy Physical Exams, Sick Call referrals, etc.) by Medical Records Technicians and/or Administrative Assistants. All scheduling will be done from the single scheduling
           queue and balanced between the two approaches (specialty scheduling and central scheduling) based on facility preference.




1.1.2.8    When a provider blocks out the schedule where there is already an appointment already established, provide the ability to send the appointment to the scheduling queue for rescheduling or allow a duplicate booking at 1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))
           the discretion of the provider.




1.1.2.9    Provide ability to differentiate between immediate referrals (based on disposition of immediate referral) and other referrals (general population with referral to medical).                                                    1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.10   Provide the option for a user to designate a patient should be seen within 1 hour after review of the medical record.                                                                                                           1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.11   Provide the ability by facility to require a validation of the referral level before or after scheduling.                                                                                                                       1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.12   Provide access to the scheduling queue to several roles to ensure high priority patients are reviewed by providers consistently and ensure all appointments are addressed.                                                      1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.13   Provide limited access to the appointments in the scheduling queue for specific specialties (examples: Mental Heath, Dental) that accomplish their own scheduling. Main scheduler groups will be allowed visibility             1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))
           and oversight by the primary scheduling group to ensure no appointments are missed or not scheduled, when the specialty scheduler is unavailable or absent.




1.1.2.14   Provide the ability to automatically generate specific appointments into the scheduler queue when (and well child visits based on age) for all patients meeting certain criteria (location, age, history, etc.) based on a      1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))
           specified timeframe for group and by facility. (examples: Physical exam to be completed within 14 days (8 days generate) for adult facilities, 7 days for family units, 24 hrs for pediatric)




1.1.2.15   Provide a validation check to prevent the automatic creation of a duplicate Physical Exam for a patient that has already had a physical exam within the current detention stay.                                                 1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.16   Provide a list of detainees that have arrived with physical exams that were completed within a specified number of days at another IGSA facility or were outside the facility for a minimal number of days for consideration 1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))
           by the provider accept the previous physical exam to meet the physical requirement for the current detention stay.




1.1.2.17   Applies standards to all in custody and automatically creates physical exam for scheduling if the person was out of custody temporarily on the date they return, a physical exam is automatically generated in the system 1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))
           (8 days in advance).




1.1.2.18   Provides the ability to identifying available appointments based on the required appointment type and amount of time required for the appointment type looking at a daily, weekly, and monthly (up to 3 months).                1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.19   Provide the ability to change, move or remove several appointments to other schedules based on demands and resources while maintaining accountability of all appointments to ensure completion.                                 1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.20   Provide the ability to allow using or combining more than one appointment slots to make a larger time slot.                                                                                                                     1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.21   Provide the ability to allow separating one appointment into several shorter appointments if a shorter appointment duration is required.                                                                                        1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.22   If automatic generation of required appointments based on standards is not available, provide the ability to create multiple appointments at once for several detainees by appointment with one step that are not covered       1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))
           in the automatic appointment generation list (Example: 20 detainees submitted sick call slips that must be scheduled for provider visits within 48 Hours.).




1.1.2.23   Provide the ability to remove detainees with scheduled appointments from a provider or resource schedule, which will automatically send the scheduler queue for rescheduling to ensure accountability of all                    1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))
           appointments.




1.1.2.24   Provide the ability for providers to efficiently place a future appointment on their own schedule by reviewing their future schedule and placing the appointment to prevent the appointment requiring scheduling.               1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.25   Provide the ability to allow providers to make determination that scheduled detainee requires more time than allocated and send conflicting appointment to be rescheduled.                                                      1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.26   Provide the ability to allow a member of Groups (Clinical Directors, Physicians, Mid-Levels, Nurses, Medical Records) to complete workload assigned to other group members.                                                     1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.27   Provide the ability for the provider to schedule the next visit at the end of each encounter (if appropriate per provide guidance) by documenting a follow up date as a part of the progress note documentation.                1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.28   Support the ability to assign a Primary Care Manager (PCM) and allow the PCM to view all patients assigned to them for consideration in placing the detainee on the appropriate provider schedule.                              1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.29   Provide the ability to assign a Primary Mental Health Provider (PMHP) for each any detainee that received a mental health appointment.                                                                                          1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.30   Provide the ability to assign oneself as PCM for a detainee at the end of the appointment to establish an initial PCM or replace the existing PCM.                                                                              1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.31   Provide the ability to create a referral or activity to a group of providers by provider type (examples: Physician, Mid-Level - Nurse Practitioner or Physician Assistant, Nurse, Mental Health, Dentist, Hygienist, Dental, 1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))
           Assistant, Psychiatrist, Psychologist) such that all actions are visible to all local and staff for that specific staff type.




1.1.2.32   Provide the ability for groups to review appointments assigned to their associated group or groups to place on an individual or resource schedule.                                                                              1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.33   Provide the ability to allow users to reassign the patient to themselves as the primary care manager after an encounter.                                                                                                        1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.34   Support the ability to differentiate encounters that require a specific provider type to notify if it is assigned to a provider that lower level provider with default at mid-level (Nurse Practitioner/Physician Assistant).   1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.35   Provide the ability to define the amount of time that the next appointment with defaults defined based on provider type and/or encounter type.                                                                                  1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.36   Provide the ability to double book patients depending on user role.                                                                                                                                                             1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.37   Provide the ability to reschedule patients on the current schedule when the previous encounter goes long.                                                                                                                       1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.38   Provide the ability to allow another provider to access appointments on another provider or resource schedule to complete the encounter based on user roles.                                                                    1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.39   Provide the ability to allow to identify a priority appointment and place on any individual schedule so all that access the appointment can view the priority.                                                                  1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.40   Provide the ability to identify any detainee in custody chronic illness that does not have an appointment created (regardless if it is scheduled or not).                                                                       1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.41   Support the application of Immunization standards to ensure compliance with key immunizations that meet a specific set of criteria.                                                                                             1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.42   Support the designation of a Primary Care Manager and make visible on all scheduling screens. If PCM is not used at facility, may be left blank. Provide the ability to allow providers to replace the current provider         1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))
           and track history of the PCM assignment.




1.1.2.43   Provide the ability to override arrival date to use a previous date if detainee departed for less than a specified number of days tracking the changes.                                                                         1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))
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1.1.2.44   Provide the ability to document a primary complaint for the appointment (if available) or designate as no complaint or chronic.                                                                                                     1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.45   Make visible the detainees sex, classification (blue, orange, red) and category (family, single, etc.) and housing assignment visible on all appointment scheduling screens to allow appropriate development of                     1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))
           schedule to group similar detainees together to work within the limitations of the medical waiting pods/cells.




1.1.2.46   Provide the ability to notify appropriate levels of the staff when priority appointments are removed from the schedule pending rescheduling.                                                                                        1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.47   Maintain a history of all changes to all appointments.                                                                                                                                                                              1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.48   For all appointment cancellations, require a reason for the cancellation from a specific set of reasons if not automatically cancelled due to a departure.                                                                          1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.49   When a detainee is confirmed as departured from the facility, remove the appointment from the schedule and visibility in the schedule and allow that slot to be utilized.                                                           1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.50   When a detainee returns or is transferred from one facility to another an appointment is, make visible to new facility the previous incomplete appointment in the normal scheduling queue.                                          1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.51   When the appointment of the returning detainee was on the schedule and another appointment is now in the slot causing a conflict or the appointment is in the past, send to the scheduler queue for rescheduling with               1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))
           the original referral information.




1.1.2.52   Provide the ability to allow patient schedules to be modified by clinic coordinator (Nurse, Provider, or Medical Records Technician) in the event of a change in resources (sick, cancel schedule) and send all                     1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))
           appointments back to the scheduler queue for rescheduling.




1.1.2.53   Provide the ability to review all appointments that are pending for a future day and sort by various parameters to allow for adjustment the schedule based on various grouping of grouping detainees (sex, pods, level).            1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.54   Provide the ability to view the status of major required healthcare milestones on all detainees in custody, whether they are detainee with a chronic condition, whether they have a next appointment scheduled and whether 1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))
           or not they are complying the standards of detention (Intake Screening, 14 Day Physical, Sick Call)




1.1.2.55   Must prevent duplication of appointments required for based on standards if already scheduled.                                                                                                                                      1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.56   Support the process of notifying a centralized schedule when there is a request for a Tele-Health appointment and allow the seek availability/schedule appointment with IGSA Providers or setup an off-site Tele-Health 1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))
           appointment.




1.1.2.57   Support the scheduling a Tele-Health appointment that will be completed by a provider inside the IGSA medical system and block out that individuals schedule and post to a resource schedule for the tele-health                    1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))
           room(s).




1.1.2.58   Support the process of posting the detainee with the tele-health appointment on the Tele-Health resource and ensure the appointment is placed on the master appointment schedule.                                                   1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.59   Support modification of the provider schedule remotely through a handheld device (blackberry) that will triggers a change in schedule workflow to deal with the patients per workflow detail.                                       1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.2.60   Provide the ability to view the previous encounters by type (Mental Health, Dental, Physical Exam, Sick Call) while moving patients from the scheduler queue to a particular schedule.                                              1.1 CORE - CLINIC SUPPORT (Scheduling (Reference WBS 1.1.2))




1.1.3      Encounters (Reference W BS 1.1.3)                                                                                                                                                                                                   1.1 CORE - CLINIC SUPPORT

1.1.3.1    Provide the ability to allow the user to select the type of referral by specialty (Intake Screening, Chronic, Short Stay Unit, Urgent Care, Emergency, Sick Call, Dental, Mental Health)                                            1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.2    Provide the ability to identify each encounter type (Intake Screening, Chronic, Short Stay Unit, Urgent Care, Emergency, Sick Call, Dental, Mental Health) based on IGSA definitions.                                               1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.3    Provide the ability to add subcategories and multiple chronic types to a single encounter.                                                                                                                                          1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.4    Provide the ability to allow access to the complete medical record to review patient status and include acuity determination.                                                                                                       1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.5    For Short Stay Unit Encounters, support entry and update of the acuity level for each detainee during each encounter.                                                                                                               1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.6    Support selection of several patients at once (in bulk) to place on the schedules of other staff members based availability.                                                                                                        1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.7    Provide access to full medical record of scheduled detainees.                                                                                                                                                                       1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))



1.1.3.8    Support direct entry of Vital Signs for detainees from all Medical Equipment that are enabled to send vital signs electronically into the EHR system through compliance with x standards.                                           1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.9    Develops all progress notes of encounters in the form of Subjective Objective Assessment and Plan (SOAP) format by adding each entry of discrete data fields (diagnosis, medication, other orders, procedure code)                  1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))
           already entered by the provider or collected by a recent encounters.




1.1.3.10   Provide the ability to allow providers to create, modify and select a standardized order set templates for common illnesses/conditions that includes discrete data fields (diagnosis, procedures, interventions, medication 1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))
           orders, other orders, patient education, procedure) for various disease types (hypertension, cardiovascular disease, diabetes, tuberculosis, suicide, depression, tooth pain) and user defined progress note
           documentation for the current progress note in SOAP format with the ability to modify (add, delete, edit) additional information after selection to finalize the progress note and plan for the detainee.




1.1.3.11   Provide the ability to share, protect and limit access to order set templates based on roles (provider, mid-level, nurse, etc.).                                                                                                    1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.12   Provide the ability to share, protect and limit access individual providers based on a determination by the Clinical Director or overseeing provider.                                                                               1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.13   Require all order sets to be signed off by the Clinical Director or designee.                                                                                                                                                       1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.14   Supports individualized templates support SOAP format documentation.                                                                                                                                                                1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.15   Provides options for the organization develop a set of "shortcut entries" that result in entry of complete text into progress note.                                                                                                 1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))


1.1.3.16   Provide the ability for users to add new abbreviations to their profile to prevent inclusion of forbidden abbreviations in the medical record.                                                                                      1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.17   Provide the ability to review and accept vital signs taken by another individual in one click and pull into the current encounter if vitals were taken within specified time limit (example: within 2 hours of taking vital signs   1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))
           per policy).




1.1.3.18   Provide historical vital signs in chronological order (with time stamps) showing both the value and graph views representing all vital signs (Height, Weight, Head Circumference, BP, HR, BS, Pain, labs values)                    1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))
           entered into the record). (A.K.A. FLOW SHEET)




1.1.3.19   Differentiate the source of vital signs patient history, manual entry, data directly from equipment, by user, data from another facility, data from IGSA facilities to support inclusion or exclusion of various parameters         1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))
           from the flow sheets and calculations.




1.1.3.20   Provide the ability to collect data required for the growth chart and compares data to growth standards.                                                                                                                            1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.21   Provide the ability to generate a graphical representation of the growth compared to the standard to provider to assist in evaluating significance.                                                                                 1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.22   Provide an automatic calculation of each patient's Body Mass Index when documenting weight.                                                                                                                                         1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))



1.1.3.23   Provide the ability to apply Center for Disease Control / American Thoracic Society classification for each Tuberculosis patient based on user role.                                                                                1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.24   Provide comprehensive support of all diagnosis sets to include specialty areas of medical, mental health, dental and nursing.                                                                                                       1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.25   Be able to easily search through the HCPCS, CPT, CDT, NIC, DSM, TR, ADA, SNOMED coding and view the full description of the code.                                                                                                   1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.26   Provide the ability to designate common terms for the diagnosis searches the available diagnoses with searches that support the variability of clinical terms with coding sets (ICD, DSM, ADA, CPT, NANDA                           1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))
           diagnosis, NIC, NOC)




1.1.3.27   Provide the ability to bold, italicize and underline text entered in the medical record.                                                                                                                                            1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.28   Provide the ability for each provider to select from the list of diagnoses                                                                                                                                                          1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.29   Provide various method of searching the diagnosis code, text entry with results reducing on each character, key word search or selection from the most common diagnoses from the most current International                         1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))
           Classification of Diseases (ICD) codes.




1.1.3.30   Supports presentation of the most common diagnoses to simplify the selection of ICD codes.                                                                                                                                          1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.31   Supports clinical coding using Systemized Nomenclature of Medicine - Clinical Terminology (SNOMED-CT) capability                                                                                                                    1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))


1.1.3.32   Provides a cross mapping of SNOMED-CT codes and ICD in compliance with directives of the International Health Terminology and Standards Development Organization.                                                                   1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.33   Provide ability to use nursing North American Nursing Diagnosis Association (NANDA) diagnoses during encounters.                                                                                                                    1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))


1.1.3.34   Provide the ability to allow nurse to enter historical medical diagnoses when available on transfer summary or other medical record documentation that are considered provisional (not a part of the patient problem list) 1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))
           until validated by a provider (Nurse Practitioner, Physician Assistant or MD)




1.1.3.35   Provide the ability for dentists to select diagnosis codes from a list of American Dental Association (ADA) diagnoses, specifically the Current Dental Terminology (CDT) code subscription.                                         1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.36   Provide the ability for mental health providers to select from the Diagnostic and Statistical Manual (DSM) of Mental Health Disorders.                                                                                              1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.37   Provide the ability for DSM diagnoses and other medical codes to be incorporated into the Axis levels (levels I - V) as a part of the progress note.                                                                                1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.38   Provide the ability to designate each diagnosis as "acute" or "chronic" based on organizational policy to support varying workflow.                                                                                                 1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.39   Provide the ability to document in the Objective portion of the progress note specific pertinent mental health conditions: Appearance, Attitude, Behavior, Mood, Affect, Speech, Thought Process, Thought Content,                  1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))
           Perception, Cognition, Insight, and Judgment.




1.1.3.40   Provide the ability to include procedural coding for providers, nurses, mental health and dental procedural data sets set forth in the Healthcare Common Procedure Coding System (HCPCS).                                           1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.41   Provide a baseline list of common diagnoses used at each facility.                                                                                                                                                                  1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.42   Provide the ability for clinical leadership to identify diagnosis that require a specialized approach for their facility.                                                                                                           1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.43   Provide the ability to develop individual providers to further customize the list of common diagnosis based on their preferences                                                                                                    1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.44   Support the use of Current Procedural Terminology (CPT) for providers.                                                                                                                                                              1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))


1.1.3.45   Support the use of Dental Procedures Codes in the Current Dental Terminology                                                                                                                                                        1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))


1.1.3.46   Provides the ability to create a list of projected dental treatments for each detainee in the form of a dental treatment plan for signature by the detainee.                                                                        1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.47   Provide the ability to track the status of the dental treatment plans throughout the system (in development, complete pending signature, signed by patient and provider, concurred through peer review)                             1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.48   Supports Mental Health Procedure Coding set forth in HCPCS                                                                                                                                                                          1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))
                                                                                                                                                                                                                                                                                                                                                                                                                                                     Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 182 of 1402




1.1.3.49   Support Nursing Intervention Classification (NIC) coding which describes the treatments that nurses perform.                                                                                                                      1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))


1.1.3.50   Provide the ability to apply NIC various codes to each of the actions that take place in the system (medication administration)                                                                                                   1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.51   Provide access to CPTs that are required for them to complete Sick Call and Physical Exam within their nursing scope of practice.                                                                                                 1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))


1.1.3.52   Support use of Diagnosis Related Groups (DRG) groupings for CPT coding.                                                                                                                                                           1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))


1.1.3.53   Supports updated to all coding sets to the newest version without when the subsequent version of the coding set is released without impacting historical data or changing current processes in the system.                        1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.54   Provide the ability to allow for grouping of codes and based on centralized practice directives and order developed.                                                                                                              1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.55   Provide the ability search through the coding sets for a full description of the code using short and long versions of the code and reduces the available selections based on each key entered in the search area.                1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.56   Provide the ability to search for codes based on the numerical or alpha designation of the code as an alternative to text.                                                                                                        1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))



1.1.3.57   Provide role based access controls to limit access to codes that should not be accessed. (Nursing staff should be limited to provisional diagnoses. Providers should not have access to Nursing Diagnoses, Outcome 1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))
           Categories or Nursing Intervention Categories)




1.1.3.58   Provider can select commonly used codes from a smaller list set forth in the system and customized/enhanced by each user.                                                                                                         1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.59   Provide the ability to allow for review and recoding of encounters based on assessment done by professional coders without modifying any information documented in the medical record.                                            1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.60   When another coding set becomes more acceptable in the marketplace, allow capability to transition to new coding system                                                                                                           1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.61   Provide the ability to develop a set of code groupings in the form of a template that each person can save by the name of the condition to which the selected codes apply.                                                        1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.62   Allow templates to include standard orders associated with the conditions                                                                                                                                                         1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.63   Provide the ability to support offline/remote work at the point of care when the secure network connectivity may be limited - our example describes, but proposed solutions are not limited to, reconnecting and sync when 1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))
           full secure connectivity is restored.




1.1.3.64   Provide list of detainees with compliance with Performance Based National Detention Standards for the provision of medical care (Physical Exams, Sick Call Compliance at 48/72 hours, Intake Screening).                          1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.65   Provide the ability to establish new standards based on certain criteria additional criteria.                                                                                                                                     1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.66   Provide the ability to allow user to clear a detainee for Kitchen work during the Physical Exam (or other encounter if approved).                                                                                                 1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.67   Provide visibility of each encounter and provide the ability to change the kitchen clearance status during any encounter.                                                                                                         1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.68   Provide the ability to acceptance or refusal with electronic signature referencing the item being refused.                                                                                                                        1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.69   Provide the ability to sign for multiple vaccinations received that day/at once.                                                                                                                                                  1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))


1.1.3.70   Provide role based access to review encounters of other providers in bulk (date range, encounter type, etc) for the purposes of peer review and quality assurance.                                                                1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.71   Provide the ability to HQ IGSA to identify items that require co signature by a Clinical Director, Physician, Provider or Nurse for a subset of tasks to include medications, special needs, nursing, physical exams, per         1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))
           IGSA and local policy.




1.1.3.72   Provide the ability to allow facilities to expand the list of items they want co signature by provider type in addition to HQ mandated co signatures.                                                                             1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))


1.1.3.73   Supports adjustment by individual providers based on training, education and experience.                                                                                                                                          1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.74   Supports the use of 3rd party dictation services where dictation entries are entered into the record by clinical coders.                                                                                                          1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.75   Provide the ability to allow the assignment and modification the Level of Acuity based on organizations standards during the encounter ensuring the history of the changes are kept.                                              1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.76   Provide the ability to communicate with other providers in a secure manner that is not included in the patient medical record to coordinate care and communicate necessary pertinent information regarding the                    1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))
           coordination of patient care..




1.1.3.77   Provide the ability to designate a disposition (general population, isolation, suicide watch, SSU admission) while completing the plan for each patient encounter without going to a separate screen that would trigger           1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))
           the order workflow after completing and signing the encounter.




1.1.3.78   Provide the ability to complete clinical notes from outside the facility with an ICE computer with approved, authenticated access to the ICE network.                                                                             1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.3.79   Provide the ability to document special instructions for consideration visible to HSA/AHSA and CD/Physician immediately and the Pharmacist and the Nurse completing the transfer summary process.                                 1.1 CORE - CLINIC SUPPORT (Encounters (Reference WBS 1.1.3))




1.1.4      Order Entry Order Entry (Reference W BS 1.1.4)                                                                                                                                                                                    1.1 CORE - CLINIC SUPPORT

1.1.4.1    Provide the ability to allow entry of orders for Medications, Immunizations, Special Needs (Diet, Lower Bunk, Durable Medical Equipment, shoes, etc.), Special Monitoring (B/P Checks, B/S Checks, etc), Nursing                  1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))
           (IV Check, Dressing Changes, etc) and Medical Alerts/Holds.
1.1.4.2    Provide the ability to complete all available orders while developing the plan for each encounter without going to a separate screen which will trigger (after encounter signature) the workflow based on the order               1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))
           selected in the plan documentation within the patient encounter.




1.1.4.3    Provide the ability to develop a series of orders and submit up to 10 different orders (medications, special needs, special monitoring, medical alert, etc.) on the same screen                                                   1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))

1.1.4.4    Provide up to 10 slots for each facility to define the various times that are required for administering time-based medical actions                                                                                               1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))




1.1.4.5    Provide the ability to allow each facility to define the times associated with each slot for the facility.                                                                                                                        1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))




1.1.4.6    Provide the facility-specific time slots for use in order entry for use various orders for use in ensuring the appropriate time                                                                                                   1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))
1.1.4.7    Provide the ability to designate each order as "not time specific" to allow the nurse flexibility in completing the tasks any time during the day.                                                                                1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))




1.1.4.8    Provide the ability to allow use of standardized time of order execution (sig) including: q.d. once a day, t.i.d. three times per day, q.i.d - four times per day, q.h - frequency ever h hours, to allow the appropriate time to 1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))
           execute sig at the time of order.




1.1.4.9    Give provider the option to select an individual times/slots instead of a standardized frequency (sig).                                                                                                                           1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))




1.1.4.10   Provide templates for various orders that select the standardized frequency for the order being submitted.                                                                                                                       1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))
1.1.4.11   For critical medications, provide the ability to for provider to identify the maximum time before or after the scheduled time that the medication must be given. Time limitations established will be used to alert nurse at     1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))
           various time limits that the order must be executed. (Example: Insulin within 30 minutes of the facility pill line time. Medications within 2 hours of facility pill line time). These timeframes should default to standardized
           timeframes per as defined by each facility to avoid multiple conflicting instructions between local leadership and nursing staff that would impede workflow




1.1.4.12   Provide the ability to order a special need for a detainee based on type of need, provider levels and security standards and require co-signature based on HQ or local policy.                                                    1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))




1.1.4.13   Require a start and end date for every special need.                                                                                                                                                                              1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))
1.1.4.14   Provide the ability to order/issue a special need that is permanent for the detainee which requires a co-signature by the clinical director.                                                                                      1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))
1.1.4.15   Provide the ability to identify special needs that will need to be renewed through an encounter such that no indicator to the scheduler that a special need will expire                                                           1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))
1.1.4.16   Provide the ability to print out Special Needs form for Detention Officers                                                                                                                                                        1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))




1.1.4.17   Provide a list of all active and expired special needs with date range and next scheduled appointment to ensure renewal of all special needs not designated as permanent or "do not renew".                                       1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))




1.1.4.18   Provide a notice to the provider when the next encounter is scheduled beyond the date range of the special need expiration date.                                                                                                  1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))
1.1.4.19   Support categories and subcategories for special needs, allow "other" with free text field. Provide the ability to allow site specific categories and subcategories as approved.                                                  1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))




1.1.4.20   Provide the ability to allow comments to provide further clarification as needed for correctional officers, ICE and IGSA staff.                                                                                                   1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))




1.1.4.21   Provide the ability to allow Mental Health Provider, MD or Mid-level to order a suicide watch.                                                                                                                                    1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))
1.1.4.22   Initiates the automatic generation of Nursing Activities / Tasks to complete Suicide Watch rounds per IGSA policy and report compliance or non-compliance of watch criteria by detention officers.                                1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))

1.1.4.23   Provide the ability for providers to initiate special monitoring of vital signs and initiate various nursing activities (examples: blood pressure check, blood sugar checks, wound care / dressing changes). Must provide 1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))
           visibility of current monitoring and treatment orders, but separate from medications. Must also include the ability to support a regular insulin sliding scale.




1.1.4.24   Allow provider to specify frequency (Daily, Twice Daily, etc) based on facility specific time slots that are customized by each field site. Utilize the times and standardized sig for medication orders - q.d. once a day,       1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))
           t.i.d. three times per day, q.i.d - four times per day, q.h - frequency ever h hours, to allow the appropriate time based on facility preferences to ensure the order is completed within limits if established by the provider




1.1.4.25   Provide access to all required special needs during pill line to allow option to complete at pill line distribution.                                                                                                              1.1 CORE - CLINIC SUPPORT (Order Entry (Reference WBS 1.1.4))
           Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology                                                         1.1 CORE - CLINIC SUPPORT




1.1.4.26   Provide the ability to allow an individual or group of individuals to be responsible management (updating, changing, etc.) of the master medication list (MML) based on the American Hospital Formulary System                    1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
           (AHFS) and allow MML manager to annotate IGSA Formulary vs. non-formulary, Keep on Person vs. Pill Line Only, etc shared between the Pharmacy and EHR system.




1.1.4.27   Provide the ability to allow MML manager to identify which medications formulary and non-formulary.                                                                                                                               1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.28   Provide the ability to view only the medications from the MML on the IGSA formulary medications. Allow expansion to non-formulary medications when needed.                                                                        1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.29   For non-formulary, automatically creates a non-formulary approval request with provider justification for appropriate approval                                                                                                    1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.30   Provide the ability to identify which drug/strengths are in stock versus drug/strengths that are not in stock at the time of order.                                                                                               1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.31   Provide the ability to allow MML manager to identify medications that should be considered critical at the time of order with override capability by to make a medication critical that is not listed as such on the MML.         1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.32   Link all prescriptions to a diagnosis while allowing several medications to a single diagnosis.                                                                                                                                   1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.33   Support the development of workflow/alerts regarding critical medications to develop enhanced workflow for key IGSA staff (Clinical Director , Health Services Administrator, Infectious Disease Officer, Epidemiology, 1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
           Managed care, Medical Director, etc.)




1.1.4.34   Provide the ability to allow MML manager to identify which are not eligible Keep on Person (KOP)                                                                                                                                  1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
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1.1.4.35   Support designation of any KOP approved medication as Pill Line while preventing any Pill Line mandatory from being listed as KOP.                                                                                             1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.36   Provide the ability to allow Pharmacist to override provider decision to select as a pill line medication based on workload and collaboration with nurses.                                                                     1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.37   Provide the ability to allow MML manager to develop standard education for each medication and translate into multiple languages to be given on transfer.                                                                      1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.38   Provide the ability to allow local Pharmacist to designate medications on the MML for the facility that have a standardized sig and prevent providers from recommending an alternate SIG.                                      1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.39   Provide a list of all pharmacy orders that are due to expire by expiration date range, ordering provider, medication category, and critical status.                                                                            1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.40   Provide a list of active medication orders, the ordering provider, expiration date, and the next appointment date, housing unit, sex, etc with the ability to drill down on any criteria shown.                                1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.41   At the point of selection, present the data from the MML which medication are Pill Line Only and Keep on Person eligible.                                                                                                      1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.42   For Pill Line Only medications, do not allow providers to request KOP for those medications.                                                                                                                                   1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.43   Provide the ability for provider select a more conservative approach to have all medications for a particular detainee as pill line medications.                                                                               1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.44   Prevent provider from ordering 1/2 tablets or capsules                                                                                                                                                                         1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.45   Prevent provider from ordering "crushed" on any time release formulation (to be managed/identified by Pharmacy staff and/or Formulary manager) through additional annotations in the MML                                       1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.46   Provide the ability to allow only Pharmacy staff to over ride order to fill for available stock (I.e. if provider desires 10mg dose and 1/2 a 20mg must be dispensed.)                                                         1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.47   Provide the ability to allow for automatic population of sig for medications that apply to a specific medication (NTG, Nix, Elimite, etc.) to be populated at local Pharmacy level in the Master Medication List. .            1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)

1.1.4.48   Provide the ability for Local Pharmacy staff to remove a particular medication and strength to not be displayed for provider selection. (I.e. if a particular medication is not stocked at the local Pharmacy, a provider      1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
           cannot write an order for that medication until Pharmacy staff makes available)




1.1.4.49   Provide the ability to allow for printing of "hard copy" prescriptions in legal format as established by DEA for all Controlled Substances (for co signature/signature by MD, DO, or DDS for DEA Required                      1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
           documentation and for use in using local network Pharmacy)
1.1.4.50   Provide the ability to allow for other institutions to "pick up" (see and fill) orders from other IGSA sites institutions to provide Pharmacy services in lieu of utilizing LAN or Mail Order Pharmacy. (Central Fill)         1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.51   Provide the ability to allow for orders filled at other IGSA Pharmacies to be received and tracked in inventory (lot number, etc) upon receipt utilizing bar code technology (linear and/or 2-D)                               1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.52   Ensure delivery of orders filled from other IGSA Pharmacies continue the process of delivery of medications to the patient identical to format and function as if ordered and filled at local institution.                     1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.53   Provide the ability to allow a facility to designate (on demand) another IGSA Pharmacy to receive orders from another location "tagged" as Central Fill Pharmacy for another site at local level. (I.e. Houston given          1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
           access to Batavia system to fill all orders. Pharmacists accepts designation.)




1.1.4.54   Provide the ability to allow for Central fill to designate that orders for another IGSA site have been filled in individual order and on pending screen at the original ordering site (should be populated by once placed in   1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
           filled status)




1.1.4.55   Provide the ability to allow for Central fill to designate that orders for another IGSA site have been shipped in individual order and on pending screen at the original ordering site (should be populated by once placed in 1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
           filled status)




1.1.4.56   Provide the ability to allow for selection and status change of multiple orders at one time. (Pharmacy staff do not need to open each order to change status)                                                                  1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.57   Provide the ability to allow for electronic sign off that detainee has picked up KOP medication via biometric, bar code scan, and or selection by medical staff                                                                1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.58   Provide the ability to allow for single screen showing all KOP medications to be dispensed. Screen should be populated with all order information and ability to sort by each field (Name, housing unit, etc)                  1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.59   Provide the ability to select multiple orders at once in KOP medication distribution screen to document distribution (I.e. Staff member should be able to select all KOP orders for a particular detainee at once to mark      1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
           as given to detainee in a single action if giving)




1.1.4.60   Provide the ability to review each KOP medication distribution screen to allow for staff to check/verify medication order was filled correctly                                                                                 1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)

1.1.4.61   Provide the ability to track inventory and DEA scheduled items held outside of the pharmacy                                                                                                                                    1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.62   Track all DEA items in the pharmacy per requirements of scheduled narcotics to include documentation and chain of custody requirements for controlled substances.                                                              1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.63   Track additional medications that arrived at intake screening and is placed into nursing sub-stock.                                                                                                                            1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.64   Provide the ability to set Par level (minimum stock on shelves) for each individual product.                                                                                                                                   1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.65   Provide recommended par levels based on order to receipt time by vendor source (prime vendor, mail order pharmacy, etc) to ensure there is adequate part levels to meet the need of the population/                            1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.66   Ensure the system makes recommendation to increase or decrease par levels based on drops in consumption to prevent expired stock.                                                                                              1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.67   Provide the ability to stock and track Over the Counter (OTC) medications distributed through the OTC stock.                                                                                                                   1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)

1.1.4.68   Provides a list of all medications given per Nursing Guidelines and documented in the nursing encounter.                                                                                                                       1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)

1.1.4.69   Reduce the quantity on hand for each administration of medications under RN guidelines for end of shift counts.                                                                                                                1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.70   Provide the ability for provider to notate medications given from "After Hours Stock", linked with separate inventory for After Hours stock, and reports of all medications given via After Hours Cabinet,                     1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.71   Allow the establishment and management of par level for After Hours Stock, and refill report to generate on Pharmacy system/screen specifically stating which products need refilling.                                         1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.72   Update the inventory of all medications taken from after hours stock are linked to a prescription order and that quantity is removed from initial pharmacy fill.                                                               1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.73   Provide method of developing treatment templates that recommend a series of medications for a specific disease management as directed by the HQ Directives, Local Clinical Director and Pharmacy. Link template 1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
           to medications, strength, and sigs to enhance standardization, inventory management




1.1.4.74   Provide capability to identify critical medications if the MML does not already indicate a critical medication.                                                                                                                1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.75   Provide provider capability to identify a medication as "required for transport" to ensure it is placed on Transfer Summary as a required medication and an order goes to pharmacy to fill the medication before               1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
           departure.




1.1.4.76   Based on the medication profile in the formulary management console, automatically extended authorized drugs for travel medications requiring co signature after the fact. Restrictions should prevent the use of this         1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
           feature for controlled substances.




1.1.4.77   Provide the ability to allow providers to change the status (critical vs. not critical) of a medication throughout the order duration and track history and provider changing the status.                                      1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.78   Translate the selected frequency to pill line/nursing task times per day per population.                                                                                                                                       1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)

1.1.4.79   Provide option to require vital signs (blood sugar or blood pressure) during pill line.                                                                                                                                        1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)

1.1.4.80   All orders sent to mail order pharmacy include the generic name.                                                                                                                                                               1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.81   Provide the ability to order one time stat medications for administration to a patient at the location of available stock (Pharmacy, AMPS, ADC)                                                                                1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.82   Provide the ability for providers to enter hold parameters identifying values outside an acceptable range                                                                                                                      1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.83   Provide a consistent manner of packaging regardless of the source (In-House Pharmacy, Pharmacy from another facility, Mail Order or Local off-site pharmacy), ensure the medication is received in the manner                  1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
           (dose, quantity, dose, packaging) that will match the requirement at the time of dispensing.




1.1.4.84   Provide the ability for the user to electronically verifying the order review, verifying the Medication Administration plan, and document the correct and valid expiration date.                                               1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.86   Order Fulfillment                                                                                                                                                                                                              1.1 CORE - CLINIC SUPPORT

1.1.4.87   Provide the ability to process all medications (on-line and offline/remotely) through the normal ordering process, even those medications that are given out through RN guidelines during individual encounters.               1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.88   The Pharmacy system must communicate requirements to the supporting medication preparation and dispensing systems that will preserve medication inventory accountability and security.                                         1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.89   The Pharmacy system must communicate requirements to the supporting medication preparation and dispensing systems that will preserve medication inventory accountability and security.                                         1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.90   The PIMS and medication preparation/dispensing systems must provide the flexibility to support a number of delivery approaches, including short cycle and/or just-in-time, patient-specific distribution and functionality 1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
           that limits the availability of unordered drugs in patient care areas.




1.1.4.91   Provide the ability to for a user to designate and fill an order as a short cycle, where a 28 day medication is turned into 4 cycles of 7 days.                                                                                1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
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1.1.4.92    Provide the ability to categorize each pharmacy order with the following categories: Routine, RN Guidelines, Transfer, after hours continuation, after hours verbal refill) and the ability to place a priority (routine,            1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            critical, stat) on each medication.




1.1.4.93    Provide the ability to define parameters to prioritize the order fulfillment (emergency, stat medications, critical medications and batch orders) such that the priority level is clear to all pharmacy staff for the fulfillment.   1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.94    Provide the ability to identify a sorting process for pill line and KOP by housing area, transfers as well as function to align with the chain of custody documentation done by the nurse to receive and account for all             1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            medication orders for pill line, KOP delivery and transfers.




1.1.4.95    Provide controlled substance inventory management reports (over designated time period, and/or by type of drug, and/or by specific user, and/or by specific patient) to include user, date, time, drug, and quantity                 1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            restocked into AMPS and user, date, time, drug, patient (if applicable) and quantity dispensed AMPS.




1.1.4.96    Based on local and national settings, recommends formulary alternatives for medications.                                                                                                                                             1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.97    When shelf stock is a specified amount below par, notify the Pharmacy staff.                                                                                                                                                         1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.98    Provide the ability to generate separate "Transfer/Release" prescriptions as separate, emergency prescriptions as authorized by state law, with the same tracking mechanisms as a standard medication order.                         1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.99    Allow the Computerized Provider Order Entry in the EHR to generate real-time order for pharmacy from EHR and updates EHR with the fill order establishing a fully synchronized medication profile for each detainee 1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            in the EHR. into EHR to include status of medication order (filled, on order, open for pill line, expired, etc.) and generates workflow when co signature required by MML.




1.1.4.100   Provide specific user permissions to support administrative activities required of the system data that requires clinical knowledge.                                                                                                 1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.101   Provide comprehensive drug interaction checking at the time of order and fulfillment.                                                                                                                                                1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.102    Provide the ability to remove medications from processes after the individual has been confirmed that he is no longer in the facility. A detainee on medication departs a facility and is not booked back in for a specified 1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            number of days per facility - Trigger cancellation of medications by Pharmacist.




1.1.4.103   Provide mechanism with minimal provider input (clicks) to renew medication(s) due to expire for detainees still in custody.                                                                                                          1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.1.4.104   Provide the ability to categorize the interaction notifications by level, to allow the Clinical Directors to approve the level of warnings on an individual basis.                                                                   1.1 CORE - CLINIC SUPPORT (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




            Medical Alerts                                                                                                                                                                                                                       1.1 CORE - CLINIC SUPPORT

1.1.4.105   Allow providers to enter Medical Alert with category (Medical, Psychological, Other) and automatically send to ICE Enforce system- Include designation and allow providers to identify which detainees require a                     1.1 CORE - CLINIC SUPPORT (Medical Alerts)
            medical escort for transport.




1.1.4.106   Provide the ability to allow Medical Alerts to be entered and/or removed by any provider or nurse.                                                                                                                                   1.1 CORE - CLINIC SUPPORT (Medical Alerts)


1.1.4.107   For Psychological Medical Alerts, provide the ability to enter a level of Psychological Medical Alert based on current mental health standards (Examples: Levels 1 and 2)                                                            1.1 CORE - CLINIC SUPPORT (Medical Alerts)




1.1.4.108   Require Clinical Director (or designee) and HSA (or designee) to cosign by providing a list of medical alerts needing co signature.                                                                                                  1.1 CORE - CLINIC SUPPORT (Medical Alerts)




1.1.4.109   At the conclusion of each encounter, prompt provider if they want to continue the medical alert and dispose of any alerts appropriately through the Enforce interface.                                                               1.1 CORE - CLINIC SUPPORT (Medical Alerts)




1.1.4.110   Provide visibility of medical alerts to all EHR users and allow providers to remove medical alerts when no longer valid                                                                                                              1.1 CORE - CLINIC SUPPORT (Medical Alerts)




1.1.4.111   Provide opportunity for others to review the medical alert detail and modify, add, delete based on role-based permissions.                                                                                                           1.1 CORE - CLINIC SUPPORT (Medical Alerts)




            Enter Medical Holds                                                                                                                                                                                                                  1.1 CORE - CLINIC SUPPORT

1.1.4.112   Provide capability to enter Medical Holds and sending electronically to Enforce triggering the Enforce workflow that prevents movement without notice to coordinate with IGSA staff.                                                 1.1 CORE - CLINIC SUPPORT (Enter Medical Holds)




1.1.4.113   Provide a visibility of Medical Holds to all EHR users when the record is being accessed and in all queries showing all detainees in custody.                                                                                        1.1 CORE - CLINIC SUPPORT (Enter Medical Holds)




1.1.4.114   Provide the ability to define and enter criteria that will trigger a prompt to initiate an medical hold when certain conditions exist- TB Suspect, Confirmed TB Case.                                                                1.1 CORE - CLINIC SUPPORT (Enter Medical Holds)




1.1.4.115   Provide standard language of implications of a Medical Hold to present to the Enforce                                                                                                                                                1.1 CORE - CLINIC SUPPORT (Enter Medical Holds)




            Protocol/Policy Based Orders                                                                                                                                                                                                         1.1 CORE - CLINIC SUPPORT

1.1.4.116   Provide management console for HQ directed Protocol/Policy Based to review existing and pending Protocol/Policy Based. (Examples: TB Screening - PPD or CXR, Immunizations, etc.)                                                    1.1 CORE - CLINIC SUPPORT (Protocol/Policy Based Orders)




1.1.4.117   Provide the ability to allow Medical Director or Designee to approve Protocol/Policy orders submitted by each CDs.                                                                                                                   1.1 CORE - CLINIC SUPPORT (Protocol/Policy Based Orders)




1.1.4.118   Support Protocol/Based order submissions from CD to be cosigned by Medical Director prior to implementation and must be validated at a specified number of days.                                                                     1.1 CORE - CLINIC SUPPORT (Protocol/Policy Based Orders)




1.1.4.119   Retain history of all Protocol/ Policy based orders.                                                                                                                                                                                 1.1 CORE - CLINIC SUPPORT (Protocol/Policy Based Orders)




1.1.4.120   Link Protocol/Policy Based to various activities that would discontinue the automatic generation should the Protocol/Policy Based be revoked.                                                                                        1.1 CORE - CLINIC SUPPORT (Protocol/Policy Based Orders)




            Lab Orders                                                                                                                                                                                                                           1.1 CORE - CLINIC SUPPORT

1.1.4.121   Give providers a list of labs available to include all services available at the contract and local laboratories                                                                                                                     1.1 CORE - CLINIC SUPPORT (Lab Orders)




1.1.4.122   Provide option to designated labs to be send to local labs and not sent through the lab interface based on local facilities and provide option to send to local labs or main contract lab at the time of order.                      1.1 CORE - CLINIC SUPPORT (Lab Orders)




1.1.4.123   Provide the ability to allow providers to create a customized list of labs for use in templates linked to diagnoses                                                                                                                  1.1 CORE - CLINIC SUPPORT (Lab Orders)




1.1.4.124   Provide a management module for the master list of labs to require approval from Clinical Director or Designee designated labs.                                                                                                      1.1 CORE - CLINIC SUPPORT (Lab Orders)




1.1.4.125   Provide a management module for the ability for facilities to identify recommended sources for various labs. (Example: TB Sputum tests are done for free by the county health departments versus a cost basis and a                  1.1 CORE - CLINIC SUPPORT (Lab Orders)
            result delay through commercial labs.)




            TB Screening                                                                                                                                                                                                                         1.1 CORE - CLINIC SUPPORT

1.1.4.126   For sites without Tele-Radiology (chest X-Ray), based on a Protocol/Policy Based, automatically order a PPD plant after nurse validates that a TB screen is necessary (no compliant TB screening history presented) 1.1 CORE - CLINIC SUPPORT (TB Screening)




1.1.4.127   Trigger the completion of the PPD plant by detainee.                                                                                                                                                                                 1.1 CORE - CLINIC SUPPORT (TB Screening)


1.1.4.128   Automatically generate a PPD read appointment to be scheduled no earlier than 48 hours after the PPD plan was completed.                                                                                                             1.1 CORE - CLINIC SUPPORT (TB Screening)




1.1.4.129   For tele-radiology sites, automatically Order TB Screening for after nurse reviews validates that TB screening is request the CXR and transfer demographic information to tele-radiology system.                                     1.1 CORE - CLINIC SUPPORT (TB Screening)




1.1.4.130   Support tracking the status of the X-Ray order, image capture, transmission and methods through the tele-radiology interface.                                                                                                        1.1 CORE - CLINIC SUPPORT (TB Screening)




1.1.4.131   Track a list of CXR retakes based on a transmission and image capture based in a certain timeframe. Prompt for justification for retake currently being tracked.                                                                     1.1 CORE - CLINIC SUPPORT (TB Screening)




            Other X-Ray                                                                                                                                                                                                                          1.1 CORE - CLINIC SUPPORT

1.1.4.132   Provide the ability to order additional X-Rays as requested by providers from a master list of radiology services available.                                                                                                         1.1 CORE - CLINIC SUPPORT (Other X-Ray)




1.1.4.133   Provide the ability to print an appointment schedule for all radiology that is required that day                                                                                                                                     1.1 CORE - CLINIC SUPPORT (Other X-Ray)




            Verbal Orders                                                                                                                                                                                                                        1.1 CORE - CLINIC SUPPORT

1.1.4.134   Provide ability to document verbal orders accepted telephonically or in person and track the status. Include clear differentiation between which orders and administrations were verbal.                                             1.1 CORE - CLINIC SUPPORT (Verbal Orders)




1.1.4.135   Require the provider name of all verbal and telephonic orders                                                                                                                                                                        1.1 CORE - CLINIC SUPPORT (Verbal Orders)




1.1.4.136   Require the user to confirm they read back and verified the order.                                                                                                                                                                   1.1 CORE - CLINIC SUPPORT (Verbal Orders)




1.1.4.137   Automatically requests immediate co signature from on site provider or the on call provider/Clinical Director (if provider not available on site).                                                                                   1.1 CORE - CLINIC SUPPORT (Verbal Orders)




1.1.4.138   Automatically requests co signature from the provider that completed the verbal order.                                                                                                                                               1.1 CORE - CLINIC SUPPORT (Verbal Orders)




1.1.4.139   Provide the ability to document mental health specific tasks including type of psychotherapy, social work needs, patient education needs in the order.C483                                                                           1.1 CORE - CLINIC SUPPORT (Verbal Orders)




1.1.4.140   Provide handheld device compatibility with approved ICE handheld devices (Example: Blackberry) to review and approve orders given verbally when away from the facility (after-hours, weekends).                                      1.1 CORE - CLINIC SUPPORT (Verbal Orders)




1.1.5       Referrals / Managed Care (Reference W BS 1.1.5)                                                                                                                                                                                      1.1 CORE - CLINIC SUPPORT

            Referral Submissions                                                                                                                                                                                                                 1.1 CORE - CLINIC SUPPORT

1.1.5.1     Support provider entry of referrals at EHR-S sites (mental health, dental, etc.) directly from EHR system users as a part of order entry with a justification or comments to consider for the referral.                              1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Referral Submissions




1.1.5.2     Provide the ability for the provider to request referrals off-site (Specialty, Emergency Care, etc.) and appropriate routing to the Clinical Director or Designee.                                                                   1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Referral Submissions




1.1.5.3     Provide a way to differentiate urgent referrals from non-urgent referrals and directed by the provider.                                                                                                                              1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Referral Submissions




1.1.5.4     Designate all referrals in the same manner as required by the VA Plexus system to allow a seamless exchange of information between the EHR-S system to establish Payment Authorizations in the VA system after                       1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Referral Submissions
            approval from the local clinical director or designee within the EHR-S.




1.1.5.5     Provide the ability for EHR-S users to review previous referrals from contract medical staff (IGSAs, CDFs, Others) housing ICE detainees which submit referrals or Payment Authorization Requests (PARs) to                          1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Referral Submissions
            authorize medical services through the Med PAR system (MEDPARS), which feeds into the claims management system (Plexus) for payment of all off-site claims for EHR-S and non-EHR-S sites.




1.1.5.8     Provide the ability to allow users to be categorize referrals to match the data required for the MedPAR system and Plexus system such that an export can be created to prevent the duplicate entry of referrals                      1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Referral Submissions
            documented in the EHR-S by providers using the EHR-S.




1.1.5.9     Notify users when a determination by local clinical director is made on a referral recommendation.                                                                                                                                   1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Referral Submissions




            (Referrals / Managed Care (Reference W BS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters                                                                                                    1.1 CORE - CLINIC SUPPORT


1.1.5.10    Automatically generate a Payment Authorization Request (PAR) for review by Managed Care Coordinators for all off-site referrals                                                                                                      1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.11    Make all PARs that come from a facility visible to all other staff at that facility. (include submitter, status, date, detainee, etc.)                                                                                               1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.12    Provide ability to allow one user to be assigned to multiple facilities such that they view only those they are assigned.                                                                                                            1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters
                                                                                                                                                                                                                                                                                                                                                                                                Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 185 of 1402




1.1.5.13   Provide the ability to allow each facility to designated whether the Clinical Director or designee can approve PARs locally.                                                                                         1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.14   For referrals submitted by EHR user providers, allow Clinical Director (CD) to approve PAR as an alternative to Managed Care Coordinators (MCC and FCM).                                                             1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.15   Provide ability to automatically approve PARs based on certain criteria.                                                                                                                                             1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.16   Provide a list of automatically approved PARs for review by Managed Care coordinators to support after-the-fact review of automatic reviews in a streamlined method of review.                                       1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.17   Ensure PAR submitters have no knowledge of the standards for automatic approval by the organization entering the request for treatment. Utilize techniques to eliminate the possibility of the user knowing the      1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters
           difference between a normal PAR and an automatically approved PAR.




1.1.5.18   Provide the ability to allow Managed Care Coordinator (separate system or embedded in EMR) to review each request and make determination on all referrals (PARs) that do not meet the standard of automatic          1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters
           approval.




1.1.5.19   After CD or Managed Care Coordinator approval to trigger workflow to schedule appointment with provider.                                                                                                             1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.20   Provide visibility of all PARs with complete lifecycle status (Approval, making appointment, appointment made, obtaining the off-site record, and ensuring the provider reviews /signs off, etc.) on all off-site.   1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.21   Provide the ability to track the referral status after approval (pending, scheduled, cancelled, transferred, pended - Medical Review, complete, etc.)                                                                1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.22   Support the tracking of all referrals by facility by provider by date with a status documentation is obtained, reviewed and signed.                                                                                  1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.23   For certain referral types, (ER Visit, Hospitalizations, etc) automatically establish an encounter with a nurse that must be complete upon return to the facility.                                                   1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.24   Provide the ability to allow providers to define which PARs require an encounter to be scheduled should scheduled when the off-site appointment is completed.                                                        1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.25   Provide a list of referrals that pending the return of off-site medical documentation.                                                                                                                               1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.26   Track the time a detainee that has been sent to the facility and has not returned.                                                                                                                                   1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.27   When off-site documentation is obtained, trigger provider and Clinical Director for co signature. Provide the ability to allow providers to schedule of an appointment if required.                                  1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.28   Provide the ability to add CPTs allowed for each referral to ensure billing excludes CPTs not approved                                                                                                               1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.29   Support template based CPT approvals to be linked with authorized CPTs for each level to be available to authorizations                                                                                              1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.30   Support detailed status of payment for PARs by hospital, submitter, etc.                                                                                                                                             1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.31   Support the tracking and identification of provider specialties required by each facility to ensure all required specialties have a provider registered.                                                             1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.32   Provide the ability to document more than one office willing to provide the specialty and prompt provider at the time of selection of the specialty.                                                                 1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.33   Provide MCC and FCMs full access to the medical record for consideration in review of PARs.                                                                                                                          1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.34   Provide ability to track status of all referrals submitted by provider and facility (based on permissions)                                                                                                           1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.35   Provide staff to view all PARs submitted from their facility or all facilities based on user rights.                                                                                                                 1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.36   Provide hospitalizations by facility and by type (Medical, Mental Health, etc.)                                                                                                                                      1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.37   Track all hospitalizations (admission date, anticipated discharge date, CPTs, ICD-9s) and allow IGSA staff to add notes to document the most current status of the hospitalization until discharge. Entry could be done 1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters
           by headquarters or field sites. Be able to select field or HQ input.




1.1.5.38   Provide the ability to differentiate Treatment Authorizations by categories (Inpatient/Hospitalization, Emergency, Specialty)                                                                                        1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.39   Automatically assign each PAR to a region based on the state of the faculty submitting the PAR.                                                                                                                      1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.40   Ensure all Payment Authorization Requests (PARs) follow the detainee if they are transferred to a different facility.                                                                                                1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.41   Assign a case manager to each inpatient hospitalization based on region with visibility by all managed care coordinators.                                                                                            1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.42   Provide the ability to allow user to override and assign themselves to the case management if a specialized case.                                                                                                    1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.43   Provide the ability to define types of approvals that are automatically approved without action from managed care coordinators.                                                                                      1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.44   Apply technology that prevents users from knowing whether the selected item is automatically approved or approved through a review.                                                                                  1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.45   Provide case management support functions and application of managed care standards for review of medical hospitalizations and assist in assessing the criteria of the care plan.                                    1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.46   Support Managed Care Coordinators (MCCs) and Field Medical Coordinators (FMCs) to review and make determinations on PARs from 350 IGSA sites (some without IGSA staff), Border Patrol Facilities, Off Site 1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters
           Community Medical Facilities.




1.1.5.47   Support Managed Care, Local Clinical Director or another individual with rights (Dental, Mental Health, etc.) to review and make determinations on PARs from IGSA Facilities                                         1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.48   Provide the ability to allow local providers to submit PARs for Clinical Director Approval or designee                                                                                                               1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.49   Provide the ability to allow local providers to submit PARs directly to Managed Care and prompt Clinical Director (CD) for co signature                                                                              1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.50   Incorporate PAR and determination in to the EHR.                                                                                                                                                                     1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.51   Provide the ability for Medical Director or designee to review and approve Non-Formulary RX requests.                                                                                                                1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.52   Provide Regional Dental Consultants to review and approve off-site dental care and care plans in collaboration with MCC and FMCs.                                                                                    1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.53   Provide Mental Health PARs to be reviewed by Mental Health staff in collaboration with MCC and FMCs.                                                                                                                 1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.54   Export PARs and determination with demographic information to the Claims Payment system (Plexus - See interface in Section ) matching the existing PAR export format.                                                1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.55   Provide the ability to allow EHR users to submit Payment Authorization Requests (PAR) for Off Site Specialty, Hospitalizations and Emergency Care to Managed Care.                                                   1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.56   Provide the ability to allow Pharmacy Consultants to review Non-Formulary RX requests for approval.                                                                                                                  1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.57   Make all PARs that come from a facility visible to all other staff at that facility. (include submitter, status, date, detainee, etc.)                                                                               1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.58   Provide ability to allow one user to be assigned to multiple facilities.                                                                                                                                             1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.59   Provide ability to track status of all referrals submitted by provider and facility (based on permissions)                                                                                                           1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.60   Provide staff to view all PARs submitted from their facility or all facilities based on user rights.                                                                                                                 1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.61   Provide hospitalizations by facility and by type (Medical, Mental Health, etc.)                                                                                                                                      1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.62   Track all hospitalizations (admission date, anticipated discharge date, CPTs, ICD-9s) and allow IGSA staff to add notes to document the most current status of the hospitalization until discharge. Entry could be done 1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters
           by headquarters or field sites. Be able to select field or HQ input.




1.1.5.63   Provide the ability to differentiate Treatment Authorizations by categories (Inpatient/Hospitalization, Emergency, Specialty)                                                                                        1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.64   Automatically assign each PAR to a region based on the state of the facility submitting the PAR.                                                                                                                     1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.65   Ensure all Treatment Authorizations Requests (PARs) follow the detainee if they are transferred to a different facility.                                                                                             1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.66   Assign a case manager to each inpatient hospitalization based on region with visibility by all managed care coordinators.                                                                                            1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.67   Provide the ability to allow user to override and assign themselves to the case management if a specialized case.                                                                                                    1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.68   Provide the ability to define types of approvals that are automatically approved without action from managed care coordinators.                                                                                      1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.5.69   For automatic approvals, apply technology that prevents users from knowing whether the selected item is automatically approved or approved through a review.                                                         1.1 CORE - CLINIC SUPPORT (Referrals / Managed Care (Reference WBS 1.1.5)) Payment Authorization Requests (PAR) - Specialty/Emergency Community Encounters




1.1.6      Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference W BS 1.1.6)                                                                                                                              1.1 CORE - CLINIC SUPPORT
                                                                                                                                                                                                                                                                                                                                                                       Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 186 of 1402




1.1.6.1    Provides a standardized list of activities/tasks that apply to specific specialties (providers, nursing, mental health, etc.) for appropriate staff complete with the ability to restrict or make available various activities/tasks 1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))
           in the EHR to various user groups, types and/or individuals based on inputs (Providers Orders, Admissions, Nursing Care Plans, Mental Health Care Plans, Placement in Segregation)




1.1.6.2    Provides the ability to ensure all activities/tasks that require subsequent action by another user are completed within a specified timeframe.                                                                                         1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.3    Provide the ability to create and modify the standardized activity list ensure activities are available for all organizational priorities. CURRENT: Clinic and Short Stay Unit Activities/ Tasks:                                      1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))
           • Lab Tests
           • Blood sugar monitoring
           • Treatments (dressing changes, foot soaks, etc.)
           • Patient supply distribution (ostomy, catheter supplies)
           • Vital signs monitoring (BP, weight, etc)
           • Hunger strike monitoring
           • Suicide watch monitoring
           • Patient education
           • Immunizations
           • Suicide Monitoring
           • Segregation Rounds
           • Care Plan Monitoring




1.1.6.4    Provide the ability define attributes of specific categories of activities / tasks based upon a menu of attributes, e.g. scheduling attributes: based on order only (standard SIG, specified time slot customized for the              1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))
           facility, or schedule at a specific time based on a facility specific time frame, provider type that would be able to complete each activity/task (nursing, dental, mental health, etc.; location of service: inpatient, outpatient)




1.1.6.5    Provide the ability to separate all activities by type (examples: Blood Sugar Checks, Blood Pressure Checks) to distribute the various activity types among several staff members.                                                     1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.6    Provide the ability to separate all activities based on location Short Stay Unit / Medical Housing Unit and Ambulatory activities.                                                                                                     1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.7    Provide the ability notify users when activities/activities due for a specified patients are available all points of care (on-line and offline/remote)                                                                                 1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.8    Provide the ability to project all activities/activities within a specified timeframe (examples: Full Shift, Next Two Hours) for use in balancing workload of available staff.                                                         1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.9    Provide the ability to separate all activities by activity type to distribute the various activity types among several staff members.                                                                                                  1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.10   Provide a notification if recurring activities on a provider order such that when the order is cancelled.                                                                                                                              1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.11   Provide the a link of all activities to the original order such that a cancellation will line through the discontinued activity providing a notice to the user assigned to complete the activities that it has been "discontinued". 1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.12   Provide the ability to separate activities due to: A) Detainees In custody (per Enforce or Sentry) or manually documented as present/"booked in by EHR facility staff during the recurring (daily, twice daily) population             1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))
           review and B) detainees that have been documented as "booked out" in the custody system (Enforce or Sentry) or manually "booked-out" by recurring as when the departed the facility.




1.1.6.13   Provide the ability to pull up activities that were due for detainees that departed within a specified number of days at the facility.                                                                                                 1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.14   Activate orders for a specified amount of time after a detainee departure based the workflow after ICE has booked a detainee out of the system.                                                                                        1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.15   Provide the ability for each activity/task to collect the information necessary for the specific activities for entry into the medical record. (example: a blood sugar check activity will prompt for the blood sugar value)           1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.16   Provide a single queue of facility activities/tasks pending with the ability to sort, select and print a list of detainees requiring activities based on time, type or grouping that include necessary information (Name,              1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))
           Alien#, Provider, Date Ordered, Housing downloaded from custody system, time due, assigned) to provide to the custody officers to request movement of the detainees in advance of the activities.




1.1.6.17   Provide a single queue of facility activities pending based on the orders or care plans entered by medical provider, mental health, dental and nursing care plans such that specific activity types can be included or                 1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))
           excluded based on the workload distribution and the staff on site to cover all facility that must be accomplished during each shift.




1.1.6.18   Provide the ability to assign several facility activities to an individual at once to distribute the workload of the facility activities to several staff.                                                                             1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.19   Provide the ability for the user to see the amount of time until the activity is due based on the original order or care plan to assist in prioritizing workload.                                                                      1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.20   Provide the ability to view a status of the detainee detention while view all activities to validate there was no activities missed because a detainee errantly booked out.                                                            1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.21   Provide the ability to identify a patient that has been booked out errantly to override the book out changing the detainees status to active until another entry is made in (disregard book-in from) appropriate ICE                   1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))
           maintaining active status or accept a book out and return to inactive state.




1.1.6.22   Provide the ability to view facility activities / tasks for detainees that are no longer in custody (per Enforce or IGSA population updates/reviews) individual actually departed and allow nurses to complete the activity            1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))
           regardless of their book out status.




1.1.6.23   Provide the ability to allow providers/nurses to document the completion of several activities at once when no information is required to complete the task.                                                                           1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.24   Include all activities in all offline/remote states to allow the facility to be completed during other episodes of care (examples: remote sick call, pill line, intake screening/facility returns)                                     1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.25   After completion of each activities, show complete items with date, time and user who completed the activity for use in a review all work with a status.                                                                               1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.26   Provide the ability to incorporate selected facility activities into the schedule as an appointment at a specified time.                                                                                                               1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.27   Provide the ability to trigger a request for a consultation for a provider by provider type to review the results or documentation from a specific activity.                                                                           1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.28   Provide the ability to assign a level of priority for each consultation sent to another provider.                                                                                                                                      1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.29   Provide the ability to review the information collected in the activity associate with the consultation request and prompt for appropriate documentation and action.                                                                   1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.30   Provide the ability to create and document completion of activities that are not associated with a patient and not placed in a patient's chart CURRENT LIST:                                                                       • 1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))
           Refrigerator temperature monitoring
           • Room temperature monitoring
           • Airborne Infectious Isolation (AII) room monitoring
           • Emergency equipment monitoring (defibrillators, emergency carts/bags, oxygen, eyewash, etc.)
           • Narcotics inventory monitoring
           • Sharps inventory monitoring
           • Glucometer quality controls
           • Laboratory test quality controls
           • Equipment quality control/preventive maintenance checks
           • Expired supplies/medication monitoring (a checklist to indicate function was performed, not a listing of supplies
           • Key inventory monitoring




1.1.6.31   Provide the ability to create a activity of a pre-segregation assessment (Require the time of placement in segregation and the notification time for this activity).                                                                   1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.32   Provide the ability to trigger recurring a segregation rounds activity as required per policy after notification that an individual was placed in segregation for a non-medical reason until confirmed the detainee was                1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))
           released from segregation.




1.1.6.33   Provide the ability to allow initiation of an additional facility activity that may result from completing a single, non-recurring facility activity.                                                                                  1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.1.6.34   Provide the ability to select from a list of facility activities that are completed on demand (Chest X-ray Overviews, Validation of Immediate referral) identifying one or more provider levels that will be placed in a pending 1.1 CORE - CLINIC SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))
           status until the activity is completed.




           Pill Line (Reference W BS 1.1.7)                                                                                                                                                                                                       1.1 CORE - CLINIC SUPPORT

1.1.7.1    Upload detention data (housing, pod, room) into the clinic support module                                                                                                                                                              1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.2    Identify a list of detainees that have had a medication change to ensure there is visibility of the current and previous medication orders.                                                                                            1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.3    Provide streamlined identification process of all detainees and medication during pill line.                                                                                                                                           1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.4    Support two forms (bar-coding, biometric, picture, etc) on all patient identifications supporting medication administration accommodate both linear and 2-D/matrix bar code technology.                                                1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.5    Provide the ability to access the patient record and all required medication through pill line with the use of bar coding the Patient ID.                                                                                              1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))
1.1.7.6    Provide patient and medication identification using bar-codes to streamline the medication administration and prevent medication administration errors.                                                                                1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.7    Provide capability to validate medications by view of the drug image.                                                                                                                                                                  1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))


1.1.7.8    Create lists of medications due for use in Pill Line and/or KOP in an offline/remote state.                                                                                                                                            1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))



1.1.7.9    Provide list of pill line and KOP medications due to each detainee. Be able to select view Pill Line Only and/or KOP due.                                                                                                              1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.10   List all remaining medications due (Pill Line or KOP) at each pill line by pod or all pods (in case he moved since last download)                                                                                                      1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.11   Provide the ability to allow nurse to identify the reason the medication was not given (refusals, court, moved)                                                                                                                        1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.12   Provide a list of detainees that were not administered medications by day with the reason                                                                                                                                              1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))


1.1.7.13   Provide the ability to record the validation processes done by nurses for each medication prepared for administration with use of bar coding capability to streamline the preparation and validation process.                          1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.14   After identification through preparation, provide the ability document all medications given to a detainee with a single click.                                                                                                        1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))


1.1.7.15   When bar coding system unavailable, allow manual entry of all medications administered to include time administered.                                                                                                                   1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.16   Provide the capability to pre-population a the refusal form with the item or items that are being refused.                                                                                                                             1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.17   Provide capability to electronically sign the pre-populated refusal form to identify. Show detainee what they are signing the refusal for.                                                                                             1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.18   Provide the ability to manually enter or select from a dropdown of previous witnesses (corrections or medical staff) to sign along with detainee who refused.                                                                          1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))



1.1.7.19   Be able to report non-compliance with all pill line medications when discovered.                                                                                                                                                       1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))



1.1.7.20   Present information required by accrediting bodies as it pertains to each medication (normal limits, contraindications, common side effects).                                                                                          1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))



1.1.7.21   Provide the ability to see all medications the patient is currently taking while administering pill line.                                                                                                                              1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.22   Must allow each facility to establish pill line times that is aligned with the standardized regiments.                                                                                                                                 1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.23   Provide the ability to calculate the delay from scheduled distribution timeframes based on the timeframes established for pill line at each facility.                                                                                  1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.24   Provide historical pill line distributions for each detainee in the form of an electronic Medication Administration Record (MAR) and printed MAR.                                                                                      1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.25   Provide the ability to print all current MARs after the system becomes unavailable.                                                                                                                                                    1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))


1.1.7.26   Ensure the pill line process is such that that each administration is documented at the same time it is given via bar code administration (linear and/or 2-D bar code technology)                                                      1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.27   Provide the ability to allow Pharmacist to accept and document a change to a medication to critical with notification to ordering provider.                                                                                            1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.28   Provide a list of all refusals without completed refusal by signature.                                                                                                                                                                 1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.29   Provide the ability to allow medications to be documented as no show initially, then change to taken if detainee becomes available.                                                                                                    1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.30   Document a reason for not completing medication distribution. Provide a drop down of common reasons and allow the use of "Other" with text entry.                                                                                      1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.31   The ability to print the Medication Administration Record (MAR) for each detainee with the nurse's initials posted in each spot.                                                                                                       1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.32   Provide adequate warnings and safeguards to prevent more than 1 unit of an individual order/medication to be given within a specified amount of time                                                                                   1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.33   Provides a validation to validate similar orders that match a certain criteria (medication, drug class, exact dosage, pill line)                                                                                                       1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))


1.1.7.34   Provide an indicator to prompt entry of Blood Pressure and Blood Sugar result during pill line if indicated in order.                                                                                                                  1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.35   Provide the ability to document what is actually received from mail order Pharmacy to identify any disparities between orders and prescription (Two 10 mg tablets for twice a day, versus one 20mg tablet once a day)                  1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))
           and update the pill line information to ensure accuracy.




1.1.7.36   Identify which medications should never be crushed as established in MML                                                                                                                                                               1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.37   To support short stay unit detainees, provide secured (immobile) locked medication carts (1 for each SSU Nursing station) for after hours medications that are linked to the EHR and grant access to common                            1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))
           individual compartments where medication is stocked by Pharmacy with adequate stock to administer individual doses of medications from the after hours medication cart and short stay unit medication cart.




1.1.7.38   Provide the ability to document the inventory of the pill line cart after pill each pill line and document a medication inventory adjustment with appropriate acknowledgement by appropriate members of the staff (CD,                 1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))
           HSA, Pharmacist, etc)




1.1.7.39   Provide the ability to prevent the user from proceeding without entering required, valid data at the time of medication administration.                                                                                                1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))
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1.1.7.40   Provide the ability to document all medications given to a detainee with 1 click per medication meeting standards of accreditation bodies that currently requires review and documentation of individual medications on              1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))
           all medication administrations after validation of 5 rights.




1.1.7.41   Provide all necessary demographic information on MAR Screen: Name, AKAs, Alien #,, other Enforce identifiers, a photograph, partner identifiers (USM, BOP, Inbound Jails, etc), housing location, from the primary 1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))
           source.




1.1.7.42   Provide the ability to display the MAR as a single page should include: medication name (generic and Brand), order instructions - dosage form, strength or concentration, dosage, administration route, start/stop                   1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))
           date, special instructions - "give with food"..."do not crush"..."protect from light". (detainee) should "limit or protect from direct sunlight exposure". Color coded or otherwise easily noted designation for high risk,
           pending due, completed, prn (as needed) (due or not due), prn (as needed) completed, special requirements prior to administration- BP Accuchek and hold (don't give for BP or RBS) or parameters like sliding
           scale.




1.1.7.43   Provide the ability to use bar coding (linear and 2-D) that can be used to ensure the items are properly stocked in the appropriate inventory (ADC, AMPS and In-House Pharmacy)                                                      1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.44   Provide the ability to produce a backup list of current medications after the system goes down for use in continuing to distribute medications on a paper Medication Administration Record. The list must include patient 1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))
           picture, demographic information, drug detail and bar code of the required drug. The barcode scanner must be operable with the system down mode to require validation of the medication, the detainee listed on the
           report and the medication to be given. When the system comes back online, the data should download that these medication administrations were complete.




1.1.7.45   Provide capability to fully operate when parent system/network off line and "sync" with parent system/network upon reconnection. Provide capability to fully operate off-line for extended period of time with zero data loss 1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))
           and 100% "sync" when Pharmacy system reconnected.




1.1.7.46    Provides electronic Medication Administration Record (eMAR) that ensures comprehensive accountability of all medications delivered through Pill line, whether or not the user has access to the local area network                  1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))
           (LAN)




1.1.7.47   Medications filled for Pill Line must have a designation/identifier as a Pill Line medication on label or packaging clearly labeled to prevent confusion between pill lined and Keep on Person medication.                           1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.7.48   Provide the ability to track all medications from between provider order to delivery to the patient on all medications.                                                                                                              1.1 CORE - CLINIC SUPPORT (Pill Line (Reference WBS 1.1.7))




1.1.8      Sick Call (Reference W BS 1.1.8)                                                                                                                                                                                                     1.1 CORE - CLINIC SUPPORT

1.1.8.1    Provide the ability to support remote, face to face sick call triage at a specified time of the day in remote care areas without access to the LAN with full medical records of all detainees in custody for triage in an            1.1 CORE - CLINIC SUPPORT (Sick Call (Reference WBS 1.1.8))
           offline/remote state.




1.1.8.2    For facilities authorized to accept sick call slips, provide the ability to select from a list of all detainees in custody to enter all sick call requests with date and time submitted for multiple detainees at once to create a   1.1 CORE - CLINIC SUPPORT (Sick Call (Reference WBS 1.1.8))
           sick call request.




1.1.8.3    Provide the ability to allow a provider to respond to sick call remotely even if the detainee did not submit a sick call slip.                                                                                                       1.1 CORE - CLINIC SUPPORT (Sick Call (Reference WBS 1.1.8))




1.1.8.4    Provide the nurse access to the complete medical record in an offline/remote mode for completing sick call on all detainees that have submitted a sick call request or (depending on portable memory limitations), all               1.1 CORE - CLINIC SUPPORT (Sick Call (Reference WBS 1.1.8))
           detainees in custody at the facility at time of sick call. If there are limitations to the amount of information that can be available offline/remotely, provide the nurse a limited amount of information on all patients in
           custody at the facility to include: previous sick call requests, previous encounters progress notes, all appointments, and orders (with status) for use in supporting on demand sick call or questions from detainees.




1.1.8.5    Provide the ability to select from a list of common complaints for each sick call request with the ability to submit text complaints when no common complaint is applicable.                                                         1.1 CORE - CLINIC SUPPORT (Sick Call (Reference WBS 1.1.8))




1.1.8.6    Provide the ability for the provider (Nurse, Mid-Level) to change the chief complaint or add an additional complaint to ensure consistency of the various complaints submitted and that each complaint is addressed per              1.1 CORE - CLINIC SUPPORT (Sick Call (Reference WBS 1.1.8))
           detention standards.




1.1.8.7    Provide the ability to select sick call requests that are to be addressed during the sick call for that day to provide a printed list to the detention staff.                                                                        1.1 CORE - CLINIC SUPPORT (Sick Call (Reference WBS 1.1.8))




1.1.8.8    Provide the ability for the Nurse to review the previous sick call requests on all detainees and change the primary complaint to a complaint already addressed in previous encounters or sick call and prompt the nurse              1.1 CORE - CLINIC SUPPORT (Sick Call (Reference WBS 1.1.8))
           to confirm the sick call request was "already addressed".




1.1.8.9    Provide access to all IGSA nursing guidelines (clinical decision support) and incorporate into sick call workflow while in the offline/remote state to support sick call.                                                            1.1 CORE - CLINIC SUPPORT (Sick Call (Reference WBS 1.1.8))




1.1.8.10   Provide the ability to allow user to refer a sick call for scheduling of an encounter in the clinic identifying the level of provider required for the encounter.                                                                    1.1 CORE - CLINIC SUPPORT (Sick Call (Reference WBS 1.1.8))




1.1.8.11   Provide the ability for a provider to trigger a review of a sick call at the same level provider (nurse) at the end of sick call prior to decide whether a referral is appropriate.                                                  1.1 CORE - CLINIC SUPPORT (Sick Call (Reference WBS 1.1.8))




1.1.8.12   Provide the ability for provider to review all sick call requests submitted each day for use in defining the resources required to meet the sick call needs.                                                                         1.1 CORE - CLINIC SUPPORT (Sick Call (Reference WBS 1.1.8))




1.1.8.13   Provide a list of sick call encounters and their status (pending, referred, complete, same complaint) to be used on reviewing all the sick call requests                                                                             1.1 CORE - CLINIC SUPPORT (Sick Call (Reference WBS 1.1.8))




1.1.8.14   Provide templates for each sick call nurse to create standardized responses to various conditions presented at sick call and incorporate IGSA Nursing Guidelines and other decision support (triage systems).                        1.1 CORE - CLINIC SUPPORT (Sick Call (Reference WBS 1.1.8))




1.1.8.15   Support algorithm based clinical decision support for all Nursing Guidelines with drop down menus, warnings and alerts during the sick call process.                                                                                 1.1 CORE - CLINIC SUPPORT (Sick Call (Reference WBS 1.1.8))




1.1.8.16   Provide the ability to updated, change, include and exclude aspects of the RN, LVN and CNA/MA guidelines to be managed by HQ.                                                                                                        1.1 CORE - CLINIC SUPPORT (Sick Call (Reference WBS 1.1.8))




1.1.8.17   Provide the capability to print education materials by topic as developed by IGSA HQ in multiple languages for delivery to the detainee.                                                                                             1.1 CORE - CLINIC SUPPORT (Sick Call (Reference WBS 1.1.8))




1.1.8      Short Stay Unit / Bed Management (Reference W BS 1.1.9)                                                                                                                                                                              1.1 CORE - CLINIC SUPPORT

1.1.9.1    Provide the ability for HQ or designee (based on role based security) to add/delete/modify the inventory all IGSA beds in each facility to ensure a comprehensive list of SSU and AMH beds nationwide/organization-                  1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))
           wide are tracked with the EHR Short Stay Unit (SSU) and Alternate Medical Housing (AMH) bed utilization.




1.1.9.2    Provide the ability to maintain an accurate inventory of segregation units across at all EHR sites.                                                                                                                                  1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.3    Provide the ability for a facility to identify specific services available of each bed in the SSU or AMH (respiratory isolation, general, IV Therapy, Oxygen, handicap accessibility) or for use in determining                      1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))
           appropriateness of a specific patient placement.




1.1.9.4    Provide the ability to allow each bed to be designated with a specific specialty that may be available at the facility (isolation, internist care, mental health, infectious disease, orthopedic) that can be removed when           1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))
           resources change (staff departs, etc).




1.1.9.5    Provide the ability to assign nursing support needs (Level 1, 2, 3 or 4) after admission based on nursing standards and allow nurses to modify throughout the stay in the AMH.                                                       1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.6    Provide the ability to define standardized availability classifications for each bed, e.g. vacant, occupied, bed assigned (reserved for pending admission), closed (e.g. repairs, not staffed, evacuation).                          1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.7    Provide the ability for a local facility to manually change the availability status of each bed (examples: out of service, negative pressure failure, unstaffed) to remove from availability list when unavailable.                  1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.8    Provide the ability for an EHR user, based on role based rights, to admit a detainee into a SSU bed or AMH segregation (for sites without an SSU) prompting a reason for admission and assigning the patient to the 1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))
           bed.




1.1.9.9    Provide the ability to reconcile existing ambulatory orders upon admission to ensure the existing orders are continued in an inpatient setting.                                                                                      1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.10   Provide the ability to document the initial assessment of acuity based on current IGSA policy (level 1- 4) and allow updates during SSU provider encounters required by daily policy.                                                1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.11   Provide the ability to establish a defined list a of "reasons for admission" for section by providers during the admission process of the encounter with the ability to enter other with text.                                       1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.12   Provide the ability to select which existing diagnoses are the basis for the admission to the SSU or AMH.                                                                                                                            1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.13   Provide the ability to view an “electronic bed board” which shows all beds with their appropriate status: occupied, vacant, assigned, and closed/out of service beds; along with the detail on all admissions (patient name, 1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))
           ID#, DOB, photo; current admitting diagnoses; admitting medical provider; admission date; current length of stay; projected discharge date; current special needs; current acuity level; reason for admission) on a real
           time basis. Provide the ability to view all medical admissions and observations for both SSU and segregation beds (Name, A Number, DOB, Reason for Admission, date admitted, projected admission, admitting
           provider)




1.1.9.14   Provide the ability to input the date/time the patient was admitted/discharged/transferred based on the actual time the detainee moved.                                                                                              1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.15   Provide the ability to reassign a patient to another bed without change the admission date.                                                                                                                                          1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.16   Provide the ability to update the anticipated discharge date throughout the stay in the SSU and AMH.                                                                                                                                 1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.17   Provide the ability to document the physical status of each admission and discharge (Boarding, Awaiting Transport, Administrative)                                                                                                   1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.18   When a patient is admitted/discharged/transfer in an SSU, update the bed status of the associated bed accordingly based on the date/time of the actual move.                                                                         1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.19   Provide the ability for an individual to reserve an SSU bed for a transfer from another facility or placement from a hospital and specify the anticipated date/time of arrival.                                                      1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.20   Provide the ability to create/modify individualized nursing care plans on each detainee admitted to the SSU.                                                                                                                         1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.21   Allow only RNs to “create/modify” nursing care plans.                                                                                                                                                                                1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.22   Create “alert” notifications (to SSU patient, SSU charge nurse, individual SSU nurse, nurse manager, CD and HSA dashboards) if a nursing care plan is not created within a specified period of time after admission 1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))
           (period of time to be defined by IGSA).




1.1.9.23   Provide the ability to use the current North American Nursing Diagnosis Association – International (NANDA-I) nursing diagnosis nomenclature.                                                                                        1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))



1.1.9.24   Provide the ability to use the current Nursing Outcome Classification (NOC) nomenclature.                                                                                                                                            1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.25   Provide the ability to use the current Nursing Intervention Classification (NIC) nomenclature.                                                                                                                                       1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.26   Provide the ability to use a list of “nursing activities” using nomenclature included in SNOWMED and add unique IGSA nursing intervention classifications into the baseline activity terms.                                          1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.27   Provide the ability to review and approve each addition of the IGSA nursing intervention classifications prior to initiating use at all sites. Provide the ability for IGSA to edit/modify the list of unique IGSA nursing activity 1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))
           terms.




1.1.9.28   Provide the ability to “update” entire nursing nomenclature systems when new editions are published without changing the unique IGSA nursing intervention classifications already reviewed and approved.                             1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.29   Provide the ability to create nursing care plans and care plan templates which link common symptoms/medical diagnoses, NANDA-I nursing diagnoses, NOC outcome classifications, NIC nursing intervention                              1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))
           classifications, and NIC/IGSA nursing activities.




1.1.9.30   Provide the ability to create nursing care plans and nursing care plan templates utilizing “links” between NANDA, NOC, NIC, and NIC/IGSA nursing activities.                                                                         1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.31   Provide the ability to define “outcome target ratings” for each NOC selected based on NOC classification scale (5 point liker scale).                                                                                                1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.32   Provide the ability to periodically assess patients in relation to NOC classification system scale. Specifically admission baseline rating and periodic reassessments every shift (time frame for reassessments to be                1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))
           defined and locally configured based upon 8 or 12 hour shifts).
                                                                                                                                                                                                                                                                                                                                                                        Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 188 of 1402




1.1.9.33    Provide the ability for nurses to “close-out” NOCs and nursing diagnoses which are resolved.                                                                                                                                     1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.34    Create “alert” notifications (to SSU patient, SSU charge nurse, individual SSU nurse, nurse manager, CD and HSA dashboards) if NOC patient status determinations are not documented within defined time frames. 1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.35    Provide the ability for nurses to select/document date/time nursing activities were performed from SSU patient dashboard.                                                                                                        1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.36    Provide the ability to view/interact with nursing care plan and document NOC assessments and nursing activities performed from a SSU patient dashboard.                                                                          1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.37    Provide the ability to incorporate/migrate NOC patient status assessments and nursing activities into SOAP notes.                                                                                                                1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.38    Provide the ability to link SSU bed/unit dashboards, SSU patient dashboards, individual SSU nurse dashboards, SSU medical provider dashboards.                                                                                   1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.39    Provide the ability for staff designated by the organization must have the ability to periodically modify and or redefine all of the “links.”                                                                                    1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.40    Provide the ability to complete a discharge of a patient that will notify the nurse to coordinate transfer of the detained.                                                                                                      1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.41    Provide the ability for the nurse to document the actual movement of the detainee to document that the bed is officially vacant.                                                                                                 1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.9.42    Provide the ability to reconcile inpatient orders to ensure continuity of orders during the transition to the ambulatory care practices.                                                                                         1.1 CORE - CLINIC SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.1.10      Transfers (Reference W BS 1.1.10                                                                                                                                                                                                 1.1 CORE - CLINIC SUPPORT

1.1.10.1    Provide the ability to identify a list of patients that are scheduled to arrive at the facility when documented by ICE in the Enforce system.                                                                                    1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))




1.1.10.2    Provide an indication when an inbound detainee has an existing medical record in the EHR system for review prior to arrival to improve continuity of care and site preparation efforts.                                          1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))




1.1.10.3    Provide an indicator on the list of inbound detainees that identifies patients that have active medical holds or medical alerts.                                                                                                 1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))




1.1.10.4    Provide the ability to select a detainee from the list of inbound to go directly into the individual medical record as needed by staff assigned to review the list of inbound detainees.                                         1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))




1.1.10.5    Provide the ability to provide a list of detainees that are planned for transfer after ICE "documents" the plan to move the detainee as early as possible to support review of "critical" medical issues impacting transport.    1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))




1.1.10.6    Provide a list of detainees that have been designated by ICE as "final" and require a transfer summary from medical.                                                                                                             1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))




1.1.10.7    Provide the ability to review the current TB Clearance status based on medical information entered into the EHR by other staff or previous sites.                                                                                1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))




1.1.10.8    Populate the US DOJ Medical Summary of Federal Prisoner / Alien In Transit (currently titled form USM-553) with the data already in the medical record (medications, problem list, TB clearance), Facility                       1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))
            Discharge Summary, Medication List, Education Materials) and prompt for additional questions to complete the sections required by the form.




1.1.10.9    Provide the ability to review all detainees after ICE identifies the detainees through entry into the Enforce system.                                                                                                            1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))




1.1.10.10   Provide the ability for users to sort (by date/time of departure, transportation grouping/manifest) and select several detainees from the list of detainees to complete the transfer summaries.                                  1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))




1.1.10.11   Provide the ability to review of the entire medical record during the transfer summary preparation process.                                                                                                                      1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))




1.1.10.12   Provide the ability to review the full medical record for approval of transport and simultaneously answer the appropriate questions needed for the USDOJ transfer summary.                                                       1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))




1.1.10.13   Provide the ability for a user to sign the USDOJ transfer summary with an electronic signature placed on the signature portion of the document to complete the US DOJ Medical Summary of Federal Prisoner / Alien 1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))
            In Transit (currently titled form USM-553) form.




1.1.10.14   Provide the ability to create a patient summary for departure from the facility including diagnosis, current medications, medical alerts, holds and special needs, immunization history, laboratory values, and TB               1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))
            Clearance.




1.1.10.15   Send an order for all active medications to the Pharmacy for consideration by Pharmacist to validate that medication is required for transport.                                                                                  1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))




1.1.10.16   Provide the ability to complete the full review of the medical record and answer the questions required for the USM-553 and place in a hold status until Pharmacy completes the determination of the transfer                    1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))
            medication.




1.1.10.17   Provide an indicator when the transfer medication list is finalized system (transfer medication list is final) to indicate to the nurse that the transfer summary is prepared for final review and printing.                     1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))




1.1.10.18   Provide the ability to print, after completion of the review of medical record and the transfer review, one or all the necessarily documents as needed by individual patient (Alien In Transit Form USM-553, Facility            1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))
            Discharge Summary, Medication List, Education Materials).




1.1.10.19   Provide the ability to print instructions and education on all medications in language the individual speaks.                                                                                                                    1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))




1.1.10.20   Provide the ability to allow print a separate immunization record for the detainee.                                                                                                                                              1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))




1.1.10.21   Provide a single "Transfer Dashboard" to view of the status of all daily transfers and provide a status on the transfer summary, printing of the various documents (1.1.1.12 to 1.1.10.16) and the status of the medication 1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))
            orders.




1.1.10.22   Provide the ability for designated ICE staff to access transfer summaries electronically for a specified amount of time after transfer from the facility while documenting the individual who accesses and prints the            1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))
            transfer summary.




1.1.10.23   Provide the ability limit access to transfer summaries by role security.                                                                                                                                                         1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))




1.1.10.24   Allow any special instructions entered by providers during encounters to be included in the transfer summary to be edited by the individual for clarification or transition to layman’s terms prior to finalizing the transfer   1.1 CORE - CLINIC SUPPORT (Transfers (Reference WBS 1.1.10))
            summary.




1.1.11      Clinic Management and Clinical Oversight (Reference W BS 1.1.11)                                                                                                                                                                 1.1 CORE - CLINIC SUPPORT

1.1.11.1    Provide a management module for Medical Director to define what actions require co signature (CD, Provider, Nurse, Levels) based on national standards.                                                                          1.1 CORE - CLINIC SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.1.11.2    Provide the ability to allow Local Clinical Director to define additional items that require signature by individual due to limited education in certain specialty areas more restrictive than items identified by the Medical   1.1 CORE - CLINIC SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))
            Director.




1.1.11.3    Provide the ability to review all changes to the HQ list of items requiring co signature for consideration by Clinical Directors to include in the list of items requiring co signature in addition to HQ directed items.        1.1 CORE - CLINIC SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.1.11.4    Provide the ability to view individual encounters that include all documentation and actions taken during each encounter (orders, diagnosis, referrals, clinical decision support) while reviewing encounters.                   1.1 CORE - CLINIC SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.1.11.5    Provide the ability to view the full patient record from the review of individual encounters to understand the documentation in context of the full medical record.                                                              1.1 CORE - CLINIC SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.1.11.6    Provide the ability to allow Managers to view all notes that have not been finalized by users to ensure documentation is complete within an appropriate time after the actual patient encounter..                                1.1 CORE - CLINIC SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.1.11.7    Provide the ability to include Administrative Notes in the medical record.                                                                                                                                                       1.1 CORE - CLINIC SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.1.11.8    Provide the ability to document notes regarding a detainee behavior through messaging between the providers. (Should this be included in the medical record? OPLA question.)                                                     1.1 CORE - CLINIC SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.1.11.9    Provide the ability to view the progress note in the final format while the note is being developed through selection of various forms and entries processes to ensure a comprehensive understanding of how the medical 1.1 CORE - CLINIC SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))
            information being entered will be posted to the medical record.




1.1.11.10   Provide the ability to override the designation as a significant detainee illness.                                                                                                                                               1.1 CORE - CLINIC SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.1.11.11   Provide the ability to identify individual experts throughout for a specific type of disease that will receive alerts based on a specific set of criteria for review consideration (infectious Disease, OBGYN, substance         1.1 CORE - CLINIC SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))
            abuse, depression, dietician, infectious disease)




1.1.11.12   EMR must automatically set to local time and time changes (daylight savings).                                                                                                                                                    1.1 CORE - CLINIC SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.1.11.13   Provide the ability to indicate any visual or hearing impairment of a detainee for reference.                                                                                                                                    1.1 CORE - CLINIC SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.1.11.14   Provide adequate quantities of devices to replace the existing devices on-hand at each site that can be brought on-line based on historical failures and dependency factors on continuity of operations.                         1.1 CORE - CLINIC SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.1.11.15   Provide the ability for users to log off a computer and return to the same screen on another computer to continue working on the same functions in a streamlined fashion.                                                        1.1 CORE - CLINIC SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.1.11.16   Provide access to information available in drug references on demand when completing drug related activities (order entry, renewal, pharmacy, encounters and pill line.)                                                         1.1 CORE - CLINIC SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.1.11.17   Provide the ability to print and attach wristbands to each detainee with a photograph, demographic information and a 2-D/Matrix bar code during the intake screening process.                                                    1.1 CORE - CLINIC SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.1.12      Credentialing and Privileging (Reference W BS 1.1.12)                                                                                                                                                                            1.1 CORE - CLINIC SUPPORT

1.1.12.1    Provide the ability to document all required items (license, education verification, privileging approval, National Practitioner Databank,) necessary to be authorized to treat patients.                                        1.1 CORE - CLINIC SUPPORT (Credentialing and Privileging (Reference WBS 1.1.12))




1.1.12.2    Provides the ability to produce reports, alerts and notifications to those managing credentials to ensure individuals are removed from access to the system when the required documentation expires.                             1.1 CORE - CLINIC SUPPORT (Credentialing and Privileging (Reference WBS 1.1.12))




1.1.12.3    Provides opportunity for individuals to collaborate on documentation kept at HQ and Locally (to meet accreditation needs) to validate requirements (licensure, annual training, etc.) are kept accurate.                         1.1 CORE - CLINIC SUPPORT (Credentialing and Privileging (Reference WBS 1.1.12))




1.1.12.4    Provides the ability to lock/suspend accounts for a specified timeframe of non-compliant or due document.                                                                                                                        1.1 CORE - CLINIC SUPPORT (Credentialing and Privileging (Reference WBS 1.1.12))




1.1.13      Exchange of medical information with health organizations and partners. (Reference W BS 1.13)                                                                                                                                    1.1 CORE - CLINIC SUPPORT


1.1.13.1    Provide the ability to grant access to the IGSA medical record information to Contract Medical Staff at non-EHRs sites through web access when a detainee is slated to be transferred to their facility.                         1.1 CORE - CLINIC SUPPORT (Exchange of medical information with health organizations and partners. (Reference WBS 1.13))




1.1.13.2    Provide a method of identifying medical information that is available on detainees through Interoperability addressing the patient identifier differences among all facilities configured to interoperate with IGSA.             1.1 CORE - CLINIC SUPPORT (Exchange of medical information with health organizations and partners. (Reference WBS 1.13))




1.1.13.3    Provide a web based entry of standard medical activities and notifications required for each detainee per the ICE Performance Based National Detention Standards (PBNDS) to include: Intake Screening Date/Time, 1.1 CORE - CLINIC SUPPORT (Exchange of medical information with health organizations and partners. (Reference WBS 1.13))
            Sick Call Requests & Response Date, 14-Day Physical Date, Medical Alerts/Holds, Special Needs, Medications, Problem List




1.1.13.4    For ICE Contract sites that include medical services (non-ICE, Non-IGSA sites) and have an Electronic Medical Record (EMR) in place, utilize Interoperability Standards and Processes in the industry to obtain                  1.1 CORE - CLINIC SUPPORT (Exchange of medical information with health organizations and partners. (Reference WBS 1.13))
            necessary health records for each ICE detainee in custody at their facility to support Continuity of Care and Oversight of Medical Services Provided.




1.1.13.5    Supports the transition between Web Entry to full exchange of medical records when a facility successfully brings an Electronic Health Record online through interoperability. Maps data fields to previous data for             1.1 CORE - CLINIC SUPPORT (Exchange of medical information with health organizations and partners. (Reference WBS 1.13))
            continuity of historical compliance after the transition to exchange of full medical records.




1.1.13.6    Provides the ability to provide remote access to the IGSA health record for off-site medical providers providing specialty and emergency services.                                                                               1.1 CORE - CLINIC SUPPORT (Exchange of medical information with health organizations and partners. (Reference WBS 1.13))




1.1.13.7    Provides the ability to update the medical record with all clinical documentation related to off-site referrals and Tele-Health encounters from the patient encounters to support initiation of external provider orders         1.1 CORE - CLINIC SUPPORT (Exchange of medical information with health organizations and partners. (Reference WBS 1.13))
            through workflow proceeding after approval by IGSA providers (example: medication orders).




1.1.14      Medical Grievances (Reference W BS 1.1.14)                                                                                                                                                                                       1.1 CORE - CLINIC SUPPORT
                                                                                                                                                                                                                                                                                                                                                                                                                                             Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 189 of 1402




1.1.14.1    Provides the ability to document the receipt of several grievances at once to ensure accountability..                                                                                                                          1.1 CORE - CLINIC SUPPORT (Medical Grievances (Reference WBS 1.1.14))




1.1.14.2    Provide the ability track the scanning of submitted grievances into the medical record.                                                                                                                                        1.1 CORE - CLINIC SUPPORT (Medical Grievances (Reference WBS 1.1.14))




1.1.14.3    Provide the ability to categorize grievances by type and level of severity.                                                                                                                                                    1.1 CORE - CLINIC SUPPORT (Medical Grievances (Reference WBS 1.1.14))




1.1.14.4    Provide the ability to document the conclusion of the grievance.                                                                                                                                                               1.1 CORE - CLINIC SUPPORT (Medical Grievances (Reference WBS 1.1.14))




1.1.14.5    Provide the ability to document an appeal of a specified grievance.                                                                                                                                                            1.1 CORE - CLINIC SUPPORT (Medical Grievances (Reference WBS 1.1.14))




1.2         1.2 CORE - PHARMACY                                                                                                                                                                                                            1.2 CORE - PHARMACY
GR.1.2      Pharmacy / Pharmacology General Requirements                                                                                                                                                                                   1.2 CORE - PHARMACY

GR.1.2.1    Provide baseline capability of the Correctional Institute Pharmacy System (CIPS) - Kalos, Inc as represented through remainder of document.                                                                                    1.2 CORE - PHARMACY (Pharmacy / Pharmacology General Requirements)



GR.1.2.2    Provide a system that has a central database that stores data from all sites using clinical or oversight capability of the pharmacy system.                                                                                    1.2 CORE - PHARMACY (Pharmacy / Pharmacology General Requirements)



GR.1.2.3    Provide real-time updated with data from the sites transferring data to central server or updated on regular intervals (currently each 2 minutes).                                                                             1.2 CORE - PHARMACY (Pharmacy / Pharmacology General Requirements)



GR.1.2.4    Integration of patient demographic information (Name, Alien Number, Date of Birth, Home of Record, and Housing Unit) to ensure consistency of data between EHR and Pharmacy System.                                            1.2 CORE - PHARMACY (Pharmacy / Pharmacology General Requirements)



GR.1.2.5    Accept accurate allergy information from clinic support module for drug interactions.                                                                                                                                          1.2 CORE - PHARMACY (Pharmacy / Pharmacology General Requirements)




GR.1.2.6    Accept the current diagnosis (problem list) from the clinic support module for consideration on all work done in the pharmacy module.                                                                                          1.2 CORE - PHARMACY (Pharmacy / Pharmacology General Requirements)




GR.1.2.7    Support the ability for the Pharmacist to enter the allergies that will update all EHR modules.                                                                                                                                1.2 CORE - PHARMACY (Pharmacy / Pharmacology General Requirements)




GR.1.2.8    Allow complete review of the medical record from all modules of the EHR system for consideration without having to re-initiate credentials or take multiple steps.                                                             1.2 CORE - PHARMACY (Pharmacy / Pharmacology General Requirements)




GR.1.2.9    Provide the EHR-S user available to EHR users the current on-hand inventory at the time of the order for use in maximizing the use of existing stock to improve delivery time and reduce the use of off-site alternatives      1.2 CORE - PHARMACY (Pharmacy / Pharmacology General Requirements)
            that may have a longer lead time.




GR.1.2.10   The inventory of the Pharmacist must be visible to other facilities to initiate transfers of medications of medications and central fill medications.                                                                          1.2 CORE - PHARMACY (Pharmacy / Pharmacology General Requirements)



GR.1.2.11   Provides ability to restrict medications on MML based on provider type (MD vs. MLP, etc) and prompt for signature by local CD or HQ Medical staff based on the source of the criteria is changed in MML.                       1.2 CORE - PHARMACY (Pharmacy / Pharmacology General Requirements)




GR.1.2.12   Provide the ability to enter new detainee/patient to Pharmacy system when parent system/network off line and reconciliation with demographic and medical information in interfaced/integrated packages upon "sync"             1.2 CORE - PHARMACY (Pharmacy / Pharmacology General Requirements)
            with parent system/network. Provide automatic demographic updates with Jail Management System




GR.1.2.13   Provide the ability to generate the order without provider coordination if the original medication order has adequate number of days required (typically 7 days) without a separate order.                                     1.2 CORE - PHARMACY (Pharmacy / Pharmacology General Requirements)




GR.1.2.14   Provide the ability to view the date and time of the last update from the jail management system where the housing location.                                                                                                   1.2 CORE - PHARMACY (Pharmacy / Pharmacology General Requirements)




GR.1.2.15   Provide the ability to place new medications within the stocking plan.                                                                                                                                                         1.2 CORE - PHARMACY (Pharmacy / Pharmacology General Requirements)




            Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology                                                      1.2 CORE - PHARMACY




GR.1.2.16   Provide the ability to allow an individual or group of individuals to be responsible management (updating, changing, etc.) of the master medication list (MML) based on the American Hospital Formulary System                 1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            (AHFS) and allow MML manager to annotate IGSA Formulary vs. non-formulary, Keep on Person vs. Pill Line Only, etc shared between the Pharmacy and EHR system.




GR.1.2.17   Provide the ability to allow MML manager to identify which medications formulary and non-formulary.                                                                                                                            1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.18   Provide the ability to view only the medications from the MML on the IGSA formulary medications. Allow expansion to non-formulary medications when needed.                                                                     1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.19   For non-formulary, automatically creates a non-formulary approval request with provider justification for appropriate approval                                                                                                 1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.20   Provide the ability to identify which drug/strengths are in stock versus drug/strengths that are not in stock at the time of order.                                                                                            1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.21   Provide the ability to allow MML manager to identify medications that should be considered critical at the time of order with override capability by to make a medication critical that is not listed as such on the MML.      1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.22   Link all prescriptions to a diagnosis while allowing allow several medications to a single diagnosis.                                                                                                                          1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.23   Support the development of workflow/alerts regarding critical medications to develop enhanced workflow for key IGSA staff (Clinical Director , Health Services Administrator, Infectious Disease Officer, Epidemiology, 1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            Managed care, Medical Director, etc.)




GR.1.2.24   Provide the ability to allow MML manager to identify which are not eligible Keep on Person (KOP)                                                                                                                               1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.25   Support designation of any KOP approved medication as Pill Line while preventing any Pill Line mandatory from being listed as KOP.                                                                                             1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.26   Provide the ability to allow Pharmacist to override provider decision to select as a pill line medication based on workload and collaboration with nurses.                                                                     1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.27   Provide the ability to allow MML manager to develop standard education for each medication and translate into multiple languages to be given on transfer.                                                                      1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.28   Provide the ability to allow local Pharmacist to designate medications on the MML for the facility that have a standardized sig and prevent providers from recommending an alternate SIG.                                      1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.29   Provide a list of all pharmacy orders that are due to expire by expiration date range, ordering provider, medication category, and critical status.                                                                            1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)

GR.1.2.30   Provide a list of active medication orders, the ordering provider, expiration date, and the next appointment date, housing unit, sex, etc with the ability to drill down on any criteria shown.                                1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.31   At the point of selection, present the data from the MML which medication are Pill Line Only and Keep on Person eligible.                                                                                                      1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.32   For Pill Line Only medications, do not allow providers to request KOP for those medications.                                                                                                                                   1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.33   Provide the ability for provider select a more conservative approach to have all medications for a particular detainee as pill line medications.                                                                               1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.34   Prevent provider from ordering 1/2 tablets or capsules                                                                                                                                                                         1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.35   Prevent provider from ordering "crushed" on any time release formulation (to be managed/identified by Pharmacy staff and/or Formulary manager) through additional annotations in the MML                                       1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.36   Provide the ability to allow only Pharmacy staff to over ride order to fill for available stock (I.e. if provider desires 10mg dose and 1/2 a 20mg must be dispensed.)                                                         1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.37   Provide the ability to allow for automatic population of sig for medications that apply to a specific medication (NTG, Nix, Elimite, etc.) to be populated at local Pharmacy level in the Master Medication List. .            1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.38   Provide the ability for Local Pharmacy staff to remove a particular medication and strength to not be displayed for provider selection. (I.e. if a particular medication is not stocked at the local Pharmacy, a provider      1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            cannot write an order for that medication until Pharmacy staff makes available)




GR.1.2.39   Provide the ability to allow for printing of "hard copy" prescriptions in legal format as established by DEA for all Controlled Substances (for co signature/signature by MD, DO, or DDS for DEA Required                      1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            documentation and for use in using local network Pharmacy)




GR.1.2.40   Provide the ability to allow for other institutions to "pick up" (see and fill) orders from other IGSA sites institutions to provide Pharmacy services in lieu of utilizing LAN or Mail Order Pharmacy. (Central Fill)         1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.41   Provide the ability to allow for orders filled at other IGSA Pharmacies to be received and tracked in inventory (lot number, etc) upon receipt utilizing bar code technology (linear and/or 2-D)                               1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.42   Ensure delivery of orders filled from other IGSA Pharmacies continue the process of delivery of medications to the patient identical to format and function as if ordered and filled at local institution.                     1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.43   Provide the ability to allow a facility to designate (on demand) another IGSA Pharmacy to receive orders from another location "tagged" as Central Fill Pharmacy for another site at local level. (I.e. Houston given          1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            access to Batavia system to fill all orders. Pharmacists accepts designation.)




GR.1.2.44   Provide the ability to allow for Central fill to designate that orders for another IGSA site have been filled in individual order and on pending screen at the original ordering site (should be populated by once placed in   1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            filled status)




GR.1.2.45   Provide the ability to allow for Central fill to designate that orders for another IGSA site have been shipped in individual order and on pending screen at the original ordering site (should be populated by once placed in 1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            filled status)




GR.1.2.46   Provide the ability to allow for selection and status change of multiple orders at one time. (Pharmacy staff do not need to open each order to change status)                                                                  1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.47   Provide the ability to allow for electronic sign off that detainee has picked up KOP medication via biometric, bar code scan, and or selection by medical staff                                                                1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.48   Provide the ability to allow for single screen showing all KOP medications to be dispensed. Screen should be populated with all order information and ability to sort by each field (Name, housing unit, etc)                  1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.49   Provide the ability to select multiple orders at once in KOP medication distribution screen to document distribution (I.e. Staff member should be able to select all KOP orders for a particular detainee at once to mark      1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            as given to detainee in a single action if giving)




GR.1.2.50   Provide the ability to review each KOP medication distribution screen to allow for staff to check/verify medication order was filled correctly                                                                                 1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.51   Provide the ability to track inventory and DEA scheduled items held outside of the pharmacy                                                                                                                                    1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.52   Track all DEA items in the pharmacy per requirements of scheduled narcotics to include documentation and chain of custody requirements for controlled substances.                                                              1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.53   Track additional medications that arrived at intake screening and is placed into nursing sub-stock.                                                                                                                            1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.54   Provide the ability to set Par level (minimum stock on shelves) for each individual product.                                                                                                                                   1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.55   Provide recommended par levels based on order to receipt time by vendor source (prime vendor, mail order pharmacy, etc) to ensure there is adequate part levels to meet the need of the population/                            1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.56   Ensure the system makes recommendation to increase or decrease par levels based on drops in consumption to prevent expired stock.                                                                                              1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.57   Provide the ability to stock and track Over the Counter (OTC) medications distributed through the OTC stock.                                                                                                                   1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.58   Provides a list of all medications given per Nursing Guidelines and documented in the nursing encounter.                                                                                                                       1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
                                                                                                                                                                                                                                                                                                                                                                                                                                                   Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 190 of 1402




GR.1.2.59   Reduce the quantity on hand for each administration of medications under RN guidelines for end of shift counts.                                                                                                                      1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.60   Provide the ability for provider to notate medications given from "After Hours Stock", linked with separate inventory for After Hours stock, and reports of all medications given via After Hours Cabinet,                           1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.61   Allow the establishment and management of par level for After Hours Stock, and refill report to generate on Pharmacy system/screen specifically stating which products need refilling.                                               1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.62   Update the inventory of all medications taken from after hours stock are linked to a prescription order and that quantity is removed from initial pharmacy fill.                                                                     1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.63   Provide method of developing treatment templates that recommend a series of medications for a specific disease management as directed by the HQ Directives, Local Clinical Director and Pharmacy. Link template 1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            to medications, strength, and sigs to enhance standardization, inventory management




GR.1.2.64   Provide capability to identify critical medications if the MML does not already indicate a critical medication.                                                                                                                      1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.65   Provide provider capability to identify a medication as "required for transport" to ensure it is placed on Transfer Summary as a required medication and an order goes to pharmacy to fill the medication before                     1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            departure.




GR.1.2.66   Based on the medication profile in the formulary management console, automatically extended authorized drugs for travel medications requiring co signature after the fact. Restrictions should prevent the use of this               1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            feature for controlled substances.




GR.1.2.67   Provide the ability to allow providers to change the status (critical vs. not critical) of a medication throughout the order duration and track history and provider changing the status.                                            1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.68   Translate the selected frequency to pill line/nursing task times per day per population.                                                                                                                                             1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.69   Provide option to require vital signs (blood sugar or blood pressure) during pill line.                                                                                                                                              1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.70   All orders sent to mail order pharmacy include the generic name.                                                                                                                                                                     1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.71   Provide the ability to order one time stat medications for administration to a patient at the location of available stock (Pharmacy, AMPS, ADC)                                                                                      1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.72   Provide the ability for providers to enter hold parameters identifying values outside an acceptable range                                                                                                                            1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.73   Provide a consistent manner of packaging regardless of the source (In-House Pharmacy, Pharmacy from another facility, Mail Order or Local off-site pharmacy), ensure the medication is received in the manner                        1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            (dose, quantity, dose, packaging) that will match the requirement at the time of dispensing.




GR.1.2.74   Provide the ability for the user to electronically verifying the order review, verifying the Medication Administration plan, and document the correct and valid expiration date.                                                     1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.76   Provide the ability to process all medications (on-line and offline/remote) through the normal ordering process, even those medications that are given out through RN guidelines during individual encounters.                       1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.77   The Pharmacy system must communicate requirements to the supporting medication preparation and dispensing systems that will preserve medication inventory accountability and security.                                               1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.78   The Pharmacy system must communicate requirements to the supporting medication preparation and dispensing systems that will preserve medication inventory accountability and security.                                               1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.79   The PIMS and medication preparation/dispensing systems must provide the flexibility to support a number of delivery approaches, including short cycle and/or just-in-time, patient-specific distribution and functionality 1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            that limits the availability of unordered drugs in patient care areas.




GR.1.2.80   Provide the ability to for a user to designate and fill an order as a short cycle, where a 28 day medication is turned into 4 cycles of 7 days.                                                                                      1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.81   Provide the ability to categorize each pharmacy order with the following categories: Routine, RN Guidelines, Transfer, after hours continuation, after hours verbal refill) and the ability to place a priority (routine,            1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            critical, stat) on each medication.




GR.1.2.82   Provide the ability to define parameters to prioritize the order fulfillment (emergency, stat medications, critical medications and batch orders) such that the priority level is clear to all pharmacy staff for the fulfillment.   1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.83   Provide the ability to identify a sorting process for pill line and KOP by housing area, transfers as well as function to align with the chain of custody documentation done by the nurse to receive and account for all             1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            medication orders for pill line, KOP delivery and transfers.




GR.1.2.84   Provide controlled substance inventory management reports (over designated time period, and/or by type of drug, and/or by specific user, and/or by specific patient) to include user, date, time, drug, and quantity                 1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            restocked into AMPS and user, date, time, drug, patient (if applicable) and quantity dispensed AMPS.




GR.1.2.85   Based on local and national settings, recommends formulary alternatives for medications.                                                                                                                                             1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.86   When shelf stock is a specified amount below par, notify the Pharmacy staff.                                                                                                                                                         1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.87   Provide the ability to generate separate "Transfer/Release" prescriptions as separate, emergency prescriptions as authorized by state law, with the same tracking mechanisms as a standard medication order.                         1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.88   Allow the Computerized Provider Order Entry in the EHR to generate real-time order for pharmacy from EHR and updates EHR with the fill order establishing a fully synchronized medication profile for each detainee 1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            in the EHR. into EHR to include status of medication order (filled, on order, open for pill line, expired, etc.) and generates workflow when co signature required by MML.




GR.1.2.89   Provide specific user permissions to support administrative activities required of the system data that requires clinical knowledge.                                                                                                 1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.90   Provide comprehensive drug interaction checking at the time of order and fulfillment.                                                                                                                                                1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.91    Provide the ability to remove medications from processes after the individual has been confirmed that he is no longer in the facility. A detainee on medication departs a facility and is not booked back in for a specified 1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)
            number of days per facility - Trigger cancellation of medications by Pharmacist.




GR.1.2.92   Provide mechanism with minimal provider input (clicks) to renew medication(s) due to expire for detainees still in custody.                                                                                                          1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




GR.1.2.93   Provide the ability to categorize the interaction notifications by level, to allow the Clinical Directors to approve the level of warnings on an individual basis.                                                                   1.2 CORE - PHARMACY (Medication Orders (This section is duplicate with the Order Portion of the Pharmacy System) as the capability can reside in either 1.1 Clinic Support or 1.2 Pharmacology)




1.2.1       Master Medication List and Formulary Management                                                                                                                                                                                      1.2 CORE - PHARMACY

1.2.1.1     Provide the ability to manage and define a Master Medication List (MML) for all EHR facilities based on American Hospital Formulary System (AHFS).                                                                                   1.2 CORE - PHARMACY (Master Medication List and Formulary Management)




1.2.1.2     Provide the ability to add and define parameters to the MML to assist in developing workflow, reports and processes related to providing and dispensing.                                                                             1.2 CORE - PHARMACY (Master Medication List and Formulary Management)




1.2.1.3     Provide the baseline parameter of the MML to allow designation as Formulary and Non-Formulary based on IGSA formulary                                                                                                                1.2 CORE - PHARMACY (Master Medication List and Formulary Management)




1.2.1.4     Provide the baseline parameter to allow designation of each medication as "Pill Line Only", "Keep on Person (KOP) or "Pill Line or KOP"                                                                                              1.2 CORE - PHARMACY (Master Medication List and Formulary Management)




1.2.1.5     Provide the baseline parameter on the MML that identifies the type of providers that can prescribe each medication. (MD Only, Mid-Level and Nurses)                                                                                  1.2 CORE - PHARMACY (Master Medication List and Formulary Management)




1.2.1.6     Provide the baseline parameter in the MML that allows designation of medications as a mandatory critical medication.                                                                                                                 1.2 CORE - PHARMACY (Master Medication List and Formulary Management)




1.2.1.7     Provides ability to restrict medications on MML based on provider type (MD vs. MLP, etc) and prompt for signature by local CD or HQ Medical staff based on the source of the criteria is changed in MML.                             1.2 CORE - PHARMACY (Master Medication List and Formulary Management)




1.2.1.8     Provide the ability to identify which medications on the MML that are to be designated as a short-cycle medications for the specific facility to trigger appropriate workflow.                                                       1.2 CORE - PHARMACY (Master Medication List and Formulary Management)




1.2.1.9     Provide the ability to identify medications on the MML that will trigger cosignatory based on the type of provider generating order. Example: If an MLP is generating an order is restricted in the MML to "MD only",                1.2 CORE - PHARMACY (Master Medication List and Formulary Management)
            prompts MLP and/or MD that order being generated and will be sent to MD for co signature.




1.2.1.10    Provide the ability for the MML to identify entire housing units as "Pill Line" only that will transfer medications to pill line if they are transferred.                                                                            1.2 CORE - PHARMACY (Master Medication List and Formulary Management)




1.2.1.11    Provide the ability for MML Manager at local and Division levels (as designated by permissions) to restrict by category, population, housing or other attribute, to define sigs that are standard for a particular                   1.2 CORE - PHARMACY (Master Medication List and Formulary Management)
            medication associated with that specific medication, pill line only, MD only, etc.




1.2.1.12    Provide the ability to indicate local preferences on the MML/formulary based on local site and Clinical Director preferences.                                                                                                        1.2 CORE - PHARMACY (Master Medication List and Formulary Management)



1.2.2       Order Fulfillment                                                                                                                                                                                                                    1.2 CORE - PHARMACY
1.2.2.1     Access to complete medical record for validation of prescription.                                                                                                                                                                    1.2 CORE - PHARMACY (Order Fulfillment)




1.2.2.4     Require that each medication order have an associated and linked diagnosis (one diagnosis can have more than one linked medication)                                                                                                  1.2 CORE - PHARMACY (Order Fulfillment)




1.2.2.5     Access to formulary with capability of searching by established parameters in the MML.                                                                                                                                               1.2 CORE - PHARMACY (Order Fulfillment)

1.2.2.6     Support an approval from appropriate member of IGSA for any Non-Formulary medications ordered by providers.                                                                                                                          1.2 CORE - PHARMACY (Order Fulfillment)




1.2.2.7     Provide access to historical and medication profile. Drug information, interactions, labs, diseases and homeopathic remedies.                                                                                                        1.2 CORE - PHARMACY (Order Fulfillment)




1.2.2.9     Provide access to current problem list / diagnoses                                                                                                                                                                                   1.2 CORE - PHARMACY (Order Fulfillment)


1.2.2.10    Direct interface with the clinic support module if functionality is not placed in the Pharmacy support module                                                                                                                        1.2 CORE - PHARMACY (Order Fulfillment)


1.2.2.11    Accepts an automatic order for an "Emergency Refill/ Transfer Medication" order to the pharmacy module based on any current active orders when a Transfer Summary is requested by ICE (movement initiated or                         1.2 CORE - PHARMACY (Order Fulfillment)
            planned in Enforce). Transfer medications are generate as new prescriptions that do not affect current medication orders.




1.2.2.12    Allow for Pharmacy to remove orders from transfer summaries for medications given in house that are not medically necessary during transport.                                                                                        1.2 CORE - PHARMACY (Order Fulfillment)


1.2.2.13    Provide the ability to notify the provider when a detainee on a certain medication.                                                                                                                                                  1.2 CORE - PHARMACY (Order Fulfillment)




1.2.2.14    Allow Pharmacist to send individual orders pending for local pharmacy fulfillment to Mail Order Pharmacy or a Local off site pharmacy and the local IGSA Pharmacy.                                                                   1.2 CORE - PHARMACY (Order Fulfillment)




1.2.2.15    Provide ability to change the delivery method from KOP to Pill line when detainee admitted to housing unit that requires Pill Line. Allow change of the delivery method without Provider needing to cancel old order and 1.2 CORE - PHARMACY (Order Fulfillment)
            generating new. Allow for maintenance of order by Provider and/or Pharmacy to change status without requiring new orders.




1.2.2.16    Provide the ability to change the status between Pill Line and KOP unless explicitly identified in the HQ or local MML that that medication cannot be KOP.                                                                           1.2 CORE - PHARMACY (Order Fulfillment)




1.2.2.17    Provide the ability for a pharmacist to view pending orders from other facilities, sorted by facility with other sort parameters within the system.                                                                                  1.2 CORE - PHARMACY (Order Fulfillment)




1.2.2.18    Provide queue of orders as completed by provider pending fulfillment by the pharmacy with Demographics, Drug, Drug strength, Route, Frequency, Pill Line (Y/N - From MML with override capabilities)                                 1.2 CORE - PHARMACY (Order Fulfillment)
                                                                                                                                                                                                                                                                                                                                                             Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 191 of 1402




1.2.2.19      Provide queues to Providers, Pharmacy and Nursing to maintain full chain of custody on each medication. A queue for orders pending, results in a queue to nursing to accept the medication order, resulting in              1.2 CORE - PHARMACY (Order Fulfillment)
              triggering a Facility Task for medication administration, changes to medication orders, removal from pill line care, triggering refills, approving refills and filling refills.




1.2.2.20      Provide the ability to maintain the chain of custody approvals (ordered, received by nursing, placed on appropriate pill line) regardless of the pharmacy (in-house Pharmacy, central fill Pharmacy, mail order or off-site 1.2 CORE - PHARMACY (Order Fulfillment)
              local Pharmacy)




1.2.2.21      Provides the ability to support fulfillments of authorized substitutions per the guidance from the National Drug Code (NDC) without requiring editing of the order by the originating provider (unless no substitution is   1.2 CORE - PHARMACY (Order Fulfillment)
              indicated on the original order). Ensure the link to the current medication is always prevalent available to users.




1.2.3         Pill Line Management                                                                                                                                                                                                        1.2 CORE - PHARMACY
1.2.3.1       Allow all orders to be differentiated between Keep on Person (allowed to keep in their belongings in) and Pill Line fully implementing the requirements set forth in GR.1.1.7.                                              1.2 CORE - PHARMACY (Pill Line)




1.2.3.2       Prevent Pill Line Only Medications per Master Medication List from being overridden by anyone.                                                                                                                              1.2 CORE - PHARMACY (Pill Line)

1.2.3.3       Allow KOP medications designated on the Master Medication List to be designated as Pill Line by Provider or Pharmacist                                                                                                      1.2 CORE - PHARMACY (Pill Line)




1.2.3.4       Allow Pharmacist to Override Provider that has placed a pill line medication as KOP.                                                                                                                                        1.2 CORE - PHARMACY (Pill Line)




1.2.3.5       Provide the ability for local facilities to modify specific parameters on the MML that applies to the local site that are more constrictive (not less) than the headquarters level MML.                                     1.2 CORE - PHARMACY (Pill Line)




1.2.3.6       Provide the ability to support use of mobile medication carts compartments for each frequently used medication on the MML where access to each medication is accessible only upon scanning a detainee ID or                 1.2 CORE - PHARMACY (Pill Line)
              wristband where an associated medication is due.




1.2.3.7       Provide the ability to calculate the appropriate minimum number of medication required in the medication compartment to meet the requirements of the all medications while minimizing the counts required of nurses         1.2 CORE - PHARMACY (Pill Line)
              at the end of each pill line to ensure 100% accountability of all medications.




1.2.4         Inventory Management / Orders                                                                                                                                                                                               1.2 CORE - PHARMACY
1.2.4.1       Allows establishment of which medications will be stocked by establishing par levels for each medication based on current and projected usage.                                                                              1.2 CORE - PHARMACY (Inventory Management / Orders)




1.2.4.2       Creates orders to Prime Vendor based on Par Levels, Current Stock and Pending Orders.                                                                                                                                       1.2 CORE - PHARMACY (Inventory Management / Orders)




1.2.4.3       Transmits Order automatically to Prime Vendor                                                                                                                                                                               1.2 CORE - PHARMACY (Inventory Management / Orders)




1.2.4.4       Receives confirmations from Prime Vendor on what items they are able to fill so other sources can be sought for items not filled.                                                                                           1.2 CORE - PHARMACY (Inventory Management / Orders)




1.2.4.5       Streamlined receiving of medications through bar coding to update current inventory.                                                                                                                                        1.2 CORE - PHARMACY (Inventory Management / Orders)




1.2.4.6       Provides inventory management process to identify any discrepancies.                                                                                                                                                        1.2 CORE - PHARMACY (Inventory Management / Orders)




1.2.4.7       Provide the ability for Pharmacy system to suggest adjustment and maintain par levels for each medication which serves as the basis of all orders.                                                                          1.2 CORE - PHARMACY (Inventory Management / Orders)




1.2.4.8       Supports notifications and alerts based on any inventory adjustments.                                                                                                                                                       1.2 CORE - PHARMACY (Inventory Management / Orders)




1.2.4.9       Gives Pharmacist and Clinical staff which medications are currently available in the Pharmacy at the time of order                                                                                                          1.2 CORE - PHARMACY (Inventory Management / Orders)




1.2.4.10      Provides support of par levels and separate inventory process of nursing/sub stock in night carts and pill line carts where there may be individual doses collected from external sources, are staged to be administered 1.2 CORE - PHARMACY (Inventory Management / Orders)
              or are stored.




1.2.4.11      Provides an accurate inventory of all substances in the Nursing Stock at all times with the ability to reconcile on a recurring bases (e.g. at the beginning and ending each shift).                                        1.2 CORE - PHARMACY (Inventory Management / Orders)




1.2.4.12      Supports the designation of "Emergency Refill" of transfer medication per Pharmacy Law for travel medications to support continuity of care while in transit.                                                               1.2 CORE - PHARMACY (Inventory Management / Orders)




1.2.4.13      Supports the process of a new separate order and new prescription for each "transfer medication".                                                                                                                           1.2 CORE - PHARMACY (Inventory Management / Orders)




1.2.4.14      In Medical Record and on prescription label, use designation of Emergency Refill for transfer medication as "transfer/release medication"                                                                                   1.2 CORE - PHARMACY (Inventory Management / Orders)




1.2.4.15      Provide a process for HQ or Facilities to manage the appropriate action and disposition when medication is not administered to the detainee as ordered.                                                                     1.2 CORE - PHARMACY (Inventory Management / Orders)




1.2.4.16      Provide the ability to utilize the technology to expand the inventory management capabilities to include medical/surgical items and sharps to ensure optimal accountability and streamline inventory management.            1.2 CORE - PHARMACY (Inventory Management / Orders)




1.2.4.17      Provide the EHR-S user available to EHR users the current on-hand inventory at the time of the order for use in maximizing the use of existing stock to improve delivery time and reduce the use of off-site alternatives   1.2 CORE - PHARMACY (Inventory Management / Orders)
              that may have a longer lead time.




1.2.4.18      The inventory of the Pharmacist must be visible to other facilities to initiate transfers of medications of medications and central fill medications.                                                                       1.2 CORE - PHARMACY (Inventory Management / Orders)




1.2.4.19      Provide the ability to enter new detainee/patient to Pharmacy system when parent system/network off line and reconciliation with demographic and medical information in interfaced/integrated packages upon "sync"          1.2 CORE - PHARMACY (Inventory Management / Orders)
              with parent system/network. Provide automatic demographic updates with Jail Management System




1.2.4.20      Provide the ability to generate the order without provider coordination if the original medication order has adequate number of days required (typically 7 days) without a separate order.                                  1.2 CORE - PHARMACY (Inventory Management / Orders)




1.2.4.21      Provide the ability to view the date and time of the last update from the jail management system where the housing location.                                                                                                1.2 CORE - PHARMACY (Inventory Management / Orders)




1.2.4.22      Provide the ability to place new medications within the stocking plan.                                                                                                                                                      1.2 CORE - PHARMACY (Inventory Management / Orders)



1.2.4.23      Provide ability to bar code each fill with either linear and 2-D (Matrix) bar coding for tracking all medication inventory.                                                                                                 1.2 CORE - PHARMACY (Inventory Management / Orders)



1.2.4.24      Provide MML manager(s) ability to link medications based on GPI, therapeutic code (AHFS or McKesson), etc.                                                                                                                  1.2 CORE - PHARMACY (Inventory Management / Orders)
1.3           1.3 CORE - DECISION SUPPORT                                                                                                                                                                                                 1.3 CORE - DECISION SUPPORT

1.3.1         Clinical Decision Support (CDS)                                                                                                                                                                                             1.3 CORE - DECISION SUPPORT

1.3.1.1       Provide the ability to incorporate subscription algorithmic evidenced based clinical guideline products as part of clinician workflow where the actionable recommendations from the guidelines are presented to the         1.3 CORE - DECISION SUPPORT (Clinical Decision Support (CDS))
              user.




1.3.1.2       Calculate the algorithm of the evidence based decision support clinical guidelines and present the appropriate suggestions based on the subscription algorithm and the inputs form the clinical data to the providers       1.3 CORE - DECISION SUPPORT (Clinical Decision Support (CDS))
              based on the calculation of the algorithm based on the data collected prior to and during the encounter that are established in the selected clinical guidelines.




1.3.1.3       Apply clinical decision support to the provider but prevent the suggestions, acceptance data, or the decision not to address a suggestion separate from the official medical record.                                        1.3 CORE - DECISION SUPPORT (Clinical Decision Support (CDS))




1.3.1.4       Based on a diagnosis or other parameters that would trigger the applicability of a specific section of the guideline, prompt for all information required by the subscription algorithmic evidence based-clinical           1.3 CORE - DECISION SUPPORT (Clinical Decision Support (CDS))
              guidelines to present the appropriate actionable clinical recommendations to the user.




1.3.1.5       Provide the management module for organization leadership to edit or exclude individual evidence based decision support clinical recommendations from the selected subscription guideline based on the applicability 1.3 CORE - DECISION SUPPORT (Clinical Decision Support (CDS))
              of each guideline to the entire population or specific facilities.




1.3.1.6       Provide the ability for each user to make comments on the recommendations from the implemented guidelines for consideration by individuals providing oversight and those managing the implementation of clinical            1.3 CORE - DECISION SUPPORT (Clinical Decision Support (CDS))
              standards through the management module within the system.




1.3.1.7       Deliver the algorithmic evidence-based clinical guidelines results at the time and location of decision making and the point of care delivery (including offline/remote).                                                   1.3 CORE - DECISION SUPPORT (Clinical Decision Support (CDS))




1.3.1.8       Ensures updates to the selected subscription algorithmic evidence-based clinical guidelines subscriptions do not impact the integrity of the medical records, and maintains the historical data action prompted and         1.3 CORE - DECISION SUPPORT (Clinical Decision Support (CDS))
              disposition of recommendation and the management module inputs (exclusion or modification) for guidelines.




1.3.1.9       Allow for entry of clinical guidelines developed internally by the organizational as an alternative to subscription based guidelines that can trigger a notification (meeting alert requirements) during the provider       1.3 CORE - DECISION SUPPORT (Clinical Decision Support (CDS))
              workflow to apply the guidline when specific criteria are met.




1.3.1.10      Allow medical protocols to be required when specific situations or conditions (examples: TB Patients, HIV Patients, Severe Mental Health Symptoms) are identified at any time in the clinical processes including           1.3 CORE - DECISION SUPPORT (Clinical Decision Support (CDS))
              encounters, sick call, intake screening that will trigger a notification (meeting alert requirements) when specific criteria are met during the provider for the provider to apply the protocol to the patient.




1.3.1.11      Allow entry of organizational medical protocols in a process flow graphical presentation where each answer identifies an action or question to be initiated by the provider.                                                1.3 CORE - DECISION SUPPORT (Clinical Decision Support (CDS))




1.3.1.12      Provide the ability to present a graphical representation of each protocol to assist users in following complex protocols that are in place.                                                                                1.3 CORE - DECISION SUPPORT (Clinical Decision Support (CDS))




1.3.1.13      Allow the ability to require protocols to be triggered in various scenarios where users do not have an option to proceed without completion of the required actions (data collection, ask questions to document             1.3 CORE - DECISION SUPPORT (Clinical Decision Support (CDS))
              responses, etc.)




1.3.1.14      Provide the use of protocol at the time and location of decision making at the point of care delivery (including offline/remote).                                                                                           1.3 CORE - DECISION SUPPORT (Clinical Decision Support (CDS))




1.3.2         Reports                                                                                                                                                                                                                     1.3 CORE - DECISION SUPPORT

GR.1.3.2      General Report Requirements                                                                                                                                                                                                 1.3 CORE - DECISION SUPPORT

GR.1.3.2.1    Provide the ability to display, print and/or export of each report.                                                                                                                                                         1.3 CORE - DECISION SUPPORT (General Report Requirements)




GR.1.3.2.2    Provide the ability to export data to other analytical tools (e.g., SAS, SQL) or MS Office products in all standard export formats (txt, csv, DBII, DBIII, MS Access, MS Office).                                           1.3 CORE - DECISION SUPPORT (General Report Requirements)




GR.1.3.2.3    Provide standardized user interface for developing and viewing custom, standard and ad hoc reports throughout the system.                                                                                                   1.3 CORE - DECISION SUPPORT (General Report Requirements)




GR.1.3.2.4    Provide ability to save electronic copies of reports in MS Excel (*.xls) and Adobe (.pdf) formats.                                                                                                                          1.3 CORE - DECISION SUPPORT (General Report Requirements)




GR.1.3.2.5    Provide tools for users to develop their own reports on all data elements. An example is query assistance (i.e. when searching on facilities, show a list of all types) to show the results of the data query to the author of 1.3 CORE - DECISION SUPPORT (General Report Requirements)
              a new report for consideration in building the report accurately.




GR.1.3.2.6    Provide the ability to apply role based user security at the report level.                                                                                                                                                  1.3 CORE - DECISION SUPPORT (General Report Requirements)


GR.1.3.2.7    Provide a list of each data element for each report developed.                                                                                                                                                              1.3 CORE - DECISION SUPPORT (General Report Requirements)



GR.1.3.2.8    Provide a warning when running a report that may approach the limit of the allowable processing time.                                                                                                                       1.3 CORE - DECISION SUPPORT (General Report Requirements)



GR.1.3.2.9    Provide ability for user to configure the "Maximum Pages" or "Performance" limit on each report.                                                                                                                            1.3 CORE - DECISION SUPPORT (General Report Requirements)


GR.1.3.2.10   Provide the ability specify common elements that are included or excluded based on various scenarios in a specific report.                                                                                                  1.3 CORE - DECISION SUPPORT (General Report Requirements)




GR.1.3.2.11   Provide ability to schedule reports for automatic periodic generation storing the report where it is accessible to various users.                                                                                           1.3 CORE - DECISION SUPPORT (General Report Requirements)




GR.1.3.2.12   Provide capability to audit/track when each report is run and the data that presented at the time the data was run to ensure it is clear what data was presented at the time the report was run.                            1.3 CORE - DECISION SUPPORT (General Report Requirements)




GR.1.3.2.12   Provide the ability to differentiate what fields should be considered a null value versus a zero for a specific field for statistical analysis.                                                                             1.3 CORE - DECISION SUPPORT (General Report Requirements)


GR.1.3.2.13   Provide capability to presented reports graphical format (pie, bar, and other formats)                                                                                                                                      1.3 CORE - DECISION SUPPORT (General Report Requirements)


GR.1.3.2.14   Provide ability to execute a report and sort by any of the fields included in the report.                                                                                                                                   1.3 CORE - DECISION SUPPORT (General Report Requirements)


GR.1.3.2.15   Provide the ability to identify data fields that are required by various standards to include: IGSA National P&P / NCCHC / ACA / PBNDS / Family Residential Standards.                                                      1.3 CORE - DECISION SUPPORT (General Report Requirements)




GR.1.3.2.16   Provide controls on the ability for users and facilities to execute specific reports. Facilities may only run reports on their own facility. Within the facility, clinic leadership will be able to view certain reports where other 1.3 CORE - DECISION SUPPORT (General Report Requirements)
              users cannot. HQ staff will be able to run facility or reports on all facilities.




GR.1.3.2.17   Provide detail in the data dictionary that explains the source of the data, its format and other necessary parameters for data export and analysis.                                                                         1.3 CORE - DECISION SUPPORT (General Report Requirements)




GR.1.3.2.18   Provide the ability for specific users to develop their own reports using a report builder function and save using a report template.                                                                                       1.3 CORE - DECISION SUPPORT (General Report Requirements)




GR.1.3.2.19   Provide report development tools to review the results of each query to verify report brings back accurate data during the report development process.                                                                      1.3 CORE - DECISION SUPPORT (General Report Requirements)




GR.1.3.2.20   Provide the ability to grant access to various individual reports developed for use during provider workflow.                                                                                                               1.3 CORE - DECISION SUPPORT (General Report Requirements)


GR.1.3.2.21   Provide the ability to create reports on real time data for reports that require data without performance degradation of the EHR supporting clinic processes.                                                               1.3 CORE - DECISION SUPPORT (General Report Requirements)




GR.1.3.2.22   Provide the ability for all reports to be sorted by each field and provide for inclusion or exclusion by range in each field.                                                                                               1.3 CORE - DECISION SUPPORT (General Report Requirements)




GR.1.3.2.23   Provide the ability to schedule and automatically generate reports to be sent to selected groups or those entities needing information via email, access through a central location or another delivery method within the   1.3 CORE - DECISION SUPPORT (General Report Requirements)
              ICE network




              Accept Detainee into the Medical Facility / Intake Screening (Reference W BS 1.1.1)                                                                                                                                         1.3 CORE - DECISION SUPPORT

1.3.2.1       A report that shows the variances of the date/time detainees were booked in by ICE vs. the arrival time documented at intake screening.                                                                                     1.3 CORE - DECISION SUPPORT (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.2.2       A list of detainees that have arrived by facility, by date, within a specified date range (Name, Alien Number, Country of Origin, Date of Birth, etc) with their status (Pending TB Determination, Pending X-Ray, Pending 1.3 CORE - DECISION SUPPORT (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))
              Screening, Complete) with a disposition: General Population (GP), Immediate referral to medical, GP with referral to medical, Isolation, Emergency

1.3.2.3       Provide a list of all Chest X-Ray TB screening results overread by date range (patient demographics, facility)                                                                                                              1.3 CORE - DECISION SUPPORT (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.2.4       Provide a list of detainees in custody and the time the intake screening took to complete by date range.                                                                                                                    1.3 CORE - DECISION SUPPORT (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




              Scheduling (Reference W BS 1.1.2)                                                                                                                                                                                           1.3 CORE - DECISION SUPPORT

1.3.2.5       Provide a report of the clinic schedule with capability to sort by date, time, provider, housing, encounter type.                                                                                                           1.3 CORE - DECISION SUPPORT (Scheduling (Reference WBS 1.1.2))
                                                                                                                                                                                                                                                                                                                                                          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 192 of 1402




1.3.2.6    Provide a report of the clinic schedule with capability to filter by date, time, provider, housing, encounter type.                                                                                                     1.3 CORE - DECISION SUPPORT (Scheduling (Reference WBS 1.1.2))




           Encounters (Reference W BS 1.1.3)                                                                                                                                                                                       1.3 CORE - DECISION SUPPORT

1.3.2.7    Provide a list of completed encounters by date range, type, provider, facility.                                                                                                                                         1.3 CORE - DECISION SUPPORT (Encounters (Reference WBS 1.1.3))




1.3.2.8    Provide a list of detainees in custody that have not been cleared for Kitchen as designated by a provider in a Physical Exam                                                                                            1.3 CORE - DECISION SUPPORT (Encounters (Reference WBS 1.1.3))


1.3.2.9    Provide a list of detainees cleared for kitchen work by date range.                                                                                                                                                     1.3 CORE - DECISION SUPPORT (Encounters (Reference WBS 1.1.3))


1.3.2.10   Provide a list of detainees that have had their kitchen clearance revoked by date range.                                                                                                                                1.3 CORE - DECISION SUPPORT (Encounters (Reference WBS 1.1.3))


1.3.2.11   Provide a list of detainees in custody that have been cleared for Kitchen work.                                                                                                                                         1.3 CORE - DECISION SUPPORT (Encounters (Reference WBS 1.1.3))


           Order Entry (Reference W BS 1.1.4)                                                                                                                                                                                      1.3 CORE - DECISION SUPPORT

1.3.2.12   Provide a list of all orders by type, facility, date, and provider.                                                                                                                                                     1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))


1.3.2.13   Provide a list of detainees with current Special Needs - By Category, Active date and by expiration date.                                                                                                               1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.14   Provide a historical list of suicide watches by date range, by facility                                                                                                                                                 1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.15   Provide a list of patients with Facility activities/tasks to accomplish during the day currently required by nursing staff by standard facility order times (mirror pill Line) on special monitoring                    1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.16   Provide a list of patients in custody with active medications                                                                                                                                                           1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.17   Provide a list of patient on a specified type of medications                                                                                                                                                            1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.18   Provide a list of all medications (active and inactive) by patient.                                                                                                                                                     1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.19   Provide a list of patients on a particular medication and particular strength of the medication. (I.e. all detainee taking lisinopril 10mg from date "x" to date "y")                                                   1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.20   Ability to run report from any field in the Pharmacy Package and to sort by any field, select based on any field, establish parameter based on any field.                                                               1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))


1.3.2.21   Provide a list of all detainees that have received medications, by date and medication to include time given.                                                                                                           1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))


1.3.2.22   Provide a list of all detainees receiving medications Keep On Person, by date, time, medication, given, and health services staff that gave the medication to the detainee.                                             1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.23   Provide a list of detainees ordered DEA Schedule by date, medication, by provider, detainee, and DEA Schedule                                                                                                           1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.24   Provide a list of all meds filled for another IGSA site to include time filled and shipped with all other prescription information available                                                                            1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.25   Provide a list of all medications received from another IGSA site to include time, date, and staff member receiving                                                                                                     1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))


1.3.2.26   Provide a list of all provider orders by provider, date, and time                                                                                                                                                       1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.27   Provide a list of all medications discontinued to include, detainee name, detainee A#, time discontinued, provider discontinuing and the staff member acknowledging receipt from Pill Line and/or KOP.                  1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.28   Provide a list of all medications given on Pill line by pill line time, housing unit, and provider                                                                                                                      1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.29   Provide a list of all medications due but not given by pill line time, housing unit, detainee, detainee #, provider and the reason not given.                                                                           1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))


1.3.2.30   Provide a list of all critical noted medications not given by pill line time, housing unit, detainee, detainee # and provider                                                                                           1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.31   Provide a list of all detainees by diagnosis to include medications, doses given, doses not given, detainee name, detainee #, housing unit, scheduled pill line times, and provider                                     1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.32   Provide a list of all medications received from Prime Vendor (non Scheduled) to include time, date, and staff member receiving                                                                                          1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.33   Provide a list of all Over the Counter medications given by detainee, detainee A#, date, time, and provider giving                                                                                                      1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.34   Provide a list of all medications given from After Hours Stock by detainee, detainee A#, date, time, provider giving, and accompanying order for the medication                                                         1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.36   Provide a list of all verbal medication orders given After hours                                                                                                                                                        1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.37   Provide a list of all medication orders that due to expire by detainee, detainee A#, medication, medication strength, date written, date of expiration, sig, provider, etc. Date should be run based on date range and ability 1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))
           to sort by each field




1.3.2.38   Provide a list of all orders due for refill by date range with ability to run refills from this report and include or exclude based on Generic Product Identification Code, Drug Class and/or AHFS Therapeutic Class Code 1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.39   Provide a list of all medications by provider to include all information in the order and linked diagnosis                                                                                                              1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.40   Provide a list of amounts of specific medication and strengths used by date                                                                                                                                             1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.41   Provide a list of all drugs filled and average monthly, weekly and daily usage of each by drug and drug strength (I.e. Drug, Strength, date range, average usage, actual usage)                                         1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.42   Provide a list of all detainees with specified diagnosis to include medications and ability to include or exclude medications based on date range, Generic Product Identification Code, Drug Class and/or AHFS          1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))
           Therapeutic Class Code and doses given and/or missed.




1.3.2.43   Provide a report of all Non-Formulary Requests by Date Range, Facility, Provider.                                                                                                                                       1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.44   Provide a report of all After Hours Orders Requests by Date Range, Facility, Provider.                                                                                                                                  1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.45   Provide a list of all abbreviations used in EMR and Pharmacy packages.                                                                                                                                                  1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.46   Provide a list of detainees in custody with a medical alert.                                                                                                                                                            1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.47   Provide a list of detainees in custody with medical alerts that are pending transfer.                                                                                                                                   1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.48   Provide a list of current medical hold at all facilities                                                                                                                                                                1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.49   Provide historical medical holds by date range                                                                                                                                                                          1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.50   Provide a current list of Protocol/Policy Based (e.g. CXR for all detainees requiring TB clearance) for the Division.                                                                                                   1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.51   Provide a report of Lab Results Pending                                                                                                                                                                                 1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.52   Provide a list of historical lab orders (contract, local, CLIA) with status (ordered, drawn, received, acknowledged by provider)                                                                                        1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.53   Provide a report detailing the X-Ray response time (Response time of each patent)                                                                                                                                       1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.54   Number of X-Rays that were retaken (results of the same identifier)                                                                                                                                                     1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.55   Facility Tasks (Nursing, Mental Health, Administrative) completed outside of scheduled range (number of minutes flexible specified in the system administrator)                                                         1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.56   All Facility Tasks (Nursing, Mental Health, Administrative) completed, by day, nurse provider and originating order detail (provider, order type, detail, etc.)                                                         1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.57   Nursing tasks workload distribution (Summary)                                                                                                                                                                           1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.58   Provide list of off-site or on-site X-Ray                                                                                                                                                                               1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.59   Provide a list of historical verbal orders by date range and status.                                                                                                                                                    1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.60   Provide a list of historical referrals with status (pending, approved, denied)                                                                                                                                          1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.2.61   Provide a list of all referrals with the number of days from referral to actual completion, by specialty, by off site appointments                                                                                      1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




           Referrals (Reference W BS 1.1.5)                                                                                                                                                                                        1.3 CORE - DECISION SUPPORT

1.3.2.62   Total Number of Off Site Referrals by Category (Emergency, Specialty, Inpatient, Mental Health, Mental Health Inpatient, Dental, X-Rays)                                                                                1.3 CORE - DECISION SUPPORT (Referrals (Reference WBS 1.1.5))




1.3.2.63   Provide a list Hospitalizations with current case management notes.                                                                                                                                                     1.3 CORE - DECISION SUPPORT (Referrals (Reference WBS 1.1.5))




1.3.2.64   Total Short Stay Unit Provide a beds across all facilities                                                                                                                                                              1.3 CORE - DECISION SUPPORT (Referrals (Reference WBS 1.1.5))


1.3.2.65   Short Stay Unit Provide a beds and their status (available, filled, not staffed, out of service.)                                                                                                                       1.3 CORE - DECISION SUPPORT (Referrals (Reference WBS 1.1.5))


1.3.2.66   Provide a bed Usage Provide a report Tools Menu Provide a list all beds at all sites, indicating if the bed is occupied, empty, or not staffed.                                                                         1.3 CORE - DECISION SUPPORT (Referrals (Reference WBS 1.1.5))


1.3.2.67   Length of Stay report by facility, by specialty, etc.                                                                                                                                                                   1.3 CORE - DECISION SUPPORT (Referrals (Reference WBS 1.1.5))




1.3.2.68   Level of Acuity Provide a report for Short Stay Unit Admissions                                                                                                                                                         1.3 CORE - DECISION SUPPORT (Referrals (Reference WBS 1.1.5))




1.3.2.69   A report that summarizes referrals by Region, by Facility, Specialty, Type (Emergency vs. Appointment ), Injury or Chronic, Status for a specified date range to include previous and planned appointments.             1.3 CORE - DECISION SUPPORT (Referrals (Reference WBS 1.1.5))




1.3.2.70   Provide a report that lists the referrals By Region, by Facility, Specialty, Type (Emergency vs. Appointment ), Injury or Chronic, Status for a specified date range to include previous and planned appointments.      1.3 CORE - DECISION SUPPORT (Referrals (Reference WBS 1.1.5))




1.3.2.71   Provide an export of all referrals submitted with the fields necessary for upload into the VA Claims System for the payment of claims based on current business processes. Format and constant of existing export from 1.3 CORE - DECISION SUPPORT (Referrals (Reference WBS 1.1.5))
           CaseTrakker must be matched.




           Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference W BS 1.1.6)                                                                                                                                 1.3 CORE - DECISION SUPPORT

1.3.2.72   Provide a list of all Activities Tasks by Date, Type, Provider, Activity / Task Type                                                                                                                                    1.3 CORE - DECISION SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.3.2.73   Provide a list of activities that were completed beyond the timeframe set forth in the provider order.                                                                                                                  1.3 CORE - DECISION SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




           Pill Line (Reference W BS 1.1.7)                                                                                                                                                                                        1.3 CORE - DECISION SUPPORT

1.3.2.74   Medications and a status for all doses distributed for each of the designated time parameters (time, day, week, month year).                                                                                            1.3 CORE - DECISION SUPPORT (Pill Line (Reference WBS 1.1.7))




1.3.2.75   Missed medication by pill line (series), by provider, by date range                                                                                                                                                     1.3 CORE - DECISION SUPPORT (Pill Line (Reference WBS 1.1.7))




1.3.2.76   Medication distributions for a specified patient in the Medication Administration Record (MAR) format with the initials of each individual completing the medication administration with the date and time.             1.3 CORE - DECISION SUPPORT (Pill Line (Reference WBS 1.1.7))




1.3.2.77   Medication distributions of a specific medication grouping or medication type as defined by the Master Medication List.                                                                                                 1.3 CORE - DECISION SUPPORT (Pill Line (Reference WBS 1.1.7))




1.3.2.78   Provide a list of medications not given for each distribution time to include reasons as entered. Provide ability to sort by reason and detainee.                                                                       1.3 CORE - DECISION SUPPORT (Pill Line (Reference WBS 1.1.7))


1.3.2.79   APMS controlled substance usage report.                                                                                                                                                                                 1.3 CORE - DECISION SUPPORT (Pill Line (Reference WBS 1.1.7))




1.3.2.80   APMS usage report.                                                                                                                                                                                                      1.3 CORE - DECISION SUPPORT (Pill Line (Reference WBS 1.1.7))




1.3.2.81   Provide a report of overrides that are authorized must be automatically forwarded to the designated manager.                                                                                                            1.3 CORE - DECISION SUPPORT (Pill Line (Reference WBS 1.1.7))




1.3.2.82   Provide a list of medication and inventories for each ADC and AMPS on demand. (Drug Name, Strength, Quantity, Compartment)                                                                                              1.3 CORE - DECISION SUPPORT (Pill Line (Reference WBS 1.1.7))



           Sick Call (Reference W BS 1.1.8)                                                                                                                                                                                        1.3 CORE - DECISION SUPPORT

1.3.2.83   Provide a time to completion on each sick call request that resulted in a an encounter with medical staff.                                                                                                              1.3 CORE - DECISION SUPPORT (Sick Call (Reference WBS 1.1.8))



1.3.2.84   Provide a list of sick call requests that were not seen with a reason for them not being seen (duplicate, already addressed, non-compliant)                                                                             1.3 CORE - DECISION SUPPORT (Sick Call (Reference WBS 1.1.8))




           Short Stay Unit / Bed Management (Reference W BS 1.1.9)                                                                                                                                                                 1.3 CORE - DECISION SUPPORT

1.3.2.85   Provide a bed utilization report providing the average daily census by specified date range.                                                                                                                            1.3 CORE - DECISION SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.2.86   Provide a bed Utilization report based on primary and secondary reasons for admission, by provider, date range, and level.                                                                                              1.3 CORE - DECISION SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.2.87   SSU Availability Report - Total number of medical beds available, unavailable (inactive, broken, unstaffed, etc.) and filled. Includes breakout of the level of complexity.                                             1.3 CORE - DECISION SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




           Transfers (Reference W BS 1.1.10)                                                                                                                                                                                       1.3 CORE - DECISION SUPPORT

1.3.2.86   Transfers from the facility by Date, Completed Provider.                                                                                                                                                                1.3 CORE - DECISION SUPPORT (Transfers (Reference WBS 1.1.10))




1.3.2.87   Provide time based medication administration plan for all detainees in transport to ICE officer for transport.                                                                                                          1.3 CORE - DECISION SUPPORT (Transfers (Reference WBS 1.1.10))




           Clinic Management and Clinical Oversight (Reference W BS 1.1.11)                                                                                                                                                        1.3 CORE - DECISION SUPPORT

1.3.2.88   IGSA Operations Workload - Provide a comprehensive workload report mirroring the existing workload Encounter Types, Provider Types, SSU Admissions/Discharges, Visits, Orders, Pill Line, Special Monitoring,           1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))
           Chronic Visits, Sick Call, Off Site Hospitalizations, and Facility Transfers must be able to produce a report based on Facility or Multiple Facilities, as well as, by Date/Date range/Month/Week/Quarter/Year/Fiscal
           Year. Maintains current workload calculation for comparative analysis of future years. Provide a report Provides feedback to participating sites and management about workload productivity of field operations
           regarding selected essential events. Progress in Data Quality Assurance. Field Operations Management/Staff. STATS/QA




1.3.2.89   IGSA Operations Workload SSU and Airborne II Report - This report provides a summative account of SSU and Airborne Infection Isolation (or TIF) data at IGSA staffed facilities for the specified timeframe.            1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))
           Progress in Data Quality Assurance. Field Operations Management/Staff STATS/QA




1.3.2.90   IGSA Operations Workload Medical Services Visits Report - This report provides a summative account of reported medical services to ICE detainees at IGSA staffed facilities for the specified timeframe.                1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))
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1.3.2.91    IGSA Operations Workload Chronic Disease Visits Data Report - Provides feedback to participating sites and management about workload productivity of field operations regarding chronic disease visits.               1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.2.92    IGSA Operations Workload Patient Encounters by Health Provider Report - Provides feedback to participating sites and management about workload productivity of field operations regarding patient encounters by       1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))
            health provider. Number of Encounters by Provider Encounter Type. Number of workload processes in nursing by the function (pill line, lab draws, etc.) Must be able to produce based on Facility or Select Multiple
            Facilities.




1.3.2.93    IGSA Operations Workload Selected Miscellaneous Count Data Provide a report- Provides feedback to participating sites and management about workload productivity of field operations regarding Selected               1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))
            Miscellaneous Count Data addressing common workload factors not included in clinic processes.




1.3.2.94    Provide a report that shows the time between date of encounter and signature by provider.                                                                                                                             1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.2.95    Pending encounters with Details (Patient name, Alien Number, Location of Patient, Location of Provider, Length of scheduled encounter, appointment type (medical, psych, etc..), referral status (when submitted-when 1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))
            approved), Provider name for each encounter)




1.3.2.96    Emergency Transport - Provide a report of all Medications, Diagnoses, Allergies, and TB results for all patients in the user’s facility. Also lists NKA (No Known Allergy).                                           1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.2.97    Facility Efficiency Report - Counts of the number of different kinds of encounters performed during a specified date range for the user’s facility. Includes Intake Screenings, Physical Exams, Pediatric Physical Exams, 1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))
            Pregnancy Physical Exams, and Chart Reviews.




1.3.2.98    The organization must have the ability to prepare reports related to all ICD-10, ICD, CPT, SNOMED, NANDA, NIC, NOC, HCPCS, DSM-4, ADA Dental Codes with linkage to previous workload report data / format 1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))
            based on encounter type (referenced in report 1.3.2.1 and 1.3.2.2).




1.3.2.99    Provide a list of pregnant females in custody (Name, Alien#, Due Date, Number of Service, etc.)                                                                                                                       1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.2.100   Provide a list of all historical pregnant females with status (custody status, pregnancy complexity, arrival date, release date (if available), time in custody, home of record)                                      1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.2.101   Provide a list of detainees that have had miscarriages                                                                                                                                                                1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.2.102   Provide a list of detainees that have had DNC’s or abortions                                                                                                                                                          1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.2.103   Provide a list of detainees that have given birth while in custody                                                                                                                                                    1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.2.104   Provide a summary of the changes by HQ on the required chart reviews and medication management so the local provider can determine whether they will continue the requirement.                                        1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.2.105   Provide the ability to generate a letter in a memorandum format for use in providing an official update for non-Medical Personnel responsible for detainee housing. Allow inclusion of specified items from the medical 1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))
            record as appropriate based on the user preference. (Common Needs for the Memorandum include: Provide a list Diagnosis, Scheduled Appointments, Number of Treatments, Treatment Authorizations Requests).
            Allow customization of the letter before finalizing and placing in the patient's chart.




1.3.2.106   Chronic Over Average Daily Population (ADP).- Number of each type of Chronic Patient versus ADP. - By facility or all facilities                                                                                      1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.2.107   DSM-IV over ADP - Count of DSM diagnoses versus the Average Daily Population.                                                                                                                                         1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.2.108   Provide a list of the alerts that were not acknowledged by a provider.                                                                                                                                                1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.2.109   Provide a list of Alerts that were overridden.                                                                                                                                                                        1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




            American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have unimpeded access to a 1.3 CORE - DECISION SUPPORT
            continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.




1.3.2.110   Number of inmates with a positive tuberculin skin test in the past 12 months divided by Number of admissions in the past 12 months.                                                                                   1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.111   Number of inmates diagnosed with active tuberculosis in the past 12 months divided by Average daily population in the past 12 months.                                                                                 1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.112   Number of conversions to a positive tuberculin n test in the past 12 months divided by Number of tuberculin skin tests given in the past l2 months.                                                                   1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.113   Number of inmates with a positive tuberculin skin test who completed prophylaxis treatment for tuberculosis in the past 12 months divided by Number of inmates with a positive tuberculin skin test on prophylaxis    1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
            treatment for tuberculosis in the past 12 months.                                                                                                                                                                     unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.114   Number of Hepatitis C positive inmates in the past 12 months divided by Average daily population in the past 12 months.                                                                                               1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.115   Number of HIV-positive inmates divided by Average daily population n the past 12 months.                                                                                                                              1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.116   Number of HIV-positive inmates who are being treated with highly active antiretroviral treatment in the past 12 months divided by the number of HIV-positive inmates in the past 12 months.                           1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.117   Number of inmates diagnosed with an Axis I diagnosis (excluding sole diagnosis of substance abuse) in the past 12 months. Average daily population in the past 12 months.                                             1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.118   Number of inmate suicide attempts in the past 12 months divided by Average daily population in the past 12 months.                                                                                                    1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.119   Number of inmate suicides in the past 12 months divided by Average daily population in the past 12 months.                                                                                                            1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.120   Number of inmate deaths due to homicide in the past 12 months divided by Average daily population in the past 12 months                                                                                               1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.121   Number of inmate deaths due to injuries in the post 12 months Average daily population it-. the past 12.months.                                                                                                       1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.122   Number of medically expected inmate deaths in the past 12 months Average daily population in the past 12 months.                                                                                                      1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.123   Number of medically unexpected inmate deaths in the past 12 months vs. Average daily population in the past 12 months.                                                                                                1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.124   Number of inmate admissions to infirmary (where available) in the past 12 months divided by Average daily population it- the past 12 months.                                                                          1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.125   Number of inmate admissions to off-site hospitals in the past 12 months Average daily population it- the past 12 months.                                                                                              1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.126   Number of inmates transported off-site (via ambulance or correctional vehicle) for treatment of emergency health conditions in the past 12 months.                                                                    1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.127   Number of inmate specialty consults completed in the past 12 months divided by the Number of specialty consults (onsite or off-site) ordered by primary health care provider (MD, NP, PA) in the past 12 months.      1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.128   Number of inmate grievances about access to medical services found in favor of the detainee divided by the Number of inmate grievances about access to health care service in the past 12 months.                     1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.129   Number of inmate grievances related to quality of health care found in favor of inmates in the past 12 months divided by Number of inmate grievances related to quality of health care in the past 12 months.         1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.130   Number of inmate lawsuits about access to health care services found in favor of the inmate in the past 12 months divided by Number of inmate lawsuits about access to health care services in the past 12 months.    1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                  unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)
                                                                                                                                                                                                                                                                                                                                                                                                                                                Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 194 of 1402




1.3.2.131   Number of individual sick call encounters in the past 12 months divided by Average daily population in the past 12 months.                                                                                               1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                     unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.132   Number of physician visit contacts in the past 12 months divided by Average daily population in the past 12 months                                                                                                       1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                     unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.133   Number of individualized dental treatment plans in the past 12 months divided by Average daily population in the past 12 months.                                                                                         1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                     unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.134   Number of hypertensive inmates enrolled in chronic care clinic in the past 12 months divided by Average daily population in the past 12 months.                                                                          1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                     unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.135   Number of diabetic inmates enrolled in a chronic care clinic in the past 12 months divided by Average daily population in the past 12 months.                                                                            1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                     unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.136   Number of incidents involving pharmaceuticals as contraband in the past 12 months divided by Average daily population in the past 12 months.                                                                             1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                     unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.137   Number of cardiac diets received by inmates with cardiac disease in the past 12 months divided by Number of cardiac diets prescribed in the past 12 months.                                                              1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                     unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.138   Number of hypertensive diets received by inmates with hypertension in the past 12 months divided by Number of hypertensive diets prescribed in the past 12 months.                                                       1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                     unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.139   Number of diabetic diets received by inmates with diabetes in the past 12 months divided by Number of diabetic diets prescribed in the past 12 months.                                                                   1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                     unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.140   Number of renal diets received by inmates with renal disease in the past 12 months divided by Number of renal diets prescribed in the past 12 months.                                                                    1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                     unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.141   Number of needle stick injuries in the past 12 months divided by Number of employees on average in the past 12 months.                                                                                                   1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                     unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.142   Number of pharmacy-dispensing errors in the past 12 months divided by Number of prescriptions dispensed by the pharmacy in the past 12 months.                                                                           1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                     unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




1.3.2.143   Number of nursing-medication-administration errors in the past 12 months divided by Number of medications administered in the past 12 months.                                                                            1.3 CORE - DECISION SUPPORT (American Correctional Association (ACA) -Standard 4C - Provide reports required for ACA to validate detainees [inmates] maintain good health. Detainees [Inmates] have
                                                                                                                                                                                                                                     unimpeded access to a continuum of health care services so that their health care needs, including prevention and health education, are met in a timely and efficient manner.)




            Provide reports required for ACA Standard 4D - Health services are provided in a professionally acceptable manner. Staff are qualified, adequately trained, and demonstrate competency in their                          1.3 CORE - DECISION SUPPORT
            assigned duties.




1.3.2.144   Number of staff with lapsed licensure and or certification in the past 12 months Divided Number of licensed and or certified staff in the past 12 months.                                                                1.3 CORE - DECISION SUPPORT (Provide reports required for ACA Standard 4D - Health services are provided in a professionally acceptable manner. Staff are qualified, adequately trained, and demonstrate
                                                                                                                                                                                                                                     competency in their assigned duties.)




1.3.2.145   Number of new employees in the past 12 months who completed orientation training prior to undertaking job assignments divided by Number of new employees in the past 12 months.                                          1.3 CORE - DECISION SUPPORT (Provide reports required for ACA Standard 4D - Health services are provided in a professionally acceptable manner. Staff are qualified, adequately trained, and demonstrate
                                                                                                                                                                                                                                     competency in their assigned duties.)




1.3.2.146   Number of employees completing in-service training requirements in the past 12 months divided by the Number of employees eligible in the past 12 months.                                                                 1.3 CORE - DECISION SUPPORT (Provide reports required for ACA Standard 4D - Health services are provided in a professionally acceptable manner. Staff are qualified, adequately trained, and demonstrate
                                                                                                                                                                                                                                     competency in their assigned duties.)




1.3.2.147   Number of MD staff who left employment in the past 12 months divided by Number of authorized MD staff positions in past 12 months.                                                                                       1.3 CORE - DECISION SUPPORT (Provide reports required for ACA Standard 4D - Health services are provided in a professionally acceptable manner. Staff are qualified, adequately trained, and demonstrate
                                                                                                                                                                                                                                     competency in their assigned duties.)




1.3.2.148   Number of RN staff who left employment in the past 12 months divided by Number of authorized RN staff positions in the past 12 months.                                                                                   1.3 CORE - DECISION SUPPORT (Provide reports required for ACA Standard 4D - Health services are provided in a professionally acceptable manner. Staff are qualified, adequately trained, and demonstrate
                                                                                                                                                                                                                                     competency in their assigned duties.)




1.3.2.149   Number of LPN staff who left employment in the past 12 months divided by the Number of authorized LPN staff positions in the past 12 months.                                                                             1.3 CORE - DECISION SUPPORT (Provide reports required for ACA Standard 4D - Health services are provided in a professionally acceptable manner. Staff are qualified, adequately trained, and demonstrate
                                                                                                                                                                                                                                     competency in their assigned duties.)




1.3.2.150   Number of medical records staff who left employment in the past 12 months divided by Number of medical records staff positions in the past 12 months.                                                                    1.3 CORE - DECISION SUPPORT (Provide reports required for ACA Standard 4D - Health services are provided in a professionally acceptable manner. Staff are qualified, adequately trained, and demonstrate
                                                                                                                                                                                                                                     competency in their assigned duties.)




1.3.2.151   Number of alleged sexual misconduct incidents between staff and detainees in the past 12 months divided by average daily population in the past 12 months.                                                               1.3 CORE - DECISION SUPPORT (Provide reports required for ACA Standard 4D - Health services are provided in a professionally acceptable manner. Staff are qualified, adequately trained, and demonstrate
                                                                                                                                                                                                                                     competency in their assigned duties.)




1.3.2.152   Number of alleged sexual misconduct incidents between volunteers and/or contract personnel and detainees in the past 12 months divided by Average daily population in the past 12 months.                                1.3 CORE - DECISION SUPPORT (Provide reports required for ACA Standard 4D - Health services are provided in a professionally acceptable manner. Staff are qualified, adequately trained, and demonstrate
                                                                                                                                                                                                                                     competency in their assigned duties.)




1.3.2.153   Number of confirmed sexual misconduct incidents between staff and detainees in the past 12 months divided by Average daily population in the past 12 months.                                                             1.3 CORE - DECISION SUPPORT (Provide reports required for ACA Standard 4D - Health services are provided in a professionally acceptable manner. Staff are qualified, adequately trained, and demonstrate
                                                                                                                                                                                                                                     competency in their assigned duties.)




1.3.2.154   Number of confirmed sexual misconduct incidents between volunteers and/or contract personnel and detainees in the past 12 months divided by Average daily population in the past 12 months.                              1.3 CORE - DECISION SUPPORT (Provide reports required for ACA Standard 4D - Health services are provided in a professionally acceptable manner. Staff are qualified, adequately trained, and demonstrate
                                                                                                                                                                                                                                     competency in their assigned duties.)




1.3.2.155   Number of detainees identified as high risk with a history of sexually assaultive behavior in the past 12 months divided by Average daily population in the past 12 months.                                              1.3 CORE - DECISION SUPPORT (Provide reports required for ACA Standard 4D - Health services are provided in a professionally acceptable manner. Staff are qualified, adequately trained, and demonstrate
                                                                                                                                                                                                                                     competency in their assigned duties.)




1.3.2.156   Number of detainees identified as at risk for sexual victimization in the past 12 months divided by Average daily population in the past 12 months.                                                                      1.3 CORE - DECISION SUPPORT (Provide reports required for ACA Standard 4D - Health services are provided in a professionally acceptable manner. Staff are qualified, adequately trained, and demonstrate
                                                                                                                                                                                                                                     competency in their assigned duties.)




            Credentialing and Privileging (Reference W BS 1.1.12)                                                                                                                                                                    1.3 CORE - DECISION SUPPORT

1.3.2.157   Provide a list of items expiring by date range                                                                                                                                                                           1.3 CORE - DECISION SUPPORT (Credentialing and Privileging (Reference WBS 1.1.12))




1.3.2.158   Provide a list of individuals that are currently have not provided information or are not compliant with standards for credentialing and privileging                                                                     1.3 CORE - DECISION SUPPORT (Credentialing and Privileging (Reference WBS 1.1.12))




            Exchange of medical information with health organizations and partners. (Reference W BS 1.13)                                                                                                                            1.3 CORE - DECISION SUPPORT


1.3.2.159   Provide a list of faculties with that have entered compliance information regarding their medical care (14-day physical, date/time of intake screening, sick call response times)                                        1.3 CORE - DECISION SUPPORT (Exchange of medical information with health organizations and partners. (Reference WBS 1.13))




1.3.2.160   Provide a list of facilities with a status on their viewing of the EHR-S Medical record.                                                                                                                                 1.3 CORE - DECISION SUPPORT (Exchange of medical information with health organizations and partners. (Reference WBS 1.13))




1.3.2.161   Provide a number of detainees in custody by facility that have not had a full submission of medical information or entry of their medical compliance data (14-day physical, date/time of intake screening, sick call     1.3 CORE - DECISION SUPPORT (Exchange of medical information with health organizations and partners. (Reference WBS 1.13))
            response times)




1.3.2.162   Provide a summary report of all facilities that reports their compliance with entry and compliance with standards for provisions.                                                                                        1.3 CORE - DECISION SUPPORT (Exchange of medical information with health organizations and partners. (Reference WBS 1.13))




1.3.2.163   Provide a list of requests for medical records from ICE partners with their status (delivered, pending, etc.)                                                                                                            1.3 CORE - DECISION SUPPORT (Exchange of medical information with health organizations and partners. (Reference WBS 1.13))




1.3.2.164   Provide a list and status of Freedom of Information Act (FOIA) requests.                                                                                                                                                 1.3 CORE - DECISION SUPPORT (Exchange of medical information with health organizations and partners. (Reference WBS 1.13))




            Grievances (Reference W BS - 1.1.14)                                                                                                                                                                                     1.3 CORE - DECISION SUPPORT

1.3.2.165   Provide a summary of grievances by type, status, date range and outcome.                                                                                                                                                 1.3 CORE - DECISION SUPPORT (Grievances (Reference WBS - 1.1.14))




1.3.2.166   Provide a list of items by individual based on date expiring                                                                                                                                                             1.3 CORE - DECISION SUPPORT (Grievances (Reference WBS - 1.1.14))


            Pharmacy / Pharmacology (Reference W BS 1.2)                                                                                                                                                                             1.3 CORE - DECISION SUPPORT

1.3.2.167   IGSA Pharmacy Prescriptions Volume and Cost Provide a report - Provides info on Pharmacy Prescriptions Volume and Cost. Progress in Data Quality Assurance. Pharmacy Program Management/Staff                            1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))
            STATS/QA




1.3.2.168   Prescription Expiration Provide a report (PER) -- can include or exclude by GPI code/class, by date as specified by user, sorted by any value in report                                                                  1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.2.169   Filled Script summary -- provides total number of Rx's and subtotals based on therapeutic classes) for time period specified by user                                                                                     1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.2.170   Drug Use Evaluation -- Capability to include or exclude by GPI code/class, by date as specified by user, with and without details, multiple sort options by sex, location, and drug name (any value in report)           1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.2.171   Batch Labels -- allows user to store labels in computer batch, sorts by A# and prints a specified number of labels per detainee on a single page.                                                                        1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.2.172   Delivery Sheet File -- record of where all Rx's are delivered and if KOP allows staff to have detainee sign they have received                                                                                           1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.2.173   Bar-coding of Rx's would allow scanning of Rx and ID to document this. This report would allow us to PROVE that detainees got their meds by time and date. This also would be necessary for EHR to show when             1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))
            med was avail for admin.




1.3.2.174   Daily and Rx Update -- Removes all expired and discontinued medication orders from above reports. I run this after the PER. Cleans up reports and patient profiles.                                                      1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.2.175   Pt allergy Provide a report -- allows cross link of all data based to ensure allergies are listed in each data base                                                                                                      1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.2.176   Monthly Medical sheet (Active Rx) -- runs MARs for only active medications for each patient. Sorted by patient and can include or exclude by GPI. This way you can run just insulin MARs, etc. (this would not be        1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))
            necessary with eMAR)




1.3.2.177   Provide specific lab values for all patients on a specified medication based on MML.                                                                                                                                     1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.2.178   Provide a list of all controlled substances ordered within a specified date range with sorting by provider, GPI code/class, drug type, drug name (generic/brand).                                                        1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.2.179   Provide an inventory management report (over designated time period, and/or by type of drug, and/or by specific user, and/or by specific patient) to include user, date, time, drug, and quantity restocked into AMPS.   1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.2.180   Provide a report of all medications and stock that will need to be ordered.                                                                                                                                              1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))




            Statistics and Analytics (W BS Reference 3.3)                                                                                                                                                                            1.3 CORE - DECISION SUPPORT
                                                                                                                                                                                                                                                                                                                                                                               Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 195 of 1402




1.3.2.181     Null Value Provide a report - Provide a list of fields that have null values for report requires.                                                                                                                             1.3 CORE - DECISION SUPPORT (Statistics and Analytics (WBS Reference 3.3))




1.3.2.182     Provide a report of all required fields that are in the medical record.                                                                                                                                                       1.3 CORE - DECISION SUPPORT (Statistics and Analytics (WBS Reference 3.3))




1.3.2.183     Provide a report that produces results related to data quality and population of data fields required for key reports to ensure continuity and consistency of data in the reporting database. Field Operations                1.3 CORE - DECISION SUPPORT (Statistics and Analytics (WBS Reference 3.3))
              Management/Staff STATS/QA




              Family Residential Facilities (Reference W BS 1.1.2)                                                                                                                                                                          1.3 CORE - DECISION SUPPORT

1.3.2.184     Complete immunization record on an individual detainee.                                                                                                                                                                       1.3 CORE - DECISION SUPPORT (Family Residential Facilities (Reference WBS 1.1.2)+C1283)




              Dental (Reference W BS 1.1)                                                                                                                                                                                                   1.3 CORE - DECISION SUPPORT

1.3.2.185     Patients Pending Dental Exam to meet the 12 Month standard for a dental exam- (by date, by range, etc.)                                                                                                                       1.3 CORE - DECISION SUPPORT (Complete immunization record on an individual detainee.)




1.3.2.186     Dental Care Provided Report (by procedure types, by facility, by date range) with graph (bar or pie) capability                                                                                                               1.3 CORE - DECISION SUPPORT (Complete immunization record on an individual detainee.)




1.3.2.187     Dental Referrals off-site (by procedure types, by facility, by date range)                                                                                                                                                    1.3 CORE - DECISION SUPPORT (Complete immunization record on an individual detainee.)




1.3.2.188     Dental Appointments Missed (by facility, by date range, by reason)                                                                                                                                                            1.3 CORE - DECISION SUPPORT (Complete immunization record on an individual detainee.)




1.3.2.189     Daily and Monthly Dental Workload Provide a reports                                                                                                                                                                           1.3 CORE - DECISION SUPPORT (Complete immunization record on an individual detainee.)




1.3.2.190     Analysis of time required for each procedure (by provider, procedure type)                                                                                                                                                    1.3 CORE - DECISION SUPPORT (Complete immunization record on an individual detainee.)




              Mental Health (Reference W BS 1.1.3, 3.3)                                                                                                                                                                                     1.3 CORE - DECISION SUPPORT

1.3.2.191     Provide a Mental Health Suicide Provide a report (# of suicide watches # of days on suicide watch, # of suicide attempts, # of suicide gestures, # of suicide risk assessments                                                1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.2.192     Provide a list of detainees placed on suicide watch (Name, Alien, DOB, Age, Date of suicide watch, date removed from suicide watch)                                                                                           1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))



1.3.2.193     Provide a report of suicides (attempt, ideation) dates to ensure suicide follow ups were conducted at define intervals (week, month, year)                                                                                    1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))



1.3.2.194     Provide a report to mental health capture screenings, assessment, and follow-up (# of intake screenings, # of 14 day physicals, # of follow-up appointments, broken down by mental health appointment)                        1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.2.195     Provide a reports to capture specific mental health activities (# of crisis intervention, # of supportive therapy sessions, # of Psychoeducation sessions, # of groups)                                                       1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.2.196     Provide a report with all detainees with Mental Health Diagnoses - All detainees with DSM-IV diagnosis, where they were housed, medications, length of detention legal status                                                 1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.2.197     Provide a report for the number of psychiatric evaluations performed and psychiatric follow-ups.                                                                                                                              1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.2.198     Provide a list of all detainees receiving involuntary psychiatric treatments                                                                                                                                                  1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.2.199     Provide a Mental Health Admission Provide a report for Health Special Housing Unit (SHU), which is housing dedicated to mental health instead of part of an SSU, or Segregation Units (used when SSU or SHU                   1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))
              not on site)- Detainee Name, Alien Number, Age, Mental health diagnoses Facility, Provide a bed, Provider, Date of Last Follow Up)




1.3.2.200     Provide a Segregation Admissions (for facilities without an SHU) - Detainee Name, Alien Number, Age, Mental health diagnoses Facility, Provide a bed, Provider, Date of Last Follow Up)                                       1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.2.202     Provide a list of detainees on Psychotropic medications                                                                                                                                                                       1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.2.203     Number of times seen by mental health provider, if seen by multiple mental health providers                                                                                                                                   1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.2.204     Provide a list of psychotropic medications prescribed                                                                                                                                                                         1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.2.205     Provide a list of facilities that have detainees on psychotropic meds, formulary vs. non-formulary                                                                                                                            1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.2.206     Forensic evaluations along with patient and facilities                                                                                                                                                                        1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.2.207     Mental Health hospitalizations, including facilities where currently hospitalized and detention facility and dates                                                                                                            1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.2.208     Provide a list of MH patients currently being followed and their current status                                                                                                                                               1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.2.209     # of women with a history or sexual assault / abuse                                                                                                                                                                           1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




              Epidemiology (References - W BS 1.1.3, 3.8)                                                                                                                                                                                   1.3 CORE - DECISION SUPPORT

1.3.2.211     Infectious Disease - Provide a report that shows any detainee that meets criteria and are current in the surveillance group and have a completed TB Surveillance information form.                                            1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.2.212     Number of Detainees that that were in custody that were historically placed in the TB Surveillance Group.                                                                                                                     1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.2.213     Provide a list of Detainees that were historically placed in the regardless of their current diagnoses and status within the TB surveillance group.                                                                           1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.2.214     Provide a list of detainees that are currently in the TB Surveillance Group (Name, Country, Identifier, Date placed in group, individual that placed in group, arrival date, movement history, etc.)                          1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.2.215     Total number of Infectious Disease Cases by Type (TB, HIV, etc.) by date range, by status, by name                                                                                                                            1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.2.216     Monthly, Quarterly, Annual TB Summary by Facility and specified characteristics (as defined by specified data fields)- Query that displays TB patients by facility or lists facilities by specified characteristics (e.g.,    1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))
              month treatment referrals).




1.3.2.217     Monthly, Quarterly, Annual Provide a reportable Infectious diseases by Facility and specified characteristics (as defined by specified data fields)- Query that displays TB patients by facility or lists facilities by specified 1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))
              characteristics (e.g., month treatment referrals).




1.3.2.218     Monthly, Quarterly, Annual Coordinated Removal/Meet and Greet Summary by Facility and Country. Query that displays TB patients by facility and country by coordinated removal/meet and greet status.                          1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.2.219     Provide a report of mandatory fields in each report required for Epidemiology                                                                                                                                                 1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.2.220     By Patient, a flow sheet of pertinent TB lab or values based on results received and entered by either field or HQ staff.                                                                                                     1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))




              Special Operations (Reference W BS 3.4)                                                                                                                                                                                       1.3 CORE - DECISION SUPPORT

1.3.2.221     Detainees in custody that have been designated as requiring medical alert by date range                                                                                                                                       1.3 CORE - DECISION SUPPORT (Special Operations (Reference WBS 3.4))




              Mental Health Services (Reference W BS 3.3.2)                                                                                                                                                                                 1.3 CORE - DECISION SUPPORT

1.3.2.222     Provide a list of detainees under Social Services oversight by week, month, year, status and program                                                                                                                          1.3 CORE - DECISION SUPPORT (Mental Health Services (Reference WBS 3.3.2))




1.3.2.223     Number of detainees under Social Services oversight by week, month, year, status and program                                                                                                                                  1.3 CORE - DECISION SUPPORT (Mental Health Services (Reference WBS 3.3.2))




1.3.2.224     Provide a list of facilities referred by date range and purpose                                                                                                                                                               1.3 CORE - DECISION SUPPORT (Mental Health Services (Reference WBS 3.3.2))



1.3.2.225     Workload report by staff (# of referrals, case notes, other workload factors)                                                                                                                                                 1.3 CORE - DECISION SUPPORT (Mental Health Services (Reference WBS 3.3.2))



              Performance Improvement (Reference W BS 3.7)                                                                                                                                                                                  1.3 CORE - DECISION SUPPORT

1.3.2.226     Provide a report for each specific indicator by facility                                                                                                                                                                      1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))




1.3.2.227     A report that summarizes the data has been entered by each facility to ensure compliance with quarterly data entries.                                                                                                         1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))




1.3.2.228     A report that compares the current versus previous quarters in all indicators.                                                                                                                                                1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))




1.3.2.229     Provide a list of patients that did not meet the requirements set forth in the Performance Based National Detention Standards (Intake Screening within 12 hours, Physical within 14 days, Sick Call within the standard       1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))
              ACA required response times).




1.3.2.230     Based on medical record review of Medical Performance Indicators (Chronic Care Compliance, Health Record, Physical Exam, Short Stay Unit) provide a compliance percentage of the standard across all facilities 1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))
              and individual facilities.




1.3.2.231     Based on medical reviews of Pharmacy Performance Indicators (Asthma Management, Coumadin Management, Diabetes Management, Psychotropic Management)                                                                            1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))
              provide a compliance percentage of the standard across all facilities and individual facilities.




1.3.2.232     Based on medical record reviews of Short Stay Unit Performance Indicators (Diagnosis Documented for each admission, Nursing Care Plans Developed)                                                                             1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))




1.3.2.233     Based on Incident Reports submitted regarding Medication Errors by field sites, provide a summary of medication errors with analysis related to causes and outcomes.                                                          1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))




1.3.2.234     Based on the completion of Facility Activities / Tasks related to environment of care and sharps, identify the compliance rate of facilities in meeting the man down, fire and emergency drills                               1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))




1.3.2.235     Based on the completion of the TB continuity of care Facility Activities / Tasks (initial reporting, sputum results, culture results), provides a compliance measure that all tasks were completed.                           1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))




1.3.2.236     Based on the completion of the infectious disease reporting Facility Activities / Tasks (initial reporting, required value entry), provide a compliance measure that all required information was entered within time         1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))
              limitations of each reporting task.




1.3.2.237     Based on the completion of critical Facility Activities / Tasks (Hunger Strike Monitoring, Suicide Monitoring, and Patient Grievances), provide a compliance measure that all monitoring tasks were completed within a 1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))
              specified timeframe from the time it is due.




1.3.2.238     Based on the actions taken in the clinical documentation to indicate that a patient was educated, provide a compliance indication that an individual was provided appropriate education during the various episodes of        1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))
              care (Intake Screening, Physical Exam, Encounters/Clinic Visit, Medication/Pharmacy/Pill Line).




              Tele-Radiology (W BS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2)                                                                                                                           1.3 CORE - DECISION SUPPORT


1.3.2.239     Provide a report of x-rays taken over a variably defined time period to include: Patient name, Alien Number, DOB, date and time report sent from site, date and time report received from site, elapsed time, type of x-ray   1.3 CORE - DECISION SUPPORT (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))
              (default to screening chest)




1.3.2.240     Provide a list of x-rays taken but still pending x-ray report                                                                                                                                                                 1.3 CORE - DECISION SUPPORT (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.2.241     Provide a report of all "other than normal" x-rays taken over user defined time frame.                                                                                                                                        1.3 CORE - DECISION SUPPORT (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.2.242     Patients in custody with a normal x-ray (by name, alien number)                                                                                                                                                               1.3 CORE - DECISION SUPPORT (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.2.243     Patients in custody with other than normal x-ray result                                                                                                                                                                       1.3 CORE - DECISION SUPPORT (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.2.244     Provide a list of retakes from the tele-radiology system                                                                                                                                                                      1.3 CORE - DECISION SUPPORT (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.2.245     Provide a report of all CXRs by facility for a specified date range for billing reconciliation with DiannAssociates                                                                                                           1.3 CORE - DECISION SUPPORT (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.2.246     A report of detainees whose information was not automatically loaded from the EHR to the X-Ray system                                                                                                                         1.3 CORE - DECISION SUPPORT (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.2.247     A list and summary count of detainee retakes by facility or all facilities sorted by providers, dates, detainees, or Reason Noted.                                                                                            1.3 CORE - DECISION SUPPORT (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.2.248     Provide a list of X-Rays taken (include: date, alien number, Name, provider, etc) for use in comparing to the electronic invoice.                                                                                             1.3 CORE - DECISION SUPPORT (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.2.249     Provide a list of retakes by facility, date range, individual (Include: Name, A Number, Date/Time Captured, Date/Time Results Received, Actual Results Reason for retake, Provider capturing the X-ray, Provider              1.3 CORE - DECISION SUPPORT (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))
              taking Retake.)




              Tele-Health (W BS References - 3.6 Tele-Health, Tele-Radiology 2.2.2)                                                                                                                                                         1.3 CORE - DECISION SUPPORT

1.3.2.250     Provide a list of Available Appointments - By Specialty                                                                                                                                                                       1.3 CORE - DECISION SUPPORT (Tele-Health (WBS References - 3.6 Tele-Health, Tele-Radiology 2.2.2))




1.3.2.251     Booked Appointments - By Facility or Specialty                                                                                                                                                                                1.3 CORE - DECISION SUPPORT (Tele-Health (WBS References - 3.6 Tele-Health, Tele-Radiology 2.2.2))




1.3.2.252     Completed TeleHealth Encounters - By Specialty and Date                                                                                                                                                                       1.3 CORE - DECISION SUPPORT (Tele-Health (WBS References - 3.6 Tele-Health, Tele-Radiology 2.2.2))




1.3.2.253     Missed Tele-Health Appointments - By Date, Specialty and Reason                                                                                                                                                               1.3 CORE - DECISION SUPPORT (Tele-Health (WBS References - 3.6 Tele-Health, Tele-Radiology 2.2.2))




              Queries                                                                                                                                                                                                                       1.3 CORE - DECISION SUPPORT

GR.1.3.3      General Query Requirements                                                                                                                                                                                                    1.3 CORE - DECISION SUPPORT (Queries)

GR.1.3.3.1    Access data based on role-based security profiles using standard medical roles (Medical Records/Admin, Medical Assistant                                                                                                      1.3 CORE - DECISION SUPPORT (Queries)




GR.1.3.3.2    Sends the user to the screen to required to complete the task or action required by the Query.                                                                                                                                1.3 CORE - DECISION SUPPORT (Queries)




GR.1.3.3.3    Provide the ability to create ad hoc (on demand) queries designed by appropriate role based users.                                                                                                                            1.3 CORE - DECISION SUPPORT (Queries)




GR.1.3.3.4    Provide a query of the data fields from the data dictionary for all data fields for use in various queries.                                                                                                                   1.3 CORE - DECISION SUPPORT (Queries)




GR.1.3.3.6    Provide the ability to present the results of each query in a logical presentation to the user.                                                                                                                               1.3 CORE - DECISION SUPPORT (Queries)




GR.1.3.3.7    Provide the ability to export the results of each query into common formats (CSV, MS Excel, MS Access, etc)                                                                                                                   1.3 CORE - DECISION SUPPORT (Queries)




GR.1.3.3.8    Ensure patient identifiers include any identifiers entered (USM/BOP, State/City/County Jail Facilities, Medical Record Numbers and other identifiers).                                                                        1.3 CORE - DECISION SUPPORT (Queries)




GR.1.3.3.9    Provide the ability to transition high use queries to a report based on demand.                                                                                                                                               1.3 CORE - DECISION SUPPORT (Queries)




GR.1.3.3.10   Provide the ability for users to develop additional ad hoc queries and make them available to others.                                                                                                                         1.3 CORE - DECISION SUPPORT (Queries)




              Clinic Management and Clinical Oversight (Reference W BS 1.1.11)                                                                                                                                                              1.3 CORE - DECISION SUPPORT

GR.1.3.3.11   Provide a list of all unsigned notes by date, provider, etc.                                                                                                                                                                  1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




GR.1.3.3.12   Provide a list of appointments by date with ability to sort by date, time, provider, encounter type.                                                                                                                          1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




GR.1.3.3.13   All encounters with the ability to include/exclude and sort by date, by type, if an associated medication order provide detail and status.                                                                                    1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




GR.1.3.3.14   Provide a list of current Special Needs - By Category, Active and By Expiration Date for continuation or scheduling.                                                                                                          1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




GR.1.3.3.15   Provide a list if current special needs that do not have an encounter scheduled prior to expiration.                                                                                                                          1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




GR.1.3.3.16   Provide a list of detainees meeting critical requirements suicide watches, hunger strikes, etc..                                                                                                                              1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




GR.1.3.3.17   Provide a list of detainees pending transfer summaries (from Enforce) that have not yet had a transfer review / transfer summary completed.                                                                                   1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




GR.1.3.3.18   Provide a list of detainees that have special instructions in place by the provider for review by the HSA/AHSA and CD/Physician for coordination with ICE on special considerations.                                          1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




              Accept Detainee into the Medical Facility / Intake Screening (Reference W BS 1.1.1)                                                                                                                                           1.3 CORE - DECISION SUPPORT
                                                                                                                                                                                                                                                                                                                                                                Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 196 of 1402




1.3.3.1    Provide a real time list of detainees that have been booked in per Enforce/Sentry or have been identified as arrived in the EHR system that require screening.                                                                1.3 CORE - DECISION SUPPORT (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.3.2    Provide a list of detainees manually entered by IGSA staff upon arrival at the facility.                                                                                                                                      1.3 CORE - DECISION SUPPORT (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.3.3    Provide the ability for local facilities to bring up Enforce records that match a specific criteria to search for potential duplicate medical records due to multiple records in Enforce.                                     1.3 CORE - DECISION SUPPORT (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.3.4    Provide list of detainees that have not been linked to a record entered in Enforce so they may be researched.                                                                                                                 1.3 CORE - DECISION SUPPORT (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.3.5    Provide a list of provisional diagnoses that have not been validated or removed by a provider.                                                                                                                                1.3 CORE - DECISION SUPPORT (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.3.6    Provide a list of medications that were continued that were non-formulary.                                                                                                                                                    1.3 CORE - DECISION SUPPORT (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.3.7    Provide list of detainees that arrived by date range with their disposition with critical actions must be taken compared to other workflow.                                                                                   1.3 CORE - DECISION SUPPORT (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




           Scheduling (Reference W BS 1.1.2)                                                                                                                                                                                             1.3 CORE - DECISION SUPPORT

1.3.3.8    Provide a list of all patients on the clinic schedule for the day with a status based on vital signs are taken on all detainees.                                                                                              1.3 CORE - DECISION SUPPORT (Scheduling (Reference WBS 1.1.2))




1.3.3.9    Provide a master list of all detainees in custody for review by various parameters (Date of Arrival, 14 Day Physical Status, Book In Date, status of compliance with sick call standards, TB screening) so appropriate        1.3 CORE - DECISION SUPPORT (Scheduling (Reference WBS 1.1.2))
           scheduling can be initiated based on any non-compliance indicators.




1.3.3.10   Provide a list of all patients on the clinic schedule with an appointment still pending.                                                                                                                                      1.3 CORE - DECISION SUPPORT (Scheduling (Reference WBS 1.1.2))




1.3.3.11   Provide ability to sort clinic schedule by various parameters (provider, appointment type, date, time, etc)                                                                                                                   1.3 CORE - DECISION SUPPORT (Scheduling (Reference WBS 1.1.2))


1.3.3.12   Provide the housing and bed number for each appointment from detention management systems (CDF/IGSA System)                                                                                                                   1.3 CORE - DECISION SUPPORT (Scheduling (Reference WBS 1.1.2))


1.3.3.13   Provide a list of all referrals with status for scheduling, complete, pending medical record, medical record received, additional information pending, medical record reviewed.                                               1.3 CORE - DECISION SUPPORT (Scheduling (Reference WBS 1.1.2))




1.3.3.14   Provide a list of all appointments available based on provider type, appointment types, etc for use in managing the appointment times effectively.                                                                            1.3 CORE - DECISION SUPPORT (Scheduling (Reference WBS 1.1.2))




1.3.3.15   Provide a list of detainees that have completed off-site from appointments scanning or entry of off-site medical records                                                                                                      1.3 CORE - DECISION SUPPORT (Scheduling (Reference WBS 1.1.2))




1.3.3.16   14 Day Physical Review - Patients in Custody at the user’s facility that have not had a physical in the last year or within 14 days of their book-in date - Will allow patients without a 14 day physical that return to be   1.3 CORE - DECISION SUPPORT (Scheduling (Reference WBS 1.1.2))
           scheduled for a physical.




           Encounters (Reference W BS 1.1.3)                                                                                                                                                                                             1.3 CORE - DECISION SUPPORT

1.3.3.17   Be able to review all patient appointments by date and provider for management (complete, modify)                                                                                                                             1.3 CORE - DECISION SUPPORT (Encounters (Reference WBS 1.1.3))




1.3.3.18   Provide a list of encounters that require co signature by Mid-level or Physician based on HQ baseline standard and additional local standards. Remove from list when cosigned.                                                1.3 CORE - DECISION SUPPORT (Encounters (Reference WBS 1.1.3))




1.3.3.19   Provide a list of all referrals from sick call and intake screening for the day with status (pending for scheduler, date scheduled/ encounter type, etc.)                                                                     1.3 CORE - DECISION SUPPORT (Encounters (Reference WBS 1.1.3))




1.3.3.20   Appointments that must be completed the same day based on standards applied to the entire population.                                                                                                                         1.3 CORE - DECISION SUPPORT (Encounters (Reference WBS 1.1.3))




1.3.3.21   Provide a list of all encounters scheduled for a date/time range.                                                                                                                                                             1.3 CORE - DECISION SUPPORT (Encounters (Reference WBS 1.1.3))




           Order Entry (Reference W BS 1.1.4)                                                                                                                                                                                            1.3 CORE - DECISION SUPPORT

1.3.3.22   Provide a list of historical orders (all) by type for a patient with pertinent detail (order date, provider, etc.)                                                                                                            1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




1.3.3.23   Provide a list of all active orders by provider, date, etc.                                                                                                                                                                   1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4))




           Order Entry (Reference W BS 1.1.4) - Special Needs                                                                                                                                                                            1.3 CORE - DECISION SUPPORT

1.3.3.24   Provide a list of Active Special Needs with option to show inactive                                                                                                                                                           1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - Special Needs)




           Order Entry (Reference W BS 1.1.4) - Suicide W atch/Observation                                                                                                                                                               1.3 CORE - DECISION SUPPORT

1.3.3.25   Provide a list of detainees on suicide watch                                                                                                                                                                                  1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - Suicide Watch/Observation)




           Order Entry (Reference W BS 1.1.4) - Special Monitoring                                                                                                                                                                       1.3 CORE - DECISION SUPPORT

1.3.3.26   Provide a list of active special monitoring orders                                                                                                                                                                            1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - Special Monitoring)




           Order Entry (Reference W BS 1.1.4) - Medications                                                                                                                                                                              1.3 CORE - DECISION SUPPORT

1.3.3.27   Provide a list of all medication orders                                                                                                                                                                                       1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - Medications)




1.3.3.28   Provide a list of medications due to expire (or requires renewal) or nurse triggered for review                                                                                                                               1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - Medications)




1.3.3.29   Provide a list to psychotropic medication orders with a status of consent form.                                                                                                                                               1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - Medications)




1.3.3.30   Provide a list of detainees that do not have a consent scanned or electronically completed                                                                                                                                    1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - Medications)




1.3.3.31   Medical Alert with category (Medical, Psychological, Other) - Identify Medical Escort - Allow Levels of alert                                                                                                                 1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - Medications)




1.3.3.32   Provide a list of detainees in custody with medical alerts and medical holds                                                                                                                                                  1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - Medications)




           Order Entry (Reference W BS 1.1.4) - Enter Medical Holds                                                                                                                                                                      1.3 CORE - DECISION SUPPORT

1.3.3.33   Provide a list of current medical holds                                                                                                                                                                                       1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - Enter Medical Holds)




           Order Entry (Reference W BS 1.1.4) - Protocol Based Orders                                                                                                                                                                    1.3 CORE - DECISION SUPPORT

1.3.3.34   Provide a list of orders in existence due to existing IGSA Protocols and Policy.                                                                                                                                              1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - Protocol Based Orders)




           Order Entry (Reference W BS 1.1.4) - Lab Orders                                                                                                                                                                               1.3 CORE - DECISION SUPPORT

1.3.3.35   Provide a list of Lab Orders Pending with status (lab draw pending, lab draw complete/orders pending, results pending, results received/review pending, review complete)                                                      1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - Lab Orders)




1.3.3.36   Provide a list of contract lab specimens not received within a specified number of hours (necessary to plan to redo lab draw if not received or lost)                                                                         1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - Lab Orders)




1.3.3.37   Provide a list of all Clinical Laboratory Improvement Amendments (CLIA) Waved tests with status.                                                                                                                              1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - Lab Orders)




           Order Entry (Reference W BS 1.1.4) - Chest X-Ray                                                                                                                                                                              1.3 CORE - DECISION SUPPORT

1.3.3.38   Provide a list of detainees due for Chest X-Ray (expiration of TB Clearance or Annual)                                                                                                                                        1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - Chest X-Ray)




1.3.3.39   Provide a list of all detainees with an X-Rays captured or requiring capture (by date range) with status (pending, complete, results received, result value).                                                                 1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - Chest X-Ray)




           Order Entry (Reference W BS 1.1.4) - Facility Activities / Tasks (for all above orders)                                                                                                                                       1.3 CORE - DECISION SUPPORT

1.3.3.39   Provide a list of all pending Facility Activities / Tasks due with adequate detail on order and allow completion of several within the time limits specified in the order.                                                    1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - After Hours Medication)




1.3.3.40   Provide a list of all Facility Activities / Tasks (by time, category, etc) with status (time due, description, required action, ordering provider, etc.)                                                                      1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - After Hours Medication)




1.3.3.41   All Facility Activities / tasks due to a specific patient (facility tasks, pill line medications due, special monitoring).                                                                                                    1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - After Hours Medication)




           Order Entry (Reference W BS 1.1.4) - Other X-Ray                                                                                                                                                                              1.3 CORE - DECISION SUPPORT

1.3.3.42   Provide a list of X-Rays ordered by status (pending approval, approved, scheduled, pending medical records, records received, follow up complete)                                                                             1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - Other X-Ray)




           Order Entry (Reference W BS 1.1.4) - After Hours Medication                                                                                                                                                                   1.3 CORE - DECISION SUPPORT

1.3.3.43   Provide a list of verbal orders pending validation by on call provider or CD. Remove when validation is documented.                                                                                                           1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - After Hours Medication)




1.3.3.44   Provide a list of verbal orders received by date range with status (reviewed).                                                                                                                                                1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - After Hours Medication)




1.3.3.45   Provide a query of all Non-Formulary Requests by Date Range, Facility, Provider and status.                                                                                                                                   1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - After Hours Medication)




1.3.3.46   Provide a report of all After Hours Orders Requests by Date Range, Facility, Provider and status.                                                                                                                             1.3 CORE - DECISION SUPPORT (Order Entry (Reference WBS 1.1.4) - After Hours Medication)
           Referrals (Reference W BS 1.1.5)                                                                                                                                                                                              1.3 CORE - DECISION SUPPORT

1.3.3.47   Provide a list of all pending patient referrals by facility with status (pending local approval, scheduled, pending medical records, records received, record reviewed, follow up complete)                                   1.3 CORE - DECISION SUPPORT (Referrals (Reference WBS 1.1.5))




1.3.3.48   A list of automatic approvals in accordance with policy by date range with information to review the trends of all referrals.                                                                                                 1.3 CORE - DECISION SUPPORT (Referrals (Reference WBS 1.1.5))




1.3.3.49   Provide a list of all referrals by date range with their status regarding the receipt of medical records.                                                                                                                     1.3 CORE - DECISION SUPPORT (Referrals (Reference WBS 1.1.5))




           Special Operations (Reference W BS 3.4)                                                                                                                                                                                       1.3 CORE - DECISION SUPPORT

1.3.3.49   Provide a list of detainees scheduled for deportation or movement that have been designated by a provider that a medical escort has been indicated.                                                                           1.3 CORE - DECISION SUPPORT (Special Operations (Reference WBS 3.4))




           Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference W BS 1.1.6)                                                                                                                                       1.3 CORE - DECISION SUPPORT

1.3.3.50   Provide a list of open Facility Activities with the ability to sort by Patient, Task Type, Date, Type, Provider, Activity / Task Type                                                                                         1.3 CORE - DECISION SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.3.3.51   Provide a list of all activities completed by status, individual who completed the task, date/time completed and the result (if applicable)                                                                                   1.3 CORE - DECISION SUPPORT (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




           Pill Line (Reference W BS 1.1.7)                                                                                                                                                                                              1.3 CORE - DECISION SUPPORT

1.3.3.52   Allow all queries for pill line is available in offline/remote state to ensure all nurses have access to dispense medications regardless of housing areas.                                                                    1.3 CORE - DECISION SUPPORT (Pill Line (Reference WBS 1.1.7))




1.3.3.53   Provide a list of patients due for pill line administration (Pill Line, Patient, Housing) at a particular time and the medications that are due for administration. The remainder of these requirements can be Tier 2.        1.3 CORE - DECISION SUPPORT (Pill Line (Reference WBS 1.1.7))




1.3.3.54   Incorporate a list of Facility Activities / Tasks that can be can be done during pill line.                                                                                                                                   1.3 CORE - DECISION SUPPORT (Pill Line (Reference WBS 1.1.7))


1.3.3.55   Provide a list of Keep On Person (KOP) Medications to be delivered to the detainees.                                                                                                                                          1.3 CORE - DECISION SUPPORT (Pill Line (Reference WBS 1.1.7))


1.3.3.56   Provide a combined list of all New, Previous and Discontinued prescriptions on pill cart for each pill line.                                                                                                                  1.3 CORE - DECISION SUPPORT (Pill Line (Reference WBS 1.1.7))




1.3.3.57   Pill Line medication administrations due by facility pill line time                                                                                                                                                           1.3 CORE - DECISION SUPPORT (Pill Line (Reference WBS 1.1.7))




1.3.3.58   Pill Line medication administrations that are still due by timeframe excluding medications that have been refused or documented as detainee departed.                                                                         1.3 CORE - DECISION SUPPORT (Pill Line (Reference WBS 1.1.7))




1.3.3.59   KOP due by timeframe excluding medications that have been refused or documented as detainee departed.                                                                                                                         1.3 CORE - DECISION SUPPORT (Pill Line (Reference WBS 1.1.7))




           Sick Call (Reference W BS 1.1.8)                                                                                                                                                                                              1.3 CORE - DECISION SUPPORT

1.3.3.60   Sick call submissions not awaiting fact-to face triage in offline/remote mode.                                                                                                                                                1.3 CORE - DECISION SUPPORT (Sick Call (Reference WBS 1.1.8))




1.3.3.61   Provide a list of detainee sick calls that have not be triaged (date entered, a number, etc.)                                                                                                                                 1.3 CORE - DECISION SUPPORT (Sick Call (Reference WBS 1.1.8))




1.3.3.62   Provided a list of all detainee sick calls with status by date and allow easy access to medical record.                                                                                                                       1.3 CORE - DECISION SUPPORT (Sick Call (Reference WBS 1.1.8))




           Short Stay Unit / Bed Management (Reference W BS 1.1.9)                                                                                                                                                                       1.3 CORE - DECISION SUPPORT

1.3.3.63   Identify available beds for specific services and attributes (IV Therapy, Respiratory Isolation, Handicap Accessibility, Oxygen, Male/Female)                                                                                 1.3 CORE - DECISION SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.3.64   Review all beds (filled or empty) to allow a review of medical records of the individual admitted to the Short Stay Unit bed or to an isolation cell for a medical reason .                                                   1.3 CORE - DECISION SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.3.65   Provide a list of detainees that are hospitalized providing demographics, admission date and the next follow up due.                                                                                                          1.3 CORE - DECISION SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.3.66   Identify an document the availability of services by specialty and document the location, contact information, etc. for each service                                                                                          1.3 CORE - DECISION SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.3.67   Provide list of beds at the facility for use in taking action (admission, deactivation, not-staffed)                                                                                                                          1.3 CORE - DECISION SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.3.68   Provide list of all beds throughout the Division with Status                                                                                                                                                                  1.3 CORE - DECISION SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.3.69   Provide all available beds with Status (filled, observation, admission, discharge pending, out of service, etc).                                                                                                              1.3 CORE - DECISION SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))



1.3.3.70   Provide a list of all Active Admissions, Observations, and Non Medical Use with patient and reason for admission                                                                                                              1.3 CORE - DECISION SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.3.71   Provide a list of detainees with a status on their nursing care plan (created, not created, etc.)                                                                                                                             1.3 CORE - DECISION SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.3.72   Nursing Tasks Required based on nursing care plans and orders for patients in the SSU                                                                                                                                         1.3 CORE - DECISION SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.3.73   A list of objectives in each nursing care plan with a percentage progression (100%)                                                                                                                                           1.3 CORE - DECISION SUPPORT (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




           Transfers (Reference W BS 1.1.10)                                                                                                                                                                                             1.3 CORE - DECISION SUPPORT

1.3.3.74   Provide a list of detainees that are inbound include medical alert status and presence of a full medical record in the ICE EHR system.                                                                                        1.3 CORE - DECISION SUPPORT (Transfers (Reference WBS 1.1.10))




1.3.3.75   Provide a list of detainees transferring by projected departure date/time                                                                                                                                                     1.3 CORE - DECISION SUPPORT (Transfers (Reference WBS 1.1.10))




1.3.3.76   Identify detainees that are inbound that have medical records in the EMR                                                                                                                                                      1.3 CORE - DECISION SUPPORT (Transfers (Reference WBS 1.1.10))




1.3.3.77   Provide a list of all requested transfers with a status of reviewing and answering all questions required for the producing the transfer summary (TB Clearance Needed, Transport Questions Needed, Medications                1.3 CORE - DECISION SUPPORT (Transfers (Reference WBS 1.1.10))
           Pending)




1.3.3.78   Patients requested for transfer by date/time with transfer summary status (Pending, Completed, Medications Filled by Pharmacy, Departed)                                                                                      1.3 CORE - DECISION SUPPORT (Transfers (Reference WBS 1.1.10))




1.3.3.79   Provide a list of transfer summaries completed for use in all required transfer summaries at once.                                                                                                                            1.3 CORE - DECISION SUPPORT (Transfers (Reference WBS 1.1.10))




           Clinic Management and Clinical Oversight (Reference W BS 1.1.11)                                                                                                                                                              1.3 CORE - DECISION SUPPORT

1.3.3.80   Provide a management module for Medical Director to define what actions require co signature (CD, Provider, Nurse, Levels) in addition to national standards. Allow Local Clinical Director to define additional items 1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))
           that require signature
                                                                                                                                                                                                                                                                                                                                                                                      Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 197 of 1402




1.3.3.81      Provide ability to see those items assigned to clinical staff review by levels or individuals                                                                                                                                        1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.3.82      Review all patient in custody with the date of arrival and whether they have scheduled or received annual requirements                                                                                                               1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.3.83      Provide a list of encounters by date by provider for quick review of all encounters                                                                                                                                                  1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.3.84      Provide a list of encounters by date by provider for quick review of all encounters                                                                                                                                                  1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.3.85      Provide a list of encounters that have not been signed by providers by date range                                                                                                                                                    1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.3.86      Provide ability to view all notes by individuals for the purposes of quality assurance.                                                                                                                                              1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.3.87      Provide a list of encounters that ignored recommendations from protocols or criteria established in the system.                                                                                                                      1.3 CORE - DECISION SUPPORT (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




              Credentialing and Privileging (Reference W BS 1.1.12)                                                                                                                                                                                1.3 CORE - DECISION SUPPORT

1.3.3.88      Provide a list of items expiring by date range (by individual, facility, all)                                                                                                                                                        1.3 CORE - DECISION SUPPORT (Credentialing and Privileging (Reference WBS 1.1.12))




              Exchange of medical information with health organizations and partners. (Reference W BS 1.13)                                                                                                                                        1.3 CORE - DECISION SUPPORT


1.3.3.89      List of off site referrals, requests of medical information or other access to previous medical records with a status.                                                                                                               1.3 CORE - DECISION SUPPORT (Exchange of medical information with health organizations and partners. (Reference WBS 1.13))




              Grievances (Reference W BS - 1.1.14)                                                                                                                                                                                                 1.3 CORE - DECISION SUPPORT

1.3.3.90      Provide all current grievances with status                                                                                                                                                                                           1.3 CORE - DECISION SUPPORT (Grievances (Reference WBS - 1.1.14))


1.3.3.91      Provide historical grievances by date range                                                                                                                                                                                          1.3 CORE - DECISION SUPPORT (Grievances (Reference WBS - 1.1.14))


1.3.3.92      All grievances that have not be answered                                                                                                                                                                                             1.3 CORE - DECISION SUPPORT (Grievances (Reference WBS - 1.1.14))


              Family Residential Facilities (Reference W BS 1.1.2)                                                                                                                                                                                 1.3 CORE - DECISION SUPPORT

1.3.3.93      List all immunizations due in a specified date range.                                                                                                                                                                                1.3 CORE - DECISION SUPPORT (Family Residential Facilities (Reference WBS 1.1.2))




              Dental (Reference W BS 1.1)                                                                                                                                                                                                          1.3 CORE - DECISION SUPPORT

1.3.3.94      Provide a list of all dental sick call requests submitted with a status                                                                                                                                                              1.3 CORE - DECISION SUPPORT (Dental (Reference WBS 1.1))



1.3.3.95      List of detainees that will be due for an annual dental evaluation by a projected date range.                                                                                                                                        1.3 CORE - DECISION SUPPORT (Dental (Reference WBS 1.1))




              Mental Health (Reference W BS 1.1.3, 3.3)                                                                                                                                                                                            1.3 CORE - DECISION SUPPORT

1.3.3.96      Patients with mental health diagnosis by date range.                                                                                                                                                                                 1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.3.97      Patients on (or history of ) psychotropic meds - include the ability to identify patients that are reporting they were or are on medication                                                                                          1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.3.98      Number of forensic evaluations including dates and provider names                                                                                                                                                                    1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.3.99      Patients currently hospitalized in acute setting (Hospital, Short Stay Unit) along with diagnosis                                                                                                                                    1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.3.100     Patients currently hospitalized in acute setting (Hospital, Short Stay Unit) along with diagnosis                                                                                                                                    1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.3.101     Patients currently hospitalized in a long-term setting (e.g. Columbia Care)                                                                                                                                                          1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.3.102     Patients currently hospitalized in a long-term setting (e.g. Columbia Care) - Fields included: Date of Arrival, Origin                                                                                                               1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.3.103     Provide a list of patients with mental health diagnoses that are treat with mental health services                                                                                                                                   1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.3.104     Provide a list of patients with mental health diagnoses that are not treated with mental health services                                                                                                                             1.3 CORE - DECISION SUPPORT (Mental Health (Reference WBS 1.1.3, 3.3))




              Pharmacy / Pharmacology (Reference W BS 1.2)                                                                                                                                                                                         1.3 CORE - DECISION SUPPORT

1.3.3.105     Non-formulary usage over user defined time by drug, provider, facility, etc.                                                                                                                                                         1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))
1.3.3.106     All patients with allergies                                                                                                                                                                                                          1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.3.107     All patients in custody on medications by patient, drug, or medication category                                                                                                                                                      1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.3.108     Historical patient medications by patient, drug, medication category                                                                                                                                                                 1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.3.109     Expiring medication orders by user defined date or date range                                                                                                                                                                        1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.3.110     Refill DUE -- Sorted by date/time as specified by prescription. Must be able to include or exclude by GPI code/class. (allows users to refill only maintenance meds by excluding GPIs of NSAIDs, GI stimulants, etc.) 1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.3.111     All medications given after hours from after without medication reconciliation still pending.                                                                                                                                        1.3 CORE - DECISION SUPPORT (Pharmacy / Pharmacology (Reference WBS 1.2))




              Epidemiology (References - W BS 1.1.3, 3.8)                                                                                                                                                                                          1.3 CORE - DECISION SUPPORT

1.3.3.112     IGSA TB Case Provide a report and International Referral Provide a list - Query that displays all detainees that were placed in the TB surveillance group by any member with a status on the additional information                  1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))
              required for TB surveillance form. Query to include patient identifier, and including all book-in and book-out dates for each facility in his detention history.




1.3.3.113     TB Case Management Provide a listing– of patients in the TB surveillance group (TB patients and TB suspects) and in custody, including all book-in and book-out dates for each facility, case status and specified                   1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))
              demographic, diagnostic, and case management fields (e.g., medical hold status, coordinated removal (meet & greet) arrangement status that require monitoring at the local level).




1.3.3.114     Case Management Field Summary - Query that provides case management fields that are required for each infections disease for HQ monitoring.                                                                                          1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.3.115     Provide a list of detainees with Provide a reportable illnesses diagnoses (by date range) with their status on whether they are included in an appropriate Infectious disease group.                                                 1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))



1.3.3.116     A list of detainees in a Provide a reportable Illness group at any time. Will be accessible by Epidemiology for all sites and Infection Control Officers and Managers by their own site.                                             1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))



1.3.3.117     A list of detainees currently placed in an infectious disease group that require additional information be entered by field or HQ staff. Provide date added to group, individual adding to group (auto per diagnosis if              1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))
              added automatically, etc)



1.3.3.118     Summary of TB patients (diagnosed and referrals on treatment) deported or released by specified date range- Query that displays TB patients who were deported during a specified date range by case status and                       1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))
              critical demographic, diagnostic, and case management information, and including all book-in and book-out dates for each facility.




1.3.3.119     Quarterly TB Case Summary (listing individual patients) - Query to produce Quarterly TB Provide a reports by facility or lists all facilities by specified data fields and date range, and including all book-in and book-out 1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))
              dates for each facility.




1.3.3.120     TB Stay of Removal Query - Query that lists TB patients with stays of removal by case status and case management information for monitoring and tracking, and including all book-in and book-out dates for each                      1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))
              facility.




1.3.3.121     Monthly, Quarterly, Annual TB Provide a report by Facility –HQ Query that displays patients with reported infectious diseases by facility, by condition, and specified date range.                                                   1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.3.122     Provide a reportable infectious disease report – Query that displays patients with reportable infectious diseases by facility, by condition, key demographic and diagnostic fields and specified date.                               1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.3.123     Other detailed infectious diseases surveillance (we are considering incorporating other national infectious disease reporting tools if this will save staff time in completing case report forms for submission to local or 1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))
              state health departments).




1.3.3.124     Provide a list of detainees that have arrived with a history of a reportable infectious disease                                                                                                                                      1.3 CORE - DECISION SUPPORT (Epidemiology (References - WBS 1.1.3, 3.8))




              Special Operations (Reference W BS 3.4)                                                                                                                                                                                              1.3 CORE - DECISION SUPPORT

1.3.3.125     Provide a list of detainees identified by providers as needing medical escort for transport                                                                                                                                          1.3 CORE - DECISION SUPPORT (Special Operations (Reference WBS 3.4))




1.3.3.126     Provide a list of detainees that have been scheduled for travel (per Enforce) and require medical escort                                                                                                                             1.3 CORE - DECISION SUPPORT (Special Operations (Reference WBS 3.4))




              Mental Health Services (Reference W BS 3.3.2)                                                                                                                                                                                        1.3 CORE - DECISION SUPPORT

1.3.3.127     Provide a list of detainees that have been identified to be managed by Social Services                                                                                                                                               1.3 CORE - DECISION SUPPORT (Mental Health Services (Reference WBS 3.3.2))




1.3.3.128     Provide a list of detainees and a status of their availability of healthcare (pending, complete, offsite)                                                                                                                            1.3 CORE - DECISION SUPPORT (Mental Health Services (Reference WBS 3.3.2))




1.3.3.129     Provide a list of detainees that have mental health conditions, a high severity level and have been in custody beyond a specified number days for use in evaluating patients that could be candidates for special release.           1.3 CORE - DECISION SUPPORT (Mental Health Services (Reference WBS 3.3.2))




1.3.3.130     Provide a list of detainees (by facility) with mental health indications (positive active or history of mental health conditions identified, provisional or confirmed mental health diagnoses) with the ability to filter based on   1.3 CORE - DECISION SUPPORT (Mental Health Services (Reference WBS 3.3.2))
              whether or not the individual is on Psychotropic medications.




              Performance Improvement (Reference W BS 3.7)                                                                                                                                                                                         1.3 CORE - DECISION SUPPORT

1.3.3.131     Provide a list of patients that did not meet the requirements set forth in the Performance Based National Detention Standards (Intake Screening within 12 hours, Physical within 14 days, Sick Call within the standard              1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))
              ACA required response times).




1.3.3.132     Provide a list of all required reviews of Medical Performance Indicators (Chronic Care Compliance, Health Record, Physical Exam, Short Stay Unit) by quarter and facility with a status.                                             1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))



1.3.3.133     Provide a list of required medical reviews of Pharmacy Performance Indicators (Asthma Management, Coumadin Management, Diabetes Management, Psychotropic Management) with a status by quarter by facility. 1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))




1.3.3.134     Provide a list of required medical record reviews of Short Stay Unit Performance Indicators (Diagnosis Documented for each admission, Nursing Care Plans Developed) by status by quarter by facility                                 1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))




1.3.3.135     Provide a list of on Incident Reports submitted regarding Medication Errors by field sites by quarter, by facility.                                                                                                                  1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))




1.3.3.136     Provide a list of Facility Activities / Tasks with Type (sharps check, Airborne Isolation Check, Equipment Checks, man down drill and fire drill) with appropriate outcome related to environment of care and sharps                 1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))
              control by status compliance rate of facilities in meeting the man down, fire and emergency drills.




1.3.3.137     Provide a list of TB continuity of care Facility Activities / Tasks (initial reporting, sputum results, culture results) with status by facility.                                                                                    1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))




1.3.3.138     Provide a list of infectious disease reporting Facility Activities / Tasks (initial reporting, required value entry) with a status by facility.                                                                                      1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))




1.3.3.139     Provide a list of all Facility Activities / Tasks (Hunger Strike Monitoring, Suicide Monitoring, and Patient Grievances) with a status by facility                                                                                   1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))




1.3.3.140     Provide a list of encounters where an individual did not document patient education (Intake Screening, Physical Exam, Encounters/Clinic Visit, Medication/Pharmacy/Pill Line).                                                       1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))




1.3.3.141     Provide a list of Incident Reports submitted regarding medication errors                                                                                                                                                             1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))




1.3.3.142     Provide a list of detainees that are candidates for a specific record reviews based on the standards within the Performance Improvement Program.                                                                                     1.3 CORE - DECISION SUPPORT (Performance Improvement (Reference WBS 3.7))




              Tele-Radiology (W BS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2)                                                                                                                                  1.3 CORE - DECISION SUPPORT


1.3.3.143     Patient listing of all patients requiring x-rays by date/time. Query includes status of X-Ray (Transmitted to X-Ray System, x-ray captured, result received, individual completing the x-ray, time completed, etc) and               1.3 CORE - DECISION SUPPORT (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))
              screening (pending or complete with user that completed). Allow users to modify the parameters to determine which workload is most critical and complete that task.




1.3.3.144     Query of patients with x rays taken but no report received (time aged relative to 4 hour contractual window)                                                                                                                         1.3 CORE - DECISION SUPPORT (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.3.145     Provide a list of detainees by day that have had chest x-ray results completed (Name, a-number, date completed, provider) with status (pending, Received).                                                                           1.3 CORE - DECISION SUPPORT (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




              Tele-Health (W BS References - Scheduling, 1.1.2, Encounters 1.1.3, TeleHealth 2.2.3)                                                                                                                                                1.3 CORE - DECISION SUPPORT

1.3.3.146     Provide a list of TeleHealth encounters with status (requested, pending, scheduled, complete)                                                                                                                                        1.3 CORE - DECISION SUPPORT ( Tele-Health (WBS References - Scheduling, 1.1.2, Encounters 1.1.3, TeleHealth 2.2.3))
1.3.3.147     Provide a list of tele-health appointments with status (pending approval, approved, scheduled, complete, missed, etc) by facility and indicating whether the decision was off-site or IGSA provider.                                 1.3 CORE - DECISION SUPPORT ( Tele-Health (WBS References - Scheduling, 1.1.2, Encounters 1.1.3, TeleHealth 2.2.3))

1.3.3.148     Provide a list of all Tele-Health appointment requests that have been approved for off-site scheduling for action by the person responsible for scheduling TeleHealth appointments.                                                  1.3 CORE - DECISION SUPPORT ( Tele-Health (WBS References - Scheduling, 1.1.2, Encounters 1.1.3, TeleHealth 2.2.3))

1.3.3.149     Provide a list of TeleHealth encounters with status (requested, pending, scheduled, complete)                                                                                                                                        1.3 CORE - DECISION SUPPORT ( Tele-Health (WBS References - Scheduling, 1.1.2, Encounters 1.1.3, TeleHealth 2.2.3))
1.3.4         Alerts                                                                                                                                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

GR.1.3.4      General Alert Requirements                                                                                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (General Alert Requirements)




GR.1.3.4.1    Provide capability to provide alerts to users and groups based on specified criteria where the alerts are filtered based on the criteria.                                                                                            1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (General Alert Requirements)




GR.1.3.4.2    Provide the ability to for a facilities to identify individuals that will receive the alert in addition to those established in the specified criteria.                                                                              1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (General Alert Requirements)




GR.1.3.4.3    Ensure there are multiple levels of alerts to be determined by Local Leadership, HQ, Compliance and Health Policy                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (General Alert Requirements)




GR.1.3.4.4    Provide a management console for HQ and Local staff to establish, remove or change parameters of each alert.                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (General Alert Requirements)




GR.1.3.4.5    Provide the ability to track the acknowledgement of each alert or multiple alerts by user.                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (General Alert Requirements)




GR.1.3.4.6    Provide the ability to define which alerts require acknowledgement.                                                                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (General Alert Requirements)




GR.1.3.4.7    Provide the ability to create an alert on demand (manually created or after review of another alert).                                                                                                                                1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (General Alert Requirements)




GR.1.3.4.8    Ability to create Facility and Division wide alerts to be acknowledged by a single staff type tracking the acknowledgement.                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (General Alert Requirements)
GR.1.3.4.9    Provide the ability to present all active and historical alerts on a specific patient to any user accessing the medical record.                                                                                                      1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (General Alert Requirements)




GR.1.3.4.10   Provide the ability to apply to apply alerts manually to a specified group of detainees meeting a certain criteria.                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (General Alert Requirements)




GR.1.3.4.11   Provide the ability to define alerts that trigger multiple alerts and varying severity levels as a due date for a specific action draws near.                                                                                        1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (General Alert Requirements)




GR.1.3.4.12   Track and make clear to user the authority who created the alert and the purpose of each alert .                                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (General Alert Requirements)
                                                                                                                                                                                                                                                                                                                                                                                                           Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 198 of 1402




GR.1.3.4.13   Provide the ability to create alerts based on any field that is available in the system to include but not limited to: demographic information, detainee information, intake screening assessments, additional assessments   1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (General Alert Requirements)
              in the system, selection of specific or groups of diagnoses (medical, dental, mental health), individuals or groups of Nursing (NANDA) diagnoses, detainee status (transfers, number of days date of arrival, number
              of days since last mental health appointment), individual or groups of medications, pregnancy status or history of various critical activities (hunger strike, suicide risks, suicide attempts).




              Clinic Management and Clinical Oversight (Reference W BS 1.1.11)                                                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.1       Alert when a suicide watch or hunger strike is initiated and terminated.                                                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.4.2       Alert to providers when there is a note that has not been signed within 6 hours after the encounter.                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.4.3       Alert when notes have not been signed 1 hour after an individual completes the shift.                                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.4.4       A detainee is identified during intake screening, patient encounters or other information is documented that forces the detainee to meet the criteria for a significant detainee illness                                     1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.4.5       Alert nurse to complete pain scale assessment when there is any indication of pain.                                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




              Accept Detainee into the Medical Facility / Intake Screening (Reference W BS 1.1.1)                                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.5       Alert user the that a detainee arrived with an approved referral that was cancelled, not scheduled, etc.                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.4.6       Alert when detainee screening and x-ray not completed within a specified number of hours after capture.                                                                                                                      1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.4.7       Provide an alert when result other than Normal comes back from the TB Screening.                                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.4.8       A detainee receives an overread result that changes the original TB Clearance                                                                                                                                                1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.4.9       A detainee comes in on a non-formulary medication that is extended.                                                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




              Scheduling (Reference W BS 1.1.2)                                                                                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.10      Alert when an appointment is in the pending queue for greater than a specified amount of time.                                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Scheduling (Reference WBS 1.1.2))




1.3.4.11      Alert when a schedule change causes an original appointment to be sent to the scheduler queue with less than a specified number of days for scheduling.                                                                      1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Scheduling (Reference WBS 1.1.2))




1.3.4.12      Provides an alert when the appointment quantities for a specified day (weekend/holiday vs. weekday) are beyond the number of available appointments by a specified percentage.                                               1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Scheduling (Reference WBS 1.1.2))




1.3.4.13      Provides an alert to all providers that a detainee at intake has been designated as an immediate referral.                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Scheduling (Reference WBS 1.1.2))




1.3.4.14      If selected as a part of the provider preference, alert when an appointment scheduled for the next or following day is changed or removed.                                                                                   1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Scheduling (Reference WBS 1.1.2))




1.3.4.15      Alert provider if selected as part of provider preferences, when an appointment is added to a schedule for the following day.                                                                                                1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Scheduling (Reference WBS 1.1.2))




              Encounters (Reference W BS 1.1.3)                                                                                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.16      Alert clinic leadership and scheduler manager that an appointment was not completed the day it was scheduled                                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Encounters (Reference WBS 1.1.3))




1.3.4.17      Alert scheduler if physical appointment is scheduled beyond 14 days.                                                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Encounters (Reference WBS 1.1.3))




              Order Entry (Reference W BS 1.1.4) - Special Needs                                                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.18      Alert provider that a special need is about to expire. Provider will schedule follow up appointment or extend special need.                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Special Needs)




              Order Entry (Reference W BS 1.1.4) - Suicide W atch/Observation                                                                                                                                                              1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.19      Alert when a Suicide Watch was ordered.                                                                                                                                                                                      1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Suicide Watch/Observation)




1.3.4.20      Alert if suicide watch rounds (Facility Activities / Tasks) are not documented within specified timeframe.                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Suicide Watch/Observation)




              Order Entry (Reference W BS 1.1.4) - Special Monitoring                                                                                                                                                                      1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.21      Alert when a special monitoring Facility Activities / Task remains incomplete when beyond time limits of original order (Critical Order- Immediate, Non-Critical - longer acceptable timeframe).                             1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Special Monitoring)




              Order Entry (Reference W BS 1.1.4) - Medications                                                                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.22      Alert when controlled substance is confiscated at intake screening                                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Medications)




1.3.4.23      Alert provider when a detainee does not receive a critical medication.                                                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Medications)




1.3.4.24      Medical Alert - (Medical, Psychological, Other) / Medical Escort Status (Required, Not Required)                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Medications)




1.3.4.25      Alert when a detainee is deemed to require a medical escort as a part of a medical alert.                                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Medications)




              Order Entry (Reference W BS 1.1.4) - Medical Holds                                                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.26      Alert that a medical hold was initiated on a detainee in custody.                                                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Medical Holds)




1.3.4.27      A protocol based order was completed                                                                                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Medical Holds)




1.3.4.28      Alert all staff that a new protocol based order has been entered by HQ or the local facility.                                                                                                                                1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Medical Holds)




              Order Entry (Reference W BS 1.1.4) - Lab Orders                                                                                                                                                                              1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.29      Alert when a lab specimen is within a specified number of minutes beyond the timeframe the lab specimen is due.                                                                                                              1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Medical Holds)




1.3.4.30      Notify provider and nurses that a specimen was not received within specified number of hours                                                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Medical Holds)




1.3.4.31      A critical lab value is received.                                                                                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Medical Holds)




              Order Entry (Reference W BS 1.1.4) - Chest X-Ray                                                                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.32      Alert when there are Facility activities / tasks to that are beyond their scheduled time per specifics of the provider order.                                                                                                1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Chest X-Ray)




              Order Entry (Reference W BS 1.1.4) - Facility Activities / Tasks (All Above Orders and nursing practice guidelines)                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.4 Alerts


1.3.4.33      Alert all nursing staff that a critical item has extended beyond the time due.                                                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Facility Activities / Tasks (All Above Orders and nursing practice guidelines))




              Order Entry (Reference W BS 1.1.4) - Other X-Ray                                                                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.34      Alert ordering provider when an off-site X-Ray referral was approved, completed and a result is received.                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Other X-Ray)




              Order Entry (Reference W BS 1.1.4) - Verbal Orders                                                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.35      Alert when a verbal order is received and entered.                                                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Verbal Orders)




              Order Entry (Reference W BS 1.1.4) - Referrals                                                                                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.36      Alert when a detainee sent to the hospital did not return within a specified number hours.                                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Referrals)




1.3.4.37      Alert staff when a referral/ referral remains at a unchanged after specified amount of time. Times will vary based on category, type, status and facility.                                                                   1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Referrals)
1.3.4.38      A medical record has not been obtained after a specified number of days following an appointment.                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Order Entry (Reference WBS 1.1.4) - Referrals)




              Referrals (Reference W BS 1.1.5)                                                                                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.39      Alert when an appointment is not within specified number of days after CD approval                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Referrals (Reference WBS 1.1.5))




1.3.4.40      Alert when an SSU bed is reserved for a patient arriving at the facility (from a hospitalization or another facility).                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Referrals (Reference WBS 1.1.5))




1.3.4.41      Alert medical records when a medical record is not obtained after a specified number of days after discharge.                                                                                                                1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Referrals (Reference WBS 1.1.5))




1.3.4.42      Detainee Death is documented in the system.                                                                                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Referrals (Reference WBS 1.1.5))




1.3.4.43      Outbreak notification (Varicella).                                                                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Referrals (Reference WBS 1.1.5))




1.3.4.44      Notification when there is a change in the bed status.                                                                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Referrals (Reference WBS 1.1.5))




1.3.4.45      Notification that a detainee with an approved referral has an appointment date that was missed.                                                                                                                              1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Referrals (Reference WBS 1.1.5))




1.3.4.46      Alert when a detainee does not arrive after an SSU bed was reserved for them                                                                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Referrals (Reference WBS 1.1.5))




              Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference W BS 1.1.6)                                                                                                                                      1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.47      A Facility Activity / Task is not complete within the specified time schedule per the critical order                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.3.4.48      A Facility Activity / Task Alert is sent out and a specified amount of time occurs without completion                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.3.4.49      A Facility Activity / Task remains undone after a specified amount of time after.                                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




              Pill Line (Reference W BS 1.1.7)                                                                                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.50      Provide an alert if there is a is a medication not given for a critical medication.                                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Pill Line (Reference WBS 1.1.7))




1.3.4.51      Alert when a detainee does not receive a critical medication within the time limits set forth in the of a order.                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Pill Line (Reference WBS 1.1.7))




1.3.4.52      Alert when a provider changes an order that has a pill line distribution offline/remote and proceeding with reimbursement.                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Pill Line (Reference WBS 1.1.7))




1.3.4.53      If BCMA is in operation, alert the nurse completing the pill line when an individual scans a medication that is not due to the patient scanned.                                                                              1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Pill Line (Reference WBS 1.1.7))
1.3.4.54      Alert the nurse completing the pill line if there is a medication this is still due for the previous detainee at the time the next detainee is scanned.                                                                      1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Pill Line (Reference WBS 1.1.7))




1.3.4.55      Alert the nurse completing the pill line when a medication is scanned for administration and requires an entry of a value (blood sugar, blood pressure, etc) at the time of medication administration.                       1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Pill Line (Reference WBS 1.1.7))




1.3.4.56      Nurse completing medication pass that a previous medication was missed.                                                                                                                                                      1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Pill Line (Reference WBS 1.1.7))




1.3.4.57      Prevent dispensing excess quantities of patient-specific drugs and/or diversion of supplies.                                                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Pill Line (Reference WBS 1.1.7))




1.3.4.58      A medication requested already dispensed; requires override with written rationale, can only dispense one dose without second person validation, more than one dose requires second person validation and this               1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Pill Line (Reference WBS 1.1.7))
              person must also provide written rationale for override.




1.3.4.59      Provide the ability to prompt provider to validate allergies at the time of any medication order.                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Pill Line (Reference WBS 1.1.7))




              Sick Call (Reference W BS 1.1.8)                                                                                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.60      Alert when a sick call slip does not have a resolution within a specified number of hours.                                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Sick Call (Reference WBS 1.1.8))




1.3.4.61      For sites that complete remote sick call, alert when a sick call referred from a nurse will expire (48 Hours if weekdays, 72 hours if weekend is included)                                                                   1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Sick Call (Reference WBS 1.1.8))




              Short Stay Unit / Bed Management (Reference W BS 1.1.9)                                                                                                                                                                      1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.62      Alert providers when a detainee is on observation remains beyond 24 hours                                                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




              Transfers (Reference W BS 1.1.10)                                                                                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.63      Alert when a set of transfer requests are submitted by ICE through Enforce interface.                                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Transfers (Reference WBS 1.1.10))




1.3.4.64      Alert when a transfer is not completed within a specified number of minutes before the projected time of departure.                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Transfers (Reference WBS 1.1.10))




              Clinic Management and Clinical Oversight (Reference W BS 1.1.11)                                                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.65      Alert the local providers when HQ changes the list items requiring co signature by CD or appointee.                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.4.66      Alert when there are unsigned notes at the end of the day (midnight)                                                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.4.67      Alert HSA and CD when there is an adjustment to night cart stock or pharmacy stock                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.4.68      Alert HSA and CD when there are scheduled encounters that were not completed or rescheduled while maintaining compliance.                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.4.69      Alert HSA and CD when at the specified time of day (afternoon) when an encounter will break the standards for at midnight the same day.                                                                                      1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.4.70      Alert when a Critical Medication is missed                                                                                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




              Credentialing and Privileging (Reference W BS 1.1.12)                                                                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.4 Alerts
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1.3.4.71     Alert individual when required item is set to expire at specified dates.                                                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Credentialing and Privileging (Reference WBS 1.1.12))




             Exchange of medical information with health organizations and partners. (Reference W BS 1.13)                                                                                                                              1.3 CORE - DECISION SUPPORT 1.3.4 Alerts


1.3.4.72     Notice when a request for medical information is not responded to within a specified amount of number of days.                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Exchange of medical information with health organizations and partners. (Reference WBS 1.13))
             Grievances (Reference W BS - 1.1.14)                                                                                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.73     A grievance is not in compliance with submission criteria.                                                                                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Grievances (Reference WBS - 1.1.14))




             Family Residential Facilities (Reference W BS 1.1.2)                                                                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.74     Alert after a specified number of days after a detainee becomes non-compliant with vaccination requirements.                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Family Residential Facilities (Reference WBS 1.1.2))




             Dental (Reference W BS 1.1)                                                                                                                                                                                                1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.75     Alert when a dental sick call does not have an appropriate disposition within a specified amount of time.                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Dental (Reference WBS 1.1))




1.3.4.76     Alert when a detainee is in custody does not have a scheduled dental exam prior to a specified number of 30 days before their 12th month.                                                                                  1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Dental (Reference WBS 1.1))




1.3.4.77     Alert when a referral is submitted for a dental condition.                                                                                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Dental (Reference WBS 1.1))




1.3.4.78     A detainee arrives with previous dental history documented within the EHR                                                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Dental (Reference WBS 1.1))




             Mental Health (Reference W BS 1.1.3, 3.3)                                                                                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.79     A patient that is diagnosed with a active mental health diagnosis that does not have a scheduled follow-up. Allow Chief Mental Health confirm OK and discontinue alert.                                                    1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.4.80     Alert when request is made for Forensic evaluation                                                                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.4.81     Alert HQ Mental Health Staff when a Forensic evaluation and is completed.                                                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.4.82     Alert individual covering for facility that a new mental health diagnosis was entered.                                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.4.83     Alert when psychotropic medications are prescribed.                                                                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.4.84     An intake screening has abnormal responses to mental health questions, provide an alert to prompt a mental health provider to review the screening.                                                                        1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.4.85     When any suicidal ideation is identified or suicide watch is initiated,                                                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.4.86     Alert when mental health referral has not been scheduled after 24 hours (business days only)                                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.4.87     Alert when a detainee with a mental health condition departs the facility                                                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.4.88     A referral is made within the facility – There is a mental health referral in the scheduler queue.                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.4.89     A detainee is identified during intake screening, patient encounters or other information is documented that forces the detainee to meet the criteria for a significant detainee illness and the detainee has a previous   1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Mental Health (Reference WBS 1.1.3, 3.3))
             mental health diagnosis or positive responses to mental health screening questions




1.3.4.90     A user enters a diagnosis that different than a previous DSM-IV diagnosis entered for the same detainee, provide warning to provider before moving on.                                                                     1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Mental Health (Reference WBS 1.1.3, 3.3))




             Pharmacy / Pharmacology (Reference W BS 1.2)                                                                                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.91     Alert to when blood thinning or anticoagulation therapy is active based on GPI Code and Formulary Management Module                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.4.92     Alert as specified by facility to notify specified providers by GPI code.                                                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.4.93     Alert/notify Pharmacist and MD based on Formulary Management Module when a Co signature is required.                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.4.94     Alert provider and pharmacist when Non-Formulary Request is approved                                                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.4.95     A provider that is not the Clinical Director orders a controlled medication                                                                                                                                                1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.4.96     A provider that is not the Clinical Director orders a medication.                                                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Pharmacy / Pharmacology (Reference WBS 1.2))




             Epidemiology (References - W BS 1.1.3, 3.8)                                                                                                                                                                                1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.97     Alert when a detainees TB culture result is not obtained by a specified timeframe.                                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.4.98     Alert when a detainee being monitored as a infectious disease monitoring group is moved between facilities                                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.4.99     Alert when a detainee being monitored as a infectious disease monitoring group is Deported or Released.                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.4.100    Alert epidemiology when a detainee with a history of being of an infectious disease monitoring group returns to custody.                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Epidemiology (References - WBS 1.1.3, 3.8))
1.3.4.101    Alert epidemiology when a detainee with a history of being of an infectious disease monitoring group returns to custody.                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Epidemiology (References - WBS 1.1.3, 3.8))



1.3.4.102    Alert epidemiology when a Payment Authorization Request is submitted for Hospitalization or Emergency and the individual is an a surveillance group.                                                                       1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.4.103    Alert epidemiology when a detainee part of a monitoring group received updated lab values that are identified as pertinent to TB Case Management.                                                                          1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.4.104    Alert Provider, Infection Control Officer and an Epidemiology staff if value is entered related to TB related lab values.                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.4.105    Alert Provider, Clinical Director, Infection Control Officer and an Epidemiology when a new reportable disease case is added.                                                                                              1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.4.106    Alert the infection Control Officer, HSA and CD when a specific amount of time has transpired since a reportable infectious disease was identified and the required additional information is not entered.                 1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.4.107    Alert the Infection Control Officer, HSA and CD when a detainee with a reportable infectious disease enters the facility.                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Epidemiology (References - WBS 1.1.3, 3.8))




             Special Operations (Reference W BS 3.4)                                                                                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.108    A detainee validated by special operations to require a medical escort is not assigned to the escort within a specified number of hours prior to the scheduled departure.                                                  1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Special Operations (Reference WBS 3.4))




1.3.4.109    A detainee is detainee is designated to require a medical alert after the individual is schedule to depart.                                                                                                                1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Special Operations (Reference WBS 3.4))




             Mental Health Services (Reference W BS 3.3.2)                                                                                                                                                                              1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.110    A detainee that was previously designated as a POCR Case is no longer eligible for the alternatives to detention program.                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Mental Health Services (Reference WBS 3.3.2))




1.3.4.111    For Patients identified under the purview of the Social Services Offices, Notify Social Services their status changes (moved, deported, etc.)                                                                              1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Mental Health Services (Reference WBS 3.3.2))




             Performance Improvement (Reference W BS 3.7)                                                                                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.112    Alert a facility has completed the required chart reviews.                                                                                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Performance Improvement (Reference WBS 3.7))




1.3.4.113    Alert when a Facility is within a specified number of days prior the due date.                                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Performance Improvement (Reference WBS 3.7))




1.3.4.114    Alert when a facility does not have their medical record reviews complete and the due date has passed.                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Performance Improvement (Reference WBS 3.7))




1.3.4.115    Alert when range of values at a specific facility are outside of a specific range of the established performance standards.                                                                                                1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Performance Improvement (Reference WBS 3.7))




1.3.4.116    An incident report occurs with an outcome of Significant Injury or Effect                                                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Performance Improvement (Reference WBS 3.7))




1.3.4.117    An incident report occurs with an outcome of Death or Loss of Function                                                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Performance Improvement (Reference WBS 3.7))




             Tele-Radiology (W BS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2)                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.4 Alerts


1.3.4.118    a chest X-Ray result is not received within 4 hours of transmission.                                                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.4.119    Alert to all facility staff when an X-Ray comes back as TB Suspect                                                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.4.120    Alert staff when X-ray has not been taken within a specified number of hours of arrival                                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.4.121    Notify when TB Suspect Screening Result is received                                                                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.4.122    TB Suspect Screening Results - any others designated to receive notice when a TB Suspect X-Ray result arrives and no respiratory isolation is available.                                                                   1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.4.123    Alert that patient identifier is updated ENFORCE/EARM not functioning or inputting data to Tele-Radiology                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.4.124    Alert to Safety/PI officer receive notification of retakes                                                                                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




             Tele-Health (W BS References - Scheduling, 1.1.2, Encounters 1.1.3, TeleHealth 2.2.3)                                                                                                                                      1.3 CORE - DECISION SUPPORT 1.3.4 Alerts

1.3.4.125    A TeleHealth appointment has not been confirmed a specified number of minutes prior to the appointment.                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Tele-Health (WBS References - Scheduling, 1.1.2, Encounters 1.1.3, TeleHealth 2.2.3))




1.3.4.126    A TeleHealth appointment was not used by a specified number of days prior to the date.                                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Tele-Health (WBS References - Scheduling, 1.1.2, Encounters 1.1.3, TeleHealth 2.2.3))




1.3.4.127    An appointment is available on the schedule of a IGSA provider.                                                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.4 Alerts (Tele-Health (WBS References - Scheduling, 1.1.2, Encounters 1.1.3, TeleHealth 2.2.3))




1.3.5        W orkflow                                                                                                                                                                                                                  1.3 CORE - DECISION SUPPORT

GR 1.3.5     General W orkflow Requirements                                                                                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


GR.1.3.5.1   Provide capability support workflow to ensure all tasks (auto generated or manual) are completed by staff                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (General Workflow Requirements)




GR.1.3.5.2   Tracks the completion of items generated in workflow to include the ability to document completion of multiple tasks at the same time.                                                                                     1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (General Workflow Requirements)




GR.1.3.5.3   Ability to separate tasks by functional tasks and subtasks (Special Monitoring, Blood Pressure, Blood Sugar Checks, CLIA Waived Tests , Lab Draws, SSU Tasks) - (Scheduling Process - New Appointment                      1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (General Workflow Requirements)
             Request, Scheduling conflicts, Schedule Changes, etc)




GR.1.3.5.4   Develop a process of prioritizing each task by type or subtype.                                                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (General Workflow Requirements)




GR.1.3.5.5   Ability to modify the recipients of workflow based on local processes of assignment of tasks and optimal staff utilization                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (General Workflow Requirements)




             Clinic Support W BS 1.2                                                                                                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.1      An individual is issued a medication and not all detainees have a wrist band to support bar code medication administration.                                                                                                1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Clinic Support WBS 1.2)


1.3.5.2      A medication order that was identified as KOP is changed to Pill Line                                                                                                                                                      1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Clinic Support WBS 1.2)


             Accept Detainee into the Medical Facility / Intake Screening (Reference W BS 1.1.1)                                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.3      A detainee is slated to arrive from a facility that has a recent Short Stay Unit visit or is designated as a severe condition (infectious disease, heart condition, unstable diabetic).                                    1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.4      Anticipated detainee does not arrive after a specified amount of time.                                                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.5      A detainee is booked in by ICE or USM at an EHR facility                                                                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.6      An Enforce or Sentry arrival entry was entered prior medical screening.                                                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.7      A detainee is designated by ICE in Enforce to be on site less than 12 hours (room and board or other designated).                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.8      An I-794 is already complete within a specified amount of days/time, Nurse documents that the I-794 was reviewed and provides a copy to medical records.                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.9      No I-794 is available electronically or in a scanned version completed by ICE.                                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.10     A determination is made that an individual does not require an I-794 due to length of stay or other issue. (Based on process, a facility can permanently eliminate the need for completion of I-794)                       1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.11     A detainee that was designated by ICE to be on site less than 12 hours stays beyond 10 hours or is re-designated by ICE.                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.12     A detainee arrives at a facility prior to ICE processing in Enforce.                                                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.13     A nurse reviews the list of arrivals and identify detainees without TB screening.                                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.14     If entering PPD Planted (at non-Tele-Radiology sites)                                                                                                                                                                      1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))
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1.3.5.15   Nurse captures X-Ray and sends for read.                                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.16   Nurse completes intake screening when X-Ray results has already been received.                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.17   X-Ray received after screening is complete                                                                                                                                      1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.18   A result is received electronically from the Tele-Radiology system that indicates TB Suspect.                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.19   Abnormal X-Ray (Not TB Suspect) result is received                                                                                                                              1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.20   A X-Ray Image is captured and reviewed by a radiologist and it is determined to require a retake.                                                                               1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.21   A retake is required that is related to a image capture at the local site.                                                                                                      1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.22   A notification is received changing the original result overhead by the attending provider with a different result.                                                             1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.23   ICE or BOP merges two separate detainee records into one.                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.24   Upon a merge action in the ICE or BOP custody system medical information is present in both records to be merged.                                                               1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.25   A merge that was validated by medical staffed was determined to be in error.                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.26   Medical Record Information is added, modified or deleted from a medical record that may have impacted the assessment of medical information by the healthcare staff member.     1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.27   A detainee arrives at the facility with medication history or medications on official documentation.                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.28   Nurse completes entry of all medications.                                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.29   Provider approves medication and prescribes medication                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.30   Detainee arrives with a history or documented medication when a provider is on site.                                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.31   Provider not available and verbal order is obtained                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.32   The medication that was prescribed during intake screening is Non-Formulary.                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.33   A detainee is determined to be on a medication that the detainee does not have on hand (none in property/in transfer possession) but is available in the nursing night stock.   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.34   Item on hand and is continued through a medication order is listed as DEA scheduled item by AHFS                                                                                1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.35   Nurse enters information on DEA Items as indicated on the MML                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.36   Shift Change Occurs after DEA items are received.                                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.37   Non-formulary request is disapproved                                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.38   The disposition of an intake screening is General Population with referral to medical care                                                                                      1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.39   The disposition of an intake screening is an Immediate Referral                                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.40   Provider reviews the detainee chart and determines the detainee can wait and transitions (optional)                                                                             1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.41   Protocol requires Isolation (example: Positive CXR, H1H1 Suspect)                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.42   Verbal Order for Admission to SSU or segregation for a medical reason is obtained                                                                                               1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.43   An individual is placed in segregation for a non-medical reason and medical is notified.                                                                                        1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




1.3.5.44   An individual remains in segregation for a non-medical reason greater than 8 hours.                                                                                             1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Accept Detainee into the Medical Facility / Intake Screening (Reference WBS 1.1.1))




           Scheduling (Reference W BS 1.1.2)                                                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.45   A detainee has an intake screening disposition of isolation                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Scheduling (Reference WBS 1.1.2))



1.3.5.46   A detainee has been designated as an immediate referral to medical                                                                                                              1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Scheduling (Reference WBS 1.1.2))




1.3.5.47   A detainee has an encounter prior to the completion of the physical exam                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Scheduling (Reference WBS 1.1.2))




1.3.5.48   A detainee that has not had their physical exam done is in custody for greater than a specified number of days.                                                                 1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Scheduling (Reference WBS 1.1.2))




1.3.5.49   A detainee is designated with a nursing level physical                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Scheduling (Reference WBS 1.1.2))




1.3.5.50   A detainee is designated as beyond a Nursing level physical exam                                                                                                                1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Scheduling (Reference WBS 1.1.2))




1.3.5.51   A provider changes their schedule or a schedule change eliminates generic resource (Nurse) due to staff limitations                                                             1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Scheduling (Reference WBS 1.1.2))




1.3.5.52   A detainee transfers to a IGSA site after they have had their physical exam completed                                                                                           1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Scheduling (Reference WBS 1.1.2))




1.3.5.53   A special need (diet, monitoring, housing, medical equipment) is about to expire.                                                                                               1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Scheduling (Reference WBS 1.1.2))




           Encounters (Reference W BS 1.1.3)                                                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.54   A detainee is a no-show for a scheduled appointment                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Encounters (Reference WBS 1.1.3))




1.3.5.55   A no-show is reported as refusal                                                                                                                                                1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Encounters (Reference WBS 1.1.3))




1.3.5.56   Refusal task results in detainee refuting refusal claim                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Encounters (Reference WBS 1.1.3))




1.3.5.57   A detainee enters the facility and has previous (scheduled in the past or future) appointments (from same or different facilities)                                              1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Encounters (Reference WBS 1.1.3))




1.3.5.58   A Nurse completes a 14 day physical                                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Encounters (Reference WBS 1.1.3))




1.3.5.59   A physical exam or encounter is completed determination is made on his/her ability to work in the kitchen.                                                                      1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Encounters (Reference WBS 1.1.3))




1.3.5.60   An individual that has been designated as unable to work in the Kitchen is seen in the clinic.                                                                                  1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Encounters (Reference WBS 1.1.3))




1.3.5.61   A detainee diagnosed with a reportable infectious disease                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Encounters (Reference WBS 1.1.3))




           Order Entry (Reference W BS 1.1.4)                                                                                                                                              1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.62   Referrals to Emergency Room and specialty appointments                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4))




1.3.5.63   Approval from Clinical Director (CD) or Managed Care Coordinator (MCC and FCM)                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4))




1.3.5.64   A detainee returns from off-site medical care (Appointment or Emergency Room)                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4))




1.3.5.65   Specialty / Off-Site Medical Record Obtained                                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4))




           Order Entry (Reference W BS 1.1.4) - Special Needs                                                                                                                              1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.66   Special Need is activated                                                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Special Needs)




1.3.5.67   Special Need is removed.                                                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Special Needs)




           Order Entry (Reference W BS 1.1.4) - Suicide Observation                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.68   Suicide Observation initiated by provider                                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Suicide Observation)




1.3.5.69   Prompt for recurring checks by nurses in the Facility Activities / Tasks.                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Suicide Observation)




1.3.5.70   Mental health or Provider removes suicide watch.                                                                                                                                1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Suicide Observation)




           Order Entry (Reference W BS 1.1.4) - Special Monitoring                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.71   If requested immediately by the order.                                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Special Monitoring)




1.3.5.72   Order indicates monitoring until a specified date in the order                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Special Monitoring)




           Order Entry (Reference W BS 1.1.4) - Medication Orders                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.5 Workflow

1.3.5.73   Medication is submitted where a IGSA Pharmacy is designated to fill.                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Medication Orders)




1.3.5.74   Medication Order is Fulfilled                                                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Medication Orders)




1.3.5.75   Medication order is a change from the original order                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Medication Orders)




1.3.5.76   For sites with remote pill line done by nurses, medication is accepted by nurse and placed in distribution cart.                                                                1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Medication Orders)




1.3.5.77   A detainee is considered a rule-out pending 3 negative TB sputum test results                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Medication Orders)




1.3.5.78   A detainee is transferred on Tuberculosis Medications                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Medication Orders)




1.3.5.79   A detainee is added to the TB Surveillance Group                                                                                                                                1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Medication Orders)




1.3.5.80   The TB culture results return and are negative.                                                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Medication Orders)




           Order Entry (Reference W BS 1.1.4) - Mail Order Pharmacy                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.5 Workflow

1.3.5.81   Provider submits a medication where no pharmacy is available, the Pharmacy is closed or a Pharmacist designates an order to be filled through Mail Order Pharmacy.              1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Mail Order Pharmacy)




1.3.5.82   Mail Order Pharmacy Accepts Order and provides disposition.                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Mail Order Pharmacy)




1.3.5.83   Mail Order Pharmacy rejects order.                                                                                                                                              1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Mail Order Pharmacy)
                                                                                                                                                                                                                                                                                                                                                                             Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 201 of 1402




1.3.5.84    Mail order Pharmacy orders are delivered                                                                                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Mail Order Pharmacy)




1.3.5.85    Order received does not match the original order in strength, quantities or directions (legal substitution).                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Mail Order Pharmacy)




            Order Entry (Reference W BS 1.1.4) - After Hours Medication (no provider on site)                                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.86    Medication that arrive with the detainee are continued by a provider.                                                                                                                                                      1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - After Hours Medication (no provider on site))




1.3.5.87    Medication order is received from an off-site provider and documented.                                                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - After Hours Medication (no provider on site))




1.3.5.88    Medication that arrives with the detainee was continued and an additional dose is due.                                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - After Hours Medication (no provider on site))




1.3.5.89    The medication order documented after hours is a non-formulary item.                                                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - After Hours Medication (no provider on site))
1.3.5.90    An individual receives a verbal order from a provider for a medication or any of the above medications                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - After Hours Medication (no provider on site))




            Order Entry (Reference W BS 1.1.4) - Critical Medication                                                                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.91    A detainee does not receive critical medication                                                                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Critical Medication)




            Order Entry (Reference W BS 1.1.4) - Formulary vs. non-formulary                                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.92    A provider orders a non-formulary medications                                                                                                                                                                              1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Formulary vs. non-formulary)
1.3.5.93    A provider proceeds with a non-formulary request                                                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Formulary vs. non-formulary)
1.3.5.94    Clinical Director or Medical Director Approves non-formulary                                                                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Formulary vs. non-formulary)




            Order Entry (Reference W BS 1.1.4) - Enter Medical Alert                                                                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.95    A detainee at intake screening is documented with a condition that requires a medical alert per IGSA policy.                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Enter Medical Alert)




1.3.5.96    A detainee is diagnosed or a provisional diagnosis is entered by the nurse and the detainee does not currently have a medical alert.                                                                                       1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Enter Medical Alert)




1.3.5.97    A medical alert is submitted by the provider.                                                                                                                                                                              1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Enter Medical Alert)




1.3.5.98    A medical alert is cosigned by HSA, CD or designee.                                                                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Enter Medical Alert)




1.3.5.99    A detainee with a medical alert is seen by a provider and a diagnosis is removed.                                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Enter Medical Alert)




            Order Entry (Reference W BS 1.1.4) - Enter Medical Hold                                                                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.100   A Medical Hold is entered by an individual member.                                                                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Enter Medical Hold)




1.3.5.101   Criteria for Release of Medical Hold are met.                                                                                                                                                                              1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Enter Medical Hold)




1.3.5.102   A Medical Hold is released.                                                                                                                                                                                                1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Enter Medical Hold)




            Order Entry (Reference W BS 1.1.4) - Protocol/Policy Based Orders                                                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.103   A Protocol/Policy Based Orders is initiated by HQ IGSA to apply to all facilities. (Initial and Annual Chest X-Rays, CLIA waived tests for blood sugar, pregnancy test, urinalysis, hemocault stool, rapid strep throat,   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Protocol/Policy Based Orders )
            rapid influenza, rapid Hpylori)




            Order Entry (Reference W BS 1.1.4) - Lab Orders                                                                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.104   Lab order is entered by a provider for a contract laboratory or local lab.                                                                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Lab Orders)




1.3.5.105   Lab draw is complete by nursing                                                                                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Lab Orders)




1.3.5.106   Lab specimen is received by contract lab                                                                                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Lab Orders)




1.3.5.107   For labs that are sent to local lab not included in the contract lab interface.                                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Lab Orders)




1.3.5.108   Lab results are received from contract lab                                                                                                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Lab Orders)




1.3.5.109   Critical Lab values are received from the contract lab or documented upon receipt and scanning into the medical record.                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Lab Orders)




1.3.5.110   A CLIA waived test is required.                                                                                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Lab Orders)




1.3.5.111   A CLIA waived test result is entered.                                                                                                                                                                                      1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Lab Orders)




1.3.5.112   Quality Assurance Check is required for CLIA waived tests.                                                                                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Lab Orders)




1.3.5.113   An individual attempts to complete a CLIA waived test when the Quality Controls are due for that particular test.                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Lab Orders)




1.3.5.114   TB Clearance Chest X-rays                                                                                                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Lab Orders)




1.3.5.115   An individualism deemed by the radiologist or the staff member that a retake is required.                                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Order Entry (Reference WBS 1.1.4) - Lab Orders)




            Referrals (Reference W BS 1.1.5)                                                                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.116   Referral is entered into a record by a provider that is not the Clinical Director (CD)                                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Referrals (Reference WBS 1.1.5))




1.3.5.117   A referral is approved by CD                                                                                                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Referrals (Reference WBS 1.1.5))




1.3.5.118   A referral needs a high level or specialty approval.                                                                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Referrals (Reference WBS 1.1.5))




1.3.5.119   After a referral denial, a detainee or clinical staff member provides additional documentation.                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Referrals (Reference WBS 1.1.5))




1.3.5.120   A detainee completes the care provided .                                                                                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Referrals (Reference WBS 1.1.5))




1.3.5.121   A detainee record is received from off-site provider                                                                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Referrals (Reference WBS 1.1.5))




1.3.5.122   A an approved referral goes beyond the standard set of days based on urgency level.                                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Referrals (Reference WBS 1.1.5))



1.3.5.123   A referral is identified by the submitter or the Managed Care Coordinator / Field Case Manager (through follow up) that an Emergency Room visit was admitted to an inpatient setting.                                      1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Referrals (Reference WBS 1.1.5))




1.3.5.124   An individual has a documented in the system when they arrive back at the detention facility from after designation as an inpatient stay.                                                                                  1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Referrals (Reference WBS 1.1.5))




1.3.5.125   An individual is ready for discharge but is determined to require special services.                                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Referrals (Reference WBS 1.1.5))




1.3.5.126   A medical bed at a local facility is reserved for a detainee that will be discharged from the hospital.                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Referrals (Reference WBS 1.1.5))




1.3.5.127   A detainee's scheduled to arrive does not arrive via the intake screening process at a specified number of hours after the anticipated arrival.                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Referrals (Reference WBS 1.1.5))




            Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference W BS 1.1.6)                                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.128   A Facility Activity / Task is partially complete                                                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




1.3.5.129   A Facility Activity / Task is complete when a previous task was incomplete.                                                                                                                                                1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Facility Activities / Tasks (Provider, Nursing, Mental Health) - (Reference WBS 1.1.6))




            Pill Line (Reference W BS 1.1.7)                                                                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.130   A Non-KOP order is filled by pharmacy (if facility does not do pill line at an window)                                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pill Line (Reference WBS 1.1.7))
1.3.5.131   At facilities where nurses deliver KOP medications with pill line                                                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pill Line (Reference WBS 1.1.7))
1.3.5.132   A KOP medication is delivered to a detainee (Pharmacy window and Pill Line Delivery)                                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pill Line (Reference WBS 1.1.7))
1.3.5.133   A medication is changed or discontinued                                                                                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pill Line (Reference WBS 1.1.7))
1.3.5.134   A detainee refuses a KOP medication or medication while at pill line or at a pill line window.                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pill Line (Reference WBS 1.1.7))




1.3.5.135   A pill line medication order is active and a specified time after the previous medication administration due .                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pill Line (Reference WBS 1.1.7))




1.3.5.136   A detainee does not receive a critical medication due to "no show".                                                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pill Line (Reference WBS 1.1.7))




1.3.5.137   A detainee is on pill line but is documented in another pod.                                                                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pill Line (Reference WBS 1.1.7))



1.3.5.138   A detainee is on a critical medication was issued KOP.                                                                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pill Line (Reference WBS 1.1.7))



1.3.5.139   A provider modifies an order when it is locked for offline/remote pill line distribution.                                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pill Line (Reference WBS 1.1.7))




1.3.5.140   A medication order that was identified as Pill line is changed to KOP                                                                                                                                                      1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pill Line (Reference WBS 1.1.7))




1.3.5.141   A STAT medication is ordered                                                                                                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pill Line (Reference WBS 1.1.7))




1.3.5.142   A detainee is outside the parameters for execution of the order.                                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pill Line (Reference WBS 1.1.7))




1.3.5.143   An individual is issued a medication                                                                                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pill Line (Reference WBS 1.1.7))




            Automated Medication Packaging Systems                                                                                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.144   Pharmacist reviews and selects AMPS for a pill line medication.                                                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Automated Medication Packaging Systems)




1.3.5.145   Pharmacist reviews and selects fill through AMPS                                                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Automated Medication Packaging Systems)




1.3.5.146   Authorized user orders medication and selects the AMPS to prepare/ package the OTC.                                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Automated Medication Packaging Systems)




1.3.5.147   An order is reviewed by a provider and the pharmacist offsite through a handheld device                                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Automated Medication Packaging Systems)




1.3.5.148   An after hours order is given, reviewed by the provider and pharmacist remotely, that is within the authorized after-hours, controlled substances, PRN"                                                                    1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Automated Medication Packaging Systems)




1.3.5.149   A transfer is confirmed to depart for today.                                                                                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Automated Medication Packaging Systems)




            Sick Call (Reference W BS 1.1.8)                                                                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.150   A sick call request is documented with the date/time submitted                                                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Sick Call (Reference WBS 1.1.8))




1.3.5.151   A nurse reviews the requests for sick call and determines that the individual needs to be seen urgently.                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Sick Call (Reference WBS 1.1.8))




1.3.5.152   A nurse reviews the requests for sick call and determines that the individual can be seen the next business day for a sick call appointment.                                                                               1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Sick Call (Reference WBS 1.1.8))




1.3.5.153   A sick call request is by a nurse and a determination is made to see the detainee immediately.                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Sick Call (Reference WBS 1.1.8))




1.3.5.154   A nurse is not available to complete the triage of a sick call request.                                                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Sick Call (Reference WBS 1.1.8))




            Short Stay Unit / Bed Management (Reference W BS 1.1.9)                                                                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.155   A detainee is admitted to the Short Stay Unit or a segregation cell by a provider.                                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.5.156   An admission is completed and there are required items incomplete.                                                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.5.157   A detainee is placed in observation                                                                                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.5.158   Nursing care plan is created                                                                                                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.5.159   Nurse documents that one of the goals within a nursing care plan is achieved.                                                                                                                                              1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.5.160   A detainee is placed in an SSU bed or Segregation for observation for a medical reason                                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.5.161   A detainee remains in observation for longer than 24 hours                                                                                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.5.162   A detainee admitted to the SSU/MHU remains admitted or in observation.                                                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.5.163   Patient is discharged from Short Stay Unit / Alternate Housing                                                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.5.164   Provider completes the discharge plan.                                                                                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.5.165   Nurse executes discharge plan.                                                                                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.5.166   Patient identified as requiring boarding in the medical clinic for an non medical reason.                                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.5.167   Patient is identified as a boarder for a medical reason.                                                                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.5.168   Custody places an individual in segregation for a non-medical reason and IGSA is notified.                                                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




1.3.5.169   A detainee documented as "in segregation" remains in segregation.                                                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Short Stay Unit / Bed Management (Reference WBS 1.1.9))




            Transfers (Reference W BS 1.1.10)                                                                                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.170   ICE makes a move official for a group of detainees.                                                                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Transfers (Reference WBS 1.1.10))
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1.3.5.171    When a detainee being transferred is on active medication that is deemed by the provider as a transport medication                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Transfers (Reference WBS 1.1.10))




1.3.5.172    Medications are reviewed by Pharmacist and confirmed.                                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Transfers (Reference WBS 1.1.10))




1.3.5.173    When Transfer summary is complete and the medications are prepared.                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Transfers (Reference WBS 1.1.10))




1.3.5.174    A Pharmacist overrides the medication slated to accompany detainee to exclude a listed medication.                                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Transfers (Reference WBS 1.1.10))




             Clinic Management and Clinical Oversight (Reference W BS 1.1.11)                                                                                                                              1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.175    A patient refuses medical care at any time during the detention stay.                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.5.176    A detainee is unavailable to sign refusal and reason for refusal is documented with ability to document level of provider required.                                                           1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.5.177    Provide a list of items note (x-rays, medication orders, provisional diagnoses, etc.) that require co signature, remove from query after co signature                                         1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.5.178    HQ removes an items requiring co signature that does not have a local indication to continue.                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.5.179    A medical record release is requested by the detainee                                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.5.180    A medical record release is approved.                                                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.5.181    A medical record review has been requested by appropriate authorities.                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.5.182    A medical record review is complete by appropriate provider.                                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.5.183    A detainee is identified during intake screening, patient encounters or other information is documented that forces the detainee to meet the criteria for a significant detainee illness -    1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




1.3.5.184    A detainee is seen that was previously designated as a significant detainee illness that was previously overridden by a lower level provider                                                  1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Clinic Management and Clinical Oversight (Reference WBS 1.1.11))




             Credentialing and Privileging (Reference W BS 1.1.12)                                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.185    New item received and documented by user                                                                                                                                                      1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Credentialing and Privileging (Reference WBS 1.1.12))




             Exchange of medical information with health organizations and partners. (Reference W BS 1.13)                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.186    A request for medical records release is submitted                                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Exchange of medical information with health organizations and partners. (Reference WBS 1.13))




1.3.5.187    Medical information is available at a partner facility or organization through interoperability.                                                                                              1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Exchange of medical information with health organizations and partners. (Reference WBS 1.13))




1.3.5.188    A provider obtains history from the detainee during screening or provider that would benefit from prior medical information.                                                                  1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Exchange of medical information with health organizations and partners. (Reference WBS 1.13))




1.3.5.189    An off site medical appointment / treatment authorization request appointment is completed.                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Exchange of medical information with health organizations and partners. (Reference WBS 1.13))




             Grievances (Reference W BS - 1.1.14)                                                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.190    A detainee submits a medical grievance.                                                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Grievances (Reference WBS - 1.1.14))




1.3.5.191    A grievance is not in compliance with submission criteria.                                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Grievances (Reference WBS - 1.1.14))




1.3.5.192    A grievance is answered.                                                                                                                                                                      1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Grievances (Reference WBS - 1.1.14))




1.3.5.193    A grievance is deemed to require an appointment to resolve.                                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Grievances (Reference WBS - 1.1.14))




1.3.5.194    A grievance is appealed                                                                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Grievances (Reference WBS - 1.1.14))




1.3.5.195    An answer to the appeal is develops                                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Grievances (Reference WBS - 1.1.14))




             Family Residential Facilities (Reference W BS 1.1.2)                                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.196    Immunizations are due to a detainee in custody                                                                                                                                                1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Family Residential Facilities (Reference WBS 1.1.2))




             Dental (Reference W BS 1.1)                                                                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.197    A dental referral is submitted from intake, sick call or during medical encounters                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Dental (Reference WBS 1.1))




1.3.5.198    A detainee is in contiguous custody with ICE for greater than 11 months                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Dental (Reference WBS 1.1))




1.3.5.199    A detainee with a dental condition returns from off-site dental care                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Dental (Reference WBS 1.1))




             Mental Health (Reference W BS 1.1.3, 3.3)                                                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.200    Individual completes a mental health hospitalization update and documents                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.5.201    An individual is prescribed psychotropic medications                                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.5.202    An individual is placed in segregation at a location where a mental health provider is on staff.                                                                                              1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.5.203    An individual answers positively to desire to harm themselves                                                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Mental Health (Reference WBS 1.1.3, 3.3))




1.3.5.204    A forensic evaluation is placed in the medical record                                                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Mental Health (Reference WBS 1.1.3, 3.3))



1.3.5.205    A mental health provider selects mental health diagnosis and entry of medications to consider.                                                                                                1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Mental Health (Reference WBS 1.1.3, 3.3))




             Pharmacy / Pharmacology (Reference W BS 1.2)                                                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.206    New Orders - Any new pharmaceutical orders pending                                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.5.207    Order is filled at a facility that distributes pills in the housing units where packing is required (not applicable at facilities that distribute via window).                                1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.5.208    Discontinued Orders -- any orders newly input or discontinued go into a queue for action by the Pharmacist. Ensures provider and Pharmacy are working off the same information.               1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.5.209    A medication is due for a refill and the detainee is still in custody 4 days before it expires                                                                                                1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.5.210    A detainee returns to the facility prior to the specific number of the number of hours.                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pharmacy / Pharmacology (Reference WBS 1.2))




1.3.5.211    A short cycle medication is coming up to the end of its first cycle period.                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Pharmacy / Pharmacology (Reference WBS 1.2))




             Tele-Radiology (W BS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2)                                                                                           1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.212    Positive X-Ray Results Negative, notify on duty staff and communicate x-ray cleared status to intake system. Insert into EMR                                                                  1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.5.213    Detainee clearance for TB is expiring at either 1 year since last CXR or other marker as per policies/procedures                                                                              1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.5.214    Detainee is manually entered into the EHR pending Enforce Entry and is determined not to have TB clearance per standard.                                                                      1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.5.215    If the screening disposition was General Population or GP with Referral to medical care and X-Ray result is Not TB suspect.                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.5.216    Individual determines that a retake is needed.                                                                                                                                                1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.5.217    invoice/billing received from Tele-Radiology vendor                                                                                                                                           1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.5.218    When a detainee is determined to requires TB Screening                                                                                                                                        1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




1.3.5.219    A detainee remains in custody to the point that the documented TB Clearance is expired or will expired in a specified number of days (10 days) .                                              1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Tele-Radiology (WBS References - Accepting a Detainee into a facility 1.1.1, Tele-Radiology 2.2.2))




             Tele-Health (W BS References - Scheduling, 1.1.2, Encounters 1.1.3, TeleHealth 2.2.3)                                                                                                         1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.220    A detainee requires a tele-health appointment.                                                                                                                                                1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Tele-Health (WBS References - Scheduling, 1.1.2, Encounters 1.1.3, TeleHealth 2.2.3))




1.3.5.221    A detainees is seen through tele-health and receives orders (special needs, special monitoring, medication, short stay unit, etc).                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Tele-Health (WBS References - Scheduling, 1.1.2, Encounters 1.1.3, TeleHealth 2.2.3))




             Epidemiology (References - W BS 1.1.3, 3.8)                                                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.222    Detainee is identified and added to a group of detainees with reportable infectious diseases.                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.5.223    Detainee is identified by ICE as ready for deportation through a request to release the medical hold.                                                                                         1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.5.224    Continuity of Care Plan Complete and Medical Hold Release                                                                                                                                     1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.5.225    TB Suspect is evaluated, diagnosed and transferred on treatment                                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.5.226    Detainee is identified and diagnosed with a reportable infectious diseases.                                                                                                                   1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.5.227    A staff member determines an individual diagnosed.                                                                                                                                            1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.5.228    A user adds a detainee to the appropriate reportable disease surveillance group                                                                                                               1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.5.229    Detainee is enrolled in the continuity of care plan to TB by local infection control officer                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Epidemiology (References - WBS 1.1.3, 3.8))




1.3.5.230    A medical hold is removed by staff member.                                                                                                                                                    1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Epidemiology (References - WBS 1.1.3, 3.8))




             Special Operations (Reference W BS 3.4)                                                                                                                                                       1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.231    A detainee is documented by a medical alert that requires an escort.                                                                                                                          1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Special Operations (Reference WBS 3.4))




1.3.5.232    A detainee is designated by ICE to be deported when a detainee has a medical alert with designation requiring medical alert.                                                                  1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Special Operations (Reference WBS 3.4))




             Mental Health Services (Reference W BS 3.3.2)                                                                                                                                                 1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.233    A detainee is added by ICE to the group requiring action from mental health services staff (Alternatives to Detention, Post Order Custody Review)                                             1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Mental Health Services (Reference WBS 3.3.2))




1.3.5.234    Availability of off-site healthcare has been determined and is available                                                                                                                      1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Mental Health Services (Reference WBS 3.3.2))




             Performance Improvement (Reference W BS 3.7)                                                                                                                                                  1.3 CORE - DECISION SUPPORT 1.3.5 W orkflow


1.3.5.235    A new quarter is initiated for Performance Improvement Monitoring                                                                                                                             1.3 CORE - DECISION SUPPORT 1.3.5 Workflow (Performance Improvement (Reference WBS 3.7))




1.3.6        Dashboards (W BS 1.3.6)                                                                                                                                                                       1.3 CORE - DECISION SUPPORT Dashboards (W BS 1.3.6)


             General Dashboard Requirements.                                                                                                                                                               1.3 CORE - DECISION SUPPORT Dashboards (W BS 1.3.6)


GR.1.3.6.1   Provide the ability to combine alerts, queries, reports and workflow on a single screen for the purpose of supporting a specific function or individual.                                      1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (General Dashboard Requirements)




GR.1.3.6.2   Apply role based user security to each dashboard to prevent staff without access from viewing.                                                                                                1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (General Dashboard Requirements)




GR.1.3.6.3   Provide hyperlinks to all actions (workflow or alerts) that are required by the individual granted access to the dashboard.                                                                   1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (General Dashboard Requirements)




GR.1.3.6.4   Provide the ability to sort the various sections containing the differing actions based on various parameters.                                                                                1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (General Dashboard Requirements)




GR.1.3.6.5   Removes all tasks that have been completed such that only items that require action show.                                                                                                     1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (General Dashboard Requirements)




GR.1.3.6.6   Provides the ability to add additional dashboard information at the discretion of the user and the available queries, alerts, reports, workflow.                                              1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (General Dashboard Requirements)




GR.1.3.6.7   Provide the ability to break out current dashboards into several different dashboards depending on the needs of the specific workflow and workload.                                           1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (General Dashboard Requirements)




GR.1.3.6.8   Provide the ability to define dashboards specifically related to a patient diagnosis that identifies the critical pertinent values and actions appropriate for management of the condition.   1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (General Dashboard Requirements)




             Office of the Director                                                                                                                                                                        1.3 CORE - DECISION SUPPORT Dashboards (W BS 1.3.6)


1.3.6.1      Short Stay Unit - Provide all beds with status                                                                                                                                                1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Office of the Director)




1.3.6.2      Provide a bed Movement between Facilities for SSUs                                                                                                                                            1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Office of the Director)




1.3.6.3      Significant Detainee Illnesses                                                                                                                                                                1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Office of the Director)
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1.3.6.4    Claims Status Summary                                                                                                                                                                                                 1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Office of the Director)




1.3.6.5    Medical Record Review Requests                                                                                                                                                                                        1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Office of the Director)




           Health Services Administrators                                                                                                                                                                                        1.3 CORE - DECISION SUPPORT Dashboards (W BS 1.3.6)


1.3.6.6    Intake Screening Status                                                                                                                                                                                               1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Health Services Administrators)




1.3.6.7    Short Stay Unit Dashboard                                                                                                                                                                                             1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Health Services Administrators)




1.3.6.8    Provide a list and Historical Suicide Watches                                                                                                                                                                         1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Health Services Administrators)




1.3.6.9    Provide a list and Historical Hunger Strikes                                                                                                                                                                          1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Health Services Administrators)




1.3.6.10   Provide a list Pregnant Detainees (with due date) and whether any complications or risk factors have been identified.                                                                                                 1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Health Services Administrators)




1.3.6.11   Detainees with special requirements for coordination with ICE.                                                                                                                                                        1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Health Services Administrators)




1.3.6.12   Incident Reports requiring co-signature                                                                                                                                                                               1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Health Services Administrators)




1.3.6.13   Referrals Awaiting Appointments                                                                                                                                                                                       1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Health Services Administrators)




1.3.6.14   Unsigned provider notes.                                                                                                                                                                                              1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Health Services Administrators)




1.3.6.15   Completed Referrals Awaiting Medical Record                                                                                                                                                                           1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Health Services Administrators)



           Clinical Directors                                                                                                                                                                                                    1.3 CORE - DECSION SUPPORT Dashboards (W BS 1.3.6)


1.3.6.16   Provide a list Patients Scheduled.                                                                                                                                                                                    1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Clinical Directors)



1.3.6.17   Provide a list Orders awaiting co signature.                                                                                                                                                                          1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Clinical Directors)



1.3.6.18   Referrals Pending and Approved                                                                                                                                                                                        1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Clinical Directors)



1.3.6.19   Any notices related to Controlled or Critical Medications (Based on MML and/or order)                                                                                                                                 1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Clinical Directors)




1.3.6.20   Nursing Physical Exams Requiring Co-signature                                                                                                                                                                         1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Clinical Directors)




1.3.6.21   Completed intake screenings with referrals for medical care (immediate vs. non-immediate) with provider validation status.                                                                                            1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Clinical Directors)




1.3.6.22   Daily Short Stay Unit Encounters Pending                                                                                                                                                                              1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Clinical Directors)




           Physician                                                                                                                                                                                                             1.3 CORE - DECSION SUPPORT Dashboards (W BS 1.3.6)


1.3.6.23   Provide a list Patients Scheduled.                                                                                                                                                                                    1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Physician)




1.3.6.24   Provide a list Orders awaiting co signature.                                                                                                                                                                          1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Physician)




1.3.6.25   Referrals Submitted by the user with status (Pending and Approved)                                                                                                                                                    1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Physician)




1.3.6.26   Nursing Physical Exams Requiring Co-signature                                                                                                                                                                         1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Physician)




1.3.6.27   Daily Short Stay Unit Encounters Pending                                                                                                                                                                              1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Physician)




           Providers                                                                                                                                                                                                             1.3 CORE - DECSION SUPPORT Dashboards (W BS 1.3.6)


1.3.6.28   Provide a list Patients Scheduled.                                                                                                                                                                                    1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Providers)




1.3.6.29   Provide a list Orders with status                                                                                                                                                                                     1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Providers)


1.3.6.30   Referrals Submitted by the user with status (Pending and Approved)                                                                                                                                                    1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Providers)




1.3.6.31   Daily Short Stay Unit Encounters Pending                                                                                                                                                                              1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Providers)




1.3.6.32   Completed intake screenings with referrals for medical care (immediate vs. non-immediate) with provider validation status.                                                                                            1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Providers)




           Nurses                                                                                                                                                                                                                1.3 CORE - DECSION SUPPORT Dashboards (W BS 1.3.6)


1.3.6.33   Provide a list Facility Tasks (Special Monitoring, Care Plan Activities, Segregation Rounds, Laboratory Draws) with the ability to include specialty areas when covering (Mental Health Facility Tasks).              1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Nurses)




1.3.6.34   Intake Screening Arrivals and Status (TB Screening Status, CXR Status (when required), PPD Status (non-Tele-Radiology sites)                                                                                          1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Nurses)


1.3.6.35   Medications Filled Awaiting Confirmation and Posting to Pill Line (for facilities without a pill line window)                                                                                                         1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Nurses)


1.3.6.36   Short Stay Unit Care Plans Required                                                                                                                                                                                   1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Nurses)




1.3.6.37   Care Plan Activities Pending                                                                                                                                                                                          1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Nurses)


1.3.6.38   Sick Call Requests Due                                                                                                                                                                                                1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Nurses)




1.3.6.39   Future dates a Nurse is required to complete physical exams (for scheduling).                                                                                                                                         1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Nurses)




1.3.6.40   Facility / Activities Pending                                                                                                                                                                                         1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Nurses)




1.3.6.41   Consultations Pending                                                                                                                                                                                                 1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Nurses)



           Medical Records                                                                                                                                                                                                       1.3 CORE - DECSION SUPPORT Dashboards (W BS 1.3.6)


1.3.6.42   Scheduler Queue                                                                                                                                                                                                       1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Medical Records)



1.3.6.43   Refusals without electronic signature                                                                                                                                                                                 1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Medical Records)



1.3.6.44   All Facility Referrals with Status                                                                                                                                                                                    1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Medical Records)



1.3.6.45   Scheduled Appointments Requiring Transport                                                                                                                                                                            1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Medical Records)



1.3.6.46   Scheduled Tele-health appointments                                                                                                                                                                                    1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Medical Records)



1.3.6.47   Release of Medical Record Requests                                                                                                                                                                                    1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Medical Records)



           Pharmacy                                                                                                                                                                                                              1.3 CORE - DECSION SUPPORT Dashboards (W BS 1.3.6)


1.3.6.48   Medications Pending Orders                                                                                                                                                                                            1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Pharmacy)
1.3.6.49   Refused Medications                                                                                                                                                                                                   1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Pharmacy)
1.3.6.50   Refills Required                                                                                                                                                                                                      1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Pharmacy)
           Dentist                                                                                                                                                                                                               1.3 CORE - DECSION SUPPORT Dashboards (W BS 1.3.6)


1.3.6.51   Scheduler Queue of All Dental Appointments                                                                                                                                                                            1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Pharmacy)




1.3.6.52   Dental Sick Calls                                                                                                                                                                                                     1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Pharmacy)




1.3.6.53   Regional referrals Pended for Dental Approval (Regional Dentist or Designee Only)                                                                                                                                     1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Pharmacy)




           Mental Health                                                                                                                                                                                                         1.3 CORE - DECSION SUPPORT Dashboards (W BS 1.3.6)


1.3.6.54   Scheduler Queue of All Mental Health Pending                                                                                                                                                                          1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Mental Health)




1.3.6.55   Mental Health Admissions                                                                                                                                                                                              1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Mental Health)




1.3.6.56   Mental Health Treatment Plan Activities                                                                                                                                                                               1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Mental Health)




1.3.6.57   Group Activates Scheduled                                                                                                                                                                                             1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Mental Health)




1.3.6.58   Provide a list of encounters completed by mental health staff that are not designated the PMHP of the detainee.                                                                                                       1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Mental Health)




           Special Operations                                                                                                                                                                                                    1.3 CORE - DECSION SUPPORT Dashboards (W BS 1.3.6)


1.3.6.59   Record Reviews Required with Status (Triggered by ICE Movement and Medical Alert with recommendation for specialty)                                                                                                   1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Special Operations)




1.3.6.60   Worksite Enforcement Screenings Completed                                                                                                                                                                             1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Special Operations)




           Managed Care                                                                                                                                                                                                          1.3 CORE - DECSION SUPPORT Dashboards (W BS 1.3.6)


1.3.6.61   Referrals/referrals Pending (by Region)                                                                                                                                                                               1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Managed Care)




1.3.6.62   Referrals/referrals Pended for Medical Review with status                                                                                                                                                             1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Managed Care)




1.3.6.63   Referrals/referrals Pended for Mental Health Review                                                                                                                                                                   1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Managed Care)




1.3.6.64   Referrals/referrals Pended for Dental Review                                                                                                                                                                          1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Managed Care)




1.3.6.65   Hospitalization Referrals/referrals Requiring Update                                                                                                                                                                  1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Managed Care)




1.3.6.66   Referrals/referrals Pended for POCR Review with status of update                                                                                                                                                      1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Managed Care)




           Patient Specific Dashboard for Diabetic Disease Management                                                                                                                                                            1.3 CORE - DECSION SUPPORT Dashboards (W BS 1.3.6)


1.3.6.67   Diabetes                                                                                                                                                                                                              1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Patient Specific Dashboard for Diabetic Disease Management)




1.3.6.68   Hypertension                                                                                                                                                                                                          1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Patient Specific Dashboard for Diabetic Disease Management)




1.3.6.69   Cardiovascular Disease                                                                                                                                                                                                1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Patient Specific Dashboard for Diabetic Disease Management)




1.3.6.70   Seizure Disorder                                                                                                                                                                                                      1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Patient Specific Dashboard for Diabetic Disease Management)




1.3.7      Contract Medical CDF/IGSA Compliance (W BS 1.4.7)                                                                                                                                                                     1.3 CORE - DECSION SUPPORT Dashboards (W BS 1.3.7)


1.3.7.1    Provide a list of detainees that have not had their critical milestones documented in the Performance Based National Detention Standards (Intake Screening within 12 Hours, Physical Exam Within 14 Days, Sick Call   1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Contract Medical CDF/IGSA Compliance (WBS 1.4.7))
           Request submission and date) based on the book in date/time in Enforce.




1.3.7.2    Provide a list of facilities and the number of instances of non compliance in Performance Based Detention Facilities                                                                                                  1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Contract Medical CDF/IGSA Compliance (WBS 1.4.7))




1.3.7.3    Provide a list of facilities with missing entries of compliance data.                                                                                                                                                 1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Contract Medical CDF/IGSA Compliance (WBS 1.4.7))




           Contract Medical CDF/IGSA Compliance (W BS 1.4.7)                                                                                                                                                                     1.3 CORE - DECSION SUPPORT Dashboards (W BS 1.3.7)


1.3.7.4    Alert when a greater than a specified number of detainees did not had the date/time of intake screening entered.                                                                                                      1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Contract Medical CDF/IGSA Compliance (WBS 1.4.7))




1.3.7.5    Alert when a sentinel event is documented by the contract IGSA/CDF contract medical staff                                                                                                                             1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Contract Medical CDF/IGSA Compliance (WBS 1.4.7))
           Contract Medical CDF/IGSA Compliance (W BS 1.4.7)                                                                                                                                                                     1.3 CORE - DECSION SUPPORT Dashboards (W BS 1.3.7)


1.3.7.6    Provide a list of detainees that have not had the date of their intake screening documented                                                                                                                           1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) ()


1.3.7.7    Provide a list of detainees that have not had a 14 day physical documented at 12 days (by facility)                                                                                                                   1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) ()




           Contract Medical CDF/IGSA Compliance (W BS 1.4.7)                                                                                                                                                                     1.3 CORE - DECSION SUPPORT Dashboards (W BS 1.3.7)


1.3.7.8    A detainee is documented in Enforce to be housed at an IGSA Facility with Contract medical staff                                                                                                                      1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Contract Medical CDF/IGSA Compliance (WBS 1.4.7))




1.3.7.9    A detainee is in custody in Enforce at an IGSA/CDF with Contract medical staff beyond 10 days.                                                                                                                        1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Contract Medical CDF/IGSA Compliance (WBS 1.4.7))




1.3.7.10   A detainee is in custody in Enforce at an IGSA/CDF facility with Contract medical submits a sick call slip and a disposition is defined.                                                                              1.3 CORE - DECSION SUPPORT Dashboards (WBS 1.3.6) (Contract Medical CDF/IGSA Compliance (WBS 1.4.7))




2.0        2.0 INTERFACES                                                                                                                                                                                                        2.0 INTERFACES
2.1        Internal Interfaces                                                                                                                                                                                                   2.0 INTERFACES 2.1 Internal Interfaces
2.1.1      Enforce Integrated Database (EID), Enforce Alien Booking Module (EABM), IDENT System, Enforce Alien Detention Module (EADM), Enforce Alien Removal Module (EARM), Automated                                           2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)
           Biometric Identification System (IDENT), Bed Space, Transportation, and Detainee Location Tracking Automation (BST&T)




2.1.1.1    In event Enforce a direct interface is not an option or the interface, provide capability to import detainee demographic data on a periodic basis using the existing reporting capabilities within Enforce. Import the Name, 2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)
           Date of Birth, Country of Citizenship, Alien Numbers, Aliases and identifier changes to ensure the most accurate identifiers are used as the primary ID while maintaining a history of any previous identifiers that may
           be used.




2.1.1.2    The interfaces shall provide the needed Detainee Demographic Information (Name, Date of Birth, Alien Number, Alternate IDs, Aliases, Country of Origin) and the picture capture in Enforce on each detainee in the    2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)
           EHR for use at all points of care.




2.1.1.3    Use the Enforce system as the "system of record" and update appropriate Detainee Demographic Information in the EHR system in real time.                                                                              2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)
                                                                                                                                                                                                                                                                                                                                     Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 204 of 1402




2.1.1.4    Support exchange of information to trigger notifications within the EHR-S that a detainee has arrived and requires screening.                                                                                               2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)




2.1.1.5    Supports the receiving of information that triggers the creation medical records when detainees are booked in at an EHR facility and has not had a medical record created manually prior to book in.                        2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)




2.1.1.6    Allow the EHR to send the data required by Enforce EID for Medical Coordination Data (Medical Alerts, Holds, Special Needs, Medication, Transfer Summary Status, Intake Status, Medication Non-Compliance,                  2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)
           Medical Appointments) from the EHR system.




2.1.1.7    Trigger the EHR to create a medical record upon initial arrival at an EHR faculty (when none exists) and continue the existing medical record (when a record already exists).                                               2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)




2.1.1.8    When a detainee already has a medical record in the EHR system and arrives at a facility, update the medical record with the arrival date time in support of medical standards and policy requirements that depend on       2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)
           the date of arrival date/time.




2.1.1.9    Allows the review of all medical records for detainees manifested by ICE to be transferred to a facility using the EHR-S.                                                                                                   2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)




2.1.1.10   Indicate whether there is a medical record available in the EHR-S for all detainees scheduled to arrive at the facility.                                                                                                    2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)




2.1.1.11   Provide date and time stamp of Enforce entry of the facility arrival time to the EHR for use in developing workflow based on the earliest of the Enforce date stamp and the date/time stamp of the care entered by a Nurse 2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)
           at intake screening.




2.1.1.12   Provide an alert to Enforce to allow medical staff to notify ICE that there may be a need to merge multiple records for one individual into a single Enforce record and allow the provide to pre-approve the merging of     2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)
           medical information.




2.1.1.13   Exchange information to allow provider to pre-approve the merge process to prevent the need for validation after the Enforce Merge.                                                                                         2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)




2.1.1.14   Provides the EHR real time notification of all planned and final outbound transfer manifests.                                                                                                                               2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)


2.1.1.15   Allow IGSA to notify ICE that a detainee cannot transfer (medical hold, requires escort, negative result of transfer review)                                                                                                2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)




2.1.1.16   Allow visibility of detainees that are pending and certified as requiring medical escort if identified by a Non-IGSA facility.                                                                                              2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)




2.1.1.17   Notify the Enforce user that the transfer summary is authorized for transfer from the nurse.                                                                                                                                2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)




2.1.1.18   When travel medications are required, notify ICE and US Marshall that the medications are prepared.                                                                                                                         2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)




2.1.1.19   Notify ICE when all Detainees on the same manifest have completed transfer summaries and medications are prepared.                                                                                                          2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)




2.1.1.20   Utilize all Enforce capabilities for validating the correct patient (e.g. Photos, Biometrics, RFID)                                                                                                                         2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)
2.1.1.21   Ensure all identifiers (examples: Alien Number, Incident ID, Subject ID) in Enforce are available for search in EHR.                                                                                                        2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)




2.1.1.22   Provide the ability to create standard messages and notices for Enforce users when there is a need for advanced notification of movement, transfers or deportation. (example: 5 day lead time for all movement              2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)
           confirmed TB Cases).




2.1.1.23   Provide the ability to differentiate demographic information that is manually entered and is awaiting a Facility Task (typically done by a Medical Records Technician) to validated and link to an Enforce or Sentry record 2.0 INTERFACES 2.1 Internal Interfaces (EID, EABM, EADM, EARM)
           validate demographic information.




2.1.2      Schick Digital Dental X-Ray system                                                                                                                                                                                          2.0 INTERFACES 2.1 Internal Interfaces
2.1.2.1    Provide the ability for the EHR to send patient identifier information in X-ray system.                                                                                                                                     2.0 INTERFACES 2.1 Internal Interfaces (Schick Digital Dental X-Ray system)




2.1.2.2    Provide the ability for the EHR to accept X-Ray images in the patient medical record.                                                                                                                                       2.0 INTERFACES 2.1 Internal Interfaces (Schick Digital Dental X-Ray system)




2.1.2.3    Ensures a link to each X-Ray to the medical record to support viewing of dental images taken at other sites through the review of the full medical record and prevent duplicate images.                                     2.0 INTERFACES 2.1 Internal Interfaces (Schick Digital Dental X-Ray system)




2.1.2.4    Provides the EHR status on the capture/acquisition of the dental x-ray image.                                                                                                                                               2.0 INTERFACES 2.1 Internal Interfaces (Schick Digital Dental X-Ray system)



2.1.3      Support continuity of data with existing databases                                                                                                                                                                          2.0 INTERFACES 2.1 Internal Interfaces

2.1.3.1    Electronic Medical Record / Treatment Authorization System – CaseTrakker - Provide access to the historical data in a manner that supports a contiguous medical record. The CaseTrakker system serves as the                2.0 INTERFACES 2.1 Internal Interfaces (Support continuity of data with existing databases)
           current electronic health record and managed care. It is relational Database designed to track detainee population, scheduling, clinical data and encounter details. Serves as legal medical record of those house at
           the facilities that use the system.




2.1.3.2    Scheduling Workload / Diagnosis Software - MedEZ- Provide access to the data within the MedEZ software to support the contiguous medical record. The MedEZ is software is relational database designed to                   2.0 INTERFACES 2.1 Internal Interfaces (Support continuity of data with existing databases)
           track detainee population and scheduling of encounters, physical exams, and TB status. Provides reports on population statistics (including status of physical exams and TB)

2.1.3.3    Pharmacy Database – Provide access to the data currently within the Correctional Institute Pharmacy System (CIPS) - The CIPS Pharmacy database is a relational database system designed to the documentation,               2.0 INTERFACES 2.1 Internal Interfaces (Support continuity of data with existing databases)
           processing, validation and dispensing of the medication orders and the related expenditures at IGSA-staffed sites.




2.1.3.4    Operations Workload Database - Provide access to the historical workload database by ensuring encounters are collected the same manner as the data set forth in the Operational Workload Report. Current workload 2.0 INTERFACES 2.1 Internal Interfaces (Support continuity of data with existing databases)
           are define the encounters for use in comparing facility workload, staffing and trend analysis and must link to new methods of calculating workload. Historical comparisons are necessary for to compare current and
           historical staffing needs that may vary during mission changes.




2.1.3.5    Managed Care Coordination Database - Provide access to the data in the Managed Care Coordination Database currently used to collect, organize, analyze, and report data related to managed care coordinators’               2.0 INTERFACES 2.1 Internal Interfaces (Support continuity of data with existing databases)
           case management efforts at IGSA. This database allows users the ability to enter, organize, track, search, update, compile, and print MCC and FCM’s daily productivity information in a variety of ways via tables,
           forms, and reports. Information/data from this database may be shared with DHS, ICE, the United States Congress, and various non-governmental organizations. The EHR System must collect the activities in the
           same manner as the current CaseTrakker allows and ensures continuity of data with that system.




2.1.3.6    Mental Health Coordination Database - Provide access to data currently in the Mental Health Coordinator Database. The database is used to collect, organize, analyze, track, and store data related the management 2.0 INTERFACES 2.1 Internal Interfaces (Support continuity of data with existing databases)
           of detainees with mental health disorders. The detainees’ placements, diagnoses, statuses, psychological assessments/evaluations, and points of contact are recorded in this database. Information/data from this
           database may be shared with DHS, ICE, the United States Congress, and various non-governmental organizations.




2.1.3.7    Social Services Database - Provide access to the data in the Social Services Database which is used to track information about social services being provided to ICE detainees. The data within this database           2.0 INTERFACES 2.1 Internal Interfaces (Support continuity of data with existing databases)
           records information related to the use of private and community social services as an alternative to detention for detainees with complex mental health conditions. The social services staff documents the progress of
           various mental health evaluations and availability of mental health provider, and the claims are all gathered in this database. Information/data from this database may be shared with DHS, ICE, the United States
           Congress, and various nongovernmental organizations.




2.1.3.8    Hospitalization- Provide access to the Hospitalization database which tracks the inpatient hospitalizations and related clinical data. The database also tracks attempted suicides, suicide observations, and hunger        2.0 INTERFACES 2.1 Internal Interfaces (Support continuity of data with existing databases)
           strikes. Interfaces with Hospitalization application. Provides reports on current and past hospitalizations and used by managed care to evaluate a patients complexity, length of stay and specialty requirements are
           factored into custody decisions.




2.1.3.9    Significant Detainee Illness Database - Provide the ability to historically reference all Significant Detainees on the Illness in the EHR. The database is a relational database system used to track detainees with        2.0 INTERFACES 2.1 Internal Interfaces (Support continuity of data with existing databases)
           critically serious illnesses at ICE facilities intended to be populated by MCC and FCMs at IGSA-HQ. The detainees’ personal information, placement, and diagnoses are tracked so IGSA staff can identify at-risk
           detainees and the needs of each facility to treat them. Information/data from this database may be shared with DHS, ICE, the United States Congress, and various nongovernmental organizations. The standards of
           Significant Detainee illnesses varies and must be .




2.1.3.10   ICE Detainee Deaths Database - Provide access to the ICE Detainee Deaths Database is a relational database system used to store information about detainees who have died in ICE custody for purposes of         2.0 INTERFACES 2.1 Internal Interfaces (Support continuity of data with existing databases)
           disseminating data/information to DOJ Bureau of Justice Statistics (BJS). This database contains the detainees’ personal information, medical history, the location, cause of death, and points of contact. This
           information is shared with DHS, ICE, the United States Congress, and various non-governmental organizations. The EHR must collect all information on detainee deaths in the same and historical records must be
           created for each detainee death.




2.1.3.11   Infectious Disease Surveillance Database - Provide access to the data within Infectious Disease Surveillance database which captures nationally notifiable infectious diseases, currently only for ICE detainees            2.0 INTERFACES 2.1 Internal Interfaces (Support continuity of data with existing databases)
           housed in facilities with IGSA staffing. This database captures conditions identified by CDC as nationally notifiable, except for tuberculosis, which is captured in a separate database. Varicella (chicken pox) is also
           captured, though not nationally notifiable due to its importance in our environment. The database allows us to analyze trends and guide infection control interventions as needed based on what the data show. The
           EHR system will collect the data required by this program database with enhanced workflow and support. The historical data must be available for comparative analysis of infectious disease to continue analysis of
           trends for the IGSA population..




2.1.3.12   Tuberculosis Surveillance and Continuity of Care monitoring database- Provide access to the Tuberculosis Surveillance and Continuity of Care Monitoring database which is used to track tuberculosis cases among 2.0 INTERFACES 2.1 Internal Interfaces (Support continuity of data with existing databases)
           ICE detainees including those at facilities with and without IGSA staffing if the Epidemiology Unit is notified by the local or state health department or IGSA (if the detainee is at a non-IGSA facility). Tuberculosis
           surveillance information is entered into this database. Database includes all fields required for reporting to local, state, and national surveillance. This database is used to monitor the Tuberculosis Continuity of
           Care Program, the IGSA program which facilitates international referrals and continuity of care for TB patients who are repatriated while still receiving anti-TB therapy require continuity of care for TB so they do not
           interrupt or stop TB treatment. The EHR system will collect the data required by this program database with enhaced workflow and support. Historical data must be available for comparative analysis of infectious
           disease to continue historical records.




2.1.3.13   Dental Program Database - The Dental Program Database is a relational database system designed to collect, organize, analyze, track, and store information related to dental activities performed on detainees at           2.0 INTERFACES 2.1 Internal Interfaces (Support continuity of data with existing databases)
           IGSA-staffed sites. This database provides statistical information regarding the volume of dental work done at each site. Information/data from this database may be shared with DHS, ICE, the United States
           Congress, and various non-governmental organizations.
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2.1.3.14   Performance Improvement - Provide access to the Performance Improvement data which tracks the ongoing initiatives within the organization to monitor key performance measures within the organization. Staff                    2.0 INTERFACES 2.1 Internal Interfaces (Support continuity of data with existing databases)
           complete record review on each reportable measure to ensure appropriate monitoring of various best practices. The EHR system will collect the data required by this program database with enhanced workflow and
           support. Historical data must be available for comparative analysis of infectious disease to continue historical records.




2.1.3.15   Aviation Medical Escort Database - Provide access to the data within the Aviation Medical Escort Database designed to collect, organize, analyze, report and store data related to detainees that require a medical 2.0 INTERFACES 2.1 Internal Interfaces (Support continuity of data with existing databases)
           escort during transfer or deportation. The detainee’s personal information, placement and destination are recorded as well as who is escorting them and what, if any, precautions were taken during the flight.
           Information/data from this database may be shared with DHS, ICE, the United States Congress, and various non-governmental organizations. The EHR system will collect the data required by this program database
           with enhanced workflow and support. Historical data must be available for comparative analysis of infectious disease to continue historical records.




2.2        External Interfaces                                                                                                                                                                                                             2.2 External Interfaces
2.2.1      Bureau of Prisons Custody System (Sentry) - External to ICE Network                                                                                                                                                             2.2 External Interfaces (Bureau of Prisons Custody System (Sentry) - External to ICE Network)




2.2.1.1    The interface EHR system shall receive Detainee Demographic and a photo of the detainee in real-time from Sentry when a detainee is booked into a facility that requires an ICE medical staff to deliver care to US             2.2 External Interfaces (Bureau of Prisons Custody System (Sentry) - External to ICE Network)
           Marshall detainees.




2.2.1.2    Provide the ability to link BOP and Enforce identifiers to ensure a contiguous medical record is maintained.                                                                                                                    2.2 External Interfaces (Bureau of Prisons Custody System (Sentry) - External to ICE Network)




2.2.1.3    Upon arrival, trigger the creation of a new medical record (if the detainee does not have a medical record created) in the EHR or update the date/time of arrival in the existing medical for any detainee booked into an       2.2 External Interfaces (Bureau of Prisons Custody System (Sentry) - External to ICE Network)
           ICE facility where ICE medical staff provide medical services.




2.2.1.4    Update the medical record with the date/time of arrival indicated in Sentry.                                                                                                                                                    2.2 External Interfaces (Bureau of Prisons Custody System (Sentry) - External to ICE Network)



2.2.1.5    Update the EHR when demographic information from the Sentry system changes.                                                                                                                                                     2.2 External Interfaces (Bureau of Prisons Custody System (Sentry) - External to ICE Network)




2.2.1.6    When a when a merge of two records occur in Sentry, merge the medical records. Ensuring the validation process (mirroring the validation in the enforce database) is engaged to allow an appropriate user to                    2.2 External Interfaces (Bureau of Prisons Custody System (Sentry) - External to ICE Network)
           validate that the merged medical records are the same person prior to executing the merge.




2.2.1.7    Provide adequate data to prompt for validation of the merge process if there is medical information documented in the two records being merged.                                                                                 2.2 External Interfaces (Bureau of Prisons Custody System (Sentry) - External to ICE Network)




2.2.1.8    Support the workflow of the EHR system by notifying the EHR users that a detainee has arrived and requires screening                                                                                                            2.2 External Interfaces (Bureau of Prisons Custody System (Sentry) - External to ICE Network)




2.2.1.9    Transfer Medical Alerts from EHR system to Sentry for US Marshal (USM) staff to receive medical alerts on detainees in custody.                                                                                                 2.2 External Interfaces (Bureau of Prisons Custody System (Sentry) - External to ICE Network)




2.2.1.10   Transfer Medical Holds to Sentry to ensure the USM Staff to receive notification of a medical hold.                                                                                                                             2.2 External Interfaces (Bureau of Prisons Custody System (Sentry) - External to ICE Network)




2.2.1.11   Transfer Special Needs (Equipment, Lower Bunk, etc) to Sentry to Sentry so USM staff receive information of a medical hold.                                                                                                     2.2 External Interfaces (Bureau of Prisons Custody System (Sentry) - External to ICE Network)




2.2.1.12   Accept notification to transfer detainee from Sentry. Will trigger notice to complete transfer summary and prepare medications.                                                                                                 2.2 External Interfaces (Bureau of Prisons Custody System (Sentry) - External to ICE Network)




2.2.1.13   Notify the sentry user that the transfer summary and medications are prepared.                                                                                                                                                  2.2 External Interfaces (Bureau of Prisons Custody System (Sentry) - External to ICE Network)




2.2.2      Tele-Radiology System - DiannAssociates Tele-Radiology Service - Separate, Dedicated Tele-Health Network                                                                                                                        2.2 External Interfaces


2.2.2.1    Provide the ability to send a unique patient identifier and other required demographics (name, date of birth, home of record, age, sex) to the Tele-Radiology system (currently on a separate network), in observance of 2.2 External Interfaces (Tele-Radiology System - DiannAssociates Tele-Radiology Service - Separate, Dedicated Tele-Health Network)
           privacy and protected information guidelines, to trigger the workflow of the EHR to capture the X-Ray.




2.2.2.2    Transmit detainee demographics from the Enforce or Sentry systems upon arrival at a facility with Tele-Radiology and designation that a Chest X-Ray is required.                                                                2.2 External Interfaces (Tele-Radiology System - DiannAssociates Tele-Radiology Service - Separate, Dedicated Tele-Health Network)




2.2.2.3    Accept X-Ray Read Results from Tele-Radiology system (separate vendor owned network) in real time in the EHR.                                                                                                                   2.2 External Interfaces (Tele-Radiology System - DiannAssociates Tele-Radiology Service - Separate, Dedicated Tele-Health Network)




2.2.2.4    Accept X-Ray Overread results that will trigger notification to providers that a result has changed.                                                                                                                            2.2 External Interfaces (Tele-Radiology System - DiannAssociates Tele-Radiology Service - Separate, Dedicated Tele-Health Network)




2.2.2.5    Provide the ability to access the X-Ray image stored within the tele-radiology vendor's Picture Archiving and Control System (PACS).                                                                                            2.2 External Interfaces (Tele-Radiology System - DiannAssociates Tele-Radiology Service - Separate, Dedicated Tele-Health Network)




2.2.2.6    Provide access to X-rays after 4-5 hours through a DICOM standards compliant viewer and screen.                                                                                                                                 2.2 External Interfaces (Tele-Radiology System - DiannAssociates Tele-Radiology Service - Separate, Dedicated Tele-Health Network)




2.2.2.7    Support the notification of the EHR users when X-Ray results have arrived.                                                                                                                                                      2.2 External Interfaces (Tele-Radiology System - DiannAssociates Tele-Radiology Service - Separate, Dedicated Tele-Health Network)




2.2.2.8    Support the acceptance of notices that a retake is required.                                                                                                                                                                    2.2 External Interfaces (Tele-Radiology System - DiannAssociates Tele-Radiology Service - Separate, Dedicated Tele-Health Network)




2.2.2.9    Provide a status of all X-Ray activities at each site (demographics sent, image captured, image transmitted, results received, retake required) with Tele-Radiology system so appropriate resources can be assigned 2.2 External Interfaces (Tele-Radiology System - DiannAssociates Tele-Radiology Service - Separate, Dedicated Tele-Health Network)
           and retakes can be tracked, documented and reported.




2.2.2.10   Provide all historical results of all X-Rays across the ICE detained population within the EHR to prevent users from retaking X-Rays for TB clearance when the detainee moves locations.                                        2.2 External Interfaces (Tele-Radiology System - DiannAssociates Tele-Radiology Service - Separate, Dedicated Tele-Health Network)




2.2.2.11   Provide the ability to reconcile the number of X-rays taken, transmitted and results received validate the Tele-Radiology invoice.                                                                                              2.2 External Interfaces (Tele-Radiology System - DiannAssociates Tele-Radiology Service - Separate, Dedicated Tele-Health Network)




2.2.2.12   Provide automation validation processes between the clinic module and the tele-radiology system (external) to validate the number of X-rays taken at each site from a central report to eliminate the need for sites to         2.2 External Interfaces (Tele-Radiology System - DiannAssociates Tele-Radiology Service - Separate, Dedicated Tele-Health Network)
           review and fax the X-ray logs for billing purposes.




2.2.2.13   Identify the individual capturing the X-Ray image for use in quality assurance and other user control processes.                                                                                                                2.2 External Interfaces (Tele-Radiology System - DiannAssociates Tele-Radiology Service - Separate, Dedicated Tele-Health Network)




2.2.3      Lab Interface - Primary (Currently LabCorp)- Laboratory Ordering and Results (External to ICE Network)                                                                                                                          2.2 External Interfaces


2.2.3.1    Provide an updated list of available labs for ordering through the EHR system.                                                                                                                                                  2.2 External Interfaces (Lab Interface - Primary (Currently LabCorp)- Laboratory Ordering and Results (External to ICE Network)




2.2.3.2    Provide the ability to link the available labs to link to the master lab list in the EHR.                                                                                                                                       2.2 External Interfaces (Lab Interface - Primary (Currently LabCorp)- Laboratory Ordering and Results (External to ICE Network)




2.2.3.3    Provide ability to print labels in the EHR that meet the specification of the lab to be placed on the lab specimens.                                                                                                            2.2 External Interfaces (Lab Interface - Primary (Currently LabCorp)- Laboratory Ordering and Results (External to ICE Network)




2.2.3.4    Provide the ability to accept the lab results from the contract laboratory with standard interface (HL-7 or HITSP compliant) to ensure results are in a format that can be used in reporting, analysis and workflow.            2.2 External Interfaces (Lab Interface - Primary (Currently LabCorp)- Laboratory Ordering and Results (External to ICE Network)




2.2.3.5    Accept notices when LabCorp is in receipt of each specimen.                                                                                                                                                                     2.2 External Interfaces (Lab Interface - Primary (Currently LabCorp)- Laboratory Ordering and Results (External to ICE Network)




2.2.4      Mail Order Pharmacy                                                                                                                                                                                                             2.2 External Interfaces
2.2.4.1    Provide the electronic transmission of orders from the EHR to Mail Order Pharmacy.                                                                                                                                              2.2 External Interfaces (Mail Order Pharmacy)




2.2.4.2    Provide the ability for the EHR to send all required information including patient demographics (name, patient ID, DOB/Age), diagnosis, drug, strength, regimen, route, and allergies required for a mail order                 2.2 External Interfaces (Mail Order Pharmacy)
           pharmacy order.




2.2.4.3    Provide the ability to transmit orders from the EHR system to the Mail Order Pharmacy orders and record the orders in the comprehensive medication history of the detainee.                                                     2.2 External Interfaces (Mail Order Pharmacy)




2.2.4.4    Provide the ability for the EHR to receive the Mail Order Pharmacy Order confirmation messages on each order when the order is accepted, filled and shipped.                                                                    2.2 External Interfaces (Mail Order Pharmacy)



2.2.4.5    Provide the required data to allow any EHR user to receive the mail order prescription and place into the Pill Line administration or the KOP medication issuance process.                                                      2.2 External Interfaces (Mail Order Pharmacy)



2.2.4.6    Provide adequate data to support the reconciliation of differences in the ordered and actual medications used to fulfill the order. (example: a mail order pharmacy fills an order for 10mg twice per day with 2 x 5mg          2.2 External Interfaces (Mail Order Pharmacy)
           twice per day).



2.2.4.7    Apply formulary management and restrictions to mail order pharmacy orders.                                                                                                                                                      2.2 External Interfaces (Mail Order Pharmacy)


2.2.5      Intergovernmental Services Agreement Detention Systems (State, County, City Jails) and Contract Detention Facility Detention Systems.                                                                                           2.2 External Interfaces




2.2.5.1    Provide the ability for the EHR system to import detainee housing information using standard interface that can be accepted from Contract, State, County, and City Jail detention systems.                                      2.2 External Interfaces (Intergovernmental Services Agreement Detention Systems (State, County, City Jails) and Contract Detention Facility Detention Systems.)




2.2.5.2    Provide the ability for the EHR to export required medical information to detention staff (examples: clinic schedule, special needs) through a secure method.                                                                   2.2 External Interfaces (Intergovernmental Services Agreement Detention Systems (State, County, City Jails) and Contract Detention Facility Detention Systems.)




2.2.5.3    Provide the ability track the history of all housing assignments that an individual had during the detention stay at all facilities.                                                                                            2.2 External Interfaces (Intergovernmental Services Agreement Detention Systems (State, County, City Jails) and Contract Detention Facility Detention Systems.)




2.2.5.4    Provide the ability to manually enter the detainee housing and bed assignment for use in supporting various processes within the EHR specifically focused.                                                                      2.2 External Interfaces (Intergovernmental Services Agreement Detention Systems (State, County, City Jails) and Contract Detention Facility Detention Systems.)




2.2.5.5    Provide a standardized format and specifications for an export of the bed information that can be used by detention systems to export through an offline/remote means the required information that can be scanned and 2.2 External Interfaces (Intergovernmental Services Agreement Detention Systems (State, County, City Jails) and Contract Detention Facility Detention Systems.)
           electronically imported into the EHR-S so the housing/bed assignment is in the system to support various processes that require accurate bed information (Pill Line, Sick Call)




2.2.6      IGSA Claims System - Plexus (Housed on Veteran's Affairs Network)                                                                                                                                                               2.2 External Interfaces

2.2.6.1    Send data for all off-site referrals approved by local authorities in compliance with the current data format to VA Plexus in Austin, TX for use in payment of electronic bills within 5 days of disposition of each request.   2.2 External Interfaces (IGSA Claims System - Plexus (Housed on Veteran's Affairs Network))




2.2.6.2    Provide the capability to transfer (outbound) referral review and approval data for use in the payment of claims from providers.                                                                                                2.2 External Interfaces (IGSA Claims System - Plexus (Housed on Veteran's Affairs Network))




2.2.6.4    Supports the capability to develop reports across the EHR data, claims payment (VA Plexus) data and custody data (EID, Sentry).                                                                                                 2.2 External Interfaces (IGSA Claims System - Plexus (Housed on Veteran's Affairs Network))




2.2.6.5    Provide the ability to transfer from the claims system to the EHR (inbound) the PAR system including claim detail and billing status of each referral.                                                                          2.2 External Interfaces (IGSA Claims System - Plexus (Housed on Veteran's Affairs Network))




2.2.6.6    Provide the ability to obtain the medical record from each PAR submitted if posted to the Medical Payment Authorization Request System (MEDPARS) or Plexus systems.                                                             2.2 External Interfaces (IGSA Claims System - Plexus (Housed on Veteran's Affairs Network))




2.2.7      Pharmacy Prime Vendor                                                                                                                                                                                                           2.2 External Interfaces
2.2.7.1    Provide the ability to order medication from the designated distributor from the Department of Veteran's Affairs Prime Vendor of Pharmaceuticals Contract to fulfill orders to stock local IGSA pharmacies.                     2.2 External Interfaces (Pharmacy Prime Vendor)




2.2.7.2    Allow the EHR system to provide the Pharmacy Prime Vendor system the projected usage of a particular product based on historical and more recent demand to trigger an increase in stock levels at the Pharmacy                  2.2 External Interfaces (Pharmacy Prime Vendor)
           Prime Vendor. Pharmacy system automatically by medication by strength, by dosage unit (I.e. when 100 tablets of lisinopril 20mg received from wholesaler, inventory in Pharmacy system shows increase)




2.2.7.3    Provide the ability to download invoices and validate (reconciliation) through a comparison with the Pharmacy system inventory records.                                                                                         2.2 External Interfaces (Pharmacy Prime Vendor)


2.2.7.4    Provide the ability to track each dose and lot number receive from manufacturer to each patient (KOP or Pill Line).                                                                                                             2.2 External Interfaces (Pharmacy Prime Vendor)


2.2.7.5    Provide the ability to accept for automatically generated orders from the Pharmacy module of the EHR when a product falls below Par level.                                                                                      2.2 External Interfaces (Pharmacy Prime Vendor)


2.2.7.6    Provide the ability to track orders that require individual dose tracking (inputs and outputs) based on management requirements of Drug Enforcement Agency (DEA) Scheduled/Controlled Substances.                               2.2 External Interfaces (Pharmacy Prime Vendor)




2.2.7.7    Provide the ability to electronically verify time, date and initials of receipt of Drug Enforcement Agency (DEA) Scheduled/Controlled Substances from Prime Vendor.                                                             2.2 External Interfaces (Pharmacy Prime Vendor)




2.2.8      Tele-Health System - Separate, Dedicated Tele-Health Network                                                                                                                                                                    2.2 External Interfaces

2.2.8.1    Provide the ability for the EHR to post a request for a tele-health specialty.                                                                                                                                                  2.2 External Interfaces (Tele-Health System - Separate, Dedicated Tele-Health Network)




2.2.8.2    Provide a confirmation that the tele-health appointment has been scheduled                                                                                                                                                      2.2 External Interfaces (Tele-Health System - Separate, Dedicated Tele-Health Network)




2.2.8.3    Allow EHR users to send a notice from the facility that a tele-health appointment must be rescheduled.                                                                                                                          2.2 External Interfaces (Tele-Health System - Separate, Dedicated Tele-Health Network)




2.2.8.4    Provide the ability for Tele-Health Network providers to view the Electronic Health Record for an individual detainee as a part of a tele-health encounter. NOTE: Many are not on the ICE network and are not cleared by 2.2 External Interfaces (Tele-Health System - Separate, Dedicated Tele-Health Network)
           ICE Security Processes.




2.2.8.5    Provide the ability for Tele-Health providers enter the medical information (diagnosis, procedures, progress notes, orders) into the EHR system that will automatically post to the medical record and trigger workflow 2.2 External Interfaces (Tele-Health System - Separate, Dedicated Tele-Health Network)
           within the system.




2.2.8.6    Leverage the interoperability of medical records to accept medical information into the EHR from a provider. Provide adequate exchange of information to trigger workflow in the EHR system will be triggered.                  2.2 External Interfaces (Tele-Health System - Separate, Dedicated Tele-Health Network)
           (Reference 1.3.X Tele-Health)




2.2.8.7    Provide the ability to alert staff when medical information cannot be posted to directly into the medical record to appropriately trigger workflow to follow up and obtain the medical record from the specialty appointment    2.2 External Interfaces (Tele-Health System - Separate, Dedicated Tele-Health Network)
           through another method.
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2.2.8.8     Provide the EHR a list and status each Tele-Health appointment so the Tele-health appointments are accounted for and are monitored.                                                                                               2.2 External Interfaces (Tele-Health System - Separate, Dedicated Tele-Health Network)




2.2.8.9     Support the confirmation of the appointment on a provider schedule with the appropriate assignment of the tele-health room as a resource with the same appointment (to prevent scheduling conflicts with tele-health              2.2 External Interfaces (Tele-Health System - Separate, Dedicated Tele-Health Network)
            appointments).




2.2.8.10    Provide the EHR users a status of each tele-health appointment request and its status approved, pending scheduling, scheduling, created, booked, changed or cancelled.                                                            2.2 External Interfaces (Tele-Health System - Separate, Dedicated Tele-Health Network)




2.2.8.11    Ability to capture, download and post images and measurements available through various modalities of tele-health (examples: dermatological photographs, echocardiogram results, vital signs, stethoscope,                        2.2 External Interfaces (Tele-Health System - Separate, Dedicated Tele-Health Network)
            ultrasounds) to the patient's medical record when captured by the Tele-health system for reference by local providers.




2.2.8.12    Ensure performance of the system is not impacted by download of images and measurements.                                                                                                                                          2.2 External Interfaces (Tele-Health System - Separate, Dedicated Tele-Health Network)




2.2.8.13    Ability to continue use of the system while download is in progress.                                                                                                                                                              2.2 External Interfaces (Tele-Health System - Separate, Dedicated Tele-Health Network)




2.2.9       Provide access to medical records from the Bureau of Prison's System                                                                                                                                                              2.2 External Interfaces

2.2.9.1     Provide interoperability with the Bureau of Prison's EHR to provide ICE and BOP medical staff access to healthcare records of individuals that transfer between ICE and US Marshall custody.                                      2.2 External Interfaces (Provide access to medical records from the Bureau of Prison's System)




2.2.9.2     Provide comprehensive mapping of data in the BOP EHR to allow full exchange of medical records while preserving the data quality of the fields to support comprehensive decision stays with the patient regardless                2.2 External Interfaces (Provide access to medical records from the Bureau of Prison's System)
            the number of times the detainee transfers.




2.2.9.3     Identify in the EHR system any detainees that have healthcare records in the BOP system for their consideration.                                                                                                                  2.2 External Interfaces (Provide access to medical records from the Bureau of Prison's System)




2.2.9.4     Allow user to review the BOP health record of those in custody.                                                                                                                                                                   2.2 External Interfaces (Provide access to medical records from the Bureau of Prison's System)




2.2.10      Access to Medical Information outside the ICE EHR System                                                                                                                                                                          2.2 External Interfaces

2.2.10.1    Support electronic Health Information Exchange and Access to Medical Records through the Nationwide Health Information Network (NHIN) or other Health Information Exchange standards to maximize the                              2.2 External Interfaces (Access to Medical Information outside the ICE EHR System)
            availability of medical records to be found, accessed and used during a provider encounter with a patient.




2.2.10.2    Maintains medical information in format that is compliant with interoperability standards developed by ONC-HIT.                                                                                                                   2.2 External Interfaces (Access to Medical Information outside the ICE EHR System)




2.2.10.3    Provide the ability to access medical records from Emergency Rooms, health systems where detainees may have been a benefactors, jails (city, county, state, local) where the detainees were previous housed and                   2.2 External Interfaces (Access to Medical Information outside the ICE EHR System)
            other healthcare organizations using the NHIN.




2.2.10.4    Provide capability of accepting full medical records from IGSAs and CDFs for use by IGSA staff.                                                                                                                                   2.2 External Interfaces (Access to Medical Information outside the ICE EHR System)




2.2.10.5    Provide the opportunity for EHR users to search the NHIN for available medical records in the private healthcare organizations.                                                                                                   2.2 External Interfaces (Access to Medical Information outside the ICE EHR System)




2.2.10.6    Provide an indicator in the EHR when additional medical information is available for review by EHR System user that may have been downloaded.                                                                                     2.2 External Interfaces (Access to Medical Information outside the ICE EHR System)




2.2.10.7    Provide the ability and successful use the CONNECT freeware open-source software solution or other Health Information Exchange to support exchange with IGSAs/CDFs with EHRs where it is effective to security, 2.2 External Interfaces (Access to Medical Information outside the ICE EHR System)
            cost and infrastructure submit medical information to be stored within the ICE medical record repository for access through the EHR system




2.2.10.8    Provide the ability to connect directly with an electronic health record system of Federal partners when the use of the CONNECT software solution provided by the FHA.                                                            2.2 External Interfaces (Access to Medical Information outside the ICE EHR System)




2.2.10.9    Provide a system that uses the CONNECT software solution as an alternative to a direct exchange of to medical records for Bureau of Prison (BOP) facilities to support continuity for many transfers from ICE to BOP 2.2 External Interfaces (Access to Medical Information outside the ICE EHR System)
            custody,




2.2.10.10   Provide the ability to incorporate external medical records (obtained through CONNECT or a direct connection) such that the data can be incorporated into current medical record and pertinent values can be                      2.2 External Interfaces (Access to Medical Information outside the ICE EHR System)
            graphed, analyzed and incorporated into existing clinical processes.




2.2.10.11   Provide a list of medical records that have been received and not been linked to an Enforce record and provide capability to link each medical record not automatically linked.                                                   2.2 External Interfaces (Access to Medical Information outside the ICE EHR System)




2.2.10.12   Provide the ability to provide access to medical records for detainees that return to their country of origin.                                                                                                                    2.2 External Interfaces (Access to Medical Information outside the ICE EHR System)




2.2.10.13   Provide an interface with the EHR and the data repository to allow support the tracking of all requests for release of medical records and support trigger a review of the medical record before release.                         2.2 External Interfaces (Access to Medical Information outside the ICE EHR System)




2.2.10.14   Provide capability to support transfer of full medical records information to and from organizations as technology, capability needs and an appropriate agreement in place with ICE.                                              2.2 External Interfaces (Access to Medical Information outside the ICE EHR System)




2.2.10.15   Provide a method for ICE to provide the services for and mandate enter of information into the web version of the EHR or comply with a standard interface and data exchange process to pass medical data on all ICE               2.2 External Interfaces (Access to Medical Information outside the ICE EHR System)
            detainees.




3.0         3.0 SERVICE MODULES                                                                                                                                                                                                               3.0 SERVICE MODULES
3.1         Case Management Support and Advanced Managed Care Support (Reference W BS 3.1)                                                                                                                                                    3.0 SERVICE MODULES

3.1.1       Provide case management support allowing providers to documentation document case notes that are not part of the official medical record to support the processes of Managed Care, Mental Health Managed Care, 3.0 SERVICE MODULES (Case Management Support and Advanced Managed Care Support (Reference WBS 3.1))
            Availability of Healthcare, Forensic Psychological evaluations, Post Order Custody Review)




3.1.2       Provide the ability to insert provisional diagnoses to the real time problem list in the Clinic Support Module for diagnoses that are reported from off-site medical organizations where a detainee receives services such 3.0 SERVICE MODULES (Case Management Support and Advanced Managed Care Support (Reference WBS 3.1))
            that the diagnoses are available in the medical record.




3.1.3       Provide the ability for users to document case management related notes and define the date for the next follow up or select a recurring follow up.                                                                               3.0 SERVICE MODULES (Case Management Support and Advanced Managed Care Support (Reference WBS 3.1))




3.1.4       Provide that ability for users to view all pending follow ups needing review to support accountability and workload sharing between staff of all follow ups and timely completion of each follow up.                              3.0 SERVICE MODULES (Case Management Support and Advanced Managed Care Support (Reference WBS 3.1))




3.1.5       Provide the ability for individuals to monitor all required case management follow ups in their specific program (Managed Care, Mental Health, Availability of Healthcare, Forensic Psychological evaluation, Post                3.0 SERVICE MODULES (Case Management Support and Advanced Managed Care Support (Reference WBS 3.1))
            Order Custody Review) without including the notes in the official medical record.




3.1.6       Provide the ability to discontinue the case management process at during each review to discontinue prompting for follow up prompting for values to categorize the outcome of the case (treatment complete, goals                 3.0 SERVICE MODULES (Case Management Support and Advanced Managed Care Support (Reference WBS 3.1))
            achieved, returned to custody, removed from program, out of custody) and ensure appropriate closure of billing and case management.




3.1.7       Provide the ability to trigger a review of a case to obtain collaborative input from appropriate authorities into the management of each case.                                                                                    3.0 SERVICE MODULES (Case Management Support and Advanced Managed Care Support (Reference WBS 3.1))
3.1.8       For Managed Care and Specialty Managed Care (Mental Health, Dental, etc), allow each case management note to be linked to a Payment Authorization Request (PAR) and the patient medical record but not                            3.0 SERVICE MODULES (Case Management Support and Advanced Managed Care Support (Reference WBS 3.1))
            included in the official medical record.




3.1.9       For Mental Health Services, allow entries by Program Coordinators with ICE to include and remove detainees from the program and link to the decision support (queries, alerts, workflow) of the program to ensure an 3.0 SERVICE MODULES (Case Management Support and Advanced Managed Care Support (Reference WBS 3.1))
            accurate list of tasks to be completed per the ICE program managers.




            Referral Submissions                                                                                                                                                                                                              3.0 SERVICE MODULES
3.1.10      Support provider requests for referrals to other departments within the IGSA site (mental health, dental, etc.) directly from EHR system users as a part of order entry.                                                          3.0 SERVICE MODULES (Case Management Support and Advanced Managed Care Support (Reference WBS 3.1) Referral Submissions)




3.1.11      Support provider request for referrals off-site (Specialty, Emergency Care, etc.) and appropriate routing to Manager Care Coordinators for review / approval as a part of order entry.                                            3.0 SERVICE MODULES (Case Management Support and Advanced Managed Care Support (Reference WBS 3.1) Referral Submissions)




3.1.12      Provide a way to differentiate urgent referrals from non-urgent referrals and directed by the provider                                                                                                                            3.0 SERVICE MODULES (Case Management Support and Advanced Managed Care Support (Reference WBS 3.1) Referral Submissions)




3.1.13      Provide the ability for facilities with contract medical staff (IGSAs, CDFs, Others) housing ICE detainees to submit referrals or PAR for review by ICE/IGSA medical staff.                                                       3.0 SERVICE MODULES (Case Management Support and Advanced Managed Care Support (Reference WBS 3.1) Referral Submissions)




3.1.14      Provide the ability to submit PARs for off-site medical services for 1200 external sites that do not have access to the ICE network and have interacted with detainees outside of DRO custody.                                    3.0 SERVICE MODULES (Case Management Support and Advanced Managed Care Support (Reference WBS 3.1) Referral Submissions)




3.1.15      Provide ability to add new users to the web access to submit PARs.                                                                                                                                                                3.0 SERVICE MODULES (Case Management Support and Advanced Managed Care Support (Reference WBS 3.1) Referral Submissions)




3.1.16      Support web user profile that record contact and organizational information on each user so Managed Care coordinators can contact the submitter                                                                                   3.0 SERVICE MODULES (Case Management Support and Advanced Managed Care Support (Reference WBS 3.1) Referral Submissions)




3.1.17      Provide the ability to allow users to be categorized by location to ensure visibility of all PARs submitted by the facility.                                                                                                      3.0 SERVICE MODULES (Case Management Support and Advanced Managed Care Support (Reference WBS 3.1) Referral Submissions)




3.1.18      Notify users with an email when a determination is made on any PARs.                                                                                                                                                              3.0 SERVICE MODULES (Case Management Support and Advanced Managed Care Support (Reference WBS 3.1) Referral Submissions)




3.2         Graphical Dental Charting or Dental Software (Reference W BS 3.2)                                                                                                                                                                 3.0 SERVICE MODULES

3.2.1       Provides graphical dental charting allowing documentation on a graphical representation the mouth including upper, lower, right quadrant, left quadrant, arch and 3D modeling views.                                              3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))



3.2.2       Graphical dental charting that allow the provider to denote pathology, restorations and periodontal findings on the graphical depiction of the mouth.                                                                             3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))



3.2.3       Ensures graphical dental charting and all additional capability integrates all information into the Electronic Health Record to ensure complete continuity of a full medical record at any time.                                  3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))



3.2.4       Provides graphical dental charting that supports the ability to support electronic documentation on a pediatric depiction of the mouth.                                                                                           3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.2.5       Provides graphical dental charting that allows electronic charting of pediatric and mixed dentitions.                                                                                                                             3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.2.6       Provides graphical dental charting that allow provider to record notes on a specific tooth.                                                                                                                                       3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.2.7       Provides graphical dental charting that allows the provider to chart multiple procedures to a specific tooth.                                                                                                                     3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.2.8       Provides the ability to view a quadrant of teeth for more detailed view of the target area to be documented.                                                                                                                      3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.2.9       Provides the ability to document the relationship between teeth as it relates to contact of the various teeth.                                                                                                                    3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.2.10      Provides graphical dental charting that displays all documented items graphically on the Chart and adds the text of the action document to the patient’s medical record.                                                          3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.2.11      Provides graphical dental charting that allows the viewing of images, historical procedures and treatment completed by clicking on tooth or a series of teeth.                                                                    3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))



3.2.12      Provide graphical dental charting that allows providers to continue adding annotations on the graphical dental chart and allow modification of previous dental history while tracking all modifications.                          3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.2.13      Posts to the graphical dental depiction of the mouth all future treatment documented in the dental treatment plan.                                                                                                                3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))



3.2.14      Provide graphical dental charting that allows providers to attach images such as digital pictures to the graphical dental chart and accessible to all providers in the medical record and accessible by appropriate staff         3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))
            at all sites..



3.2.15      Provide graphical dental charting that supports the ability to record still photo and full-motion video and attach to the graphical dental chart for reference and comparative analysis and accessible by appropriate staff at 3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))
            all sites.




3.2.16      Provide the ability to attach a digital photo or DICOM compliant x-ray captured by another device/system to a patient record as a DICOM file and accessible by appropriate staff at all sites.                                    3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.2.17      For the photos posted to the graphical dental chart, provide the ability to view image thumbnails and click image to enlarge                                                                                                      3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.2.18      Provide graphical dental charting that supports periodontal dental charting.                                                                                                                                                      3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.2.19      For the graphical dental chart, assign tooth numbers to each image and post to the graphical dental chart with standard dental numbering of teeth for both adult and primary dentitions.                                          3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.2.20      Provide the ability to open an x-ray, thumbnails and images by clicking a tooth in the graphical viewer                                                                                                                           3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.2.21      Provide the ability to track compliance with the completion of various dental requirements (as required in standards in the core module) to monitor completion of encounters responding to dental sick call, responses to 3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))
            positive indications of dental problems during intake screening or encounters, whether an individual in custody longer than a specified amount of time (example: dental exam no later than 1 year) has received their
            annual dental exam and the fact that a dental treatment plan developed for each detainee.




3.2.22      Provide ability to complete a dental history form allowing a dental technician, hygienist or dentist to ask a specific set of questions and collect the response. Dental History forms and customized dental treatment            3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))
            plans to be electronically signed by the patient, the provider and a witness at the time of the review.




3.2.23      Integrates into of the existing scheduling system / process such that appropriate oversight of all clinic schedules and sick call requests are in place through the main/shared scheduler queue, availability of bed              3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))
            information and notification to Security for appointments includes dental and medical.




3.2.24      Supports the development of Dental Treatment Plans including use of several standardized plans that can be modified/adjusted capability by Dentist to customize each plan for the patient.                                        3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.2.25      Supports electronically signature with provider and witness signature to consent for treatment plans after presentation by the dental provider.                                                                                   3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.2.26      Uses most current Dental CDT (ADA) Codes and updates when new code versions are released without impacting historical data.                                                                                                       3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.2.27      Be able to quickly order commonly used medications (see order entry section of EHR) using standardized order set templates that are visible in both the Pharmacy and EHR systems.                                                 3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.2.28      Provides standardized and customizable order set templates for dental progress notes.                                                                                                                                             3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.2.29      Provide the ability to mark the area of all X-rays for identification of the site for surgical or other dental procedure.                                                                                                         3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.2.30      Provide the ability to obtain validation of the location of the dental work to be complete to meet "time out requirement" prior to major dental surgeries.                                                                        3.0 SERVICE MODULES (Graphical Dental Charting or Dental Software (Reference WBS 3.2))




3.3         Statistical Analytics and Decision Support Development (Reference W BS 3.3)                                                                                                                                                       3.0 SERVICE MODULES

3.3.1       Ensure compliance with data structure standards such that all data fields can be selected, exported and analyzed through various statistical applications software (Examples: Statistical Analysis Software -SAS                  3.0 SERVICE MODULES (Statistical Analytics and Decision Support Development (Reference WBS 3.3))
            ProAnalytics, Structured Query Language-SQL, MySQL, Oracle, Geographic Information System-ArcGIS Geospatial Analytics, etc.)




3.3.2       Ensures all data fields are categorized and generated accordingly (discrete or continuous data fields) so that queries and analyses can be performed appropriately to meet organizational standards and support                   3.0 SERVICE MODULES (Statistical Analytics and Decision Support Development (Reference WBS 3.3))
            management data-driven decisions.




3.3.3       Provide the capability of analyzing data quality across the entire enterprise data structure to define and facilitate required modifications to the system inputs.                                                                3.0 SERVICE MODULES (Statistical Analytics and Decision Support Development (Reference WBS 3.3))




3.3.4       Provide the history of all reports generated throughout the system to document and assess the historical applications and utilization of medical information/data.                                                                3.0 SERVICE MODULES (Statistical Analytics and Decision Support Development (Reference WBS 3.3))




3.3.5       Provide capacity for importing/exporting data, programming/linking data, and data mining.                                                                                                                                         3.0 SERVICE MODULES (Statistical Analytics and Decision Support Development (Reference WBS 3.3))




3.3.6       Provide statistical inputs, reviews, and assessments on system performance as well as the efficiency of health data/info collection processes.                                                                                    3.0 SERVICE MODULES (Statistical Analytics and Decision Support Development (Reference WBS 3.3))




3.3.7       Provide the history of all reports generated throughout the system to assess the historical and application of medical information.                                                                                               3.0 SERVICE MODULES (Statistical Analytics and Decision Support Development (Reference WBS 3.3))




3.4         Epidemiology (Reference W BS 3.4)                                                                                                                                                                                                 3.0 SERVICE MODULES
3.4.1       Provide the ability to add patients to various Infectious Disease Surveillance Groups where patients can be included or excluded in multiple groups based on criteria and manual entry.                                           3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))




3.4.2       Provide the ability to track the history of inclusion in the group for use in decision support (clinical decision support, alerts, workflow, queries and reports) that will remains associated with the patient even if they no   3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))
            longer meet the criteria or are manually removed from the group.




3.4.3       Provide the ability to track when (date/time) an individual was placed in a surveillance group and subsequently removed.                                                                                                          3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))


3.4.4       Provide the ability to differentiate misdiagnoses, ruled-out and resolved when a detainee is removed from a specific group.                                                                                                       3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))


3.4.5       Provide the ability create business rules where an individual is added to the group without user interaction when criteria are met (examples: specific diagnosis, initiation of specific treatment).                              3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))
                                                                                                                                                                                                                                                                                                                        Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 207 of 1402




3.4.6      Provide the ability to update the group status manually by HQ staff with the ability to identify instances when the individual was errantly placed in the group or misdiagnosed.                                              3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))




3.4.7      Provide the ability to prompt the provider to decide whether a detainee should be removed from one or more groups when a diagnosis established in the group business rules is documented as resolved.                         3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))




3.4.8      Provide the ability to link data fields already collected in the EHR to data fields required for each group to prevent the duplicate entry of data and the existing of multiple fields for the same data (examples: Blood     3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))
           Sugars, Sputum Results) should be in a single field in the medical database.




3.4.9      Provide the ability to identify data fields that are required for each group and not in the existing database that will trigger workflow to collect the required information when a detainee is added to the group.           3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))




3.4.10     For the specialized Tuberculosis (TB) Continuity of Care Group, the system should add to TB surveillance group when TB treatment is initiated without user intervention.                                                      3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))




3.4.11     Provide the ability to differentiate detainees added to the TB that "resolved" from those that are "ruled-out"                                                                                                                3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))


3.4.12     Allow local facilities to add additional groups for locally reportable diseases per Clinical Director's preference.                                                                                                           3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))


3.4.13     For patients being monitored, provide the ability to identify all patients that require data fields per local facility management module.                                                                                     3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))


3.4.14     Ensure all fields in the EHR are discrete data for use in evaluating all potential factors associated with detainees added to a specific group.                                                                               3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))


3.4.15     Ensures the data structure is designed for analysis at the level of the individual patient to prevent all queries from double counting individuals that are currently or historically part of a group.                        3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))




3.4.16     Provides the ability to analyze all detainees with a specified health condition that counts only one patient regardless of number of encounters and regardless of number of facilities they transfer to in support of a single 3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))
           contiguous medical record for each detainee.




3.4.17     Provide the ability to track (for analysis) patients with a health condition, not just encounters (e.g. a patient who has AIDS should not be counted as five separate cases if he transfers to five different facilities); analyses 3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))
           and reporting should be able to reflect cases, not just encounters (# of people with a given condition in a specified condition).




3.4.18     Include information on detainees with historical medical alerts holds and medical alerts, INFECTIOUS DISEASE HISTORY AVAILABLE IN ENFORCE (e.g., alert if a patient known to have contagious TB who has                       3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))
           not received treatment returns to custody)




3.4.19     Provide the ability to monitor compliance with TB and other infectious disease protocols throughout the system of all facilities.                                                                                             3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))




3.4.20     Provide the ably to document whether a TB meet and greet was used.                                                                                                                                                            3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))


3.4.21     Provide the ability to identify which patients are on a stay of removal in the medical hold.                                                                                                                                  3.0 SERVICE MODULES (Epidemiology (Reference WBS 3.4))




3.5        Mental Health Advanced Functions (Reference W BS 3.5)                                                                                                                                                                         3.0 SERVICE MODULES

3.5.1      Provide support of voice recognition software for use in developing mental health progress notes in paragraph format.                                                                                                         3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))



3.5.2      Provide enhanced capability of use of AXIS levels I-V in progress notes through voice recognition.                                                                                                                            3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))



3.5.3      Supports Mental Health services including but not limited to Mental Health Intake, 14-Day Mental Health Physical, Psychological Assessments                                                                                   3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




3.5.4      Usable dropdown to designate mental status (orientation, speech, eye contact, mood, affect) for questions posed during mental health encounters.                                                                              3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




3.5.5      Support scheduling of mental health groups (examples: drug addiction, suicidal ideation) to allow scheduling of several participants of each group. Provide the ability to establish a mental health groups and add           3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))
           several detainees to the group meeting to prompt for appropriate coordination of transport to the location of the mental health group at the scheduled time.




3.5.6      Allows documentation of various sub-encounter types specifically applicable to mental health.                                                                                                                                 3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




3.5.7      Supports mental health specific clinical decision support for triggering appropriate follow up care services based on specific mental health assessment techniques for both mental health and clinic staff including          3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))
           workflow to support Chronic Mental Health, Brief Assessments, Crisis Intervention, Psychoeducation, and Support Therapy.




3.5.8      Provides customized workflow supporting Psychiatry and Contract Services to include: Initial Psychiatric Evaluation, Psychiatric Follow Up, Mental Health Hospital Admission, and Post Hospitalization Follow ups.            3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




3.5.9      For facilities with dedicated Mental Health Units or Mental Health Segregation Units, provide the following mental health reviews: Special Housing Unit (SHU) Intake, Special Housing Follow up, Administrative               3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))
           Segregation Admit, Administrative Segregation Follow Up.




3.5.10     Provides comprehensive suicide management and prevention tools including but not limited to: # Suicide Risk Assessment, Suicide Attempt, Suicide Gesture, # of Suicide Watches, # of Days on Suicide Watch,                   3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))
           Suicide Watch DC, Suicide Watch FU. Include both mental health and non-mental health staff.




3.5.11     Provides full access to the complete medical record for mental health providers to review all medical conditions to determine whether they may be contributing to a mental health condition.                                  3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




3.5.12     Incorporates all mental health progress note documentation into the comprehensive individual detainee medical record.                                                                                                         3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




3.5.13     Provides the ability to generates a draft mental health treatment plan standard mental health activities actions based on mental health decision support tools and based on algorithmic based clinical mental health          3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))
           standards based on information entered during mental health or medical intake screening.




3.5.14     Supports progress notes in the format of Subjective, Objective, Assessment and Plan (SOAP).                                                                                                                                   3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




3.5.15     Provide ability to include or exclude rules defined in subscription mental health decision support tools based on the oversight authority.                                                                                    3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




3.5.16     Provide the ability to create mental health Facility Activities / Tasks to be completed by mental health support in support of treatment plans. Ensure mental health providers have the ability to review and complete each   3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))
           task.




3.5.17     Provide the ability to Include mental health tasks in the same queue as the clinical nursing tasks such that clinical nurses can complete when clinic nurses are covering for mental health staff for Special Housing Unit 3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))
           patients. Nurses should be able to include or exclude these items based on the availability of mental health staff to complete these tasks.




3.5.18     Support the development mental health of order set templates for mental health intakes to expedite the completion of encounters electronically.                                                                               3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




3.5.19     Provide current templates for mental health process to support suicidal ideation.                                                                                                                                             3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




3.5.20     Ensure support of all Order Entry capability as indicated in 1.1 Core Module - Clinic Support.                                                                                                                                3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




3.5.21     Provide access to mental health education and counseling materials for printing on demand for patients.                                                                                                                       3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




3.5.22     Provide standardized and customizable templates for each of the 4 sections of the progress note in SOAP format based on mental health intake, mental status, and diagnoses .                                                  3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




3.5.23     Provide the ability to complete a Suicide Risk Assessment using the HELPER standard that automatically calculates the values associated with the HELPER program.                                                              3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




3.5.24     Provide the ability to create a comprehensive mental health care plan including future appointments, medications, group participation and other activities at the discretion of the provider allowing electronic signature    3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))
           from the detainee with a witness.




3.5.25     Provide the ability to create a comprehensive mental health care plan including future appointments, medications, group participation and other activities at the discretion of the provider allowing electronic signature    3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))
           from the detainee with a witness.




3.5.26     Provide the ability for voice recognition software to transition between drop-down fields and free text with drop down selection as the without compromising integrity of the note content or the flow of voice recognition   3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))
           use.




3.5.27     Provide a solution that meets the criteria for certification Behavioral Health (not part of functional requirements) as set forth by Office of the National Coordinator certification criteria.                               3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




3.5.28     Provide enhanced DSM-IV tool in evaluation Notes with ability to auto populate relevant Axis III medical issues already recorded in eHR.                                                                                      3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




3.5.29     Provide the ability to support mental health protocols, order set templates and guidelines where criteria can be defined to force the use of this specific item.                                                              3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




3.5.30     Provide the ability to select a differential diagnosis to be given based on signs and symptoms documented in chart.                                                                                                           3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




3.5.31     Provide the ability to incorporate subscription based algorithmic mental health decision support content where entries from medical record and mental health data collection tools (screenings, medical encounters,           3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))
           mental health encounters) to make research-based recommendations for mental health care.




3.5.32     Provide the ability to develop mental health protocols based on mental health practice setting that walks all users through the flow of the protocol.                                                                         3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




3.5.33     Provide the ability to add additional mental health assessment tools for various mental health diagnoses (depression, anxiety, etc.) that include a calculation/scoring that results in risk factors that are considered in the 3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))
           development of a care plan.




3.5.34     Provide the ability to develop Mental health Care Plans for detainees utilizing community and correctional best practices                                                                                                     3.0 SERVICE MODULES (Mental Health Advanced Functions (Reference WBS 3.5))




           Mental Health Services Unit                                                                                                                                                                                                   3.0 SERVICE MODULES
3.5.35     Identify patients that have been referred to social services for case management. (Availability of Healthcare, Alternatives to Detention, 8 C.F.R. § 241.14 Continued detention of removable aliens on account of             3.0 SERVICE MODULES (Mental Health Services Unit)
           special circumstances.)




3.5.36     Provide full access to medical record                                                                                                                                                                                         3.0 SERVICE MODULES (Mental Health Services Unit)


3.5.37     Support case management support to cover documentation of the availability of healthcare services that may or may not be considered part of the medical records.                                                              3.0 SERVICE MODULES (Mental Health Services Unit)




3.5.38     Document progress notes outside the medical record as it pertains to management of a specific case.                                                                                                                           3.0 SERVICE MODULES (Mental Health Services Unit)


3.5.39     Document the determinations made by the social workers and track the history of the status.                                                                                                                                   3.0 SERVICE MODULES (Mental Health Services Unit)




3.6        TeleHealth (Reference W BS 3.6)                                                                                                                                                                                               3.0 SERVICE MODULES
3.6.1      Provide the ability to accept referrals for Tele-Health Appointments for specialties available.                                                                                                                               3.0 SERVICE MODULES (TeleHealth (Reference WBS 3.6))


3.6.2      Provide the ability to notify any provider with that specialty and access tot the Tele-Health system to accept the appointment onto their schedule.                                                                           3.0 SERVICE MODULES (TeleHealth (Reference WBS 3.6))


3.6.3      Provide the ability for an individual to setup Tele-Health appointments using a centralized, shared schedule.                                                                                                                 3.0 SERVICE MODULES (TeleHealth (Reference WBS 3.6))


3.6.4      Provide the ability to incorporate into local schedule for providers that are EHR users.                                                                                                                                      3.0 SERVICE MODULES (TeleHealth (Reference WBS 3.6))


3.6.5      Ability to allow remote entry into the medical record to support encounters with Tele-Health system                                                                                                                           3.0 SERVICE MODULES (TeleHealth (Reference WBS 3.6))


3.7        Special Operations (Reference W BS 3.7)                                                                                                                                                                                       3.0 SERVICE MODULES
3.7.1      Provide a list of detainees that have been recommended (through the medical alert process) as a detainee that require a medical escort.                                                                                       3.0 SERVICE MODULES (Special Operations (Reference WBS 3.7))




3.7.2      Provide a list of detainees that have been designated for transfer by ICE that require a medical escort.                                                                                                                      3.0 SERVICE MODULES (Special Operations (Reference WBS 3.7))




3.7.3      Provide the ability to assign medical escort to each request..                                                                                                                                                                3.0 SERVICE MODULES (Special Operations (Reference WBS 3.7))




3.7.4      Provide the ability to assign a contract medical escort when a IGSA staff member is not available.                                                                                                                            3.0 SERVICE MODULES (Special Operations (Reference WBS 3.7))




3.7.5      Provide the ability to allow Non-IGSA IGSAs and CDFs to recommend Medical escorts that will trigger review and confirmation upon request to move the detainee.                                                                3.0 SERVICE MODULES (Special Operations (Reference WBS 3.7))




3.7.6      For recommendations for medical escort, document the provider level (Physician, Mid-Level Provider, Nurse, Licensed Vocational Nurse) that made the determination that a medical escort is recommended..                      3.0 SERVICE MODULES (Special Operations (Reference WBS 3.7))




3.7.7      Provide offline/remote capability at the point of care support for worksite enforcements where detainee information collected is available immediately when wireless access is available and when full secure connectivity 3.0 SERVICE MODULES (Special Operations (Reference WBS 3.7))
           restores.




3.7.8      Provide offline/remote capability of flight transports to have the full medical record continue documentation during flight when wireless communication is unavailable or must be turned off.                                 3.0 SERVICE MODULES (Special Operations (Reference WBS 3.7))




3.8        Performance Improvement (Reference W BS 3.8)                                                                                                                                                                                  3.0 SERVICE MODULES

3.8.1      Provides the ability to complete a record review based on Performance Improvement objectives and review requirements. documents the records review to meet the number of records reviewed for Performance                     3.0 SERVICE MODULES (Performance Improvement (Reference WBS 3.8))
           Improvement Objectives.




3.8.2      Provide the ability to link each record review to the actual medical record reviewed for validation of accuracy of the outcome of the Performance Improvement standard review.                                                3.0 SERVICE MODULES (Performance Improvement (Reference WBS 3.8))




3.8.3      Allow full access to medical records when completing the required performance improvement reviews .                                                                                                                           3.0 SERVICE MODULES (Performance Improvement (Reference WBS 3.8))


3.8.4      Provide the ability separate reporting periods by month, quarter, year.                                                                                                                                                       3.0 SERVICE MODULES (Performance Improvement (Reference WBS 3.8))


3.8.5      Provide the ability to identify and complete pending medical record reviews on each Performance Improvement standard.                                                                                                         3.0 SERVICE MODULES (Performance Improvement (Reference WBS 3.8))


3.8.6      Provide the ability to complete a review on several PI standards at once documenting the review of each standard required by the Performance Improvement standards.                                                           3.0 SERVICE MODULES (Performance Improvement (Reference WBS 3.8))




3.8.7      Provide a user interface that provides a clear distinction between medical record information and Performance Improvement information and prevent inclusion of Performance Improvement data in the patient medical            3.0 SERVICE MODULES (Performance Improvement (Reference WBS 3.8))
           record.




3.8.8      Allows submission of incident reports based on incidents identified on the IGSA Incident Form.                                                                                                                                3.0 SERVICE MODULES (Performance Improvement (Reference WBS 3.8))
3.8.9      Provides varying notifications to users based on the type of incident report submitted.                                                                                                                                       3.0 SERVICE MODULES (Performance Improvement (Reference WBS 3.8))
3.8.10     Provide the ability to define and track peer reviews (full record review) within the system to meet accreditation and licensure requirements driving specific number of peer reviews based on various authorities             3.0 SERVICE MODULES (Performance Improvement (Reference WBS 3.8))
           (accrediting bodies,. state licensure, specialty, local leadership) demands without any entry into the medical records being reviewed. Peer review allows for notes and feedback to be given to the provider, that are to
           be kept separate from any medical record. Must have adequate safeguards to prevent confusion in the entry of this data versus medical record information.




3.9        Financial Management (Reference W BS 3.9)                                                                                                                                                                                     3.0 SERVICE MODULES
3.9.1      Support enhancement of coding capability (CPT, ICD) to provide cost factors to all care and services provided at IGSA facilities.                                                                                             3.0 SERVICE MODULES (Financial Management (Reference WBS 3.9))


3.9.2      Achieve an accurate cost of care per detainee for all aspects of care including: administrative, ancillary (lab x-ray), nursing, providers.                                                                                   3.0 SERVICE MODULES (Financial Management (Reference WBS 3.9))




3.9.3      Provide the ability to report across all EHR data structures to include medical claims data.                                                                                                                                  3.0 SERVICE MODULES (Financial Management (Reference WBS 3.9))




3.9.4      Provide the ability to document the reimbursable rates covered by common insurance programs for cost analysis.                                                                                                                3.0 SERVICE MODULES (Financial Management (Reference WBS 3.9))




3.9.5      Provide the ability to allow clinical documentation specialists to review documentation and enhance the clinical coding applied to improve the application of codes on each encounter providing feedback to providers on 3.0 SERVICE MODULES (Financial Management (Reference WBS 3.9))
           better ways to code in the future.




3.9.6      Provide support to transition between coding standards maintaining links to historical data (ICD9 to ICD10, ICD to SNOMED).                                                                                                   3.0 SERVICE MODULES (Financial Management (Reference WBS 3.9))
4.0        4.0 LEGACY RETIREMENT                                                                                                                                                                                                         4.0 LEGACY RETIREMENT
GR4.1      General Legacy Retirement Requirements                                                                                                                                                                                        4.0 LEGACY RETIREMENT
GR.4.0.1   Provide the ability to access historical data after transition and retirement of system such that medical records are accessible for historical reference.                                                                    4.0 LEGACY RETIREMENT (General Legacy Retirement Requirements)




GR.4.0.2   Ensures the link between patient identifiers are established with the new medical record such that the information is accessible.                                                                                             4.0 LEGACY RETIREMENT (General Legacy Retirement Requirements)




           Legacy Systems                                                                                                                                                                                                                4.0 LEGACY RETIREMENT
4.1        Transition data from the Electronic Medical Record / Payment Authorization Request (PAR) System – CaseTrakker - Software Developer: IMA Technologies. Serves as current electronic health record. It is                       4.0 LEGACY RETIREMENT (Legacy Systems)
           relational Database designed to track detainee population, scheduling, clinical data and encounter details. Serves as legal medical record for all detainees receiving care at the (9) facilities using the system.




4.1.1      Transition the data stored in the database collected from the PAR Web Site is available for historical reference.- PARWeb is a customized web application developed by IMA to provide limited functional capability to        4.0 LEGACY RETIREMENT (Legacy Systems)
           web users external to the DIHS network. The application is run off a web server from in Washington DC and interfaces directly with the CaseTrakker database in Washington DC, where the Managed Care
           Coordinators review the submitted PAR.




4.2        Transition data from the Scheduling, Workload, Diagnosis Tracking Software (MedEZ) such that the system can be retired. MedEZ is a relational Database designed to track specific parameters of each detainee                 4.0 LEGACY RETIREMENT (Legacy Systems)
           with their medical status (Diagnosis, Special Needs, Medical Alerts), schedule encounters (Chronic Care Appointments, Physical exams, Sick Calls) and calculate facility workload.




4.3        Transition data from the Pharmacy System – Correctional Institute Pharmacy System- The Pharmacy database is a relational database system designed to collect, organize, analyze, and track the volume of                      4.0 LEGACY RETIREMENT (Legacy Systems)
           prescriptions filled and the related expenditures at DIHS-staffed sites.




5.0        5.0 MEDICAL TECHNOLOGY EXPANSION                                                                                                                                                                                              5.0 MEDICAL TECHNOLOGY EXPANSION
5.1        Radiology Expansion                                                                                                                                                                                                           5.0 MEDICAL TECHNOLOGY EXPANSION
                                                                                                                                                                                                                                                                                                                                                                                                                            Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 208 of 1402




5.1.1         Provide the ability to interface with Digital Radiology services to obtain results for services rendered electronically.                                                                                                       5.0 MEDICAL TECHNOLOGY EXPANSION (Radiology Expansion)




5.1.2         Provide the ability to launch and view the radiology for comparative analysis after captured.                                                                                                                                  5.0 MEDICAL TECHNOLOGY EXPANSION (Radiology Expansion)




5.2           Interface with Diagnostic Medical Equipment (Vital Signs Monitors, Ecocardiograham, Electrocardiogram, Pulse Oximiters, Blood Glucometer)                                                                                      5.0 MEDICAL TECHNOLOGY EXPANSION




5.2.1         Provide the ability to accept electronic results from standards compliant medical diagnostic equipment                                                                                                                         5.0 MEDICAL TECHNOLOGY EXPANSION (Interface with Diagnostic Medical Equipment (Vital Signs Monitors, Ecocardiograham, Electrocardiogram, Pulse Oximiters, Blood Glucometer))




5.2.2         Provide clear indication that the results were posted to the EHR.                                                                                                                                                              5.0 MEDICAL TECHNOLOGY EXPANSION (Interface with Diagnostic Medical Equipment (Vital Signs Monitors, Ecocardiograham, Electrocardiogram, Pulse Oximiters, Blood Glucometer))




5.2.3         Provide the ability to override the interface and manually enter if the interface and data posted to the EHR.                                                                                                                  5.0 MEDICAL TECHNOLOGY EXPANSION (Interface with Diagnostic Medical Equipment (Vital Signs Monitors, Ecocardiograham, Electrocardiogram, Pulse Oximiters, Blood Glucometer))




5.3           Panoramic Dental X-Ray Units                                                                                                                                                                                                   5.0 MEDICAL TECHNOLOGY EXPANSION


5.3.1         Supports expansion of existing Dental X-Ray units to support Panoramic Dental X-Ray capability.                                                                                                                                5.0 MEDICAL TECHNOLOGY EXPANSION (Panoramic Dental X-Ray Units)




5.4           Automated Inventory Management Systems                                                                                                                                                                                         5.0 MEDICAL TECHNOLOGY EXPANSION


5.4.1         Supports capability or integration with systems that automate Pharmacy, Medical Surgical and Equipment Inventory management                                                                                                    5.0 MEDICAL TECHNOLOGY EXPANSION (Automated Inventory Management Systems)




5.4.2         Provides current technology, similar to the Pharmacy inventory management, that supports establishment of par levels, electronic ordering/replenishment and electronic receipt.                                                5.0 MEDICAL TECHNOLOGY EXPANSION (Automated Inventory Management Systems)




5.4.3         Provide the ability to leverage existing equipment from other inventory management solutions in place to support Pharmacy inventory management.                                                                                5.0 MEDICAL TECHNOLOGY EXPANSION (Automated Inventory Management Systems)




6.0           Discharge Logic Enhancement to eCW                                                                                                                                                                                             CR/PTR 375


6.0.1         The application shall provide manual discharge capability utilizing a user-selectable discharge button




6.0.2         When selected, the discharge button shall first display a warning pop-up to alert the user that the action cannot be undone.
6.0.3         When the user proceeds with the discharge, the application shall cancel all meds, appointments, and remove detainee from the medical roster.




2.1           RSD 2.1 Accessibility Specifications

2.1.1         508 Compliance Requirements

              The application will be modified to adhere to all applicable requirements of Section 508 of the Rehabilitation Act of 1973, as amended (29 U.S.C. 794d). Full Section 508 documentation can be found at the official
              website for Section 508 of the US Rehabilitation Act: http://www.section508.gov/




2.9           RSD 2.9 - PERFORMANCE SPECIFICATIONS                                                                                                                                                                                           PERFORMANCE SPECIFICATIONS

2.9.1         Availability
2.9.1.1.      The system shall support an availability of 99.99%, exclusive of scheduled downtime                                                                                                                                            PERFORMANCE




2.9.1.2.      The system shall support 24/7/365 operations                                                                                                                                                                                   PERFORMANCE




2.9.1.3.      Scheduled downtime for the system shall not exceed 120 minutes per calendar month                                                                                                                                              PERFORMANCE




2.9.2         Capacity
2.9.2.1.      The system shall support up to 900 concurrent users                                                                                                                                                                            PERFORMANCE




2.9.2.2.      The system shall support a total capacity of 1,500 users.                                                                                                                                                                      PERFORMANCE




2.9.2.3.      The system shall maintain detainee data for up to ten years for adults and 21 for minors                                                                                                                                       PERFORMANCE




2.9.2.4.      The system shall support a maximum of 15,000 detainees concurrently                                                                                                                                                            PERFORMANCE




2.9.2.5.      The system shall support a maximum of 4,000,000 medical events per year total for all IGSA-staffed facilities.                                                                                                                 PERFORMANCE




2.9.2.6.      The system shall support accessibility of up to 2,000 detainee eHR records in offline/remote mode, as permitted by the storage capacity of the device being used.                                                              PERFORMANCE




2.9.2.7.      The system shall provide a response time of no more than five seconds                                                                                                                                                          PERFORMANCE




2.9.3         Support
2.9.3.1       User support shall be available from 9:00 am 8:00 pm ET                                                                                                                                                                        PERFORMANCE




2.9.3.2       One (1) hour response time shall be provided for all support requests classified as Emergency or Critical.                                                                                                                     PERFORMANCE




2.11          RSD 2.11 - RELIABILITY SPECIFICATIONS                                                                                                                                                                                          RELIABILITY SPECIFICATIONS

2.11.1.       General Reliability Specifications                                                                                                                                                                                             RELIABILITY SPECIFICATIONS

2.11.1.1.     Certification: The system shall achieve and maintain ONC/CCHIT Ambulatory eHR certification                                                                                                                                    RELIABILITY SPECIFICATIONS




2.11.1.2.     Reliability: System maintains reliable screening, demographic, clinical, pharmacy, and treatment authorization data by retrieving the same data values for each patient within the core eHR and other interoperable            RELIABILITY SPECIFICATIONS
              systems.




2.11.1.3.     Interoperability: The system shall establish full electronic interoperability with specified external IT systems and accurately accept from and transmit data to these systems                                                 RELIABILITY SPECIFICATIONS



2.13          RSD 2.13 - SECURITY SPECIFICATIONS                                                                                                                                                                                             SECURITY SPECIFICATIONS

2.13.1.       General Security Specifications                                                                                                                                                                                                SECURITY SPECIFICATIONS

2.13.1.1.     The system shall possess a current FISMA accreditation at the moderate level granted by GSA or DHS.                                                                                                                            SECURITY SPECIFICATIONS


2.13.1.2.     The system shall comply with FedRAMP controls as identified by the FedRAMP Joint Authorization Board (JAB)                                                                                                                     SECURITY SPECIFICATIONS


2.13.1.3.     The system shall comply with the following reference documents:                                                                                                                                                                SECURITY SPECIFICATIONS
2.13.1.3.1.   DHS 4300A Sensitive Systems Handbook                                                                                                                                                                                           SECURITY SPECIFICATIONS
2.13.1.3.2.   DHS IT Security Architecture Guidance                                                                                                                                                                                          SECURITY SPECIFICATIONS
2.16          RSD 2.16 - TRAINING SPECIFICATIONS                                                                                                                                                                                             TRAINING SPECIFICATIONS

2.16.1.       EMR Application Training                                                                                                                                                                                                       TRAINING SPECIFICATIONS

2.16.1.1.     The Harris eHR Solution will provide the following training:                                                                                                                                                                   TRAINING SPECIFICATIONS




2.16.1.1.1.   Site-specific training plans including instructor-led training (ILT) and on-the-job training (OJT)                                                                                                                             TRAINING SPECIFICATIONS




2.16.1.1.2.   Computer-based training (CBT)                                                                                                                                                                                                  TRAINING SPECIFICATIONS




2.16.1.1.3.   Remote training support                                                                                                                                                                                                        TRAINING SPECIFICATIONS




2.16.1.2.     Trainers with clinical background will be integrated into each training team                                                                                                                                                   TRAINING SPECIFICATIONS




2.16.1.3.     Role-based training will be provided for the following user types:                                                                                                                                                             TRAINING SPECIFICATIONS




2.16.1.3.1.   front office personnel                                                                                                                                                                                                         TRAINING SPECIFICATIONS




2.16.1.3.2.   doctors                                                                                                                                                                                                                        TRAINING SPECIFICATIONS




2.16.1.3.3.   nurses                                                                                                                                                                                                                         TRAINING SPECIFICATIONS




2.16.1.3.4.   billing staff                                                                                                                                                                                                                  TRAINING SPECIFICATIONS




2.16.1.4.     Modular courseware will be provided re-use across user roles and delivery mechanisms                                                                                                                                           TRAINING SPECIFICATIONS




2.16.1.5.     Sufficient training will be provided to personnel in order to meet implementation timeframes.                                                                                                                                  TRAINING SPECIFICATIONS




2.16.1.6.     Training will be coordinated with Super Users at each site                                                                                                                                                                     TRAINING SPECIFICATIONS




2.16.1.8.     Tailored training facilitation will be provided through a combination of ILT and OJT incorporating context-specific, real world scenario-based hands-on practice including:                                                    TRAINING SPECIFICATIONS




2.16.1.8.1.   Accommodation of flexible schedules through rolling training offerings.                                                                                                                                                        TRAINING SPECIFICATIONS




2.16.1.8.2.   SCORM and Section 508 compliant interactive computer-based training (CBT) integrated into the ICE Virtual University (VU)                                                                                                      TRAINING SPECIFICATIONS




2.16.1.8.3.   Remote support including webinars and scheduled Question and Answer sessions                                                                                                                                                   TRAINING SPECIFICATIONS




2.16.1.8.4.   Dedicated backup trainers to ensure continuity in meeting the training schedule                                                                                                                                                TRAINING SPECIFICATIONS




2.16.1.8.5.   Use of the industry standard Instructional Systems Design (ISD) methodology to guide the training solution                                                                                                                     TRAINING SPECIFICATIONS




              Time should use local time in front end and back in of application for accuracy of audits (logs/addendums/notes/billing)                                                                                                       logs
              Modify discharge logic to only change to CANC for unlocked encounters; locked encounters will NOT be changed to CANC when detainee is discharged/transferred via discharge module
                                                                                                                                                                                                                                          Discharge logic
              Enable item key to view special needs logs after a detainee has been discharged (currently user cannot view detainee’s logs after discharge)                                                                                special needs
              Allow user ability to tie Special Need to specific facility after detainee is transferred/discharged                                                                                                                        special needs
               Add a column for Travel (Yes or No) in RX box                                                                                                                                                                              RX
              In RX box, offer a pop-up that reminds providers to click on the Stop Sign so the order stops correctly in CIPS. The following step once it has stopped, highlight the Yes button instead of the No button to continue with
              selecting the CancelRx Request to officially go through to CIPS. Also, can they just click Stop sign and it automatically stop and go to CIPS without additional steps. When the non-formulary request form is printed
              out the response entered in section 4 gets cut off                                                                                                                                                                          RX
              Non-Formulary Request Form: Lengthen text area for accurate NFR to print.                                                                                                                                                   NF request form
              Offer the Global Alert pop-up when accessing a note through the Clinical Visit console                                                                                                                                      Global Alert
              global alerts: Add logs for who/what/when added/updated including the detainee's Facility at the time of each modification

              Log in Modification: Have a pop-up appear when someone logs onto eCW to ask what shift they are working (AM, EVENING, PM); establish metadata for this to create EBO reports
              Intake registration/Intake Clinical Console/Lab/DI:Allow the ability to set all filters first and then click search, instead of searching every filter with each selection changed; search should occur only after clicking
              Search button

              Intake Registration/intake Console/Lab/ DIChange the default to the user’s facility (or at least a single facility if the user’s facility is unknown)? If the user selects All Facilities and/or a large date range and eCW
              display a warning message that suggests using eBO instead. The warning message should allow the user to proceed or cancel

              Actions: When a detainee is discharged /transferred must see all actions that are still open if they are before the discharge/transfer date. Currently when searching by facility these actions will not show or they will
              show under the facility that the detainee is currently housed. ( This was a change from V9 to V10 and not viewed as an enhancement)
              Printing of Medical Record:Ability to print a complete medical record to include referrals (Currently no referrals print you have to print them individually)
              Registry:Provide an option to include discharged detainees
              Referrals: When accessing the referrals from the HUB, it would be useful to have the default be Outgoing or remove the Incoming tab altogether (Make this an item key, so it does not affect other Correctional users).
              Right now the default is Incoming and a staff member has to go to the Outgoing tab.
              Structured Date of Death: no free text field with no standard for entering the date; structured field allows for reporting via EBO




              When selecting any IH lab/di have the system automatically check the InHouse box in the lab results window
              Labs/DI/Procedures windowRecords Portal (MRP): Add A# column to this window, instead of or in addition to SubID
              Have A# display instead of Sub ID in all jellybean windows

              Assigned To dropdown: When typing a last name, it lands on the last letter typed as opposed to the name you are typing. Change this to be in line with other drop down search properties




              Create a two way communication between MP 2.0 and eCW to annotate cancelled MPs. The process would flow both directions from MP 2.0 Cancelled field to a NEW Cancelled status field in
              Referral window in eCW (see screenshot taken from lab window)
              Referrals Module and window: Add a new status in MedPAR 2.0 – CANCELLED
              Referrals Module and window: Add new free text field or structured data field for reason for cancellation; this will be sent back to eCW with Cancelled status
              Referrals Module and windowIf the MP is cancelled in eCW (via the Cancelled status radio button) the information would transmit to MP and populate in a MP Cancelled status field. The reason for cancellation
              documented in the Clinical Notes field would be transmitted to MP2. (If this is achieved then we can also assume clinical notes added during the approval process will transmit to MP and the eCW users will no
              longer need to Copy & Paste clinical notes to the Approval Queue Notes during approval process.). So, the reason for cancellation would be documented in the Clinical Notes field and sent back to MP2 along with
              cancellation status.

              Referrals Module and windowIf the MP is cancelled in MedPAR2 (Cancelled status field) the information would transmit to eCW and populate in the new eCW cancelled status radio button-Referral window. ADD a
              FREE TEXT or structured data field in MP2 and any notes documented related to cancellation would be sent via interface to Clinical notes with the Cancellation status as well when the user clicks OK/SEND button
              Referrals Module and window: Cancelled Tab in the Referral window
              Nursing Care Plan statusShow when care plan was last addressed in Right Chart Panel under Infirmary Admissions (last date reviewed/addressed) for ease of audit/review: SubID/Care Plan initiated date/time/Care
              plan diagnosis/date last addressed. Do not include Resolved Care Plans on the RCP
              Show the Care Plan Status (last date reviewed/addressed) on the infirmary console since this is one area where it shows the snapshot of all the patients in the MHU. A column would need to be
              added or one replaced. If one is replaced, SUB ID could be the one to replace
              Sick call/grievance kiosks that interface with the application: detainee requests sick call/grievance; system automatically makes appt for next day via the interface as a sick call or grievance type visit. Scheduling and
              autopopulating fields per policy. This will include, but not limited to: date/time/reason/provider/grievance type etc.
              Interface: Automatic Prescreen and Intake encounters via the ENFORCE interface to match the intake logic. The Prescreen would go into the Clinic Visit Console and Scheduled same time as Intake. When the end-
              user checks the patient in, the time/date will reflect the time the patient is being seen.
              Intakes: the Intake Visit Console needs same options as the CGC in v10c; offer functionality to change the P/R, time/date, reason




              Mass lock notes: The function to mass lock notes from the Office visit window without using the billing feature of marking ‘done’ in the note: The reason the system requires the user to mark the note “Done” is strictly
              a billing function, which we are not using. The user typically marks a note “Done” when all the applicable Diagnosis and procedure coees are entered. Billers can generate and process claims for “done” oor
              completed notes, while the clinician is still charting and the note is open.


              Special Needs (SN): Allow user to see all Categories in one screen and multi select SN under each category in one step, without having to choose each category
              SN – Default start date to current date                                                                                                                                                                                        CHS tab
              SN: needs to track changes over time and at which Facility for historic reporting; such as HQ asked for report to show everyone that had a disability in the sites in the last year but since it does
              not store the Facility, each site would not be able to provide their own Facility historical report; would help for data calls from HQA and audits (e.g. how many SN (#wheelchairs, #diabetic diets)
              for past 3 months)                                                                                                                                                                                                             CHS tab
              Needs to capture the changes from ‘Active’ to ‘ Inactive’ but there is no time stamp captured                                                                                                                                  CHS tab
              Needs to capture and store the ‘Start Date’ and ‘End Date’ and the ‘facility’ for each time the SN is modified/updated and who modified                                                                                        CHS tab




              Hunger Strike (HS) Flag: offer HS under correctional information and function the same as the Suicide watch flag. Show in CHS tab also and create logs to show when it was activated and
              inactivated for reporting purposes (same as Suicide watch reporting request below).




                                                                                                                                                                                                                                             eBO Reports Development

              CMR Module: Add metadata from the CMR Module, including diagnosis, interventions, outcomes, status, etc., including changes/modifications, modified by, etc.
              Health Portal – Medical Records: Add metadata for t he patient portal to include:                                                                                                                                              medical records portal
              a.      User Accounts: number of passwords/usernames created                                                                                                                                                                   medical records portal
              b.      Record access: how many records were accessed, including the name, time, number of times, etc.                                                                                                                         medical records portal


              Facility – we need the facilities for detainees over time for historical reporting. The DHS ICE architectures includes an interface with ENFORCE Integrated Database (EID) and the housing facility is
              removed once the detainee is discharged. eCW was conducting research to determine if this information is stored anywhere in the database so the eBO Consultants could query for eBO reports                                    Demographics
              It is difficult to capture the information about the Transfers and Discharges; we need logs to show the values over time                                                                                                       Demographics
              There have been several instances while working on eBO reports where he admission date is either lank or has a default of ‘Jan 0 1900’ in the eCW database. eCW was conducting research to
              determine how/why this is happening and if the admission daet is stored anywhere in the database so the eBO consultants could query for eBO reports; logs are needed to show the values over
              time                                                                                                                                                                                                                           Demographics
              Patient Information > Additional Information – Correctional: Suicide Watch flag needs a log to track modified / modified by and facility over time.                                                                            Demographics + CHS Tab
              a.      We need to add to the database log each time the Suicide watch flag is set/modified by a user, including date and time, facility, user, and modification/what changed so we can track over
              time for historic reporting needs.                                                                                                                                                                                             Demographics + CHS Tab
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b.      We did some testing and when a new patient was added and we kept the Suicide Watch flag set to the default of ‘No’, Zach looked and saw there was no row in the database for this so there
was no facility stored with the flag.                                                                                                                                                              Demographics + CHS Tab
c.      As a reminder, a detainee can have multiple occurrences of being place on/off Suicide Watch during one admission.                                                                          Demographics + CHS Tab
d.      Logs are needed to show the values over time                                                                                                                                               Demographics + CHS Tab
CRE Events – in the Progress Notes Access Log, the CRE events are currently not included in the access log – please add to log and metadata package so reports could be created to who /when ran
the CRE, CRE, what events were created, assigned to, due date, and notes                                                                                                                           Clinical Rules Engine (CRE)

CRE Denial Reasons – in the Progress Notes Access Log, the ‘CRE Denial Reason’ are currently NOT included in the log; add to log and metadata package so reports could be created for who /
when ran the CRE, what events were created, what events were cancelled and the reason why CRE was cancelled (structured data)                                                                                        CRE
Right Chart Panel – CHS Tab: need to store values over time and at which facility modification was made                                                                                                              CHS Tab
Food Handler – nees to track changes over time and at which facility for historic reporting                                                                                                                          CHS Tab

a.      Will need to capture each time there is a change from no-to-yes and yes-to-no and we need to track per facility, but facility is not currently captured / stored                                             CHS Tab
ICE has structured data in the ‘follow up’ field drop down (see screen shot) which they use to document the status of a detainee; we need to be able to track changes over time to include who
modified and at what facility the modification was done; this is currently not captured / stored in the database                                                                                                     Infirmary eBO




The room name, bed name, and bed type are set up per configuration; however – the bed type can be changed by a user to reflect the actual reason a detainee has been admitted to the MHU. ICE
needs to be able to capture the actual values / dynamic (current) values of the ‘bed type’ for a patient in a facility and capture any changes over time during that infirmary stay in order to do
reporting                                                                                                                                                                                             Infirmary eBO
Use the dymo printer to print labels the same as the wristband printer prints the barcode to represent the A#. This will allow us to use the labels in the patient lookup field and on the eMAR. IGSA
requests #1 below to function the same as #2.                                                                                                                                                         Label printing
1.Pt Label (from hub) – does not generate a bar code by default. Only prints a label with the pt details (as specified by the tags). Does not/will not work with the pt look up screen for search (as
there is nothing to scan).                                                                                                                                                                            CIPS Interface

2.Wrist Band label – This is configured differently than the pt hub labels. A barcode is generated which is defaulting to the A number. It does work with the pt look up screen to search as the pt
look up screen does not have the bar code reader technology. This will work in the eMAR screen as per the design by using the BCMA process (Bar Coding Medication Administration).                                   Non-billable visits-progress notes
Filter out any codes (NANDA/NIC/NOC codes) sent to CIPS that are not ICD10, or ICD9                                                                                                                                  Separate the Add/remove function Item key
The end user should not be able to lock a note in a non-billable visit status                                                                                                                                        Demographics-Correctional info screen
The end user should not be able to change the status to a non-billable status on a locked note. Neither scenario should be allowed.                                                                                  Progress note and TE-Prompt in Telephone encounter and progress note:

Separate the item keys Add/Remove to allow users to Remove a med from current meds, but Disable the “Add” function in Current Medications. That way providers (and RNs) can still use the
Remove function for troublesome orders and pre-travel OTCs, and the Rx History tab to add back orders that were somehow dropped without a stop order. The major problem seems to be when
providers and RNs use the add function to put something new without a start or stop date on it into the RCP.                                                                              item keys
When the individual types in the zip, the State/City will automatically populate                                                                                                           Progress notes-treatment link-medications:

Every time a user accesses a progress note and telephone encounter(TE), the user will be prompted to change the date/time on the encounter or TE. This will improve accountability and fix Right
Chart Panel issues related to accessing notes on the wrong date or TE prompts will remind Providers to change the date/time, that were initiated by another user.                                                    TE/Progress notes
Add the date/time and provider name under each medication for who “prepared” the med and who “e-prescribed” the med. This data is already kept in the logs, so ECW currently tracks it. We
want it visible on the note for auditing purposes.                                                                                                                                                                   EMAR printing-HUB and PMRP
Remove eMAR from the print functionality from the HUB and PMRP should be accomplished to avoid waste of paper and server space.                                                                                      Make Print/fax/lock functions a Practice setting default
Create a Practice setting default for Print/Lock/fax functionality                                                                                                                                                   Progress notes- picture upload:

Add the detainee’s A# to the patient identifiers that are automatically stamped on the photo; currently what gets stamped on the photo is the name, DOB and the account #                                            Add Patient identifiers (name, DOB, A#) on pictures uploaded to progress note
Send Height/Weight, including decimals for minors, to CIPs via the interface                                                                                                                                         Interface ECW/CIPs: send Weight/ Height
Add facility filter and A# for corrections                                                                                                                                                                           Medical record printing-Medical record utility search window




Add English, Spanish, French, Portuguese, Russian, Somali, Vietnamese, Chinese, Arabic, Hindi and Haitian Creole language access to Patient Medical Record Portal                                                    PMRP-additional languages to be included in the PMRP:




Remove option to allow a user to check-in within the patient housing console and not have the appointment update the current date/time as it does in the CVC. Remove that option altogether if
end-users cannot update the appointment date/time. It’s misleading to the user.                                                                                                                Patient housing console




Send ICE/360IT a list of all new features/fixes in each new build and the item keys upon delivery of build to test.                                                                                                  New build features/item keys




PIV-single sign on integration                                                                                                                                                                                       PIV




Add Treatment plan to medical record printing from HUB and Portal upload. Currently Treatment Plan with Teeth Graphical Charting – is part of the Dental Summary but not Medical Record
Printing                                                                                                                                                                                                 V11-Dental Module-add Treatment plan to medical record printing from HUB and Portal upload
Full record print function should have a tab for referrals. Currently, they have to be printed individually.                                                                                             MRP
Global Alert box pop up when an encounter is accessed through the CVC                                                                                                                                    Global Alert
Sort by Reason on the CVC when you click on the column                                                                                                                                                   CVC
Check in/out multiple encounters at one time (this would be for group visits)                                                                                                                            CVC
Lock multiple encounters at one time without having to select Done (this would be for group visits)                                                                                                      CVC
Of access to more than one person (maybe 5-10) use the Registry at one time                                                                                                                              Registry
Correctional tables need to accurately reflect all the admission and discharge dates so info can be pulled on reports. Currently not functional                                                          EBO
Add A# to Unlocked Visit Report                                                                                                                                                                          Reports in ECW
Automatically update ICD/CPT/CDT codes when updates come out                                                                                                                                             Updates to codes
Infirmary Logs show who admitted/discharge a detainee from the Infirmary Console                                                                                                                         Infirmary logs
Intake Logs need to show when an intake visit was created by the interface……they are currently blank                                                                                                     Intake logs
Actions screen should list Actions based on the filters chosen. Currently, if you chose a facility it shows the Actions for all detainees housed the facility even of the Action was not created at that
                                                                                                                                                                                                         Actions
facility. Provide similar functionality to the Lab/Di queue where there is a Pt Facility box.
All the jellybean letters with the exception of the D have dropdowns when you click on the letter that shows what you need to do. The letter D only shows Fax In Box/Fax Out Box. Application
                                                                                                                                                                                                         Jelly beans
should show Documents To Be Reviewed with a number next to it
The letter L next to the jellybean has a similar issue. The jellybean lights up with a number in it but it doesn’t/t show you what needs to be done when you click on the L. Below is an example.
                                                                                                                                                                                                         Jelly beans
There is a lab review but no numbers appear next to lab



                                                                                                                                                                                                                     Actions


Have “assigned to:” field in Actions window filter as you type in the name as it does in the appointment window. Currently, it only filters using the last letter you typed in.


                                                                                                                                                                                                                     RX
UPDATED REQUEST: All Stop Orders will automatically go to CIPS and CancelRX without having to go through those additional steps.  
Remove the treatment section from the merge/copy window in the future.                                                                                                                                               Treatment link
 Remove the ability to merge all orders from the treatment window (lab, procedure, and meds), safety precaution. If a user merges a patient specific template with a STOP order in it. A user performing a 24 hour
review may see the stop order in the most recent note (from merged template) and pull the medication from pill line.                                                                                                 Treatment link

Remove the popup “Do you want to run the Clinical Rules Engine?”. IGSA always wants them to run the CRE.                                                                                                             CRE
Remove Referral ID from the Referral letter. Providers are submitting claims using this ID and it causes claims issues.                                                                                              Referral
                                                                                                                                                                                                                                                                                                                                                                                                                                                    •     Message Header (MSH) segment
                                                                                                                                                                                                                                                                                                                                                                                                                                                    •     Patient Identification (PID) segment
                                                                                                                                                                                                                                                                                                                                                                                                                                                    -   External ID (Booking #)
                                                                                                                                                                                                                                                                                                                                                                                                                                                    -   Internal ID (A#)
                                                                                                                                                                                                                                                                                                                                                                                                                                                    -    Alternate ID
                                                                                                                                                                                                                                                                                                                                                                                                                                                    -   Patient Name
                                                                                                                                                                                                                                                                                                                                                                                                                                                    -   Date of Birth
                                                                                                                                                                                                                                                                                                                                                                                                                                                    -   Sex
                                                                                                                                                                                                                                                                                                                                                                                                                                                    -    Assigning Authority (name of MedPAR submitter)
                                                                                                                                                                                                                                                                                                                                                                                                                                                    -   Assigning facility (Area of Responsibility of submitter)
MedPAR to eCW                                                                                                                                                                                                        HL7 Admission Discharge Transfer (ADT) message                                                                                                                                                                                 •     Patient Visit (PVl) segment
                                                                                                                                                                                                                                                                                                                                                                                                                                                    -    Assigned Patient Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                    -   Admission Type
                                                                                                                                                                                                                                                                                                                                                                                                                                                    -   Attending Doctor and ID Number
                                                                                                                                                                                                                                                                                                                                                                                                                                                    -   Referring Doctor and ID Number
                                                                                                                                                                                                                                                                                                                                                                                                                                                    -    Admit date/time
                                                                                                                                                                                                                                                                                                                                                                                                                                                    -    Visit Number (Referral #)
                                                                                                                                                                                                                                                                                                                                                                                                                                                    •     Diagnosis Information (DG1) segment
                                                                                                                                                                                                                                                                                                                                                                                                                                                    •     Procedures (PRl) Segment
                                                                                                                                                                                                                                                                                                                                                                                                                                                    •     Message Acknowledgement (MSA) segment
                                                                                                                                                                                                                                                                                                                                                                                                                                                    •     Error (ERR) segment
                                                                                                                                                                                                                     HL7 ADT message                                                                                                                                                                                                                •     Message Header (MSH) segment                                                                                                                                                                                              The Contractor shall support the eHR operational maintenance contractor in its development (test and deployment) of the MedPAR interface.
                                                                                                                                                                                                                                                                                                                                                                                                                                                    •     Patient Identification (PID) segment
                                                                                                                                                                                                                                                                                                                                                                                                                                                    •     Patient Visit (PV1) segment
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    The following upgrades / enhancements shall be included with an eCW incremental product release that is available commercially to all eCW licensees. The upgrades /
                                                                                                                                                                                                                                                                                                                                                                                                                                                    - Preadmit Number (MedPAR Remit code)
eCWto MedPAR                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        enhancements shall not be considered a customized version of the product or a"one off ' version that is only available for ICE use.
                                                                                                                                                                                                                                                                                                                                                                                                                                                    •     Diagnosis Information (DG1) segment                                                                                                                                                                                       The Contractor shall make upgrades I enhancements as part of eCW v10 (or greater).
                                                                                                                                                                                                                                                                                                                                                                                                                                                    •     Procedures (PR1) Segment
                                                                                                                                                                                                                                                                                                                                                                                                                                                    •     Message Acknowledgement (MSA) segment
                                                                                                                                                                                                                                                                                                                                                                                                                                                    •     Error (ERR) segment
Country of Citizenship in Hub                                                                                                                                                                                        The Country of Citizenship is a key demographic indicator for ICE. This information shall be clearly display ed on the eCW patient hub as one of the primary fields.



                                                                                                                                                                                                                     To avoid confusion with ICE logistics , eCW shall support the display of a 24 hour clock (aka " military time") throughout the application (e.g. 22:35, 15 :20 , 17:50 , etc .). The time display in eCW shall match the time zone of the user accessing / view ing the record with an indication of which time zone is being used (e.g. EST, CST, MST, PST , EDT , CDT , MDT, PDT, etc.). The following eCW sections shall be enhanced to meet this requirement:




                                                                                                                                                                                                                     Sections                                                                                                                                                                                                                       Details
                                                                                                                                                                                                                     Resource Schedule                                                                                                                                                                                                              Appt screen - start and end time , log s, duration etc.
                                                                                                                                                                                                                     Resource Schedule                                                                                                                                                                                                              Appointment start time and end time. Encounter Screen from the Pt Hub.
                                                                                                                                                                                                                     Resource Schedule                                                                                                                                                                                                              Appt Search & Multiple Appointment Booking
                                                                                                                                                                                                                     Practice Band                                                                                                                                                                                                                  Lookup Encounters-> New Appt
                                                                                                                                                                                                                     Practice Band                                                                                                                                                                                                                  Review Actions -> New Actions
24 Hour / Time Zone Sensitive Clock                                                                                                                                                                                  Registry Band                                                                                                                                                                                                                  Patient Recall-> Appt date TAB-> New Appt
                                                                                                                                                                                                                     Registry Band                                                                                                                                                                                                                  Lookup Encounters-> New Appt
                                                                                                                                                                                                                     Registry Band                                                                                                                                                                                                                  Registrv -> New Aoot
                                                                                                                                                                                                                     Documents Band                                                                                                                                                                                                                 Prescriptions-> Viewed Reviewed Log, Faxed Prescriptions
                                                                                                                                                                                                                                                                                                                                                                                                                                                    Outgoin g & Incomin g-> Note s TAB , Appointment date and time for the
                                                                                                                                                                                                                     Referrals Jelly bean
                                                                                                                                                                                                                                                                                                                                                                                                                                                    Outgoing referral
                                                                                                                                                                                                                     Telephone Encounters Jelly bean                                                                                                                                                                                                Time stamp for action taken, start time of the TE, addendum
                                                                                                                                                                                                                     Labs/DI/Procedures Jelly beans                                                                                                                                                                                                 Collection Time, Time stamp, Addendum,View All Reports
                                                                                                                                                                                                                                                                                                                                                                                                                                                    Review Documents->View Document
                                                                                                                                                                                                                     Documents Jelly bean
                                                                                                                                                                                                                                                                                                                                                                                                                                                    - Time stamp
                                                                                                                                                                                                                     fntake Registration Console                                                                                                                                                                                                    Admission time & Check-in Time
                                                                                                                                                                                                                     Intake Console                                                                                                                                                                                                                 Arrival Time / Check out time / Verified Demographic s Screen time
                                                                                                                                                                                                                     Clinical visit console                                                                                                                                                                                                         Time, Arrival Time, Check in Time




Right Chart Panel Matching Treatment Window                                                                                                                                                                          ICE leverages the right chart panel within eCW as "quick reference" in reading current medications for detainees. To avoid discrepancies with medications being given to patients in ICE custody , the eCW right chart panel shall populate a medication when started and maintain until a "stop order" is completed in treatment window or medication "ex pired" regardless of current medication status. (e.g. A nurse providing a "dressing change " cannot overwrite the medications in the right chart panel as entered by a provider). The eCW right chart panel shall match the treatment window.




                                                                                                                                                                                                                     To avoid confusion with the New York State ID # (for inmates), the eCW field for NYSID shall be relabeled to A# (as a
Rename NYSID # to A#
                                                                                                                                                                                                                     configurable item).

Primary Patient Lookup / Search Default to A#                                                                                                                                                                        To expedite searching and minimize key strokes required by ICE users, the search shall default to A#. The search field shall remain "sticky " to the last selected search item.


                                                                                                                                                                                                                     To improve accountability and historical logs, when an ICE end­ user locks a note, the date and time of the appointment sha ll
Documented on Different Date / Lock
                                                                                                                                                                                                                     change in eCW to reflect the date / time of when it was locked.

NIC/NOC/NANDA                                                                                                                                                                                                        To eliminate manual configuration of nursing diagnostic codes, eCW shall support database level integration with NJC/NOC/NANDA nursing code sets for use with templates and order sets



                                                                                                                                                                                                                     To maximize the effectiveness of the eCW off-line features within the ICE operational environment, the sy stem shall display a progress meter (e.g.% or minutes) to indicate the percentage / time remaining for the sy nchronization to complete.




                                                                                                                                                                                                                     The eCW off-line client shall allow for only sy nchronizing the currently detained population, and sub-selected by facility . ICE does not require a history of every patient in off-line mode, unless the patient is in current ICE custody .

Offline Client Performance Upgrades




                                                                                                                                                                                                                     The installation of the eCW off-line client shall be simplified to a self-contained wizard that does not require manual or command­ line intervention. Version upgrade s shall be compatible with enterprise software deploy ment tools (e.g. Bigf ix, Sy stem Center Configuration Manager, etc.) and be available through incremental patch upgrades. Version upgrades shall also be available from the eCW " upgrade now" option during user login. The installation shall not exceed 4 GB in size and must be delivered on DVD media with an affixed eCW label with the version number and date




                                                                                                                                                                                                                     The offline client requires the minimal functionality to be effective for field use: detainee photo (only for current facility ), intake / pre-screening (co mpatibili ty with manual A number logic), pill line / medication administration (including " ungive" medication, right chart panel order provider status, verified /unverified with sort), patient housing console (including segregation and mental health records), sick call (to include basic chart / progress note information and medications)
Offline Client Functional Upgrades



                                                                                                                                                                                                                     To maximize the speed and effectiveness of signature pads within ICE operations, eCW shall include compatibility with letter s and support the conversion of existing templates requiring detainee signatures.
Signature Pad Integration with Letters


Int egration with Active Directory / PIV                                                                                                                                                                                                                                                                 1
                                                                                                                                                                                                                     To support the adoption of Homeland Sec urity President ial Directive (HSPD-12) eCW shall support the integration with

                                                                                                                                                                                                                     To facilitate compliance with ICE Performance Based National Detention Standards (PBNDS), ICE requires that each detainee leaving custody may gain access to their medical
                                                                                                                                                                                                                     record through a patient portal. The patient portal shall be accessible via the Internet with a standard supported web browser (e.g. Chrome, Internet Explorer, Firefox, Safari).
Patient Portal
                                                                                                                                                                                                                     The detainee record within the patient portal shall be created on a final book-out, as triggered by the eCW manual discharge module. During the discharge process, the username
                                                                                                                                                                                                                     and password shall be automatically generated with a printable letter that provides instructions to the detainee on how to access the patient portal in multiple languages
                                                                                                                                                                                                                     (English, Spanish, French, Portuguese, Russian, Somali, Vietnamese, Chinese, , Hindi, Haitian Creole, Arabic).
                                                                                                                                                                                                                     To reduce complexity in establishing a detainee username, an ICE identifier (e.g. A# or Subject ID) shall be used with no dependency on establishing an e-mail account. An e-
                                                                                                                                                                                                                     mail address shall only be used as an optional field after the detainee' s first login to the patient portal to support account management issues.
STATISTICAL DATA ANALYSIS REPORTS (Reference W BS                                                                                                                                                                    1.3 CORE - IGSA/IHSC REPORT REQUIREMENTS

1. IGSA Grievances Dashboard (All Grievances)
                                                                                                                                                                                                                     The IGSA Grievance Dashboard (All Grievances) generates an interactive report. The report includes the number of grievances by nature, by facility, outcome, by month, % resolved after 5 days and a detail listing of
2. IGSA Grievances Dashboard                                                                                                                                                                                         all the grievances included in the report. There is no prompt page for this report.
  (Medical Grievances in Favor of Detainees)                                                                                                                                                                         The IGSA Grievance Dashboard (Medical Grievances in Favor of Detainees) generates an interactive report.
                                                                                                                                                                                                                     The report includes the number of grievances by facility, by month, % resolved after 5 days and a detail listing of
3. IGSA Physical Exam Completion                                                                                                                                                                                     all the grievances included in the report. There is no prompt page for this report.
                                                                                                                                                                                                                     The IGSA Physical Exam Completion Dashboard (Health Operations Unit) generates an interactive report. The report includes the number of PE’s coming due, number of PE’s past due by facility
  Dashboard (Health Operations                                                                                                                                                                                       and number of days, number
  Unit)                                                                                                                                                                                                              of annual PE’s due by facility and a detail listing. There is no prompt page for this report.
4. IGSA Physical Exam Compliance

  Dashboard (Health Care                                                                                                                                                                                             The IGSA Physical Exam Compliance Dashboard (health Care Compliance Division) generates an interactive report. The report contains percentages to represent
  Compliance Division)                                                                                                                                                                                               compliance with PE completion dates. Note: This report takes approximately 30 – 40 minutes to run.
5. IGSA Encounters Dashboard (by
  Visit Type)                                                                                                                                                                                                        The IGSA Encounters Dashboard (by Visit Type) generates an interactive report. There is no prompt
6. IGSA Encounters Dashboard (by                                                                                                                                                                                     page for this report. Note: This report takes approximately 3 hours to run.
  Facility)                                                                                                                                                                                                          IGSA Encounters Dashboard (by Facility) generates an interactive report. There is no prompt page for this
7. IGSA Historical Encounters                                                                                                                                                                                        report. Note: This report takes approximately 3 hours to run.
  Dashboard (by Visit Type)                                                                                                                                                                                          The IGSA Historical Encounters Dashboard (by Visit Type) generates an interactive report. There is no
8. IGSA Segregations Dashboard                                                                                                                                                                                       prompt page for this report. Note: This report takes approximately 4 hours to run.

9. 1414 TB Case Mgt. Dashboard                                                                                                                                                                                       The IGSA Segregations Dashboard generates an interactive report. There is no prompt page for this report. The report only pulls SEG and MH-SEG encounters for the past 7 days.

                                                                                                                                                                                                                     The TB Case Mgt Dashboard generates an interactive report. The report includes new cases by month, facility and a detailed list of unclassified cases. There is no
10. 1429 Infectious Disease Report V2 Dashboard                                                                                                                                                                      prompt page for this report. Note: This report takes approximately 30 – 40 minutes to run.
                                                                                                                                                                                                                     The Infectious Disease Report V2 Dashboard generates an interactive report. The report includes the number of disease by year, month, facility and new diseases by month. Note: This report
                                                                                                                                                                                                                     takes approximately 30 – 40
11. Suicide Watch Historical Dashboard (1064)                                                                                                                                                                        minutes to run.
                                                                                                                                                                                                                     The Suicide Watch Historical Dashboard (1064) generates an interactive report. This report includes
                                                                                                                                                                                                                     suicide watch trends, watches per facility and gender.
12. Segregation Visit Dashboard (All SEG Visits 1411) Active

                                                                                                                                                                                                                     The Segregation Visit Dashboard (All SEG Visits) Active generates an interactive report. The report includes trends, visit counts by facility, number of detainees
13. MH – Segregation Diagnosis Dashboard (1268) Active                                                                                                                                                               housed in segregation, visit type by facility and the number of detainees referred for clinical services.
                                                                                                                                                                                                                     The MH-Segregation Diagnosis Dashboard (1268) Active generates an interactive report. This report includes number of detainees with specific MH diagnosis, number of detainees by facility,
                                                                                                                                                                                                                     MH visits types per facility, and
14. MH – Segregation Visit Dashboard (MH-SEG only 1411) Active                                                                                                                                                       MH diagnosis by facility. Note: This report takes approximately 30 – 40 minutes to run.

                                                                                                                                                                                                                     The MH-Segregation Visit Dashboard (MH-SEG only 1411) Active generates an interactive report. This report includes trends, visit count by facility, number of
ACA Reports: These reports are based on the ACA Health Care Outcome Measures                                                                                                                                         detainees in MH Seg, visit type by facility and the number of detainees referred for clinical services.
1. 1A.1 Positive Tuberculin Skin Test
                                                                                                                                                                                                                     The Positive Tuberculin Skin Test report is based on Standard 1A.1 – Number of offenders with a positive
2. 1A.10 Suicide Deaths                                                                                                                                                                                              tuberculin skin test in the past 12 months
3. 1A.11 Homicide Detainee Deaths                                                                                                                                                                                    The Suicide Deaths report is based on Standard 1A.10 – Number of detainee suicides in the past 12 months
                                                                                                                                                                                                                     The Homicide Detainee Deaths report is based on
4. 1A.12 Injuries Detainee Deaths                                                                                                                                                                                    Standard 1A.11 – Number of deaths due to homicide in the past 12 months
                                                                                                                                                                                                                     The Injuries Detainee Deaths report is based on
5. 1A.13 Expected Detainee Deaths                                                                                                                                                                                    Standard 1A.12 – Number of deaths due to injuries in the past 12 months
                                                                                                                                                                                                                     The Expected Detainee Deaths report is based on
6. 1A.14 Unexpected Detainee Deaths                                                                                                                                                                                  Standard 1A.13 – Number of medically expected deaths in the last 12 months
                                                                                                                                                                                                                     The Unexpected Detainee Deaths report is based on Standard 1A.14 – Number of medically unexpected
Administrative Reports: These reports cannot be filtered by facility                                                                                                                                                 deaths in the past 12 months
1. 1441 Historic Special Needs V2
                                                                                                                                                                                                                     The Historic Special Needs V2 report generates a list of all Special Needs, regardless of custody status, by date
Clinic Schedules Folder: These reports are to be used for generating the daily clinic schedule                                                                                                                       range and type. This report cannot be filtered by facility.
1. 1153 Scheduled Appointments
2. 1457 SCH Clinic Schedule (Pending                                                                                                                                                                                 Clinic schedule by facility and/or appt provider with visit date/time, visit type and appointment reason
appts only)                                                                                                                                                                                                          Clinic schedule by facility and/or appt visit type with visit
only)                                                                                                                                                                                                                date/time, visit type and appointment reason
Clinical Reports (Canned Reports): Analysis Reports (these reports were not created by IGSA)
1.13.09 User Productivity Report
                                                                                                                                                                                                                     The User Productivity report can be filtered by Date, Facility and Appointment Provider
2. 22.12 Provider Lock Dashboard
                                                                                                                                                                                                                     The Provider Lock Dashboard shows all visits that were
3. 4.06 Productivity                                                                                                                                                                                                 locked by specific providers. The report can be filtered by Facility, Provider and Date Range.
                                                                                                                                                                                                                     The Productivity report shows the length of time each appointment took with each provider based on check- in/check-out times. The report can be filtered by Facility, Provider and Date Range; it
                                                                                                                                                                                                                     can be grouped by
4. 41.05 Gender Analysis                                                                                                                                                                                             Appointment Provider, Facility, Patient, Day of Week and/or Visit Type.

                                                                                                                                                                                                                     The Gender Analysis report shows a list of detainees separated by gender that includes the Patient Name, Provider Name, Age, DOB, Appointment Date and Visit
5. 45.01 Jelly Bean Dashboard Report my SQL                                                                                                                                                                          Status. The report can be filtered by Date Range, Provider and Gender.

                                                                                                                                                                                                                     The Jelly Bean Dashboard report trends the request time versus response time for Prescriptions, Referrals, locking of Encounters, and Labs. This report can be
6. 51.02 Analysis by Diagnosis with Age Group                                                                                                                                                                        filtered by Date and User.
                                                                                                                                                                                                                     The Analysis by Diagnosis with Age Group report shows a list of detainees by Age Group and Diagnosis Code.
7. 51.04 Analysis by Diagnosis with ICD Group and Visit Type                                                                                                                                                         This report can be filtered by Facility, Provider, Age Group, Gender, ICD Code and Date Range.

                                                                                                                                                                                                                     The Analysis by Diagnosis with ICD Group and Visit Type report shows a list of detainees by ICD Group and Visit Type. This report can be filtered by Facility, Provider,
Dental Folder: Dental Reports                                                                                                                                                                                        ICD Group, ICD Code, Gender, Visit Type and Date Range.
1. 1252 Patients Pending Dental Exam
                                                                                                                                                                                                                     The Patients Pending Dental Exam report generates a list of all detainees, who are currently in custody, that
2. 1253 Dental Care Provider Report V3                                                                                                                                                                               have not had an annual dental exam.
                                                                                                                                                                                                                     The Dental Care Provider Report V2 generates a list of all dental visits by date range, facility, age, provider and
3. 1254 Dental Referrals Off-Site                                                                                                                                                                                    CDT code. This report includes data on all detainees regardless of custody status.
                                                                                                                                                                                                                     The Dental Referrals Off-Site report generates a list of all off-site dental referrals by date range, facility, provider, CDT code, appointment date, reason for
4. 1256 Dental Workload                                                                                                                                                                                              referral and diagnosis. This report includes data on all detainees regardless of custody status.
                                                                                                                                                                                                                     The Dental Workload report generates a list of all completed dental visits by facility, date range and
5. 1460 Dental Panoramic Counts                                                                                                                                                                                      provider. This report includes data on all detainees regardless of custody status.

                                                                                                                                                                                                                     The Dental Panoramic Counts report generates a list of all panoramic x-rays performed by facility, date range and provider. This report includes data on all detainees
Infectious Disease Folder: Infectious Disease Reports                                                                                                                                                                regardless of custody status.

1. 1414 TB Case Mgt V4
                                                                                                                                                                                                                     The TB Case Mgt V4 report generates based on structured data items from the TB Case Mgt. template. The TB-CM encounter must fall within the date range
2. 1415 Zika Virus with Summary                                                                                                                                                                                      selected on the prompt page. This report includes data on all detainees regardless of custody status.
                                                                                                                                                                                                                     The Zika Virus with Summary report contains 3 tabs. The 1st tab generates a summary of the total number of detainees that are pregnant, number screened for the Zika Virus and countries that
                                                                                                                                                                                                                     the detainees have traveled too. The 2nd tab generates a list of all detainees that were screened for the Zika Virus. The 3rd tab generates a list of all pregnant detainees who did not have
                                                                                                                                                                                                                     completed Zika Virus screening questions
3. 1429 Infectious Disease Report V2                                                                                                                                                                                 answered. This report includes data on all detainees regardless of custody status.
                                                                                                                                                                                                                     The Infectious Disease Report V2 is generated based on
Pharmacy Folder: Pharmacy/Medication Reconciliation Reports                                                                                                                                                          Disease Group and/or ICD codes. This report includes data on all detainees regardless of custody status.
1. 1083 (A) OTC Medication Detailed

                                                                                                                                                                                                                     The OTC Medication Detailed report generates a complete list of OTC medications dispensed to include Rx details by date range, facility and/or provider. This
2. 1083 (B) OTC Medication Summary                                                                                                                                                                                   report includes data on all detainees regardless of custody status.
                                                                                                                                                                                                                     The OTC Medication Summary report generates a list of total number of OTC’s distributed by medication type, total number by facility, and total by
3. 1086 Medication Expiration Report                                                                                                                                                                                 provider/medication. This report includes data on all detainees regardless of custody status.
                                                                                                                                                                                                                     The Medication Expiration report generates a list of all prescriptions that are going to expire or need refilled.
4. 1241 Medication and Lab Values Report                                                                                                                                                                             This report only includes data on detainees that are currently in custody.
                                                                                                                                                                                                                     The Medication and Lab Values report generates a list of medications and corresponding labs with values. This
5. 1430 eCW Medication Report with Provider Timestamp                                                                                                                                                                report only includes data on detainees that are currently in custody.

                                                                                                                                                                                                                     eCW Medication Report with Provider Timestamp generates a report based on stop/start/given for all medication orders during the selected date range. This
6. 1469 eCW Rx Group Exception Report                                                                                                                                                                                report is used to compare medications ordered in eCW with medication orders in CIPS.
7. 1475 eCW Medication Report with                                                                                                                                                                                   The eCW Rx Group Exception Report list any medication that is in multiple eCW Rx Groups.
                                                                                                                                                                                                                     eCW Medication Report with Stop Date is the same as the 1430 eCW Medication Report with Provider Stamp. This report has additional columns to include the Start/Stop Dates and how the
  Stop Date V2                                                                                                                                                                                                       medications were entered (Treatment Window or Current Medications link).
8. 1479 Medications without a Start or
                                                                                                                                                                                                                     Medications without a Start or Stop Date generates a report that shows all medications currently on the right chart panel that have no start or stop date entered. The report also includes the Rx
                                                                                                                                                                                                                     Order Number, Drug Source, and if the medication was ordered from the Treatment window. Note: If running this report for all sites schedule the report to run overnight. It is a very resource
  Stop Date                                                                                                                                                                                                          intensive report.
11. 1470 Referral Lookup by Authorization Code
                                                                                                                                                                                                                     The Referral Lookup by Authorization Code allows the user to select authorization codes on the prompt page.
12. 1473 Referral ID Look-up                                                                                                                                                                                         The report will show the details of the referral(s) associated with the selected authorization code(s).

                                                                                                                                                                                                                     Referral ID Look-up was created to assist with researching denied medical claims. It allows the user to enter a “Referral ID” to easily identify the referral that it is associated with. The report
Other Reports:                                                                                                                                                                                                       generates a detailed list to include the detainee demographics, facility where referral was entered, referral status, approves name/date, appointment date, and associated authorization number.
1. 1049 Intake Roster with

  Disposition and Chief Complaint                                                                                                                                                                                    The Intake Roster with Disposition and Chief Complaint report generates a list of all Intake visits to include arrival/departure times, disposition and chief complaint.
2. 1051 Intake Screening Time Report                                                                                                                                                                                 This report includes data on all detainees regardless of custody status.

                                                                                                                                                                                                                     Intake Screening Time Report generates a list of all Intake visits to include arrival/departure times, duration, lock date, lock time and visit status. This report
3. 1056 Completed Encounters V3                                                                                                                                                                                      includes data on all detainees regardless of custody status.
                                                                                                                                                                                                                     Completed Encounters V2 report generates a list of all locked encounters to include the visit type, appointment
                                                                                                                                                                                                                     date, appointment start/end time, visit status, appointment provider, chief complaint, age at time of encounter and housing area. This report includes data on all detainees regardless of custody
4. 1057-1060 Kitchen Duty Status                                                                                                                                                                                     status.
                                                                                                                                                                                                                     The Kitchen Duty Status Report generates a list of all detainees and their status (Yes/No) for kitchen work. The report includes housing area and who cleared/removed the detainee for kitchen
  Report                                                                                                                                                                                                             work. This
5. 1063 Current Special Needs V3                                                                                                                                                                                     report includes data on detainees who are currently in custody.
                                                                                                                                                                                                                     Current Special Needs V3 report generates a list of all special needs for each detainee to include the special needs type, need name, start/end date and who modified the special need. This report
                                                                                                                                                                                                                     can be filtered by
6. 1064 Suicide Watch Historical                                                                                                                                                                                     Special Needs Type on the prompt page. This report includes data on detainees who are currently in custody.
                                                                                                                                                                                                                     The Suicide Watch Historical report generates a list of all detainees that were placed on suicide watch using the Suicide Watch Flag located under the CHS tab or from the Additional Information –
                                                                                                                                                                                                                     Correctional area. The report includes the start and end date for each suicide
7. 1076 Provider Orders                                                                                                                                                                                              watch. This report includes data on all detainees regardless of custody status.
                                                                                                                                                                                                                     The Provider Orders report generates a list of all provider orders to include labs, DI, actions, Rx and
8. 1096 Medical Alert Pending                                                                                                                                                                                        referrals. This report includes data on all detainees regardless of custody status.
                                                                                                                                                                                                                     The Medical Alert Pending Transfer V2 report generates a list of all detainees who have a Global Alert placed on their record. This report can be filtered by Global Alert type. This report includes
  Transfer V3                                                                                                                                                                                                        data on detainees who are
9. 1097 Med Hold Current Detainees V3                                                                                                                                                                                currently in custody.
                                                                                                                                                                                                                     The Med Hold Current Detainees V3 report generates a list of all detainees who are currently on Medical Hold. The report includes the date/time the medical hold was assigned, user who inserted
                                                                                                                                                                                                                     the medical hold, number of days on hold and any notes associated with the hold.
10. 1098 Historical Medical Hold Report V2                                                                                                                                                                           This report includes data on detainees who are currently in custody.
                                                                                                                                                                                                                     The Historical Medical Hold Report V2 generates a list of all detainees that have had or currently have a medical hold placed on their record. This report includes the user who last modified
                                                                                                                                                                                                                     (inserted, modified, deleted) the medical hold, date of modification and any notes. This
11. 1101 Historical Lab Orders                                                                                                                                                                                       report includes data on all detainees regardless of custody status.
                                                                                                                                                                                                                     The Historical Lab Orders report generates a list of all labs (in-house/LabCorp) that were ordered during the specified time frame. The report includes the lab order, order date, collection date,
                                                                                                                                                                                                                     received date, provider, and
12. 1102 Detailed Chest Xray Report V4                                                                                                                                                                               assigned to user. This report includes data on all detainees regardless of custody status.
                                                                                                                                                                                                                     The Detailed Chest Xray Report generates a list of chest

13. 1104 Actions Completed After Due Date                                                                                                                                                                            x-rays that includes the order date, collection date, results date, results, notes and user. This report includes data on all detainees regardless of custody status.
                                                                                                                                                                                                                     The Actions Completed After Due report generates a list of all actions that were completed after the due date.
                                                                                                                                                                                                                     This report includes the action type, subject, status, creation date, due date and completed date. This report
14. 1105 Actions Completed                                                                                                                                                                                           includes data on all detainees regardless of custody status.
                                                                                                                                                                                                                     The Actions Completed report generates a list of all actions that were completed during the specified date range. The report includes the action type, subject, creation date, due date, completed
                                                                                                                                                                                                                     date. This report
15. 1106 Provider Workload – Visit                                                                                                                                                                                   includes data on all detainees regardless of custody status.
                                                                                                                                                                                                                     The Provider Workload – Visit Count report generates a list of all telephone encounters and visits completed by facility and/or provider. This report is broken up into 3 parts; the top part is a
                                                                                                                                                                                                                     summary of the total of TE’s and visits per day per provider, the middle section displays the information in a different format and the bottom section displays the details to include date,
  Count                                                                                                                                                                                                              provider, visit type and detainee name. This report includes data
16. 1113 Hospitalization V3                                                                                                                                                                                          on all detainees regardless of custody status.

                                                                                                                                                                                                                     The Hospitalization V3 report generates a list of all detainees who have been hospitalized. The report is based on the entry of a referral and the structured data within the referral. This report
                                                                                                                                                                                                                     includes the referral date, referral from, specialty, reason, admission/discharge date, admission type, notes, authorization code, ICD code and code description. This
                                                                                                                                                                                                                                                                                                 Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 210 of 1402




17. 1115 MHU Bed Availability Report                                         report includes data on all detainees regardless of custody status.

                                                                             The MHU Bed Availability Report generates a list of all the occupied/unoccupied beds by date range and MHU. This report will show each day what beds were occupied
18. 1118 MHU Historic Report                                                 and/or unoccupied based on the date range and MHU selected.

                                                                             MHU Historic Report generates a list of all detainees admitted and/or discharged from the MHU during a specified time frame. The report includes the acuity level description,
                                                                             admission/discharge date, admitting diagnosis, room, bed type, bed name, and days between admission and discharge date. This report includes data on all detainees regardless of custody
19. 1139 MHU Admissions Over ADP                                             status.
                                                                             The MHU Admission Over ADP report generates a graph and a list of the number of admissions and discharges
20. 1140 MHU Bed Detail (Current Patients)                                   for the MHU with a calculated ADP. This report includes data on all detainees regardless of custody status.
                                                                             The MHU Bed Detail (Current Patients) report generates a list of all detainees that are currently admitted to the
                                                                             MHU. This report includes the admission date, admitting diagnosis, acuity level, bed name, bed type and number of days they have been in the MHU. This
21. 1141 MHU Bed Detail by Admission Date                                    report includes data only on detainees currently in custody.
                                                                             The MHU Bed Detail by Admission date report generates a list of all detainees that have an admission date between the selected date range. The report includes the admission/discharge date,
                                                                             acuity level, admitting diagnosis, bed name, bed type and number of days in
22. 1143 Transfer Visits Report                                              the MHU. This report includes data on all detainees regardless of custody status.
                                                                             The Transfer Visits Report generates a list of all completed transfer visits for a specified facility, date range and provider. This report includes visit date, check out time, lock date/time and the user
                                                                             who locked
23. 1146 Facility Workload V2                                                the note. This report includes data only on detainees who are currently in custody.

                                                                             The Facility Workload V2 report generates a 3 tabbed report. The 1st tab includes a summary of all the visit counts. The 2nd tab includes the number of chart review by provider/security role and
                                                                             number of encounters per role. The 3rd tab includes visit counts by diagnosis, + pregnancy test, number of labs/DI completed, current suicide watch (only for that day) and the total number
24. 1149 Workload Analysis by                                                of prescriptions. This report includes data on all detainees regardless of custody status.

   Diagnosis                                                                 The Workload Analysis by Diagnosis report generates a list of detainees by diagnosis code. This report can be filtered by date range, facility, provider, diagnosis code,
25. 1150 Provider Workload – Visit Type Analysis                             age range and visit type. This report includes data on all detainees regardless of custody status.
                                                                             The PW – Visit Type Analysis report is very resource intensive and takes a long time to run. The 1106 Provider Workload – Visit Count should be used as an alternative. This report includes the
                                                                             facility, provider, and visit counts. This report includes data on all
26. 1152 Unassigned PE and Intake Progress Notes V2                          detainees regardless of custody status.
                                                                             The Unassigned PE and Intake Progress Notes V2 report generates a list of all the intakes and PE’s that were not pended for secondary review. This report needs to be filtered by appointment
                                                                             provider security role. This
27. 1153 No-Show Appointments                                                report includes data on all detainees regardless of custody status.

                                                                             The No-Show Appointments report generates a list of all visits that have a status of N/S. The report includes the visit type, visit date, appointment reason and
28. 1157 Pregnant Detainee Current V2                                        appointment provider. This report includes data on all detainees regardless of custody status.
                                                                             The Pregnant Detainee Current report generates a list of pregnant detainees based on a positive in house urine pregnancy test. This report includes the LMP, date of conception, estimated due
                                                                             date, calculated gestational
29. 1158 Pregnant Detainee Historical                                        age, receiving prenatal care and high risk pregnancy determination. This report includes data only on detainees that are currently in custody.
                                                                             The Pregnant Detainee Historical report is the same as the 1157 Pregnant Detainee Current (see above) but
30. 1193 Current Chronic Care Report V3                                      includes data on all detainees regardless of custody status.
                                                                             The Current Chronic Care Report V2 generates a list of all detainees who have a chronic illness based on
31. 1194 Historical Chronic Care Report V2                                   predefined ICD groups and if there is a Global Alert placed on their record. This report includes data only on detainees that are currently in custody.
                                                                             The Historical Chronic Care Report V2 is the same as the 1193 Current Chronic Care Report V2 (see above) but
32. 1221 Sick Call Response Time Report V2                                   includes data on all detainees regardless of custody status.
                                                                             The Sick Call Response Time Report V2 generates a list of all sick call visits. This report includes the appointment date, provider/resource and chief
33. 1226 FOIA V2                                                             complaint. This report includes data on all detainees regardless of custody status.
                                                                             The FOIA report generates a list of all FOIA requests that are in eCW under a telephone encounter. This report includes the date of the request, requestor, date range of records requested and
                                                                             number of pages. This
34. 1228 Grievances V4                                                       report includes data on all detainees regardless of custody status.
                                                                             The Grievances V3 report generates a list of all grievances based on the grievance template. This report includes the grievance date, log number, date of detainee signature, nature of the grievance,
                                                                             outcome
35. 1239 Detainee Allergy Report                                             and investigation results. This report includes data on all detainees regardless of custody status.

                                                                             The Detainee Allergy Report generates a list of all detainees that have an allergy placed on their record. This report includes the allergy and the reaction. This
36. 1260 Suicide Watch (Current)                                             report includes data only on detainees that are currently in custody.
                                                                             The Suicide Watch (Current) report generates a list of all detainees currently in custody that have been on suicide watch. This report is based on the suicide watch flag being switched to yes. This
                                                                             report includes the start
37. 1262 Mental Health TE Referrals and F/U Visit Report V2                  and end date of the suicide watch. This report includes data only on detainees that are currently in custody.

                                                                             The Mental Health TE Referrals and F/U Visit Report generates a list of all mental health referrals and when the detainee was seen by a mental health provider.
                                                                             This report includes the referring providers name, visit type, visit date, TE date, TE reason, MH visit date, MH
38. 1263 Mental Health Visits                                                provider and chief complaint. This report includes data on all detainees regardless of custody status.
                                                                             The Mental Health Visits report generates a list of all the MH visit types and the total for each visit type for a
39. 1265 Psychiatric Visits                                                  specified date range. This report includes data on all detainees regardless of custody status.

                                                                             The Psychiatric Visits report generates a list of all the MH visit type and the total for each visit type that was locked by a psychiatrist during a specified date range.
40. 1268 Mental Health Segregation Report V2                                 This report includes data on all detainees regardless of custody status.
                                                                             The Mental Health Segregation Report generates a list of all detainees that have a SEG visit with a MH diagnosis placed on their record during a specified date range. This report includes the MH
                                                                             visit type, date, provider, ICD code and code description. This report
41. 1276 Female Detainees with History of Sexual Assault/Abuse               includes data on all detainees regardless of custody status.

                                                                             Female Detainees with a History of Sexual Assault/Abuse generates a summary of all female detainees in IGSA (national level) and at the facility level that have a history of sexual abuse/assault.
                                                                             This report also includes a detail list for the specific facility selected on the prompt page of any detainee that answered yes to, “Have you suffered from Physical Abuse”, “Have you ever been a
                                                                             victim of Sexual Abuse”, and “Have you been a victim of physical or sexual abuse or engaged in behaviors that would put you at risk”. This report
42. 1311 Chest X-Rays Pending Reports V4                                     includes data on all detainees regardless of custody status.

                                                                             The Chest X-rays Pending Reports generates a list of all detainees that have had a CXR ordered but no results have been received. This report includes the order date
43. 1312 & 1314 Other than Normal Chest X-rays V5                            and collection date. This report includes data on all detainees regardless of custody status.
                                                                             The Other than Normal Chest X-Rays V2 report generates a list of all CXR’s that have a result that is positive or there were additional findings noted by the Radiologist. This report includes the
                                                                             order/collection/received dates, results and any notes
44. 1317 CXR Reconciliation Report V4                                        that were entered in the DI screen. This report includes data on all detainees regardless of custody status.

                                                                             The CXR Reconciliation Report generates a list of all CXR’s that have been manually reconciled. The date range on the prompt page is based on the “order date”. This report includes the order
                                                                             date, performed date, manually reconciled date, user name and accession id. This report includes data on all detainees regardless of
45. 1400 Rendering Provider                                                  custody status.
                                                                             The Rendering Provider report generates a list of all detainees and who their Rendering Provider is designated as on the Pt HUB. This report includes data
46. 1401 Appointment Reconciliation Report                                   only on detainees currently in custody.
                                                                             The Appointment Reconciliation Report generates a list
47. 1402 Detainees with Blank Admission Date                                 of future appointments where the Patients Facility does not match the appointment facility.
                                                                             Detainees with Blank Admission Dates report generates a list of all detainees who are missing an admission
48. 1403 Detainees with Chronic Disease V3                                   date. This report includes data only on detainees currently in custody.
                                                                             The Detainees with Chronic Disease V2 report generates a list of all detainees who have a chronic disease as defined by specific ICD groups. This report includes the visit types (locked),
                                                                             encounter date, ICD code, Diagnosis description and the date of the next scheduled chronic
49. 1404 Detainees with MH Disease (Current) V2                              visit. This report includes data only on detainees currently in custody.
                                                                             The Detainees with MH Disease (Current) V2 report generates a list of all detainees who have a mental health disease as defined by specific ICD Groups. This report includes the visit date, visit
                                                                             type, ICD Code and
50. 1405 Detainees with MH Disease (Historical) V2                           diagnosis description. This report includes data only on detainees currently in custody.
                                                                             The Detainees with MH Disease (Historical) V2 report is the same as the 1404 Detainees with MH Disease
51. 1406 Detainees with Positive Pregnancy Test                              (Current) V2 (above) but includes data on all detainees regardless of custody status.
                                                                             The Detainees with Positive Pregnancy Test report generates a list of all detainees that have a positive urine pregnancy test. The report includes the order date, collection date, received date, and
                                                                             result. This report includes data on all detainees regardless of
52. 1407 Diagnosis Information                                               custody status.
                                                                             The Diagnosis Information report generates a list of all detainee encounters and the codes associated with those encounters. This report includes the visit type, appointment date, ICD Code and
                                                                             code description.
                                                                             There is no facility filter on this report. This report includes data on all detainees regardless of custody
53. 1408 Immunization/Therapeutic Injection Lot Report                       status.
                                                                             The Immunization/Therapeutic Injection Lot Report generates a list of all detainees that have had a specific immunization/therapeutic injection. The report includes the lot number, given date,
                                                                             dosage, dosage number, due date, given by, and immunization name. This
54. 1409 MRT Workload (# of Documents Scanned)                               report includes data on all detainees regardless of custody status.

                                                                             The MRT Workload (# of Documents Scanned) report generates either a summary or detail, based on prompt page selection, of all documents scanned. The report includes the total number
                                                                             documents scanned, scan date, document name and scanned by user. This report cannot be filtered by facility. Note: When selecting a scanned by user name on the prompt page the user name
                                                                             may be listed multiple different ways. Ex. Smith, Sue; Smith, Sue M.; SSmith. To ensure that you have selected all the different variations use the options
55. 1410 Pending Tasks (End-of-Day) Report V2                                under the Keyword search box.

                                                                             The Pending Tasks (End-of-Day) Report V2 generates a 6 tab report listing all the open tasks for a specific facility. The 1st tab includes all unlocked notes. The 2nd

                                                                             tab includes all open telephone encounters. The 3rd tab includes all actions that are past due. The 4th tab includes all progress notes pended for review. The 5th
56. 1411 Segregation Report                                                  tab includes labs not reviewed and the 6th tab includes all DI not reviewed.
                                                                             The Segregation Report generates a list of all SEG and/or MH-SEG visits that are locked. The report includes the visit type, visit reason, appointment provider, date, and referral to clinical services.
                                                                             This
57. 1413 Detainees with No IMM Appts                                         report includes data on all detainees regardless of custody status.
                                                                             The Detainees with No IMM Appts report generates a list of all detainees who do not have an IMM visit completed (CHK or REF status). This report can be filtered by age range on the prompt
                                                                             page and includes the IMM appointment date and status. This report includes data
58. 1416 Sexual Abuse At Risk Report                                         only on detainees currently in custody.

                                                                             The Sexual Abuse At Risk Report V2 generates a list of any detainee who has answered Yes to specific questions regarding abuse during the Intake Screening and/or PE visit. The report includes
   V3                                                                        the visit type (Intake/PE), encounter date, three questions from the intake and two from the PE regarding sexual abuse. This
59. 1417 Provider-Resource Locked Note Report V2                             report includes data on all detainees regardless of custody status.
                                                                             The Provider-Resource Locked Note Report generates a list of all visits where the Provider/Resource is different from the person who locked the note. The report includes the visit type, date of
                                                                             encounter, appointment provider, resource and locked note provider. This report
60. 1418 Refusal Report                                                      includes data on all detainees regardless of custody status.
                                                                             The Refusal Report generates a list of all detainees that have a telephone encounter in their record with a reason of “Refusal”. Multiple variations of refusal, refused, etc. were used in order to
                                                                             capture all refusals. This report includes the TE date, reason, answered by,
61. 1419 Global Alerts Historical w/Facility V3                              assigned to and provider. This report includes data on all detainees regardless of custody status.
                                                                             The Global Alerts Historical w/Facility V2 report generates a list of all detainees that have a specific global alert assigned to their record. This report includes the alert type, insert date, insert facility
                                                                             delete date, deleted by date, and delete facility. This report includes
62. 1420 Transgender Detainees V2                                            data on all detainees regardless of custody status.
                                                                             The Transgender Detainees V2 report generates a list of all detainees that have the transgender flag turned on and/or an ICD code from a specific ICD Group. The report includes the ICD Code,
                                                                             diagnosis description and
63. 1421 Detainees with Disabilities V2                                      if the transgender box is checked. This report includes data on all detainees regardless of custody status.
                                                                             The Detainees with Disabilities report generates a list of all detainees that have been identified during the Intake
                                                                             visit based on specific questions answered by the intake nurse. This report includes the encounter date, if there was physical and/or developmental disabilities observed and any description of
                                                                             the disability. This report
64. 1423 Pregnancy Exception Report                                          includes data on all detainees regardless of custody status.
                                                                             The Pregnancy Exception Report generates a list of all detainees that answered Yes to being pregnant during the PE but do not have a positive pregnancy test in the record. The positive pregnancy
                                                                             test includes the in- house urine pregnancy test and the LabCorp HCG tests.
65. 1424 Completed Chart Reviews                                             This report includes data on all detainees regardless of custody status.

                                                                             The Completed Chart Reviews report generates a 3 tab report. The 1st tab is a summary by visit type and role. The 2nd tab is a summary by provider and the 3rd tab is
66. 1425 COC Exception Report                                                a detail listing of all the notes that were reviewed/co- signed.
                                                                             The COC Exception Report generates a list of all detainees who do not have a “Citizen of Country” listed
67. 1426 Clinical Visit Console                                              in their demographic information. This report includes data only on detainees currently in custody.
                                                                             The 1426 Clinical Visit Console report is a replica of the Clinical Visit Console in eCW. The only difference between the two is that Intake visits appear on the report and there is a locked column
                                                                             to let the user know
68. 1427 Deceased List                                                       if the encounter is locked. This report includes data on all detainees regardless of custody status.

                                                                             The Deceased List report generates a list of all detainees in eCW that have the deceased flag turned on. The report includes the cause of death and deceased date.
69. 1431 Facility Roster                                                     This report cannot be filtered by facility or date range.
                                                                             The Facility Roster report generates a list of all detainees booked into a specific facility. The report includes the last visit type and last visit date. This
70. 1432 Krome Transitional Unit Productivity Report                         report includes data only on detainees currently in custody.

                                                                             The Krome Transitional Unit Productivity Report generates a 2 tab report that displays a summary and details regarding the types and numbers of visits being completed by staff. The 1st tab is a
                                                                             summary and includes the number of visits by role and by specific provider. The 2nd tab includes the provider, visit type, visit date, and detainee name. This report includes data
71. 1433 Rescheduled Appointment List V2                                     on all detainees regardless of custody status.
                                                                             The Rescheduled Appointment List generates a list of all appointments that have been rescheduled. The report includes the visit type, initial visit date, new visit date, user who modified the date,
                                                                             and modified date/time.
72. 1435 TeleRadiology CXR Received Report V6                                This report includes data on all detainees regardless of custody status.
                                                                             The TeleRadiology CXR Received Report V2 generates a list of all CXR’s transmitted to XRad with reports being

                                                                             received back. There must be a report transmitted back from XRad for it to appear on the report. The report includes the received date, date ordered and collection
73. 1436 Current MH Chronic Care List                                        date. This report includes data on all detainees regardless of custody status.
                                                                             The Current MH Chronic Care List report generates a list of all detainees who have an ICD code from a predefined ICD Group and if there is a SMI Alert placed
74. 1437 Historical MH Chronic Care List                                     on the detainee record. This report includes data only on detainees that are currently in custody.
                                                                             The Historical MH Chronic Care List report generates a list of all detainees who have an ICD code from a
75. 1440 Hunger Strike Report V2                                             predefined ICD Group. This report includes data on all detainees regardless of custody status.
                                                                             The hunger Strike Report V2 generates a list of all detainees who are or who have been on hunger strike. The report is based on specific questions found in the Hunger Strike Report template.
                                                                             This report includes
76. 1442 Managed Care Productivity Report                                    data on all detainees regardless of custody status.

                                                                             The Managed Care Productivity Report generates a summary and/or detail listing of all users who approve/reject referrals and the different types of referrals. The report includes the user, total
                                                                             referrals in the statuses of pending, received, approved, rejected, and referrals by specialties in the same statuses. The report also includes the # of days between submission
77. 1446 Co-Sign and Review Detail                                           and approved/rejected status. This report includes data on all detainees regardless of custody status.
                                                                             The Co-Sign and Review Detail report generates a list of all notes that have been co-signed/reviewed by security role. The report includes the security role, encounter date, visit type, reviewers
                                                                             name and review date/time.
78. 1448 BHU SMI Report                                                      This report includes data on all detainees regardless of custody status.

                                                                             The BHU SMI Report generates a list of all detainees who should potentially be on the SMI list maintained by IGSA HQ. This report includes data obtained from the
79. 1449 Workload Analysis by CPT                                            MH Seg and SMI StandardForm. This report includes data on all detainees regardless of custody status.

                                                                             The Workload Analysis by CPT report generates a list of visits and CPT codes based on various filters on the prompt page. This report includes columns that are
80. 1450 PPD Report                                                          selected on the prompt page. This report includes data on all detainees regardless of custody status.
                                                                             The PPD Report generates a list of all PPD’s planted. The report includes the plant date, time, read date,
81. 1451 Reasonable Accommodation Report                                     induration and results. This report includes data on all detainees regardless of custody status.
                                                                             The Reasonable Accommodation Report generates a list of all detainees that have an ICD-10 code from a predefined ICD Group. The report includes the visit date, visit type, and diagnosis. This
                                                                             report includes data on all detainees regardless of custody status. Note:
82. 1452 Hygiene Related Diagnosis                                           This report does provide historical data but only for detainees that have ICD-10 codes. Detainees with ICD-9 codes are not included on this report.

                                                                             The Hygiene Related Diagnosis report generates a list of all detainees that have an ICD code from a predefined ICD Group. The report includes the visit date, visit type
83. 1454 Inactive Provider Report                                            and diagnosis. This report includes data on all detainees regardless of custody status.
                                                                             The Inactive Provider Report generates a list of open tasks that are assigned to inactive providers. The report includes unlocked visits, TE’s, actions, chart reviews, documents pending review, and
                                                                             DI/Labs. This report
84. 1455 Deleted Appointments Report                                         includes data on all detainees regardless of custody status.
                                                                             The Deleted Appointments Report generates a list of all visits that have been deleted. The report includes the date of deletion, user, visit type and visit date. This report includes data on all
                                                                             detainees regardless of
85. 1456 Telephone Encounters                                                custody status.

                                                                             The Telephone Encounters report generates a listing of all telephone encounters by creation date. The report includes answer by, date, reason, assigned to, status,
86. 1461 Claims Coding Report                                                date locked and locked user. This report includes data on all detainees regardless of custody status.

                                                                             The Claims Coding Report generates a list of all locked claims, codes entered on the claim by the coder, visit date and codes entered by the provider on the note.
87. 1462 High Risk Behavior Report V2                                        The date range for the report is based on the date that the claim was locked.
                                                                             The High Risk Behavior Report generates a list of any detainee who has answered yes to one of three questions answered during the Intake and PE visits regarding violence toward others, having a
                                                                             history of assaulting/attacking others or if they have ever sexually assaulted anyone. This report includes the detainee name/A#, housing area, facility where the detainee answered yes to any of
                                                                             the 3 questions, and answer to
88. 1463 Intake Screening TB Clearance Report V2                             each of the questions. This report only includes data on detainees who are currently in custody.
                                                                             The Intake Screening TB Clearance Report generates a list of all detainees that have a completed Intake visit and their most current CXR and/or PPD reading. The report includes the detainee
                                                                             name/A#, Intake visit date, facility where CXR and/or PPD was done, date of CXR
89. 1464 Controlled and Psychotropic Medication Report                       and/or PPD and the results. This report includes data on all detainees regardless of custody status.

                                                                             The Controlled and Psychotropic Medication Report generates a list of any detainee that has been prescribed any of the medications in the Rx Group selected on the prompt page. The report
                                                                             includes the detainee name/A#, order date, prescription status, medication name and ordering provider. This report
90. 1465 Transient Intake Screening                                          includes data on all detainees regardless of custody status.
                                                                             The Transient Intake Screening Report generates a listing of any detainee who has a completed Pre-Screen visit with a reason of “Transient”. Different variations of the word transient are included
  Report                                                                     in the report. The report includes the detainee name/A#, facility, visit
91. 1467 Lab Reconciliation Report                                           date, reason, and provider. This report includes data on all detainees regardless of custody status.
                                                                             The Lab Reconciliation Report generates a listing of all lab results that have come through the eCW Reconciliation Interface and needed to be manually reconciled. This report includes the
                                                                             detainee name/A#, facility, lab orders, date ordered/collected, date
92. 1468 Claims Productivity Report                                          reconciled and who reconciled the lab.
                                                                             The Claims Productivity Report generates a 2 tab report. The report list the total number of claims locked by a user in the “Claims” role and the details associated with each claim. The date range
93. 1471 Cancelled Visits with Notes                                         on the prompt page is based on the date that the claim is locked.
                                                                             The Cancelled Visits with Notes report generates a list of all visits that are in the canceled status, if they are locked and the General Notes from the Appointment Window. This report includes
94. Minor Detainees w/no PE, IMM, MH-WCC, DEN-EX appointments Scheduled V2   data on all detainees regardless of custody status.
                                                                              The Minor Detainees w/no PE, IMM, MH-WCC, DEN-EX
                                                                              Appointments Scheduled report generates a multi-tabbed
                                                                              report. The report is to be used by facilities that house
                                                                              minors (detainees <18 yrs. of age). This report includes
95. 1476 Detainees with HTN, Last BP                                          data on detainees that are currently in custody.
                                                                             The Detainees with HTN, Last BP Reading and Current Medications report generates a list of all detainees who have been at the same facility for 6 months or longer that have a diagnosis of HTN.
                                                                             The report shows the most current visit where a HTN code was assigned in the assessment, most current BP reading and the current medications. This report includes data on detainees that are
   Reading and Current Medications                                           currently in custody.
96. 1477 PE, Immunization and MH-

                                                                             The PE, Immunization and MH-WCC Compliance Report generates a multi-tabbed report. All tabs calculate a “Length of Time” to complete the specified visit type. The length of time is based on
                                                                             the Pre-Screen visit completion date. Tab 1 shows any detainee that had a PE-C. Tab 2 shows any detainee that had a PE-S. Tab 3 shows any detainee that had an IMM and tab 4 shows any
   WCC Compliance Report                                                     detainee that had a MH-WCC. This report includes data on all detainees regardless of custody status.
97. 1478 Detainees with No Rendering
                                                                             The Detainees with No Rendering Provider Assigned generates a list of any detainee that does not have a “Rendering Provider” assigned to them. This report includes data on detainees that are
   Provider Assigned                                                         currently in custody.
98. 1480 Rendering Provider with
                                                                             The Rendering Provider with Diagnosis report generates a list of detainees who have a rendering provider assigned, PE-C visit date, last CH visit date, pending CH visit date and all diagnosis from
  Diagnosis                                                                  the Problem List. This report includes data on detainees that are currently in custody.
99. 1481 Nursing Detainees
                                                                             The Nursing Detainees report generates a list of any detainee that has answered yes to “Are you currently breastfeeding”. The date range on the prompt page is based on the encounter date
100. 404 Detainees without Initial or                                        when the detainee answered Yes. This report includes data on all detainees regardless of custody status.

                                                                             The 404 Detainees without Initial or Annual PE Scheduled report is a 3 tab report. The 1st tab list the detainees that have a completed intake visit but no PE scheduled. The 2nd tab lists all
  101. Annual PE Scheduled                                                   detainees that have had an initial PE but there is no annual PE scheduled. The 3rd tab lists all detainees that are at in custody still at day 350 and will need a PE within 15 days. This report
                                                                             includes only data on detainees that are currently in custody.
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                               Verification
                             Test Methods *
                               (A)analysis,                                                                                                                                                                                  Additional Information
TT Group   HARRIS Testing                                                           Pass/Fail                         FOC UAT Pass/Fail   FOC UAT NOTE   Harris Disposition of FOC UAT Results (6/20/14)
                            (D)emonstration,                                                                                                                                                               (Provided by IGSA for operational context for some features)
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Desired Features:
   Primary = 1                                                                                                                                                                                                                     Reference material:
 Secondary = 2      Is this feature being offered within the Base Period - operational in all sites within 12 months of contract award?   If the feature is offered within the Base Period and is part of an existing product you may provide a reference to an area within a product manual? (This will be informational only and will not be   Status                                         Sprint                           Rank/ Priority   Release #   Req’t Source and Section #   Design Element Reference and Element # (Design Document Reference/Section)
   Tertiary = 3                                                                                                                                                                                                           considered in the evaluation process)
    Other = 4
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Physical Software Module Name   Notes   Comments/Approach   RTM Issue                       Delivery Event Change from RTM 1.2 (W orking Column)   FRD RESPONSE (W orking Column)   RTM 1.2 (W orking Column)   Suggested W orkflow Bucket (W orking Column)   Test/Demonstration comments (W orking Column)
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                ATTACHMENT 11
                                                    Office ofEnforcementand Removal Operations
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                                                                 U.S. Department of Homeland Security
                                                                500 12th Street. SW
                                                                Washington. D.C. 20536

                                                                U.S. Immigration
                                                             £1 and Customs
                                                                Enforcement


                                       SEP 2 9 2016
MEMORANDUM FOR:              All Field Office Directors, Deputy Weld Office Directors.
                             Assistant Directors. ancLEtoputy Assistant Directors

FROM:                        Thomas 1Ionian
                             Executive As


SUBJECT:                     Authorizea Firearms for Enforcement and Removal Operations

Purpose:

To provide guidance and clarification on certain items within the Interim U.S. Immigration and
Customs Enforcement (ICE) Firearms Policy. This memorandum will provide guidance for
armed personnel within Enforcement and Removal Operations (ERO).

Background:


The Interim ICE Firearms Policy requires the Director of the operational programs to determine
which firearms listed in Appendix 1, ICE Approved Firearms and Intermediate Force Devices,
may be carried by armed personnel within their program. ERO has been working with the Office
of Firearms and Tactical Programs (OFTP) to bring forth new firearms technology that will
better serve the needs of the armed workforce. The changes reflected in this memorandum are
intended to immediately address specific operational requirements based on information received
from the field.


This memorandum supersedes the ERO firearms authorization memorandum dated February 1,
2016, "Authorized Firearms for Enforcement and Removal Operations." Remaining superseded
memoranda include the January 21. 2016 "Authorized Firearms for Enforcement and Removal
Operations," February 19, 2013, "Authorized Firearms for Enforcement and Removal
Operations," the April 30, 2012, "Authorized Firearms for Enforcement and Removal
Operations," and the August 18, 2011, "Authorized Firearms for Enforcement and Removal
Operations.'"

Discussion:


ERO armed personnel are authorized to carry the following ICE-issued or approved, personally
owned handguns on or off duty:

       1. Sig Sauer P229 (.40)
       2. Sig Sauer P226 (.40)
       3. Sig Sauer P239 (.40)




                                                                    www.ice.gov
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            U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT
                           ICE Policy System


OFFICE OF PRIMARY INTEREST: Director of Operations (National Firearms and
                            Tactical Training Unit)

                          DISTRIBUTION:                  ICE
                          DIRECTIVE NO.:                 70001.1
                          ISSUE DATE:                    02/04/2005
                          EFFECTIVE DATE:                02/04/2005
                          REVIEW DATE:                   02/04/2008
                          SUPERSEDES:                    see section 3

DIRECTIVE TITLE: ICE Body Armor Policy

1.     PURPOSE and SCOPE. To establish the U.S. Immigration and Customs
       Enforcement (ICE) policy for the use of personal protective soft body armor
       (body armor) and identify related management and employee responsibilities.
       This directive applies to all components of ICE with armed officers.

2.     AUTHORITIES/REFERENCES.

2.1.   Statutory and Regulatory Authority

       8 USC 1103

2.2.   ICE Policy

       Interim ICE Firearms Policy (July 7, 2004)

       Interim ICE Use of Force Policy (July 7, 2004)

2.3    National Institute of Justice Reference Documents

       Ballistic Resistance of Personal Body Armor (NIJ Standard 0101-03 and 0101-04
       and amendments)

       Selection and Application Guide to Personal Body Armor (NIJ Guide 100-01 and
       100-98, and amendments)

3.     SUPERSEDED/CANCELLED POLICY/SUMMARY OF CHANGES.
       This directive supersedes previous legacy policies, issuances and previously
       recognized processes for soft body armor for all ICE offices with armed officers.




ICE BODY ARMOR POLICY
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4.     DEFINITIONS.

4.1.   Body Armor - A protective garment designed to stop a variety of standard
       handgun projectiles. The armor is not designed to stop all projectiles, especially
       those fired from high-caliber rifles. Unless rated as stab resistant, this armor is
       not designed to prevent injury from sharp or cutting or piercing-type weapons.
       No body armor is designed as a replacement for common sense, good judgment
       and proper street survival procedures and tactics.

4.2.   Technology Standards for Body Armor – The Law Enforcement and
       Corrections Standards and Testing Program (LECSTP) is sponsored by the Office
       of Science and Technology of the National Institute of Justice (NIJ),
       Department of Justice (DOJ). The LECSTP is an applied research effort that
       determines the technological needs of justice systems agencies, sets minimum
       performance standards for specific devices, tests commercially available
       equipment against those standards and disseminates the standards and the test
       results to criminal justice agencies nationally and internationally. The NIJ
       reference documents for this policy are listed in the Authorities section and are as
       follows: Ballistic Resistance of Personal Body Armor (NIJ Standard 0101-03 and
       0101-04) and Selection and Application Guide to Personal Body Armor
       (NIJ Guide 100-01 and 100-98), to include amendments.

5.     POLICY.

5.1.   All ICE employees authorized to carry firearms as a condition of employment
       shall be issued protective body armor. New employees will be fitted for
       body armor during their initial training at the Federal Law Enforcement Training
       Center (FLETC) or as specified by ICE. Replacement of expired or damaged
       body armor in the field shall be coordinated with the designated official for that
       operational component, most often the Senior Firearms Instructor (SFI).

5.2.   The ballistic resistance performance standard for protective body armor requires a
       minimum of threat level type IIA protection, with side panel coverage, and must
       meet the current NIJ standards.

5.3.   All ICE armed officers are strongly encouraged to wear their issued body armor
       while performing law enforcement duties. When not being worn, body armor
       should be readily accessible in the vehicle or building where the officer is
       working. When away from the vehicle or building, the ICE armed officer does
       not have to carry the body armor, unless instructed by a supervisor.

5.4.   All Federal Protective Service (FPS) armed uniformed officers shall wear their
       issued body armor while in the performance of their law enforcement duties.
       When in a non-uniform status or not being worn, body armor should be readily
       accessible in the vehicle or building where the officer is working. When away




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       from the vehicle or building, the ICE armed officer does not have to carry the
       body armor, unless instructed by an FPS supervisor.

5.5.   All Detention and Removal Operations (DRO) armed uniformed officers shall
       wear their issued body armor while in the performance of their law enforcement
       duties. When not being worn, body armor should be readily accessible in the
       vehicle or building where the officer is working. DRO armed officers performing
       administrative duties or duties inside a detention facility shall not be required to
       wear their issued body armor.

5.6.   Due to their covert mission within the aviation environment, Federal Air Marshals
       shall wear issued body armor according to their internal guidance and procedures
       as established by the Director, Federal Air Marshal Service.

5.7.   The wearing of body armor during normal operations is at the discretion of the
       employee, except during activities as specified in the Procedures Section of this
       directive and for FPS and DRO armed officers as stated above in sections 5.4 and
       5.5.

5.8.   All employees need to be aware of the health risks associated with the wearing of
       body armor in high-heat/high humidity conditions and/or during strenuous
       exertion. When employees are required to wear body armor, they shall be
       provided opportunities to rehydrate and remove the body armor as necessary.

5.9.   ICE does not authorize the use of personally owned body armor for armed
       officers while functioning as ICE employees. Any exception to this requirement
       first must be approved by the director of the operational component and then by
       the Director of the National Firearms and Tactical Training Unit (NFTTU).

6.     RESPONSIBILITIES.

6.1.   The NFTTU is responsible for the development of all national policy and
       procedures, and exercises program management responsibility for the body armor
       program.

6.2.   The NFTTU shall coordinate all research, testing, evaluation, procurement,
       distribution and destruction of body armor.

6.3.   The SFIs are responsible for coordinating requests for body armor, ensuring
       training requirements are met and conducting inspections of all body armor as
       required by the NFTTU.

6.4.   Supervisors are responsible for ensuring armed personnel under their supervision
       are issued body armor and that it has not exceeded its expiration date.




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6.5.   Supervisors are responsible for ensuring that all personnel issued body armor
       comply with the mandatory requirements for wearing body armor specified in the
       Procedures Section of this policy.

6.6.   ICE officers are responsible for the proper care and inspection of the issued
       body armor in accordance with the manufacturer’s recommendations and ballistic
       panel labeling.

6.7.   ICE officers are required to attend, participate and complete all mandated body
       armor training as required by ICE and/or their operational component.

7.     PROCEDURES.

7.1.   The NFTTU will develop standard operating procedures to be used for the
       selection, procurement, issuance, accountability, replacement and disposal of all
       ICE-owned and issued body armor.

7.2.   The NFTTU shall maintain the national inventory system for body armor. Unless
       otherwise identified by the NFTTU, the Firearms Inventory System (FIS) module
       in the Automated Management Information System is the national inventory
       system and will be the official system of record for the accountability, transfer
       and inventory of all ICE body armor.

7.3.   The officer to whom the body armor is issued is responsible for electronically
       accepting it in the designated automated inventory system. Body armor should
       not be documented on any other ICE property record document other than for
       exigent circumstances and only as an interim hand receipt until FIS can be
       properly updated by the responsible officer(s).

7.4.   A 100 percent body armor inventory shall be performed annually by all
       employees issued body armor in FIS. Responsible officials (supervisory
       personnel) shall ensure that the employees complete their annual inventory and
       verification process in FIS within 30 days of notification of the initiation of the
       inventory process. Employees who fail to complete their inventory and
       verifications within the specified 30 days may be subject to disciplinary action.

7.5.   In the event that body armor is lost or stolen, it must be reported to the NFTTU
       via facsimile (814-946-9995) and FIS within 48 hours of discovery by the
       employee to whom it was issued. This FIS reporting requirement does not
       preclude any other reporting requirement(s) mandated by any other ICE policy or
       procedure. The stolen body armor information, with serial number, shall also be
       entered into the National Crime Information Center (NCIC) database.




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7.6.   The wearing of body armor by ICE armed officers is mandatory during the
       following activities:

7.6.1. Special Response Team (SRT) deployments when officers are part of an arrest, or
       operate as an entry or perimeter element;

7.6.2. Executing arrests in pre-planned situations. ICE officers working in an
       undercover capacity, or in support of another officer working in an undercover
       capacity, may be exempted from the requirement of wearing body armor stated in
       this section, if the wearing of the body armor presents a danger of being exposed
       as a law enforcement officer. This exemption pertains to officers who will be
       working in close proximity to violators and who may identify the officer as a
       law enforcement officer by noticing the body armor. In all cases, the exemption
       must be approved by a first-line supervisor prior to the operation;

7.6.3. Execution of high-risk search warrants until the premises are secured and cleared
       or at the discretion of the first-line supervisor;

7.6.4. Apprehension phases of air and marine interdiction operations;

7.6.5. Transportation, storage or destruction of seized narcotics, currency or other
       high risk or valuable commodity;

7.6.6. During normal operations for FPS and DRO officers, if armed, and in uniform as
       stated above in sections 5.4., 5.5. and 5.7.;

7.6.7. In emergency situations where ICE management determines there is an immediate
       threat to the safety of employees. In addition to the nature of the emergency
       situation, ICE management will also determine the duration of the emergency
       and, accordingly, the length of time that body armor must be worn; and,

7.6.8. During all DRO fugitive apprehension operations regardless of whether it is a
       formalized, preplanned operation or not. This does not include simple
       investigative inquiries when an apprehension is not anticipated by the DRO armed
       officer.

7.7.   SFIs shall ensure that training is provided to each employee who is issued
       body armor. SFIs shall ensure that all training is documented in the appropriate
       system as identified by the NFTTU.

7.8.   Body armor training covers the following:

       •   Circumstances/situations when body armor must be worn;

       •   Type of body armor that is necessary;




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                ATTACHMENT 13
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 1

 2
                               UNITED STATES DISTRICT COURT
 3
                             NORTHERN DISTRICT OF CALIFORNIA
 4

 5
     AUDLEY BARRINGTON LYON, JR., JOSÉ ) Case No. 3:13-cv-05878-EMC
 6   ELIZANDRO ASTORGA-CERVANTES, and )
     NANCY NERIA-GARCIA , on behalf of             )
 7   themselves and all others similarly situated, )
                                                   )
 8
     Plaintiffs,                                   )
 9                                                 )
     v.                                            )
10                                                 )
11
     UNITED STATES IMMIGRATION AND                 )
     CUSTOMS ENFORCEMENT; SARAH                    )
12   SALDAÑA, Director of U.S. Immigration and )
     Customs Enforcement; UNITED STATES            )
13   DEPARTMENT OF HOMELAND                        )
14
     SECURITY; JEH JOHNSON, Secretary of           )
     Homeland Security; and ADRIAN MACIAS, )
15   Acting Director of the San Francisco Field    )
     Office of U.S. Immigration and Customs        )
16                1
     Enforcement.                                  )
17                                                 )
     Defendants.                                   )
18

19
                           SETTLEMENT AGREEMENT AND RELEASE

20   Plaintiffs in the above-captioned matter, on behalf of themselves and all Class Members, and
21   Defendants U.S. Immigration and Customs Enforcement (“ICE”); Sarah Saldaña, in her official
     capacity as Director of U.S. Immigration and Customs Enforcement; United States Department
22
     of Homeland Security; Jeh Johnson, in his official capacity as Secretary of Homeland Security;
23   and Adrian Macias, in his official capacity as Acting Director of the San Francisco Field Office
     of U.S. Immigration and Customs Enforcement, Enforcement and Removal Operations; by and
24

25   1
       Sarah Saldaña, Director, ICE, is substituted under Federal Rule of Civil Procedure 25(d) for
26   Acting Director John Sandweg, who was originally named as an official-capacity Defendant in
     this Action. Adrian Macias, Acting Field Office Director, is substituted under Federal Rule of
27   Civil Procedure 25(d) for former Field Office Director Timothy Aitken, who was originally
     named as an official-capacity Defendant in this Action.
28
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     through their attorneys, hereby enter into this Settlement Agreement and Release (“Agreement”),
 1
     as of the date it is executed by all parties hereto (the “Agreement Date”) and effective upon
 2   approval of the Court pursuant to Rule 23 of the Federal Rules of Civil Procedure as set forth
 3
     below.

 4   WHEREAS:
 5
        A. On December 19, 2013, Plaintiffs commenced a civil action against Defendants on behalf
 6
           of themselves and all others similarly situated, captioned Lyon et al. v. U.S. Immigration
 7         and Customs Enforcement, et al., United States District Court for the Northern District of
           California Case No. 3:13-cv-05878-EMC (the “Action”) and sought class certification,
 8
           designation of Class Counsel, and declaratory and injunctive relief.
 9

10
        B. On April 16, 2014, the United States District Court for the Northern District of California
           (the “Court”) certified the proposed class under Federal Rule of Civil Procedure 23(b)(2).
11         The Court defined the certified class as: “All current and future immigration detainees
12         who are or will be held by ICE in Contra Costa, Sacramento, and Yuba Counties.”

13
        C. Plaintiffs moved to amend the class certification order and class definition on June 11,
14         2015, and the Court granted Plaintiffs’ motion and modified the definition of the certified
           class on July 27, 2015. The Court endorsed the modified class definition pleaded in
15
           Plaintiffs’ Supplemental Complaint: “All current and future adult immigration detainees
16         who are or will be held by ICE in Contra Costa County, Kern County, Sacramento
           County, or Yuba County.”
17

18      D. Defendants deny all liability with respect to the Action, deny that they have engaged in
19         any wrongdoing, deny the allegations in the Complaint, deny that they committed any
           violation of law, deny that they acted improperly in any way, and deny liability of any
20
           kind to the Plaintiffs or Class Members, but have agreed to the settlement and dismissal
21         of the Action with prejudice in order to: (i) avoid the substantial expense, inconvenience,
           and distraction of further protracted litigation, including trial and appeal; and (ii) finally
22
           put to rest and terminate the Action and any and all Settled Claims as defined in Section
23         I.G.
24
        E. Both Plaintiffs and Defendants, through counsel, have conducted discussions and arm’s
25         length negotiations regarding a compromise and settlement of the Action with a view to
26
           settling all matters in dispute.

27

28
                                   Settlement Agreement and Release-2
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          F. Considering the benefits that the Plaintiffs and Class Members will receive from
 1
             settlement of the Action and the risks of litigation, Class Counsel have concluded that the
 2           terms and conditions of this Agreement are fair, reasonable, and in the best interests of
 3
             the Plaintiffs and Class Members; Plaintiffs have agreed that Defendants shall be released
             from the Settled Claims pursuant to the terms and provisions of this Agreement; and have
 4           agreed to the dismissal with prejudice of this Action and all Settled Claims as defined in
 5           Section I.G.

 6
     NOW, THEREFORE, it is hereby STIPULATED AND AGREED, by and among the parties to
 7   this Agreement, through their respective attorneys, subject to the approval of the Court pursuant
     to Rule 23(e) of the Federal Rules of Civil Procedure, in consideration of the benefits flowing to
 8
     the parties hereto from the Agreement, that the Settled Claims shall be compromised, settled,
 9   forever released, barred, and dismissed with prejudice, upon and subject to the following terms
10
     and conditions:

11   I.        DEFINITIONS:
12
          Wherever used in this Agreement, the following terms have the meanings set forth below:
13

14            A.    “Action” means the civil action captioned Lyon et al. v. U.S. Immigration and
                    Customs Enforcement, et al., Case No. 3:13-cv-05878-EMC, United States District
15
                    Court for the Northern District of California.
16
              B.    “Effective Date of Settlement” or “Effective Date” means the date upon which this
17                  Agreement shall become effective, as set forth in Section VIII, below.
18            C.    “Plaintiffs” means Audley Barrington Lyon, Jr., José Elizandro Astorga-Cervantes,
                    and Nancy Neria-Garcia.
19
              D.    “Class Member(s)” means any current or future adult immigration detainee who,
20
                    during the period of this Agreement, is or will be held by ICE in Contra Costa
21                  County, Kern County, Sacramento County, or Yuba County.
22            E.    “Plaintiffs’ Counsel” or “Class Counsel” means Julia Harumi Mass, Angélica
                    Salceda, Christine Sun, and Michael Risher of the American Civil Liberties Union
23
                    (“ACLU”) of Northern California; Carl Takei of the ACLU National Prison
24                  Project; Robert Varian, Charles Ha, and Alexis Yee-Garcia of Orrick, Herrington &
25
                    Sutcliffe LLP; and Megan Sallomi and Marc Van Der Hout of Van Der Hout,
                    Brigagliano & Nightingale, LLP. Should these entities change their names or
26                  merge with other entities, those new entities shall also qualify as Class Counsel.
27

28
                                    Settlement Agreement and Release-3
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      F.   “Defendants” means United States Immigration and Customs Enforcement
 1
           (“ICE”); Sara Saldaña, in her official capacity as Director of ICE; United States
 2         Department of Homeland Security; Jeh Johnson, in his official capacity as
 3
           Secretary of Homeland Security; and Adrian Macias, in his official capacity as
           Director of the San Francisco Field Office of ICE, their predecessors and
 4         successors, their departments and agencies, and their past or present agents,
 5         employees, and contractors.

 6    G.   “Settled Claims” means all claims for declaratory or injunctive relief that were
           brought on behalf of Class Members based on the facts and circumstances alleged
 7
           in the Complaint and First Supplemental Complaint including but not limited to
 8         claims that the telephone access afforded Class Members while in ICE custody
           violated Class Members’ statutory rights and privileges under the Immigration and
 9
           Nationality Act, 8 U.S.C. § 1101 et seq., including access to counsel and their right
10         to present evidence in certain immigration proceedings; their rights to due process
           under the Fifth Amendment to the U.S. Constitution; and their rights to petition the
11
           government for redress of grievances under the First Amendment to the U.S.
12         Constitution.
13    H.   “Settlement” means the settlement provided for in this Agreement.
14    I.   “Contra Costa” means West County Detention Facility in Contra Costa County,
           California.
15
      J.   “Yuba” means Yuba County Jail in Yuba County, California.
16
      K.   “RCCC” means Rio Cosumnes Correctional Center in Sacramento County,
17
           California.
18
      L.   “Mesa Verde” means Mesa Verde Detention Facility in Kern County, California.
19
      M.   “Facilities” means Contra Costa, Yuba, RCCC, and Mesa Verde.
20
      N.   “Housing Unit Phones” means the telephones located in or near housing units at the
21         Facilities that Class Members may utilize for both Legal Calls and other telephone
           calls.
22
      O.   “Phone Rooms” means the telephone-equipped enclosed rooms at Yuba, Contra
23
           Costa, and Mesa Verde and the enclosed space ICE will add at RCCC to provide
24         free, direct, and non-monitored telephones for the Plaintiff Class.
25    P.   “Legal Calls” means calls to attorneys and calls to third parties to facilitate the
           gathering of evidence and obtaining legal advice and representation related to the
26
           class member’s immigration case. Such third parties include but are not limited to:
27         government agencies, courts, employers, businesses, organizations, and friends and
28
                           Settlement Agreement and Release-4
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                 family members who may be testifying as witnesses, writing letters of support,
 1
                 and/or assisting the class member to find an attorney or obtain evidence.
 2
            Q.   “Attorney Legal Call” means a Legal Call to an attorney regarding prospective,
 3               current, or past representation or for legal consultation. An Attorney Legal Call
 4
                 shall not require the attorney to have a G-28 on file for the detainee.
            R.   “Non-Attorney Legal Call” means any Legal Call other than an Attorney Legal
 5
                 Call.
 6
            S.   “Positive Acceptance” means the requirement that for a telephone call to connect,
 7               the recipient must listen to a recorded message and take an affirmative step,
 8
                 typically pressing a particular key, to accept the call.
            T.   “Attorneys Performing Pro Bono Work” means any attorney who performs pro
 9
                 bono work as a part of their practice, and not just attorneys who exclusively
10               perform pro bono work.
11          U.   “Government Agencies and Offices” means federal, state, or local governmental
12
                 agencies and offices that may facilitate the gathering of evidence for immigration-
                 related proceedings and includes the following types of entities: California state
13               courts, U.S. District Courts in California, the Ninth Circuit Court of Appeals,
14               Federal and State Public Defender offices in California, major California Police,
                 Sheriff, District Attorney, and Probation Departments, and northern California
15
                 rehabilitation programs.
16
            V.   “Indigent Class Members” means Class Members who have had $15 or less on
17               their commissary accounts for the previous ten days.

18          W.   “Lockdown” means a restriction to cells or bunks during waking hours in response
                 to a specific security incident; it does not include routine “free time” limitations at
19
                 Contra Costa.
20
            X.   “Free Call” and “Free Calling” mean calls and calling where the call takes place at
21               no cost to the caller and the recipient.

22          Y.   “ICE DTS Provider Pro Bono Platform” means the Pro Bono Platform provided by
                 ICE’s Detainee Telephone Service (“DTS”) Provider pursuant to a contract
23
                 between ICE and the ICE DTS Provider. The current ICE DTS Provider is Talton
24               Communications, Inc.
25   II.    RELEASE: SCOPE AND EFFECT OF RELEASE
26          A.   As of the Effective Date, the Plaintiffs and the Class Members, on behalf of
                 themselves, their heirs, executors, administrators, representatives, attorneys,
27
                 successors, assigns, agents, affiliates, and partners, and any persons they represent,
28
                                  Settlement Agreement and Release-5
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                  by operation of any final judgment entered by the Court, fully, finally, and forever
 1
                  release, relinquish, and discharge the Defendants of and from any and all of the
 2                Settled Claims. The foregoing release includes all claims for injunctive or
 3
                  declaratory relief, whether known or unknown, that could have been brought on
                  behalf of Class Members at any time prior to the Effective Date. This Release shall
 4                not apply to claims that arise or accrue after the termination of this Agreement.
 5           B.   Defendants agree and acknowledge that this Agreement, and specifically this
 6                release, shall not impact any individual Class Member’s (other than the named
                  Plaintiffs’) ability to bring a claim for monetary damages in his or her individual
 7
                  capacity arising from or related to injury suffered as a result of limitations or denial
 8                of telephone access while in ICE custody. Defendants also agree and acknowledge
                  that this Agreement, and specifically this release, shall not impact any individual
 9
                  Class Member’s (other than the named Plaintiffs’) ability to argue (whether on a
10                Petition for Review, motion to reopen, or other appeal, application, request for
                  review of petition to modify such class member’s order of removal or other
11
                  immigration order) that limitations on telephone access in ICE custody affected
12                such individual Class Member’s immigration proceedings.
13   III.    TELEPHONE ACCESS IN THE FACILITIES
14           A.   Adding Free and Private Numbers to Housing Unit Phones
15                 1. At Contra Costa, Yuba, and RCCC, the telephone numbers for certain
                      Government Agencies and Offices and Attorneys Performing Pro Bono Work
16
                      (as further identified in Paragraphs A.4 and A.5 below) shall be added to Free
17                    Call telephone platforms that enable Class Members to make Free Calls to
18
                      these numbers from Housing Unit Phones without Positive Acceptance and
                      without being recorded or monitored.
19
                   2. At Mesa Verde, the telephone numbers for certain Government Agencies and
20                    Offices and Attorneys Performing Pro Bono Work (as further identified in
21                    Paragraphs A.4 and A.5 below) shall be added to a database of telephone
                      numbers that shall connect from the Mesa Verde Housing Unit Phones
22
                      without Positive Acceptance and without being recorded or monitored. If
23                    technologically feasible, such numbers will also be Free Calls from the Mesa
                      Verde Housing Unit Phones.
24
                   3. In addition to the Free Call platforms described in paragraphs A.1 and A.2,
25
                      each of the Facilities shall enable Housing Unit Phones to make paid calls to
26                    attorney telephone numbers without Positive Acceptance and without being
                      recorded or monitored. The attorney numbers shall be identified through the
27
                      process described in paragraphs A.5, 6, 7 and 8.
28
                                   Settlement Agreement and Release-6
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            4. Plaintiffs shall provide lists of Government Agencies and Offices and
 1
               Defendants shall ensure their inclusion on the Free Call platforms and
 2             database described in paragraphs A.1 and 2 above. Plaintiffs shall specify no
 3
               more than 10 rehabilitation centers for inclusion on each Facility’s platform or
               database.
 4
            5. Attorneys may request that their phone numbers be added to the platforms and
 5             databases described in Paragraphs A.1, A.2, or A.3 by emailing the number
 6             and specific request to an email drop box to be provided by ICE. If an attorney
               requests to be added to the Free Call platforms, the attorney’s telephone
 7
               number shall be added to the platforms described in A.1 and A.2 if s/he is an
 8             Attorney Performing Pro Bono Work. If an attorney requests to be added to
               the no-Positive-Acceptance databases, the attorney’s telephone number shall
 9
               be added to the databases described in A.3 regardless of whether s/he is an
10             Attorney Performing Pro Bono Work.
11          6. Attorneys may request that their phone numbers be removed from the
               platforms and databases described in Paragraphs A.1, A.2, or A.3 by emailing
12
               the specific request to the same email drop box to be provided by ICE.
13
            7. The parties will work together to develop a notice to immigration attorneys
14             practicing in the San Francisco Immigration Court to allow them to be added
               to the Free Call platforms and/or database of numbers not subject to Positive
15
               Acceptance and recording and/or monitoring. Class Counsel will reach out to
16             organizations including American Immigration Lawyers Association, National
17             Lawyers Guild, and/or Federal Bar Association to request use of their email
               listservs for this purpose
18
            8. Class Members may submit attorney names and telephone numbers to ICE for
19             addition to the platforms and databases described in paragraphs A.1, 2, and 3.
20             If the attorney identified by the Class Member confirms that s/he wishes to be
               added, ICE shall add the attorney’s telephone number to the platforms and
21
               databases described in paragraph A.1 and A.2 (provided the attorney accepts
22             some pro bono immigration cases), or to the database described in paragraph
               A.3
23
            9. Platforms and databases described in A.1, A.2, and A.3 shall be updated
24             regularly, and no less than once a week, in response to requests under
25
               paragraphs A.5, 6, 7, and 8.
            10. Platforms and databases described in A.1, 2, and 3 shall be able to connect to
26
                the telephone numbers for attorneys, Government Agencies and Offices
27              regardless of whether the numbers are toll-free or regular area code numbers.
28
                           Settlement Agreement and Release-7
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      B.   Extending and Eliminating Automatic Cut-Offs
 1
            1. ICE shall ensure that at Yuba and RCCC, Housing Unit Phone automatic cut-
 2
               offs are extended to 40 minutes.
 3          2. ICE shall extend the automatic cut-off of the ICE DTS Provider Pro Bono
 4
               Platform calls to 60 minutes.
            3. ICE shall ensure that the automatic cut-off of 20 minutes in the Yuba Phone
 5             Room is eliminated.
 6          4. ICE reserves the right to impose time limits to facilitate equitable access based
               on demonstrated need in individual circumstances. Such time limits shall not
 7
               be shorter than 20 minutes per call.
 8    C.   Installing Phone Booths in Housing Units
 9          1. Subject to Paragraphs C.2 and C.3, ICE shall install phone booths in the
10              common areas of the housing units where ICE detainees are held at each
                facility. Where a housing unit has no common area, a phone booth will be
11
                installed for Class Member use in a conveniently accessible location. A
12              rendering of the specifications and measurements of the type of proposed
                phone booths is included as Exhibit A to this Agreement.
13
            2. The phone booths shall provide sufficient privacy so that Legal Calls cannot
14              be overheard by officers, facility staff, or other detainees. This privacy shall
                be afforded primarily by the physical characteristics of the booths and
15
                augmented by their placement within the housing units.
16          3. The ability of other detainees or staff to overhear muffled sounds without
17              sufficient clarity to discern the caller’s words or language does not render the
                call capable of being “overheard” for purposes of this Agreement.
18
            4. ICE shall provide 40 phone booths, distributed as needed to provide equitable
19              access to Class Members in each Facility.
            5. ICE shall instruct the Facilities that, in periods of high demand, Class
20
                Members should have priority for use of the phone booths.
21          6. Class members shall be permitted to access the phone booths at any time
                during each individual Facility’s waking hours (other than during count or
22
                lockdowns), subject to the provisions in the “Physical Access to the Housing
23              Unit Phones” section, below.
24
      D.   Physical Access to Housing Unit Phones

25
            1. Access to housing unit phones, including phone booths, shall be during
               waking hours (other than during count or lockdowns), which is anytime other
26             than “lights out” at all four Facilities.
27          2. Class Members who want to use a phone booth but who are housed in areas
               where they are unable to access a phone booth without staff intervention
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                 (including but not limited to segregation, subject to paragraph D.3 below)
 1
                 shall receive access to a phone booth (or other private area, as appropriate)
 2               within two waking hours of making a request. If the request is made at or
 3
                 before 3:00 p.m., the Class Member shall receive access to a phone booth or
                 other private area within business hours on the day of the request. Further
 4               delays may be justified by a lockdown of unusual length or other
 5               extraordinary circumstances, but shall in all cases be documented and reported
                 to ICE. Each Facility shall establish a process for such class members to
 6
                 notify the facilitator as needed to assist with calls. In some instances, the
 7               housing unit officer will contact the facilitator rather than having the Class
                 Member directly contact the facilitator.
 8
            3. The above requirements apply fully to Class Members in segregation for
 9
               administrative reasons. However, if a Class Member is in segregation for
10             disciplinary reasons and restrictions have been properly imposed on that Class
               Member’s general telephone calling privileges as part of the disciplinary
11
               process, the above requirements regarding access to phone booths or other
12             private areas shall apply only to calls for personal or family emergencies,
13             Legal Calls, or otherwise justified by a compelling need.

14
      E.   Phone Rooms
            1. ICE and the Facilities shall provide one or more Phone Rooms for Legal
15
               Calls, including both Attorney Legal Calls and Non-Attorney Legal Calls, at
16             each Facility. A class member may request an Attorney Legal Call from the
17             Phone Room without first utilizing the Housing Unit Phones for particularly
               sensitive or lengthy legal consultations. To make a Non-Attorney Legal Call
18
               from the Phone Room, however, Class Members must first try to contact the
19             intended call recipient from the Housing Unit Phones and be unsuccessful.
            2. With respect to RCCC, the Phone Room(s) provided may consist of an
20
               enclosed room or another enclosed space (which may be a phone booth with
21             seating or another type of enclosed space located in the RCCC law library).
               This shall ensure that Class Members can make free, direct, unrecorded and
22
               unmonitored phone calls without being overhead by officers, other Facility
23             staff, or other Class Members or inmates of the Facility.
24          3.    To accommodate interim Legal Call access at Contra Costa, whose system
25
                 currently will not allow the suspension of Positive Acceptance for paid calls
                 from housing unit phones and phone booths, ICE shall provide additional
26               Phone Room access. This requirement can be met by providing private
27               telephones without Positive Acceptance, such as phone booths equipped with
                 the same telephone systems as the telephones in the Phone Rooms either in
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               the housing units or elsewhere in the Facility, as long as access to those
 1
               telephones complies with the other provisions of this section.
 2
            4. ICE shall ensure that Class Members can use at least one of the telephones in
 3             the Yuba Phone Room without being overheard by officers, other staff, or
 4
               other detainees. Options include changing Yuba’s policy to limit use of the
               Phone Room to one person at a time and installing a phone booth within the
 5             Phone Room for one or both of the existing phones. Yuba Phone Room
 6             phones shall not include a Positive Acceptance feature or automated outgoing
               message.
 7
            5. Requests for Legal Calls will ordinarily be accommodated within eight facility
 8             waking hours and shall be accommodated within 24 hours. Further delays may
               be justified by extraordinary circumstances, but shall in all cases be
 9
               documented and reported to ICE.
10          6. Phone Room calls shall be scheduled for 30 minutes unless a detainee
               specifies on his/her request form that a longer call will be needed. Facilities
11
               shall accommodate requests for calls longer than 30 minutes. ICE reserves
12             the right to impose time limits on Phone Rooms in periods of high demand to
13             facilitate equal access for all detainees, consistent with the other terms of this
               Agreement. Such time limits shall not be shorter than 20 minutes per call.
14
            7. Each Facility shall modify its current request form for Class Members to
15             request access to Facility Phone Rooms as follows: The form shall include a
               statement that Phone Room calls will be limited to 30 minutes unless the
16
               Class Member indicates that a longer call is required, a space for class
17             members to request a particular time for Phone Room access and to indicate if
               more than 30 minutes will be needed, and spaces for Class Members to
18
               provide the name of the individual, agency or organization the Class Member
19             seeks to contact and the telephone number the Class Member wishes to call.
20
            8. Attorneys may request to schedule a Legal Call in a Phone Room through the
               on-site facilitators at each Facility or other Facility staff. Such requests shall
21             be granted within the same time limits that apply to Class Member requests
22             for Phone Room access as set forth in Paragraph E.5 above. Further delays
               may be justified by extraordinary circumstances, but shall in all cases be
23
               documented and reported to ICE.
24          9. The Facilities’ advance vetting and scheduling of call requests shall be
               performed as follows:
25
                    i. Advance vetting shall be limited to internet searches. Facilities shall
26                      not directly contact the individual/entity sought to be contacted in
27
                        advance of the call, except to contact an attorney who requests to
                        schedule a call with a Class Member.
28
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                     ii. If an attorney requests to schedule a call with a Class Member, the
 1
                         Facilities shall coordinate with the attorney to schedule the call. For
 2                       other calls, Facilities do not have to coordinate advance scheduling
 3
                         with call recipients. The Facilities shall, however, honor reasonable
                         written requests for specific times for phone room calls (e.g., detainee
 4                       asks to make call after 3:30, when witness finishes work shift) when
 5                       made with sufficient advance notice.
            10. Facilities may do on-the-spot vetting in the presence of the Class Member
 6
                caller to verify the call recipient and to confirm that the recipient is willing to
 7              take the call. The officer shall not reveal Class Members’ custody status or
                location as part of the vetting.
 8
            11. If there is no answer, Class Members shall be permitted to leave voicemail
 9              messages from Phone Room phones. If the call recipient has an automated
10
                voicemail tree, Class Members shall be permitted to navigate that system to
                reach their intended call recipient, including making additional attempts if
11              they are unsuccessful in their navigation of the system the first time.
12          12. Should requests for access to the Phone Rooms overwhelm availability, ICE
                may charge a non-indigent Class Member a nominal fee for Phone Room use
13
                to call recipients that are not on the Free Call platforms or database described
14              in paragraphs A.1 and A.2. Such fees shall not exceed the rates charged to
                ICE by the then-existing ICE DTS provider, nor shall they exceed then-
15
                applicable FCC guidance regulating inmate telephone services.
16    F.   Messaging
17          1. At a minimum, ICE shall continue to provide the same messaging services at
               Mesa Verde as are currently in existence.
18
            2. RCCC, Yuba, and Contra Costa shall deliver legally-related messages, which
19             will not be confidential and may be primarily through an email-based system,
20
               within 24 hours.
            3. Emergency messages and urgent attorney messages shall be delivered as soon
21             as possible, but in no case more than six Facility waking hours after receipt.
22    G.   On-Site Facilitators

23          1. ICE and/or the Facilities shall designate one or more telephone access
               facilitators (“on-site facilitators”) for each Facility. There shall be one
24
               facilitator on duty at each Facility Monday-Friday during normal business
25             hours. A back-up on-site facilitator shall be trained and Phone Room access
               shall be provided by other Facility staff as needed to accommodate calls
26
               within Facility waking hours that are outside of normal business hours.
27          2. The on-site facilitator’s primary duties shall be to ensure that class members
               have adequate access to Legal Calls consistent with the requirements of this
28
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               Agreement, including calls from the Housing Unit Phones, phone booth
 1
               phones, and Phone Room phones.
 2          3. The individuals who act as on-site facilitators may be assigned to limited other
 3
               duties as long as such duties do not prevent the facilitators from facilitating
               class members’ requests for Legal Calls in a timely manner.
 4
      H.   Accommodations for Indigent Class Members
 5
             1. ICE shall provide accommodations for free Legal Calls to Indigent Class
 6              Members.
 7
             2. Indigence shall be determined at the time of the initial call request, and each
                subsequent request for additional time.
 8           3. ICE shall provide accommodations to Indigent Class Members by either
 9              allowing extra access to Phone Rooms or by providing phone credit for
                Housing Unit Phones. Such phone credit shall be provided in amounts of at
10
                least 30 minutes per request.
11    I.   International Calling
12          1. ICE shall provide international call access for Legal Calls to Class Members,
               during Facility waking hours, with advance notice and as set forth below.
13
            2. If possible, international calling for Legal Calls will be made available
14             through a Facility Phone Room in accordance with the procedures for
               accessing the Facility Phone Room in Section III.E.
15
            3. If possible, free international calling for Legal Calls for Indigent Class
16             Members will be made available in accordance with the procedures for
17             Accommodations for Indigent Class Members in Section III.H.
            4. If international calling for Legal Calls is not available through the Housing
18
               Unit Phones or Facility Phone Rooms in accordance with the above
19             procedures, ICE shall accommodate requests for international Legal Calls in
               the Facility through other means. This may include providing a cell phone
20
               enabled with international calling through visiting ICE agents. If such other
21             means are required, ICE will accommodate requests for international Legal
               Calls within no more than 72 hours of the request and will allow Indigent
22
               Class Members access to free international Legal Calls through these alternate
23             means.
24
            5. On the rare occasion that a Class Member presents a compelling need for
               international Legal Call access outside of facility waking hours (e.g. to contact
25             a business or agency within country business hours that do not overlap with
26             facility waking hours), ICE shall make reasonable accommodations to
               facilitate the Class Member’s timely communication with that entity.
27
      J.   Three Way Calling
28
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            1. Upon request based upon a stated need, such as needing an interpreter to join
 1
               a call, ICE shall facilitate three-way calls in the Facility where the detainee is
 2             housed or at the nearest ICE field office. ICE shall attempt to accommodate
 3
               such calls at the Facility, if possible, before transporting a Class Member to
               the field office for such a call.
 4
      K.   Notice to Plaintiff Class Members of Telephone Options
 5
            1. ICE and the Facilities shall ensure that Class Members are informed that they
 6             must contact an ICE officer or a Facility staff member (such as the on-site
 7
               facilitator or the housing unit officer) if they have difficulty making a Legal
               Call.
 8          2. An instruction sheet shall be printed and posted in at least English and
 9             Spanish, explaining all telephone access options, how to use the telephones
               and platforms available to ICE detainees, and how to make additional requests
10
               for telephone access, in clear, step-by-step instructions. The instruction sheet
11             shall be posted in English and Spanish near the Facility phones. ICE and the
               Facilities shall instruct their officers to show the instruction sheet to any Class
12
               Member who requests assistance with making phone calls and explain its
13             provisions.
14
            3. Plaintiffs agree to produce a video that conforms to Americans with
               Disabilities Act standards, with content and format to be approved by ICE, to
15             explain telephone access options available to Class Members. This video shall
16             be shown regularly in the Facilities, such that newly-admitted Class Members
               are generally shown the video within one week of arrival.
17
      L.   Accommodations for Language Minorities
18
            1. Facilities shall, if local resources are not adequate or available, use a language
19             line to provide interpretation of telephone materials and instructions upon the
20             request of any Class Member who is unable to read English or Spanish, not to
               include a full translation of the detainee handbook.
21
            2. ICE shall post a notice near the Housing Unit Phones in the Facilities in the
22             ten written languages most commonly used by respondents in the San
               Francisco Immigration Court, instructing individuals to ask the facilitator or
23
               housing unit officer for interpretation of telephone access instructions and
24             assistance accessing telephones. The speed dial code for the ACLU of
25
               Northern California shall be included on this notice as a resource for reporting
               problems obtaining telephone access.
26          3. Class members attempting to call individuals who do not speak English and
27             do not understand the prompts to accept a call from the Facility shall be

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                         provided access to Phone Room calls in accordance with the Phone Room
 1
                         request process described in Section III.E.
 2
     IV.        IMPLEMENTATION AND OVERSIGHT
 3
           A.     Contracts with Facilities
 4                  1.    The terms of this Agreement that describe requirements to be fulfilled by
                          Facilities alone or in conjunction with ICE shall be specified in contracts
 5
                          between ICE and the Facilities.
 6                  2.    ICE shall complete the contracting process and implement the requirements of
 7
                          the Agreement within one year of the Agreement’s Effective Date. However,
                          to the extent compliance with a particular requirement of the Agreement is
 8                        impracticable (as that term is defined under federal common law),
 9                        Defendants’ failure to implement that requirement will not be a violation of
                          the Agreement.
10
                    3.    Within 30 days of determining it will not complete a contract with a Facility
11                        and at least 60 days prior to transferring class members from that Facility, in
                          anticipation of contract cancellation, Defendants shall notify Class Counsel
12
                          and the Parties shall meet and confer to provide adequate telephone access to
13                        the affected Class Members in the counties covered by this Agreement,
14
                          possibly to include modifying the Agreement. If the Parties are unable to
                          reach agreement, they shall refer the dispute to this Agreement’s alternative
15                        dispute resolution process under the terms of the existing Agreement.
16         B.     Compliance with contract terms shall be monitored by ICE Contracting Officer’s
                  Representative (COR) and Contracting Officer’s Technical Representative (COTR),
17
                  as well as by other ICE personnel visiting the facilities, who will report
18                compliance/non-compliance to the COR/COTR. Failure to meet Settlement terms by
                  the Facilities shall be treated as a contract deficiency and addressed through the cure
19
                  process used by CORs/COTRs.
20         C.     ICE shall require training of all local ICE personnel with duties related to detention
21
                  management and oversight as well as Facility staff whose duties include supervising
                  detainees or responsibilities related to detainee phone access in the Facilities. This
22                training shall include the requirements of this Agreement, applicable ICE detention
23                standards for telephone access, and the policies and procedures for implementation of
                  this Agreement at the Facility/ies relevant to the particular individuals being trained.
24
           D.     Within 180 days of the Agreement’s Effective Date, ICE shall modify forms used
25                during weekly Facility Liaison Visits and the annual ERO Detention Management
                  Division (G324A) audit (currently carried out by the Nakamoto Group, Inc.) to
26
                  evaluate compliance with each of the following:
27                        1. When a detainee requests a direct or free Legal Call to an attorney, court,
                              or government agency or demonstrates a compelling need for other direct
28
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                             or free calls, access is granted within 24 hours of the request and
 1
                             ordinarily within 8 facility waking hours. Further delays may be justified
 2                           by extraordinary circumstances.
 3
                        2.   The facility documents and reports to ICE/ERO any delays in responding
                             to requests for free or direct Legal Calls beyond 8 facility waking hours.
 4                      3.   Detainees are provided private settings for Legal Calls such that calls
 5                           cannot be overheard by officers, other staff, or other detainees.
                        4.   The facility has a system for taking and delivering telephone messages to
 6
                             detainees, including but not limited to attorney messages, other messages
 7                           related to a detainee’s legal case, and emergency messages, and ensures
                             the timeliness of such message delivery.
 8
                        5.   The facility provides translation and interpretation services to detainees
 9                           who are unable to read written telephone access rules in the languages
10
                             provided.
                        6.   Detainees in segregation or other environments with limited physical
11                           access to telephones have reasonable and equitable access to telephones
12                           during waking hours (i.e., they can request telephone calls and receive
                             them in a timely manner).
13

14   V.        ENFORCEMENT AND MONITORING

15        A.     Plaintiffs’ counsel shall be provided with the following records within 45 days of the
                 Agreement’s Effective Date or 45 days of finalizing the particular record, whichever
16
                 is later, to the extent such records are or were created after November 19, 2015,
17               through the termination of this Agreement:
                      1. Amendments/modifications that relate to telephone access or other issues
18
                          outlined in this Agreement to Facility contracts to which ICE is a party or
19                        authorized rider for Mesa Verde, RCCC, Contra Costa, and Yuba;
20
                      2. Amendments, modifications, or new contracts for ICE Detainee Telephone
                          Service to the extent they are implemented at Mesa Verde (i.e., the contract
21                        currently held by Talton);
22                    3. Any new contract for the Contra Costa jail account/phone management
                          system, once awarded;
23
                      4. Any changes to Facility policies related to telephone access;
24                    5. Any modified templates or forms of internal compliance instruments,
                          worksheets, inspection reports, and similar documents that relate to telephone
25
                          standards, telephone access, and/or the terms of this Agreement; and
26                    6. Any revised orientation materials related to telephone access (unless Plaintiffs
27
                          are involved in drafting orientation materials and therefore already have
                          copies of the final orientation materials).
28
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           B.        To the extent class members are relocated to different facilities within Contra Costa,
 1
                     Yuba, Sacramento or Kern County for more than 10 days, ICE shall meet and confer
 2                   with Class Counsel to agree upon facility-specific provisions that may be necessary to
 3
                     effectuate the intent of this Agreement at the different facility.
           C.        During the terms of this Agreement, Class Counsel shall be provided with the
 4                   following records:
 5                       1. Any Contract Discrepancy Reports (CDR) issued by the COTR to one of the
                             four detention service providers concerning a facility’s failure to correct a
 6
                             deficiency related to a provision of this Agreement.
 7                       2. The annual inspection report for telephone access by February 15th of the
                             calendar year following the inspection of each Facility.
 8
                         3. Records reflecting notifications from the Facilities to ICE of the Facilities’
 9                           failure to accommodate a request for Phone Room access within 24 hours or
10
                             phone booth access within 2 hours.
           D.        In addition, on request, Class Counsel shall be provided with the following
11                   documents covering a specified future month from a specified facility selected by
12                   Class Counsel, not to exceed six selections a year:
                         1. Detainee kites and grievances to ICE relating to telephone access (including
13
                             responses); and
14                       2. Weekly Telephone Serviceability Worksheets regarding that Facility.
           E.        ICE shall continue to conduct internal testing of Housing Unit Phones in accordance
15
                     with its current telephone serviceability report procedures and any changes that are
16                   adopted pursuant to section IV.D of this Agreement.
           F.        ICE shall permit Class Counsel, with reasonable advance notice, to conduct
17
                     interviews with Class Members once per year per Facility. ICE shall ensure that
18                   Facilities accommodate these interviews by providing Class Members a convenient
19                   way to indicate their interest in participating in the interviews and facilitating group
                     or individual meetings between Class Counsel and willing Class Member
20
                     participants. These interviews are in addition to, not a substitute for, any interviews
21                   that Class Counsel may schedule using each Facility’s normal attorney meeting
                     procedures.
22

23   VI.        DISPUTE RESOLUTION PROCEDURES; CONTINUING JURISDICTION
24              A.     The Court shall retain jurisdiction to supervise the implementation of this
                       Agreement and to enforce its terms, and the terms of this Agreement shall be
25
                       incorporated into the Order of the Court approving the Agreement.
26
                B.     The parties agree that the Court will not be asked to exercise jurisdiction to
27                     supervise the implementation of this Agreement or to enforce its terms until
                       exhaustion of the following dispute resolution process:
28
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           1.   Should Class Counsel believe in good faith that Defendants are engaging in a
 1
                pattern or practice of non-compliance with requirements of this Agreement at
 2              a specific Facility or Facilities, Class Counsel shall promptly notify counsel
 3
                for Defendants, in writing, of the specific grounds upon which non-
                compliance is alleged. If Class Counsel so request after providing notice of
 4              noncompliance with respect to a specific Facility, Defendants shall
 5              commence retention within three business days (72 hours, not including
                weekends and holidays) of the detainee kites and grievances to ICE from that
 6
                Facility regarding telephone access, and the detainee kites and grievances to
 7              that Facility regarding telephone access, including Class Member requests
                contemplated under Section III of this Agreement. Document retention shall
 8
                continue for fourteen (14) days. Defendants’ counsel shall forward the
 9              documents to Class Counsel after a reasonable period of internal processing,
10
                not to exceed five business days, not including weekends and holidays, after
                the end of the 14-day retention period.
11
           2.   Within thirty (30) calendar days after receipt of the notice from Class
12              Counsel, counsel for Defendants shall notify Class Counsel of Defendants’
13              position and any action it has taken or intends to take in connection
                therewith. The parties shall negotiate in good faith in an effort to resolve any
14
                remaining disputes. The parties agree that this negotiation period will be
15              considered exhausted if the parties jointly determine that negotiations have
                reached an impasse, or if either party invokes the formal meet-and-confer
16
                process under paragraph 3 of Section VI.B. of the Agreement.
17
           3.   If any dispute cannot be resolved informally under paragraphs 1 or 2 of
18              Section VI.B. of the Agreement, counsel for either party may notify counsel
                for the opposing party by letter and request that counsel meet and confer.
19
                The parties shall meet within ten (10) calendar days of such notice in an
20              attempt to arrive at an amicable resolution of the dispute.
21         4.   The parties may refer any unresolved dispute to Magistrate Judge Ryu for
                mediation. If Magistrate Judge Ryu is no longer available or does not
22
                consent to serve as mediator, the parties may refer the unresolved dispute to
23              another magistrate judge in the Northern District of California for mediation,
24
                if the parties mutually agree on the mediator and such mediator consents. If
                the dispute has not been resolved through mediation within 14 days, counsel
25              may mutually agree to continue mediation or counsel may seek to enforce the
26              Agreement through a motion in district court. Additionally, if the parties
                cannot agree on a mediator, if no mutually-agreed-on mediator consents, or if
27

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                        the parties mutually agree to bypass mediation, counsel may seek to enforce
 1
                        the Agreement through a motion in district court.
 2
                  5.    If the parties do not reach resolution under the procedures of Paragraphs 1-4
 3                      of Section VI.B. of the Agreement, either party may then file a motion
 4
                        requesting that the district court resolve the dispute.
                  6.    The parties agree that the mediation process described in Section VI.B of the
 5
                        Agreement shall be conducted confidentially and that no public disclosure
 6                      shall be made regarding the mediation process at any time before, during, or
 7
                        after the mediation process, except that the final result of the mediation may
                        be disclosed. All documents and information disclosed by either party during
 8                      the mediation process shall not be admissible in any judicial proceeding. All
 9                      statements or conclusions of the mediator shall not be admissible in any
                        subsequent judicial proceeding.
10
             C.   The parties agree that any action or proceeding to enforce the terms of this
11
                  Agreement shall be brought exclusively in the United States District Court for the
12                Northern District of California. The Court in this proceeding shall have the power
                  to award such relief and issue such judgments as the Court deems proper and
13
                  appropriate.
14

15   VII.    TERMS OF ORDER FOR NOTICE, HEARING AND FINAL JUDGMENT
16
             A.   Concurrently with their filing of this Agreement, Class Counsel shall apply to the
17                Court for Preliminary Approval of the Settlement provided for in this Agreement
18
                  and entry of a Preliminary Approval Order. Such Preliminary Approval will seek
                  approval of a Notice to the Class substantially in the form appended hereto as
19                Exhibit B, as well as a finding that the following satisfies the publication
20                requirements of Rule 23 of the Federal Rules of Civil Procedure: Within ten (10)
                  business days of the date of the Preliminary Approval, (i) posting the Notice to the
21
                  Class and this Settlement Agreement in appropriate places on the ICE public
22                website; (ii) providing the Notice to the Class and this Agreement to immigration
                  attorneys in the San Francisco Bay Area through the local American Immigration
23
                  Lawyers’ Association and National Lawyers Guild listservs; (iii) providing the
24                Notice to the Class and this Agreement in appropriate places on the website of the
25
                  ACLU of Northern California; (iv) posting the Notice to the Class in all housing
                  units in the Facilities where Class Members are housed, in an area prominently
26                visible to immigration detainees; and (v) providing individual copies of the Notice
27                to the Class to any Class Members who are housed in segregation, medical,
                  holding, or other specialized units with restricted access to common areas during
28
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               Facility waking hours. The Notice to the Class and this Agreement shall remain
 1
               posted, and shall be maintained or replaced with new copies as needed, until the
 2             Court issues an order finally approving or rejecting the Settlement. Class Counsel
 3
               shall be responsible for meeting the notice requirements listed in (ii)-(iii) above
               and ensuring maintenance of such notice, and Defendant ICE shall be responsible
 4             for meeting the notice requirements listed in (i), (iv) and (v) above and ensuring
 5             maintenance of such notice. The parties shall request that Class Members be
               provided at least forty-five (45) days to submit objections to the Court after the
 6
               Notice to the Class is posted and distributed.
 7
          B.   If the Settlement contemplated by this Agreement is approved by the Court,
 8             counsel for the parties shall request that the Court enter a Final Judgment
               substantially in the form appended hereto as Exhibit C.
 9
          C.   Within ten (10) business days following the Effective Date of Settlement, ICE shall
10
               provide the Notice of Final Settlement substantially in the form appended hereto as
11             Exhibit D by posting it in all housing units in the Facilities where Class Members
               are housed, in an area prominently visible to immigration detainees, as well as
12
               providing individual copies of the Notice to the Class to any Class Members who
13             are housed in segregation, medical, holding, or other specialized units with
14
               restricted access to common areas during facility waking hours. The Notice of Final
               Settlement shall remain posted, and shall be maintained or replaced with new
15             copies as needed, until the obligations of this Agreement are terminated.
16        D.   ICE shall post a Spanish language translation of both the Preliminary Notice and
17             the Final Notice to the Class. Should Class Counsel provide to ICE translations in
               other languages, ICE shall post a notice informing Class Members that such
18
               translations are available. Class Counsel shall provide such notices in sufficient
19             time to allow ICE to meet the posting requirements in Sections VII.A and C. of the
               Agreement.
20

21
     VIII. EFFECTIVE DATE OF SETTLEMENT; TERMINATION
22

23        A.   The Effective Date of this Agreement shall be the date when all of the following
24             shall have occurred: (a) entry of the Preliminary Approval Order; (b) approval by
               the Court of this Agreement, following notice to the Class and a fairness hearing, as
25
               prescribed by Rule 23 of the Federal Rules of Civil Procedure; and (c) entry by the
26             Court of Final Judgment, in all material respects in the form appended hereto as
               Exhibit C.
27

28
                               Settlement Agreement and Release-19
           Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 355 of 1402



            B.    In the event that the Court does not approve the Agreement, or the Court’s approval
 1
                  of the Agreement or the Final Judgment is reversed, vacated, or terminated on
 2                appeal, the parties’ good-faith adherence to the terms of this Agreement prior to
 3
                  said reversal, vacatur, or termination shall not be considered unlawful.

 4
            C.    This Agreement is subject to and contingent upon Court approval under Rule 23(e)
                  of the Federal Rules of Civil Procedure. Defendants’ Counsel and Class Counsel
 5                shall have the right to terminate this Agreement by providing written notice of their
 6                election to do so (“Termination Notice”) to all other parties hereto within thirty
                  (30) days of (a) the Court’s declining to enter the Preliminary Approval Order or
 7
                  modifying that Preliminary Approval Order in any material respect; (b) the Court’s
 8                declining to approve the Settlement embodied in this Agreement or any material
                  part of it; (c) the Court’s declining to enter the Final Judgment or modifying the
 9
                  Final Judgment in any material respect; or (d) the Court of Appeals or the United
10                States Supreme Court’s reversing, vacating, or modifying in any material way the
                  Final Judgment.
11
            E.    Except as otherwise provided herein, in the event the Settlement is terminated or
12
                  modified in any material respect or fails to become effective for any reason, then
13                the Settlement shall be without prejudice and none of its terms shall be effective or
14
                  enforceable; the parties to this Agreement shall be deemed to have reverted to their
                  respective status in the Action as of the date and time immediately prior to the
15                execution of this Agreement; and except as otherwise expressly provided, the
16                parties shall proceed in all respects as if this Agreement and any related orders had
                  not been entered. In the event the Settlement is terminated or modified in any
17
                  material respect, the parties shall be deemed not to have waived, not to have
18                modified, or not be estopped from asserting any additional defenses or arguments
                  available to them.
19

20
     IX.   TERMINATION OF OBLIGATIONS
21
     Unless earlier terminated by operation of Section VIII, the obligations of this Agreement shall
22
     terminate within five (5) years of the Effective Date.
23

24   X.     NO ADMISSION OF WRONGDOING

25
           A.    This Agreement, whether or not executed, and any proceedings taken pursuant to it:
26
            1.       shall not be construed to waive, reduce, or otherwise diminish the authority of
27                   the Defendants to enforce the laws of the United States against Class Members,

28
                                  Settlement Agreement and Release-20
           Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 356 of 1402



                      consistent with the Constitution and laws of the United States, and applicable
 1
                      regulations;
 2
            2.        shall not be offered or received against the Defendants as evidence of, or
 3                    construed as or deemed to be evidence of, any presumption, concession, or
 4
                      admission by any of the Defendants of the truth of any fact alleged by the
                      Plaintiffs or the validity of any claim that had been or could have been asserted
 5                    in the Action or in any litigation, or the deficiency of any defense that has been
 6                    or could have been asserted in the Action, or of any liability, negligence, fault,
                      or wrongdoing of the Defendants; or any admission by the Defendants of any
 7
                      violations of, or failure to comply with, the Constitution, laws or regulations;
 8                    and

 9          3.        shall not be offered or received against the Defendants as evidence of a
                      presumption, concession, or admission of any liability, negligence, fault, or
10
                      wrongdoing, nor shall it create any substantive rights or causes of action against
11                    any of the parties to this Agreement, in any other civil, criminal, or
                      administrative action or proceeding, other than such proceedings as may be
12
                      necessary to effectuate the provisions of this Agreement; provided, however,
13                    that if this Agreement is approved by the Court, Defendants may refer to it and
14
                      rely upon it to effectuate the liability protection granted them hereunder.

15
     XI.    ATTORNEYS’ FEES
16

17   As set forth below, within 65 days of the Effective Date, Defendants shall pay to Class Counsel
     the sum of $ 405,000 to settle and resolve Plaintiffs’ claims to attorneys’ fees and costs, if such
18
     award is approved by the Court.
19
            A.    The parties agree to the “Attorneys’ Fee Settlement Amount” of $405,000, to avoid
20
                  further litigation and costs associated litigating a fee and cost request and to avoid
21                the risks attendant to such proceedings. Plaintiffs shall file a motion for fees under
                  Fed. R. Civ. P. 23(h) and 54(d)(2)).
22
            B.    Defendants agree not to oppose a motion seeking a fee award of $405,000 or less.
23
            C.    If for any reason the Court awards an amount in excess of $405,000, Plaintiffs and
24
                  Class Counsel expressly disclaim any and all right to collect the amount that
25                exceeds $405,000 from any person or entity, and agree, upon demand, to execute a
                  release of any person’s or entity’s obligation to pay such sums. In the event the
26
                  Court awards Class Counsel less than $405,000, this Settlement Agreement shall
27

28
                                   Settlement Agreement and Release-21
     Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 357 of 1402



           remain in full force and effect. Nothing in this Agreement waives or prevents
 1
           Plaintiffs and Class Counsel from appealing an award of less than $405,000.
 2
      D.   Subject to the foregoing provisions, Defendants shall deliver the Attorneys’ Fee
 3         Settlement Amount to Class Counsel by direct wire transfer into Class Counsel’s
 4
           designated account. Class Counsel shall provide to Defendants all information
           necessary to accomplish the direct wire transfer into that account within five days
 5         of the Effective Date. Plaintiffs and Class Counsel acknowledge that payment of the
 6         Attorneys’ Fee Settlement Amount by Defendants or any of them in accordance
           with the wire instructions shall resolve all of Defendants’ liability for such amount.
 7
      E.   Class Counsel shall be fully responsible for the allocation and payment of the
 8         Attorneys’ Fee Settlement Amount among themselves.
 9    F.   Defendants’ payment of the Attorneys’ Fee Settlement Amount shall satisfy any
10         claims by Plaintiffs’ Counsel and/or Class Counsel for attorney fees and costs
           related to and for the Action, including any fees and costs that may be incurred by
11
           Plaintiffs’ Counsel and/or Class Counsel in the course of monitoring the
12         implementation of this Agreement (except as set forth in Paragraph G). Plaintiffs,
           Plaintiffs’ Counsel, and Class Counsel, and their heirs, executors, administrators,
13
           representatives, attorneys, predecessors, successors, assigns, agents, affiliates, and
14         partners, and any persons they represent, by operation of any final judgment entered
           by the Court, fully, finally, and forever release, relinquish, and discharge the
15
           Defendants of and from any and all claims for attorney fees and costs related to and
16         for the Action, including any fees and costs that may be incurred in the course of
17         monitoring the implementation of this Agreement (except as set forth in Paragraph
           G).
18
      G.   In the event that Class Counsel seek to enforce the terms of the Agreement pursuant
19         to Section VI.C., nothing in this Agreement shall be interpreted as precluding
20         Plaintiffs from seeking attorneys’ fees and costs solely for such enforcement action.

21    H.   If either party terminates the Agreement under Section VIII.C because the Court of
           Appeals or the United States Supreme Court reversed, vacated, or modified in any
22
           material way the Final Judgment after the Effective Date, Plaintiffs agree that Class
23         Counsel shall return the Attorneys’ Fee Settlement Amount, plus any interest
           earned, to Defendants upon final resolution of the appeal. Final resolution of the
24
           appeal occurs when all appellate remedies, including petitions for rehearing,
25         petitions for rehearing en banc, and petitions for certiorari or any other form of
           review, have been finally disposed of in a manner that allows for termination of the
26
           Agreement.
27

28
                           Settlement Agreement and Release-22
            Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 358 of 1402



     XII.        ADDITIONAL PROVISIONS
 1

 2          A.     This Agreement, and the obligations incurred herein, shall be in full and final
 3
                   disposition of the Action with prejudice, including any and all Settled Claims against
                   Defendants. On the Effective Date, Plaintiffs and Class Members shall be deemed to
 4                 have fully, finally, and forever released, relinquished, and discharged Defendants of
 5                 and from any and all Settled Claims in accordance with Part II.

 6          B.     All of the exhibits attached hereto are hereby incorporated by reference as though
                   fully set forth herein.
 7
            C.     This Agreement may not be modified or amended, nor may any of its provisions be
 8                 waived except by a writing signed by all parties hereto or their successors-in-interest.
 9          D.     The waiver by one party of any breach of this Agreement by any other party shall not
10                 be deemed a waiver of any other prior or subsequent breach of this Agreement.

11          E.     This Agreement and its exhibits constitute the entire agreement among the parties
                   hereto concerning the Settlement of the Action, and no representations, warranties,
12
                   or inducements have been made by any party hereto other than those contained and
13                 memorialized in such documents.

14          F.     This Agreement may be executed in one or more counterparts. All executed
                   counterparts and each of them shall be deemed to be one and the same instrument
15
                   provided that counsel for the parties to this Agreement shall exchange among
16                 themselves original signed counterparts.
17          G.     This Agreement shall be binding upon, and inure to the benefit of, the successors and
                   assigns of the parties hereto.
18
            H.     This Agreement shall not be construed more strictly against one party than another
19
                   merely by virtue of the fact that it, or any part of it, may have been prepared by
20                 counsel for one of the parties, it being recognized by the parties that this Agreement
                   is the result of negotiations between the parties and that all parties have contributed
21
                   substantially and materially to the preparation of this Agreement.
22
            I.     All counsel and any other person executing this Agreement and any of the exhibits
23                 hereto, or any related settlement documents, warrant and represent that they have the
                   full authority to do so and that they have the authority to take appropriate action
24
                   required or permitted to be taken under the Agreement to effectuate its terms.
25
            J.     Class Counsel and Defendants’ Counsel agree to cooperate fully with one another in
26                 seeking Court approval of this Agreement and to promptly agree upon and execute
27
                   all such other documentation as may be reasonably required to obtain final approval
                   by the Court of the Settlement.
28
                                     Settlement Agreement and Release-23
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 1
     For and on behalf of Defendants:
 2

 3
     EXECUTED this __ day of _________, 2016.

 4   ______________________
 5   Katherine J. Shinners,
     Trial Attorney, District Court Section
 6
     Office of Immigration Litigation
 7   Civil Division
     United States Department of Justice
 8
     P.O. Box 868, Ben Franklin Station Washington, D.C. 20044
 9

10
     Counsel for Defendants

11   For and on behalf of Plaintiffs and the Class:
12
     EXECUTED this __ day of _________, 2016.
13

14
     __________________________                       __________________________
15    Julia Harumi Mass, Esq.                         Robert P. Varian
16
     American Civil Liberties Union                   Orrick, Herrington & Sutcliffe LLP
     of Northern California, Inc.                     405 Howard Street
17   39 Drumm Street                                  San Francisco, CA 94105
     San Francisco, CA 94111                          415-773-5700
18   415-621-2493                                     415-773-5759 (fax)
     415-255-8437 (fax)                               rvarian@orrick.com
19
     jmass@aclunc.org
20
                                                      _________________________
21
     _________________________                        Marc Van Der Hout
     Carl Takei                                       Van Der Hout, Brigagliano
22
     American Civil Liberties Union                   & Nightingale LLP
23   National Prison Project                          180 Sutter Street, Suite 500
     915 15th Street, N.W., 7th Fl.                   San Francisco, CA 94101
24
     Washington, DC 20005                             415-981-3000
     202-393-4920                                     415-981-3003 (fax)
25
     202-393-4931 (fax)                               MV@vblaw.com
26   ctakei@aclu.org
     Counsel for Plaintiffs
27

28
                               Settlement Agreement and Release-24
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EXHIBIT A
                                         Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 363 of 1402




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EXHIBIT B
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 NOTICE OF PROPOSED SETTLEMENT REGARDING TELEPHONE ACCESS IN
                    IMMIGRATION DETENTION
  LYON, ET AL. V. U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT ET AL.,
                          Case No. 3:13-cv-05878-EMC
                  IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF CALIFORNIA

TO:     All current and future adult immigration detainees who are or will be held by ICE in Contra
        Costa County, Kern County, Sacramento County, or Yuba County.

Purpose of this Notice

        This notice has three purposes: 1) to tell you about the proposed settlement and the fairness
hearing in this class-action lawsuit; 2) to tell you how to obtain more information, including a copy
of the full proposed settlement agreement; and 3) to explain how you may object to the proposed
settlement if you disagree with it.

Background on the Lawsuit

    This class action lawsuit asserts that U.S. Immigration and Customs Enforcement (ICE) does
not provide adequate telephone access for immigration detainees housed in Contra Costa West
County Detention Facility, Yuba County Jail, Rio Cosumnes Correctional Center (RCCC), and Mesa
Verde Detention Facility (collectively, the Facilities). Specifically, the lawsuit asserts that ICE is
violating the statutory and constitutional rights of immigration detainees because the telephone
access conditions in the Facilities: (1) prevent detainees from retaining and communicating
effectively with lawyers, and (2) prevent detainees from gathering evidence to present in
immigration-related proceedings. The lawsuit seeks changes to ICE and Facility policies; it does not
ask for money damages.

     Class Counsel (representing the interests of detainees in the Facilities) and ICE’s attorneys have
negotiated a settlement. The Court has given preliminary approval to this settlement, and the next
step is for the Court to consider any comments and objections from class members. A hearing has
been scheduled for __________________, 2016, at _____.m. before the Honorable Edward M.
Chen of the United States District Court for the Northern District of California in Courtroom 5 –
17th Floor at the San Francisco Courthouse, 450 Golden Gate Ave., San Francisco, California. At
this hearing, the Court will consider whether the proposed settlement is fair, reasonable, and
adequate. The Court will then either approve the settlement or order the parties to continue
litigating.

Description of the Proposed Settlement Agreement

    Below is a summary of the key points in the settlement agreement. To get a copy of the full
agreement, see the section entitled “For Further Information” after this summary.


                                                   1
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1.   There will be more ways to make legal calls from housing unit phones and new phone
     booths for privacy in housing units.

          a. ICE will add speed-dials to make free, direct, unmonitored calls to more
             government offices and some attorneys from the housing unit phones. ICE
             will set up more speed-dial numbers (similar to ICE’s pro bono platform) that will
             connect without needing a live person to answer and accept the call, that will not be
             recorded or monitored, and that will be cost-free for the caller and recipient. These
             numbers will include police departments, probation departments, state and federal
             courts, and rehabilitation centers as well as attorneys who provide a mix of paid and
             pro bono immigration representation and have requested to be added to the
             platform.

          b. ICE will create a list of attorneys who can be called without needing a live
             person to answer. ICE will allow attorneys (including those who only provide paid
             representation) to receive calls from the housing unit phones without needing a live
             person to answer the telephone. These calls will not be recorded or monitored.

          c. ICE will install phone booths in and around housing units for case-related
             telephone calls. ICE has agreed to install a total of 40 phone booths that will be
             distributed among the four Facilities. These phone booths will operate like the
             housing unit phones, but with more privacy.

          d. ICE will ensure access to phone booths. Except during count and lockdowns,
             detainees will be able to use phone booths any time during waking hours (including
             non-free time at Contra Costa). Detainees who are housed in places where they need
             staff to escort them to a phone booth, such as segregation, will receive access within
             two waking hours of making a request, absent extraordinary circumstances (which
             must be reported to ICE). For detainees in disciplinary segregation whose discipline
             includes limits on telephone access, these requirements apply only to personal or
             family emergencies, Legal Calls, or calls that are otherwise justified by a compelling
             need.

          e. ICE will extend automatic cut-offs for telephone calls.
                 i. Yuba: Cut-offs for the housing unit phones will be extended from 20 minutes
                    to 40 minutes, and there will be no automatic cut-off in the Yuba phone
                    room.
                ii. RCCC: Cut-offs for the housing unit phones will be extended from 20
                    minutes to 40 minutes.
               iii. All Facilities: The automatic cut-off for calls from ICE’s pro bono platform
                    will be extended to 60 minutes.
               iv. Based on demonstrated need in individual circumstances, ICE may impose
                    time limits on telephone calls to ensure everyone has access.


                                                2
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2.   There will be more ways to make legal calls from private phone rooms.

           a. Immigration detainees will be allowed to use private phone rooms for legal
              calls, including calls to non-attorneys.
                    i. In general: These calls will not be recorded or monitored, and will not require
                       a live person to answer. When connecting the call, Facility staff or ICE
                       personnel can check the call recipient’s name and ask if the call recipient
                       agrees to speak to the caller, but cannot announce the detainee is calling from
                       a jail or detention facility. If nobody answers, the caller will be able to leave
                       voicemail messages and navigate automated answering systems that require
                       dialing an extension.
                   ii. Calls to attorneys: Immigration detainees will be able to call attorneys from
                       these phones for long calls or calls that need extra privacy. Also, attorneys
                       may request calls be scheduled at particular times.
                  iii. Calls to non-attorneys: Immigration detainees will be able to call non-attorneys
                       from these phones if the call is case-related (for example, to request a
                       supportive letter or to get help obtaining documents) and the detainee has
                       already tried and been unable to contact the person using a housing unit
                       phone.
                 iv. RCCC and Yuba: A phone room, phone booth, or other enclosure will be
                       added to meet this requirement at RCCC, which currently has no private
                       phone room. Privacy will be improved in the Yuba phone room.

           b. Phone room calls will be generally limited to 30 minutes but immigration
              detainees can request longer calls. However, in periods of high demand, ICE may
              limit call lengths to ensure everyone has access.

3.   On-site facilitators at each Facility will process telephone requests and provide timely
     access to phone rooms. Calls will ordinarily be provided within 8 waking hours, and (except
     in extraordinary circumstances) always within 24 hours of a request.

4.   Each Facility will take and deliver non-confidential phone and/or email messages
     related to immigration detainees’ immigration cases within 24 hours.

5.   For detainees who cannot afford to pay for phone calls, ICE will provide extra phone
     room access or phone credit. This will be available to detainees who have had less than $15
     on their commissary account for 10 consecutive days at the time of the request.

6.   ICE will make accommodations for international legal calls and three-way calling for
     legal calls. There will be a system for requesting international legal calls even if international
     calls cannot be dialed from housing unit phones or phone rooms. Upon request and
     statement of a need, such as needing an interpreter to join a call, ICE will facilitate 3-way calls
     in the Facility (if possible) or at the nearest field office.


                                                   3
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7.    ICE will assist people who do not read English or Spanish. ICE will post a notice in 10
      common written languages telling detainees to ask Facility staff for translations of telephone
      access materials and assistance with telephone access. On request, if local interpretation is not
      adequate or available, ICE will use a telephone-based “language line” interpreter to provide
      further explanations. Additionally, if a detainee is trying to call a person who does not speak
      English and cannot understand the automatic prompts to accept a call, the detainee can use
      the Phone Room to call that person for case-related calls.

8.    ICE will require training of all local ICE officers with duties related to detention and
      Facility staff whose duties include supervising detainees or providing telephone
      access. ICE will also add detail to the inspection forms it uses in detention facilities across
      the country to evaluate compliance with detention standards regarding privacy for legal calls,
      timeliness in responding to telephone requests, availability of message delivery systems,
      availability of translation and interpretation services, and access to telephones for detainees in
      segregation.

9.    Five Year Agreement. ICE will have one year after the Court finally approves the Settlement
      to make the required changes. The Settlement will be in effect for four years after that. During
      this time, ICE must provide information to Class Counsel to monitor and enforce the
      Settlement, including providing various documents and allowing Class Counsel to visit the
      Facilities to interview detainees.

10.   The Court can enforce the agreement if there are any violations. The Court will retain
      jurisdiction over the case to enforce the terms of the Settlement Agreement.

11.   Attorneys’ fees and costs. The Government will pay $405,000 to Class Counsel in settlement
      of all claims for fees and expenses. See below for how to obtain more information about the
      attorneys’ fees settlement.

12.   Release of claims. Class Members will release the government from all claims for declaratory
      or injunctive relief that were brought on behalf of Class Members based on the facts and
      circumstances alleged in the lawsuit.

For further information:

    THIS IS A SUMMARY OF THE AGREEMENT. TO UNDERSTAND IT FULLY, YOU
SHOULD READ THE ENTIRE AGREEMENT. You can get copies of the final settlement
agreement, Class Counsel’s motion seeking the Court’s approval of the attorneys’ fees provision of
the settlement, and copies of this Notice from: 1) Visiting ICE agents; 2) ICE’s website
(www.ice.gov); 3) the ACLU of Northern California website (www.aclunc.org/our-work/legal-
docket/lyon-v-ice-telephone-access-immigration-detainees); 4) by calling Class Counsel by
using speed dial number #9160 through ICE’s pro bono call platform or by calling (415) 621-2493,
ext. 329; 5) the


                                                    4
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electronic docket in this case (Case No. 13-cv-05878 EMC), available at
https://ecf.cand.uscourts.gov; or 6) by writing to Class Counsel at the address listed below:

       Class Counsel
       Lyon v. ICE Class Action Settlement
       c/o ACLU Foundation of Northern California
       39 Drumm Street
       San Francisco, CA 94111

If calling or writing to Class Counsel, please indicate in your message or letter what you are asking
for (a copy of the settlement agreement, the attorneys’ fee motion, or the Notice), your name, and
how to get in touch with you. If you are in custody, say the detention center where you are currently
in custody. If you are out of custody, please provide your address and telephone number.

PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S OFFICE TO
INQUIRE ABOUT THIS SETTLEMENT.

Procedures for Objecting to the Proposed Settlement:

        You can ask the Court to deny approval of the settlement by filing an objection. You cannot
ask the Court to order a different settlement; the Court can only approve or deny the settlement. If
the Court denies approval, the settlement provisions will not be implemented and the lawsuit will
continue. If that is what you want to happen, you must object.

         If you object to the proposed settlement, you should do it in writing and must submit the
written objection to the Court. Attached to this notice is a sample objection form that you may use
to file a written objection. You can request additional copies of this form from ICE agents that visit
your detention facility. If you file an objection, you may also choose to appear at the Final Approval
Hearing, either in person or through your own attorney. If you appear through your own attorney,
you are responsible for paying that attorney if required.

       All written objections and supporting papers must:

       (a) Clearly identify the case name and number (Lyon v. ICE, Case No. 13-cv-05878 EMC);
       (b) Provide: (i) the Class Member’s full name and current detention facility or address, (ii) a
           signed declaration that the Class Member is a member of the Class, (iii) the specific
           grounds for the objection, (iv) all documents or writings the Class Member wants the
           Court to consider, and (v) whether the Class Member intends to appear at the Fairness
           Hearing.
       (c) Be submitted to the Court either by mailing them to the Class Action Clerk, United
           States District Court for the Northern District of California, 450 Golden Gate Avenue,
           San Francisco, CA 94102, or by filing them in person at any location of the United States
           District Court for the Northern District of California;
       (d) Be filed or postmarked on or before _____________, 2016.

                                                  5
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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA


AUDLEY BARRINGTON LYON, JR., et al., )             Case No. 3:13-cv-05878-EMC
                                     )
Plaintiffs,                          )
v.                                   )
                                     )             OBJECTION TO PROPOSED
UNITED STATES IMMIGRATION AND        )             SETTLEMENT
CUSTOMS ENFORCEMENT, et al.,         )
Defendants.                          )             Hon. Edward. M. Chen
                                     )

To the Honorable Court:

      I believe I am a Class Member because I am currently detained by ICE at (check one):
             __ West County Detention Facility in Contra Costa County
             __ Yuba County Jail in Yuba County
             __ Rio Cosumnes Correctional Center in Sacramento County
             __ Mesa Verde Detention Facility in Kern County

      I object to the proposed settlement because: ____________________________________
______________________________________________________________________________
______________________________________________________________________________
_______________________________________________ [attach additional sheets if necessary]

      I intend to appear at the Court for the Fairness Hearing: ☐ Yes ☐ No

      My signature verifies that everything I have stated above is true.

Dated: ______________               Signature:      ________________________________
                                    Name:           ________________________________
                                    “A number”:     ________________________________
                                    Address:        ________________________________
                                                    ________________________________




                                               6
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EXHIBIT C
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 1    ROBERT P. VARIAN (SBN 107459)
      CHARLES J. HA (pro hac vice)
 2    ALEXIS YEE-GARCIA (SBN 277204)
      ORRICK, HERRINGTON & SUTCLIFFE LLP
 3    The Orrick Building
      405 Howard Street
 4    San Francisco, California 94105-2669
      Telephone:    (415) 773-5700
 5    Facsimile:    (415) 773-5759
      Email: rvarian@orrick.com
 6
      AMERICAN CIVIL LIBERTIES UNION
 7    FOUNDATION OF NORTHERN CALIFORNIA
      JULIA HARUMI MASS (SBN 189649)
 8    ANGELICA SALCEDA (SBN 296152)
      CHRISTINE P. SUN (SBN 218701)
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14                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
15                                  SAN FRANCISCO DIVISION
16

17    AUDLEY BARRINGTON LYON, JR., et al.,               Case No.: 13-cv-05878-EMC
      on behalf of themselves and all others similarly
18    situated,
19                      Plaintiffs,                      FINAL ORDER APPROVING
                                                         SETTLEMENT AND DISMISSING
20           v.                                          CASE
21    UNITED STATES IMMIGRATION AND                      Hon. Edward M. Chen
      CUSTOMS ENFORCEMENT, et al.,
22
                        Defendants.
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                                                                        FINAL ORDER APPROVING SETTLEMENT
                                                                                CASE NO.: 13-CV-05878 EMC
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 1    AMERICAN CIVIL LIBERTIES UNION
      NATIONAL PRISON PROJECT
 2    CARL TAKEI (SBN 256229)
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                                                             FINAL ORDER APPROVING SETTLEMENT
                                           1                         CASE NO.: 13-CV-05878 EMC
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 1            WHEREAS Plaintiffs Audley Barrington Lyon, Jr., José Elizandro Astorga-Cervantes,
 2    and Nancy Neria-Garcia, on behalf of themselves and all class members (collectively, “Plaintiff
 3    Class”), by and through their counsel of record, have asserted claims for declaratory and
 4    injunctive relief against Defendants U.S. Immigration and Customs Enforcement (“ICE”); Sarah
 5    Saldaña in her official capacity as Director of ICE; the U.S. Department of Homeland Security;
 6    Jeh Johnson in his official capacity as Secretary of Homeland Security, and Adrian Macias in his
 7    official capacity as Acting Field Office Director for ICE’s San Francisco Field Office
 8    (collectively “Defendants”), alleging violations of the Immigration and Nationality Act, 8 U.S.C.
 9    § 1101 et seq. and the First and Fifth Amendments to the U.S. Constitution; and
10            WHEREAS on April 16, 2014, the Court certified a class of “[a]ll current and future
11    immigration detainees who are or will be held by ICE in in Contra Costa, Sacramento, and Yuba
12    Counties” (ECF No. 31);
13            WHEREAS on July 27, 2015, the Court granted Plaintiffs’ motion to modify the certified
14    class to include “[a]ll current and future adult immigration detainees who are or will be held by
15    ICE in Contra Costa County, Kern County, Sacramento County, or Yuba County” (“Plaintiff
16    Class”) (ECF No. 98);
17            WHEREAS on March 18, 2016, the Court granted in part and denied in part Defendants’
18    motion for summary judgment and denied Plaintiffs’ motion for summary judgment (ECF No.
19    167);
20            WHEREAS the Court found that Plaintiffs’ Counsel are adequate to represent the Plaintiff
21    Class under Federal Rule of Civil Procedure 23(g)(1) and (4), and appointed Plaintiffs’ Counsel
22    as Class Counsel under Rule 23(g) in an Order dated ___________, 2016; and
23            WHEREAS the Plaintiff Class and Defendants entered into a settlement of the above-
24    captioned matter (“Settlement”) and executed a Settlement Agreement and Release (“Settlement
25    Agreement”), which has been filed with the Court; and
26            WHEREAS the Court preliminarily approved the Settlement in an Order dated
27    _________, 2016; and
28
                                                                              FINAL ORDER APPROVING SETTLEMENT
                                                       2                              CASE NO.: 13-CV-05878 EMC
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 1           WHEREAS the Court held a hearing on _____________, 2016, where the Court found the
 2    Settlement reasonable and fair; and
 3           WHEREAS it appears notice of the Settlement has been adequately provided to the Class
 4    as provided for by the Court’s Order Granting Preliminary Approval; and
 5           WHEREAS the Plaintiff Class has filed with the Court a Motion for Final Approval of the
 6    Settlement, together with supporting documents; and
 7           WHEREAS the Court held a hearing on __________________________, 2016 to
 8    consider the final approval of the Settlement, and any objections to the foregoing filed before or at
 9    the time of the hearing;
10           WHEREAS the Court has considered the Settlement between the Plaintiff Class and the
11    Defendants, and the pleadings and documents submitted in connection with the parties’ request
12    for final approval of the Settlement, and good cause appearing therefore,
13           WHEREFORE, IT IS HEREBY ORDERED AS FOLLOWS:
14          1.       The Court has jurisdiction over the subject matter of this action. The Court has
15 personal jurisdiction over the Plaintiff Class (as defined in the Court’s orders granting Plaintiffs’

16 motions for class certification and for modification of the class certification order, ECF Nos. 31

17 and 98) and Defendants.

18          2.       Under Federal Rule of Civil Procedure 23(e), the Settlement as set forth in the
19 Settlement Agreement is approved as fair, reasonable, adequate, and in the best interests of the

20 Plaintiff Class. The Court finds that the Settlement appears to have resulted from arm’s length

21 negotiations by and among counsel for the parties who were reasonably skilled and prepared and

22 who represented the best interests of their respective clients in negotiating the Settlement. The

23 settlement negotiations that led to the Settlement took place in mediations sessions supervised by

24 Magistrate Judge Donna Ryu, with assistance from Magistrate Judge Laurel Beeler. This provides

25 the Court with further assurance that the negotiations leading to the Settlement were good faith,

26 arm’s length negotiations, based on a sufficiently developed record, and which appropriately

27 considered the risks of trial, the potential resolution, and all other relevant factors leading to
28 Settlement.
                                                                                FINAL ORDER APPROVING SETTLEMENT
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 1          3.       The Court further finds that the settlement of attorneys’ fees and costs in Section
 2 XI of the Settlement Agreement was the result of arm’s length and good faith negotiations

 3 supervised by Magistrate Judges Ryu and Beeler. The attorney’s fees and costs provision appears

 4 to have taken into consideration the right of Plaintiffs to seek an award of fees that would be

 5 substantially higher than the amount agreed to, the risks of trial, and all other relevant factors. The

 6 Court therefore approves the award of the Attorneys’ Fee Settlement Amount contained in the

 7 Settlement Agreement and orders that that the Attorneys’ Fee Settlement Amount be paid in

 8 accordance with the Settlement Agreement.

 9          4.       The Court further finds the Notice to the Class was reasonably calculated to
10 apprise the Class of the pendency of this action and all material elements of the proposed

11 settlement, constituted the best notice practicable under the circumstances, and constituted due and

12 sufficient notice.

13          5.       This Final Order adopts and incorporates herein by reference in its entirety the
14 Settlement Agreement submitted as Exhibit 1 to the Declaration of Julia Harumi Mass, filed with

15 Plaintiffs’ Unopposed Motion for Preliminary Approval of the Class Action Settlement (ECF No.

16 __). The parties are directed to implement the Settlement Agreement in accordance with its terms

17 and provisions.

18           6.      In accordance with Section XII.A of the Settlement Agreement, this action is
19    hereby dismissed with prejudice. Without in any way affecting the finality of this Final Order, this
20    Court retains jurisdiction for the purpose of enforcing the Settlement Agreement and as to all
21    matters relating to the interpretation and enforcement of the Settlement Agreement.
22           7.      The Court finds this Final Order adjudicates all of the claims, rights, and liabilities
23    of the Parties to the Settlement, and is intended to be a final judgment within the meaning of Rule
24    54 of the Federal Rules of Civil Procedure.
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                                                                                FINAL ORDER APPROVING SETTLEMENT
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 1    IT IS SO ORDERED.
 2
      Dated _____________                _________________________________________
 3                                       Hon. Edward M. Chen
 4                                       U.S. District Court Judge

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                                                              FINAL ORDER APPROVING SETTLEMENT
                                           5                          CASE NO.: 13-CV-05878 EMC
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EXHIBIT D
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      NOTICE OF FINAL SETTLEMENT REGARDING TELEPHONE ACCESS IN
                        IMMIGRATION DETENTION
     LYON, ET AL. V. U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT ET AL.,
                             Case No. 3:13-cv-05878-EMC
                     IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA

TO:     All current and future adult immigration detainees who are or will be held by ICE in Contra
        Costa County, Kern County, Sacramento County, or Yuba County.

You are hereby notified that on ________________, 2016, the Honorable Edward M. Chen of the
United States District Court for the Northern District of California approved a settlement of the
claims that were brought on your behalf in this lawsuit.

Background on the Lawsuit

    This class action lawsuit asserted that U.S. Immigration and Customs Enforcement (ICE) does
not provide adequate telephone access for immigration detainees housed in Contra Costa West
County Detention Facility, Yuba County Jail, Rio Cosumnes Correctional Center (RCCC), and Mesa
Verde Detention Facility (collectively, the Facilities). Specifically, the lawsuit asserted that ICE is
violating the statutory and constitutional rights of immigration detainees because the telephone
access conditions in the Facilities: (1) prevent detainees from retaining and communicating
effectively with lawyers, and (2) prevent detainees from gathering evidence to present in
immigration-related proceedings. The parties reached a settlement that the Court has approved.

Description of the Settlement Agreement

    Below is a summary of the key points in the settlement agreement. To get a copy of the full
agreement, see the section entitled “For Further Information” after this summary.

1.     There will be more ways to make legal calls from housing unit phones and new phone
       booths for privacy in housing units.

            a. ICE will add speed-dials to make free, direct, unmonitored calls to more
               government offices and some attorneys from the housing unit phones. ICE
               will set up more speed-dial numbers (similar to ICE’s pro bono platform) that will
               connect without needing a live person to answer and accept the call, that will not be
               recorded or monitored, and that will be cost-free for the caller and recipient. These
               numbers will include police departments, probation departments, state and federal
               courts, and rehabilitation centers as well as attorneys who provide a mix of paid and
               pro bono immigration representation and have requested to be added to the
               platform.



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          b. ICE will create a list of attorneys who can be called without needing a live
             person to answer. ICE will allow attorneys (including those who only provide paid
             representation) to receive calls from the housing unit phones without needing a live
             person to answer the telephone. These calls will not be recorded or monitored.

          c. ICE will install phone booths in and around housing units for case-related
             telephone calls. ICE has agreed to install a total of 40 phone booths that will be
             distributed among the four Facilities. These phone booths will operate like the
             housing unit phones, but with more privacy.

          d. ICE will ensure access to phone booths. Except during count and lockdowns,
             detainees will be able to use phone booths any time during waking hours (including
             non-free time at Contra Costa). Detainees who are housed in places where they need
             staff to escort them to a phone booth, such as segregation, will receive access within
             two waking hours of making a request, absent extraordinary circumstances (which
             must be reported to ICE). For detainees in disciplinary segregation whose discipline
             includes limits on telephone access, these requirements apply only to personal or
             family emergencies, Legal Calls, or calls that are otherwise justified by a compelling
             need.

          e. ICE will extend automatic cut-offs for telephone calls.
                 i. Yuba: Cut-offs for the housing unit phones will be extended from 20 minutes
                    to 40 minutes, and there will be no automatic cut-off in the Yuba phone
                    room.
                ii. RCCC: Cut-offs for the housing unit phones will be extended from 20
                    minutes to 40 minutes.
               iii. All Facilities: The automatic cut-off for calls from ICE’s pro bono platform
                    will be extended to 60 minutes.
               iv. Based on demonstrated need in individual circumstances, ICE may impose
                    time limits on telephone calls to ensure everyone has access.

2.   There will be more ways to make legal calls from private phone rooms.

          a. Immigration detainees will be allowed to use private phone rooms for legal
             calls, including calls to non-attorneys.
                  i. In general: These calls will not be recorded or monitored, and will not require
                      a live person to answer. When connecting the call, Facility staff or ICE
                      personnel can check the call recipient’s name and ask if the call recipient
                      agrees to speak to the caller, but cannot announce the detainee is calling from
                      a jail or detention facility. If nobody answers, the caller will be able to leave
                      voicemail messages and navigate automated answering systems that require
                      dialing an extension.



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                   ii. Calls to attorneys: Immigration detainees will be able to call attorneys from
                       these phones for long calls or calls that need extra privacy. Also, attorneys
                       may request calls be scheduled at particular times.
                  iii. Calls to non-attorneys: Immigration detainees will be able to call non-attorneys
                       from these phones if the call is case-related (for example, to request a
                       supportive letter or to get help obtaining documents) and the detainee has
                       already tried and been unable to contact the person using a housing unit
                       phone.
                  iv. RCCC and Yuba: A phone room, phone booth, or other enclosure will be
                       added to meet this requirement at RCCC, which currently has no private
                       phone room. Privacy will be improved in the Yuba phone room.

           b. Phone room calls will be generally limited to 30 minutes but immigration
              detainees can request longer calls. However, in periods of high demand, ICE may
              limit call lengths to ensure everyone has access.

3.   On-site facilitators at each Facility will process telephone requests and provide timely
     access to phone rooms. Calls will ordinarily be provided within 8 waking hours, and (except
     in extraordinary circumstances) always within 24 hours of a request.

4.   Each Facility will take and deliver non-confidential phone and/or email messages
     related to immigration detainees’ immigration cases within 24 hours.

5.   For detainees who cannot afford to pay for phone calls, ICE will provide extra phone
     room access or phone credit. This will be available to detainees who have had less than $15
     on their commissary account for 10 consecutive days at the time of the request.

6.   ICE will make accommodations for international legal calls and three-way calling for
     legal calls. There will be a system for requesting international legal calls even if international
     calls cannot be dialed from housing unit phones or phone rooms. Upon request and
     statement of a need, such as needing an interpreter to join a call, ICE will facilitate 3-way calls
     in the Facility (if possible) or at the nearest field office.

7.   ICE will assist people who do not read English or Spanish. ICE will post a notice in 10
     common written languages telling detainees to ask Facility staff for translations of telephone
     access materials and assistance with telephone access. On request, if local interpretation is not
     adequate or available, ICE will use a telephone-based “language line” interpreter to provide
     further explanations. Additionally, if a detainee is trying to call a person who does not speak
     English and cannot understand the automatic prompts to accept a call, the detainee can use
     the Phone Room to call that person for case-related calls.

8.   ICE will require training of all local ICE officers with duties related to detention and
     Facility staff whose duties include supervising detainees or providing telephone
     access. ICE will also add detail to the inspection forms it uses in detention facilities across

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      the country to evaluate compliance with detention standards regarding privacy for legal calls,
      timeliness in responding to telephone requests, availability of message delivery systems,
      availability of translation and interpretation services, and access to telephones for detainees in
      segregation.

9.    Five Year Agreement. ICE will have one year after the Court approved the Settlement to
      make the required changes. The Settlement will be in effect for four years after that. During
      this time, ICE must provide information to Class Counsel to monitor and enforce the
      Settlement, including providing various documents and allowing Class Counsel to visit the
      Facilities to interview detainees.

10.   The Court can enforce the agreement if there are any violations. The Court will retain
      jurisdiction over the case to enforce the terms of the Settlement Agreement.

11.   Attorneys’ fees and costs. The Government will pay $405,000 to Class Counsel in settlement
      of all claims for fees and expenses. See below for how to obtain more information about the
      attorneys’ fees settlement.

12.   Release of claims. Class Members will release the government from all claims for declaratory
      or injunctive relief that were brought on behalf of Class Members based on the facts and
      circumstances alleged in the lawsuit.

For further information:

    THIS IS A SUMMARY OF THE AGREEMENT. TO UNDERSTAND IT FULLY, YOU
SHOULD READ THE ENTIRE AGREEMENT. You can get copies of the final settlement
agreement from: 1) Visiting ICE agents, 2) ICE’s website (www.ice.gov); 3) the ACLU of Northern
California website (www.aclunc.org/our-work/legal-docket/lyon-v-ice-telephone-access-
immigration-detainees); 4) by calling Class Counsel by using speed dial number #9160 through
ICE’s pro bono call platform or by calling (415) 621-2493, ext. 329; or 5) by writing to Class
Counsel at the address listed below:

        Class Counsel
        Lyon v. ICE Class Action Settlement
        c/o ACLU Foundation of Northern California
        39 Drumm Street
        San Francisco, CA 94111

If calling or writing to Class Counsel, please indicate in your message or letter that you are asking for
a copy of the settlement agreement, the name of the case (Lyon v. ICE), your name, and how to get
in touch with you. If you are in custody, say the detention center where you are currently in custody.
If you are out of custody, please provide your address and telephone number.




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                ATTACHMENT 15
 Franco-Gonzalez Health Form                     13-61A-1
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             CMHE Follow up Screening-ICE Detainees
Facility:
Inmate/Resident Name: _______________________________ Date of Evaluation: _________
Inmate/Resident No.: _________________________________ Date of Birth: _____________
This form is to be completed for any detainee who had "Yes" answers on the Initial Comprehensive
Mental Health Evaluation. Any item marked by an asterisk (*) indicates a trigger for additional
mental health assessment and/or follow up.

SECTION 1: BARRIERS TO COMMUNICATION-provider to enter "Y" or "N" for observed
problems in each of the categories.

  Yes   No   Observation:
                 1.   *Hearing
                 2.   *Forming Speech
                 3.   *Comprehension
                 4.   *Lack of Response
                 5.   *Response not Logical
                 6.   *Other Problems: (List):
                 7.   Communication Intact with No Barriers
             Questions
             In the last month, how much difficulty did you have concentrating on something for 10 minutes?
             □None □Some □Severe
             In the last month, how much difficulty did you have starting and maintaining a conversation?
             □None □Some □Severe

SECTION 2: GAUGE OF UNDERSTANDING OF SITUATION-Recommended behaviorally cut-offs
for scoring on a 1-10 scale: Understanding or Not Understanding, with a potential threshold of 5 or
less. Asterisk (*) is trigger for additional mental health assessment and/or treatment.
YES NO
                 1.   What is your understanding of your situation?
                      Identifies immigration detention facility?
                                 If N: What kind of facility is this?
                                 If N: Are you here for criminal or immigration court?
                 2.   What might happen to you?
                      Identifies immigration court hearing?
                      Identifies potential for deportation?
                 3.   Who can help you?
                      Identifies realistic resources?
                 4.   How can you communicate with people outside of the facility?
                      Identifies how to access outside resources?
             SCORING:
             How well did the detainee demonstrate an understanding of his/her situation?
                    □1= No understanding of detainee status. Did not mention immigration or any relevant
                    process or has erroneous beliefs. *
                    □5=Limited understanding. *
                    □10=Perfect understanding of detainee status. Described immigration processes and
                    resources with accuracy and specific detail.




                                                                                                              06/__/19
                                                  Proprietary Information
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SECTION 3: COGNITIVE IMPAIRMENTS-Asterisk (*) is trigger for additional MH assessment
and/or treatment.
YES NO
            Memory Functioning:
            Register & recall 3 words after 3-minute delay: detainee repeated ____of the 3 words. If "N"*
            In the last month, did you have problems remembering to do important things?
                     If Yes, Describe:
            Intellectual functioning
            How far did you get in school? Response:
            Can you read? If "N" *
            Did you learn more slowly than your classmates? If "Y" *
                     If Y: Were in Special Education classes or a special School? *
                     If Y: What years of school were you in special Education: Response:
            Have you ever lived alone?
            Describe your longest job.
            Cognitive impairment from head injury
            Have you ever had a head injury or head surgery?
                     If Y*: Was there any change in thinking or memory?




SECTION 4: SOCIAL HISTORY (not otherwise covered by existing questions, i.e.,
relationships & cultural concerns)

            Marital status and family history:

            Do you have a history of violence?
            If so, were you the victim or the perpetrator?

            Do you have a criminal history?

            Do you have a history of alcohol abuse or dependence?


            Do you have a history of drug abuse or dependence?


            Do you have a history of physical abuse?

            Do you have a history of sexual abuse?

            Who are the most important people in your life?

            What is the most important aspect of your background or identity?




SECTION 5: HISTORY OF MEDICAL/MENTAL HEALTH TREATMENT- Asterisk (*) is trigger for
additional mental health assessment and/or treatment.
YES NO
            ARE YOU EXPERIENCING ANY MEDICAL ISSUES OR COMPLAINTS?
            IF YES RESPONSE, REFERRAL TO HEALTH SERVICES/NURSING.
            DO ANY OF YOUR IMMEDIATE FAMILY MEMBERS HAVCE A HISOTRY OF ANY MEDICAL ISSUES?
            (IF YES, LIST)

                                                                                                            06/__/19
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            Do you currently take any medications?
                     If "N": Have you ever been prescribed medication for mental health needs?
            Have you ever seen a mental health doctor or counselor?
                     If "Y"*: Year: ________. Associated symptoms:
                     Key diagnoses for further referral: bipolar disorder/schizophrenia/suicidality/schizoaffective DO
            Does have your family have a history of mental illness?

            Have you ever been in a hospital for mental health problems?
                     If "Y"*: Year: ______. Associated symptoms/diagnosis:


                     Key diagnoses for further referral: psychotic symptoms, depression, mania, bipolar
            If yes to any of the questions: (provider responses only)
            List attempts to contact prior facilities providers or family:




            List any new information obtained:




SECTION 6: SUICIDAL IDEATION & SELF HARM- Asterisk (*) is trigger for additional mental
health assessment and/or treatment.
YES NO
            Have you ever made a suicide attempt? If "Y"*: Number of attempts:          Year(s):
                     Do you have a past or present history of self-inflicted cutting?
            Are you having suicidal thoughts now? If "Y"*: Plans/means/intent:

            Have you ever harmed or hurt yourself on purpose? If "Y"*
                     Are you having thoughts or urges to do that here?

SECTION 7: HALLUCINATIONS/DELUSIONS/PARANOIA-Asterisk (*) is trigger for additional
mental health assessment and/or treatment.
YES NO
            Do you hear things that other people do not hear such as voices? If "Y"*-What do you hear:

            Do you see things other people do not see such as visions? If "Y"*: What do you see:

            Do you currently believe that someone can control your mind? If "Y"*
            Do you think anyone is trying to harm you in any way? If "Y": What do you think is happening:

            *If evidence of paranoia or bizarre beliefs

SECTION 8: DEPRESSION-Asterisk (*) is trigger for additional mental health assessment and/or
treatment.
YES NO
                                                                                                                06/__/19
                                               Proprietary Information
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              Do you feel sad or depressed? If "Y" – continue below
                       If "Y"*: Have you gained or lost as much as two pounds in the last few weeks without trying?
                       If "Y"*: Do you feel useless or sinful?
                       If "Y"*: Do you feel hopeless?

SECTION 9: MANIA-Asterisk (*) is trigger for additional mental health assessment and/or
treatment.
YES NO
              Do you need less sleep than usual? If "Y"-continue below:
                       If "Y": Do you have extra energy?
                       If "Y": Do you talk all of the time?
                       If "Y"*: Do you have special powers?
                       If "Y"*: Do you have rapid or pressured speech?

SECTION 10: ANXIETY-Asterisk (*) is trigger for additional mental health assessment and/or
treatment.
              Have you ever experienced or witnessed something really terrible?
                       If “Y”: Do you have disturbing memories of the event?
                       If “Y”: Do you feel upset when something reminds you of the event?
              Do you feel fearful? If "Y"-continue below
                       If "Y": Are you able to focus on things other than your anxiety?
                       If "Y"*: When you feel fearful do you have trouble breathing?
                       If "Y"*: When you feel fearful do you feel faint?
                       If "Y": Do you avoid situations that worry you?

SECTION 11: IMPULSIVITY-Asterisk (*) is trigger for additional mental health assessment and/or
treatment.
YES NO
              Do you do things without thinking?
                       If "Y": Example:

              Provider Observation related to impulsivity
              Interrupts
              Blurts out responses
              Sudden movements
              Gets out of chair
              If "Y"*: Does behavior interfere with communication?

SECTION 12: OTHER BEHAVIORS RELATED TO CLASS MEMBERSHIP-Descriptions are
keyed to behavioral definitions. All prompts are Y/N. If a response is "Y", a narrative description is
needed. Asterisk (*) is trigger for additional mental health assessment and/or treatment.
YES NO
              Repetitive or unusual movements? If "Y:*: Describe:


              Responding to internal stimuli, such as voices or paranoid thoughts? If "Y"*: Describe:




              Slowed or disjointed thoughts? If "Y"*: Describe:



                                                                                                               06/__/19
                                                 Proprietary Information
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            Restless or distracted behavior? If "Y": Describe:




            Sad or worried appearance? If "Y", Describe:




            Poor understanding of questions? If "Y"*: Describe:




            Delayed or non-responsive to some questions? If "Y"*, Describe:




            Rapid and hard to interrupt speech? If "Y"*, Describe:




            Childlike speech, demeanor or behavior? If "Y": Describe:




            Sleep or appetite problems? If "Y": Describe:




SECTION 13: INCREASE SPECIFICTY, OBJECTIVITY AND DESCRIPTIONS FOR MHA
MENTAL STATUS EXAM-Asterisk (*) is trigger for additional mental health assessment and/or
treatment.
YES NO
            Provider Observations:
            Grooming: □Low: disheveled, strong body odor
                         □High: neatly styled hair, excellent hygiene
            Behavior:
                     Cooperation: □low (refusal to answer questions, argues over exam)
                                    □moderate (inconsistent effort in answering questions)
                                    □high (helpful & cooperative)
                     Activity: □low (slowed or minimal movement, non-spontaneous)
                                □moderate (spontaneous movement, stays seated)
                                □high (constant movement, leaves chair)*
            Attention:
                     □low (distracted throughout assessment, frequently asked for repeated questions)
                     □moderate (loses track of questions one or two times during assessment)
                     □high (focused attention to all questions)
            Orientation: Month: _____ Date: _____ Year:____ Facility: __________ Situation: ________
            If lack of orientation to year or situation*
            Affect:
                     Depressed
                     Anxious
                     Labile
                     Angry
                     Elevated
                                                                                                        06/__/19
                                               Proprietary Information
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                     Euphoric
                     Suspicious
                     Congruent with mood state
                     Disorganized (* if Y)
                     Bizarre (* if Y)
                     Grimacing (* if Y)
                     Flat
            Mood
                     What word describes your mood right now? Response:
                    On a scale of 1-10, with 1 being the worse mood and 10 being the best mood, what number
                    describes your mood? Response:
            Thought Process (provider observation)
                     Logical
                     Goal Oriented
                     Loosened
                     Rambling
                     Over-inclusive
                     Disjointed (* if Y)
                     Repetitive
                     Tangential (* if Y)
                     Disorganized (* if Y)
                     Word Salad (* if Y)
                     Flight of ideas (* if Y)
                     Clanging (* if Y)
            Thought content (provider Observations)
                     Preoccupations -if Y: Describe:
                     Grandiosity (* if Y)
                     Paranoia (* if Y)
                     Bizarre Thoughts-if Y*-Describe
                     Nihilism (* if Y)
            Do you have special connections or Abilities? * if Y. Describe:

            Is there anyone trying to harm you or your family: If Y, describe:

            Is anyone controlling your thoughts or actions? * if Y. Describe:



SECTION 14: PERCEPTIONS-Asterisk (*) is trigger for additional mental health assessment
and/or treatment.
YES NO
            Do you have the following:
                     Auditory hallucinations (hearing things)-* if Y. Describe:

                     Visual hallucinations (seeing things)-* if Y. Describe:

                     Somatic/Tactile hallucinations (sensations within or on your body)-* if Y. Describe:

                     Olfactory hallucinations (smelling things)-* if Y. Describe:

            Do you ever hear whispers? (Illusion)
            Do you ever see shadows? (Illusion)


                                                                                                            06/__/19
                                                Proprietary Information
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SECTION 15: FUTURE ORIENTATION AND INSIGHT-Asterisk (*) is trigger for additional mental
health assessment and/or treatment.
  What do you think is going to happen to you? Response:




SECTION 16: OTHER
YES NO
              Any other observations that indicate:
              Mental illness, If Y: Describe


              Cognitive disorder, If Y: Describe:


              Class Membership, If Y: Describe:




SECTION 17: Include the following:
YES NO
              Does this person meet criteria for Franco Class Membership?



Actions Taken/Other comments: __________________________________________________




QMHP Signature:__________________________________                           Date:




                                                                                    06/__/19
                                                Proprietary Information
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                                      PWS Addendum 1
The following paragraph is being added to the PWS for this Requirement at Section II Part C
“Scope of Work:”
Virtual Attorney Visitation Capability
Virtual attorney visitation is an established facility protocol that allows attorneys (or legal
representatives) to contact the facility and schedule video teleconference (VTC) visitation with
their detainee client(s) at least 24‐hours in advance of the desired teleconference.
The facility plant layout and design will accommodate virtual attorney visitation. The utilized
space/room must be private, allowing for confidential attorney‐client conversations, and must
be equipped with video teleconference equipment and/or tablet(s) permitting both visual and
audio communications.
The room must also have a windowed door or other mechanism that allows detainee
observation for safety. While the designated space and equipment can be utilized for other
purposes, it is expected that virtual attorney visitation will be made available for at least six (6)
hours each day.
The following paragraph is replacing the current first paragraph of the PWS for this
Requirement, located at Section IV Personnel and Staffing at Part J (Facility Staffing Plan, Floor
Plan and Key Personnel).
The following paragraph is being added to the PWS for this Requirement at Section II Part F
“On‐Call Guard Services:”
F. On‐Call Guard Services
3. e) The Contractor shall bill On‐Call Transportation/Guard Hours 1 – 8 at the “regular” hourly rate,
“overtime” will begin after 8 hours in a single day per employee.



The following paragraph is being added to the PWS for this Requirement at Section IV
Personnel and Staffing at Part J and will wholly replace the current 1st paragraph of this section:
J. Facility Staffing Plan, Floor Plan and Key Personnel
The Contractor shall provide a staffing plan that addresses at a minimum the staffing
requirements and key personnel to be employed in connection with this contract as outlined in
the PWS. The Contractor shall staff the post positions in accordance with the Contractor‐
submitted and Government‐approved Contractor Staffing Plan to include relief factors and the
agreed upon detainee ramp schedule.
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The number, type, and distribution of staff as described in the contract‐staffing plan shall be
maintained throughout the term of the contract. Written requests to change the number, type,
and/or distribution of staff described in the staffing plan must be submitted to the CO, through
the COR, for approval prior to implementation.
Staffing levels shall not fall below a monthly average of 85% for custody staff, 80% for health
services and 85% for all other departments of the total ICE‐approved staffing plan. The
approved staffing levels for detention/correctional officers (custody staff) shall not fall below a
monthly average of 85%. Staffing levels for all departments other than custody and health
services will be calculated in the aggregate.
Each month, the Contractor shall submit to the COR the current average monthly vacancy rate
and indicate any individual positions that have been vacant more than 60 days. Failure to fill
any individual position within 60 days of the vacancy may result in a deduction by the CO from
the monthly invoice if the vacancy in combination with other vacancies regardless of duration
brings staffing levels below 85% for custody staff, 80% for health services and 85% for all other
departments.
The deduction shall be based on the daily salary and benefits of the vacant position. ICE may
calculate the deduction retroactive to day one of the vacancy, excluding the days for ICE’s
conditional approval process, starting on the day of receipt and concluding on the day
conditional approval is granted. No deduction shall apply during any period the Contractor
documents that a vacant position was covered through the use of overtime, contract staff or
otherwise. Each month, the Contractor shall submit to the COR any Key Personnel that will be
absent from the facility for over five working days. If the Key Personnel will be absent for over
five working days and the contractor will not provide an “acting” position to backfill that Key
Personnel position during the absence, the CO has the right to make a deduction based on the
daily salary and benefits of the absent Key Personnel position.
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                          Requirement C PWS Addendum
Location Requirements       These detention services will be performed in the
                            location/locations specified for Requirement C in the RFP.
Estimated Population Size
                       Male 950
                    Female 200
                   Juvenile 0
                     Family 0
Special Management unit     Yes Estimated need is approximately 3-5% across overall
for administrative and      population at facility/facilities
discipline segregation
Expected Risk Detainees
             Level 1 (Low) Approximately 25%
  Level 1.5 (Medium Low) Approximately 25%
    Level 2 (Medium High) Approximately 25%
             Level 3 (High) Approximately 25%
                            Estimated percentages based on overall population at
                            facility/facilities.
Facility, Detention and Administrative Space Requirements
ICE                         Administrative and support space for ICE staff to be determined
                            based on detainee population at facility/facilities.

                            Approximate total work space needed across facility/facilities for
                            use by 30 Government (ICE employees) staff.

                            Work space for this estimated staffing to including:
                            18 Offices
                            12 Cubicles
                            2 VTC rooms

                            Estimates are approximates based on total bed space across
                            facility/facilities.

U.S. Citizenship and        No need for physical CIS presence known at this time.
Immigration Services
(USCIS)
Executive Office for
Immigration Review          Approximate total of 15 VTC capable rooms across
(EOIR) Space                facility/facilities for use by EOIR is needed.


Additional                    Per the ICE -ERO CDF Design Standards including but not
Administrative/Common         limited to:
area requirements
                             Break room with kitchenette
                             Storage/Secure File Room
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                             Interview Room
                             Conference Room (with VTC capability)
                             Secure File Room
                             Copier/Fax/Printer/Shredder Area
                             Male Restroom (not used/shared with detainees/inmates)
                             Female Restroom (not used/shared with detainees/inmates)
Furniture Requirements       Furniture and flooring will be as per ICE-ERO Design
                               Standards for Contract Detention Facilities (CDF) and to be
                               replaced at a maximum 5-year life cycle
                             Cut sheets for proposed furniture to be submitted to the COR
                               for approval. A propose scheduled for flooring replacement
                               and cleaning will need to be provided with the life cycle not to
                               exceed 5 years
Additional Electronic          At least:
Requirements                 Estimated 30 Phone numbers/lines/extensions #
                             Estimated separate 5 fax numbers/lines/extensions #
                             Estimated 2 VTC lines (PRI/T1) for two VTC systems per
                               facility
                             Estimated 1 Copiers (fax/scan capable) and supplies (such as
                               paper and ink) per facility. Contractor is responsible for
                               maintenance and/or replacement of copiers in the event of
                               failure.

                            Estimates are approximates based on total bed space across
                            facility/facilities.

Parking                     Approximate total secured/onsite parking spaces with controlled
                            ingress and egress at facility/facilities used exclusively for 30
                            Government (ICE employees) as well as 5 ICE visitors.

                            Estimates based on anticipated ICE staffing presence at
                            facilities/facilities.

Additional Facility Requirements
                            Facility/Facilities medical unit must meet Franco settlement
                             (attached) dealing with mental health intake screening as well
                             as care for detainees meeting said criteria.
                            Facility/Facilities must meet LYON agreement (attached)
                             standards



Transportation Requirements
The transportation requirements/needs will be determined based on the location/locations
proposed. Note that proposed location/locations must be within 75 miles from Bakersfield,
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Fresno, Sacramento, San Francisco, Stockton, Morgan Hill, or Redding cities to maximize
transportation and manpower efficiencies.

The Contractor shall assign, at a minimum, two-person teams of transportation officers, with at
least one officer being a female, whenever necessary throughout a 24-hour period, 7 days a
week, including weekends and holidays.

Transportation Routes        Estimated need includes, but is not limited to, transportation
                             to/from proposed facility and nearby sub office(s).

                             “Based upon the establishment of an up to 1,150 bed
                             facility/facilities, at 90% capacity, located within 75 miles of the
                             cities described above and in Section F of the Solicitation, ERO
                             estimates, in accordance with the attached route list, that the
                             offeror will provide detainee transportation for approximately
                             117,757 – 118,069 miles per year within the SFR AOR. This
                             projection is based on an estimated facility location, an
                             evaluation on the trip types and locations within the AOR (e.g.
                             airports, other facilities, hospitals), as well as data from the
                             national average number, duration, and length of trips. This
                             mileage estimate is also based on the movement of an estimated
                             175 - 200 detainees per month. This information shall not
                             constitute a guaranteed minimum number of beds, detainees nor
                             miles, nor shall it constitute a maximum number of miles
                             required under any forthcoming contract.”

                             For estimate purposes only as outlined above :
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                            Note this estimate is only as a reference and shall not constitute a
                            minimum or maximum under any forthcoming contract.

                            Any transportation routes will need to be finalized once
                            facility/facilities location(s) have been determined.


Transportation Guaranteed   N/A
Minimum mileage
Guard Services
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Minimum Hours               N/A
Required postings/patrols   Provide if applicable

Training
                            The Contractor shall submit a training forecast and lesson plans
                            to the COR or ICE designee at least 30 days prior to all training.


DTS Contractor
     ICE DTS Contractor Information:

           DTS
           Talton Communications
           910 Ravenwood Dr.
           Selma, AL 36701

           Robin Hall                                      Mike Oslund
           Customer Relations Manager                Operations Manager
           (334) 375-7842                                (334) 375-4200
           robin@taltoncommunications.com           michael@taltoncommunications.com
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                        REFERENCE NO. OF DOCUMENT BEING CONTINUED                                    PAGE         OF
 CONTINUATION SHEET
                        70CDCR20R00000002                                                  COMPLIANT PRICING
NAME OF OFFEROR OR CONTRACTOR       The GEO Group, Inc.                                      REQUIREMENT C
                                     MESA VERDE ICE PROCESSING CENTER
    (A)                                     (B)                       (C)      (D)        (E)               (F)
  ITEM NO.                        SUPPLIES/SERVICES                 QUANTITY   UNIT    UNIT PRICE     AMOUNT
0001A        Mesa Verde Transition (if needed)                      Monthly     0        $0.00         $0.00
             Product / Service Code S206
             Product / Service Description: Housekeeping-Guard
             Period of Performance: 12/20/2019 to 02/19/2020

0001B1       Golden State Pre-Transition / Mobilization             Monthly     6     $50,000.00    $300,000.00
             Product / Service Code S206
             Product / Service Description: Housekeeping-Guard
             Period of Performance: 12/20/2019 to 06/19/2020

0001B2       Golden State Transition                                Monthly     2     $100,000.00   $200,000.00
             Product / Service Code S206
             Product / Service Description: Housekeeping-Guard
             Period of Performance: 06/20/2020 to 08/19/2020

0001C1       Central Valley Pre-Transition / Mobilization           Monthly     6     $50,000.00    $300,000.00
             Product / Service Code S206
             Product / Service Description: Housekeeping-Guard
             Period of Performance: 12/20/2019 to 06/19/2020

0001C2       Central Valley Transition                              Monthly     2     $100,000.00   $200,000.00
             Product / Service Code S206
             Product / Service Description: Housekeeping-Guard
             Period of Performance: 06/20/2020 to 08/19/2020
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0002A   Mesa Verde Detention Bed Day Rate                                              $98,311,078.57
        Guaranteed Minimum
        (1 to 320 beds)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance:
        12/20/2019 to 12/19/2020                            117,120   BD   $163.3824
        12/20/2020 to 12/19/2021                            116,800   BD   $165.6800
        12/20/2021 to 12/19/2022                            116,800   BD   $168.0500
        12/20/2022 to 12/19/2023                            116,800   BD   $170.5100
        12/20/2023 to 12/19/2024                            117,120   BD   $173.1600

0002B   Golden State Detention Bed Day Rate                                            $142,606,968.00
        Guaranteed Minimum
        (1 to 560 beds)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance:
        08/20/2020 to 12/19/2020                             68,320   BD    $157.00
        12/20/2020 to 12/19/2021                            204,400   BD    $158.57
        12/20/2021 to 12/19/2022                            204,400   BD    $160.27
        12/20/2022 to 12/19/2023                            204,400   BD    $162.02
        12/20/2023 to 12/19/2024                            204,960   BD    $163.90

0002C   Central Valley Detention Bed Day Rate                                          $142,606,968.00
        Guaranteed Minimum
        (1 to 560 beds)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance:
        08/20/2020 to 12/19/2020                             68,320   BD    $157.00
        12/20/2020 to 12/19/2021                            204,400   BD    $158.57
        12/20/2021 to 12/19/2022                            204,400   BD    $160.27
        12/20/2022 to 12/19/2023                            204,400   BD    $162.02
        12/20/2023 to 12/19/2024                            204,960   BD    $163.90
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0003A   Mesa Verde Detention Bed Day Rate                                          $8,725,173.60
        Above Guaranteed Minimum Rate
        (321 to 400 beds)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance:
        12/20/2019 to 12/19/2020                            29,280   BD   $58.00
        12/20/2020 to 12/19/2021                            29,200   BD   $58.82
        12/20/2021 to 12/19/2022                            29,200   BD   $59.66
        12/20/2022 to 12/19/2023                            29,200   BD   $60.53
        12/20/2023 to 12/19/2024                            29,280   BD   $61.47

0003B   Golden State Detention Bed Day Rate                                        $16,349,530.40
        Above Guaranteed Minimum Rate
        (561 to 700 beds)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance:
        08/20/2020 to 12/19/2020                            17080    BD   $72.00
        12/20/2020 to 12/19/2021                            51100    BD   $72.72
        12/20/2021 to 12/19/2022                            51100    BD   $73.50
        12/20/2022 to 12/19/2023                            51100    BD   $74.30
        12/20/2023 to 12/19/2024                            51240    BD   $75.16

0003C   Central Valley Detention Bed Day Rate                                      $16,349,530.40
        Above Guaranteed Minimum Rate
        (561 to 700 beds)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance:
        08/20/2020 to 12/19/2020                            17080    BD   $72.00
        12/20/2020 to 12/19/2021                            51100    BD   $72.72
        12/20/2021 to 12/19/2022                            51100    BD   $73.50
        12/20/2022 to 12/19/2023                            51100    BD   $74.30
        12/20/2023 to 12/19/2024                            51240    BD   $75.16
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0004A   Mesa Verde Transportation Mileage
        $.58 per mile
        (IAW with current Joint Travel Regulations rates)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2019 to 12/19/2024

0004B   Golden State Transportation Mileage
        $.58 per mile
        (IAW with current Joint Travel Regulations rates)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2019 to 12/19/2024

0004C   Central Valley Transportation Mileage
        $.58 per mile
        (IAW with current Joint Travel Regulations rates)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2019 to 12/19/2024

0005A   Mesa Verde On Call / Transportation Guard Hours
        Hourly Rate
        NTE Amount: TBD
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2019 to 12/19/2024

0005B   Golden State On Call / Transportation Guard Hours
        Hourly Rate
        NTE Amount: TBD
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2019 to 12/19/2024

0005C   Central Valley On Call / Transportation Guard Hours
        Hourly Rate
        NTE Amount: TBD
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2019 to 12/19/2024
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0006A   Mesa Verde On Call / Transportation Guard Hours       100000 HRS    $77.89   $7,789,000.00
        Overtime Hourly Rate
        NTE Amount: TBD
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2019 to 12/19/2024

0006B   Golden State On Call / Transportation Guard Hours     100000 HRS    $77.89   $7,789,000.00
        Overtime Hourly Rate
        NTE Amount: TBD
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2019 to 12/19/2024

0006C   Central Valley On Call / Transportation Guard Hours   100000 HRS    $77.89   $7,789,000.00
        Overtime Hourly Rate
        NTE Amount: TBD
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2019 to 12/19/2024

0007A   Mesa Verde Detainee Work Program                      250000   EA   $1.00    $250,000.00
        Rate: $1.00 Per Day Per Detainee
        (if applicable)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2019 to 12/19/2024

0007B   Golden State Detainee Work Program                    250000   EA   $1.00    $250,000.00
        Rate: $1.00 Per Day Per Detainee
        (if applicable)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2019 to 12/19/2024

0007C   Central Valley Detainee Work Program                  250000   EA   $1.00    $250,000.00
        Rate: $1.00 Per Day Per Detainee
        (if applicable)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2019 to 12/19/2024
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0008A   Mesa Verde Surge/Facility Upgrades
         At the request of ICE, GEO has included $5,000,000 for
        the facility upgrades until the final design requirements        $5,000,000.00
                            are issued by ICE.
        *Not to be priced
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2019 to 12/19/2024

0008B   Golden State Surge/Facility Upgrades
         At the request of ICE, GEO has included $5,000,000 for
        the facility upgrades until the final design requirements        $5,000,000.00
                            are issued by ICE.
        *Not to be priced
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2019 to 12/19/2024

0008C   Central Valley Surge/Facility Upgrades
         At the request of ICE, GEO has included $5,000,000 for
        the facility upgrades until the final design requirements        $5,000,000.00
                            are issued by ICE.
        *Not to be priced
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2019 to 12/19/2024
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1001A   Mesa Verde Detention Bed Day Rate                                          $105,914,771.20
        Guaranteed Minimum
        (1 to 320 beds)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance:
        12/20/2024 to 12/19/2025                            116,800 BD   $175.65
        12/20/2025 to 12/19/2026                            116,800 BD   $178.35
        12/20/2026 to 12/19/2027                            116,800 BD   $181.14
        12/20/2027 to 12/19/2028                            117,120 BD   $184.16
        12/20/2028 to 12/19/2029                            116,800 BD   $187.00

1001B   Golden State Detention Bed Day Rate                                        $173,498,908.80
        Guaranteed Minimum
        (1 to 560 beds)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance:
        12/20/2024 to 12/19/2025                            204400 BD    $165.68
        12/20/2025 to 12/19/2026                            204400 BD    $167.60
        12/20/2026 to 12/19/2027                            204400 BD    $169.59
        12/20/2027 to 12/19/2028                            204960 BD    $171.73
        12/20/2028 to 12/19/2029                            204400 BD    $173.75

1001C   Central Valley Detention Bed Day Rate                                      $173,498,908.80
        Guaranteed Minimum
        (1 to 560 beds)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance:
        12/20/2024 to 12/19/2025                            204400 BD    $165.68
        12/20/2025 to 12/19/2026                            204400 BD    $167.60
        12/20/2026 to 12/19/2027                            204400 BD    $169.59
        12/20/2027 to 12/19/2028                            204960 BD    $171.73
        12/20/2028 to 12/19/2029                            204400 BD    $173.75
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1002A   Mesa Verde Detention Bed Day Rate                                          $9,399,161.60
        Above Guaranteed Minimum Rate
        (321 to 400 beds)
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance:
        12/20/2024 to 12/19/2025                            29,200   BD   $62.35
        12/20/2025 to 12/19/2026                            29,200   BD   $63.31
        12/20/2026 to 12/19/2027                            29,200   BD   $64.30
        12/20/2027 to 12/19/2028                            29,280   BD   $65.37
        12/20/2028 to 12/19/2029                            29,200   BD   $66.38

1002B   Golden State Detention Bed Day Rate                                        $19,890,969.00
        Above Guaranteed Minimum Rate
        (561 to 700 beds)
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance:
        12/20/2024 to 12/19/2025                            51,100   BD   $75.98
        12/20/2025 to 12/19/2026                            51,100   BD   $76.86
        12/20/2026 to 12/19/2027                            51,100   BD   $77.77
        12/20/2027 to 12/19/2028                            51,240   BD   $78.75
        12/20/2028 to 12/19/2029                            51,100   BD   $79.68

1002C   Central Valley Detention Bed Day Rate                                      $19,890,969.00
        Above Guaranteed Minimum Rate
        (561 to 700 beds)
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance:
        12/20/2024 to 12/19/2025                            51,100   BD   $75.98
        12/20/2025 to 12/19/2026                            51,100   BD   $76.86
        12/20/2026 to 12/19/2027                            51,100   BD   $77.77
        12/20/2027 to 12/19/2028                            51,240   BD   $78.75
        12/20/2028 to 12/19/2029                            51,100   BD   $79.68
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1003A   Mesa Verde Transportation Mileage
        (Mileage reimbursed in accordance with JTC rates)
        $.58 per mile
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2024 to 12/19/2029

1003B   Golden State Transportation Mileage
        (Mileage reimbursed in accordance with JTC rates)
        $.58 per mile
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2024 to 12/19/2029

1003C   Central Valley Transportation Mileage
        (Mileage reimbursed in accordance with JTC rates)
        $.58 per mile
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2024 to 12/19/2029

1004A   Mesa Verde On Call / Transportation Guard Hours
        Hourly Rate
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2024 to 12/19/2029

1004B   Golden State On Call / Transportation Guard Hours
        Hourly Rate
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2024 to 12/19/2029

1004C   Central Valley On Call / Transportation Guard Hours
        Hourly Rate
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2024 to 12/19/2029
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1005A   Mesa Verde On Call / Transportation Guard Hours       100000 HRS    $77.89   $7,789,000.00
        Overtime Hourly Rate
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2024 to 12/19/2029

1005B   Golden State On Call / Transportation Guard Hours     100000 HRS    $77.89   $7,789,000.00
        Overtime Hourly Rate
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2024 to 12/19/2029

1005C   Central Valley On Call / Transportation Guard Hours   100000 HRS    $77.89   $7,789,000.00
        Overtime Hourly Rate
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2024 to 12/19/2029

1006A   Mesa Verde Detainee Work Program                      250000   EA   $1.00    $250,000.00
        Rate: $1.00 Per Day Per Detainee
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2024 to 12/19/2029

1006B   Golden State Detainee Work Program                    250000   EA   $1.00    $250,000.00
        Rate: $1.00 Per Day Per Detainee
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2024 to 12/19/2029

1006C   Central Valley Detainee Work Program                  250000   EA   $1.00    $250,000.00
        Rate: $1.00 Per Day Per Detainee
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2024 to 12/19/2029
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1007A   Mesa Verde Surge/Facility Upgrades
         At the request of ICE, GEO has included $5,000,000 for
         the facility upgrades until the final design requirements       $5,000,000.00
                             are issued by ICE.
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2024 to 12/19/2029

1007B   Golden State Surge/Facility Upgrades
         At the request of ICE, GEO has included $5,000,000 for
         the facility upgrades until the final design requirements       $5,000,000.00
                             are issued by ICE.
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2024 to 12/19/2029

1007C   Central Valley Surge/Facility Upgrades
         At the request of ICE, GEO has included $5,000,000 for
         the facility upgrades until the final design requirements       $5,000,000.00
                             are issued by ICE.
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2024 to 12/19/2029
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2001A   Mesa Verde Detention Bed Day Rate                                            $114,918,220.80
        Guaranteed Minimum
        (1 to 320 beds)
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance:
        12/20/2029 to 12/19/2030                            116,800   BD   $190.08
        12/20/2030 to 12/19/2031                            116,800   BD   $193.25
        12/20/2031 to 12/19/2032                            117,120   BD   $196.69
        12/20/2032 to 12/19/2033                            116,800   BD   $199.92
        12/20/2033 to 12/19/2034                            116,800   BD   $203.41

2001B   Golden State Detention Bed Day Rate                                          $184,682,523.20
        Guaranteed Minimum
        (1 to 560 beds)
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance:
        12/20/2029 to 12/19/2030                            204400    BD   $175.93
        12/20/2030 to 12/19/2031                            204400    BD   $178.19
        12/20/2031 to 12/19/2032                            204960    BD   $180.62
        12/20/2032 to 12/19/2033                            204400    BD   $182.91
        12/20/2033 to 12/19/2034                            204400    BD   $185.39

2001C   Central Valley Detention Bed Day Rate                                        $184,682,523.20
        Guaranteed Minimum
        (1 to 560 beds)
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance:
        12/20/2029 to 12/19/2030                            204400    BD   $175.93
        12/20/2030 to 12/19/2031                            204400    BD   $178.19
        12/20/2031 to 12/19/2032                            204960    BD   $180.62
        12/20/2032 to 12/19/2033                            204400    BD   $182.91
        12/20/2033 to 12/19/2034                            204400    BD   $185.39
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2002A   Mesa Verde Detention Bed Day Rate                                          $10,197,260.80
        Above Guaranteed Minimum Rate
        (321 to 400 beds)
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance:
        12/20/2029 to 12/19/2030                            29,200   BD   $67.47
        12/20/2030 to 12/19/2031                            29,200   BD   $68.59
        12/20/2031 to 12/19/2032                            29,280   BD   $69.81
        12/20/2032 to 12/19/2033                            29,200   BD   $70.96
        12/20/2033 to 12/19/2034                            29,200   BD   $72.20

2002B   Golden State Detention Bed Day Rate                                        $21,173,639.20
        Above Guaranteed Minimum Rate
        (561 to 700 beds)
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance:
        12/20/2029 to 12/19/2030                            51100    BD   $80.68
        12/20/2030 to 12/19/2031                            51100    BD   $81.72
        12/20/2031 to 12/19/2032                            51240    BD   $82.83
        12/20/2032 to 12/19/2033                            51100    BD   $83.88
        12/20/2033 to 12/19/2034                            51100    BD   $85.02

2002C   Central Valley Detention Bed Day Rate                                      $21,173,639.20
        Above Guaranteed Minimum Rate
        (561 to 700 beds)
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance:
        12/20/2029 to 12/19/2030                            51100    BD   $80.68
        12/20/2030 to 12/19/2031                            51100    BD   $81.72
        12/20/2031 to 12/19/2032                            51240    BD   $82.83
        12/20/2032 to 12/19/2033                            51100    BD   $83.88
        12/20/2033 to 12/19/2034                            51100    BD   $85.02
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2003A   Mesa Verde Transportation Mileage
        (Mileage reimbursed in accordance with JTC rates)
        $.58 per mile
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2029 to 12/19/2034

2003B   Golden State Transportation Mileage
        (Mileage reimbursed in accordance with JTC rates)
        $.58 per mile
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2029 to 12/19/2034

2003C   Central Valley Transportation Mileage
        (Mileage reimbursed in accordance with JTC rates)
        $.58 per mile
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2029 to 12/19/2034

2004A   Mesa Verde On Call / Transportation Guard Hours
        Hourly Rate
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2029 to 12/19/2034

2004B   Golden State On Call / Transportation Guard Hours
        Hourly Rate
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2029 to 12/19/2034

2004C   Central Valley On Call / Transportation Guard Hours
        Hourly Rate
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2029 to 12/19/2034
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2005A   Mesa Verde On Call / Transportation Guard Hours       100000 HRS    $77.89   $7,789,000.00
        Overtime Hourly Rate
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2029 to 12/19/2034

2005B   Golden State On Call / Transportation Guard Hours     100000 HRS    $77.89   $7,789,000.00
        Overtime Hourly Rate
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2029 to 12/19/2034

2005C   Central Valley On Call / Transportation Guard Hours   100000 HRS    $77.89   $7,789,000.00
        Overtime Hourly Rate
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2029 to 12/19/2034

2006A   Mesa Verde Detainee Work Program                      250000   EA   $1.00    $250,000.00
        Rate: $1.00 Per Day Per Detainee
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2029 to 12/19/2034


2006B   Golden State Detainee Work Program                    250000   EA   $1.00    $250,000.00
        Rate: $1.00 Per Day Per Detainee
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2029 to 12/19/2034

2006C   Central Valley Detainee Work Program                  250000   EA   $1.00    $250,000.00
        Rate: $1.00 Per Day Per Detainee
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2029 to 12/19/2034
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2007A   Mesa Verde Surge/Facility Upgrades
         At the request of ICE, GEO has included $5,000,000 for
         the facility upgrades until the final design requirements       $5,000,000.00
                             are issued by ICE.
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2029 to 12/19/2034

2007B   Golden State Surge/Facility Upgrades
         At the request of ICE, GEO has included $5,000,000 for
         the facility upgrades until the final design requirements       $5,000,000.00
                             are issued by ICE.
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2029 to 12/19/2034

2007C   Central Valley Surge/Facility Upgrades
         At the request of ICE, GEO has included $5,000,000 for
         the facility upgrades until the final design requirements       $5,000,000.00
                             are issued by ICE.
        (Option Line Item)
        Product / Service Code S206
        Product / Service Description: Housekeeping-Guard
        Period of Performance: 12/20/2029 to 12/19/2034

                                                                        $1,582,221,743.77
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                ATTACHMENT 19
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        U.S. Department of Homeland Security
        Immigration and Customs Enforcement




                       Section C
              Performance Work Statement
                   Detention Services
                        (California-Wide)
                        (October 25 2019)




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I.    EXPLANATION OF TERMS/ACRONYMS

     1. ADMINISTRATIVE SEGREGATION: A form of separation from the general
         population used when the continued presence of the detainee in the general population
         would pose a threat to life, property, self, staff, or other detainees or to the security or
         orderly running of the facility. This housing status also includes detainees who require
         protective custody, those who cannot be placed in the local population because they are
         in route to another facility (holdovers), those who are awaiting a hearing before a
         disciplinary panel, and those requiring separation for medical reasons.
     2. ADULT LOCAL DETENTION FACILITY (ALDF): A facility which detains persons
         over the age of 18.
     3. ALIEN: Any person who is not a citizen or national of the United States.
     4. AMERICAN CORRECTIONAL ASSOCIATION (ACA): The American Correctional
         Association is the oldest and largest international correctional association in the world.
         ACA serves all disciplines within the corrections profession and is dedicated to
         excellence in every aspect of the field.
     5. BED-DAY: The total billable cost to the Government to maintain and house one
         detainee for one day. Bed-day means a detainee that is referred to a contractor for
         detention. The bed days are calculated by subtracting the date booked into custody from
         the date released from custody. The contractor may charge for day of arrival, but not day
         of departure.
     6. BED-DAY RATE: The rate charged for each individual detainee per day. Bed-day rate
         is an all-inclusive burdened rate including direct costs, indirect costs, overhead, and profit
         necessary to provide the detention, and food service requirements as described in the
         PWS.
     7. BOOKING: A procedure for the admission of an ICE detainee, which includes
         searching, fingerprinting, photographing, medical screening, and collecting personal
         history data. Booking also includes the inventory and storage of the individual’s
         accompanying personal property. The Contractor may be responsible for booking the
         detainee into ICE systems upon receiving the detainee.
     8. BUREAU OF PRISONS (BOP): The U.S. Federal Bureau of Prisons protects society by
         confining offenders in the controlled environments of prisons and community-based
         facilities that are safe, humane, cost-efficient, and appropriately secure, and that provide
         work and other self-improvement opportunities to assist offenders in becoming law-
         abiding citizens.
     9. CATEGORICAL EXCLUSION (CATEX): A determination that a particular activity that
         does not need to undergo detailed environmental analysis in an Environmental
         Assessment (EA) or Environmental Impact Statement (EIS) because it has been found to
         normally not have the potential, individually or cumulatively, to have a significant effect
         on the human environment.
     10. CLASSIFICATION: A process for determining the needs and requirements of aliens for
         whom detention has been ordered and for assigning them to housing units and programs
         according to their needs, security risk level, and existing resources of the facility.
     11. CONTRABAND: Items that pose a threat to the security of people or property. A
         contraband item fits into either the category of hard or soft contraband as defined below:



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    a) Hard Contraband: Any item that is inherently dangerous as a weapon or tool of
         violence, e.g., knife, explosives, “zipgun,” brass knuckles. Because hard contraband
         presents an immediate physical threat in or to the facility, a detainee found in
         possession of hard contraband could face disciplinary action or criminal prosecution.
    b) Soft Contraband: Any item that presents a nuisance, which does not pose a direct and
         immediate threat to an individual’s safety. None-the-less, soft contraband has the
         potential to create dangerous or unsanitary conditions in the facility, such as excess
         papers that create a fire hazard, food items that are spoiled or retained beyond the
         point of safe consumption, etc.
12. CONTRACTING OFFICER (CO): An employee of the Government responsible for the
    complete conduct and integrity of the contracting process, including administration after
    award. The only individual authorized to issue changes to this contract.
13. CONTRACTING OFFICER’S REPRESENTATIVE (COR): Employees of the
    Government responsible for monitoring all technical aspects and assisting in
    administering the contract.
14. CONTRACTOR: The entity, which provides the services, described in this Performance
    Work Statement (PWS).
15. CONTRACTOR EMPLOYEE: An employee of a private Contractor hired to perform a
    variety of detailed services under this contract.
16. CONTROL ROOM: Integrates all internal and external security communications
    networks within a secure room. Activities conducted within the control room have a
    critical impact on the institution’s orderly and secure operation.
17. CREDENTIALS: Document providing primary source verification including education,
    training, licensure, experience, board certification, and expertise of an employee.
18. DEPARTMENT OF HOMELAND SECURITY (DHS): A department of the United
    States Government, which includes U.S. Immigration and Customs Enforcement (ICE).
19. DEPARTMENT OF JUSTICE (DOJ): A department of the United States Government,
    which includes the Executive Office of Immigration Review (EOIR), the Federal Bureau
    of Investigation (FBI), the Federal Bureau of Prisons (BOP), and the U.S. Marshals
    Service (USMS).
20. DESIGNATED SERVICE OFFICIAL: An employee of U.S. Immigration and Customs
    Enforcement designated in writing by the ICE Field Office Director (FOD) to represent
    ICE on matters pertaining to the operation of the facility.
21. DETAINEE: Any person confined under the auspices and the authority of any Federal
    agency. Many of those being detained may have substantial and varied criminal histories.
22. DETAINEE RECORDS: Information concerning the individual’s personal, criminal and
    medical history, behavior, and activities while in custody, including, but not limited to:
    a) Detainee, Personal Property
    b) Receipts, Visitors List, Photographs
    c) Fingerprints, Disciplinary Infractions
    d) Actions Taken, Grievance Reports, Medical
    e) Records, Work Assignments, Program Participation
    f) Miscellaneous Correspondence, etc.
23. DETENTION OFFICERS: Contractor’s uniformed staff members responsible for the
    security, care, transportation, and supervision of detainees during all phases of activity in



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    a detention facility. The officer is also responsible for the safety and security of the
    facility.
24. DETENTION STANDARDS COMPLIANCE UNIT (DSCU): The purpose of the
    DSCU is to develop and prescribe policies, standards, and procedures for ICE detention
    operations and to ensure detention facilities are operated in a safe, secure, and humane
    condition for both detainees and staff.
25. DIRECT SUPERVISION: A method of detainee management that ensures continuing
    direct contact between detainees and staff by posting an officer(s) inside each housing
    unit. Officers in general housing units are not separated from detainees by a physical
    barrier. Officers provide frequent, non-scheduled observation of and personal interaction
    with detainees.
26. DIRECTIVE: A document issued by the U.S. Government and signed by the President,
    Departmental Secretary, or an Assistant Secretary that establishes policy, delegates’
    authority, and/or assigns responsibilities.
27. DISCIPLINARY SEGREGATION: A unit housing detainees who commit serious rule
    violations.
28. EMERGENCY: Any significant disruption of normal facility procedure, policy, or
    activity caused by riot, strike, escape, fire, medical exigency, natural disaster, or other
    serious incident.
29. EMERGENCY CARE: Care for an acute illness or unexpected serious health care need
    that cannot be deferred until the next scheduled sick call.
30. ENFORCEMENT AND REMOVAL OPERATIONS (ERO): A division within ICE,
    whose mission is the planning, management, and direction of broad programs relating to
    the supervision, detention, and removal of detainees who are in the United States
    illegally.
31. ENTRY ON DUTY (EOD): The first day the employee begins performance at a
    designated duty station on this contract.
32. ENVIRONMENTAL ASSESSMENT (EA): A concise public document for which a
    Federal agency is responsible that serves to: briefly provide sufficient evidence and
    analysis for determining whether to prepare an EIS or a Finding of No Significant Impact
    (FONSI), aid an agency’s compliance with the National Environmental Policy Act
    (NEPA) when no EIS is necessary, and facilitate preparation of an EIS when one is
    necessary.
33. ENVIRONMENTAL IMPACT EVALUATION: The process of determining the level of
    significance of a potential impact on the human environment. It includes all necessary
    information needed to analyze the potential for environmental impact of a proposed
    action, assign a value to the level of impact (e.g., minor, moderate, or major), consider
    mitigation, and determine the level of significance; whether significant or not. An
    environmental impact evaluation results in either the application of a CATEX,
    documentation in the form of an EA and FONSI or a final EIS and Record of Decision
    (ROD).
34. ENVIRONMENTAL IMPACT STATEMENT (EIS): A detailed written statement as
    required by section 102(2)(C) of the NEPA. It is a comprehensive document that
    provides full and fair discussion of significant environmental impacts caused by the
    proposed action(s). It also states the reasonable alternatives, and which of those would


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    avoid or minimize the adverse impact(s) or enhance the quality of the human
    environment.
35. EXECUTIVE OFFICE OF IMMIGRATION REVIEW (EOIR): An agency of DOJ. The
    primary mission of the Executive Office for Immigration Review (EOIR) is to adjudicate
    immigration cases by fairly, expeditiously, and uniformly interpreting and administering
    the Nation's immigration laws. Under delegated authority from the Attorney General,
    EOIR conducts immigration court proceedings, appellate reviews, and administrative
    hearings.
36. EXTRAORDINARY CIRCUMSTANCES: When evaluating whether or not to apply a
    CATEX to a proposed action, these are circumstances associated with the proposed
    action that might give rise to significant environmental effects requiring further analysis
    and documentation in an EA or EIS.
37. FACILITY: The physical plant and grounds in which the Contractor’s services are
    operated.
38. FACILITY ADMINISTRATOR: The official, regardless of local title (e.g., jail
    administrator, Warden, Facility Director, superintendent), who has the ultimate
    responsibility for managing and operating the contracted detention facility. The
    qualifications for the holder of this office shall be consistent with ACA standards.
39. FINDING OF NO SIGNIFICANT IMPACT (FONSI): A document by a Federal agency
    briefly presenting the reasons why an action, not otherwise excluded, will not have a
    significant effect on the human environment, and for which an EIS therefore will not be
    prepared.
40. FIRST AID: Health care for a condition that requires immediate assistance from an
    individual trained in first aid care and the use of the facility’s first aid kits.
41. FLIGHT OPERATIONS UNIT (FOU): The FOU is the principal mass air transportation
    and manages government and contract flights.
42. GOVERNMENT: Refers to the United States Government.
43. GRIEVANCE: A written complaint filed by a detainee with the facility administrator
    concerning personal health/welfare or the operations and services of the facility.
44. HEALTH AUTHORITY: The physician, health administrator, or agency on-site that is
    responsible for health care services pursuant to a written agreement, contract, or job
    description.
45. HEALTH CARE: The action taken, preventive and therapeutic. To provide for the
    physical and mental well-being of the detainee population. Health care may include
    medical services, dental services, mental health services, nursing, personal hygiene,
    dietary services, and environmental conditions at the facility.
46. HEALTH CARE PERSONNEL: Duly licensed individuals whose primary duties are to
    provide health services to detainees in keeping with their respective levels of health care
    training or experience.
47. HEALTH UNIT (HU): The physical area in the facility and organizational unit set-aside
    for routine health care and sick call. The HU is the designated part of the facility for the
    delivery of care to detainees on an ambulatory or observation basis.
48. ICE Designee- ICE personnel designated by the COR.
49. ICE HEALTH SERVICES CORP (IHSC): The ICE Health Service Corps serves as the
    medical authority for ICE on a wide range of medical issues, including the agency's
    comprehensive detainee health care program.

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50. ICE Vehicle Control Officer – ICE personnel responsible for fleet management of
    government vehicles.
51. IMMEDIATE RELATIVES: Spouses, children (including stepchildren and adopted
    children) and their spouses, parents (including stepparents), brothers and sisters
    (including stepbrothers and sisters and half-brothers and sisters) and their spouses.
52. IMMIGRATION AND CUSTOMS ENFORCEMENT (ICE): A law enforcement
    agency within the U.S. Department of Homeland Security.
53. INCIDENT REPORT: A written document reporting an event, such as minor
    disturbances, officer misconduct, any detainee rule infraction, etc.
54. JUVENILE DETAINEE: Any detainee under the age of eighteen (18) years.
55. KEY PERSONNEL: Any one of the following positions employed by the Contractor;
    Warden or Facility Director, Assistant Warden or Assistant Facility Director, Supervisory
    Detention Officer, Training Officers, Quality Assurance Manager.
56. LIFE SAFETY CODE: A manual published by The National Fire Protection Association
    specifying minimum standards for fire safety necessary in the public interest.
57. LOG BOOK: The official record of post operations and inspections.
58. MAN-HOUR: Man-hour means productive hours when the required services are
    performed. Only productive hours can be billed and invoiced.
59. MEDICAL RECORDS: Separate records of medical examinations and diagnosis
    maintained by the responsible physician or nurse. The following information from these
    records shall be transferred to the detainee record: date and time of all medical
    examinations; and, copies of standing or direct medical orders from the physician to the
    facility staff.
60. MEDICAL SCREENING: A system of structured observation and/or initial health
    assessment to identify newly-arrived detainees who could pose a health or safety threat to
    themselves or others.
61. MILEAGE RATE: A fully burdened rate inclusive of the mileage rate in accordance
    with General Service Administration Federal Travel Regulation, vehicle equipment,
    maintenance, and fuel costs.
62. NEPA-COMPLIANCE DOCUMENT: A document by a Federal agency that records how
    the agency meets the requirements of NEPA through the evaluation of the proposed
    action. This document could be a CATEX, EA and FONSI, or EIS and ROD.
63. NON-CONTACT VISITATION: Visitation that restricts detainees from having physical
    contact with visitors using physical barriers such as screens and/or glass. Voice
    communications between the parties are typically accomplished with telephones or
    speakers.
64. NON-DEADLY FORCE: The force a person uses with the purpose of not causing or
    which would not create a substantial risk of causing death or serious bodily harm.
65. NOTICE TO PROCEED (NTP): Written notification from the Government to the
    Contractor stating the date that the Contractor may begin work, subject to the conditions
    of the contract.
66. OFFICE OF PROFESSIONAL RESPONSIBILITY, PERSONNEL SECURITY UNIT
    (OPR-PSU): The ICE office which implements a component-wide personnel security
    program.
67. ON CALL/REMOTE CUSTODY OFFICER POST: Posts operated as requested by the
    COR, or other ICE designee, and including, but not limited to, escorting and custody of

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    detainees for hearings, ICE interviews, medical watches, and any other location requested
    by the COR.
68. PAT DOWN SEARCH: A quick patting of the detainee’s outer clothing to determine the
    presence of contraband.
69. PERFORMANCE WORK STATEMENT (PWS): That portion of the contract, which
    describes the services to be performed under the contract.
70. PHASE I ENVIRONMENTAL SITE ASSESSMENT (PHASE I ESA): An evaluation
    and report prepared to identify potential or existing environmental contamination
    liabilities associated with real property. Phase I ESAs must be carried out in accordance
    with the standard promulgated in ASTM 1527-13.
71. POLICY: A definite written course or method of action, which guides and determines
    present and future decisions and actions.
72. POST ORDERS: Written orders that specify the duties of each position, hour-by-hour,
    and the procedures the post officer will follow in carrying out those duties.
73. PREVENTIVE MAINTENANCE: A system designed to enhance the longevity and/or
    usefulness of buildings and equipment in accordance with a planned schedule.
74. PROCEDURE: The detailed and sequential actions that must be executed to ensure that
    a policy is implemented. It is the method of performing an operation or a manner of
    proceeding on a course of action. It differs from a policy in that it directs action required
    to perform a specific task within the guidelines of that policy.
75. PRODUCTIVE HOURS: These are hours when the required services are performed and
    can be billed.
76. PROJECT MANAGER: Contractor employee responsible for on-site supervision of all
    Contractor employees, with the authority to act on behalf of the Contractor. The Project
    Manager cannot simultaneously serve in the role of manager and Detention Officer or
    Supervisory Detention Officer.
77. PROPERTY: Refers to personal belongings of a detainee.
78. PROPOSAL: The written plan submitted by the Contractor for consideration by ICE in
    response to the Request for Proposal (RFP).
79. QUALIFIED HEALTH PROFESSIONAL: Physicians, dentists, and other professional
    and technical workers who by state law engage in activities that support, complement, or
    supplement the functions of physicians and/or dentists who are licensed, registered, or
    certified, as appropriate to their qualifications, to practice.
80. QUALITY ASSURANCE: The actions taken by the Government to assure requirements
    of the PWS are met.
81. QUALITY ASSURANCE SURVEILLANCE PLAN (QASP): A Government-produced
    document that is based on the premise that the Contractor, and not the Government, is
    responsible for the day-to-day operation of the facility and all the management and
    quality control actions required to meet the terms of the contract. The role of the
    Government in quality assurance is to ensure performance standards are achieved and
    maintained. The QASP validates that the Contractor is complying with ERO-mandated
    quality standards in operating, maintaining, and repairing detention facilities.
82. QUALITY CONTROL (QC): The Contractor’s inspection system which covers all the
    services to be performed under the contract. The actions that a Contractor takes to control
    the production of services so that they meet the requirements stated in the contract.



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83. QUALITY CONTROL PLAN (QCP): A Contractor-produced document that addresses
    critical operational performance standards for services provided.
84. RECORD OF DECISION (ROD): A document that explains an agency’s decision,
    describes the alternative the agency considered, and discusses the agency’s plans for
    mitigation and monitoring, if necessary.
85. RELIEF FACTOR: Indicates how many persons it takes to fill a single job position for a
    single shift, taking into account vacation, sick leave, training days, and other types of
    leave.
86. RESPONSIBLE PHYSICIAN: A person licensed to practice medicine with whom the
    facility enters into a contractual agreement to plan for and provide health care services to
    the detainee population of the facility.
87. RESTRAINT EQUIPMENT: This includes but is not limited to: handcuffs, belly
    chains, leg irons, strait-jackets, flexi cuffs, soft (leather) cuffs, and leg weights.
88. SAFETY EQUIPMENT: This includes but is not limited to firefighting equipment, i.e.,
    chemical extinguisher, hoses, nozzles, water supplies, alarm systems, portable breathing
    devices, gas masks, fans, first aid kits, stretchers, and emergency alarms.
89. SALLYPORT: An enclosure situated either in the perimeter wall or fence to the facility
    or within the interior of the facility, containing gates or doors at both ends, only one of
    which opens at a time. This method of entry and exit helps to ensure that there shall be no
    breach in the perimeter or interior security of the facility.
90. SECURITY DEVICES: Locks, gates, doors, bars, fences, screens, hardened ceilings,
    floors, walls, and barriers used to confine and control detainees. In addition, electronic
    monitoring equipment, security alarm systems, security light units, auxiliary power
    supply, and other equipment used to maintain facility security.
91. SECURITY PERIMETER: The outer portions of a facility, which provide for secure
    confinement of detainees.
92. SECURITY RISK – HIGH, MEDIUM, LOW:
    High Risk Level – (Level 3) Detainees exhibit behavioral problems, or manifest a pattern
         of such behavior, or have a history of violent and/or criminal activity. These detainees
         may not be co-mingled with low custody detainees.
    Medium High Risk Level – (Level 2) Detainees exhibit minor behavioral problems or
         have a history of nonviolent criminal behavior. These detainees have a history of
         violent or assaultive charges, convictions, institutional misconduct, or those with
         gang affiliation.
    Medium Low Risk Level – (1.5) Detainees with no history of violent or assaultive
         charges or convictions, no institutional misconduct, and no gang affiliation.
    Low Risk Level – (Level 1) Detainees exhibit no behavioral problems and have no
         history of violent criminal behavior. This level may not include any detainee with a
         felony conviction that included an act of physical violence. Low risk level detainees
         may not be co-mingled with high custody detainees.
93. SENSITIVE INFORMATION: Any information which could affect the national interest,
    law enforcement activities, the conduct of federal programs, or the privacy to which
    individuals are entitled under Title 5, U.S. Code, Section 552a. All Detainee records are
    considered sensitive information.




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  94. SIGNIFICANT EVENT NOTIFICATION REPORT (SEN): A written document
      reporting a special event (e.g., the use of force, use of chemical agents, discharge of
      firearms).
  95. SPECIAL MANAGEMENT UNIT (SMU): A housing unit for detainees in
      administrative or disciplinary segregation.
  96. STANDING MEDICAL ORDERS: Written orders, by a physician, to medical personnel
      for the definitive treatment of identified minor, self-limiting conditions and for on-site
      treatment of emergency conditions.
  97. STRIP SEARCH: An examination of a detainee’s naked body for weapons, contraband,
      and physical abnormalities. This also includes a thorough search of all of the individual’s
      clothing while not being worn.
  98. SUITABILITY CHECK: Security clearance process for Contractor and all Contractor
      Employees to determine favorable suitability to work on a Government contract.
  99. TOUR OF DUTY: No more than 12 hours in any 24-hour period with a minimum of
      eight hours off between shifts, except as directed by state or local law.
  100.         TRAINING: An organized, planned, and evaluated activity designed to achieve
      specific learning objectives. Training may occur on site, at an academy of training center,
      at an institution of higher learning, through contract service, at professional meetings or
      through closely supervised on-the-job training. Meetings of professional associations are
      considered training when there is clear evidence of the above elements. All trainers must
      be certified, and certification shall be approved by the COR.
  101.         TRANSPORTATION COSTS: The cost of all materials, equipment, and labor
      necessary to respond to requests by designated officials for secure movement of detainees
      from place to place necessary for processing, hearings, interviews, etc.
  102.         TRAVEL COST: Cost inclusive of lodging and meals and incidental expenses
      (MI&E) for Transportation Officers exceeding the standard working hours. Contractor
      tour of duties will comply with all current federal, state, and local laws. This includes, but
      is not limited to, the Federal Motor Carrier Safety Administration, CFR 395.5 -
      Maximum driving time for passenger-carrying vehicles. Cost is based on actual charges
      per occurrence, not to exceed the allowable Federal Travel Regulation rates/costs in
      effect on the dates of travel.
103. WEAPONS: This includes but is not limited to firearms, ammunition, knives, slappers,
      billy clubs, electronic defense modules, chemical weapons (mace), and nightsticks.




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II.      PERFORMANCE WORK STATEMENT

      A. Objective

         The objective of this contract is to obtain comprehensive detention services as detailed below
         for various levels as described within this document.

      B. Background and Mission

         The United States Department of Homeland Security (DHS), U.S. Immigration and Customs
         Enforcement (ICE) is responsible for the detention, health, welfare, transportation, and
         deportation of detainees in removal proceedings, and those subject to a final order of removal
         from the United States.

         The mission of ICE Enforcement and Removal Operations (ERO) is to identify, arrest, and
         remove aliens, who present a danger to national security or are a risk to public safety, as well
         as those who enter the United States illegally or otherwise undermine the integrity of
         immigration laws and border control efforts.

         In implementing its mission, ERO is responsible for carrying out all orders for the securing
         and departure activities of detainees who are designated in removal proceedings and for
         arranging for the detention of detainees when such becomes necessary and prescribed by law.

  C. Scope of Work

         A Contractor-owned/Contractor-operated detention facility to house detainees on a 24 hour
         per-day, seven day per week, 365 day per-year basis.

         The detention center shall provide safe and secure conditions of confinement based on the
         individual characteristics of a diverse population, including: threat to the community, risk of
         flight, type and status of immigration proceeding, community ties, medical and mental health
         issues. The detention center shall provide easy access to legal services; abundant natural light
         throughout the facility; ample indoor and outdoor recreation that allows for vigorous aerobic
         exercise with extended hours of availability - a minimum of four hours per day of outdoor
         recreation; private showers and restrooms (where practicable); cafeteria style meal service;
         non-institutional detainee clothing; contact visitation, including special arrangements for
         visiting families, with extended hours including nights and weekends; private areas for
         attorney-client visits, with video teleconferencing capabilities; noise control; enhanced, but
         controlled freedom of movement (although the manner and degree of implementation may
         vary based on security levels); enhanced law library and legal resources; and enhanced
         programming, including religious services and social programs and dedicated space for
         religious services.

         Detention services shall be preformed in accordance with optimal level of the most current
         version of the ICE Performance-Based National Detention Standards (PBNDS) 2011. The
         current version is PBNDS 2011 revised in 2016 available at www.ice.gov/detention-


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standards/2011. The contractor shall also abide by the March 7, 2014, DHS regulation under
the Prison Rape Elimination Act of 2003 (PREA; P.L. 108-79), Standards to Prevent, Detect,
and Respond to Sexual Abuse and Assault in Confinement Facilities (DHS PREA Standards)
available at https://www.gpo.gov/fdsys/pkg/FR-2014-03-07/pdf/2014-04675.pdf.

The Contractor shall be responsible for obtaining and maintaining American Correctional
Association (ACA) accreditation under the most current version of the Adult Local Detention
Facilities (ALDF) Standards to include any supplement. Conformance with the ACA ALDF
Standards is required on the first day of contract performance and accreditation shall be
obtained within one year of contract award.

The Contractor shall be responsible for obtaining and maintaining accreditation under the
National Commission on Correctional Health Care (NCCHC) within one year of contract
performance.

In cases where there is a conflict in standards, the most stringent shall apply. If the
Contractor is unable to determine which standard is more stringent, the COR shall determine
the appropriate standard.

The COR does not have the authority to modify the stated terms of the contract or approve
any action that would result in additional charges to the Government beyond what is stated in
the CLIN schedule. The CO shall make all modifications in writing.

The Contractor shall furnish all personnel, management, equipment, supplies, training,
certification, accreditation, and services necessary for performance of all aspects of the
contract. Unless explicitly stated otherwise, the Contractor is responsible for all costs
associated with and incurred as part of providing the services outlined in this contract.

DHS, ICE, federal entities, and third-party inspectors will conduct periodic and unscheduled
audits and inspections of contract performance and the facility to ensure contract compliance.
All inspectors shall have full access to the facility at all times and in all areas of performance.
The Contractor shall provide full and complete cooperation for any request or investigation
conducted by the Government.

Detainees are classified as High (Level 3), Medium High (Level 2), Medium Low (Level 1.5)
or Low Risk (Level 1). Upon discovery that a detainee may be a juvenile, the Contractor
shall immediately notify the COR and/or ICE-designee and follow the instructions of the
COR or ICE-designee.

The Contractor shall not add any non-ICE detainee population to the facility from any other
entity without the expressed prior written approval of the COR and/or ICE-designee.

The Contractor agrees to accept and provide for the secure custody, care, and safekeeping of
detainees in accordance with the State and local laws, standards, policies, procedures for
firearms requirements, or court orders applicable to the operations of the facility.



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D. Facilities

   1. Detention Space

       The facility shall meet at a minimum all ACA and PBNDS 2011 revised 2016
       requirements. Though not binding on existing detention space, the Contractor can also
       review the ICE Contract Detention Facility (CDF) Design Standards available as
       Addendum A.

       The Contractor is encouraged to go beyond any minimum requirements to provide
       optimal detention services.

       Business Permits and Licenses

       The Contractor shall obtain all required permits and licenses by the date of contract
       award. The Contractor must (depending on the state’s requirements) be licensed as a
       qualified security service company in accordance with the requirements of the district,
       municipality, county, and state in which the ICE work site is located. Throughout the
       term of this contract, the Contractor shall maintain current permits/business licenses and
       make copies available for Government inspection. The Contractor shall comply with all
       applicable federal, state, and local laws and all applicable Occupational Safety and Health
       Administration (OSHA) standards.

       ICE will review and approve all design documents and maintain approval of final
       inspection of the facility before occupancy.

       See PWS Addendums for site-specific requirements.

   2. USCIS Space

       See PWS Addendums for specific requirements.

   3. Executive Office for Immigration Review (EOIR) Space (in accordance with
      Addendum B – ICE EOIR Design Standards).

       See PWS Addendums for specific requirements.

   4. ICE Administrative Space

       See PWS Addendums for specific requirements.

       The Contractor is required to provide ICE Office and Support Space at or immediately
       adjacent to the Contractor provided detention facility.



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 All office, administrative, support and multiple use space shall be complete with
 appropriate electrical, communication, and phone/fax/VTC connections. VTC
 connections shall use a PRI (T1) connection at a minimum.

 All furniture and case goods shall be furnished by the Contractor.

 See PWS Addendums for specific requirements.

 The ICE Administrative space shall be clean, free from mold, climate controlled, with an
 HVAC thermostat located outside a private office (within open space) controlling no
 more than 2,000 square feet. The ICE Administrative space shall be separate from, but
 accessible to, detainee housing units and the centralized visiting area. The ICE
 Administrative space shall also be secure and inaccessible to Contractor staff, except
 when specific permission is granted by on-site ICE staff. The Contractor shall be
 responsible for all maintenance, security, and janitorial costs associated with the ICE
 Administrative space. All janitorial and maintenance within the ICE administrative and
 support space is the responsibility of the contractor. All ICE administrative and support
 space shall be cleaned daily (between the hours of 8 a.m. and 4 p.m.) by Government
 cleared contractor janitorial staff. Contractor is responsible for coordinating clearance
 activities for their janitorial staff with the Government and for costs associated with
 clearance.

 a) Additional Requirements for ICE Administrative Office Space

    1) Furniture

        All furniture and case goods shall be furnished by the Contractor. Any systems
        furniture, such as cubicles, shall be electrically hardwired to the building
        electrical support by the contractor, and have bottom raceways for data and
        telecommunications. The systems furniture must have knockouts within the
        bottoms raceways as well as numerous grommets within the work surface. The
        system furniture must have some universal requirements for a workspace to
        include; a desk, chair, desk storage, overhead storage (with locking flipper doors)
        and lighting capacity under the overhead storage.

        Cubicles should be a standard size of a minimum of 190 usable square feet, unless
        otherwise authorized by the COR.

        See PWS Addendums for specific requirements.

    2) ICE Information Technology (IT) Equipment

        ICE will provide and install IT equipment in office spaces for ICE personnel only,
        to include CPUs, screens, printers, and fax machines.

        See PWS Addendums for specific requirements


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          3) Communication and VTC

              The Contractor is responsible for providing phone/fax/Internet/VTC services
              through their local provider and responsible for the costs for such services.

   5. Parking Spaces at the Contracted Detention Facility:

      The Contractor shall provide hard surface (concrete) parking for all ICE employees and
      visitors at no additional cost. The Contractor must provide ICE Employee parking in a
      secure surface (concrete) striped parking lot. The ICE employee parking shall be well lit
      and shall drain well. The ICE employee parking shall be striped and have reserved spaces
      painted as directed by the COR. The ICE employee parking shall have an automated
      entrance and exit gate, operated by the contractor provided building access badge system.

      The Contractor shall provide an on-site hard surface (concrete) parking lot for visitors.
      Street parking for ICE visitors is not acceptable.

      See PWS Addendums for specific requirements

E. Armed Transportation Services:

   1. The Contractor shall provide all such ground transportation services as may be required
      to transport detainees securely, in a timely manner, to locations as directed by the COR or
      designated ICE official, including the transportation of detainees to various appointments.
      Regular transportation to key sites shall be provided as necessary and additional
      transportation requirements as requested by the COR or ICE designee. When officers are
      not providing transportation services, the Contactor shall assign the employees to
      supplement security duties within the facility. However, the primary function of these
      officers is transportation. Duties performed by these officers shall not incur any
      additional expenses to the Government.

      The Contractor shall assign, at a minimum, two-person teams of transportation officers
      whenever necessary throughout a 24-hour period, 7 days a week, including weekends and
      holidays. When transporting detainees of the opposite gender, assigned transportation
      staff shall call in their time of departure and odometer reading; and then do so again upon
      arrival, to account for their time. Except in emergency situations, a single transportation
      staff member may not transport a single detainee of the opposite gender. Further, if there
      is an expectation that a pat down will occur during transport, an assigned transportation
      staff member of the same gender as the detainee(s) must be present.

   2. The Contractor shall furnish suitable vehicles in good condition, approved by the
      Government and in-line with the PBNDS 2011 requirements, to safely provide the
      required transportation services per facility as listed below. The Contractor shall comply
      with all federal and state laws with regard to inspections, licensing, and registration for



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   all vehicles used for transportation. The Contractor shall provide parking spaces for the
   required vehicles at the facility.

   Nothing in this contract shall restrict the Contractor from acquiring additional vehicles as
   deemed necessary by the Contractor at no cost to the Government. The Contractor shall
   not allow employees to use their privately-owned vehicles to transport detainees. The
   Contractor shall furnish vehicles equipped with interior security features in accordance
   with PBNDS 2011. The Contractor shall provide the interior security specification of the
   vehicles to ICE for review and approval prior to installation. Vehicles furnished by the
   Contractor shall be equipped with interior security features such as, but not limited to:
   door lock controls, window locks, a wire cage with acrylic panel between the driver seat
   and the rear passenger seats and provide physical separation of detainees from Detention
   Officers.

   See PWS Addendums for specific requirements.

3. If ICE authorizes the Contractor to use Government furnished vehicles, the following
   requirements apply to this agreement.

   a) The Government will provide the Contractor with Government Vehicles and
      Government Fleet Cards (for the purchase of fuel) for the purpose of transporting
      detainees to and from ICE designated facilities (see Route List or Analysis specific to
      each Requirement), or alternative transportation sites, in support of ERO
      transportation needs under this Agreement. The vehicles assigned for this purpose
      will remain the property of the Federal Government, and all costs associated with the
      operation and use of the vehicles, such as, but not limited to, vehicle maintenance
      and fuel, will be covered through the Government’s Fleet Management Program.

   b) The Contractor agrees to be responsible for reimbursement to ICE for any damages
      sustained by the vehicles as a result of any act or omission on the part of the
      Contractor, its employees and or persons acting on behalf of the Contractor. The
      Contractor shall be responsible to promptly report any accidents or damage to the
      Government Vehicles in accordance with the ICE Management Directives listed
      below and any other ICE policies that pertain to reporting such damage. The
      Contractor agrees to fully cooperate and assist ICE in making any claims against a
      third party at fault for causing the property damage to the Government Vehicles.

   c) In addition, the Contractor agrees to hold harmless, indemnify, and assume financial
      responsibility for any claims or litigations filed by persons sustaining personal
      injuries or property damage for incidents or accidents caused by the negligent acts or
      omissions of the Contractor, agents, or other persons acting on behalf of the
      Contractor. The Contractor agrees to fully cooperate and assist ICE in the defense of
      any claims made against ICE, and in the event of a settlement or judgment entered
      against ICE for the negligent acts or omissions of the Contractor employees or agents,
      the Contractor agrees to reimburse ICE for said settlement or adverse judgment.



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   d) In order for ICE to maintain accurate fleet records of the transportation services, the
      Contractor officers utilizing the vehicles shall complete specific documentation that
      will be provided by ICE, to record the times of vehicle usage for proper hourly guard
      reimbursement, and to record the inspection of the vehicles for damage each time the
      vehicles are used.

   e) The COR or ICE Vehicle Control Officer will provide forms to the Contractor to
      request and authorize routine maintenance of vehicles.

   f) The Contractor shall be responsible for any costs or expenses associated with the
      return of the vehicles, to include, towing charges, title replacement fees, or licensing
      expenses made necessary by the loss of any paperwork associated with the vehicles.

4. The Contractor personnel provided for transportation services shall be of the same
   qualifications, receive the same training, complete the same security clearances, and wear
   the same uniforms as those Contractor personnel provided in the other areas of this
   contract. Transportation officers shall have the required state licenses for commercial
   drivers with the proper endorsement limited to vehicles with Automatic Transmission and
   meet the federal and state licensing requirements.

5. All transportation Detention Officers shall be armed in the performance of these duties.
   The Contractor shall supply and maintain restraining equipment, per PBNDS 2011
   Standard 1.3 “Transportation (by Land).” ICE personnel reserve the right to approve
   such restraining equipment, as well as the right to inspect such restraining equipment.

6. The Contractor shall comply with ICE transportation standards related to the number of
   hours the Contractor employee may operate a vehicle. Overnight lodging resulting from
   transportation services shall be approved in advance by the COR or ICE designee;
   overnight lodging expenses shall be billed at rates not to exceed the applicable GSA per
   diem rates. Transportation shall be accomplished in the most economical manner and in
   accordance with the applicable GSA per diem rates.

7. The Contractor shall, upon order of the COR, or upon his or her own decision in an
   urgent medical situation, transport a detainee to a hospital location. An officer, or
   officers, shall keep the detainee under constant supervision 24 hours per day until the
   detainee is ordered released from the hospital, or at the order of the COR. The Contractor
   shall then transport the detainee to the detention site.

8. The COR may direct the Contractor to transport detainees to unspecified, miscellaneous
   locations, within a 250-mile radius of the facility.

9. When the COR or ICE- designee provides documents to the Contractor concerning the
   detainee(s) to be transported and/or escorted, the Contractor shall deliver these
   documents only to the named authorized recipients or his or her designee. The Contractor
   shall ensure the material is kept confidential and not viewed by any person other than the
   authorized recipient.


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   10. The Contractor shall establish a fully operational communication system compatible with
       ICE communication equipment that has direct and immediate contact with all
       transportation vehicles and post assignments. Upon demand, the COR shall be provided
       with the current status of all vehicles and post assignment employees.

   11. Failure of the Contractor to comply fully with the detainee(s) departure as pre-scheduled
       may result in the Contractor having deductions made for non-performance.

   12. ICE anticipates normal transportation requirements other than hospital visits and local
       needs. In addition to unspecified or miscellaneous locations, the contract facility must
       support transportation to and from locations as directed by ICE COR or designee. All
       transportation reports must be submitted to the COR within two business days of trip
       completion.

      See PWS Addendums for specific requirements.

   13. Monthly Status Report: The report will include, at a minimum, the information required
       by a G-391 for every trip as indicated in the G-391 attachments (see Attachments 1A &
       1B). A breakdown of hours and personnel will also be provided and divided into
       Transportation Guard Hours and Stationary Guard Hours. A breakdown of vehicles used
       (year, model, and capacity) will also be required if the contractor is using contractor
       owned vehicles. This information will be available electronically to government users
       and submitted in addition to the invoice each month.

F. On-Call Guard Services

   1. The Contractor shall provide on call guard services as requested by the COR or ICE-
      designated official and shall include, but is not limited to, escorting and guarding
      detainees to medical or doctor appointments; hearings; ICE interviews; and any other
      remote location requested by the COR or ICE designee. Qualified guard personnel
      employed by the Contractor under its policies, procedures, and practices will perform
      such services. The Contractor agrees to augment such practices as may be requested by
      ICE to enhance specific requirements for security, detainee monitoring, visitation, and
      contraband control. Upon the order of the COR or ICE designee or in an emergency, the
      contractor shall provide an officer to safeguard the detainee(s) at a medical facility while
      undergoing medical examination or treatment as either inpatient or outpatient care. Such
      assignments may include but are not restricted to medical appointments of detainees. The
      detainee shall be kept under constant supervision. Public contact is prohibited unless
      authorized in advance by the COR.

   2. The numbers and frequency of these services shall vary, but to the extent possible, the
      COR or ICE designee shall notify the contractor four hours in advance of such need and
      of a schedule for the remote post to be manned. One guard shall be authorized for such
      post unless the COR specifies additional guards are required.

   3. The following notes are applicable to the above posts:


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     a) All on call posts require at least one guard that is of the same sex as the detainee.

     b) Additional officers for each post assignment may be required at the direction of the
        COR when operationally necessary.

     c) All necessary meals shall be provided by the contractor when the detainees(s) are in
        the custody of the contractor.


     d) The contractor remains responsible for providing security and preventing escapes.

     The itemized monthly invoice for such on-call guard services shall state the number of
     hours being billed, the duration of the billing (times and dates to include travel to and
     from location being guarded) and the names and “A” numbers of the detainees who were
     guarded. Such services shall be denoted as a separate item on submitted invoices. ICE
     agrees to reimburse the Contractor for actual on call guard services provided at the
     negotiated rate.

G. Notice to Proceed

   It is essential that the Contractor be fully prepared to accept responsibility for performing
   the requirements of the contract. Therefore, ICE may perform required assessments to
   ensure contract compliance prior to issuance of the Notice to Proceed (NTP).

   If ICE determines that the Contractor is capable of accepting detainees, the NTP will be
   issued by the Contracting Officer. The Contractor shall be prepared to begin performance
   and accept detainees immediately upon issuance of the NTP. Performance may begin with
   staged capacity or open with full capacity, as stated in the NTP. Performance includes, but is
   not limited to, preliminary fitness determination and training documentation for an adequate
   number of facility staff. Preliminary fitness determinations may take up to 30 days on
   average to be adjudicated and depend upon the facility providing proper initiation
   documentation and individuals completing the required application and fingerprints once
   initiated.

   The contractor shall submit in writing a Quality Control Plan (QCP) and all other plans,
   policies, and procedures, including those identified in the PBNDS 2011 and ACA standards
   to the COR for review and concurrence prior to issuance of the NTP. Once written
   concurrence has been granted by the COR, these plans, policies, and procedures shall not be
   modified without the prior written approval of the COR. The Contractor’s operational
   and/or corporate policies that do not impact ICE operations (i.e. policies on employee sick
   days, vacation days, etc.) do not have to be reviewed or approved by ICE.




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III.      GENERAL

A. Notification and Public Disclosures

   There shall be no public disclosures regarding this contract made by the Contractor (or any
   subcontractors) without review and approval of such disclosure by ICE Public Affairs and
   express permission granted by the ICE Contracting Officer. The Government considers such
   information privileged or confidential.

B. Records

   All records related to contract performance shall be retained in a retrievable format for three
   years. Except as otherwise expressly provided in this PWS, the Contractor shall, upon
   completion or termination of the resulting contract, transmit to the Government any records
   related to performance of the contract, in a format acceptable to the CO and COR.

   The Contractor shall comply with all statutes, regulations, and guidelines from the National
   Archives and Records Administration. Records and information management functions are
   required and mandated by the following laws and regulations: Chapters 21, 29, 31, and 33 of
   Title 44, United States Code; 36 CFR 12; 41 CFR 201 subchapters A and B; OMB Circular
   A-130; and DOJ Order 2710.8A, Removal and Maintenance of Documents. Criminal
   penalties for unlawfully destroying, damaging, removing, or improperly handling or
   releasing federal records are addressed in Chapters 37 and 101 of Title 18, United States
   Code.

       The Contractor shall notify the COR and ICE designee when a member of the United States
       Congress or any media outlet requests information or makes a request to visit the facility.
       All such visits shall be in compliance with PBNDS 2011, Standard 7.2 “Interviews and
       Tours.” The Contractor shall coordinate all public information related issues with the CO.
       All press statements and releases shall be cleared, in advance, with the ICE Office of Public
       Affairs, which can be reached through the Internet website:
       http://www.ice.gov/about/news/contact.htm.

    The Contractor shall ensure employees agree to use appropriate disclaimers clearly stating
    the employees’ opinions do not necessarily reflect the position of the United States
    Government in any public presentations they make or articles they write that relate to any
    aspect of contract performance or the facility operations.

    All detainee files are to be prepared, maintained, retired, and disposed of in accordance with
    ICE policy. Policy and procedures shall be developed to ensure the confidentiality and
    security of all detainee files. The Contractor shall be responsible for detainee record keeping
    services and personal property. See Part 2 of 2011 PBNDS at www.ice.gov/detention-
    standards/2011

    The Contractor shall safeguard all records related to the operation of the facility. All records
    will remain the property of the U.S. Government.


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C. Right of Refusal

  The Contractor retains the right to refuse acceptance of any detainee if such refusal is
  supported by a valid justification. Examples of such justification are: any detainee found to
  have a medical condition that requires medical care beyond the scope of the Contractor’s
  health care provider. In the case of a detainee already in custody, the Contractor shall notify
  ICE and request such removal of the detainee from the Facility. The Contractor shall allow
  ICE reasonable time to make alternative arrangements for the detainee.

D. Hold Harmless

   The Contractor shall protect, defend, indemnify, save, and hold harmless the United States
   Government and its employees or agents, from and against any and all claims, demands,
   expenses, causes of action, judgments and liability arising out of, or in connection with, any
   negligent acts or omissions of the Contractor, its agents, sub-contractors, employees,
   assignees, or anyone for whom the Contractor may be responsible. The Contractor shall also
   be liable for any and all costs, expenses, and attorney’s fees incurred as a result of any such
   claim, demand, cause of action, judgment, or liability, including those costs, expenses, and
   attorneys’ fees incurred by the United States Government and its employees or agents. The
   Contractor’s liability shall not be limited by any provision or limits of insurance set forth in
   the resulting contract.

   In awarding the contract, the Government does not assume any liability to third parties, nor
   will the Government reimburse the Contractor for its liabilities to third parties, with respect
   to loss due to death, bodily injury, or damage to property resulting in any way from the
   performance of the contract or any subcontract under this contract.

   The Contractor shall be responsible for all litigation, including the cost of litigation, brought
   against it, its employees, or agents for alleged acts or omissions. The CO shall be notified in
   writing of all litigation pertaining to this contract and provided copies of any pleadings filed
   or said litigation within five working days of receipt. The Contractor shall cooperate with
   Government legal staff and/or the United States Attorney regarding any requests pertaining
   to federal or Contractor litigation.

   Policy and procedures shall be developed which ensure a positive relationship is maintained
   with all levels of the federal judiciary. The Contractor’s procedures shall ensure a tracking
   system is established which mandates that all judicial inquiries and program
   recommendations are responded to in a timely and accurate manner. All judicial inquiries
   and Contractor responses, specifically related to a detainee, shall be made part of the
   detainee’s file.

E. Quality Control

   The Contractor is responsible for management and quality control actions necessary to meet
   the quality standards set forth in the contract. The Contractor shall provide a Quality Control


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    Plan (QCP) to the CO for concurrence not later than the post award conference (or as
    directed by the CO). The CO will notify the Contractor of concurrence or required
    modifications to the plan before the contract start date. The Contractor must make
    appropriate modifications and obtain concurrence of the plan by the CO before the contract
    start date. The Contractor shall provide an overall QCP that addresses critical operational
    performance standards for the services required under this contract. The QCP shall ensure
    that services will be maintained at a uniform and acceptable level. At a minimum, the
    Contractor shall review and update the QCP policies and procedures on an annual basis. The
    Contractor shall audit facility operations monthly for compliance with the QCP. The
    Contractor shall notify the Government 48 hours in advance of the audit to ensure the COR
    is available to participate. The Contractor’s QCP shall identify deficiencies, appropriate
    corrective action(s), and timely implementation plan(s) to the COR.

    If the Contractor proposes changes in the QCP after contract award, the Contractor shall
    submit them to the COR for review. If the COR concurs with the changes, the COR shall
    submit the changes to the CO for review and approval. The CO may modify the contract to
    include these changes.

F. Quality Assurance Surveillance Plan (QASP)

   ICE has developed a Quality Assurance Surveillance Plan (QASP), Attachment 2, pursuant
   to the requirements of the PWS. It will present the financial values and mechanisms for
   applying adjustments to the Contractor’s invoices as dictated by work performance measured
   to the desired level of accomplishment.

   1. The purpose of the QASP is to:

      a) Define the roles and responsibilities of participating Government officials.
      b) Define the types of work to be performed.
      c) Describe the evaluation methods that will be employed by the Government in
         assessing the Contractor’s performance.
      d) Describe the process of performance documentation.

   2. Roles and Responsibilities of Participating Government Officials

      a) The COR(s) will be responsible for monitoring, assessing, recording, and reporting on
         the technical performance of the Contractor on a day-to-day basis. The COR(s) will
         have primary responsibility for completing “Quality Assurance Surveillance Forms”
         to document their inspection and evaluation of the Contractor’s work performance.
      b) The Contracting Officer (CO) or designee has overall responsibility for evaluating the
         Contractor’s performance in areas of contract compliance, contract administration,
         cost and property control. The CO shall review the COR’s evaluation of the
         Contractor’s performance and invoices. If applicable, deductions or withholdings will
         be assessed in accordance with the evaluation of the Contractor’s performance, e.g.,
         monetary adjustments for inadequate performance.



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G. Contractor’s Failure to Perform Required Services

   The rights of the Government and remedies described in this section are in addition to all
   other rights and remedies set forth in the contract. Specifically, the Government reserves its
   rights under the Inspection of Services and Termination clauses. Any reductions in the
   Contractor’s invoice shall reflect the contract’s reduced value resulting from the Contractor’s
   failure to perform required services. The Contractor shall not be relieved of full performance
   of the services hereunder and may be terminated for default based upon inadequate
   performance of services, even if a reduction was previously taken for any inadequate
   performance.

H. Inspection by Regulatory Agencies

   Work described in the contract is subject to inspection by other Government agencies. The
   Contractor shall participate in responding to all requests for information and inspection or
   review findings by regulatory agencies.

I. Performance Evaluation Meetings

   The Contractor’s representatives shall meet with the COR(s) on a monthly basis or as
   deemed necessary by either party. These meetings will provide a management level review
   and assessment of Contractor performance, and a discussion and resolution of problems.

IV. PERSONNEL AND STAFFING

                   REQUIRED SECURITY LANGUAGE FOR
    SENSITIVE /BUT UNCLASSIFED (SBU) CONTRACT DETENTION FACILITY

                                 SECURITY REQUIREMENTS

General: Performance under this Contract Detention Facility agreement (will) require(s)
access to sensitive DHS information and will involve direct contact with ICE Detainees.
The Service Provider shall adhere to the following.

Contractor Employee Fitness Screening: Screening criteria under DHS Instruction 121-01-007-
001 (Personnel Security, Suitability and Fitness Program), or successor thereto, that may exclude
contractor employees from consideration to perform under this agreement includes:

   •    Misconduct or negligence in employment;
   •    Criminal or dishonest conduct;
   •    Material, intentional false statement or deception of fraud in examination or appointment;
   •    Refusal to furnish testimony as required by 5 CFR § 5.4 (i.e., a refusal to provide
        testimony to the Merit Systems Protection Board or the Office of Special Counsel);
   •    Illegal use of narcotics, drugs, or other controlled substances without evidence of
        substantial rehabilitation.


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   •    Alcohol abuse, without evidence of substantial rehabilitation, of a nature and duration
        that suggests that the applicant or appointee would be prevented from performing the
        duties of the position in question, or would constitute a direct threat to the property or
        safety of the applicant or appointee or others;
   •    Illegal use of narcotics, drugs, or other controlled substances, without evidence of
        substantial rehabilitation;
   •    Knowing and willful engagement in acts or activities designed to overthrow the U.S.
        Government by force;
   •    Any statutory or regulatory bar which prevents the lawful employment of the person
        involved in the position in question (for Excepted Service employees); and
   •    Any other nondiscriminatory reason that an individual’s employment (or work on a
        contract) would not protect the integrity of promote the efficiency of the service.

Contractor Employee Fitness Screening: Screening criteria under 6 CFR § 115.117 (Sexual
Abuse and Assault Prevention Standards) implemented pursuant to Public Law 108-79 (Prison
Rape Elimination Act (PREA) of 2003) or successor thereto, that WILL exclude contractor
employees from consideration to perform under this agreement includes:

   •    Engaged in Sexual Abuse in a Prison, Jail, Holding Facility, Community Confinement
        Facility, Juvenile Facility, or other Institution as defined under 42 USC 1997;
   •    Convicted of engaging or attempting to engage in sexual activity facilitated by force,
        overt or implied threats of force, or coercion, or if the victim did not consent or was
        unable to consent or refuse;
   •    Civilly or administratively adjudicated to have in engaged in such activity.

Subject to existing law, regulations and/or other provisions of this Agreement, illegal or
undocumented aliens shall not be employed by the Service Provider.


A. General

   The United States Immigration and Customs Enforcement (ICE) has determined that
   performance of the tasks as described in the resultant contract agreements require that the
   Contractor, subcontractor(s), vendor(s), etc. (herein known as Contractor) have access to
   sensitive DHS information and ICE Detainees, and that the Contractor will adhere to the
   following:

B. Preliminary Fitness Determination

   ICE will exercise full control over granting, denying, withholding or terminating unescorted
   government facility and/or sensitive Government information access for contractor
   employees, based upon the results of a Fitness screening process. ICE may, as it deems
   appropriate, authorize and make a favorable expedited preliminary Fitness determination
   based on preliminary security checks. The preliminary Fitness determination will allow the
   contractor employee to commence work temporarily prior to the completion of a Full Field
   Background Investigation. The granting of a favorable preliminary Fitness shall not be

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   considered as assurance that a favorable final Fitness determination will follow as a result
   thereof. The granting of preliminary Fitness or final Fitness shall in no way prevent,
   preclude, or bar the withdrawal or termination of any such access by ICE, at any time during
   the term of the contract. No employee of the Contractor shall be allowed to enter on duty
   and/or access sensitive information or systems without a favorable preliminary Fitness
   determination or final Fitness determination by the Office of Professional Responsibility,
   Personnel Security Unit (OPR-PSU). No employee of the Contractor shall be allowed
   unescorted access to a Government facility without a favorable preliminary Fitness
   determination or final Fitness determination by OPR-PSU. Contract employees are
   processed under DHS Instruction 121-01-007-001 (Personnel Security, Suitability and
   Fitness Program), or successor thereto; those having direct contact with Detainees will also
   have 6 CFR § 115.117 considerations made as part of the Fitness screening process.

C. Background Investigations

   Contractor employees (to include applicants, temporaries, part-time and replacement
   employees) under the contract, needing access to sensitive information and/or ICE Detainees,
   shall undergo a position sensitivity analysis based on the duties each individual will perform
   on the contract. The results of the position sensitivity analysis shall identify the appropriate
   background investigation to be conducted. Background investigations will be processed
   through the Personnel Security Unit. Contractor employees nominated by a Contracting
   Officer Representative for consideration to support this contract shall submit the following
   security vetting documentation to OPR-PSU, through the Contracting Officer Representative
   (COR), within 10 days of notification by OPR-PSU of nomination by the COR and initiation
   of an Electronic Questionnaire for Investigation Processing (e-QIP) in the Office of
   Personnel Management (OPM) automated on-line system.

      1.      Standard Form 85P (Standard Form 85PS (With supplement to 85P required for
              armed positions)), “Questionnaire for Public Trust Positions” Form completed on-
              line and archived by the contractor employee in their OPM e-QIP account.

      2.      Signature Release Forms (Three total) generated by OPM e-QIP upon completion
              of Questionnaire (e-signature recommended/acceptable – instructions provided to
              applicant by OPR-PSU). Completed on-line and archived by the contractor
              employee in their OPM e-QIP account.

      3.      Two (2) SF 87 (Rev. December 2017) Fingerprint Cards. (Two Original Cards
              sent via COR to OPR-PSU)

      4.      Foreign National Relatives or Associates Statement. (This document sent as an
              attachment in an e-mail to contractor employee from OPR-PSU – must be signed
              and archived into contractor employee’s OPM e-QIP account prior to electronic
              “Release” of data via on-line account)

      5.      DHS 11000-9, “Disclosure and Authorization Pertaining to Consumer Reports
              Pursuant to the Fair Credit Reporting Act” (This document sent as an attachment


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           in an e-mail to contractor employee from OPR-PSU – must be signed and
           archived into contractor employee’s OPM e-QIP account prior to electronic
           “Release” of data via on-line account)

   6.      Optional Form 306 Declaration for Federal Employment (This document sent as
           an attachment in an e-mail to contractor employee from OPR-PSU – must be
           signed and archived into contractor employee’s OPM e-QIP account prior to
           electronic “Release” of data via on-line account)

   7.      Questionnaire regarding conduct defined under 6 CFR § 115.117 (Sexual Abuse
           and Assault Prevention Standards) (This document sent as an attachment in an e-
           mail to contractor employee from OPR-PSU – must be signed and archived into
           contractor employee’s OPM e-QIP account prior to electronic “Release” of data
           via on-line account)

   8.      One additional document may be applicable if contractor employee was born
           abroad. If applicable, additional form and instructions will be provided to
           contractor employee. (If applicable, the document will be sent as an attachment
           in an e-mail to contractor employee from OPR-PSU – must be signed and
           archived into contractor employee’s OPM e-QIP account prior to electronic
           “Release” of data via on-line account)

Contractor employees who have an adequate, current investigation by another Federal
Agency may not be required to submit complete security packages; the investigation may be
accepted under reciprocity. The questionnaire related to 6 CFR § 115.117 listed above in
item 7 will be required for positions designated under PREA.

An adequate and current investigation is one where the investigation is not more than five
years old, meets the contract risk level requirement, and applicant has not had a break in
service of more than two years. (Executive Order 13488 amended under Executive Order
13764/DHS Instruction 121-01-007-01)

Required information for submission of security packet will be provided by OPR-PSU at the
time of award of the contract. Only complete packages will be accepted by the OPR-PSU as
notified by the COR.

To ensure adequate background investigative coverage, contractor employees must currently
reside in the United States or its Territories. Additionally, contractor employees are required
to have resided within the Unites States or its Territories for three or more years out of the
last five (ICE retains the right to deem a contractor employee ineligible due to insufficient
background coverage). This time-line is assessed based on the signature date of the standard
form questionnaire submitted for the applied position. Contractor employees falling under
the following situations may be exempt from the residency requirement: 1) work or worked
for the U.S. Government in foreign countries in federal civilian or military capacities; 2)
were or are dependents accompanying a federal civilian or a military employee serving in
foreign countries so long as they were or are authorized by the U.S. Government to


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   accompany their federal civilian or military sponsor in the foreign location; 3) worked as a
   contractor employee, volunteer, consultant or intern on behalf of the federal government
   overseas, where stateside coverage can be obtained to complete the background
   investigation; 4) studied abroad at a U.S. affiliated college or university; or 5) have a current
   and adequate background investigation (commensurate with the position risk/sensitivity
   levels) completed for a federal or contractor employee position, barring any break in federal
   employment or federal sponsorship.

   Only U.S. Citizens and Legal Permanent Residents are eligible for employment on contracts
   requiring access to DHS sensitive information unless an exception is granted as outlined
   under DHS Instruction 121-01-007-001. Per DHS Sensitive Systems Policy Directive
   4300A, only U.S. citizens are eligible for positions requiring access to DHS Information
   Technology (IT) systems or positions that are involved in the development, operation,
   management, or maintenance of DHS IT systems, unless an exception is granted as outlined
   under DHS Instruction 121-01-007-001.

D. Transfers from Other DHS Contracts:

   Contractor employees may be eligible for transfer from other DHS Component contracts
   provided they have an adequate and current investigation meeting the new assignment
   requirement. If the contractor employee does not meet the new assignment requirement a
   DHS 11000-25 with ICE supplemental page will be submitted to OPR-PSU to initiate a new
   investigation.

   Transfers will be accomplished by submitting a DHS 11000-25 with ICE supplemental page
   indicating “Contract Change.” The questionnaire related to 6 CFR § 115.117 listed above in
   item 7 will be required for positions designated under PREA.

E. Continued Eligibility

   ICE reserves the right and prerogative to deny and/or restrict facility and information access
   of any contractor employee whose actions conflict with Fitness standards contained in DHS
   Instruction 121-01-007-01, Chapter 3, paragraph 6.B or who violate standards of conduct
   under 6 CFR § 115.117. The Contracting Officer or their representative can determine if a
   risk of compromising sensitive Government information exists or if the efficiency of service
   is at risk and may direct immediate removal of a contractor employee from contract support.
   The OPR-PSU will conduct periodic reinvestigations every 5 years, or when derogatory
   information is received, to evaluate continued Fitness of contractor employees.

F. Required Reports

   The Contractor will notify OPR-PSU, via the COR, of all terminations/resignations of
   contractor employees under the contract within five days of occurrence. The Contractor will
   return any expired ICE issued identification cards and building passes of terminated/resigned
   employees to the COR. If an identification card or building pass is not available to be
   returned, a report must be submitted to the COR referencing the pass or card number, name


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   of individual to whom issued, the last known location and disposition of the pass or card.
   The COR will return the identification cards and building passes to the responsible ID Unit.

   The Contractor will report any adverse information coming to their attention concerning
   contractor employees under the contract to the OPR-PSU, via the COR, as soon as possible.
   Reports based on rumor or innuendo should not be made. The subsequent termination of
   employment of an employee does not obviate the requirement to submit this report. The
   report shall include the contractor employees’ name and social security number, along with
   the adverse information being reported.

   The Contractor will provide, through the COR a Quarterly Report containing the names of
   contractor employees who are active, pending hire, have departed within the quarter or have
   had a legal name change (Submitted with documentation). The list shall include the Name,
   Position and SSN (Last Four) and should be derived from system(s) used for contractor
   payroll/voucher processing to ensure accuracy.

   CORs will submit reports to psu-industrial-security@ice.dhs.gov

       Contractors, who are involved with management and/or use of information/data deemed
   “sensitive” to include ‘law enforcement sensitive” are required to complete the DHS Form
   11000-6-Sensitive but Unclassified Information NDA for contractor access to sensitive
   information. The NDA will be administered by the COR to the all contract personnel within
   10 calendar days of the entry on duty date. The completed form shall remain on file with the
   COR for purpose of administration and inspection.

   Sensitive information as defined under the Computer Security Act of 1987, Public Law 100-
   235 is information not otherwise categorized by statute or regulation that if disclosed could
   have an adverse impact on the welfare or privacy of individuals or on the welfare or conduct
   of Federal programs or other programs or operations essential to the national interest.
   Examples of sensitive information include personal data such as Social Security numbers;
   trade secrets; system vulnerability information; pre-solicitation procurement documents, such
   as statements of work; and information pertaining to law enforcement investigative methods;
   similarly, detailed reports related to computer security deficiencies in internal controls are
   also sensitive information because of the potential damage that could be caused by the
   misuse of this information. All sensitive information must be protected from loss, misuse,
   modification, and unauthorized access in accordance with DHS Management Directive
   11042.1, DHS Policy for Sensitive Information and ICE Policy 4003, Safeguarding Law
   Enforcement Sensitive Information.”

   Any unauthorized disclosure of information should be reported to
   ICE.ADSEC@ICE.dhs.gov.

G. Security Management

   The Contractor shall appoint a senior official to act as the Corporate Security Officer. The
   individual will interface with the OPR-PSU through the COR on all security matters, to

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   include physical, personnel, and protection of all Government information and data accessed
   by the Contractor.

   The COR and the OPR-PSU shall have the right to inspect the procedures, methods, and
   facilities utilized by the Contractor in complying with the security requirements under this
   contract. Should the COR determine that the Contractor is not complying with the security
   requirements of this contract, the Contractor will be informed in writing by the Contracting
   Officer of the proper action to be taken in order to effect compliance with such requirements.


H. Information Technology Security Clearance

   When sensitive government information is processed on Department telecommunications
   and automated information systems, the Contractor agrees to provide for the
   administrative control of sensitive data being processed and to adhere to the procedures
   governing such data as outlined in DHS MD 4300.1, Information Technology Systems
   Security. or its replacement. Contractor employees must have favorably adjudicated
   background investigations commensurate with the defined sensitivity level.

   Contractor employees who fail to comply with Department security policy are subject to
   having their access to Department IT systems and facilities terminated, whether or not the
   failure results in criminal prosecution. Any person who improperly discloses sensitive
   information is subject to criminal and civil penalties and sanctions under a variety of laws
   (e.g., Privacy Act).

I. Information Technology Security Training and Oversite

   In accordance with Chief Information Office requirements and provisions, all contractor
   employees accessing Department IT systems or processing DHS sensitive data via an IT
   system will require an ICE issued/provisioned Personal Identity Verification (PIV) card.
   Additionally, Information Assurance Awareness Training (IAAT) will be required upon
   initial access and annually thereafter. IAAT training will be provided by the appropriate
   component agency of DHS.

   Contractor employees, who are involved with management, use, or operation of any IT
   systems that handle sensitive information within or under the supervision of the Department,
   shall receive periodic training at least annually in security awareness and accepted security
   practices, systems rules of behavior, to include Unauthorized Disclosure Training, available
   on PALMS or by contacting ICE.ADSEC@ICE.dhs.gov. Department contractor employees,
   with significant security responsibilities, shall receive specialized training specific to their
   security responsibilities annually. The level of training shall be commensurate with the
   individual’s duties and responsibilities and is intended to promote a consistent understanding
   of the principles and concepts of telecommunications and IT systems security.

   All personnel who access Department information systems will be continually evaluated
   while performing these duties. System Administrators should be aware of any unusual or

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   inappropriate behavior by personnel accessing systems. Any unauthorized access, sharing of
   passwords, or other questionable security procedures should be reported to the local Security
   Office or Information System Security Officer (ISSO).

J. Facility Staffing Plan, Floor Plan and Key Personnel

   The Contractor shall provide a staffing plan that addresses at a minimum the staffing
   requirements and key personnel to be employed in connection with this contract as outlined
   in the PWS. The Contractor shall staff the post positions in accordance with the Contractor-
   submitted and Government-acknowledged Contractor Staffing Plan to include relief factors
   and the agreed upon detainee ramp schedule. The number, type, and distribution of staff as
   described in the contract-staffing plan shall be maintained throughout the term of the
   contract. Written requests to change the number, type, and/or distribution of staff described
   in the staffing plan must be submitted to the CO, through the COR, for approval prior to
   implementation. Staffing levels shall not fall below a monthly average of 95% of the total
   ICE-approved staffing plan. The approved staffing levels for detention/correctional officers
   shall not fall below a monthly average of 95%. Each month, the Contractor shall submit to
   the COR the current average monthly vacancy rate and indicate any individual positions that
   have been vacant more than 60 days. Failure to fill any individual position within 60 90 60
   days of the vacancy may result in a deduction by the CO from the monthly invoice if the
   vacancy in combination with other vacancies regardless of duration brings staffing levels
   below 95%. The deduction shall be based on the daily salary and benefits of the vacant
   position. ICE may calculate the deduction retroactive to day one of the vacancy, excluding
   the days for ICE’s conditional approval process, starting on the day of receipt and concluding
   on the day conditional approval is granted. No deduction shall apply during any period the
   Contractor documents that a vacant position was covered through the use of overtime,
   contract staff or otherwise. Each month, the Contractor shall submit to the COR any Key
   Personnel that will be absent from the facility for over five working days. If the Key
   Personnel will be absent for over five working days and the contractor will not provide an
   “acting” position to backfill that Key Personnel position during the absence, the CO has the
   right to make a deduction based on the daily salary and benefits of the absent Key Personnel
   position.

   1. Minimum Staffing Requirements

      Exclusive of the agreed upon ramp periods, the Contractor shall fully staff the facility to
      secure, control, and supervise detainees in custody regardless of the detainee population.
      The Contractor shall ensure daily Detention Officer Assignment rosters, by shift, for the
      duration of the contract. The assignment rosters shall indicate the number of staff, job
      titles, names, hours, and days of work for each post. The daily roster shall be posted 24
      hours in advance. Shift rosters must be provided to the COR on a daily basis.

   2. Supervisory Staffing

      The Contractor is responsible for the satisfactory supervision of its employees at all
      times. Satisfactory supervision includes verifying attendance at all posts and positions


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   and upholding the work requirements of all personnel assigned under the contract. The
   Contractor shall provide the COR with the names of Supervisory Detention Officers
   designated by the Contractor before commencement of services.

   In the absence of the approved Warden, another qualified person who meets the Warden
   position and security clearance requirements shall temporarily fill that position. This
   individual shall perform only job duties of the Warden in providing oversight and
   direction to contract Detention Officers and interfacing with ICE CORs and/or designated
   ICE Officers and the Contracting Officer on all contract-related matters.

3. Key Personnel

   The Contracting Officer shall provide written approval before any employee is assigned
   as key personnel to perform duties under this contract. The Contractor shall have key
   personnel employed and available for duty before the Contractor can begin contract
   performance. Any subsequent changes to key personnel must meet these criteria and be
   approved in writing by the Contracting Officer. The following are considered key
   personnel for the contract. The Contractor may use other titles.

   a) Facility Administrator - The Facility Administrator shall hold an accredited
      bachelor’s degree in an appropriate discipline, or significant military or corrections
      experience of a minimum 15 years, and have at least five years of related
      administrative experience, and have knowledge of program objectives, policies,
      procedures, and requirements for managing a secure detention/correctional facility.
      The degree requirement may be satisfied by completion of a career development
      program that includes work-related experience, training, or college credits at a level
      of achievement equivalent to the bachelor’s degree, as practiced in the federal hiring
      process. The official holding this position, even in an acting capacity, shall meet ACA
      requirements.

   b) Assistant Facility Administrator - The Assistant Warden/Facility Director shall
      hold an accredited bachelor’s degree in an appropriate discipline or have a minimum
      of three years of related industry experience, and have knowledge of program
      objectives, policies, procedures, and requirements for managing a secure
      detention/correctional facility. The official holding this position, even in an acting
      capacity, shall meet ACA requirements.

   c) Supervisory Detention Officers. Supervisors must have a minimum of one year of
      experience as a detention officer and two years of successful experience in field
      supervision (e.g., civilian community law enforcement, commercial or industrial
      guard service, or security service supervisory positions). The two-year requirement
      may be satisfied by completion of a career development program that includes work-
      related experience, training, or college credits at a level of achievement equivalent to
      the basic requirement, as practiced in the federal hiring process.




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     d) Training Officers. Certified instructors shall conduct all instruction and testing of
        Contractor personnel. A state or national level recognized institution certification of
        instructors is mandatory unless otherwise approved in writing by the COR.
        Certification of instructors may be established by documentation of past experience in
        teaching positions or by successful completion of a course of training for qualifying
        personnel as instructors. The COR must approve the instructor prior to any training.

     e) Quality Assurance Manager. The Quality Assurance Manager shall hold an
        accredited bachelor’s degree in an appropriate discipline or have a minimum of three
        years of related industry experience, and have knowledge of program objectives,
        policies, procedures, and requirements for managing a secure detention/correctional
        facility.

  4. Facility Floor Plan and Guard Post Map

     The Contractor shall provide a facility floor plan which clearly identifies all
     recommended detention guard posts and corresponding guard shift requirements (e.g.
     24/7, 8 hours M – F, weekend-only, etc.). The floor plan shall be submitted with the
     facility staffing plan and shall be approved by ICE technical expert prior to
     commencement of services under this contract. Changes to the guard posts or shift
     requirements shall be approved by the CO/COR.

  5. Organizational Chart

     The Contractor shall provide an organizational chart that describes the structure of
     authority, responsibility, and accountability within the facilities. The Contractor shall
     update this chart as necessary. The Contractor shall make the chart available for review
     by the CO or COR upon request.

K. Employee Health

  https://www.osha.gov/law-regs.html
  https://www.osha.gov/Publications/QandA/osha3160.htm

  Employee health files for all Offeror’s Medical Service Providers employees must be
  maintained on-site. Health files are maintained in accordance with DHS and ICE Privacy
  Policies and the Privacy Act of 1974 and contain the following documents:

     1. Initial and annual TB infection screening results;
     2. Vaccination records including results, titers, and Immunization Declination
        Form(s);
     3. OSHA 301 Incident forms;
     4. Blood borne pathogen exposure documentation;
     5. Respirator medical clearance;
     6. Respirator fit test results; and
     7. Other employee health documents.


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The Medical Service Provider may initiate employment of an individual who has initiated
the required vaccines schedule, and the individual hired may begin work on the
contract as long as they meet all subsequent vaccine schedule requirements until fully
vaccinated.

All Medical Service Providers’ personnel must provide documentation regarding the
following:

   1. History of testing for tuberculosis (TB) within the last 12 months:

      a) Chest x-ray if employee has a history of latent TB infection (LTBI), treatment
         history for LTBI or TB disease, if applicable; and
      b) Additionally, on an annual basis and at own expense, Medical Service Provider
         shall provide a current TST or IGRA test result if the employee previously
         tested negative for LTBI, evaluation for TB symptoms if the employee
         previously tested positive for LTBI, and follow up as appropriate in accordance
         with Centers for Disease Control and Prevention (CDC) guidelines.
   2. Recommended Immunizations

       Individuals employed by the Medical Service Provider in a custody or detention
       environment are at significant risk for acquiring or transmitting Hepatitis B,
       measles, mumps, rubella, varicella and seasonal influenza. These diseases are
       vaccine-preventable. Therefore, the following vaccinations are highly
       recommended for the Medical Service Provider’s personnel. If staff decline or
       refuse any of these recommended vaccines, an Immunization Declination Form is
       required, and the Contracting Officer Representative must be notified of the refusal.
       ICE reserves the right to refuse Medical Service Provider employees that refuse
       vaccines.
       a) Hepatitis A;
       b) Hepatitis B;
           (Note: The U.S. Occupational Safety and Health Administration (OSHA)
           Blood-borne Pathogens (BBP) Standard requires employers to provide
           employees at risk of occupational exposure to blood and other potentially
           infectious material (OPIM) with the Hepatitis B vaccination series. Refer to
           OSHA regulations
           https://www.osha.gov/OshDoc/data_BloodborneFacts/bbfact05.html
       c) Varicella;
       d) Measles, Mumps, Rubella (MMR);
       e) Diphtheria, tetanus, a-cellular pertussis (DTAP); and
       f) Annual seasonal influenza.

       The Medical Service Provider’s personnel will provide immunization documentation or
       titer results to the Health Services Administrator or the employer’s designee for
       placement in the employee health file. It is recommended that the CDCs Immunization
       of Health- Care Workers: Recommendations of the Advisory Committee on


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         Immunization Practices (ACIP) and the Hospital Infection Control Practices Advisory
         Committee (HICPAC) be used as a reference for employee health immunization issues.

L. Contractor’s Employee Rules

  The Contractor shall provide employee rules or policies, which, at a minimum, address the
  following:

  1. Organization
  2. Recruiting procedures
  3. Opportunities for Equal Employment
  4. Qualifying for jobs, job descriptions, responsibilities, salaries, and fringe benefits
  5. Screening employees for illegal drug use
  6. Holidays, leave, and work hours
  7. Personnel records, employee evaluations, promotion, and retirement
  8. Training
  9. Standards of conduct, disciplinary procedures, and grievance procedures
  10. Resignation and termination
  11. Employee-management relations
  12. Security, safety, health, welfare, and injury incidents

  The Contractor shall provide a copy of the rules or policies to the Contractor’s employees at
  the facility. Upon request by the COR, the Contractor shall document to the Government that
  all employees have reviewed a copy of the rules or policies.

M. Minimum Standards of Employee Conduct

  The Contractor shall develop standards of employee conduct and corresponding disciplinary
  actions that are consistent with the following standards of conduct. All employees shall
  certify in writing that they have read and understand the standards. A record of this certificate
  must be provided to the COR prior to the employees beginning work under this contract. The
  Contractor shall hold employees accountable for their conduct based on these standards,
  which are not restricted to, but must include:

  1. Employees shall not display favoritism or preferential treatment to one detainee, or group
     of detainees, over another.
  2. Employees shall not discuss or disclose information from detainee files or immigration
     cases, except when necessary in the performance of duties under this contract.
  3. The employee may not interact with any detainee except in a relationship that supports
     the approved goals of the facility. Specifically, employees shall not receive nor accept
     any personal (tangible or intangible) gift, favor, or service, from any detainee, any
     detainee’s family, or associate no matter how trivial the gift, favor, or service may seem,
     for themselves or any members of their family. In addition, the employee shall not give
     any gift, favor, or service to detainees, detainee’s family, or associates.
  4. The employee shall not enter into any business relationship with detainees or their
     families (e.g., selling, buying, or trading personal property).


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  5. The employee shall not have any outside or social contact with any detainee, his or her
     family, or associates, except for those activities which are part of the facility program and
     a part of the employee’s job description.
  6. All employees are required to immediately report to the Warden/Facility Director or ICE
     Supervisor any criminal or non-criminal violation or attempted violation of these
     standards.
  7. The Contractor shall report all violations or attempted violations of the standards of
     conduct or any criminal activity immediately to the COR. Violations may result in
     employee removal from the facility. Failure on the part of the Contractor either to report a
     known violation or to take appropriate disciplinary action against an offending employee
     or employees shall subject the Contractor to appropriate action including possible
     termination of the contract for default.
  8. The Contractor shall not employ any person whose employment would present an actual
     or apparent conflict of interest. The Contractor is specifically prohibited from hiring
     active duty military personnel and civilians employed by the Government to perform
     work under this contract.

N. Removal from Duty

  If the COR or the Contractor receives and confirms disqualifying information concerning a
  Contractor employee, the Contractor shall, upon notification by the COR, immediately
  remove the employee from performing duties under this contract. The Contractor shall
  revoke the employee’s identification credentials and complete any required dispositions. The
  Contractor shall immediately notify the COR when the employee is removed from duty.
  Disqualifying information includes but is not limited to the following:

  1. Conviction of a felony, a crime of violence, domestic violence, or a serious misdemeanor
     within the last five (5) years.
  2. Possessing a record of arrests for continuing offenses.
  3. Falsification of information entered on suitability forms.
  4. Non-payment of court ordered payments (child support, liens, etc.) or excessive
     delinquent debt as determined by credit check.
  5. Misconduct or negligence in prior employment, which would have a bearing on efficient
     service in the position in question or would interfere with or prevent effective
     accomplishment by the employing agency of its duties and responsibilities.
  6. Alcohol abuse of a nature and duration which suggests that the applicant or appointee
     would be prevented from performing the duties of the position in question or would
     constitute a direct threat to the property or safety of others.
  7. Illegal use of narcotics, drugs, or other controlled substances, without evidence of
     substantial rehabilitation.
  8. Introduction of contraband into or unto the facility.

  ICE may direct the Contractor to remove any employee who has been disqualified either for
  security reasons or for being unfit to perform his/her duties as determined by the COR or the
  Contracting Officer. The Contractor shall take action immediately and notify the COR when



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  the employee is removed from duty. A determination of being unfit for duty may be made
  from, but is not limited to, incidents of delinquency set forth below:

  1. Violation of the Rules and Regulations Governing Detention facilities set forth in ICE
      Publications entitled “Detention Officer Handbook;”
  2. Violation of the Rules and Regulations Governing Public Buildings and Grounds, 41
      CFR 101-20.3;
  3. Neglect of duty, including sleeping while on duty, loafing, unreasonable delays or
      failures to carry out assigned tasks, conducting personal affairs during official time,
      leaving post without relief, and refusing to render assistance or cooperation in upholding
      the integrity of the security program at the work sites;
  4. Falsification or unlawful concealment, removal, mutilation, or destruction of any official
      documents or records, or concealment of material facts by willful omissions from official
      documents or records;
  5. Theft, vandalism, immoral conduct, or any other criminal actions;
  6. Possessing, selling, consuming, or being under the influence of intoxicants, drugs,
      contraband, or substances which produce similar effects;
  7. Unethical or improper use of official authority or credentials;
  8. Unauthorized use of communication equipment or government property;
  9. Misuse of equipment or weapons;
  10. Violations of security procedures or regulations;
  11. Recurring tardiness;
  12. Undue fraternization with detainees as determined by the COR;
  13. Repeated failure to comply with visitor procedures as determined by the COR;
  14. Performance, as determined by investigation by the Contracting Officer, involving
      acquiescence, negligence, misconduct, lack of diligence, good judgment, and/or good
      common sense resulting in, or contributing to, a detainee escape;
  15. Failure to maintain acceptable levels of proficiency or to fulfill training requirements;
  16. Changes in an employee’s ability to meet the physical and/or mental health requirements
      of this contract;
  17. Contractor employee who is under investigation by any law enforcement agency will be
      removed from duties pending outcome of the disposition.

  At the direction of the COR, the Contractor shall reassign contract employees who have been
  arrested or who have alleged misconduct to duties that do not permit direct contact with
  detainees pending the disposition of the charges. Any alleged misconduct shall be reported
  immediately to the COR. If such reassignments are not available, the Contractor shall remove
  the employee from work under this contract and other ICE contracts.

O. Tour of Duty Restrictions

  The Contractor shall not utilize any uniformed contractor employee to perform duties under
  this contract for more than 12 hours in any 24-hour period and shall ensure that such
  employees have a minimum of eight hours off between shifts. Authorization is required from
  the COR prior to an employee performing services that exceed 12 hours. If an employee is



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  performing other duties for either the Contractor or another employer, those hours shall count
  against the 12-hour limitation.

P. Dual Positions

  In the event that a supervisory detention officer is not available for duty the Contractor shall
  provide a full-time supervisor as a replacement. A contract employee shall not hold the
  position of Detention Officer and Supervisory Detention Officer simultaneously. The COR
  will document and refer to the Contracting Officer the failure of the Contractor to provide
  necessary personnel to cover positions.

Q. Post Relief

  As indicated in the post orders, the Detention Officer shall not leave his or her post until
  relieved by another Detention Officer. The Contractor or Contractor’s Supervisors authorize
  rest or relief periods, the Contractor shall assign undesignated officers to perform the duties
  of the Detention Officers on break.

R. Personnel Files

  The Contractor shall maintain a system of personnel files and make all personnel files
  available to the CO and the COR upon request. These files shall be maintained and current
  for the duration of the employee’s tenure under the contract. The files shall contain
  verification of training and experience and credentials for all the staff.

S. Uniform Requirements

  These requirements apply to Supervisory Detention Officers and Detention Officers who
  perform work under the contract.

  1. Uniforms

      The Contractor shall provide uniforms to its employees. The design and color of the
      Contractor’s uniforms, patches, badges, and other identifiable markings shall not be
      similar in color or style to those worn by ICE officers. All officers performing under this
      contract shall wear uniforms of the same style and color while on duty. The rank of
      authority must be prominently displayed as part of each uniform. A shoulder patch should
      distinctly identify the Contractor. Uniforms and equipment do not have to be new but
      shall be in good condition and meet the standards at start of duty. Officers not in proper
      uniform shall be considered “not ready for duty/not on duty” until properly uniformed.
      All uniforms shall be clean, neat, and in good order. Uniforms that are frayed, stained,
      faded, or considered too worn by the COR shall be replaced by the Contractor.

      The complete uniform consists of seasonal attire that includes appropriate shirt, pants,
      belt, jacket, shoes or boots (mandatory), duty belt, mini-mag flashlight and holder,



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     handheld radio, handcuff holder, and key-holder. The Contractor shall ensure that each
     officer has a complete uniform while performing assignments under this contract.

     Prior to the contract performance date, the Contractor shall document to the COR the
     uniform and equipment items that have been issued to each employee. The COR shall
     approve or disapprove any uniform apparel. The Contractor shall provide a submittal of
     the uniform or any uniform changes to the COR for approval.

  2. Identification Credentials

     The Contractor shall ensure that all employees, both uniformed and non-uniformed (if
     applicable), have the required identification credentials in their possession while on the
     premises. The Contractor identification credential document shall contain the following:

     a) A photograph that is at least one-inch square that shows the full face and shoulders of
        the employee and is no more than 30 days old when the Contractor issues the
        credential.
     b) A printed document that contains personal data and description consisting of the
        employee’s name, gender, birth date, height, weight, hair color and eye color, as well
        as the date of issuance, the signature of the employee, and the signature of project
        manager or designated Contractor personnel.
     c) To avoid the appearance of having Government issued badges, the contractor shall
        not possess wallet type badges or credentials. All credentials shall be approved by the
        COR.

T. Permits and Licenses

  1. Licensing of Employees

     The Contractor shall ensure each employee has registrations, commissions, permits, and
     licenses as required by the district, municipality, county, and state in which ICE work site
     is performed prior to EOD. The Contractor shall verify all licenses and certifications. If
     applicable, all Contractor staff shall possess a current license/registration, in the state in
     which they are practicing.

  2. Jurisdiction

     The Contractor’s authority under this contract is limited to space or posts that are under
     the charge and control of ICE. The Contractor shall not extend its services into any other
     areas.

U. Encroachment

  Contractor employees shall not have access to Government equipment, documents, materials,
  or telephones for any purpose other than as authorized by ICE. Contractor employees shall



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  not enter any restricted areas of the detention centers unless necessary for the performance of
  their duties.

V. Work Schedules

  The Contractor shall follow the criteria described below when establishing work schedules,
  contact relief, rest periods, and starting and stopping work.

  1. Post Work Schedules

     One week in advance, the Contractor shall prepare supervisory and Detention Officer
     work schedules, for a two-week period, and shall post them in work areas or locker
     rooms. A manpower report shall be submitted to the COR on a monthly basis. Schedules
     shall be prepared on a form designated by ICE. Changes in duty hours shall also be
     posted on this form in sufficient time to ensure 24-hour advance notice. At the
     completion of each shift, the Contractor shall, upon request of the COR, also provide an
     employment report listing (copies of the sign-in sheets [GSA Form 139, Record of
     Arrival and Departure from Buildings during Security Hours] for each shift) for each
     employee who actually worked, work classification, post assignments, and hours worked,
     as well as total hours worked by supervisory and non-supervisory employees. A
     Contractor Supervisor shall conduct regular post checks to ensure personnel are on duty.
     When a contract employee is not being utilized at a given post, the Contractor at the
     direction of the COR or ICE designee may reassign him/her to another post.

  2. Starting and Stopping Work

     The Contractor is responsible for all employees to be dressed in full uniform and ready to
     begin work promptly at the beginning of each shift. Each employee shall remain at the
     duty locations until the shift is completed.

     a) Recording Presence

         The Contractor shall direct its employees to sign in when reporting for work and to
         sign out when leaving at the end of their period of duty. The Contractor’s supervisory
         and regular personnel are required to register at the applicable work site(s) and shall
         use GSA Form 139. The Government shall specify the registration points, which will
         be at the protected premises, and the Contractor shall utilize those points for this
         purpose.

         Officers, working as supervisors, shall make the designation “Supervisor” in the rank
         column on GSA Form 139; all others will enter “On Duty.” The applicable post or
         position numbers may be entered in the “relief” column after mutual concurrence
         between ICE and the Contractor.

         Each line on GSA Form 139, or other forms designated by ICE must be completed in
         chronological order, without exception. Lines may not be left blank between


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         signatures. If an entire line is used to enter a calendar date to separate individual
         workdays, a one-line limit for each date entered will be followed. Erasures,
         obliterations, superimposed, or double entries of any type on any one line are
         unacceptable and will not be processed for payment. If errors are made in signatures,
         times, post numbers, or duty status on this form, the next line immediately following
         the line containing such errors, will be used to record all corrected information. A
         single line will be drawn through the entire line on which such mistakes appear. The
         Contractor must attach a detailed memorandum explaining the reasons for the
         mistakes to each form containing erroneous entries.

     b) Rest Periods

         When the Contractor or a contractor supervisor authorizes rest and relief periods for
         the contract employees, a substitute officer shall be assigned to the duty location.

     c) Work Relief

         When the work assignments require that the Contractor’s employees do not leave the
         assigned duty locations until a substitute officer has provided relief, this condition
         shall be explicitly stated on GSA Form 2580, Guard Post Assignment Record, or
         other forms designated by ICE COR. The Contractor shall enforce the procedure
         without exceptions.

W. Training

  All training shall be conducted in accordance with PBNDS 2011, Standard 7.3 “Staff
  Training.” Detention Officers shall not perform duties under this contract until they have
  successfully completed all initial training and the COR receives written certification from the
  Contractor. Any remuneration or pay due to the Contractor employee in accordance with
  U.S. Department of Labor regulations for any training time is the responsibility of the
  Contractor. Alternative or E-training techniques, unless approved in writing by the CO via
  the COR, shall not be used. The training site shall be provided at no additional cost to the
  Government.

  1) General Training Requirements

     All Officers must have the training described in the ACA Standards and in this sub-
     section. The Contractor shall provide the required refresher courses or have an institution
     acceptable to the COR to provide the training. Failure of any employee to complete
     training successfully is sufficient reason to disqualify him or her from duty.

     All new Detention Officers will receive 60 hours of basic training, not to include
     firearms, prior to EOD and 40 hours of on-the-job training within the first month of
     employment. The Contractor’s Training Officer will be responsible for administering an
     on-the-job training program for new employees. A senior Detention Officer, at all times
     during this latter 40-hour period, must accompany the Detention Officers. The


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 Contractor’s Training Officer shall send a copy of the documentation to the COR upon
 successful completion of the employee’s on-the-job training.

 In addition, after completion of the first 100 hours of training, the Contractor has 60 days
 to complete an additional 40 hours of training for each employee. During the remainder
 of the first year on duty, the Contractor shall cause the employee to have an additional 40
 hours of training for a total of 180 hours within the first year of employment. The training
 program must directly relate to the employee’s assigned position and afford application
 of necessary job skills.

 a) Basic Training Subjects

    Officers must complete the training required in accordance with the ACA and
    PBNDS 2011. Required training may include but not be limited to the following:

    1) In-service Orientation/Social Diversity                               2 HRS
    2) Counseling Techniques/Suicide Prevention and Intervention*            2 HRS
    3) Conduct/Duties/Ethics and Courtroom Demeanor                          2 HRS
    4) Bomb Defense and Threats                                              1 HR
    5) Telephone Communications/Radio Procedures                             1 HR
    6) Annual IT Security Training                                           1 HR
    7) Fire and other Emergency Procedures                                   2 HRS
    8) Treatment and Supervision of Detainees                                2 HRS
    9) ICE Use of Force Policy                                               2 HRS
    10) Security Methods/Key Control/Count                                   1 HR
    11) Procedures/Observational Techniques                                  4 HRS
    12) EEO/Sexual Harassment                                                2 HRS
    13) Detainee Escort Techniques                                           1 HR
    14) ICE Paperwork/Report Writing                                         2 HRS
    15) Detainee Searches/Detainee Personal Property                         4 HRS
    16) Property/Contraband                                                  2 HRS
    17) Detainee Rules and Regulations                                       2 HRS
    18) First Aid*                                                           4 HRS
    19) Cardiopulmonary Resuscitation (CPR)*                                 4 HRS
    20) Blood-borne Pathogens*                                               2 HRS
    21) Self Defense                                                         8 HRS
    22) Use of Restraints                                                    5 HRS
    23) Firearms Training**
    24) Sexual Abuse/Assault Prevention and Intervention*                    2 HRS
    25) ICE National Detention Standards                                     2 HRS

    All training shall be conducted in a classroom or on-the-job training environment
    and shall be in accordance with the ACA Standards and PBNDS 2011. On-line
    training is specifically prohibited to meet these requirements, unless approved in
    writing by the COR.
    * Critical Training Subjects


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    ** Firearm Training for Detention Officers who are required to provide Armed
    Transportation shall be in accordance with state licensing requirements. The
    Contractor shall certify proficiency semi-annually.

 b) Refresher Training

    Every year the Contractor shall conduct 40 hours of Refresher Training for all
    Detention Officers including Supervisory Detention Officers. Refresher training shall
    consist of these critical subjects listed above and a review of basic training subjects
    and others as approved by ICE.

    The Contractor shall coordinate recertification in CPR and First Aid with the ICE
    training staff. This training shall be provided at no cost to the Government. Annually,
    upon completion, the Contractor shall provide documentation of refresher training to
    the COR.

    In addition to the refresher training requirements for all Detention Officers,
    supervisors must receive refresher training relating to supervisory duties.

 c) On-the-Job Training

    After completion of the minimum of 60 hours basic training, all Detention Officers
    will receive an additional 40 hours of on-the-job training at specific post positions to
    be completed within a month of employment.
    This training includes:

    1) Authority of supervisors and organizational code of conduct.
    2) General information and special orders.
    3) Security systems operational procedures.
    4) Facility self-protection plan or emergency operational procedures.
    5) Disturbance Control Team training.

 d) Training During Initial 60 Day Period

    The Contractor shall provide an additional 40 hours of training for Detention Officers
    within 60 days after completion of first 100 hours of training. The Contractor shall
    provide the training format and subjects, for approval by the COR and/or CO, prior to
    the commencement of training.

 e) Basic First Aid and CPR Training

    All Contractor employees shall be trained in basic first aid and CPR. They must be
    able to:

    1) Respond to emergency situations within four minutes.
    2) Perform cardiopulmonary resuscitation (CPR).


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       3) Recognize warning signs of impending medical emergencies.
       4) Know how to obtain medical assistance.
       5) Recognize signs and symptoms of mental illness.
       6) Administer medication.
       7) Know the universal precautions for protection against blood-borne diseases.

2) Supervisory Training

   All new Supervisory Detention Officers assigned to perform work under this contract
   must successfully complete a minimum of 40 hours of formal supervisory training
   provided by the Contractor prior to assuming duties. This training is in addition to
   mandatory training requirements for Detention Officers. Supervisory training must
   include at a minimum, the following management areas (in addition to 20 more hours of
   training):

   a) Techniques for issuing written and verbal orders                         2 HRS
   b) Uniform clothing and grooming standards                                  1 HR
   c) Security Post Inspection procedures                                      2 HRS
   d) Employee motivation                                                      1 HR
   e) Scheduling and overtime controls                                         2 HRS
   f) Managerial public relations                                              4 HRS
   g) Supervision of detainees                                                 4 HRS
   h) Other company policies                                                   4 HRS

   Additional classes are at the discretion of the Contractor with the approval of the COR.

   The Contractor shall submit documentation to the COR, to confirm that each supervisor
   has received basic training as specified in the basic training curriculum.

3) Proficiency Testing

   The Contractor shall give each Detention Officer a written examination following each
   training class to display proficiency. The Contractor may give practical exercises when
   appropriate.

4) Certified Instructors

   Certified instructors shall conduct all instruction and testing. A state or nationally
   recognized institution shall certify instructors unless otherwise approved in writing by the
   COR. Certifications of instructors may be established by documentation of past
   experience in teaching positions or by successful completion of a course of training for
   qualifying personnel as instructors. The COR must approve the instructor prior to the
   training course.

5) Training Documentation



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      The Contractor shall submit a training forecast and lesson plans to the COR or ICE
      designee at least 30 days prior to all training. The training forecast shall provide date,
      time, and location of scheduled training and afford the COR observation/evaluation
      opportunity.

      The Contractor shall certify and submit the training hours, type of training, date and
      location of training, and name of the instructor monthly for each employee to the COR or
      ICE designee.


V. DETENTION SERVICES

A. Detention Site Standards

   The Contractor shall ensure that detention sites conform to PBNDS 2011. A fire and
   emergency plan shall exist and shall be aggressively managed. The Contractor shall ensure
   facilities conformance to the following:

   1. Be clean and vermin/pest free.
   2. Have a suitable waste disposal program.
   3. The Contractor shall provide and distribute suitable linens (sheets, pillow cases, towels,
      etc.). The Contractor shall launder and change linens per PBNDS 2011 4.5 Personal
      Hygiene.
   4. The Contractor shall provide and distribute appropriate clean blankets.
   5. The Contractor shall ensure fire and emergency exits remain unimpeded to permit prompt
      evacuation of detainees and staff members in an emergency.
   6. The Contractor shall provide and distribute articles of personal hygiene (e.g., soap,
      personal deodorant, toothbrush, toothpaste, comb, toilet paper, and shaving equipment).

   For safety, security, and sanitation purposes, an inspection of the detainee housing areas shall
   be conducted by a supervisor at a minimum of once per shift. The inspection shall be logged
   into the security logbook and be available for review by the COR or ICE designee.

   All locks, windows, walls, floors, ventilators, covers, access panels, and doors shall be
   checked daily for operational wear and detainee tampering. The Contractor shall take
   immediate action to repair all defective equipment.

   The facility shall be subject to periodic and random inspections by the COR, ICE designee,
   or other officials to insure compliance with ICE Standards. Deficiencies shall be immediately
   rectified or a plan for correction submitted by the Contractor to the COR for approval.

B. Language Access

   The Contractor is responsible for providing meaningful access to all programs and services
   (e.g. medical, intake, classification, sexual assault reporting) for individuals with limited
   English proficiency. This should be accomplished through professional interpretation and


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   translation or bilingual personnel for necessary communication with detainees who do not
   speak or understand English. Oral interpretation should be provided for detainees who are
   illiterate. Other than in emergencies, and even then, only for that period of time before
   appropriate language services can be procured, detainees shall not be used for
   interpretation or translation services. The Contractor should utilize commercial phone
   language interpretive services to ensure fulfillment of this requirement. All written
   materials provided to detainees shall generally be translated into Spanish. Where
   practicable, provisions for written translation shall be made for other significant segments
   of the ICE population with limited English proficiency.

C. Health and Medical Care Policies

   The Contractor shall comply with written policies and procedures for appropriately
   addressing the health needs of detainees in ICE custody. Written policies and procedures
   shall include, but not be limited to, the following:

   1. Policies and procedures for accessing 24-hour emergency medical care for ICE detainees.
   2. Policies and procedures for prompt summoning of emergency medical personnel.
   3. Policies and procedures for evacuation of detainees, if deemed necessary by qualified
      medical personnel.
   4. Policies, procedures, and post procedures for duty officers to ensure that medical
      emergencies are recognized and promptly attended to.
   5. The Contractor shall notify the COR and/or ICE designee of all detainee requests for the
      need of medical treatment. These requests shall be addressed with urgency.

D. Medical Services

   The Contractor must provide adequate space for health services, to include office and
   support space within the medical clinic.

   The Medical Service Provider shall be responsible for providing health care services for ICE
   detainees at the Facility in accordance with the current PBNDS 2011, NCCHC and/or the
   ACA standards that are in place at the time of this agreement, including but not limited to
   intake arrival screening, infectious disease screening and treatment, emergent, acute and
   chronic care, on-site sick call, dental services, and mental health services. Also required is
   over-the-counter and prescription medications per the FY 2019 ICE Health Service Corps
   (IHSC) National Formulary (Attachment 3) and IHSC Form 067 Request for approval of
   non-formulary medications (Attachment 4) or equivalent. Elicitation of a history and
   provision of required vaccinations per the Centers for Disease Control and Prevention (CDC)
   and the Advisory Committee for Immunization Practices (ACIP) recommendations is a
   requirement of all contractors providing health care services for ICE detainees, at a
   minimum to address the population that are the highest risk (i.e. Diabetics, HIV, Cancer,
   Seizure, Heart Disease, Asthma, Cancer and over the age of 50, pregnant females and other
   special populations), as well as those necessary to address pandemic events according to
   guidance provided by the IHSC Field Medical Coordinator (FMC). On-site routine labs and
   CLIA waived testing will be a requirement of the Medical Service Provider. Off-site labs


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must be approved through the Medical Payment Authorization Request (MedPAR) system
and will be paid for by IHSC. All routine medical supplies will be provided at no additional
cost to the government or the ICE detainee. All of the above costs except off site specialty
care, emergent care, hospitalizations and approved formulary and non-formulary retail
purchases of medications and durable medical equipment will be included in the bed day rate
for this contract.

One exception, as noted above, would be any approved prescription medications that must
be filled at a retail pharmacy location, to include: approved non-formulary medications, or
any approved newly marketed medication not currently available at the on-site pharmacy, as
well as durable medical equipment identified as necessary by a medical provider. The
mechanism for approval of retail purchases of medications is required of the clinical
medical authority, as designated through the position description submitted by the Medical
Service Provider, and durable medical equipment will be made available through the
MedPAR system with assistance of the IHSC Field Medical Coordinator (FMC) or designee
as needed.

1. In the event of a medical emergency, the Medical Service Provider shall proceed
   immediately to provide necessary emergency medical treatment, including initial on-site
   stabilization and off-site transport to an appropriate emergent care facility, as needed. The
   Medical Service Provider shall notify ICE immediately regarding the nature of the
   transferred detainee’s illness or injury and the type of treatment provided. The cost of all
   emergency medical services provided off-site will be the responsibility of ICE Health
   Service Corps (IHSC). At no time shall the Medical Service Provider or detainee incur
   any financial liability related to such services. All such services are submitted for
   approval through the MedPAR system. The primary point of contact for obtaining pre-
   approval for non-emergent care as well as the post-approval for emergent care will be the
   IHSC FMC assigned to this location.

2. The Medical Service Provider shall furnish a twenty-four (24) hours/seven days per week
   emergency medical/dental/mental health care contact list which must include local
   hospitals and other off-site specialty care providers. The Medical Service Provider shall
   ensure they have access to an off-site emergency medical provider at all times.

3. The Medical Service Provider must make available a facility emergency evacuation
   procedure guide that includes any patients currently housed in a medical/mental health
   housing area, including any isolation rooms as well as other special housing areas within
   the facility. The Medical Service Provider must provide training on all emergency plans to
   the on-site medical staff, both initially and annually after hire.

4. A separate medical record, apart from the resident’s social record/or alien file, is to be
   maintained by the authorized Medical Service Provider. Medical records will be created
   and maintained by the responsible authorized Medical Service Provider and/or the ICE
   contracted vendor. IHSC will have full and open access to all detainee medical records
   during custody and up through the record retention timeframe, and as stipulated by state
   and local regulations. These documents will be maintained and stored per the following:


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   a) ICE Health Service Corps uses the following retention requirement to maintain
      detainee health records for 10 years after release from custody for adults; the records
      for minors will be maintained until the minor reaches the age of 27 years. Records
      will be maintained in a format that is easily accessed and, in a location, that is
      secure, pest and vermin free environment, protected from fire, flood, humidity, dust,
      mildew, mold, and preferably climate controlled.

   b) A copy of a detainee’s medical records shall be transferred with the detainee upon
      request of the detainee. Otherwise a medical transfer summary shall accompany each
      detainee outlining necessary care during transit and initial period of detention entry
      into another facility, including current medications, medical precautions, tuberculosis
      testing and evaluation status, equipment needed, and appropriately authorized
      methods of travel. It is preferred that the Medical Service Provider seek to provide an
      Office of the National Coordinator (ONC) certified electronic health record for
      recording all detainee encounters. If a paper record is used, the record format must
      adhere to the NCCHC and/or other National Health Record format.

5. The Medical Service Provider shall furnish on-site health care under this Agreement as
   defined by the Facility Local Health Authority (usually the Health Administrator) and as
   approved by the ICE Health Authority on the effective date of this Agreement. The
   Medical Service Provider shall not charge any ICE detainee a fee or co-payment for
   medical services or treatment provided at the Facility. The Medical Service Provider shall
   ensure that ICE detainees receive no lower level of onsite medical care and services than
   those spelled out in the current PBNDS 2011 and based on community standards of care.

6. The Medical Service Provider shall ensure that all health care providers utilized for the
   care of ICE detainees are credentialed, to include: primary source verification, current
   licensure, certifications, and/or registrations within the State and/or City where they treat
   the detained population, and inquiry regarding sanctions or disciplinary actions (i.e.
   National Practitioner Data Bank). The Medical Service Provider shall retain, at a
   minimum, staffing levels as approved by IHSC at the time of implementation of this
   contract (Attachment 5). The Medical Service Provider shall ensure that all health care
   staff employed under this agreement to provide care to ICE Detainees shall be licensed
   and/or certified as required by the State in which the designated facility covered under this
   agreement resides. At no time will unlicensed and/or uncertified health care staff provide
   care to ICE Detainees.

7. The Medical Service Provider shall ensure that its healthcare system /employees solicit
   from each detainee requests for healthcare (sick call) daily and that this is tracked through
   a written system of accountability and within the health record with care delivered per
   current PBNDS 2011, NCCHC and/or ACA standards.

8. On-site health care personnel shall perform initial medical screening within 12 hours of
   arrival to the Facility. Arrival screening shall include, at a minimum, all questions
   captured on the PBNDS 2011 Intake Screening Form (Attachment 6) or equivalent:


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   testing for TB infection and/or disease, and the elicitation and recording of past and
   present medical history (mental and physical, dental, pregnancy status, history of
   substance abuse, screening questions for other infectious disease, and current health
   status). Initial screening will also entail measurement of height, weight, and a complete
   set of vital signs (BP, P, R, and T). Blood sugar and O2 readings may be necessary
   dependent upon specified diagnosis or current medical concern exhibited or verbalized by
   the detainee and observed by medical provider.

   a) A full health assessment to include a history and physical examination shall be
      completed within the first 14 days of an adult detainee arrival unless the clinical
      situation dictates an earlier evaluation. Detainees with chronic medical, dental,
      and/or mental health conditions shall receive prescribed treatment and follow-
      up care with the appropriate level of provider and in accordance with the
      current PBNDS 2011, NCCHC and/or ACA standards.

   b) Pregnancy Screening. Initial health screening will ensure that all female
      detainees/residents ages 10-56 complete a pregnancy test. The Field Operations
      Director (FOD) will be notified immediately regarding females determined to be
      pregnant, but no later than 72 hours after such determination. The field medical
      coordinator (FMC) and other IHSC personnel will coordinate with the Assistant
      FOD and /or FOD in ensuring that detention facility staff are aware of these
      notification requirements.

9. The Medical Service Provider must provide detainees with access to medical services,
   preferably on-site, or with minimal wait times for community providers. Services
   provided shall include sick call coverage, provision of over-the-counter and prescription
   medications, treatment of minor injuries, treatment of special needs, mental health and
   dental health assessments. All travel medications must be provided per the current
   PBNDS 2011 requirement. The facility mental health program shall include appropriate
   group counseling, individual talk therapy, peer-support groups, and psychiatric services to
   meet the needs of the population.

10. The Medical Service Provider shall furnish mental health evaluations as determined by the
    Facility Local Health Authority and in accordance with the current PBNDS 2011,
    NCCHC and/or ACA standards.


11. If the Medical Service Provider determines that an ICE detainee has a medical condition
    which renders that person unacceptable for detention under this Agreement (for example,
    condition needing life support, uncontrollable violence, or serious mental health
    condition), the Medical Service Provider shall notify their FMC and ICE. Upon such
    notification, the Medical Service Provider shall allow ICE reasonable time to make the
    proper arrangements for further disposition of that detainee. The Medical Service
    Provider should expect to be requested and attest to ICE that the detainee is medically
    cleared for transportation and advise ICE of the necessary precautions and equipment



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   required for such transportation. IHSC FMC consultation regarding these matters is
   available at any time.

12. Hospitalization of Detainees

   Upon order of the COR or designated ICE officer, or in an emergency situation, the
   Contractor shall take custody of and safeguard detainee(s) at a hospital or clinic when
   the detainee(s) are undergoing medical examination. The contract employee will
   remain until relieved by another contract employee. Twenty-four-hour custody shall be
   maintained, with constant visual observation when practicable. The detainees shall not
   use the telephones unless the Contractor receives prior approval from the COR or other
   ICE designee. The contract employees shall not fraternize with clinic/hospital staff or
   with casual visitors to the clinic/hospital. Detainee visitation is not permitted at the
   hospital. To prevent any situation which could result in a breach of security, requests
   for visitation while the detainee is in detention, including hospital detention shall be
   pre-approved by the COR(s) or other ICE designee prior to allowing access to the
   detainee. The Contractor is obligated to relay messages as requested by the detainee to
   the COR or other ICE designee.

13. Manage a Detainee Death

   The Contractor shall comply with PBNDS 2011, Standard 4.7 Terminal Illness,
   Advanced Directives, and Death, in the event of a detainee injury or death. In the event
   of a detainee death, the Contractor shall immediately notify the COR or ICE designee
   and submit a written report within 24 hours. The Contractor shall fingerprint the
   deceased. Staff members performing the fingerprinting shall date and sign the
   fingerprint card to ensure that a positive identification has been made and file the card
   in the detainee’s file. Personal property of the deceased shall be inventoried, and
   release coordinated with ICE to the designated family member, the nearest of kin, or
   the Consular Officer of the detainee’s country of legal residence.

   If death is due to violence, accident surrounded by unusual or questionable
   circumstances, or is sudden and the deceased has not been under immediate medical
   supervision, the Contractor shall notify the coroner of the local jurisdiction to request a
   review of the case, and if necessary, examination of the body.

   The Contractor shall establish coroner notification procedures outlining such issues as
   performance of an autopsy, who will perform the autopsy, obtaining state-approved death
   certificates, and local transportation of the body.

   The Contractor, in coordination with the COR or ICE-designee, shall ensure the body is
   turned over to the designated family member, the nearest of kin, or the Consular Officer
   of the detainee’s country of legal residence.

14. The Medical Service Provider shall release any and all medical information for ICE
    detainees to IHSC representatives upon request.


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15. The Medical Service Provider shall submit a Medical Payment Authorization
    (MedPAR) to IHSC for payment for off-site medical care (e.g. off-site lab testing,
    eyeglasses, prosthetics, specialty care, hospitalizations, emergency visits). The
    Medical Service Provider shall enter payment authorization requests electronically as
    outlined in the MedPAR User Guide: https://medpar.ehr-icehealth.org/.

16. The Health Authority of the Medical Service Provider shall notify ICE and the FMC as
    soon as possible if emergency off site care will be or was required; and in no case more
    than 72 hours after the detainee received such care. Authorized payment for all off-site
    medical and/or mental health services beyond the initial emergency situation will be
    made by the Veterans Administration Financial Service Center (VA FSC) on behalf of
    IHSC directly to the medical provider(s).

                            IHSC VA Financial Services Center
                            PO Box 149345
                            Austin, TX 78714-9345
                            Phone: (800) 479-0523
                            Fax: (512) 460-5538

17. The Medical Service Provider shall allow IHSC and ICE personnel access to its facility
    and ICE detainees’ medical records for healthcare review, complaint investigations, and
    liaison activities with the local contract Health Authority and associated Medical
    Service Provider departments in accordance with HIPAA privacy exception at 45 CFR
    §§ 164.512 (k)(5)(i).

18. The Medical Service Provider shall provide ICE detainee medical records to ICE
    whether created by the Medical Service Provider or a sub-Medical Service
    Provider/vendor upon request from the Contracting Officer’s Representative or
    Contracting Officer in accordance with HIPAA privacy exception at 45 C.F.R. §§
    164.512 (k)(5)(i). This privacy exception allows disclosure without consent to a
    correctional institution or a law enforcement official having lawful custody of an
    inmate or other individual if the correctional institution or such law enforcement
    official represents that such protected health information is necessary for:

   a) The provision of health care to such individuals;
   b) The health and safety of such individual or other inmates;
   c) The health and safety of the officers or employees of or others at the
      correctional institution;
   d) The health and safety of such individuals and officers or other persons
      responsible for the transporting of inmates or their transfer from one
      institution, facility, or setting to another;
   e) Law enforcement on the premises of the correctional institution;
   f) The administration and maintenance of the safety, security, and good order of the
      correctional institution; and



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   g) Conducting a quality improvement / quality of care review consistent with an
      established quality improvement (medical quality management) program and
      interfacing with the IHSC quality improvement program consistent with federal,
      state, and local laws.

19. The VA Financial Services Center provides prescription drug reimbursement for
    individuals in the custody of ICE. Prescriptions are filled at local pharmacies which are
    part of the Script Care Network (or other designated Pharmacy Benefits Manager).
    Below is the process for obtaining prescriptions for ICE detainees:

   a) The Medical Service Provider shall request a group number which should be used
      at the pharmacy in conjunction with the BIN# 004410 and Processor Control #
      assigned by Script Care Network to designate the pharmacy benefit is for an ICE
      detainee. The custodial facility should either fax or take a copy of the prescription
      to their participating pharmacy and indicate that the prescription is for an ICE
      detainee.
   b) The pharmacy shall run the prescription through the Script Care network for
      processing.
   c) Formulary prescriptions will be dispensed; however, there will be no need for an
      exchange of cash between the pharmacy and custodial facility as the pharmacy will
      receive payment directly from Script Care.
   d) Non-Formulary prescriptions will follow the same procedure as formulary
      prescriptions; however, non-formulary medications will require prior authorization.
      The custodial facility will fax the Drug Prior Authorization Request Form to Script
      Care to 409-833-7435. The authorization will be loaded into the Script Care network
      and the pharmacy will receive a call indicating that the prescription has been
      approved. Non-Formulary urgent requests must be submitted in the above manner
      except an X should be placed on the form marked for URGENT REQUEST and
      faxed to 409-923-7391. The authorization shall be loaded into the Script Care
      network and the pharmacy shall receive a call indicating the prescription has been
      approved.

   For further information regarding the Script Care Network please contact the VA
   Financial Services Center at 800-479-0523 or Script Care directly at 800-880-9988.

20. Facility Requirements for Infectious Disease Screening

   The Medical Service Provider will ensure that there is adequate space and equipment to
   provide medical intake screening including tuberculosis (TB) screening within the
   intake processing area.

   a) Tuberculosis Screening

       The Medical Service Provider will perform TB screening as part of the routine intake
       screening, which must be completed within 12 hours of detainee admission. TB
       screening will include, at a minimum, TB symptom screening and testing for TB


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    infection and/or disease using any Food and Drug Administration (FDA) approved
    method. Detainees who have symptoms suggestive of TB disease will be immediately
    placed in an airborne infection isolation room and promptly evaluated for suspected
    TB disease. Detainees who are initially tested using a test for TB infection [TB skin
    test (TST) or interferon gamma release assay (IGRA)], and the results are positive
    according to criteria, but have no symptoms suggestive of TB disease, must be
    evaluated with a chest radiograph within 5 days of the notification of a positive result.

    Detainees who are identified with confirmed or suspected active TB (e.g., symptoms
    or chest radiograph suggestive of TB) will be placed in a functional airborne
    infection isolation room and managed in accordance with the current PBNDS 2011
    and all applicable CDC guidelines:
    http://www.cdc.gov/tb/publications/guidelines/default.htm. If there is no clinical or
    radiographic evidence suggestive of TB disease the detainee can be housed with the
    general population. Only a trained and qualified health care provider can perform
    chest radiography if the site has this capability, and only a credentialed radiologist
    can interpret these radiographs. The facility will have an alternative non-punitive
    process in place for detainees who refuse the TB screening assessment.

    The Medical Service Provider will notify IHSC and the local health department of all
    detainees with confirmed or suspected TB disease, including detainees with clinical
    or radiographic evidence suggestive of TB. Notification shall occur within one
    working day of identifying a detainee with confirmed or suspected TB disease.
    Notification to local health departments shall identify the detainee as being in ICE
    custody and shall include the ICE detainee number and other identifying
    information. For detainees with confirmed or suspected TB disease, the Medical
    Service Provider will coordinate with IHSC and the local health department to
    facilitate release planning and referrals for continuity of care prior to release.
    The Medical Service Provider will evaluate detainees annually for symptoms
    consistent with TB within one year of the previously documented TB evaluation.
    For detainees initially screened with a TST or IGRA with a negative result, annual
    evaluation will include testing with the same method as previously used. For
    detainees initially evaluated with a chest radiograph interpreted as not suggestive of
    TB disease, routine annual chest radiograph is not recommended.

 b) Radiology Service Provider

    If the Medical Service Provider utilizes radiology for TB screening, the requirement
    should be built into the established bed day rate for this contract. The cost of
    equipment, maintenance, staff training, interpretation of the radiographs by
    credentialed radiologists, and the transmission of data to and from the detention
    facility will be charged directly to the facility.




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21. Airborne Precautions

   In order to prevent the spread of airborne infectious disease or cross contamination of
   zones within the facility, it is preferred that the HVAC system in the intake screening
   area be designed to exhaust to the exterior and prevent air exchange between the intake
   screening area and any other area within the facility (see CDC guidelines
   http://www.cdc.gov/tb/publications/guidelines/Correctional.htm

22. Language Access

   The Medical Service Provider is responsible for providing meaningful access to all
   programs and services (e.g. medical, intake, classification, sexual assault reporting) for
   individuals with limited English proficiency. This should be accomplished for
   necessary communication with residents who do not speak or understand English
   through professional interpretation and translation or qualified bilingual personnel. Oral
   interpretation should be provided for residents who are illiterate. Only during
   emergencies, and even then, only for that period of time and until appropriate language
   services can be procured, can facility residents be used for interpretation or translation
   services. The Medical Service Provider should utilize commercial phone language
   interpretive services to ensure fulfillment of this requirement. Telephones that can be
   used for this purpose must be available in each classroom. In addition, deaf detainees or
   residents shall have access to a TTY telephone.

23. Standards of Medical Care

   The Medical Service Provider is responsible for providing resources for evidence-based
   standards of medical care which can be used as a guide for treatment of most diagnosed
   health care concerns. See examples of resources below.

    a) Asthma
       IHSC Sample Clinical Practice Guidelines (Attachment 7)
    b) Chemical dependence/ Intoxication/ Withdrawal
       Federal Bureau of Prisons Clinical Practice Guideline: Detoxification of the
       Chemically Dependent Inmate. See IHSC Operations Memorandum 11-004 dated
       June 9, 2011 for reference.
       http://www.bop.gov/resources/health_care_mngmt.jsp
    c) Diabetes
       Standards of Medical Care in Diabetes—2015 American Diabetes Association
       http://care.diabetesjournals.org/content/38/Supplement_1
    d) Epilepsy
       American Epilepsy Society
       https://www.aesnet.org/clinical_resource s/guidelines
    e) Gender Dysphoria
       IHSC Sample Clinical Practice Guidelines (Attachment 7)
    f) Hepatitis A and B



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       Federal Bureau of Prisons Clinical Practice Guidelines for Hepatitis A,
       Hepatitis B and Cirrhosis.
       http://www.bop.gov/resources/health_care_mngmt.jsp
    g) Hepatitis C
       IHSC Sample Clinical Practice Guidelines (Attachment 7)
    h) HIV
       NIH Guidelines for the Use of Antiretroviral Agents in HIV-1 Infected Adults
       and Adolescents
       http://www.aidsinfo.nih.gov/guidelines
    i) Hypertension
       IHSC Sample Clinical Practice Guidelines (Attachment 7)
    j) Lipids
       2013 American College of Cardiology/American Heart Association Blood
       Cholesterol Guideline
       2011 American Heart Association Scientific Statement: Triglycerides and
       Cardiovascular Disease
       https://circ.ahajournals.org/content/123/20/2292.full.pdf
    k) Sickle Cell Disease
       IHSC Sample Clinical Practice Guidelines (Attachment 7)
    l) Tuberculosis
       Tuberculosis Management Control Guide for IHSC Medical Clinics
       Centers for Disease Control and Prevention
       http://www.cdc.gov/tb/publications/guidelines/default.htm
    m) Depression
       Federal Bureau of Prisons Clinical Practice Guideline: Management
       of Major Depressive Disorder
       http://www.bop.gov/resources/health_care_mngmt.jsp
    n) Schizophrenia
       Federal Bureau of Prisons Clinical Practice Guideline: Pharmacological
       Management of Schizophrenia
       http://www.bop.gov/resources/health_care_mngmt.jsp

24. Quality Assurance (QA) Program

   The Medical Service Provider shall implement an internal review and quality assurance
   program for the purposes of maintaining operations in accordance with the current
   PBNDS 2011, NCCHC and/or ACA.

   The minimum data inputs for trending, analysis, planning, executing, and assessing the
   effectiveness of QA- and quality improvement (QI)-related activities and corrective
   actions will derive from data collected by means of formal incident reports (see below)
   and the IHSC electronic Quality Medical Care (QMC) Audit tool (Attachment 8). IHSC
   encourages facilities to collect additional data unique to the facility and its environment
   for use in their QA program.




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   The Medical Service Provider must complete and forward to the designated IHSC FMC
   the QMC tool report and an analysis of incident reports (Attachment 9) on a quarterly
   basis on the 10th of the month following the end of each fiscal year quarter (1st quarter
   –Oct, Nov, Dec; 2nd quarter-Jan, Feb, Mar; 3rd quarter-Apr, May, Jun;4th quarter-Jul,
   Aug, Sept).

   The clinical operation will be audited by IHSC every 6 months. This audit will be
   conducted by a designated IHSC Healthcare professional. In addition to the audit
   mentioned above the facility will be assessed for maintaining compliance with the
   NCCHC, ACA, and the current PBNDS 2011 requirements.

   The QA program shall include:

   a) Participation in a multidisciplinary QI committee;
   b) Collection, trending analysis, and evaluation of data, along with planning,
      interventions and reassessments;
   c) Analysis of the need for ongoing education and training;
   d) On-site monitoring of health service outcomes on a regular basis through:

      1) Chart reviews (including investigation of complaints and quality of health)
      2) Review of practices for prescribing and administering medication;
      3) Investigation of complaints and grievances;
      4) Monitoring of corrective action plans;
      5) Reviewing all deaths, suicide attempts and illness outbreaks;
      6) Developing and implementing QI activities or corrective actions plans to address
          and resolve identified problems and concerns;
      7) Reevaluating problems or concerns to determine whether QI activities or
          corrective actions implemented achieved and sustained desired results;
      8) Incorporating findings of internal review activities into the organization’s
          educational and training activities;
      9) Ensuring records of internal review activities comply with legal requirements on
          confidentiality of records.
      10) External peer review on an annual basis for all independently licensed medical
          professionals.

   The Medical Service Provider will achieve full NCCHC (Adult) accreditation within
   twelve months of the contract award. The service provided will maintain accreditation
   compliance at all times for the life of the contract.

25. Environmental Health

   The Medical Service Provider shall implement all requirements of the Environmental
   Health and Safety sections of the current PBNDS 2011 in the health services areas, to
   include all areas where medical, dental, mental health, and intake medical screening
   services are performed. The Medical Service Provider shall implement all general
   housekeeping and environmental cleaning and disinfection in all areas where medical,


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       dental, mental health, and intake medical screening services are rendered, including
       routine and terminal cleaning of medical housing and medical isolation units.

   26. Electronic Health Record (eHR)

      The Medical Service Provider will be responsible to purchase and maintain an ONC-
      CCHIT commercial-off-the-shelf (COTS) eHR that is compatible with ICE Health Service
      Corps (IHSC) within 30 days of contract award. The Medical Service Provider shall
      procure and maintain their data in a GSA FedRAMP certified environment. The
      Government will provide the Medical Service Provider with the Government Furnished
      Information document for the Electronic Health Record (eHR). The Requirements
      Traceable Matrix (RTM) document (Attachment 10) will provide the Medical Service
      Provider with requirements and configurations for the eHR. The Medical Service
      Provider shall replicate all eHR configurations at their own expense, if an alternative and
      compatible product is proposed.

E. Detainee Voluntary Work Program (if applicable)

    The Contractor shall develop a detainee work program plan with the approval of the CO
    prior to receipt of the Notice to Proceed. Detainee labor shall be used in accordance with
    the approved detainee work plan and will shall be paid $1 day. The detainee work plan
    must be voluntary, and may include work assignments for industrial, maintenance,
    custodial, service, or other jobs. The detainee work program shall not conflict with any
    other requirements of the contract and must comply with all applicable laws and regulations.

    Detainees shall not be used to perform the responsibilities or duties of an employee of the
    Contractor. Detainees shall not be used to perform work in areas where sensitive
    documents are maintained such as designated ICE workspace. Appropriate
    safety/protective clothing and equipment shall be provided to detainee workers. Detainees
    shall not be assigned work that is considered hazardous or dangerous. This includes, but
    is not limited to, areas or assignments requiring great heights, extreme temperatures, use
    of toxic substances, and unusual physical demands.

    The Contractor shall supply sufficient Detention Officers to monitor and control detainee
    work details. Unless approved by the COR, these work details must be within the security
    perimeter.

    It will be the sole responsibility of ICE to determine whether a detainee will be allowed to
    perform on voluntary work details and at what classification level. All detainees shall be
    searched when they are returned from work details.

VI. REQUIRED ADMINISTRATION AND MANAGEMENT SERVICES

A. Manage the Receiving and Discharge of Detainees




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1. In accordance with PBNDS 2011, the Contractor will provide for the admitting and
   releasing of detainees to protect the health, safety, and welfare of each individual. During
   the admissions process, detainees undergo screening for medical purposes, have their
   files reviewed for classification purposes, submit to a standard body search, and are
   personally observed and certified regarding the examination, categorization,
   inventorying, and safeguarding of all personal belongings. This shall include
   fingerprinting of detainees.

   The Contractor shall provide a detainee classification system that adheres to the
   requirements of PBNDS 2011, Standard 2.2 “Custody Classification System,” and
   ensures detainees are classified appropriately using objective criteria. Detainees will be
   classified upon arrival, before being admitted to the general detainee population. The
   Contractor will periodically re-classify detainees, in accordance with the PBNDS 2011.

   The Contractor may be required to access and utilize ICE detention booking system to
   properly book detainees in and out of ICE custody.

2. The Contractor shall effectuate departures. Effectuating departure requires Contractor
   employees to perform detainee-related activity including but not limited to: positive
   identification, documentation preparation and review, provision of any sack lunches
   required, transportation, escorting and returning all DHS documentation to the
   appropriate DHS supervisor upon completing the escort assignment. In addition,
   Contractor employees shall, when required by proper authority, affirm, swear, and
   witness to all actions of effectuating departure that were accomplished, performed,
   carried-out, and done and in transactions involving the detainee(s), when required in a
   legal setting, deposition, or court of law.

   The time, point, and manner of release from a facility shall be consistent with safety
   considerations and shall take into account special vulnerabilities. Facilities that are not
   within a reasonable walking distance of, or that are more than one mile from, public
   transportation shall transport detainees to local bus/train/subway stations prior to the time
   the last bus/train leaves such stations for the day. If public transportation is within
   walking distance of the detention facility, detainees shall be provided with an information
   sheet that gives directions to and describes the types of transportation services
   available. However, facilities must provide transportation for any detainee who is not
   reasonably able to walk to public transportation due to age, disability, illness, mental
   health or other vulnerability, or as a result of weather or other environmental conditions
   at the time of release that may endanger the or safety of the detainee. Upon release,
   detainees shall also be provided with a list of shelter services available in the immediate
   area along with directions to each shelter. Prior to their release, detainees shall be given
   the opportunity to make a free phone call to a friend or relative to arrange for pick up
   from the facility. As practicable, detainees shall be provided with a laundered set of their
   own clothing, or one set of non-institutional clothing and footwear, weather appropriate,
   for their final destination.




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B. Manage and Account for Detainee Assets (Funds, Property)

   The Contractor is solely responsible for all detainee personal property (i.e. stolen/misplaced
   goods due to Contractor negligence and/or mishandling of detainee personal property). The
   Contractor shall provide written policies and procedures in managing the detainee’s personal
   property.

   The safeguarding of detainees’ personal property will include: the secure storage and return
   of funds, valuables, baggage, and other personal property; a procedure for documentation and
   receipting of surrendered property; and the initial and regularly scheduled inventories of all
   funds, valuables, and other property. In accordance with the PBNDS 2011, every housing
   area shall include a designated storage area. This area shall contain a lockable or other
   securable space for storing detainees’ authorized personal property.

   Written procedures shall be established for returning funds, valuables, and personal property
   to a detainee being transferred or released that adheres to the requirements of ICE policy. The
   Contractor shall ensure that all detainees who are scheduled for either transfer or release are
   given all funds (in cash or check, whichever is deemed appropriate by the ICE COR or ICE
   designee immediately prior to leaving the facility. Confiscated foreign currency funds are to
   be returned to the detainee. This includes the out-processing of detainees on all removal
   flights. For such removal flights, the Contractor will provide all necessary items for removal
   processing.

C. Securely Operate the Facility

   Policy and procedures for the maintenance and security of keys and locking mechanisms
   shall be developed, in accordance with the PBNDS 2011, 2.7 Key and Lock Control. The
   procedures shall include, but are not limited to: method of inspection to expose compromised
   locks or locking mechanisms; method of replacement for all damaged keys and/or locks; a
   preventive maintenance schedule for servicing locks and locking mechanisms and method of
   logging all work performed on locks and locking mechanisms; policy for restricting security
   keys from 24 hour issue or removal from the institution; and method of issuing emergency
   keys.

   Staff responsible for lock maintenance shall receive training and be certified from a
   Government-approved training program specializing in the operation of locks and locking
   mechanisms.

   The Contractor shall provide constant armed perimeter surveillance of the facility.

D. Establish and Maintain a Program for the Prevention of Sexual Abuse/Assault

   The Contractor shall develop and implement a comprehensive sexual abuse/assault
   prevention and intervention program in accordance with PBNDS 2011, Standard 2.11,
   “Sexual Abuse and Assault Prevention and Intervention,” and all facility requirements of
   DHS PREA (“Standards to Prevent, Detect, and Respond to Sexual Abuse and Assault in


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   Confinement Facilities,” 79 Fed. Reg. 13100 (Mar. 7, 2014), as outlined
   https://www.govinfo.gov/content/pkg/FR-2014-03-07/pdf/2014-04675.pdf. This program
   shall include training and/or information that is given separately to both staff and detainees.

E. Collect and Disseminate Intelligence Information

   Policy and procedures for collecting, analyzing, and disseminating intelligence information
   regarding issues affecting safety, security, and the orderly running of the facility shall be
   developed. This information shall include, but not be limited to: gang affiliations; domestic
   terrorist groups; tracking of detainees having advanced skills in areas of concern (locksmiths,
   gunsmiths, explosives, and computers, etc.); narcotics trafficking; mail and correspondences;
   detainee financial information; detainee telephone calls; visiting room activity; and actions of
   high-profile detainees. The Contractor shall share all intelligence information with the
   Government.

F. ICE Notifications

   The Contractor shall immediately report all serious incidents as outlined in the detention
   standards to the Field Office Director or ICE designee and the COR. Serious incidents
   include, but are not limited to the following: activation of disturbance control team(s);
   disturbances (including gang activities, group demonstrations, food boycotts, work strikes,
   work place violence, civil disturbances/protests); staff uses of force including use of lethal
   and less-lethal force (includes detainees in restraints more than eight hours); assaults on
   staff/detainees resulting in injuries that require medical attention (does not include routine
   medical evaluation after the incident); fires; fights resulting in injuries requiring medical
   attention; full or partial lock-down of the facility; escape; weapons discharge; suicide
   attempts; deaths; declared or non-declared hunger strikes; adverse incidents that attract
   unusual interest or significant publicity; adverse weather; fence damage; power outages;
   bomb threats; high profile detainee cases admitted to a hospital; significant environmental
   problems that impact the facility operations; transportation accidents (e.g., airlift, bus)
   resulting in injuries, death or property damage; and sexual assaults.

   Pursuant to ICE instructions, the Contractor shall counteract civil disturbances, attempts to
   commit espionage or sabotage, and other acts that adversely affect the normal site conditions,
   the security and safety of personnel, property, detainees, and the general public.

   The Contractor will complete all notifications to ICE/ERO as outlined in the PBNDS 2011.

G. Maintain Institutional Emergency Readiness

   The Contractor shall submit an institutional emergency plan that will be operational prior to
   issuance of the NTP, in accordance with PBNDS 2011, Standard 1.1 Emergency Plans. The
   plan shall receive the concurrence of the COR prior to implementation and shall not be
   modified without the further written concurrence of the CO.




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   The Contractor shall have written agreements with appropriate state and local authorities that
   will allow the Contractor to make requests for assistance in the event of any emergency
   incident that would adversely affect the community.

   Any decision by ICE or other federal agencies to provide and/or direct emergency assistance
   will be at the discretion of the Government. The Contractor shall reimburse the Government
   for any and all expenses incurred in providing such assistance.

   The Contractor shall submit to the COR a proposed inventory of intervention equipment
   (e.g., weapons, munitions, chemical agents) intended for use during performance of this
   contract. The COR, prior to issuance of the NTP, shall provide concurrence of the
   intervention equipment. The approved intervention equipment inventory shall not be
   modified without prior written concurrence of the CO.

   The Contractor shall obtain the appropriate authority from state or local law enforcement
   agencies to use force as necessary to maintain the security of the facility. The use of force by
   the Contractor shall at all times be consistent with all applicable policies of PBNDS 2011,
   Standard 2.15 Use of Force and Restraints.

H. Manage Computer Equipment and Services in Accordance with all Operational
   Security Requirements

   The Contractor shall comply with all federal security and privacy laws and regulations
   established to protect federal systems and data. The Contractor shall inform all personnel of
   the confidential nature of ICE detainee information.

   The Contractor shall restrict access to data information pertaining to ICE detainees to
   authorized employees with the appropriate clearance who require this information in the
   course of their official duties.

   The Contractor may not disclose information pertaining to ICE detainees to a third party
   without written permission from the COR.

   The Contractor shall develop a procedural system to identify and record unauthorized access
   or attempts to access ICE detainee information. The Contractor shall notify the COR or ICE-
   designee within four hours of a security incident.

I. Manage and Maintain a Commissary

   A commissary shall be operated by the Contractor as a privilege to detainees who will have
   the opportunity to purchase from the commissary at least once per week. These items will not
   include those items prohibited by the Warden/Facility Director. All items available at the
   commissary must be approved by the COR or ICE-designee. The commissary inventory shall
   be provided to the COR upon request. Notice of any price increases must be provided to the
   COR. The Contractor may assess sales tax to the price of items, if state sales tax is
   applicable.


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   Revenues shall be maintained in the facility commissary account and not commingled with
   any other funds. If funds are placed in an interest-bearing account, the interest earned shall be
   credited to the detainees. Any expenditure of funds from the account shall only be made with
   the approval of the Contracting Officer. Any revenues earned in excess of those needed for
   commissary operations shall be used solely to benefit detainees at the facility. Using these
   funds for any expense for which the Contractor is required to pay is prohibited. The
   Contractor shall provide independent auditor certification of the funds to the COR every 90
   days.

   At the end of the contract period, or as directed by the Contracting Officer, a check for any
   profits remaining in this account associated with detainee commissary purchases shall be
   made payable to the Treasury General Trust Fund and given/transmitted to the Contracting
   Officer.

   Detainees are permitted to receive funds from outside sources (i.e., from family, friends,
   bank accounts). Outside funds or those generated from work may be used to pay for products
   and services from the commissary.

J. Manage and Maintain a Detainee Telephone System (DTS)

   1. The Contractor shall provide detainees with reasonable and equitable access to
      telephones as specified in PBNDS 2011, Standard 5.6 Telephone Access. Telephones
      shall be located in an area that provides for a reasonable degree of privacy and a minimal
      amount of environmental noise during phone calls.

   2. If authorized to do so under applicable law, the Contractor shall monitor and record
      detainee conversations. If detainee telephone conversations can be monitored under
      applicable law, the Contractor shall provide notice to detainees of the potential for
      monitoring. However, the Contractor shall also provide procedures at the facility for
      detainees to be able to place unmonitored telephone calls to their attorneys.

   3. Telephone rates shall not exceed the Federal Communications Commission (FCC) rates
      for inmate telephone service, as well as State established rates where applicable, and shall
      conform to all applicable federal, state, and local telephone regulations.

   4. Video phones, portable electronics or other enhanced telecommunications features
      provided by the DTS Contractor to ICE detainees, based upon concurrence between ICE
      and the Contractor, may be added in the future subject to negotiation at no cost to ICE.
      These features may not in any way compromise the safety and security of the detainees,
      staff or the facility. Any new or enhanced telecommunications features must be
      integrated within the DTS service and can NOT be a separate system or software from
      the DTS service. Such capabilities may now or in the future include; video visitation,
      limited web access for law library, email, kites, commissary ordering, educational tools,
      news, sports, and video games. Pricing for the use of these technologies will be set by the



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        DTS provider, subject to negotiations with ICE, and shall be negotiated at a future time
        and date if required.

   5. The ICE designated DTS Contractor shall be the exclusive provider of detainee
      telephones for this facility. This will occur at the expiration of any current contract with a
      Telecommunications Company. Notwithstanding any existing Telecommunications
      contract, the Contractor shall require the Telecommunications Company to provide
      connectivity to the DTS Contractor for detainee pro bono telephone calls. The Contractor
      shall make all arrangements with the DTS Contractor per the DTS Contract. The DTS
      Contractor shall be allowed to install vending debit machines and shall receive 100
      percent of all revenues collected by sale of prepaid debit services. The DTS Contractor
      shall be responsible for furnishing all inventory and supply of all DTS calling services to
      the Contractor. The DTS Contractor shall be responsible for the costs incurred for
      installation of the equipment, any monthly telephone charges incurred from the operation
      of DTS, and the maintenance and operation of the system. The Contractor shall not be
      entitled to any commissions, fees, or revenues generated by the use of the DTS or the
      detainee telephones.

        See PWS Addendums for specific requirements.

VII.     FACILITY SECURITY AND CONTROL

A. Security and Control (General)

   The Contractor shall maintain a copy of facility post orders for employee review within the
   areas of assignment, and shall initiate responses to any incidents as outlined in the post
   orders. Contractor employees shall write reports of incidents as outlined in the post orders.

   The Contractor shall operate and control all designated points of access and egress on the
   site; such as, detainee housing units, pods, barracks, courtrooms, medical facilities, and hold
   rooms. The Contractor shall inspect all packages carried in or out of site in accordance with
   ICE procedures. The Contractor shall comply with ICE security plans.

   The Contractor shall comply with all of the PBNDS 2011 pertaining to the security and
   control of the detention facilities. The Contractor shall adhere to local operating procedures
   within each facility.

   The Contractor shall provide, install, and maintain a building access control system in all ICE
   and/or DOJ administrative space. The Contractor shall provide the Government
   administrative access and oversight role for system. The Contractor shall comply with ICE
   security plans.

B. Detainee Rights

   The Contractor shall supervise, observe, and protect detainees from sexual abuse,
   discrimination, corporal punishment, personal injury, property damage, harassment, or
   violation of detainees’ civil rights. Contract personnel shall have a zero-tolerance policy for

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   incidents of sexual abuse or assault that may occur in the facility. Contract personnel shall
   adhere to ICE policies, procedures, and detention standards.

   Detainees have the right to be free from discrimination for any reason, including race,
   religion, national origin, sex, sexual orientation, gender identity, physical ability, mental
   ability, or political beliefs.

C. Unauthorized Access

   The Contractor shall detect and detain persons attempting to gain unauthorized access to the
   site(s) identified in this contract.

D. Direct Supervision of Detainees

   The Contractor shall provide supervision of all detainees in all areas, including supervision in
   detainee housing and activity areas, to permit Detention Officers to hear and respond
   promptly to emergencies. The Contractor shall have direct supervision monitoring each
   occupied housing unit. This direct supervision position or positions (determined by the size
   of the housing unit) is separate from the housing control post.

   The Contractor shall comply with the requirements applicable to detention facilities
   contained in Subpart A of DHS PREA, specifically §115.13, including the development of
   detainee supervision guidelines that are reviewed annually, as outlined at
   https://www.govinfo.gov/content/pkg/FR-2014-03-07/pdf/2014-04675.pdf.

E. Maintain a Video Surveillance Program

   The Contractor shall ensure video surveillance of hallways, exits, and common areas.
   Additionally, surveillance systems shall be installed and updated in accordance with DHS
   PREA §115.18(b). A qualified individual shall be responsible for monitoring this system
   inside and outside the building. Considering that the videos will be recordings of residents
   who may be seeking asylum or other considerations under U.S. immigration law, the
   Contractor is required to maintain the recordings and may not release them to anyone, unless
   approved by ICE. The Contractor shall retain recordings for a minimum of 90 days, or for the
   duration of any investigation as necessary for use by local law enforcement, ICE, or the
   Contractor

F. Log Books

   The Contractor shall be responsible for completion and documentation of, for each shift, the
   following information in the logbooks:

   1. Activities that have an impact on the detainee population (e.g., detainee counts,
      shakedowns, detainee movement in and out of the site, and escorts to and from court).
   2. Shift activities (e.g., security checks, meals, recreation, religious services, property
      lockers, medical visits).


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   3. Entry and exit of vehicles and persons other than detainees, ICE staff, or Contractor staff
      (e.g., attorneys and other visitors).
   4. Fire drills and unusual occurrences.

G. Reports

   The Contractor shall furnish, on a daily basis, a manifest of all detainees currently detained in
   the facility. The manifest shall contain the following information for each detainee: “A” File
   Number (system of numbering supplied by ICE); office received from; name; date of birth;
   gender; nationality; date of arrival; number of days the detainee has been in the facility; and
   type of release, if applicable. The manifest shall be transmitted in a Microsoft Excel format.
   Contractor shall conduct a daily reconciliation of ICE detention manifest and the Contractor
   manifest to ensure accuracy. Any discrepancies in the reports shall be the responsibility of
   the Contractor to immediately rectify and brought to the attention of ICE.

   The Contractor shall provide monthly status reports to the COR or ICE designee. Such
   reports shall include a monthly key indicator report, which indicates the key personnel
   positions of the facility (e.g., position title, name of the employee, vacancies and length of
   vacancies, dates of service, additional comments). These monthly reports shall be submitted
   to the COR or ICE designee by the fifth of each month for the previous month’s activities
   and staffing.

   The Contractor shall prepare required orders, instructions, and reports of accidents, security
   violations, fires, and bomb threats. The reports shall be maintained on file, concerning all
   activities in connection with duties and responsibilities for the services performed under this
   contract. All such records shall be kept using a system with a written policy, which allows
   the reports to be made available to the Government for inspection.

   The Contractor shall, at the request of ICE, prepare any special or other reports, or issue
   further orders and instruction as may be required in support of work within the scope of this
   contract. The distribution, format, and time elements for these reports shall be directed by
   Government requirements.

H. Detainee Counts

   The Contractor shall monitor detainee movement and physically count detainees as directed
   in PBNDS 2011 2.8 Population Counts.

I. Daily Inspections

   The Detention Officers shall conduct daily inspections of all security aspects of the site,
   consistent with PBNDS 2011, Standard 2.4 “Facility Security and Control.” They shall check
   all bars, locks, windows, walls, floors, ventilation covers, glass panels, access plates,
   protective screens, doors, lights, and equipment for operational wear and detainee tampering.
   The Detention Officers shall also report slippery floor surfaces. This documentation shall be



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   made daily in a logbook. Problems discovered during these inspections shall be clearly
   identified in the documentation.

   The Contractor shall also notify the COR of any abnormalities or problems. The Contractor
   shall immediately notify the COR or ICE designee on duty of any physical facility damage.
   Written documentation of any problem areas shall be submitted to the COR by the end of the
   shift.

J. Deviation from Prescribed Schedule Assignments

   The Contractor is authorized to deviate from the scheduled assignment when unusual
   conditions or circumstances so demand, and if prior approval is received from the COR. All
   deviations shall be recorded in the daily logbook. When the COR is not available, the
   Contractor shall notify the ICE-designee immediately or as soon as is practically possible.

K. Use of Force and Restraints

   ICE restricts the use of physical force and restraints by Detention Officers. Any use of force
   or restraints must be in compliance with PBNDS 2011, Standard 2.15 “Use of Use of Force
   and Restraints.”

L. Escapes

   The Contractor shall take all appropriate measures to prevent escapes. The Contractor shall
   notify the COR or ICE-designee immediately if an escape or an attempted escape has
   occurred. The Contractor shall provide the COR and ICE-designee with a written report prior
   to the end of the shift. The Contractor shall be held to the following standards concerning
   escapes:

   1. The Contractor assumes absolute liability for the escape of any detainee in its control.
   2. The Contractor shall provide written policies and procedures regarding the actions to be
      taken in the event of an escape. This document must include reporting requirements for
      all contract employees, escorts, supervisors, and management personnel. These
      procedures shall meet the approval of the COR, be reviewed at least annually, and
      updated as necessary.
   3. Escapes shall be grounds for removing the responsible Contractor Employee(s) from duty
      if the Contractor Employee(s) is/are determined by the Contractor or the COR to be
      negligent, reckless, or intentionally responsible for the escape. Notice of removal shall be
      provided to the Contracting Officer.
   4. Corrective actions to prevent future escapes or attempted escapes shall be taken
      immediately and communicated to the COR for approval. A written report of the
      remedial action shall be due to the COR within 24 hours of an escape or attempted
      escape.
   5. An escape is deemed an egregious incident and subject to an expedited processing of a
      Contract Discrepancy Report resulting in a deduction or withholding for any applicable
      standards violations.


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M. Evacuation Plan

   The Contractor shall furnish 24-hour emergency evacuation procedures. The Contractor shall
   develop a written evacuation and alternate staging plan for use in the event of a fire or major
   emergency, in accordance with PBNDS 2011, Standard 1.1 “Emergency Plans.”

N. Sanitation and Hygienic Living Conditions

   The Contractor shall comply with the requirements of the Occupational Safety and Health
   Act of 1970 and all codes and regulations associated with 29 CFR 1910 and 1926. The
   Contractor shall comply with all applicable ICE, federal, state and local laws, statutes,
   regulations, and codes. In the event there is more than one reference to a safety, health, or
   environment requirement in an applicable, law, standard, code, regulation, or ICE policy, the
   most stringent requirement shall apply.

O. Physical Plant

   The facility operation and maintenance shall ensure that detainees are housed in a safe,
   secure, and humane manner. All equipment, supplies, and services shall be Contractor-
   furnished and in operating condition, except as otherwise noted.

   The facility, whether new construction, expansion, or an existing physical plant, shall be
   operated, and maintained in accordance with all applicable federal, state, and local laws,
   regulations, codes, guidelines, and policies. In the event of a conflict between federal, state,
   or local codes, regulations, or requirements, the most stringent shall apply. In the event there
   is more than one reference to a safety, health, or environmental requirement in an applicable
   law, standard, code, regulation, or Government policy, the most stringent requirement shall
   apply.

   The facility shall provide housing configurations commensurate with the security needs of
   the population.

   The facility, whether new construction, expansion, or existing physical plant, shall comply
   with the building codes under which it was permitted at the time of original construction.
   Whether the facility is new construction, or an expansion of an existing physical plant fire
   protection and life safety issues shall be governed by the building and life safety codes under
   which the facility was permitted at the time of original construction.

   The facility, whether new construction, expansion, or existing physical plant, shall comply
   with the requirements in effect at the time of the original facility construction of the
   Architectural Barriers Act of 1968 as amended and the Rehabilitation Act of 1973 as
   amended. The standards for facility accessibility by physically handicapped persons as set
   forth in “Uniform Federal Accessibility Standards/Fed Std. - 795 4/01/88 Edition” (UFAS)
   shall apply. All areas of the buildings and site shall meet these requirements.



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   A safety program shall be maintained in compliance with all applicable Federal, state and
   local laws, statutes, regulations, and codes. The Contractor shall comply with the
   requirements of the Occupational Safety and Health Act of 1970 and all codes and
   regulations associated with 29 CFR 1910 and 1926.

   Fire Alarm Systems and Equipment – All fire detection, communication, alarm,
   annunciation, suppression, and related equipment shall be operated, inspected, maintained,
   and tested in accordance with the edition of the applicable NEC and Life Safety Codes under
   which the facility was permitted at the time of original construction.

   The Contractor shall provide outside lighting sufficient to illuminate the entire facility and
   secure perimeter, subject to ICE’s visual inspection and approval.

   For new construction, expansion, or existing physical plant, final and completed, the
   Contractor prior to issuance of the NTP shall submit design/construction documents to the
   COR. For all new construction or expansion, the construction schedule shall be updated to
   reflect current progress and submitted to the COR on a monthly basis. Government staff will
   make periodic visits during construction to verify Contractor progress and compliance with
   contract requirements. As-built drawings and current drawings of the buildings and site
   utilities shall be maintained in a secure location during construction and contract
   performance. These updates shall be provided to the COR within 30 days of any changes
   made. Site utilities include, but are not limited to: water and sewer lines; gas lines; tunnels;
   steam lines; chilled water lines; recording layouts; elevations; modifications; additions; etc.
   Two copies of the as-built drawings shall be provided to the COR in AUTOCAD release 14.0
   on a CD-ROM no later than 90 days after issuance of the NTP.

   Promptly after the occurrence of any physical damage to the facility (including disturbances),
   the Contractor shall report such damage to the COR or ICE designated official. It shall be the
   responsibility of the Contractor to repair such damage, to rebuild or restore the institution.

   Government staff will be on-site to monitor contract performance and manage other
   Government interests associated with operation of the facility. Government staff will have
   full access to all areas of the facility. Contractor access to Government required space must
   be pre-approved by the COR. In cases of emergency the Contractor shall notify the COR
   promptly.

P. Environmental Policy Procedures:


   1. National Environmental Policy Act (NEPA)

      Any action funded in whole or in part by a Federal Agency, or requiring approval by a
      Federal Agency, must be evaluated in accordance with NEPA (42 U.S.C. § 4321) and
      related environmental laws and executive orders. Therefore, ICE requires the following
      deliverables from an offeror so that ICE may use the provided information to fulfill its
      obligations related to NEPA:


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       a) The offeror must provide an Environmental Impact Evaluation, which shall include
          all necessary information for the agency to analyze the potential for environmental
          impact of a proposed action, assign a value to the level of impact (e.g., minor,
          moderate, or major), consider mitigation, and determine the level of significance;
          whether significant or not. An environmental impact evaluation is used by ICE to
          make a decision regarding the application of a CATEX, documentation in the form of
          an EA and FONSI, or a final EIS and ROD.

       b) ICE advises all offerors that, as part of the solicitation process, the offeror must
          provide information related to the environmental conditions of the proposed facility
          location(s). The offeror must provide a Phase I ESA conducted and reported in
          compliance with the ASTM International (ASTM) Designation E 1527-13, “Standard
          Practice for Environmental Site Assessment: Phase I Environmental Site Assessment
          Process.” For more information on how this report will figure into any evaluation for
          award, reference Section L and M of this solicitation.



       2. Other Requirements


       The successful awardee of any contract for detention space will remain in compliance
       with federal statutes during performance of the contract including, but not limited to, the
       following Acts: Clean Air, Clean Water, Endangered Species, Resource Conservation
       and Recovery; and other applicable laws, regulations and requirements. The successful
       awardee of any contract for detention space will also comply with all applicable
       limitations and mitigation measures identified in any document prepared in conjunction
       with the contract pursuant to NEPA.

       The successful awardee of any contract for detention space shall be responsible for and
       will indemnify and hold the Government harmless for any and all spills, releases,
       emissions, disposal, and discharges of any toxic or hazardous substance, any pollutant, or
       any waste, whether sudden or gradual, caused by or arising under the performance of the
       contract or any substance, material, equipment, or facility utilized. For the purposes of
       any environmental statute or regulation, the successful awardee will be considered the
       “owner and operator” for any facility utilized in the performance of the contract and shall
       indemnify and hold the Government harmless for the failure to adhere to any applicable
       law or regulation established to protect the human or physical environment. The
       successful awardee shall be responsible in the same manner as above regardless of
       whether activities leading to or causing a spill, release, emission or discharge are
       performed by the successful awardee, its agent or designee, a detainee, visitors, or any
       third party.

If any spills or releases of any toxic or hazardous substance, any pollutant, or any waste into the
environment occur, the successful awardee of any contract for detention space will immediately
report the incident to the Contracting Officer’s Representative (COR), or other ICE-designated

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official as set out in the contract. The liability for any spill or release of such regulated
substances rests solely with the successful awardee and its agent.



VIII.     FOOD SERVICE

Manage Food Service Program in a Safe and Sanitary Environment

The Contractor shall provide detainees with nutritious, adequately varied meals, prepared in a
sanitary manner while identifying, developing, and managing resources to meet the operational
needs of the food service program.

The Contractor shall provide a sack meal for detainees in custody and those who are absent
during any meal or planning for departure, or meals for detainees on certain travel routes (upon
order by the ICE COR or ICE designee). Further, the Contractor shall provide detainee sack
meals as requested by ICE staff. The contents of the sack meals must be approved by COR or
ICE designee.

At the COR’s request, the Contractor shall provide sack meals for detainees in ICE custody, but
not yet on the Contractor’s premises.

The Contractor shall identify, develop, and manage food service program policy, procedures, and
practices in accordance with PBNDS 2011, Standard 4.1 “Food Service.”

All food service preparation resources (appliances, freezers, food preparation tables, coolers)
must be in operating condition. Additionally, the Contractor’s kitchen will be in operating
condition at the commencement of the contract.

IX.     PROPERTY ACCOUNTABILITY

A. General

    The Contractor personnel shall not permit any Government property to be taken away or
    removed from the premises.

    The Contractor shall enact practices to safeguard and protect Government property against
    abuse, loss, or any other such incidents. Government property shall be used only for official
    business.

    All Government property furnished under this contract shall remain property of the
    Government throughout the contract term. ICE shall maintain a written inventory of all
    Government property issued to the Contractor for performance hereunder. Upon expiration or
    termination of this contract, the Contractor shall render a written accounting to the COR of
    all such property. The Contractor shall assume all risk, and shall be responsible for any



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     damage to or loss of Government furnished property used by Contractor employees. Normal
     wear and tear will be allowed.

     The Contractor, upon expiration or termination of services, shall immediately transfer to the
     COR, any and all Government property in its possession or in the possession of any
     individuals or organizations under its control, except as otherwise provided for in this
     contract. The Contractor shall cooperate fully in transferring property to the successor
     Contractor. The Government shall withhold final payment until adjustments are made for any
     lost property.

B. Use of Government Wireless Communication Devices

     All personnel that have been issued a Federal Government owned wireless communication
     device, including but not limited to, cellular telephones, pagers or wireless Internet devices,
     are authorized to possess and use those items in all areas of the facility in which ICE
     detainees are present. Cellular, telephone, and wireless boosters shall be provided, installed,
     and maintained by the Contractor to ensure optimal service throughout the facility and ICE
     and/or DOJ administrative areas.

X.     FIREARMS / BODY ARMOR

A. Firearms Requirements

     The Contractor shall provide well maintained or new firearms and maintain sufficient
     licensed firearms and ammunition to equip each armed Detention Officer and armed
     supervisor(s) with a licensed weapon while on duty. Firearms may be re-issued to
     replacement employees throughout the life of the contract as long as the firearm is in
     serviceable condition. See ICE Firearms Policy Attachment 11.

     Personal firearms shall not be used. A licensed gunsmith, in writing, shall certify all firearms
     safe and accurate.

     Firearms shall be standard police service-type, semi-automatic capable of firing hollow-point
     ammunition that meets the recommendations of the firearms manufacturer. Ammunition will
     be factory load only – no reloads. The Contractor shall adhere to the manufacturer’s
     specifications regarding ammunition retention, e.g., ammunition shall be properly rotated and
     older ammunition utilized prior to utilization of newer ammunition.

     The Contractor shall provide sufficient ammunition for each armed Detention Officer,
     including uniformed contract supervisor(s); they shall be issued three full magazines.

     The Contractor shall account for all firearms and ammunition daily.
     If any weapons or ammunition are missing from the inventory, the COR shall be notified
     immediately.

     All firearms shall be licensed by the State.


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Firearms shall be inspected. This shall be documented by the Warden/Facility Director.

Loading, unloading, and cleaning of the firearms shall only take place in designated areas.

The firearms shall be cleaned and oiled as appropriate to ensure optimum operating
conditions.

Firearms shall be carried with the safety on, if applicable, with a round in the chamber.

The Contractor shall maintain appropriate and ample supplies of firearms’ upkeep and
maintenance equipment (cleaning solvents, lubricating oil, rods, brushes, patches, and other
normal maintenance tools).

The Contractor shall provide a complete listing of licensed firearms by serial numbers and by
each safe location to the COR prior to beginning performance under this contract.

These lists shall be kept current through the terms of the contract and posted within each
firearm’s safe.

The Contractor shall obtain and maintain on file appropriate State and municipality permits
and weapons permits for each officer.

A copy of this permit shall be provided to the COR at least three working days prior to the
anticipated assignment date of any individual.

The Contractor shall ensure that its employees have all permits and licenses in their
possession at all times while in performance of this contract.

The Contractor shall provide safes/vaults for storage of firearms and ammunition, for each
location where firearms are issued or exchanged, which meet agency requirements and are
approved for the storage of firearms and ammunition.

The COR is responsible for receiving the proposed safes/vaults prior to usage and vetting
them through the appropriate ICE officials. Contract supervisors and guards shall make
accurate receipt and return entries on a Firearms and Equipment Control Register.

Except when issuing or returning ammunition or firearms, each safe/vault shall remain
locked at all times.

The Contractor shall be responsible for having the combination of each safe/vault changed at
least once every six months, or more often if circumstances warrant.

The Contractor shall certify firearms training to the COR.

The Contractor shall certify proficiency in accordance with State requirements.


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      The Contractor shall provide an ICE approved intermediate weapon(s).

      The Contractor shall assign one or more contractor staff to the positions of:

      1. Ammunition Control Officer, and
      2. Firearms Control Officer, per PBNDS 2011.

B. Body Armor Requirements

      The Contractor shall provide body armor to all armed Detention Officers and armed
      supervisor(s). Body armor shall be worn while on armed duty. The body armor shall meet all
      requirements as set forth in the ICE Body Armor Policy. See ICE Body Armor Policy,
      Attachment 12.

      The Contractor shall procure replacement body armor if the body armor becomes
      unserviceable, ill-fitting, worn/damaged, or at the expiration of service life.

      All armed Detention Officers and armed supervisors need to be made aware of the health
      risks associated with the wearing of body armor in high heat/high humidity conditions and/or
      during strenuous exertion. When Detention Officers and supervisors are required to wear
      body armor, they shall be provided opportunities to re-hydrate and remove the body armor as
      necessary.

      The use of personally-owned body armor is not authorized.

XI.     TRANSITION

 A. Transition-In

The Contractor shall be responsible for the transition of all activities identified in this PWS. The
Contractor’s transition-in shall be accomplished as expeditiously as possible, with a maximum
transition-in period of 60 days after contract award. The transition-in process shall not adversely
impact the work being done by the outgoing Contractor. It shall be conducted in a manner
consistent with safe operation requirements. The Contractor shall submit a final Transition-in Plan
for approval by the Contracting Officer’s Representative (COR) within two (2) weeks after award
reflecting input from the COR as well as all necessary activities to facilitate the transition of
services to the Contractor and expected completion dates of those activities. All activities must be
completed during transition periods. The Transition-In Plan shall address, at a minimum, the
following areas:
    • Inventory and orderly transfer of all Government Furnished Equipment and Property
        (GFE/GFP);
    • Transfer of documentation;
    • Transfer of current project activities;
    • Workplace logistics and staffing plan: Identification of the key personnel transition team
        members by name, position, EOD, clearance, start date, and responsibilities;

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   •    Coordination of knowledge transfer sessions with the incumbent Contractor;
   •    Favorable EOD for all Contractor staff from the ICE Personnel Security Unit (PSU);
   •    Coordination of transition with COR;
   •    Any additional information required by other clauses contained in this contract.

The Transition-in Plan shall be approved by the COR and describe the Contractor’s process for
transitioning from the incumbent with no disruption in operational services.

B. Transition-Out

The Contractor shall be responsible for the transition-out of all technical activities identified in
this PWS during the final, awarded period of performance. The Contractor shall submit the
Transition-out Plan two (2) months prior to the completion of the period of performance of this
contract. The Contractor’s Transition-out Plan shall be approved by the COR. The Contractor shall
complete the transition by the end of the period of performance of this Task Order. The Transition-
Out Plan shall address, at a minimum, the following areas:
    • Inventory and orderly transfer of all GFE/GFP
    • Briefing on all in-progress and committed items.
    • Any additional information required by other clauses contained in this contract.

The Contractor shall fully support the transition of all requirements to any successor to ensure no
disruption in operational services.




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                ATTACHMENT 20
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DETENTION SERVICES CONTRACT 70CDCR20D00000008 CONTRACT CLAUSES




                        SECTION D:
                   PACKAGING & MARKING




           [THIS SECTION IS INTENTIONALLY LEFT BLANK]

                       [END OF SECTION D]




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Section E



                                      SECTION E:
                              INSPECTION AND ACCEPTANCE

E.1        CLAUSES INCORPORATED BY REFERENCE (FAR 52.252-2) (FEB 1998)

This contract incorporates the following clauses by reference with the same force and effect as
if they were given in full text. Upon request, the Contracting Officer will make their full text
available. Also, the full text can be accessed electronically at this internet address:
https://www.acquisition.gov/browse/index/far


       Clause Number         Clause Title                                                Date
       52.246-4              Inspection of Services – Fixed Price                      Aug 1996
       52.246-6              Inspection of Services – Time and Material                May 2001
                             and Labor Hour

E.2        INSPECTION REQUIREMENTS

Review of Deliverables ---

      a.   The COR will provide written acceptance, comments and/or change requests, if
           any, within thirty (30) business days from receipt by the Government of the
           initial deliverable.

      b. Upon receipt of the Government comments, the Contractor shall have fifteen (15)
         business days to incorporate the Government's comments and/or change requests
         and to resubmit the deliverable in its final form.

      c. If written acceptance, comments and/or change requests are not issued by the
         Government within thirty (30) calendar days of submission, the draft deliverable
         shall be deemed acceptable as written and the Contractor may proceed with the
         submission of the final deliverable product. The Contractor shall provide all
         deliverables to the COR in Microsoft Excel, PowerPoint or Word format.




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E.3 DELIVERABLES CHART



   #                   Deliverable                             Due Date

                                                 With Proposal Submission; Updated as
   1          Quality Control Plan
                                                                Needed

                Plans, Policy and            Plans, Policy, Procedures Manual: 5 days after
   2
               Procedures Manual                                 award

               Standard Operating                 Within 30 calendar days of award of
   3
                     Procedures                                        contract

                                             Within 30 calendar days of award of contract,
   4              Post Orders
                                                annually and as requested by the COR.

                                                 With Proposal Submission; Updated as
   5          Communication Plan
                                                                      Needed

                Resumes of Key
   6                                          Submitted within 5 days after award. For all
                    Personnel
                                             new candidates, prior to Entry on Duty (EOD)
                                             Within 30 calendar days of award of contract
   7          Organizational Chart            and after that anytime as requested by the
                                                                 COR.

                                                 With Proposal Submission and after that
   8              Staffing Plan
                                                   anytime as requested by the COR.


           Documentation of employee
   9        receipt of ICE Operations                    As requested by COR
            Policy/Procedure Manual


        Contractor employee certification
   10                                                    As requested by COR
            for standards of conduct




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         Contractor employee violation of
   11       standards of conduct and                       Reported immediately* to COR
                disciplinary action

              Notification of change in          Notification immediately to COR (immediate
   12
              employee’s health status           verbal report, with written follow-up)

          Employee termination, transfer,
            suspension, personnel action
   13                                            Notification immediately to COR (immediate
        relating to disqualifying information
                                                    verbal report, with written follow-up)
             or incidents of delinquency

             Report of any on contract           Notification immediately to COR (immediate
   14
               employee misconduct                  verbal report, with written follow-up)

   15         e-QIP Security Process                        Prior to Entry on Duty (EOD)

                                                      Reported to COR immediately (immediate
   16     Physical Force Incident Reports            verbal report, with written report within two
                                                                (2) hours of incident)

                                                      Reported to COR immediately (immediate
   17            Report of escapes                   verbal report, with written report within two
                                                                (2) hours of incident)
                                                     Reported to COR immediately (immediate
         Physical harm or threat to safety,
   18                                                verbal report, with written report within 24
                 health or welfare
                                                                  hours of incident)
                                                      Upon EOD and as requested by COR, or
   19            Drug Test Results                        reported immediately to COR upon
                                                                     found violation

   20      Emergency Call Back Roster                           Quarterly or as needed

           Finalized Training Plan, with                 Within 30 calendar days of contract
   21
                      Curriculum                                              award

                Quarterly Training
   22                                                                 Quarterly
                       Forecast



                                                22
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          Training certification and reports
         for formal and on the job training
   23                                                        As requested by COR
             (including Supervisors and
                      refresher)

   24            Daily Time Sheet                            As requested by COR

        Emergency Action Plan to include
   25                                               No Later than the post award conference
          Auxiliary Power procedures

             Sexual Assault & Suicide
   26                                               No later than the post award conference
                Prevention Program

                 Firearms Training
   27                                                               Annually
                      Certificates

                                                     To COR 3 days prior to EOD, and then
   28       Employee Weapon Permit
                                                            after as requested by COR
                                                       Reported immediately to COR and
             Notification of employee
   29                                                         appropriate law enforcement
                    criminal activity
                                                                        agency.
          Officer Testing Questions and
   30                                                  Post award, as needed by the COR
                         Results

           Key, Tool Cabinet Inventory              At the beginning of day and end of each
   31
            Class A and Class B Log                                            shift

                                                     Within 30 calendar days after award of
   32          Equipment Inventory                  contract, then annually or as requested by
                                                                      COR

                                                     Within 30 calendar days after award of
              Intervention Equipment
   33                                               contract, then annually or as requested by
                         Inventory
                                                                      COR

   34       Regular Tool Control Log                                Monthly

            Detainee Volunteer Work
   35                                                              As required
         Screening Form (Request Form)

                                               23
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            Detainee Volunteer Work
   36                                                           As required
             Program Training Form

   37          ACA Accreditation                    Within 18 months of contract award

                    Proposed daily
   38
               transportation routes             Within 30 calendar days of contract award

        Safety Devices/Equipment Training
   39                                                            Quarterly
                          Plan

               Chemical Perpetual
   40                                                      As requested by COR
                 Inventory Sheet

             Compliance and Independent
   41                                                            Annually
                Audit Report

                                             Monthly, by 5th of each month for previous
   42         Key Indicators Report
                                                             month’s data

                                             Within 30 calendar days after award of
            General Supply/Inventory
   43                                        contract, then annually or as requested by
                      Plan
                                                                 COR

   44      Commissary Inventory List                       As requested by COR

           Statement of Detainee Funds
   45                                                      As requested by COR
                      Accounts

                                                 Within 30 calendar days after award of
   46            IT Security Plan
                                                                 contract

         Finalized List of Approved Food           Within 30 calendar days after award of
   47
                         Vendors                 contract and upon any changes thereafter

            Prime Vendor/Food Service
   48                                                      As requested by COR
                  Expenditures

           Employee Meal Ticket Sales
   49                                                      As requested by COR
                      Report

                 Number of Meals
   50                                                Quarterly or as requested by COR
            Served/Daily Meal Count
                                            24
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   51           Detainee Records                                 Continuous

                                                  Reported immediately to COR (immediate
   52            Detainee Death                  verbal report, with written report within two
                                                            (2) hours of incident)

               Detainee Departure
   53                                              Continuous, prior to detainee departing.
                     Documents

                                             Within 30 calendar days of award of contract
         Detainee Volunteer Food Service
   54                                         and after that anytime as requested by the
            Worker Contingency Plan
                                                                 COR.

   55         35 Day Regular Menu                                  Monthly
                                                  Immediate verbal report to COR, with
          Physical damage to the facility
   56                                                    written report within five (5)
                  documentation
                                                         days.

   57     Detainee Special Needs Menu                       As requested by COR

           Daily Diet List (Medical &
   58                                                       As requested by COR
                       Religious)

   59            Holiday Menus                                    Annually

         Emergency Food Preparation and
   60                                              Within 30 calendar days of award of
               Service Schedule
                                                                  contract

          ACA Temperature Log Report
             (refrigerators, freezers,
   61                                                       As requested by COR
          dishwasher temperatures and
                      water)

              Food Service Weekly
   62                                                  Weekly or as requested by COR
                  Inspection Log

                                                 Maintained for all food service employees at
   63      Food Handler Certification
                                                         all times, as requested by COR

               Food and Non-Food
   64                                                 Monthly or as requested by COR
                      Inventory

                                            25
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           Maintenance Service Work
   65                                                      As requested by COR
                      Orders

             Common Fare Cost for
   66                                               Quarterly, or as requested by COR
                    Detainees

         Authorized Detainee Worker List
   67                                                Weekly, or as requested by COR
                Weekly Schedule


         Detainee Volunteer Food Service
   68                                                            Monthly
               Work Detail Pay List

          Monthly Medical Inspection
   69                                                            Monthly
             Corrective Actions

          Certified Dietician In- Service
   70     Staff Training and Department            Quarterly, or as requested by the COR
                    Inspection

                                                      For all new employees and after
                                                  diagnosed with illness or communicable
                Medical Clearance
   71                                          disease. Employees must be re-examined and
                including TB test
                                                medically cleared before returning to work.
                                                       TB test certification annually.

                                                    Within 30 calendar days of award of
        Vehicle inventory log and interior
   72                                              contract, annually and as requested by
        specification for each vehicle type
                                                                    COR

           Menu Cycle (Revisions and
   73         Registered Dietician                               Annually
           Recertification of all menus)


         End of Month Food Service Cost
   74    Report, including Cost Per Meal                         Annually
                       Data

   75       Firearms Control Register                      As requested by COR


                                              26
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   76           Surveillance Video                           As requested by COR

         Detainee or Contractor Employee      Immediately to COR (immediate verbal report,
   77
            Contraband Found Report                        with written follow-up)

                                              To COR by 5th of each month for previous
   78         Staff Vacancy Report
                                                            month’s data

               Additional Reports as
   79                                                             As needed
              requested by the COR
                                                   10 days prior to the end of the Transition
   80       Notice of facility readiness
                                                                     Period
                                                    As requested by CO or COR at any time
   81       Records related to performance            during the term of the contract or at
                  by contractor                             termination/expiration.

                                                   As requested by CO or COR at any time
   82               Litigation                     during the term of the contract or at/after
                                                            termination/expiration.
                                                   Immediately to COR and CO (immediate
   83         Congressional Inquiry                 verbal report, with written follow-up) to
                                                         FOD, DFOD, COR, and CO

   84    Press statements and/or releases
                                                    To FOD, DFOD & COR prior to release

         Correctional Officer assignment,
   85   Names of Supervisory Correctional                    As requested by COR
           Officers, and Shift Rosters

                Overnight lodging
   86                                             Advance of commencement of overnight trip
                       requests

                  Non-returned ID
   87
                Badges/Credentials                           Immediately to COR

   88        Intelligence Information                        Immediately to COR

   89            Serious Incidents                           Immediately to COR


                                             27
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                                             Within 30 calendar days of award of contract
   90     Contractor Employee Manual          and after that anytime as requested by the
                                                                 COR.

         Any requested Detainee medical
   91                                                     Immediately to COR
                 documentation

        Medical and Personnel Records of
   92                                                     As requested by COR
             Contractor Employees

           Contractor Business Permits             Within 30 calendar days of award of
   93
                  and Licenses                      contract and after that anytime as

              Contractor Employee
                                             Prior to EOD and then after, as requested by
   94      Registrations, Commissions,
                                                               COR
              Permits, and Licenses

            Correctional Officer Post
   95                                                     As requested by COR
               Assignment Record

   96            Count Records                            As requested by COR

              GSA Form 139 or ICE
   97
                     equivalent                           As requested by COR

         Authorization to exceed a change              To COR for approval prior to
   98
                         in duty                    commencement of change of duty

   99               Lost and Found                        As requested by COR

               Security incidents –
  100
                      computers                  To COR within four (4) hours of incident

  101         Daily Detainee Manifest                     As requested by COR




                                            28
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            Contract Discrepancy Report,
          Corrective Action Plan, or outcome
   102        measures required by any                As outlined within the requiring document
          inspection or accreditation review,
            QASP or PBNDS requirements


   103                 Spill Report                             Immediately to COR
                                                   1 week after notification of Transition to New
   104                Transition-Out
                                                                       Vendor
   106     Operational Data/Metrics Summary              Due within three (3) days of request

*The word “immediately” or “immediate,” as used above in the Deliverables Chart is defined
as “as soon as reasonably possible.” For facilities that are not in operation at time of award,
deliverables will become due according to the deliverables chart once the facilities are on line
and operational. The Contractor should use prudent and reasonable judgement to determine the
timeframe necessary to notify the Government as defined above based on the situation, but it
should not exceed a reasonable timeframe to notify the Government. For example, a reasonable
timeframe for reporting a physical force incident to the Government is as soon as the incident
that required a physical force response has been contained. A reasonable timeframe to notify the
Government of an attempted escape is after the detainee is back, safely within the confines of the
building. A reasonable timeframe to report an actual escape in which the Contractor does not
locate the detainee is as soon as the Contractor realizes there has been an escape. In the case of
a conflict between the Program Office and the Contractor on a reasonable timeframe, the
Contracting Officer will determine the appropriate reasonable timeframe.

E.4      ACCEPTANCE CRITERIA

The Government will provide written notification of acceptance or rejection of all final
deliverables within thirty (30) calendar days. Absent written notification, final deliverables
may be construed as accepted. All notifications of rejection will be accompanied with an
explanation of the specific deficiencies causing the rejection.

                                       [END OF SECTION E]




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Section F

                                       SECTION F:
                               DELIVERIES OR PERFORMANCE

F.1       CLAUSES INCORPORATED BY REFERENCE (FAR 52.252-2) (FEB 1998)

      This contract incorporates the following clauses by reference with the same force and
      effect as if they were given in full text. Upon request, the Contracting Officer will make
      their full text available. Also, the full text can be accessed electronically at this internet
      address: https://www.acquisition.gov/browse/index/far

        Clause Number          Clause Title                                                        Date
        52.242-15              Stop Work Order                                               Aug 1989
        52.242-17              Government Delay of Work                                      Apr 1984

F.2       PERIOD OF PERFORMANCE

Each contract, when awarded, will have an anticipated period of performance which will include
a base period of five (5) years and two additional five (5) year options. Included in the base
period will be a sixty (60) day transition period (if necessary).

The anticipated period of performance for all requirements will be as follows:


                       Period of Performance                       Dates
                            Base Period                   12/20/2019 – 12/19/2024
                           Option Period 1                12/20/2024 – 12/19/2029
                           Option Period 2                12/20/2029 – 12/19/2034



F.3       PLACE OF PERFORMANCE:

Address of Facility: 425 Golden State Ave, Bakersfield, CA 93301

F.4       CONTRACTOR EVALUATING PROCEDURES:

The Government will issue Contractor performance ratings for each awarded requirement via the
Contractor Performance Assessment Reporting System (CPARS) in accordance with FAR
42.1502. The CPARS website is located: http://www.cpars.gov.

                                          [END OF SECTION F]




                                                     30
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Section G



                                SECTION G:
                       CONTRACT ADMINISTRATION DATA


G.1      CONTRACT ADMINISTRATION

  Notwithstanding the Contractors’ responsibility for total management responsibility
  during the performance of this contract(s), the administration of the contract(s) will
  require maximum coordination between ICE and the Contractor.

  The Government points of contact for any resulting contract(s) shall be identified at time of
  award.

G.2   CONTRACTING OFFICER’S REPRESENTATIVE

  The following individual is designated and authorized by the CO to perform
  contract administration functions related to the technical performance of this
  contract(s).

                      Reference Contract Award Document

 (a) The Contracting Officer (CO) may designate Government personnel to act as the
 Contracting Officer's Representative(s) (COR) to perform functions under the contract such
 as review or inspection and acceptance of supplies, services, including construction, and
 other functions of a technical nature. The CO will provide a written notice of such
 designation to the Contractor within five (5) working days after contract award. The
 designation letter will set forth the authorities and limitations of the COR under the contract.

 (b) The CO cannot authorize the COR or any other representative to sign documents,
 such as contracts, contract modifications, etc., that require the signature of the CO.

G.3   INVOICE REQUIREMENTS

 In accordance with Section G, Contract Administration Data, invoices shall be submitted
 as follows:

 Service Providers/Contractors shall use these procedures when submitting an invoice.

 1. Invoice Submission: Invoices shall be submitted in a “.pdf” format in accordance with
 the contract terms and conditions, via email, United States Postal Service (USPS) or
 facsimile as follows:

 a) Email:

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 • Invoice.Consolidation@ice.dhs.gov
 • Contracting Officer Representative (COR) or Government Point of Contact (GPOC)
 • Contract Specialist/Contracting Officer

 Each email shall contain only (1) invoice and the invoice number shall be indicated on the
 subject line of the email.

 b) USPS:

 DHS, ICE
 Financial Operations - Burlington
 P.O. Box 1620
 Williston, VT 05495-1620

 ATTN: (utilize code below based on which requirement)

 Codes:
 Requirements A&B: ICE-ERO-FOD-SND
 Requirement C: ICE-ERO-FOD-SFR
 Requirement D: ICE-ERO/FOD-LA

 The Contractors Data Universal Numbering System (DUNS) Number must be registered
 and active in the System for Award Management (SAM) at https://www.sam.gov prior to
 award and shall be notated on every invoice submitted to ensure prompt payment
 provisions are met. The ICE program office identified in the task order/contract shall also
 be notated on every invoice.

 c) Facsimile:

 Alternative Invoices shall be submitted to: (802)-288-7658

 Submissions by facsimile shall include a cover sheet, point of contact and the number of
 total pages. The Service Provider’s or Contractor’s Dunn and Bradstreet (D&B) DUNS
 Number must be registered in the System for Award Management (SAM) at
 https://www.sam.gov prior to award and shall be notated on every invoice submitted to
 ensure prompt payment provisions are met. The ICE program office identified in the task
 order/contract shall also be notated on every invoice.

 2. Content of Invoices: Each invoice shall contain the following information in
 accordance with 52.212-4 (g), as applicable:

 (i). Name and address of the Service Provider/Contractor. Note: the name, address and
 DUNS number on the invoice MUST match the information in both the
 Contract/Agreement and the information in the SAM. If payment is remitted to another
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 entity, the name, address and DUNS information of that entity must also be provided
 which will require Government verification before payment can be processed;

 (ii). Dunn and Bradstreet (D&B) DUNS Number;

 (iii). Invoice date and invoice number;

 (iv). Agreement/Contract number, contract line item number and, if applicable, the order
 number;

 (v). Description, quantity, unit of measure, unit price, extended price and period of
 performance of the items or services delivered;

 (vi). If applicable, shipping number and date of shipment, including the bill of lading
 number and weight of shipment if shipped on Government bill of lading;

 (vii). Terms of any discount for prompt payment offered;

 (viii). Remit to Address;

 (ix). Name, title, and phone number of person to resolve invoicing issues;

 (x). ICE program office designated on order/contract/agreement and

 (xi). Mark invoice as “Interim” (Ongoing performance and additional billing expected) and
 “Final” (performance complete and no additional billing)

 (xii). Electronic Funds Transfer (EFT) banking information in accordance with 52.232-33
 Payment by Electronic Funds Transfer – System for Award Management or 52.232-34,
 Payment by Electronic Funds Transfer – Other than System for Award Management.

 3. Invoice Supporting Documentation. To ensure payment, the vendor must submit
 supporting documentation which provides substantiation for the invoiced costs to the
 Contracting Officer Representative (COR) or Point of Contact (POC) identified in the
 contract. Invoice charges must align with the contract CLINs. Supporting documentation
 is required when guaranteed minimums are exceeded and when allowable costs are
 incurred.

 Details are as follows:

 (i). Guaranteed Minimums. If a guaranteed minimum is not exceeded on a CLIN(s) for the
 invoice period, no supporting documentation is required. When a guaranteed minimum is
 exceeded on a CLIN (s) for the invoice period, the Contractor is required to submit, along
 with the invoice, supporting documentation for all detention services provided during the
 invoice period which provides the information described below:
                                               33
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 • Bed day rate;
 • Detainees check-in and check-out dates;
 • Number of bed days multiplied by the bed day rate;
 • Name of each detainee;
 • Detainees identification information

 (ii). Allowable Incurred Cost. Fixed Price Items (items for allowable incurred costs, such
 as transportation services, stationary guard or escort services, transportation mileage or
 other Minor Charges such as sack lunches and detainee wages): shall be fully supported
 with documentation substantiating the costs and/or reflecting the established price in the
 contract and shall be submitted in .pdf format:

 a. Detention Bed Space Services. For detention bed space CLINs without a GM, the
 supporting documentation must include:

 • Bed day rate;
 • Detainees check-in and check-out dates;
 • Number of bed days multiplied by the bed day rate;
 • Name of each detainee;
 • Detainees identification information

 b. Transportation Services: For transportation CLINs without a GM, the supporting
 documentation must include:

 • Mileage rate being applied for that invoice;
 • Number of miles;
 • Transportation routes provided;
 • Locations serviced;
 • Names of detainees transported;
 • Itemized listing of all other charges; and,
 • For reimbursable expenses (e.g. travel expenses, special meals, etc.) copies of all
 receipts.

 c. Stationary Guard Services: The itemized monthly invoice shall state:

 • The location where the guard services were provided,
 • The employee guard names and number of hours being billed,
 • The employee guard names and duration of the billing (times and dates), and
 • for individual or detainee group escort services only, the name of the detainee(s) that
 was/were escorted.

 d. Other Direct Charges (e.g. VTC support, transportation meals/sack lunches, volunteer
 detainee wages, etc.):

                                               34
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 1) The invoice shall include appropriate supporting documentation for any direct charge
 billed for reimbursement. For charges for detainee support items (e.g. meals, wages, etc.),
 the supporting documentation should include the name of the detainee(s) supported and the
 date(s) and amount(s) of support.

 (iii) Firm Fixed-Price CLINs. Supporting documentation is not required for charges for
 FFP CLINs.

 4. Safeguarding Information: As a contractor or vendor conducting business with
 Immigration and Customs Enforcement (ICE), you are required to comply with DHS
 Policy regarding the safeguarding of Sensitive Personally Identifiable Information (PII).
 Sensitive PII is information that identifies an individual, including an alien, and could
 result in harm, embarrassment, inconvenience or unfairness. Examples of Sensitive PII
 include information such as: Social Security Numbers, Alien Registration Numbers (A-
 Numbers), or combinations of information such as the individuals name or other unique
 identifier and full date of birth, citizenship, or immigration status.

 As part of your obligation to safeguard information, the follow precautions are required:

 (i) Email supporting documents containing Sensitive PII in an encrypted attachment with
 password sent separately to the Contracting Officer Representative assigned to the
 contract.

 (ii) Never leave paper documents containing Sensitive PII unattended and unsecure. When
 not in use, these documents will be locked in drawers, cabinets, desks, etc. so the
 information is not accessible to those without a need to know.

 (iii) Use shredders when discarding paper documents containing Sensitive PII.

 (iv) Refer to the DHS Handbook for Safeguarding Sensitive Personally Identifiable
 Information (March 2012) found at http://www.dhs.gov/xlibrary/assets/privacy/dhs-
 privacy-safeguardingsensitivepiihandbook-march2012.pdf for more information on and/or
 examples of Sensitive PII.

 5. Invoice Inquiries. If you have questions regarding payment, please contact ICE
 Financial Operations at 1-877-491-6521 or by e-mail at
 OCFO.CustomerService@ice.dhs.gov.

 Invoices without the above information may be returned for resubmission.

 The preferred method of submittal is email.

                                  [END OF SECTION G]


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Section H



                                SECTION H:
                      SPECIAL CONTRACT REQUIREMENTS


1.1    CONTRACTOR’S INSURANCE

  The Contractor shall maintain insurance in an amount not less than $3,000,000 to protect the
  Contractor from claims under workman’s compensation acts and from any other claims for
  damages for personal injury, including death which may arise from operations under this
  contract whether such operations by the Contractor itself or by any subcontractor or anyone
  directly or indirectly employed by either business entity. The Contractor shall maintain
  General Liability insurance: bodily injury liability coverage written on a comprehensive
  form of policy of at least $500,000 per occurrence is required.

  Additionally, an automobile liability insurance policy providing for bodily injury and
  property damage liability covering automobiles operated in the United States shall provide
  coverage of at least $200,000 per person and $500,000 per occurrence for bodily injury and
  $20,000 per occurrence for property coverage. Certificates of such insurance shall be
  subject to the approval of the CO for adequacy of protection. All insurance certificates
  required under this contract shall provide 30 days’ notice to the Government of any
  contemplated cancellation.

  The Contractor shall provide that all staff having access to detainee monies and valuables
  are bonded in an amount sufficient to ensure reimbursement to the detainee by the
  Contractor in case of loss.


1.2    ICE Information Governance and Privacy Requirements Clause (JUL 2017)

A. Limiting Access to Privacy Act and Other Sensitive Information

(1) Privacy Act Information
In accordance with FAR 52.224-1 Privacy Act Notification (APR 1984), and FAR 52.224-2
Privacy Act (APR 1984), if this contract requires contractor personnel to have access to
information protected by the Privacy Act of 1974 the contractor is advised that the relevant DHS
system of records notices (SORNs) applicable to this Privacy Act information may be found at
www.dhs.gov/privacy. Applicable SORNS of other agencies may be accessed through the
agencies’ websites or by searching FDsys, the Federal Digital System, available at
http://www.gpo.gov/fdsys/. SORNs may be updated at any time.

(2) Prohibition on Performing Work Outside a Government Facility/Network/Equipment
The Contractor shall perform all tasks on authorized Government networks, using Government-
furnished IT and other equipment and/or Workplace as a Service (WaaS) if WaaS is authorized
by the statement of work. Government information shall remain within the confines of
authorized Government networks at all times. Except where telework is specifically authorized
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within this contract, the Contractor shall perform all tasks described in this document at
authorized Government facilities; the Contractor is prohibited from performing these tasks at or
removing Government-furnished information to any other facility; and Government information
shall remain within the confines of authorized Government facilities at all times. Contractors
may only access classified materials on government furnished equipment in authorized
government owned facilities regardless of telework authorizations.

(3) Prior Approval Required to Hire Subcontractors
The Contractor is required to obtain the Contracting Officer's approval prior to engaging in any
contractual relationship (Subcontractor) in support of this contract requiring the disclosure of
information, documentary material and/or records generated under or relating to this contract.
The Contractor (and any Subcontractor) is required to abide by Government and Agency
guidance for protecting sensitive and proprietary information.

(4) Separation Checklist for Contractor Employees
Contractor shall complete a separation checklist before any employee or Subcontractor employee
terminates working on the contract. The separation checklist must verify: (1) return of any
Government-furnished equipment; (2) return or proper disposal of sensitive personally
identifiable information (PII), in paper or electronic form, in the custody of the employee or
Subcontractor employee including the sanitization of data on any computer systems or media as
appropriate; and (3) termination of any technological access to the Contractor’s facilities or
systems that would permit the terminated employee’s access to sensitive PII. In the event of
adverse job actions resulting in the dismissal of an employee or Subcontractor employee, the
Contractor shall notify the Contracting Officer’s Representative (COR) within 24 hours. For
normal separations, the Contractor shall submit the checklist on the last day of employment or
work on the contract.

As requested, contractors shall assist the ICE Point of Contact (ICE/POC), Contracting Officer,
or COR with completing ICE Form 50-005/Contractor Employee Separation Clearance Checklist
by returning all Government-furnished property including but not limited to computer
equipment, media, credentials and passports, smart cards, mobile devices, PIV cards, calling
cards, and keys and terminating access to all user accounts and systems.

B. Privacy Training, Safeguarding, and Remediation

If the Safeguarding of Sensitive Information (MAR 2015) and Information Technology
Security and Privacy Training (MAR 2015) clauses are included in this contract, section B of
this clause is deemed self- deleting.
    (1) Required Security and Privacy Training for Contractors

Contractor shall provide training for all employees, including Subcontractors and independent
contractors who have access to sensitive personally identifiable information (PII) as well as the
creation, use, dissemination and/or destruction of sensitive PII at the outset of the employee’s
work on the contract and every year thereafter. Training must include procedures on how to
properly handle sensitive PII, including security requirements for the transporting or
transmission of sensitive PII, and reporting requirements for a suspected breach or loss of

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sensitive PII. All Contractor employees are required to take the Privacy at DHS: Protecting
Personal Information training course. This course, along with more information about DHS
security and training requirements for Contractors, is available at www.dhs.gov/dhs-security-
and-training-requirements-contractors. The Federal Information Security Management Act
(FISMA) requires all individuals accessing ICE information to take the annual Information
Assurance Awareness Training course. These courses are available through the ICE intranet site
or the Agency may also make the training available through hypertext links or CD. The
Contractor shall maintain copies of employees’ certificates of completion as a record of
compliance and must submit an annual e-mail notification to the ICE Contracting Officer’s
Representative that the required training has been completed for all the Contractor’s employees.

     (2) Safeguarding Sensitive PII Requirement
Contractor employees shall comply with the Handbook for Safeguarding sensitive PII at DHS at
all times when handling sensitive PII, including the encryption of sensitive PII as required in the
Handbook. This requirement will be flowed down to all subcontracts and lower tiered
subcontracts as well.

    (3) Non-Disclosure Agreement Requirement
All Contractor personnel that may have access to PII or other sensitive information shall be
required to sign a Non-Disclosure Agreement (DHS Form 11000-6) prior to commencing work.
The Contractor shall maintain signed copies of the NDA for all employees as a record of
compliance. The Contractor shall provide copies of the signed NDA to the Contracting Officer’s
Representative (COR) no later than two (2) days after execution of the form.

(4) Prohibition on Use of PII in Vendor Billing and Administrative Records
The Contractor’s invoicing, billing, and other financial/administrative records/databases may not
store or include any sensitive Government information, such as PII that is created, obtained, or
provided during the performance of the contract. It is acceptable to list the names, titles and
contact information for the Contracting Officer, Contracting Officer’s Representative, or other
ICE personnel associated with the administration of the contract in the invoices as needed.

(5) Reporting Suspected Loss of Sensitive PII
Contractors must report the suspected loss or compromise of sensitive PII to ICE in a timely
manner and cooperate with ICE’s inquiry into the incident and efforts to remediate any harm to
potential victims.

1. The Contractor must develop and include in its security plan (which is submitted to ICE) an
internal system by which its employees and Subcontractors are trained to identify and report the
potential loss or compromise of sensitive PII.

  2.      The Contractor must report the suspected loss or compromise of sensitive PII by its
          employees or Subcontractors to the ICE Security Operations Center (480-496-6627),
          the Contracting Officer’s Representative (COR), and the Contracting Officer within
          one (1) hour of the initial discovery.

  3.      The Contractor must provide a written report to ICE within 24 hours of the suspected

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          loss or compromise of sensitive PII by its employees or Subcontractors. The report
          must contain the following information:

a. Narrative or detailed description of the events surrounding the suspected loss or compromise
of information.
b. Date, time, and location of the incident.
c. Type of information lost or compromised.
d. Contractor’s assessment of the likelihood that the information was compromised or lost and
the reasons behind the assessment.
e. Names of person(s) involved, including victim, Contractor employee/Subcontractor and any
witnesses.
f. Cause of the incident and whether the company’s security plan was followed and, if not, which
specific provisions were not followed.
g. Actions that have been or will be taken to minimize damage and/or mitigate further
compromise.
h. Recommendations to prevent similar situations in the future, including whether the security
plan needs to be modified in any way and whether additional training may be required.

4. The Contractor shall provide full access and cooperation for all activities determined by the
Government to be required to ensure an effective incident response, including providing all
requested images, log files, and event information to facilitate rapid resolution of sensitive
information incidents.

5. At the Government’s discretion, Contractor employees or Subcontractor employees may be
identified as no longer eligible to access sensitive PII or to work on that contract based on their
actions related to the loss or compromise of sensitive PII.

6. Victim Remediation
The Contractor is responsible for notifying victims and providing victim remediation services in
the event of a loss or compromise of sensitive PII held by the Contractor, its agents, or its
Subcontractors, under this contract. Victim remediation services shall include at least 18 months
of credit monitoring and, for serious or large incidents as determined by the Government, call
center help desk services for the individuals whose sensitive PII was lost or compromised. The
Contractor and ICE will collaborate and agree on the method and content of any notification that
may be required to be sent to individuals whose sensitive PII was lost or compromised.

C. Government Records Training, Ownership, and Management

   (1) Records Management Training and Compliance

   (a) The Contractor shall provide DHS basic records management training for all employees
       and Subcontractors that have access to sensitive PII as well as to those involved in the
       creation, use, dissemination and/or destruction of sensitive PII. This training will be
       provided at the outset of the Subcontractor’s/employee’s work on the contract and every
       year thereafter. This training can be obtained via links on the ICE intranet site or it may
       be made available through other means (e.g., CD or online). The Contractor shall

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       maintain copies of certificates as a record of compliance and must submit an e-mail
       notification annually to the Contracting Officer’s Representative verifying that all
       employees working under this contract have completed the required records management
       training.

   (b) The Contractor agrees to comply with Federal and Agency records management policies,
       including those policies associated with the safeguarding of records covered by the
       Privacy Act of 1974. These policies include the preservation of all records created or
       received regardless of format, mode of transmission, or state of completion.

   (2) Records Creation, Ownership, and Disposition

   (a) The Contractor shall not create or maintain any records not specifically tied to or
       authorized by the contract using Government IT equipment and/or Government records
       or that contain Government Agency data. The Contractor shall certify in writing the
       destruction or return of all Government data at the conclusion of the contract or at a time
       otherwise specified in the contract.
   (b) Except as stated in the Performance Work Statement and, where applicable, the
       Contractor’s Commercial License Agreement, the Government Agency owns the rights to
       all electronic information (electronic data, electronic information systems or electronic
       databases) and all supporting documentation and associated metadata created as part of
       this contract. All deliverables (including all data and records) under the contract are the
       property of the U.S. Government and are considered federal records, for which the
       Agency shall have unlimited rights to use, dispose of, or disclose such data contained
       therein. The Contractor must deliver sufficient technical documentation with all data
       deliverables to permit the agency to use the data.
   (c) The Contractor shall not retain, use, sell, disseminate, or dispose of any government
       data/records or deliverables without the express written permission of the Contracting
       Officer or Contracting Officer’s Representative. The Agency and its contractors are
       responsible for preventing the alienation or unauthorized destruction of records, including
       all forms of mutilation. Willful and unlawful destruction, damage or alienation of Federal
       records is subject to the fines and penalties imposed by 18 U.S.C. § 2701. Records may
       not be removed from the legal custody of the Agency or destroyed without regard to the
       provisions of the Agency records schedules.

D. Data Privacy and Oversight

Section D applies to information technology (IT) contracts. If this is not an IT contract,
section D may read as self-deleting.

(1) Restrictions on Testing or Training Using Real Data Containing PII
The use of real data containing sensitive PII from any source for testing or training purposes is
generally prohibited. The Contractor shall use synthetic or de-identified real data for testing or
training whenever feasible. ICE policy requires that any proposal to use of real data or de-
identified data for IT system testing or training be approved by the ICE Privacy Officer and
Chief Information Security Officer (CISO) in advance. In the event performance of the contract

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requires or necessitates the use of real data for system-testing or training purposes, the
Contractor in coordination with the Contracting Officer or Contracting Officer’s Representative
and Government program manager shall obtain approval from the ICE Privacy Office and CISO
and complete any required documentation.

If this IT contract contains the Safeguarding of Sensitive Information (MAR 2015) and
Information Technology Security and Privacy Training (MAR 2015) clauses, section D(2) of
this clause is deemed self-deleting.

(2) Requirements for Contractor IT Systems Hosting Government Data
The Contractor is required to obtain a Certification and Accreditation for any IT environment
owned or controlled by the Contractor or any Subcontractor on which Government data shall
reside for the purposes of IT system development, design, data migration, testing, training,
maintenance, use, or disposal.

(3) Requirement to Support Privacy Compliance
(a) The Contractor shall support the completion of the Privacy Threshold Analysis (PTA)
document when it is required. PTAs are triggered by the creation, modification, upgrade, or
disposition of an IT system, and must be renewed at least every three years. Upon review of the
PTA, the DHS Privacy Office determines whether a Privacy Impact Assessment (PIA)
 and/or Privacy Act System of Records Notice (SORN), or modifications thereto, are required.

The Contractor shall provide adequate support to complete the PIA in a timely manner, and shall
ensure that project management plans and schedules include the PTA, PIA, and SORN (to the
extent required) as milestones. Additional information on the privacy compliance process at
DHS, including PTAs, PIAs, and SORNs, is located on the DHS Privacy Office website
(www.dhs.gov/privacy) under “Compliance.” DHS Privacy Policy Guidance Memorandum
2008-02 sets forth when a PIA will be required at DHS, and the Privacy Impact Assessment
Guidance and Template outline the requirements and format for the PIA.

(b)If the contract involves an IT system build or substantial development or changes to an IT
system that may require privacy documentation, the Contractor shall assign or procure a Privacy
Lead, to be listed under “Key Personnel.” The Privacy Lead shall be responsible for providing
adequate support to DHS to ensure DHS can complete any required PTA, PIA, SORN, or other
supporting documentation to support privacy compliance. The Privacy Lead shall work with
personnel from the program office, the ICE Privacy Office, the Office of the Chief Information
Officer, and the Records Management Branch to ensure that the privacy documentation is kept
on schedule, that the answers to questions in the PIA are thorough and complete, and that
questions asked by the ICE Privacy Office and other offices are answered in a timely fashion.
The Privacy Lead:
•Must have excellent writing skills, the ability to explain technology clearly for a non-technical
audience, and the ability to synthesize information from a variety of sources.
•Must have excellent verbal communication and organizational skills.
•Must have experience writing PIAs. Ideally the candidate would have experience writing PIAs
for DHS.
•Must be knowledgeable about the Privacy Act of1974 and the E-Government Act of 2002.

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•Must be able to work well with others.
(c)If a Privacy Lead is already in place with the program office and the contract involves IT
system builds or substantial changes that may require privacy documentation, the requirement
fora separate Private Lead specifically assigned under this contract may be waived provided the
Contractor agrees to have the existing Privacy Lead coordinate with and support the ICE
Privacy POC to ensure privacy concerns are proactively reviewed and so ICE can complete any
required PTA, PIA,SORN, or other supporting documentation to support privacy compliance if
required. The Contractor shall work with personnel from the program office, the ICE Office of
Information Governance and Privacy, and the Office of the Chief Information Officer to ensure
that the privacy documentation is kept on schedule, that the answers to questions in any privacy
documents are thorough and complete, that all records management requirements are met, and
that questions asked by the ICE Privacy Office and other offices are answered in a timely
fashion.




                                    [END OF SECTION H]




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                                     SECTION I:
                                  CONTRACT CLAUSES



I.1      CLAUSES INCORPORATED BY REFERENCE (FAR 52.252-2) (FEB 1998)

This contract incorporates the following clauses by reference with the same force and effect as if
they were given in full text. Upon request, the CO will make their full text available. Also, the
full text can be accessed electronically at this internet address:
https://www.acquisition.gov/browse/index/far

      Number       Titles                                                          DATE
      52.202-1     Definitions                                                   Nov 2013
      52.203-6     Restrictions on Subcontractor Sales to the Government         Sep 2006
      52.203-12    Limitations on Payments to Influence Certain Federal          Oct 2010
                   Transactions
      52.203-13    Contractor Code of Business Ethics and Conduct                Oct 2015
      52.203-17    Contractor Employee Whistleblower Rights and Requirement      Apr 2014
                   to Inform Employees of Whistleblower Rights
      52.203-19    Prohibition on Requiring Certain Internal Confidentiality     Jan 2017
                   Agreements or Statements
      52.204-4     Printed or Copied Double-Sided on Postconsumer Fiber          May 2011
                   Content Paper
      52.204-9     Personal Identity Verification of Contractor Personnel        Jan 2011
      52.204-10    Reporting Executive Compensation and First-Tier               Oct 2018
                   Subcontract Awards
      52.204-13    System for Award Management Maintenance                       Oct 2018
      52.204-15    Service Contract Reporting Requirements for Indefinite -      Oct 2016
                   Delivery Contracts
  52.204-18        Commercial and Government Entity Code Maintenance             Jul 2016
  52.204-19         Incorporation by Reference of Representations and            Dec 2014
                   Certifications
      52.204-21    Basic Safeguarding of Covered Contractor Information          Jun 2016
                   Systems
      52.204-23    Prohibition on Contracting for Hardware, Software, and        Jul 2018
                   Services Developed or Provided by Kaspersky Lab and Other
                   Covered Entities
      52.204-25    Prohibition on Contracting for Certain Telecommunications     Aug 2019
                   and Video Surveillance Services or Equipment.
      52.209-6     Protecting the Government’s Interest When Subcontracting      Oct 2015
                   with Contractors Debarred, Suspended, or Proposed for Debarment
      52.209-9     Updates of Publicly Available Information Regarding           Oct 2018
                   Responsibility Matters
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  52.209-10   Prohibition on Contracting with Inverted Domestic Corporations Nov 2015
  52.212-4    Contract Terms and Conditions- Commercial Items                Oct 2018
  52.219-4    Notice of Price Evaluation Preference for HUBZone Small        Oct 2014
              Business Concerns
  52.219-8    Utilization of Small Business Concerns                         Oct 2018
  52.219-9    Small Business Subcontracting Plan                             Aug 2018
  52.219-16   Liquidated Damages-Subcontracting Plan                         Jan 1999
  52.219-28   Post-Award Small Business Program Representation               Jul 2013
  52.222-1    Notice to the Government of Labor Disputes                     Feb 1997
  52.222-3    Convict Labor                                                  Jun 2003
  52.222-17   Non-displacement of Qualified Workers                          May 2014
  52.222-21   Prohibition of Segregated Facilities                           Apr 2015
  52.222-26   Equal Opportunity                                              Sep 2016
  52.222-37   Employment Reports on Veterans                                 Feb 2016
  52.222-40   Notification of Employee Rights Under the National Labor       Dec 2010
              Relations Act
  52.222-41   Service Contract Labor Standards                               Aug 2018
  52.222-43   Fair Labor Standards Act and Service Contract Labor Standards Aug 2018
              - Price Adjustment (Multiple Year and Option Contracts)
  52.222-50   Combating Trafficking in Persons                               Jan 2019
  52.222-54   Employment Eligibility Verification                            Oct 2015
  52.222-55   Minimum Wages Under Executive Order 13658                      Dec 2015
  52.222-62   Paid Sick Leave Under Executive Order 13706                    Jan 2017
  52.223-6    Drug-Free Workplace                                            May 2001
  52.223-18   Contractor Policies to Ban Text Messaging While Driving        Aug 2011
  52.223-19   Compliance with Environmental Management Systems               May 2011
  52.224-1    Privacy Act Notification                                       Apr 1984
  52.224-2    Privacy Act                                                    Apr 1984
  52.224-3    Privacy Training                                               Jan 2017
  52.225-13   Restrictions on Certain Foreign Purchases                      Jun 2008
  52.226-6    Promoting Excess Food Donation to Nonprofit Organizations      May 2014
  52.227-1    Authorization and Consent                                      Dec 2007
  52.229-3    Federal, State, and Local Taxes                                Feb 2013
  52.232-1    Payments                                                       Apr 1984
  52.232-7    Payments under Time-and-Materials and Labor-Hour Contracts Aug 2012
  52.232-8    Discounts for Prompt Payment                                   Feb 2002
  52.232-9    Limitation on Withholding of Payments                          Apr 1984
  52.232-11   Extras                                                         Apr 1984
  52.232-17   Interest                                                       May 2014
  52.232-18   Availability of Funds                                          Apr 1984
  52.232-23   Assignment of Claims                                           May 2014
  52.232-25   Prompt Payment                                                 Jan 2017
  53.232-33   Payment by Electronic Funds - System for Award Management Oct 2018

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      52.232-39       Unenforceability of Unauthorized Obligations                       Jun 2013
      52.232-40       Providing Accelerated Payments to Small Business                   Dec 2013
                      Subcontractors
      52.233-1        Disputes                                                           May 2014
      52.233-3        Protest after Award                                                Aug 1996
      52.233-4        Applicable Law for Breach of Contract Claim                        Oct 2004
      52.239-1        Privacy or Security Safeguards                                     Aug 1996
      52.242-5        Payments to Small Business Subcontractors                          Jan 2017
      52.244-5        Competition in Subcontracting                                      Dec 1996
      52.245-1        Government Property                                                Jan 2017
      52.245-9        Use and Charges                                                    Apr 2012
      52.249-2        Termination for Convenience of the Government –Fixed Price         Apr 2012
      52.249-8        Default (Fixed Price Supply and Service)                           Apr 1984
      52.253-1        Computer Generated Forms                                           Jan 1991

I.2       FAR CLAUSES INCORPORATED BY FULL TEXT

52.204-21         Basic Safeguarding of Covered Contractor Information Systems (Jun 2016)

      (a) Definitions. As used in this clause--

      “Covered contractor information system” means an information system that is owned or
      operated by a contractor that processes, stores, or transmits Federal contract information.

      “Federal contract information” means information, not intended for public release, that is
      provided by or generated for the Government under a contract to develop or deliver a product
      or service to the Government, but not including information provided by the Government to
      the public (such as on public Web sites) or simple transactional information, such as
      necessary to process payments.

      “Information” means any communication or representation of knowledge such as facts, data,
      or opinions, in any medium or form, including textual, numerical, graphic, cartographic,
      narrative, or audiovisual (Committee on National Security Systems Instruction (CNSSI)
      4009).

      “Information system” means a discrete set of information resources organized for the
      collection, processing, maintenance, use, sharing, dissemination, or disposition of
      information (44 U.S.C. 3502).

      “Safeguarding” means measures or controls that are prescribed to protect information
      systems.

      (b) Safeguarding requirements and procedures.



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     (1) The Contractor shall apply the following basic safeguarding requirements and
     procedures to protect covered contractor information systems. Requirements and
     procedures for basic safeguarding of covered contractor information systems shall
     include, at a minimum, the following security controls:

            (i) Limit information system access to authorized users, processes acting on
            behalf of authorized users, or devices (including other information systems).

            (ii) Limit information system access to the types of transactions and functions that
            authorized users are permitted to execute.

            (iii) Verify and control/limit connections to and use of external information
            systems.

            (iv) Control information posted or processed on publicly accessible information
            systems.

            (v) Identify information system users, processes acting on behalf of users, or
            devices.

            (vi) Authenticate (or verify) the identities of those users, processes, or devices, as
            a prerequisite to allowing access to organizational information systems.

            (vii) Sanitize or destroy information system media containing Federal Contract
            Information before disposal or release for reuse.

            (viii) Limit physical access to organizational information systems, equipment, and
            the respective operating environments to authorized individuals.

            (ix) Escort visitors and monitor visitor activity; maintain audit logs of physical
            access; and control and manage physical access devices.

            (x) Monitor, control, and protect organizational communications (i.e., information
            transmitted or received by organizational information systems) at the external
            boundaries and key internal boundaries of the information systems.

            (xi) Implement subnetworks for publicly accessible system components that are
            physically or logically separated from internal networks.

            (xii) Identify, report, and correct information and information system flaws in a
            timely manner.

            (xiii) Provide protection from malicious code at appropriate locations within
            organizational information systems.



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             (xiv) Update malicious code protection mechanisms when new releases are
             available.

             (xv) Perform periodic scans of the information system and real-time scans of files
             from external sources as files are downloaded, opened, or executed.

      (2) Other requirements. This clause does not relieve the Contractor of any other specific
      safeguarding requirements specified by Federal agencies and departments relating to
      covered contractor information systems generally or other Federal safeguarding
      requirements for controlled unclassified information (CUI) as established by Executive
      Order 13556.

  (c) Subcontracts. The Contractor shall include the substance of this clause, including this
  paragraph (c), in subcontracts under this contract (including subcontracts for the acquisition
  of commercial items, other than commercially available off-the-shelf items), in which the
  subcontractor may have Federal contract information residing in or transiting through its
  information system.

                                          (End of Clause)


   52.212-5 Contract Terms and Conditions Required to Implement Statutes
             or Executive Orders-Commercial Items (Oct 2019)

   (a) The Contractor shall comply with the following Federal Acquisition Regulation (FAR)
       clauses, which are incorporated in this contract by reference, to implement provisions of
       law or Executive orders applicable to acquisitions of commercial items:

         (1) 52.203-19, Prohibition on Requiring Certain Internal Confidentiality Agreements
             or Statements (Jan 2017) (section 743 of Division E, Title VII, of the Consolidated
             and Further Continuing Appropriations Act, 2015 (Pub. L. 113-235) and its
             successor provisions in subsequent appropriations acts (and as extended in
             continuing resolutions)).
         (2) 52.204-23, Prohibition on Contracting for Hardware, Software, and Services
  Developed or Provided by Kaspersky Lab and Other Covered Entities (Jul 2018) (Section
  1634 of Pub. L. 115-91).
         (3) 52.204-25, Prohibition on Contracting for Certain Telecommunications and Video
  Surveillance Services or Equipment. (Aug 2019) (Section 889(a)(1)(A) of Pub. L. 115-232).
         (4) 52.209-10, Prohibition on Contracting with Inverted Domestic Corporations
  (Nov 2015).
         (5) 52.233-3, Protest After Award (Aug 1996) (31 U.S.C. 3553).
   (6) 52.233-4, Applicable Law for Breach of Contract Claim (Oct 2004) (Public Laws 108-77
  and 108-78 (19 U.S.C. 3805 note)).
      (b) The Contractor shall comply with the FAR clauses in this paragraph (b) that the
  Contracting Officer has indicated as being incorporated in this contract by reference to
  implement provisions of law or Executive orders applicable to acquisitions of commercial

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  items:

         X - (1) 52.203-6, Restrictions on Subcontractor Sales to the Government (Sept 2006),
  with Alternate I (Oct 1995) (41 U.S.C. 4704 and 10 U.S.C. 2402).
         X - (2) 52.203-13, Contractor Code of Business Ethics and Conduct (Oct 2015)
  (41 U.S.C. 3509)).
         X - (3) 52.203-15, Whistleblower Protections under the American Recovery and
  Reinvestment Act of 2009 (June 2010) (Section 1553 of Pub. L. 111-5). (Applies to contracts
  funded by the American Recovery and Reinvestment Act of 2009.)
         X (4) 52.204-10, Reporting Executive Compensation and First-Tier Subcontract
  Awards (Oct 2018) (Pub. L. 109-282) (31 U.S.C. 6101 note).
         __ (5) [Reserved].
         X (6) 52.204-14, Service Contract Reporting Requirements (Oct 2016) (Pub. L. 111-
  117, section 743 of Div. C).

   X (7) 52.204-15, Service Contract Reporting Requirements for Indefinite-Delivery
  Contracts (Oct 2016) (Pub. L. 111-117, section 743 of Div. C).
         X (8) 52.209-6, Protecting the Government’s Interest When Subcontracting with
  Contractors Debarred, Suspended, or Proposed for Debarment. (Oct 2015) (31 U.S.C. 6101
  note).
         X (9) 52.209-9, Updates of Publicly Available Information Regarding Responsibility
  Matters (Oct 2018) (41 U.S.C. 2313).

    __ (10) [Reserved].

         __ (11) (i) 52.219-3, Notice of HUBZone Set-Aside or Sole-Source Award (Nov 2011)
  (15 U.S.C.657a).
              __ (ii) Alternate I (Nov 2011) of 52.219-3.
         __ (12) (i) 52.219-4, Notice of Price Evaluation Preference for HUBZone Small
  Business Concerns (Oct 2014) (if the offeror elects to waive the preference, it shall so
  indicate in its offer) (15 U.S.C. 657a).
              __ (ii) Alternate I (Jan 2011) of 52.219-4.
          __ (13) [Reserved]
         __ (14) (i) 52.219-6, Notice of Total Small Business Set-Aside (Nov 2011)
  (15 U.S.C.644).
    __ (ii) Alternate I (Nov 2011).
              __ (iii) Alternate II (Nov 2011).
         __ (15)
  (i) 52.219-7, Notice of Partial Small Business Set-Aside (June 2003) (15 U.S.C. 644).
              __ (ii) Alternate I (Oct 1995) of 52.219-7.
              __ (iii) Alternate II (Mar 2004) of 52.219-7.
          __ (16) 52.219-8, Utilization of Small Business Concerns (Oct 2018)
  (15 U.S.C. 637(d)(2) and (3)).
         __ (17)
  (i) 52.219-9, Small Business Subcontracting Plan (Aug 2018) (15 U.S.C. 637(d)(4))
              X (ii) Alternate I (Nov 2016) of 52.219-9.

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              __ (iii) Alternate II (Nov 2016) of 52.219-9.
              __ (iv) Alternate III (Nov 2016) of 52.219-9.
              __ (v) Alternate IV (Aug 2018) of 52.219-9
          __ (18) 52.219-13, Notice of Set-Aside of Orders (Nov 2011) (15 U.S.C. 644(r)).
          X (19) 52.219-14, Limitations on Subcontracting (Jan 2017) (15 U.S.C.637(a)(14)).
          __ (20) 52.219-16, Liquidated Damages-Subcontracting Plan (Jan 1999)
  (15 U.S.C. 637(d)(4)(F)(i)).
          __ (21) 52.219-27, Notice of Service-Disabled Veteran-Owned Small Business Set-
  Aside (Oct 2019) (15 U.S.C. 657f).
          __ (22) 52.219-28, Post Award Small Business Program Representation (Jul 2013)
  (15 U.S.C. 632(a)(2)).
          __ (23) 52.219-29, Notice of Set-Aside for, or Sole Source Award to, Economically
  Disadvantaged Women-Owned Small Business Concerns (Dec 2015) (15 U.S.C. 637(m)).
          __ (24) 52.219-30, Notice of Set-Aside for, or Sole Source Award to, Women-Owned
  Small Business Concerns Eligible Under the Women-Owned Small Business Program
  (Dec 2015) (15 U.S.C. 637(m)).
          X (25) 52.222-3, Convict Labor (June 2003) (E.O.11755).
          X (26) 52.222-19, Child Labor-Cooperation with Authorities and Remedies (Oct
  2019) (E.O.13126).
          X (27) 52.222-21, Prohibition of Segregated Facilities (Apr 2015).
         X (28) (i) 52.222-26, Equal Opportunity (Sept 2016) (E.O.11246).
              __ (ii) Alternate I (Feb 1999) of 52.222-26.
         __ (29)
  (i) 52.222-35, Equal Opportunity for Veterans (Oct 2015) (38 U.S.C. 4212).
              X (ii) Alternate I (July 2014) of 52.222-35.
         __ (30)
  (i) 52.222-36, Equal Opportunity for Workers with Disabilities (Jul 2014) (29 U.S.C.793).
              __ (ii) Alternate I (July 2014) of 52.222-36.
          __ (31) 52.222-37, Employment Reports on Veterans (Feb 2016) (38 U.S.C. 4212).

  __ (32) 52.222-40, Notification of Employee Rights Under the National Labor Relations Act
  (Dec 2010) (E.O. 13496).
         __ (33)
  (i) 52.222-50, Combating Trafficking in Persons (Jan 2019) (22 U.S.C. chapter 78 and E.O.
  13627).
              __ (ii) Alternate I (Mar 2015) of 52.222-50 (22 U.S.C. chapter 78 and E.O.
  13627).
          __ (34) 52.222-54, Employment Eligibility Verification (Oct 2015). (Executive Order
  12989). (Not applicable to the acquisition of commercially available off-the-shelf items or
  certain other types of commercial items as prescribed in 22.1803.)
         __ (35)
  (i) 52.223-9, Estimate of Percentage of Recovered Material Content for EPA–Designated
  Items (May 2008) (42 U.S.C. 6962(c)(3)(A)(ii)). (Not applicable to the acquisition of
  commercially available off-the-shelf items.)
              __ (ii) Alternate I (May 2008) of 52.223-9 (42 U.S.C. 6962(i)(2)(C)). (Not
  applicable to the acquisition of commercially available off-the-shelf items.)

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           __ (36) 52.223-11, Ozone-Depleting Substances and High Global Warming Potential
  Hydrofluorocarbons (Jun 2016) (E.O. 13693).
           __ (37) 52.223-12, Maintenance, Service, Repair, or Disposal of Refrigeration
  Equipment and Air Conditioners (Jun2016) (E.O. 13693).
         __ (38)
  (i) 52.223-13, Acquisition of EPEAT®-Registered Imaging Equipment (Jun 2014) (E.O.s
  13423 and 13514).
               __ (ii) Alternate I (Oct 2015) of 52.223-13.
         __ (39)
  (i) 52.223-14, Acquisition of EPEAT®-Registered Televisions (Jun 2014) (E.O.s 13423 and
  13514).
      __ (ii) Alternate I (Jun 2014) of 52.223-14.
           __ (40) 52.223-15, Energy Efficiency in Energy-Consuming Products (Dec 2007)
  (42 U.S.C. 8259b).
         __ (41)
  (i) 52.223-16, Acquisition of EPEAT®-Registered Personal Computer Products (Oct 2015)
  (E.O.s 13423 and 13514).
               __ (ii) Alternate I (Jun 2014) of 52.223-16.
           __ (42) 52.223-18, Encouraging Contractor Policies to Ban Text Messaging While
  Driving (Aug 2011) (E.O. 13513).
           __ (43) 52.223-20, Aerosols (Jun 2016) (E.O. 13693).
           __ (44) 52.223-21, Foams (Jun 2016) (E.O. 13693).
         __ (45)
  (i) 52.224-3 Privacy Training (Jan 2017) (5 U.S.C. 552 a).
               __ (ii) Alternate I (Jan 2017) of 52.224-3.
           __ (46) 52.225-1, Buy American-Supplies (May 2014) (41 U.S.C. chapter 83).
         __ (47)
  (i) 52.225-3, Buy American-Free Trade Agreements-Israeli Trade Act (May 2014)
  (41 U.S.C. chapter 83, 19 U.S.C. 3301 note, 19 U.S.C. 2112 note, 19 U.S.C. 3805 note, 19 U.
  S.C. 4001 note, Pub. L. 103-182, 108-77, 108-78, 108-286, 108-302, 109-53, 109-169, 109-
  283, 110-138, 112-41, 112-42, and 112-43.
               __ (ii) Alternate I (May 2014) of 52.225-3.
               __ (iii) Alternate II (May 2014) of 52.225-3.
               __ (iv) Alternate III (May 2014) of 52.225-3.
           __ (48) 52.225-5, Trade Agreements (Oct 2019) (19 U.S.C. 2501, et
  seq., 19 U.S.C. 3301 note).
           X (49) 52.225-13, Restrictions on Certain Foreign Purchases (June 2008) (E.O.’s,
  proclamations, and statutes administered by the Office of Foreign Assets Control of the
  Department of the Treasury).
           X (50) 52.225-26, Contractors Performing Private Security Functions Outside the
  United States (Oct 2016) (Section 862, as amended, of the National Defense Authorization
  Act for Fiscal Year 2008; 10 U.S.C. 2302 Note).
           __ (51) 52.226-4, Notice of Disaster or Emergency Area Set-Aside (Nov 2007)
  (42 U.S.C. 5150).
           __ (52) 52.226-5, Restrictions on Subcontracting Outside Disaster or Emergency Area
  (Nov 2007) (42 U.S.C. 5150).

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          __ (53) 52.232-29, Terms for Financing of Purchases of Commercial Items
  (Feb 2002) (41 U.S.C.4505, 10 U.S.C.2307(f)).
          X (54) 52.232-30, Installment Payments for Commercial Items (Jan 2017)
  (41 U.S.C.4505, 10 U.S.C.2307(f)).
          X (55) 52.232-33, Payment by Electronic Funds Transfer-System for Award
  Management (Oct 2018) (31 U.S.C. 3332).
          __ (56) 52.232-34, Payment by Electronic Funds Transfer-Other than System for
  Award Management (Jul 2013) (31 U.S.C.3332).
          __ (57) 52.232-36, Payment by Third Party (May 2014) (31 U.S.C.3332).
          __ (58) 52.239-1, Privacy or Security Safeguards (Aug 1996) (5 U.S.C. 552a).
          __ (59) 52.242-5, Payments to Small Business Subcontractors
  (Jan 2017) (15 U.S.C. 637(d)(13)).
         __ (60)
  (i) 52.247-64, Preference for Privately Owned U.S.-Flag Commercial Vessels (Feb 2006)
  (46 U.S.C. Appx. 1241(b) and 10 U.S.C. 2631).

   __ (ii) Alternate I (Apr 2003) of 52.247-64.
               __ (iii) Alternate II (Feb 2006) of 52.247-64.
      (c) The Contractor shall comply with the FAR clauses in this paragraph (c), applicable to
  commercial services, that the Contracting Officer has indicated as being incorporated in this
  contract by reference to implement provisions of law or Executive orders applicable to
  acquisitions of commercial items:
     [Contracting Officer check as appropriate.]
           __ (1) 52.222-17, Nondisplacement of Qualified Workers (May 2014)(E.O. 13495).
           X (2) 52.222-41, Service Contract Labor Standards (Aug 2018)
  (41 U.S.C. chapter 67).
           __ (3) 52.222-42, Statement of Equivalent Rates for Federal Hires (May 2014)
  (29 U.S.C. 206 and 41 U.S.C. chapter 67).
           __ (4) 52.222-43, Fair Labor Standards Act and Service Contract Labor Standards-
  Price Adjustment (Multiple Year and Option Contracts) (Aug 2018)
  (29 U.S.C. 206 and 41 U.S.C. chapter 67).
           __ (5) 52.222-44, Fair Labor Standards Act and Service Contract Labor Standards-
  Price Adjustment (May 2014) (29 U.S.C. 206 and 41 U.S.C. chapter 67).
           __ (6) 52.222-51, Exemption from Application of the Service Contract Labor
  Standards to Contracts for Maintenance, Calibration, or Repair of Certain Equipment-
  Requirements (May 2014) (41 U.S.C. chapter 67).
           __ (7) 52.222-53, Exemption from Application of the Service Contract Labor
  Standards to Contracts for Certain Services-Requirements (May 2014)
  (41 U.S.C. chapter 67).
           X (8) 52.222-55, Minimum Wages Under Executive Order 13658 (Dec 2015).
           __ (9) 52.222-62, Paid Sick Leave Under Executive Order 13706 (Jan 2017) (E.O.
  13706).
           __ (10) 52.226-6, Promoting Excess Food Donation to Nonprofit Organizations
  (May 2014) (42 U.S.C. 1792).
      (d) Comptroller General Examination of Record. The Contractor shall comply with the
  provisions of this paragraph (d) if this contract was awarded using other than sealed bid, is in

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  excess of the simplified acquisition threshold, and does not contain the clause at 52.215-2,
  Audit and Records-Negotiation.
          (1) The Comptroller General of the United States, or an authorized representative of
  the Comptroller General, shall have access to and right to examine any of the Contractor’s
  directly pertinent records involving transactions related to this contract.
          (2) The Contractor shall make available at its offices at all reasonable times the
  records, materials, and other evidence for examination, audit, or reproduction, until 3 years
  after final payment under this contract or for any shorter period specified in
  FAR subpart 4.7, Contractor Records Retention, of the other clauses of this contract. If this
  contract is completely or partially terminated, the records relating to the work terminated
  shall be made available for 3 years after any resulting final termination settlement. Records
  relating to appeals under the disputes clause or to litigation or the settlement of claims arising
  under or relating to this contract shall be made available until such appeals, litigation, or
  claims are finally resolved.
          (3) As used in this clause, records include books, documents, accounting procedures
  and practices, and other data, regardless of type and regardless of form. This does not require
  the Contractor to create or maintain any record that the Contractor does not maintain in the
  ordinary course of business or pursuant to a provision of law.
      (e)
  (1) Notwithstanding the requirements of the clauses in paragraphs (a), (b), (c), and (d) of this
  clause, the Contractor is not required to flow down any FAR clause, other than those in this
  paragraph (e)(1) in a subcontract for commercial items. Unless otherwise indicated below,
  the extent of the flow down shall be as required by the clause-
             (i) 52.203-13, Contractor Code of Business Ethics and Conduct (Oct 2015)
  (41 U.S.C. 3509).
             (ii) 52.203-19, Prohibition on Requiring Certain Internal Confidentiality
  Agreements or Statements (Jan 2017) (section 743 of Division E, Title VII, of the
  Consolidated and Further Continuing Appropriations Act, 2015 (Pub. L. 113-235) and its
  successor provisions in subsequent appropriations acts (and as extended in continuing
  resolutions)).
             (iii) 52.204-23, Prohibition on Contracting for Hardware, Software, and Services
  Developed or Provided by Kaspersky Lab and Other Covered Entities (Jul 2018) (Section
  1634 of Pub. L. 115-91).
             (iv) 52.204-25, Prohibition on Contracting for Certain Telecommunications and
  Video Surveillance Services or Equipment. (Aug 2019) (Section 889(a)(1)(A) of Pub. L. 115-
  232).
             (v) 52.219-8, Utilization of Small Business Concerns (Oct 2018)
  (15 U.S.C.637(d)(2) and (3)), in all subcontracts that offer further subcontracting
  opportunities. If the subcontract (except subcontracts to small business concerns) exceeds
  $700,000 ($1.5 million for construction of any public facility), the subcontractor must
  include 52.219-8 in lower tier subcontracts that offer subcontracting opportunities.
             (vi) 52.222-17, Nondisplacement of Qualified Workers (May 2014) (E.O. 13495).
  Flow down required in accordance with paragraph (l) of FAR clause 52.222-17.
             (vii) 52.222-21, Prohibition of Segregated Facilities (Apr 2015).
             (viii) 52.222-26, Equal Opportunity (Sept 2015) (E.O.11246).
             (ix) 52.222-35, Equal Opportunity for Veterans (Oct 2015) (38 U.S.C.4212).

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             (x) 52.222-36, Equal Opportunity for Workers with Disabilities (Jul 2014)
  (29 U.S.C.793).
             (xi) 52.222-37, Employment Reports on Veterans (Feb 2016) (38 U.S.C.4212)
             (xii) 52.222-40, Notification of Employee Rights Under the National Labor
  Relations Act (Dec 2010) (E.O. 13496). Flow down required in accordance with paragraph
  (f) of FAR clause 52.222-40.
             (xiii) 52.222-41, Service Contract Labor Standards (Aug 2018)
  (41 U.S.C. chapter 67).
             (xiv)
  (A) 52.222-50, Combating Trafficking in Persons (Jan 2019) (22 U.S.C. chapter 78 and E.O
  13627).
                (B) Alternate I (Mar 2015) of 52.222-50(22 U.S.C. chapter 78 and E.O 13627).
             (xv) 52.222-51, Exemption from Application of the Service Contract Labor
  Standards to Contracts for Maintenance, Calibration, or Repair of Certain Equipment-
  Requirements (May 2014) (41 U.S.C. chapter 67).
             (xvi) 52.222-53, Exemption from Application of the Service Contract Labor
  Standards to Contracts for Certain Services-Requirements (May 2014)
  (41 U.S.C. chapter 67).
             (xvii) 52.222-54, Employment Eligibility Verification (Oct 2015) (E.O. 12989).
             (xviii) 52.222-55, Minimum Wages Under Executive Order 13658 (Dec 2015).
             (xix) 52.222-62, Paid Sick Leave Under Executive Order 13706 (Jan 2017) (E.O.
  13706).
             (xx)
  (A) 52.224-3, Privacy Training (Jan 2017) (5 U.S.C. 552a).
                (B) Alternate I (Jan 2017) of 52.224-3.
             (xxi) 52.225-26, Contractors Performing Private Security Functions Outside the
  United States (Oct 2016) (Section 862, as amended, of the National Defense Authorization
  Act for Fiscal Year 2008; 10 U.S.C. 2302 Note).
             (xxii) 52.226-6, Promoting Excess Food Donation to Nonprofit Organizations
  (May 2014) (42 U.S.C. 1792). Flow down required in accordance with paragraph (e) of FAR
  clause 52.226-6.
             (xxiii) 52.247-64, Preference for Privately Owned U.S.-Flag Commercial Vessels
  (Feb 2006) (46 U.S.C. Appx.1241(b) and 10 U.S.C.2631). Flow down required in accordance
  with paragraph (d) of FAR clause 52.247-64.
          (2) While not required, the Contractor may include in its subcontracts for commercial
  items a minimal number of additional clauses necessary to satisfy its contractual obligations.

                                     (End of clause)

  Alternate I (Feb 2000). As prescribed in 12.301(b)(4)(i), delete paragraph (d) from the basic
  clause, redesignate paragraph (e) as paragraph (d), and revise the reference to “paragraphs
  (a), (b), (c), or (d) of this clause” in the redesignated paragraph (d) to read “paragraphs (a),
  (b), and (c) of this clause”.
  Alternate II (Aug 2019). As prescribed in 12.301(b)(4)(ii), substitute the following
  paragraphs (d)(1) and (e)(1) for paragraphs (d)(1) and (e)(1) of the basic clause as follows:
  (d)(1) The Comptroller General of the United States, an appropriate Inspector General

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  appointed under section 3 or 8 G of the Inspector General Act of 1978 (5 U.S.C. App.), or an
  authorized representative of either of the foregoing officials shall have access to and right
  to—
  (i) Examine any of the Contractor’s or any subcontractors’ records that pertain to, and
  involve transactions relating to, this contract; and
  (ii) Interview any officer or employee regarding such transactions.
  (e)(1) Notwithstanding the requirements of the clauses in paragraphs (a), (b), and (c), of this
  clause, the Contractor is not required to flow down any FAR clause in a subcontract for
  commercial items, other than-
  (i) Paragraph (d) of this clause. This paragraph flows down to all subcontracts, except the
  authority of the Inspector General under paragraph (d)(1)(ii) does not flow down; and
  (ii) Those clauses listed in this paragraph (e)(1). Unless otherwise indicated below, the
  extent of the flow down shall be as required by the clause-
  (A) 52.203-13, Contractor Code of Business Ethics and Conduct (Oct 2015)
  (41 U.S.C. 3509).
  (B) 52.203-15, Whistleblower Protections Under the American Recovery and Reinvestment
  Act of 2009 (Jun 2010) (Section 1553 of Pub. L. 111-5).
  (C) 52.204-23, Prohibition on Contracting for Hardware, Software, and Services Developed
  or Provided by Kaspersky Lab and Other Covered Entities (Jul 2018) (Section 1634 of Pub.
  L. 115-91).
  (D) 52.204-25, Prohibition on Contracting for Certain Telecommunications and Video
  Surveillance Services or Equipment. (Aug 2019) (Section 889(a)(1)(A) of Pub. L. 115-232).
  (E) 52.219-8, Utilization of Small Business Concerns (Oct 2018)
  (15 U.S.C. 637(d)(2) and (3)), in all subcontracts that offer further subcontracting
  opportunities. If the subcontract (except subcontracts to small business concerns) exceeds
  $700,000 ($1.5 million for construction of any public facility), the subcontractor must
  include 52.219-8 in lower tier subcontracts that offer subcontracting opportunities.
  (F) 52.222-21, Prohibition of Segregated Facilities (Apr 2015).
  (G) 52.222-26, Equal Opportunity (Sept 2016) (E.O. 11246).
  (H) 52.222-35, Equal Opportunity for Veterans (Oct 2015) (38 U.S.C. 4212).
  (I) 52.222-36, Equal Opportunity for Workers with Disabilities (Jul2014) (29 U.S.C. 793).
  (J) 52.222-40, Notification of Employee Rights Under the National Labor Relations Act
  (Dec 2010) (E.O. 13496). Flow down required in accordance with paragraph (f) of FAR
  clause 52.222-40.
  (K) 52.222-41, Service Contract Labor Standards (Aug 2018) (41 U.S.C.chapter 67).
  (L) ___(1) 52.222-50, Combating Trafficking in Persons (Jan 2019)
  (22 U.S.C. chapter 78 and E.O 13627).
       ___(2) Alternate I (Mar2015) of 52.222-50 (22 U.S.C. chapter 78 and E.O 13627).
  (M) 52.222-51, Exemption from Application of the Service Contract Labor Standards to
  Contracts for Maintenance, Calibration, or Repair of Certain Equipment-Requirements
  (May 2014) (41 U.S.C. chapter 67).
  (N) 52.222-53, Exemption from Application of the Service Contract Labor Standards to
  Contracts for Certain Services-Requirements (May2014) (41 U.S.C. chapter 67).
  (O) 52.222-54, Employment Eligibility Verification (Oct 2015) (Executive Order 12989).
  (P) 52.222-55, Minimum Wages Under Executive Order 13658 (Dec 2015).
  (Q) 52.222-62, Paid Sick Leave Under Executive Order 13706 (Jan 2017) (E.O. 13706).

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   (R)(1) 52.224-3, Privacy Training (Jan 2017) (5 U.S.C. 552a).
      (2) Alternate I (Jan 2017) of 52.224-3.
   (S) 52.225-26, Contractors Performing Private Security Functions Outside the United States
   (Oct 2016) (Section 862, as amended, of the National Defense Authorization Act for Fiscal
   Year 2008; 10 U.S.C. 2302 Note).
   (T) 52.226-6, Promoting Excess Food Donation to Nonprofit Organizations. (May 2014)
   (42 U.S.C. 1792). Flow down required in accordance with paragraph (e) of FAR
   clause 52.226-6.
   (U) 52.247-64, Preference for Privately Owned U.S.-Flag Commercial Vessels (Feb 2006)
   (46 U.S.C. Appx. 1241(b) and 10 U.S.C. 2631). Flow down required in accordance with
   paragraph (d) of FAR clause 52.247-64 .


52.216-18         Ordering (Oct 1995)

   (a) Any supplies and services to be furnished under this contract shall be ordered by issuance of
   delivery orders or task orders by the individuals or activities designated in the Schedule. Such orders
   may be issued between 12/20/2019 to 12/19/2034.

   (b) All delivery orders or task orders are subject to the terms and conditions of this contract. In the
   event of conflict between a delivery order or task order and this contract, this contract shall control.

   (c) If mailed, a delivery order or task order is considered “issued” when the Government deposits the
   order in the mail. Orders may be issued orally, by facsimile, or by electronic commerce methods only
   if authorized in the Schedule.

                                                (End of Clause)

52.216-19           Ordering Limitations (Oct 1995)

   (a) Minimum order. When the Government requires supplies or services covered by this
   contract in an amount not less than $100,000, or a different amount proposed by the
   Contractor and accepted by the Government, the Government is not obligated to purchase,
   nor is the Contractor obligated to furnish, those supplies or services under the contract.

   (b) Maximum order.

   The Contractor is not obligated to honor --

       (1) Any order for a single item in excess of the total value of the CLIN set forth in this
       Contract pursuant to which such services are being ordered under;

       (2) Any order for a combination of items in excess of the total combined value of the
       CLINs set forth in this the Contract which such services are being ordered under; or

       (3) A series of orders from the same ordering office within 365 days that together call for
       quantities exceeding the limitation in subparagraph (b)(1) or (2) of this section.

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   (c) If this is a requirements contract (i.e., includes the Requirements clause at subsection
   52.216- 21 of the Federal Acquisition Regulation (FAR)), the Government is not required to
   order a part of any one requirement from the Contractor if that requirement exceeds the
   maximum-order limitations in paragraph (b) of this section.

  (d) Notwithstanding paragraphs (b) and (c) of this section, the Contractor shall honor any
  order exceeding the maximum order limitations in paragraph (b), unless that order (or orders)
  is returned to the ordering office within 5 days after issuance, with written notice stating the
  Contractor’s intent not to ship the item (or items) called for and the reasons. Upon receiving
  this notice, the Government may acquire the supplies or services from another source.

                                           (End of Clause)

52.216-22        Indefinite Quantity (Oct 1995)

  (a) This is an indefinite-quantity contract for the supplies or services specified, and
  effective for the period stated in the Schedule. The quantities of supplies and services
  specified in the Schedule are estimates only and are not purchased by this contract.

  (b) Delivery or performance shall be made only as authorized by orders issued in
  accordance with the Ordering clause. The Contractor shall furnish to the Government,
  when and if ordered, the supplies or services specified in the Schedule up to and
  including the quantity designated in the Schedule as the "maximum." The Government
  shall order at least the quantity of supplies or services designated in the Schedule as the
  "minimum."

  (c) Except for any limitations on quantities in the Delivery-Order Limitations clause or
  in the Schedule, there is no limit on the number of orders that may be issued. The
  Government may issue orders requiring delivery to multiple destinations or
  performance at multiple locations.

  (d) Any order issued during the effective period of this contract and not completed
  within that period shall be completed by the Contractor within the time specified in the
  order. The contract shall govern the Contractor's and Government's rights and
  obligations with respect to that order to the same extent as if the order were completed
  during the contract's effective period; provided, that the Contractor shall not be required
  to make any deliveries under this contact after the period of performance end date of the
  IDIQ.

                                          (End of Clause)


52.217-9      Option to Extend the Term of the Contract (Mar 2000)

  (a) The Government may extend the term of this contract by written notice to the
  Contractor within the performance period provided that the Government gives the
  Contractor a preliminary written notice of its intent to extend at least 1 day before the
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  contract expires. The preliminary notice does not commit the Government to an
  extension.

  (b) If the Government exercises this option, the extended contract shall be
  considered to include this option clause.

  (c) The total duration of this contract, including the exercise of any options
  under this clause, shall not exceed 15 Years.

                                              (End of Clause)

52.222-35     Equal Opportunity Veterans (Oct 2015)

  (a) Definitions. As used in this clause--

  “Active duty wartime or campaign badge veteran,” “Armed Forces service medal veteran,”
  “disabled veteran,” “protected veteran,” “qualified disabled veteran,’ and “recently separated
  veteran” have the meanings given at FAR 22.1301.

  (b) Equal opportunity clause. The Contractor shall abide by the requirements of the equal
  opportunity clause at 41 CFR 60-300.5(a), as of March 24, 2014. This clause prohibits
  discrimination against qualified protected veterans, and requires affirmative action by the
  Contractor to employ and advance in employment qualified protected veterans.

  (c) Subcontracts. The Contractor shall insert the terms of this clause in subcontracts of
  $150,000 or more unless exempted by rules, regulations, or orders of the Secretary of Labor.
  The Contractor shall act as specified by the Director, Office of Federal Contract Compliance
  Programs, to enforce the terms, including action for noncompliance. Such necessary changes
  in language may be made as shall be appropriate of identify properly the parties and their
  undertakings.

  (d) Notwithstanding the provisions of this section, the Contractor will not be obligated to
  develop the written affirmative action program required under the regulations implementing
  the Vietnam Era Veterans’ Readjustment Assistance Act (VEVRAA).

                                              (End of Clause)

52.222-36     Equal Opportunity for Workers with Disabilities (Jul 2014)

  (a) Equal opportunity clause. The Contractor shall abide by the requirements of the equal
  opportunity clause at 41 CFR 60.741.5(a), as of March 24, 2014. This clause prohibits
  discrimination against qualified individuals on the basis of disability and requires affirmative
  action by the Contractor to employ and advance in employment qualified individuals with
  disabilities.



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      (b) Subcontracts. The Contractor shall include the terms of this clause in every subcontract or
      purchase order in excess of $15,000 unless exempted by rules, regulations, or orders of the
      Secretary, so that such provisions will be binding upon each subcontractor or vendor. The
      Contractor shall act as specified by the Director, Office of Federal Contract Compliance
      Programs of the U.S. Department of Labor, to enforce the terms, including action for
      noncompliance. Such necessary changes in language may be made as shall be appropriate to
      identify properly the parties and their undertakings.

      (c) Notwithstanding the provisions of this section, the Contractor will not be obligated to
      develop the written affirmative action program required under the regulations implementing
      section 503 of the Rehabilitation Act of 1973, as amended.

                                             (End of Clause)

I.3       HSAR CLAUSES INCORPORATED BY REFERENCE

   Number             Titles                                                              DATE
  3052.203-70       Instructions for Contractor Disclosure of Violations                Sep 2012
  3052.225-70       Requirement for Use of Certain Domestic Commodities                 Aug 2009

I.4       HSAR CLAUSES INCORPORATED IN FULL TEXT

3052.204-71 Contractor Employee Access (Sep 2012)

       (a) Sensitive Information, as used in this clause, means any information, which if lost,
       misused, disclosed, or, without authorization is accessed, or modified, could adversely affect
       the national or homeland security interest, the conduct of Federal programs, or the privacy
       to which individuals are entitled under section 552a of title 5, United States Code (the
       Privacy Act), but which has not been specifically authorized under criteria established by an
       Executive Order or an Act of Congress to be kept secret in the interest of national defense,
       homeland security or foreign policy. This definition includes the following categories of
       information:

          (1) Protected Critical Infrastructure Information (PCII) as set out in the Critical
          Infrastructure Information Act of 2002 (Title II, Subtitle B, of the Homeland Security
          Act, Public Law 107-296, 196 Stat. 2135), as amended, the implementing regulations
          thereto (Title 6, Code of Federal Regulations, Part 29) as amended, the applicable PCII
          Procedures Manual, as amended, and any supplementary guidance officially
          communicated by an authorized official of the Department of Homeland Security
          (including the PCII Program Manager or his/her designee);

          (2) Sensitive Security Information (SSI), as defined in Title 49, Code of Federal
          Regulations, Part 1520, as amended, “Policies and Procedures of Safeguarding and
          Control of SSI,” as amended, and any supplementary guidance officially communicated
          by an authorized official of the Department of Homeland Security (including the
          Assistant Secretary for the Transportation Security Administration or his/her designee);

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     (3) Information designated as “For Official Use Only,” which is unclassified information
     of a sensitive nature and the unauthorized disclosure of which could adversely impact a
     person’s privacy or welfare, the conduct of Federal programs, or other programs or
     operations essential to the national or homeland security interest; and

     (4) Any information that is designated “sensitive” or subject to other controls, safeguards
     or protections in accordance with subsequently adopted homeland security information
     handling procedures.

   (b) “Information Technology Resources” include, but are not limited to, computer
   equipment, networking equipment, telecommunications equipment, cabling, network drives,
   computer drives, network software, computer software, software programs, intranet sites,
   and internet sites.

   (c) Contractor employees working on this contract must complete such forms as may be
   necessary for security or other reasons, including the conduct of background investigations
   to determine suitability. Completed forms shall be submitted as directed by the Contracting
   Officer. Upon the Contracting Officer's request, the Contractor's employees shall be
   fingerprinted, or subject to other investigations as required. All Contractor employees
   requiring recurring access to Government facilities or access to sensitive information or IT
   resources are required to have a favorably adjudicated background investigation prior to
   commencing work on this contract unless this requirement is waived under Departmental
   procedures.

   (d) The Contracting Officer may require the Contractor to prohibit individuals from working
   on the contract if the Government deems their initial or continued employment contrary to
   the public interest for any reason, including, but not limited to, carelessness,
   insubordination, incompetence, or security concerns.

   (e) Work under this contract may involve access to sensitive information. Therefore, the
   Contractor shall not disclose, orally or in writing, any sensitive information to any person
   unless authorized in writing by the Contracting Officer. For those Contractor employees
   authorized access to sensitive information, the Contractor shall ensure that these persons
   receive training concerning the protection and disclosure of sensitive information both
   during and after contract performance.

   (f) The Contractor shall include the substance of this clause in all subcontracts at any tier
   where the subcontractor may have access to Government facilities, sensitive information, or
   resources.




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3052.204-71 Contractor Employee Access ALTERNATE I (SEP 2012)

    (g) Before receiving access to IT resources under this contract the individual must receive a
    security briefing, which the Contracting Officer’s Technical Representative (COTR) will
    arrange and complete any nondisclosure agreement furnished by DHS.

    (h) The Contractor shall have access only to those areas of DHS information technology
    resources explicitly stated in this contract or approved by the COTR in writing as necessary
    for performance of the work under this contract. Any attempts by Contractor personnel to
    gain access to any information technology resources not expressly authorized by the
    statement of work, other terms and conditions in this contract, or as approved in writing by
    the COTR, is strictly prohibited. In the event of violation of this provision, DHS will take
    appropriate actions with regard to the contract and the individual(s) involved.

    (i) Contractor access to DHS networks from a remote location is a temporary privilege for
    mutual convenience while the Contractor performs business for the DHS Component. It is
    not a right, a guarantee of access, a condition of the contract, or Government Furnished
    Equipment (GFE).

    (j) Contractor access will be terminated for unauthorized use. The Contractor agrees to hold
    and save DHS harmless from any unauthorized use and agrees not to request additional time
    or money under the contract for any delays resulting from unauthorized use or access.

    (k) Non-U.S. citizens shall not be authorized to access or assist in the development,
    operation, management or maintenance of Department IT systems under the contract, unless
    a waiver has been granted by the Head of the Component or designee, with the concurrence
    of both the Department’s Chief Security Officer (CSO) and the Chief Information Officer
    (CIO) or their designees. Within DHS Headquarters, the waiver may be granted only with
    the approval of both the CSO and the CIO or their designees. In order for a waiver to be
    granted:

      (1) There must be a compelling reason for using this individual as opposed to a U. S.
      citizen; and
      (2) The waiver must be in the best interest of the Government.
           (l) Contractors shall identify in their proposals the names and citizenship of all non-
           U.S. citizens proposed to work under the contract. Any additions or deletions of non-
           U.S. citizens after contract award shall also be reported to the Contracting Officer.

                                          (End of Clause)

3052.212-70 Contract Terms and Conditions Applicable to DHS Acquisition of Commercial
Items (SEP 2012)

   The Contractor agrees to comply with any provision or clause that is incorporated herein by
   reference to implement agency policy applicable to acquisition of commercial items or
   components. The provision or clause in effect based on the applicable regulation cited on the
   date the solicitation is issued applies unless otherwise stated herein. The following HSAR
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  clauses are incorporated by reference:

  __X__3052.204-71 Contractor Employee Access.
  __X__Alternate I
  __X__3052.205-70 Advertisement, Publicizing Awards, and Releases.
  __X__Alternate I

  ____3052.209-73 Limitation on Future Contracting.
  __X__3052.215-70 Key Personnel or Facilities.
  ____3052.216-71 Determination of Award Fee.
  ____3052.216-72 Performance Evaluation Plan.
  ____3052.216-73 Distribution of Award Fee.
  ____3052.217-91 Performance. (USCG)
  ____3052.217-92 Inspection and Manner of Doing Work. (USCG)
  ____3052.217-93 Subcontracts. (USCG)
  ____3052.217-94 Lay Days. (USCG)
  ____3052.217-95 Liability and Insurance. (USCG)
  ____3052.217-96 Title. (USCG)
  ____3052.217-97 Discharge of Liens. (USCG)
  ____3052.217-98 Delays. (USCG)
  ____3052.217-99 Department of Labor Safety and Health Regulations for Ship Repair
  (USCG)
  ____3052.217-100 Guarantee. (USCG)
  __X __3052.219-70 Small Business Subcontracting Plan Reporting.
  __X__3052.219-71 DHS Mentor Protégé Program.
  __X__3052.219-72 Evaluation of Prime Contractor Participation in the DHS Mentor-Protégé
  Program
  __X__3052.222-70 Strikes or Picketing Affecting Timely Completion of the Contract Work
  __X__3052.222-71 Strikes or Picketing Affecting Access to a DHS Facility
  ____3052.228-70 Insurance.
  ____3052.228-90 Notification of Miller Act Payment Bond Protection. (USCG)
  ____3052.228-91 Loss of or Damage to Leased Aircraft. (USCG)
  ____3052.228-92 Fair Market Value of Aircraft. (USCG)
  ____3052.228-93 Risk and Indemnities. (USCG)
  ____3052.236-70 Special Provisions for Work at Operating Airports.
  __X__3052.242-72 Contracting Officer’s Technical Representative.
  ____3052.247-70 F.o.B. Origin Information.
  ____Alternate I
  ____Alternate II
  ____3052.247-71 F.o.B. Origin Only.
  ____3052.247-72 F.o.B. Destination Only.

                                           (End of Clauses)




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3052.215-70 Key Personnel or Facilities (Dec 2003)

       (a)    The personnel or facilities specified below are considered essential to the
       work being performed under this contract and may, with the consent of the
       contracting parties, be changed from time to time during the course of the
       contract by adding or deleting personnel or facilities, as appropriate.

       (b)   Before removing or replacing any of the specified individuals or facilities, the
       Contractor shall notify the Contracting Officer, in writing, before the change
       becomes effective. The Contractor shall submit sufficient information to support the
       proposed action and to enable the Contracting Officer to evaluate the potential
       impact of the change on this contract. The Contractor shall not remove or replace
       personnel or facilities until the Contracting Officer approves the change.

              The Key Personnel or Facilities under this Contract: see (Staffing Plan and Key
              Personnel) and Section C (Performance Work Statement).

                                          (End of Clause)

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                                    [END OF SECTION I]




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                                SECTION J:
                          LIST OF ATTACHMENTS


                                   PWS Attachments

Attachment 1:     G-391 Attachments
Attachment 2:     QASP Documents
Attachment 3:     IHSC National Formulary FY 2019
Attachment 4:     IHSC Form 067 Request for approval of non-formulary medications
Attachment 5:     IHSC Minimum Staffing Requirements Standards
Attachment 6:     IHSC Intake Screening Form
Attachment 7:     IHSC Sample Clinical Practice Guidelines
Attachment 8:     IHSC electronic Quality Medical Care (QMC) Audit tool
Attachment 9:     IHSC electronic Quality Medical Care (QMC) Incident Report
Attachment 10:    Requirements Traceable Matrix (RTM)
Attachment 11:    ICE Firearms Policy
Attachment 12:    ICE Body Armor Policy
Attachment 13:    Lyons Settlement Agreement
Attachment 14:    Franco Settlement Agreement
Attachment 15:    Screening ICE Detainees Health Form
Attachment 16:    PWS Addendum 1
Attachment 17:    Requirement C PWS Addendum
Attachment 18:    Section B Supplies or Services and Price Costs
Attachment 19:    Section C Performance Work Statement Dated 10-25-2019
Attachment 20:    Contract Clauses
Attachment 21:    Section K completed by Offeror
Attachment 22:    Contractor’s Proposal dated 12/18/2019
Attachment 23:    ICE Design Standards for CDFs
Attachment 24:    Executive Office for Immigration Review (EOIR) Design Standards
Attachment 25:    Structure Cable Plant Standards
Attachment 26:    Health Design Standards
Attachment 27:    IHSC Design Standards Supplement
Attachment 28:    Wage Determination No. 2015-5603 Rev. 10 Date: 08/02/2019



                                  Contract References
 Performance-Based National Detention     http://www.ice.gov/detention-standards/2011/
 Standards (PBNDS) 2011 w/2016 Revisions
 American Correctional Association (ACA)  http://www.aca.org/
                                [END OF SECTION] -

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                ATTACHMENT 21
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Section K



                             SECTION K:
              REPRESENTATIONS, CERTIFICATIONS, AND OTHER
               STATEMENTS OF OFFERORS OR RESPONDENTS

      *Note: All information in this section of the solicitation is applicable to all awards for
                                   Requirements A, B, C and D*

K1.     PROVISIONS INCORPORATED BY REFERENCE

  Number            Titles                                                                DATE
  52.225-25         Prohibition on Contracting with Entities Engaging in Certain         Aug 2018
                    Activities or Transactions Relating to Iran-Representation and
                    Certification


K2.     PROVISIONS INCORPORATED IN FULL TEXT


52.204-24       Representation Regarding Certain Telecommunications and Video
                Surveillance Services or Equipment (Aug 2019)

   (a) Definitions. As used in this provision—

    “Covered telecommunications equipment or services”, “Critical technology”, and
   “Substantial or essential component” have the meanings provided in clause 52.204-25,
   Prohibition on Contracting for Certain Telecommunications and Video Surveillance Services
   or Equipment.

       (b) Prohibition. Section 889(a)(1)(A) of the John S. McCain National Defense
      Authorization Act for Fiscal Year 2019 (Pub. L. 115-232) prohibits the head of an executive
      agency on or after August 13, 2019, from procuring or obtaining, or extending or renewing a
      contract to procure or obtain, any equipment, system, or service that uses covered
      telecommunications equipment or services as a substantial or essential component of any
      system, or as critical technology as part of any system. Contractors are not prohibited from
      providing—

        (1) A service that connects to the facilities of a third-party, such as backhaul, roaming, or
        interconnection arrangements; or

        (2) Telecommunications equipment that cannot route or redirect user data traffic or permit
        visibility into any user data or packets that such equipment transmits or otherwise handles.

   (c) Representation. The Offeror represents that—

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       It □ will, □ will not provide covered telecommunications equipment or services to the
       Government in the performance of any contract, subcontract or other contractual
       instrument resulting from this solicitation.

   (d) Disclosures. If the Offeror has responded affirmatively to the representation in paragraph
   (c) of this provision, the Offeror shall provide the following information as part of the offer

      (1) All covered telecommunications equipment and services offered (include brand;
      model number, such as original equipment manufacturer (OEM) number, manufacturer
      part number, or wholesaler number; and item description, as applicable);

      (2) Explanation of the proposed use of covered telecommunications equipment and
      services and any factors relevant to determining if such use would be permissible under
      the prohibition in paragraph (b) of this provision;

      (3) For services, the entity providing the covered telecommunications services (include
      entity name, unique entity identifier, and Commercial and Government Entity (CAGE)
      code, if known); and

      (4) For equipment, the entity that produced the covered telecommunications equipment
      (include entity name, unique entity identifier, CAGE code, and whether the entity was the
      OEM or a distributor, if known).

                                        (End of provision)

52.209-7      Information Regarding Responsibility Matters (Oct 2018)

(a) Definitions. As used in this provision—

       “Administrative proceeding” means a non-judicial process that is adjudicatory in nature
       in order to make a determination of fault or liability (e.g., Securities and Exchange
       Commission Administrative Proceedings, Civilian Board of Contract Appeals
       Proceedings, and Armed Services Board of Contract Appeals Proceedings). This includes
       administrative proceedings at the Federal and State level but only in connection with
       performance of a Federal contract or grant. It does not include agency actions such as
       contract audits, site visits, corrective plans, or inspection of deliverables.

   “Federal contracts and grants with total value greater than $10,000,000” means—

       (1) The total value of all current, active contracts and grants, including all priced options;
       and

      (2) The total value of all current, active orders including all priced options under
      indefinite-delivery, indefinite-quantity, 8(a), or requirements contracts (including task and
      delivery and multiple-award Schedules).



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      “Principal” means an officer, director, owner, partner, or a person having primary
      management or supervisory responsibilities within a business entity (e.g., general
      manager; plant manager; head of a division or business segment; and similar positions).

(b) The offeror 
                □ has □ does not have current active Federal contracts and grants with total value
greater than $10,000,000.

(c) If the offeror checked “has” in paragraph (b) of this provision, the offeror represents, by
submission of this offer, that the information it has entered in the Federal Awardee Performance
and Integrity Information System (FAPIIS) is current, accurate, and complete as of the date of
submission of this offer with regard to the following information:

      (1) Whether the offeror, and/or any of its principals, has or has not, within the last five
      years, in connection with the award to or performance by the offeror of a Federal contract
      or grant, been the subject of a proceeding, at the Federal or State level that resulted in any
      of the following dispositions:

          (i) In a criminal proceeding, a conviction.

          (ii) In a civil proceeding, a finding of fault and liability that results in the payment of a
          monetary fine, penalty, reimbursement, restitution, or damages of $5,000 or more.

          (iii) In an administrative proceeding, a finding of fault and liability that results in–

             (A) The payment of a monetary fine or penalty of $5,000 or more; or

             (B) The payment of a reimbursement, restitution, or damages in excess of $100,000.

           (iv) In a criminal, civil, or administrative proceeding, a disposition of the matter by
          consent or compromise with an acknowledgment of fault by the Contractor if the
          proceeding could have led to any of the outcomes specified in paragraphs (c)(1)(i),
          (c)(1)(ii), or (c)(1)(iii) of this provision.

      (2) If the offeror has been involved in the last five years in any of the occurrences listed in
      (c)(1) of this provision, whether the offeror has provided the requested information with
      regard to each occurrence.

(d) The offeror shall post the information in paragraphs (c)(1)(i) through (c)(1)(iv) of this
provision in FAPIIS as required through maintaining an active registration in the System for
Award Management, which can be accessed via https://www.sam.gov (see 52.204-7).

                                         (End of Provision)


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                                     [END OF SECTION K]

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                ATTACHMENT 22
      Proposal Submitted to:
      United States Department of Homeland
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                                       Document      U.S.Filed
                                                  64-1    Immigration
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      Request for:
      California Contract Detention Facilities, Solicitation Number 70CDCR20R00000002
      FINAL CONFORMED PROPOSAL SUBMISSION- DECEMBER 19, 2019


               REQUIREMENT C



                                    Mesa Verde ICE Processing Center




                                                                  Central Valley Modified
Golden State Modified Community Correctional Facility          Community Correctional Facility


                 VOLUME I: DEMONSTRATED
             MANAGEMENT/TECHNICAL CAPABILITIES

      David J. Venturella
      4955 Technology Way
      Boca Raton, Florida 33431
      Tel: 866.301.4436/561.893.0101                                                             R


      dventurella@geogroup.com
Proposal Submitted to:
United  States Department of Homeland Security
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U.S. Immigration and Customs Enforcement
Request for:
California Contract Detention Facilities
Solicitation Number: 70CDCR20R00000002
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   • COVER LETTER - FINAL CONFORMED PROPOSAL SUBMISSION
   Transmittal Letter
      • Executive Summary - Requirement C

   I.1.A Technical Solution
   Attachments:
        • Mesa Verde IPC
                - Concept Design Narrative
                - Conceptual Drawings

        •      Central Valley MCCF
                  - Concept Design Narrative
                  - Conceptual Drawings

        •      Golden State MCCF
                  - Concept Design Narrative
                  - Conceptual Drawings

   I.1.B Understanding the PWS
   Attachments:
        • Mesa Verde IPC
               - Staffing Plan
               - Deployment Plan
               - Organizational Chart

        •      Central Valley MCCF
                  - Staffing Plan
                  - Deployment Plan
                  - Organizational Chart

        •      Golden State MCCF
                  - Staffing Plan
                  - Deployment Plan
Proposal Submitted to:
United  States Department of Homeland Security
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U.S. Immigration and Customs Enforcement
Request for:
California Contract Detention Facilities
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               -   Organizational Chart

I.1.C Management Plan

I.2 Quality Control Plan
Attachments:
     • Sample Emergency Plan – Adelanto IPC
     • Sample Communications Plan – Adelanto IPC

I.3 Transition Plan

I.4 Staffing Plan
Attachments:
      • Mesa Verde IPC
              - Staffing Plan
              - Organizational Chart

    •    Central Valley MCCF
            - Staffing Plan
            - Organizational Chart

    •    Golden State MCCF
            - Staffing Plan
            - Organizational Chart
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                         REQUIREMENT C
                MESA VERDE ICE PROCESSING CENTER
           AND CENTRAL VALLEY AND GOLDEN STATE ANNEXS

                         FINAL PROPOSAL REVISION
                           EXECUTIVE SUMMARY

Facility Location
• GEO is proposing the continued management and operation of the Mesa Verde
  ICE Processing Center, located in Bakersfield, California.

• GEO is also proposing the Central Valley and Golden State facilities as Annexes
  to the Mesa Verde IPC. Central Valley and Golden State would be established as
  separate CLINs under the Mesa Verde IPC contract.

Facility Availability
• Mesa Verde IPC - Immediate occupancy.

• The Central Valley and Golden State facilities were incorporated as annexes to
  the Mesa Verde ICE Processing Center contract September 20, 2019. The
  facilities are immediately available for ICE Operational Transition, with initial
  detainee intake in approximately 8 months from contract execution.

Mesa Verde Facility Physical Plant
• The facility has a general population capacity of 400 beds, is comprised of 53,000
  square feet, and is a non-secure facility.

• The modern facility is air-conditioned throughout and has one artificial turf
  soccer field for males, and a separate artificial turf recreation area for females.

• Resident amenities include flat screen TV’s in housing areas, indoor hobby
  crafts, volunteer programming, and faith-based services.

• The facility’s physical plant meets all mandatory requirements of the American
  Correctional Association.

• Dedicated ICE/ERO/OPLA space including 3 courtrooms.

• Adjacent GEO property available for future ICE office space.

• Mesa Verde is a non-secure facility with no perimeter patrol.
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Central Valley Annex Physical Plant
• The facility has a general population capacity of 700 beds, is comprised of 97,000
  square feet.

• The modern facility is air-conditioned throughout and is planned to have 2
  artificial turf soccer fields.

• Resident amenities include flat screen TV’s in housing areas, indoor hobby
  crafts, volunteer programming, and faith-based services.

• The facility’s physical plant meets all mandatory requirements of the American
  Correctional Association.

Golden State Annex Physical Plant
• The facility has a general population capacity of 700 beds, is comprised of 97,000
  square feet.

• The modern facility is air-conditioned throughout and is planned to have 2
  artificial turf soccer fields.

• Resident amenities include flat screen TV’s in housing areas, indoor hobby
  crafts, volunteer programming, and faith-based services.

• The facility’s physical plant meets all mandatory requirements of the American
  Correctional Association.

Facility Operational Accreditations/Certifications
• 2011 Performance Based National Detention Standards (PBNDS)
• National Commission on Correctional Health Care (NCCHC)
• Prison Rape Elimination Act (PREA)
• American Correctional Association (ACA)

Mesa Verde Facility Staffing
• 130.5 total staffing
•   77.4 security staffing
•   24.1 healthcare staffing (contracted)
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Central Valley Annex Staffing
• 200.8 total staffing
•   132.0 security staffing
•   27.8 healthcare staffing (contracted)

Facility Staffing
• 200.8 total staffing
•   132.0 security staffing
•   27.8 healthcare staffing (contracted)


Mesa Verde Complex Pricing Assumptions
• GEO’s Final Proposal Revision reflects pricing for each year within the 5-year
  Base, and within each subsequent year of the two 5-year Option Periods of the
  15-year contract term, for the Mesa Verde ICE Processing Center and Central
  Valley and Golden State Annexes.

• Employee compensation consistent with most recent DOL wage determinations.

• Includes use/maintenance/repair of Mesa Verde Facility having a replacement
  value in excess of $40 million.

• Includes use/maintenance/repair of Central Valley Facility having a replacement
  value in excess of $70 million.

• Includes use/maintenance/repair of Golden State Facility having a replacement
  value in excess of $70 million.

• Implementing Electronic Health Records.

• Proposed Requirement C Surge/Facility Upgrades have been established with a
  $5 million placeholder for each 5-year period, at each site, pursuant to the
  December 9, 2019 directions from ICE. Implementation of Requirement C
  Surge/Facility Upgrades will occur only following final ICE design and cost
  review/approval.
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       I.1.A - Technical Solution
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I. Demonstrated Technical/Management Capabilities
1. Technical Management Approach
A. TECHNICAL SOLUTION

GEO’s technical solution for this Requirement involves the use of existing Processing
Centers. The design of each Center proposed under this Requirement and its compliance
with requirements of the PWS, RFP, and applicable design standards has been described
in the site-specific attachments which follow this section. Each Center is proposed as a
stand-alone facility, under separate contract.

GEO is not proposing expansion construction in response to this solicitation. Renovations
and Processing Center updates are proposed as described in the site-specific attachments.
The locations included in this proposal are presented to the Government for consideration
as-is to the greatest extent possible, in their current form with the improvements outlined
in the site-specific attachments.

The site-specific attachments identify the administrative areas, housing units, parking,
programming, and other support spaces within the Center. Existing functional use of
spaces will be reallocated as needed within the Center to align with the requirements of
the PWS.

               Please See Requirement C Site-Specific PWS Addendum:
                         Mesa Verde ICE Processing Center
              Central Valley Modified Community Correctional Facility
            Golden State Valley Modified Community Correctional Facility
                                     – attached
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Mesa Verde ICE Processing Center
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I. Demonstrated Technical/Management Capabilities
1. Technical Management Approach
A. TECHNICAL SOLUTION

                          SITE-SPECIFIC OVERVIEW:
                                 MESA VERDE
                           ICE PROCESSING CENTER
GEO is proposing the use of our Mesa Verde ICE Processing Center. Mesa Verde is
currently being operated under a direct contract between GEO and ICE. The Facility is
located in close proximity to the Bakersfield ICE Field Office.

Site Address: 425 Golden State Ave., Bakersfield, CA 93301

Mesa Verde is an approximately 53,000 sq. ft. facility renovated in 2015 for ICE. The
Facility is designed to house up to 400 adult male and female general population ICE
detainees classified as High (Level 3), Medium High (Level 2), Medium Low (Level
1.5), and Minimum (Level 1) security.

Mesa Verde’s physical plant design consists of the following:
  • 400 general population beds in a total of 4 housing units
         − 100 beds per dormitory housing unit
  • Secure processing area to include a holding room for at least 8 detainees, separated
     in small holding rooms
  • Library
  • Multipurpose Rooms
  • Outdoor turfed soccer fields, shaded pavilions, and shaded restroom facilities
  • One Office for Government Staff
  • Three video teleconferencing courtrooms for EOIR
  • Approximately 94 parking spaces
  • Ample outdoor recreation space for male and female population

The proposed Facility’s design drawings are provided as attachments to this section.

                 Please see Facility Drawings: Mesa Verde – attached

Parking Availability (Clarification)
A total of 71 secured/on-site parking spaces with controlled ingress and egress for the
Mesa Verde ICE Processing Center and its two annexes, used exclusively for
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Government employees (ICE employees) can be provided. In addition, 13 ICE visitor
parking spaces can be provided.

As agreed in the Discussions Meeting between GEO and ICE on December 4, 2019, this
item is subject to final review and negotiations, following contract award. In the event the
government chooses not to move forward with this facility upgrade to meet the RFP
design requirements, the applicable requirement will be waived.

Environmental Compliance
GEO initiated an Environmental Study on the site. The Environmental Assessment (EA)
was completed on October 25, 2019 and reflects current site development. The EA found
no adverse impacts. GEO anticipates that the completion of the EA eliminates the need
for a full NEPA assessment, allowing ICE to initiate the Finding of No Significant
Impact (FONSI) action. The completed EA is provided as Volume IV – Environmental
Assessment of this response. GEO will employ all practical means to minimize any
potential adverse impacts on the human and natural environment that may occur during
the operation of the detention facility.

For ease of review, GEO has included an outline of the Facility aligned with the
estimation of space requirements provided by ICE in the PWS Addendum for facilities
being proposed under Requirement C.

          Please See Requirement C PWS Addendum: Mesa Verde – attached
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          Conceptual Drawings
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Central Valley Modified Community
        Correctional Facility
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I. Demonstrated Technical/Management Capabilities
1. Technical Management Approach
A. TECHNICAL SOLUTION

                     SITE-SPECIFIC OVERVIEW:
                    CENTRAL VALLEY MODIFIED
                 COMMUNITY CORRECTIONAL FACILITY
GEO is proposing the use of our Central Valley Modified Community Correctional
Facility. The Central Valley Facility was most recently operated under contract with the
California Department of Corrections and Rehabilitation (CDCR). The Facility is co-
located with the Golden State Modified Community Correctional Facility (also proposed
under Requirement C), which provides for consolidation benefits.

Site Address: 254 Taylor Ave., McFarland, CA 93250

The Central Valley Facility is an approximately 97,000 sq. ft. and was built in 1997. The
Facility is designed to house up to 700 adult male general population ICE detainees
classified as High (Level 3), Medium High (Level 2), Medium Low (Level 1.5), and
Minimum (Level 1) security. GEO’s proposed facility design consists of the following:
   • 700 general population beds in a total of 8 housing units
        − 87-88 beds per dormitory housing unit
   • A cafeteria-style dining room
   • Library
   • Multipurpose Rooms
   • Administrative office/support space for 23 Government staff, 18 offices and 5
     cubicles
        − Repurposed area for Office of the Principal Legal Advisor (OPLA) areas
        − Repurposed area for Executive Office of Immigration Review (EOIR) areas
        − Administrative office/support space for ICE enforcement staff for 16
            employees
   • Three VTC courtrooms with video teleconferencing capabilities for EOIR
   • Approximately 121 parking spaces
   • Ample outdoor recreation space
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Proposed Renovations
In response to this Requirement, GEO is proposing renovations to the Facility which will
include the modifications listed below:
   • ICE processing and administrative office areas
   • Secure processing area to include a holding room for at least 66 detainees,
     separated in large and small holding rooms
   • Chapel
   • Outdoor turfed soccer fields, shaded pavilions and shaded restroom facilities
   • Medical facilities, including a 4-bed infirmary
   • Mental Health Counseling Office

The proposed Facility’s design drawings, including depictions of the areas proposed for
renovation, are provided as attachments to this section.

As agreed in the Discussions Meeting between GEO and ICE on December 4, 2019, this
item is subject to final review and negotiations, following contract award. In the event the
government chooses not to move forward with this facility upgrade to meet the RFP
design requirements, the applicable requirement will be waived.

                Please see Facility Drawings: Central Valley – attached

Parking Availability (Clarification)
A total of 71 secured/on-site parking spaces with controlled ingress and egress for the
Mesa Verde ICE Processing Center and its two annexes, used exclusively for
Government employees (ICE employees) can be provided. In addition, 13 ICE visitor
parking spaces can be provided.

As agreed in the Discussions Meeting between GEO and ICE on December 4, 2019, this
item is subject to final review and negotiations, following contract award. In the event the
government chooses not to move forward with this facility upgrade to meet the RFP
design requirements, the applicable requirement will be waived.

Facility Availability
GEO requests a waiver of the 60-day transition period for the 700 beds proposed at the
Central Valley Facility. Operation of the currently idle Central Valley Facility under the
ICE contract will commence immediately upon contract award, beginning with the
implementation of the Operations Transition Period. GEO estimates the full Operations
Transition Period, as detailed, below, will take approximately 8 months and requests a
waiver for this period of time. Detainee housing is expected to begin at the Central
Valley Facility by mid-2020.
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We request a waiver of the 60-day Transition Period by substituting the following:

The full Operations Transition Period includes two phases: 1) 6-Month Pre-Transition
Mobilization and 2) 60-Day Transition. Revised pricing assumes an August 20, 2020
detainee intake.

Pre-Transition Mobilization Phase (6 months):
Immediately upon contract award by ICE, GEO will establish the Operations Transition
Team. This team will be on-site, overseeing all operational activities during the full
Operations Transition Period (OTP). During the Pre-Transition Mobilization Phase of the
OTP, these activities will include:
   • Conducting Post-award Kick-off teleconference, tentatively scheduled for
      December 21, 2019
   • Beginning bi-weekly and/or monthly Progress Update Meetings with ICE
   • Coordinating on-site surveys and needs analysis with representatives from ICE,
      EOIR, IHSC, and OPLA
   • Implementing SORN approval process
   • Implementing Virtual Attorney Visitation capability
   • Finalizing facility reconfiguration plans following ICE on-site surveys
   • Ordering/repositioning of FF&E and vehicles
   • Conducting recruitment events (i.e. job fairs, employee interviews)
   • Screening of employment applicants and federal background clearance checks
   • Completing facility reconfiguration
   • Updating standard operating procedures in accordance with federal contract
   • Submitting facility policies and procedures for final approval
   • Submitting Notice to ICE to begin the 60-Day Transition Period

As agreed in the Discussions Meeting between GEO and ICE on December 4, 2019,
GEO will invoice the government during the Pre-transition Mobilization Phase as priced
in our Final Proposal Revision.

60-day Transition Period Phase (2 months):
During this second phase of the Operations Transition Period, GEO’s Operations
Transition Team will oversee:
   • Onboarding of facility staff
   • Completion of all staff training
   • Vehicle assessments
   • Installation of all remaining FF&E
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   • Facility readiness reviews
   • Finalization of detainee transfer plan to begin housing detainees in the facility
   • Detainee transfers into the facility at the end of the Transition Period phase

During the 60-Day Transition Period Phase, GEO will invoice the Government as priced
in our Final Proposal Revision.

Environmental Compliance
GEO initiated an Environmental Study on the site. The Environmental Assessment (EA)
was completed on October 25, 2019 and reflects current site development. The EA found
no adverse impacts. GEO anticipates that the completion of the EA eliminates the need
for a full NEPA assessment, allowing ICE to initiate the Finding of No Significant
Impact (FONSI) action. The completed EA is provided as Volume IV – Environmental
Assessment of this response. GEO will employ all practical means to minimize any
potential adverse impacts on the human and natural environment that may occur during
the operation of the detention facility.

For ease of review, GEO has included an outline of the Facility aligned with the
estimation of space requirements provided by ICE in the PWS Addendum for facilities
being proposed under Requirement C.

          Please See Requirement C PWS Addendum: Central Valley – attached
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          Conceptual Drawings
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Golden State Modified Community
      Correctional Facility
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I. Demonstrated Technical/Management Capabilities
1. Technical Management Approach
A. TECHNICAL SOLUTION

                     SITE-SPECIFIC OVERVIEW:
                     GOLDEN STATE MODIFIED
                 COMMUNITY CORRECTIONAL FACILITY
GEO is proposing the use of our Golden State Modified Community Correctional
Facility. The Golden State Facility was most recently operated under contract with the
California Department of Corrections and Rehabilitation. The Facility is co-located with
the Central Valley Modified Community Correctional Facility (also proposed under
Requirement C), which provides for consolidation benefits.

Site Address: 611 Frontage Road, McFarland, CA 93205

The Golden State Facility is an approximately 97,000 sq. ft. facility built in 1997. The
Facility is designed to house up to 700 adult male general population ICE detainees
classified as High (Level 3), Medium High (Level 2), Medium Low (Level 1.5), and
Minimum (Level 1) security. GEO’s proposed facility design consists of the following:
   • 700 general population beds in a total of 8 housing units
        − 87-88 beds per dormitory housing unit
   • A cafeteria-style dining room
   • Library
   • Multipurpose rooms
   • Administrative office/support space for 23 Government staff, 18 offices and 5
     cubicles
        − Repurposed area for Office of the Principal Legal Advisor (OPLA) areas
        − Repurposed area for Executive Office of Immigration Review (EOIR) areas
        − Administrative office/support space for ICE ERO
   • Three VTC courtrooms with video teleconferencing capabilities for EOIR
   • Approximately 147 parking spaces
   • Ample outdoor recreation space
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Proposed Renovations
In response to this Requirement, GEO is proposing renovations to the Facility which will
include the modifications listed below:
   • ICE processing and administrative office areas
   • Secure processing area to include a holding room for at least 66 detainees,
     separated in large and small holding rooms
   • Chapel
   • Outdoor turfed soccer fields, shaded pavilions and shaded restroom facilities
   • Medical facilities, including a 4-bed infirmary
   • Mental Health Counseling Office

The proposed Facility’s design drawings, including depictions of the areas proposed for
renovation, are provided as attachments to this section.

As agreed in the Discussions Meeting between GEO and ICE on December 4, 2019, this
item is subject to final review and negotiations, following contract award. In the event the
government chooses not to move forward with this facility upgrade to meet the RFP
design requirements, the applicable requirement will be waived.

                 Please see Facility Drawings: Golden State – attached

Parking Availability (Clarification)
A total of 71 secured/on-site parking spaces with controlled ingress and egress for the
Mesa Verde ICE Processing Center and its two annexes, used exclusively for
Government employees (ICE employees) can be provided. In addition, 13 ICE visitor
parking spaces can be provided.

As agreed in the Discussions Meeting between GEO and ICE on December 4, 2019, this
item is subject to final review and negotiations, following contract award. In the event the
government chooses not to move forward with this facility upgrade to meet the RFP
design requirements, the applicable requirement will be waived.

Facility Availability
The current occupants of the Golden State Facility will vacate the facility prior to July
2020. However, operation of the Golden State Facility under the ICE Contract will
commence immediately upon contract award, beginning with the implementation of the
proposed Operations Transition Period, as detailed below.

We request a waiver of the 60-day Transition Period by substituting the following:
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The full Operations Transition Period includes two phases: 1) 6 Month Pre-Transition
Mobilization and 2) 60-Day Transition. Revised pricing assumes an August 20, 2020
detainee intake.

Pre-Transition Mobilization Phase (6 months):
Immediately upon contract award, GEO will establish the Operations Transition Team.
This team will be on-site, overseeing all operational activities during the full Operations
Transition Period. During the Pre-Transition Mobilization Phase these, activities will
include the following:
    • Conducting Post-award Kick-off teleconference, tentatively scheduled for
       December 21, 2019
    • Beginning bi-weekly and/or monthly Progress Update Meetings with ICE
    • Coordinating on-site surveys and needs analysis with representatives from ICE,
       EOIR, IHSC, and OPLA
    • Implementing SORN approval process
    • Implementing Virtual Attorney Visitation capability
    • Finalizing facility reconfiguration plans following ICE on-site surveys
    • Ordering/repositioning of FF&E and vehicles
    • Conducting recruitment events (i.e. job fairs, employee interviews)
    • Screening of employment applicants and federal background clearance checks
    • Completing facility reconfiguration
    • Updating standard operating procedures in accordance with federal contract
    • Submitting facility policies and procedures for final approval
    • Submitting Notice to ICE to begin the 60-Day Transition Period

As agreed in the Discussions Meeting between GEO and ICE on December 4, 2019,
GEO will invoice the government during the Pre-transition Mobilization Phase as priced
in our Final Proposal Revision.

60-day Transition Period Phase (2 months):
During this phase of the Operations Transition Period, GEO’s Operations Transition
Team will oversee:
   • Onboarding of facility staff
   • Completion of all staff training
   • Vehicle assessments
   • Installation of all remaining FF&E
   • Facility readiness reviews
   • Finalization of detainee transfer plan to begin housing detainees in the facility
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   •    Detainee transfers into the facility at the end of the Transition Period phase

During the 60-Day Transition Period Phase, GEO will invoice the Government as priced
in our Final Proposal Revision.

Environmental Compliance
GEO initiated an Environmental Study on the site. The Environmental Assessment (EA)
was completed on October 25, 2019 and reflects current site development. The EA found
no adverse impacts. GEO anticipates that the completion of the EA eliminates the need
for a full NEPA assessment, allowing ICE to initiate the Finding of No Significant
Impact (FONSI) action. The completed EA is provided as Volume IV – Environmental
Assessment of this response. GEO will employ all practical means to minimize any
potential adverse impacts on the human and natural environment that may occur during
the operation of the detention facility.

For ease of review, GEO has included an outline of the Facility aligned with the
estimation of space requirements provided by ICE in the PWS Addendum for facilities
being proposed under Requirement C.

           Please See Requirement C PWS Addendum: Golden State – attached
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          Conceptual Drawings
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I.1.B - Understanding the PWS
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I. Demonstrated Technical/Management Capabilities
1. Technical Management Approach
B. UNDERSTANDING OF THE PERFORMANCE WORK STATEMENT


The GEO Group, Inc. (GEO) will operate and manage the Centers proposed
under this Requirement on behalf of ICE, providing for the detention, health,
welfare and transportation of detainees in accordance with the 2011 Performance-
Based National Detention Standards, with 2016 revisions (PBNDS).

GEO has read, understands, and will comply with the requirements of RFP Section C.
Performance Work Statement. This section provides our specific plans for helping ERO
achieve its mission and meet the requirements of the PWS through our technical solution.
Our understanding and approach to implementing the PWS is described in the following
paragraphs.

II. PERFORMANCE WORK STATEMENT

A. Objective
GEO is an expert in meeting the unique needs and operational requirements of federal
immigration processing standards and practices. Our extensive expertise in dealing with
all security levels of immigration detainees was developed through our three-decade
relationship with U.S. Immigration and Customs Enforcement (ICE) and refined through
our current operation of 17 ICE Centers totaling approximately 17,600 beds.

Our three-decade relationship with ICE has led to multiple successive awards of our
existing contracts, new awards for the development of new state-of-the-art Centers, and
new contracts for the use of existing GEO Centers repurposed to meet the needs of ICE.
In 2015, GEO was awarded a new seven-year ICE contract at the 700-bed Broward
Transitional Center, which we have successfully operated since 2002. In 2015, we were
awarded a new 10-year contract with ICE for our 1,575 bed Northwest ICE Processing
Center, which we have successfully operated since 2005. In 2017, we were awarded a
contract for the design, construction, and operation of the new Montgomery Processing
Center located in Conroe, Texas. The Center was opened in September 2018 with 1,000
beds and it has since been expanded to provide 1,314 beds. This year, we worked with
ICE to activate our South Louisiana ICE Processing Center to provide 1,000 additional
beds. GEO is a proven, reliable, and operationally excellent partner for ICE.
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B. Background and Mission
As the current largest service provider to ICE, GEO has superior experience supporting
ICE and the Enforcement and Removal Operations (ERO) mission. GEO provides a
means for ERO to implement its mission by providing housing, transportation, and all
required administrative support services as ERO carries out all orders for the securing
and departure activities of detainees who are designated in removal proceedings and for
arranging for the detention of detainees when such becomes necessary and prescribed by
law.

GEO’s proposed Centers will support this mission by providing a safe, secure, and
humane Center that meets or exceeds all required standards, for persons in ERO custody
as they move through the immigration process.

C. Scope of Work
GEO will provide all personnel, management, equipment, supplies, training, certification,
accreditation, and services necessary for performance of all aspects of the contract 24
hours a day, seven days a week, 365 days per year. GEO’s proposed pricing includes all
costs associated with providing the services in this contract. GEO will be responsible for
the transition of all activities identified in this PWS. Facilities that are currently active
under contract with ICE will require only minimal start-up activities. For Facilities with
delayed availability, GEO’s transition-in will be accomplished as expeditiously as
possible, with a maximum transition-in period of 60 days from Facility availability. Our
team of Corporate and Regional resources will maintain contact with CO to ensure open
lines of communication are established and potential roadblocks to the timely
implementation of this contract are avoided. GEO is prepared to build upon the
experience gained during our three-decades of partnership with ICE to guide the
implementation of this new contract.

Each Center proposed under this requirement will provide safe and secure conditions of
detention with consideration given for the management of a diverse population, including
threat to the community, risk of flight, type and status of immigration proceeding,
community ties, and medical and mental health issues. While under this contract, the
Center will not house any non-ICE detainee population without prior written approval of
the COR or ICE-designee.

Typically, Centers will provide easy access to legal services; natural light throughout the
Center; ample indoor and outdoor recreation that allows for vigorous aerobic exercise
with extended hours of availability, ideally a minimum of four hours per day of outdoor
recreation; and private showers and restrooms (where practicable).
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Detainees will receive cafeteria style meal service (where possible); clothing and hygiene
items; contact visitation, including special arrangements for visiting families, including
nights and weekends; private areas for attorney-client visits, with video teleconferencing
capabilities; noise control; enhanced, but controlled freedom of movement, consistent
with safety requirements based on detainee security levels; enhanced law library and
legal resources; and enhanced programming, and dedicated space for religious services
and social programs.

Each Center’s design includes special management units for administrative and
disciplinary restrictive housing.

Operations at each Center will be performed in accordance with the ICE Performance-
Based National Detention Standards 2011 with 2016 revisions (PBNDS). Where GEO
references PBNDS throughout our response, it designates ICE PBNDS 2011 with 2016
revisions. GEO will also abide by the March 7,2014, DHS regulation under the Prison
Rape Elimination Act of 2003 (PREA; P.L. 108-79), Standards to Prevent, Detect, and
Respond to Sexual Abuse and Assault in Confinement Facilities (DHS PREA Standards).

GEO understands in cases where there is a conflict in standards, the most stringent
applies. In case of our inability to determine which standard is more stringent, GEO will
follow the guidance of the COR who will determine the appropriate standard.

GEO will obtain and maintain American Correctional Association (ACA) accreditation
under the most current version of the Adult Local Detention Facilities (ALDF) Standards
to include any supplement. It is GEO’s standard practice to pursue ACA accreditation at
all of our secure services facilities. As such, ICE can expect operations at the Center to
conform with the ACA ALDF Standards on the first day of contract performance. GEO
will obtain full ACA accreditation within one year of contract award.

GEO will obtain and maintain accreditation under the National Commission on
Correctional Health Care (NCCHC) within one year of contract performance.

Our confidence in our ability to obtain the required accreditation is supported by our
investment in contract monitoring, performance management resources, and the Centers
offered under this solicitation are currently ACA accredited. GEO has a 46-member
Contract Compliance Division comprised of subject matter experts in security, medical,
ACA accreditation, PREA, Joint Commission, NCCHC, PBNDS, FPBDS, and multiple
agency standards. Contract Compliance personnel are located at GEO’s Corporate Office,
at each of GEO’s Regional Offices, and on-site at all major facilities. This staff will be
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deployed to ensure GEO meets the accreditation requirements established under this
contract.

GEO understands that ICE inspectors or Government-contracted staff will conduct
periodic and unscheduled inspections of contract performance and the Center to ensure
contract compliance. GEO will provide full and complete cooperation for any request or
investigation conducted by the Government.

Virtual Attorney Visitation
GEO will offer virtual attorney visitation at each of its proposed sites. Although spatial
considerations could impact its full capability, limited space could be repurposed for this
new opportunity. GEO and ICE would need to work closely on logistics associated with
this process. GEO proposes the use of “Skype for Business” from “Microsoft Office 365”
platform to provide detainees with secure virtual attorney visitation, both video and
audio. This solution provides flexibility and mobility while delivering secure encrypted
communication. Skype is a proven solution as it is currently in use at other GEO facilities
around the country.


D. Processing Centers

Processing Space
Each proposed Center will support and deliver all of the environmental and physical
requirements to ensure acceptable compliance with ACA standards and ICE PBNDS.

All required permits and licenses will be obtained by the date of contract award. GEO is
licensed as a qualified security service company in accordance with the requirements of
the district, municipality, county, and state in which the ICE work site is located. GEO
will ensure all required permits and licensure are maintained throughout the duration of
the contract and available for Government inspection upon request. GEO will comply
with all applicable federal, state, and local laws and all applicable Occupational Safety
and Health Administration (OSHA) standards.

Site-specific details for each of the Centers proposed under this Requirement have been
provided as attachments to this Volume:

   • USCIS space
   • Executive Office for Immigration Review (EOIR) space
   • ICE administrative space
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   • Parking spaces at the contracted Processing Center

GEO has worked closely with ICE, USCIS, EOIR and other interested agencies to
properly account for and provide the necessary office space within our Centers. Our
corporate experts in project development and design will be responsible for coordinating
with ICE to ensure the specified administrative support areas are provided in accordance
with requirements.

E. Armed Transportation Services
Due to the growing demands of our clients’ needs, in 2007, GEO created its
transportation subsidiary GEO Transport Inc. (GTI), DOT License #1705757. GTI will
provide the transportation service requirements under this contract. GTI has earned the
reputation of a premier and preferred provider of secure transportation services, operating
a current fleet of more than 350 specially designed, secure transportation vehicles with
500 licensed transportation officers, serving 30 federal contracts in 19 states. Since its
inception, GTI has successfully transported over 2.7 million detainees while driving over
47.1 million miles without an escape. GTI provides exceptional armed transportation
services to 12 ICE sites across the United States.

In 2018, GTI transported more than 133,261 ICE detainees, driving nearly 3 million
miles without an escape or serious incident.

In the first three quarters of 2019 (Jan-Sep), GTI has transported more than 120,269 ICE
detainees and driven more than 2.6 million miles.

GTI provides transportation for our Adelanto ICE Processing Center in Adelanto, CA.
Through our first 3 quarters in 2019 (Jan.-Sept.), we have driven over 167,000 miles and
transported over 8,000 detainees without an escape or serious incident.

In 2010, GTI teamed in a joint venture with a UK company Amey (GEOamey) to bid on
a 10-year secure Transportation and Court Security services for the United Kingdom’s
Ministry of Justice. We were awarded the contract in 2011 covering all of Scotland and
80% of the England and Wales, requiring the need to build 570 new specialty vehicles
and transfer over 3,300 licensed escort and transportation officers. GTI’s proven record
in secure transportation and the program management tools currently deployed both in
the U.S. and Internationally will serve as the foundation for GTI’s unmatched support to
ICE in the identified California Areas of Responsibility.

The GTI operation has undergone U.S. Department of Transportation (USDOT) audits,
state audits, and several ICE audits and has successfully passed each audit with
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outstanding ratings and comments in compliance with ACA standards, PBNDS, and the
terms of each contract. GTI has undergone four U.S. Department of Transportation audits
and will continue to be audited every three years. These audits consist of a USDOT
inspector thoroughly reviewing all Driver Qualification Files, all Vehicle Maintenance
Files, Driver Hours of Service, Compliance with drug and alcohol testing, and
preforming a complete physical/visual inspection of a select number of vehicles. The
most recent audit in February 2018 lasted seven days and at the end of the audit GTI
received a “Satisfactory” Rating, the highest attainable grade given by DOT.

GTI will provide all ground transportation in a secure timely manner as required by the
COR or designated ICE official. All transportation will be performed in accordance with
the terms of this contract, post orders, ACA Standards and the PBNDS. When
Transportation Officers are not performing transport duties, they will supplement security
duties within the Center as approved by the COR.

GTI has an industry certified security air operations team consisting of 30 members. Each
member has completed a 24-hour course in security flight operations in addition to their
4-week Officer and Driver training certification. This training includes but is not limited
to; de-escalation techniques, CPR, less than lethal intermediate weapons training,
onboard detainee handling techniques, and emergency response training. Each Air
Operations Officer has had prior experience in air missions and retains their certification
through annual refresher training. Should the need arise, and at the client’s request, GTI’s
Air Transport Team is highly qualified and capable of conducting Air Transport
Missions.

GTI will assign at a minimum two-person teams of Transportation Officers whenever
necessary throughout a 24-hour period, seven days a week, to include holidays, to meet
the needs of ICE transportation requirements. The exact number of teams on duty on any
shift will be approved by the COR or his/her designee.

At our corporate headquarters, GEO has a dedicated Fleet Manager with 28 years of large
service vehicle professional credentials. The corporate Fleet Manager provides oversight
for the purchasing and maintenance/repair policies for GTI’s national fleet of specialized
secure transportation vehicles.

GEO/GTI understands it may acquire additional vehicles as necessary. At no time will
employees use their personal vehicles to transport detainees. As mandated, all GTI
provided vehicles will be equipped with interior security features to include separation of
detainees and officers in accordance with PBNDS.
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Prior to hiring and training, Transportation Officers will pass initial drug screening,
motor vehicle record checks and background investigations. GTI also exceeds the
mandatory testing percentage standard for drug and alcohol on a quarterly basis as set
forth by the U.S. Department of Transportation. In addition to quarterly drug and alcohol
testing each Transportation Officer will have his/her motor vehicle records checked on a
semi-annual basis. Any Transportation Officer or staff member who receives 2 or more
moving traffic violation, or is arrested, will be suspended from all transportation duties
pending an internal investigation and administrative review.

GTI personnel will have the same qualifications, training, security clearances, and
uniforms as those GEO personnel provided in the other areas of this contract. GTI drivers
adhere to USDOT rules to include hours of service regulations. Transportation Officers
will obtain and will maintain proper required clearances, commercial driver licenses with
proper endorsements and all required Federal and State licenses. In addition to the
mandatory training for security personnel on this contract, Transportation Officers will
receive 80 hours of specific transportation driver’s training prior to being assigned
transportation duties.



         Transportation-Specific Training Course Title                      Course Duration
DOT Entry Level Training                                                          2 Hours
Driver Requirements                                                               2 Hours
Driver Training                                                                   2 Hours
Hours of Service & Driver’s Log                                                   6 Hours
Accident Investigation & Reporting Procedures                                     2 Hours
Pre-Trip Inspections                                                              2 Hours
Roadside Inspections                                                              2 Hours
Drug and Alcohol Program                                                          2 Hours
Driver’s Road Test and Certification                                              2 Hours
Pre-, Mid-, and Post-Trip Inspections                                             4 Hours
Engine, Body and Tires                                                            2 Hours
Backing, Spotting and Parking                                                     2 Hours
Emergency Procedures and Safety Equipment                                         4 Hours
Operating in Traffic, Passing, and Turning                                        4 Hours
Adverse Driving Conditions                                                        4 Hours
Speed and Proper Following Distances                                              2 Hours
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          Transportation-Specific Training Course Title                      Course Duration
Clearances and Sallyports                                                          4 Hours
Maintaining Records of Duty Status                                                 4 Hours
Day and Night Driving Conditions                                                   4 Hours
Commercial and Charter Airline Operations                                          8 Hours
Off-Site Assignments                                                               4 Hours
Driver Safety Awareness (Handcuffing, Firearms Retention, etc.)                    8 Hours
Final Road Test with Commentary                                                    4 Hours
                                                        Total                     80 Hours

Transportation Officers will complete an additional eight hours of Officer Safety
Awareness Training. Each Transportation Officer will also be observed and evaluated by
using GTI’s firearms simulator system. Similar to those used by government agencies,
GTI has developed real-life practical exercise scenarios that range from regular law
enforcement high-threat response situations, to custom made scenarios specifically
developed from actual GEO transportation situations.

Additionally, transportation staff are also provided training throughout the year covering
transportation-specific duties. All Transportation Officers are given a yearly road test to
ensure maintenance of their driving skills and are observed while on duty by a certified
driver instructor to identify potential areas of improvement. GTI’s in-house staff trainers
have graduated from a certified transportation training course developed in conjunction
with the Department of Transportation. GTI currently employs over 100 Driver Trainers
nationwide. The Driver Trainers each have completed a 40-hour, Train the Trainer course
taught by the Regional Operations Managers, including strenuous classroom exercises,
backing and spotting exercises, and a certified driving course.

All Transportation Officers will be armed in the performance of their duties. The
Transportation Officers will be properly trained in safe, effective procedures for handling
weapons and weapons qualifications in accordance with the state licensing requirements
and will certify proficiency semiannually as stated in the PWS. GTI will supply and
maintain restraining equipment in accordance with PBNDS on Transportation (by Land).
All firearm training and re-certification will be conducted by a certified firearms
instructor and the process will be managed by former ICE senior managers (retired) who
are currently employed by GEO. All equipment will be available for inspection by ICE
personnel upon request.

GTI will comply with ICE PBNDS 2011 and DOT regulations related to the number of
hours each Transportation Officer may operate a vehicle. Overnight lodging resulting
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from transportation services will be approved in advance by the COR or designated ICE
official. Overnight lodging expenses will be billed at rates not to exceed the applicable
GSA per diem rates. Transportation will be accomplished in the most economical manner
and in accordance with the applicable GSA per diem rates. The Center Transportation
Manager, together with the Center’s Business Manager, will monitor the costs associated
with transportation operations to ensure compliance with contract rates.

Upon orders of the COR, or upon GEO’s decision in an urgent medical situation,
Transportation Officers will provide transportation and secure physical custody of the
detainee at medical facilities from the time the detainee is admitted until released from
the hospital. At such time the detainee will be safely and securely transported back to the
Processing Center. Transportation Officers will always ensure proper custody of
detainees, and will make every effort to prevent escapes, especially when the detainee is
not restricted within the confines of a medical or other outside Center.

GEO understands the COR at times may direct transportation of detainees to unspecified
miscellaneous locations (within a 250-mile radius of the Center), and our submitted
staffing and transportation plan provides ICE with flexibility to meet these operational
demands.

GEO understands Transportation Officers may be provided documents for transport
which will only be turned over to the authorized recipients. Officers will ensure these
documents are kept confidential and are not viewed by anyone other than the intended
recipient.

GEO will have security cameras and digital video recording (DVR) equipment on each
transport vehicle. There will be a minimum of four cameras on board each small capacity
van and a minimum of six on each large capacity transporter. Camera and DVR devices
will be kept secure from any detainee interaction. System downloading into data archive
files within each Center will occur as needed to prevent the loss of information. The
system will document the status of both the driver team and detainees during daytime or
nighttime operations. Video coverage and quality will be sufficient to allow for post
operation review and audit of any incident.

GEO will have a fully operational communication system compatible with ICE
communication equipment that has direct and immediate contact with all transportation
vehicles and post assignments. Upon demand, the COR will be provided with current
status of all vehicles and post assignments of employees. At no additional cost to the
government, GTI proposes to install a monitor in a location designated by the COR
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which will show the mapping location, estimated arrival times, speed of vehicle, assigned
staff, vehicle routing, number of detainees and destinations in real time.

GTI will provide a minimum of two forms of communication for Transportation Officers
during transport operations in accordance with the PBNDS on Transportation (by Land).
One form will be a cellular phone, and the second form is the satellite and/or cellular-
based communication device to be installed in each vehicle, capable of sending and
receiving text messages to and from the Center’s base station. In addition, all transport
vehicles will have an emergency button that, when depressed, will send a text message to
several managers and will lock in the location of the vehicle for a rapid response.

To perform the necessary operations to accommodate the routes given, GTI utilizes
GEOtrack, a proprietary, globally deployed, tested and reliable Processing and
Transportation Management System designed to track the activities of detainees housed
in Processing Centers, or those being transported by GTI’s secure vehicles.

Since its development and installation over a decade ago, GEOtrack has grown in
functionality and use, providing all the real-time information necessary to safely and
securely operate and track GTI transport missions and produce Quality Assurance
Surveillance Plan (QASP) and other management reports. The Monthly Status Report
will be provided through GEO track along with the G-391 Upload Template Attachment.

The use of GEOtrack at the Center will include mission reporting and management
capabilities, such as:
   • Fully auditable electronic capture of required tasking information by
     transportation officers.
   • Route and schedule creation, and electronic dispatching.
   • Secured ‘Live’ mission management and vehicle satellite tracking with reporting
     for ICE metrics and timekeeping requirements.
   • Vehicle and mission alerting notification capability for both safety and security
     monitoring.
   • Additional features that report on driver activities to produce fuel savings by
     tracking route mileage, idle time, excessive speed, and maintenance alerts.

GTI Pursues efficiencies using preventative maintenance and fuel economy strategies. In
addition to GEOtrack, each vehicle is equipped with Fleetmatics/Verizon Connect, a GPS
monitoring system. GTI’s vehicles will have the required services to obtain the highest
EPS rating. GTI achieves fuel economy improvements through Fleetmatics by
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monitoring each driver’s behavior. Fleetmatics has the capabilities to monitor speeding,
hard braking, excessive acceleration, and any harsh driving activity. In addition,
Fleetmatics provides a real time view of vehicle location, time, direction, address, speed,
ignition status, and can display a live view map of its current location. This visibility of
our drivers and vehicle movements will be made accessible to the ICE at no additional
costs to the government.

Transportation will be provided to the locations indicated in this PWS and other locations
at the direction of the COR or designated ICE official. GEO understands the routes
described in the PWS are not all inclusive and that at the direction of the COR or
designated ICE official, GTI will provide additional ground transportation to other
locations. GTI will have a dedicated, experienced Transportation Supervisor at each
Center who will respond directly to all ICE transport and fleet requirements. The GTI
Transportation Supervisor will work closely with the ICE Transportation
Coordinator/COR to ensure the missions are properly assigned and completed in a timely
and efficient manner.

The Transportation Supervisor will ensure all trips are accounted for and coordinate
billing invoices. Additional duties will include maintaining USDOT mandatory driver
files and related clerical duties.

F. On-Call Guard Services
GEO will provide guard services on demand by the COR by escorting detainees to and
guarding detainees while at medical or doctor appointments, hearings, ICE interviews
and any other remote location requested by the COR or designated ICE official. These
services will be provided by highly trained Officers, employed by GEO who will perform
these duties in accordance with our policies, procedures and practices. GEO will augment
practices as may be requested by the COR to enhance specific requirements for security,
detainee monitoring, visitation and contraband control. GEO understands public contact
is prohibited unless authorized in advance by the COR.

GEO’s standard procedures for On-Call Guard Services will include the following
requirements:
   • Escort and maintain custody of the detainee(s) under order of the ICE COR
   • Monitor all holding rooms – log health and welfare checks
   • Serving detainees prepared meals provided by the government
   • Searching holding cells for weapons or contraband
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   • Conduct limited pat-downs
   • Receive, inventory, and search detainee property
   • Transfer/escort detainees between holding rooms, processing area, court, and VTC
     rooms.
   • Apply and remove detainee restraints
   • Support Intake and processing of detainees, flight and transportation operations
   • Provide support in processing operations as required for the removal process of
     detainees.
   • Provide transportation services for intake and processing purposes
   • Upon notification by the COR, provide detainee medical transportation to a
     hospital location and shall keep the detainee under supervision 24 hours per day
     until the detainee is ordered released from the hospital, or at the order of the COR.

GEO will maintain operational flexibility to accommodate requests for On-Call Guards
received from the COR or designated ICE official as needed. GEO understands that to the
extent possible, notification will be provided four hours in advance, and one Officer will
be authorized for such posts unless otherwise specified by the COR.

GEO/GTI will employ the following processes to the On-Call Guard services:
   • At all times during the performance of on-call guard services, GEO will provide at
     least one officer of the same gender as the detainee.
   • GEO will deploy two officers for remote locations, unless additional officers are
     required per the direction of the COR or designated ICE Officer.
   • Detainee meals will be provided when detainees are in GEO custody.
   • The On-Call Guard will remain on their designated post for a minimum of two
     hours.
   • GEO will remain responsible for providing security and preventing escapes.

All submitted monthly invoices for on call guard services will be itemized and state the
number of hours being billed, duration of the billing (time and dates, to include travel to
and from location being guarded) and the names and “A” numbers of the detainees that
were guarded. These services will be denoted as a separate item on submitted invoices
and will be submitted to ICE for reimbursement at the negotiated rate to be determined
for each facility offered under this Requirement.
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Pursuant to PWS Addendum 1 issued December 5, 2019, and as discussed in the
Discussions Meeting between GEO and ICE on December 4, 2019, the overtime and
guard service rate are both the same. Both services require overtime whether by
backfilling posts or recalling an employee to duty.

G. Notice to Proceed
GEO understands the importance of being fully prepared to accept responsibility for
performing the requirements of the contract. GEO welcomes ICE personnel to perform
assessments of our progress and contract compliance and will implement any necessary
corrective action to obtain the Notice to Proceed (NTP). GEO understands the
Government reserves the right to extend the transition period until the NTP is issued, and
this extension will be at no cost to the Government. GEO has never had a contract
terminated for cause related to our inability to obtain an NTP within the established
timeframe.

We are confident in our ability to meet the post-award activation timeline established by
ICE. As a three-decade partner with ICE and the world’s leading provider of immigration
processing services, GEO has developed detailed plans to guide the start-up of new
Centers. Our experience allows us to continuously refine these plans and ensure our
performance exceeds client expectations.

GEO has designated a project manager who will oversee the tasks necessary to
successfully activate each Center. The Project Manager will be responsible for facilitating
communication between all functional areas to ensure adherence to the established
schedule and will provide the support necessary to complete required activities upon
which the NTP is contingent.

In accordance with RFP requirements and the list of deliverables contained within
Section E of the RFP, GEO will submit in writing a Quality Control Program (QCP) and
all other plans, policies, and procedures, including those identified in the PBNDS and
ACA standards. GEO will not modify plans, policies or procedures that impact ICE
operations without approval of the COR. As the current operator of 17 ICE Centers
across the United States, including two (2) that currently provide services to ICE in
California, GEO will be able to utilize existing policies and procedures currently in place
under those contracts as a baseline to develop the requirements under this contract.

III. GENERAL
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A. Notification and Public Disclosures
GEO will ensure that ICE approval is attained prior to releasing any information about
the Center. Public disclosure will be managed through GEO’s corporate information
officer and ICE’s Public Affairs office. Understanding that all information relating to this
contract is considered privileged and confidential, no information will be disclosed
without the express permission granted by ICE.

B. Records
All records regarding the performance of the Center will be retained in a retrievable
format for three years. Unless directed otherwise, GEO will provide any records related
to performance of the contract to the Government upon completion or termination of the
resulting contract. All operations and services provided at the Center will comply with all
statutes, regulations, and guidelines from the National Archives and Records
Administration.

Records and information management functions will comply with the following laws and
regulations: Chapters 21, 29, 31, and 33 of Title 44, U.S. Code; 36 CFR 12; 41 CFR 201
subchapters A and B; OMB Circular A-130; and DOJ Order 2710.8A, Removal and
Maintenance of Documents. GEO understands criminal penalties for unlawfully
destroying, damaging, removing, or improperly handling or releasing federal records are
addressed in Chapters 37 and 101 of Title 18, U.S. Code.

GEO will notify the CO when a member of the U.S. Congress or any media outlet
requests information or makes a request to visit the Center. Visits will comply with the
PBNDS on Interviews and Tours. GEO will coordinate all public information related
issues with the CO. All press statements and releases will be cleared, in advance, with the
ICE Office of Public Affairs. GEO has coordinated multiple site visits for officials at our
ICE Centers across the country with much success.

GEO will ensure employees agree to use, and do use, appropriate disclaimers clearly
stating the employees' opinions do not necessarily reflect the position of the U.S.
Government in any public presentations they make or articles they write that relate to any
aspect of contract performance or Center operations.

All detainee files will be prepared, maintained, retired, and disposed of in accordance
with ICE policy. Policy and procedures will be developed to ensure the confidentiality
and security of all detainee files and will be utilized in the provision of services under
this contract.
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C. Right of Refusal
GEO retains the right to refuse acceptance of any detainee if the refusal is supported by a
valid justification, such as a detainee found to have a medical condition that requires
medical care beyond the scope of GEO’s health care provider. In the case of a detainee
already in custody, GEO will notify ICE and request removal of the detainee from the
Center. GEO will work with ICE to allow reasonable time to make alternative
arrangements for the detainee.

D. Hold Harmless
GEO will protect, defend, indemnify, save, and hold harmless the United States
Government and its employees or agents, from and against any and all claims, demands,
expenses, causes of action, judgments and liability arising out of, or in connection with,
any negligent acts or omissions of GEO, its agents, sub-contractors, employees,
assignees, or anyone for whom GEO may be responsible. GEO will cover any and all
costs, expenses and attorneys’ fees incurred as a result of any such claim, demand, cause
of action, judgment or liability, including those costs, expenses, and attorneys’ fees
incurred by the United States Government and its employees or agents.

In awarding the contract, GEO understands the Government will not assume any liability
to third parties, nor will the Government reimburse GEO for its liabilities to third parties,
with respect to loss due to death, bodily injury, or damage to property resulting in any
way from the performance of the contract or any subcontract under this contract.

GEO will maintain responsibility for all litigation, including the cost of litigation,
brought against it, its employees or agents for alleged acts or omissions. GEO will notify
the CO in writing of any litigation pertaining to this contract and provided copies of any
pleadings filed or said litigation within five working days of being served such litigation.
GEO will cooperate with Government legal staff and/or the United States Attorney
regarding any requests pertaining to federal or GEO litigation.

Policy and procedures will be developed for each Center which ensure a positive
relationship is maintained with all levels of the federal judiciary. Additionally,
procedures will ensure a tracking system is established that mandates all judicial inquiries
and program recommendations are responded to in a timely and accurate manner. All
judicial inquiries and GEO’s respective responses, specifically related to a detainee, will
be incorporated into the detainee's file.

GEO will maintain a comprehensive Quality Control Program (QCP), which
encompasses the requirements of this PWS.
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GEO has dedicated considerable resources to the development of a Corporate Contract
Compliance Department that is charged with the responsibility for working closely with
staff at each of our Centers to monitor operations. The Contract Compliance Division
operates as an independent, headquarters-based monitoring team that reviews all
operational aspects of the Company’s Secure Services operations.

The following information regarding Contract Compliance Department staffing and
auditing methodology and frequency is proposed for initiation January 2020.

The Department includes five Directors and 17 Corporate Managers dedicated to Secure
Services Facility and Processing Center oversight. In GEO’s Western Regional Office, 1
Director of Contract Compliance and 3 Managers provide regional compliance oversight.
Regional Contract Compliance Managers visit each Center on a periodic basis, and may
participate in the Annual Corporate Audit, Follow-Up Audit, Ad Hoc Audit, and Ad Hoc
Follow-up Audit when conducted, and during accreditation preparations.

At the Center level, major functional areas are audited on a regular basis. This systematic
monitoring is what makes up the QCP. Each Processing Center will employ a full time
Compliance Administrator (Quality Assurance Manager) with key responsibilities for
achieving QCP goals.

Staff conducting self-audits and GEO corporate and regional personnel conducting
annual compliance audits will inspect the following areas on both a scheduled and
unscheduled basis:
   • Administration and management
   • Center security and control
   • Detainee activities
   • Safety standards
   • Detainee legal resources
   • Detainee care
   • PREA
   • Human Resources
   • Fiscal management
   • Training
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   • Medical
   • Programs

The Government has reviewed and approved the Quality Control Programs that are
currently in place at our existing ICE Centers. GEO will develop a site-specific QCP for
each Center proposed under this Requirement based on these approved programs. GEO’s
QCP for this requirement is included as Section I.2 Quality Control Plan of this Volume.
GEO will update the QCP as needed in accordance with the Deliverables Chart in Section
E of the RFP. Any modification requested by the CO will be incorporated into the
program. GEO will obtain approval of the program inclusive of any modifications prior
to contract start date. GEO continuously monitors operations at each Center we operate to
foster compliance with all contract requirements, client standards, and Federal, State, and
local requirements.

The QCP will address all critical operational performance standards for the services
required under this contract. A combination of both internal and external audits will be
conducted to verify that services are maintained at a uniform and acceptable level. In the
event services need correction, GEO will develop a mitigation or corrective action plan.

GEO will provide the COR with advance notice, at least 48 hours, of any audits
scheduled at the Center.

F. Quality Assurance Surveillance Plan (QASP)
GEO’s responsibilities to ICE throughout our existing contracts include the requirement
to adhere to performance measures found in the Government-developed QASP.

Each location’s Compliance Administrator (Quality Assurance Manager) will ensure the
COR has proper access to conduct necessary monitoring, assessing, recording, and
reporting on the technical performance of the contract on a day-to-day basis.

GEO will coordinate with the COR to accommodate the completion of the “Quality
Assurance Surveillance Forms” which document their inspection and evaluation of
GEO’s work performance.

GEO understands the CO or designee has overall responsibility for evaluating GEO’s
performance in areas of contract compliance, contract administration, and cost and
property control. The CO will review the COR’s evaluation of the GEO’s performance
and invoices. If applicable, deductions or withholdings may be assessed in accordance
with the evaluation of GEO’s performance, e.g., monetary adjustments for inadequate
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performance, as outlined in the Attachment 2A, Performance Requirements Summary of
the PWS.

G. Failure to Perform Required Services
GEO understands the rights of the Government and its respective remedies described in
this section are in addition to all other rights and remedies set forth in the resultant
contract; specifically, where the Government reserves its rights under the Inspection of
Services and Termination clauses. Any reductions/deductions in GEO’s invoice will
reflect the contract’s reduced value resulting from failure to perform required services
pursuant to the contract’s Quality Assurance Surveillance Plan (QASP) and/or the
Performance Requirements Summary (PRS). GEO understands we will not be relieved of
full performance of the services under this contract and may be terminated for default if
our performance is determined to be inadequate, even if a reduction was previously taken
for any inadequate performance. In more than 30 years of operations, GEO has not
had a contract terminated for default. GEO establishes partnerships that are
mutually beneficial with government clients.

H. Inspection by Regulatory Agencies
GEO understands this contract is subject to inspection by Government agencies. These
government agencies may include organizations such as:
   • Occupational Safety and Health Administration (OSHA)
   • Office of Inspector General (OIG)
   • Department of Labor (DOL)
   • Office of Management and Budget (OMB)
   • Equal Employment Opportunity Commission (EEOC)
   • Local health agencies

GEO will accommodate all required inspections, including but not limited to interviews,
physical inspections, and requests for information. GEO will immediately inform ICE of
all proposed inspections by Government or regulatory agencies. In the event GEO
believes that a proposed or requested inspection is not required, it shall refer the matter to
ICE and abide by ICE’s determination as to whether the proposed inspection is
considered to be required. GEO will participate in responding to all requests for
information and inspection or review findings by regulatory agencies.
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I. Performance Evaluation Meetings
As part of our partnership with ICE, GEO will hold monthly meetings with the COR to
aid in the resolution of any identified issues at each Center. Further, each Center
Administrator will maintain an open-door culture enabling continuous and impromptu
communications. Additionally, GEO maintains high level communication with ICE
headquarters through regular quarterly meetings between GEO Corporate Executive Staff
and ICE Headquarters Executive Staff.

IV. Personnel and Staffing
GEO will ensure that staff comply with the requirements and provisions of RFP Section
H.2 “Security Requirements - Required Security Language for Sensitive/But Unclassified
(SBU) Contract Detention Facility”.

A. General:
Candidates for employment under this contract will be required to successfully pass an
Employee Fitness Screening. GEO understands the potential for employees to have
access to sensitive DHS information, as well as the vulnerable nature of the population to
be housed under this contract. As such, GEO will take all necessary steps to properly
determine the suitability of applicants for employment. The criteria set forth under DHS
Instruction 121-01-007-001 (Personnel Security, Suitability and Fitness Program), or
successor thereto, will be incorporated into our recruit screening requirements to exclude
candidates who do not meet these standards.

B. Preliminary Fitness Determination
GEO recognizes the authority of ICE to have full control over final decisions related to
employee access to Centers and information. GEO will submit to ICE all required
documentation to allow ICE to make fitness determinations for each candidate. GEO
understands the granting of preliminary Fitness or final Fitness in no way prevents,
precludes, or bars the withdrawal or termination of such access by ICE, at any time
during the term of the contract.

C. Background Investigations
GEO policy requires that all candidates accepting a conditional offer of employment with
GEO undergo initial background screening to ensure they meet GEO, federal, state, local
and client requirements, as necessary. Additionally, all employees are subject to ongoing
periodic background screening during the course of their employment with GEO to
confirm they continue to meet such requirements.
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GEO employees (which include applicants, temporaries, part-time and replacement
employees) under the contract, needing access to sensitive information and/or ICE
detainees, will be required to undergo a position sensitivity analysis based on the duties
they will be expected to perform on the contract. The results of the position sensitivity
analysis determine the appropriate background investigation which must be conducted.

GEO employees nominated by a COR for consideration to support this contract will be
required to submit all required security vetting documentation to the Office of
Professional Responsibility, Personnel Security Unit (OPR-PSU), through the COR,
within 10 days of notification by OPR-PSU of nomination by the COR and initiation of
an Electronic Questionnaire for Investigation Processing (e-QIP) in the Office of
Personnel Management (OPM) automated on-line system. GEO’s Human Resources staff
will maintain contact with applicants to guide them through this process.

While GEO recognizes that OPR-PSU works diligently on all background investigations,
we are concerned with the recent ongoing delays in the completion of fitness
determinations at ICE facilities across the country. The sheer volume of submissions
during prior activations has resulted in OPR-PSU implementing a “Prescreen Process” to
prioritize and expedite background clearances for activating facilities. Although effective,
this process impacts the completion of routine fitness determinations at all other
operating facilities and has resulted in an ever-increasing backlog for employee
clearances. Subsequently, hiring qualified staff and keeping them engaged during the
lengthy hiring process remains a challenge. GEO currently uses a 3rd party vendor, with
extensive experience in the fitness determination process, to review our employee
submissions to OPR-PSU to ensure all submissions are complete.

In the event of extended delays in the background clearance process, GEO may fill open
positions with overtime and temporary duty staff while waiting for OPR-PSU to
complete fitness determinations. As a result of GEO’s efforts to work cooperatively with
OPR-PSU during background clearance delays beyond our control, GEO believes that
employees who have been properly submitted to PSU pending a fitness determination
should be considered within the applicable contract minimum staffing level of the facility
in addition to the number of active GEO employees who have a valid fitness
determination.

D. Transfers from other DHS Contracts
GEO understands personnel may transfer from other DHS contracts provided they have
an adequate and current investigation. If the prospective employee does not have an
adequate and current investigation which meets the new assignment requirement, GEO
will direct the employee to submit the required documentation to initiate a new
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investigation (the DHS 11000-25 with ICE supplemental page, indicating Contract
Change) to OPR-PSU.

E. Continued Eligibility
Only eligible employees will be permitted to work under this contract; therefore, if a
prospective employee is found to be ineligible for access to Government facilities or
information, the CO or COR will advise GEO that the employee cannot continue to work
or to be assigned to work under the contract.

Per GEO policy, GEO will conduct drug screening for probable cause at any time during
the contract and/or when GEO independently identifies circumstances where probable
cause exists. GEO will post the ICE “Drug Free Workplace Policy” in all contract work
areas.

The OPR-PSU will conduct periodic reinvestigations every 5 years, or when derogatory
information is received, to evaluate continued Fitness of GEO employees.

F. Required Reports
GEO will notify OPR-PSU of all terminations/resignations within five days of
occurrence. GEO will return any expired DHS issued identification cards and building
passes, or those of terminated employees to the COR. If an identification card or building
pass is not available to return, a report will be submitted to the COR, referencing the pass
or card number, name of individual to whom issued, and the last known location and
disposition of the pass or card. The COR will return the identification cards and building
passes to the responsible Unit. These reports will be coordinated through human
resources staff at each Center.

GEO will report any adverse information coming to our attention concerning GEO
employees under the contract to the OPR-PSU through the COR, avoiding any
information based on traditionally unreliable sources such as rumor or innuendo. The
subsequent termination of employment of an employee does not remove the requirement
to submit this report. The report will include the employees’ name and social security
number, along with the adverse information being reported.

GEO will provide, through the COR, a Quarterly Report containing the names of
personnel who are active, pending hire, have departed within the quarter or have had a
legal name change with documentation. The list will include the Name, Position and last
four digits of their SSN and will be retrieved from system(s) used for contractor
payroll/voucher processing to ensure accuracy.
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All sensitive information will be protected from loss, misuse, modification, and
unauthorized access in accordance with DHS Management Directive 11042.1, DHS
Policy for Sensitive Information and ICE Policy 4003, Safeguarding Law Enforcement
Sensitive Information.” GEO employees who are involved with management and/or use
of information/data deemed “sensitive” to include ‘law enforcement sensitive” will be
required to complete the DHS Form 11000-6-Sensitive but Unclassified Information
NDA prior to being able to access such sensitive information.

G. Security Management
The Facility Administrator will be the senior on-site official to interface with the OPR-
PSU through the COR on all security matters, to include physical, personnel, and
protection of all Government information and data accessed by the Contractor. In the
event GEO is notified by the COR of any finding of non-compliance with the security
requirements of this contract, GEO will take the proper corrective action to ensure
compliance is restored.

H. Information Technology Security Clearance
GEO will provide for the administrative control of sensitive data being processed and to
adhere to the procedures governing such data as outlined in DHS MD 4300.1,
Information Technology Systems Security, or its subsequent replacement. GEO will
ensure employees understand, through training, the importance of compliance with
security policy, and the potential penalties associated with non-compliance.
GEO takes reasonable and appropriate steps to protect its information and information
systems from a variety of threats such as error, fraud, sabotage, privacy violation, and
service interruption. All users of GEO Systems and IT Resources, whether they are GEO
employees, temporary employees or consultants, are responsible for protecting sensitive
information from unauthorized access, modification, duplication, destruction, or
disclosure. GEO endorses and implements the following security principles:

• Identification (e.g. User IDs) and authentication (through passwords and/or PINS)
• Authorization (e.g. access roles and access control)
• Confidentiality (e.g. encryption), integrity (e.g. the accuracy of system, data, and
  message storage and transmission), and availability (e.g. accessibility when needed)
• Accountability (e.g. tracking and audit)


I. Information Technology Security Training & Oversight
GEO employees using Department automated systems or processing Department
sensitive data will receive Information Assurance Awareness Training (IAAT), to be
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provided by the appropriate component agency of DHS. GEO will ensure staff with
management, use, or operation of any IT systems that handle sensitive information within
or under the supervision of the Department receive periodic training at least annually in
security awareness and accepted security practices and systems rules of behavior.
Supervisors will be mindful of the behavior of personnel accessing systems and any
unauthorized access, sharing of passwords, or other questionable security procedures will
be reported to the local Security Office or Information System Security Officer (ISSO).

Cybersecurity awareness is reinforced through GEO’s use of web-based training videos
which are sent to staff on a monthly basis. Each video is between three to four minutes
long, increasing the likelihood that employees will participate in the training and retain
the information provided. These monthly video training modules are tracked to each
individual user account and weekly reminders are sent to the user to ensure the module is
completed. The training covers issues such as password security, phishing, privacy,
HIPAA, ransomware, office hygiene, and data/information protection.

J. Processing Center Staffing Plan, Floor Plan and Key Personnel
A staffing plan for each Center being proposed under this Requirement has been
provided as an attachment to this Volume. GEO’s staffing plan reflects a well-thought
out and efficient strategy for staffing each Center.

                    Please see site-specific staffing plans - attached

The approved staffing plan (number, type, and distribution of staff) will be maintained
throughout the duration of the contract. Any proposed changes will be made upon
approval by the CO and COR. At no time throughout the contract will the approved
staffing levels fall below a monthly average of 95%. Staffing levels will be maintained in
accordance with PWS Addendum 1 to the RFP, which requires a monthly average of
85% for custody staff, 80% for health services, and 85% for all other departments of the
total ICE-approved staffing plans. A monthly vacancy report will be submitted to the
COR with the current monthly average vacancy rate and a listing of all positions that
have been vacant more than 60 days. GEO understands any position vacant for more than
60 days may result in a deduction by the CO from the monthly invoice.

1. Minimum Staffing Requirements
   In accordance with the RFP, except for the agreed upon Transition or ramp up
   periods, the Center will be appropriately staffed with employees who have been
   screened and approved by ICE to provide for the secure care, control, and supervision
   of detainees. GEO has existing procedures in place under other contracts with ICE
   governing the creation and submission of assignment rosters, and we will utilize these
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   procedures in the development of operations under the new contract. Assignment
   rosters will be maintained in the Lieutenant’s office and submitted to ICE by the
   Facility Administrator’s office. The daily roster will be posted 24 hours in advance.
   Any vacancies that do occur during normal operations will be quickly filled with
   qualified new hires. At any time, at least one officer of the same gender as the
   detainees will be assigned to each post.

2. Supervisory Staffing
   GEO will develop a full roster of supervisory staff that has been approved for
   employment and provide to the COR prior to service commencement. GEO
   Supervisory Officers will be experienced and qualified professionals who are
   qualified and trained to provide service to ICE under the contract.

   In the absence of the Facility Administrator, GEO will appoint another qualified
   person who meets the Facility Administrator and security clearance requirements to
   temporarily fill that position. GEO will ensure this individual only performs the job
   duties of the Facility Administrator in providing oversight and direction to GEO’s
   Officers and interfacing with ICE CORs and/or designated ICE Officers and the
   Contracting Officer on all contract-related matters.

3. Key Personnel
   GEO will identify qualified, experienced candidates to fill the key personnel positions
   required for the Centers proposed under this requirement. Each candidate will possess
   the requisite knowledge, skills and abilities that will ensure the efficient, safe and
   secure operations. Each selected candidate will be 100% committed to the project
   throughout the duration of the contract, having a positive impact on GEO’s
   performance through their dedication to meeting the operational needs of the Center.
   Full time commitment from our key personnel at each Center proposed under this
   Requirement will provide consistency and support the development of operational
   expertise in our employees.

4. Processing Center Floor Plan and Guard Post Map
   In accordance with the RFP, GEO is providing a floor plan for each Center proposed
   under this requirement which identifies all proposed Officer posts and corresponding
   shift assignments. For ease of review, shifts are grouped by color. Post-award, floor
   plans updated with any required revisions will be submitted with the final Center
   staffing plans to depict all officer posts, to be approved by the CO/COR prior to
   commencement of services under this contract. GEO will submit any necessary
   changes to the guard posts or shift requirements to the CO/COR for approval prior to
   implementation.
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               Please see Processing Center Deployment Plans – attached

5. Organizational Chart
   Additional details on each Center’s staffing strategy as well as a full-size Center
   Organizational Chart that depicts the structure of authority, responsibility, and
   accountability within each Center are provided as attachments to this Volume. The
   standard organizational structure of the major functional areas of the Center is
   depicted in the figure below.




This organizational chart will be updated as necessary throughout the duration of the
contract and provided to the CO or COR as required or requested.
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K. Employee Health
Health files for each employee will be maintained on site, in a locked cabinet to prevent
unauthorized access. These files will be under the supervision of the Center Human
Resources (HR) Manager. Health files will be maintained in accordance with DHS and
ICE Privacy Policies and the Privacy Act of 1974 and will contain the following
documents:
   • Initial and annual TB infection screening results
   • Vaccination records including results, titers, and Immunization Declination
     Form(s)
   • OSHA 301 Incident forms
   • Blood borne pathogen exposure documentation
   • Annual respirator medical clearance
   • Fit test results
   • Other employee health documents

GEO may initiate employment of an individual who has begun the required vaccines and
the individual may be hired and work on the contract as long as they meet all subsequent
vaccine schedule requirements until fully vaccinated. The Human Resources Manager
will be responsible for keeping record and following up on the status of employees who
must follow a vaccination schedule to ensure they meet all subsequent requirements.

All GEO personnel will be required to provide documentation regarding the following:
   • History of testing for tuberculosis (TB) within the last 12 months:
          o Chest x-ray if employee has a history of LTBI, treatment history for LTBI
            or TB disease, if applicable.
          o Additionally, on an annual basis and at own expense, GEO will provide a
            current TST or IGRA test result if the employee previously tested negative
            for LTBI, evaluation for TB symptoms if the employee previously tested
            positive for LTBI and follow up as appropriate in accordance with Centers
            for Disease Control and Prevention (CDC) guidelines.

The required documentation will be placed into the employee health file. HR staff will be
responsible for auditing files of staff to ensure proper documentation of TB testing is
included.
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Recommended Immunizations
GEO recognizes the preventable nature of high-risk diseases that may be transmitted or
acquired as a result of employment within a Processing Center environment. As
vaccinations are widely available for these diseases, which include Hepatitis A, Hepatitis
B, measles, mumps, rubella, varicella, diphtheria, tetanus, a-cellular pertussis and
seasonal influenza, GEO will recommend security staff take these vaccines. If staff
decline or refuse any of these recommended vaccines, they will be required to complete
an Immunization Declination Form and the COR will be notified. GEO understands ICE
reserves the right to refuse employees that refuse vaccines. GEO will follow the OSHA
regulations regarding Blood-borne Pathogens for the provision of Hepatitis B
vaccinations.

Security staff will be required to provide proof of immunization or titer results to the HR
Manager for placement in the secure employee health file. For employee immunizations,
GEO will reference the CDCs Immunization of Health Care Workers: Recommendations
of the Advisory Committee on Immunization Practices (ACIP) and the Hospital Infection
Control Practices Advisory Committee (HICPAC).

L. GEO Employee Rules
Nationwide, all GEO employees are provided with Employee Handbooks, policies, and
procedures which provide them with essential information regarding their rights and
responsibilities. Areas addressed by Employee Handbooks include, but are not limited to,
the following:
   1. Organization
   2. Recruiting procedures
   3. Opportunities for Equal Employment
   4. Qualifying for jobs, job descriptions, responsibilities, salaries, and fringe benefits
   5. Screening employees for illegal drug use
   6. Holidays, leave, and work hours
   7. Personnel records, employee evaluations, promotion, and retirement
   8. Training
   9. Standards of conduct, disciplinary procedures, and grievance procedures
   10. Resignation and termination
   11. Employee-management relations
   12. Security, safety, health, welfare, and injury incidents
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The GEO Employee Handbook and applicable policies and procedures are provided to
each employee and are explained in detail at employee orientation. Employees are
required to sign a confirmation that they have received and reviewed these documents.
The documents are reviewed and revised, as needed. These documents are developed by
GEO as a guideline for personnel to perform their duties and to provide a sound
administrative base for dealing with personnel matters.

Policies outlined are binding for all personnel. These policies and procedures are as
specific as possible. Critical incidents may occur which these documents do not address;
in these cases, supervisory discretion will be exercised.

GEO will provide copy of the rules or policies to our employees at each Center proposed
under this requirement. Upon request by the GEO will submit verification to the
Government that all employees have reviewed a copy of the rules or policies.

M. Minimum Standards of Employee Conduct
The employee conduct policy will be made available to every employee and each
employee will sign a statement to acknowledge having read, understood and agreeing to
comply with the requirements contained in the policy.

GEO and members of GEO’s staff will never:
  • Display favoritism to or preferential treatment of, one detainee or group of
     detainees over another
  • Discuss or disclose information from detainee files or cases outside of the
     performance of professional duties under this contract
  • Display any favoritism or preferential treatment to family, friends of employees or
     detainee family members
  • Enter any business relationship with detainees or their families (i.e., selling,
     buying or trading personal property), or personally employ them in any capacity
  • Have outside contact (other than incidental contact) with a detainee residing at a
     Processing Center or their family or close associates, except for those activities
     which are approved as part of the contract and part of the employee’s job
     description

All employees providing services under this contract will be held to these standards. All
employees will be required to immediately report to the Facility Administrator or ICE
Supervisor any criminal or non-criminal violation or attempted violation of these
standards.
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Violations may result in employee removal from the Center. GEO agrees failure on the
part of GEO either to report a known violation or to take appropriate disciplinary action
against offending employee or employees will subject GEO to appropriate action
including possible termination of the contract for default.

It is GEO’s policy to administer discipline in a consistent and fair manner. There are
guidelines and procedures designed and adopted to implement this policy which will
guide the internal and safe operations of the Center. The procedures therein do not create
any legally enforceable interest or limit the Facility Administrator’s authority to
terminate any employee.

Employees of the Center will be expected to conduct themselves in a manner that creates
and maintains respect for themselves as well as the Center, in all their activities, personal
and official. They will be required to be mindful of the high standards of behavior
expected of them and avoid any action(s) which might result in, or create the appearance
of, impropriety or adversely affect the confidence of the public in the integrity of the
Center. Failure by employees to adhere to policy and procedure regarding conduct will
result in further disciplinary action, up to and including termination.

GEO will not employ any person who is currently an employee of any federal agency –
including active duty military personnel (excluding military reservists or members of the
National Guard) – or whose employment would present an actual or apparent conflict of
interest.

N.Removal from Duty
In order to deter and improve behavior or performance issues, reduce occurrences of
employee policy breaches and minimize Standards of Conduct violations, supervisors
will be trained and expected to take progressive disciplinary action. This means that
when required, employees will be subjected to the progressive disciplinary process, from
less severe discipline to more severe discipline, unless the severity of the infraction or
violation warrants immediate stronger action. It should be understood that progressive
discipline is discretionary, and any violation of company policy, Processing Center, or
company handbook, contractual requirement or statutory prohibition can, because of the
severity of the offense, result in dismissal as an initial sanction.

At the direction of the COR, GEO will reassign employees who have been arrested or
who have alleged misconduct to duties that do not permit direct contact with detainees
pending the disposition of the charges. Any alleged misconduct will be reported
immediately to the COR. If such reassignments are not available, GEO will remove the
employee from work under this contract and other ICE contracts.
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Upon receiving and confirming information regarding an employee that would disqualify
him/her from employment under the contract, GEO will, upon notification by the COR,
immediately remove the employee from duty. The disqualified employee will have
his/her identification credentials revoked. GEO will complete any required dispositions.

Disqualifying information includes but is not limited to the following:

   1. Conviction of a felony, a crime of violence, domestic violence, or a serious
      misdemeanor
   2. Possessing a record of arrests for continuing offenses
   3. Falsification of information entered on suitability forms
   4. Non-payment of court ordered payments (child support, liens, etc.) or excessive
      delinquent debt as determined by credit check
   5. Misconduct or negligence in prior employment, which would, have a bearing on
      efficient service in the position in question, or would interfere with or prevent
      effective accomplishment by the employing agency of its duties and
      responsibilities
   6. Alcohol abuse of a nature and duration, which suggests that the applicant or
      appointee would be prevented from performing the duties of the position in
      question, or would constitute a direct threat to the property or safety of others
   7. Illegal use of narcotics, drugs, or other controlled substances, without evidence of
      substantial rehabilitation
   8. Introduction of contraband into or unto the Center

GEO understands an employee may be removed who has been disqualified either for
security reasons or for being unfit to perform his/her duties as determined by the COR or
the Contracting Officer.

GEO procedures regarding involuntary separation require the development of an
involuntary separation recommendation, which includes the following:
   • Report of investigation
   • Employee’s statement
   • Report of offense
   • Witness statements
   • Any previous disciplinary actions in the prior 12-month period before the current
      incident
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Supervisory personnel will take immediate measures to ensure that the employee’s access
to operations and movement around the Center is minimal and supervised until the
employee leaves the Center. Arrangements will be made for the return of Government
Furnished Property and GEO-issued property. Once the employee leaves the Center, the
employee shall have no further access to the Center. GEO will ensure all procedures to be
implemented related to employee removal from duty are aligned with ICE instructions,
policies, and procedures for the management of this Center.

O.Tour of Duty Restrictions
At each Center, the payroll clerk will utilize the KRONOS timekeeper to monitor and
ensure compliance with the contract requirement precluding uniformed staff from
exceeding 12 hours in any 24-hour period. GEO’s shift supervisors will schedule staff
accordingly to ensure such employees have a minimum of eight hours off between shifts
and that authorization is obtained from the COR prior to an employee performing
services that exceed 12 hours. In the event the employee is performing other duties for
GEO or another employer, GEO will account for those hours worked towards the 12-hour
limitation.

GEO will utilize Kronos Workforce TeleStaff software to manage scheduling. GEO
Centers use TeleStaff to maintain rosters, post assignments, ranks, schedules,
qualifications, time off requests, and deployment of special events. Operational policies
and Telestaff govern practices utilized to backfill planned and unexpected vacancies.
GEO has integrated TeleStaff with our other internal systems to automate maintenance of
people and to provide integration of schedules, accruals, and timecard punches to GEO’s
Kronos Time and Attendance software. This web-based solution will allow GEO to
provide roster reporting to ICE.

P. Dual Positions
At each Center proposed under this Requirement, a staff member may be appointed to an
acting position when a supervisory officer is not available for duty. In such cases the
Chief of Security may identify a temporary replacement. Employees will not be allowed
to hold the positions of Officer and Supervisory Officer simultaneously. This will be
enforced and verified through daily reviews of the roster by the Chief of Security.

For individuals acting in a supervisory position that exceed a two-week period, GEO’s
policy permits for a temporary promotion to supervisory level.
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Q. Post Relief
At each Center proposed under this Requirement, post orders will state that Housing
Officers will not leave their assigned post unless properly relieved and authorized by the
Shift Lieutenant. Officers will contact the Shift Lieutenant when they require/request a
relief and will remain on post until relieved by designated staff. For gender specific posts,
the relieving Officer will be of the same required gender.

All Housing Officers will be required to read and review post orders upon assignment to
his/her post daily.

R. Personnel Files
GEO will maintain a system of personnel files and make all personnel files available to
the CO and the COR upon request. These files will be maintained and current for the
duration of the employee’s tenure under the contract. The files will contain verification of
training and experience and credentials for all the staff. The HR Manager at each Center
will be responsible for personnel files.

Employees will be encouraged to review their records for accuracy. A written request
should be submitted to the Human Resources Department to initiate an appointment. If
there is any correction needed, the employee should request it in writing and submit it to
the Human Resources Representative at the Center.

In accordance with GEO corporate policy and client requirements, personnel files will
contain the following, when required:
   • Resume
   • Application for employment
   • Supplement to application for employment
   • Offer letter
   • Authority and release for psychological examination and evaluation
   • Personnel action forms
   • Polygraph release: Polygraph Examiner's Worksheet (without charts) to be
       retained in the file only for employees hired prior to December 27, 1988
   • Release for background investigation information
   • New employee background check (credit, criminal, motor vehicle, and any other
       reports applicable to the Center).
   • Police/criminal record form letter
   • Non-compete agreement
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   •    Relocation agreement
   •    Employee data form
   •    Employee disciplinary action form (It is also appropriate to include related
        correspondence and documents in support of reprimands.)
   •    Letters of commendation
   •    Letters of resignation and exit interview statements (This may include other
        related documents.)
   •    Performance reviews
   •    Uniform and accessories record
   •    Licensing requirements/documents
   •    All Federal, State, local forms and documents required by law, including
        fingerprint cards
   •    All correspondence, memoranda and other materials related to an employee's
        performance or the terms and conditions of employment.
   •    Notes of issuance of GEO property (credit cards, keys, etc.)

S. Uniform Requirements
The uniform requirements described below will apply to Supervisory Officers and
Officers who perform work under the contract:

The Center will issue uniforms to those employees with positions that require a uniform
appearance, such as officers and supervisory officers, food service personnel, and
transportation officers. GEO Policy will set forth the official uniform description and
conditions of wear. This policy will be reviewed annually. The Facility Administrator or
designee will ensure security staff are inspected daily for uniform compliance and
adherence to grooming standards for male and female uniformed staff.

Non-Supervisory security staff will be issued three sets of uniforms which include: polo
shirts with GEO insignia, name plate, uniform trousers, duty belt, duty flashlight, jacket,
hat, and chain for keys. Supervisory security staff will be issued polo shirts with GEO
insignia, gold Lieutenant Bars, gold name plate, uniform trousers, duty belt, flash light,
rain coat and chain for keys.

Prior to the contract performance date, GEO will document to the COR the uniform and
equipment items that have been issued to each employee. Employees will use GEO-
issued uniforms and equipment only. GEO understands the COR will approve or
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disapprove any uniform apparel. GEO will provide a submittal of the uniform or any
uniform changes to the COR for approval.

All GEO employees providing services at each Processing Center proposed under this
requirement, uniformed and non-uniformed, will be required to have GEO-issued and
other required identification credentials in their possession while on the premises of the
Center. Identification credentials may include:
   • Photo identification card bearing an encrypted, personalized bar code which
       makes the cards difficult to replicate.

   • A printed document with personal data and employee physical description
     including name, gender, date of birth, height, weight, hair color and eye color;
     date of issuance, employee signature, and supervisor signature.
GEO staff will not possess wallet type badges or credentials. All credentials will be
approved by the COR or other ICE-designated official.

T.Permits and Licenses
GEO is licensed as a qualified security service company in accordance with the
requirements of the district, municipality, county, and state in which the ICE work site is
located. GEO will ensure all required permits and licensure are maintained throughout
the duration of the contract and available for Government Inspection upon request.

Licensing of Employees
GEO will ensure each employee has the proper registration, commissions, permits, and
licensure required by the district, municipality, county and state of California, where the
ICE work site is located. GEO will verify all licenses and certifications prior to
employees entering duty.

Jurisdiction
GEO will not extend services into any other areas that are not under the charge or control
of ICE.

U.Encroachment
Security procedures that will be put into place at each Center proposed under this
Requirement will prevent GEO employees from having unauthorized access to
Government equipment, documents, materials and telephones. Restricted areas will be
secured from unauthorized entry.
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All staff will be provided training on GEO IT procedures and other electronic safeguards
during orientation and annual in-service training.

V.Work Schedules
Preparation
One week in advance, the Supervisory and Officer work schedules (inclusive of relief
officers) will be prepared, for a two-week period, and posted in Office in Charge (OIC)
and staff lounge, where available. A manpower report will be submitted to the COR as
required. Changes in duty hours will also be posted on this form in sufficient time to
ensure 24-hour advance notice. At the completion of each shift, upon request of the COR,
GEO will also provide an employment report listing for each employee who actually
worked, work classification, post assignments, and hours worked, as well as total hours
worked by supervisory and non-supervisory employees.

Starting & Stopping Work
All employees will be required to be dressed in full uniform, if required, and ready to
begin work promptly at the beginning of each shift. Each employee will remain at the
duty locations until the shift is completed.

Recording Presence
The Center will utilize the KRONOS time-keeping system, an electronic module, which
captures and computes employee attendance and departures. Upon reporting and
departing work, employees will document their attendance by swiping GEO Issued ID
Cards then placing their fingers on a biometric finger recognition scanner. This provides
real time accountability, leaves no room for errors and provides an extensive reporting
capability. The presence, exit, and entry of all visitors entering the Center will be
manually captured on the Official visitors log to record their presence. GEO will utilize
this system which has proven to meet the Client's needs under other ICE contracts.

Work Relief
At all times, GEO will ensure proper relief coverage during the contract. The supervisor
will schedule for proper qualified staff to cover the necessary post.

W.Training
It is GEO policy to provide training to all employees to empower them with the
knowledge skills and abilities to perform their assigned job duties. Employees perform
more efficiently and effectively when they are properly trained. Training creates a better
work environment and enables staff to realize greater job performance satisfaction.
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GEO’s training program at each Center proposed under this Requirement will be
managed by a dedicated Training Administrator located full-time at each Center. The
Center Training Administrator will schedule, conduct (in concert with Department-head
level subject matter experts), facilitate, and document all training activities required
under the contract, including management of the GEO Learning Management System
(LMS).

Officers will not perform duties under this contract until they have successfully
completed all initial training and the COR receives written certification from GEO. Any
remuneration or pay due to GEO employees in accordance with U.S. Department of
Labor regulations for any training time is GEO’s responsibility. GEO will not use
alternative or E-training techniques, unless approved in writing by the CO via the COR.
The training site will be provided at no additional cost to the Government.

Training objectives will be established along with a specific written statement of the
goals expected for successful completion of the training program. Training programs will
include established requirements for completion, attendance recording, and a system for
recognition of completion.

General program objectives for training will be as follows:
  • To inform new employees of the Center's mission and institutional goals
  • To instruct new employees in Center policies, procedures, and programs
  • To familiarize new employees with the Center 's physical plant
  • To provide existing employees with improved skills in their specialty area
  • To convey new job skills to employees in all specialty areas
  • To provide a team of trained resource staff at all levels of management
  • To develop human relations skills to assist in establishing productive, meaningful,
      and professional relationships with detainees

The Facility Administrator is responsible for the overall operation of the Center training
program, and the Training Administrator is responsible for implementation of the training
policy.

Training provided to Center staff will include typical classroom instruction as well as
other recognized educational strategies. Employee positions and job responsibilities will
determine the type and quantity of training required. This will be addressed in the annual
training plan.

Each trainee shall be required to pass a written or practical examination to ensure the
subject matter has been mastered. This is particularly important in life-safety subject
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areas such as firearms, chemical agents, self-defense, force and restraints, emergency
response, first aid, CPR and in areas of ethical conduct.

Key components in developing the training program include:
  • Design of training based on the needs of the Center;
  • Scheduling training in phases so applicable standards, contractual obligations, and
      policies are compliant; and
  • Delivering training in professionally developed formats that ensures skill-based
      competency testing.

All new Officers will receive 180 hours of training during the first year of employment,
comprised of Basic, On-the-Job training and Additional Training during their Initial 60-
Day Period. Refresher training will be provided annually.

The following training categories will be established:
   • Initial training for all staff upon employment with the Center
   • Annual refresher training for all staff that serves to maintain minimum
      competencies in necessary job skills and informational areas
   • Emergency training for pre-identified staff so every employee likely to be called
      on in an emergency can respond efficiently and effectively
   • Other specialty training mandated by statute, standards, or regulations

Requirements for training will depend on each employees’ job duties and will be
performed in accordance with the requirements of the PWS.

All employees at the Center will be trained in basic first aid and CPR. All CPR certified
staff will be trained by a certified health organization such as American Red Cross,
American Heart Association, or American Safety and Health Institute.

Supervisory Training
Prior to assuming duties, all supervisory Officers will receive 40 hours of formal
supervisory training. This program includes situational leadership, KRONOS, and
transition training. GEO ensures supervisors attend a 40-hour block of instruction
designed for New Supervisors. This course is modeled after and uses material from the
National Institute of Corrections (NIC). The course includes: Communications Skills,
GEO’s Uniform Policies, Security Inspections, Staff Motivational Techniques, Use of
Tele-Staff for Scheduling and Overtime Control, GEO Human Rights policy, Detainee
Supervision Staff- Detainee Relations, Use of Force, and Emergency Response.
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Additionally, supervisors will receive 24 hours of professional development training each
calendar year. Any additional courses added to the above curriculum will undergo an
approval process by the COR. New Supervisors Training will be completed prior to a
staff member assuming the duties of Supervisor. Records of completion will be
maintained in the Learning Management System (LMS) and will be made available to the
COR.

Training will be conducted using certified instructors. The Training Administrator will
complete, at a minimum, a 40-hour train-the-trainer course. Each instructor will be
approved by the COR prior to the start of the training course. GEO ensures all instructors
attend a Training for Trainers course prior to instructing any pre-service, in-service or
specialty curriculum. GEO also ensures all specialty trainers such as Defense Tactics,
CERT or Firearms have received a Certification within that field from either a State or
Federal government or a nationally certified private vendor.

Training Documentation
GEO will utilize a Learning Management System (LMS) to ensure that every employee
providing services under this contract has completed the appropriate training, that
training is up to date, and that the training is provided on time. A monthly training
forecast will be developed and submitted to the COR or alternate COR, which includes
the dates, times, and locations of scheduled training. A monthly list will be maintained
outlining the training completed and a list or database of each employee’s training history
and pending training requirements. The list will contain the training hours, type of
training, date and location of training, and the name of the instructor for each employee.
Training records will be updated in the Learning Management System.


V.DETENTION SERVICES

A.Detention Site Standards
The Center will operate in strict conformance with ACA and DHS Standards. GEO
recognizes there is a relationship between the cleanliness of the Center and the health,
safety, security, and morale of the detainees. Policies that detail the process and quality
level required to meet sanitation and hygiene standards for each area of the Center will be
followed. The Fire and Safety Manager will work with a qualified pest control company
to conduct frequent and spot services to ensure the Center is vermin/pest free.

 Under the direction of the Center staff, custodial services will be provided in the
 following areas:
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    ✓ Office Areas (including ICE Offices)             ✓ Recreation Areas
    ✓ Hallways                                         ✓ Health Services
    ✓ Entry Areas/Outside Areas                        ✓ Hair Care area(s)
    ✓ Restrooms                                        ✓ General Use Rooms
    ✓ Equipment Room                                   ✓ Visitor Areas
    ✓ Storage Areas                                    ✓ Administrative Control Areas


Clean, well-maintained and suitable linens and bedding supplies are conducive to good
morale in the Center. The basic issue of linen typically includes two sheets, one pillow,
one pillowcase, one non-combustible mattress with cover, and a sufficient number of
clean blankets to provide comfort under existing temperature conditions. GEO will
supervise and distribute these items to detainees as required.

GEO will ensure each detainee has access to clean bed linen and towels by supervising
and distributing such items at least weekly, or sooner if excessively soiled or unsanitary.
GEO will ensure articles necessary for maintaining proper hygiene are available to all
detainees. Detainees, including those with disabilities and special needs, will be able to
maintain acceptable personal hygiene practices. Detainees will be provided with clean
clothing, linen and towels on a regular basis to ensure proper hygiene. Undergarments
will be exchanged daily, outer garments at least twice weekly, and sheets, towels, and
pillowcases at least weekly. Blankets will be exchanged every 30 days.

GEO will ensure detainee housing areas are inspected by a supervisor a minimum of once
per shift. A security logbook will be used to log records of the inspection. The security
logbook will be available for review by the COR or ICE designee. The Chief of Security
will serve as the coordinator of the sanitation inspection program designed to ensure that:

   1. All areas are clean and orderly
   2. Lighting, ventilation and heating equipment function properly
   3. No fire, safety or health hazards exist
   4. All equipment, tools and security devices perform properly
   5. All plumbing equipment including toilet, showers, washing and laundry facilities
      operate properly
   6. A review of previous reports of deficiencies is conducted

Each staff member is responsible for overseeing the sanitation levels in their assigned
area. If a deficiency is found, the staff member will put in a work order to have the
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situation remedied. GEO will check all locks, windows, walls, floors, ventilators,
ventilation covers, access panels, and doors daily for operational wear and detainee
tampering. Any defective equipment will be reported immediately to the COR or ICE
designee.

GEO will follow established policies and procedures relating to the security of the Center
to prevent possible escape attempts. A comprehensive security-inspection system must
cover every area in the Center, including the perimeter fence-line and all security
cameras. Officers assuming their posts shall conduct a security check of the area, record
the results in the post logbook, and prepare and submit maintenance work requests as
necessary. Supervisory staff will conduct a daily patrol, including holidays and
weekends, of all areas occupied by detainees.

GEO understands the Center is subject to periodic and random inspection by the COR,
ICE designee, or other officials (e.g., ACA, Foreign Counselor Officers) to ensure
compliance with ICE Standards. Deficiencies will either be immediately rectified or a
plan for correction will be submitted to the COR for approval.

Fire and emergency exits will be unimpeded, permitting prompt evacuation of detainees
and staff members in an emergency. All employees will be knowledgeable of and trained
on all Center evacuation plans and procedures, including the location of all exits to be
used in the event an evacuation is required.

B.Language Access
Translation services will be provided for communication with detainees who do not
speak or comprehend the English Language. GEO will actively recruit bilingual staff and
offer incentives to staff within the company for reassignment to the Center to ensure the
availability of sufficient bilingual staff. In addition, GEO may provide continuing
education assistance to those employees who wish to become bilingual. Detainee
interpreters will be used only in emergency situations. GEO utilizes Language Line
Services for telephone translation services.

C.Health and Medical Care Policies
GEO will manage and operate the Center in compliance with written policies and
procedures that govern emergency medical care, prompt summoning of emergency
medical personnel, evacuation, and duty officer response. GEO Officers will be trained to
treat requests for medical treatment with a sense of urgency.
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D.Medical Services
Medical services at the facilities proposed under this Requirement will be provided by
Wellpath, under contract with GEO, and will encompass the requirements established in
the PWS. Wellpath is a leading provider of a wide range of health care services, ancillary
services, and products with more than 35 years of experience. GEO will provide Officers
to cover the medical unit, the infirmary, and mental health, and will escort detainees to
the medical clinic for sick call, appointments, and pill line.

Health Care
Wellpath has a comprehensive, in-house detainee health care system that includes
medical, dental, mental health, recordkeeping and ancillary services. Wellpath will
comply with the standards promulgated by the National Commission on Correctional
Health Care (NCCHC), ACA, the PBNDS, as well as all applicable State of California
regulations, Federal laws and court orders in effect at the time of this Solicitation.

Health Care Administration – Health care services are an inherent part of the overall
secure services management program. Wellpath’s in-house licensed health services staff
will provide clinical and management expertise to all detainees at the Facility 24 hours a
day, seven (7) days a week. The medical unit will be equipped to provide primary care
and emergency health care on-site, to include on-site medical observation. Arrangements
with outside laboratories, pharmacies, hospitals, diagnostic services and specialists will
be made to augment or complement our health care services and to ensure that the health
and welfare of the detainee population is met. The Health Services Administrator is the
Facility-designated health authority responsible for the delivery of health care services
and will have full authority to act on behalf of Wellpath in all matters relating to the
administrative operation of health services at the Facility. The licensed, responsible
Physician has the final authority regarding clinical issues. A Regional Manager will
oversee all personnel selection, training and supervision to provide professionalism,
quality service and compliance with Wellpath’s professional and client standards.

Intake Health Screening – Intake/Release provides the requirements of detainee intake
health screenings. Facility Medical staff will immediately be advised of the detainee(s)
arrival and they will perform a preliminary health screening. No detainee will be admitted
into a housing assignment without medical clearance.

All new intakes receive a thorough screening for TB at the intake process. Upon
receiving a TB test, information is immediately recorded in the health care record and the
detainee is given an appointment to return to the medical department for the final reading.
The final reading is recorded in the health care record and follow-up with a medical
provider is scheduled, if required.
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An initial receiving/intake screening will be completed on all detainees within 12 hours
of entering the Facility. The receiving/intake screening will be completed by health
services staff and comply with all requirements of PBNDS Intake Screening Form.

The findings of the receiving/intake screening and subsequent evaluations will be
recorded on the appropriate PBNDS form and will become a permanent part of all
medical record. Based on the receiving/intake screening, the health services staff will
determine what restrictions, if any, must be considered for proper placement of the
detainee while at the Facility. In addition, an immediate referral to an appropriate health
care service or health care provider will be initiated, as medically indicated.

Medical, Mental Health and Dental Appraisals – A comprehensive health assessment
will be completed for each detainee within 14 days after arrival at the Facility. When the
detainee is readmitted to the system, their health status will be updated as appropriate. All
elements of the health assessment will be conducted by the health services staff. Essential
elements of the health assessment will include the following:
   • Review of receiving/intake screening performed during intake
   • Collection of historical data to complete the medical, dental, mental health and
       immunization histories
   • Recording of vital signs, which includes height, weight, pulse, and temperature
       and blood pressure
   • A mental health evaluation
   • A physical examination that includes attention toward oral health and dental
       problems
   • Routine lab work to determine the presence of communicable disease, if clinically
       indicated
   • Additional laboratory work, as clinically indicated
   • Vision and hearing screening
   • Appropriate treatment or therapy as indicated
   • Immunizations in compliance with the U.S. Public Health Service (PHS) and
       Centers for Disease Control (CDC), if indicated

All information recorded during the history and physical examination will be placed into
the detainee’s permanent medical record. Thereafter, detainees will receive subsequent
physical examinations according to established Wellpath Health Services Policies and
Procedures for recurrent physical examinations.
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Access to Health Care – Upon arrival at the Facility, all detainees will receive oral and
written information that specifies the medical, dental and mental health services available
to them, the procedures for accessing routine or emergency services, and the procedure
for utilization of the grievance mechanism in a form and language they can understand.
Signs explaining these procedures will be posted in the initial intake area, the medical
unit and in all detainee housing units. Wellpath will establish language interpretation
services and will not use detainees to translate or interpret medical problems except in
emergencies.

Detainees will have daily access to the health services staff by utilizing the medical
request form. Health services staff will triage medical requests within 24 hours and
detainees will be assessed by health services staff within 24 hours of triage (72 hours on
weekends). Detainees will have access to a Physician when medically necessary after
assessment by the health services staff.

Sick Call – Each detainee assigned to the Facility will have unencumbered access to
regularly scheduled sick call. The detainee will complete a Request for Health Services
Form, which will be collected daily from a locked box on each housing unit by health
services staff. Sick call will be conducted regularly, regardless of housing assignment, by
qualified health services staff for non-emergency health services to meet the detainee’s
routine health care needs. Arrangements will be made to provide regular sick call services
and evaluations to restrictive housing unit detainees by health services staff. The
Physician will visit the restrictive housing unit as often as medically necessary. Health
services staff will maintain a record of restrictive housing unit visits. Health services staff
will be available daily to detainees throughout the Facility for access to health services, in
addition to the medical request form being filled out by the detainees requesting medical
care. Emergency medical, dental and mental health services are provided 24 hours a day.

Provision of Health Care – The Medical Health Unit will ensure that a detainee’s
medical or mental health conditions are closely monitored. Wellpath facilitates medical
care 24 hours a day, seven days per week. If a detainee requires the provision of
extensive medical care beyond the capability of the Facility medical department, facility
staff members can arrange for transfer of the detainee to one of the numerous local
hospitals under order of the facility Physician.

Special Needs Treatment Plans - Individualized treatment plans will be developed by the
examining Physician for detainees with special medical needs, which require close
medical supervision and/or multi-disciplinary care. A review of the treatment plan by the
health services staff will occur regularly. All detainees with special needs will be
monitored closely by the health services staff. The treatment plan will include a
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diagnostic statement, the frequency of follow-up visits, diagnostic studies and the
medication regime.

Infection Control Program - Because of the unique environment within secure facilities,
it is particularly important to stress prevention, early identification, and control of
infectious diseases, which are certainly more likely to become epidemic under such
conditions. The infection control program will involve monitoring of infectious diseases
and communicable diseases among detainees by review of records, investigation of
reports of infection, a review of outbreaks of disease and to assure that detainees infected
with these diseases receive prompt care and treatment. Typical monitoring functions of
this program will include monitoring of detainees with tuberculosis (disease or infection),
sexually transmitted diseases, AIDS, hepatitis and other reportable diseases, which will
have reports filed consistent with local and Federal laws and regulations. Detainees
infected with these diseases will receive prompt care and treatment according to written
policies and procedures, to include separation from the detainee population when
medically indicated, and compliance with treatment regimen will be initiated within
twenty-four (24) hours. The IHSC and local health department will be notified
immediately when a communicable disease is suspected. Wellpath has a comprehensive
Blood-borne Pathogen Exposure Plan consistent with the Occupational Safety and Health
Act (OSHA) and all other Federal codes and regulations.

Wellpath will conduct a monthly environmental and sanitation inspection of the Facility
to ensure a safe and sanitary environment for detainees housed in the Facility. Monthly
findings will be discussed at both Administrative and Comprehensive Quality
Improvement Program meetings.

Standard universal precautions will be strictly adhered to by health services staff and all
Officers who have contact with detainees in order to minimize the risk of exposure to
blood and body fluids of detainees. The Facility staff will receive training to ensure
compliance with Standard Universal Precautions.

Detoxification – The responsible health authority will approve established policy,
procedures and specific protocols for detainees under the influence of alcohol and/or
other drugs or those undergoing withdrawal. Detainees experiencing severe, life-
threatening intoxication (overdose) or withdrawal will be immediately transferred to an
off-site acute care hospital. Narcan injection or nasal inhaler will be available and utilized
as necessary.

The health services staff will follow established policies and procedures for the treatment
and observation of individuals manifesting mild or moderate symptoms of intoxication or
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withdrawal from alcohol and drugs. Acute detoxification is done only under direct
medical supervision and the detainee would be transferred to an off-site acute care
hospital for treatment.

Chemical Dependence – The responsible health authority will approve established policy
and defined procedures regarding the clinical management of chemically dependent
detainees. An individual treatment plan will be developed and implemented, and referral
to community resources will be made when appropriate upon release. Substance abuse
counseling and support services will be provided as part of the detainee’s education and
program activities.

Pharmaceuticals – Wellpath will coordinate for the provision of all formulary and non-
formulary pharmaceuticals to include over-the-counter medications at the Facility. All
such medications will be ordered through the VA Financial Services Center system.
Prescription medications will only be ordered by a licensed practitioner (Physician,
Psychiatrist, Advanced Practitioner or Dentist) in accordance with State law. All
pharmacy services will be monitored by a licensed contract consulting Pharmacist who
will comply with all regulations set forth by the State of California and Federal Drug
Enforcement Administration Laws, Regulations and Rules. No detainee or Officer will
deliver or administer prescription medications.

Wellpath will provide maximum security, storage, and accountability for DEA-controlled
substances and needles and other commonly abused items. Wellpath has existing policies
and procedures to ensure the security of medications and the integrity of the on-site
medication room. The provision of medications on discharge from the Facility will be in
accordance with established IHSC policies.

Mental Health Services – The mental health services will be provided by qualified mental
health professionals who are appropriately credentialed and licensed in the State of
California. All detainees will receive an initial mental health screening within 12 hours of
arrival. Detainees found to be suffering from a serious mental illness or psychiatric
disorder will be referred immediately to a qualified mental health professional for further
evaluation and crisis intervention. All detainees at the Facility will have access to mental
health services and will receive oral and written information concerning the scope of
mental health services and how to access the system. Detainees will access mental health
care by completing a medical request form which will be collected by health services
staff from a locked box in the housing unit. Detainees who do not speak English will
have access to the language line for assistance in making medical requests and
understanding medical/psychological intervention offered.
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Mental health services will be provided on-site at the Facility and will include the
following:
    • Receiving screening
    • Mental health assessment
    • Mental health evaluation by qualified mental health professional, as medically
       required
    • Assessment to suicide/self-harm risk
    • Crisis intervention
    • Psychological evaluation as required
    • Psychiatric assessment and follow-up as required
    • Psychotropic medications when clinically indicated
    • Appropriate laboratory services for detainees on psychotropic medications
    • Documentation of service delivery and development of treatment/management
       plan

Health services staff will evaluate and determine the health status of detainees who have
been receiving mental health treatment, prior to the detainee being admitted to
disciplinary, administrative, protective or other segregation. Health services staff will
monitor daily, or more often as indicated, detainees with mental health disorders in any
segregated housing setting. Mental health treatment will be initiated as clinically
indicated for detainees regardless of their housing at the Facility.

Wellpath will immediately notify the IHSC when there are significant concerns related to
a detainee’s mental health status.

Dental Services – All detainees will have an oral screening by a qualified health care
professional within 14 days of admission to the Facility. This oral screening is a visual
observation of the teeth and gums and notation of any obvious or gross abnormalities
requiring immediate referral to a Dentist. A full dental examination will be done within
12 months of admission by a Dentist, supported by x-rays if necessary. A re-admitted
detainee who has had a dental exam within the past 12 months will not require a new
exam. All routine dental services will be provided by a licensed Dentist. Dental treatment
is provided according to a treatment plan, based upon established priorities that, in the
Dentist's judgment, are necessary for maintaining the detainee’s health status. Detainees
will access dental services by completing a medical request form and will deposit in
locked box in housing unit. The detainee will be referred to a dental specialist as
medically required.
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The oral screening includes instruction in oral hygiene and dental health education. The
dental care will include relief of pain and infection, extractions, restorations, minor repair
and adjustments of dentures. Non-urgent or elective dental care will not be provided.
Cosmetic dental prosthetics or other dental care for cosmetic purposes will not be
provided.

Experimentation – Wellpath will not conduct experimentation or pharmaceutical testing
on detainees.

Incident Health Care – The Facility considers the health and safety of the detainees in its
custody of utmost importance; therefore, we take preventative measures to limit severe
incidents.

Suicide Assessment and Prevention – The threat of suicide and attempted suicide are
treated as serious matters by all staff at the Facility. Proper care and supervision of
suicidal detainees will be provided. Facility policy and procedure provides for the
immediate response to the threat of suicide and the proper notification to health services,
administrative, counseling and direct care staff and mental health professionals regarding
detainees who have expressed suicidal ideation, have histories of suicidal tendencies
and/or arrive at the Facility with documentation indicating that the detainee has
threatened or attempted suicide. These detainees will be evaluated on a regular basis by
professionals who will assess the detainee's mental health and ensure the prescribed
treatment is provided.

Hunger Strikes – The Facility’s hunger strike management program is reviewed by the
responsible health authority. Medical staff members are trained in hunger strike
evaluation and treatment and remain up to date on these procedures.
Electronic Health Records (EHR) – As an added value, GEO offers an electronic health
record (EHR) to document services provided to include but not limited to medication
administration, clinical encounters, chronic care treatment plans, mental health and dental
assessments. Wellpath health professionals will fully utilize the GEO EHR to document
delivered services. Statistical data will be obtained from the records for utilization in the
Quality Improvement Program. GEO will establish a time line for EHR implementation.


E.Detainee Voluntary Work Program
GEO will establish a comprehensive volunteer detainee work program at the Center
which complies with PBNDS 2011 with 2016 revisions. Assignment to the work program
will be strictly voluntary and under the supervision of the Assistant Facility
Administrator or his/her designee.
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The program will comply with all Federal, State and local work Safety Laws and
Regulations. Detainee volunteer workers will be paid $1 per day in accordance with the
Performance Work Statement, Part 5. Detention Services, Section E. Detainee Voluntary
Work Program, issued with this RFP.

Examples of voluntary detainee work include maintenance, food service, laundry, and
sanitation/grounds work. Detainees will remain within sight and sound of a staff member
at all times and will be searched when they return from work detail.

Detainees will not:
   • Be used to perform the responsibilities of an employee
   • Perform work in areas where sensitive information is available
   • Be assigned work that is considered hazardous, such as work requiring great
      heights, extreme temperatures, use of toxic substances, or unusual physical
      demands

All volunteer workers will be supervised by Center staff. For example, detainees who
have volunteered and been medically cleared to participate in food service at the Center
will be supervised by staff and provide basic assistance during meal service times.

The Center Fire & Safety Manager will monitor all working conditions to ensure safe
conditions are maintained and that detainees receive documented training as it relates to
voluntary work program assignments and appropriate clothing and equipment as
necessary.

VI.REQUIRED ADMINISTRATION AND MANAGEMENT SERVICES

A.Manage the Receiving and Discharge of Detainees
During the admissions process, GEO will ensure that detainees undergo screening for
medical purposes, have their files reviewed for classification purposes, submit to a
standard body search, and are personally observed and certified regarding the
examination, categorization, inventorying, and safeguarding of all personal belongings.

All detainees will be fingerprinted upon admission in accordance with the ICE policy on
Admissions Documentation.

Admission processes for a newly admitted detainee includes, but is not limited to:
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   •    Recording basic personal data and information found in ICE documents and
        obtained during interview of arriving detainees
   •    Detainee shower and issuance of clean clothing mandated
   •    Retention of criminal history check within detainee files and records
   •    Photographing and fingerprinting, including notation of identifying marks or other
        unusual physical characteristics
   •    Assignment of registered number to the detainee, checked property and computer
        management system
   •    Metal detection prior to housing transfer
   •    PREA Risk Assessment
   •    Opportunity to make one free three-minute telephone call and are assisted as
        needed to notify persons of their admission to custody
   •    Medical, dental, and mental health screenings including suicide/self-harm
   •    Screening to detect signs or drug/alcohol abuse
   •    Inventory of personal property
   •    Secure storage of detainee property, including money and other valuables. The
        detainee is given a receipt/or all property held until release.

GEO will effectuate departures as directed by ICE.

 Activities performed by GEO in support of detainee departure will include:
    ✓ Providing positive identification;
    ✓ Documentation preparation and review;
    ✓ Transportation
    ✓ Escorting
    ✓ Provide sack meals for detainees
    ✓ Placing detainee on proper departing aircraft
    ✓ Remaining at the gate until aircraft is airborne
    ✓ Verifying verbally with carrier gate attendant that aircraft is in flight
    ✓ Certifying departure in writing to the COR
    ✓ Returning all DHS documentation to the appropriate DHS supervisor upon
         completing the escort assignment
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GEO will affirm, swear and witness to all actions of effectuating departure that were
accomplished, performed, and carried out.

All detainee releases are to be carefully identified and documented. All detainee property
is to be returned to the detainee and all issued Center property is to be collected and
inventoried prior to his/her release. All Detainees held for 30 or more days that will be
released to the community are provided with information about community resources.

Procedures followed by GEO for releasing detainees at the end of their term include, but
are not limited to, the following:
    • Identification of outstanding warrants, wants or detainers
    • Verification of identity
    • Verification of release papers
    • Completion of release arrangements
    • Return of personal property
    • Verification that no Center property leaves the Center
    • Arrangements for completion of any pending actions, such as grievances or claims
       for damages or lost possessions
    • Medical screening and arrangements for community follow-up where needed, to
       include medication
GEO will provide transportation assistance as required by the PWS to detainees upon
release.

B.Manage and Account for Detainee Assets (Funds, Property)
Detainees will be allowed to retain in their possession a reasonable amount of personally-
owned property. Detainee property items not authorized for personal retention and use
during processing will be inventoried and be retained in the property room until the
detainee's release, transfer or removal.

To prevent overcrowding and related storage problems, staff will encourage detainees to
send extra suitcases, television, and other soft contraband to a third party of their
choosing. Staff shall inventory, and maintain a record of, detainee personal property
being shipped from the Center, with a copy of the record placed in the detainee's
processing file.

The detainee handbook or equivalent shall notify the detainees of Center policies and
procedures related to personal property, including:
   • Which items (including cash) they may retain in their possession
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   • That, upon request, they shall be provided an ICE/DRO-certified copy of any
     identity document (e.g., passport, birth certificate) which shall then be placed in
     their A-files
   • The rules for storing or mailing property not allowed in their possession
   • The procedure for claiming property upon release, transfer, or removal
   • The procedures for filing a claim for lost or damaged property
   • Access to detainee personal funds to pay for legal services

GEO will provide for the control and safeguarding of detainees’ personal property. All
personal property will be inventoried, tagged and stored in the property room. An
inventoried list of all items to be stored will be provided to the detainee for confirmation
and signature. This list will be placed within the detainee’s file.

C.Securely Operate the Processing Center
GEO policy requires a system of maintenance, control accountability, and identification
of all keys used in the Center. The strict control of keys in a Center is essential to ensure
Center security, public safety, and the safety of staff, visitors and detainees. GEO will
adhere to key control policies, in accordance with ICE PBNDS 2011 with 2016 revisions.
This includes strict control over keys to ensure Center security, public safety, and safety
of staff visitors, and detainees. The Locksmith/Armory Officer will report to the Chief of
Security and be responsible for inspections, maintenance, accountability, and testing on
all locks and access controls throughout the Center. The Locksmith/Armory Officer shall
complete an approved locksmith training program. This training shall be supplemented
with additional training in Occupational Safety and Health Administration standards and
the National Fire Prevention Association's life safety codes.
All staff shall be trained in and held responsible for adhering to proper procedures for the
care and handling of keys, including electronic key pads. Initial training shall be
completed before staff is issued keys, and key control shall be among the topics covered
in subsequent annual training.

GEO will be responsible for all devices issued to them for ICE buildings, gates, and
locks, and will sign and acknowledge receipt of these devices.

In the event a key is lost, stolen, missing or damaged, or if a key or lock is compromised,
the Shift Supervisor must report it to the Facility Administrator or designee immediately
both verbally and in writing. The Shift Supervisor will gather all documentation of the
lost or damaged keys by the end of their shift. The Shift Supervisor will immediately
lockdown all detainees in the area and will thoroughly search the area. Staff will not
leave until the Facility Administrator authorizes staff to do so.
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Each Center equipped with a perimeter road will have constant armed perimeter
surveillance.

D.Establish and Maintain a Program for the Prevention of Sexual Abuse/Assault
GEO will develop and implement a sexual abuse/assault prevention and intervention
(SAAPI) program that is in accordance with the ICE 2011 PBNDS with 2016 revisions
on SAAPI and the DHS PREA standards as provided in Attachment 13 of this RFP. GEO
will use ICE approved SAAPI program policies and procedures from existing GEO
managed ICE Centers as a foundation for developing the FSP SAAPI Program.

GEO policy prohibits sexual conduct between employees, volunteers, contractors or
detainees, regardless of consensual status. Such conduct is subject to administrative as
well as criminal and disciplinary sanctions.

GEO has a dedicated PREA Coordinator, Director of Contract Compliance, reporting
through the Corporate Contract Compliance department. The Corporate PREA
Coordinator will be responsible for implementation of PREA monitoring systems and
policies as well as developing, implementing and overseeing GEO’s compliance with the
National DHS PREA Standards in each Processing Center. In addition, the Corporate
PREA Coordinator will provide guidance and resources in all matters related to PREA
training, reporting, allegations, and investigations.

GEO also employs three PREA Managers of Contract Compliance at the Corporate level
with investigative experience who are charged with reviewing and assisting in
investigations of PREA incidents as well as operating as a resource to all Centers. An
additional Corporate staff member, the PREA Compliance Specialist, is dedicated to
collecting and analyzing PREA statistical data and preparing required reports. In addition
to the Corporate PREA team, a Prevention of Sexual Abuse (PSA) Compliance Manager
will be designated at the Center to ensure SAAPI Compliance at the Center level and will
work closely with the corporate team.

This team, as part of the Corporate Contract Compliance Department, will work with
staff at each Center to implement the extensive training program for all employees,
volunteers, and contractors with additional intensive training for investigators and
specialized training for medical personnel. All detainees will receive PREA education at
orientation as part of the intake/admissions process. Upon employment, all staff receives
a three-hour initial training course specifically covering DHS PREA guidelines, with two
hours of annual in-service training thereafter. Additionally, all detainees will receive
PREA education at orientation as part of the intake/admissions process in a language or
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manner that the detainee understands, including those who are limited English proficient,
deaf, visually impaired or otherwise disabled, as well as to detainees who have limited
reading skills.

The Center will take steps to ensure meaningful access to all aspects of the Center’s
efforts to prevent, detect, and respond to sexual abuse to detainees who are limited
English proficient and disabled.

To ensure continuous commitment to PREA, PREA requirements are included in the
Quality Control Program and are audited during the Annual Corporate Audit. The audit
includes a tour of the Center, review of various PREA related documentation, reviews of
investigation files, postings, and evaluation of detainee familiarity with PREA reporting
and interviews with staff on their knowledge of PREA requirements.

In addition to training, the Corporate Contract Compliance team performs mock PREA
audits to prepare for the certification audit. These mock audits include tours of each
Center, reviews of investigation files, postings, and evaluation of detainee familiarity
with PREA reporting and interviews with staff on their knowledge of SAAPI
requirements.


E.Collect and Disseminate Intelligence Information
The Chief of Security will be responsible for Intelligence operations. The Chief of
Security, through the Facility Administrator’s office, will notify the ICE Supervisor on
duty immediately on issues which could impact the safe, secure, and orderly operation of
the Center.

F.ICE Notifications
GEO will immediately report all serious incidents or criminal activity to the Field Office
Director (FOD) or ICE-designee and the COR, including but not limited to:

   • Activation of disturbance control team(s)
   • Disturbances (including gang activities, group demonstrations, food boycotts,
     work strikes, work place violence, civil disturbances/protests)
   • Staff uses of force including use of lethal and less-lethal force (includes detainees
     in restraints more than eight hours)
   • Assaults on staff/detainees resulting in injuries that require medical attention (does
     not include routine medical evaluation after the incident)
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   • Fires
   • Fights resulting in injuries requiring medical attention
   • Full or partial lock-down of the Center
   • Escape
   • Weapons discharge
   • Suicide attempts
   • Deaths
   • Declared or non-declared hunger strikes
   • Adverse incidents that attract unusual interest or significant publicity
   • Adverse weather
   • Fence damage
   • Power outages
   • Bomb threats
   • High profile detainee cases admitted to a hospital
   • Significant environmental problems that impact the Center operations
   • Transportation accidents (e.g., airlift, bus) resulting in injuries, death or property
     damage
   • Sexual assaults
All criminal activity related to the performance of this contract will be reported to the
appropriate law enforcement investigative agency.

GEO will cooperate with the Government on all investigations of any incident pertaining
to performance of this contract.

Pursuant to ICE instructions, GEO will notify and coordinate with local law enforcement
agencies to counteract civil disturbances, attempts to commit espionage or sabotage, and
other acts that adversely affect the normal site conditions, the security and safety of
personnel, property, detainees, and the general public.

When a situation exists that requires an emergency response, it is imperative that staff not
in the immediate area be alerted to aid and to control the situation. When a staff
member becomes aware of an emergency situation their first responsibility is
to give the alarm in an appropriate manner to alert staff outside the immediate area. The
alarm may be given by telephone to Master Control or by radio to alert staff of the
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emergency. In situations where a controlled response is indicated, notification by
telephone, radio or in person is appropriate.

G.Maintain Institutional Emergency Readiness
GEO will establish and maintain a Disturbance Control Team in accordance with ICE
guidelines. Officers will be diverted from their normal duties as needed to control
emergencies.

GEO’s emergency plans will abide by ICE PBNDS 2011 Safety Section: 1.1 Emergency
Plans, ACA standards and ICE policies. GEO has in place an internal corporate
nationwide staff contingency plan consisting of employees who possess the same
expertise and skills required of staff working directly on this contract. At the discretion of
ICE, these employees will be made available to respond to an institutional emergency at
the Center if deemed necessary. Employees considered as part of the national roster for
this contingency plan will be selected from other Centers where GEO provides service
under contract with ICE, thus ensuring that the employees have attained the proper
background screening and training. GEO will obtain the concurrence of the COR for the
plan prior to implementation and will not make additional modifications to the plan
without the further written concurrence of the CO.

GEO will submit to the COR or ICE designee a proposed inventory of intervention
equipment (e.g., weapons, munitions, chemical agents) intended for use during
performance of this contract. GEO will not use electro-muscular disruption (EMD)
devices.

GEO will await concurrence of the intervention equipment from the COR or ICE
designee, prior to issuance of the NTP. The approved intervention equipment inventory
will not be modified without prior written concurrence of the CO. GEO will be
responsible for the acquisition of such intervention equipment.

GEO will obtain the appropriate authority from state or local law enforcement agencies to
use force as necessary to maintain the security of each Center proposed under this
Requirement.

H.Manage Computer Equipment and Services in Accordance with all Operational
Security Requirements
GEO takes reasonable and appropriate steps to protect its information and information
systems from a variety of threats such as error, fraud, sabotage, privacy violation, and
service interruption. All users of GEO Systems and IT Resources, whether they are GEO
employees, temporary employees or consultants, are responsible for protecting sensitive
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information from unauthorized access, modification, duplication, destruction, or
disclosure. GEO endorses and implements the following security principles:
    • Identification (e.g. User IDs) and authentication (through passwords and/or PINS)
    • Authorization (e.g. access roles and access control)
    • Confidentiality (e.g. encryption), integrity (e.g. the accuracy of system, data, and
       message storage and transmission), and availability (e.g. accessibility when
       needed)
    • Accountability (e.g. tracking and audit)

GEO’s security principles give us the ability to identify and record unauthorized access or
attempts to access ICE detainee information. Any information technology security incidents
will be reported to the COR or ICE designee within four hours of the security incident.

I.Manage and Maintain a Commissary
Detainees will be given the opportunity to order from the commissary at least once per
week. The commissary will be an order and ship operation, whereas orders are placed
and are later delivered in an individual bag for each detainee. Detainees will utilize their
detainee number to place orders, which will be tied to their fund accounts, which will be
used for payment for their purchases. Detainees will be permitted to receive funds from
outside sources (i.e., from family, friends, bank accounts). Outside funds or those
generated from participation in the voluntary work program may be used to pay for
products and services from the commissary.

All items available at the commissary will be those allowed by the Facility Administrator
and will be approved by the COR or ICE-designated employee prior to sale to the
detainees. As this will be an order and ship operation, no commissary inventory will be
kept on site. Notice of any price increases will be provided to the COR. Revenues will be
maintained in a separate account and not commingled with any other funds. Any interest
earned on this account will be credited to the detainee welfare fund.

Expenditures of profits from the commissary operations will only be made with the
approval of the Contracting Officer or designee. GEO will utilize revenues earned in
excess of those needed for commissary operations at the Center solely to benefit
detainees at the Center. GEO will provide independent auditor certification of the funds
to the COR every 90 days.

At the end of the contract period, or as directed by the Contracting Officer, GEO will
ensure that a check for any balance remaining in this account is made payable to the
Treasury General Trust Fund and given/transmitted to the Contracting Officer.
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J.Manage and Maintain a Detainee Telephone System (DTS)
GEO understands the importance of an efficient, consistently operable telephone system
within the processing environment. Access to telephones will enable detainees to
maintain family and community connections, both issues which have a significant impact
on the quality of life within the Center.

GEO will provide detainees with reasonable and equitable access to telephones as
specified in ICE PBNDS 2011 with 2016 revisions on Telephone Access. The ICE
designated DTS Vendor will receive 100% (percent) of all telephone related revenues.
The DTS Vendor will be responsible for the costs incurred for installation of the
equipment, any monthly telephone charges incurred from the operation of DTS, and the
maintenance and operation of the system. The telephone access rules will be provided to
each detainee upon admittance, and the rules will be posted where they are easily visible.
Telephone access hours will also be posted.

GEO does not expect to be entitled to any commissions, fees, or revenues generated by
the use of the DTS or the detainee telephones.

GEO will consistently inspect telephones to ensure they are in working order, in
accordance with ICE policies and procedures. GEO will notify the DTS Vendor, and the
COR or alternate COR upon discovery of any inoperable telephones. Center staff will be
responsible for ensuring daily that telephone systems are operational and that the free
telephone list is posted. Ensuring there is a dial tone is only part of what is required:
when testing equipment, the officers must be able to demonstrate that an individual has
the ability to make calls. Any problems identified must immediately be logged and
reported to the appropriate Center and ICE personnel. GEO will ensure a list of card and
calling rates is posted in each housing unit.

VII.    CENTER SECURITY AND CONTROL

A.Security and Control (General)
It is GEO policy to maintain current written orders for every officer post. Officers
assigned to those posts acknowledge in writing that they have read and understand the
orders and record the date. The Facility Administrator or designee reviews post orders
annually and updates them as needed. Each officer will have written post orders that
specifically apply to his/her current duties. The post orders will specify the duties of the
post Officer, along with instructions on how to perform those duties. The step-by-step
procedures will include enough detail to guide an Officer assigned to the post for the first
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time. The Facility Administrator will also develop post orders for non-permanent
assignments (details, temporary housing units, emergency changes, etc.). If events
preclude advance planning, the Facility Administrator will issue a post order as soon as
possible after the need arises.

GEO will ensure control and security of the Center and its occupants through regular
inspections conducted by Officers. Security inspections guard against internal and
external breaches in security. The Facility Administrator will be responsible for the
identification, repair and/or resolution of any issues requiring corrective measures as
soon as possible.

As a standard, GEO policies governing Center security and control for locations under
contract with ICE are written in compliance with ICE PBNDS. Site-specific procedures
will be developed with consideration for the unique physical plant features of each
location proposed under this requirement.

GEO will provide, install, and maintain a building access control system in all ICE and/or
DOJ administrative space, and will give the Government administrative access and
oversight role for the system. GEO staff will comply with ICE security plans.

B.Detainee Rights
It is GEO policy to treat all detainees with dignity and respect while maintaining a safe,
secure and sanitary Center. Detainee rights are clearly communicated to each detainee in
writing within the detainee handbook. GEO mandates a zero-tolerance policy towards all
forms of sexual abuse and sexual harassment in all Centers. Detainees have the right to be
free from discrimination for any reason, including race, religion, national origin, sex,
sexual orientation, gender identity, physical ability, mental ability, or political beliefs.

Franco-Gonzalez v. Holder Requirements
GEO recognizes its responsibility for those in our care who suffer from a serious mental
disorder or defect that may render him/her incompetent to properly represent themselves
in detention or removal proceedings. GEO complies with the settlement requirements
associated with this critical target population to ensure their legal rights are protected.
Through a collaborative process with ICE, OPLA, IHSC, EOIR, ICE on-site personnel
and the respective ICE Field Office, GEO has an established protocol grounded in the
evaluation criteria applicable to this target population. Beginning with an initial
screening, followed by a mental health assessment, as well as daily encounters, mental
health professionals conduct a comprehensive assessment utilizing the list provided by
ICE/IHSC that lists specific criteria that meet serious mental illness (SMI) and serious
mental disabilities (SMD) standards. If an individual meets the Franco-Gonzalez criteria,
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their file is flagged and they are placed on a list, reviewed by the appropriate authority
(IHSC/OPLA) and scheduled for court proceedings.

If the above process occurs at a location where on-site court proceedings exist, the court
proceedings will be conducted on-site as determined by OPLA. If the above process
occurs at a location where on-site court proceedings are not available, the on-site
medical/mental health personnel will work with IHSC and ICE on-site personnel to
arrange transportation to court proceedings, which are conducted by ICE judicial
personnel.

Lyon Settlement Agreement
GEO has complied with the Lyon Settlement Agreement since its inception in November
2016. In partnership with ICE officials, detainees can make free, direct, unmonitored
calls to ICE pro bono attorneys as well as a number of government offices and some
attorneys. A list of pro bono attorneys is updated routinely by ICE and posted in the
housing units. In addition to having phone booths at selected facilities located in Kern
County, GEO accommodates free, unmonitored legal calls when requested and has
established a process for detainees to make legal calls in privacy rooms. GEO maintains
a copy of the settlement agreement and ensures all aspects of the Lyon Settlement
Agreement are in effect, including provisions for indigent detainees, international legal
calls and three-way calling when necessary, translation language lines, and appropriate
training to staff whose duties include supervising detainees or providing telephone
access.

C.Unauthorized Access
GEO will utilize supervisory best practices and technology, which may include Morse
Keywatcher, badge access, and CCTV, to detect and prevent any individuals from
attempting to gain unauthorized access to restricted areas of the site(s) identified in this
contract. GEO will immediately contact local law enforcement authorities and inform
ICE in the event of an incident at the Center.

D.Direct Supervision of Detainees
GEO’s proposed staffing plan for each Center offered under this Requirement will allow
for direct supervision of detainees. GEO will provide supervision of all detainees in all
areas, including supervision in detainee housing and activity areas. Officers will be able
to hear and respond promptly to emergencies. At least one officer will be assigned to
monitor each occupied housing section, which will be separate from any housing control
post that may be listed on the staffing plan.
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E.Maintain a Video Surveillance Program
GEO will ensure that video cameras monitor hallways, exits, and common areas. Officers
assigned to the Central Control Station will be responsible for monitoring this system.
Considering that the videos will be recordings of residents who may be seeking asylum
or other considerations under U.S. immigration law, GEO will maintain the digital
recordings and will not release them to anyone, unless approved by DHS. GEO will keep
the videos for a minimum of 90 days, or for the duration of any investigation as necessary
for use by local law enforcement, ICE, or investigations conducted by GEO.

F.Log Books
GEO will complete and document in writing, for each shift, including but not limited to,
the following information in the logbooks:
    • Activities that have an impact on the detainee population (e.g., detainee counts,
        shakedowns, detainee movement in and out of the site, and escorts to and from
        court). The Chief of Security will be responsible for completing these entries, with
        documentation being maintained in the Security Clerk’s office.
    • Shift activities (e.g., security checks, meals, recreation, religious services, property
        lockers, medical visits). The Chief of Security will be responsible for completing
        these entries, with documentation being maintained in the Security Clerk’s office.
    • Entry and exit of persons other than detainees, ICE staff, or GEO Staff (e.g.,
        attorneys and other visitors). Logs will be recorded at the Entry Point, with
        documentation being maintained in the Security Clerk’s office.
    • Fire drills, routine procedures, emergency situations, and unusual occurrences.
        This information will be maintained in the Lieutenant’s log.

The Chief of Security will ensure log books are updated as required. Logs will be
maintained in the Administrative/Security Clerk’s office and in accordance with ICE
PBNDS.

G.Reports
Daily, GEO will provide a manifest, managed via GEOtrack, of all detainees currently
housed in the Center. The manifest will contain the following information for each
detainee: “A” File Number; office received from; name; date of birth; gender; nationality;
date of arrival; number of days the detainee has been in the Center; and type of release, if
applicable.

On a monthly basis, GEO will provide status reports. The key indicator report will
include data on Average Daily Population, Classification, Special Management, Detainee
Behavior Incidents, Detainee Grievances, Use of Force incidents, and Personnel. A
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separate personnel report, listing the key personnel positions of the Center (e.g., position
title, name of the employee, vacancies and length of vacancies, dates of service,
additional comments) will also be submitted monthly to the COR or ICE designee as
required for the previous month’s activities and staffing.

GEO will prepare required orders, instructions, and reports of accidents, security
violations, fires, and bomb threats. The reports will be maintained on file, concerning all
activities in connection with duties and responsibilities for the services performed under
this contract. GEO will prepare any special or other reports, or issue further orders and
instruction as may be required in support of work within the scope of this contract as
requested by ICE.

H.Detainee Counts
Formal and informal counts will be conducted as necessary to ensure around-the-clock
accountability for all detainees. GEO will document the physical detainee counts in the
logbook and ensure ICE procedures are followed when the physical detainee count does
not show that all detainees have been accounted for. This procedure will require a Center-
wide recount by the Shift Supervisor. At a minimum, official detainee counts will be
conducted once per shift, with no less than three counts daily, or as directed by the COR
or ICE designee. All counts will be documented in separate logs maintained in the
applicable locations where detainees are housed, the Control Center, and the Shift
Supervisor’s office, and will be maintained for a minimum of 30 days.

In accordance with GEO procedures a formal count should be conducted at least once
every eight hours, with the shift supervisor verifying its accuracy. Officers will
encourage detainee cooperation to encourage the accuracy and completeness of each
count. However, officers will not allow detainees to perform the count, nor participate in
the preparation or documentation of the count process.

There will be no movement of detainees during formal counts. All detainee movements
into, out of, and within the Center must cease before the count begins. Detainee
movement will not be allowed to resume anywhere in the Center until the complete
Center count has been cleared. If while conducting a count, staff observe an unusual
incident (e.g., medical emergency, criminal act), they will cease the count and respond
appropriately according to local procedures. Should an emergency arise during the count
that necessitates the movement of detainees, a new count will be conducted as soon as
possible after the emergency subsides.
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I.Daily Inspections
GEO’s Officers will conduct daily inspections of all security aspects of the site. All bars,
locks, windows, walls, floors, ventilation covers, glass panels, access plates, protective
screens, doors, lights, and equipment will be checked for operational wear and detainee
tampering. Issues needing immediate attention to prevent injury such as slippery floor
surfaces will be reported and attended to in order to prevent injury. This documentation
will be made daily in a logbook and on “Work Request Forms” provided by ICE.
Problems discovered during these inspections will be clearly identified in the
documentation.

GEO will also notify the COR of any abnormalities or problems, including immediate
notification of the COR or ICE designee on duty of any damage to the physical Center.
Written documentation of any problem areas will be submitted to the COR by the end of
the shift.

A general inspection of the Center will be made each week by the Facility Administrator,
Assistant Facility Administrator, Chief of Security and Shift Supervisor. Shift
Supervisors will visit all housing and activity areas each shift. Supervisory staff will
conduct a daily patrol, including holidays and weekends, of all areas occupied by
detainees. Patrols and inspections will be documented.

Inspection Procedures will include:
   • Visual inspection for evidence of tampering or weakness
   • Inspection of living quarters for discrepancies or inoperability of cameras
   • Inspection of ‘innocent looking’ areas, i.e., trash containers, sanitary supplies,
       lockers and other places of concealment
   • Inspection of the secure external perimeter of the Center, visitor holding areas, and
       doorways

J.Deviation from Prescribed Schedule Assignments
GEO may deviate from the scheduled assignment when unusual conditions or
circumstances so demand, and if prior approval is received from the COR. GEO will
record all deviations in the daily logbook. When the COR is not available, GEO will
ensure that the ICE Supervisor on duty is notified immediately or as soon as practically
possible.
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K.Use of Force and Restraints
Officers will use the minimum force necessary to gain control of the detainee; to protect
and ensure the safety of detainees, staff, and others; to prevent serious property damage;
and to ensure the security and orderly operation of the Center.

In accordance with ICE requirements and GEO policy, the use of physical force by
Officers is restricted to instances of justifiable self-protection, protection of others, and
protection of property and prevention of escapes. GEO only allows physical force to be
used to the degree necessary to safeguard the well-being of the detainee(s) and others in
the immediate area. Training on the applications and types of force is outlined during
initial training as well as annual refresher training.

In no case will physical force be used as punishment or discipline. GEO will adhere to
ICE PBNDS and the ICE Use of Force Policy on the use of deadly and non-deadly force
to include the use of intermediate and deadly weapons. GEO’s Officers will immediately
report all instances of use of physical force to the ICE Supervisor on Duty. Prior to
leaving his or her shift, the Supervisory Officer will prepare a written report and submit it
to the Facility Administrator, who will review, approve, and provide the report to the
COR or ICE Supervisor on Duty within 24 hours of the incident.

GEO will operate in compliance with ICE PBNDS governing the use of restraint
equipment including the most recent ICE directive regarding Use of Restraints Directive.
GEO does not apply restraints as punishment, nor does it apply restraints for more time
than is necessary. Restraints will be applied for the least amount of time necessary to
achieve the desired behavioral objectives. Four/five-point restraints will be applied only
in extreme circumstances and only when other types of restraints have proven ineffective.
GEO does not apply restraints on detainees who are pregnant or during postpartum
recovery except for specific conditions outlined in PBNDS and GEO’s policy.

GEO will seek advance approval for the use of these four/five-point restraints and will
promptly notify the medical staff. Use of these restraints will be continued only in
accordance with required procedures and documentation. When directed by the COR,
GEO’s Officer may use Government-provided disposable nylon straps in lieu of
handcuffs or leg restraints in emergencies, mass arrest situations, or if a detainee’s wrists
or ankles are too large for conventional restraints. GEO will not use any other restraint
devices.

Staff will comply with their defensive tactics training and the proper application of those
techniques. Staff may not use restraint equipment or devices on a detainee's neck or face,
or in any manner that restricts blood circulation or obstructs the detainee's airways
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(mouth, nose, neck, esophagus). Staff may not use restraint equipment or devices to cause
physical pain or extreme discomfort. While causing some discomfort may be unavoidable
even when applying restraints properly, examples of prohibited applications include:
hog-tying, fetal restraints (cuffed in front with connecting restraint drawn-up to create the
fetal position); unnecessarily tight restraints; and improperly applied restraints.

To control a situation involving an aggressive detainee, all staff must be made aware of
their responsibilities through ongoing training. All processing personnel will also be
trained in approved methods of self-defense, confrontation avoidance techniques, and the
use of force to control detainees.

L.Escapes
GEO will notify the COR and ICE Supervisor on duty immediately if an escape or an
attempted escape has occurred, and escape response protocols will be initiated as
necessary. GEO will provide the COR with a written report detailing the circumstances
surrounding the incident prior to the end of the shift.

In the event of an escape, the order of responsibility and emergency procedures outlined
in the site-specific Escape Emergency Plan will be followed, and the Escape Plan
Notification Checklist shall be utilized. The Escape Plan Notification Checklist will be
maintained in Master Control.

The Escape Emergency Plan establishes the procedures for responding to an escape, and
includes specific guidance for notification, verification and assessment, order of
responsibility, and staff responsibilities and duties.

The primary responsibility of GEO is to maintain the care, custody and control of
detainees committed to our Centers and to ensure the safety and welfare of each staff
member and detainee within our Centers, therefore providing for the safety of the public
in surrounding communities. The ability of the Center to maintain control at all times
during a crisis or emergency is essential. Accordingly, cooperation with local, county,
state and federal law enforcement, detention/corrections, and emergency agencies will be
an integral part of the daily operations of the Center as well as the Center’s Emergency
Plan.

In each of GEO’s Centers (domestic and international), we consider all of our mutual aid
agencies as partners in the development and testing of our procedures.

GEO has experienced excellent success with our established partnerships with
community agencies, local, state and federal law enforcement, and our client agencies in
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providing mutual assistance during situations requiring our “criminal justice team” to
meet the challenges at hand.

As with all of our operations worldwide, we believe that our success is built upon the
community support and community relations established well ahead of the formal
submission of a proposal to the prospective client agency. Effective relationships can be
achieved only through a free-flowing communications network of shared information at
all levels within the community, law enforcement and emergency service agencies.


M.Evacuation Plan
GEO will develop an evacuation and alternate staging plan in place for use in the event of
a fire or major emergency at the Center. This plan will be reviewed annually and
approved by ICE. Under existing contracts, GEO has established Memorandums of
Understanding (MOU) for evacuation and transportation planning. GEO will model these
existing agreements and establish arrangements with: Western Region Detention Facility,
Adelanto ICE Processing Center, Mesa Verde ICE Processing Center, Central Valley
Modified Community Correctional Facility, Desert View Modified Community
Correctional Facility, Golden State Modified Community Correctional Facility, and
McFarland Female Community Reentry Facility. GEO will also conduct drills as may be
required by ICE written policy and procedure.

N.Sanitation and Hygienic Living Conditions
GEO will comply with the requirements of the Occupational Safety and Health Act of
1970 and all codes and regulations associated with 29 CFR 1910 and 1926. GEO will
comply with all applicable ICE, federal, state and local laws, statutes, regulations, and
codes. In the event there is more than one reference to a safety, health, or environment
requirement in an applicable, law, standard, code, regulation, or ICE policy, GEO will
abide by the most stringent requirement.
GEO recognizes there is a relationship between the cleanliness of the Center and the
health, safety, security, and morale of the detainees. Policies that detail the process and
quality level required to meet sanitation and hygiene standards for each area of the Center
will be developed and approved by ICE prior to contract award. The Fire and Safety
Manager will work with a qualified pest control company to conduct frequent and spot
services to ensure the Center is vermin/pest free.

Under the direction of the Center staff, custodial services will be provided in the
following areas:
   ✓ Office Areas (including ICE Offices)              ✓ Recreation Areas
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   ✓ Hallways                                          ✓ Health Services
   ✓ Entry Areas/Outside Areas                         ✓ Hair Care area(s)
   ✓ Restrooms                                         ✓ General Use Rooms
   ✓ Equipment Room                                    ✓ Visitor Areas
   ✓ Storage Areas                                     ✓ Administrative Control Areas



O.Physical Plant
A description of the physical plant for each Center proposed under this Requirement has
been provided as an attachment to this section.

Promptly after the occurrence of any physical damage to the Center (including
disturbances), GEO will report details of the damage to the COR or ICE designated
official. GEO will repair the damage, to rebuild or restore the institution. Government
staff will be on-site to monitor contract performance and manage other Government
interests associated with operation of the Center, and GEO will ensure Government staff
have full access to all areas of the Center. GEO will obtain pre-approval for access to
Government required space from the COR.

P. Environmental Policy Procedures
GEO conducted an environmental assessment on each Center proposed under this
requirement. GEO is confident that the information provided for each Center will allow
ICE to issue a Finding of No Significant Impact (FONSI). The full environmental
assessment, developed in compliance with RFP attachment 15, has been provided as
Volume IV of our submission.

VIII. FOOD SERVICE
GEO’s Food Service Program is under the direct supervision of the Corporate Director of
Food Service and a Registered Dietitian. GEO directly manages 55 kitchens within
secure services facilities across the United States. In 2019 (as of September 30), GEO
Food Service staff has been responsible for preparing and serving 47.9 million meals.
GEO is cognizant of the critical role Food Service plays in the overall safe, secure, and
efficient operation of the Center. GEO’s expertise in production, line service, as well as
medical, and religious diets qualifies us to meet and/or exceed standards as established by
governmental health and safety codes, PBNDS, ACA, local standards, and National
Technical Information System (NTIS).
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GEO will provide all personnel, supervision, items and services necessary to perform full
food service (including satellite meals and/or sack meals) required under this contract.
GEO is capable of managing and implementing the full scope of services required for the
successful implementation of a food service program, including, but not limited to:
   • Menu planning
   • Ordering food and supplies
   • Receipt, storage, inventory and record keeping
   • Food preparation
   • Meal service
   • Dining Center management
   • Cleaning facilities, equipment, and utensils
   • Maintaining quality control
   • Ensuring operator level maintenance and cleaning
   • Contingency planning for continued service

GEO’s experience operating under contract with ICE includes adherence to requirements
established by numerous governing bodies. As required, GEO will adhere to the
documents detailed in the list below.


   •    American Correctional Association (ACA) Manual
   •    ALDF Performance Standard: Food Service
   •    ICE Performance-Based National Detention Standards 2011 with 2016 revisions
   •    USPHS Food Code FDA
   •    Local Standards
   •    National Technical Information System

GEO understands the PBNDS requirements are controlling, and if there is a conflict
between PBNDS, ACA standards and local requirements, the PBNDS standards prevail.

GEO will provide the necessary timely assistance to meet emergent requirements as
requested by the Assistant Field Office Director (AFOD) or COR.

Food service accommodations for each Center proposed under this requirement are
included within the concept design description attachments to this section.

IX.PROPERTY ACCOUNTABILITY
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A.General
The Facility Administrator and the Business Manager are responsible for the purchasing,
accounting, and safeguarding of all GEO and client fixed assets for the Center. Upon
expiration or termination of this contract GEO will render a written accounting to the
COR of all such property. GEO will assume all risk and will be responsible for any
damage to or loss of Government furnished property used by GEO employees.

Upon expiration of the contract or termination of services, GEO will immediately transfer
to the COR, any and all Government property in its possession or in the possession of
any individuals or organizations under its control, except as otherwise provided for in this
contract. GEO will cooperate fully in transferring property to the successor Contractor.

B.Use of Government Wireless Communication Devices

GEO will allow all personnel that have been issued a Federal Government owned
wireless communication device, (i.e., cellular telephones, pagers or wireless Internet
devices) to possess and use those items in all areas of the Center in which ICE detainees
are present. GEO will provide, install, and maintain cellular, telephone, and wireless
boosters to ensure optimal service throughout the Center and ICE and/or DOJ
administrative areas.

X.FIREARMS / BODY ARMOR

A.Firearms Requirements
GEO will provide well-maintained or new firearms at the start of the contract and
maintain sufficient licensed firearms and ammunition to equip each armed Officer and
armed supervisor(s) with a licensed weapon while on duty.

No personal firearms will be permitted to be carried while on duty. GEO’s
Locksmith/Armory Officer will certify all firearms are safe and accurate for use.
Transportation Officers will be issued 9mm semi-automatic firearms that meet the
recommendations of the firearms manufacturer and use factory ammunition loads only.

Each Officer will be issued sufficient ammunition which consists of three full magazines.
The Center’s certified Locksmith/Armory Officer will account for all firearms and
ammunition daily.

GEO will ensure notification is made to the COR in the event any weapons or
ammunition is missing from the inventory.
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GEO is a Federal Firearms License holder and maintains a Corporate inventory as well as
the local Center firearms inventory. GEO, in accordance with this Federal Firearms
license, is audited routinely by the Bureau of Alcohol, Tobacco, Firearms and Explosives
(ATF), and there have been no findings. All firearms will be inspected by the certified
armorer and those inspections will be documented by the Facility Administrator.

Weapon safety is GEO’s standard policy and loading and unloading and cleaning of
firearms will take place in designated areas. Gun barrel clearing equipment will be
situated outside the armory for clearing purposes and weapons will be cleaned in a secure
area of the armory. All firearms will be properly maintained and certified as serviceable
by GEO’s Locksmith/Armory Officer. The Locksmith/Armory Officer will maintain
appropriate supplies of firearm upkeep and maintenance equipment and ensure their
safety prior to issuance to the Transportation Officer.

GEO will provide a complete list of licensed firearms by serial number and by location to
the COR. GEO will maintain a current list of all licensed firearms and a list of approved
firearms will be kept in the safe/vault. GEO will maintain all required state and
municipality permits on file at the Center as well as at Corporate Headquarters.

Each officer’s weapons permit will be kept on file at the Center as required by ATF, the
State and ICE.

GEO will comply with providing the COR with the armed officers weapon permit upon
request and will comply with providing a copy of the license three days prior to an
assignment. GEO will ensure daily that all armed Officers have valid licenses in their
possession at all times.

GEO will ensure accurate receipts and return entries are maintained in the Firearms and
Equipment Control Register.

GEO’s armed officers will be certified by the ICE COR in an approved intermediate
weapon (baton/ASP and/or OC spray) in conformance with PBNDS security section 2.15
Use of Force or Restraints.

GEO will comply with ensuring each safe/vault remains locked at all times when not
issuing or returning firearms or ammunition. GEO will ensure compliance with changing
the safe/vault combination every six months or when circumstances warrant.
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GEO will assign one or more staff to the position of Ammunition Control Officer and
Firearms Control Officer (shown on GEO’s staffing plan as Locksmith/Armory Officer).

B.Body Armor Requirements
GEO will provide body armor to all armed officer and transportation officers. Officers
will be required to wear their issued body armor while on armed duty. In addition, GEO
armed officers will be issued at a minimum threat level III protection and comply with
GEO firearms policy, state and federal requirements, and as ICE’s Body Armor Policy.
GEO will ensure the replacement of body armor which becomes unserviceable and at the
expiration of service life. Each armed officer’s body armor will be replaced every five
years.

Each armed officer, as part of the training curriculum, will be made aware of the effects
of wearing body armor in high heat/humidity conditions. Water will be supplied during
transport missions as well as at the Center enabling each officer to rehydrate. GEO will
supply as required a minimum of two undergarment shirts designated for under armor
wear. No personal body armor will be worn or authorized to be worn by GEO’s/GTI’s
armed officers.

XI.Transition

A.Transition-In
GEO will be responsible for the transition of all activities identified in this PWS.
Facilities that are currently active under contract with ICE will require only minimal
start-up activities. For Facilities with delayed availability, GEO’s transition-in will be
accomplished as expeditiously as possible, with a maximum transition-in period of 60
days from Facility availability.

GEO’s approach to transitioning is provided in Section I.3 of our response. As required
by the PWS, GEO will submit a final Transition-in Plan for approval by the Contracting
Officer’s Representative (COR) within two (2) weeks after award reflecting input from
the COR. This transition in plan will also reflect all necessary activities to facilitate the
transition of services to the Contractor and expected completion dates of those activities.

B.Transition-Out

GEO will be responsible for the transition-out of all technical activities identified in this
PWS during the final, awarded period of performance. GEO will submit the Transition-
out Plan two (2) months prior to the completion of the period of performance of this
    Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 689 of 1402
                                                   FINAL PROPOSAL REVISION – December 9, 2019
                                                 ICE California CDF – RFP No. 70CDCR20R00000002
                                                 Section I.1.B Understanding of the PWS page 71 of 71




contract to be approved by the COR. GEO will complete the transition by the end of the
period of performance of this Task Order. GEO will fully support the transition of all
requirements to any successor to ensure no disruption in operational services.
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Mesa Verde ICE Processing Center
Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 691 of 1402




                  Staffing Plan
             Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 692 of 1402
                                    THE GEO GROUP INC
                                       MESA VERDE
                                         400 BEDS
                                      STAFFING PLAN


                                               Executive Office
                                                        NonShift   Shift 1   Shift 2   Shift 3   Relief   FTE

Facility Administrator                                    1.00                                   1.00     1.00
Training Administrator                                    1.00                                   1.00     1.00
Compliance Administrator                                  1.00                                   1.00     1.00
Fire & Safety/Grievance Manager                           1.00                                   1.00     1.00
HR Manager                                                1.00                                   1.00     1.00
Administrative Assistant/Receptionist-01020               1.00                                   1.00     1.00


                       Sub Total                          6.00      0.00      0.00      0.00              6.00




                                              Business / Support
                                                        NonShift   Shift 1   Shift 2   Shift 3   Relief   FTE

Business Manager                                          1.00                                   1.00     1.00
Bookkeeper-Accounting Clerk II-01012                      1.00                                   1.00     1.00
Computer Support Technician-14160                         1.00                                   1.00     1.00
Detainee Accounts Clerk-Accounting Clerk I-01011          2.00                                   1.00     2.00
Mailroom Clerk-General Clerk I-01111                      1.00                                   1.00     1.00
Contract Commissary Manager
Contract Commissary Clerk


                       Sub Total                          6.00      0.00      0.00      0.00              6.00
             Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 693 of 1402
                                    THE GEO GROUP INC
                                       MESA VERDE
                                         400 BEDS
                                      STAFFING PLAN

                                               Maintenance
                                                     NonShift   Shift 1   Shift 2   Shift 3   Relief   FTE

Maintenance Supervisor                                 1.00                                   1.00     1.00
Maintenance Technician-23370                           2.00                                   1.00     2.00




                       Sub Total                       3.00      0.00      0.00      0.00              3.00




                                              Food Service
                                                     NonShift   Shift 1   Shift 2   Shift 3   Relief   FTE

Food Service Manager                                   1.00                                   1.00     1.00
Cook Supervisor/Officer                                         3.00      3.00                1.00     6.00
Food Service /Maintenance Clerk-Gen Clerk I-01111      1.00                                   1.00     1.00


                       Sub-Total                       2.00      3.00      3.00      0.00              8.00
             Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 694 of 1402
                                    THE GEO GROUP INC
                                       MESA VERDE
                                         400 BEDS
                                      STAFFING PLAN

Health Care (contracted with Wellpath)
                                                NonShift   Shift 1   Shift 2   Shift 3   Relief   FTE

Health Services Administrator-RN                  1.00                                   1.00     1.00
Administrative Assistant                          1.00                                   1.00     1.00
Medical Records Technician                        1.00                                   1.00     2.00
Physician                                         1.00                                   1.00     1.00
Mid-Level                                         2.00                                   1.00     2.00
Dentist                                           0.50                                   1.00     0.50
Dental Assistant                                  0.50                                   1.00     0.50
Psychiatrist                                      0.30                                   1.00     0.30
Psychologist                                      1.00                                   1.00     1.00
RN                                                         2.00      1.00      1.00      1.67     6.68
LVN                                                        2.00      2.00      1.00      1.63     8.15


                        Sub Total                 8.30      4.00      3.00      2.00              24.13




                                         Programs
                                                NonShift   Shift 1   Shift 2   Shift 3   Relief   FTE

Programs/Volunteer Coordinator                    1.00                                   1.00     1.00
Chaplain                                          1.00                                   1.00     1.00
Case Manager                                      2.00                                   1.00     2.00
Library Technician-13058                          1.00                                   1.00     1.00
Recreation Specialist-28515                       1.00                                   1.00     1.00


                        Sub Total                 6.00      0.00      0.00      0.00              6.00




                                    Security Supervisors
                                                NonShift   Shift 1   Shift 2   Shift 3   Relief   FTE

Chief of Security                                 1.00                                   1.00     1.00
Shift Supervisor/Lieutenant                                1.00      1.00      1.00      1.67     5.00
              Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 695 of 1402
                                     THE GEO GROUP INC
                                        MESA VERDE
                                          400 BEDS
                                       STAFFING PLAN
Armory/Lockshop Sergeant (Conformed)                    1.00                                    1.00      1.00
Security Clerk-General Clerk I-01111                    1.00                                    1.00      1.00


                        Sub-Total                        3.00      1.00      1.00      1.00               8.00




                                          Detention Officer
                                                       NonShift   Shift 1   Shift 2   Shift 3   Relief    FTE


                                                                                                1.73
Control Room Officer                                              1.00      1.00      1.00      1.73     5.20
Dorm A / B Officer                                                1.00      1.00      1.00      1.73     5.20
Dorm C / D Officer                                                1.00      1.00      1.00      1.73     5.20
Dorm E / F Officer                                                1.00      1.00      1.00      1.73     5.20
Dorm G / H Officer (females)                                      1.00      1.00      1.00      1.73     5.20
Escort / Utility / Break Officer                        2.00      2.00      2.00      1.00      1.73     12.12
Lobby Officer                                                     1.00      1.00                1.73     3.46
Yard Officer                                            2.00                                    1.73     3.46
Intake / Release Officer                                3.00                                    1.73     5.20
Visitation Officer                                      1.00                                    1.73     1.73
Laundry Officer                                         1.00                                    1.20     1.20
Warehouse / Property Officer                            1.00                                    1.20     1.20
Medical Officer / 2nd Story Medical                     2.00                                    1.73     3.46
Medical Escort Officer                                  3.00                                    1.73     5.20
RHU Officer (NEW)                                                 1.00      1.00      1.00      1.73     5.20
Courtroom Officer (NEW)                                 1.00                                    1.20     1.20


                        Sub-Total                       16.00      9.00      9.00      7.00              69.42




                                              SUMMARY *

                                                       NonShift   Shift 1   Shift 2   Shift 3   Relief    FTE

Executive Office                                         6.00     0.00      0.00      0.00               6.00
Business / Support                                       6.00     0.00      0.00      0.00               6.00
Maintenance                                              3.00     0.00      0.00      0.00               3.00
Health Care (contracted with Wellpath)                   8.30     4.00      3.00      2.00               24.13
Programs                                                 6.00     0.00      0.00      0.00               6.00
Food Service                                             2.00     3.00      3.00      0.00               8.00
Security Supervisors                                     3.00     1.00      1.00      1.00               8.00
Detention Officer                                       16.00     9.00      9.00      7.00               69.42

                                         TOTAL STAFF    50.30     17.00     16.00     10.00              130.55
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              Deployment Plan
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          Organizational Chart
                                                        Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 700 of 1402
                                                          United States Department of Homeland Security
                                                             U.S. Immigration & Customs Enforcement


                                                                            Corporate Headquarters
                                                                            Senior Vice President &
                                                                           President, Secure Services                                                                                       Solicitation No.: 70CDCR20R00000002
                                                                                                                                                                                               ICE Contract Detention Facilities
                                                                                                                                                                                                       DECEMBER 9, 2019
                                                                              Vice President,
                                                                                                                                                                                                      Organizational Chart
                                                                            Western Region Office
                                                                                                                                                                                               Requirement C: Mesa Verde IPC
                                                                            Director, Operations
                                                                            Western Region Office

                                                                                   Facility
                                                                                 Administrator

                                                                                                                Fire & Safety /                                                        Programs/
            Business           HR               Admin. Asst./                                                                            Compliance           Training                                        WELLPATH
                                                                                      Chief of                     Grievance                                                           Volunteer
            Manager          Manager            Receptionist                                                                            Administrator       Administrator
                                                                                      Security                     Manager                                                            Coordinator

 Bookkeeper                                                                                                                                                                 Chaplain                                HSA
                                                                                    Supervisory              Armory/                                                                                                RN
                       Mailroom        Food Service             Security                                                          Maintenance
                                                                                       Shift                 Lockshop
                        Clerk            Manager                 Clerk                                                             Supervisor
  Computer                                                                          Lieutenant               Sergeant
                                                                                                                                                                             Case                     Medical
Support Tech.                                                                                                                                                                                                             Administrative
                                                                                                                                          Maintenance                       Manager                   Records
                                Cook                                                                                                                                                                                        Assistant
                                                      Dorm                   Dorm            Control Room          Intake/Release          Technician                                                Technician
                              Supervisor
  Detainee                                             A/B                    E/F               Officer                Officer                                               Library
                             Food Service/
Accounts Clerk                                                                                                                                                             Technician                 Mid Level             Physician
                             Maintenance
                                                      Dorm                 RHU/SMU                 Dorm                 Medical                                                                       Provider
                                Clerk
 Commissary                                            C/D                  Officer                 G/H                 Officer                                            Recreation
  Manager                                                                                                                                                                   Specialist               Psychiatrist            Dentist
                                                                      Escort/Utility/
                                                      Lobby                                        Yard            Transportation
                                                                          Break
 Commissary                                           Officer                                     Officer              Officer
                                                                         Officer
   Clerk                                                                                                                                                                                                 RN                              Dental
                                                                       Warehouse/                                                                                                                                                       Assistant
                                                  Visitation                                      Laundry            Courtroom
                                                                        Property
                                                   Officer                                         Officer             Officer
                                                                         Officer
                                                                                                                                                                                                                           Psychologist



                                                                                                                                                                                                                               LVN



                                                                                                                                                                    KEY
                                                                                                                                                         Contract            Key
                                                                                                                                                        Personnel         Personnel
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Central Valley Modified Community
        Correctional Facility
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                  Staffing Plan
                                The GEO Group, Inc.
         Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 703 of 1402
                                 CENTRAL VALLEY
                                     700 BEDS
                                  STAFFING PLAN


               Executive Office
                                                      NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Facility Administrator                                  1.00                                  1.00    1.00
Assistant Facility Administrator                        1.00                                  1.00    1.00
HR Manager                                              1.00                                  1.00    1.00
Compliance Administrator                                1.00                                  1.00    1.00
PREA Administrator/Grievance/Disability Coordinator     1.00                                  1.00    1.00
Training Administrator                                  1.00                                  1.00    1.00
Fire & Safety Manager                                   1.00                                  1.00    1.00
Executive Secretary II-01312                            1.00                                  1.00    1.00


Sub Total                                               8.00    0.00      0.00      0.00              8.00




                    Business
                                                      NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Business Manager                                        1.00                                  1.00    1.00
Computer Support Technician-14160                       1.00                                  1.00    1.00
HR Specialist-Personnel Assistant III-01263             1.00                                  1.00    1.00
Bookkeeper-Accounting Clerk III-01013                   1.00                                  1.00    1.00
Detainee Banking Clerk-Accounting Clerk II-01012        1.00                                  1.00    1.00
Accounts Payable/Payroll Clerk-Acct Clerk III-01013     1.00                                  1.00    1.00
Mailroom Clerk-General Clerk II-01112                   2.00                                  1.00    2.00
Warehouse Clerk-General Clerk II-01112                  1.00                                  1.00    1.00
Receptionist-01460                                      1.00                                  1.00    1.00
Janitor-11150                                           2.00                                  1.00    2.00
Contract Commissary


Sub Total                                              12.00    0.00      0.00      0.00              12.00




                  Maintenance
                                                      NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Facility Maintenance Manager                            1.00                                  1.00    1.00
General Maint Tech-23370                                2.00                                  1.00    2.00




Sub Total                                               3.00    0.00      0.00      0.00              3.00
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                   Food Service
                                                  NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Food Service Manager                                1.00                                  1.00    1.00
Cook II-07042                                               2.50      2.50                1.60    8.00
Food Serv/Maintenance-Accounting Clerk II-01012     1.00                                  1.00    1.00


Sub-Total                                           2.00    2.50      2.50      0.00              10.00




Health Care (contracted with Wellpath)
                                                  NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Health Services Administrator                       1.00                                  1.00    1.00
Director of Nursing - RN                            1.00                                  1.00    1.00
Administrative Assistant                            1.00                                  1.00    1.00
Nurse Practitioner/PA                               2.00                                  1.00    2.00

Registered Nurse II (IDC/Clinical)                  1.00                                 1.00     1.00
Registered Nurse II                                         2.00      2.00      1.00     1.67     8.35
Licensed Vocational Nurse III                               2.00      2.00      1.00     1.63     8.15
Medical Records Technician                          2.00                                 1.00     2.00

Physician                                            40    hours per week                         1.00
Psychologist                                         40    hours per week                         1.00
Dentist                                              20    hours per week                         0.50
Dental Assistant                                     20    hours per week                         0.50
Psychiatrist                                         12    hours per week                         0.30

Sub Total                                           8.00    4.00      4.00      2.00              27.80



                     Programs
                                                  NonShift Shift 1   Shift 2   Shift 3   Relief   FTE

Programs/Volunteers Coordinator                     1.00                                 1.00     1.00
Chaplain                                            1.00                                 1.00     1.00
Classification / Case Manager (Housing A/B)         2.00                                 1.00     2.00
Records Clerk-General Clerk II-01112                2.00                                 1.00     2.00
Library Technician-13058                            1.00                                 1.00     1.00
Recreation Specialist-28515                         1.00                                 1.00     1.00


Sub Total                                           8.00    0.00      0.00      0.00              8.00
           Security
         Case         Supervisors
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                                                         NonShift Shift 1   Shift 2   Shift 3   Relief    FTE

Supervisory Detention Captain (Chief of Security)          1.00                                 1.00      1.00
Administrative Lieutenant / Transport Lieutenant           2.00                                 1.00      2.00
Intake Lt                                                  1.00                                 1.00      1.00
Supervisory Detention Shift Lieutenant                              1.00     1.00      1.00     1.67      5.00
Security / Transport Clerk-General Clerk I-01111           2.00                                 1.00      2.00
Armory/Locksmith Officer                                   1.00                                 1.00      1.00


Sub-Total                                                  7.00     1.00     1.00      1.00              12.00




            Detention Officers-27040
                                                         NonShift   Days    Evening Night       Relief    FTE

Central Control                                                     2.00     2.00      1.00     1.732     8.66
Perimeter Patrol                                                    1.00     1.00      1.00     1.732     5.20
Housing A                                                           4.00     4.00      4.00     1.732    20.78
Housing B                                                           4.00     4.00      4.00     1.732    20.78
RHU                                                                 2.00     2.00      1.00     1.732     8.66
Intake / Release                                                    2.00     2.00      1.00     1.732     8.66
Medical                                                             1.00     1.00      1.00     1.732     5.20
Recreation                                                          2.00     2.00               1.732     6.93
Escort / Utility                                                    3.00     2.00      2.00     1.732    12.12
Visitation                                                          2.00                        1.732     3.46
Laundry                                                             1.00                        1.200     1.20
Property                                                   1.00                                 1.200     1.20
Programs                                                   1.00                                 1.200     1.20
Front Desk                                                          1.00     1.00               1.600     3.20
Kitchen                                                             1.00     1.00               1.732     3.46
VTC / Bailiff                                              2.00                                 1.200     2.40
Medical Escort Officer                                     4.00                                 1.732     6.93
rounding                                                                                                 -0.05

Sub-Total                                                  8.00     26.00    22.00    15.00              120.00



                                             SUMMARY
                                                         NonShift Shift 1   Shift 2   Shift 3   Relief    FTE

                                      Executive Office    8.00      0.00      0.00    0.00                8.00
                                             Business     12.00     0.00      0.00    0.00               12.00
                                         Maintenance      3.00      0.00      0.00    0.00                3.00
                Health Care (contracted with Wellpath)    8.00      4.00      4.00    2.00               27.80
                                             Programs     8.00      0.00      0.00    0.00                8.00
                                        Food Service      2.00      2.50      2.50    0.00               10.00
                                 Security Supervisors     7.00      1.00      1.00    1.00               12.00
                              Detention Officers-27040    8.00      26.00    22.00    15.00              120.00

                                       TOTAL STAFF        56.00     33.50    29.50    18.00              200.80
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              Deployment Plan
                                                                                                                                                                                                                                                                            Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 707 of 1402




                                                                                                                                                                                            CENTRAL VALLEY COMMUNITY CORRECTIONAL FACILITY                                                                                                                                                         CENTRAL VALLEY
                                                                                                                                                                                                                                                                                                                                                                                                   MODIFIED COMMUNITY
                                                                                                                                                                                                                                                                                                                                                                                                   CORRECTIONAL
                                                                                                                                                                                                    (PROPOSED - SECURITY DEPLOYMENT)                                                                                                                                                               FACILITY
                                                                                                                                                                                                                                                                                                                                                                                                   CALIFORNIA

                                                                                                                                                                                                                                                                                                                                                                                                   RFP # 70CDCR20R00000002
                                                                                                                                                                                                                                                HOUSING BUILDING - A                                             HOUSING BUILDING - B

                                                                                                                                                                                                                                                                                                                                                                                                        THE GEO GROUP INC.
                                                                                                                                                                                                                                                                                                                                                                                                        ONE PARK PLACE SUITE 700
                                                                                                                                                                                                                                                                                                                                                                                                        621 NORTHWEST 53rd Street
                                                                                                                                                                                                                                                                                                                                                                                                        BOCA RATON , FLORIDA 33487


                                                                                                                                                                                                                                                                                                                                                                                                   This document/drawing is the
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                                                                                                                                                                                                                                                                                                                                                                 APPROX. 3,000sf TRAILER COMPLEX


                                                                                                                                                                                                                                                                                                                                                                                                   PROPOSED
                                                                                                                                                                                                                                                                                                                                                                                                   STAFFING PLAN

                                                                                                                                                                                                                                                                                               PROPOSED STAFFING PLAN
                                                                                                                                                                                                                                                                                                                                              1/16"=1'-0"
                                                                                                                                                                                                                                                                                      NORTH


                                                                                                                                                                                                                                                                                                                                                                                                      ST-1
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          Organizational Chart
                                                            Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 709 of 1402
                                                              United States Department of Homeland Security
                                                                 U.S. Immigration & Customs Enforcement


                                                                              Corporate Headquarters
                                                                              Senior Vice President &
                                                                             President, Secure Services                                                                                             Solicitation No.: 70CDCR20R00000002
                                                                                                                                                                                                       ICE Contract Detention Facilities
                                                                                                                                                                                                               DECEMBER 9, 2019
                                                                                  Vice President,
                                                                                                                                                                                                              Organizational Chart
                                                                                Western Region Office
                                                                                                                                                                                                    Requirement C: Central Valley MCCF
                                                                                Director, Operations
                                                                                Western Region Office

                                                                                        Facility
                                                                                      Administrator

                         PREA/Grievance/                                                                                                                                                   Programs/
              Business                       HR               Executive               Assistant Facility            Fire & Safety     Compliance                 Training                                                WELLPATH
                            Disability                                                                                                                                                     Volunteer
              Manager      Coordinator     Manager            Secretary                Administrator                  Manager        Administrator             Administrator
                                                                                                                                                                                          Coordinator

                                              HR                                                                                      Facility                                  Chaplain                                Health Services
 Warehouse                                 Specialist                  Food Service                          Mailroom                                                                                                   Administrator
                                                                                                                                    Maintenance
   Clerk                                                                 Manager                              Clerk
                                                                                                                                     Manager
                                                                                                                                                General                    Classification/
                                                                                                                                                                                Case                                                 Medical
Bookkeeper                                                   Cook II                                                                          Maintenance                                                          DON
                                                                                                                                                                              Manager                                                Records
                                                                                                                                               Technician                                                                           Technician
                                                          Food Service/
  Computer                                                                                  Chief of                                             Janitor                        Records
                                                          Maint./Acctg.                                                                                                                                         RN-II              Psychiatrist
Support Tech.                                                                               Security                                                                             Clerk
                                                             Clerk

                                                                   Security/              Supervisory                                 Armory/                                    Library
 AP/Payroll                                                                                                   Administrative                              Intake               Technician                      Nurse                Physician
                                                                   Transport                 Shift                                   Locksmith
   Clerk                                                                                                       Lieutenant                              Lieutenant                                           Practitioner
                                                                     Clerk                Lieutenant                                   Officer
                                                                                                                                                                               Recreation
  Detainee                                                                                             Perimeter                                           Property             Specialist                      RN-II             Psychologist
Banking Clerk                                            Housing           Central Control                                    Housing                       Officer                                         (IDC/Clinical)
                                                                                                         Patrol
                                                           A                  Officer                                           B
                                                                                                        Officer
Receptionist                                                                                                                                                                                                    LVN                  Dentist
                                                        RHU/SMU                Medical                Intake/              Escort/Utility                                                                        III
                                                         Officer               Officer            Release Officer             Officer

                                                                                                                                                                                                                                           Dental
                                                        Recreation             Kitchen                 Front Desk            Programs                                                                                                     Assistant
                                                          Officer              Officers                 Officers              Officer

                                                                                                                                                                                  KEY                                             Administrative
                                                    Transportation             Visitation               Laundry              VTC/Bailiff                                                                                            Assistant
                                                        Officer                 Officer                  Officer              Officer                                  Contract            Key
                                                                                                                                                                      Personnel         Personnel
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Golden State Modified Community
      Correctional Facility
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                  Staffing Plan
                                The GEO Group, Inc.
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                                  GOLDEN STATE
                                     700 BEDS
                                  STAFFING PLAN


               Executive Office
                                                      NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Facility Administrator                                  1.00                                  1.00    1.00
Assistant Facility Administrator                        1.00                                  1.00    1.00
HR Manager                                              1.00                                  1.00    1.00
Compliance Administrator                                1.00                                  1.00    1.00
PREA Administrator/Grievance/Disability Coordinator     1.00                                  1.00    1.00
Training Administrator                                  1.00                                  1.00    1.00
Fire & Safety Manager                                   1.00                                  1.00    1.00
Executive Secretary II-01312                            1.00                                  1.00    1.00


Sub Total                                               8.00    0.00      0.00      0.00              8.00




                    Business
                                                      NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Business Manager                                        1.00                                  1.00    1.00
Computer Support Technician-14160                       1.00                                  1.00    1.00
HR Specialist-Personnel Assistant III-01263             1.00                                  1.00    1.00
Bookkeeper-Accounting Clerk III-01013                   1.00                                  1.00    1.00
Detainee Banking Clerk-Accounting Clerk II-01012        1.00                                  1.00    1.00
Accounts Payable/Payroll Clerk-Acct Clerk III-01013     1.00                                  1.00    1.00
Mailroom Clerk-General Clerk II-01112                   2.00                                  1.00    2.00
Warehouse Clerk-General Clerk II-01112                  1.00                                  1.00    1.00
Receptionist-01460                                      1.00                                  1.00    1.00
Janitor-11150                                           2.00                                  1.00    2.00
Contract Commissary


Sub Total                                              12.00    0.00      0.00      0.00              12.00




                  Maintenance
                                                      NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Facility Maintenance Manager                            1.00                                  1.00    1.00
General Maint Tech-23370                                2.00                                  1.00    2.00




Sub Total                                               3.00    0.00      0.00      0.00              3.00
               Food Service Document 64-1 Filed 07/21/23 Page 713 of 1402
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                                                  NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Food Service Manager                                1.00                                  1.00    1.00
Cook II-07042                                               2.50      2.50                1.60    8.00
Food Serv/Maintenance-Accounting Clerk II-01012     1.00                                  1.00    1.00


Sub-Total                                           2.00    2.50      2.50      0.00              10.00




Health Care (contracted with Wellpath)
                                                  NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Health Services Administrator                       1.00                                  1.00    1.00
Director of Nursing - RN                            1.00                                  1.00    1.00
Administrative Assistant                            1.00                                  1.00    1.00
Nurse Practitioner/PA                               2.00                                  1.00    2.00

Registered Nurse II (IDC/Clinical)                  1.00                                 1.00     1.00
Registered Nurse II                                         2.00      2.00      1.00     1.67     8.35
Licensed Vocational Nurse III                               2.00      2.00      1.00     1.63     8.15
Medical Records Technician                          2.00                                 1.00     2.00

Physician                                            40    hours per week                         1.00
Psychologist                                         40    hours per week                         1.00
Dentist                                              20    hours per week                         0.50
Dental Assistant                                     20    hours per week                         0.50
Psychiatrist                                         12    hours per week                         0.30

Sub Total                                           8.00    4.00      4.00      2.00              27.80



                     Programs
                                                  NonShift Shift 1   Shift 2   Shift 3   Relief   FTE

Programs/Volunteers Coordinator                     1.00                                 1.00     1.00
Chaplain                                            1.00                                 1.00     1.00
Classification / Case Manager (Housing A/B)         2.00                                 1.00     2.00
Records Clerk-General Clerk II-01112                2.00                                 1.00     2.00
Library Technician-13058                            1.00                                 1.00     1.00
Recreation Specialist-28515                         1.00                                 1.00     1.00


Sub Total                                           8.00    0.00      0.00      0.00              8.00
           Security
         Case         Supervisors
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                                                         NonShift Shift 1   Shift 2   Shift 3   Relief    FTE

Supervisory Detention Captain (Chief of Security)          1.00                                 1.00      1.00
Administrative Lieutenant / Transport Lieutenant           2.00                                 1.00      2.00
Intake Lt                                                  1.00                                 1.00      1.00
Supervisory Detention Shift Lieutenant                              1.00     1.00      1.00     1.67      5.00
Security / Transport Clerk-General Clerk I-01111           2.00                                 1.00      2.00
Armory/Locksmith Officer                                   1.00                                 1.00      1.00


Sub-Total                                                  7.00     1.00     1.00      1.00              12.00




            Detention Officers-27040
                                                         NonShift   Days    Evening Night       Relief    FTE

Central Control                                                     2.00     2.00      1.00     1.732     8.66
Perimeter Patrol                                                    1.00     1.00      1.00     1.732     5.20
Housing A                                                           4.00     4.00      4.00     1.732    20.78
Housing B                                                           4.00     4.00      4.00     1.732    20.78
RHU                                                                 2.00     2.00      1.00     1.732     8.66
Intake / Release                                                    2.00     2.00      1.00     1.732     8.66
Medical                                                             1.00     1.00      1.00     1.732     5.20
Recreation                                                          2.00     2.00               1.732     6.93
Escort / Utility                                                    3.00     2.00      2.00     1.732    12.12
Visitation                                                          2.00                        1.732     3.46
Laundry                                                             1.00                        1.200     1.20
Property                                                   1.00                                 1.200     1.20
Programs                                                   1.00                                 1.200     1.20
Front Desk                                                          1.00     1.00               1.600     3.20
Kitchen                                                             1.00     1.00               1.732     3.46
VTC / Bailiff                                              2.00                                 1.200     2.40
Medical Escort Officer                                     4.00                                 1.732     6.93
rounding                                                                                                 -0.05

Sub-Total                                                  8.00     26.00    22.00    15.00              120.00



                                             SUMMARY
                                                         NonShift Shift 1   Shift 2   Shift 3   Relief    FTE

                                      Executive Office    8.00      0.00      0.00    0.00                8.00
                                             Business     12.00     0.00      0.00    0.00               12.00
                                         Maintenance      3.00      0.00      0.00    0.00                3.00
                Health Care (contracted with Wellpath)    8.00      4.00      4.00    2.00               27.80
                                             Programs     8.00      0.00      0.00    0.00                8.00
                                        Food Service      2.00      2.50      2.50    0.00               10.00
                                 Security Supervisors     7.00      1.00      1.00    1.00               12.00
                              Detention Officers-27040    8.00      26.00    22.00    15.00              120.00

                                       TOTAL STAFF        56.00     33.50    29.50    18.00              200.80
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              Deployment Plan
                                                                                                                                                                                                                                                                            Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 716 of 1402




                                                                                                                                                                                                           GOLDEN STATE COMMUNITY CORRECTIONAL FACILITY                                                                                                                                            GOLDEN STATE
                                                                                                                                                                                                                                                                                                                                                                                                   MODIFIED COMMUNITY
                                                                                                                                                                                                                                                                                                                                                                                                   CORRECTIONAL
                                                                                                                                                                                                                 (PROPOSED - SECURITY DEPLOYMENT)                                                                                                                                                  FACILITY
                                                                                                                                                                                                                                                                                                                                                                                                   CALIFORNIA

                                                                                                                                                                                                                                                                                                                                                                                                   RFP # 70CDCR20R00000002
                                                                                                                                                                                                                                                HOUSING BUILDING - A                                             HOUSING BUILDING - B

                                                                                                                                                                                                                                                                                                                                                                                                        THE GEO GROUP INC.
                                                                                                                                                                                                                                                                                                                                                                                                        ONE PARK PLACE SUITE 700
                                                                                                                                                                                                                                                                                                                                                                                                        621 NORTHWEST 53rd Street
                                                                                                                                                                                                                                                                                                                                                                                                        BOCA RATON , FLORIDA 33487


                                                                                                                                                                                                                                                                                                                                                                                                   This document/drawing is the
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                                                                                                                                                                                                                                                                                                                                                                 APPROX. 3,000sf TRAILER COMPLEX


                                                                                                                                                                                                                                                                                                                                                                                                   PROPOSED
                                                                                                                                                                                                                                                                                                                                                                                                   STAFFING PLAN

                                                                                                                                                                                                                                                                                               PROPOSED STAFFING PLAN
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          Organizational Chart
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                                                              United States Department of Homeland Security
                                                                 U.S. Immigration & Customs Enforcement


                                                                              Corporate Headquarters
                                                                              Senior Vice President &
                                                                             President, Secure Services                                                                                            Solicitation No.: 70CDCR20R00000002
                                                                                                                                                                                                      ICE Contract Detention Facilities
                                                                                                                                                                                                              DECEMBER 9, 2019
                                                                                  Vice President,
                                                                                                                                                                                                             Organizational Chart
                                                                                Western Region Office
                                                                                                                                                                                                    Requirement C: Golden State MCCF
                                                                                Director, Operations
                                                                                Western Region Office

                                                                                        Facility
                                                                                      Administrator

                         PREA/Grievance/                                                                                                                                                      Programs/
              Business                       HR               Executive               Assistant Facility            Fire & Safety     Compliance                 Training                                                   WELLPATH
                            Disability                                                                                                                                                        Volunteer
              Manager      Coordinator     Manager            Secretary                Administrator                  Manager        Administrator             Administrator
                                                                                                                                                                                             Coordinator

                                              HR                                                                                      Facility                                     Chaplain                            Health Services
 Warehouse                                 Specialist                  Food Service                          Mailroom                                                                                                  Administrator
                                                                                                                                    Maintenance
   Clerk                                                                 Manager                              Clerk
                                                                                                                                     Manager
                                                                                                                                                General                         Classification/
                                                                                                                                                                                     Case                                            Medical
Bookkeeper                                                   Cook II                                                                          Maintenance                                                         DON
                                                                                                                                                                                   Manager                                           Records
                                                                                                                                               Technician                                                                           Technician
                                                          Food Service/
  Computer                                                                                  Chief of                                             Janitor                           Records
                                                          Maint./Acctg.                                                                                                                                        RN-II               Psychiatrist
Support Tech.                                                                               Security                                                                                Clerk
                                                             Clerk

                                                                   Security/              Supervisory                                 Armory/                                       Library
 AP/Payroll                                                                                                   Administrative                              Intake                  Technician                   Nurse                Physician
                                                                   Transport                 Shift                                   Locksmith
   Clerk                                                                                                       Lieutenant                              Lieutenant                                           Practitioner
                                                                     Clerk                Lieutenant                                   Officer
                                                                                                                                                                                  Recreation
  Detainee                                                                                             Perimeter                                           Property                Specialist                  RN-II              Psychologist
Banking Clerk                                            Housing           Central Control                                    Housing                       Officer                                        (IDC/Clinical)
                                                                                                         Patrol
                                                           A                  Officer                                           B
                                                                                                        Officer
Receptionist                                                                                                                                                                                                   LVN                     Dentist
                                                        RHU/SMU                Medical                Intake/              Escort/Utility                                                                       III
                                                         Officer               Officer            Release Officer             Officer

                                                                                                                                                                                                                                          Dental
                                                        Recreation             Kitchen                 Front Desk            Programs                                                                                                    Assistant
                                                          Officer              Officers                 Officers              Officer

                                                                                                                                                                                                                                 Administrative
                                                    Transportation             Visitation               Laundry              VTC/Bailiff                               KEY                                                         Assistant
                                                        Officer                 Officer                  Officer              Officer
                                                                                                                                                            Contract            Key
                                                                                                                                                           Personnel         Personnel
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       I.1.C - Management Plan
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I. Demonstrated Technical/Management Capabilities
1. Technical Management Approach
C. MANAGEMENT PLAN


 GEO has 30 years of experience successfully managing the operations of
 processing centers on behalf of U.S. Immigration and Customs Enforcement
 (ICE). Currently, GEO manages approximately 17,600 detainee beds for ICE at
 17 facilities.

Introduction
GEO has read and understands the requirements outlined in the Performance Work
Statement (PWS) and fully appreciates that the successful operation of an ICE Processing
Center requires attention to detail, not only in the execution of the contract at the
operational level, but also in the spirit of full cooperation and partnership at the national
agency level. GEO has worked closely and constructively with U.S. Immigration and
Customs Enforcement (ICE) for more than 30 years, and we are committed to continuing
that quality partnership under this Requirement.
GEO currently manages approximately 17,600 beds under contract with ICE and has
worked in partnership with ICE since 1986. Pursuant to our delivery of quality services,
GEO will ensure each Center proposed under this Requirement provides a safe, secure,
and humane environment that promotes the welfare and socialization of detainees.

The PWS will guide the implementation of services at the proposed Processing Centers
under the contract. The PWS informs both client and contractor expectations regarding
performance requirements.

Coordination with ICE and Enforcement Removal Operations (ERO)
GEO welcomes all communications from ICE regarding this contract. It is essential to
include representatives of ICE as active participants in the activation and continued
operation of the Processing Centers. Therefore, coordination with ICE will begin upon
contract award and continue throughout the activation and ongoing operation of the
Centers.

GEO believes strongly in the “team concept.” The Facility Administrator, as well as
GEO’s Western Regional Vice President, regional staff, and the corporate and Processing
Center implementation teams, will continue to build upon the established cooperative
working relationship with ICE to ensure an efficient implementation of the new contract.
During the activation of each Center under this Requirement, the Facility Administrator
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will ensure that ICE officials are kept abreast of progress as well as any operational
conditions and events.

GEO proposes regular informal meetings with government staff to discuss
implementation progress and solutions to any problems that might develop.

A variety of relationships and levels of confidence will be developed and will be
strengthened as the operation continues. The on-site Facility Administrators and
corporate officers will be available 24 hours daily to ICE officials. The Contracting
Officer’s Representative (COR) will have full access to Facility operations, detainee
records, individual detainees and Centers to ensure cooperative adherence of the highest
standards. For the purposes of consistency and reliability of communication, the
following procedures are proposed for each facility:

   •    The Facility Administrator and his staff will work with on-site ICE staff to
        establish reliable and confidential relationships wherein day-to-day
        communications take place at the facility level with compliance reviews,
        discussions regarding the reviews, and corrective actions.

   •    The COR and the Contracting Officer (CO), as well as other ICE designated
        officials, are invited to staff meetings regarding the management/operation of the
        facility. These meetings are critical for facility operations staff to maintain
        awareness and implement plans for improving functional area performance, with
        priority attention given to areas that need work, and areas that need direction.

GEO’s provision of supervision and secure services at the facility will enable the ERO
division of ICE to fulfill its mission regarding the planning, management, and direction
of programs relating to the supervision, processing, and deportation of detainees during
all phases of activity in the Center.

Management and Supervision
The Facility Administrator will be responsible and accountable for the management of
the Center and the direction of its work force. The Facility Administrator will be
delegated full authority, in conformity with applicable State and Federal laws, as well as
ICE and GEO policy, to manage, plan and direct the total operations of the Center. The
Facility Administrator will be supported by GEO’s Los Angeles-based Western Regional
Office headed by Regional Vice President Paul Laird and Corporate Headquarters
support staff to ensure the necessary resources are available to execute the contract.
Key management staff will assist the Facility Administrator in his endeavors to
successfully manage and operate the Facility daily and throughout the contract period of
performance. The key management staff for this Facility will be an experienced group of
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professionals comprised of an Assistant Facility Administrator, Quality Assurance
Manager (Compliance Administrator), Training Administrator, Chief of Security, and
Transportation Manager.

A cadre of highly competent supervisors and professional practitioners will support the
key management staff and provide the day-to-day guidance and instruction to the
Facility’s work force.

The Facility Administrator will hold weekly meetings with functional department heads
or leads to discuss planned and unplanned activities to be addressed or accomplished to
meet contract deliverables. These meetings are used to identify needs and issues, and to
schedule and allocate the resources necessary to effectively support the activities. Close-
out meetings will be held for those activities that require follow-up. Managers will
provide progress reports during the weekly and close-out meetings to document the status
of ongoing operations and work activities. The Facility Administrator will in turn
communicate with the CO, COR or other designated ICE officials to report issues or
concerns as required by ICE or GEO policies and procedures.

Effective Business Management
GEO’s Secure Services Business Unit is led by Senior Vice President Dave Donahue,
with more than 30 years of experience. He is supported by 30 subject matter experts in
secure services, administration, security, health services, food services, and risk
management. On a daily basis, they oversee the three U.S. Regional Offices and
operations in the United Kingdom, Australia, and South Africa. GEO’s Secure Services
Division oversees the management and operation of approximately 75,500 beds in 71
secure facilities. This division provides services on behalf of the Federal Bureau of
Prisons, U.S. Marshals Service, and U.S. Immigration and Customs Enforcement, as well
as nine state correctional clients and various county and city jurisdictions around the
country. GEO’s three Regional Offices provide Center oversight and support, ensuring
immediate and direct assistance to the Center management teams. Each regional
operating structure is headed by a Regional Vice President who oversees approximately
two dozen experts in security, medical, financial, contract compliance, human resources,
and other support services. This regional operating structure enables GEO to implement
superior quality controls, develop personalized professional relationships, and ensure the
delivery of a full complement of high-quality services.

Use and Oversight of Subcontractors
GEO may elect to utilize subcontractors to provide certain components of operations and
management services at the Processing Centers proposed under this Requirement. These
components may include, but are not limited to, commissary services, food service
operations, health services professionals, and programmatic services.
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Competitive Pricing criteria and procedures are based on the expected annual purchasing
activity as determined by the Center business manager, regional business director, or the
corporate purchasing manager. GEO awards its subcontractor services based on
competitive “best value” taking into account the vendor’s pricing, service history and
profile.

GEO will be responsible for the oversight and management of any subcontractors used to
perform any portion of the services under this contract.

Policies and Procedures that are ICE-Tested
The effective management and operation of each Center proposed under this requirement
is dependent on detailed procedures that have been developed, implemented, assessed,
revised, and thoroughly time tested in ICE Center operations across the country. GEO
policies and procedures development is given the highest priority because it is the
foundation for everything we do in the operations of an ICE Processing Center. Because
we are tasked with a tremendous responsibility to safeguard the health and welfare of the
detainees in our care, and the government officials and employees who work in the
Center, documented policies and procedures are essential to achieving this basic goal.
GEO creates and maintains policies that are consistent and complementary to ICE and
American Correctional Association (ACA) standards and these policies are the core
element of our Management Plan to effectively operate the Center. Our performance-
based approach requires a thorough understanding of the PWS, the Center mission, and
the detainee population to efficiently administer the contract and successfully accomplish
all PWS requirements.

Rigorous Performance Measures
GEO devotes considerable corporate and Center resources for assuring total compliance
with contractual requirements during contract operations, and that integrity,
professionalism and quality are maintained by all employees as they perform their duties.
We track performance measures through a system of inspections, audits, formal
reporting, corporate oversight, and Center reviews that document our contract
performance. GEO has established policies and procedures that govern operations
performance in all PWS areas, and separate compliance policies and procedures for
independent audits and validation of the quality and level of our contract performance. In
addition, GEO provides explicit guidelines to on-site administrators with the highest level
of expectations for the accomplishment of quality assurance that meets or exceeds ICE
requirements. GEO’s system of feedback to decision makers at the Center, contracting
agency and corporate levels is designed to encourage employees and community support
groups to give input for improvement and/or change.

The overriding purpose of performance measures is to capitalize on successes and to
identify deficiencies in the quality of services throughout the entire scope of the contract
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and implement corrective action before the level of performance becomes unsatisfactory.
The analysis of the performance measures data generates reports that are used by our
management team and employees to implement continuous improvement of ongoing
operations, and to guide Center managers in prioritizing work activities and allocating
resources for effectively accomplishing work. This methodology allows GEO to
efficiently meet contract requirements and the expectations of our client.

The following items represent, in part, the proposed performance measures for each
Center proposed under this Requirement:
   •    GEO will obtain initial ACA accreditation within 12 months of operation and
        maintain ACA accreditation throughout the contract.
   •    GEO will develop and maintain a Quality Control Program (QCP) that works in
        coordination with the Quality Assurance objectives of the client and review the
        adequacy of the plan annually.
   •    GEO will accurately and completely report 100% of all physical force incidents, in
        accordance with the applicable GEO and ICE policies and procedures.
   •    GEO will accurately and completely report 100% of all serious incidents, in
        accordance with the applicable GEO and ICE policies and procedures.
   •    GEO will process all background investigations through the ICE Security Office
        via the COR after identifying a suitable applicant.
   •    GEO will staff all positions with fully qualified employees, including special
        certification and licenses where applicable. 100% of these certifications and
        licenses will be reviewed annually for currency.
   •    GEO will maintain valid current insurance policies as required by contract and
        will annually review 100% of these policies to ensure they continue to meet the
        needs of the Center.

Strict Compliance with ICE PBNDS
GEO has a thirty-year history of working under and complying with ICE standards for
processing centers, including the National Detention Standards that preceded ICE’s
current Performance-Based National Detention Standards (PBNDS) implemented in
2008. GEO has continued to work in partnership with ICE as the PBNDS was revised in
2011, and again in 2016, and will continue to do so as ICE implements new Immigration
Detention Reform Initiatives.
Our current policies and operations embrace ICE PBNDS as follows:
   •    GEO has developed and maintained policies and procedures at all of our GEO-
        operated ICE Processing Centers that are consistent and complementary to the
        requirements of ICE PBNDS and the ACA standards.
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   •    GEO’s current operating procedures at our ICE Processing Centers include Post
        Orders and Standard Operating Procedures (SOP) that are consistent with the
        requirements of the PBNDS and the ACA standards.
   •    Yearly reviews of each Center’s policies, post orders and standard operating
        procedures will be conducted by key management staff to ensure compliance with
        ICE PBNDS. If changes are necessary, the changes require the signature of the
        Facility Administrator and the Assistant Field Office Director.
   •    Key management staff consisting of the Assistant Facility Administrator, Chief of
        Security, and Compliance Administrator, etc. will assist the Facility Administrator
        in weekly inspections of the Center to ensure compliance with ICE PBNDS.
   •    Key management staff will work closely with the COR through regularly
        scheduled meetings and weekly inspections of compliance with ICE PBNDS.
   •    GEO’s QCP is consistent with ICE PBNDS. This provides a check and balance
        system for the Center in addition to the regular inspections by the client.
   •    Weekly meetings will be held with the client to ensure that any problems that may
        arise are addressed immediately.
   •    Annual training on ICE PBNDS will be conducted for all Center staff.

GEO remains committed to providing the best service and highest quality operations
within our ICE Processing Centers through stringent internal oversight and strict
adherence to the ICE Performance-Based National Detention Standards.

Innovative Solutions to Meet ERO Objectives
GEO has developed and implemented policies, programs and tools specific to the needs
of ICE and ERO that provide innovative solutions to achieve ICE goals, increase
performance, improve efficiency, and reduce cost. Notable among these are:

   • GEOtrack, our proprietary subject management system that is used for both
     Centers and transportation operations to capture subject information,
     characteristics and movement data.
   • Contract Compliance Quality Control Program, our aggressive oversight and
     auditing program that is embedded throughout the entire operation with Corporate,
     Regional, and Center support staff having roles in oversight and reviews.
   • Workplace Violence Prevention Program (WVPP), our industry standard-
     setting program to reduce or eliminate the hazards to worker health and safety in
     applicable secure services facilities and adult ICE Processing Centers.
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   • Prison Rape Elimination Act (PREA) Program, our DOJ/DHS PREA
     Standards compliant program for all of our Secure Services, Reentry and Youth
     Services Facilities.
   • Training Program and Learning Management System (LMS), our training
     program and LMS ensure all employees are trained in accordance with all PWS
     requirements, as well as additional Center specific training. The LMS schedules
     and documents training for each employee and all training is conducted by trainers
     certified by the National Institute of Corrections (NIC).

GEOtrack: GEO developed this proprietary Subject Management System for collecting
subject information and to track the activities of subjects housed within our GEO and
GEO Care facilities, and those transported by our transportation subsidiary, GTI. It
captures subject data, tracks their location, and provides the necessary information to
safely operate our facilities and comply with contract reporting requirements. Our
GEOtrack system is capable of providing far more readily available information than
many of our clients have available to them within their own information systems. For
this reason, our clients often rely on our GEOtrack system as an important source of
information on the subjects they have entrusted to our company. GEOtrack benefits
include:
    • Streamlined information flow throughout each Center
    • Increased data accuracy and availability
    • Extensive report capabilities
    • Data security/redundancy
    • Continued development of new and existing functionality
    • 24/7 support
    • Customizable per Center
    • Can be made available throughout each Center

GEOtrack is a proprietary solution built and maintained within GEO’s secure
environment and is included in our present pricing. GEOtrack is currently in use at all
GEO ICE facilities.
GEO will provide access to reports and the entire system when requested via GEO’s
secure portal.
GEO will implement the SORN approval process during the Operations Transition
Period.
GEOtrack is a Centralized Subject Management System designed to track information on
subjects housed within our GEO and GEO Care Facilities. It provides the necessary
information to safely operate our facilities and comply with most contract reporting
requirements.
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GEOtrack manages all aspects of the residents stay at the facilities. It has been designed
to track every part of their stay from arrival through discharged.
GEOtrack operates on a fully virtualized load balanced environment that provides 99.9%
availability. The environment is backed up at multiple levels to ensure minimal data loss
in the event of catastrophic hardware failure. The underlying storage systems uses tiered
flash storage to ensure the highest levels of performance and fault tolerance.
GEOtrack’s infrastructure is divided between multiple data centers and all data is
replicated between the data centers. GEOtrack’s data is secured by a fully encrypted
storage environment and the front end is protected by network firewalls, application
firewalls and load balancers. The source code also follows best practices and undergoes
penetration testing on a yearly basis. The web servers operate under 2048-bit certificates
and can scale up or down as needed. GEOtrack supports Active Directory, SAML and
MFA integration. GEOtrack integrates with a variety of systems such as Inmate Phones,
Commissary, Electronic Medical Records and others. It supports integrations through
technologies like Secure FTP, Web API’s, HL7 and others. GEOtrack’s built in reporting
engine supports both Crystal Reports and SQL Server reporting server. Each location can
take advantage of the pre-built generic reports and/or create facility specific reports.


Contract Compliance Quality Control Program: GEO recognizes the vital role of
quality control in every aspect of its operations with a primary focus of providing safe,
secure and humane care and custody of detainees. Our compliance and quality activities
will verify operations are in compliance with 2011 Performance-Based National
Detention Standards, court orders, American Correctional Association (ACA) standards,
National Commission of Correctional Health Care (NCCHC) standards, and specific
client and Corporate policies. An important aspect of our program is a dedicated staff of
one Director and two Managers who develop and continuously update and improve audit
tools to be current with operational issues, GEO policies, and ICE policy and QASP
changes. GEO policy dictates that all major functional areas of each Center will be
audited on a regular basis by the Contract Compliance Department and by Center staff.
This systematic monitoring, known as the Quality Control Program (QCP), consists of at
least two reviews a year: 1) the Annual Corporate Audit led by a team of auditors chaired
by Contract Compliance; and 2) the Center Audit led by the Center internal team of
auditors working on a monthly basis spread throughout the calendar year.

Workplace Violence Prevention Program (WVPP): GEO promotes a safe
environment for its employees, including minimizing or eliminating the hazard of
violence, harassment, intimidation and other injurious behavior directed toward
employees in its workplaces.
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GEO has developed this WVPP with the following elements: 1) worksite analyses; 2)
written policies; 3) training; and, 4) administrative and engineering controls; to reduce or
eliminate the hazards to worker health and safety in applicable secure services facilities
and adult ICE Processing Centers. Management commitment and worker involvement are
complementary and essential elements of an effective workplace violence prevention
program. To ensure an effective program, GEO has created a WVPP Committee at
designated secure services facilities and adult Processing Centers.

Prison Rape Elimination Act (PREA) Program: GEO’S PREA Program has
monitoring systems and policies for developing, implementing and overseeing
compliance with the ICE PBNDS on Sexual Abuse and Assault Prevention and
Intervention (SAAPI), and National DOJ/DHS PREA Standards in the Secure Services,
Reentry and Youth Services Facilities that we own or operate. Our program has a
dedicated PREA Coordinator, Director of Contract Compliance reporting through the
Corporate Contract Compliance department. The PREA Coordinator is responsible for
PREA implementation and SAAPI monitoring, and she provides guidance and resources
in all matters related to PREA training, reporting, allegations, and investigations. GEO
also employs three PREA Managers of Contract Compliance at the corporate level with
extensive investigative experience who operate as a resource to all facilities and are
charged with reviewing and assisting in PREA incident investigations. We also have a
PREA Compliance Specialist dedicated to collecting and analyzing PREA statistical data
and preparing required reports. In addition to the Corporate PREA team, a Prevention of
Sexual Abuse (PSA) Compliance Manager will be designated at the Center to ensure
SAAPI Compliance at the Center level and will work closely with the corporate team.

Training Program and Learning Management System (LMS): GEO’s training
program and LMS are directed and managed by our Corporate Director of Training and
Development, supported by the Western Region Training Manager, and implemented by
the Training Administrator at the Center. All supervisory staff and Center management
receive training under approved training programs developed in partnership with ICE
from our existing Processing Centers. Center-specific policies, procedures, guidelines,
post orders and contingency plans are based on these currently approved curriculums.




Management Risk Areas
GEO has identified management risk areas and our recommended approaches to
minimize the probability and impact of those risks are outlined below.
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                                         Potential
                 Risk                                             Mitigation Action
                                          Impact
                                                     Active recruitment activities using
 Inadequate recruitment                   High       mainstream electronic media, as well as,
                                                     social media
                                                     Application of most recent DOL Wage
 In adequate employee compensation        High
                                                     Determination
                                                     Establish schedule for submission of
 Timely completion of background                     background clearances for new job
                                          High
 clearances                                          applicants to ensure sufficient time for
                                                     ICE background clearance
                                                     Establish a schedule for all candidates
 After Initiation approval is received
                                                     that have received initiation approval to
 the candidates have 10 days to go
                                          High       come onsite and complete the EQIP. HR
 online and complete their EQIP
                                                     will maintain the documents that are
 application for background clearance
                                                     printed
                                                     Scheduling periodic meetings to
 Receiving timely response from ICE
                                          High       facilitate progressive approvals of ICE
 regarding facility reconfiguration
                                                     area reconfiguration
 Receiving all ICE requested fixtures,
                                                     Confirming proper ordering and receipt
 furniture and equipment (FF&E) on        High
                                                     of all requested ICE FF&E
 a timely basis


A full description of our Management Plan is outlined in GEO’s Performance Work
Statement. Please refer to Section I.1.B of this volume for more detail on our approach to
managing and operating the Centers proposed under this Requirement.
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I. Demonstrated Technical/Management Capabilities
2. Quality Control Plan



 The GEO Group, Inc. has extensive experience partnering with ICE. GEO will
 manage and monitor facility operations and will develop and execute a
 comprehensive Quality Control Program (QCP) designed to achieve and maintain
 compliance with ICE’s Quality Assurance Surveillance Plan (QASP).



GEO recognizes the vital role of quality control in every aspect of its operations. The
primary focus of each GEO-managed ICE Contract Detention Facility (ICE CDF) will be
to provide safe, secure and humane care and custody of detainees. As a means to
maintain this goal, GEO will develop a comprehensive Quality Control Program (QCP),
that will be reviewed and approved by U.S. Immigration and Customs Enforcement
(ICE). The program will ensure operations are in compliance with 2011 Performance-
Based National Detention Standards with 2016 revisions (PBNDS), court orders,
American Correctional Association (ACA) standards, National Commission on
Correctional Health Care (NCCHC) standards, and specific client and corporate policies.
GEO’s contract compliance and quality control program is         GEO has dedicated considerable
embedded throughout the entire operation with corporate,         resources to the development of
regional, and support staff having roles in oversight and        an     independent       Contract
                                                                 Compliance Department to
reviews. GEO conducts audits to verify PBNDS                     monitor and validate operations
requirements and other contract criteria are consistently        at each of our facilities to meet
being met, and to identify opportunities to exceed               the needs of the client.
requirements in a manner beneficial to ICE.

GEO has an independent Corporate Contract Compliance Department that provides the
overall direction and oversight of compliance for the entire company’s operations. Within
the Contract Compliance Department is a team specifically dedicated to providing
oversight to each of the GEO Secure Services operations. This team works daily with
Regional staff and Center-level compliance professionals to monitor and validate that the
compliance requirements and demands of regulatory, accreditation, and client
organizations are met. This staff is committed to implementing the QCP, conducting
reviews during the year, providing staff guidance on policy, standards, and compliance
issues, and with overseeing monthly internal quality control reviews at the Centers.
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The following information regarding Contract Compliance Department staffing and
auditing methodology and frequency is proposed for initiation January 2020.

The Contract Compliance Department is headed by an Executive Vice President who
reports directly to The GEO Group, Inc.’s Chairman and Chief Executive Officer. The
Department is made up of 46 corporate professionals.

Of those 46 corporate members, 5 directors and 17 managers of Contract Compliance are
dedicated to the Secure Services facilities. Additional Directors in the department head
the ACA Accreditation process and the Prison Rape Elimination Act (PREA) initiative
for all applicable facilities. A dedicated staff of one Director and two Managers develop
and continuously update and improve audit tools to be current with operational issues,
GEO policies, and ICE policy, and QASP changes.

Inspections
GEO policy dictates that all major functional areas of each GEO’s QCP requires:
Center will be audited on a regular basis by the Contract • Two full reviews each year
Compliance Department and by Center staff. This • Intensive self-monitoring
systematic monitoring, known as the Quality Control • Thorough follow-up
Program or the QCP, consists of at least one full-scope            examinations
review a year. This full scope review, the “Annual              •  Oversight of corrective
                                                                   action plans
Corporate Audit,” is conducted by a team of auditors
chaired by Contract Compliance. A second-tier review, the GEO “Facility Internal
Audits,” are conducted by Center subject matter experts using pre-identified audit tools.
Center staff serve as auditors and the process is spread throughout the calendar year on a
monthly basis as explained below under Methodology.

The Corporate team returns to each ICE Processing Center within three months after the
GEO Annual Corporate Audit to conduct a Follow-up Audit on any non-compliant
findings identified in the Annual Corporate Audit. The purpose is to verify
implementation of corrective action plans and sustained compliance. Approximately
three months after the Follow-up Audit, the Corporate team will return to conduct an Ad
Hoc Audit with an Ad Hoc Follow-up Audit approximately three later.

Audit Tools: This QCP is composed of continual monitoring utilizing a comprehensive
self-monitoring plan developed by the Corporate Contract Compliance Department.
These GEO audits contain audit questions developed from ICE PBNDS requirements,
ICE’s Quality Assurance Surveillance Plan (QASP), ACA standards, PREA requirements
and GEO policy. The medical questions are compliant with NCCHC standards as well.

The audit tools are reviewed and revised annually to fully cover the scope and spirit of
ICE’s requirements and to ensure that all PBNDS requirements will be inspected twice
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annually. The annual tool review involves input opportunities from each Center and
regional staff as well as consultations with policy owners at Corporate for updates and
improvements.

The areas of review for both the GEO Annual Corporate Audit and each Center’s Internal
Audits include:

          •   Administration and Management        •    Center Security and Control
          •   Detainee Activities                  •    Safety Standards
          •   Detainee Legal Resources             •    Detainee Care
          •   PREA                                 •    Human Resources
          •   Fiscal Management                    •    Training
          •   Medical                              •    Programs

An additional review is conducted by Contract Compliance staff and Center auditors of
all client concerns received through client audits and correspondence.

The following table summarizes the roles and responsibilities of GEO personnel involved
in our compliance program for each Center.

Audit Function: GEO Corporate Staff
✓ Corporate Directors and Managers,         • Supervise and support audits.
  Contract Compliance
                                            • Lead and conduct Annual Corporate
                                              Audit, Follow-up Audits, and Ad Hoc
                                              Reviews.
                                         • Review and approve corrective action
                                            plans and Center self-audits.
Audit Function: California ICE Processing Centers
✓ Facility Administrator                 • Plan, organize, and implement Center
✓ Quality Assurance Manager                 internal audits and inspections.
                                         • Facilitate audits of all functional areas
                                            listed in the QCP document checklist.
                                            • Recommend action items to GEO
                                              Corporate Staff.
                                            • Coordinate efforts with Regional
                                              Directors of Operations and Corporate
                                              Compliance Staff.
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Client Concerns: GEO has developed a tracking system for all issues raised by ICE,
whether from audits, letters or on-site monitoring. The issues and GEO’s responsive
corrective action are audited during the Annual, Follow-up Audits, Ad Hoc Audits, and
Ad Hoc Follow-up Audits to verify continuing compliance.

GEO is familiar with and understands ICE’s requirement to monitor each Center on an
ongoing basis. Understanding that this monitoring will include both announced and
unannounced site visits, GEO will ensure ICE has unimpeded access to each Center. All
records, including maintenance, employee, and detainee records with an exception for a
few proprietary documents, will be available for review.

All audits reports from ICE will be received by each Facility Administrator and
forwarded to GEO’s Western Region Vice President and GEO’s Executive Vice
President of Contract Compliance. Center staff will work with the Corporate and
Regional staff to investigate any findings of non-compliance and respond with a written
statement of corrective actions either taken or planned. For those actions that require a
longer time to implement, a schedule of action with a timetable for completion will be
included.

Methodology
The overriding purpose of the QCP is to regularly self-assess contract performance in
relation to all contract requirements, identify deficiencies throughout the entire scope of
the contract, and implement corrective action as soon as any deficiency is identified.

To accomplish this purpose, a system of audits will be implemented consisting of:

   1. An Annual Corporate Audit
          a. Post Audit Workshop
          b. Follow-Up Audits and Ad Hoc Audits to verify corrective actions have
             been implemented
   2. Center Level Audits
   3. Audit Reports and Corrective Action Plans

1. Annual Corporate Audit
The Annual Corporate Audit will be a full-scope review led            GEO       will     continuously
by Contract Compliance staff assisted by GEO Subject                  monitor operations at each
                                                                      Facility to verify compliance
Matter Experts. The audit utilizes the full spectrum of audit         with all contract requirements,
tools, as described above under Inspections, to validate all          client standards, and Federal,
contract and other federal, state, and local requirements.            State, and local requirements.
These tools include ICE’s QASP. Neither Center staff nor
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any operational staff with oversight of each Center will be permitted to participate as
auditors in this audit to ensure complete independence.

The Chair of the Annual Corporate Audit Team, working with the Director of Contract
Compliance, will be responsible for:

   • Conducting the audit in an objective, efficient, effective and professional manner
   • Thoroughly and fairly reviewing all audit findings and arbitrating finding disputes
   • Providing each Facility Administrator and staff with a thorough out-briefing at the
     conclusion of the audit
   • Conducting a Post Audit Workshop to review audit findings and requirements, and
     to discuss the development of viable Corrective Action Plans (CAPs)
   • Preparing and issuing an Executive Summary Report
   • Providing oversight to address all findings identified during the audit with a CAP
     in accordance with established timelines

The Corporate Contract Compliance Directors and Managers will be responsible for
verification of the success of the CAPs through discussions, review of entries in GEO’s
contract compliance database, remote document review, and the in-person Follow-Up
Audit conducted within three months.

   a. Post Audit Workshop
   At the close of the Annual Corporate Audit, GEO’s Corporate Contract Compliance
   audit teams will conduct a Post Audit Workshop to meet with Department Heads and
   related staff on any identified issues. In multiple, consecutive meetings, the auditors,
   Facility Administrator, other relevant Center leadership, and other beneficial staff will
   review the findings, supporting working papers, and applicable policies/procedures to
   discuss effective CAPs with designated responsible parties.

   The benefits of the Post Audit Workshop are:

      • To continue the focus on the findings immediately after the close and create
        agreed upon solutions that can be implemented immediately without a gap of
        waiting for the final report.
      • The Quality Assurance Manager (Compliance Administrator (CA)) has the
        support of Center leadership to focus the department heads on the creation of
        good CAPs.
      • There is ownership of the requirements on every level to correct the finding
        and discussion of tough issues such as changes in staffing or resources while
        all are present.
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      • Each Center receives the benefit of the auditors’ expertise in explaining the
        expectations of the policies/standards and sharing other Centers’ solutions.
      • With department staff present during the Workshop (if the issue involves staff
        work), the information from the auditors is communicated directly without
        department head interpretation.
      • Each Facility Administrator and Compliance Administrator can move directly
        ahead to implement CAPs with great likelihood of successful compliance.

   b. Follow-Up Audits and Ad Hoc Audits
   Within three months of the Annual Corporate Audit, a Follow-Up Audit will be
   conducted by Contract Compliance to verify the annual audit findings have been
   corrected.

   Ad Hoc Audits will be conducted to target specific areas of concern or interest raised
   outside the formal audit process. Ad Hoc Audits will be scheduled to address any
   concerns identified in Annual Corporate Audits, Client Audits, and/or Center audits,
   to address the start-up issues of a new operation, or deficiencies originating from
   audit activity or client observation. The content and method of the Ad Hoc Audits
   will be reflective of the specific need.

   The audit tools used in these reviews will be evaluated and revised on an annual basis
   by the Contract Compliance Department, in conjunction with recommendations from
   Contract Compliance staff, regional offices, and facilities.

2. Center Level Audits
The second tier review will be conducted throughout the calendar year by compliance
staff at each Center beginning in January of each year and continuing monthly, until all
pre-identified sections have been completed by December. Monthly, staff will also
concentrate on follow-up monitoring and verification of all pending corrective actions.
The Compliance Administrator (CA) at each Center directs, coordinates, and uses Center
staff as auditors. These auditors will have received training from the CA on the auditing
practices and philosophy. ICE will be notified 48 hours in advance of each Center’s
audits to ensure the COR has the opportunity to attend.

The tools for each month are tools used by Corporate Contract Compliance staff during
the Annual Corporate Audit. Contract Compliance establishes the schedule on which
functional areas are audited each month.

Each Facility Administrator is responsible for ensuring that the leadership and resources
necessary for the total commitment to the QCP are provided to guarantee maximum
benefit to each Facility and ICE.
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All audit findings are entered into the Contract Compliance database by the end of the
month. For follow-up, the CA works with Department Heads and staff to discuss findings
and develop CAPs to address each issue identified in the preceding audit month. The CA
is also able to devote time to check sustained compliance of prior findings, observe
processing areas for general operational compliance and work with staff on compliance
training and issues. The CAPs are entered into the database and reviewed by the Contract
Compliance Director and Managers; the review includes assessment of effectiveness and
completeness to address the specific finding and preventive actions to avoid repeated
deficiencies. These findings and CAPs are also reviewed during the Annual Corporate
Audits, Follow-up Audit, Ad Hoc Audit, and Ad Hoc Follow-up Audit conducted by the
Contract Compliance staff to verify compliance.

3. Audit Reports and Corrective Action Plans
An Executive Summary with Findings report is compiled Audit findings are summarized
                                                                into report form within two
and issued within two weeks of any Corporate Audit. This weeks of the Annual Corporate
summarizes repeat non-compliant findings, delineates non- Audit to enable each Facility to
compliant findings of critical items and areas of concern, develop an effective corrective
and lists all the findings for each Center to assist in seeing action. plan.
the total results of the audit. Each Center compliance team prepares and uploads required
corrective actions into GEO’s contract compliance database.

GEO’s Corporate Directors and Managers of Contract Compliance review the plans for
completeness and expected effectiveness and monitor movement to implement those
plans. During the Follow-Up Audit, Ad Hoc Audit, and Ad Hoc Follow-up Audit those
findings and plans are reviewed, assessed for success, and are either validated or revised
for achieving compliance. Analyses of data from other GEO-operated ICE Processing
Centers are compiled and reviewed on a regular basis and include studies of repeat and
critical non-compliant findings in QCP audits, Client findings, and Advised Items with
constant reviews of past audits. Results of audits and/or inspections will be submitted to
the Contracting Officer at any time upon request. A file of all inspections, inspection
results and any corrective action required will be maintained by GEO throughout the term
of the contract.

Supervisory Plan
Persons Conducting Inspections:
Daniel Ragsdale, Executive Vice President, Contract Compliance
Mr. Ragsdale has authority for leading the Contract Compliance Department and
implementing GEO’s QCP. He reports directly to the CEO of the company and works in
conjunction with corporate and regional operations and Center personnel. He joined GEO
in 2017 with more than 20 years of legal and law enforcement experience.
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Janet Hardwick, Vice President, Contract Compliance,
Ms. Hardwick has authority over all Contract Compliance Department functions and
coordinates, oversees, monitors, and assesses audit results, corrective action plans, and
responses to client audits. She is charged with the responsibility of overseeing contractual
compliance and CAPs for successful performance. She has over 40 years of corrections
experience with 8 years as Director, Contract Compliance, Eastern Region for 18
facilities and previous work with Indiana DOC in corrections, youth, and proposal
development.

Heather West, Director, Contract Compliance, Western Region
Ms. West has direct responsibility for organization and conduct of audits in the Western
Region, responses and Corrective Action Plans. Ms. West served as Director, Contract
Compliance in GEO’s Western Region; as Manager, Contract Compliance, Eastern
Region; and as Compliance Administrator at the ICE Northwest Processing Center in
Tacoma, WA for GEO. Ms. West leads a team of three additional staff with multiple
years of corrections and auditing experience.

Dr. Jose Acebal, Director Contract Compliance, Health Care
Dr. Acebal has the responsibility for monitoring and assessing all correctional health care
across the U.S. in over 38 facilities, including eight ICE Processing Centers, first as
Manager for three years and as Director for 1 year. Dr. Acebal holds a Doctor of
Medicine, is fluent in Spanish, and has been employed as Health Services Administrator
and other medical positions with BOP for 26 years. Dr. Acebal directs a team of another
M.D., a Registered Nurse and a Licensed Vocational Nurse, all of whom are bilingual in
Spanish and possess years of experience delivering correctional health services and
compliance.

Ryan Seuradge, GEO PREA Coordinator, Director of Contract Compliance
Mr. Seuradge has the responsibility for the implementation of PREA monitoring systems
and policies as well as developing, implementing, and overseeing GEO’s compliance
with the National DOJ/DHS PREA standards. Mr. Seuradge was recently hired to serve
as GEO’s PREA Coordinator and he is charged with the responsibility to provide
guidance and resources in all matters related to PREA training, reporting, compliance,
allegations, and investigations.

Communications Plan
GEO welcomes all communications from ICE regarding the               GEO strives to provide the
QCP at each Center and agrees to work closely with the CO            highest level of service to our
and COR to identify the strategic issues vital to both quality       clients and is dedicated to open
                                                                     communication designed to
assurance and quality control. GEO will incorporate these            detect and correct non-
requirements into the QCP in order to align the initiatives          conformance at the earliest
with those of ICE’s QASP and achieve full compliance.                levels.
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For the purposes of consistency and reliability of communication, the following
procedures are suggested:

   • Each Facility Administrator and the quality assurance staff will work with on-site
     monitoring staff to establish a reliable and confidential relationship wherein day-
     to-day communications take place at the Center level with compliance reviews,
     discussions regarding the reviews, and corrective actions.

   •    The COR and the CO (as well as other ICE representatives) are invited to staff
        meetings regarding the management/operation of each Center. These meetings are
        critical for operations staff to maintain awareness and implement plans regarding
        improving areas, areas that need work, and areas that need direction.

GEO’s QCP provides the statistical tracking needed to observe trends and to frequently
revisit the contract requirements and client’s expectations.

Emergency Food Service Plan
Written policy and procedure will provide for contingencies to ensure the delivery of
meals to the detainee population during emergency situations (non-delivery of food, riots,
natural disasters, equipment failure). Each Center will maintain a two-week supply of
food and paper goods. During an impending emergency, i.e. serious inclement weather,
the GEO will coordinate with ICE to see that each Center maintains a four-week supply
of food and paper goods. Each Center will maintain an active list of local vendors that
will deliver needed food and paper items within a 24-hour period, if needed.

Each Center will establish plans which outline the procedure to be followed in the event
of a mass detainee hunger strike in accordance with ICE PBNDS. The plan will allow for
each Center to operate following normal protocols to the maximum extent, and to return
each Center to standard operations as soon as possible. Determining the true cause of the
disturbance is of primary importance; many times there are other causative factors
involved and a conclusion must not be drawn that because detainees are refusing to eat,
the complaint is simply the quality or quantity of food.

Initial steps in the execution of the plan include determining:

   • Is there violence involved?
   • How many detainees are involved?
   • What can be done to neutralize the problem?
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Plan Execution
If it is discovered that a large number of detainees have organized to participate in food
refusal, the detainees may be recalled to their assigned housing units. The situation will
be evaluated and the behavior of the detainees will be considered to determine the need
for additional security and control over the following areas:

   • Food service
   • Medical/health services
   • General detainee assembly areas (recreation, library, etc.)
   • Perimeter

Upon review of documentation confirming that a detainee has abstained from caloric
food or liquid (not including medication) for 72 hours, the detainee will be referred to
IHSC medical staff and examined for medical and mental health purposes, with careful
and complete documentation made of all activities. Particular attention will be paid to the
nutritional status of participating detainees.

Termination of the hunger strike will be documented upon ingestion of any food or
liquid, excluding water or medication. A physician will determine the type, amount, and
frequency of food or liquid to be given to detainees who have ended participation in a
hunger strike. This supervision will continue for as long as the physician deems
necessary. The dietary regiments used to terminate a voluntary hunger strike will be
recorded in the detainee health record.

GEO will ensure that communication and coordination with ICE is maintained during
these emergency situations. GEO’s Emergency Food Preparation and Service Schedule
will be submitted within 30 calendar days of contract award.
                                                                    GEO staff facilitates consistent
Emphasis on Compliance                                              communication at all levels of
GEO understands its responsibility for compliance with the          the organization to ensure
requirements and performance standards of this contract and         contract performance remains
the RFP. Facility Administrators and staff are primarily            more than satisfactory. GEO
                                                                    monitors facility performance
responsible for maintaining compliance with all applicable          and evaluates functional areas
standards. During operations at each Center, GEO will               regularly.
accept responsibility to confirm compliance, to recognize
areas of non-compliance, to identify CAPs and to verify the implementation of
improvements. The manner used to accomplish this is by using internal self-assessments
and external compliance audits by specialized staff in particular areas of immigration
processing and knowledgeable of the contract.

Corporate and regional staff will be in contact with each Facility Administrator to gather
the information necessary to monitor performance. GEO corporate and regional
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personnel representing finance, health services, programs, food service, and general
operations areas will take numerous trips to each Center in an effort to maintain an
efficient QCP.

Operational Standards & Accreditation
GEO subscribes to operational standards promulgated by several different certifying
organizations and opens its Facilities and Processing Centers to inspection and
accreditation by these associations, commissions and councils. As a matter of corporate
policy, all GEO Facilities and Processing Centers are designed and operated in general
accordance with the recommendations of one or more of the following organizations:

   •    American Correctional Association (ACA)
   •    National Commission on Correctional Health Care (NCCHC)
   •    The Joint Commission (TJC)
   •    Southern Association of Colleges and Schools (SACS)
   •    Correctional Education Association (CEA)
   •    The standards of the contracting agency
   •    PREA DHS and DOJ Standards

For each GEO-managed ICE Processing Center, the following standards, in addition to
the contract and PBNDS, will apply:
   •    American Correctional Association (ACA)
   •    National Commission on Correctional Health Care (NCCHC)
   •    PREA DHS Standards and regulations

American Correctional Association (ACA) Accreditation
GEO’s Corporate Contract Compliance Department will work with each Center to obtain
ACA accreditation. Accreditation is obtained through training, oversight, and conducting
mock ACA Audits 2-3 months prior to the accreditation audit. GEO employs a Contract
Compliance Director and Manager at the Corporate level who is responsible for working
with GEO Facilities and Processing Centers in preparation for the ACA accreditation
process. GEO has moved to automating the accreditation documents and audit process
with success and compliments from ACA auditors.

Performance-Based National Detention Standards (PBNDS)
GEO has incorporated the requirements of the PBNDS into the QCP of each Processing
Center it operates under direct contract with ICE. The lessons learned and best practices
developed at these Centers will be applied to each Center. The audit tools used to monitor
ICE Processing Centers include the full QASP as used by the agency.
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In addition, any optimal standards appropriate to individual contracts are added to the
auditing questions for that Center. This allows for on-going monitoring of those
requirements. In addition, any client-identified deficiencies are tracked and monitored
until sustained compliance is established.

Safety of the Processing Center
All aspects of safety are reviewed during the Annual and Follow-up audits with audit
tools on chemical storage, maintenance and preventive maintenance, workplace violence,
workers compensation reporting and human resources. GEO’s Risk Management
department has developed a Workplace Violence Prevention Program with all Secure
Services Facilities and Processing Centers participating. Each Center creates and
maintains a program with a Workplace Violence Committee with broad participation of
various departments. The safety and security of staff and detainees is of great importance
to GEO.

Risk Management
To ensure continuous and seamless operations, GEO assesses all risk and mitigation
factors prior to the delivery of operations and throughout the duration of each contract.
GEO maintains a comprehensive insurance program to both comply with all contractual
requirements, as well as strategically protect the company, its employees, contractors,
clients, and third parties. To prevent issues of occurrences throughout each contract, GEO
adheres to the standards, whether required by the client or not, of the American
Correctional Association, maintains safe and effective staffing ratios, and enforces
stringent training requirements that comply with our high, professional standards.

Sexual Abuse/Assault Prevention Intervention Compliance (SAAPI/PREA)
GEO has a dedicated PREA Coordinator, Director of Contract Compliance, reporting
through the Corporate Contract Compliance Department. The Corporate PREA
Coordinator is responsible for implementation of SAAPI monitoring systems and policies
as well as developing, implementing and overseeing GEO’s compliance with the
National DHS PREA Standards in all its required Immigration Processing Centers. In
addition, the Corporate PREA Coordinator will provide guidance and resources in all
matters related to SAAPI training, reporting, allegations, and investigations.

GEO also employs three PREA Managers of Contract Compliance at the Corporate level
with extensive investigative experience who are charged with reviewing and assisting in
investigations of SAAPI incidents as well as operating as a resource to all Facilities and
Processing Centers. An additional Corporate staff member, the PREA Compliance
Specialist, is dedicated to collecting and analyzing PREA statistical data and preparing
required reports. In addition to the Corporate PREA team, a Prevention of Sexual Abuse
(PSA) Compliance Manager will be designated at each Center to ensure SAAPI
Compliance at each Center level and will work closely with the corporate team.
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This team, as part of the Corporate Contract Compliance Department, will work with
staff at each Center to implement the extensive training program for all employees,
volunteers, and contractors with additional intensive training for investigators and
specialized training for medical personnel. All detainees will receive SAAPI education at
orientation as part of the intake/admissions process. Upon employment, all staff receives
a 3 hour initial training course specifically covering DHS PREA guidelines, with 2 hours
of annual in-service training thereafter.

In addition to training, the Corporate Contract Compliance team performs mock PREA
audits to prepare for the certification audit. These mock audits include tours of each
Center, reviews of investigation files, postings, and evaluation of detainee familiarity
with PREA reporting and interviews with staff on their knowledge of SAAPI
requirements.

Quality Control Measures for Subcontractors
The Contract Compliance Department audits work performed by its subcontractors, e.g.,
medical or food service, with the same schedule and audit tools that apply to work
performed by GEO itself. GEO holds its subcontractors to the same level of performance
and all applicable contractual requirements.

Innovative Quality Leadership
GEO’s Contract Compliance Department is continuously working to provide the most
current and effective monitoring, using performance improvement methods and
approaches gleaned from comparable businesses, compliance and quality conferences
and innovative work as developed within the department. The development of the Post
Audit Workshop has led to much greater coordination of work between compliance and
operations and provided expertise and resources to operations on corrective actions.

Training each year of all Secure Services Compliance Administrators is provided via
specialized workshops and presentations to enhance the professional development of
those at each Center level in charge of the QCP.

Development of an automated electronic system for ACA Accreditation audits has
allowed improved efficiency for GEO staff in review of document preparation and for
ACA Auditors on site to perform audits. This system was developed through the
collaborative efforts of several GEO staff, desirous of improving and maximizing time
usage with the result being a better vehicle for handling the large amounts of paper
documentation. The entirety of ACA documentation is presented on laptops for the
auditors.
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GEO’s most recent ACA Audits at our Facilities and Processing Centers show a level of
excellence and commitment that will be carried to each GEO-managed ICE Processing
Center. The average rating is 99.65%.

The following is a list of recent ICE Center audits:
          Adelanto ICE Processing Center                    99.6%
          Aurora ICE Processing Center                      100%
          Broward Transition Center                         100%
          Brooks County Detention Center                    99.6%
          East Hidalgo Detention Center                     98.6%
          Folkston ICE Processing Center                    100%
          Joe Corley Processing Center                      99.3%
          LaSalle ICE Processing Center                     99.6%
          Mesa Verde ICE Processing Center                  100%
          Northwest ICE Processing Center                   100%
          Pine Prairie ICE Processing Center                100%
          Rio Grande Processing Center                      100%
          South Texas ICE Processing Center                 98.8%

Productivity Enhancement
In every performance improvement effort, GEO works to refine our provision of services
to enhance the productivity of our staff and work. When deficiencies are identified, either
through GEO’s self-identification or the client’s review, GEO’s Contract Compliance
Team and Operations work to analyze the issues, reveal the obstacles to compliance and
provide the best, most efficient method of reaching the goal.

This often is accomplished through project management led by the Director of Project
Management and the two Managers in the Contract Compliance Department devoted to
this area. With 10 years in secure services and compliance, the Director is responsible for
development and maintenance of the audit tools and database and all performance
improvement projects. In maintaining a current auditing system, GEO is able to quickly
respond to changes in the client’s focus and requirements. All tools are reviewed
thoroughly each year and are often modified during the year to always reflect current
requirements. All ACA and PREA changes are quickly inserted into the tools to
maximize each audit with the most relevant questions and review.

Cost Reduction Methods/Techniques
GEO prides itself in providing cost-efficient and effective services for all its clients. Each
facility operated by GEO employs a Business Manager who reports directly to the
Facility Administrator. The Business Manager is responsible for:
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   • Maintaining strict compliance with GEO’s financial management policies and
     procedures within the facility.
   • Compliance with all financial controls to ensure that they are designed and
     operating effectively.
   • Producing all financial records required by GEO’s fiscal management system.
   • Safeguarding, tracking, and recording all client and GEO property and inventory.

In addition, each facility will develop a self-assessment program in accordance with
GEO’s corporate policy ensure that all fiscal management policies and procedures are in
compliance and that the financial controls are designed and operating effectively.

GEO requires all facilities, regions and corporate departments, to the maximum extent
possible, to standardize commodity items, fixtures, equipment and services to increase
operational, economic and organizational efficiency. GEO is committed to the economic
and other advantages of centralized purchasing including national and regional
purchasing agreements. GEO, as a Government vendor, is committed to encouraging
small, small disadvantaged, women owned, veteran owned and HUB zone vendors to the
maximum extent possible consistent with acceptable vendor service and pricing. Specific
small and disadvantaged purchasing plans will be implemented at the facility level as
appropriate regarding this commitment.

Handling Potential Problem Areas and Solutions
In the identification of compliance issues in GEO facilities, the opportunity is always
present to improve and enhance our delivery of services. There will be potential weak
areas in any operations, and it is the goal of the Contract Compliance department to
identify those areas before they become deficiencies and to quickly address the source of
the problem and any potential consequences.

Creating solutions to the potential weakness is an opportunity to innovatively address
more than the single item of deficiency and to create a stronger system by building on the
foundation of a strong system. With the resources of the Contract Compliance staff,
regional, corporate and Center compliance and operational experts, the services can be
improved and elevated to exceed requirements and standards.

Customer Relations
GEO recognizes that open and frequent communications with clients fosters partnering
relationships and ensures transparency in all aspects of operations. GEO ensures that
Center-level communications between each Center Executive staff and the client
representative is frequent and open. Toward that end, GEO coordinates quarterly client
meetings and encourages participation in on-site Center meetings.
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   Quarterly Client Meetings: GEO sends a team of corporate professionals to visit the
   offices of our clients on a quarterly basis. These meetings are held to allow for
   transparent and open discussion of GEO’s performance as related to the management
   contract in place at the specific Center.

   Participation in Meetings: GEO welcomes all communications from its Government
   clients and works closely with the Contracting Officer and on-site Contract Monitor
   to identify the strategic issues vital to both quality assurance and quality control. Each
   Facility Administrator and the Quality Assurance Manager (Compliance
   Administrator) will work with on-site monitoring staff to establish a reliable and
   confidential relationship wherein day-to-day communications take place at each
   Center level with compliance reviews, discussions regarding the reviews, and
   corrective actions.

Meeting Urgent Requirements
All Client correspondence and requests for Corrective Actions are routed through the
Contract Compliance Department for final review and assessment. In concert with the
Centers, any request for urgent responses and corrections are quickly evaluated to
provide meaningful and effective responses for the client. In the event of any urgent
situation, each Center, the regional office, corporate and Contract Compliance will
provide a joint response, based on compliance with the national standards and the
PBNDS.

In accordance with Section M.4.1.2, GEO is providing sample Emergency and
Communications-Radio Control plans from our Adelanto ICE Processing Center as
attachments to this section. GEO currently uses these plans at the Adelanto ICE
Processing Center under contract with ICE, and they will be used to develop site-specific
plans for each Center proposed under this Requirement. Site-specific plans will be
submitted for approval in accordance with the Deliverables Chart provided in Section E
of the RFP.

                See Policy 10.2.3: General Emergency Plan – attached
                     See Policy 10.2.34: Radio Control – attached

Each of the locations proposed under this requirement are licensed by the Federal
Communications Commission (FCC) and have attained radio station authorization. Each
license contains an FCC registration number, grant date, effective date, and expiration
date. None of the proposed sites have an expired FCC license. The primary mode of
communication between officers, supervisory staff and senior leadership staff is via radio
transmission.
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With regard to communication between contractor officers and all other personnel (ICE
personnel, other contractor personnel) engaged with the detainee population, GEO’s
primary communication is conducted through emails, LAN lines, cellular phones and
radios (currently radios are provided to ICE on-site top leadership personnel); however, if
ICE has determined a need for more of its on-site personnel who engage with the
detainee population to carry a radio during business hours, GEO will assign up to five
radios/chargers to its personnel for on-site use. Each site maintains a roster of facility
staff who have a company-issued phone. The name, title and cellular number is
identified. At the request of ICE on-site personnel, the roster will be made available.

Acquisition of communication equipment is generally identified and procured at the
inception of a new activation and/or arranged during startup activity. In coordination with
the Regional Office, GEO Corporate has a division dedicated to identifying, ordering and
delivering required communication equipment. Maintenance of communication
equipment is ongoing and includes preventative maintenance, routine and non-routine
service requirements and optional upgrades as determined necessary to maintain pace of
technology enhancements. GEO’s processes related to communication equipment are
governed in written protocol.

GEO has a comprehensive training program that includes a training lesson plan on Radio
and Telephone Communication. Affected staff receive this training. At the request of on-
site ICE personnel, the training plan will be made available. GEO ensures all new
security staff complete a 40-hour on-the-job training that includes the following topics:
Emergency Procedures and Notifications Process, Proper Radio and Telephone
Communications, Operations of Security Panels, and Professional Telephone Etiquette.
These topics are reviewed in three sections of the 40-hour block of OJT: Housing Unit
Control Rooms; Restrictive Housing/Special Management Unit Control Centers; and
Master Control Centers.

GEO’s longstanding partnership with ICE has fostered a partnering approach grounded in
transparency and frequent communication. Our expectation is to include ICE on
important events affecting operations and for GEO staff to make routine contact with ICE
field office personnel. We further value the on-site ICE leadership and recognize their
role in our engagement with ICE Field Office personnel. While most of our
communications with the ICE Field Office are coordinated with the local ICE leadership,
GEO will enhance its effort to communicate with the respective ICE Field Office via
email, LAN line, telephone, cellular phone, and verbally. Our goal is to maintain a
positive working relationship with open lines of communication.
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       Sample Emergency Plan
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       I.3 - Transition Plan
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I. Demonstrated Technical/Management Capabilities
3. Operations Transition Plan – Requirement C

 With over 30 years of experience conducting startup and transitions of over 160
 facilities with a combined capacity in excess of 100,000 beds, The GEO Group,
 Inc. (GEO) has the experience and capability to effectively transition to full
 operation under a new contract.


In accordance with the requirements of Solicitation Number 70CDCR20R00000002,
GEO’s Transition Plan includes, but is not limited to the following areas:

• An Operations Transition Schedule of tasks to be completed during the 6 to 8-
  month phased in Operations Transition Period, including the 60-day Ramp-up.

• Effective Recruitment of experienced key personnel and qualified processing and
  support staff

• A Comprehensive & Compliant Training Plan for employees

• Obtaining all appropriate Licenses and Permits prior to performance

• Securing required Insurance coverage prior to performance and in compliance with
  clause H.1.1, Contractor’s Insurance

• Completing required Background Investigation in cooperation with ICE’s OPR-
  PSU to ensure that all employees are cleared in accordance with PWS Requirements

• Ensuring sufficient inventory proposed Security / Enforcement Equipment is
  available in the unlikely event of a disturbance

• Certification and Training Schedule to enable personnel to assume operational
  responsibilities and PWS requirements at contract start

• Identification of Phase-In Risk Areas and recommendation of effective approaches
  to minimize the probability and impact of those risks

• A Ramp-Down Plan for transitioning services at the end of the contract
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                     OPERATIONS TRANSITION SCHEDULE

Mesa Verde Operations Transition Period
The Mesa Verde is currently operating under an existing ICE contract, and will complete
any applicable transition activities under the new contract, with minimal disruption to
ongoing services.

Golden State and Central Valley Operations Transition Period
On September 20, 2019, the Central Valley and Golden State Facilities were incorporated
into the Mesa Verde ICE Processing Center contract as annexes to that facility.

GEO has been informed by CDCR of their discontinuation of the Golden State Facility
effective July 1, 2020, and therefore the facility is immediately available to ICE for
operational transition as an ICE facility.

The Central Valley Facility is presently idle following the discontinued use by the CDCR
in September 2019. Most of the facility staff are still employed through November 16,
2019. Accordingly, the Central Valley Facility is immediately available to ICE for
operational transition.

Given the need to address interior reconfiguration of the Golden State and Central Valley
facilities for ICE purposes, and other matters, GEO is proposing an operation transition
period of approximately 6 to 8 months for each facility.

Following contract execution, both GEO and ICE would designate one or more
individuals as Operations Transition Coordinators with the responsibility to address ICE
requirements for office space, operations, courtrooms, healthcare area, FF&E,
transportation, food service, maintenance, supplies, and storage areas. Presumably each
of the following ICE divisions would need to conduct an onsite survey and provide a
needs analysis to the Operations Transition Coordinators for review, resolution and
implementation:
   • ICE Enforcement and Removal Operations (ERO), including the Facilities
     Support Unit

   • ICE Executive Office for Immigration Review (EOIR)

   • ICE Immigration Health Services Corp (IHSC)

   • ICE Office of Principal Legal Advisor (OPLA)
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GEO Transition Team
Upon contract award, GEO will activate an Operations Transition Team that will be
responsible for Requirement C comprised of the Mesa Verde ICE Processing Center and
the Central Valley and Golden State Annexes. The Transition Team proposed by GEO
includes specialists in contracts, finance, project management, security services,
programs, human resources, training, and senior staff. This group will have the
knowledge and experience needed to recruit, select, train and deploy staff in their roles as
GEO employees.

               Role/Position                                     Name
Operations Transition Coordinator              Paul Laird & Linda Sanders
Training Coordinator                           Regenia Graves
Business Management Coordinator                Chuck Hill
Facilities Maintenance Coordinator             Kevin Shadduck
Health Care Coordinator                        Dr. John Christakis
Human Resources Coordinator                    Alex Londono
Food Service Coordinator                       Todd Larson
Contract Administration Coordinator            Amber Martin
Contract Compliance Coordinator                Daniel Ragsdale
Design/Construction Coordinator                Philip Mosciski

Site Specific Transition Details – Central Valley
GEO requests a waiver of the 60-day transition period for the 700 beds proposed at the
Central Valley Facility. Operation of the currently idle Central Valley Facility under the
ICE contract will commence immediately upon contract award, beginning with the
implementation of the Operations Transition Period. GEO estimates the full Operations
Transition Period, as detailed, below, will take approximately 8 months and requests a
waiver for this period of time. Detainee housing is expected to begin at the Central
Valley Facility by mid-2020.

We request a waiver of the 60-day Transition Period by substituting the following:

The full Operations Transition Period includes two phases: 1) 6 Month Pre-Transition
Mobilization and 2) 60-Day Transition. Revised pricing assumes an August 20, 2020
detainee intake.

Pre-Transition Mobilization Phase (6 months):
Immediately upon contract award by ICE, GEO will establish the Operations Transition
Team. This team will be on-site, overseeing all operational activities during the full
Operations Transition Period (OTP). During the Pre-Transition Mobilization Phase of the
OTP, these activities will include:
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   •    Conducting Post-award Kick-off teleconference, tentatively scheduled for
        December 21, 2019
   •    Beginning bi-weekly and/or monthly Progress Update Meetings with ICE
   •    Coordinating on-site surveys and needs analysis with representatives from ICE,
        EOIR, IHSC, and OPLA
   •    Implementing SORN approval process
   •    Implementing Virtual Attorney Visitation capability
   •    Finalizing facility reconfiguration plans following ICE on-site surveys
   •    Ordering/repositioning of FF&E and vehicles
   •    Conducting recruitment events (i.e. job fairs, employee interviews)
   •    Screening of employment applicants and federal background clearance checks
   •    Completing facility reconfiguration
   •    Updating standard operating procedures in accordance with federal contract
   •    Submitting facility policies and procedures for final approval
   •    Submitting Notice to ICE to begin the 60-Day Transition Period
As agreed in the Discussions Meeting between GEO and ICE on December 4, 2019,
GEO will invoice the government during the Pre-transition Mobilization Phase as priced
in our Final Proposal Revision.

60-day Transition Period Phase (2 months):
During this second phase of the Operations Transition Period, GEO’s Operations
Transition Team will oversee:
   •    Onboarding of facility staff
   •    Completion of all staff training
   •    Vehicle assessments
   •    Installation of all remaining FF&E
   •    Facility readiness reviews
   •    Finalization of detainee transfer plan to begin housing detainees in the facility
   •    Detainee transfers into the facility at the end of the Transition Period phase
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During the 60-Day Transition Period Phase, GEO will invoice the Government as priced
in our Final Proposal Revision.

Detainee Intake Schedule
GEO proposes to intake detainees at the rate of approximately 80 per week, which will
require approximately 9 to 10 weeks.

Site Specific Transition Details – Golden State
The current occupants of the Golden State Facility will vacate the facility prior to July
2020. However, operation of the Golden State Facility under the ICE Contract will
commence immediately upon contract award, beginning with the implementation of the
proposed Operations Transition Period, as detailed below.

We request a waiver of the 60-day Transition Period by substituting the following:

The full Operations Transition Period includes two phases: 1) 6 Month Pre-Transition
Mobilization and 2) 60-Day Transition. Revised pricing assumes an August 20, 2020
detainee intake.

Pre-Transition Mobilization Phase (6 months):
Immediately upon contract award, GEO will establish the Operations Transition Team.
This team will be on-site, overseeing all operational activities during the full Operations
Transition Period. During the Pre-Transition Mobilization Phase these, activities will
include the following:
   •    Conducting Post-award Kick-off teleconference, tentatively scheduled for
        December 21, 2019
   •    Beginning bi-weekly and/or monthly Progress Update Meetings with ICE
   •    Coordinating on-site surveys and needs analysis with representatives from ICE,
        EOIR, IHSC, and OPLA
   •    Implementing SORN approval process
   •    Implementing Virtual Attorney Visitation capability
   •    Finalizing facility reconfiguration plans following ICE on-site surveys
   •    Ordering/repositioning of FF&E and vehicles
   •    Conducting recruitment events (i.e. job fairs, employee interviews)
   •    Screening of employment applicants and federal background clearance checks
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   •    Completing facility reconfiguration
   •    Updating standard operating procedures in accordance with federal contract
   •    Submitting facility policies and procedures for final approval
   •    Submitting Notice to ICE to begin the 60-Day Transition Period


As agreed in the Discussions Meeting between GEO and ICE on December 4, 2019,
GEO will invoice the government during the Pre-transition Mobilization Phase as priced
in our Final Proposal Revision.


60-day Transition Period Phase (2 months):
During this phase of the Operations Transition Period, GEO’s Operations Transition
Team will oversee:
   •    Onboarding of facility staff
   •    Completion of all staff training
   •    Vehicle assessments
   •    Installation of all remaining FF&E
   •    Facility readiness reviews
   •    Finalization of detainee transfer plan to begin housing detainees in the facility
   •    Detainee transfers into the facility at the end of the Transition Period phase

During the 60-Day Transition Period Phase, GEO will invoice the Government as priced
in our Final Proposal Revision.


Detainee Intake Schedule
GEO proposes to intake detainees at the rate of approximately 80 per week, which will
require approximately 9 to 10 weeks.
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                        GEO’s 8-Month Operations Transition Period* /
                             Phase-in Implementation Schedule:


                      GEO OPERATIONS TRANSITION PHASE-IN SCHEDULE

Assumed Contract
 Award 12/20/19
                      Post Award/ Begin              Continue Operations Transition                        60-Day
                     Operations Transition              Facility Reconfiguration                          Ramp Up
     Months                                        Months 1 - 6                                               7-8
                    Designation
                                                                                                        Receipt of
                    of ICE                                          Personnel         Submit
                                    Regularly      Regularly                                            Notice to
                    Operations                                      background        Notice of
GEO/ICE                             scheduled      scheduled                                            Proceed and
                    Transition                                      clearances        Facility
Transition Team                     meetings       meetings                                             begin detainee
                    Coordinator                                     by ICE/PCU        Readiness
                                                                                                        intake
                    (IOTC)

                    Government                     Periodic         Furniture,        Periodic
Facility                            Interior
                    Onsite                         ICE              fixtures, &       ICE reviews
Reconfiguration                     renovation                                                          Install any new
                    Survey                         reviews of       equipment         of
                                    designs                                                             FF&E
                    /Needs                         operations       (FF&E)            operations
                                    finalized
                    Analysis                       transition       ordered           transition

                    GEO
Operations          Operations                                      Update
Implementation                      Standard                                          Revise            Confirm
                    Transition                     Submit           MOUs for
                                    operating                                         contract          approval of
                    Coordinator                    contract         Mutual Aid/
                                    procedures                                        deliverables      contract
                    reports                        deliverables     Emergency
                                    updated                                           as requested      deliverables
                    onsite                                          Services
                    (GOTC)

                                                                    Make job
                    Begin           Hold job
                                                                    offers &                            Staff training,
                    advertising     fairs &        Employee                           Order staff
Staffing                                                            begin                               weapons
                    job openings,   applicant      Screening                          uniforms
                                                                    clearance                           qualifications
                    hold job fair   interviews
                                                                    process


                                    Reposition
Transportation                                     Develop          Meetings
                    Ordering        existing                                          Vehicle
                                                   Detainee         with ICE on                         GTI training
                    new vehicles    fleet                                             assessments
                                                   Transfer         Ramp-up                             completed
                    & FFE           vehicles, if                                      completed
                                                   Plan             coordination
                                    needed


  *Operations Transition Period is subject to adjustment based on negotiations.
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                                 Effective Recruitment

As the current provider of services for the Mesa Verde ICE Processing Center, GEO
expects to retain existing employees as we continue providing services under a new
contract. For other facilities proposed under this Requirement, GEO will implement our
tested and proven successful recruitment methods to attract new employees.

GEO utilizes multiple venues to advertise open positions. These venues include the
State’s employment delivery service, radio ads, newspaper, internet job boards, and
GEO’s online Career Center. GEO’s Application for Employment and any recruitment
advertising includes the phrase “Equal Opportunity Employer.”

GEO’s employee retention strategy begins with hiring employees who meet customer and
company standards. In addition, we recognize the important role wage rates and
employee benefit packages play in retention of employees. GEO will provide salaries and
benefits that facilitate effective recruitment and retention of qualified employees.

                             Comprehensive Training Plan

All new Officers will complete 60 hours of basic training (not including firearms) prior to
Entry on Duty (EOD) and 40 hours of on-the-job training. Within 60 days of completing
the initial 100 training hours, Officers will complete another 40 hours of training. Each
new Officer will complete an additional 40 hours of training within the first year of duty.
This supplemental training will relate directly to the employee’s position and focus on
relevant job skills. All new Officers will complete a total of 180 hours of training within
their first year of employment.

Lesson plans and training curriculums used by GEO and approved by ICE which are
currently in use at other ICE locations will be used as the basis for developing the site-
specific training plan for the Center. Following contract award GEO will tailor this
approved training program for use at the facilities proposed under this Requirement,
submitting a finalized version within 30 calendar days of contract award as required.

Additionally, GEO will utilize the Learning Management System (LMS) to track and
automatically schedule required training for all staff. The system will house all training
records and provides notification to the Training Administrator when required training
and certifications are due. The system will allow the Regional and Corporate Training
Staff to remotely view all Center training records, lesson plans, instructor certifications
and staff training records. All training will be conducted by trainers certified by the
National Institute of Corrections (NIC).
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                                Licenses and Permits

All appropriate licensure and permits will be obtained prior to the Notice to Proceed.
Licenses and permits will be maintained as necessary throughout the duration of the
contract.

                                 Insurance Coverage

GEO will comply with the insurance requirements outlined in Section H to include:

   • Insurance in an amount not less than $3,000,000 to protect GEO from claims
     under workman’s compensation acts and from any claims for damages for
     personal injury, including death which may arise from operations under this
     contract whether such operations by the GEO itself or by any subcontractor or
     anyone directly or indirectly employed by either business entity

   • General Liability insurance: bodily injury liability coverage written on a
     comprehensive form of policy of at least $500,000 per occurrence as required

   • Automobile liability insurance that provides liability coverage for bodily injury
     and property damage, covering automobiles operated in the United States, and that
     provides coverage of at least $200,000 per person and $500,000 per occurrence for
     bodily injury and $20,000 per occurrence for property coverage

                       Process for Background Investigations

GEO has a proven track record of effectively recruiting and integrating large numbers of
new employees and staffing facilities in a short period of time. GEO will work closely
with ICE to ensure potential employees receive background investigations and
appropriate clearances prior to their Entry on Duty (EOD) in accordance with relevant
requirements of the RFP.

Background investigations will be processed through the Personnel Security Unit.
Personnel may transfer from other DHS Contracts provided they have an adequate and
current investigation. GEO further understands that only those personnel who have
favorably adjudicated background investigations will be permitted access to sensitive
government information. GEO understands required forms will be provided by DHS at
the time of award of the contract, and that only complete packages will be accepted by
the OPR-PSU. GEO further understands specific instructions on submission of packages
will be provided upon award of the contract.
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                Proposed Security/Enforcement Equipment Inventory

GEO will submit to the COR or ICE designee a proposed inventory of intervention
equipment (e.g., weapons, munitions, chemical agents) intended for use during
performance of this contract within the required timeframe after contact award.

                         Acquisition of Transportation Assets

GEO Transport Inc. (GTI), a wholly-owned subsidiary of The GEO Group, Inc., will be
responsible for providing the critical transportation needs for this Center. Upon notice of
award, GTI will immediately reposition vehicles within the existing fleet to the Center.
GTI has enough vehicles in the existing fleet to ensure the availability of suitable
transportation options. Any new vehicles purchased will be energy efficient in order to
obtain the latest EPA ratings.

Generally, transport vans take approximately 90 days to receive from the date of order.
High capacity vehicles (transporters and buses) generally take 6 months to develop and
install the internal after-market safety and security equipment. Upon notice of award,
GTI will reposition ICE-compliant vehicles within our existing fleet in order to comply
with the transition schedule. GEO/GTI understands it may acquire additional vehicles as
necessary at no cost to the government. As mandated, all GTI provided vehicles will be
equipped with interior security features to include separation of detainees and officers in
accordance with ICE PBNDS.

                          Certification and Training of Staff

GEO will ensure appropriate staff training is completed and required certifications are
obtained and maintained throughout the duration of the contract, relevant to employee
assignments.

              GEO’s Plan to Identify and Mitigate Implementation Risk

GEO has extensive experience in the development and transitioning of existing or new
facilities. GEO’s risk mitigation process includes the extensive and direct involvement of
subject matter experts at the corporate level, regional level, and field level.

With respect to the operations, the major area of risk requiring mitigation relates to the
personnel necessary to operate the Center. We have identified the major risks associated
with personnel for this contract and provided our planned mitigation action in the table
below.
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                                 Phase-in Risk Mitigation
                                        Potential
                Risk                                              Mitigation Action
                                         Impact
                                                    Active recruitment activities using
Inadequate recruitment                   High       mainstream electronic media, as well as,
                                                    social media
                                                    Application of most recent DOL Wage
In adequate employee compensation        High
                                                    Determination
                                                    Establish schedule for submission of
Timely completion of background                     background clearances for new job
                                         High
clearances                                          applicants to ensure sufficient time for
                                                    ICE background clearance
                                                    Establish a schedule for all candidates
After Initiation approval is received
                                                    that have received initiation approval to
the candidates have 10 days to go
                                         High       come onsite and complete the EQIP. HR
online and complete their EQIP
                                                    will maintain the documents that are
application for background clearance
                                                    printed
                                                    Scheduling periodic meetings to
Receiving timely response from ICE
                                         High       facilitate progressive approvals of ICE
regarding facility reconfiguration
                                                    area reconfiguration
Receiving all ICE requested fixtures,
                                                    Confirming proper ordering and receipt
furniture and equipment (FF&E) on        High
                                                    of all requested ICE FF&E
a timely basis
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                                   Ramp-Down Plan

GEO will submit a Transition-out Plan two (2) months prior to the completion of the
period of performance of this contract to be approved by the COR. The Transition-Out
Plan will include plans for:
   • Inventory and orderly transfer of any government furnished equipment or property
   • Briefing on all in-progress and committed items
   • Any additional information required by other clauses contained in this contract

As a committed partner to ICE, GEO will fully support the transition of all requirements
to any successor to ensure no disruption in operational services.

GEO will work with ICE to depopulate the facilities within a 3-6 month timeframe,
subject to acceptance by ICE, after the expiration or termination of this Agreement. To
ensure an orderly transition from GEO’s management of the ICE operation, immediately
upon notification, the Facility Administrator will appoint a committee to coordinate
activities related to the transition of services.

The committee will consist of Facility Department Heads and/or representatives of the
following key functional areas:
    • Operations
    • Transportation
    • Health Services
    • Business Management/Finance
    • Security
    • Classification

Designated Corporate Staff from GEO’s Corporate and Regional offices will also
participate in the transition-planning process. Based on the ramp-down period there will
be an orderly depopulation of all detainees. During this period GEO will collaborate with
ICE to transport an agreed upon number of detainees each week to locations determined
by ICE until the facilities are totally depopulated.

ICE can be assured of GEO’s full cooperation and concentrated efforts to facilitate the
transition. GEO clearly demonstrated our ability to work in concert with ICE as well as
other vendors in previous transitions. Transition duties typically include, but are not
limited to, continuing full security operations during the ramp-down period, transferring
facility records, relocating staff to other locations within our company for continued
employment opportunities and appropriately storing all GEO-owned inventory,
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furnishings, and equipment. GEO will ensure all required facility paperwork will be in
proper order and freely provided to ICE, including detainee records, detainee health
records and applicable medications in accordance with PBNDS 2011.

Additionally, during the depopulation period GEO will provide to ICE a weekly
Operational Data/Metrics Summary which captures the week’s ADP and number of
transportation miles (including number of routes, number of miles per route, etc.). The
ADP information will be extracted from our daily census report and the transportation
and route information will be compiled from GTIs daily trip reports.
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                  I.4 Staffing Plan
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I. Demonstrated Technical/Management Capabilities
4. Staffing Plan


 The GEO Group, Inc. (GEO), has developed a comprehensive, innovative staffing
 plan that identifies the total work force that will successfully perform all services
 required under this contract.

Approach to Staffing – Total Workforce
GEO will provide highly qualified and motivated managerial, administrative, and
security personnel with the appropriate skill mix to intake, supervise, care for, discharge,
and transport detainees 24 hours per day, seven days per week, in accordance with the
Performance Work Statement (PWS), contract requirements and applicable standards,
including ACA and ICE PBNDS 2011 standards with 2016 revisions. GEO understands
the importance of a fully qualified and trained professional staff in appropriate numbers
to operate a safe and secure Processing Center.

The proposed staffing plans are subject to a 100% detainee occupancy level and are
further subject to vacancies due to vacations, holidays, illness or injury, initial and annual
training, absences under the Family and Medical Leave Act (FMLA), and other absences.
Whenever necessary, GEO will cover any vacant key positions by using overtime or part-
time assignments. At no time will the safety, well-being, or required detainee services
ever be compromised. The staffing plan provides for supervision of detainees in the
housing areas 24 hours per day, seven days a week. Additional Officers will provide
utility and supporting security functions. Shift Supervisors will be on duty 24 hours a day
to properly supervise on-duty Officers. Sufficient administrative staff will be available to
provide MIS, payroll, personnel, accounting and other support functions.

The attached staffing plan reflects GEO’s well-thought out and efficient strategy for
staffing each GEO-managed ICE Processing Center. This strategy provides the
appropriate skill mix to efficiently and effectively perform contract requirements at all
times. The staffing plan depicts the positions and man hour needs for each position in
place of a post-based staffing plan.

                      Please Site-Specific Staffing Plans – attached

GEO’s proposed staffing plans introduce operational efficiencies to each Center while
maintaining compliance with all PWS requirements and other applicable regulatory
standards. We have used our expertise and experience in developing efficient staffing
plans to ensure appropriate staffing levels have been planned in accordance with
generally accepted Processing Center management practices. Our staffing plans are based
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on the anticipation of full capacity of the facilities and will ensure Officers are able to
provide direct supervision to detainees as required.

Center Management and Supervision
The GEO Facility Administrator, along with Center department heads, will be
responsible for managerial and administrative duties required to assure the continuity of
operations. The Facility Administrator will have overall authority and responsibility for
on-site management and operation of the contract and interfacing with ICE CORs and/or
designated ICE Officers and the Contracting Officer on all contract-related matters. The
Facility Administrator will provide, either directly or through subordinate managers and
supervisors, oversight and direction to all GEO contractor personnel across all functional
areas.

GEO’s staffing plans deliver a streamlined, efficient organization with a ratio of
management to staff that demonstrates a span of control for effective oversight, control
and support to accomplish all PWS functions. Our bottom-up analysis determines the
staffing levels for each function. When the staffing levels are finalized for the various
posts, GEO staffing experts look closely at the type of work, the physical work site, and
other critical factors to analyze the number and level of managers or supervisors needed
to ensure effective operations. The staffing plans go through additional review by senior
management to reduce the staffing to the most efficient levels for providing the required
services.
The primary resource for the efficient operation of the Facilities, as with any Center, is
the staff. Personnel assigned to each Center will be highly trained professionals who
maintain order and control to ensure the health and safety of the detainees, the staff and
the public.

Center staff will be responsible for direct and indirect supervision of the detainee
population during their daily activities. Each Center will develop detainee supervision
procedures, consisting of rovers patrolling the hallways, walkways, and housing areas.
Continuous staff and detainee interaction will establish and help to maintain relationships
that produce a safe and orderly environment.

After a thorough analysis of the PWS, GEO has developed a comprehensive operational
plan, based on our experience with existing ICE operations, that establishes control
measures to prevent unauthorized egress and ingress. The operational plan will provide
24-hour security coverage of designated duty posts seven days per week 24 hours per
day.

No GEO employee will be allowed to enter on duty and/or access sensitive information
or systems without a favorable preliminary Fitness determination or final Fitness
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determination by the Office of Professional Responsibility, Personnel Security Unit
(OPR-PSU).

All GEO key personnel to perform duties under this contract will be approved by the
Contracting Officer. GEO will have key personnel employed and available for duty
before beginning contract performance. Any subsequent changes to key personnel will
meet these criteria and be approved in writing by the Contracting Officer.

Safety and Security
Safety, security, detainee services, and Center operations can only be assured by proper
selection, assignment, training and supervision of quality employees. All GEO employees
will receive safety and security training as part of their pre-service and in-service
training. Clerical staff, food service and maintenance personnel will be schooled in the
requirements and procedures of personal as well as Center safety and security. The
proposed staffing of each Center, in conjunction with our pre-service training and in-
service course work, offers ICE the most secure and economically conservative
operations that have proven to be capable in meeting client requirements.

GEO’s proposed staffing plan places emphasis on the safety and security of the detainees,
staff, each Center and the local community. GEO’s key approach to minimize risks to the
safety and security of these populations is to staff each Center with highly qualified and
trained personnel to provide full 24-hour coverage of designated security posts (including
control center), surveillance of detainees, and performance of all ancillary functions. This
training and post coverage will allow GEO to quickly respond to any change in skill set
requirements. Highly trained professional security personnel will conduct around-the-
clock supervision and regulation of detainee movement.

The Assistant Facility Administrator or Chief of Security will lead the security staff and
manage the security operations to ensure the safety and security of each Center, staff and
detainees is safeguarded and maintained.

Housing Officers, augmented by shift supervisory personnel, will oversee the housing
units. The housing units will be staffed 24 hours a day by Officers.

As described in further detail under Contingency/Emergency Staffing Resources in this
section, GEO has developed and maintains an internal corporate nation-wide staff
contingency plan, which includes a roster of individuals possessing similar expertise and
skills as those required for staff assigned to each Center. GEO will utilize this
contingency plan as needed to minimize staffing risks and ensure security coverage of
designated duty posts.
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The posting of Officers assigned to the public entrance, visitation area, control center,
intake section, recreation, escort/utility, and transportation will further enhance Center
security and minimize risk.

Deployment of staff will be established using Officer Assignment Rosters, by shift to
provide appropriate staff ratios consistent with the operational needs of each Center,
including considerations for requirements and risks related to overall security, food
service, programs, visitation, and medical care. Implementation of these rosters will
depend upon the operational requirements of each Center. A logical combination of the
security staff and the professional staff who provide support for business management,
human resources, information technology, case management, and maintenance, will
ensure deployment of personnel with the pertinent skills in all areas of each Center.

Staffing Risk Minimization
GEO’s three decades of experience in secure services management has enabled us to
confidently identify and mitigate risks associated with staffing a Processing Center. GEO
utilizes defined processes to respond to routine occurrences while allowing for flexibility
to manage ad hoc risks that may arise. Major staffing risk areas and recommended
approaches to minimize the probability and impact of these risks are outlined below:

Hiring Staffing Risks
   • Inability to attract qualified candidates
   • Discriminatory hiring practices
   • Hiring unsuitable candidates

GEO has a reputation for providing competitive salaries, comprehensive benefits, and
career stability. We are confident these benefits will have a positive impact on our ability
to recruit a suitable workforce. These highlights attract a large pool of applicants and
enable GEO to select the candidate best suited for each position.

GEO has an effective recruitment plan that has been carefully refined over the course of
our operations. Our recruitment efforts are designed to eliminate any potential for
discriminating against protected classes while ensuring we attract the top talent. We
conduct background checks on applicants which comply with ICE requirements and
applicable laws.

GEO has developed accurate job descriptions for all positions to ensure candidates are
given a proper ‘job preview’ before applying. Additionally, GEO offers starting salaries
that are competitive with the local market, making our organization attractive to potential
applicants.
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Employment Staffing Risks
  • High turnover/poor retention
  • Safety of working conditions
  • Discriminatory behavior/harassment
  • Improper disclosure of confidential information
  • Loss of Key Personnel

GEO ensures that employees are provided with adequate supervision and feedback on
their work performance. This supports employee development and morale, having a
positive impact on retention rates.

GEO facilities are operated in accordance with requirements of the Occupational Safety
and Health Administration (OSHA). Additionally, GEO focuses on workplace safety
during employee training sessions.

GEO provides staff with training to guard against workplace discrimination and
harassment of any kind. GEO will ensure each Center provides a viable means for
employees to report incidents of harassment or discrimination.

GEO employs proper controls to restrict access to physical and electronic records.
Employees with access to confidential records are subject to additional background
screening and are required to acknowledge in writing their understanding of the
confidential nature of certain records.

GEO develops a succession plan at each Center for all positions identified as “Key”.
Qualified replacements are identified within each Center organization or at other GEO
facilities and at GEO’s Corporate and Regional Offices. Successor candidates at each
Center will be cross-trained and cross-utilized to prepare them for quickly assuming the
“Key” position when needed.

Termination of Employment Risks
   • Potential property loss
   • Insider attacks

GEO ensures that exit interviews are conducted whenever possible upon employee
separation. We use this opportunity to learn about the employee’s experience with GEO
and how we may improve our organization. GEO deals fairly and equitably with all
employees and ensures that employee performance data is maintained.
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Identification and equipment belonging to GEO is retrieved. Access to electronic records
is restricted immediately upon separation. All terminations for cause are documented, and
records of terminations are maintained.

Contingency/Emergency Staffing Resources
While emergencies and other incidents may be minimized through sound management,
advance planning, alert staff and positive detainee relations, such incidents do occur in a
Processing Center environment. GEO understands the importance of, and will carefully
develop, response plans to manage events that interrupt the normal routine or
expectations of the daily life at each Center. The safety and security of the public, staff
and detainees is a primary motivation in the development of these plans.

The proposed staffing provides for 24-hour security coverage of designated duty posts
seven days per week 24 hours per day but also includes necessary relief factors to allow
for staff sick and annual leave, required training and other relevant contingencies.
Emergency plans, to ensure staffing levels are maintained above 95%, will include
processes for contacting and summoning off duty staff to each Center to provide
additional support to the on-duty staff in the event of emergencies. In addition, GEO will:

   •    Develop, in coordination with local agencies, necessary and appropriate response
        and contingency plans that set out clear levels of responsibilities and action to be
        taken
   •    Make these plans known and readily available to staff
   •    Thoroughly train all staff in the specific execution of the response and
        contingency plans
   •    Subject all plans, and the staff, to regular testing through exercise and practices
        and amend plans as necessary
   •    Cooperate closely with the ICE and local officials in the development, practice
        and implementation of the response and contingency plans

In the event additional assistance is needed, GEO will provide additional staff from other
GEO-operated facilities located across the country.

If other staff are deployed, those individuals will be from similar GEO facilities currently
contracting with and housing ICE detainees, thereby ensuring they have already
completed federal background clearance and are aware of ICE requirements and policies.

To meet such a potential extraordinary need, GEO has developed and maintains an
internal corporate nation-wide staff contingency plan which includes a roster of
individuals possessing similar expertise and skills as those required for staff assigned to
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each Center. Upon notification from the Contracting Officer, GEO can deploy additional
staff from this roster to each Center.

Personnel Staffing Requirements
Recruitment Plans
GEO has extensive experience in the recruitment, screening, hiring, training, and
management of Processing Center employees. GEO does not anticipate difficulties in
fulfilling the staffing requirements of this contract. Since 1984, GEO has refined its
human resource process, focusing on the unique needs of the secure services field. GEO
has developed and implemented its own recruitment website, creating an additional
avenue for information dissemination and recruiting purposes. GEO prides itself for
providing Equal Employment Opportunity (EEO), believing that a culturally diverse
detainee population is best served with a culturally diverse workforce that is sensitive to
cultural differences.

Local hiring is GEO’s focus for attracting and retaining the workforce. Individuals who
have made a commitment to the community are more likely to commit long-term to an
employer. It is recognized that there must be a reciprocal commitment by each Center to
the community. GEO is very proud of its record of hiring locally and being actively
involved in the local community.

GEO uses a variety of recruitment vehicles in order to source and hire the best
employees. These include referrals from government agencies, employee referrals,
diversity organizations, national industry organizations, and local community outreach
programs. Additionally, GEO uses both print and electronic media (internet, social
networks) to advertise our job openings.

Personnel Retention
Job satisfaction is a significant contributor to the retention of GEO staff. Through
improved job satisfaction, turnover has decreased significantly.

Senior Vice Presidents, Regional Vice Presidents, Facility Administrators, along with the
Corporate Human Resources department, recommend and implement various benefit
enhancements that improve job satisfaction.

GEO provides the following benefits:

    1. Comparable Wages based on salary surveys of similar positions within a 50-mile
       radius
    2. Health Benefits including five Medical coverage plans and two new minimum
       coverage plans, Dental and Vision coverage, Basic and Additional Life Insurance
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      and Accidental Death & Dismemberment, Spousal and Dependent Life Insurance,
      Short and Long Term Disability, Flexible Spending Accounts, and Voluntary
      Benefits such as Critical Illness, Whole Life Insurance, Accident Insurance and
      Legal/Identity Theft coverage
    3. Other Employee Benefit Programs including 50% company match of the first
       5% an employee contributes their 401(k), Paid Time Off, Sick Time, Holidays,
       Employee Stock Purchase Plan providing a 5% discount, Employee Assistance
       Program, Health and Wellness Programs, Bereavement Pay, Jury Duty Pay, and
       Professional Educational Leave
    4. Orientation, Training, Performance Appraisals, Recognition Awards and
       Career Development Opportunities
    5. Local, region and corporate sponsored Community and Social Events

GEO’s reputation, salaries, benefits, training and career opportunities allow GEO to
recruit individuals with the skills, education and drive to keep GEO at the forefront of
modern secure services practices and keep us in full compliance with all governmental
regulatory requirements relating to employment and personnel practices.

Per the PWS, GEO shall provide, through the COR, a Quarterly Report containing the
names of contractor employees who are active, pending hire, have departed within the
quarter or have had a legal name change (Submitted with documentation).

Training, Mentoring, and Career Development
GEO has long recognized that a highly trained work force is the key element to the
operation of a successful, safe and efficient Processing Center. GEO will utilize a
comprehensive training program in compliance with ACA Standards that is in accordance
with the training plan approved by ICE.

GEO has a Corporate Director of Employee Development responsible for the quality,
content and delivery of training, as well as for annual training topics and curricula
updating. Additionally, GEO has three Regional Training Managers who constantly
interact with Center personnel and communicate best practices from facilities across the
nation.

At each Center, a full-time Training Administrator, with experience in the management
of training programs, will oversee each Center’s training program, and a Training
Advisory Committee will meet quarterly to discuss specific training needs and
accomplishments. Each Center’s Training Advisory Committee will include the Training
Administrator; Human Resources Manager; Assistant Warden, Finance & Administration
Business Manager; other department heads; and a staff member selected by the Facility
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Administrator or the committee. As appropriate, the results of audits, compliance
reviews, and ICE concerns will be incorporated into local training.

GEO works in partnership with its state, federal, and multiple local clients to tailor
training programs to meet their specific standards and requirements. As a result of our
worldwide client base, GEO personnel are able to implement training best practices
gained from around the world. Annually, each Training Administrator will submit a
training plan to their Regional and Corporate Training Director for feedback, review and
approval. This training plan will be submitted to the Contract Monitor for final approval
prior to implementation.

GEO plans to utilize a Learning Management System (LMS) at each Center. This system
enables GEO to keep a catalogue of all training requirements listed by client including all
lesson plans and course learning objectives. The LMS provides an electronic database of
individual staff training and provides tracking of due dates to ensure that all staff receive
annual refresher or specialty training in accordance with ACA, GEO and ICE
requirements. The Corporate Director of Employee Development, Regional Training
Managers, and Contract Compliance auditors monitor the LMS for quality assurance.
This record management/tracking system will help to ensure that GEO employees meet
and maintain all certifications required by ICE.

The training process is designed to provide a professional, well-trained staff empowered
to respond to the needs of the operation. Empowered staff members have a higher
confidence and competence which enables them to improve their job performance and
satisfaction.

GEO utilizes a Field Training Officer program to mentor new Officers through their On-
The-Job Training hours. Certified Field Training Officers mentor and evaluate each new
Officer as they demonstrate proper job skills and techniques prior to being placed at their
shift duty assignment.

GEO encourages employee growth and career development. We offer a Tuition
Reimbursement Plan for employees with at least one year of service. The plan provides
for up to $1,000 a year for most out of pocket expenses for approved coursework related
to an employee’s job or department. This program demonstrates GEO’s dedication to
investing in our employees.

GEO offers career opportunities for staff with integrity, determination, professionalism,
and sound interpersonal skills. GEO prefers to promote from within when possible to
encourage long-term employee commitment and recognizable career paths within the
company.
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Employee Performance Standards
GEO employs a variety of methods to establish and reinforce an acceptable code of
conduct among our employees. All employees providing service under this contract will
be required to abide by standards of conduct established by ICE and GEO.

Setting Employee Performance Standards
During the new hire orientation process, employees are introduced to GEO’s standards of
employee conduct, compliance policies and procedures, workplace guidelines, and
company benefits. Additional training and guidance will be provided on an ongoing basis
by their supervisor.

GEO issues every employee a copy of the Employee Handbook. The Handbook outlines
general information and guidelines, and describes, in broad terms, company policies,
procedures, benefits, and other employment-related information. The Handbook is
updated annually, and every employee is required to sign an acknowledgement form.
This form certifies the employee’s receipt of the Employee Handbook, and signals
agreement to thoroughly read and review the document and to seek clarification for
questions regarding any information or guidelines. In part, the Employee Handbook
covers:

   • Sexual Harassment
   • Workplace Violence
   • Employee Discipline
   • Training & Development
   • Performance Evaluations

Maintaining Employee Performance
Employees are provided annual refresher training to ensure they continue to perform their
job duties in a professional and reliable manner. Additionally, employees participate in
annual performance evaluations to assess their performance and factors such as job
knowledge, integrity, aptitude, work habits, and ethics.

Employee Recognition Programs
As a means of recognizing employee service and dedication, the following certificates
and recognition are offered:
   • Circle of Excellence – for ideas to improve job performance
   • Certificate of Appreciation – for performance of a valued act or service to the
     Client or GEO
   • Certificate of Recognition – for outstanding service, courage, and initiative
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   • Certificate of Distinction – for exceptionally meritorious service beyond
     responsibilities
   • Service Awards – for completion of the first year of service and each fifth
     anniversary (i.e., 5, 10, 15, etc.)
   • Spot Bonus – cash awards given in various levels for outstanding performance
     beyond the call of duty

These commendations are presented to employees as a result of their distinguished
performance.

Additional recognition programs include:
  • Employee of the Quarter
   • Center Administrator of the Year
   • Employee of the Year
   • Women in Leadership Award (Annual)
   • Minority in Leadership Award (Annual)

Dealing with Underperforming Employees
Employees are expected to understand and comply with the standards of conduct set forth
in training and in GEO’s policies and procedures. In addition, employees are expected to
understand and comply with the terms and conditions of our client contracts. Supervisors,
in turn, are obligated to create an environment where deviations from behavior or
performance standards are addressed.

Supervisors should complete a historical “look-back” of the employee’s disciplinary
history to determine if the employee has received any prior disciplinary actions during
the 12-month period prior to the current infraction. A second occurrence resulting in
disciplinary action within this 12-month “look-back” period is considered to be more
severe and should be handled as such. All reported disciplinary actions and supporting
documents will become a permanent part of an employee’s personnel file.

The following are the various forms of progressive disciplinary actions that may be taken
based upon the severity of the infraction:
      Counseling – A discussion between an employee and their supervisor regarding
      their violation of a behavioral or performance standard, policy or procedure along
      with guidance or instructions from the supervisor for correcting the problem. All
      verbal counseling events will be documented.
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      Written Reprimand – When counseling was given for a violation and that
      violation is repeated, or for a more serious offense.

      Final Reprimand – The “Last Chance” for the employee to make immediate and
      sustained improvement in performance or behavior. When employees receive a
      Final Reprimand, a Disciplinary Probation will be imposed for a 12-month period
      following the date the Final Reprimand was issued.

      Dismissal – The result of a serious breach of a rule, performance standard,
      practice, policy procedure, or as a result of repeated disciplinary infraction.

GEO reserves the right to depart from this policy of progressive discipline and
immediately discharge any employee in its sole discretion.

Organizational Chart
An organizational chart which shows all proposed personnel from the staffing plan and
depicts the structure of planned operations at the Facilities has been provided as an
attachment at the end of this section.

               Please see site-specific Organizational Charts – attached
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Mesa Verde ICE Processing Center
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                  Staffing Plan
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                                    THE GEO GROUP INC
                                       MESA VERDE
                                         400 BEDS
                                      STAFFING PLAN


                                               Executive Office
                                                        NonShift   Shift 1   Shift 2   Shift 3   Relief   FTE

Facility Administrator                                    1.00                                   1.00     1.00
Training Administrator                                    1.00                                   1.00     1.00
Compliance Administrator                                  1.00                                   1.00     1.00
Fire & Safety/Grievance Manager                           1.00                                   1.00     1.00
HR Manager                                                1.00                                   1.00     1.00
Administrative Assistant/Receptionist-01020               1.00                                   1.00     1.00


                       Sub Total                          6.00      0.00      0.00      0.00              6.00




                                              Business / Support
                                                        NonShift   Shift 1   Shift 2   Shift 3   Relief   FTE

Business Manager                                          1.00                                   1.00     1.00
Bookkeeper-Accounting Clerk II-01012                      1.00                                   1.00     1.00
Computer Support Technician-14160                         1.00                                   1.00     1.00
Detainee Accounts Clerk-Accounting Clerk I-01011          2.00                                   1.00     2.00
Mailroom Clerk-General Clerk I-01111                      1.00                                   1.00     1.00
Contract Commissary Manager
Contract Commissary Clerk


                       Sub Total                          6.00      0.00      0.00      0.00              6.00
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                                    THE GEO GROUP INC
                                       MESA VERDE
                                         400 BEDS
                                      STAFFING PLAN

                                               Maintenance
                                                     NonShift   Shift 1   Shift 2   Shift 3   Relief   FTE

Maintenance Supervisor                                 1.00                                   1.00     1.00
Maintenance Technician-23370                           2.00                                   1.00     2.00




                       Sub Total                       3.00      0.00      0.00      0.00              3.00




                                              Food Service
                                                     NonShift   Shift 1   Shift 2   Shift 3   Relief   FTE

Food Service Manager                                   1.00                                   1.00     1.00
Cook Supervisor/Officer                                         3.00      3.00                1.00     6.00
Food Service /Maintenance Clerk-Gen Clerk I-01111      1.00                                   1.00     1.00


                       Sub-Total                       2.00      3.00      3.00      0.00              8.00
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                                    THE GEO GROUP INC
                                       MESA VERDE
                                         400 BEDS
                                      STAFFING PLAN

Health Care (contracted with Wellpath)
                                                NonShift   Shift 1   Shift 2   Shift 3   Relief   FTE

Health Services Administrator-RN                  1.00                                   1.00     1.00
Administrative Assistant                          1.00                                   1.00     1.00
Medical Records Technician                        1.00                                   1.00     2.00
Physician                                         1.00                                   1.00     1.00
Mid-Level                                         2.00                                   1.00     2.00
Dentist                                           0.50                                   1.00     0.50
Dental Assistant                                  0.50                                   1.00     0.50
Psychiatrist                                      0.30                                   1.00     0.30
Psychologist                                      1.00                                   1.00     1.00
RN                                                         2.00      1.00      1.00      1.67     6.68
LVN                                                        2.00      2.00      1.00      1.63     8.15


                        Sub Total                 8.30      4.00      3.00      2.00              24.13




                                         Programs
                                                NonShift   Shift 1   Shift 2   Shift 3   Relief   FTE

Programs/Volunteer Coordinator                    1.00                                   1.00     1.00
Chaplain                                          1.00                                   1.00     1.00
Case Manager                                      2.00                                   1.00     2.00
Library Technician-13058                          1.00                                   1.00     1.00
Recreation Specialist-28515                       1.00                                   1.00     1.00


                        Sub Total                 6.00      0.00      0.00      0.00              6.00




                                    Security Supervisors
                                                NonShift   Shift 1   Shift 2   Shift 3   Relief   FTE

Chief of Security                                 1.00                                   1.00     1.00
Shift Supervisor/Lieutenant                                1.00      1.00      1.00      1.67     5.00
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                                     THE GEO GROUP INC
                                        MESA VERDE
                                          400 BEDS
                                       STAFFING PLAN
Armory/Lockshop Sergeant (Conformed)                    1.00                                    1.00      1.00
Security Clerk-General Clerk I-01111                    1.00                                    1.00      1.00


                        Sub-Total                        3.00      1.00      1.00      1.00               8.00




                                          Detention Officer
                                                       NonShift   Shift 1   Shift 2   Shift 3   Relief    FTE


                                                                                                1.73
Control Room Officer                                              1.00      1.00      1.00      1.73     5.20
Dorm A / B Officer                                                1.00      1.00      1.00      1.73     5.20
Dorm C / D Officer                                                1.00      1.00      1.00      1.73     5.20
Dorm E / F Officer                                                1.00      1.00      1.00      1.73     5.20
Dorm G / H Officer (females)                                      1.00      1.00      1.00      1.73     5.20
Escort / Utility / Break Officer                        2.00      2.00      2.00      1.00      1.73     12.12
Lobby Officer                                                     1.00      1.00                1.73     3.46
Yard Officer                                            2.00                                    1.73     3.46
Intake / Release Officer                                3.00                                    1.73     5.20
Visitation Officer                                      1.00                                    1.73     1.73
Laundry Officer                                         1.00                                    1.20     1.20
Warehouse / Property Officer                            1.00                                    1.20     1.20
Medical Officer / 2nd Story Medical                     2.00                                    1.73     3.46
Medical Escort Officer                                  3.00                                    1.73     5.20
RHU Officer (NEW)                                                 1.00      1.00      1.00      1.73     5.20
Courtroom Officer (NEW)                                 1.00                                    1.20     1.20


                        Sub-Total                       16.00      9.00      9.00      7.00              69.42




                                              SUMMARY *

                                                       NonShift   Shift 1   Shift 2   Shift 3   Relief    FTE

Executive Office                                         6.00     0.00      0.00      0.00               6.00
Business / Support                                       6.00     0.00      0.00      0.00               6.00
Maintenance                                              3.00     0.00      0.00      0.00               3.00
Health Care (contracted with Wellpath)                   8.30     4.00      3.00      2.00               24.13
Programs                                                 6.00     0.00      0.00      0.00               6.00
Food Service                                             2.00     3.00      3.00      0.00               8.00
Security Supervisors                                     3.00     1.00      1.00      1.00               8.00
Detention Officer                                       16.00     9.00      9.00      7.00               69.42

                                         TOTAL STAFF    50.30     17.00     16.00     10.00              130.55
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Central Valley Modified Community
        Correctional Facility
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          Organizational Chart
                                                        Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 801 of 1402
                                                          United States Department of Homeland Security
                                                             U.S. Immigration & Customs Enforcement


                                                                            Corporate Headquarters
                                                                            Senior Vice President &
                                                                           President, Secure Services                                                                                       Solicitation No.: 70CDCR20R00000002
                                                                                                                                                                                               ICE Contract Detention Facilities
                                                                                                                                                                                                       DECEMBER 9, 2019
                                                                              Vice President,
                                                                                                                                                                                                      Organizational Chart
                                                                            Western Region Office
                                                                                                                                                                                               Requirement C: Mesa Verde IPC
                                                                            Director, Operations
                                                                            Western Region Office

                                                                                   Facility
                                                                                 Administrator

                                                                                                                Fire & Safety /                                                        Programs/
            Business           HR               Admin. Asst./                                                                            Compliance           Training                                        WELLPATH
                                                                                      Chief of                     Grievance                                                           Volunteer
            Manager          Manager            Receptionist                                                                            Administrator       Administrator
                                                                                      Security                     Manager                                                            Coordinator

 Bookkeeper                                                                                                                                                                 Chaplain                                HSA
                                                                                    Supervisory              Armory/                                                                                                RN
                       Mailroom        Food Service             Security                                                          Maintenance
                                                                                       Shift                 Lockshop
                        Clerk            Manager                 Clerk                                                             Supervisor
  Computer                                                                          Lieutenant               Sergeant
                                                                                                                                                                             Case                     Medical
Support Tech.                                                                                                                                                                                                             Administrative
                                                                                                                                          Maintenance                       Manager                   Records
                                Cook                                                                                                                                                                                        Assistant
                                                      Dorm                   Dorm            Control Room          Intake/Release          Technician                                                Technician
                              Supervisor
  Detainee                                             A/B                    E/F               Officer                Officer                                               Library
                             Food Service/
Accounts Clerk                                                                                                                                                             Technician                 Mid Level             Physician
                             Maintenance
                                                      Dorm                 RHU/SMU                 Dorm                 Medical                                                                       Provider
                                Clerk
 Commissary                                            C/D                  Officer                 G/H                 Officer                                            Recreation
  Manager                                                                                                                                                                   Specialist               Psychiatrist            Dentist
                                                                      Escort/Utility/
                                                      Lobby                                        Yard            Transportation
                                                                          Break
 Commissary                                           Officer                                     Officer              Officer
                                                                         Officer
   Clerk                                                                                                                                                                                                 RN                              Dental
                                                                       Warehouse/                                                                                                                                                       Assistant
                                                  Visitation                                      Laundry            Courtroom
                                                                        Property
                                                   Officer                                         Officer             Officer
                                                                         Officer
                                                                                                                                                                                                                           Psychologist



                                                                                                                                                                                                                               LVN



                                                                                                                                                                    KEY
                                                                                                                                                         Contract            Key
                                                                                                                                                        Personnel         Personnel
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                  Staffing Plan
                                The GEO Group, Inc.
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                                 CENTRAL VALLEY
                                     700 BEDS
                                  STAFFING PLAN


               Executive Office
                                                      NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Facility Administrator                                  1.00                                  1.00    1.00
Assistant Facility Administrator                        1.00                                  1.00    1.00
HR Manager                                              1.00                                  1.00    1.00
Compliance Administrator                                1.00                                  1.00    1.00
PREA Administrator/Grievance/Disability Coordinator     1.00                                  1.00    1.00
Training Administrator                                  1.00                                  1.00    1.00
Fire & Safety Manager                                   1.00                                  1.00    1.00
Executive Secretary II-01312                            1.00                                  1.00    1.00


Sub Total                                               8.00    0.00      0.00      0.00              8.00




                    Business
                                                      NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Business Manager                                        1.00                                  1.00    1.00
Computer Support Technician-14160                       1.00                                  1.00    1.00
HR Specialist-Personnel Assistant III-01263             1.00                                  1.00    1.00
Bookkeeper-Accounting Clerk III-01013                   1.00                                  1.00    1.00
Detainee Banking Clerk-Accounting Clerk II-01012        1.00                                  1.00    1.00
Accounts Payable/Payroll Clerk-Acct Clerk III-01013     1.00                                  1.00    1.00
Mailroom Clerk-General Clerk II-01112                   2.00                                  1.00    2.00
Warehouse Clerk-General Clerk II-01112                  1.00                                  1.00    1.00
Receptionist-01460                                      1.00                                  1.00    1.00
Janitor-11150                                           2.00                                  1.00    2.00
Contract Commissary


Sub Total                                              12.00    0.00      0.00      0.00              12.00




                  Maintenance
                                                      NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Facility Maintenance Manager                            1.00                                  1.00    1.00
General Maint Tech-23370                                2.00                                  1.00    2.00




Sub Total                                               3.00    0.00      0.00      0.00              3.00
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                   Food Service
                                                  NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Food Service Manager                                1.00                                  1.00    1.00
Cook II-07042                                               2.50      2.50                1.60    8.00
Food Serv/Maintenance-Accounting Clerk II-01012     1.00                                  1.00    1.00


Sub-Total                                           2.00    2.50      2.50      0.00              10.00




Health Care (contracted with Wellpath)
                                                  NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Health Services Administrator                       1.00                                  1.00    1.00
Director of Nursing - RN                            1.00                                  1.00    1.00
Administrative Assistant                            1.00                                  1.00    1.00
Nurse Practitioner/PA                               2.00                                  1.00    2.00

Registered Nurse II (IDC/Clinical)                  1.00                                 1.00     1.00
Registered Nurse II                                         2.00      2.00      1.00     1.67     8.35
Licensed Vocational Nurse III                               2.00      2.00      1.00     1.63     8.15
Medical Records Technician                          2.00                                 1.00     2.00

Physician                                            40    hours per week                         1.00
Psychologist                                         40    hours per week                         1.00
Dentist                                              20    hours per week                         0.50
Dental Assistant                                     20    hours per week                         0.50
Psychiatrist                                         12    hours per week                         0.30

Sub Total                                           8.00    4.00      4.00      2.00              27.80



                     Programs
                                                  NonShift Shift 1   Shift 2   Shift 3   Relief   FTE

Programs/Volunteers Coordinator                     1.00                                 1.00     1.00
Chaplain                                            1.00                                 1.00     1.00
Classification / Case Manager (Housing A/B)         2.00                                 1.00     2.00
Records Clerk-General Clerk II-01112                2.00                                 1.00     2.00
Library Technician-13058                            1.00                                 1.00     1.00
Recreation Specialist-28515                         1.00                                 1.00     1.00


Sub Total                                           8.00    0.00      0.00      0.00              8.00
           Security
         Case         Supervisors
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                                                         NonShift Shift 1   Shift 2   Shift 3   Relief    FTE

Supervisory Detention Captain (Chief of Security)          1.00                                 1.00      1.00
Administrative Lieutenant / Transport Lieutenant           2.00                                 1.00      2.00
Intake Lt                                                  1.00                                 1.00      1.00
Supervisory Detention Shift Lieutenant                              1.00     1.00      1.00     1.67      5.00
Security / Transport Clerk-General Clerk I-01111           2.00                                 1.00      2.00
Armory/Locksmith Officer                                   1.00                                 1.00      1.00


Sub-Total                                                  7.00     1.00     1.00      1.00              12.00




            Detention Officers-27040
                                                         NonShift   Days    Evening Night       Relief    FTE

Central Control                                                     2.00     2.00      1.00     1.732     8.66
Perimeter Patrol                                                    1.00     1.00      1.00     1.732     5.20
Housing A                                                           4.00     4.00      4.00     1.732    20.78
Housing B                                                           4.00     4.00      4.00     1.732    20.78
RHU                                                                 2.00     2.00      1.00     1.732     8.66
Intake / Release                                                    2.00     2.00      1.00     1.732     8.66
Medical                                                             1.00     1.00      1.00     1.732     5.20
Recreation                                                          2.00     2.00               1.732     6.93
Escort / Utility                                                    3.00     2.00      2.00     1.732    12.12
Visitation                                                          2.00                        1.732     3.46
Laundry                                                             1.00                        1.200     1.20
Property                                                   1.00                                 1.200     1.20
Programs                                                   1.00                                 1.200     1.20
Front Desk                                                          1.00     1.00               1.600     3.20
Kitchen                                                             1.00     1.00               1.732     3.46
VTC / Bailiff                                              2.00                                 1.200     2.40
Medical Escort Officer                                     4.00                                 1.732     6.93
rounding                                                                                                 -0.05

Sub-Total                                                  8.00     26.00    22.00    15.00              120.00



                                             SUMMARY
                                                         NonShift Shift 1   Shift 2   Shift 3   Relief    FTE

                                      Executive Office    8.00      0.00      0.00    0.00                8.00
                                             Business     12.00     0.00      0.00    0.00               12.00
                                         Maintenance      3.00      0.00      0.00    0.00                3.00
                Health Care (contracted with Wellpath)    8.00      4.00      4.00    2.00               27.80
                                             Programs     8.00      0.00      0.00    0.00                8.00
                                        Food Service      2.00      2.50      2.50    0.00               10.00
                                 Security Supervisors     7.00      1.00      1.00    1.00               12.00
                              Detention Officers-27040    8.00      26.00    22.00    15.00              120.00

                                       TOTAL STAFF        56.00     33.50    29.50    18.00              200.80
Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 806 of 1402




          Organizational Chart
                                                            Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 807 of 1402
                                                              United States Department of Homeland Security
                                                                 U.S. Immigration & Customs Enforcement


                                                                              Corporate Headquarters
                                                                              Senior Vice President &
                                                                             President, Secure Services                                                                                             Solicitation No.: 70CDCR20R00000002
                                                                                                                                                                                                       ICE Contract Detention Facilities
                                                                                                                                                                                                               DECEMBER 9, 2019
                                                                                  Vice President,
                                                                                                                                                                                                              Organizational Chart
                                                                                Western Region Office
                                                                                                                                                                                                    Requirement C: Central Valley MCCF
                                                                                Director, Operations
                                                                                Western Region Office

                                                                                        Facility
                                                                                      Administrator

                         PREA/Grievance/                                                                                                                                                   Programs/
              Business                       HR               Executive               Assistant Facility            Fire & Safety     Compliance                 Training                                                WELLPATH
                            Disability                                                                                                                                                     Volunteer
              Manager      Coordinator     Manager            Secretary                Administrator                  Manager        Administrator             Administrator
                                                                                                                                                                                          Coordinator

                                              HR                                                                                      Facility                                  Chaplain                                Health Services
 Warehouse                                 Specialist                  Food Service                          Mailroom                                                                                                   Administrator
                                                                                                                                    Maintenance
   Clerk                                                                 Manager                              Clerk
                                                                                                                                     Manager
                                                                                                                                                General                    Classification/
                                                                                                                                                                                Case                                                 Medical
Bookkeeper                                                   Cook II                                                                          Maintenance                                                          DON
                                                                                                                                                                              Manager                                                Records
                                                                                                                                               Technician                                                                           Technician
                                                          Food Service/
  Computer                                                                                  Chief of                                             Janitor                        Records
                                                          Maint./Acctg.                                                                                                                                         RN-II              Psychiatrist
Support Tech.                                                                               Security                                                                             Clerk
                                                             Clerk

                                                                   Security/              Supervisory                                 Armory/                                    Library
 AP/Payroll                                                                                                   Administrative                              Intake               Technician                      Nurse                Physician
                                                                   Transport                 Shift                                   Locksmith
   Clerk                                                                                                       Lieutenant                              Lieutenant                                           Practitioner
                                                                     Clerk                Lieutenant                                   Officer
                                                                                                                                                                               Recreation
  Detainee                                                                                             Perimeter                                           Property             Specialist                      RN-II             Psychologist
Banking Clerk                                            Housing           Central Control                                    Housing                       Officer                                         (IDC/Clinical)
                                                                                                         Patrol
                                                           A                  Officer                                           B
                                                                                                        Officer
Receptionist                                                                                                                                                                                                    LVN                  Dentist
                                                        RHU/SMU                Medical                Intake/              Escort/Utility                                                                        III
                                                         Officer               Officer            Release Officer             Officer

                                                                                                                                                                                                                                           Dental
                                                        Recreation             Kitchen                 Front Desk            Programs                                                                                                     Assistant
                                                          Officer              Officers                 Officers              Officer

                                                                                                                                                                                  KEY                                             Administrative
                                                    Transportation             Visitation               Laundry              VTC/Bailiff                                                                                            Assistant
                                                        Officer                 Officer                  Officer              Officer                                  Contract            Key
                                                                                                                                                                      Personnel         Personnel
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Golden State Modified Community
      Correctional Facility
Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 809 of 1402




                  Staffing Plan
                                The GEO Group, Inc.
         Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 810 of 1402
                                  GOLDEN STATE
                                     700 BEDS
                                  STAFFING PLAN


               Executive Office
                                                      NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Facility Administrator                                  1.00                                  1.00    1.00
Assistant Facility Administrator                        1.00                                  1.00    1.00
HR Manager                                              1.00                                  1.00    1.00
Compliance Administrator                                1.00                                  1.00    1.00
PREA Administrator/Grievance/Disability Coordinator     1.00                                  1.00    1.00
Training Administrator                                  1.00                                  1.00    1.00
Fire & Safety Manager                                   1.00                                  1.00    1.00
Executive Secretary II-01312                            1.00                                  1.00    1.00


Sub Total                                               8.00    0.00      0.00      0.00              8.00




                    Business
                                                      NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Business Manager                                        1.00                                  1.00    1.00
Computer Support Technician-14160                       1.00                                  1.00    1.00
HR Specialist-Personnel Assistant III-01263             1.00                                  1.00    1.00
Bookkeeper-Accounting Clerk III-01013                   1.00                                  1.00    1.00
Detainee Banking Clerk-Accounting Clerk II-01012        1.00                                  1.00    1.00
Accounts Payable/Payroll Clerk-Acct Clerk III-01013     1.00                                  1.00    1.00
Mailroom Clerk-General Clerk II-01112                   2.00                                  1.00    2.00
Warehouse Clerk-General Clerk II-01112                  1.00                                  1.00    1.00
Receptionist-01460                                      1.00                                  1.00    1.00
Janitor-11150                                           2.00                                  1.00    2.00
Contract Commissary


Sub Total                                              12.00    0.00      0.00      0.00              12.00




                  Maintenance
                                                      NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Facility Maintenance Manager                            1.00                                  1.00    1.00
General Maint Tech-23370                                2.00                                  1.00    2.00




Sub Total                                               3.00    0.00      0.00      0.00              3.00
               Food Service Document 64-1 Filed 07/21/23 Page 811 of 1402
         Case 1:22-cv-00586-CDB
                                                  NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Food Service Manager                                1.00                                  1.00    1.00
Cook II-07042                                               2.50      2.50                1.60    8.00
Food Serv/Maintenance-Accounting Clerk II-01012     1.00                                  1.00    1.00


Sub-Total                                           2.00    2.50      2.50      0.00              10.00




Health Care (contracted with Wellpath)
                                                  NonShift Shift 1   Shift 2   Shift 3   Relief   FTE
Health Services Administrator                       1.00                                  1.00    1.00
Director of Nursing - RN                            1.00                                  1.00    1.00
Administrative Assistant                            1.00                                  1.00    1.00
Nurse Practitioner/PA                               2.00                                  1.00    2.00

Registered Nurse II (IDC/Clinical)                  1.00                                 1.00     1.00
Registered Nurse II                                         2.00      2.00      1.00     1.67     8.35
Licensed Vocational Nurse III                               2.00      2.00      1.00     1.63     8.15
Medical Records Technician                          2.00                                 1.00     2.00

Physician                                            40    hours per week                         1.00
Psychologist                                         40    hours per week                         1.00
Dentist                                              20    hours per week                         0.50
Dental Assistant                                     20    hours per week                         0.50
Psychiatrist                                         12    hours per week                         0.30

Sub Total                                           8.00    4.00      4.00      2.00              27.80



                     Programs
                                                  NonShift Shift 1   Shift 2   Shift 3   Relief   FTE

Programs/Volunteers Coordinator                     1.00                                 1.00     1.00
Chaplain                                            1.00                                 1.00     1.00
Classification / Case Manager (Housing A/B)         2.00                                 1.00     2.00
Records Clerk-General Clerk II-01112                2.00                                 1.00     2.00
Library Technician-13058                            1.00                                 1.00     1.00
Recreation Specialist-28515                         1.00                                 1.00     1.00


Sub Total                                           8.00    0.00      0.00      0.00              8.00
           Security
         Case         Supervisors
              1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 812 of 1402
                                                         NonShift Shift 1   Shift 2   Shift 3   Relief    FTE

Supervisory Detention Captain (Chief of Security)          1.00                                 1.00      1.00
Administrative Lieutenant / Transport Lieutenant           2.00                                 1.00      2.00
Intake Lt                                                  1.00                                 1.00      1.00
Supervisory Detention Shift Lieutenant                              1.00     1.00      1.00     1.67      5.00
Security / Transport Clerk-General Clerk I-01111           2.00                                 1.00      2.00
Armory/Locksmith Officer                                   1.00                                 1.00      1.00


Sub-Total                                                  7.00     1.00     1.00      1.00              12.00




            Detention Officers-27040
                                                         NonShift   Days    Evening Night       Relief    FTE

Central Control                                                     2.00     2.00      1.00     1.732     8.66
Perimeter Patrol                                                    1.00     1.00      1.00     1.732     5.20
Housing A                                                           4.00     4.00      4.00     1.732    20.78
Housing B                                                           4.00     4.00      4.00     1.732    20.78
RHU                                                                 2.00     2.00      1.00     1.732     8.66
Intake / Release                                                    2.00     2.00      1.00     1.732     8.66
Medical                                                             1.00     1.00      1.00     1.732     5.20
Recreation                                                          2.00     2.00               1.732     6.93
Escort / Utility                                                    3.00     2.00      2.00     1.732    12.12
Visitation                                                          2.00                        1.732     3.46
Laundry                                                             1.00                        1.200     1.20
Property                                                   1.00                                 1.200     1.20
Programs                                                   1.00                                 1.200     1.20
Front Desk                                                          1.00     1.00               1.600     3.20
Kitchen                                                             1.00     1.00               1.732     3.46
VTC / Bailiff                                              2.00                                 1.200     2.40
Medical Escort Officer                                     4.00                                 1.732     6.93
rounding                                                                                                 -0.05

Sub-Total                                                  8.00     26.00    22.00    15.00              120.00



                                             SUMMARY
                                                         NonShift Shift 1   Shift 2   Shift 3   Relief    FTE

                                      Executive Office    8.00      0.00      0.00    0.00                8.00
                                             Business     12.00     0.00      0.00    0.00               12.00
                                         Maintenance      3.00      0.00      0.00    0.00                3.00
                Health Care (contracted with Wellpath)    8.00      4.00      4.00    2.00               27.80
                                             Programs     8.00      0.00      0.00    0.00                8.00
                                        Food Service      2.00      2.50      2.50    0.00               10.00
                                 Security Supervisors     7.00      1.00      1.00    1.00               12.00
                              Detention Officers-27040    8.00      26.00    22.00    15.00              120.00

                                       TOTAL STAFF        56.00     33.50    29.50    18.00              200.80
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          Organizational Chart
                                                            Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 814 of 1402
                                                              United States Department of Homeland Security
                                                                 U.S. Immigration & Customs Enforcement


                                                                              Corporate Headquarters
                                                                              Senior Vice President &
                                                                             President, Secure Services                                                                                            Solicitation No.: 70CDCR20R00000002
                                                                                                                                                                                                      ICE Contract Detention Facilities
                                                                                                                                                                                                              DECEMBER 9, 2019
                                                                                  Vice President,
                                                                                                                                                                                                             Organizational Chart
                                                                                Western Region Office
                                                                                                                                                                                                    Requirement C: Golden State MCCF
                                                                                Director, Operations
                                                                                Western Region Office

                                                                                        Facility
                                                                                      Administrator

                         PREA/Grievance/                                                                                                                                                      Programs/
              Business                       HR               Executive               Assistant Facility            Fire & Safety     Compliance                 Training                                                   WELLPATH
                            Disability                                                                                                                                                        Volunteer
              Manager      Coordinator     Manager            Secretary                Administrator                  Manager        Administrator             Administrator
                                                                                                                                                                                             Coordinator

                                              HR                                                                                      Facility                                     Chaplain                            Health Services
 Warehouse                                 Specialist                  Food Service                          Mailroom                                                                                                  Administrator
                                                                                                                                    Maintenance
   Clerk                                                                 Manager                              Clerk
                                                                                                                                     Manager
                                                                                                                                                General                         Classification/
                                                                                                                                                                                     Case                                            Medical
Bookkeeper                                                   Cook II                                                                          Maintenance                                                         DON
                                                                                                                                                                                   Manager                                           Records
                                                                                                                                               Technician                                                                           Technician
                                                          Food Service/
  Computer                                                                                  Chief of                                             Janitor                           Records
                                                          Maint./Acctg.                                                                                                                                        RN-II               Psychiatrist
Support Tech.                                                                               Security                                                                                Clerk
                                                             Clerk

                                                                   Security/              Supervisory                                 Armory/                                       Library
 AP/Payroll                                                                                                   Administrative                              Intake                  Technician                   Nurse                Physician
                                                                   Transport                 Shift                                   Locksmith
   Clerk                                                                                                       Lieutenant                              Lieutenant                                           Practitioner
                                                                     Clerk                Lieutenant                                   Officer
                                                                                                                                                                                  Recreation
  Detainee                                                                                             Perimeter                                           Property                Specialist                  RN-II              Psychologist
Banking Clerk                                            Housing           Central Control                                    Housing                       Officer                                        (IDC/Clinical)
                                                                                                         Patrol
                                                           A                  Officer                                           B
                                                                                                        Officer
Receptionist                                                                                                                                                                                                   LVN                     Dentist
                                                        RHU/SMU                Medical                Intake/              Escort/Utility                                                                       III
                                                         Officer               Officer            Release Officer             Officer

                                                                                                                                                                                                                                          Dental
                                                        Recreation             Kitchen                 Front Desk            Programs                                                                                                    Assistant
                                                          Officer              Officers                 Officers              Officer

                                                                                                                                                                                                                                 Administrative
                                                    Transportation             Visitation               Laundry              VTC/Bailiff                               KEY                                                         Assistant
                                                        Officer                 Officer                  Officer              Officer
                                                                                                                                                            Contract            Key
                                                                                                                                                           Personnel         Personnel
Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 815 of 1402
Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 816 of 1402
                                  Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 817 of 1402
ICE: Detention Services Cost Statement (DSCS)
This Detention Services Cost Statement is mandatory for all applicants requesting a new detention contract or housing rate modification to
complete this document in its entirety. This Excel document contains various tab that contain schedules that will assist ICE’s Contracting
Officers with their fair and reasonable determinations and negotiations. The document will also assist detention facilities in developing a
complete and supportable proposal.

PURPOSE
The purpose of this document is to provide a clear and consistent framework for providing pricing information for ICE detention facilities.
Criteria used to evaluate fixed per diem rates based on actual and allowable costs will be in accordance with the Federal Acquisition
Regulations ("FAR") for contracts with private vendors. We recommend that personnel completing this document are well trained to ensure
compliance with the applicable portions of the FAR and the Service Contract Act.

BASIC GUIDELINES
The fixed per diem rate will be computed on the basis of actual, allowable, and allocable direct and indirect costs associated with the operation
of the facility and that benefit federal prisoners during the most recent accounting period.

SCHEDULES TO BE COMPLETED
Only the light brown highlighted field can be modified by the preparers. All other fields have been locked, and the password will not be
provided to the preparers. The following is a listing of tabs or schedules included in this document and a brief overview of each:

1. Cover Page
This includes a summary of the outputs from the various cost categories that are covered on the back tabs, as well as the basic information
about the facility in order to identify it.

2. Staffing Input A - The preparer must enter current year data for the benefits and taxes paid to staff at the facility, as well as an abbreviated
staffing plan that describes the posts in the facility.

3. Staffing Input B - The preparer must enter current year base labor rates for each position in the facility.

4. Staffing Output - The preparer does not need to enter data on this tab. It serves to summarize the results of the rate build-up on tabs 2 and
3.
5.Facility Costs - The preparer Case
                                  must 1:22-cv-00586-CDB
                                        enter current year andDocument
                                                               prior year 64-1  Filed
                                                                          data for    07/21/23
                                                                                   costs          Page 818
                                                                                         directly related     of 1402
                                                                                                          to the  lease (if applicable) and upkeep of
the detention facility. For equipment lease and operations and maintenance costs, these charges must be itemized in order to provide greater
detail on their composition.

6. Other Direct Costs (ODCs) - The preparer must enter the other operating costs associated with the acceptable categories of other costs in
running a detention facility. For detainee welfare, these costs should be itemized by category (e.g., bedding, toiletries, etc.).

7. G&A - The preparer must enter the costs associated with the various categories included in the administration of its facility. The preparer
should itemize the taxes shown on the sheet, and for FAR-based contracts, should reference FAR Section XXX in order to verify that these
taxes are allowable.

8. Contract Services – The preparer must provide the costs for consultant and contract services to the extent that they benefit federal
prisoners. The preparer should not show any costs here that are also included in their reported Direct Costs, but only those that are charged
by a third party subcontractor.
      Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 819 of 1402


Cover Page Instructions
Complete the light brown cells with the facility's identifying information and population data below. All white
cells calculate automatically from other sheets

A. Identifying Information
Facility name                                                       Mesa Verde
Contractor's Name (Operator)                                        GEO Group
Total facility size (square feet)                                                      53,000
B. Capacity
                                          Total capacity                                  400
                              ADP (Last twelve months)                                    379
                                    Current population                                    380
C. Time Frame (Fiscal Year)                                    1/1/2019 ‐ 12/31/2019
D. Financial Information
                                                                                             % of contract
Staffing                                                  $                    11,258,015.72             54%
Facility                                                  $                       593,863.33               3%
Other Direct Costs                                        $                       651,862.77               3%
                                    Total Operating Costs $                    12,503,741.81             60%

Depreciation & Interest                               $                         1,204,280.84                 6%
Contracted Services                                   $                         4,052,608.49                20%
G&A                                                   $                         2,403,186.22                12%
                            Total Non‐Operating Costs $                         7,660,075.54                37%

Profit                                                     $                      612,847.64                 3%
TOTAL CONTRACT VALUE                                       $                   20,776,665.00               100%

Bed‐day rate at total capacity                            $                           142.31
Bed‐day rate ADP (Last twelve months)                     $                           150.00
Bed‐day rate at current population                        $                           149.74
Vendor's proposed rate(s)/price(s)* Tier I ►              (80%) 320 Guarantee $163.38
                                                Tier II ► 321‐400 incremental $58.00
                                               Tier III ►
                                               Tier IV ►

Total profit margin                                                                           3%

Transportation Costs (if applicable)                       $                              ‐
* Include Tiered rates in additional cells as needed
Staffing Input A Instructions
Complete the light brown cells with SCA/CBA data and staffing plans below. Please include descriptions for any "other" benefits in cells N10‐P17. The white cells will calculate automatically with the data from this tab and Staffing Input B. You do not need to use all rows.

SCA/CBA Instructions
Complete the light brown cells in the table below, reflecting each applicable SCA/CBA, or the benefits for each type of staff at the facility


   SCA/CBA specific hours and
          burdening
                                          Annual
                                           Total              Holidays                Vacation                   Sick                  Training
                                                                                                                                                                Hours

                                                                                                                                                                     Guardmount
                                                                                                                                                                                                                   Non
                                                                                                                                                                                                                   Prod.
                                                                                                                                                                                                                                   Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 820 of 1402
                                                                                                                                                                                                                                              Productive                 Overtime                        H&W
                                                                                                                                                                                                                                                                                                                               Benefits and other hourly labor rate burden
                                                                                                                                                                                                                                                                                                                                                                                Burden

                                                                                                                                                                                                                                                                                                                         Retirement Other Benefit 1 Other Benefit 2 Other Benefit 3 Other Charges                   FICA
                                                                                                                                                                                                                                                                                                                                                                                                                                      Taxes ($ per Hour)
                                                                                                                                                                                                                                                                                                                                                                                                                                    FUTA           SUTA      Worker's comp
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Overtime
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       OT Premium
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Day shift
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Shift premiums
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Swing shift
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          2
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Graveyard shift
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                3
Exempt                                         2,080                                                                                                                                                                                  ‐             2,080                                                           5%           2%                                                                            $           3.63 $        0.03 $       0.21 $             0.65
WD Admin                                       2,080                                                                                                                                                                                  ‐             2,080                                                          19%           2%                                                                            $           2.17 $        0.03 $       0.21 $             0.63
WD Officer 1                                   2,080                       80                     143                       56                      64                                     56                                         399           1,681                                   42                     11%           2%                                                                            $           3.74 $        0.03 $       0.21 $             1.52                           1.5
WD Officer 2                                   2,080                       80                     107                       56                      64                                     40                                         347           1,733                                   42                     11%           2%                                                                            $           3.74 $        0.03 $       0.21 $             1.52                           1.5
Shift                                          2,080                       80                     133                       56                      64                                 ‐                                              333           1,747                                   42                      8%           2%                                                                            $           3.58 $        0.03 $       0.21 $             1.47
Medical Exempt (subcontractor)                 2,080                                                                                                                                                                                  ‐             2,080
Medical WD (subcontractor)                     2,080                                                                                                                                                                                  ‐             2,080

Staffing List Instructions

Complete the full position staffing lists below for all four categories (professional, event, fixed, transportation), as applicable. The descriptions of each role type are below.

Description of professional roles                                                                                                                                                               Description of event roles                                                                                                                                                                                                                                Description of fixed posts                                                                                                                                                                                                                                             Description of transportation roles
Administrative, support, or managerial roles that are essential to the operation of the facility though not directly tied to a detainee‐facing                                                  Positions that are essential to the execution of an operational function that is not required to occur for the entirety of an 8 hour shift for 5‐7 days per week, e.g., meals, recreation, visitation, court, laundry.                                    Positions that are essential to maintain a presence or operation for a full shift for 5‐7 days per week, e.g., desk operations, gate guard, perimeter patrol.                                                                                                          Positions required for the execution or immediate availability of detainee transportation from the proposed facility to another location.
function. These roles do not obtain shift premiums or have a relief factor applied.

Professional roles                                                                                                                                                                              Event roles (e.g., dinner, recreation, active use of law library)                                                                                                                                                                                 Fixed posts                                                                                                                                                                                                                                                                    Transportation roles
Role                               Position count Est. wages           Est. benefits          Est. taxes           Est. cost                          Detention Officer? (Y/N)                  Event                                       Shift            Position                            Position Count          Days/Week Duration (hrs) Est. FTE                Est. wages       Est. benefits Est. taxes Est. cost         Detention OfShift                          Post desc.                   Post count        Position               Days/week                 Hrs/shift         Est. FTE    Est. wages                Est. benefits               Est. taxes               Est. cost             Detention OffShift     Post desc.                                   Post count       Position                     Days/week Hrs/shift Est. FTE       Est. wages   Est. benefits   Est. taxes   Est. cost   Detention Officer? (Y
Facility Administrator                        1.00 $        130,000.00 $             9,732.93 $           9,393.43 $                       149,126.35 N                                         Yard Officer                                               1 Detention Officer 1                                  2.00           7               8                 3.46    $    314,289.68 $ 38,381.53 $ 39,619.80 $       392,291.01 Y
Training Administrator                        1.00 $        100,006.40 $             7,487.35 $           9,393.43 $                       116,887.17 N                                         Intake / Release Officer                                   1 Detention Officer 1                                  3.00           7               8                 5.20    $    471,434.53 $ 57,572.29 $ 59,429.69 $       588,436.51 Y
Compliance Administrator                      1.00 $        100,006.40 $             7,487.35 $           9,393.43 $                       116,887.17 N                                         Visitation Officer                                         1 Detention Officer 1                                  1.00           7               8                 1.73    $    157,144.84 $ 19,190.76 $ 19,809.90 $       196,145.50 Y
Fire & Safety/Grievance Manager               1.00 $        100,006.40 $             7,487.35 $           9,393.43 $                       116,887.17 N                                         Laundry Officer                                            1 Detention Officer 2                                  1.00           5               8                 1.20    $    108,872.58 $ 13,295.63 $ 13,724.67 $       135,892.89 Y                                        1 Control Room Officer                      1.00 Detention Officer 1                          7                 8        1.73   $            157,144.84   $               19,190.76   $            19,809.90   $           196,145.50 Y
HR Manager                                    1.00 $         63,668.80 $             4,766.80 $           9,393.43 $                        77,829.02 N                                         Warehouse / Property Officer                               1 Detention Officer 2                                  1.00           5               8                 1.20    $    108,872.58 $ 13,295.63 $ 13,724.67 $       135,892.89 Y                                        2 Control Room Officer                      1.00 Detention Officer 1                          7                 8        1.73   $            157,144.84   $               19,190.76   $            19,809.90   $           196,145.50 Y
Administrative Assistant/Reception            1.00 $         58,531.20 $           12,378.99 $            6,319.61 $                        77,229.80 N                                         Medical Officer / 2nd Story Medical                        1 Detention Officer 1                                  2.00           7               8                 3.46    $    314,289.68 $ 38,381.53 $ 39,619.80 $       392,291.01 Y                                        3 Control Room Officer                      1.00 Detention Officer 1                          7                 8        1.73   $            157,144.84   $               19,190.76   $            19,809.90   $           196,145.50 Y
Business Manager                              1.00 $        111,009.60 $             8,311.14 $           9,393.43 $                       128,714.17 N                                                                                                                                                                                                                                                                                                                        1 Dorm A / B Officer                        1.00 Detention Officer 1                          7                 8        1.73   $            157,144.84   $               19,190.76   $            19,809.90   $           196,145.50 Y
Bookkeeper‐Accounting Clerk II‐010            1.00 $         35,006.40 $             7,403.64 $           6,319.61 $                        48,729.65 N                                         Courtroom Officer                                          1 Detention Officer 2                                  1.00             5                 8             1.20   $    108,872.58    $    13,295.63    $   13,724.67    $   135,892.89 Y                               2 Dorm A / B Officer                        1.00 Detention Officer 1                          7                 8        1.73   $            157,144.84   $               19,190.76   $            19,809.90   $           196,145.50 Y
Computer Support Technician‐1416              1.00 $         53,144.00 $           11,239.63 $            6,319.61 $                        70,703.24 N                                         Cook Supervisor/Officer                                    1 Cook Supervisor/Officer                              1.80             7                 8             3.00   $    248,040.00    $    25,487.30    $   32,984.22    $   306,511.53 N                               3 Dorm A / B Officer                        1.00 Detention Officer 1                          7                 8        1.73   $            157,144.84   $               19,190.76   $            19,809.90   $           196,145.50 Y
Detainee Accounts Clerk‐Accountin             2.00 $         62,358.40 $           13,188.42 $           12,639.22 $                        88,186.04 N                                         Cook Supervisor/Officer                                    2 Cook Supervisor/Officer                              1.80             7                 8             3.00   $    248,040.00    $    25,487.30    $   32,984.22    $   306,511.53 N                               1 Dorm C / D Officer                        1.00 Detention Officer 1                          7                 8        1.73   $            157,144.84   $               19,190.76   $            19,809.90   $           196,145.50 Y
Mailroom Clerk‐General Clerk I‐011            1.00 $         30,784.00 $             6,510.63 $           6,319.61 $                        43,614.24 N                                         Shift Supervisor/Lieutenant                                1 Shift Supervisor/Lieutenant                          1.00             7                 8             1.67   $    166,677.33    $    17,126.90    $   18,324.57    $   202,128.80 N                               2 Dorm C / D Officer                        1.00 Detention Officer 1                          7                 8        1.73   $            157,144.84   $               19,190.76   $            19,809.90   $           196,145.50 Y
Maintenance Supervisor                        1.00 $         52,020.80 $           11,002.08 $            6,319.61 $                        69,342.49 N                                         Shift Supervisor/Lieutenant                                2 Shift Supervisor/Lieutenant                          1.00             7                 8             1.67   $    166,677.33    $    17,126.90    $   18,324.57    $   202,128.80 N                               3 Dorm C / D Officer                        1.00 Detention Officer 1                          7                 8        1.73   $            157,144.84   $               19,190.76   $            19,809.90   $           196,145.50 Y
Maintenance Technician‐23370                  2.00 $         81,785.60 $           17,297.15 $           12,639.22 $                       111,721.97 N                                         Shift Supervisor/Lieutenant                                3 Shift Supervisor/Lieutenant                          1.00             7                 8             1.67   $    166,677.33    $    17,126.90    $   18,324.57    $   202,128.80 N                               1 Dorm E / F Officer                        1.00 Detention Officer 1                          7                 8        1.73   $            157,144.84   $               19,190.76   $            19,809.90   $           196,145.50 Y
Food Service Manager                          1.00 $        100,006.40 $             7,487.35 $           9,393.43 $                       116,887.17 N                                         Escort / Utility / Break Officer                           1 Detention Officer 1                                  4.00             7                 8             6.93   $    628,579.37    $    76,763.06    $   79,239.59    $   784,582.02 Y                               2 Dorm E / F Officer                        1.00 Detention Officer 1                          7                 8        1.73   $            157,144.84   $               19,190.76   $            19,809.90   $           196,145.50 Y
                                                                                                                                                                                                Escort / Utility / Break Officer                           2 Detention Officer 1                                  2.00             7                 8             3.46   $    314,289.68    $    38,381.53    $   39,619.80    $   392,291.01 Y                               3 Dorm E / F Officer                        1.00 Detention Officer 1                          7                 8        1.73   $            157,144.84   $               19,190.76   $            19,809.90   $           196,145.50 Y
Food Service /Maintenance Clerk‐G                1.00   $          30,784.00    $            6,510.63   $            6,319.61    $          43,614.24 N                                         Escort / Utility / Break Officer                           3 Detention Officer 1                                  1.00             7                 8             1.73   $    157,144.84    $    19,190.76    $   19,809.90    $   196,145.50 Y                               1 Dorm G / H Officer (female                1.00 Detention Officer 1                          7                 8        1.73   $            157,144.84   $               19,190.76   $            19,809.90   $           196,145.50 Y
Programs/Volunteer Coordinator                   1.00   $         100,006.40    $            7,487.35   $            9,393.43    $         116,887.17 N                                         Medical Escort Officer                                     1 Detention Officer 1                                  3.00             7                 8             5.20   $    471,434.53    $    57,572.29    $   59,429.69    $   588,436.51 Y                               2 Dorm G / H Officer (female                1.00 Detention Officer 1                          7                 8        1.73   $            157,144.84   $               19,190.76   $            19,809.90   $           196,145.50 Y
Chaplain                                         1.00   $          51,001.60    $            3,818.42   $            9,393.43    $          64,213.45 N                                                                                                                                                                                                                                                                                                                        3 Dorm G / H Officer (female                1.00 Detention Officer 1                          7                 8        1.73   $            157,144.84   $               19,190.76   $            19,809.90   $           196,145.50 Y
Case Manager                                     2.00   $         174,803.20    $           36,969.79   $           12,639.22    $         224,412.22 N
Library Technician‐13058                         1.00   $          40,497.60    $            8,564.99   $            6,319.61    $          55,382.20 N
Recreation Specialist‐28515                      1.00   $          41,267.20    $            8,727.76   $            6,319.61    $          56,314.57 N
Chief of Security                                1.00   $         111,009.60    $            8,311.14   $            9,393.43    $         128,714.17 N                                                                                                                                                                                                                                                                                                                        1 Lobby Officer                             1.00 Detention Officer 1                          7                 8        1.73 $              157,144.84 $                 19,190.76 $              19,809.90 $             196,145.50 Y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               2 Lobby Officer                             1.00 Detention Officer 1                          7                 8        1.73 $              157,144.84 $                 19,190.76 $              19,809.90 $             196,145.50 Y
Armory/Lockshop Sergeant (Confor                 1.00 $             87,401.60 $             18,484.90 $              6,319.61 $            112,206.11 N                                                                                                                                                                                                                                                                                                                        1 RHU Officer                               1.00 Detention Officer 1                          7                 8        1.73 $              157,144.84 $                 19,190.76 $              19,809.90 $             196,145.50 Y
Security Clerk‐General Clerk I‐01111             1.00 $             30,201.60 $              6,387.45 $              6,319.61 $             42,908.66 N                                                                                                                                                                                                                                                                                                                        2 RHU Officer                               1.00 Detention Officer 1                          7                 8        1.73 $              157,144.84 $                 19,190.76 $              19,809.90 $             196,145.50 Y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               3 RHU Officer                               1.00 Detention Officer 1                          7                 8        1.73 $              157,144.84 $                 19,190.76 $              19,809.90 $             196,145.50 Y

Health Services Administrator‐RN                 1.00                                                                                                    N
Administrative Assistant                         1.00                                                                                                    N
MRC                                              2.00                                                                                                    N
Physician                                        1.00                                                                                                    N
Mid‐Level                                        2.00                                                                                                    N
Dentist                                          1.00                                                                                                    N
Dental Hygienist                                 1.00                                                                                                    N
Dental Assistant                                 1.00                                                                                                    N
Psychiatrist                                     1.00                                                                                                    N
Psychologist                                     1.00                                                                                                    N
RN                                               5.60                                                                                                    N
LVN                                              4.20                                                                                                    N
X‐Ray Technician                                 1.00                                                                                                    N
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Staffing Input B Instructions
Complete the light brown cells below, listing all unique positions (using the exact position titles as l
hourly labor rate. You do not need to use all rows. Please note that Column C below applies to SCA




Position description                                                  CBA
Facility Administrator                                               Exempt
Training Administrator                                               Exempt
Compliance Administrator                                             Exempt
Fire & Safety/Grievance Manager                                      Exempt
HR Manager                                                           Exempt
Administrative Assistant/Receptionist‐01020                          WD Admin
Business Manager                                                     Exempt
Bookkeeper‐Accounting Clerk II‐01012                                 WD Admin
Computer Support Technician‐14160                                    WD Admin
Detainee Accounts Clerk‐Accounting Clerk I‐01011                     WD Admin
Mailroom Clerk‐General Clerk I‐01111                                 WD Admin
Maintenance Supervisor                                               WD Admin
Maintenance Technician‐23370                                         WD Admin
Food Service Manager                                                 Exempt
Cook Supervisor/Officer                                              Shift
Food Service /Maintenance Clerk‐Gen Clerk I‐01111                    WD Admin
Programs/Volunteer Coordinator                                       Exempt
Chaplain                                                             Exempt
Case Manager                                                         WD Admin
Library Technician‐13058                                             WD Admin
Recreation Specialist‐28515                                          WD Admin
Chief of Security                                                    Exempt
Shift Supervisor/Lieutenant                                          Shift
Armory/Lockshop Sergeant (Conformed)                                 WD Admin
Security Clerk‐General Clerk I‐01111                                 WD Admin
Detention Officer 1                                                  WD Officer 1
Detention Officer 2                                                  WD Officer 2

Health Services Administrator‐RN                                     Medical (subcontractor)
Administrative Assistant                                             Medical (subcontractor)
MRC                                                                  Medical (subcontractor)
Physician                                                            Medical (subcontractor)
Mid‐Level                                                            Medical (subcontractor)
Dentist                                                              Medical (subcontractor)
Dental Hygienist                                                     Medical (subcontractor)
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Dental Assistant                                Medical (subcontractor)
Psychiatrist                                    Medical (subcontractor)
Psychologist                                    Medical (subcontractor)
RN                                              Medical (subcontractor)
LVN                                             Medical (subcontractor)
X‐Ray Technician                                Medical (subcontractor)
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 isted on tab Staffing Input A), their SCA/CBA, company, and unburdened
A as well as CBA, eventhough the title only states CBA.




                                                             Base rate
     Detention Officer? (Y/N)      Company                   Labor rate         H&W         Retirement
               N                  Prime Contractor         $        62.50   $    3.43   $           1.25
               N                  Prime Contractor         $        48.08   $    2.64   $           0.96
               N                  Prime Contractor         $        48.08   $    2.64   $           0.96
               N                  Prime Contractor         $        48.08   $    2.64   $           0.96
               N                  Prime Contractor         $        30.61   $    1.68   $           0.61
               N                  Prime Contractor         $        28.14   $    5.39   $           0.56
               N                  Prime Contractor         $        53.37   $    2.93   $           1.07
               N                  Prime Contractor         $        16.83   $    3.22   $           0.34
               N                  Prime Contractor         $        25.55   $    4.89   $           0.51
               N                  Prime Contractor         $        14.99   $    2.87   $           0.30
               N                  Prime Contractor         $        14.80   $    2.83   $           0.30
               N                  Prime Contractor         $        25.01   $    4.79   $           0.50
               N                  Prime Contractor         $        19.66   $    3.76   $           0.39
               N                  Prime Contractor         $        48.08   $    2.64   $           0.96
               N                  Prime Contractor         $        39.75   $    3.29   $           0.80
               N                  Prime Contractor         $        14.80   $    2.83   $           0.30
               N                  Prime Contractor         $        48.08   $    2.64   $           0.96
               N                  Prime Contractor         $        24.52   $    1.35   $           0.49
               N                  Prime Contractor         $        42.02   $    8.05   $           0.84
               N                  Prime Contractor         $        19.47   $    3.73   $           0.39
               N                  Prime Contractor         $        19.84   $    3.80   $           0.40
               N                  Prime Contractor         $        53.37   $    2.93   $           1.07
               N                  Prime Contractor         $        48.08   $    3.98   $           0.96
               N                  Prime Contractor         $        42.02   $    8.05   $           0.84
               N                  Prime Contractor         $        14.52   $    2.78   $           0.29
                Y                 Prime Contractor         $        42.35   $    4.48   $           0.85
                Y                 Prime Contractor         $        42.35   $    4.48   $           0.85

                 N                Subcontractor                                 #N/A          #N/A
                 N                Subcontractor                                 #N/A          #N/A
                 N                Subcontractor                                 #N/A          #N/A
                 N                Subcontractor                                 #N/A          #N/A
                 N                Subcontractor                                 #N/A          #N/A
                 N                Subcontractor                                 #N/A          #N/A
                 N                Subcontractor                                 #N/A          #N/A
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    N             Subcontractor                  #N/A       #N/A
    N             Subcontractor                  #N/A       #N/A
    N             Subcontractor                  #N/A       #N/A
    N             Subcontractor                  #N/A       #N/A
    N             Subcontractor                  #N/A       #N/A
    N             Subcontractor                  #N/A       #N/A
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                                                                                      Labor rate
                                 Burdening
    Other Benefit 1     Other Benefit 2    Other Benefit 3       Other charges       Total Benefits
$                 ‐   $               ‐  $               ‐   $               ‐   $               4.68
$                 ‐   $               ‐  $               ‐   $               ‐   $               3.60
$                 ‐   $               ‐  $               ‐   $               ‐   $               3.60
$                 ‐   $               ‐  $               ‐   $               ‐   $               3.60
$                 ‐   $               ‐  $               ‐   $               ‐   $               2.29
$                 ‐   $               ‐  $               ‐   $               ‐   $               5.95
$                 ‐   $               ‐  $               ‐   $               ‐   $               4.00
$                 ‐   $               ‐  $               ‐   $               ‐   $               3.56
$                 ‐   $               ‐  $               ‐   $               ‐   $               5.40
$                 ‐   $               ‐  $               ‐   $               ‐   $               3.17
$                 ‐   $               ‐  $               ‐   $               ‐   $               3.13
$                 ‐   $               ‐  $               ‐   $               ‐   $               5.29
$                 ‐   $               ‐  $               ‐   $               ‐   $               4.16
$                 ‐   $               ‐  $               ‐   $               ‐   $               3.60
$                 ‐   $               ‐  $               ‐   $               ‐   $               4.08
$                 ‐   $               ‐  $               ‐   $               ‐   $               3.13
$                 ‐   $               ‐  $               ‐   $               ‐   $               3.60
$                 ‐   $               ‐  $               ‐   $               ‐   $               1.84
$                 ‐   $               ‐  $               ‐   $               ‐   $               8.89
$                 ‐   $               ‐  $               ‐   $               ‐   $               4.12
$                 ‐   $               ‐  $               ‐   $               ‐   $               4.20
$                 ‐   $               ‐  $               ‐   $               ‐   $               4.00
$                 ‐   $               ‐  $               ‐   $               ‐   $               4.94
$                 ‐   $               ‐  $               ‐   $               ‐   $               8.89
$                 ‐   $               ‐  $               ‐   $               ‐   $               3.07
$                 ‐   $               ‐  $               ‐   $               ‐   $               5.33
$                 ‐   $               ‐  $               ‐   $               ‐   $               5.33

        #N/A                #N/A                #N/A                 #N/A                #N/A
        #N/A                #N/A                #N/A                 #N/A                #N/A
        #N/A                #N/A                #N/A                 #N/A                #N/A
        #N/A                #N/A                #N/A                 #N/A                #N/A
        #N/A                #N/A                #N/A                 #N/A                #N/A
        #N/A                #N/A                #N/A                 #N/A                #N/A
        #N/A                #N/A                #N/A                 #N/A                #N/A
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#N/A            #N/A            #N/A            #N/A            #N/A
#N/A            #N/A            #N/A            #N/A            #N/A
#N/A            #N/A            #N/A            #N/A            #N/A
#N/A            #N/A            #N/A            #N/A            #N/A
#N/A            #N/A            #N/A            #N/A            #N/A
#N/A            #N/A            #N/A            #N/A            #N/A
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                                        Taxes                                         Fully burdened
    FICA          FUTA         SUTA        Worker's comp          Total taxes       Fully burdened rate
$     3.63    $     0.03   $     0.21   $              0.65   $            4.52   $                 71.70
$     3.63    $     0.03   $     0.21   $              0.65   $            4.52   $                 56.20
$     3.63    $     0.03   $     0.21   $              0.65   $            4.52   $                 56.20
$     3.63    $     0.03   $     0.21   $              0.65   $            4.52   $                 56.20
$     3.63    $     0.03   $     0.21   $              0.65   $            4.52   $                 37.42
$     2.17    $     0.03   $     0.21   $              0.63   $            3.04   $                 37.13
$     3.63    $     0.03   $     0.21   $              0.65   $            4.52   $                 61.88
$     2.17    $     0.03   $     0.21   $              0.63   $            3.04   $                 23.43
$     2.17    $     0.03   $     0.21   $              0.63   $            3.04   $                 33.99
$     2.17    $     0.03   $     0.21   $              0.63   $            3.04   $                 21.20
$     2.17    $     0.03   $     0.21   $              0.63   $            3.04   $                 20.97
$     2.17    $     0.03   $     0.21   $              0.63   $            3.04   $                 33.34
$     2.17    $     0.03   $     0.21   $              0.63   $            3.04   $                 26.86
$     3.63    $     0.03   $     0.21   $              0.65   $            4.52   $                 56.20
$     3.58    $     0.03   $     0.21   $              1.47   $            5.29   $                 49.12
$     2.17    $     0.03   $     0.21   $              0.63   $            3.04   $                 20.97
$     3.63    $     0.03   $     0.21   $              0.65   $            4.52   $                 56.20
$     3.63    $     0.03   $     0.21   $              0.65   $            4.52   $                 30.87
$     2.17    $     0.03   $     0.21   $              0.63   $            3.04   $                 53.95
$     2.17    $     0.03   $     0.21   $              0.63   $            3.04   $                 26.63
$     2.17    $     0.03   $     0.21   $              0.63   $            3.04   $                 27.07
$     3.63    $     0.03   $     0.21   $              0.65   $            4.52   $                 61.88
$     3.58    $     0.03   $     0.21   $              1.47   $            5.29   $                 58.31
$     2.17    $     0.03   $     0.21   $              0.63   $            3.04   $                 53.95
$     2.17    $     0.03   $     0.21   $              0.63   $            3.04   $                 20.63
$     3.74    $     0.03   $     0.21   $              1.52   $            5.50   $                 53.18
$     3.74    $     0.03   $     0.21   $              1.52   $            5.50   $                 53.18

    #N/A          #N/A         #N/A            #N/A                 #N/A                   #N/A
    #N/A          #N/A         #N/A            #N/A                 #N/A                   #N/A
    #N/A          #N/A         #N/A            #N/A                 #N/A                   #N/A
    #N/A          #N/A         #N/A            #N/A                 #N/A                   #N/A
    #N/A          #N/A         #N/A            #N/A                 #N/A                   #N/A
    #N/A          #N/A         #N/A            #N/A                 #N/A                   #N/A
    #N/A          #N/A         #N/A            #N/A                 #N/A                   #N/A
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#N/A     #N/A    #N/A         #N/A           #N/A            #N/A
#N/A     #N/A    #N/A         #N/A           #N/A            #N/A
#N/A     #N/A    #N/A         #N/A           #N/A            #N/A
#N/A     #N/A    #N/A         #N/A           #N/A            #N/A
#N/A     #N/A    #N/A         #N/A           #N/A            #N/A
#N/A     #N/A    #N/A         #N/A           #N/A            #N/A
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                                                                               Ann
       Overtime            Base                        Non‐productive hours
OT premium      OT rate    Total    Holidays    Vacation     Sick     Training
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080          80         133       56            64
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080          80         133        56           64
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         ‐    $      ‐      2,080         ‐            ‐       ‐             ‐
         1.5 $     63.53    2,080          80         143       56            64
         1.5 $     63.53    2,080          80         107       56            64

   #N/A          #N/A      #N/A      #N/A        #N/A        #N/A       #N/A
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   #N/A          #N/A      #N/A      #N/A        #N/A        #N/A       #N/A
   #N/A          #N/A      #N/A      #N/A        #N/A        #N/A       #N/A
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  Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 830 of 1402

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             Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 831 of 1402




nual hours
                        Hours        Hours          Overtime            Base
    Guardmount        Productive    Overtime          Cost           Cost per FTE
             ‐              2,080          ‐      $        ‐     $       149,126.35
             ‐              2,080          ‐      $        ‐     $       116,887.17
             ‐              2,080          ‐      $        ‐     $       116,887.17
             ‐              2,080          ‐      $        ‐     $       116,887.17
             ‐              2,080          ‐      $        ‐     $        77,829.02
             ‐              2,080          ‐      $        ‐     $        77,229.80
             ‐              2,080          ‐      $        ‐     $       128,714.17
             ‐              2,080          ‐      $        ‐     $        48,729.65
             ‐              2,080          ‐      $        ‐     $        70,703.24
             ‐              2,080          ‐      $        ‐     $        44,093.02
             ‐              2,080          ‐      $        ‐     $        43,614.24
             ‐              2,080          ‐      $        ‐     $        69,342.49
             ‐              2,080          ‐      $        ‐     $        55,860.99
             ‐              2,080          ‐      $        ‐     $       116,887.17
             ‐              1,747            42   $        ‐     $       102,170.51
             ‐              2,080          ‐      $        ‐     $        43,614.24
             ‐              2,080          ‐      $        ‐     $       116,887.17
             ‐              2,080          ‐      $        ‐     $        64,213.45
             ‐              2,080          ‐      $        ‐     $       112,206.11
             ‐              2,080          ‐      $        ‐     $        55,382.20
             ‐              2,080          ‐      $        ‐     $        56,314.57
             ‐              2,080          ‐      $        ‐     $       128,714.17
             ‐              1,747            42   $        ‐     $       121,277.28
             ‐              2,080          ‐      $        ‐     $       112,206.11
             ‐              2,080          ‐      $        ‐     $        42,908.66
              56            1,681            42   $   2,642.64   $       113,248.43
              40            1,733           42    $   2,642.64   $       113,248.43

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  Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 832 of 1402

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        Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 833 of 1402




                                                             Per 5 day position
FTE/5 day position        Wages/5 day position         Benefits/5 day position
                     1.00 $              130,000.00    $                     9,732.93
                     1.00 $              100,006.40    $                     7,487.35
                     1.00 $              100,006.40    $                     7,487.35
                     1.00 $              100,006.40    $                     7,487.35
                     1.00 $                63,668.80   $                     4,766.80
                     1.00 $                58,531.20   $                    12,378.99
                     1.00 $              111,009.60    $                     8,311.14
                     1.00 $                35,006.40   $                     7,403.64
                     1.00 $                53,144.00   $                    11,239.63
                     1.00 $                31,179.20   $                     6,594.21
                     1.00 $                30,784.00   $                     6,510.63
                     1.00 $                52,020.80   $                    11,002.08
                     1.00 $                40,892.80   $                     8,648.57
                     1.00 $              100,006.40    $                     7,487.35
                     1.19 $                98,428.57   $                    10,114.01
                     1.00 $                30,784.00   $                     6,510.63
                     1.00 $              100,006.40    $                     7,487.35
                     1.00 $                51,001.60   $                     3,818.42
                     1.00 $                87,401.60   $                    18,484.90
                     1.00 $                40,497.60   $                     8,564.99
                     1.00 $                41,267.20   $                     8,727.76
                     1.00 $              111,009.60    $                     8,311.14
                     1.19 $              119,055.24    $                    12,233.50
                     1.00 $                87,401.60   $                    18,484.90
                     1.00 $                30,201.60   $                     6,387.45
                     1.24 $              112,246.32    $                    13,707.69
                     1.20 $              108,872.58    $                    13,295.63

         #N/A                       #N/A                           #N/A
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         #N/A                       #N/A                           #N/A
         #N/A                       #N/A                           #N/A
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         #N/A                       #N/A                           #N/A
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Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 834 of 1402

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        Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 835 of 1402




                                         Cost basis

Taxes/5 day position          Cost/5 day position         FTE/7 day position
$                  9,393.43   $             149,126.35                      1.40
$                  9,393.43   $             116,887.17                      1.40
$                  9,393.43   $             116,887.17                      1.40
$                  9,393.43   $             116,887.17                      1.40
$                  9,393.43   $               77,829.02                     1.40
$                  6,319.61   $               77,229.80                     1.40
$                  9,393.43   $             128,714.17                      1.40
$                  6,319.61   $               48,729.65                     1.40
$                  6,319.61   $               70,703.24                     1.40
$                  6,319.61   $               44,093.02                     1.40
$                  6,319.61   $               43,614.24                     1.40
$                  6,319.61   $               69,342.49                     1.40
$                  6,319.61   $               55,860.99                     1.40
$                  9,393.43   $             116,887.17                      1.40
$                13,088.98    $             121,631.56                      1.67
$                  6,319.61   $               43,614.24                     1.40
$                  9,393.43   $             116,887.17                      1.40
$                  9,393.43   $               64,213.45                     1.40
$                  6,319.61   $             112,206.11                      1.40
$                  6,319.61   $               55,382.20                     1.40
$                  6,319.61   $               56,314.57                     1.40
$                  9,393.43   $             128,714.17                      1.40
$                13,088.98    $             144,377.71                      1.67
$                  6,319.61   $             112,206.11                      1.40
$                  6,319.61   $               42,908.66                     1.40
$                14,149.93    $             140,103.93                      1.73
$                13,724.67    $             135,892.89                      1.68

           #N/A                       #VALUE!                              0.00
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Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 836 of 1402

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        Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 837 of 1402




                                   Per 7 day position
    Wages/7 day position         Benefits/7 day position          Taxes/7 day position
$               182,000.00   $                   13,626.10    $                13,150.80
$               140,008.96   $                   10,482.28    $                13,150.80
$               140,008.96   $                   10,482.28    $                13,150.80
$               140,008.96   $                   10,482.28    $                13,150.80
$                89,136.32   $                     6,673.52   $                13,150.80
$                81,943.68   $                   17,330.58    $                 8,847.46
$               155,413.44   $                   11,635.60    $                13,150.80
$                49,008.96   $                   10,365.09    $                 8,847.46
$                74,401.60   $                   15,735.48    $                 8,847.46
$                43,650.88   $                     9,231.89   $                 8,847.46
$                43,097.60   $                     9,114.88   $                 8,847.46
$                72,829.12   $                   15,402.91    $                 8,847.46
$                57,249.92   $                   12,108.00    $                 8,847.46
$               140,008.96   $                   10,482.28    $                13,150.80
$               137,800.00   $                   14,159.61    $                18,324.57
$                43,097.60   $                     9,114.88   $                 8,847.46
$               140,008.96   $                   10,482.28    $                13,150.80
$                71,402.24   $                     5,345.79   $                13,150.80
$               122,362.24   $                   25,878.86    $                 8,847.46
$                56,696.64   $                   11,990.99    $                 8,847.46
$                57,774.08   $                   12,218.86    $                 8,847.46
$               155,413.44   $                   11,635.60    $                13,150.80
$               166,677.33   $                   17,126.90    $                18,324.57
$               122,362.24   $                   25,878.86    $                 8,847.46
$                42,282.24   $                     8,942.43   $                 8,847.46
$               157,144.84   $                   19,190.76    $                19,809.90
$               152,421.61   $                   18,613.88    $                19,214.54

           #N/A                          #N/A                            #N/A
           #N/A                          #N/A                            #N/A
           #N/A                          #N/A                            #N/A
           #N/A                          #N/A                            #N/A
           #N/A                          #N/A                            #N/A
           #N/A                          #N/A                            #N/A
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Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 838 of 1402

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         Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 839 of 1402




    Cost/7 day position
$              208,776.89
$              163,642.04
$              163,642.04
$              163,642.04
$              108,960.63
$              108,121.72
$              180,199.83
$               68,221.51
$               98,984.53
$               61,730.23
$               61,059.93
$               97,079.48
$               78,205.38
$              163,642.04
$              170,284.18
$               61,059.93
$              163,642.04
$               89,898.83
$              157,088.55
$               77,535.08
$               78,840.40
$              180,199.83
$              202,128.80
$              157,088.55
$               60,072.13
$              196,145.50
$              190,250.04

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     Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 841 of 1402


Total staffing cost   $              11,258,015.72

Staffing plan summary
FTEs                                             129
 Detention Officers                               69
 Other                                            60
 Wages                 $                9,039,540.96
 Benefits              $                1,108,534.43
 Taxes                 $                1,109,940.33

Detention Officers
                      Professional                     Event
FTE Count                                        ‐                       35
Annual cost           $                          ‐     $       3,938,297.75
   Wages              $                          ‐     $       3,155,224.91
   Benefits           $                          ‐     $         385,320.66
   Taxes              $                          ‐     $         397,752.19

Non‐Detention Officers
                      Professional                     Event
FTE Count                                         49                     11
Annual cost           $                 2,177,398.42   $       1,219,409.45
   Wages              $                 1,745,307.20   $         996,112.00
   Benefits           $                   237,043.19   $         102,355.29
   Taxes              $                   195,048.03   $         120,942.16
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Fixed                     Total
                     35                      69
$          3,922,910.10   $        7,861,207.85
$          3,142,896.85   $        6,298,121.76
$            383,815.29   $          769,135.95
$            396,197.96   $          793,950.14



Fixed                     Total
                    ‐                        60
$                   ‐     $        3,396,807.87
$                   ‐     $        2,741,419.20
$                   ‐     $          339,398.48
$                   ‐     $          315,990.19
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Total Facility Costs                 $                593,863.33

Facility Instructions


Complete the light brown cells below, as well as the required itemizations (marked by the
asterisks). Please also enter the prior year values. The percentage change will automatically
calculate in Column E, and will color red if there is an increase greater than 10%. The
Government may require further documentation to justify these increases. If any buildings or
equipment is depreciated rather than leased, please enter the information required by the
Depreciation & Interest tab (#6).

                                   Current year $                      Prior year        % change
           Building lease or rent                                                                   0%
               Equipment lease* $                        44,906.52 $ 44,026.00                      2%
                         Utilities $                    348,093.43 $ 334,783.00                     4%
   Operations and maintenance* $                        200,863.38 $ 196,480.58                     2%
*For items with an asterisk, please provide itemize charges in the space provided below

Major equipment leased
Major Equipment Instructions
Enter the lease costs for major equipment, as well as a brief description.

Description                         Cost                              Prior year cost




      63017 Rent‐Storage           $                       2,445.96    $     2,398.00
      63025 Lease‐Office Equipme $                        24,695.22    $    24,211.00
      63035 Lease‐Vehicles (non tr $                      17,765.34    $    17,417.00
Total                              $                      44,906.52    $    44,026.00

Operations and maintenance costs
Operations and Maintenance Instructions

Enter the costs to maintain the facility (e.g., supplies), as well as the costs from last year.

Description                         Cost                            Prior year cost
Maintenance                          $                    80,924.05 $ 78,893.00
Repair                               $                    78,917.99 $ 77,370.58
Professional Fees                    $                    41,021.34 $ 40,217.00




Total                                $                  200,863.38     $ 196,480.58
      Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 844 of 1402


Total depreciation and interest              $                           1,204,280.84

Depreciation & Interest Instructions


Enter the information in the light brown cells, and descriptions where appropriate. If a b
the renovation under the "Repairs/Upgrades or Equipment Depreciation" section, and d
value of the building. If the Government is charged a facility fee through a lease or rent c
those charges separately in the Facility tab (#5). If there is an increase of more than 3% f
Government may require further documentation.


Building depreciation                                                       $605,581.92
Equipment depreciation                                                       $51,191.04
Interest/Cost of money                                                      $547,507.88

Building depreciation
Building Depreciation Instructions

Enter the required information in the light brown cells, and the depreciation charge will
Mesa Verde buildingMesa Verde renovations2009201514015140.0911811
Building name                               Year built
Mesa Verde building                         2009
Mesa Verde renovations                      2015




Repairs/Upgrades or Equipment depreciation
Repairs or Equipment Depreciation Instructions

Enter the required information in the light brown cells, and the depreciation charge for e

Equipment/Repairs description               Year purchased
Equipment                                   Various




Cost of money
Cost of Money Instructions
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Enter the outstanding loans for depreciable buildings, equipment, or repairs listed above
reimbursment of the cost of money on the current book value (defined as the remaining
are subtracted) at the rate released quarterly by the Treasury Department. While this am
capital expenditures, profit may not be applied to this amount. Therefore, this line item

Asset description                          Original Value
Mesa Verde building                        $                           14,015,140.09
Mesa Verde renovations                     $                           11,811,511.98
Equipment                                  $                              306,011.90
Land                                       $                            2,237,076.20
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building has been repaired or renovated, include the cost of
depreciate that value seperately, rather than re‐setting the
 charges, do not fill out the Building portion, and include
 from a prior year, Column E will turn red, and the


  Prior year                     % change
  $                595,287.66                               2%
  $                131,454.74                             ‐61%
  $                558,025.21                              ‐2%




 be automatically calculated using the straight‐line method
1511.980050.668946656092635.9034609910348
 Original value               Salvage value                      Life of the building (years)
 $              14,015,140.09 $                           ‐                                           51
 $              11,811,511.98 $                           ‐                                           36




                                                                 Total building depreciation




equipment and repairs will be automatically calculated.

 Original value               Salvage value                      Life of the equipment or repairs (years)
 $                 306,011.90 $                           ‐                                             6




                                                                 Total equipment depreciation
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e. Per FAR section 31.205‐10, the vendor is eligible for
g book value after depreciation expenses from all prior years
mount is intended to cover interest or "cost of money" on
 is excluded in the profit calculations in tab "10.Profit"

Annual depreciation expense Years depreciated                  Current book value
 $               276,602.16                                 13 $                    10,325,931.52
 $               328,979.76                                  4 $                    10,347,194.20
 $                51,191.04                                  3 $                       142,761.29
 $                      ‐                                 ‐     $                    2,237,076.20
                                                                $                             ‐
                                                                $                             ‐
        Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 848 of 1402




Annual depreciation
        $276,602.16
        $328,979.76




              $0.00
        $605,581.92




Annual depreciation
         $51,191.04
               $0.00
               $0.00
               $0.00
               $0.00
         $51,191.04
        Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 849 of 1402




Cost of money           Annual interest payments
               2.375%                   $245,240.87
               2.375%                   $245,745.86
               2.375%                     $3,390.58
               2.375%                    $53,130.56
               2.375%                         $0.00
               2.375%                         $0.00
Total cost of money                     $547,507.88
      Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 850 of 1402


Total Other Direct Costs                   $                    651,862.77

Other Direct Charges Instructions

Enter the information by category into the light brown cells below, itemizing where prompted. I
the facility is provided by a subcontractor, do not enter costs for medical supplies and equipmen
be included in the medical subcontract). Credits are defined as overpayments the Government h
past year, which should be subtracted from the overall contract cost in the current period. Cells
turn red if costs have increased more than 10% in the last year, and the Government may requir
documentation to justify these increases.

                                           Current year $                       Prior year
             Food and kitchen supplies
                                           $                      451,841.65 $        413,183.00
                     Detainee welfare*
                                           $                      134,767.48 $        123,424.64
                                      IT
                                           $                       15,833.82 $         15,738.37
                               Telecom
                                           $                       41,320.00 $         41,320.00
      Medical supplies and equipment

                             Recreation
                                           $                              ‐     $              ‐
                              Education
                                           $                         8,099.82 $          7,941.00
                                 Credits
                                           $                              ‐     $              ‐
        Officer uniforms (if not in CBA)
                                           $                              ‐     $              ‐
*For items with an asterisk, please provide itemized charges in the space provided below

Detainee welfare and supplies
Welfare and supplies Instructions

For detainee supplies and welfare, itemize by category (toiletries, linens, etc.) for the current an

Description                           Cost                                      Prior year cost
      57010 Hygiene E&S                $                           74,877.30     $      68,575.18
      57020 Bedding E&S                $                            1,758.50     $       1,610.49
      57040 Resident Clothing          $                           43,844.71     $      40,154.48
      57070 Resident Welfare           $                                 ‐       $            ‐
      57055 Resident‐Interpreter       $                                 ‐       $            ‐
      57070 Resident Payroll‐Reimburse $                           14,286.97     $      13,084.49
Total                                  $                          134,767.48     $     123,424.64
           Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 851 of 1402




 f medical care at
nt (which should
has made in the
 in Column E will
re further



  % change

                   9%

                   9%

                   1%

                   0%

                   0%

                   0%

                   2%

                   0%

                   0%




nd prior period.
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Total contracted services                                     $         4,052,608.49

Contracted Services Instructions

Complete the light brown cells below to show the costs of the relevant subcontracts and third party fees f
along with the name of the company or government to whom those fees are paid. If there is a Transportat
information on the Transportation tab (#11). Cells in Column F will turn red if the cost of the subcontract h
in the last year, and the Government may require further documentation to justify these increases

Subcontract                                                   Current year $             Prior year
              Medical (including dental and mental health)
                                                              $           4,052,608.49 $ 3,420,688.75
                                                 Education

                                             Food Services

                                                   Security

                                                    IGA fee
            Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 853 of 1402




for the current and prior year,
 tion subcontract, enter that
has increased more than 10%



 Vendor name      % change

 Wellpath                 18%

                            0%

                            0%

                            0%

                            0%
          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 854 of 1402

Total G&A                                   $      2,403,186.22

Other Direct Charges Instructions
For the general and administrative costs of the facility, complete the light brown cells below, including a brief description of the spend in each
category and itemizations where prompted. If charges have increased more than 10% since the prior year, cells in Column E will turn red, and
the Government may require further documentation to justify these increases.

                                            Current year              Prior year               % change    Brief description of charges

                            Accounting                                                                     License & Filing Fees
                                            $               13,708.74 $            13,439.94          2%

                               Audit/Risk                                                                   ACA accreditation, dues & subscriptions
                                            $               13,956.22 $            13,682.57          2%

                                 Finance                                                                   Banks charges
                                            $                 612.00 $               600.00           2%
                                                                                                          Recruiting, education fees for staff,
                     Human Resources                                                                     background/drug tests & other personnel
                                            $               57,757.82 $            56,625.31          2% costs
                                                                                                           General liability, commercial property,
                               Insurance
                                                                                                           and other insurances
                                            $              307,268.50 $        298,381.03             3%

                                    Legal                                                                  Local charitable contributions
                                            $                6,120.00 $             6,000.00          2%
                                                                                                           Office supplies, shipping, printing, ID's
     Office Supplies and miscellaneous
                                                                                                           and related equipment
                                            $               89,237.79 $            72,034.60         24%




                                                                                                            GEO takes into account the rules set
                                                                                                           forth in 48 C.F.R 9904.403 – Allocation of
                                                                                                           Home Office Expense to Segments. The
                                                                                                           three factor formula use of payroll,
                                                                                                           revenue and net book value of assets is
                                                                                                           discussed in 48 CFR 9904.403‐50 (c)1 i‐iii.
                                            $         1,323,911.34 $         1,293,700.78

                                  Taxes*
                                            $              151,329.80 $        148,362.55             2%
                                                                                                           Pre‐employment training, hotel, airfare,
               Travel and Staff Training
                                                                                                           auto rental, per diem & business meals
                                         $            439,284.00 $           438,289.08               0%
*For items with an asterisk, please provide itemize charges in the space provided below

Tax Itemization
Tax Itemization Instructions

Enter the itemized amounts that the vendor paid in the last year for taxes that are allowable under FAR section XXX

Description                                 Current year            Prior year           % change
     67115 Real Property Taxes               $           143,928.68 $         141,106.55        2%
     67125 Misc Taxes                        $             7,401.12 $           7,256.00        2%
                                                                                                0%
                                                                                                0%
                                                                                                0%
                                                                                                0%
Total                                        $           151,329.80 $         148,362.55
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Total Profit Proposed               $                612,847.64

Profit Instructions

Complete the light brown cells to give the profit percentage chosen out of the acceptable range, as w

                                   Total cost base                   Profit margin   Profit $
Profit on operating costs
                                   $                 12,503,741.81              3% $      390,638.65
Profit on non‐operating costs
                                   $                  7,112,567.67              3% $      222,208.99

                 Operating Costs $                   12,503,741.81
Detention Labor                  $                   11,258,015.72
Facility                         $                      593,863.33
Other Direct Costs               $                      651,862.77

            Non‐Operating Costs $                     7,112,567.67
G&A                             $                     2,403,186.22
Contracted Services             $                     4,052,608.49
Depreciation                                           $656,772.96
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well as a short justification for that rate of profit.

 Justification of profit rate
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Transportation costs                                    $                                      ‐

Transportation Instructions

If the facility also provides detainee transportation services for ICE, please complete the informatio
on a subcontract, enter the charge in row 13 and the profit in row 9 and do not complete the rest
independently, the staffing charges will automatically populate from the two Staffing Input tabs (#
rate per mile with an estimated number of miles per month, and/or as itemized lease, repairs, insu
on a separate invoice, and will not affect the bed‐night rate on the contract.

Profit on transportation                               Total transportation costs
Base spend on transportation                            $                                       ‐


Subcontract                                            Current year $
Subcontract for Transportation

Staffing information
Staffing Instructions
This information populates automatically from tabs 2 and 3 ("Staffing Input A and B"). If the inform
the "Transportation" section on tab 2 and the base wage on tab 3

Category                                               Transportation Officers
FTE Count                                                                                       ‐
Annual cost                                             $                                       ‐
   Wages                                                $                                       ‐
   Benefits                                             $                                       ‐
   Taxes                                                $                                       ‐

Vehicle Mileage
Vehicle Mileage Instructions

If the vendor chooses to express costs as a charge per mile, the costs scan be entered into the light
charges by vehicle type. If the vendor would rather show its costs itemized below, see Rows 43 to

Vehicle Type                                           Mileage/month
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Itemized Vehicle Charges
Itemized Vehicle Charge Instructions
Complete the table below to show the type, number, and cost of lease fees that the contractor pay
services to ICE. If the vendor would rather show its cost as a mileage fee, see Rows 31 to 35.

Vehicle Type                                         Brief description
Vehicle Lease
Vehicle repairs/maintenance
Vehicle insurance
Fuel costs
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on below. If transportation is provided by another vendor
 of the sheet. If the vendor provides transportation
#2 and #3). Then, the vendor can show their costs the all‐in
urance, and fuel costs. Note that these charges will be paid


  Profit margin          Amount of profit
                          $            ‐


  Prior year             Vendor name           % change
                                                          0%




mation appears to be incorrect, please edit




 t brown cells below to show the mileage
 46.

 Rate/mile               Cost/month            Annual cost
                          $                ‐   $           ‐
                          $                ‐   $           ‐
                          $                ‐   $           ‐
                          $                ‐   $           ‐
                          $                ‐   $           ‐
                          $                ‐   $           ‐
                          $                ‐   $           ‐
                          $                ‐   $           ‐
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                          $             ‐     $            ‐
                          $             ‐     $            ‐
                          $             ‐     $            ‐
                          $             ‐     $            ‐
                          $             ‐     $            ‐
                          $             ‐     $            ‐
                          $             ‐     $            ‐
                          $             ‐     $            ‐
                          $             ‐     $            ‐
                          $             ‐     $            ‐
                                      TOTAL   $        ‐




ys for vehicles to provide transportation



Cost per vehicle         Number of vehicles Annual cost
                                             $          ‐
                                             $          ‐
                                             $          ‐
                                             $          ‐
                                    TOTAL $           ‐
                                                                  Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 861 of 1402

Staffing Input A Instructions
Complete the light brown cells with SCA/CBA data and staffing plans below. Please include descriptions for any "other" benefits in cells N10‐P17. The white cells will calculate automatically with the data from this tab and Staffing Input B. You do not need to use all rows.

SCA/CBA Instructions
Complete the light brown cells in the table below, reflecting each applicable SCA/CBA, or the benefits for each type of staff at the facility

                                                                                                                                                      Hours
   SCA/CBA specific hours and
                                           Annual                                                                                                                                                          Non                                                                                                      Benefits and other hourly labor rate burd
          burdening
                                            Total               Holidays                 Vacation                   Sick                   Training                       Guardmount                       Prod.            Productive              Overtime                  H&W           Retirement          Other Benefit 1         Other Benefit 2
Exempt                                          2,080                                                                                                                                                              ‐              2,080                                            7.6%             1.0%
WD Admin                                        2,080                                                                                                                                                              ‐              2,080                            229            19.8%             1.0%
WD Officer 1                                    2,080                        80                      143                       56                       64                                     56                  399            1,681                            229            10.0%             1.0%
WD Officer 2                                    2,080                        80                      107                       56                       64                                     40                  347            1,733                            229            10.0%             1.0%
Shift                                           2,080                        80                      133                       56                       64                                 ‐                       333            1,747                            ‐              17.0%             1.0%
WD Shift                                        2,080                        80                       60                       56                       64                                 ‐                       260            1,820                            229             7.6%             1.0%
                                                                                                                                                                                                                   ‐                 ‐

Staffing List Instructions

Complete the full position staffing lists below for all four categories (professional, event, fixed, transportation), as applicable. The descriptions of each role type are below.

Description of professional roles                                                                                                                                                                   Description of event roles
Administrative, support, or managerial roles that are essential to the operation of the facility though not directly tied to a detainee‐facing function.                                            Positions that are essential to the execution of an operational function that is not required to occur for the entirety of an 8 hour shift for 5‐7 days per w
These roles do not obtain shift premiums or have a relief factor applied.

Professional roles                                                                                                                                                                                  Event roles (e.g., dinner, recreation, active use of law library)
Role                                   Position count Est. wages            Est. benefits          Est. taxes                       Est. cost              Detention Officer? (Y/N)                 Event                 Shift            Position                       Position Count Days/Week           Duration (hrs)            Est. FTE
Facility Administrator                             1.00 $        145,620.80 $            12,581.13 $                   10,446.12     $          168,648.05 N                                        Cook II‐07042                       1 Cook II‐07042                              2.50                7                         8                     4.00
Assistant Facility Administrator                   1.00 $        116,500.80 $            10,065.27 $                   10,446.12     $          137,012.19 N                                        Cook II‐07042                       2 Cook II‐07042                              2.50                7                         8                     4.00
HR Manager                                         1.00 $        101,296.00 $             8,751.62 $                   10,446.12     $          120,493.75 N
Compliance Administrator                           1.00 $        101,296.00 $             8,751.62 $                   10,446.12     $          120,493.75 N
PREA Administrator/Grievance/Disa                  1.00 $         65,000.00 $             5,615.77 $                   10,446.12     $           81,061.90 N
Training Administrator                             1.00 $        101,296.00 $             8,751.62 $                   10,446.12     $          120,493.75 N
Fire & Safety Manager                              1.00 $        101,296.00 $             8,751.62 $                   10,446.12     $          120,493.75 N
Executive Secretary II‐01312                       1.00 $         48,633.62 $             8,673.56 $                    7,038.97     $           64,346.15 N
Business Manager                                   1.00 $        116,500.80 $            10,065.27 $                   10,446.12     $          137,012.19 N                                        Supervisory Detentio                1 Supervisory Detention Shift L             1.00                 7                         8                     1.67
Computer Support Technician‐14160                  1.00 $         61,912.76 $            11,041.82 $                    7,038.97     $           79,993.55 N                                        Supervisory Detentio                2 Supervisory Detention Shift L             1.00                 7                         8                     1.67
HR Specialist‐Personnel Assistant III‐             1.00 $         53,722.34 $             9,581.10 $                    7,038.97     $           70,342.42 N                                        Supervisory Detentio                3 Supervisory Detention Shift L             1.00                 7                         8                     1.67
Bookkeeper‐Accounting Clerk III‐010                1.00 $         46,816.22 $             8,349.43 $                    7,038.97     $           62,204.63 N                                        Recreation                          1 Detention Officer                         2.00                 7                         8                     3.46
Detainee Banking Clerk‐Accounting C                1.00 $         41,848.66 $             7,463.49 $                    7,038.97     $           56,351.13 N                                        Recreation                          2 Detention Officer                         2.00                 7                         8                     3.46
Accounts Payable/Payroll Clerk‐Acct                1.00 $         43,956.85 $             7,839.48 $                    7,038.97     $           58,835.30 N                                        Escort / Utility                    1 Detention Officer                         3.00                 7                         8                     5.20
Mailroom Clerk‐General Clerk II‐011                2.00 $         78,269.36 $            13,958.94 $                   14,077.94     $          106,306.24 N                                        Escort / Utility                    2 Detention Officer                         2.00                 7                         8                     3.46
Warehouse Clerk‐General Clerk II‐01                1.00 $         39,134.68 $             6,979.47 $                    7,038.97     $           53,153.12 N                                        Escort / Utility                    3 Detention Officer                         2.00                 7                         8                     3.46
Receptionist‐01460                                 1.00 $         33,900.57 $             6,045.99 $                    7,038.97     $           46,985.53 N                                        Visitation                          1 Detention Officer                         2.00                 7                         8                     3.46
Janitor‐11150                                      2.00 $         64,069.41 $            11,426.45 $                   14,077.94     $           89,573.80 N                                        Laundry                             1 Detention Officer 2                       1.00                 5                         8                     1.20
Facility Maintenance Manager                       1.00 $         58,250.00 $            10,388.59 $                    7,038.97     $           75,677.56 N                                        Property                            1 Detention Officer 2                       1.00                 5                         8                     1.20
General Maint Tech‐23370                           2.00 $         95,280.22 $            16,992.74 $                   14,077.94     $          126,350.90 N                                        Programs                            1 Detention Officer 2                       1.00                 5                         8                     1.20
Food Service Manager                               1.00 $        101,296.00 $             8,751.62 $                   10,446.12     $          120,493.75 N                                        VTC / Bailiff                       1 Detention Officer 2                       2.00                 5                         8                     2.40
                                                                                                                                                                                                    Medical Escort
Food Serv/Maintenance‐Accounting                   1.00 $            41,848.66 $               7,463.49 $               7,038.97 $               56,351.13 N                                        Officer                             1 Detention Officer                         4.00                 7                         8                     6.93
                               0                   0.00                                                                                                    N
                               0                   0.00                                                                                                    N
                               0                   0.00                                                                                                    N
                               0                   0.00                                                                                                    N
                               0                   0.00                                                                                                    N

Programs/Volunteers Coordinator                    1.00 $           101,296.00 $               8,751.62 $              10,446.12 $              120,493.75 N
Chaplain                                           1.00 $            51,001.60 $               4,406.36 $              10,446.12 $               65,854.08 N
Classification / Case Manager
(Housing A/B)                                      2.00 $           227,821.99 $              40,630.88 $              14,077.94 $              282,530.81 N
Records Clerk‐General Clerk II‐
01112                                              2.00 $            78,269.36 $              13,958.94 $              14,077.94 $              106,306.24 N
Library Technician‐13058                           1.00 $            51,493.00 $               9,183.51 $               7,038.97 $               67,715.48 N
Recreation Specialist‐28515                        1.00 $            52,874.22 $               9,429.84 $               7,038.97 $               69,343.04 N
Supervisory Detention Captain
(Chief of Security)                                1.00 $           104,998.40 $               9,071.50 $              10,446.12 $              124,516.02 N
Administrative Lieutenant /
Transport Lieutenant                               2.00 $           202,592.00 $              17,503.25 $              20,892.24 $              240,987.49 N
Intake Lt                                          1.00 $           101,296.00 $               8,751.62 $              10,446.12 $              120,493.75 N
Security / Transport Clerk‐General
Clerk I‐01111                                      2.00 $            71,726.72 $              12,792.09 $              14,077.94 $               98,596.75 N
Armory/Locksmith Officer                           1.00 $           102,622.52 $              18,302.20 $               7,038.97 $              127,963.69 N
                                                                                                                                                           N
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                     Burden                                                                                                                                                                     Shift premiums
                                                                                                                                                  Overtime
den                                                                                  Taxes ($ per Hour)                                                                   Day shift            Swing shift              Graveyard shift
   Other Benefit 3       Other Charges                       FICA                    FUTA               SUTA        Worker's comp               OT Premium                   1                     2                          3
                                                   $                3.74   $                  0.03 $       0.21   $             1.04
                                                   $                2.25   $                  0.03 $       0.21   $             0.90                             1.5
                                                   $                4.26   $                  0.03 $       0.21   $             2.40                             1.5
                                                   $                4.21   $                  0.03 $       0.21   $             2.37                             1.5
                                                   $                2.61   $                  0.03 $       0.21   $             1.47
                                                   $                3.76   $                  0.03 $       0.21   $             2.12                             1.5




                                                                                                                  Description of fixed posts
week, e.g., meals, recreation, visitation, court, laundry.                                                        Positions that are essential to maintain a presence or operation for a full shift for 5‐7 days per week, e.g., desk operations, gate guard, perimeter patrol.


                                                                                                               Fixed posts
 Est. wages          Est. benefits          Est. taxes                   Est. cost                Detention Of Shift                     Post desc.                    Post count       Position                    Days/week                  Hrs/shift         Est. FTE Est. wages                Est. benefits               Est. taxes
  $       171,853.34 $            12,683.87 $                  50,886.68 $             235,423.89 N                                    1 Central Control                              2 Detention Officer                                  7                 8         3.46 $          355,482.99    $              33,456.84    $           49,678.48
  $       171,853.34 $            12,683.87 $                  50,886.68 $             235,423.89 N                                    2 Central Control                              2 Detention Officer                                  7                 8         3.46 $          355,482.99    $              33,456.84    $           49,678.48
                                                                                                  N                                    3 Central Control                              1 Detention Officer                                  7                 8         1.73 $          177,741.50    $              16,728.42    $           24,839.24
                                                                                                  N                                    1 Perimeter Patrol                             1 Detention Officer                                  7                 8         1.73 $          177,741.50    $              16,728.42    $           24,839.24
                                                                                                  N                                    2 Perimeter Patrol                             1 Detention Officer                                  7                 8         1.73 $          177,741.50    $              16,728.42    $           24,839.24
                                                                                                  N                                    3 Perimeter Patrol                             1 Detention Officer                                  7                 8         1.73 $          177,741.50    $              16,728.42    $           24,839.24
                                                                                                  N                                    1 Housing A                                    4 Detention Officer                                  7                 8         6.93 $          710,965.99    $              66,913.68    $           99,356.96
                                                                                                  N                                    2 Housing A                                    4 Detention Officer                                  7                 8         6.93 $          710,965.99    $              66,913.68    $           99,356.96
 $         168,826.67     $           30,457.45    $           14,968.15   $           214,252.27 N                                    3 Housing A                                    4 Detention Officer                                  7                 8         6.93 $          710,965.99    $              66,913.68    $           99,356.96
 $         168,826.67     $           30,457.45    $           14,968.15   $           214,252.27 N                                    1 Housing B                                    4 Detention Officer                                  7                 8         6.93 $          710,965.99    $              66,913.68    $           99,356.96
 $         168,826.67     $           30,457.45    $           14,968.15   $           214,252.27 N                                    2 Housing B                                    4 Detention Officer                                  7                 8         6.93 $          710,965.99    $              66,913.68    $           99,356.96
 $         355,482.99     $           33,456.84    $           49,678.48   $           438,618.31 Y                                    3 Housing B                                    4 Detention Officer                                  7                 8         6.93 $          710,965.99    $              66,913.68    $           99,356.96
 $         355,482.99     $           33,456.84    $           49,678.48   $           438,618.31 Y                                    1 RHU                                          2 Detention Officer                                  7                 8         3.46 $          355,482.99    $              33,456.84    $           49,678.48
 $         533,224.49     $           50,185.26    $           74,517.72   $           657,927.47 Y                                    2 RHU                                          2 Detention Officer                                  7                 8         3.46 $          355,482.99    $              33,456.84    $           49,678.48
 $         355,482.99     $           33,456.84    $           49,678.48   $           438,618.31 Y                                    3 RHU                                          1 Detention Officer                                  7                 8         1.73 $          177,741.50    $              16,728.42    $           24,839.24
 $         355,482.99     $           33,456.84    $           49,678.48   $           438,618.31 Y                                    1 Intake / Release                             2 Detention Officer                                  7                 8         3.46 $          355,482.99    $              33,456.84    $           49,678.48
 $         355,482.99     $           33,456.84    $           49,678.48   $           438,618.31 Y                                    2 Intake / Release                             2 Detention Officer                                  7                 8         3.46 $          355,482.99    $              33,456.84    $           49,678.48
 $         123,150.81     $           11,590.51    $           17,020.41   $           151,761.74 Y                                    3 Intake / Release                             1 Detention Officer                                  7                 8         1.73 $          177,741.50    $              16,728.42    $           24,839.24
 $         123,150.81     $           11,590.51    $           17,020.41   $           151,761.74 Y                                    1 Medical                                      1 Detention Officer                                  7                 8         1.73 $          177,741.50    $              16,728.42    $           24,839.24
 $         123,150.81     $           11,590.51    $           17,020.41   $           151,761.74 Y                                    2 Medical                                      1 Detention Officer                                  7                 8         1.73 $          177,741.50    $              16,728.42    $           24,839.24
 $         246,301.63     $           23,181.03    $           34,040.82   $           303,523.47 Y                                    3 Medical                                      1 Detention Officer                                  7                 8         1.73 $          177,741.50    $              16,728.42    $           24,839.24

 $         710,965.99 $               66,913.68 $              99,356.96 $             877,236.62 Y                                    1 Front Desk                                   1 Detention Officer 3                                7                 8       1.60   $          164,196.03   $               12,118.71   $            20,354.67
                                                                                                  N                                    2 Front Desk                                   1 Detention Officer 3                                7                 8       1.60   $          164,196.03   $               12,118.71   $            20,354.67
                                                                                                  N                                    1 Kitchen                                      1 Detention Officer                                  7                 8       1.73   $          177,741.50   $               16,728.42   $            24,839.24
                                                                                                  N                                    2 Kitchen                                      1 Detention Officer                                  7                 8       1.73   $          177,741.50   $               16,728.42   $            24,839.24
                                                                                                  N
                                                                                                  N

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                                     Description of transportation roles
                                     Positions required for the execution or immediate availability of detainee transportation from the proposed facility to another location.


                                     Transportation roles
Est. cost              Detention Off Shift     Post desc.                                    Post count        Position                     Days/week Hrs/shift Est. FTE         Est. wages   Est. benefits   Est. taxes   Est. cost   Detention Officer? (Y/
 $          438,618.31 Y                                                                                                                                                                                                               N
 $          438,618.31 Y                                                                                                                                                                                                               N
 $          219,309.16 Y                                                                                                                                                                                                               N
 $          219,309.16 Y                                                                                                                                                                                                               N
 $          219,309.16 Y                                                                                                                                                                                                               N
 $          219,309.16 Y                                                                                                                                                                                                               N
 $          877,236.62 Y                                                                                                                                                                                                               N
 $          877,236.62 Y                                                                                                                                                                                                               N
 $          877,236.62 Y                                                                                                                                                                                                               N
 $          877,236.62 Y                                                                                                                                                                                                               N
 $          877,236.62 Y                                                                                                                                                                                                               N
 $          877,236.62 Y                                                                                                                                                                                                               N
 $          438,618.31 Y                                                                                                                                                                                                               N
 $          438,618.31 Y                                                                                                                                                                                                               N
 $          219,309.16 Y                                                                                                                                                                                                               N
 $          438,618.31 Y                                                                                                                                                                                                               N
 $          438,618.31 Y                                                                                                                                                                                                               N
 $          219,309.16 Y                                                                                                                                                                                                               N
 $          219,309.16 Y                                                                                                                                                                                                               N
 $          219,309.16 Y                                                                                                                                                                                                               N
 $          219,309.16 Y                                                                                                                                                                                                               N

$           196,669.41 Y                                                                                                                                                                                                               N
$           196,669.41 Y                                                                                                                                                                                                               N
$           219,309.16 Y                                                                                                                                                                                                               N
$           219,309.16 Y                                                                                                                                                                                                               N
                       N                                                                                                                                                                                                               N
                       N                                                                                                                                                                                                               N

                       N                                                                                                                                                                                                               N
                       N                                                                                                                                                                                                               N

                       N                                                                                                                                                                                                               N

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                ATTACHMENT 23
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                U.S. Department of Homeland Security
                U.S. Immigration and Customs Enforcement
                Office of Detention and Removal Operations




                CONTRACT DETENTION FACILITY

                DESIGN STANDARDS
                for IMMIGRATION AND CUSTOMS ENFORCEMENT


                May 14, 2007




                                                                   FINAL
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             U.S. DEPARTMENT OF HOMELAND SECURITY
             U.S. Immigration and Customs Enforcement
             Office of Detention and Removal Operations



             CDF Design Standards for
             Immigration and Customs Enforcement




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Immigration and Customs Enforcement (ICE) is a component of the U.S. Department of Homeland Security (DHS).
ICE brings a unified and coordinated focus to the enforcement of federal immigration laws, customs laws, and air
security laws. ICE brings to bear all of the considerable resources and authorities invested in it to fulfill its primary
mission: to detect vulnerabilities and prevent violations that threaten national security.

As an Operational Division of ICE, the Office of Detention and Removal Operations (DRO) is responsible for public
safety and national security by ensuring the departure from the United States of all removable aliens and by enforcing
the Nation’s immigration laws.

Because of increasing demands on Service resources, ICE/DRO personnel must be able to share information rapidly
and efficiently in order to succeed in fulfilling the Service mission.

In addition to this document, which establishes the ICE components within a Contract Detention Facility (CDF) Design
Standards, other documents are being developed that provide additional related information for planning and design
of Contract Detention Facilities (CDF). Other documents already complete include Design Standards for Health
Services and Executive Office for Immigration Review (EOIR) Courts.




The U.S. Department of Homeland Security gratefully acknowledges the participation and input of the following individuals:




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Tara Filicicchia, ICE Cable Group




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             1. INTRODUCTION



                Project Statement
                Design Standards Purpose
                Design Standards Organization




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Project Statement
PROJECT INTENT
The U.S. Department of Homeland Security (DHS),
                                                                                  CDF Operational Components
Immigration and Customs Enforcement (ICE) are
responsible for detaining those who have entered the                 1.0 Office Components
United State illegally or violated their immigration                 Normal office setting for administrative and public
status. Facilities used by DHS/ICE for detention are                 functions of the CDF. (They are located outside the secure
called Service Processing Centers (SPC’s) or Contract                perimeter.)
Detention Facilities (CDF’s). The purpose of these                       - Public Entrance/Lobby
facilities is to provide a place of detention for aliens                 - ICE Administration
who are taken into custody pending completion of their                   - CDF Administration
deportation case, released on their own recognizance,                    - Office of the Principal Legal Advisor (OPLA)
                                                                         - Removal
or pending release.                                                      - Staff Services & Training

IMMIGRATION AND CUSTOMS ENFORCEMENT
Immigration and Customs Enforcement (ICE) is an                      2.0 Court and Public/Detainee/Interface Components
                                                                     This component includes the EOIR Court work area and
agency of the U.S. Department of Homeland Security
                                                                     courtroom space.
(DHS). ICE brings a unified and coordinated focus to
the enforcement of federal immigration laws, customs                     - Executive Office for Immigration Review (EOIR)
laws, and air security laws. ICE brings to bear the                      - Public/Detainee Visitation
considerable size of its invested resources and author-              3.0 Detainee Living Components
ities to fulfill its primary mission: to detect                      Located inside the secure perimeter they are used by the
vulnerabilities and prevent violations that threaten                 detainees during their normal daily routine.
national security.                                                       - Detention Administration
                                                                         - Security Command
The diagrams on page 1.3 provide an example of a                         - Detainee Housing (w/dining)
Contract Detention Facility. The Pearsall CDF was built                  - Detainee Services
in 2005 and has a current bed capacity of 1900 beds                      - Recreation
                                                                         - Library
with approximately 251,950 gross square feet. The site
plan illustrates the facility’s organization while the floor
plan illustrates ICE, Contractor, and other Government
Agency operated spaces.                                              4.0 Service Components
                                                                     Service functions for the CDF detainee population. They
It is the intent of this project to develop planning and             are typically placed in a secure area because detainees
design standards from which Contract Detention                       require frequent access to them or are given work details
Facilities can be designed and built. The operational                in these components.
components within a CDF are derived from
categorizing the personnel groups and service                            - Processing
                                                                         - Health Services
activities of a CDF. The level of security required
                                                                         - Laundry
determines how the components are organized. The                         - Food Preparation
side bar to the right lists the main operational
components and functional areas within a CDF. This
document establishes the planning and design                         5.0 Facility Support Components
guidelines within ICE’s operational authority for the                These elements support the facility but do not provide
spaces highlighted to the right in orange. Spaces                    direct services to the detainees and may be located
operated by Contract Operations or other Government                  outside the secure perimeter.
Agencies (Health Services and Executive Office for                       - Warehouse/Supply
Immigration Review) are highlighted in yellow or blue.                   - Maintenance/Fleet Operations
                                                                         - Central Utility Plant




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                                                                             1. INTRODUCTION




                     EXAMPLE: Pearsall Contract Detention Facility, Pearsall, TX




Site Plan




Floor Plan


Pearsall Contract Detention Facility Facts                            Legend
                                                                         = ICE Operated
Total Facility Gross Square Feet =    251,950                            = Contractor Operated
Total Number of Beds =                  1,200
                                                                         = Other Government Owned
                                                                         = Secure Sallyport

                                                1.3
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Design Standards Purpose
PURPOSE OF THE DESIGN STANDARDS                                    institutions, and climactic differences must be
The ICE Design Standards (hereafter referred to as the             considered.
Standards) contains criteria and concepts for the
planning and design of the ICE operated spaces within              The ICE Design Standards provide instructions that
a CDF. The standards contain the organizational,                   must be met, alternative acceptable solutions, and
operational, and functional requirements for only the              design issues the user should consider. For
ICE Components.                                                    instructions that must be met, the user shall comply
                                                                   and provide final designs that meet these instructions.
The purpose of the Standards, is to establish
                                                                   Alternative acceptable solutions provide the user with
operational directions and architectural relationships
                                                                   flexible choices to react to variations unique to the
for ICE spaces. The decisions made and policies
                                                                   specific project. Issues being considered help the user
adopted during the development of the Standards are
                                                                   understand the context of the problem and the needs of
intended to provide direction and guidance during the
                                                                   ICE.
planning and design of existing and future Contract
Detention Facilities, bringing standardization to CDF’s
                                                                   The Design Standards are meant to be used as a
as well as reducing the amount of effort and time
                                                                   guideline for the layout of the ICE Components. Design
required to plan, design, construct and activate
                                                                   decisions must be coordinated through the ICE/DRO
a CDF.
                                                                   Facilities Management Unit. A review process will be
USERS OF THE DESIGN STANDARDS                                      established at the inception of each project, generally
This document is intended for all individuals involved in          at the 30/60/90 percent design phases. ICE/DRO FMU
the planning, design and construction of a CDF,                    will provide approvals after each stage.
including architects, engineers, contractors, DHS/ICE
staff located at Headquarters, Regional, and District              Any deviations from the design standards must be
offices assigned to Detention and Removal and any                  approved by ICE/DRO FMU.
other DHS agencies involved. This document is
intended to communicate ICE requirements to service
providers providing design, construction, and facility
management services.

APPLICATION OF THE DESIGN STANDARDS
The architectural information contained in the ICE
Design Standards should be viewed as ICE policy
applicable to the design of all CDF facilities. It is
intended to provide to the user clear guidance on
project requirements, conceptual solutions, and
specific technical details. The information is intended to
focus the user on meeting ICE needs, to educate
regarding design of ICE operated CDF’s, and to
establish design performance conditions as well as to
provide design solutions.

The requirements in the Standards are generic in
nature. Specific applications such as the mission of the
proposed facility, site conditions, ability to receive
service support from local communities and other




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Design Standards Organization
ORGANIZATION OF THE ICE DESIGN STANDARDS                                         Design Standards Contents
The ICE Design Standards are organized to
provide conceptual and technical information in a                  Section 1. Introduction
structured manner.                                                 The Introduction identifies the overall function of a CDF
                                                                   and discusses the purpose and organization of the Design
                                                                   Standards.
The Design Standards document is organized for ease
of use. The Standards are organized into five sections.
Each section is designed to stand alone so it may be
extracted for use in the planning and design process.

The side bar to the right briefly outlines the contents of         Section 2. Organizational Requirements
each section of this document.                                     This section of the Standards discusses the history of ICE
                                                                   and how it is organized within the Department of
DESIGN STANDARDS DEVELOPMENT PROCESS                               Homeland Security (DHS) as well as within a CDF.
The design standards documented herein have been
developed by selected representatives from ICE/DRO
FMU.

The Standards Development Team reviewed and
                                                                   Section 3. Operational Requirements
evaluated existing ICE standards documents and
                                                                   This section of the Standards discusses the physical
assessed existing Service Processing Centers and                   relationships of ICE within a CDF. Staff positions are
Contract Detention Facilities noting advantages and                identified and quantity corresponds to the number of beds
disadvantages of each ICE layout and their post                    within the CDF.
occupancy evaluation.

The goal of the design standards is to enhance the
organizational, operational, and functional efficiencies
of ICE components and their functional areas.
                                                                   Section 4. Functional Requirements
                                                                   This section of the Standards discusses the spaces
                                                                   needed for each ICE Component and corresponding
                                                                   technical requirements (i.e. functional description, room or
                                                                   area photograph, space plan, material, and equipment
                                                                   list).




                                                                   Section 5. Appendix
                                                                   This section of the Standards contains a listing of
                                                                   reference publications and acronyms/abbreviations.




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                                                                                                          1. INTRODUCTION




                                       Design Standards Report Contents




                                 Project Statement                                                    ICE Space Requirements

                                 Design Standards Purpose                                             1.0 Office Zone
1. INTRODUCTION                                                          4. FUNCTIONAL REQUIREMENTS

                                 Design Standards Organization                                        2.0 Court Interface Zone

                                                                                                      3.0 Detainee Living Zone

                                                                                                      4.0 Service Zone

                                                                                                      5.0 Facility Support Zone




                                 ICE Background                                                       Reference Publications

                                 ICE Function                                                         Acronyms and Abbreviations
2. ORGANIZATIONAL REQUIREMENTS                                           5. APPENDIX
                                 ICE Organization




                                 CDF Organization

                                 ICE Staff Positions/Organization
3. OPERATIONAL REQUIREMENTS
                                 ICE Staff Position Descriptions




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             2. ORGANIZATIONAL REQUIREMENTS



                ICE Background
                ICE Function
                ICE Organization




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ICE Background
U.S. DEPARTMENT OF HOMELAND SECURITY
Homeland Security leverages resources within federal,
state, and local governments, coordinating the
transition of multiple agencies and programs into a
single, integrated agency focused on protecting the
American people and their homeland. More than
87,000 different governmental jurisdictions at the
federal, state, and local level have homeland security
responsibilities. The comprehensive national strategy
seeks to develop a complementary systems
connecting all levels of government without duplicating
effort. Homeland Security is truly a “national mission.”

The organizational chart on the following page contains
the major components that currently make up the
Department of Homeland Security.

HISTORY OF ICE
ICE was formed pursuant to the Homeland Security Act
of 2002 following the events of September 11, 2001.
With the establishment of the Department of Homeland
Security the functions and jurisdictions of several
border and revenue enforcement agencies were
combined and reconstituted into Immigration and
Customs Enforcement. Consequently, ICE is the
largest investigative arm of DHS, and the second
largest contributor to the nation’s Joint Terrorism Task
Force.

The agencies that were either moved entirely or
merged in part, based upon their law enforcement
functions, included the investigative and intelligence
resources of the United States Customs Service, the
law enforcement resources of the Immigration and
Naturalization Service, and the United States Federal
Protective Service. Consequently, ICE is also charged
with the protection of federal buildings within the United
States.




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                                                                                                          2. ORGANIZATIONAL REQUIREMENTS




                                                U.S. Department Homeland Security (DHS)
                                                          Organizational Chart




                                                                                                                                                            EXECUTIVE

                                                                                   Secretary
                                                                                                                                                            SECRETARY

                                                                                                                                 CHIEF OF STAFF


                                                                             Deputy Secretary                                                                 MILITARY
                                                                                                                                                              LIAISON




                                                                                                                       Assistant Secretary
                        Under Secretary
Under Secretary                              Assistant Secretary        Under Secretary                                   Legislative &           Assistant Secretary
                           Science &                                                             General Counsel                                                         Inspector General
 Management                                         Policy               Preparedness                                  Intergovernmental            Public Affairs
                          Technology
                                                                                                                             Affairs




            Chief Financial
                Officer




                                             Assistant Secretary                                    Director             Ombudsman
                                                                       Director Operations                                                                               Civil Rights/Civil
                                             Office of Intelligence                              Counternarcotics        Citizenship &              Privacy Officer
                                                                          Coordination                                                                                   Liberties Officer
                                                  & Analysis                                      Enforcement         Immigration Services




                      Director Federal Law    Director Domestic
                                                                       Federal Coordinator
                          Enforcement         Nuclear Detection
                                                                       Gulf Coast Rebuild
                         Training Center            Office




          Assistant Secretary                                                                              Assistant Secretary        Under Secretary
                                    Commissioner                                   Director Citizenship
            Transportation                                Director U.S. Secret                               Immigration &           Federal Emergency        Commandant U.S.
                                   Customs & Border                                   & Immigration
               Security                                         Service                                         Customs                 Management              Coast Guard
                                      Protection                                         Services
            Administration                                                                                    Enforcement                Directorate


                                                                                                                                                                           7/06




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ICE Function
U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT
The United States Immigration and Customs
Enforcement (ICE) is the largest investigative arm of
the United Stated Department of Homeland Security
(DHS) and is responsible for identifying and
dismantling vulnerabilities regarding the nation’s
border, economic, transportation and infrastructure
security. Employing approximately 15,000 people, ICE
is charged with the enforcement of over 400 federal
statutes within the United States and maintains
attaches at major U.S. embassies overseas. As such,
ICE Special Agents arguably possesses the broadest
investigative authority within the United States
Government. The mission of ICE is to protect America
and uphold public safety by targeting the people,
money and materials that support terrorist and criminal
activities. ICE is led by an Assistant Secretary who is
appointed by the President of the United States and
confirmed by the U. S. Senate. The Assistant Secretary
reports directly to the Secretary of Homeland Security.

The organizational chart on the following page contains
the major components that make-up the Immigration
and Customs Enforcement.




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                                                                           2. ORGANIZATIONAL REQUIREMENTS




                                U.S. Immigration and Customs Enforcement (ICE)
                                              Organizational Chart




          Counselor to the Assistant
                                                             Assistant Secretary
                 Secretary
              Wayne L. Baker                                   Julie L. Myers


                                                                                                             Chief of Staff
                                                                                                             Gary J. Lang


  Principal Legal Advisor
        Bill Howard
                                       Deputy Assistant Secretary           Deputy Assistant Secretary
                                                                                                                Public Affairs
                                            for Operations                      for Management
                                                                                                              Dean Boyd (Acting)
                                             John P. Clark                     Theresa C. Bertucci
   Policy and Planning
   Susan Cullen (Acting)
                                            Office of Investigations               Chief Financial Officer   Executive Secretariat
                                                 Marcy Forman                           Debra Bond            Anna-Marie Gatons

Professional Responsibility
   Traci Lembke (Acting)                                                                                                      10/06
                                              Office of Detention
                                                                                     Chief Information
                                                 and Removal
                                                                                          Officer
                                                  Operations
                                                                                     Luke McCormack
                                                 John P. Torres
 Congressional Relations
       Karyn Lang
                                             Office of Intelligence                  Human Resources
                                               Michael Nostrand                          Director
                                                    (Acting)                          Christine Greco



                                              Federal Protective                       Training and
                                                    Service                            Development
                                            Paul R. Durette (Acting)                 Mark Assur (Acting)



                                            National Firearms and
                                                                                       EEO Director
                                            Tactical Training Unit
                                                                                     Deborah Kay Lewis
                                                Thomas Trotto



                                               National Incident                     Student Exchange
                                                Response Unit                         Visitors Program
                                               Wendell Shingler                         Susan Geary



                                                 Reporting
                                             Coordination Center
                                               Ronald Grimes




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ICE Organization
U.S. Immigration and Customs Enforcement is                       3. EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
responsible for eliminating border, economic,                     (EOIR)
transportation,     and      infrastructure    security           The Executive Office for Immigration Review (EOIR) is
vulnerabilities. As such, the ICE organization is                 and administrative tribunal that presides over all trial
composed of four law enforcement divisions and                    and appellate cases involving charges of immigration
several support divisions. These divisions of ICE                 violations. On behalf of the Attorney General, EOIR
combine to form a new investigative approach with new             exercises authority to interpret and administer Federal
resources to provide unparalleled investigation,                  immigration laws and regulations through Immigration
interdiction, and security services to the public and             court    proceedings,      appellate   reviews,    and
other law enforcement partners in the federal and local           administrative hearings in certain types of
sectors.                                                          immigration-related cases.

The organizational chart on the following page contains           4. HEALTH SERVICES (HS)
the major components that make up a Contract                      The SPC/CDF is responsible for the health and welfare
Detention Facility. They include:                                 of individuals in its custody. This responsibility
                                                                  mandates the provision of medical staff to provide care
1. OFFICE OF DETENTION AND REMOVAL                                to detainees at the SPC/CDF in accordance with the
OPERATIONS (DRO)                                                  Legacy Immigration and Naturalization Service Health
DRO is responsible for public safety and national                 Care Program Policy Manual and in compliance with
security by enforcing the nation’s immigration laws and           accreditation standards.
ensuring the departure from the United States of all
removable aliens. DRO has Immigration Enforcement
Agents (IEAs) that are the uniformed presence of
immigration enforcement within the interior of the
United States, whereas the U.S. Border Patrol is the
uniformed presence of immigration at the border. DRO
also have Deportation Officers who identify,
apprehend, and remove aliens that are deportable from
the United States. DRO has the Criminal Alien Program
(CAP) that apprehends and removes criminal aliens in
jails and prisons. DRO has also been mandated by
Congress to reduce the number of fugitive aliens
through its Fugitive Operations Program (FUGOPS),
aliens that are still in the United States with an
outstanding Warrant of Deportation. As such, ICE is
partnered with the U.S. Marshals Service in operating
JPATS, the Justice Prisoner and Alien Transportation
System, otherwise known as Con-Air to remove
criminal aliens from the United States. DRO also is in
charge of detention of aliens who are in deportation
proceedings and managing ICE and contract detention
facilities.

2. OFFICE OF THE PRINCIPAL LEGAL ADVISOR (OPLA)
The Office of the Principal Legal Advisor (OPLA)
within the Bureau of Immigration and Customs
Enforcement (ICE) provides the full range of legal
support, including core responsibilities for representing
ICE before the Immigration Courts and the Board of
Immigration Appeals.



                                                            2.6
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                                                                                      2. ORGANIZATIONAL REQUIREMENTS




                                               Contract Detention Facility (CDF)
                                                     Organizational Chart




         Contract Service                                Executive Branch of
            Provider                                     the U.S. Government



       U.S. Department of
                                                               U.S. Department of                                     U.S. Department of
       Health and Human
                                                               Homeland Security                                            Justice
            Services



         Department of
                                                            Immigration & Customs                                    Executive Office for
       Immigration Health
                                                                Enforcement                                          Immigration Review
           Services




                                             Office of the Principal                   Office of
       Health Services Clinic                                                                                              EOIR Court
                                                 Legal Advisor                  Detention and Removal



Four agencies are present within the CDF: Detention and Removal Operations (DRO), Office of the Principal Legal Advisor (OPLA),
Executive Office for Immigration Review (EOIR) and Health Services (HS). These groups’ respective areas of responsibility are:

1. Office of Detention and Removal Operations (DRO) is part of the Department of Homeland Security and is responsible for managing the detainees, pre-
   senting cases for deportation and executing deportations.
2. Office of the Principal Legal Advisor (OPLA) is part of the Department of Homeland Security and is responsible for prosecuting cases against
   detainees in the EOIR Court.
3. Executive Office for Immigration Review (EOIR) is part of the Department of Justice and is responsible for conducting the court hearings.
4. Health Services (HS) is part of the Department of Health and Human Services and is responsible for providing health services.
   NOTE: In some instances Health Services are provided through the Contract Detention Service Provider.




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             3. OPERATIONAL REQUIREMENTS



                CDF Organization
                ICE Staff Positions/Forecasts
                ICE Staff Position Descriptions




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CDF Organization
A Contract Detention Facility (CDF) is a detention                                CDF Operational Zones
facility where the DHS/ICE detains those who have
                                                                1.0 Office Zone
entered the United States illegally or violated their
immigration status. The purpose of this facility is to          The Office Zone provides            a normal office setting for
                                                                administrative and public functions of the CDF. Office components
provide a place of detention for aliens who are taken           do not have direct contact with, or are used by the detainees
into custody pending completion of their deportation            performing functions outside of the primary secure perimeter. The
case, released on their recognizance, or pending                Office Zone is a non-secure area located outside the secure
release.                                                        perimeter but requiring screening and control of the public
                                                                entering the area. Security provisions should be appropriate for
                                                                any government office area with confidential information. Access
The diagram on the following page illustrates the               needs to be controlled and the building envelope should be
organizational requirements for a CDF. The diagram              monitored to detect unauthorized entry, though it does not need
illustrates the various components and respective               special hardened construction. Direct emergency egress may be
security zones. The secure zones of the facility                provided. Points of public or service access must be readily
correspond to the degree of detainee and public                 identifiable with proper signage. (Flagpoles are popular devices
                                                                used to identify public entrances.) Access points (both public and
access required in the components. The facility has             service) require means of audible and visual communication with
five major operational zones, they include:                     the controlling point, usually the Central Control.

        1.0 Office Zone                                         2.0 Court Interface Zone
        2.0 Court Interface Zone                                The Court Interface Zone includes the EOIR work area and
        3.0 Detainee Living Zone                                courtroom space, and is an interface area between the court
                                                                personnel, the Removal Unit, the public, and detainees under
        4.0 Service Zone                                        restraint. It is a secure interface zone. The area should be in its
        5.0 Facility Support Zone                               own secondary perimeter, contiguous with but separate from the
                                                                main facility primary secure perimeter. Access will be by hardened
                                                                commercial grade doorways, with special controls for general and
MANAGING AUTHORITY                                              emergency egress. The perimeter barriers, electronic controls,
                                                                and procedures should be at the same level as the other
CDF facilities are operated by private companies under          secondary secure perimeters. (See EOIR Design Standards under
contract to the DHS. These facilities must be organized         separate cover.)
and managed according to DHS/ICE-DRO standards.
                                                                3.0 Detainee Living Zone
                                                                The Detainee Living Zone contains functions that are used by
                                                                detainees during their normal daily routine. It is a secure zone with
                                                                normal routine detainee movement within the primary secure
                                                                perimeter. Components within this zone should be separated from
                                                                each other by secondary secure perimeters. Detainee movement
                                                                between each component will be monitored by housing security
                                                                staff.

                                                                4.0 Service Zone
                                                                The Service Zone provides services necessary for supporting
                                                                detainees while they live in the CDF. It is a zone that is located
                                                                inside the primary secure perimeter with restricted detainee
                                                                movement. Components should be separated from each other by
                                                                secondary secure perimeters. Detainee movement to any
                                                                component will be by direct escort or continuously monitored/
                                                                controlled movement with staff control of each individual detainee
                                                                passing into or out of a component.

                                                                5.0 Facility Support Zone
                                                                The Facility Support Zone provides support to the facility, though
                                                                not directly to the detainees, and generally are not accessed or
                                                                occupied by detainees. It is a zone that is a restricted area limited
                                                                to staff and service vendors who provide vital services to maintain
                                                                functions of the facility.




                                                          3.2
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                                                                                                    3. OPERATIONAL REQUIREMENTS




                                            CDF Organizational Diagram

                                                                                             FACILITY CHECK-IN
                                                                                             Gate House

                                                                                                                                   PROPERTY
                                                                                                                                   LINE
                                        Staﬀ                                                 Staﬀ                                  FENCE
                 1.Oﬃce                Parking              Public Parking                  Parking
                 Zone
                 Non-Secure Zone
                                                                                                                                   SECURITY
                                                                                                   1.2                             BUFFER
JUDGES
                                       1.4
                                                                                                 Admin.


                       1
PRIVATE
                                      OPLA                 Security Check Area
                                                                                                   ICE
ENTRANCE                                                          1.1
                                                          Public Entrance/                         1.3                             PERIMETER
                                       1.5                     Lobby                             Admin.                            PATROL
                                     Removal              Waiting/Support Area
                                                                                                                                   ROAD
                                                                                                   CDF


                 2.Court                        2.1                                        Arm. L.D.                               INTAKE/



                              2
                 Interface                                      P. 2.2 D.             1.6                                          SERVICE
                                               EOIR
                                                               Visitation                                                          ROAD
                 Zone                 Admin.       Courts                             Staﬀ Services
                 Interface Zone                                      Holding             & Training            Vehicle
                                                                                                              Sallyport
                                          3.1                     3.2
                                       Detention                                           4.1     Vehicle
                                                                Security               Processing Sallyport
                                     Administration            Command                                                             PERIMETER
                                                                                                                                   SECURITY
                                                                                                                                   FENCE


                                                                                                            4
                   E




                                                                                                                       E
                                                                                      4.2
                   N




                                                                                                                       N
                                            3.2                                 Health Services
                                          Housing
                   O




                                                                                                                       O

                                         (w/dining)                                      4.3
                   Z




                                                                                                                       Z


                                                                                       Laundry
                                                                                                          4.Service
                                                                                        4.4               Zone


                         3
                                                                                     Food Prep.           Restricted Detainee
                   N




                                                                                                                       N




                                                                                                          Movement
                                     3.4            3.3 D.S.
                   O




                                                                                                                       O




                                     Rec.        3.5 Library                            5.2
                   I




                                                                                                                       I




                                                                                     Warehouse
                   S




                                                                                                                       S




                                                                                5.1
                                                                                              L.D.
                   N




                                                                                                                       N




                                                                               C.S.


                                                                                                            5
                                                                                         5.3
                   A




                                                                                                                       A




                                            3.2
                                          Housing                                    Maintenance
                   P




                                                                                                                       P




                                         (w/dining)
                   X




                                                                                                                       X
                   E




                                                                                                                       E




                                                                                          5.4
                                                                                     Utility Plant

                 3.Detainee Living Zone                                      5.Facility Support Zone
                Secure Zone With Normal Detainee Movement                  Restricted Support Zone




                                                                    LEGEND

           = Main Gate Check Point             = Pedestrian Sallyport           P.    = Public             L.D. = Loading Dock

           = Security Gate                     = External Secure Door          D.     = Detainee           C.S. = Common Support

           = Internal Secure Door              = Pedestrian Traﬃc              D.S. = Detainee Services




                                                                     3.3
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ICE Staff Positions/Forecasts
ICE staff is assigned to specific components of the                        ICE Staff Forecast Calculations
Office and Detainee Living Zones within a Contract
                                                                1.0 Office Zone
Detention Facility (CDF). Contractor and other
Government Agencies staff the remaining components.
                                                                Office of the Principal Legal Advisor (OPLA)

For planning purposes, staff position forecasts have            Assistant Chief Counsel (ACC)
been developed for the zones and components for                 2.3 Assistant Chief Counsel’s per one courtroom
which ICE has responsibility/authority. The staff
                                                                Legal Technician
forecasts have been developed for the following                 1 Legal Technician per 3 ACC’s
detainee bed scenarios:

    1.    <200 beds
    2.     200 - 450 beds
    3.     450 - 900 beds                                       2.0 Court Interface Zone
    4.     900 - 1,200 beds
    5.   1,200 - 1,500 beds                                     Contractor Staffed
    6.   1,500 - 1,800 beds
    7.   1,800 - 2,000 beds
    8.   2,000 - 3,000 beds                                     3.0 Detainee Living Zone

The Staff Forecasts Summary matrix illustrated on the           Detention Administration
following page, identifies the number of people,                Detention Operations Supervisor (DOS)
number of offices and number of workstations needed             at 3,000 2 FT DOS and 1 on second shift
for each planning scenario. The staff forecast numbers
represent a general rule and may vary based on the
                                                                4.0 Service Zone
CDF’s operational structure and geographic location.
In all cases the staffing counts must be verified and
approved by DHS/ICE-DRO.                                        Contractor Staffed


The sidebar to the right identifies the five (5) zones          5.0 Facility Support Zone
within a CDF and for those containing ICE personnel
provides general “rules of thumb” for calculating staff         Contractor Staffed
forecasts.




                                                          3.4
                                                                                                                               Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 895 of 1402
                                                                                                                                                                                                                                                                                                                                                                    3. OPERATIONAL REQUIREMENTS


ICE Staffing Requirements Summary
                                                                            < 200
                                                                                0 Beds                           200
                                                                                                                   0 - 450
                                                                                                                         0 Beds                      450
                                                                                                                                                       0 - 900
                                                                                                                                                             0 Beds                       900
                                                                                                                                                                                            0 - 1,200
                                                                                                                                                                                                    0 Beds                      1,200
                                                                                                                                                                                                                                    0 - 1,500
                                                                                                                                                                                                                                            0 Beds                     1,500
                                                                                                                                                                                                                                                                           0 - 1,800
                                                                                                                                                                                                                                                                                   0 Beds                     1,800
                                                                                                                                                                                                                                                                                                                  0 - 2,000
                                                                                                                                                                                                                                                                                                                          0 Beds                        3,000
                                                                                                                                                                                                                                                                                                                                                            0 Beds                                        Comments
                                                                    # of       # of          # of        # of         # of          # of        # of       # of          # of        # of       # of          # of        # of         # of          # of        # of         # of          # of        # of         # of          # of         # of       # of          # of
                                                                   People     Offices      Wkstations   People       Offices      Wkstations   People     Offices      Wkstations   People     Offices      Wkstations   People       Offices      Wkstations   People       Offices      Wkstations   People       Offices      Wkstations    People     Offices      Wkstations
1.0 OFFICEE ZONE
     1.1 Publicc Entrance/Lobby
            Contract Staff
     1.2 ICE
           E Administartion
           Officer in Charge (OIC)                                   1            1                       1              1                       1            1                       1            1                       1              1                       1              1                       1             1                         1           1
           Assistant Officer in Charge (AOIC)                                                                                                    1            1                       1            1                       1              1                       1              1                       2             2                         2           2
           Intellegence Officer                                                                                                                  1            1                       1            1                       1              1                       1              1                       2             2                         3           3
           Supervisory Mission Support Specialists (SMSS)                                                                                                                                                                                                                                                                                        1           1
           Chief Immigration Enforcement Agent (CIEA)                                                                                            1            1                       1           1                        1             1                        1             1                        1             1                         1           1
           Mission Support Specialists (MSS)                                                                                                     1            1                       1           1                        1             1                        2             2                        4             4                         4           4
           Contracting Officer's Techincal Representitive (COTR)                                                                                 1            1                       2           2                        2             2                        3             3                        3             3                         4           4
           ICE IT Specialist (space only)
           Mission Support Assistant (MSA)                                                                1                            1         2                          2         2                          2         2                            2         2                            2                                                 2                          2
           Receptionist                                                                                                                          1                          1         1                          1         1                            1         1                            1         1                            1          1                          1
           Intellegence Research Specialist (IRS)                                                                                                                                     1            1                       1              1                       2              1                       2              1                        2            1                      red indicates shift work (use same office)
           OIC Secretary                                                                                                                         1                          1         1                          1         1                            1         1                            1         1                            1          1                          1
     1.3 CDFF Administration
            Contract Staff
     1.4 OPLA                                                               1 # of Immigration Judges              2 # of Immigration Judges            3 # of Immigration Judges            5 # of Immigration Judges              7 # of Immigration Judges              8 # of Immigration Judges              10 # of Immigration Judges            15 # of Immigration Judges
            Deputy Chief Counsel                                                                                                                 1           1                        1            1                       1              1                       1              1                       1              1                        1            1
            Assistant Chief Counsel (ACC) (2.3/courtroom)            3           3                        5             5                        7           7                       12           12                      17             17                      19             19                      24             24                       36           36
            Legal Technicians (1 per 3 ACCs)                         1                           1        2                            2         3                          3        4                           4        6                             6         7                            7        8                             8         12                          12
            Mail/File Clerk                                                                                                                      1                          1         1                          1         1                            1         1                            1         1                            1          1                           1
     1.5 Removal
            Supervisory Detention & Deportation Officer (SDDO)       1           1                        2             2                       3            3                        4            4                       5             5                       6              6                       7              7                        10          10
            Deportation Officer (DO)                                 3           3                        6             6                       12           12                      16           16                      20            20                       24             24                      27             27                       40          40
            Deportation Removal Assistant (DRA)                      3                          3         6                            6        12                          12       16                         16        20                           20        24                           24        27                           27         40                         40
     1.6 Stafff Servicess & Training
            Training Officer                                                                                                                     1            1                       1            1                       1              1                       1              1                       1              1                        1            1
2.0 COURT T INTERFACEE ZONE
     2.1 EOIRR Court
            EOIR Staff
     2.2 Public/Detainee
                       e Visitation
            Contract Staff
3.0 DETAINEE E LIVING
                    G ZONE
     3.1 Detention
                 n Administration
            Detention Operations Supervisor (DOS)                                                         1             1                        2           1                        2           1                        2             1                        2             1                        2             1                         3           2                       at 3,000 2 FT DOS and 1 on second shift
            Supervisory Immigration Enforcement Agent (SIEA)         1            1                       2             2                        3           2                       3            2                        4             2                        5             3                        6             3                         8           4                       red indicates shift work (use same office)
            Immigration Enforcement Agent (IEA)                      5                          5        10                           10        20                          15       24                         18        30                           23        36                           27        40                           30         60                         45        75% positions = workstation on shift work
     3.2 Detainee
                e Housingg w// Dining                                                                                                                                                                                                                                                                                                                                                going both ways between Processing
            Contract Staff
     3.3 Detainee
                e Services
            Contract Staff
     3.4 Recreation
            Contract Staff
     3.5 Library
            Contract Staff
4.0 SERVICE E ZONE
     4.1 Processing
            Contract Staff
     4.2 Health
              h Services
            Health Services Staff
     4.3 Laundry
            Contract Staff
     4.4 Food
            d Preparation
            Contract Staff
5.0 FACILITY
           Y SUPPORT T ZONE
     5.1 Commonn Support
            Contract Staff
     5.2 Warehouse
            Contract Staff
     5.3 Maintenance
            Contract Staff
     5.4 Centrall Utilityy Plant
            Contract Staff
                                                                    18                                   36                                     75                                   96                                   119                                    141                                    161                                    234




                                                                                                                                                                                                                                                                                                                                                                                          3.4.A
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                                             3. OPERATIONAL REQUIREMENTS




                               3.5
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ICE Staff Position Descriptions
STAFF DESCRIPTIONS                                                                    ICE Staff Positions
The following provides a listing of the ICE staff
                                                                     1.0 Office Zone
positions required to operate a CDF. The information is
organized by facility zone, providing the position title             1.2 ICE Administration
and description.
                                                                     Officer In Charge (OIC)
                                                                     The Officer In Charge is the highest ranking officer at the CDF and
It should be noted that generally a CDF is staffed by                has ultimate authority and responsibility at the site. The OIC over-
the following agencies:                                              sees all CDF activities including those of contract personnel.
         • ICE
                                                                     Assistant Officer In Charge (AOIC)
         • Contractor/Facility Operator                              The Assistant Officer In Charge is the second ranking officer at the
         • Other Government Agencies                                 CDF. They have responsibility for administrative and operations
            - Executive Office for Immigration Review (EOIR)         activities as directed by the OIC.
            - Health Services (HS)
                                                                     Supervisory Mission Support Specialists (SMSS)
                                                                     The SMSS position is responsible for supervising administrative
                                                                     positions who provide services in direct support of operational pro-
                                                                     grams. The work provides complex administration services and
                                                                     supports and significantly affects the program's operations and
                                                                     objectives. Specific responsibilities include:

                                                                          - Assigns and explains work to subordinate staff.
                                                                          - Coordinates with other unit supervisors and peers to
                                                                            establish unit objectives, goals, priorities, and deadlines.
                                                                          - Adjusts work to meet new priorities or changing program
                                                                            requirements within available resources.
                                                                          - Establishes production standards and prepares perform-
                                                                            ance work plans and appraisals.
                                                                          - Resolves complaints and grievances

                                                                     Intelligence Officer


                                                                     Chief Immigration Enforcement Agent (CIEA)


                                                                     Mission Support Specialists (MSS)
                                                                     The MSS provides expert level advice in administrative specialty
                                                                     areas; and serves as a trouble-shooter, providing authoritative
                                                                     guidance on problems not susceptible to treatment by accepted
                                                                     methods. Specific duties include:

                                                                          - Provides advice, assistance and guidance to supervisors,
                                                                            managers, and employees on complex and sensitive
                                                                            issues.
                                                                          - Conducts studies on new requirements in program opera-
                                                                            tions, legislation, or agency regulations.
                                                                          - Responds to changes in judicial and/or administrative law
                                                                            and policy as well as to conflicting goals and objectives.
                                                                          - Evaluates pertinent legislation and new policies or direc-
                                                                            tives from DHS or other agencies.
                                                                          - Conducts studies concerning organization-wide and/or
                                                                            government-wide management issues; develops program
                                                                            policies and procedures as required.

                                                                     Mission Support Assistant (MSA)
                                                                     The MSA position is to provide clerical support to the Mission
                                                                     Support Team. The MSA is a member of a cross-functional team
                                                                     to utilize resources and develop expertise in several mission sup-
                                                                     port areas, and may work in one or more of the following areas:




                                                               3.6
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                                                                                   3. OPERATIONAL REQUIREMENTS




                 ICE Staff Positions                                                           ICE Staff Positions
1.0 Office Zone                                                               1.0 Office Zone
1.2 ICE Administration cont.                                                  1.2 ICE Administration cont.
                                                                                   - Conducting studies and preparing staff reports, delivering
     - Public Affairs - gathers information for use in press releas-
                                                                                     briefings to managers to encourage understanding and
       es; assembles, formats and reproduces documents.
                                                                                     acceptance of findings and recommendations.
     - LAN Administration - tasks related to maintaining and
                                                                                   - Reviews, processes and evaluates intelligence informa-
       operating the local area network and other office automa-
                                                                                     tion from a variety of sources.
       tion.
                                                                                   - Participates in and/or develops intelligence collection
     - Financial and Budget - gathers and compiles data, and
                                                                                     plans
       prepares various budget documents for budget requests,
       reprogramming and fund transfers. Prepares budget and
       accounting reports, maintains financial records.
                                                                              OIC Secretary
     - Logistics and Procurement - maintains a variety of log's
                                                                              The OIC Secretary is the senior administrative assistant and has
       and records related to the organization's property man-
                                                                              the primary function of assisting the OIC in all administrative mat-
       agement and space utilization.
                                                                              ters. The OIC Secretary may also serve the AOIC, schedule meet-
     - Human Resources - prepares requests, as directed, for a
                                                                              ings and executive conference room use, and arrange for travel
       variety of personnel actions utilizing the appropriate auto-
                                                                              for the OIC.
       mated systems.
     - General Management Support - establishes and main-
       tains a variety of records and files.
                                                                              1.4 Office of the Principal Legal Advisor (OPLA)
Contracting Officer’s Technical Representative (COTR)

                                                                              Deputy Chief Counsel
ICE Information Technology Specialist (Space Only)                            The Deputy Chief Counsel is responsible for assisting the Chief
The IT Specialist serves as a senior management advisor regard-               Counsel in the management of the Office of the Chief Counsel
ing IT systems and information; leads major agency-wide IT poli-              (OCC), and its offices within the detention facilities. Specific
cy development efforts; coordinated policy dissemination, man-                responsibilities include the following:
ages policy maintenance, and develops mechanisms to measure
policy effectiveness and compliance. Specific responsibilities                     - Serves as first line supervisor to the attorney staff
include the following:                                                             - Serves as first line supervisor to the support staff
                                                                                   - Manages and assigns duties
     - Develops policies, guidelines, and standards for the plan-                  - Provides and oversees the provision of legal advice to the
       ning, development, integration and implementation of IT                       Office of Detention and Removal (DRO) and other DHS
       systems and subsystems.                                                       components
     - Analyzes statutory requirements against existing direc-                     - Provides and oversees the provision of litigation support,
       tives to assess degree of change necessary to comply                          legal assistance, and legal advice to the U.S. Attorney’s
       with new requirements.                                                        Office in the litigation of petitions for review before the cir-
     - Manages special projects that have impact on the delivery                     cuit courts
       of customer support services.                                               - Researches and oversees the research of legal and poli-
     - Leads quick response teams in responding to customer                          cy issues
       service problems resulting from catastrophic events.                        - Writes and oversees the writing of memoranda, briefs,
     - Explores ways to upgrade or enhance the level of service                      legal opinions, letters, reports and other documents
       provided.
     - Acquires IT hardware and software, services and mainte-                Assistant Chief Counsel (ACC)
       nance of IT contracts.                                                 The Assistant Chief Counsels (ACCs) are principally responsible
     - Conducts IT strategic planning and project management.                 for representing the Department in removal proceedings before
                                                                              immigration courts and the Board of Immigration Appeals. Specific
Receptionist                                                                  responsibilities include the following:

                                                                                   - Reviews, prepares and presents cases for trial and on
Intelligence Research Specialist (IRS)                                               appeal
The IRS serves as an expert and engages in developing sources                      - Represents the Department in meetings, conferences and
of information for intelligence collection for projecting data and/or                other forums
estimates of future situations, developing trends, patterns, pro-                  - Provides legal advice to the Office of Detention and
files, estimates, studies and tactical data. Specific duties include                 Removal (DRO) and other DHS components
the following:                                                                     - Provides litigation support, legal assistance, and legal
                                                                                     advice to the U.S. Attorney’s Office in the litigation of civil
     - Developing intelligence collection plans which support                        and criminal cases
       specific programs and activities.                                           - Researches legal and policy issues



                                                                        3.7
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ICE Staff Positions
                ICE Staff Positions                                                         ICE Staff Positions
1.0 Office Zone                                                            1.0 Office Zone
1.4 Office of the Principal Legal Advisor (OPLA) cont.                     1.5 Removal Unit cont.
     - Drafts memoranda, briefs, legal opinions, letters, reports               - Serves as principal advisor on all administrative manage-
       and other documents                                                        ment matters associated with programs and operations for
                                                                                  a significant organizational segment of the agency.
Legal Technician                                                                - Interprets and recommends administrative procedures
The Legal Technicians provide direct support to the Deputy Chief                  and policies.
Counsel and Assistant Chief Counsels. Specific responsibilities                 - Advises on the administrative feasibility of operating
include the following:                                                            plans, suggestions, and proposals.
                                                                                - Sets the overall objectives and resources available (in-
     - Receives, screens, sorts, distributes and sends out mail                   house or contract)
     - Types legal documents                                                    - This position requires the carrying of a firearm.
     - Prepares and files motions, briefs, exhibits and other
       documents                                                           Deportation Officer (DO)
     - Receives phone calls                                                The DO position performs law enforcement functions related to
     - Retrieves and distributes A-files for immigration court             both criminal and non-criminal aliens in the United States who are
       hearings, and related matters                                       at various stages of their deportation/exclusion proceedings.
     - Uses computers for data entry, tracking and ordering A-             DO's work closely with ICE law enforcement officers and attorneys
       files and typing legal documents                                    as well as with US Attorney Offices in identifying, locating, appre-
     - With attorney supervision, drafts simple motions, respons-          hending, and/or prosecuting aliens, developing and coordinating
       es, letters and other documents                                     intelligence, and defending deportation of exclusion proceedings.
                                                                           Specific duties of the Deportation Officer are as follows:
Mail/File Clerk
The Mail/File Clerk is responsible for receiving, sorting and                   - Performs case management of alien custody until depor-
distributing correspondence and files received through incoming                   tation.
mail, pulling and sorting files based on calendars received from                - Fugitive Operations and Investigations - establishes an
the Immigration Court and General Attorneys and reviewing and                     investigative plan to identify, locate and/or apprehend
dispatching all outgoing mail. The Mail/File Clerk is in the Legal                aliens in the US; conducts undercover assignments; plans
Proceedings unit under direct supervision of the District Counsel                 and directs surveillance work.
or Senior Legal Technician. Specific responsibilities include the
                                                                                - Intelligence Information Processing - analyzes intelligence
following:
                                                                                  reports, collects and analyzes multiple intelligence
     - Reads incoming correspondence and notes all references                     sources.
       to previous correspondence.                                              - Detention and deportation hearing participation.
     - Screens mail for priority items such as bond papers
     - Charges files into and out of Legal Proceedings Unite               Deportation Removal Assistant (DRA)
       using AFACS local file tracking software system.                    The primary function of the DRA is to provide clerical and admin-
     - Files case files and secures related material or files from         istrative support to the Detention and Removal Program. The
       other sections of the District Office and other Service             duties require the position to have access to classified files, mate-
       offices.                                                            rials that consist of enforcement of laws and regulations, pertain-
     - Pulls and sorts files for each case calendared for hearing          ing to the detention and removal of detainees.
       based on Immigration Court and General Attorney provid-
       ed calendars                                                             - Under the guidance of a supervisor, the DRA performs
     - As appropriate, receives and screens telephone calls                       routine and recurring processing functions related to the
       requesting files and information from files.                               admission and release of detainees.
     - Receives all materials for mailing out of unit                           - Participates in routine and basic counseling process
     - Types information into computer relating to files and                      under the supervision of higher grade personnel.
       documents in an effort to retrieve files                                 - Provides routine information on questions and issues
     - As appropriate, keeps and compiles statistical data for                    regarding detention and deportation policies, practices,
       monthly unit reports                                                       and procedures.
     - Performs other duties as assigned                                        - Performs file searches and assembles documentation in
                                                                                  accordance with specific instructions.

1.5 Removal Unit
                                                                           1.6 Staff Services/Training
Supervisory Detention & Deportation Officer (SDDO)
The SDDO provides administrative and technical supervision to
DO's, IEA's and clerical personnel. Specific responsibilities              Training Officer
include the following:




                                                                     3.8
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                                                                                3. OPERATIONAL REQUIREMENTS




                  ICE Staff Positions
3.0 Detainee Living Zone
3.1 Detention Administration

Detention Operations Supervisor (DOS)




Supervisory Immigration Enforcement Agent (SIEA)
The SEIA is a first-line supervisor for conducting day-to-day oper-
ations, as well as, short and medium range planning and evalua-
tion of a variety of enforcement functions associated with investi-
gations, identification, apprehension, prosecution, detention, and
deportation of aliens and criminal aliens, and apprehension of
absconders from removal proceedings. Specific duties include:

     - Directly supervises a work unit with a small to medium
       sized staff and performs a full range of supervisory func-
       tions.
     - Plans and schedules work on a daily, weekly, and month-
       ly basis.
     - Monitors and evaluated employees work.
     - Monitors and evaluates the delivery of service to cus-
       tomers and the methods and techniques to provide them.
     - Forecasting, requesting and managing the unit's annual
       budget.
     - Performs the law enforcement duties prescribed for the
       IEA position.


Immigration Enforcement Agent (IEA)
The IEA is responsible for a variety of enforcement functions relat-
ed to investigations, identification, apprehension, prosecution,
detention, and deportation of aliens and criminal aliens, and
apprehension of absconders from removal proceedings. IEA's
regularly enter hostile situations and may be required to make
decisions affecting life, well being, and/or civil liberties of aliens,
the public and other law enforcement officers. Specific duties
include:

     - Processing and deporting or escorting aliens, under final
       order of removal, to their country of citizenship.
     - Detention functions associated with ensuring detainee
       care, intake and outtake processing, counseling, and
       supervision and transportation of aliens.
     - Prosecution activities including initiating criminal proceed-
       ings.
     - Determining alienage and fugitive operations; locates and
       arrests aliens who may or may not have a criminal back-
       ground.
     - Operational support processes for aliens who have been
       apprehended by others.




                                                                          3.9
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             4. FUNCTIONAL REQUIREMENTS



                ICE Space Requirements
                1.0 Office Zone
                2.0 Court Interface Zone
                3.0 Detainee Living Zone
                4.0 Service Zone
                5.0 Facility Support Zone
                Technical Requirements




                                4.1
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           DHS - Immigration and Customs Enforcement
           ICE Design Standards



ICE Space Requirements
FUNCTIONAL REQUIREMENTS
The functional requirements defined in this document           The matrix on the following page summarizes the Net
contain the ICE space requirements, adjacencies, and           and Gross square footages for each of the components
critical work-flow patterns of the Office, Detainee            within the four ICE operated zones. Sub-sections that
Living, and Facility Service zones of the CDF. The             follow provide a breakdown of specific details for each
Court Interface and Facility Support zones do not have         of the components.
any ICE space requirements and can be found under
separate cover.

                                                               CDF FACILITY MODEL



The CDF Facility Model
diagram to the right
represents the zones and
components of a CDF. The
zones and components
operated by ICE are
highlighted with color.




                                                         4.2
                                                                      Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 905 of 1402
                                                                                                                                                                                    4. FUNCTIONAL REQUIREMENTS
    Immigration and Customs Enforcement
    Design Standards
    CONTRACT DETENTION FACILITIES
ICE Space Requirements Summary
    Washington DC
New Office Facility
                                                                                                             Bed Forecast Scenarios
                                              < 200
                                                  0 Beds       200-450
                                                                     0 Beds        450-900
                                                                                         0 Beds     900-1,200
                                                                                                            0 Beds        1,200-1,500
                                                                                                                                    0 Beds    1,500-1,800
                                                                                                                                                        0 Beds   1,800-2,000
                                                                                                                                                                           0 Beds      3,000
                                                                                                                                                                                           0 Beds
                  CDF User Groups           Total     Total   Total       Total    Total    Total    Total        Total    Total      Total    Total     Total    Total     Total    Total     Total
                                            NSF       GSF     NSF         GSF      NSF      GSF      NSF          GSF      NSF        GSF      NSF       GSF      NSF       GSF      NSF       GSF
1.0     Office Zone                         5,484    7,297    7,972      10,515   12,317   16,197   15,100      19,854    17,934    23,576    20,007    26,293   22,394    29,430   29,202   38,366
         1.1    Public Entrance/Lobby       809       1,133    853        1,194    896     1,254     940          1,315    983        1,376    1,027     1,437   1,070      1,498    1,157    1,620
         1.2 ICE Administration              515      685     580          771     820     1,091    1,035        1,377    1,035       1,377    1,035     1,377    1,025     1,363    1,305    1,736
         1.3 CDF Administration              0         0       0           0        0        0        0            0        0          0        0         0        0         0        0         0
         1.4 OPLA                           1,240    1,649    1,640       2,181    2,365   3,145    3,329        4,428     4,417      5,875    5,013     6,667    6,013    7,997    8,295     11,032
         1.5 Removal Unit                   1,140     1,516   1,925      2,503    3,480    4,524    4,475        5,818    5,470       7,111    6,415    8,340    7,244      9,417   10,324    13,421
         1.6 Staff Services/Training        1,780    2,314    2,974       3,866    4,756   6,183    5,321        6,917    6,029       7,838    6,517     8,472   7,042      9,155    8,121    10,557


2.0 Court Interface Zone                     0         0       0           0        0        0        0            0        0          0        0         0        0         0        0         0
         2.1 EOIR Court                      0         0       0           0        0        0        0            0        0          0        0         0        0         0        0         0
         2.2 Public/Detainee Visitation      0         0       0           0        0        0        0            0        0          0        0         0        0         0        0         0


3.0 Detainee Living Zone                    1,415    1,953    2,020      2,788    2,345    3,236    2,690        3,712    3,015       4,161   3,405     4,699    3,600     4,968    4,855     6,700
         3.1 Detention Administration       1,415    1,953    2,020       2,788    2,345   3,236    2,690        3,712    3,015       4,161   3,405     4,699    3,600     4,968    4,855     6,700
         3.2 Detainee Housing (w/Dining)     0         0       0           0        0        0        0            0        0          0        0         0        0         0        0         0
         3.3 Detainee Services               0         0       0           0        0        0        0            0        0          0        0         0        0         0        0         0
         3.4 Recreation                      0         0       0           0        0        0        0            0        0          0        0         0        0         0        0         0
         3.5 Library                         0         0       0           0        0        0        0            0        0          0        0         0        0         0        0         0


4.0 Service Zone                            1,542    2,159    1,602      2,243     1,722   2,411    1,764        2,470    1,866       2,612   2,088     2,923    3,246     4,544    3,588     5,023
         4.1 Processing                     1,542    2,159    1,602       2,243    1,722    2,411   1,764        2,470     1,866      2,612   2,088      2,923   3,246     4,544    3,588     5,023
         4.2 Health Services                 0         0       0           0        0        0        0            0        0          0        0         0        0         0        0         0
         4.3 Laundry                         0         0       0           0        0        0        0            0        0          0        0         0        0         0        0         0
        4.4 Food Preparation                 0         0       0           0        0        0        0            0        0          0        0         0        0         0        0         0


5.0 Facility Support Zone                   300       390     300         390      300      390      300          390      300        390      300       390      300       390      300      390
         5.1 Common Support                 300       390     300         390      300      390      300          390      300        390      300       390      300       390      300       390
         5.2 Warehouse/Supply                0         0       0           0        0        0        0            0        0          0        0         0        0         0        0         0
         5.3 Maintenance/Fleet Operations    0         0       0           0        0        0        0            0        0          0        0         0        0         0        0         0
         5.4 Central Utility Plant           0         0       0           0        0        0        0            0        0          0        0         0        0         0        0         0


        Total                               7,326    9,846    9,874      13,148   14,339   18,998   17,164       22,714   20,100    26,578    22,395    29,606   25,940    34,365   33,090   43,780

Color     = ICE Operated

White     = Other Agency Operated

Gray      = Contractor Operated


                                                                                                                                                                                             4.2.A
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                                              4. FUNCTIONAL REQUIREMENTS




                               4.3
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                               4.4
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             1.0 Office Zone



                1.1   Public Entrance/Lobby (ICE Responsibility)
                1.2   ICE Administration (ICE Responsibility)
                1.3   CDF Administration (Contractor Responsibility)
                1.4   Office of the Principal Legal Advisor (OPLA) (ICE Responsibility)
                1.5   Removal Unit (ICE Responsibility)
                1.6   Staff Services and Training (ICE Responsibility)




                                 4.5
             Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 910 of 1402
            DHS - Immigration and Customs Enforcement
            ICE Design Standards



1.0 Office Zone
The Office Zone provides a normal office setting for             The components within the Office Zone are listed
administrative and public functions of the CDF. Office           below:
components do not have direct contact with, or are
used by the detainees performing functions outside of                   1.1 Public Entrance/Lobby (ICE Operated)
the primary secure perimeter. The Office Zone is a                      Spaces designated for receiving and
non-secure area located outside the secure perimeter                    supporting public visitors within the CDF.
but requiring screening and control of the public
entering the area. Security provisions should be                        1.2 ICE Administration (ICE Operated)
appropriate for any government office area with                         Headed by the Facility Administrator directing
confidential information. Access needs to be controlled                 and managing the CDF, including the staff and
and the building envelope should be monitored to                        spaces required for this function.
detect unauthorized entry, though it does not need
special hardened construction. Direct emergency                         1.3 CDF Administration (Contractor Operated)
egress may be provided. Points of public or service                     Contractor retained by DHS/ICE to operate the
access must be readily identifiable with proper signage.                CDF.
(Flagpoles are popular devices used to identify public
entrances.) Access points (both public and service)                     1.4 Office of the Principal Legal Advisor
require means of audible and visual communication                       (OPLA) (ICE Operated)
with the controlling point, usually the Central Control.                Attorneys that prosecute the cases.

The Office Zone does not have direct contact with, and                  1.5 Removal Unit (ICE Operated)
is not used by, the detainees. Office Zone functions are                Staff, activities, and spaces of the Removal
performed outside of the primary security perimeter.                    section of Detention and Removal Operations
                                                                        (DROP) within the CDF.
The diagram on the following page illustrates the Office
Zone components and the critical adjacency                              1.6 Staff Services/Training (ICE Operated)
requirements for a productive work environment. It is                   Spaces to be used for training and those areas
highly recommended that the functional adjacencies be                   used exclusively by the employees.
followed as close as possible when designing the
space.

The following information has been provided for each
of the components:

Function
Describes the overall purpose of the component within
the CDF.

Critical Workflow Patterns
Identifies the most critical workflow patterns necessary
for efficient staff productivity.

Room Data Sheets
Provides detailed information on all spaces within the
components (i.e., function statements, photograph,
floor plan, systems, furniture, and equipment)




                                                           4.6
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                                                                                                    4. FUNCTIONAL REQUIREMENTS




                             1.0 Office Zone : Organizational Diagram

                                                                                             FACILITY CHECK-IN
                                                                                             Gate House

                                                                                                                                   PROPERTY
                                                                                                                                   LINE
                                        Staﬀ                                                 Staﬀ                                  FENCE
                 1.Oﬃce                Parking              Public Parking                  Parking
                 Zone
                 Non-Secure Zone
                                                                                                                                   SECURITY
                                                                                                   1.2                             BUFFER
JUDGES
                                       1.4
                                                                                                 Admin.


                       1
PRIVATE
                                      OPLA               Security Check Area
                                                                                                   ICE
ENTRANCE                                                          1.1
                                                          Public Entrance/                         1.3                             PERIMETER
                                       1.5                     Lobby                             Admin.                            PATROL
                                     Removal              Waiting/Support Area
                                                                                                                                   ROAD
                                                                                                   CDF


                 2.Court                        2.1
                                                2                                          Arm. L.D.                               INTAKE/



                              2
                 Interface                                      P. 2.2
                                                                    . D.              1.6                                          SERVICE
                                               EOIR
                                                O
                                                               Visitation
                                                                    a                                                              ROAD
                 Zone                 Admin.       Courts                             Staﬀ Services
                 Interface Zone
                           Zo                                        Holding             & Training            Vehicle
                                                                                                              Sallyport
                                                                                                              Sa
                                                                                                              Sally
                                                                                                               a ypoort
                                                                                                                    o
                                          3.1                     3.2
                                                                  32
                                       Detention                                           4.1     Vehicle
                                                                                                   Vehicl
                                                                                                   V e
                                                                                                     ehiccle
                                                                                                           e
                                                                Security
                                                                Sec
                                                                  curity               Processing Sally
                                     Administration            Command
                                                               Commmmand
                                                                    m   d                         Sallyport
                                                                                                  S al por
                                                                                                    allypoort
                                                                                                           rt                      PERIMETER
                                                                                                                                   SECURITY
                                                                                                                                   FENCE


                                                                                                            4
                   E




                                                                                                                       E
                                                                                      4.2
                   N




                                                                                                                       N
                                            3.2                                 Health Services
                                          Housing
                   O




                                         (w/dining)                                      4.3                           O
                   Z




                                                                                                                       Z
                                                                                       Laundry
                                                                                                          4.Servic
                                                                                                          4.Service
                                                                                                               v e
                                                                                        4.4               Zone


                         3
                                                                                     Food Prep.           Restricted Detainee
                                                                                                                     D ain
                   N




                                                                                                                       N




                                                                                                          Movementt
                                     3.4            3.3 D.S.
                   O




                                                                                                                       O




                                     Rec.                                               5.2
                                                 3.5 Library
                   I




                                                                                                                       I




                                                                                     Warehouse
                   S




                                                                                                                       S




                                                                                5.1
                                                                                              L.D.
                   N




                                                                                                                       N




                                                                               C.S.


                                                                                                            5
                                                                                         5.3
                   A




                                                                                                                       A




                                            3.2
                                          Housing                                    Maintenance
                   P




                                                                                                                       P




                                         (w/dining)
                   X




                                                                                                                       X
                   E




                                                                                                                       E




                                                                                          5.4
                                                                                     Utility Plant

                 3.Detainee Living Zone                                      5.Facility Support Zone
                Secure Zone With Normal Detainee Movement                  Restricted Support Zone




                                                                    LEGEND

           = Main Gate Check Point             = Pedestrian Sallyport           P.    = Public             L.D. = Loading Dock

           = Security Gate                     = External Secure Door          D.     = Detainee           C.S. = Common Support

           = Internal Secure Door              = Pedestrian Traﬃc              D.S. = Detainee Services




                                                             4.7
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             DHS - Immigration and Customs Enforcement
             ICE Design Standards



1.0 Office Zone - Space Requirements
SPACE FORECAST MATRIX                                                               Space Planning Formulas
The Space Requirements Summary Matrix on the
following page, identifies the spaces needed for each               1.1 Public Entrance/Lobby
                                                                        • Number of weapons lockers = total gun carrying staff + 20
of the functional units within the Office Zone. The
                                                                          visitors
matrix is also designed to forecast these needs for the
following planning scenarios:

    1.    <200 beds
                                                                    1.2 ICE Administration
    2.     200 - 450 beds
                                                                        • None
    3.     450 - 900 beds
    4.     900 - 1,200 beds
    5.   1,200 - 1,500 beds                                         1.3 CDF Administration
    6.   1,500 - 1,800 beds                                             • None
    7.   1,800 - 2,000 beds
    8.   2,000 - 3,000 beds
                                                                    1.4 Office of the Principal Legal Advisor (OPLA)
                                                                        • Immigration Judges = 1 per each 200 detainees
The bed ranges were determined to best represent the
capacity range for existing and planned detainee                        • Assistant Chief Counsel Offices = 2.3 per each courtroom
populations.
                                                                        • Legal Technicians = 1 per each 3 Assistant Chief
                                                                          Counsels positions
For each planning scenario, the following information
is provided:

    - # of Users is the number of persons (staff or                 1.5 Removal Unit
                                                                        • 1 file cabinet for each 60 detainees
      detainees) in a given space.

    - # of Spaces is the quantity of a given space.

    - Space Size NSF is the net square feet or size of a            1.6 Staff Services/Training
                                                                        • Number of lockers:
      given space.
                                                                          - 1 for each uniformed person + 1 for each 4
    - Total Size NSF is the number of spaces or quantity of                  non-uniformed staff
                                                                          - Male/Female split = 85/15
      a space times the NSF or size.
                                                                        • Number of showers = 1 for each 15 lockers
The sidebar to the right highlights some of the Space
Planning Formulas that are used for calculating areas.

SPACE CALCULATIONS/DEFINITIONS
The total Net Square Footage is the sum of all net
areas of the spaces listed. This number is multiplied by
a Net-Gross Factor (an industry factor based on space
type) to determine Gross Square Footage (GSF). This
factor is intended to account for space such as
circulation space, mechanical space, wall thicknesses,
etc., that are not programmed space.

    - Net Square Footage (NSF)
      Total clear floor area within a given room, excluding
      walls, corridors, mechanical equipment rooms, shafts,
      stairs, and chases.

    - Gross Square Footage (GSF)
      Total building area measured from outside face of
      exterior walls.


                                                              4.8
                                                                                                                                                                                                 Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 913 of 1402
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    4. FUNCTIONAL REQUIREMENTS
Immigration and Customs Enforcement                                                                                                                                                                                                                             Office Zone
Design Standards                                                                                                                                                                                                                                                          1.0
CONTRACT DETENTION FACILITIES


1.0 Office Zone - Space Requirements Summary
Washington DC


                                                                                                   200                                           450                                           900                                          1200                                             1500                                          1800                                          2000                                          3000
          1.0
            0 OFFICE
                   E ZONE                                                     ICE
                                                                                E CDF                        < 200
                                                                                                                 0 BEDS                                   200-450
                                                                                                                                                                0 BEDS                                  450-900
                                                                                                                                                                                                              0 BEDS                                 900-1200
                                                                                                                                                                                                                                                            0 BEDS                                    1200-1500
                                                                                                                                                                                                                                                                                                              0 BEDS                                1500-1800
                                                                                                                                                                                                                                                                                                                                                            0 BEDS                               1800-2000
                                                                                                                                                                                                                                                                                                                                                                                                         0 BEDS                                   3000
                                                                                                                                                                                                                                                                                                                                                                                                                                                     0 BEDS                         Comments
                                                                             STANDARD
                                                                                                   # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size      Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total
 ID#      SPACE  E NAME                                               NSF Unit of Measure         Users    Spaces        NSF       NSF          Users    Spaces        NSF       NSF          Users    Spaces        NSF       NSF          Users    Spaces        NSF          NSF          Users    Spaces        NSF       NSF          Users    Spaces        NSF       NSF          Users    Spaces        NSF       NSF          Users    Spaces        NSF       NSF
  1.1     Publicc Entrance/Lobby
  1.1.1   Vestibule                                                    60                                     1           60          60                    1           60           60                   1           60           60                   1           60              60                   1           60          60                    1           60          60                    1           60           60                   1           60           60
 1.1.2    Visitor Check In/Prescreening Area                           80     sf                              1           80          80                    1           80           80                   1           80           80                   1           80              80                   1           80          80                    1           80          80                    1           80           80                   1           80           80      Queing/stacking for visitors ahead of scanner/metal detector
 1.1.3    Weapons Drop Room                                           120     sf                    28        1          120         120          36        1          120          120         48        1          120          120         52        1          120             120         68        1          120         120          76        1          120         120          84        1          120          120         116       1          120          120      for Officers; ahead of scanning equip.; out of public view
 1.1.4    Visitor Property Lockers                                    1.75    sf/locker              8        1          1.75          14         10        1            2            18        12        1          1.75           21        14        1          1.75             25         16        1          1.75         28          18        1          1.75         32          20        1          1.75          35         24        1          1.75          42      ahead of scanning/metal detection equipment
 1.1.5    Visitor Security Check-In Area                               80     sf                              1           80          80                    1           80           80                   1           80           80                   1           80              80                   1           80          80                    1           80          80                    1           80           80                   1           80           80      Validate by geographic location
 1.1.6    Recepetion/Security Post                                     40     sf/position           1         1           40          40          1         1           40           40         1         1           40           40         1         1           40              40         1         1           40          40          1         1           40          40          1         1           40           40          1        1           40           40      Validate by geographic location
 1.1.7    Visitor Search Room                                         100     sf                              1          100         100                    1          100         100                    1          100         100                    1          100            100                    1          100         100                    1          100         100                    1          100         100                    1          100         100       Validate by geographic location
 1.1.8    Visitor Waiting Area                                         20     sf/seat               8         1           20         160          10        1           20         200          12        1           20         240          14        1           20            280          16        1           20         320          18        1           20         360          20        1           20         400          24        1           20         480       w/ baby changing station
 1.1.9    Visitor Vending Area                                         25     sf                              1           25          25                    1           25           25                   1           25           25                   1           25              25                   1           25          25                    1           25          25                    1           25           25                   1           25           25
1.1.10    Visitor Telephone Area                                       10     sf                              1           10           10                   1           10           10                   1           10           10                   1           10              10                   1           10           10                   1           10           10                   1           10           10                   1           10           10
 1.1.11   Visitor Toilet - Male                                        60     sf                              1           60          60                    1           60           60                   1           60           60                   1           60              60                   1           60          60                    1           60          60                    1           60           60                   1           60           60      w/ baby changing station
1.1.12    Visitor Toilet - Female                                      60     sf                              1           60          60                    1           60           60                   1           60           60                   1           60              60                   1           60          60                    1           60          60                    1           60           60                   1           60           60
                                                                                                                                      809                                           853                                           896                                              940                                           983                                          1,027                                        1,070                                           1,157
                                                                                                 Net-Gross Factor        1.40          324     Net-Gross Factor        1.40           341    Net-Gross Factor        1.40         358      Net-Gross Factor        1.40             376     Net-Gross Factor        1.40         393      Net-Gross Factor        1.40          411     Net-Gross Factor        1.40         428      Net-Gross Factor        1.40         463
                                                                                                 Grosss Square
                                                                                                             e Feet                  1,133     Grosss Square
                                                                                                                                                           e Feet                  1,194     Grosss Square
                                                                                                                                                                                                         e Feet                 1,254      Grosss Square
                                                                                                                                                                                                                                                       e Feet                     1,315     Grosss Square
                                                                                                                                                                                                                                                                                                        e Feet                 1,376      Grosss Square
                                                                                                                                                                                                                                                                                                                                                      e Feet                 1,437      Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                    e Feet                 1,498      Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                                                                  e Feet                 1,620
  1.2 ICE E Administration
 1.2.1 Officer in Charge (OIC) Office                                 300     sf                   1          1         300          300          1         1         300          300          1         1         300          300          1         1         300             300          1         1         300          300          1         1         300          300          1         1         300          300           1       1          300          300
 1.2.2 Assistant Officer in Charge (AOIC) Office                      200     sf                                        200              0                            200              0        1         1         200          200          1         1         200             200          1         1         200          200          1         1         200          200          1         2         200          400           1       2          200          400
 1.2.3 Intelligence Officer Office                                    200     sf                                        200              0                            200              0        1         1         200          200          1         1         200             200          1         1         200          200          1         1         200          200          1         2         200          400           1       3          200          600
 1.2.4 Supervisory Mission Support Specialists (SMSS) Office           175    sf                                         175             0                             175             0                             175            0                              175               0                              175            0                              175            0                              175            0          1       1           175           175
 1.2.5 Chief Immigration Enforcement Agent (CIEA) Office              150     sf                                        150              0                            150              0        1         1         150           150          1        1         150              150          1        1         150           150          1        1         150           150         1        1          150           150          1       1          150           150
 1.2.6 Mission Support Specialists (MSS) Office                       150     sf                                        150              0                            150              0        1         1         150           150          1        1         150              150          1        1         150           150          1        2         150          300          1        4          150          600           1       4          150          600
 1.2.7 Contracting Officer's Techincal Representitive (COTR) Office   150     sf                                        150              0                            150              0        1         1         150           150          1        2         150             300           1        2         150          300           1        3         150          450          1        3          150          450           1       4          150          600
 1.2.8 OIC Secretary Workstation                                       80     sf                                         80              0                             80              0        1         1          80            80          1        1          80               80          1        1          80            80          1        1          80            80         1        1           80            80          1       1           80            80
 1.2.9 Receptionist Workstation w/ Transaction Window                  80     sf                                         80              0                             80              0        1         1          80            80          1        1          80               80          1        1          80            80          1        1          80            80         1        1           80            80          1       1           80            80
1.2.10 ICE IT Specialist (space only) Workstation                      80     sf                   1          1          80            80         1         1          80            80         1         1          80            80          1        1          80               80          1        1          80            80          1        1          80            80         1        1           80            80          1       1           80            80
 1.2.11 Mission Support Assistant (MSA) Workstation                    65     sf                                         65              0        1         1          65            65         1         2          65           130          1        2          65              130          1        2          65           130          1        2          65           130                              65             0          1       2           65           130
1.2.12 Intelligence Research Specialist (IRS) Workstation              65     sf                                         65              0                             65              0                             65             0          1        1          65               65          1        1          65            65          1        1          65            65          1        1          65            65          1       1           65             65
1.2.13 Executive Conference Room                                       25     sf/occupant         8           1          25          200          8         1          25          200          12        1          30          360          12        1          30             360          12        1          30          360          12        1          30          360          16        1          30          480          16       1           30          480       larger facilities include gallery space
1.2.14 Records/Files Room                                               15    sf/file cabinet     4           1           15           60         4         1           15           60         4         1           15           60         4         1           15              60         4         1           15           60         4         1           15           60         4         1           15           60         4        1            15           60
1.2.15 Copier/Fax/Shredder Room                                       150     sf per copier/shredder          1         150           150                   1         150           150                   1         150           150                   2         150             300                    2         150          300                    2         150          300                    2         150          300                   3          150          450
1.2.16 Printer Area                                                     15    sf/printer                      1           15            15                  1           15            15                  2           15           30                   2           15              30                   2           15           30                   2           15           30                   2           15           30                  2            15           30      average 10 people per printer; min of 2
1.2.17 File Area                                                        15    sf/file cabinet                             15             0                              15             0                              15            0                               15               0                               15            0                               15            0                               15            0                               15             0
1.2.18 Officer Toilet Male                                             45     sf                              1          45            45                   1          45            45                   1          45            45                   1          45               45                   1          45            45                   1          45            45                   1          45            45                   1          45             45
1.2.19 Officer Toilet Female                                           45     sf                              1          45            45                   1          45            45                   1          45            45                   1          45               45                   1          45            45                   1          45            45                   1          45            45                   1          45             45
                                                                                                                                       515                                          580                                           820                                             1,035                                         1,035                                         1,035                                         1,025                                         1,305
                                                                                                 Net-Gross Factor        1.33         170      Net-Gross Factor        1.33          191     Net-Gross Factor        1.33           271    Net-Gross Factor        1.33             342     Net-Gross Factor        1.33          342     Net-Gross Factor        1.33          342     Net-Gross Factor        1.33         338      Net-Gross Factor        1.33          431
                                                                                                 Grosss Square
                                                                                                             e Feet                   685      Grosss Square
                                                                                                                                                           e Feet                    771     Grosss Square
                                                                                                                                                                                                         e Feet                  1,091     Grosss Square
                                                                                                                                                                                                                                                       e Feet                     1,377     Grosss Square
                                                                                                                                                                                                                                                                                                        e Feet                  1,377     Grosss Square
                                                                                                                                                                                                                                                                                                                                                      e Feet                  1,377     Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                    e Feet                 1,363      Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                                                                  e Feet                 1,736
 1.3 CDF F Administration
 1.3.1 Contractor Space
                                                                                                                                           0                                             0                                             0                                                0                                             0                                             0                                             0                                             0
                                                                                                 Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33                 0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0
                                                                                                 Grosss Square
                                                                                                             e Feet                        0   Grosss Square
                                                                                                                                                           e Feet                        0   Grosss Square
                                                                                                                                                                                                         e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                       e Feet                           0   Grosss Square
                                                                                                                                                                                                                                                                                                        e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                      e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                    e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                                                                  e Feet                        0
  1.4 OPLA                                                                                       number of Judges:        1                    number of Judges:        2                    number of Judges:        3                    number of Judges:        5                       number of Judges:        7                    number of Judges:        8                    number of Judges:       10                    number of Judges:       15
 1.4.1 Deputy Chief Counsel Office                                    225     sf                                        225            0                              225            0          1         1         225           225          1        1          225             225          1        1          225         225           1        1          225          225          1        1          225          225          1        1          225          225
 1.4.2 Assistant Chief Counsel Office                                 150     sf                    1         3         150          450          1         5         150          750          1         7         150        1,050           1       12          150          1,800           1       17          150       2,550           1       19          150       2,850           1       24          150       3,600                   36          150       5,400       2.3/courtroom always round up
 1.4.3 Legal Technician Workstation                                   100     sf                    1         1         100          100          1         2         100          200          1         3         100          300           1       4           100            400           1       6           100        600            1        7          100         700           1        8          100         800                   12          100       1,200       1 per 3 ACC's always round up
 1.4.4 Mail/File Clerk Office                                         100     sf                                        100            0                              100            0          1         1         100          100           1        1          100            100           1        1          100         100           1        1          100         100           1        1          100         100           1        1          100         100
 1.4.5 Support Workstation w/ Scanner, Printer, Fax                    65     sf                    1         1          65           65          1         1          65           65          1         1          65            65          1        1           65              65          1        1           65          65           1        1           65           65          1        1           65           65          1        1           65           65
 1.4.6 Law Library/Conference Room                                     22     sf/occupant           3         1         200          200          5         1         200          200          8         1         200          200          12        1           22            264          16        1           22         352          20        1           22         440          24        1           22          528         24        1           22         528       200 sf minimum
 1.4.7 Copier/Storage Room                                             75     sf                              1          75           75                    1          75           75                    1          75            75                   1           75              75                   1           75          75                    1           75           75                   1           75           75                   1           75           75
 1.4.8 Supply Room                                                     50     sf                              1          50           50                    1          50           50                    1          50            50                   1           50              50                   1           50          50                    1           58           58                   1           70           70                   1          102          102      50 sf min + 2 sf for ea. employee over 25
 1.4.9 Break Room                                                      25     sf/occupant           8         1          25          200          8         1          25          200          8         1          25          200          10        1           25            250          12        1           25        300           16        1           25        400           18        1           25         450          20        1           25         500       150 sf min + 25 sf per ACC after that
1.4.10 Classified File Room                                           100     sf                              1         100          100                    1         100          100                    1         100          100                    1          100            100                    1          100         100                    1          100         100                    1          100         100                    1          100         100
                                                                                                                                     1,240                                         1,640                                         2,365                                           3,329                                          4,417                                         5,013                                         6,013                                        8,295
                                                                                                 Net-Gross Factor        1.33         409      Net-Gross Factor        1.33          541     Net-Gross Factor        1.33        780       Net-Gross Factor        1.33          1,099      Net-Gross Factor        1.33       1,458      Net-Gross Factor        1.33        1,654     Net-Gross Factor        1.33       1,984      Net-Gross Factor        1.33        2,737
                                                                                                 Grosss Square
                                                                                                             e Feet                 1,649      Grosss Square
                                                                                                                                                           e Feet                  2,181     Grosss Square
                                                                                                                                                                                                         e Feet                 3,145      Grosss Square
                                                                                                                                                                                                                                                       e Feet                    4,428      Grosss Square
                                                                                                                                                                                                                                                                                                        e Feet                 5,875      Grosss Square
                                                                                                                                                                                                                                                                                                                                                      e Feet                 6,667      Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                    e Feet                 7,997      Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                                                                  e Feet                11,032
  1.5 Removall Unit
 1.5.1 Supervisory Detention & Deportation Officer (SDDO) Office      150     sf                    1         1          150          150         1         2          150         300           1       3           150          450          1       4           150            600           1       5           150         750           1       6           150         900           1       7           150       1,050           1      10           150       1,500
 1.5.2 Deportation Officer (DO) Office                                130     sf                    1         3          130         390          1         6          130         780           1       12          130        1,560          1       16          130          2,080           1      20           130       2,600           1      24           130        3,120          1      27           130       3,510           1      40           130       5,200
 1.5.3 Deportation Removal Assistant (DRA) Workstation                 65     sf                    1         3           65          195         1         6           65         390           1       12           65          780          1       16           65          1,040           1      20            65       1,300           1      24            65        1,560          1      27            65        1,755          1      40            65       2,600
 1.5.4 Shared Computer Workstations                                    50     sf                                          50             0        1         1           50           50          1        1           50           50          1        2           50            100           1       3            50          150          1       3            50          150          1       4            50         200           1       5            50         250       total files = detainees + 20%
 1.5.5 Conference Room                                                 22     sf/occupant                                 22             0                              22             0        10        1           22          220         10        1           22            220          10       1            22         220          10       1            22          220         12       1            22          264         12       1            22         264
 1.5.6 Records/Files Room                                              15     sf/file cabinet               0.0           15             0                0.0           15             0                0.0           15            0                 0.0           15               0                 0.0           15            0                 0.0           15            0                 0.0           15            0                 0.0           15            0      1 file per detainee; 60 files per cabinet
 1.5.7 Supply/Storage Room                                            150     sf                             1           150          150                  1           150          150                   1          150          150                   1          150             150                  1           150          150                  1           150          150                  1           150          150                  1           150          150
 1.5.8 Copier/Fax/Shredder Room                                       150     sf                             1           150          150                  1           150          150                   1          150          150                   1          150             150                  1           150          150                  1           150          150                  1           150          150                  1           150          150
 1.5.9 Printer Area                                                    15     sf/printer                     1            15            15                 1            15            15                 2            15           30                   3           15              45                  4            15           60                  5            15           75                  5            15           75                  8            15          120      average 10 people per printer; min of 2
1.5.10 Officer Toilet Male                                             45     sf                             1            45           45                  1            45           45                   1           45           45                   1           45              45                  1            45           45                  1            45           45                  1            45           45                  1            45           45
 1.5.11 Officer Toilet Female                                          45     sf                             1            45           45                  1            45           45                   1           45           45                   1           45              45                  1            45           45                  1            45           45                  1            45           45                  1            45           45
                                                                                                                                     1,140                                         1,925                                        3,480                                            4,475                                         5,470                                          6,415                                        7,244                                        10,324
                                                                                                 Net-Gross Factor        1.33          376     Net-Gross Factor        1.30          578     Net-Gross Factor        1.30       1,044      Net-Gross Factor        1.30          1,343      Net-Gross Factor        1.30        1,641     Net-Gross Factor        1.30       1,925      Net-Gross Factor        1.30       2,173      Net-Gross Factor        1.30       3,097
                                                                                                 Grosss Square
                                                                                                             e Feet                  1,516     Grosss Square
                                                                                                                                                           e Feet                 2,503      Grosss Square
                                                                                                                                                                                                         e Feet                 4,524      Grosss Square
                                                                                                                                                                                                                                                       e Feet                    5,818      Grosss Square
                                                                                                                                                                                                                                                                                                        e Feet                   7,111    Grosss Square
                                                                                                                                                                                                                                                                                                                                                      e Feet                8,340       Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                    e Feet                 9,417      Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                                                                  e Feet                13,421
  1.6 Stafff Services/Training
  1.6.1 Staff Entrance Vestibule                                       60     sf                              1          60            60                   1          60            60                   1          60            60                   1          60               60                   1          60            60                   1          60            60                   1          60            60                   1          60            60
 1.6.2 Weapons Drop Area                                              120     sf                              1         120           120                   1         120           120                   1         120           120                   1         120              120                   1         120           120                   1         120           120                   1         120           120                   1         120           120
 1.6.3 Training Officer Office                                        120     sf                                        120             0                             120             0         1         1         120           120          1        1         120              120         1         1         120           120         1         1         120           120          1        1         120           120         1         1         120           120
 1.6.4 Visiting Trainer Officer Office                                120     sf                                        120             0                             120             0                             120             0          1        1         120              120         1         1         120           120         1         1         120           120          1        1         120           120         1         1         120           120
 1.6.5 Muster Room                                                     22     sf/occupant           12        1          22          264          20        1          22          440         30         1          22          660          36        1          22              792        40         1          22          880         40         1          22          880          48        1          22         1,056        60         1          22         1,320      could adjoin classroom
 1.6.6 Exercise Room                                                   25     sf/occupant           16        1          25          400          16        1          25          400         16         1          25          400          16        1          25             400         30         1          25          750         32         1          25          800          32        1          25          800         40         1          25        1,000       verify w/ HIP Coordinator
  1.6.7 Physical Training Room                                        600     sf                                        600             0                   1         400          400                    1         600          600                    1         600             600                    1         600          600                    1         600          600                    1         600          600                    1         600          600
 1.6.8 Classroom/Computer Training Room                                25     sf/occupant                                25             0         8         1          25          200          12        1          25          300          16        1          25             400          20        1          25          500          24        1          25          600         30         1          25           750        30         1          25           750
 1.6.9 FATS Training Room                                             450     sf                                        450             0                             450             0                   1         450          450                    1         450             450                    1         450          450                    1         450          450                    1         450           450                   1         450           450
1.6.10 ICE Armory (SEE SECTION 3.1)
 1.6.11 ICE Ready Room (SEE SECTION 3.1)
 1.6.12 Training File Area                                             15     sf/file cabinet       1         1          15             15        1         1          15             15        1         1          15             15        2        1           15               30         2         1          15            30         2         1          15           30          2         1          15            30         3        1           15            45
1.6.13 Workroom                                                       200     sf                                        200              0                            200              0                  1         200          200                   1          200             200                    1         200          200                    1         200          200                    1         200          200                   1          200          200
1.6.14 Resource Library                                                25     sf/cabinet/shelf      4         1          25          100          6         1          25           150         8         1          25          200           8       1           25             200           8        1          25          200          10        1          25          250          12        1          25          300          12       1           25          300
 1.6.15 Staff Breakroom                                                25     sf/seat               8         1          25          200          12        1          25          300          16        1          25          400          20       1           25             500          24        1          25          600          24        1          25          600          28        1          25          700          36       1           25          900
1.6.16 Vending Area                                                    25     sf                              1          25            25                   1          25            25                   1          25            25                  1           25               25                   1          25            25                   1          25           25                    1          25             25                 1           25            25
 1.6.17 Male Staff Lockers                                              7     sf/locker             12        1           7            84         24        1           7           168         50        1           7          350          62       1            7             434          70        1           7          490         90         1           7          630          93        1           7            651       126       1            7          882       1 for ea. uniformed agent + 1 for ea. 4 staff split M/F 85/15
1.6.18 Male Staff Toilet                                               60     sf/toilet             2         1          60           120          3        1          60           180          4        1          60          240           4       1           60             240           4        1          60          240          5         1          60          300           5        1          60          300          6        1           60          360
1.6.19 Male Staff Shower                                               20     sf/shower              1        1          20            20          1        2          20            20          1        3          20            20          1       4           20               20          1        5          20            20         1         6          20           20           1        6          20            20          1       8           20            20      use 15 lockers to 1 shower ratio; 1 ADA
1.6.20 Male Shower Dressing Area                                       20     sf                     1        1          20            20          1        2          20            20          1        2          20            20          1       2           20               20          1        2          20            20         1         3          20           20           1        3          20            20          1       4           20            20
 1.6.21 Female Staff Lockers                                            7     sf/locker             6         1           7            42          8        1           7            56          8        1           7            56         10       1            7               70         12        1           7            84        16         1           7           112         20        1           7           140         27       1            7           189      1 for ea. uniformed agent + 1 for ea. 4 staff split M/F 85/15
1.6.22 Female Staff Toilet                                             60     sf/toilet             2         1          60           120          3        1          60           180          3        1          60           180          3       1           60              180          3        1          60           180         4         1          60          240           4        1          60          240          5        1           60          300
1.6.23 Female Staff Shower                                             20     sf/shower              1        1          20            20          1        1          20            20          1        1          20            20          1       1           20               20          1        2          20            20         1         2          20           20           1        2          20            20          1       3           20            20      use 15 lockers to 1 shower ratio; 1 ADA
1.6.24 Female Shower Dressing Area                                     20     sf                     1        1          20            20          1        1          20            20          1        1          20            20          1       1           20               20          1        2          20            20         1         2          20           20           1        2          20            20          1       3           20            20
1.6.25 Bulk Storage Room (Disposed Property)                          300     sf                              1         150           150                   1         200          200                    1         300          300                   1          300             300                    1         300          300                    1         300          300                    1         300          300                   1          300          300
1.6.26 Loading Dock & Staging                                                                                                            0                                             0                                             0                                               0                                             0                                             0                                              0                                            0
                                                                                                                                     1,780                                         2,974                                         4,756                                            5,321                                        6,029                                          6,517                                        7,042                                          8,121
                                                                                                 Net-Gross Factor        1.30         534      Net-Gross Factor        1.30         892      Net-Gross Factor        1.30       1,427      Net-Gross Factor        1.30          1,596      Net-Gross Factor        1.30       1,809      Net-Gross Factor        1.30        1,955     Net-Gross Factor        1.30        2,113     Net-Gross Factor        1.30       2,436
                                                                                                 Grosss Square
                                                                                                             e Feet                 2,314      Grosss Square
                                                                                                                                                           e Feet                 3,866      Grosss Square
                                                                                                                                                                                                         e Feet                 6,183      Grosss Square
                                                                                                                                                                                                                                                       e Feet                    6,917      Grosss Square
                                                                                                                                                                                                                                                                                                        e Feet                 7,838      Grosss Square
                                                                                                                                                                                                                                                                                                                                                      e Feet                 8,472      Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                    e Feet                 9,155      Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                                                                  e Feet                10,557



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         4.8.A
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1.0 Office Zone    1.1 Public Entrance/Lobby                         (ICE Operated)


                        Space Requirements
                        1.1.1   Vestibule
                        1.1.2   Visitor Check-In/Prescreening Area
                        1.1.3   Weapons Drop Room
                        1.1.4   Visitor Property Lockers
                        1.1.5   Visitor Security Check-In Area
                        1.1.6   Reception/Security Post
                        1.1.7   Visitor Search Room
                        1.1.8   Visitor Waiting Area
                        1.1.9   Visitor Vending Area
                        1.1.10 Visitor Telephone Area
                        1.1.11 Visitor Toilets - Male
                        1.1.12 Visitor Toilets - Female




                                  4.9
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            DHS - Immigration and Customs Enforcement
            ICE Design Standards



1.1 Public Entrance/Lobby - Function
FUNCTION STATEMENT                                                                       Design Criteria
The primary function of the Public Entrance/Lobby is to
provide a place where the public can enter the facility,          Critical Issues
be greeted, be screened, wait and be directed to their
destination. The Public Entrance/Lobby serves the                 9     No more than one primary public entrance to the
public seeking access to detainee Visitation, EOIR                      facility
                                                                  9     Clear and identifiable access from public parking
Court,    Removal      Unit,   and      ICE/Contractor
                                                                  9     Controlled access after passing through the vestibule
Administration.                                                   9     Visitors are always escorted to their destination
                                                                  9     All visitors are subject to identification and security
All public access to the facility must be gained through                screening
the Public Entrance/Lobby. A security post/reception              9     The main entrance must have direct visual monitoring
desk is located in the Public Entrance/Lobby to screen            9     Storage must be available for items that are restricted
and search visitors and their possessions, and to                       from being carried into the facility.
provide directory assistance. Free access to the Public
Entrance/Lobby is available during normal business
                                                                  Special Requirements
hours and weekend visiting hours.
                                                                  9     Video surveillance of lobby is required
The Public Entrance/Lobby should be organized into                9     Security post is staffed by one or more officers
“Four Zones”. Zone 1: Prescreening where visitors                 9     Ballistic resistant material incorporated into modesty
can remove devices not allowed within the facility,                     panel of reception counter
Zone 2: Security Check where visitors are met by an               9     Metal detector and baggage scanner are required
officer, sign-in and pass through metal detector, Zone
3: Waiting is space for visitors to wait for their
business, and Zone 4: Transition is a zone that
                                                                  Space Requirements
permits visitors to gain access to areas beyond the
Public Entrance/Lobby.                                            1.1        PUBLIC ENTRANCE/LOBBY

The Public Entrance/Lobby should permit the assigned              1.1.1      Vestibule
security officer to have unobstructed sight lines to the          1.1.2      Visitor Check-In/Prescreening Area
facility’s main entry door, waiting area, and all doors           1.1.3      Weapons Drop Room
leading from the Public Entrance/Lobby to other areas.            1.1.4      Visitor Property Lockers
                                                                  1.1.5      Visitor Security Check-In Area
The Public Entrance/Lobby is located outside the                  1.1.6      Reception/Security Post
                                                                  1.1.7      Visitor Search Room
secure perimeter in the non-secure zone.
                                                                  1.1.8      Visitor Waiting Area
                                                                  1.1.9      Visitor Vending Area
                                                                  1.1.10     Visitor Telephone Area
                                                                  1.1.11     Visitor Toilets - Male
                                                                  1.1.12     Visitor Toilets - Female




                                                           4.10
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                                                                                              4. FUNCTIONAL REQUIREMENTS




                                  1.1 Public Entrance/Lobby : Organizational Diagram




                                                                 Main Entry of Facility



                                                           1.1.1
                                                          Vestibule                            Telephone                 Vending
                                                                                                  Area                    Area

                        ZONE 1                                                                                                                      ZONE 3
                                       1.1.3
                                    Weapons Drop             1.1.2
                                       Room
                                                      Visitor Check In/
                                        1.1.4          Pre Screening                                 1.1.10 1.1.9
                                        Visitor             Area
                                   Property Lockers                                 1.1.8
                                                                                                         1.1.11
                                                                             Visitor Waiting Area
                        ZONE 2                                                                       Public Toilet
                                    1.1.7   1.1.6         1.1.5                                          Male
                                   Visitor Reception Visitor Security
                                   Search / Security Check In Area                                       1.1.12
                                   Room      Post                                                    Public Toilet
                                                                                                       Female

                        ZONE 4                               To EOIR/Visitation
                                            To OPLA/Removal Unit                          To Administration




                                                                                                                                                                                                         FACILITY CHECK-IN
                                                                                                                                                                                                         Gate House

                                                                                                                                                                                                                                             PROPERTY
                                                                                                                                                                                                                                             LINE
                                                                                                                                                       Staﬀ                                              Staﬀ                                FENCE
                                                                                                                                1.Oﬃce                Parking              Public Parking               Parking
                                                                                                                                Zone
                                                                                                                               Non-Secure Zone
                                                                                                                                                                                                                                             SECURITY
                                                                                                                                                                                                               1.2                           BUFFER
                                                                                                              JUDGES
                                                                                                                                                      1.4
                                                                                                                                                                                                             Admin.


                                                                                                                                     1
                                                                                                              PRIVATE
                                                                                                                                                     OPLA               Security Check Area
                                                                                                                                                                                                              ICE
                                                                                                              ENTRANCE                                                           1.1
                                                                                                                                                                         Public Entrance/                      1.3                           PERIMETER
                                                                                                                                                      1.5                     Lobby                          Admin.                          PATROL
                                                                                                                                                    Removal              Waiting/Support Area
                                                                                                                                                                                                                                             ROAD
                                                                                                                                                                                                              CDF


                                                                                                                                2.Court                        2
                                                                                                                                                               2.1                                      Arm. L.D.                            INTAKE/



                                                                                                                                            2
                                                                                                                                Interface                                     P. 2.2
                                                                                                                                                                                   . D.           1.6                                        SERVICE
                                                                                                                                                              EOIR
                                                                                                                                                               O
                                                                                                                                                                              Visitation
                                                                                                                                                                                   a                                                         ROAD
                                                                                                                                Zone                 Admin.       Courts                          Staﬀ Services
                                                                                                                               Interface Zo                                       Holding            & Training            Vehicle
                                                                                                                                                                                                                          Sallyport
                                                                                                                                                         3.1                      32
                                                                                                                                                                                  3.2
                                                                                                                                                      Detention                                        4.1     Ve
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                                                                                                                                                                                                                                             SECURITY
                                                                                                                                                                                                                                             FENCE


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                                                                                                                                                                                                                                   E




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                                                                                                                                                                                                                                   N




                                                                                                                                                           3.2                              Health Services
                                                                                                                                                         Housing
                                                                                                                                 O




                                                                                                                                                                                                                                   O




                                                                                                                                                        (w/dining)                                   4.3
                                                                                                                                 Z




                                                                                                                                                                                                                                   Z




                                                                                                                                                                                                   Laundry
                                                                                                                                                                                                                      4.Servic
                                                                                                                                                                                                                           v e
                                                                                                                                                                                                    4.4               Zone


                                                                                                                                        3
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                                                                                                                                                    Rec.                                            5.2
                                                                                                                                                                3.5 Library
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         LEGEND
                                                                                                                                 N




                                                                                                                                                                                                                                   N




                                                                                                                                                                                            C.S.


                                                                                                                                                                                                                        5
                                                                                                                                                                                                     5.3
                                                                                                                                 A




                                                                                                                                                                                                                                   A




                                                                                                                                                           3.2
                                                                                                                                                         Housing                                 Maintenance
                                                                                                                                 P




                                                                                                                                                                                                                                   P




                                                                                                                                                        (w/dining)
= Entry Points Into Other Areas
                                                                                                                                 X




                                                                                                                                                                                                                                   X
                                                                                                                                 E




                                                                                                                                                                                                                                   E




                                                                                                                                                                                                      5.4
                                                                                                                                                                                                 Utility Plant

= Secure Door                                                                                                                  3.Detainee Living Zone
                                                                                                                               Secure Zone With Normal Detainee Movement
                                                                                                                                                                                          5.Facility Support Zone
                                                                                                                                                                                        Restricted Support Zone



= Circulation Pattern
                                                                                                                                                                                 LEGEND

                                                                                                                          = Main Gate Check Point             = Pedestrian Sallyport        P.    = Public             L.D. = Loading Dock



                                                                                                                                              Office Zone Diagram




                                                                     4.11
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1.1 Public Entrance/Lobby - Critical Workflow Patterns
INTRODUCTION
The diagrams on the following page illustrate some of
the most critical workflow issues and patterns for the
Public Entrance/Lobby.




                                                         4.12
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                                                              4. FUNCTIONAL REQUIREMENTS




                        1.1 Public Entrance/Lobby : Critical Workflow Patterns




1. “FOUR ZONES”
The Public Entrance/Lobby should be organized into
“Four Zones”. Zone 1: Prescreening where visitors
can remove devices not allowed within the facility,
Zone 2: Security Check where visitors are met by an
officer, sign-in and pass through metal detector, Zone
3: Waiting is space for visitors to wait for their
business, and Zone 4: Transition is a zone that
permits visitors to gain access to areas beyond the
Public Entrance/Lobby.




2. “UNOBSTRUCTED SIGHT LINES”
The Public Entrance/Lobby should permit the assigned
security officer to have unobstructed sight lines to the
facility’s main entry door, waiting area, and all doors
leading from the Public Entrance/Lobby to other areas.




                                                      4.13
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   1.1 Public Entrance/Lobby - Room Data Sheet
     1.1.1   VESTIBULE

   Function
   The Vestibule is used to provide a thermal break
   between the exterior and interior of the building. It also
   serves as a secure point when the interior doors are in
   the locked position.




                                                                       Photograph




                                                                       Floor Plan (100 nsf)




SYMBOL LEGEND:        Voice Outlet    Data Outlet      Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                                4.14
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                                                                                                  4. FUNCTIONAL REQUIREMENTS


 1.1.1 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                     Hardware                     Glazing
• PNT                   • CT                      • GWB-8’ min.        • Glass                   • See below                   • Interior & exterior




Plumbing                HVAC                      Lighting             Power                     Security                     Communications
• None                  • Typical                 • Recessed           • 110V duplex outlet      • See below                   • Voice
                                                    Fluorescent          one way




 1.1.1 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*               Style                 Model #                        Qty.
FURNITURE
        None




EQUIPMENT
        None




HARDWARE
       Locksets
       Electronic access reader
       Concealed hinges
       Weather stripping




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.15
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   1.1 Public Entrance/Lobby - Room Data Sheet
     1.1.2   VISITOR CHECK-IN/PRESCREENING
             AREA

   Function
   The Visitor Check-In/Prescreening Area is space
   between the vestibule and the visitor security check-in
   area. The space is used to contain visitors as they
   arrive and are waiting to be processed/checked into the
   facility.

   The Visitor Check-In/Prescreening Area should be
   located in Zone 1 of the Public Entrance/Lobby and
   directly adjacent to the Weapons Drop Room and the
   Visitor Property Storage Lockers.
                                                                    Photograph




                                                                           Prescreening Area

                                                                                                 Reception/
                                                                                                  Security
                                                                                                   Post
                                                                                    Metal
                                                                                   Detector



                                                                           Bag
                                                                         Scanner




                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet      Duplex Outlet       ISDN Outlet    Duress Alarm Outlet

                                                             4.16
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                                                                                                  4. FUNCTIONAL REQUIREMENTS


 1.1.2 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                     Hardware                     Glazing
• PNT                   • VCT                     • ACT-8’ min.        • None                    • None                        • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                     Security                     Communications
• None                  • Typical                 • Recessed           • None                    • None                        • None
                                                    Fluorescent




 1.1.2 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*               Style                Model #                       Qty.
FURNITURE
        None




EQUIPMENT
        None




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.17
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   1.1 Public Entrance/Lobby - Room Data Sheet
     1.1.3       WEAPONS DROP ROOM

   Function
   The Weapons Drop Room provides a secure space for
   Law Enforcement Agents to store their weapon while
   inside the facility. The space must be accessible from
   the Visitor Check-In/Prescreening Area and/or ahead
   of the metal detector as one enters the facility.

   The Weapons Drop Room should be located in Zone 1
   of the Public Entrance/Lobby.




                                                                   Photograph




                                                                   Floor Plan (120 nsf)




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.18
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                                                                                                  4. FUNCTIONAL REQUIREMENTS


 1.1.3 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                     Hardware                     Glazing
• PNT                   • VCT                     • ACT-8’ min.        • Solid core wood or      • See below                   • None
                        • Base: RB                                       hollow metal




Plumbing                HVAC                      Lighting             Power                     Security                     Communications
• None                  • Typical                 • Recessed           • 110V duplex outlet on   • See below                   • None
                                                    Fluorescent          one wall




 1.1.3 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*               Style                 Model #                      Qty.
FURNITURE
        Gun lockers




EQUIPMENT
        None




HARDWARE
       Lockset
       Electronic access reader
       Concealed hinges
       Door floor stops




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.19
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   1.1 Public Entrance/Lobby - Room Data Sheet
     1.1.4       VISITOR PROPERTY LOCKERS

   Function
   The Visitor Property Lockers are located directly at or
   ahead of the check-in point. These lockers provide
   visitors a secure place to store items that are restricted
   from the facility.

   The Visitor Property Lockers should be located in Zone
   1 of the Public Entrance/Lobby.




                                                                       Photograph




                                                                                                            Plan




                                                                                                        Elevation
                                                                       Floor Plan




SYMBOL LEGEND:        Voice Outlet    Data Outlet      Voice/Data Outlet      Duplex Outlet   ISDN Outlet      Duress Alarm Outlet

                                                                4.20
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                                                                                                  4. FUNCTIONAL REQUIREMENTS


 1.1.4 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                     Hardware                     Glazing
• PNT                   • VCT                     • ACT-8’ min.        • None                    • None                        • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                     Security                     Communications
• None                  • Typical                 • Recessed           • None                    • None                        • None
                                                    Fluorescent




 1.1.4 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*               Style                Model #                       Qty.
FURNITURE
        Property lockers




EQUIPMENT




HARDWARE




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.21
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   1.1 Public Entrance/Lobby - Room Data Sheet
     1.1.5       VISITOR SECURITY CHECK-IN AREA

   Function
   The Visitor Security Check-In Area is located directly
   adjacent to the Visitor Check-In/Prescreening area and
   houses the metal detection and bag screening
   equipment. All entrants to the facility must pass through
   this point.

   The Visitor Security Check-In Area should be located in
   Zone 2 of the Public Entrance/Lobby, directly adjacent
   to the Reception/Security Post.



                                                                      Photograph




                                                                             Prescreening Area

                                                                                                   Reception/
                                                                                                    Security
                                                                                                     Post
                                                                                      Metal
                                                                                     Detector


                                                                             Bag
                                                                           Scanner




                                                                      Floor Plan




SYMBOL LEGEND:        Voice Outlet    Data Outlet     Voice/Data Outlet      Duplex Outlet       ISDN Outlet    Duress Alarm Outlet

                                                               4.22
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                                                                                                   4. FUNCTIONAL REQUIREMENTS


 1.1.5 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                      Hardware                    Glazing
• None                  • VCT                     • ACT-8’ min.        • None                     • None                       • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                      Security                    Communications
• None                  • Typical                 • Recessed           • As required for secu-    • None                       • None
                                                    Fluorescent          rity equipment




 1.1.5 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                Style               Model #                       Qty.
FURNITURE
        None




EQUIPMENT
        Metal detector
        Bag screener/x-ray




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.23
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   1.1 Public Entrance/Lobby - Room Data Sheet
     1.1.6       RECEPTION/SECURITY POST

   Function
   The Reception/Security Post is the primary processing
   position for all visitors to the facility. This post also
   provides surveillance of the facility’s main entrance
   “front door”, the visitor’s waiting area and Removal Unit
   public counter.

   The post is staffed during normal business hours and
   during weekend visiting hours.

   Staff positioned at this post will check and validate
   visitor identification, keep the visitor log and control
   access to and from the lobby.
                                                                      Photograph
   The Reception/Security Post should be located in Zone
   2 of the Public Entrance/Lobby and directly adjacent to
   the Visitor Search Room.




                                                                             Prescreening Area

                                                                                                   Reception/
                                                                                                    Security
                                                                                                     Post
                                                                                      Metal
                                                                                     Detector


                                                                             Bag
                                                                           Scanner




                                                                      Floor Plan




SYMBOL LEGEND:        Voice Outlet    Data Outlet     Voice/Data Outlet      Duplex Outlet       ISDN Outlet    Duress Alarm Outlet

                                                               4.24
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                                                                                                   4. FUNCTIONAL REQUIREMENTS


 1.1.6 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                     Hardware                        Glazing
• PNT                   • VCT                     • ACT-8’ min.        • None                    • None                          • Exterior Windows
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                     Security                        Communications
• None                  • Typical                 • Recessed           • 110V duplex outlets     • Ballistic resistant modesty   • Voice & data
                                                    Fluorescent          as required               panel




 1.1.6 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*               Style                  Model #                       Qty.
FURNITURE
        Desk Chair                                                                                                                            Varies
        Waste Receptacle                                                                                                                      1




EQUIPMENT




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.25
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   1.1 Public Entrance/Lobby - Room Data Sheet
     1.1.7   VISITOR SEARCH ROOM

   Function
   The Visitor Search Room functions as a private place
   for Law Enforcement officers to search visitors that
   have not passed the Visitor Security Check-In process.

   The Visitor Search Room should be located in Zone 2
   of the Public Entrance/Lobby and directly adjacent to
   the Reception/Security Post.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.26
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


 1.1.7 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • VCT                     • ACT-8’ min.        • Solid core wood           • None                      • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• None                  • Typical                 • Recessed           • 110V duplex outlet on     • None                      • Voice
                                                    Fluorescent          2 walls




 1.1.7 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                 Style              Model #                       Qty.
FURNITURE
        Chair                                                                                                                               2
        Table                                                                                                                               1




EQUIPMENT
        None




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.27
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   1.1 Public Entrance/Lobby - Room Data Sheet
     1.1.8   VISITOR WAITING AREA

   Function
   The Visitor Waiting Area is an open area with fixed
   seating for visitors awaiting EOIR Court or visitation.
   The Visitor Waiting Area should be located in Zone 3 of
   the Public Entrance/Lobby and have access to toilets,
   drinking fountain, vending machines, and pay
   telephones.

   Officer’s station within the Public Entrance/Lobby
   should have a clear line of sight to the Visitor Waiting
   Area. Any movement outside of the Public
   Entrance/Lobby area will require an escort.

                                                                     Photograph




                                                                          Men’s Restroom


                                                                         Women’s Restroom




                                                                     Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet     Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                              4.28
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                                                                                                  4. FUNCTIONAL REQUIREMENTS


 1.1.8 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                     Hardware                     Glazing
• PNT                   • VCT                     • ACT-8’ min.        • None                    • None                        • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                     Security                     Communications
• Drinking fountain     • Typical                 • Recessed           • 110V duplex outlet on   • Surveillance                • Pay telephone
                                                    Fluorescent          ea. wall as required
                                                                         for vending




 1.1.8 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID         Item                                                    Vendor*               Style                    Model #                   Qty.
FURNITURE
        Fixed seating                                                                                                                       Varies




EQUIPMENT
        Vending machine                                                                                                                     2
        Pay telephone                                                                                                                       1
        Drinking fountain                                                                                                                   1




HARDWARE




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.29
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   1.1 Public Entrance/Lobby - Room Data Sheet
     1.1.9   VISITOR VENDING AREA

   Function
   The Visitor Vending Area supports the needs of the
   public visitors while waiting for their business
   transaction. The Visitor Vending Area should be
   located in Zone 3 of the Public Entrance/Lobby, in clear
   sight of the Security Officer post.




                                                                     Photograph




                                                                          Men’s Restroom


                                                                         Women’s Restroom
                                                                                                 Vending
                                                                                                 Machine




                                                                     Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet     Voice/Data Outlet      Duplex Outlet   ISDN Outlet    Duress Alarm Outlet

                                                              4.30
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


 1.1.9 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                     Hardware                     Glazing
• PNT                   • VCT                     • ACT-8’ min.        • None                    • None                        •
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                     Security                     Communications
• None                  • Typical                 • Recessed           • 110V duplex outlets     •                             •
                                                    Fluorescent          as required




 1.1.9 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*               Style                Model #                       Qty.
FURNITURE




EQUIPMENT
        None




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.31
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   1.1 Public Entrance/Lobby - Room Data Sheet
    1.1.10 VISITOR TELEPHONE AREA

   Function
   The Visitor Telephone Area utilized by visitors awaiting
   their business transaction. The Visitor Telephone Area
   should be located in Zone 3 of the Public
   Entrance/Lobby and have clear line of sight from the
   Security Officer’s post.




                                                                     Photograph




                                                                                                          Public
                                                                                                       Telephones




                                                                          Men’s Restroom


                                                                         Women’s Restroom




                                                                     Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet     Voice/Data Outlet       Duplex Outlet   ISDN Outlet     Duress Alarm Outlet

                                                              4.32
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


1.1.10 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                     Hardware                     Glazing
• PNT                   • VCT                     • ACT-8’ min.        • None                    • None                        •
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                     Security                     Communications
• None                  • Typical                 • Recessed           • 110V duplex outlets     •                             •
                                                    Fluorescent          as required




1.1.10 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*               Style                Model #                       Qty.
FURNITURE




EQUIPMENT
        None




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.33
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   1.1 Public Entrance/Lobby - Room Data Sheet
    1.1.11 PUBLIC TOILET - MALE

   Function
   The Male Public Toilet is a single use room located
   directly adjacent to the waiting area, in Zone 3 of the
   Public Entrance/Lobby.




                                                                    Photograph




                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                             4.34
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


1.1.11 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • VCT                     • GWB type X         • Solid core wood           • See below                 • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• Toilet                • Typical w/exhaust       • Recessed           • 110V duplex outlet-       • None                      • None
• Lavatory                                          Fluorescent          GFI




1.1.11 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID           Item                                                  Vendor*                 Style                 Model #                    Qty.

FURNITURE
        None




EQUIPMENT
        Wall-hung, flush valve toilet                                                                                                       1
        Wall mounted lavatory                                                                                                               1
        Grab bars                                                                                                                           2
        Toilet paper dispenser                                                                                                              1
        Toilet seat cover dispenser                                                                                                         1
        Semi-recessed towel/waste unit                                                                                                      1
        Soap dispenser                                                                                                                      1
        Frameless wall mirror                                                                                                               1




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.35
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                 ICE Design Standards



   1.1 Public Entrance/Lobby - Room Data Sheet
    1.1.12 PUBLIC TOILET - FEMALE

   Function
   The Female Public Toilet is a single use room located
   directly adjacent to the waiting area.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.36
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


1.1.12 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • VCT                     • GWB type X         • Solid core wood           • See below                 • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• Toilet                • Typical w/exhaust       • Recessed           • 110V duplex outlet-       • None                      • None
• Lavatory                                          Fluorescent          GFI




1.1.12 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID           Item                                                  Vendor*                 Style                 Model #                    Qty.

FURNITURE
        None




EQUIPMENT
        Wall-hung, flush valve toilet                                                                                                       1
        Wall mounted lavatory                                                                                                               1
        Grab bars                                                                                                                           2
        Toilet paper dispenser                                                                                                              1
        Toilet seat cover dispenser                                                                                                         1
        Semi-recessed towel/waste unit                                                                                                      1
        Soap dispenser                                                                                                                      1
        Frameless wall mirror                                                                                                               1
        Feminine napkin disposal unit                                                                                                       1




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



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1.0 Office Zone    1.2 ICE Administration                                   (ICE Operated)


                        Space Requirements
                        1.2.1   Officer in Charge (OIC) Office
                        1.2.2   Assistant Officer in Charge (AOIC) Office
                        1.2.3   Intelligence Officer Office
                        1.2.4   Supervisory Mission Support Specialist (SMSS) Office
                        1.2.5   Chief Immigration Enforcement Agent (CIEA) Office
                        1.2.6   Mission Support Specialist (MSS) Office
                        1.2.7   Contracting Officer’s Technical Representative (COTR) Office
                        1.2.8   OIC Secretary Workstation
                        1.2.9   Receptionist Workstation w/Transaction Window
                        1.2.10 ICE IT Specialist (Space Only) Workstation
                        1.2.11 Mission Support Assistant (MSA) Workstations
                        1.2.12 Intelligence Research Specialist (IRS) Workstation
                        1.2.13 Executive Conference Room
                        1.2.14 Records/Files Room
                        1.2.15 Copier/Fax/Shredder Room
                        1.2.16 Printer Area
                        1.2.17 File Area
                        1.2.18 Officer Toilet - Male
                        1.2.19 Officer Toilet - Female




                                 4.39
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            ICE Design Standards



1.2 ICE Administration - Function
FUNCTION STATEMENT                                                                          Design Criteria
ICE Administration is responsible for administration
and management of all services and activities                        Critical Issues
performed by ICE. It directs the policies for ICE and
delegates responsibility to the subordinate                          9     The OIC must be able to leave the facility without
components. ICE Administration, through its direct                         being seen by detainees.
                                                                     9     Entrance to ICE Administration should be under
staff or the ICE District Office, provides fiscal and
                                                                           continuous visual observation by security or clerk.
personal services to the ICE operations and staff.

ICE Administration may receive public visitors, includ-
ing detainee family members and acquaintances; or                    Special Requirements
official visitors including lawyers, government officials,
and individuals conducting business.                                 9     Controlled access to ICE Administration space.
                                                                     9     File space for accreditation records.
ICE Administration is located in the non-secure zone,                9     ICE Administration must be located directly adjacent to
                                                                           the CDF Public Entrance/Lobby. ICE Administration
though restricted only to staff and visitors accompanied
                                                                           should be located in close proximity to the Removal
by staff. Visitors will be under supervision of their host.                Unit to access detainee records, and adjacent to Staff
                                                                           Services and Training which allows Administration
                                                                           easy access to participate in briefings.


                                                                     Space Requirements

                                                                     1.2       ICE Administration

                                                                     1.2.1      Officer in Charge (OIC) Office
                                                                     1.2.2      Assistant Officer in Charge (AOIC) Office
                                                                     1.2.3      Intelligence Officer Office
                                                                     1.2.4      Supervisory Mission Support Specialist (SMSS)
                                                                                Office
                                                                     1.2.5      Chief Immigration Enforcement Agent (CIEA)
                                                                                Office
                                                                     1.2.6      Mission Support Specialist (MSS) Office
                                                                     1.2.7      Contracting Officer’s Technical Representative
                                                                                (COTR) Office
                                                                     1.2.8      OIC Secretary Workstation
                                                                     1.2.9      Receptionist Workstation w/Transaction Window
                                                                     1.2.10     ICE IT Specialist (Space Only) Workstation
                                                                     1.2.11     Mission Support Assistant (MSA) Workstations
                                                                     1.2.12     Intelligence Research Specialist (IRS)
                                                                                Workstation
                                                                     1.2.13     Executive Conference Room
                                                                     1.2.14     Records/Files Room
                                                                     1.2.15     Copier/Fax/Shredder Room
                                                                     1.2.16     Printer Area
                                                                     1.2.17     File Area
                                                                     1.2.18     Officer Toilet - Male
                                                                     1.2.19     Officer Toilet - Female




                                                              4.40
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                                                                                                4. FUNCTIONAL REQUIREMENTS




                                     1.2 ICE Administration : Organizational Diagram




                                                         1.2.5 1.2.4 1.2.3             1.2.2
                                                         CIEA SMSS      IO
                                                         Office Office Office          AOIC
                                                                                       Office

                                                                   1.2.11
                                                                 Workstations          1.2..13
                                                 1.2.9
                                                                  1.2..14-19          Executive
                                  Entry                  MDF                         Conference
                                                         Room       Support
                                                                                       Room
                                                                 1.2..10, 12
                                                                 Workstations

                                                                                       1.2..1.
                                          Reception      1.2..7. 1.2..6.   1.2..8.      OIC
                                                         COTR MSS                      Office
                                                         Office Office


                                                                    OIC
                                                                 Workstation




                                                                                                                                                                                     FACILITY CHECK-IN
                                                                                                                                                                                     Gate House

                                                                                                                                                                                                                       PROPERT
                                                                                                                                                                                                                       LINE
                                                                                                                                       Staﬀ                                          Staﬀ                              FENCE
                                                                                                                  1.Oﬃce              Parking            Public Parking             Parking
                                                                                                                  Zone
                                                                                                                  Non-Secure Zone
                                                                                                                                                                                                                       SECURITY
                                                                                                                                                                                        1.2                            BUFFER
                                                                                                       JUDGES
                                                                                                                                      1.4
                                                                                                                                                                                      Admin.


                                                                                                                       1
                                                                                                       PRIVATE
                                                                                                                                     OPLA            Security Check Area
                                                                                                                                                                                        ICE
                                                                                                       ENTRANCE                                              1.1
                                                                                                                                                     Public Entrance/                   1.3                            PERIMETE
                                                                                                                                      1.5                 Lobby                       Admin.                           PATROL
                                                                                                                                    Removal          Waiting/Support Area
                                                                                                                                                                                                                       ROAD
                                                                                                                                                                                        CDF


                                                                                                                  2.Court                      2
                                                                                                                                               2.1                                Arm. L.D.                            INTAKE/



                                                                                                                             2
                                                                                                                  Interface                                P.  2.2
                                                                                                                                                                .     D.     1.6                                       SERVICE
                                                                                                                                              EOIR
                                                                                                                                               O
                                                                                                                                                           Visitation
                                                                                                                                                                a                                                      ROAD
                                                                                                                  Zone               Admin.     Courts                       Staﬀ Services
                                                                                                                  Interface Zo                                  Holding         & Training            Vehicle
                                                                                                                                                                                                     Sallyport
                                                                                                                                         3.1                  32
                                                                                                                                                              3.2
                                                                                                                                      Detention                                      4.1     Ve
                                                                                                                                                                                             Veehicclle
                                                                                                                                                           Se
                                                                                                                                                            ecurity
                                                                                                                                                                ri               Processing Saally
                                                                                                                                    Administration        Com
                                                                                                                                                          C  mmand
                                                                                                                                                             mm   a d                         allypo
                                                                                                                                                                                               l po ort
                                                                                                                                                                                                    or
                                                                                                                                                                                                    o rt
                                                                                                                                                                                                      rt               PERIMETE
                                                                                                                                                                                                                       SECURITY
                                                                                                                                                                                                                       FENCE


                                                                                                                                                                                                   4
                                                                                                                   E




                                                                                                                                                                                                              E




                                                                                                                                                                                 4.2
                                                                                                                   N




                                                                                                                                                                                                              N




                                                                                                                                           3.2                             Health Services
                                                                                                                                         Housing
                                                                                                                   O




                                                                                                                                                                                                              O




                                                                                                                                        (w/dining)                                 4.3
                                                                                                                   Z




                                                                                                                                                                                                              Z




                                                                                                                                                                                 Laundry
                                                                                                                                                                                                 4.Servic
                                                                                                                                                                                                      v e
                                                                                                                                                                                4.4              Zone


                                                                                                                         3
                                                                                                                                                                             Food Prep.          Restricted Detainee
                                                                                                                                                                                                            D ain
                                                                                                                   N




                                                                                                                                                                                                              N




                                                                                                                                                                                                 Movementt
                                                                                                                                    3.4         3.3 D.S.
                                                                                                                   O




                                                                                                                                                                                                              O




                                                                                                                                    Rec.       3.5 Library                      5.2
                                                                                                                   I




                                                                                                                                                                                                              I




                                                                                                                                                                             Warehouse
                                                                                                                   S




                                                                                                                                                                                                              S




         LEGEND
                                                                                                                                                                           5.1
                                                                                                                                                                                     L.D.
                                                                                                                   N




                                                                                                                                                                                                              N




                                                                                                                                                                          C.S.


                                                                                                                                                                                                   5
                                                                                                                                                                                5.3
                                                                                                                   A




                                                                                                                                                                                                              A




                                                                                                                                           3.2
                                                                                                                                         Housing                            Maintenance
                                                                                                                   P




                                                                                                                                                                                                              P




= Entry Points Into Other Areas                                                                                                         (w/dining)
                                                                                                                   X




                                                                                                                                                                                                              X
                                                                                                                   E




                                                                                                                                                                                                              E




                                                                                                                                                                                 5.4
                                                                                                                                                                            Utility Plant
= Secure Door                                                                                                     3.Detainee Living Zone                              5.Facility Support Zone
                                                                                                                  Secure Zone With Normal Detainee Movement           Restricted Support Zone


= Circulation Pattern
                                                                                                                                                             LEGEND




                                                                                                                                 Office Zone Diagram




                                                                  4.41
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1.2 ICE Administration - Critical Workflow Patterns
INTRODUCTION
The diagrams on the following page illustrate some of
the most critical workflow issues and patterns of the
ICE Administration.




                                                        4.42
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                                                              4. FUNCTIONAL REQUIREMENTS




                         1.2 ICE Administration : Critical Workflow Patterns




1. “CLOSE PROXIMITY”
The ICE Administration area requires close proximity
to the Public Entrance/Lobby, Removal Unit, and Staff
Services and Training.




2. “CONTROLLED ACCESS”
Admission into the ICE Administration area is
controlled by the Security Post located in the Public
Entrance/Lobby area.




                                                   4.43
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   1.2 ICE Administration - Room Data Sheet
     1.2.1   OFFICER IN CHARGE (OIC) OFFICE

   Function
   The Officer In Charge is the highest ranking officer at
   the CDF and has ultimate authority and responsibility
   at the site.

   The OIC oversees all CDF activities including those of
   contract personnel. The OIC Office is located in a
   private office away from open office and high traffic
   areas and on an exterior wall.




                                                                    Photograph




                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                             4.44
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


 1.2.1 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • 35 oz 100% pile cut     • ACT-8’ high min.    • Solid core wood           • See below                • Exterior window
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• None                  • Typical                 • Recessed            • 110V duplex on each       • None                     • Voice & data on 2 walls
                                                    Fluorescent           wall




 1.2.1 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                  Style                 Model #                   Qty.
FURNITURE
        Desk                                                                                                                                1
        Credenza                                                                                                                            1
        Bookcase                                                                                                                            1
        Lateral file                                                                                                                        1
        Desk chair                                                                                                                          1
        Side chair                                                                                                                          2
        Waste receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.45
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   1.2 ICE Administration - Room Data Sheet
     1.2.2   ASSISTANT OFFICER IN CHARGE
             (AOIC) OFFICE

   Function
   The Assistant Officer In Charge is the second ranking
   officer at the CDF. They have responsibility for
   administrative and operations activities as directed by
   the OIC.

   The AOIC is located in the private office zone adjacent
   to the Executive Conference Room and OIC office, and
   on an external wall.




                                                                    Photograph




                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                             4.46
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


 1.2.2 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • 35 oz 100% pile cut     • ACT-8’ high min.    • Solid core wood           • See below                • Exterior window
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• None                  • Typical                 • Recessed            • 110V duplex on each       • None                     • Voice & data on 2 walls
                                                    Fluorescent           wall




 1.2.2 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                  Style                 Model #                   Qty.
FURNITURE
        Desk                                                                                                                                1
        Credenza                                                                                                                            1
        Bookcase                                                                                                                            1
        Lateral file                                                                                                                        1
        Desk chair                                                                                                                          1
        Side chair                                                                                                                          2
        Waste receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.47
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   1.2 ICE Administration - Room Data Sheet
     1.2.3   INTELLIGENCE OFFICER OFFICE

   Function
   The Intelligence Officer is responsible for producing
   all-source tactical and strategic intelligence on issues
   related to the security of the U.S. Homeland to support
   the Department’s senior leadership, state, local, tribal,
   territorial partners, and the private sector.

   National responsibilities include: fusing and analyzing
   intelligence from DHS operating components, state
   and local partners, and other IC agencies into
   Homeland security assessments; ensuring analytic
   intelligence support to DHS elements that addresses
   the Secretary’s top priorities, serving as the primary
   interface between IC and customers at state, local,
   tribal, territorial levels and in the private sector on
   Homeland security issues; and coordinating
   intelligence analytic operations between I&A and DHS
   operating components as an integrated DHS
   intelligence enterprise.                                           Photograph




                                                                      Floor Plan




SYMBOL LEGEND:        Voice Outlet    Data Outlet     Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                               4.48
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


 1.2.3 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • 35 oz 100% pile cut     • ACT-8’ high min.    • Solid core wood           • See below                • Exterior window
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• None                  • Typical                 • Recessed            • 110V duplex on each       • None                     • Voice & data on 2 walls
                                                    Fluorescent           wall




 1.2.3 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                  Style                 Model #                   Qty.
FURNITURE
        Desk                                                                                                                                1
        Credenza                                                                                                                            1
        Bookcase                                                                                                                            1
        Lateral file                                                                                                                        1
        Desk chair                                                                                                                          1
        Side chair                                                                                                                          2
        Waste receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.49
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   1.2 ICE Administration - Room Data Sheet
     1.2.4   SUPERVISORY MISSION SUPPORT
             SPECIALIST (SMSS) OFFICE

   Function
   The Supervisory Mission Support Specialist supervises
   a group of Mission Support Specialists who are
   responsible for providing services in direct support of
   operational programs. The work of the SMSS provides
   complex administrative and support and significantly
   affects the program’s operation and objectives. SMSS
   contacts are generally within the CDF’s personnel to
   coordinate and plan the work.

   The SMSS is located in a private office within the ICE
   Administration area, preferably on an exterior wall.




                                                                    Photograph




                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                             4.50
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


 1.2.4 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • 35 oz 100% pile cut     • ACT-8’ high min.    • Solid core wood           • See below                • Exterior window
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• None                  • Typical                 • Recessed            • 110V duplex on each       • None                     • Voice & data on 2 walls
                                                    Fluorescent           wall




 1.2.4 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                  Style                 Model #                   Qty.
FURNITURE
        Desk                                                                                                                                1
        Credenza                                                                                                                            1
        Bookcase                                                                                                                            1
        Lateral file                                                                                                                        1
        Desk chair                                                                                                                          1
        Side chair                                                                                                                          2
        Waste receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.51
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   1.2 ICE Administration - Room Data Sheet
     1.2.5    CHIEF IMMIGRATION ENFORCE-
              MENT AGENT (CIEA) OFFICE

   Function
   The....




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.52
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


 1.2.5 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • 35 oz 100% pile cut     • ACT-8’ high min.    • Solid core wood           • See below                • Exterior window
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• None                  • Typical                 • Recessed            • 110V duplex on each       • None                     • Voice & data on 2 walls
                                                    Fluorescent           wall




 1.2.5 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                  Style                 Model #                   Qty.
FURNITURE
        Desk                                                                                                                                1
        Credenza                                                                                                                            1
        Bookcase                                                                                                                            1
        Lateral file                                                                                                                        1
        Desk chair                                                                                                                          1
        Side chair                                                                                                                          2
        Waste receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.53
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                 ICE Design Standards



   1.2 ICE Administration - Room Data Sheet
     1.2.6   MISSION SUPPORT SPECIALIST
             (MSS) OFFICE

   Function
   The Mission Support Specialist has functional duties
   associated with budget, management analysis, human
   resource management, training, logistics/procurement,
   safety and security. The MSS performs management
   advisory services for specific requests related to
   immediate problems of limited scope for the SMSS.

   The MSS Office is located in a private office within the
   ICE Administration area, preferably on an exterior wall.




                                                                     Photograph




                                                                     Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet     Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                              4.54
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


 1.2.6 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • 35 oz 100% pile cut     • ACT-8’ high min.    • Solid core wood           • See below                • Exterior window
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• None                  • Typical                 • Recessed            • 110V duplex on each       • None                     • Voice & data on 2 walls
                                                    Fluorescent           wall




 1.2.6 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                  Style                 Model #                   Qty.
FURNITURE
        Desk                                                                                                                                1
        Credenza                                                                                                                            1
        Lateral file                                                                                                                        1
        Desk chair                                                                                                                          1
        Side chair                                                                                                                          2
        Waste receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.55
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   1.2 ICE Administration - Room Data Sheet
     1.2.7   CONTRACTING OFFICER’S
             TECHNICAL REPRESENTATIVE
             (COTR) OFFICE

   Function
   The Contracting Officer is responsible for all aspects of
   the contracting transactions from initiation of a
   requirement to recommendation of contract award to
   procure supplies or services with specialized
   requirements such as the procurement of complex
   equipment, services, and/or constructions. The
   Contracting Officer also prepares solicitations
   documents, and incorporates provisions; prepares and
   conducts pre-proposal conferences and pre-solicitation
   site visits; prepares contracting work through use of
   negotiation techniques; coordinates a variety of
   contracts requiring the development of new or modified
   evaluation criteria, reporting requirements and
   contractual arrangements.

                                                                      Photograph




                                                                      Floor Plan




SYMBOL LEGEND:        Voice Outlet    Data Outlet     Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                               4.56
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


 1.2.7 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • 35 oz 100% pile cut     • ACT-8’ high min.    • Solid core wood           • See below                • Exterior window
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• None                  • Typical                 • Recessed            • 110V duplex on each       • None                     • Voice & data on 2 walls
                                                    Fluorescent           wall




 1.2.7 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                  Style                 Model #                   Qty.
FURNITURE
        Desk                                                                                                                                1
        Credenza                                                                                                                            1
        Lateral file                                                                                                                        1
        Desk chair                                                                                                                          1
        Side chair                                                                                                                          2
        Waste receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.57
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   1.2 ICE Administration - Room Data Sheet
     1.2.8   OIC SECRETARY WORKSTATION

   Function
   The OIC Secretary is the senior administrative
   assistant and has the primary function of assisting the
   OIC in all administrative matters. The OIC Secretary
   may also serve the AOIC, schedule meetings and
   executive conference room use, and arrange for travel
   for the OIC.

   The OIC Secretary Workstation is located directly
   adjacent to the OIC office and should be positioned to
   screen all people seeking access to the OIC officer.


                                                                    Photograph




                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                             4.58
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                                                                                                  4. FUNCTIONAL REQUIREMENTS


 1.2.8 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                    Hardware                     Glazing
• None                  • 35 oz 100% pile cut     • ACT-8’ high min.    • None                   • None                        • None
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                    Security                     Communications
• None                  • Typical                 • Recessed            • 110V duplex on each    • None                        • To accommodate systems
                                                    Fluorescent           wall                                                   furniture




 1.2.8 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*               Style                Model #                       Qty.
FURNITURE
        Systems furniture                                                                                                                   1
        Desk chair                                                                                                                          1
        Vertical file                                                                                                                       2
        Waste receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.59
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   1.2 ICE Administration - Room Data Sheet
     1.2.9   RECEPTIONIST WORKSTATION
             W/TRANSACTION COUNTER

   Function
   The ICE Administration Receptionist supports ICE
   Administration staff and also acts as the point of con-
   tact for visitors, guests, etc., entering into the ICE
   Administrative department.




                                                                    Photograph




                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                             4.60
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                                                                                                  4. FUNCTIONAL REQUIREMENTS


 1.2.9 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                    Hardware                     Glazing
• None                  • 35 oz 100% pile cut     • ACT-8’ high min.    • None                   • None                        • None
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                    Security                     Communications
• None                  • Typical                 • Recessed            • 110V duplex on each    • None                        • To accommodate systems
                                                    Fluorescent           wall                                                   furniture




 1.2.9 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*               Style                Model #                       Qty.
FURNITURE
        Systems furniture                                                                                                                   1
        Desk chair                                                                                                                          1
        Waste receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.61
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   1.2 ICE Administration - Room Data Sheet
    1.2.10 ICE IT SPECIALIST WORKSTATION

   Function
   The ICE IT Specialist develops policies, guidelines and
   standards for the planning, development, integration,
   implementation, and evaluation of information
    technology systems and subsystems that meet overall
   information needs of multiple organizational units.

   The ICE IT Specialist also provides expert analysis and
   advice on complex program related information
   technology issues and problems. The IT Specialist
   implements technological changes in response to
   changing customer requirements.

                                                                    Photograph




                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                             4.62
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                                                                                                  4. FUNCTIONAL REQUIREMENTS


1.2.10 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                    Hardware                     Glazing
• None                  • 35 oz 100% pile cut     • ACT-8’ high min.    • None                   • None                        • None
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                    Security                     Communications
• None                  • Typical                 • Recessed            • 110V duplex on each    • None                        • To accommodate systems
                                                    Fluorescent           wall                                                   furniture




1.2.10 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*               Style                Model #                       Qty.
FURNITURE
        Systems furniture                                                                                                                   1
        Desk chair                                                                                                                          1
        Waste receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.63
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   1.2 ICE Administration - Room Data Sheet
    1.2.11 MISSION SUPPORT ASSISTANT
           (MSA) WORKSTATION

   Function
   The Mission Support Assistant provides support to the
   MSS in the areas of public affairs, budget, logistics/
   procurement, human resource management, and
   records/file management.

   The MSA Workstation is located in an open workstation
   within the ICE Administration area.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.64
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                                                                                                  4. FUNCTIONAL REQUIREMENTS


 1.2.1 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                    Hardware                     Glazing
• None                  • 35 oz 100% pile cut     • ACT-8’ high min.    • None                   • None                        • None
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                    Security                     Communications
• None                  • Typical                 • Recessed            • 110V duplex on each    • None                        • To accommodate systems
                                                    Fluorescent           wall                                                   furniture




 1.2.1 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*               Style                Model #                       Qty.
FURNITURE
        Systems furniture                                                                                                                   1
        Desk chair                                                                                                                          1
        Vertical file                                                                                                                       2
        Waste receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.65
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   1.2 ICE Administration - Room Data Sheet
    1.2.12 INTELLIGENCE RESEARCH
           SPECIALISTS (IRS) WORKSTATION

   Function
   The Intelligence Research Specialist serves as an
   expert and engages in developing sources of
   information for intelligence collection for protecting
   data and/or estimates of future situations, developing
   trends, patterns, profiles, studies and tactical data.

   The work requires conducting studies and preparing
   staff reports, delivering briefings, and developing and
   recommending methods of solving analytical problems.


                                                                    Photograph




                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                             4.66
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                                                                                                  4. FUNCTIONAL REQUIREMENTS


1.2.12 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                    Hardware                     Glazing
• None                  • 35 oz 100% pile cut     • ACT-8’ high min.    • None                   • None                        • None
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                    Security                     Communications
• None                  • Typical                 • Recessed            • 110V duplex on each    • None                        • To accommodate systems
                                                    Fluorescent           wall                                                   furniture




1.2.12 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*               Style                Model #                       Qty.
FURNITURE
        Systems furniture                                                                                                                   1
        Desk chair                                                                                                                          1
        Vertical file                                                                                                                       2
        Waste receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.67
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   1.2 ICE Administration - Room Data Sheet
    1.2.13 EXECUTIVE CONFERENCE ROOM

   Function
   The Executive Conference Room is used for meetings
   of the facility leadership and visiting dignitaries. Its use
   is managed by the OIC Secretary.




                                                                         Photograph




                                                                         Floor Plan




SYMBOL LEGEND:        Voice Outlet      Data Outlet     Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                                  4.68
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                                                                                                       4. FUNCTIONAL REQUIREMENTS


1.2.13 SYSTEMS MATRIX

Walls                   Floors                      Ceiling               Doors                       Hardware                Glazing
• PNT                   • 35 oz 100% pile cut       • ACT-8’ high min.    • Solid core wood           • See below              • None
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                        Lighting              Power                       Security                Communications
• None                  • Typical                   • Recessed            • 110V duplex on each       • None                   • Voice & data on 2 walls and
                                                      Fluorescent           wall and at center of                                at center of table
                                                                            table




1.2.13 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                        Vendor*                 Style                 Model #                 Qty.
FURNITURE
        Conference table                                                                                                                    1
        Chairs                                                                                                                              Varies
        Waste receptacle

          NOTE: the size of the conference table and quantity of chairs will vary with room size and occupancy.




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                         4.69
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   1.2 ICE Administration - Room Data Sheet
    1.2.14 RECORDS/FILES ROOM

   Function
   The Records/File Room is used to secure files
   maintained by the ICE Administration.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.70
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                                                                                                      4. FUNCTIONAL REQUIREMENTS


1.2.14 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                        Hardware                 Glazing
• PNT                   • 35 oz 100% pile cut     • ACT-8’ high min.    • Solid core wood            • See below               • None
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                        Security                 Communications
• None                  • Typical                 • Recessed            • 110V duplex on 2           • None                    • None
                                                    Fluorescent           walls




1.2.14 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                   Style                 Model #                  Qty.
FURNITURE
        Lateral file cabinet                                                                                                                4




EQUIPMENT
        None




HARDWARE
       Lockset                                                                                                                              1
       Closer                                                      LCN                       With hold open        LCN4040                  1




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.71
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   1.2 ICE Administration - Room Data Sheet
    1.2.15 COPIER/SHREDDER/FAX ROOM

   Function
   The Copier/Fax/Shredder Room is used for mass
   copying, faxing documents, and shredding secure or
   sensitive documents.




                                                                   Photograph




                                                                                            Fax



                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.72
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


1.2.15 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • VCT                     • ACT-8’ min.        • Solid core wood           • See below                 • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• None                  • Typical                 • Recessed           • TBD based on dedi-        • None                      • Voice and data
                                                    Fluorescent          cated circuits                                        • Dedicated fax line
                                                                                                                               • Data as required for copiers
                                                                                                                                 and fax




1.2.15 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                 Style                 Model #                    Qty.
FURNITURE
        Waste receptacle                                                                                                                    1




EQUIPMENT




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.73
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   1.2 ICE Administration - Room Data Sheet
    1.2.16 PRINTER AREA

   Function
   The Printer Area is an allocation of space within the
   open office environment for printers.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.74
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


1.2.16 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • VCT                     • ACT-8’ min.        • Solid core wood           • See below                 • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• None                  • Typical                 • Recessed           • TBD based on dedi-        • None                      • Voice and data
                                                    Fluorescent          cated circuits                                        • Dedicated printer line
                                                                                                                               • Data as required for printer




1.2.16 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                 Style                 Model #                     Qty.
FURNITURE
        Waste receptacle                                                                                                                     1




EQUIPMENT




HARDWARE




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.75
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   1.2 ICE Administration - Room Data Sheet
    1.2.17 FILE AREA

   Function
   The File Area is an allocation of space within the open
   office environment for file cabinets.




                                                                    Photograph




                                                                          File Cabinets


                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                             4.76
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


1.2.17 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • VCT                     • ACT-8’ min.        • Solid core wood           • See below                 • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• None                  • Typical                 • Recessed           • TBD based on dedi-        • None                      • Voice and data
                                                    Fluorescent          cated circuits




1.2.17 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                 Style                 Model #                    Qty.
FURNITURE
        Waste receptacle                                                                                                                    1




EQUIPMENT




HARDWARE




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.77
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   1.2 ICE Administration - Room Data Sheet
    1.2.18 OFFICER TOILET - MALE

   Function
   The Male Officer Toilet is a single use room located
   within ICE Administration.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.78
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


1.2.16 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • VCT                     • GWB type X         • Solid core wood           • See below                 • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• Toilet                • Typical w/exhaust       • Recessed           • 110V duplex outlet-       • None                      • None
• Lavatory                                          Fluorescent          GFI




1.2.16 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID           Item                                                  Vendor*                 Style                 Model #                    Qty.

FURNITURE
        None




EQUIPMENT
        Wall-hung, flush valve toilet                                                                                                       1
        Wall mounted lavatory                                                                                                               1
        Grab bars                                                                                                                           2
        Toilet paper dispenser                                                                                                              1
        Toilet seat cover dispenser                                                                                                         1
        Semi-recessed towel/waste unit                                                                                                      1
        Soap dispenser                                                                                                                      1
        Frameless wall mirror                                                                                                               1




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.79
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   1.2 ICE Administration - Room Data Sheet
    1.2.19 OFFICER TOILET - FEMALE

   Function
   The Female Officer Toilet is a single use room located
   within ICE Administration




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.80
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


1.2.17 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • VCT                     • GWB type X         • Solid core wood           • See below                 • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• Toilet                • Typical w/exhaust       • Recessed           • 110V duplex outlet-       • None                      • None
• Lavatory                                          Fluorescent          GFI




1.2.17 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID           Item                                                  Vendor*                 Style                 Model #                    Qty.

FURNITURE
        None




EQUIPMENT
        Wall-hung, flush valve toilet                                                                                                       1
        Wall mounted lavatory                                                                                                               1
        Grab bars                                                                                                                           2
        Toilet paper dispenser                                                                                                              1
        Toilet seat cover dispenser                                                                                                         1
        Semi-recessed towel/waste unit                                                                                                      1
        Soap dispenser                                                                                                                      1
        Frameless wall mirror                                                                                                               1
        Feminine napkin disposal unit                                                                                                       1




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



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                               4.82
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1.0 Office Zone    1.3 CDF Administration             (Contractor Operated)


        NOTE: Space Requirements Provided Per Contractor




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                               4.84
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1.0 Office Zone    1.4 Office of the Principal Legal Advisor (ICE Operated)


                        Space Requirements
                        1.4.1   Deputy Chief Counsel Office
                        1.4.2   Assistant Chief Counsel Office
                        1.4.3   Legal Technician Workstation
                        1.4.4   Mail/File Clerk Office
                        1.4.5   Support Workstation w/Scanner, Printer, Fax
                        1.4.6   Law Library/Conference Room
                        1.4.7   Copier/Storage Room
                        1.4.8   Supply Room
                        1.4.9   Break Room
                        1.4.10 Classified File Room




                                 4.85
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1.4 OPLA - Function
FUNCTION STATEMENT                                                                        Design Criteria
The main function of the Office of the Principal Legal
Advisor (OPLA) is prosecuting cases against                        Critical Issues
detainees in the EOIR Court.
                                                                   9     To provide a secure environment for the court
The main activity in the OPLA Unit is preparing cases                    attorneys while in the courtroom with detainees
                                                                   9     To ensure the privacy of records and information, they
prior to the hearings. Attorneys use Removal Unit case
                                                                         should be kept in locked attorneys’ offices or in locked
files in preparing cases. Detainee cases are first                       filing cabinets
administered in the Removal Unit and then move from                9     Attorney records are privileged information and should
the Docket Team to the OPLA attorneys.                                   not be generally accessible to the ICE staff
                                                                   9     The attorney’s back shall not face the door
The ratio of Assistant Chief Counsels is 2.3 ACC’s for
each courtroom; The ratio of Legal Technicians is 1
Legal Technician for each three Assistant Chief
Counsel.                                                           Special Requirements

                                                                   9     OPLA is located outside the secure perimeter but
MISSION STATEMENT                                                        restricted to staff only
The mission of the Office of the Principal Legal Advisor           9     Visitors to the attorneys are under the guardianship of
(OPLA) is to protect the security of the United States by                the attorneys
focusing its resources on immigration and customs law              9     No video and audio monitoring is permitted in the
violators on behalf of the Department of Homeland                        OPLA space located on the public side of the secure
Security; by providing legal advice, training, and                       perimeter (in the secure Administration area)
service to support the ICE mission; and by defending               9     OPLA should be located adjacent to the Removal Unit
the interests of the United States in the administrative                 (DRO) (to access case files) and to the EOIR Court
                                                                   9     Offices shall be equipped with doors and locks
and federal courts.


                                                                   Space Requirements

                                                                   1.4       OPLA

                                                                   1.4.1     Deputy Chief Counsel Office
                                                                   1.4.2     Assistant Chief Counsel Office
                                                                   1.4.3     Legal Technician Workstation
                                                                   1.4.4     Mail/File Clerk Office
                                                                   1.4.5     Support Workstation w/Scanner, Printer, Fax
                                                                   1.4.6     Law Library/Conference Room
                                                                   1.4.7     Copier/Storage Room
                                                                   1.4.8     Supply Room
                                                                   1.4.9     Break Room
                                                                   1.4.10    Classified File Room




                                                            4.86
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                                                                                          4. FUNCTIONAL REQUIREMENTS




                                                1.4 OPLA : Organizational Diagram




                                                     1.4.1               1.4.6         1.4.2
                                                     DCC           Law Library/        ACC
                                                     Office      Conference Room       Office

                                  Classified                                           1.4.2
                                                    1.4.10
                                  File Room
                                                                         1.4.3
                                                    1.4.4        Legal Technicians     1.4.2       ADCC Offices
                                                   Mail Office     Workstations

                                                    1.4.7,8,9                          1.4.2
                                                    Support
                                   Support
                                                     Room
                                  Workstation                    1.4.5
                                                                           Reception   1.4.2


                                                    1.5.6-11

                                                    Support                            1.5.1
                                                     Room
                                                                    1.5.3,4
                                                     1.5.2         Deportation         1.5.1
                                                                    Removal                        SDDO Offices
                                  DO Offices                        Assistant
                                                                   Workstations        1.5.1
                                                     1.5.2


                                                     1.5.2               1.5.5         1.5.1
                                                      DO         Conference Room       SDDO
                                                     Office                            Office




                                                                                                                                                                                         FACILITY CHECK-IN
                                                                                                                                                                                         Gate House

                                                                                                                                                                                                                            PROPERTY
                                                                                                                                                                                                                            LINE
                                                                                                                                        Staﬀ                                             Staﬀ                               FENCE
                                                                                                                 1.Oﬃce                Parking              Public Parking              Parking
                                                                                                                 Zone
                                                                                                                Non-Secure Zone
                                                                                                                                                                                                                            SECURITY
                                                                                                                                                                                               1.2                          BUFFER
                                                                                                JUDGES
                                                                                                                                       1.4
                                                                                                                                                                                             Admin.


                                                                                                                      1
                                                                                                PRIVATE
                                                                                                                                      OPLA               Security Check Area
                                                                                                                                                                                              ICE
                                                                                                ENTRANCE                                                          1.1
                                                                                                                                                          Public Entrance/                     1.3                          PERIMETER
                                                                                                                                        1.5                    Lobby                         Admin.                         PATROL
                                                                                                                                      Removal             Waiting/Support Area
                                                                                                                                                                                                                            ROAD
                                                                                                                                                                                              CDF


                                                                                                                 2.Court                        2
                                                                                                                                                2.1                                     Arm. L.D.                           INTAKE/



                                                                                                                             2
                                                                                                                 Interface                                     P. 2.2
                                                                                                                                                                    . D.          1.6                                       SERVICE
                                                                                                                                               EOIR
                                                                                                                                                O
                                                                                                                                                               Visitation
                                                                                                                                                                    a                                                       ROAD
                                                                                                                 Zone                 Admin.       Courts                         Staﬀ Services
                                                                                                                Interface Zo                                       Holding           & Training            Vehicle
                                                                                                                                                                                                          Sallyport
                                                                                                                                          3.1                      3.22
                                                                                                                                                                   3
                                                                                                                                       Detention                                        4.1     Ve
                                                                                                                                                                                                Veehicclle
                                                                                                                                                                Se
                                                                                                                                                                 ecurity
                                                                                                                                                                      ri            Processing Saally
                                                                                                                                     Administration            Com
                                                                                                                                                               C  mmand
                                                                                                                                                                  mm    a d                      allypo
                                                                                                                                                                                                  l po ort
                                                                                                                                                                                                       or
                                                                                                                                                                                                       o rt
                                                                                                                                                                                                         rt                 PERIMETER
                                                                                                                                                                                                                            SECURITY
                                                                                                                                                                                                                            FENCE


                                                                                                                                                                                                        4
                                                                                                                  E




                                                                                                                                                                                                                   E




                                                                                                                                                                                   4.2
                                                                                                                  N




                                                                                                                                                                                                                   N




                                                                                                                                            3.2                              Health Services
                                                                                                                                          Housing
                                                                                                                  O




                                                                                                                                                                                                                   O




                                                                                                                                         (w/dining)                                   4.3
                                                                                                                  Z




                                                                                                                                                                                                                   Z




                                                                                                                                                                                    Laundry
                                                                                                                                                                                                      4.Servic
                                                                                                                                                                                                           v e
                                                                                                                                                                                    4.4               Zone


                                                                                                                         3
                                                                                                                                                                                 Food Prep.           Restricted D
                                                                                                                                                                                                                 Detainee
                                                                                                                                                                                                                    ain
                                                                                                                  N




                                                                                                                                                                                                                   N




                                                                                                                                                                                                      Movementt
                                                                                                                                     3.4            3.3 D.S.
                                                                                                                  O




                                                                                                                                                                                                                   O




                                                                                                                                     Rec.        3.5 Library                        5.2
                                                                                                                  I




                                                                                                                                                                                                                   I




                                                                                                                                                                                 Warehouse
                                                                                                                  S




                                                                                                                                                                                                                   S




                                                                                                                                                                              5.1
         LEGEND                                                                                                                                                                           L.D.
                                                                                                                  N




                                                                                                                                                                                                                   N




                                                                                                                                                                             C.S.


                                                                                                                                                                                                        5
                                                                                                                                                                                     5.3
                                                                                                                  A




                                                                                                                                                                                                                   A




                                                                                                                                            3.2
                                                                                                                                          Housing                                Maintenance
                                                                                                                  P




                                                                                                                                                                                                                   P




= Entry Points Into Other Areas                                                                                                          (w/dining)
                                                                                                                  X




                                                                                                                                                                                                                   X
                                                                                                                  E




                                                                                                                                                                                                                   E




                                                                                                                                                                                      5.4
                                                                                                                                                                                 Utility Plant
= Secure Door                                                                                                   3.Detainee Living Zone                                     5.Facility Support Zone
                                                                                                                Secure Zone With Normal Detainee Movement                Restricted Support Zone


= Circulation Pattern
                                                                                                                                                                  LEGEND

                                                                                                           = Main Gate Check Point             = Pedestrian Sallyport        P    = Public             L D = Loading Dock



                                                                                                                                     Office Zone Diagram




                                                                 4.87
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1.4 OPLA - Critical Workflow Patterns
INTRODUCTION
The diagrams on the following page illustrate some of
the most critical workflow issues and patterns of
OPLA.




                                                        4.88
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                                                                4. FUNCTIONAL REQUIREMENTS




                                  1.4 OPLA : Critical Workflow Patterns




1. “CLOSE PROXIMITIES”
Close Proximities and efficient workflows are
necessary with EOIR Court, Removal Unit and the
Public Entrance/Lobby. The OPLA Unit should be
secure from the Public Lobby.




2. “CENTRALIZED INTERNAL SUPPORT”
The Legal Technician workstations and general file
storage should be located in a centralized location for
easy Attorney access/communication.




                                                     4.89
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   1.4 OPLA - Room Data Sheet
     1.4.1    DEPUTY CHIEF COUNSEL OFFICE

   Function
   The Deputy Chief Counsel is responsible for assisting
   the Chief Counsel in the management of OPLA and its
   offices within the detention facilities. Specific
   responsibilities include the following:

       - Serves as first line supervisor to the attorney staff
       - Serves as first line supervisor to the support staff
       - Manages and assigns duties
       - Provides and oversees the provision of legal advice to
         the Office of Detention and Removal (DROP) and
         other DHS components
       - Provides and oversees the provision of litigation
         support, legal assistance, and legal advice to the U.S.
                                                                              Photograph
         Attorney’s Office in the litigation of petitions for review
         before the circuit courts
       - Researches and oversees the research of legal and
         policy issues
       - Writes and oversees the writing of memoranda, briefs,
         legal opinions, letters, reports and other documents

   Normal occupancy is daily, 8-10 hours.




                                                                              Floor Plan - Option 1 (225 nsf)




                                                                              Floor Plan - Option 2 (225 nsf)


SYMBOL LEGEND:         Voice Outlet       Data Outlet        Voice/Data Outlet       Duplex Outlet      ISDN Outlet   Duress Alarm Outlet

                                                                       4.90
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


 1.4.1 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • 36 oz., 100% cut pile   • ACT - 8’ high      • Solid wood core           • See below                 • Exterior window
                          nylon carpet              min.
                        • Base - RB



Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• None                  • Typical                 • Recessed           • 110V Duplex each          • None                      • Voice & data on two walls
                                                    Fluorescent          wall                                                  • A & B ports shall be active




 1.4.1 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                      Vendor*                Style                 Model #                     Qty.
FURNITURE
        Desk (Right Hand Return)                                    Unicor                 Symphony              S6820U07MH                  1
        Desk (Left Hand Return)                                     Unicor                 Symphony              S6820U14MH                  1
        Bookcase                                                    Unicor                 Symphony              S352012MH                   1
        Credenza (Double Door)                                      Unicor                 Symphony              S352007MH                   1
        Desk Chair                                                  Unicor                 Classic Ergo          WP8007BLK3501               1
        Guest Chair                                                 Unicor                 Soprano               WVC6120MH7578               2
        Waste Receptacle                                                                                                                     1




EQUIPMENT




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                      4.91
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   1.4 OPLA - Room Data Sheet
     1.4.2    ASSISTANT CHIEF COUNSEL OFFICE

   Function
   The Assistant Chief Counsels (ACCs) are principally
   responsible for representing the Department in
   removal proceedings before immigration courts and
   the Board of Immigration Appeals. Specific
   responsibilities include the following:

       - Reviews, prepares and presents cases for trial and on
         appeal
       - Represents the Department in meetings, conferences
         and other forums
       - Provides legal advice to the Office of Detention and
         Removal (DRO) and other DHS components
       - Provides litigation support, legal assistance, and legal
                                                                            Photograph
         advice to the U.S. Attorney’s Office in the litigation of
         civil and criminal cases
       - Researches legal and policy issues
       - Drafts memoranda, briefs, legal opinions, letters,
         reports and other documents

   Normal occupancy is daily, 8-10 hours.




                                                                            Floor Plan - Option 1 (150 nsf)




                                                                            Floor Plan - Option 2 (150 nsf)



SYMBOL LEGEND:         Voice Outlet      Data Outlet       Voice/Data Outlet       Duplex Outlet      ISDN Outlet   Duress Alarm Outlet

                                                                     4.92
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


 1.4.2 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • 35 oz. 100% cut pile    • ACT-8’ high        • Solid core wood           • See below                 • Exterior window
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• None                  • Typical                 • Recessed           • 110V duplex on each       • None                      • Voice & data on 2 walls
                                                    Fluorescent          wall                                                  • A & B ports shall be active




 1.4.2 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                 Style                 Model #                     Qty.
FURNITURE
        Desk (Right Hand Return)                                   Unicor                  Symphony              S6820U07MH                  1
        Desk (Left Hand Return)                                    Unicor                  Symphony              S6820U14MH                  1
        Bookcase                                                   Unicor                  Symphony              S352012MH                   1
        Credenza (Double Door)                                     Unicor                  Symphony              S352007MH                   1
        Desk Chair                                                 Unicor                  Classic Ergo          WP8007BLK3501               1
        Guest Chair                                                Unicor                  Soprano               WVC6120MH7578               2
        Waste Receptacle                                                                                                                     1




EQUIPMENT




HARDWARE
       Lockset                                                                                                                               1




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.93
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   1.4 OPLA - Room Data Sheet
     1.4.3   LEGAL TECHNICIAN WORKSTATION

   Function
   The Legal Technicians provide direct support to the
   Deputy Chief Counsel and Assistant Chief Counsels.
   Specific responsibilities include the following:

       - Receives, screens, sorts, distributes and sends out
         mail
       - Types legal documents
       - Prepares and files motions, briefs, exhibits and other
         documents
       - Receives phone calls
       - Retrieves and distributes A-files for immigration court
         hearings, and related matters
       - Uses computers for data entry, tracking and ordering
         A-files and typing legal documents                               Photograph
       - With attorney supervision, drafts simple motions,
         responses, letters and other documents
       - Conducts factual research for immigration court hear-
         ings, and related matters

   Normal occupancy is daily, 8-10 hours.




                                                                          Floor Plan - Option 1 (100 nsf)




                                                                          Floor Plan - Option 2 (100 nsf)



SYMBOL LEGEND:        Voice Outlet      Data Outlet      Voice/Data Outlet       Duplex Outlet      ISDN Outlet   Duress Alarm Outlet

                                                                   4.94
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                                                                                                       4. FUNCTIONAL REQUIREMENTS


 1.4.3 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                         Hardware                Glazing
• None                  • 35 oz 100% cut pile     • ACT-8’ high min.    • None                        • None                   • None
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                         Security                Communications
• None                  • Typical                 • Recessed            • To accommodate              • None                   • To accommodate systems
                                                    Fluorescent           systems furniture                                      furniture
                                                                                                                               • A & B ports shall be active




 1.4.3 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                    Style              Model #                     Qty.
FURNITURE
        Systems Furniture                                          Unicor                     Crescendo          TBD                         1
        Desk Chair                                                 Unicor                     Classic Ergo       WP8007BLK3501               1
        Guest Chair                                                Unicor                     Soprano            WVC6120MH7578               1
        Waste Receptacle                                                                                                                     1




EQUIPMENT
        None




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.95
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                 ICE Design Standards



   1.4 OPLA - Room Data Sheet
     1.4.4   MAIL/FILE CLERK OFFICE

   Function
   The Mail Room is used for the receipt, screening,
   sorting, and distribution of all mail received by OPLA.
   This space can be either an enclosed office or an open
   workstation.




                                                                    Photograph




                                                                    Floor Plan (square footage varies)




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet      Duplex Outlet      ISDN Outlet   Duress Alarm Outlet

                                                             4.96
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


 1.4.4 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • 35 oz. 100% cut pile    • ACT-8’ high min.    • Solid core wood           • See below                   • Exterior windows
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• None                  • Typical                 • Recessed            • 110V duplex on each       • None                        • Voice & data on 2 walls
                                                    Fluorescent           wall                                                    • A & B ports shall be active




 1.4.4 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                  Style                 Model #                       Qty.
FURNITURE
        Desk Chair                                                 Unicor                   Classic Ergo          WP8007BLK3501                 1
        Built-in countertops to accommodate a large work area
        Item-Sorter, 12 compartment, DVGY                          DOD                                            FEL-25004                     1
        Waste Receptacle                                                                                                                        1




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.97
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   1.4 OPLA - Room Data Sheet
     1.4.5   SUPPORT WORKSTATION
             W/SCANNER, PRINTER, FAX

   Function
   The Support Workstation will serve to support the
   OPLA staff and will house the fax machine, a large
   multi-page scanner with attached computer, and a
   typewriter.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.98
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                                                                                                   4. FUNCTIONAL REQUIREMENTS


 1.4.5 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                     Hardware                    Glazing
• None                  • 35 oz 100% cut pile     • ACT-8’ high min.    • None                    • None                       • None
                          nylon carpet
                        • Base: RB



Plumbing                HVAC                      Lighting              Power                     Security                    Communications
• None                  • Typical                 • Recessed            • To accommodate          • None                       • To accommodate systems
                                                    Fluorescent           systems furniture and                                  furniture
                                                                          equipment




 1.4.5 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                Style               Model #                       Qty.
FURNITURE
        Systems Furniture                                          UNICOR                 Crescendo           TBD
        Desk Chair                                                 UNICOR                 Classic Ergo        WP8007BLK3501                 1
        Waste Receptacle                                                                                                                    1




EQUIPMENT
        Network Printer
        Fax Machine
        Large Shredder




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



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   1.4 OPLA - Room Data Sheet
     1.4.6   LAW LIBRARY/CONFERENCE ROOM

   Function
   The Law Library/Conference Room is used for legal
   research, and is also used by the OPLA attorneys for
   meetings with clients, OCC staff, EOIR, the private bar,
   and visitors. It is also used for training purposes.

   Normal occupancy is daily, 8-10 hours.

   The size of this space will vary based on the number of
   detainees and the total number of OPLA employees.
   The minimum size shall be 200 square feet and
   increase in size at 22 sf/occupant based on the
   occupant load prescribed in the space spreadsheet.
                                                                      Photograph




                                                                      Floor Plan (square footage varies)

                                                                      The number of bookcases shall be determined by actual room
                                                                      dimensions; fill full length of long wall.

                                                                      The 3 voice outlets grouped on end wall represent six (6) RJ 11/RJ
                                                                      45 receptacles for video teleconferencing.




SYMBOL LEGEND:        Voice Outlet   Data Outlet     Voice/Data Outlet        Duplex Outlet        ISDN Outlet         Duress Alarm Outlet

                                                              4.100
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                                                                                                        4. FUNCTIONAL REQUIREMENTS


 1.4.6 SYSTEMS MATRIX

Walls                   Floors                       Ceiling               Doors                       Hardware                   Glazing
• PNT                   • Floor capable of sup-      • ACT-8’ high min.    • Solid core wood           • See below                 • None
                          porting live load of 150
                          lb. per sq. ft.
                        • 35 oz 100% cut pile
                          nylon carpet
                        • Base - RB

Plumbing                HVAC                         Lighting              Power                       Security                   Communications
• None                  • Typical                    • Recessed            • 110V duplex on each       • PIR Sensor                • Voice & data on 2 walls
                                                       Fluorescent           wall                                                  • A & B ports shall be active
                                                                           • 110V duplex in
                                                                             floor/table




 1.4.6 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                        Vendor*                  Style                  Model #                    Qty.
FURNITURE
        Bookcase                                                      Unicor                   Symphony               S352013MH                  3
        Conference Table                                              Unicor                   Symphony               S723602MH                  1
        Chair                                                         Unicor                   Soprano                WVC6120MH7578              6
        Waste Receptacle                                                                                                                         1

          NOTE: the size of the conference room table and the quantity of chairs and bookcases will vary based on room size and occupancy.




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                          4.101
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   1.4 OPLA - Room Data Sheet
     1.4.7   COPIER/STORAGE ROOM

   Function
   The copier/storage room is used to house one or more
   large multi-function copier(s) (one copier for each 6
   attorneys) and space to store miscellaneous items.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.102
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


 1.4.7 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • VCT                     • ACT-8’ high min.    • Solid core wood           • See below                • None




Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• None                  • Typical                 • Recessed            • 110V duplex on each       • None                     • None
                                                    Fluorescent           wall




 1.4.7 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                  Style                 Model #                   Qty.
FURNITURE
        TBD by end user




EQUIPMENT
        Copier




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.103
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   1.4 OPLA - Room Data Sheet
     1.4.8   SUPPLY ROOM

   Function
   The Office Supply Storage Room is used to store
   paper, toner, notebooks, pens, and other office
   supplies necessary for the successful operation of a
   law office. It is also used to house one or more large
   multi-function copiers (one copier per six attorneys)
   and space to store miscellaneous items.

   The size of this space will vary based on the number of
   detainees and the total number of OPLA employees.
   The minimum size shall be 50 square feet and increase
   in size at 2 sf/OPLA employee over 25, based on the
   staffing and space spreadsheets.
                                                                     Photograph




                                                                     Floor Plan (square footage varies; 2 sq. ft. per employee)

                                                                     Shelving shall fill three walls adjacent to and opposite the wall with
                                                                     door.




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet          Duplex Outlet          ISDN Outlet           Duress Alarm Outlet

                                                             4.104
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                                                                                                        4. FUNCTIONAL REQUIREMENTS


 1.4.8 SYSTEMS MATRIX

Walls                   Floors                     Ceiling               Doors                         Hardware                  Glazing
• PNT                   • 35 oz 100% cut pile       • ACT-8’ high         • Solid core wood            • See below               • None
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                       Lighting              Power                         Security                  Communications
• None                  • Typical                   • Recessed            • 110V duplex on each        • None                    • None
                                                      Fluorescent           wall




 1.4.8 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                       Vendor*                  Style                  Model #                Qty.
FURNITURE
        Metal Shelving Unit                                          Unicor                   Closed                 SHV046953              4

          NOTE: the quantity of metal shelves will vary based on room size.




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.105
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   1.4 OPLA - Room Data Sheet
     1.4.9   BREAKROOM

   Function
   The breakroom is used to provide OPLA personnel with
   space to eat lunch and take breaks.

   The size of this space will vary based on the total
   number of OPLA employees. The size shall be
   determined using 25 square feet per occupant based
   on the staffing and space spreadsheets




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.106
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                                                                                                         4. FUNCTIONAL REQUIREMENTS


 1.4.9 SYSTEMS MATRIX

Walls                    Floors                     Ceiling                Doors                        Hardware                  Glazing
• PNT                    • 35 oz 100% pile cut       • ACT-8’ high min.    • Solid core wood            • See below                • Exterior windows
                           nylon carpet
                         • Base - RB



Plumbing                 HVAC                       Lighting               Power                        Security                  Communications
• Double bowl stain-     • Typical                   • Recessed            • 110V duplex on each        • None                     • Voice & data on 2 walls
  less steel kitchen     • Exhaust fan                 Fluorescent           wall
  sink with garbage                                                        • Elec. outlets for
  disposal                                                                   refrigerator &
                                                                             microwave
                                                                           • 2 GFCI outlets adja-
                                                                             cent to the counter

 1.4.9 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID         Item                                                       Vendor*                  Style                  Model #                   Qty.
FURNITURE
        Table, 36” square                                             UNICOR                                          R03636TA1XANBC            Varies
        Multi-purpose seating                                         UNICOR                   Choral                 TPL1883BLK3501            Varies
        Waste receptacle with cover

           Note: Quantity of tables and chairs will vary based on room size and occupancy.




EQUIPMENT
        Cable TV or Satellite Dish & Cable System
        Refrigerator
        Microwave Oven
        Garbage Disposal
        Coffee Maker




HARDWARE
       Door Hardware Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                          4.107
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   1.4 OPLA - Room Data Sheet
    1.4.10 CLASSIFIED FILE ROOM

   Function
   The classified file room is used for securing and safe-
   guarding classified files and other sensitive docu-
   ments.




                                                                     Photograph




                                                                     Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                             4.108
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                                                                                                                 4. FUNCTIONAL REQUIREMENTS


1.4.10 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                     Glazing
• PNT                   • 35 oz 100% pile cut     • ACT-8’ high min.   • Solid core wood           • See below                  • Exterior windows
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting             Power                       Security                     Communications
• Double bowl stain-    • Typical                 • Recessed           • 110V duplex on each       • Access control on door     • Voice & data on 2 walls
  less steel kitchen    • Exhaust fan               Fluorescent          wall
  sink with garbage                                                    • Elec. outlets for
  disposal                                                               refrigerator &
                                                                         microwave
                                                                       • 2 GFCI outlets adja-
                                                                         cent to the counter

 1.4.9 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID         Item                                                    Vendor*                 Style                 Model #                     Qty.
FURNITURE
        Five Drawer Lateral File, Sand                             UNICOR                                        ZZLATFF53628                4-6




EQUIPMENT




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                               4.109
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                               4.110
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1.0 Office Zone    1.5 Removal Unit                                      (ICE Operated)


                        Space Requirements
                        1.5.1   Supervisory Detention & Deportation Officer (SDDO) Office
                        1.5.2   Deportation Officer (DO) Office
                        1.5.3   Deportation Removal Assistant (DRA) Workstation
                        1.5.4   Shared Computer Workstation
                        1.5.5   Conference Room
                        1.5.6   Records/Files Room
                        1.5.7   Supply/Storage Room
                        1.5.8   Copier/Fax/Shredder Room
                        1.5.9   Printer Area
                        1.5.10 Officer Toilet - Male
                        1.5.11 Officer Toilet - Female




                                 4.111
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1.5 Removal Unit- Function
FUNCTION STATEMENT                                                                       Design Criteria
The primary function of Removal Unit is managing and
administering cases brought to the EOIR Court and                  Critical Issues
arranging for the removal (deportation) of
individuals to foreign countries.                                  9     Share equipment and files with OPLA
                                                                   9     Large centralized filing
                                                                   9     Adjacent/convenient to EOIR Court
The Removal Unit operates in docket teams. Multiple
                                                                   9     Cash transactions take place at the counter
docket teams exist at larger facilities. They also
maintain records on all individuals who have cases
pending in the EOIR Court and those detained at the
CDF.                                                               Special Requirements

Other activities include arranging for the travel                  9     Transaction counter to separate the office area from
documents and transportation for removal. Inquiries on                   the public; accessed by public through transaction
the progress of cases are answered by the Removal                        window
                                                                   9     Identification camera
Unit, and they may also issue Employment
                                                                   9     Secured/controlled access from public spaces
Authorization Documents for aliens who wish to work                9     Ticket machine with secure lock/location
in the U.S.

The Removal Unit is located outside the secure
perimeter and restricted to staff with controlled access
to the public.



                                                                   Space Requirements

                                                                   1.5       REMOVAL UNIT

                                                                   1.5.1     Supervisory Detention & Deportation Officer
                                                                             (SDDO) Office
                                                                   1.5.2     Deportation Officer (DO) Office
                                                                   1.5.3     Deportation Removal Assistant (DRA)
                                                                             Workstation
                                                                   1.5.4     Shared Computer Workstation
                                                                   1.5.5     Conference Room
                                                                   1.5.6     Records/Files Room
                                                                   1.5.7     Supply/Storage Room
                                                                   1.5.8     Copier/Fax/Shredder Room
                                                                   1.5.9     Printer Area
                                                                   1.5.10    Officer Toilet - Male
                                                                   1.5.11    Officer Toilet - Female




                                                           4.112
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                                                                                        4. FUNCTIONAL REQUIREMENTS




                                          1.5 Removal Unit : Organizational Diagram




                                                   1.4.1               1.4.6         1.4.2
                                                   DCC           Law Library/        ACC
                                                   Office      Conference Room       Office

                                  Classified                                         1.4.2
                                                  1.4.10
                                  File Room
                                                                       1.4.3
                                                  1.4.4        Legal Technicians     1.4.2      ADCC Offices
                                                 Mail Office     Workstations

                                                  1.4.7,8,9                          1.4.2
                                                  Support
                                   Support
                                                   Room
                                  Workstation                  1.4.5
                                                                         Reception   1.4.2


                                                  1.5.6-11

                                                  Support                            1.5.1
                                                   Room
                                                                  1.5.3,4
                                                   1.5.2         Deportation         1.5.1
                                                                  Removal                       SDDO Offices
                                  DO Offices                      Assistant
                                                                 Workstations        1.5.1
                                                   1.5.2


                                                   1.5.2               1.5.5         1.5.1
                                                    DO         Conference Room       SDDO
                                                   Office                            Office




                                                                                                                                                                           FACILITY CHECK-IN
                                                                                                                                                                           Gate House

                                                                                                                                                                                                             PROPERT
                                                                                                                                                                                                             LINE
                                                                                                                               Staﬀ                                        Staﬀ                              FENCE
                                                                                                          1.Oﬃce              Parking            Public Parking           Parking
                                                                                                          Zone
                                                                                                          Non-Secure Zone
                                                                                                                                                                                                             SECURITY
                                                                                                                                                                              1.2                            BUFFER
                                                                                               JUDGES
                                                                                                                              1.4
                                                                                                                                                                            Admin.


                                                                                                               1
                                                                                               PRIVATE
                                                                                                                             OPLA            Security Check Area
                                                                                                                                                                              ICE
                                                                                               ENTRANCE                                              1.1
                                                                                                                                             Public Entrance/                 1.3                            PERIMETE
                                                                                                                              1.5                 Lobby                     Admin.                           PATROL
                                                                                                                            Removal          Waiting/Support Area
                                                                                                                                                                                                             ROAD
                                                                                                                                                                              CDF


                                                                                                          2.Court                      2
                                                                                                                                       2.1                                Arm. L.D.                          INTAKE/



                                                                                                                     2
                                                                                                          Interface                                P. 2.2
                                                                                                                                                        . D.       1.6                                       SERVICE
                                                                                                                                      EOIR
                                                                                                                                       O
                                                                                                                                                   Visitation
                                                                                                                                                        a                                                    ROAD
                                                                                                          Zone               Admin.     Courts                     Staﬀ Services
                                                                                                          Interface Zo                                Holding         & Training            Vehicle
                                                                                                                                                                                           Sallyport
                                                                                                                                 3.1                  32
                                                                                                                                                      3.2
                                                                                                                              Detention                                    4.1     Ve
                                                                                                                                                                                   Veehicclle
                                                                                                                                                   Se
                                                                                                                                                    ecurity
                                                                                                                                                        ri             Processing Saally
                                                                                                                            Administration        Com
                                                                                                                                                  C  mmand
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                                                                                                                                                                                     l po ort
                                                                                                                                                                                          or
                                                                                                                                                                                          o rt
                                                                                                                                                                                            rt               PERIMETE
                                                                                                                                                                                                             SECURITY
                                                                                                                                                                                                             FENCE


                                                                                                                                                                                         4
                                                                                                           E




                                                                                                                                                                                                    E




                                                                                                                                                                      4.2
                                                                                                           N




                                                                                                                                                                                                    N




                                                                                                                                   3.2                          Health Services
                                                                                                                                 Housing
                                                                                                           O




                                                                                                                                                                                                    O




                                                                                                                                (w/dining)                               4.3
                                                                                                           Z




                                                                                                                                                                                                    Z




                                                                                                                                                                       Laundry
                                                                                                                                                                                       4.Servic
                                                                                                                                                                                            v e
                                                                                                                                                                      4.4              Zone


                                                                                                                 3
                                                                                                                                                                   Food Prep.          Restricted Detainee
                                                                                                                                                                                                  D ain
                                                                                                           N




                                                                                                                                                                                                    N




                                                                                                                                                                                       Movementt
                                                                                                                            3.4         3.3 D.S.
                                                                                                           O




                                                                                                                                                                                                    O




                                                                                                                            Rec.       3.5 Library                   5.2
                                                                                                           I




                                                                                                                                                                                                    I




                                                                                                                                                                  Warehouse
                                                                                                           S




                                                                                                                                                                                                    S




         LEGEND                                                                                                                                                  5.1
                                                                                                                                                                           L.D.
                                                                                                           N




                                                                                                                                                                                                    N




                                                                                                                                                                C.S.


                                                                                                                                                                                         5
                                                                                                                                                                      5.3
                                                                                                           A




                                                                                                                                                                                                    A




                                                                                                                                   3.2
                                                                                                                                                                  Maintenance
= Entry Points Into Other Areas
                                                                                                                                 Housing
                                                                                                           P




                                                                                                                                                                                                    P




                                                                                                                                (w/dining)
                                                                                                           X




                                                                                                                                                                                                    X
                                                                                                           E




                                                                                                                                                                                                    E




                                                                                                                                                                       5.4

= Secure Door
                                                                                                                                                                  Utility Plant

                                                                                                          3.Detainee Living Zone                              5.Facility Support Zone
                                                                                                          Secure Zone With Normal Detainee Movement         Restricted Support Zone

= Circulation Pattern
                                                                                                                                                     LEGEND




                                                                                                                     Office Zone Diagram




                                                               4.113
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1.5 Removal Unit - Critical Workflow Patterns
INTRODUCTION
The diagrams on the following page illustrate some of
the most critical workflow issues and patterns of
Removal Unit.




                                                        4.114
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                                                                  4. FUNCTIONAL REQUIREMENTS




                                1.5 Removal Unit : Critical Workflow Patterns




1. “PUBLIC TRANSACTION COUNTER”
Removal Unit should have public transaction counter
stations for employment authorization documents and
travel clerk workstation. The counter should be
accessible from the Public Entrance/Lobby and be
controlled by the security officer stationed in the lobby.




2. “CLOSE PROXIMITIES”
Removal Unit needs to be directly adjacent to the
Public Entrance/Lobby and EOIR Court.




                                                       4.115
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   1.5 Removal Unit - Room Data Sheet
     1.5.1   SUPERVISORY DETENTION &
             DEPORTATION OFFICER (SDDO)
             OFFICE

   Function
   The Supervisory Detention and Deportation Officer
   Office functions as an administrative and technical
   supervisor for DO’s, IEA’s and critical personnel. The
   SDDO serves as the principal advisor on all
   administrative management matters associated with
   programs and operations.




                                                                    Photograph




                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.116
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


 1.5.1 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • 35 oz. 100% cut pile    • ACT-8’ min.        • Solid core wood           • See below                 • Exterior window
                          nylon carpet
                        • Base: RB



Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• None                  • Typical                 • Recessed           • 110V duplex outlet on     • None                      • Voice & data on 2 walls
                                                    Fluorescent          ea. wall




 1.5.1 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                 Style                 Model #                    Qty.
FURNITURE
        Desk                                                                                                                                1
        Credenza                                                                                                                            1
        Desk chair                                                                                                                          1
        Side chair                                                                                                                          2
        Waste receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.117
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   1.5 Removal Unit - Room Data Sheet
     1.5.2       DEPORTATION OFFICER (DO)
                 OFFICE

   Function
   The Deportation Officer’s function is to manage
   removal cases, conduct fugitive operations and
   investigations, process intelligence information and
   participate in detention and removal hearings.

   The DO works closely with ICE LED’s and OPLA
   attorneys as well as US Attorney’s Offices in
   identifying, locating, apprehending and prosecuting
   aliens, developing and coordinating intelligence, and
   defending removal or exclusion proceedings.
                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.118
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


 1.5.2 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • 35 oz. 100% cut pile    • ACT-8’ min.        • Solid core wood           • See below                 • Exterior window
                          nylon carpet
                        • Base: RB



Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• None                  • Typical                 • Recessed           • 110V duplex outlet on     • None                      • Voice & data on 2 walls
                                                    Fluorescent          ea. wall




 1.5.2 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                 Style                 Model #                    Qty.
FURNITURE
        Desk                                                                                                                                1
        Credenza                                                                                                                            1
        Desk chair                                                                                                                          1
        Side chair                                                                                                                          2
        Waste receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.119
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   1.5 Removal Unit - Room Data Sheet
    2.03
     1.5.3   DEPORTATION REMOVAL ASSIS-
             TANT (DRA) WORKSTATION

   Function
   The Deportation Removal Assistant’s function is to
   provide clerical and administrative support to the
   detention and removal program. Th DRA will have
   access to classified files and materials that consist of
   enforcement of laws and regulations pertaining to the
   detention and removal of aliens.

   The DRA reviews removal and exclusion case files to
   determine the status of proceedings and takes
   appropriate action so that the case may be closed or
   moved onward; performs a variety of technical and
                                                                      Photograph
   clerical duties necessary in completing arrangements
   for physical removal.




                                                                      Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet     Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                              4.120
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                                                                                                      4. FUNCTIONAL REQUIREMENTS


2.03
 1.5.3 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                         Hardware                 Glazing
• None                  • 35 oz. 100% cut pile    • ACT-8’ min.        • None                        • None                    • None
                          nylon carpet
                        • Base: RB



Plumbing                HVAC                      Lighting             Power                         Security                 Communications
• None                  • Typical                 • Recessed           • To accommodate              • None                    • To accommodate systems
                                                    Fluorescent          systems furniture                                       furniture




2.03
 1.5.3 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                   Style              Model #                     Qty.
FURNITURE
        Systems furniture                                                                                                                   1
        Desk chair                                                                                                                          1
        Waste receptacle                                                                                                                    1




EQUIPMENT




HARDWARE




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.121
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   1.5 Removal Unit - Room Data Sheet
     1.5.4 SHARED COMPUTER
           WORKSTATION

   Function
   The Shared Computer Workstation is an unassigned
   workspace used for computer access by staff not
   permanently assigned to this facility. Use is generally
   short term.




                                                                     Photograph




                                                                     Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                             4.122
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                                                                                                      4. FUNCTIONAL REQUIREMENTS


 1.5.4 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                         Hardware                 Glazing
• None                  • 35 oz. 100% cut pile    • ACT-8’ min.        • None                        • None                    • None
                          nylon carpet
                        • Base: RB



Plumbing                HVAC                      Lighting             Power                         Security                 Communications
• None                  • Typical                 • Recessed           • To accommodate              • None                    • To accommodate systems
                                                    Fluorescent          systems furniture                                       furniture




 1.5.4 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                   Style              Model #                     Qty.
FURNITURE
        Systems furniture                                                                                                                   1
        Desk chair                                                                                                                          1
        Waste receptacle                                                                                                                    1




EQUIPMENT




HARDWARE




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.123
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   1.5 Removal Unit - Room Data Sheet
     1.5.5       CONFERENCE ROOM

   Function
   The Conference Room is used for meetings and other
   intermittent training of Removal Unit staff. The size will
   increase based on the staff size and detainee
   population.




                                                                        Photograph




                                                                        Floor Plan
                                                                        The 3 voice outlets grouped on end wall represent six (6) RJ 11/RJ
                                                                        45 receptacles for video teleconferencing.




SYMBOL LEGEND:        Voice Outlet    Data Outlet      Voice/Data Outlet         Duplex Outlet        ISDN Outlet        Duress Alarm Outlet

                                                                4.124
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


 1.5.5 SYSTEMS MATRIX

Walls                   Floors                     Ceiling              Doors                       Hardware                      Glazing
• PNT                   • 35 oz. 100% cut pile     • ACT-8’ min.        • Solid core wood           • None                         • None
                          nylon carpet
                        • Base: RB



Plumbing                HVAC                       Lighting             Power                       Security                      Communications
• None                  • Typical                  • Recessed           • 110V duplex outlets       • None                         • Voice and data on center of
                                                     Fluorescent          on ea. wall and cen-                                       table
                                                                          ter of table                                             • Data on each wall




 1.5.5 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                      Vendor*                 Style                Model #                        Qty.
FURNITURE
        Conference table                                                                                                                        1
        Chairs                                                                                                                                  Varies

          NOTE: the size of the conference room table and the quantity of chairs and bookcases will vary based on room size and occupancy.




EQUIPMENT
        None




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                      4.125
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   1.5 Removal Unit - Room Data Sheet
     1.5.6 RECORDS/FILES ROOM

   Function
   The Records/File Room is used to secure detainee
   case files. The size of the Records/Files Room will vary
   based on the planned detainee population. This room
   shall be convenient to staff from OPLA and ICE
   Administration.




                                                                      Photograph




                                                                                   File Cabinets   File Cabinets




                                                                      Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet     Voice/Data Outlet       Duplex Outlet         ISDN Outlet     Duress Alarm Outlet

                                                              4.126
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


 1.5.6 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • VCT                     • ACT-8’ min.        • Solid core wood           • See below                 • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• None                  • Typical                 • Recessed           • 110V duplex outlet on     • Access control on door    • None
                                                    Fluorescent          2 walls




 1.5.6 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                 Style                 Model #                    Qty.
FURNITURE
        Lateral file cabinets                                                                                                               Varies




EQUIPMENT
        None




HARDWARE
       Lockset
       Electronic access reader




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.127
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   1.5 Removal Unit - Room Data Sheet
     1.5.7   SUPPLY/STORAGE ROOM

   Function
   The Supply/Storage Room is used to stock boxes of
   copier paper, office supplies, standard forms and the
   like.




                                                                   Photograph




                                                                                Shelving




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet    ISDN Outlet   Duress Alarm Outlet

                                                           4.128
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


 1.5.7 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • VCT                     • ACT-8’ min.        • Solid core woos           • See below                 • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• None                  • Typical                 • Recessed           • 110V duplex outlet        • None                      • None
                                                    Fluorescent




 1.5.7 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                 Style                 Model #                    Qty.
FURNITURE
        Storage Cabinet                                                                                                                     4
        Shelving                                                                                                                            9
        Waste receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       Lockset
       Closer                                                      LCN                     w/hold open           LCN4040                    1




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.129
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   1.5 Removal Unit - Room Data Sheet
     1.5.8   COPIER/FAX/SHREDDER ROOM

   Function
   The Copier/Fax/Shredder Room is used for mass
   copying, faxing documents, and shredding secure or
   sensitive documents.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.130
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


 1.5.8 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • VCT                     • ACT-8’ min.        • Solid core wood           • See below                 • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• None                  • Typical                 • Recessed           • TBD based on dedi-        • None                      • Voice and data
                                                    Fluorescent          cated circuits                                        • Dedicated fax line
                                                                                                                               • Data as required for copiers
                                                                                                                                 and fax




 1.5.8 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                 Style                 Model #                    Qty.
FURNITURE
        Waste receptacle                                                                                                                    1




EQUIPMENT




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.131
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   1.5 Removal Unit - Room Data Sheet
     1.5.9   PRINTER AREA

   Function
   The Printer Area is an allocation of space within the
   open office environment for printers.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.132
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


 1.5.9 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • VCT                     • ACT-8’ min.        • Solid core wood           • See below                 • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• None                  • Typical                 • Recessed           • TBD based on dedi-        • None                      • Voice and data
                                                    Fluorescent          cated circuits                                        • Data as required for printer




 1.5.9 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                 Style                 Model #                     Qty.
FURNITURE
        Waste receptacle                                                                                                                     1




EQUIPMENT




HARDWARE




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.133
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   1.5 Removal Unit - Room Data Sheet
    1.5.10 OFFICER TOILET - MALE

   Function
   The Male Officer Toilet is a single use room located
   within the Removal Unit.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.134
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


1.5.10 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • VCT                     • GWB type X         • Solid core wood           • See below                 • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• Toilet                • Typical w/exhaust       • Recessed           • 110V duplex outlet-       • None                      • None
• Lavatory                                          Fluorescent          GFI




1.5.10 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID           Item                                                  Vendor*                 Style                 Model #                    Qty.

FURNITURE
        None




EQUIPMENT
        Wall-hung, flush valve toilet                                                                                                       1
        Wall mounted lavatory                                                                                                               1
        Grab bars                                                                                                                           2
        Toilet paper dispenser                                                                                                              1
        Toilet seat cover dispenser                                                                                                         1
        Semi-recessed towel/waste unit                                                                                                      1
        Soap dispenser                                                                                                                      1
        Frameless wall mirror                                                                                                               1




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.135
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   1.5 Removal Unit - Room Data Sheet
    1.5.11 OFFICER TOILET - FEMALE

   Function
   The Female Officer Toilet is a single use room located
   within the Removal Unit.




                                                                    Photograph




                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.136
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


1.5.11 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • VCT                     • GWB type X         • Solid core wood           • See below                 • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• Toilet                • Typical w/exhaust       • Recessed           • 110V duplex outlet-       • None                      • None
• Lavatory                                          Fluorescent          GFI




1.5.11 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID           Item                                                  Vendor*                 Style                 Model #                    Qty.

FURNITURE
        None




EQUIPMENT
        Wall-hung, flush valve toilet                                                                                                       1
        Wall mounted lavatory                                                                                                               1
        Grab bars                                                                                                                           2
        Toilet paper dispenser                                                                                                              1
        Toilet seat cover dispenser                                                                                                         1
        Semi-recessed towel/waste unit                                                                                                      1
        Soap dispenser                                                                                                                      1
        Frameless wall mirror                                                                                                               1
        Feminine napkin disposal unit




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



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1.0 Office Zone    1.6 Staff Services and Training                     (ICE Operated)


                        Space Requirements
                        1.6.1 Staff Entrance Vestibule
                        1.6.2 Weapons Drop Area
                        1.6.3 Training Officer Office
                        1.6.4 Visiting Trainer Officer Office
                        1.6.5 Muster Room
                        1.6.6 Exercise Room
                        1.6.7 Physical Training Room
                        1.6.8 Classroom/Computer Training Room
                        1.6.9 FATS Training Room
                        1.6.10 ICE Armory
                        1.6.11 ICE Ready Room
                        1.6.12 Training File Area
                        1.6.13 Workroom
                        1.6.14 Resource Library
                        1.6.15 Staff Breakroom
                        1.6.16 Vending Area
                        1.6.17 Male Staff Lockers
                        1.6.18 Male Staff Toilet
                        1.6.19 Male Staff Shower
                        1.6.20 Male Shower Dressing Area
                        1.6.21 Female Staff Lockers
                        1.6.22 Female Staff Toilet
                        1.6.23 Female Staff Shower
                        1.6.24 Female Shower Dressing Area
                        1.6.25 Bulk Storage Room (Disposed Property)
                        1.6.26 Loading Dock & Staging

                                4.139
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1.6 Staff Services and Training - Function
FUNCTION STATEMENT                                                                         Design Criteria
The function of Staff Services and Training is to provide
the level of instruction necessary for employees and                 Critical Issues
the meeting, locker, and break facilities to serve the
staff.                                                               9     Training located outside secure perimeter

All staff requires training, including contract security
guards, ICE detention officers, and clerical personnel.              Special Requirements
The training should accommodate all security and
non-security personnel as recommended by the                         9     Audio visual equipment
American Correctional Association (ACA). Training                    9     Physical fitness and training equipment
may occur on-site or off-site, and can be provided by
trained officers, outside contract instructors, or in
conjunction with other agencies.
                                                                     Space Requirements
Training may be divided into two broad categories:
                                                                     1.6       STAFF SERVICES AND TRAINING
Staff Training and Special Training. Staff Training is
site-specific training, some classroom training, plus                1.6.1     Staff Entrance Vestibule
some physical training. Special Training is provided                 1.6.2     Weapons Drop Area
on-site or at locations designated for the type of                   1.6.3     Training Officer Office
training, Special Training includes: Firearms Training,              1.6.4     Visiting Trainer Officer Office
Bus Training, Commercial Driver’s License (CDL)                      1.6.5     Muster Room
Training, Emergency Response Team (ERT), Special                     1.6.6     Exercise Room
Weapons and Tactics (SWAT), and Fire Arms Training                   1.6.7     Physical Training Room
                                                                     1.6.8     Classroom/Computer Training Room
Scenarios (FATS).
                                                                     1.6.9     FATS Training Room
                                                                     1.6.10    ICE Armory
Staff Services are the areas that allow the staff to                 1.6.11    ICE Ready Room
change and prepare prior to coming on duty, store their              1.6.12    Training File Area
personal items outside of the secure perimeter at the                1.6.13    Workroom
facility, plus perform tasks, such as report writing, away           1.6.14    Resource Library
from their posts and to relax during breaks or exercise.             1.6.15    Staff Breakroom
                                                                     1.6.16    Vending Area
The CDF has a staff muster for each shift with all the               1.6.17    Male Staff Lockers
                                                                     1.6.18    Male Staff Toilet
security staff assembled for a daily briefing before they
                                                                     1.6.19    Male Staff Shower
go on duty.                                                          1.6.20    Male Shower Dressing Area
                                                                     1.6.21    Female Staff Lockers
                                                                     1.6.22    Female Staff Toilet
                                                                     1.6.23    Female Staff Shower
                                                                     1.6.24    Female Shower Dressing Area
                                                                     1.6.25    Bulk Storage Room (Disposed Property)
                                                                     1.6.26    Loading Dock & Staging




                                                             4.140
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                                                                                            4. FUNCTIONAL REQUIREMENTS




                                1.6 Staff Services and Training : Organizational Diagram




                                  ZONE 1                           ZONE 2
                   Training
                    Officer        1.6.3   1.6.4    1.6.12-14
                                                                       1.6.17-20      1.6.21-24      1.6.26
                    Office                         Training File
                                                     Workrm
                                                                        Male           Female       Loading
                                                     Res/ Lib
                  Visiting                                          Lockers/Toilets    Lockers/     Dock &
                  Training                                             Showers          Toilets     Staging
                                       1.6.1-2      1.6.15-16          Dressing
                   Officer                                                             Showers
                   Office          Staff Entrance/ Staff Break                         Dressing
                                   Weapons Drop       Room
                                         Area       Vending
                        Entry


                                                                                                                                                   ICE
                                                                                         1.6.9    1.6.10 1.6.11                                   Ready
                                                                                      FATS Room                                                   Room

                                       1.6.5            1.6.8              1.6.6                                                                ICE
                                    Muster Room      Classroom                          1.6.7        1.6.25
                                                                     Exercise Room                                                             Armory
                                                                                       Physical      Bulk
                                                                                        Train.      Storage
                                                                                        Room        Room


                                  ZONE 3                           ZONE 4                         ZONE 5




                                                                                                                                                                                       FACILITY CHECK-IN
                                                                                                                                                                                       Gate House

                                                                                                                                                                                                                         PROPERT
                                                                                                                                                                                                                         LINE
                                                                                                                                           Staﬀ                                        Staﬀ                              FENCE
                                                                                                                      1.Oﬃce              Parking            Public Parking           Parking
                                                                                                                      Zone
                                                                                                                      Non-Secure Zone
                                                                                                                                                                                                                         SECURIT
                                                                                                                                                                                          1.2                            BUFFER
                                                                                                           JUDGES
                                                                                                                                          1.4
                                                                                                                                                                                        Admin.


                                                                                                                           1
                                                                                                           PRIVATE
                                                                                                                                         OPLA            Security Check Area
                                                                                                                                                                                          ICE
                                                                                                           ENTRANCE                                              1.1
                                                                                                                                                         Public Entrance/                 1.3                            PERIMET
                                                                                                                                          1.5                 Lobby                     Admin.                           PATROL
                                                                                                                                        Removal          Waiting/Support Area
                                                                                                                                                                                                                         ROAD
                                                                                                                                                                                          CDF


                                                                                                                      2.Court                      2
                                                                                                                                                   2.1                                Arm. L.D.                          INTAKE/



                                                                                                                                 2
                                                                                                                      Interface                                P. 2.2
                                                                                                                                                                    . D.       1.6                                       SERVICE
                                                                                                                                                  EOIR
                                                                                                                                                   O
                                                                                                                                                               Visitation
                                                                                                                                                                    a                                                    ROAD
                                                                                                                      Zone               Admin.     Courts                     Staﬀ Services
                                                                                                                      Interface Zo                                Holding         & Training            Vehicle
                                                                                                                                                                                                       Sallyport
                                                                                                                                             3.1                  32
                                                                                                                                                                  3.2
                                                                                                                                          Detention                                    4.1     Ve
                                                                                                                                                                                               Veehicclle
                                                                                                                                                               Se
                                                                                                                                                                ecurity
                                                                                                                                                                    ri             Processing Saally
                                                                                                                                        Administration        Com
                                                                                                                                                              C  mm
                                                                                                                                                                 mmmand
                                                                                                                                                                      a d                       allypo
                                                                                                                                                                                                 l po ort
                                                                                                                                                                                                      or
                                                                                                                                                                                                      o rt
                                                                                                                                                                                                        rt               PERIMET
                                                                                                                                                                                                                         SECURIT
                                                                                                                                                                                                                         FENCE


                                                                                                                                                                                                     4
                                                                                                                       E




                                                                                                                                                                                                                E




                                                                                                                                                                                  4.2
                                                                                                                       N




                                                                                                                                                                                                                N




                                                                                                                                               3.2                          Health Services
                                                                                                                                             Housing
                                                                                                                       O




                                                                                                                                                                                                                O




                                                                                                                                            (w/dining)                               4.3
                                                                                                                       Z




                                                                                                                                                                                                                Z




                                                                                                                                                                                   Laundry
                                                                                                                                                                                                   4.Servic
                                                                                                                                                                                                        v e
                                                                                                                                                                                  4.4              Zone


                                                                                                                             3
                                                                                                                                                                               Food Prep.          Restricted Detainee
                                                                                                                                                                                                              D ain
                                                                                                                       N




                                                                                                                                                                                                                N




                                                                                                                                                                                                   Movementt
                                                                                                                                        3.4         3.3 D.S.
                                                                                                                       O




                                                                                                                                                                                                                O




                                                                                                                                        Rec.       3.5 Library                   5.2
                                                                                                                       I




                                                                                                                                                                                                                I




                                                                                                                                                                              Warehouse
                                                                                                                       S




                                                                                                                                                                                                                S




         LEGEND                                                                                                                                                              5.1
                                                                                                                                                                                       L.D.
                                                                                                                       N




                                                                                                                                                                                                                N




                                                                                                                                                                            C.S.


                                                                                                                                                                                                     5
                                                                                                                                                                                  5.3
                                                                                                                       A




                                                                                                                                                                                                                A




                                                                                                                                               3.2
                                                                                                                                                                              Maintenance
= Entry Points Into Other Areas
                                                                                                                                             Housing
                                                                                                                       P




                                                                                                                                                                                                                P




                                                                                                                                            (w/dining)
                                                                                                                       X




                                                                                                                                                                                                                X
                                                                                                                       E




                                                                                                                                                                                                                E




                                                                                                                                                                                   5.4

= Secure Door                                                                                                         3.Detainee Living Zone
                                                                                                                                                                              Utility Plant

                                                                                                                                                                          5.Facility Support Zone
                                                                                                                      Secure Zone With Normal Detainee Movement         Restricted Support Zone

= Circulation Pattern
                                                                                                                                                                 LEGEND



                                                                                                                                Office Zone Diagram




                                                                   4.141
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1.6 Staff Services and Training - Critical Workflow Patterns
INTRODUCTION
The diagrams on the following page illustrate some of
the most critical workflow issues and patterns of the
Staff Services and Training.




                                                        4.142
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                                                              4. FUNCTIONAL REQUIREMENTS




                    1.6 Staff Services and Training : Critical Workflow Patterns




1. “CRITICAL ADJACENCIES - SERVICES”
Staff Services are the areas that allow the staff to
change and prepare prior to coming on duty, store their
personal items outside of the secure perimeter,
perform tasks such as report writing away from their
posts, and to relax during breaks.




2. “CRITICAL ADJACENCIES - TRAINING”
Training should be located outside the main secure
perimeter in a zone restricted only to staff.




                                                    4.143
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   1.6 Staff Services and Training - Room Data Sheet
     1.6.1   STAFF ENTRANCE VESTIBULE

   Function
   The Staff Entrance Vestibule is used to provide a
   thermal break between the exterior and interior of the
   building. It also serves as a secure point when the
   interior doors are in the locked position.This entrance
   is used by staff and contract personnel only.




                                                                     Photograph




                                                                     Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                             4.144
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                                                                                                  4. FUNCTIONAL REQUIREMENTS


 1.6.1 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                     Hardware                     Glazing
• PNT                   • CT                      • GWB-8’ high        • Glass                   • See below                   • Interior & exterior
                                                    min.




Plumbing                HVAC                      Lighting             Power                     Security                     Communications
• None                  • Typical                 • Recessed           • 110V duplex on each     • See below                   • None
                                                    Fluorescent          wall




 1.6.1 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*               Style                 Model #                        Qty.
FURNITURE
        Gun locker                                                                                                                            Varies




EQUIPMENT
        None




HARDWARE
       Locksets
       Electronic access reader
       Concealed hinges
       Weather stripping




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.145
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   1.6 Staff Services and Training - Room Data Sheet
     1.6.2   WEAPONS DROP AREA

   Function
   The Weapons Drop Area is a space located directly
   inside the Staff Entrance Vestibule for securing
   weapons prior to entering the facility.




                                                                   Photograph




                                                                                          Weapons Lockers




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet    ISDN Outlet      Duress Alarm Outlet

                                                           4.146
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


 1.6.2 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • 3CT                     • ACT-8’ high min.    • Solid core wood           • See below                • None




Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• None                  • Typical                 • Recessed            • 110V duplex on each       •?                         •?
                                                    Fluorescent           wall




 1.6.2 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                  Style                 Model #                   Qty.
FURNITURE




EQUIPMENT
        Lockers                                                                                                                             Varies




HARDWARE




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.147
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   1.6 Staff Services and Training - Room Data Sheet
     1.6.3   TRAINING OFFICER OFFICE

   Function
   The Training Officer plans, develops, monitors and
   evaluates courses and training activities for
   comprehensive emergency management programs.
   The Training Officer also monitors assigned training
   activities and assists in the completion of needs
   assessment, development and delivery actions,
   evaluation activities, and preparation of materials for
   assigned courses and activities. Responsible for
   development of assigned training activities, courses,
   and other adult learning events, to meet requirements.


                                                                     Photograph




                                                                     Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                             4.148
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


 1.6.3 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • 35 oz 100% pile cut     • ACT-8’ high min.    • Solid core wood           • See below                • Exterior window
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• None                  • Typical                 • Recessed            • 110V duplex on each       • None                     • Voice & data on 2 walls
                                                    Fluorescent           wall




 1.6.3 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                  Style                 Model #                   Qty.
FURNITURE
        Desk                                                                                                                                1
        Credenza                                                                                                                            1
        Bookcase                                                                                                                            1
        Lateral file                                                                                                                        1
        Desk chair                                                                                                                          1
        Side chair                                                                                                                          2
        Waste receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.149
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   1.6 Staff Services and Training - Room Data Sheet
     1.6.4   VISITING TRAINING OFFICER
             OFFICE

   Function
   The Visiting Training Officer supports the facility’s
   Training Officer with their daily duties.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.150
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


 1.6.4 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • 35 oz 100% pile cut     • ACT-8’ high min.    • Solid core wood           • See below                • Exterior window
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• None                  • Typical                 • Recessed            • 110V duplex on each       • None                     • Voice & data on 2 walls
                                                    Fluorescent           wall




 1.6.4 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                  Style                 Model #                   Qty.
FURNITURE
        Desk                                                                                                                                1
        Credenza                                                                                                                            1
        Bookcase                                                                                                                            1
        Lateral file                                                                                                                        1
        Desk chair                                                                                                                          1
        Side chair                                                                                                                          2
        Waste receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.151
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   1.6 Staff Services and Training - Room Data Sheet
     1.6.5   MUSTER ROOM

   Function
   The Muster Room is a large, flexible meeting space
   where officers meet before their shift to receive
   assignments, briefings and to discuss operational
   matters. The room could be set in a U-shape,
   classroom or theater set and may also double-function
   as a conference room or training room.




                                                                   Photograph




                                                                   Floor Plan


SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.152
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                                                                                                       4. FUNCTIONAL REQUIREMENTS


 1.6.5 SYSTEMS MATRIX

Walls                   Floors                     Ceiling                Doors                       Hardware                Glazing
• PNT                   • 35 oz 100% pile cut       • ACT-8’ high min.    • Solid core wood           • See below              • None
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                       Lighting               Power                       Security                Communications
• None                  • Typical                   • Recessed            • 110V duplex outlets       • None                   • Voice & data on TBD by end
                                                      Fluorescent           TBD by end user                                      user




 1.6.5 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                       Vendor*                  Style                 Model #                 Qty.
FURNITURE
        Table                                                                                                                               Varies
        Chair                                                                                                                               Varies
        White board - 8’                                                                                                                    2
        Podium                                                                                                                              1
        Manual projection screen                                                                                                            1

          NOTE: quantity of tables and chairs will vary with room size and occupancy




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                         4.153
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   1.6 Staff Services and Training - Room Data Sheet
     1.6.6   EXERCISE ROOM

   Function
   The Exercise Room provides all ICE staff with the
   opportunity to exercise within the facility. Depending on
   the size of the facility, the Exercise Room may contain
   cardiovascular (elipticals, treadmills, stationary bikes)
   and resistance (free weights, machines) equipment.




                                                                       Photograph




                                                                       Floor Plan




SYMBOL LEGEND:        Voice Outlet    Data Outlet     Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                               4.154
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


 1.6.6 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • Fitness floor           • ACT-9’ high min.    • Solid core wood           • See below                • Exterior window




Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• Drinking fountain     • Typical with exhaust    • Recessed            • 110V duplex TBD by        • None                     • Voice
                                                    Fluorescent           end user




 1.6.6 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID         Item                                                    Vendor*                  Style                 Model #                   Qty.
FURNITURE
        None




EQUIPMENT
        Exercise equipment by owner




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.155
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   1.6 Staff Services and Training - Room Data Sheet
     1.6.7   PHYSICAL TRAINING ROOM

   Function
   The Physical Training Room is a training space for non-
   lethal weapons training, hand-to-hand training, and
   other physical training techniques.




                                                                     Photograph




                                                                     Floor Plan

SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet        Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                             4.156
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                                                                                                        4. FUNCTIONAL REQUIREMENTS


 1.6.7 SYSTEMS MATRIX

Walls                     Floors                     Ceiling               Doors                       Hardware               Glazing
• Padded                  • Padded/fitness floor     • ACT-9’ high min.    • Solid core wood           • None                  • None




Plumbing                  HVAC                       Lighting              Power                       Security               Communications
• None                    • Typical                  • Recessed            • 110V duplex on each       • None                  • None
                                                       Fluorescent           wall




 1.6.7 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID         Item                                                       Vendor*                  Style              Model #                   Qty.
FURNITURE
        Whiteboard - 8’                                                                                                                     1




EQUIPMENT
        Wall pads - 6’ high, full width, all walls                                                                                          Varies




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                          4.157
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   1.6 Staff Services and Training - Room Data Sheet
     1.6.8    CLASSROOM/COMPUTER TRAIN-
              ING ROOM

   Function
   The Classroom/Computer Training Room serves as
   the primary space within the facility for staff training. It
   is a multi-functional room with A/V and computer infra-
   structure as well as the flexibility to conduct basic
   classroom functions.




                                                                          Photograph




                                                                          Floor Plan




SYMBOL LEGEND:        Voice Outlet      Data Outlet     Voice/Data Outlet        Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                                  4.158
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                                                                                                      4. FUNCTIONAL REQUIREMENTS


 1.6.8 SYSTEMS MATRIX

Walls                   Floors                    Ceiling                Doors                       Hardware                 Glazing
• PNT                   • 35 oz 100% pile cut     • ACT-8’ high min.     • Solid core wood           • See below               • None
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting               Power                       Security                 Communications
• None                  • Typical                 • Recessed             • 110V duplex TBD by        • None                    • Voice & data TBD by end
                                                    Fluorescent with       end user                                              user
                                                    dimmer




 1.6.8 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                         Vendor*               Style                 Model #                  Qty.
FURNITURE
        Tables                                                                                                                              Varies
        Chairs                                                                                                                              Varies
        Whiteboard - 8’                                                                                                                     1




EQUIPMENT
        Manual projection screen                                                                                                            1
        Ceiling hung projector




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                        4.159
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   1.6 Staff Services and Training - Room Data Sheet
     1.6.9    FATS TRAINING ROOM

   Function
   The...


                                                                                          NEED




                                                                   Photograph




                                                                                          NEED




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.160
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


 1.6.9 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • 35 oz 100% pile cut     • ACT-8’ high min.    • Solid core wood           • See below                • Exterior window
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• None                  • Typical                 • Recessed            • 110V duplex on each       • None                     • Voice & data on 2 walls
                                                    Fluorescent           wall




 1.6.9 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                  Style                 Model #                   Qty.
FURNITURE




EQUIPMENT




HARDWARE




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.161
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   1.6 Staff Services and Training - Room Data Sheet
    1.6.10 ICE ARMORY

   Function
   The armory should be located outside the secure
   perimeter but near Central Control in order to provide
   visual monitoring. Entrance to this area should be
   controlled with a key and alarm system. Entrances to
   the armory should be video monitored and recorded.
   The armory should be equipped with two (2) doors: a
   main door and a day door. The day door provides
   daytime access for security staff to the armory for
   practice, cleaning, and maintenance.

   The armory should be at least a minimum of 18.5
   square meters (200 square feet) and must be able to
   accommodate a workbench for cleaning and repairing                Photograph
   weapons. Gas, weapons, ammunition, shotguns, riot
   guns, and specialized equipment are stored in the
   armory. Some disturbance equipment (shields, vests,
   batons, etc.) may also be stored in this space. Guns
   are double-locked or kept in a gun chamber within the
   armory.

   The armory must be equipped with a fire suppression
   system and should be climate controlled. Venting to the
   outdoors is necessary because of solvents and waste
   storage.




                                                                     Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                             4.162
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


1.6.10 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                     Hardware                     Glazing
•                       •                         •                    •                         •                             •




Plumbing                HVAC                      Lighting             Power                     Security                     Communications
•                       •                         •                    •                         •                             •




1.6.10 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*               Style                Model #                       Qty.
FURNITURE




EQUIPMENT




HARDWARE




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.163
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   1.6 Staff Services and Training - Room Data Sheet
    1.6.11 ICE READY ROOM

   Function
   A Ready Room is required adjacent to the armory. The
   ready room serves as an area for equipping security
   staff when an incident occurs. In some CDF facilities,
   the muster room may serve as the ready room. Ready
   rooms should be equipped with eyewash/shower
   stations.

   Special Weapons and Tactics (SWAT) team equipment
   closets should be located at two or three decentralized
   locations in the CDF. Decentralized SWAT team
   equipment allows for quicker team response to
   incidents within the facility. These closets should hold
   disturbance equipment such as shields, vests, batons,              Photograph
   etc.




                                                                      Floor Plan

SYMBOL LEGEND:        Voice Outlet   Data Outlet     Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                              4.164
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


1.6.11 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                     Hardware                     Glazing
•                       •                         •                    •                         •                             •




Plumbing                HVAC                      Lighting             Power                     Security                     Communications
•                       •                         •                    •                         •                             •




1.6.11 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*               Style                Model #                       Qty.
FURNITURE




EQUIPMENT




HARDWARE




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.165
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   1.6 Staff Services and Training - Room Data Sheet
    1.6.12 TRAINING FILE AREA

   Function
   The Training File Area is an allocation of space in the
   Staff Services and Training area for Training Files.




                                                                     Photograph




                                                                            File Cabinets



                                                                     Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                             4.166
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


1.6.12 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • VCT                     • ACT-8’ min.        • Solid core wood           • See below                 • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• None                  • Typical                 • Recessed           • TBD based on dedi-        • None                      • Voice and data
                                                    Fluorescent          cated circuits




1.6.12 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                 Style                 Model #                    Qty.
FURNITURE
        Waste receptacle                                                                                                                    1




EQUIPMENT




HARDWARE




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.167
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   1.6 Staff Services and Training - Room Data Sheet
    1.6.13 WORKROOM

   Function
   The Workroom is a space for copying, faxing, and
   scanning documents as well as duplicating, collating
   and assembling training materials.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.168
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


1.6.13 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • VCT                     • ACT-8’ high min.    • Solid core wood           • See below                • Exterior window
                        • Base - RB




Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• None                  • Typical                 • Recessed            • 110V duplex outlets,      • None                     • Voice & data as determined
                                                    Fluorescent           dedicated circuits as                                  by end user
                                                                          determined by end
                                                                          user




1.6.13 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                  Style                 Model #                   Qty.
FURNITURE
        Table                                                                                                                               1




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.169
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   1.6 Staff Services and Training - Room Data Sheet
    1.6.14 RESOURCE LIBRARY

   Function
   The function of the Resource Library is to serve as a
   secure space for storing training materials and aides.




                                                                    Photograph




                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.170
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


1.6.14 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • 35 oz 100% pile cut     • ACT-8’ high min.    • Solid core wood           • See below                • None
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• None                  • Typical                 • Recessed            • 110V duplex               • None                     • None
                                                    Fluorescent




1.6.14 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                  Style                 Model #                   Qty.
FURNITURE
        Shelves                                                                                                                             Varies
        Lateral file cabinet                                                                                                                Varies




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.171
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   1.6 Staff Services and Training - Room Data Sheet
    1.6.15 STAFF BREAKROOM

   Function
   The Staff Breakroom is used for food storage and
   minor food preparation (microwave) as well as staff
   lunch and coffee breaks.




                                                                    Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.172
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


1.6.15 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • VCT                     • ACT-8’ high min.    • Solid core wood           • See below                • None
                        • Base - RB




Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• Sink, faucet,         • Typical w/exhaust       • Recessed            • 110V duplex outlets       • None                     • None
  garbage disposer                                  Fluorescent         • GFI as required




1.6.15 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID         Item                                                    Vendor*                  Style                 Model #                   Qty.
FURNITURE
        Table                                                                                                                               Varies
        Chairs                                                                                                                              Varies
        Waste receptacle                                                                                                                    1




EQUIPMENT
        Refrigerator/Freezer - 18cf
        Sink
        Faucet
        Garbage Disposer




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.173
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   1.6 Staff Services and Training - Room Data Sheet
    1.6.16 VENDING AREA

   Function
   The Vending Area is a space allocation for vending
   machines that provide the staff with food and
   refreshments.




                                                                   Photograph




                                                                                Vending Machines



                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet        ISDN Outlet   Duress Alarm Outlet

                                                           4.174
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                                                                                                  4. FUNCTIONAL REQUIREMENTS


1.6.16 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                    Hardware                     Glazing
• PNT                   • VCT                     • ACT-8’ high min.    • None                   • None                        • None
                        • Base - RB




Plumbing                HVAC                      Lighting              Power                    Security                     Communications
• As required by        • Typical                 • Recessed            • As required by         • None                        • None
  vending machines                                  Fluorescent           vending machines




1.6.16 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*               Style                Model #                       Qty.
FURNITURE
        N/A




EQUIPMENT
        N/A




HARDWARE
       N/A




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.175
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                 ICE Design Standards



   1.6 Staff Services and Training - Room Data Sheet
    1.6.17 MALE STAFF LOCKERS

   Function
   The Male Staff Lockers provide all uniformed agents
   and selected staff members a place to secure and
   store clothing and personal belongings. Agents may
   choose to arrive to work in civilian clothing and then
   change into their uniform at the CDF. The Staff Locker
   area is intended to be the space where this occurs.




                                                                    Photograph




                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.176
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


1.6.17 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • Ceramic tile            • Vinyl faced        • Solid core wood           • See below                 • None
                        • Base - CT                 GWB, suspend-
                                                    ed, lay-in



Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• None                  • Typical w/exhaust       • Recessed           • none                      • None                      • None
                                                    Fluorescent




1.6.17 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                      Vendor*                Style                 Model #                    Qty.
FURNITURE
        Wood Bench                                                                                                                          Varies




EQUIPMENT
        Lockers                                                                                                                             Varies




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.177
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                 ICE Design Standards



   1.6 Staff Services and Training - Room Data Sheet
    1.6.18 MALE STAFF TOILET

   Function
   The Male Staff Toilet is a multi-use toilet room directly
   adjacent to the Male Staff Lockers.




                                                                       Photograph




                                                                       Floor Plan




SYMBOL LEGEND:        Voice Outlet    Data Outlet     Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                               4.178
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


1.6.18 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• CT-8’ high            • Ceramic tile            • Vinyl faced        • Solid core wood           • See below                 • None
• NT above 8’           • Base - CT                 GWB, suspend-
                                                    ed, lay-in



Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• Toilets, lavatories   • Typical w/exhaust       • Recessed           • 110V duplex @ at          • None                      • None
                                                    Fluorescent          lavatories




1.6.18 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID          Item                                                    Vendor*                Style                 Model #                    Qty.
FURNITURE
        None




EQUIPMENT
        Wall-hung, flush valve toilet                                                                                                       1
        Wall mounted lavatory                                                                                                               1
        Grab bars                                                                                                                           2
        Toilet paper dispenser                                                                                                              1
        Toilet seat cover dispenser                                                                                                         1
        Semi-recessed towel/waste unit                                                                                                      1
        Soap dispenser                                                                                                                      1
        Frameless wall mirror




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.179
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   1.6 Staff Services and Training - Room Data Sheet
    1.6.19 MALE STAFF SHOWER

   Function
   The Male Staff Shower is a place for agents or staff to
   shower after their shift or after exercising. It is directly
   adjacent to the Male Staff Lockers and Male Staff
   Toilets.




                                                                          Photograph




                                                                          Floor Plan




SYMBOL LEGEND:        Voice Outlet      Data Outlet     Voice/Data Outlet        Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                                  4.180
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                                                                                                  4. FUNCTIONAL REQUIREMENTS


1.6.19 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                     Hardware                     Glazing
• CT - full height      • CT                      • GWB-type X         • N/A                     • See below                   • None
                        • Base-CT




Plumbing                HVAC                      Lighting             Power                     Security                     Communications
• Showers               • Typical w/exhaust       • Recessed           • None                    • None                        • None
• Floor drain                                       Fluorescent




1.6.19 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID          Item                                                   Vendor*               Style                 Model #                      Qty.
FURNITURE
        N/A




EQUIPMENT
        Shower Curtain
        Shower Rod
        Shower Accessories




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.181
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   1.6 Staff Services and Training - Room Data Sheet
    1.6.20 MALE SHOWER DRESSING AREA

   Function
   The Male Shower Dressing Area is a private space for
   agents/staff to towel off and get dressed after shower-
   ing. It is located directly adjacent to the Male Staff
   Showers.




                                                                     Photograph




                                                                     Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                             4.182
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


1.6.20 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• CT-8’ high            • CT                      • GWB-type X         • Solid core wood           • See below                 • None
• PNT above 8’          • Base - CT




Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• Floor drain           • Typical w/exhaust       • Recessed           • None                      • None                      • None
                                                    Fluorescent




1.6.20 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID          Item                                                   Vendor*                 Style                 Model #                    Qty.
FURNITURE
        Wall mounted bench                                                                                                                  Varies




EQUIPMENT
        Shower Curtain
        Shower Rod




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.183
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                 ICE Design Standards



   1.6 Staff Services and Training - Room Data Sheet
    1.6.21 FEMALE STAFF LOCKERS

   Function
   The Female Staff Lockers provide all uniformed agents
   and selected staff members a place to secure and
   store clothing and personal belongings. Agents may
   choose to arrive to work in civilian clothing and then
   change into their uniform at the CDF. The Staff Locker
   area is intended to be the space where this occurs.




                                                                    Photograph




                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.184
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


1.6.21 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • Ceramic tile            • Vinyl faced        • Solid core wood           • See below                 • None
                        • Base - CT                 GWB, suspend-
                                                    ed, lay-in



Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• None                  • Typical w/exhaust       • Recessed           • none                      • None                      • None
                                                    Fluorescent




1.6.21 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                      Vendor*                Style                 Model #                    Qty.
FURNITURE
        Wood Bench                                                                                                                          Varies




EQUIPMENT
        Lockers                                                                                                                             Varies




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.185
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   1.6 Staff Services and Training - Room Data Sheet
    1.6.22 FEMALE STAFF TOILET

   Function
   The Female Staff Toilet is a multi-use toilet room direct-
   ly adjacent to the Male Staff Lockers.




                                                                        Photograph




                                                                        Floor Plan




SYMBOL LEGEND:        Voice Outlet    Data Outlet      Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                                4.186
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


1.6.22 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• CT-8’ high            • Ceramic tile            • Vinyl faced        • Solid core wood           • See below                 • None
• NT above 8’           • Base - CT                 GWB, suspend-
                                                    ed, lay-in



Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• Toilets, lavatories   • Typical w/exhaust       • Recessed           • 110V duplex @ at          • None                      • None
                                                    Fluorescent          lavatories




1.6.22 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID          Item                                                    Vendor*                Style                 Model #                    Qty.
FURNITURE
        None




EQUIPMENT
        Wall-hung, flush valve toilet                                                                                                       1
        Wall mounted lavatory                                                                                                               1
        Grab bars                                                                                                                           2
        Toilet paper dispenser                                                                                                              1
        Toilet seat cover dispenser                                                                                                         1
        Semi-recessed towel/waste unit                                                                                                      1
        Soap dispenser                                                                                                                      1
        Frameless wall mirror




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.187
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   1.6 Staff Services and Training - Room Data Sheet
    1.6.23 FEMALE STAFF SHOWER

   Function
   The Female Staff Shower is a place for agents or staff
   to shower after their shift or after exercising. It is direct-
   ly adjacent to the Male Staff Lockers and Male Staff
   Toilets.




                                                                            Photograph




                                                                            Floor Plan




SYMBOL LEGEND:         Voice Outlet      Data Outlet      Voice/Data Outlet        Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                                    4.188
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                                                                                                  4. FUNCTIONAL REQUIREMENTS


1.6.23 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                     Hardware                     Glazing
• CT - full height      • CT                      • GWB-type X         • N/A                     • See below                   • None
                        • Base-CT




Plumbing                HVAC                      Lighting             Power                     Security                     Communications
• Showers               • Typical w/exhaust       • Recessed           • None                    • None                        • None
• Floor drain                                       Fluorescent




1.6.23 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID          Item                                                   Vendor*               Style                 Model #                      Qty.
FURNITURE
        N/A




EQUIPMENT
        Shower Curtain
        Shower Rod
        Shower Accessories




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.189
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   1.6 Staff Services and Training - Room Data Sheet
    1.6.24 FEMALE SHOWER DRESSING AREA

   Function
   The Female Shower Dressing Area is a private space
   for agents/staff to towel off and get dressed after show-
   ering. It is located directly adjacent to the Male Staff
   Showers.




                                                                       Photograph




                                                                       Floor Plan




SYMBOL LEGEND:        Voice Outlet    Data Outlet     Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                               4.190
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


1.6.24 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• CT-8’ high            • CT                      • GWB-type X         • Solid core wood           • See below                 • None
• PNT above 8’          • Base - CT




Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• Floor drain           • Typical w/exhaust       • Recessed           • None                      • None                      • None
                                                    Fluorescent




1.6.24 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID          Item                                                   Vendor*                 Style                 Model #                    Qty.
FURNITURE
        Wall mounted bench                                                                                                                  Varies




EQUIPMENT
        Shower Curtain
        Shower Rod




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.191
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   1.6 Staff Services and Training - Room Data Sheet
    1.6.25 BULK STORAGE ROOM

   Function
   The Bulk Storage Room is a secured space for
   housing disposed property.

                                                                                                              NEED




                                                                   Photograph
                                                                       Shelving




                                                                                        Shelving

                                                                                                   Shelving




                                                                                                                 Shelving




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet              Duplex Outlet               ISDN Outlet   Duress Alarm Outlet

                                                           4.192
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


1.6.25 SYSTEMS MATRIX

Walls                   Floors                     Ceiling                Doors                    Hardware                   Glazing
• PNT                   • VCT                       • ACT-8’ high min.    • Hollow metal           • See below                 • None
                        • Base - RB




Plumbing                HVAC                       Lighting               Power                    Security                   Communications
• None                  • Typical                   • Recessed            • 110V duplex on each    • None                      • None
                                                      Fluorescent           wall




1.6.25 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                        Vendor*              Style                 Model #                    Qty.
FURNITURE
        Shelves                                                                                                                             Varies

          NOTE: quantity and size of shelving varies with room size




EQUIPMENT
        None




HARDWARE
       Lockset
       Closer                                                         LCN                  With hold open        LCN4040                    1




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                         4.193
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                 ICE Design Standards



   1.6 Staff Services and Training - Room Data Sheet
    1.6.26 LOADING DOCK & STAGING

   Function
   The Loading Dock is the primary delivery point for all
   ICE related goods such as office supplies, furniture,
   training supplies and equipment, computers, and
   ammunition.




                                                                    Photograph




                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.194
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


1.6.26 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                        Hardware                  Glazing
• PNT                   • Concrete, sealed        • None               • Hollow metal               • See below                • None




Plumbing                HVAC                      Lighting             Power                        Security                  Communications
• None                  • Typical                 • Suspended          • 110V duplex on 2           • See below                • Voice - one
                                                    Fluorescent          walls                                                 • Data - none




1.6.26 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                  Style                 Model #                      Qty.
FURNITURE
        None




EQUIPMENT
        Power overhead door operator                                                                                                           1




HARDWARE
       Electronic access reader - exterior door
       Concealed hinges - exterior door
       Weather Stripping
       Lockset - interior door




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.195
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                               4.196
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             2.0 Court Interface Zone



                 2.1   EOIR Court (DOJ Responsibility)
                 2.2   Public/Detainee Visitation (Contractor Responsibility)




                                  4.197
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2.0 Court Interface Zone
The Court Interface Zone includes the EOIR work area
and courtroom space, and is an interface area between
the court personnel, the Removal Unit, the public, and
detainees under restraint. It is a secure interface zone.
The area should be in its own secondary perimeter,
contiguous with but separate from the main facility
primary secure perimeter. Access will be by hardened
commercial grade doorways, with special controls for
general and emergency egress. The perimeter
barriers, electronic controls, and procedures should be
at the same level as the other secondary secure
perimeters. (See EOIR Design Standards under
separate cover.)

The Court Interface components within a CDF are
operated by the Executive Office for Immigration
Review (EOIR) and the selected contractor, and are
not included in this document.

The components within the Court Interface Zone are
listed below.

        2.1 EOIR Court
        2.2 Public/Detainee Visitation




                                                            4.198
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                                                                                                    4. FUNCTIONAL REQUIREMENTS




                  2.0 Court Interface Zone : Organizational Diagram

                                                                                             FACILITY CHECK-IN
                                                                                             Gate House

                                                                                                                                   PROPERTY
                                                                                                                                   LINE
                                        Staﬀ                                                 Staﬀ                                  FENCE
                 1.Oﬃce                Parking              Public Parking                  Parking
                 Zone
                 Non-Secure Z
                            Zone
                                                                                                                                   SECURITY
                                                                                                   1.2                             BUFFER
JUDGES
                                       1.4
                                                                                                 Admin.


                       1
PRIVATE
                                      OPLA                 Security Check Area
                                                                                                   ICE
ENTRANCE                                                          1.1
                                                          Public Entrance/                         1.3                             PERIMETER
                                       1.5                     Lobby                             Admin.                            PATROL
                                     Removal              Waiting/Support Area
                                                                                                                                   ROAD
                                                                                                   CDF


                 2.Court                        2.1                                        Arm. L.D.                               INTAKE/



                              2
                 Interface                                      P. 2.2 D.             1.6                                          SERVICE
                                               EOIR
                                                               Visitation                                                          ROAD
                 Zone                 Admin.       Courts                             Staﬀ Services
                 Interface Zone                                      Holding             & Trainingg           Vehicle
                                                                                                               Veh   iclle
                                                                                                              Sallyport
                                                                                                              Sa
                                                                                                              S
                                                                                                              Sally
                                                                                                                ally
                                                                                                                allyypoortt
                                                                                                                       o
                                          3.1                     3.2
                                                                  32
                                       Detention                                           4.1     Vehicle
                                                                                                   Vehicl
                                                                                                   V e
                                                                                                     ehiccle
                                                                                                           e
                                                                Security
                                                                Sec
                                                                  curity               Processing Sally
                                     Administration            Command
                                                               Commmmand
                                                                    m   d                         Sallyport
                                                                                                  S al por
                                                                                                    allypoort
                                                                                                           rt                      PERIMETER
                                                                                                                                   SECURITY
                                                                                                                                   FENCE


                                                                                                            4
                   E




                                                                                                                        E
                                                                                      4.2
                   N




                                                                                                                        N
                                            3.2                                 Health Services
                                          Housing
                   O




                                         (w/dining)                                      4.3                            O
                   Z




                                                                                                                        Z
                                                                                       Laundry
                                                                                                          4.Servic
                                                                                                          4.Service
                                                                                                               v e
                                                                                        4.4               Zone


                         3
                                                                                     Food Prep.           Restricted Detainee
                                                                                                                     D ain
                   N




                                                                                                                        N




                                                                                                          Movementt
                                     3.4            3.3 D.S.
                   O




                                                                                                                        O




                                     Rec.        3.5 Library                            5.2
                   I




                                                                                                                        I




                                                                                     Warehouse
                   S




                                                                                                                        S




                                                                                5.1
                                                                                              L.D.
                   N




                                                                                                                        N




                                                                               C.S.


                                                                                                            5
                                                                                         5.3
                   A




                                                                                                                        A




                                            3.2
                                          Housing                                    Maintenance
                   P




                                                                                                                        P




                                         (w/dining)
                   X




                                                                                                                        X
                   E




                                                                                                                        E




                                                                                          5.4
                                                                                     Utility Plant

                 3.Detainee Living Zone                                      5.Facility Support Zone
                Secure Zone With Normal Detainee Movement                  Restricted Support Zone




                                                                    LEGEND

           = Main Gate Check Point             = Pedestrian Sallyport           P.    = Public             L.D. = Loading Dock

           = Security Gate                     = External Secure Door          D.     = Detainee           C.S. = Common Support
           = Internal Secure Door              = Pedestrian Traﬃc              D.S. = Detainee Services




                                                           4.199
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                               4.200
                                                                                                                          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 1107 of 1402
                                                                                                                                                                                                                                                                                                                                                                                                                                   4. FUNCTIONAL REQUIREMENTS

Immigration and Customs Enforcement                                                                                                                                                                               Court Interface Zone
Design Standards                                                                                                                                                                                                                     2.0

2.0 Court Interface Zone - Space Requirements Summary
CONTRACT DETENTION FACILITIES
Washington DC


                                                             200                                           4550                                          900                                           1200                                             15500                                         1800                                          2000                                          3000
       2.0
         0 COURT
               T INTERFACE
                         E ZONE           ICE
                                            E CDF                       < 200
                                                                            0 BEDS                                  200-450
                                                                                                                          0 BEDS                                  450-900
                                                                                                                                                                        0 BEDS                                         0 BEDS
                                                                                                                                                                                                                900-1200                                        1200-1500
                                                                                                                                                                                                                                                                        0 BEDS                                1500-1800
                                                                                                                                                                                                                                                                                                                      0 BEDS                                1800-2000
                                                                                                                                                                                                                                                                                                                                                                    0 BEDS                                   3000
                                                                                                                                                                                                                                                                                                                                                                                                                0 BEDS                         Comments
                                         STANDARD
                                                              # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size      Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total
 ID# SPACE
         E NAME                       NSF Unit of Measure    Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF           NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF

 2.1   EOIR
          R Court
       Contractor Space
                                                                                                      0                                             0                                             0                                                0                                             0                                             0                                             0                                             0
                                                            Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33                 0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0
                                                            Grosss Square
                                                                        e Feet                        0   Grosss Square
                                                                                                                      e Feet                        0   Grosss Square
                                                                                                                                                                    e Feet                        0   Grosss Square
                                                                                                                                                                                                                  e Feet                           0   Grosss Square
                                                                                                                                                                                                                                                                   e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                 e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                               e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                             e Feet                        0
2.2    Public/Detainee
                     e Visitation
       Contractor Space
                                                                                                      0                                             0                                             0                                                0                                             0                                             0                                             0                                             0
                                                            Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33                 0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0
                                                            Grosss Square
                                                                        e Feet                        0   Grosss Square
                                                                                                                      e Feet                        0   Grosss Square
                                                                                                                                                                    e Feet                        0   Grosss Square
                                                                                                                                                                                                                  e Feet                           0   Grosss Square
                                                                                                                                                                                                                                                                   e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                 e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                               e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                             e Feet                        0




                                                                                                                                                                                                                                                                                                                                                                                                                                                    4.200.A
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2.0 Court Interface Zone   2.1 EOIR Court                       (DOJ Operated)


             NOTE: See EOIR Court Design Standards Publication




                                    4.201
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                               4.202
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2.0 Court Interface Zone   2.2 Public/Detainee Visitation   (Contractor Operated)




                                      4.203
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             ICE Design Standards



2.2 Public/Detainee Visitation
ORGANIZATIONAL REQUIREMENTS                                                                                                                                         FACILITY CHECK-IN

The CDF must allow detainees to confer with their
                                                                                                                                                                    Gate House

                                                                                                                                                                                                          PROPERTY
attorneys in person and, under normal conditions, to                                                            Staﬀ                                                Staﬀ
                                                                                                                                                                                                          LINE
                                                                                                                                                                                                          FENCE
                                                                                         1.Oﬃce                                     Public Parking
receive visits from family and acquaintances. The DHS
                                                                                                               Parking                                             Parking
                                                                                         Zone
                                                                                         Non-Secure Zone
                                                                                                                                                                                                          SECURITY

encourages visiting by family and friends to maintain                   JUDGES
                                                                                                               1.4                                                        1.2
                                                                                                                                                                        Admin.
                                                                                                                                                                                                          BUFFER




                                                                                               1
                                                                        PRIVATE
                                                                                                              OPLA                 Security Check Area

the morale of the detainee and to develop closer
                                                                                                                                                                          ICE
                                                                        ENTRANCE                                                          1.1
                                                                                                                                  Public Entrance/                        1.3                             PERIMETER
                                                                                                               1.5                     Lobby
relationships between the detainee and family                                                                Removal              Waiting/Support Area
                                                                                                                                                                        Admin.
                                                                                                                                                                          CDF
                                                                                                                                                                                                          PATROL
                                                                                                                                                                                                          ROAD

members. Visitation may be restricted to ensure the                                      2.Court                        2.1                                       Arm. L.D.                               INTAKE/



                                                                                                      2
                                                                                         Interface                                     P. 2.2 D.             1.6                                          SERVICE
security and good order of the facility.                                                 Zone
                                                                                         Interface Zone
                                                                                                              Admin.
                                                                                                                       EOIR
                                                                                                                           Courts      Visitation
                                                                                                                                            Holding
                                                                                                                                                             Staﬀ Services
                                                                                                                                                                & Training            Vehicle
                                                                                                                                                                                                          ROAD

                                                                                                                                                                                     Sallyport
                                                                                                                  3.1                     3.2
                                                                                                               Detention                                          4.1     Vehicle
Types of visitation at a CDF include: general visitation                                                     Administration
                                                                                                                                        Security
                                                                                                                                       Command
                                                                                                                                                              Processing Sallyport                        PERIMETER
                                                                                                                                                                                                          SECURITY

(including visitation by minors), legal visitation,                                                                                                                                                       FENCE


                                                                                                                                                                                   4



                                                                                           E




                                                                                                                                                                                              E
                                                                                                                                                             4.2




                                                                                           N




                                                                                                                                                                                              N
consultation visitation for expedited removal, and                                                                  3.2
                                                                                                                  Housing
                                                                                                                                                       Health Services




                                                                                           O




                                                                                                                                                                                              O
                                                                                                                 (w/dining)                                     4.3
special family visits. For more information on detainee




                                                                                           Z




                                                                                                                                                                                              Z
                                                                                                                                                              Laundry
                                                                                                                                                                                 4.Service
                                                                                                                                                                                 Zone
visiting, consult the DHS Detention Standard for
                                                                                                                                                               4.4


                                                                                                 3
                                                                                                                                                            Food Prep.           Restricted Detainee




                                                                                           N




                                                                                                                                                                                              N
                                                                                                                                                                                 Movement

Detainee Visitation.                                                                                         3.4            3.3 D.S.




                                                                                           O




                                                                                                                                                                                              O
                                                                                                             Rec.        3.5 Library                           5.2




                                                                                           I




                                                                                                                                                                                              I
                                                                                                                                                            Warehouse




                                                                                           S




                                                                                                                                                                                              S
                                                                                                                                                       5.1
                                                                                                                                                                     L.D.




                                                                                           N




                                                                                                                                                                                              N
                                                                                                                                                      C.S.


                                                                                                                                                                                   5
                                                                                                                                                                5.3



                                                                                           A




                                                                                                                                                                                              A
                                                                                                                    3.2
                                                                                                                                                            Maintenance
OPERATIONAL REQUIREMENTS                                                                                          Housing


                                                                                           P




                                                                                                                                                                                              P
                                                                                                                 (w/dining)

                                                                                           X




                                                                                                                                                                                              X
Visiting rooms should be comfortable and as pleasant                                       E




                                                                                                                                                                                              E
                                                                                                                                                                 5.4
                                                                                                                                                            Utility Plant
as practical with appropriate furnishings. Supervision                                   3.Detainee Living Zone                                      5.Facility Support Zone
of visiting rooms should be adapted to the level of
                                                                                        Secure Zone With Normal Detainee Movement                 Restricted Support Zone



security required by the facility. Visiting is located
centrally, minimizing the movement of the public
                                                                                                                                            LEGEND

                                                                                   = Main Gate Check Point             = Pedestrian Sallyport          P.    = Public             L.D. = Loading Dock


throughout the facility. The number of staff supervising                           = Security Gate                     = External Secure Door         D.     = Detainee           C.S. = Common Support

                                                                                   = Internal Secure Door              = Pedestrian Traﬃc             D.S. = Detainee Services


in the visitation area depends on the number of visiting
                                                                                     = Contractor Space Detailed
areas and the design of the visiting space.

Visiting should be located adjacent to the Public Lobby.
The primary secure perimeter separates the visiting
public side from the detainee side.

Visiting should be located adjacent to Central Control
or another fixed staff position to allow the staff to
monitor security within the area. If direct visual
surveillance of circulation systems is not possible from
a fixed position, detainees are escorted to visiting by
the housing area security staff.

Visitors must check in at the Public Lobby reception
desk. The staff at the desk checks visitor I.D. and
informs visitors of institutional visiting rules. The visitor
is required to pass through a metal detector in the
public lobby.




                                                                4.204
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                                                                              4. FUNCTIONAL REQUIREMENTS




                                            Functional Requirements

 ID#             Space Name                                              Performance Criteria
Central Visiting
2.2.1     Visitor Search/Processing Room           40 SF
2.2.2     Non-Contact Visiting Booth               40 SF : one (1) per every 25 detainees
2.2.3     Non-Contact ADA Visiting Booth           60 SF
2.2.4     Contact Visiting Booth                   60 SF
2.2.5     Attorney Visiting Room                   100 SF
2.2.6     Monitor Post
2.2.7     Officer Toilet
2.2.8     Detainee Toilet

Central Holding
2.2.9    Monitor Post
2.2.10   Officer Toilet
2.2.11   Search Room
2.2.12   Holding Cell(s)




                                        Special/Technical Requirements
 Non-contact visiting booths require an attack-resistant glazed barrier between the detainee and visitor and a telephone or
    speaker.




                                                       4.205
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             3.0 Detainee Living Zone



                 3.1   Detention Administration (ICE Responsibility)
                 3.2   Detainee Housing (w/Dining) (Contractor Responsibility)
                 3.3   Detainee Services (Contractor Responsibility)
                 3.4   Recreation (Contractor Responsibility)
                 3.5   Library (Contractor Responsibility)




                                  4.207
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3.0 Detainee Living Zone
The Detainee Living Zone contains functions that are
used by detainees during their normal daily routine. It
is a secure zone with normal routine detainee move-
ment within the primary secure perimeter. Components
within this zone should be separated from each other
by secondary secure perimeters. Detainee movement
between each component will be monitored by housing
security staff.

This document covers the ICE Detention
Administration within component 3.1 Detention
Administration. The other components within the
Detainee Living Zone are typically defined and
controlled by the Contract Detention Service Provider.
and are not covered in this document.

The diagram on the following page illustrates the
Detainee Living Zone components and the critical
adjacency requirements needed for a productive work
environment.

The following information has been provided for each
of the components:

Function
Describes the overall purpose of the component within
the CDF.

Critical Workflow Patterns
Identifies the most critical workflow patterns necessary
for efficient staff productivity.

Room Data Sheets
Provides detailed information on all spaces within the
components (i.e., function statements, photograph,
floor plan, systems, furniture, and equipment)

The components within the Detainee Living Zone are
listed below:

        3.1 Detention Administration (ICE Operated)
        3.2 Detainee Housing (w/Dining) (Contractor
            Operated)
        3.3 Detainee Services (Contractor Operated)
        3.4 Recreation (Contractor Operated)
        3.5 Library (Contractor Operated)




                                                           4.208
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                                                                                                    4. FUNCTIONAL REQUIREMENTS




                 3.0 Detainee Living Zone : Organizational Diagram

                                                                                             FACILITY CHECK-IN
                                                                                             Gate House

                                                                                                                                   PROPERTY
                                                                                                                                   LINE
                                        Staﬀ                                                 Staﬀ                                  FENCE
                 1.Oﬃce                Parking              Public Parking                  Parking
                 Zone
                 Non-Secure Z
                            Zone
                                                                                                                                   SECURITY
                                                                                                   1.2                             BUFFER
JUDGES
                                       1.4
                                                                                                 Admin.


                       1
PRIVATE
                                      OPLA                 Security Check Area
                                                                                                   ICE
ENTRANCE                                                          1.1
                                                          Public Entrance/                         1.3                             PERIMETER
                                       1.5                     Lobby                             Admin.                            PATROL
                                     Removal              Waiting/Support Area
                                                                                                                                   ROAD
                                                                                                   CDF


                 2.Court                        2.1
                                                2                                          Arm. L.D.                               INTAKE/



                              2
                 Interface                                      P. 2.2
                                                                    . D.              1.6                                          SERVICE
                                               EOIR
                                                O
                                                               Visitation
                                                                    a                                                              ROAD
                 Zone                 Admin.       Courts                             Staﬀ Services
                 Interface Zone
                           Zo                                        Holding             & Trainingg           Vehicle
                                                                                                               Veh  iclle
                                                                                                              Sallyport
                                                                                                              S
                                                                                                              Saally
                                                                                                                a ypo ortt
                                                                                                                      o
                                          3.1                     3.2
                                       Detention                                           4.1     Vehicle
                                                                                                   Vehicl
                                                                                                   V e
                                                                                                     ehiccle
                                                                                                           e
                                                                Security
                                                                    rity               Processing Sally
                                     Administration            Commandand
                                                                        d                         Sallyport
                                                                                                  S al por
                                                                                                    allypoort
                                                                                                           rt                      PERIMETER
                                                                                                                                   SECURITY
                                                                                                                                   FENCE


                                                                                                            4
                   E




                                                                                                                       E
                                                                                      4.2
                   N




                                                                                                                       N
                                            3.2                                 Health Services
                                          Housing
                   O




                                         (w/dining)                                      4.3                           O
                   Z




                                                                                                                       Z
                                                                                       Laundry
                                                                                                          4.Servic
                                                                                                          4.Service
                                                                                                               v e
                                                                                        4.4               Zone


                         3
                                                                                     Food Prep.           Restricted Detainee
                                                                                                                     D ain
                   N




                                                                                                                       N




                                                                                                          Movementt
                                     3.4            3.3 D.S.
                   O




                                                                                                                       O




                                     Rec.        3.5 Library                            5.2
                   I




                                                                                                                       I




                                                                                     Warehouse
                   S




                                                                                                                       S




                                                                                5.1
                                                                                              L.D.
                   N




                                                                                                                       N




                                                                               C.S.


                                                                                                            5
                                                                                         5.3
                   A




                                                                                                                       A




                                            3.2
                                          Housing                                    Maintenance
                   P




                                                                                                                       P




                                         (w/dining)
                   X




                                                                                                                       X
                   E




                                                                                                                       E




                                                                                          5.4
                                                                                     Utility Plant

                 3.Detainee Living Zone                                      5.Facility Support Zone
                Secure Zone With Normal Detainee Movement                  Restricted Support Zone




                                                                    LEGEND

           = Main Gate Check Point             = Pedestrian Sallyport           P.    = Public             L.D. = Loading Dock

           = Security Gate                     = External Secure Door          D.     = Detainee           C.S. = Common Support

           = Internal Secure Door              = Pedestrian Traﬃc              D.S. = Detainee Services




                                                           4.209
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3.0 Detainee Living Zone - Space Summary
SPACE FORECAST MATRIX                                                                  Space Planning Formulas
The Space Requirements Summary Matrix on the
following page, identifies the spaces needed for each                 3.1 Detention Administration
                                                                          • Maximum shift size = 75% of total IEA’s
of the functional units within the Detainee Living Zone.
The matrix listed below is also designed to forecast                      • Ready room capacity = 24 agents @ 25 sf per agent + 8
these needs for the planning scenarios.                                     lockers at 15 sf per locker

    1.    <200 beds
    2.     200 - 450 beds
    3.     450 - 900 beds                                             3.2 Detainee Housing (w/Dining)
    4.     900 - 1,200 beds
    5.   1,200 - 1,500 beds                                               Contractor Operated.
    6.   1,500 - 1,800 beds
    7.   1,800 - 2,000 beds
    8.   2,000 - 3,000 beds
                                                                      3.3 Detainee Services

The bed ranges were determined to best represent the                      Contractor Operated.
capacity range for existing and planned detainee
populations.
                                                                      3.4 Recreation
For each planning scenario, the following information
is provided:                                                              Contractor Operated.

    - # of Users is the number of persons (staff or
      detainees) in a given space.
                                                                      3.5 Library

    - # of Spaces is the quantity of a given space.                       Contractor Operated.

    - Space Size NSF is the net square feet or size of a
      given space.

    - Total Size NSF is the number of spaces or quantity of
      a space times it’s NSF or size.

The sidebar to the right highlights some of the Space
Planning Formulas that are used for calculating areas.

SPACE CALCULATIONS/DEFINITIONS
The total Net Square Footage is the sum of all net
areas of the spaces listed. This number is multiplied by
a Net-Gross Factor (an industry factor based on
space) to determine Gross Square Footage (GSF).

    - Net Square Footage (NSF)
      Total clear floor area within a given room, excluding
      walls, corridors, mechanical equipment rooms, shafts,
      stairs, and chases.

    - Gross Square Footage (GSF)
      Total building area measured from outside face of
      exterior walls.




                                                              4.210
                                                                                                                                                         Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 1119 of 1402
                                                                                                                                                                                                                                                                                                                                                                                                                                                               4. FUNCTIONAL REQUIREMENTS

Immigration and Customs Enforcement                                                                                                                                                                                                           Detainee Living Zone
Design Standards                                                                                                                                                                                                                                                 3.0


3.0 Detainee Living Zone - Space Requirements Summary
CONTRACT DETENTION FACILITIES
Washington DC


                                                                                         200                                           4550                                          900                                           1200                                             15500                                         1800                                          2000                                          3000
        3.0
          0 DETAINEE
                   E LIVING
                          G ZONE                                         ICE
                                                                           E CDF                    < 200
                                                                                                        0 BEDS                                  200-450
                                                                                                                                                      0 BEDS                                  450-900
                                                                                                                                                                                                    0 BEDS                                  900-1200
                                                                                                                                                                                                                                                   0 BEDS                                   1200-1500
                                                                                                                                                                                                                                                                                                    0 BEDS                                1500-1800
                                                                                                                                                                                                                                                                                                                                                  0 BEDS                                1800-2000
                                                                                                                                                                                                                                                                                                                                                                                                0 BEDS                                   3000
                                                                                                                                                                                                                                                                                                                                                                                                                                            0 BEDS                         Comments
                                                                        STANDARD
                                                                                          # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size      Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total
 ID# SPACE
         E NAME                                                   NSF Unit of Measure    Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF           NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF

3.1     Detention
                n Administration
3.1.1   Detention Operations Supervisor (DOS) Office              150    sf                                     150           0          1         1          150         150          1         1          150         150          1         1         150               150        1         1         150           150         1         1         150           150         1        1          150           150         1         2         150          300
3.1.2   Supervisory Immigration Enforcement Agent (SIEA) Office   130    sf                1        1           130         130          1         2          130         260          1        2           130         260          1        2          130              260         1        2          130           260         1        3          130          390          1        3          130           390         1         4         130          520
3.1.3   Immigration Enforcement Agent (IEA) Workstation            65    sf                1        5            65         325          1        10           65         650          1        15           65         975          1        18          65             1,170        1        23          65         1,495         1        27          65         1,755         1       30           65         1,950         1        45          65         2,925
3.1.4   ICE Armory                                                 12    sf/rack                    1           150         150                    1          150         150                    1          150         150                    1         300             300                    1         300          300                    1         300          300                   1          300          300                    1         300          300
3.1.5   ICE Ready Room                                             25    sf/occupant       24       1            25         720          24        1           25         720          24        1           25         720          24        1          25              720         24        1          25           720         24        1          25           720         24       1           25           720         24        1          25           720      team of 24 @ 25 sf ea; 8 lockers @ 15 sf ea.
3.1.6   ICE Toilet Male                                            45    sf                         1            45          45                    1           45          45                    1           45          45                    1          45                45                  1          45            45                   1          45            45                  1           45            45                   1          45            45
3.1.7   ICE Toilet Female                                          45    sf                         1            45          45                    1           45          45                    1           45          45                    1          45                45                  1          45            45                   1          45            45                  1           45            45                   1          45            45
                                                                                                                            1,415                                        2,020                                         2,345                                            2,690                                          3,015                                        3,405                                         3,600                                         4,855
                                                                                        Net-Gross Factor        1.38         538      Net-Gross Factor        1.38         768      Net-Gross Factor        1.38          891     Net-Gross Factor        1.38           1,022     Net-Gross Factor        1.38        1,146     Net-Gross Factor        1.38        1,294     Net-Gross Factor        1.38        1,368     Net-Gross Factor        1.38       1,845
                                                                                        Grosss Square
                                                                                                    e Feet                 1,953      Grosss Square
                                                                                                                                                  e Feet                 2,788      Grosss Square
                                                                                                                                                                                                e Feet                 3,236      Grosss Square
                                                                                                                                                                                                                                              e Feet                     3,712     Grosss Square
                                                                                                                                                                                                                                                                                               e Feet                  4,161     Grosss Square
                                                                                                                                                                                                                                                                                                                                             e Feet                 4,699      Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                           e Feet                 4,968      Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                                                         e Feet                6,700
3.2     Detainee
               e Housingg (w/Dining)
        Contractor Space
                                                                                                                                  0                                             0                                             0                                                0                                             0                                             0                                             0                                             0
                                                                                        Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33                 0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0
                                                                                        Grosss Square
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                                                                                                                                                  e Feet                        0   Grosss Square
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                                                                                                                                                                                                                                                                                               e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                             e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                           e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                                                         e Feet                        0
3.3     Detainee
               e Services
        Contractor Space
                                                                                                                                  0                                             0                                             0                                                0                                             0                                             0                                             0                                             0
                                                                                        Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33                 0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0
                                                                                        Grosss Square
                                                                                                    e Feet                        0   Grosss Square
                                                                                                                                                  e Feet                        0   Grosss Square
                                                                                                                                                                                                e Feet                        0   Grosss Square
                                                                                                                                                                                                                                              e Feet                           0   Grosss Square
                                                                                                                                                                                                                                                                                               e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                             e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                           e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                                                         e Feet                        0
3.4     Recreation
        Contractor Space
                                                                                                                                  0                                             0                                             0                                                0                                             0                                             0                                             0                                             0
                                                                                        Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33                 0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0
                                                                                        Grosss Square
                                                                                                    e Feet                        0   Grosss Square
                                                                                                                                                  e Feet                        0   Grosss Square
                                                                                                                                                                                                e Feet                        0   Grosss Square
                                                                                                                                                                                                                                              e Feet                           0   Grosss Square
                                                                                                                                                                                                                                                                                               e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                             e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                           e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                                                         e Feet                        0
3.5     Library
        Contractor Space
                                                                                                                                  0                                             0                                             0                                                0                                             0                                             0                                             0                                             0
                                                                                        Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33                 0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0
                                                                                        Grosss Square
                                                                                                    e Feet                        0   Grosss Square
                                                                                                                                                  e Feet                        0   Grosss Square
                                                                                                                                                                                                e Feet                        0   Grosss Square
                                                                                                                                                                                                                                              e Feet                           0   Grosss Square
                                                                                                                                                                                                                                                                                               e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                             e Feet                        0   Grosss Square
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                                                                                                                                                                                                                                                                                                                                                                                                                                         e Feet                        0




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    4.210.A
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3.0 Detainee Living Zone   3.1 Detention Administration                        (ICE Operated)


                               Space Requirements
                               3.1.1   Detention Operations Supervisor (DOS) Office
                               3.1.2   Supervisory Immigration Enforcement Agent (SIEA) Office
                               3.1.3   Immigration Enforcement Agent (IEA) Workstation
                               3.1.4   ICE Armory
                               3.1.5   ICE Ready Room
                               3.1.6   ICE Toilet Male
                               3.1.7   ICE Toilet Female




                                        4.211
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3.1 Detention Administration - Function
FUNCTION STATEMENT                                                                        Design Criteria
ICE Detention Administration at a CDF is limited to the
office functions carried out by ICE staff, the Armory and           Critical Issues
the ICE Ready Room.
                                                                    9     Adjacent to Staff Service and Training
ICE Detention Administration staff perform functions                9     Adjacent to Loading Dock
                                                                    9     Armory must be located outside the secure perimeter
specifically related to the transportation of detainees.
                                                                    9     ICE Ready Room must be located outside the secure
These staff positions, while performing duties in the                     perimeter
Processing area and throughout the facility, require
administrative space near ICE Administration.

Staff provided by the Contract Detention Service                    Special Requirements
Provider have the primary responsibility for Central
Control and the safety and security of the facility.                9     Controlled access to Armory
                                                                    9     Maximum security construction of Armory



                                                                    Space Requirements

                                                                    3.1       DETENTION ADMINISTRATION

                                                                    3.1.1     Detention Operations Supervisor (DOS) Office
                                                                    3.1.2     Supervisory Immigration Enforcement Agent
                                                                              (SIEA) Office
                                                                    3.1.3     Immigration Enforcement Agent (IEA) Workstation
                                                                    3.1.4     ICE Armory
                                                                    3.1.5     ICE Ready Room
                                                                    3.1.6     ICE Toilet Male
                                                                    3.1.7     ICE Toilet Female




                                                            4.212
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                                                                                     4. FUNCTIONAL REQUIREMENTS




                                  3.1 Detention Administration : Organizational Diagram




                                                  3.1.2               3.1.3
                                                 SIEA             IEA Workstations         Entry
                                                 Office


                                                 3.1.1      3.1.1     3.1.1     3.1.1
                                                 DOS       Toilet    Armory    Ready
                                                 Office                        Room




                                                                                                                                                                                     FACILITY CHECK-IN
                                                                                                                                                                                     Gate House

                                                                                                                                                                                                                         PROPERTY
                                                                                                                                                                                                                         LINE
                                                                                                                                   Staﬀ                                              Staﬀ                                FENCE
                                                                                                            1.Oﬃce                Parking              Public Parking               Parking
                                                                                                            Zone
                                                                                                           Non-Secure Zone
                                                                                                                      Z
                                                                                                                                                                                                                         SECURITY
                                                                                                                                                                                           1.2                           BUFFER
                                                                                           JUDGES
                                                                                                                                  1.4
                                                                                                                                                                                         Admin.


                                                                                                                 1
                                                                                           PRIVATE
                                                                                                                                 OPLA                 Security Check Area
                                                                                                                                                                                          ICE
                                                                                           ENTRANCE                                                          1.1
                                                                                                                                                     Public Entrance/                      1.3                           PERIMETE
                                                                                                                                  1.5                     Lobby                          Admin.                          PATROL
                                                                                                                                Removal              Waiting/Support Area
                                                                                                                                                                                                                         ROAD
                                                                                                                                                                                          CDF


                                                                                                            2.Court                        2
                                                                                                                                           2.1                                      Arm. L.D.                            INTAKE/



                                                                                                                        2
                                                                                                            Interface                                     P. 2.2
                                                                                                                                                               . D.           1.6                                        SERVICE
                                                                                                                                          EOIR
                                                                                                                                           O
                                                                                                                                                          Visitation
                                                                                                                                                               a                                                         ROAD
                                                                                                            Zone                 Admin.       Courts                          Staﬀ Services
                                                                                                           Interface Zo                                       Holding            & Trainingg           Vehiclle
                                                                                                                                                                                                      Saally
                                                                                                                                                                                                      Sa llypo
                                                                                                                                                                                                         llypo
                                                                                                                                                                                                             ortt
                                                                                                                                     3.1                      32
                                                                                                                                                              3.2
                                                                                                                                  Detention                                        4.1     Ve
                                                                                                                                                                                           Veehicclle
                                                                                                                                                           Se
                                                                                                                                                            ecurity
                                                                                                                                                                ri             Processing Saally
                                                                                                                                Administration            Com
                                                                                                                                                          C  mm
                                                                                                                                                             mmmand
                                                                                                                                                                  a d                       allypo
                                                                                                                                                                                             l po ort
                                                                                                                                                                                                  or
                                                                                                                                                                                                  o rt
                                                                                                                                                                                                    rt                   PERIMETE
                                                                                                                                                                                                                         SECURITY
                                                                                                                                                                                                                         FENCE


                                                                                                                                                                                                    4
                                                                                                             E




                                                                                                                                                                                                               E




                                                                                                                                                                              4.2
                                                                                                             N




                                                                                                                                                                                                               N




                                                                                                                                       3.2                              Health Services
                                                                                                                                     Housing
                                                                                                             O




                                                                                                                                                                                                               O




                                                                                                                                    (w/dining)                                   4.3
                                                                                                             Z




                                                                                                                                                                                                               Z




                                                                                                                                                                               Laundry
                                                                                                                                                                                                  4.Servic
                                                                                                                                                                                                       v e
                                                                                                                                                                                4.4               Zone


                                                                                                                    3
                                                                                                                                                                             Food Prep.           Restricted D
                                                                                                                                                                                                             Detainee
                                                                                                                                                                                                                ain
                                                                                                             N




                                                                                                                                                                                                               N




                                                                                                                                                                                                  Movementt
                                                                                                                                3.4            3.3 D.S.
                                                                                                             O




                                                                                                                                                                                                               O




                                                                                                                                Rec.                                            5.2
                                                                                                                                            3.5 Library
                                                                                                             I




                                                                                                                                                                                                               I




                                                                                                                                                                             Warehouse
                                                                                                             S




                                                                                                                                                                                                               S




                                                                                                                                                                         5.1
                                                                                                                                                                                      L.D.
                                                                                                             N




                                                                                                                                                                                                               N




         LEGEND
                                                                                                                                                                        C.S.


                                                                                                                                                                                                    5
                                                                                                                                                                                 5.3
                                                                                                             A




                                                                                                                                                                                                               A




                                                                                                                                       3.2
                                                                                                                                     Housing                                 Maintenance
                                                                                                             P




                                                                                                                                                                                                               P




                                                                                                                                    (w/dining)
= Entry Points Into Other Areas
                                                                                                             X




                                                                                                                                                                                                               X
                                                                                                             E




                                                                                                                                                                                                               E




                                                                                                                                                                                  5.4
                                                                                                                                                                             Utility Plant

= Secure Door                                                                                              3.Detainee Living Zone
                                                                                                           Secure Zone With Normal Detainee Movement
                                                                                                                                                                      5.Facility Support Zone
                                                                                                                                                                    Restricted Support Zone



= Circulation Pattern
                                                                                                                                                             LEGEND

                                                                                                      = Main Gate Check Point             = Pedestrian Sallyport        P.    = Public             L.D. = Loading Dock



                                                                                                      CDF Organizational Diagram




                                                          4.213
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3.1 Detention Administration - Critical Workflow Patterns
INTRODUCTION
The diagrams on the following page illustrate some of
the most critical workflow issues and patterns of the
Detention Administration.




                                                        4.214
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                                                               4. FUNCTIONAL REQUIREMENTS




                       3.1 Detention Administration : Critical Workflow Patterns




1. “CRITICAL ADJACENCIES”
Detention Administration must be located inside the
primary secure perimeter in order to provide the
security staff with direct supervision.




2. “TWO-HOUR SECURITY GLASS”
All glass in the Detention Administration and Central
Control should meet the two-hour standard for attack
resistance and must be shatter proof.




3. “CENTRAL CONTROL/ARMORY-VISUAL
CONNECTION”
The armory should be located outside the secure
perimeter but near central control for visual monitoring.




                                                      4.215
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   3.1 Detention Administration - Room Data Sheet
     3.1.1    DETENTION OPERATIONS SUPER-
              VISOR (DOS) OFFICE

   Function
   The....




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.216
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


 3.1.1 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • 35 oz 100% pile cut     • ACT-8’ high min.    • Solid core wood           • See below                • Exterior window
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• None                  • Typical                 • Recessed            • 110V duplex on each       • None                     • Voice & data on 2 walls
                                                    Fluorescent           wall




 3.1.1 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                  Style                 Model #                   Qty.
FURNITURE
        Desk                                                                                                                                1
        Desk chair                                                                                                                          1
        Side chair                                                                                                                          2




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.217
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   3.1 Detention Administration - Room Data Sheet
     3.1.2   SUPERVISORY IMMIGRATION
             ENFORCEMENT AGENT (SIEA)
             OFFICE

   Function
   The Supervisory Immigration Enforcement Agent’s
   function is as a first-line supervisor for conducting
   day-to-day immigration enforcement operations, as
   well as short and medium range planning and
   evaluation of a variety of enforcement functions
   associated with the identification, investigation,
   apprehension, prosecution, and removal of aliens and
   criminal aliens, and the apprehension of absconders
   from removal proceedings.
                                                                   Photograph
   The SIEA plans and schedules work on a daily and
   weekly basis, and assigns work to subordinate IEA’s.




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.218
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


 3.1.2 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • 35 oz 100% pile cut     • ACT-8’ high min.    • Solid core wood           • See below                • Exterior window
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• None                  • Typical                 • Recessed            • 110V duplex on each       • None                     • Voice & data on 2 walls
                                                    Fluorescent           wall




 3.1.2 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                  Style                 Model #                   Qty.
FURNITURE
        Desk                                                                                                                                1
        Desk chair                                                                                                                          1
        Side chair                                                                                                                          2




EQUIPMENT
        None




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.219
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   3.1 Detention Administration - Room Data Sheet
     3.1.3    IMMIGRATION ENFORCEMENT
              AGENT OFFICE

   Function
   The Immigration Enforcement Agent’s function is to
   perform a variety of enforcement functions related to
   the investigation, identification, apprehension,
   prosecution, detention and removal of aliens and
   criminal aliens, and apprehension of absconders from
   removal proceedings.

   The IEA routinely enters hostile situations and may be
   required to make decisions affecting the life, well being,
   and/or civil liberties of aliens, the public, and other law
   enforcement officers as well as impacting regulations
                                                                         Photograph
   between the U.S. and other governments.

   All IEA’s perform two major duties:
         - Removal, transport, and escort
         - Detention

   And one or more of the following duties:
         - Jail check
         - Prosecutions
         - Determining Alienage and Fugitive Operations
         - Operational Support/Law Enforcement Liaison
         - Alien Criminal Apprehension Program, Law
           Enforcement Agency Support, Multi-Agency Task
           Force, Quick Response Teams, Duty Officer



                                                                         Floor Plan




SYMBOL LEGEND:        Voice Outlet     Data Outlet      Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                                 4.220
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                                                                                                  4. FUNCTIONAL REQUIREMENTS


 3.1.3 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                    Hardware                     Glazing
• None                  • 35 oz 100% pile cut     • ACT-8’ high min.    • None                   • None                        • None
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                    Security                     Communications
• None                  • Typical                 • Recessed            • 110V duplex on each    • None                        • To accommodate systems
                                                    Fluorescent           wall                                                   furniture




 3.1.3 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*               Style                Model #                       Qty.
FURNITURE
        Systems furniture                                                                                                                   1
        Desk chair                                                                                                                          1
        Vertical file                                                                                                                       2
        Waste receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       None




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.221
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   3.1 Detention Administration - Room Data Sheet
     3.1.4   ICE ARMORY

   Function
   The Armory functions as a highly secure room for stor-
   ing weapons and ammunition as well as gas and other
   specialized equipment. Cleaning of weapons may also
   take place in the Armory.

   Guns are double locked in a gun rack within the
   Armory. Ammunition is also stored within lockable
   shelves/cabinets.

   The entrance to the Armory is controlled electronically
   and is kept under video surveillance.

                                                                     Photograph




                                                                              Weapons Racks




                                                                                  Ammunition Shelving
                                                                                     or Cabinets

                                                                     Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet       Duplex Outlet      ISDN Outlet   Duress Alarm Outlet

                                                             4.222
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                                                                                                       4. FUNCTIONAL REQUIREMENTS


 3.1.4 SYSTEMS MATRIX

Walls                   Floors                      Ceiling              Doors                        Hardware                Glazing
• Paint on reinforced   • Concrete, sealed          • Hard ceiling       • 16 ga. hollow metal        • See below              • None
  concrete block or
  poured concrete



Plumbing                HVAC                        Lighting             Power                        Security                Communications
• None                  • Climate controlled with   • Surface mount-     • 110V duplex on 2           • See below              • None
                          direct outdoor venting      ed Fluorescent       walls




 3.1.4 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID         Item                                                        Vendor*                Style                 Model #                 Qty.
FURNITURE
        None




EQUIPMENT
        Gun rack - provided by owner
        Ammo storage shelving - provided by owner




HARDWARE
       Electronic access reader
       Video surveillance camera
       Lockset
       Closure                                                         LCN                    With hold open        LCN4040                 1




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                        4.223
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   3.1 Detention Administration - Room Data Sheet
     3.1.5   ICE READY ROOM

   Function
   The Ready Room should be located adjacent to the
   Armory and serves as an area for equipping ICE staff
   when an incident occurs.
                                                                                          NEED
   SWAT teams consist of 24 agents, most of which will
   not be located at the facility. The Ready Room also
   serves as a place to store equipment such as shields,
   vests, batons, etc. and conduct briefings.




                                                                   Photograph




                                                                   Floor Plan



SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.224
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


 3.1.5 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                       Hardware                  Glazing
• PNT                   • 35 oz 100% pile cut     • ACT-9’ high min.    • Solid core wood           • See below                • None
                          nylon carpet
                        • Base - RB



Plumbing                HVAC                      Lighting              Power                       Security                  Communications
• None                  • Typical                 • Recessed            • 110V duplex on each       • None                     • Voice & data, 2 ea., and in
                                                    Fluorescent           wall                                                   center of table




 3.1.5 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*                  Style                 Model #                    Qty.
FURNITURE
        Table
        Chair
        Whiteboard - 12’




EQUIPMENT
        Equipment lockers                                                                                                                    8
        Manual projection screen
        Shelving - 16 LF




HARDWARE
       Electronic access reader
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.225
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   3.1 Detention Administration - Room Data Sheet
     3.1.6   ICE TOILET - MALE

   Function
   The Male Officer Toilet is a single use room located
   within Detention Administration.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.226
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


 3.1.6 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • VCT                     • GWB type X         • Solid core wood           • See below                 • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• Toilet                • Typical w/exhaust       • Recessed           • 110V duplex outlet-       • None                      • None
• Lavatory                                          Fluorescent          GFI




 3.1.6 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID           Item                                                  Vendor*                 Style                 Model #                    Qty.

FURNITURE
        None




EQUIPMENT
        Wall-hung, flush valve toilet                                                                                                       1
        Wall mounted lavatory                                                                                                               1
        Grab bars                                                                                                                           2
        Toilet paper dispenser                                                                                                              1
        Toilet seat cover dispenser                                                                                                         1
        Semi-recessed towel/waste unit                                                                                                      1
        Soap dispenser                                                                                                                      1
        Frameless wall mirror                                                                                                               1




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.227
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   3.1 Detention Administration - Room Data Sheet
     3.1.7   ICE TOILET - FEMALE

   Function
   The Female Officer Toilet is a single use room located
   within Detention Administration.




                                                                    Photograph




                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.228
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


 3.1.7 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                       Hardware                   Glazing
• PNT                   • VCT                     • GWB type X         • Solid core wood           • See below                 • None
                        • Base: RB




Plumbing                HVAC                      Lighting             Power                       Security                   Communications
• Toilet                • Typical w/exhaust       • Recessed           • 110V duplex outlet-       • None                      • None
• Lavatory                                          Fluorescent          GFI




 3.1.7 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID           Item                                                  Vendor*                 Style                 Model #                    Qty.

FURNITURE
        None




EQUIPMENT
        Wall-hung, flush valve toilet                                                                                                       1
        Wall mounted lavatory                                                                                                               1
        Grab bars                                                                                                                           2
        Toilet paper dispenser                                                                                                              1
        Toilet seat cover dispenser                                                                                                         1
        Semi-recessed towel/waste unit                                                                                                      1
        Soap dispenser                                                                                                                      1
        Frameless wall mirror                                                                                                               1
        Feminine napkin disposal unit                                                                                                       1




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



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                               4.230
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3.0 Detainee Living Zone   3.2 Detainee Housing           (Contractor Operated)




                                    4.231
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3.2 Detainee Housing
                                                                                                                                          FACILITY CHECK-IN
                                                                                                                                          Gate House

                                                                                                                                                                                PROPERTY
                                                                                                                                                                                LINE
                                                                                      Staﬀ                                                Staﬀ                                  FENCE
                                                               1.Oﬃce                Parking              Public Parking                 Parking
                                                               Zone
                                                               Non-Secure Zone
                                                                                                                                                                                SECURITY
                                                                                                                                                1.2                             BUFFER
                                              JUDGES
                                                                                     1.4
                                                                                                                                              Admin.


                                                                     1
                                              PRIVATE
                                                                                    OPLA                 Security Check Area
                                                                                                                                                ICE
                                              ENTRANCE                                                          1.1
                                                                                                        Public Entrance/                        1.3                             PERIMETER
                                                                                     1.5                     Lobby                            Admin.                            PATROL
                                                                                   Removal              Waiting/Support Area
                                                                                                                                                                                ROAD
                                                                                                                                                CDF


                                                               2.Court                        2.1                                       Arm. L.D.                               INTAKE/



                                                                            2
                                                               Interface                                     P. 2.2 D.             1.6                                          SERVICE
                                                                                             EOIR
                                                                                                             Visitation                                                         ROAD
                                                               Zone                 Admin.       Courts                            Staﬀ Services
                                                               Interface Zone                                     Holding             & Training            Vehicle
                                                                                                                                                           Sallyport
                                                                                        3.1                     3.2
                                                                                     Detention                                          4.1     Vehicle
                                                                                                              Security              Processing Sallyport
                                                                                   Administration            Command                                                            PERIMETER
                                                                                                                                                                                SECURITY
                                                                                                                                                                                FENCE


                                                                                                                                                         4



                                                                 E




                                                                                                                                                                    E
                                                                                                                                   4.2




                                                                 N




                                                                                                                                                                    N
                                                                                          3.2                                Health Services
                                                                                        Housing




                                                                 O




                                                                                                                                                                    O
                                                                                       (w/dining)                                     4.3




                                                                 Z




                                                                                                                                                                    Z
                                                                                                                                    Laundry
                                                                                                                                                       4.Service
                                                                                                                                     4.4               Zone


                                                                       3
                                                                                                                                  Food Prep.           Restricted Detainee




                                                                 N




                                                                                                                                                                    N
                                                                                                                                                       Movement
                                                                                   3.4            3.3 D.S.




                                                                 O




                                                                                                                                                                    O
                                                                                   Rec.        3.5 Library                           5.2




                                                                 I




                                                                                                                                                                    I
                                                                                                                                  Warehouse




                                                                 S




                                                                                                                                                                    S
                                                                                                                             5.1
                                                                                                                                           L.D.




                                                                 N




                                                                                                                                                                    N
                                                                                                                            C.S.


                                                                                                                                                         5
                                                                                                                                      5.3



                                                                 A




                                                                                                                                                                    A
                                                                                          3.2
                                                                                        Housing                                   Maintenance


                                                                 P




                                                                                                                                                                    P
                                                                                       (w/dining)

                                                                 X




                                                                                                                                                                    X
                                                                 E




                                                                                                                                                                    E
                                                                                                                                       5.4
                                                                                                                                  Utility Plant

                                                               3.Detainee Living Zone                                      5.Facility Support Zone
                                                              Secure Zone With Normal Detainee Movement                 Restricted Support Zone




                                                                                                                  LEGEND

                                                         = Main Gate Check Point             = Pedestrian Sallyport          P.    = Public             L.D. = Loading Dock

                                                         = Security Gate                     = External Secure Door         D.     = Detainee           C.S. = Common Support

                                                         = Internal Secure Door              = Pedestrian Traﬃc             D.S. = Detainee Services




                                                           = Contractor Space Detailed




                                      4.232
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                                                     4. FUNCTIONAL REQUIREMENTS




                              Functional Requirements

ID#        Space Name                             Performance Criteria




                           Special/Technical Requirements




                                     4.233
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                               4.234
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3.0 Detainee Living Zone   3.3 Detainee Services          (Contractor Operated)




                                     4.235
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            DHS - Immigration and Customs Enforcement
            ICE Design Standards



3.3 Detainee Services
ORGANIZATIONAL REQUIREMENTS                                                                                                                                     FACILITY CHECK-IN

The CDF offers detainees the opportunity to purchase
                                                                                                                                                                Gate House

                                                                                                                                                                                                      PROPERTY
food items through the commissary. Commissary is a                                                          Staﬀ                                                Staﬀ
                                                                                                                                                                                                      LINE
                                                                                                                                                                                                      FENCE
                                                                                     1.Oﬃce                                     Public Parking
privilege, and can be denied for disciplinary purposes.
                                                                                                           Parking                                             Parking
                                                                                     Zone
                                                                                     Non-Secure Zone
                                                                                                                                                                                                      SECURITY
                                                                                                                                                                      1.2                             BUFFER
                                                                    JUDGES
                                                                                                           1.4
                                                                                                                                                                    Admin.


                                                                                           1
                                                                    PRIVATE
                                                                                                          OPLA                 Security Check Area

There are four ways in which commissary items can be
                                                                                                                                                                      ICE
                                                                    ENTRANCE                                                          1.1
                                                                                                                              Public Entrance/                        1.3                             PERIMETER
                                                                                                           1.5                     Lobby
distributed:                                                                                             Removal              Waiting/Support Area
                                                                                                                                                                    Admin.
                                                                                                                                                                      CDF
                                                                                                                                                                                                      PATROL
                                                                                                                                                                                                      ROAD


                                                                                     2.Court                        2.1                                       Arm. L.D.                               INTAKE/



                                                                                                  2
                                                                                     Interface                                     P. 2.2 D.             1.6                                          SERVICE
      • A central commissary store with walk-up                                      Zone
                                                                                     Interface Zone
                                                                                                          Admin.
                                                                                                                   EOIR
                                                                                                                       Courts      Visitation
                                                                                                                                        Holding
                                                                                                                                                         Staﬀ Services
                                                                                                                                                            & Training            Vehicle
                                                                                                                                                                                                      ROAD


        business window;                                                                                      3.1                     3.2                     4.1
                                                                                                                                                                                 Sallyport

                                                                                                           Detention                                                  Vehicle
      • Automatic coin-operated vending machines;                                                        Administration
                                                                                                                                    Security
                                                                                                                                   Command
                                                                                                                                                          Processing Sallyport                        PERIMETER
                                                                                                                                                                                                      SECURITY

      • An order and deliver system; or                                                                                                                                                               FENCE


                                                                                                                                                                               4



                                                                                       E




                                                                                                                                                                                          E
                                                                                                                                                         4.2




                                                                                       N




                                                                                                                                                                                          N
      • A circulating stocked cart                                                                              3.2
                                                                                                              Housing
                                                                                                                                                   Health Services




                                                                                       O




                                                                                                                                                                                          O
                                                                                                             (w/dining)                                     4.3




                                                                                       Z




                                                                                                                                                                                          Z
                                                                                                                                                          Laundry
                                                                                                                                                                             4.Service
                                                                                                                                                                             Zone
Programs are provided to give detainees the
                                                                                                                                                           4.4


                                                                                             3
                                                                                                                                                        Food Prep.           Restricted Detainee




                                                                                       N




                                                                                                                                                                                          N
                                                                                                                                                                             Movement

opportunity to exercise their religious rights, assist in                                                3.4            3.3 D.S.




                                                                                       O




                                                                                                                                                                                          O
                                                                                                         Rec.        3.5 Library                           5.2




                                                                                       I
adjusting to CDF life, and to offer constructive use of




                                                                                                                                                                                          I
                                                                                                                                                        Warehouse




                                                                                       S




                                                                                                                                                                                          S
                                                                                                                                                   5.1
                                                                                                                                                                 L.D.




                                                                                       N
their time. The mission of the CDF is not to




                                                                                                                                                                                          N
                                                                                                                                                  C.S.


                                                                                                                                                                               5
                                                                                                                                                            5.3



                                                                                       A




                                                                                                                                                                                          A
                                                                                                                3.2
                                                                                                                                                        Maintenance
rehabilitate, punish, or reform the detainee. The                                                             Housing


                                                                                       P




                                                                                                                                                                                          P
                                                                                                             (w/dining)

                                                                                       X




                                                                                                                                                                                          X
offering of education programs and substance abuse                                     E




                                                                                                                                                                                          E
                                                                                                                                                             5.4
                                                                                                                                                        Utility Plant
rehabilitation programs is limited to the extent that                                3.Detainee Living Zone                                      5.Facility Support Zone
there are requests for these services and the
                                                                                    Secure Zone With Normal Detainee Movement                 Restricted Support Zone



resources are available to offer them.
                                                                                                                                        LEGEND

                                                                               = Main Gate Check Point             = Pedestrian Sallyport          P.    = Public             L.D. = Loading Dock

                                                                               = Security Gate                     = External Secure Door         D.     = Detainee           C.S. = Common Support

                                                                               = Internal Secure Door              = Pedestrian Traﬃc             D.S. = Detainee Services


OPERATIONAL REQUIREMENTS
                                                                                 = Contractor Space Detailed
The detainee services should be located within the
secure zone, with normal detainee movement. Critical
adjacencies for detainee services include detainee
housing, library and recreation.




                                                            4.236
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                                                                               4. FUNCTIONAL REQUIREMENTS




                                             Functional Requirements

 ID#             Space Name               Performance Criteria              Space Name     Performance Criteria
Programs                                                             Commissary              3 SF per detainee
Social Programs/Multiple Purpose                                     Vending Machine         3 ft of depth + 1 ft
           Classroom                      25 SF per seat             Dispensing Window
           Teacher                                                   Cart Makeup
           Storage                                                   Processing Counter
           Workroom                                                  Short Term Storage
Academic Education                                                   Restricted Storage
           Classroom                                                 Bulk Storage
           Teacher                                                   Detainee Toilet
           Storage                                                   Service Supervisor
           Workroom                       40 SF per work area        Officer Toilet
Vocational Education                                                 Janitor Closet
           Classroom                      25 SF per seat
           General Shop Workbench
           Teacher
           Storage
           Workroom
Arts and Crafts
           General Shop Workbench
           Teacher
           Storage
Industries
           Supervisor
           Officer Toilet
           Detainee Toilet
Hair Care
           Barber Chair
           Waiting
           Storage
           Detainee Toilet
           Officer Toilet
           Janitor Closet




                                        Special/Technical Requirements
   Commissary supplies should be kept separate from other institutional supplies.
   Commissary storage area should have access to the loading dock.
   Commissary machines require a special power supply, water supply and drains.
   Program classes are restricted to 20 detainees per class.




                                                       4.237
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                               4.238
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3.0 Detainee Living Zone   3.4 Recreation                 (Contractor Operated)




                                     4.239
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             ICE Design Standards



3.4 Recreation
ORGANIZATIONAL REQUIREMENTS                                                                                                                                        FACILITY CHECK-IN

To comply with standards, all detainees are provided
                                                                                                                                                                   Gate House

                                                                                                                                                                                                         PROPERTY
the opportunity for outside recreation at least once                                                           Staﬀ                                                Staﬀ
                                                                                                                                                                                                         LINE
                                                                                                                                                                                                         FENCE
                                                                                        1.Oﬃce                                     Public Parking
each day, five (5) days per week. For at least one hour
                                                                                                              Parking                                             Parking
                                                                                        Zone
                                                                                        Non-Secure Zone
                                                                                                                                                                                                         SECURITY

per day, detainees must have the opportunity for                       JUDGES
                                                                                                              1.4                                                        1.2
                                                                                                                                                                       Admin.
                                                                                                                                                                                                         BUFFER




                                                                                              1
                                                                       PRIVATE
                                                                                                             OPLA                 Security Check Area

outdoor exercise or an indoor equivalent during
                                                                                                                                                                         ICE
                                                                       ENTRANCE                                                          1.1
                                                                                                                                 Public Entrance/                        1.3                             PERIMETER
                                                                                                              1.5                     Lobby
inclement weather. Providing recreation privileges                                                          Removal              Waiting/Support Area
                                                                                                                                                                       Admin.
                                                                                                                                                                         CDF
                                                                                                                                                                                                         PATROL
                                                                                                                                                                                                         ROAD

beyond minimum requirements is an important                                             2.Court                        2.1                                       Arm. L.D.                               INTAKE/



                                                                                                     2
                                                                                        Interface                                     P. 2.2 D.             1.6                                          SERVICE
management tool to promote a safe and cooperative                                       Zone
                                                                                        Interface Zone
                                                                                                             Admin.
                                                                                                                      EOIR
                                                                                                                          Courts      Visitation
                                                                                                                                           Holding
                                                                                                                                                            Staﬀ Services
                                                                                                                                                               & Training            Vehicle
                                                                                                                                                                                                         ROAD


detainee population.                                                                                             3.1                     3.2                     4.1
                                                                                                                                                                                    Sallyport

                                                                                                              Detention                Security                          Vehicle
                                                                                                            Administration                                   Processing Sallyport                        PERIMETER
                                                                                                                                      Command
                                                                                                                                                                                                         SECURITY

Recreational activities are based on the size and                                                                                                                                                        FENCE


                                                                                                                                                                                  4



                                                                                          E




                                                                                                                                                                                             E
                                                                                                                                                            4.2




                                                                                          N




                                                                                                                                                                                             N
location of each facility. Recreational activities are                                                             3.2
                                                                                                                 Housing
                                                                                                                                                      Health Services




                                                                                          O




                                                                                                                                                                                             O
                                                                                                                (w/dining)                                     4.3
restricted to limited-contact sport activities such as




                                                                                          Z




                                                                                                                                                                                             Z
                                                                                                                                                             Laundry
                                                                                                                                                                                4.Service
                                                                                                                                                                                Zone
soccer, basketball, volleyball, table games, and
                                                                                                                                                              4.4


                                                                                                3
                                                                                                                                                           Food Prep.           Restricted Detainee




                                                                                          N




                                                                                                                                                                                             N
                                                                                                                                                                                Movement

sporting competitions between units when approved by                                                        3.4            3.3 D.S.




                                                                                          O




                                                                                                                                                                                             O
                                                                                                            Rec.                                              5.2
                                                                                                                        3.5 Library




                                                                                          I
the Facility Administrator. All programs and activities




                                                                                                                                                                                             I
                                                                                                                                                           Warehouse




                                                                                          S




                                                                                                                                                                                             S
                                                                                                                                                      5.1
                                                                                                                                                                    L.D.




                                                                                          N
are subject to security and operational guidelines for




                                                                                                                                                                                             N
                                                                                                                                                     C.S.


                                                                                                                                                                                  5
                                                                                                                                                               5.3



                                                                                          A




                                                                                                                                                                                             A
                                                                                                                   3.2
                                                                                                                                                           Maintenance
each facility and may be limited at the discretion of the                                                        Housing


                                                                                          P




                                                                                                                                                                                             P
                                                                                                                (w/dining)

                                                                                          X




                                                                                                                                                                                             X
Facility Administrator. Constant staff supervision is                                     E




                                                                                                                                                                                             E
                                                                                                                                                                5.4
                                                                                                                                                           Utility Plant
required for recreational activities.       In outdoor                                  3.Detainee Living Zone                                      5.Facility Support Zone
situations supervising personnel require radios to
                                                                                       Secure Zone With Normal Detainee Movement                 Restricted Support Zone



maintain contact with the control center.
                                                                                                                                           LEGEND

                                                                                  = Main Gate Check Point             = Pedestrian Sallyport          P.    = Public             L.D. = Loading Dock


Outdoor recreation can be provided in two types of                                = Security Gate                     = External Secure Door         D.     = Detainee           C.S. = Common Support

                                                                                  = Internal Secure Door              = Pedestrian Traﬃc             D.S. = Detainee Services


settings. The first is a large centralized recreation field,
                                                                                    = Contractor Space Detailed
large enough for soccer and softball games, which
allows detainees to leave their housing area to
recreate. The second is a small recreation yard
located directly adjacent to the housing area. This
setting reduces the amount of detainee movement and
associated escort supervision. This type of yard would
allow small court games such as half-court basketball
or volleyball.


OPERATIONAL REQUIREMENTS
Recreation fields must be located within the primary                   Recreation yards located directly adjacent to housing
secure perimeter. Centralized outdoor recreation                       areas should be visible from a security post to allow
should be located so detainees can exit directly from                  supervision by the housing security staff.
within the building security perimeter into the
recreation field. For campus facilities, locating housing              The detainee's security risk determines the amount of
areas around a recreation yard provides easily                         recreational access. High security-risk detainees,
accessible and supervised outdoor areas while                          administrative     segregation,      and     disciplinary
maintaining the security perimeter. For facilities                     segregation should always be provided outdoor
located in urban areas, views from off-site should be                  recreation yards directly adjacent to their housing area.
shielded. When adequate buffer zones cannot be                         General medium and low risk population detainees
maintained between recreation yards and public                         may utilize a centralized larger outdoor recreation
access areas, the yards must have a screened roof to                   area.
prevent outsiders from lobbing contraband into the
yards.

                                                               4.240
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                                                                                    4. FUNCTIONAL REQUIREMENTS




                                                Functional Requirements

 ID#              Space Name                                                   Performance Criteria
Central Recreation
3.4.1    Half-Basketball Court
3.4.2    Multiple Purpose Room
3.4.3    Half-Basketball                               3,600 SF
3.4.4    Playing Field
3.4.5    Recreational Specialist                       70,000 SF
3.4.6    Storage
3.4.7    Officer Toilet
3.4.8    Detainee Toilet




                                           Special/Technical Requirements

 Exercise areas will offer a variety of fixed and movable equipment. Weight training, if offered, will be limited to fixed equipment;
    free weights are prohibited.
 Cardiovascular exercise shall be available to detainees for whom outdoor recreation is unavailable. The indoor recreation area
    may, therefore, be equipped with stationary bicycles, stair climbers, treadmills, and/or other cardiovascular exercise machines.
 Recreational activities shall be based on the facility's size and location. With the OIC's approval, recreational activities may
    include limited-contact sports, such as soccer, basketball, volleyball, table game, and may extend to competitions between
    units.
   Dayrooms in general-population housing units will offer board games, television, and other sedentary activities. Detention
    personnel shall supervise dayroom activities, distributing games and other recreation materials once daily.
   All detainees participating in outdoor recreation shall have access to drinking water and toilet facilities.
   Recreation areas shall be under continuous supervision by staff.
   Detainees housed in the Special Management Unit (SMU) shall recreate apart from the general population (one hour of
    recreation/day, at least 5 days/week).
   Recreation yards may be formed from courtyards created by the building footprint.
   The outdoor exercise/recreation area must provide 1.4 square meters (15 sf) per detainee for the maximum number of
    detainees expected to use the space at one time, but not less than 139.4 square meters (1,500 sf) total.
   For facilities in colder climates where weather restricts outside activities, indoor gymnasiums are recommended.
   The enclosed indoor exercise/recreation area must provide 1.4 square meters (15 sf) per detainee for the maximum number of
    detainees expected to use the space at one time, but not less than 93 square meters (1,000 sf) total.
   All facilities shall provide recreational opportunities for detainees with disabilities.




                                                           4.241
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                               4.242
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3.0 Detainee Living Zone   3.5 Library                    (Contractor Operated)




                                     4.243
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3.5 Library
ORGANIZATIONAL REQUIREMENTS                                                                                                                                    FACILITY CHECK-IN

The facility holding DHS/ICE detainees shall permit
                                                                                                                                                               Gate House

                                                                                                                                                                                                     PROPERTY
detainees access to a Law Library, and provide legal                                                       Staﬀ                                                Staﬀ
                                                                                                                                                                                                     LINE
                                                                                                                                                                                                     FENCE
                                                                                    1.Oﬃce                                     Public Parking
materials, facilities, equipment and document copying
                                                                                                          Parking                                             Parking
                                                                                    Zone
                                                                                    Non-Secure Zone
                                                                                                                                                                                                     SECURITY

privileges, and the opportunity to prepare legal                   JUDGES
                                                                                                          1.4                                                        1.2
                                                                                                                                                                   Admin.
                                                                                                                                                                                                     BUFFER




                                                                                          1
                                                                   PRIVATE
                                                                                                         OPLA                 Security Check Area

documents. Detainees housed in Administrative
                                                                                                                                                                     ICE
                                                                   ENTRANCE                                                          1.1
                                                                                                                             Public Entrance/                        1.3                             PERIMETER
                                                                                                          1.5                     Lobby
Segregation and Disciplinary Segregation must be                                                        Removal              Waiting/Support Area
                                                                                                                                                                   Admin.
                                                                                                                                                                     CDF
                                                                                                                                                                                                     PATROL
                                                                                                                                                                                                     ROAD

afforded the same legal access as the general                                       2.Court                        2.1                                       Arm. L.D.                               INTAKE/



                                                                                                 2
                                                                                    Interface                                     P. 2.2 D.             1.6                                          SERVICE
population, unless security concerns require                                        Zone
                                                                                    Interface Zone
                                                                                                         Admin.
                                                                                                                  EOIR
                                                                                                                      Courts      Visitation
                                                                                                                                       Holding
                                                                                                                                                        Staﬀ Services
                                                                                                                                                           & Training            Vehicle
                                                                                                                                                                                                     ROAD


limitations.                                                                                                 3.1                     3.2                     4.1
                                                                                                                                                                                Sallyport

                                                                                                          Detention                Security                          Vehicle
                                                                                                        Administration                                   Processing Sallyport                        PERIMETER
                                                                                                                                  Command
                                                                                                                                                                                                     SECURITY

The facility shall also offer recreational reading                                                                                                                                                   FENCE


                                                                                                                                                                              4



                                                                                      E




                                                                                                                                                                                         E
                                                                                                                                                        4.2




                                                                                      N




                                                                                                                                                                                         N
material as a privilege and a way to occupy detainee                                                           3.2
                                                                                                             Housing
                                                                                                                                                  Health Services




                                                                                      O




                                                                                                                                                                                         O
                                                                                                            (w/dining)                                     4.3
time.




                                                                                      Z




                                                                                                                                                                                         Z
                                                                                                                                                         Laundry
                                                                                                                                                                            4.Service
                                                                                                                                                          4.4               Zone


                                                                                            3
                                                                                                                                                       Food Prep.           Restricted Detainee




                                                                                      N




                                                                                                                                                                                         N
                                                                                                                                                                            Movement

Each detainee shall be permitted to use the law library                                                 3.4            3.3 D.S.




                                                                                      O




                                                                                                                                                                                         O
                                                                                                        Rec.        3.5 Library                           5.2




                                                                                      I
for a minimum of five (5) hours per week.




                                                                                                                                                                                         I
                                                                                                                                                       Warehouse




                                                                                      S




                                                                                                                                                                                         S
                                                                                                                                                  5.1
                                                                                                                                                                L.D.




                                                                                      N




                                                                                                                                                                                         N
                                                                                                                                                 C.S.


                                                                                                                                                                              5
                                                                                                                                                           5.3



                                                                                      A




                                                                                                                                                                                         A
                                                                                                               3.2
                                                                                                             Housing                                   Maintenance


                                                                                      P




                                                                                                                                                                                         P
                                                                                                            (w/dining)

                                                                                      X




                                                                                                                                                                                         X
OPERATIONAL REQUIREMENTS                                                              E




                                                                                                                                                                                         E
                                                                                                                                                            5.4
                                                                                                                                                       Utility Plant
The law library should be located within the primary                                3.Detainee Living Zone                                      5.Facility Support Zone
secure perimeter adjacent to a staff position such as
                                                                                   Secure Zone With Normal Detainee Movement                 Restricted Support Zone



Central Control or a fixed housing control post. The
level of supervision required for the law library
                                                                                                                                       LEGEND

                                                                              = Main Gate Check Point             = Pedestrian Sallyport          P.    = Public             L.D. = Loading Dock


depends on the physical layout, category of detainees,                        = Security Gate                     = External Secure Door         D.     = Detainee           C.S. = Common Support

                                                                              = Internal Secure Door              = Pedestrian Traﬃc             D.S. = Detainee Services


available officer manpower and facility operating
                                                                                = Contractor Space Detailed
procedures. Each facility must have a designated
officer with responsibility for updating the legal
materials.

Due to the cost of legal reference material, the library
is maintained in a central location. This library should
be visually supervised from a staff position.




                                                           4.244
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                                                                                                     4. FUNCTIONAL REQUIREMENTS




                                                        Functional Requirements

 ID#               Space Name                                                                  Performance Criteria
Recreational Library
3.5.1    Study Table
3.5.2    Periodicals/Paperback Books
3.5.3    Stacks
3.5.4    Library Desk
3.5.5    Work Room
3.5.6    Computer Room
3.5.7    Multiple Media Room
3.5.8    Distribution Carts
3.5.9    Storage
3.5.10   Detainee Toilet
3.5.11   Officer Toilet
3.5.12   Janitor Closet

Law Library
3.5.13   Study Table
3.5.14   Stacks
3.5.15   Library Desk
3.5.16   Copier
3.5.17   Computer Room
3.5.18   Detainee Toilet

NOTE:    Detainees may be provided books from local municipal libraries upon request or by circulation programs offered by the libraries.




                                                  Special/Technical Requirements
   Law library should provide 20 sf per seat.
   Recreational library should provide 5 sf per detainee.
   The library should be well lit.
   The library should be reasonably isolated from noisy areas.
   The size of the law library depends on the size of the detainee population and the frequency of detainee use.
   The law library must provide an adequate number of typewriters and equipment to accommodate the number of detainees that
    are authorized to use the library at any given time.




                                                                      4.245
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             4.0 Service Zone



                 4.1 Processing (ICE & Contractor Responsibility)
                 4.2 Health Services (H & HS Responsibility)
                 4.3 Laundry (Contractor Responsibility)
                 4.4 Food Preparation (Contractor Responsibility)




                                   4.247
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            ICE Design Standards



4.0 Service Zone
The Service Zone provides services necessary for sup-
porting detainees while they live in the CDF. It is a zone
that is located inside the primary secure perimeter with
restricted detainee movement. Components should be
separated from each other by secondary secure
perimeters. Detainee movement to any component will
be       by    direct     escort      or   continuously
monitored/controlled movement with staff control of
each individual detainee passing into or out of a
component.

This document covers the ICE Service areas within
component 4.1 Processing. The other components are
typically defined and controlled by Contract Detention
Service provider and are not included in this document.

The diagram on the following page illustrates the
Service Zone components and the critical adjacency
requirements needed for a productive work
environment.

The following information has been provided for the
processing components:

Function
Describes the overall purpose of the component within
the CDF.

Critical Workflow Patterns
Identifies the most critical workflow patterns necessary
for efficient staff productivity.

Room Data Sheets
Provides detailed information on all spaces within the
components (i.e., function statements, photograph,
floor plan, systems, furniture, and equipment)

The components within the Service Zone include:

        4.1 Processing (ICE Operated)
        4.2 Health Services (Health Services Operated)
        4.3 Laundry (Contractor Operated)
        4.4 Food Preparation (Contractor Operated)




                                                             4.248
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                                                                                                    4. FUNCTIONAL REQUIREMENTS




                              Service Zone : Organizational Diagram

                                                                                             FACILITY CHECK-IN
                                                                                             Gate House

                                                                                                                                   PROPERTY
                                                                                                                                   LINE
                                        Staﬀ                                                 Staﬀ                                  FENCE
                 1.Oﬃce                Parking              Public Parking                  Parking
                 Zone
                 Non-Secure Z
                            Zone
                                                                                                                                   SECURITY
                                                                                                   1.2                             BUFFER
JUDGES
                                       1.4
                                                                                                 Admin.


                       1
PRIVATE
                                      OPLA                 Security Check Area
                                                                                                   ICE
ENTRANCE                                                          1.1
                                                          Public Entrance/                         1.3                             PERIMETER
                                       1.5                     Lobby                             Admin.                            PATROL
                                     Removal              Waiting/Support Area
                                                                                                                                   ROAD
                                                                                                   CDF


                 2.Court                        2.1
                                                2                                          Arm. L.D.                               INTAKE/



                              2
                 Interface                                      P. 2.2
                                                                    . D.              1.6                                          SERVICE
                                               EOIR
                                                O
                                                               Visitation
                                                                    a                                                              ROAD
                 Zone                 Admin.       Courts                             Staﬀ Services
                 Interface Zone
                           Zo                                        Holding             & Trainingg           Vehicle
                                                                                                               Veh  iclle
                                                                                                              Sallyport
                                                                                                              Sa
                                                                                                              S ally
                                                                                                                a ypo ortt
                                                                                                                      o
                                          3.1                     3.2
                                                                  3
                                                                  3.
                                       Detention                                           4.1     Vehicle
                                                                Security
                                                                Sec
                                                                  cu                   Processing Sallyport
                                     Administration            Command
                                                               Comm
                                                               Commmm                                                              PERIMETER
                                                                                                                                   SECURITY
                                                                                                                                   FENCE


                                                                                                            4
                   E




                                                                                                                       E
                                                                                      4.2
                   N




                                                                                                                       N
                                            3.2                                 Health Services
                                          Housing
                   O




                                         (w/dining)                                      4.3                           O
                   Z




                                                                                                                       Z
                                                                                       Laundry
                                                                                                          4.Service
                                                                                        4.4               Zone


                         3
                                                                                     Food Prep.           Restricted Detainee
                   N




                                                                                                                       N




                                                                                                          Movement
                                     3.4            3.3 D.S.
                   O




                                                                                                                       O




                                     Rec.        3.5 Library                            5.2
                   I




                                                                                                                       I




                                                                                     Warehouse
                   S




                                                                                                                       S




                                                                                5.1
                                                                                              L.D.
                   N




                                                                                                                       N




                                                                               C.S.


                                                                                                            5
                                                                                         5.3
                   A




                                                                                                                       A




                                            3.2
                                          Housing                                    Maintenance
                   P




                                                                                                                       P




                                         (w/dining)
                   X




                                                                                                                       X
                   E




                                                                                                                       E




                                                                                          5.4
                                                                                     Utility Plant

                 3.Detainee Living Zone                                      5.Facility Support Zone
                Secure Zone With Normal Detainee Movement                  Restricted Support Zone




                                                                    LEGEND

           = Main Gate Check Point             = Pedestrian Sallyport           P.    = Public             L.D. = Loading Dock

           = Security Gate                     = External Secure Door          D.     = Detainee           C.S. = Common Support

           = Internal Secure Door              = Pedestrian Traﬃc              D.S. = Detainee Services




                                                           4.249
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4.0 Service Zone - Space Requirements
SPACE FORECAST MATRIX                                                                Space Planning Formulas
The Space Requirements Summary Matrix on the
following page, identifies the spaces needed for each                 4.1 Processing
                                                                          • Number of Processing Positions:
of the functional units within the Service Zone. The
                                                                              - 1 for each 100 detainees
matrix listed below is also designed to forecast these                        - Male/female split = 60/40
needs for the planning scenarios.
                                                                          • Number of interview rooms = 6 per 1,000 detainees
    1.    <200 beds
    2.     200 - 450 beds
    3.     450 - 900 beds                                             4.2 Health Services
    4.     900 - 1,200 beds
    5.   1,200 - 1,500 beds                                               Operated by the Department of Health and Human Services
    6.   1,500 - 1,800 beds
    7.   1,800 - 2,000 beds
    8.   2,000 - 3,000 beds
                                                                      4.3 Laundry

The bed ranges were determined to best represent the                      Contractor Operated.
capacity range for existing and planned detainee
populations.
                                                                      1.4 Food Preparation
For each planning scenario, the following information
is provided:                                                              Contractor Operated.

    - # of Users is the number of persons (staff or
      detainees) in a given space.

    - # of Spaces is the quantity of a given space.

    - Space Size NSF is the net square feet or size of a
      given space.

    - Total Size NSF is the number of spaces or quantity of
      a space times the NSF or size.

The sidebar to the right highlights some of the Space
Planning Formulas that are used for calculating areas.

SPACE CALCULATIONS/DEFINITIONS
The total Net Square Footage is the sum of all net
areas of the spaces listed. This number is multiplied by
a Net-Gross Factor (an industry factor based on space
type) to determine Gross Square Footage (GSF). This
factor is intended to account for space such as
circulation space, mechanical space, wall thicknesses,
etc., that are not programmed space.

    - Net Square Footage (NSF)
      Total clear floor area within a given room, excluding
      walls, corridors, mechanical equipment rooms, shafts,
      stairs, and chases.

    - Gross Square Footage (GSF)
      Total building area measured from outside face of
      exterior walls.


                                                              4.250
                                                                                                                                                      Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 1161 of 1402
                                                                                                                                                                                                                                                                                                                                                                                                                                                            4. FUNCTIONAL REQUIREMENTS

Immigration and Customs Enforcement                                                                                                                                                                                                                 Service Zone
Design Standards                                                                                                                                                                                                                                              4.0


4.0 Service Zone - Space Requirements Summary
CONTRACT DETENTION FACILITIES
Washington DC


                                                                                      200                                           4550                                          900                                           1200                                             15500                                         1800                                          2000                                          3000
      4.0
        0 SERVICE
                E ZONE                                              ICE
                                                                      E CDF                      < 200
                                                                                                     0 BEDS                                  200-450
                                                                                                                                                   0 BEDS                                  450-900
                                                                                                                                                                                                 0 BEDS                                  900-1200
                                                                                                                                                                                                                                                0 BEDS                                   1200-1500
                                                                                                                                                                                                                                                                                                 0 BEDS                                1500-1800
                                                                                                                                                                                                                                                                                                                                               0 BEDS                                1800-2000
                                                                                                                                                                                                                                                                                                                                                                                             0 BEDS                                   3000
                                                                                                                                                                                                                                                                                                                                                                                                                                         0 BEDS                         Comments
                                                                   STANDARD
                                                                                       # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size      Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total
 ID# SPACE
         E NAME                                                NSF Unit of Measure    Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF           NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF

 4.1 Processing
 4.1.1 Vehicular Sallyport (2 Buses, 2 Vans)                   6,100 sf                          1          6,100       6,100                  1          6,100       6,100                  1          6,100       6,100                  1          6,100          6,100                  1          6,100       6,100                  1          6,100       6,100                   1         6,100      6,100                    1         6,100      6,100
4.1.2 Pedestrian Sallyport & Search Room                        180 sf                           1           180           180                 1           180           180                 1           180           180                 1           180              180                 1           180           180                 1           180           180                  1          180          180                   1          180          180
4.1.3 Processing Counter - Male                                  50 sf/position         1        1            50            50        1        3            50           150        1        6            50          300         1        6            50             300         1        9            50          450         1        11           50          550         1        12           50         600          1        18           50         900       1 position per 100 detainees spilt male/female 60/40
4.1.4 Processing Counter - Female                                50 sf/position         1        1            50            50        1        2            50          100         1        3            50           150        1        4            50             200         1        6            50          300         1        7            50          350         1        8            50         400          1        12           50         600       1 position per 100 detainees spilt male/female 60/40
4.1.5 ICE Transportation Work Area                               80 sf                  1        1            80            80        1        1            80            80        1        1            80            80        1        2            80              160        1        2            80           160        1        2            80           160        1        2            80          160         1        3            80         240
4.1.6 ICE Interview Room                                        100 sf                  2        2           100          200         2        4           100          400         2        5           100          500         2        6           100             600         2        7           100          700         2        8           100          800         2        12          100       1,200          2        18          100       1,800       6 per 1,000 detainees; 2 minimum
4.1.7 Large Holding - Male                                        7  sf/detainee       20        1           140           140       20        1           140           140       20        2           140          280        20        2           140             280        20        2           140          280        20        3           140          420        20        3           140         420         20        4           140         560
4.1.8 Small Holding - Male                                        7  sf/detainee        6        1            42            42        6        1            42            42        6        2            42            84        6        3            42              126        6        4            42           168        6        4            42           168        6        5            42          210         6        5            42          210
4.1.9 Segregation Holding (Padded & Suicide Watch) - Male        60 sf                  1        1            60            60        1        1            60            60        1        2            60           120        1        2            60              120        1        3            60           180        1        3            60           180        1        3            60          180         1        5            60         300
4.1.10 Large Holding - Female                                     7  sf/detainee       20        1          1,200       1,200        20        1          1,200       1,200        20        1          1,200       1,200        20        1          1,200          1,200        20        1          1,200       1,200        20        1          1,200       1,200        20        2          1,200      2,400         20        2          1,200      2,400
4.1.11 Small Holding - Female                                     7  sf/detainee        6        1            42            42        6        1            42            42        6        1            42            42        6        2            42               84        6        3            42           126        6        4            42           168        6        3            42          126         6        4            42          168
4.1.12 Segregation Holding (Padded & Suicide Watch) - Female     60 sf                  1        1            60            60        1        1            60            60        1        1            60            60        1        1            60               60        1        1            60            60        1        2            60           120        1        2            60          120         1        3            60          180
4.1.13 Special Case Holding - Male                               60 sf                  5        1            60            60        5        2            60           120        5        3            60           180        5        3            60              180        5        3            60           180        5        4            60          240         5        4            60         240          5        5            60         300
4.1.14 Special Case Holding - Female                             60 sf                  5        1            60            60        5        1            60            60        5        1            60            60        5        1            60               60        5        1            60            60        5        2            60           120        5        2            60          120         5        3            60          180
4.1.15 Staff Toilet                                              60 sf                           1            60            60                 1            60            60                 1            60            60                 1            60               60                 1            60            60                 1            60            60                  1           60           60                   1           60           60
                                                                                                                         1,542                                         1,602                                         1,722                                            1,764                                         1,866                                        2,088                                         3,246                                         3,588
                                                                                     Net-Gross Factor        1.40          617     Net-Gross Factor        1.40          641     Net-Gross Factor        1.40         689      Net-Gross Factor        1.40            706      Net-Gross Factor        1.40         746      Net-Gross Factor        1.40         835      Net-Gross Factor        1.40        1,298     Net-Gross Factor        1.40        1,435
                                                                                     Grosss Square
                                                                                                 e Feet                 2,159      Grosss Square
                                                                                                                                               e Feet                 2,243      Grosss Square
                                                                                                                                                                                             e Feet                  2,411     Grosss Square
                                                                                                                                                                                                                                           e Feet                    2,470      Grosss Square
                                                                                                                                                                                                                                                                                            e Feet                 2,612      Grosss Square
                                                                                                                                                                                                                                                                                                                                          e Feet                 2,923      Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                        e Feet                 4,544      Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                                                      e Feet                 5,023
4.2        h Services
      Health
      Health Services
                                                                                                                               0                                             0                                             0                                                0                                             0                                             0                                             0                                             0
                                                                                     Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33                 0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0
                                                                                     Grosss Square
                                                                                                 e Feet                        0   Grosss Square
                                                                                                                                               e Feet                        0   Grosss Square
                                                                                                                                                                                             e Feet                        0   Grosss Square
                                                                                                                                                                                                                                           e Feet                           0   Grosss Square
                                                                                                                                                                                                                                                                                            e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                          e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                        e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                                                      e Feet                        0
4.3   Laundry
      Contractor Space
                                                                                                                               0                                             0                                             0                                                0                                             0                                             0                                             0                                             0
                                                                                     Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33                 0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0
                                                                                     Grosss Square
                                                                                                 e Feet                        0   Grosss Square
                                                                                                                                               e Feet                        0   Grosss Square
                                                                                                                                                                                             e Feet                        0   Grosss Square
                                                                                                                                                                                                                                           e Feet                           0   Grosss Square
                                                                                                                                                                                                                                                                                            e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                          e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                        e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                                                      e Feet                        0
4.4   Food
         d Preparation
      Contractor Space
                                                                                                                               0                                             0                                             0                                                0                                             0                                             0                                             0                                             0
                                                                                     Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33                 0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0
                                                                                     Grosss Square
                                                                                                 e Feet                        0   Grosss Square
                                                                                                                                               e Feet                        0   Grosss Square
                                                                                                                                                                                             e Feet                        0   Grosss Square
                                                                                                                                                                                                                                           e Feet                           0   Grosss Square
                                                                                                                                                                                                                                                                                            e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                          e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                        e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                                                      e Feet                        0




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 4.250.A
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4.0 Service Zone    4.1 Processing                       (ICE & Contractor Operated)


                         Space Requirements
                         4.1.1   Vehicular Sallyport
                         4.1.2   Pedestrian Sallyport & Search Room
                         4.1.3   Processing Counter - Male
                         4.1.4   Processing Counter - Female
                         4.1.5   ICE Transportation Work Area
                         4.1.6   ICE Interview Room
                         4.1.7   Large Holding - Male
                         4.1.8   Small Holding - Male
                         4.1.9   Segregation Holding - Male
                         4.1.10 Large Holding - Female
                         4.1.11 Small Holding - Female
                         4.1.12 Segregation Holding - Female
                         4.1.13 Special Case Holding - Male
                         4.1.14 Special Case Holding - Female
                         4.1.15 Staff Toilet




                                  4.251
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4.1 Processing - Function
FUNCTION STATEMENT                                                                           Design Criteria
Processing provides a space where detainees enter,
wait, are held, and processed before being assigned                    Critical Issues
to detention, transferred to other facilities or released
from detention. Processing must complete specific                      9     Highly secure detention environment
activities upon detainee admittance, transfer, and                     9     Separation of male, female and juvenile detainees
                                                                       9     Separation of unprocessed & processed detainees
release, including accurate identification and property
                                                                       9     Hardened environment
exchange. Detention, transfer, and release activities                  9     Unobstructed sight lines
are conducted in the same area to conserve staff and                   9     Efficient process and flow
space.

The basic and support activities in the Processing Area                Special Requirements
include:
                                                                       9     Detention-grade hardware & furnishings
    - Transportation and staging of arriving and departing             9     Detention-grade fixtures & equipment
       detainees                                                       9     Security, control, and surveillance
    - Holding detainees while waiting processing or transfer           9     Hard, washable surfaces
    - Orientation of incoming detainees
    - Processing detainess
    - Search, interview, and medical screening of incoming
       detainees
    - Showering for incoming detainees
    - Storage of detainee valuables and property
    - Clothing and linen issue/exchange                                Space Requirements
    - Providing snacks and sack lunches
                                                                       4.1       PROCESSING
Processing is located within the primary secure                        4.1.1     Vehicular Sallyport
perimeter. It should be located directly adjacent to the               4.1.2     Pedestrian Sallyport & Search Room
vehicle sallyport. Processing should be located near                   4.1.3     Processing Counter - Male
Health Services and Security Command for immediate                     4.1.4     Processing Counter - Female
health screenings and direct visual supervision of the                 4.1.5     ICE Transportation Work Area
Processing Area and sallyport.                                         4.1.6     ICE Interview Room
                                                                       4.1.7     Large Holding - Male
                                                                       4.1.8     Small Holding - Male
                                                                       4.1.9     Segregation Holding - Male
                                                                       4.1.10    Large Holding - Female
                                                                       4.1.11    Small Holding - Female
                                                                       4.1.12    Segregation Holding - Female
                                                                       4.1.13    Special Case Holding - Male
                                                                       4.1.14    Special Case Holding - Female
                                                                       4.1.15    Staff Toilet




                                                               4.252
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                                                                                                      4. FUNCTIONAL REQUIREMENTS




                                           4.1 Processing : Organizational Diagram
                                     Special Case                    Segregation                               ICE
                                    Holding - Female                Holding - Male                        Transportation
                                                                                                            Work Area

                                       4.1.6                                         4.1.10
                        Interview
                          Room                  4.1.14                      Female Holding Cells
                                        4.1.6

                                                                                                                                                                                   Pedestrian Sallyport &
                                                                             4.1.11        4.1.4               4.1.2                                                                  Search Room
                                                            4.1.12 4.1.12    Small       Processing
                                           4.1.5                                                       4.1.5
                                                                            Holding       Counter
                                         Property                           Female        Female               4.1.15
                                                                                                                                  4.1.1
                                         Storage                                                                                                                                          Staff
                                          Room                                                                                                                                           Toliets
                                                                             4.1.8          4.1.3              4.1.15
                                                                             Small       Processing                               Vehicle
                                                                                                       4.1.5                      Sallyport
                                                            4.1.9   4.1.9   Holding       Counter              4.1.2
                                                                             Male           Male
                                                                                                                                                                                   Pedestrian Sallyport &
                                                                                                                                                                                      Search Room
                                       4.1.6
                                                                                      4.1.7
                        Interview                  4.1.13
                          Room         4.1.6                                  Male Holding Cells




                                       Special Case              Segregation                         ICE
                                       Holding - Male           Holding - Male                  Transportation
                                                                                                  Work Area




                                                                                                                                                                                                       FACILITY CHECK-IN
                                                                                                                                                                                                       Gate House

                                                                                                                                                                                                                                         PROPERT
                                                                                                                                                                                                                                         LINE
                                                                                                                                                          Staﬀ                                         Staﬀ                              FENCE
                                                                                                                                     1.Oﬃce              Parking            Public Parking            Parking
                                                                                                                                     Zone
                                                                                                                                     Non-Secure Zone
                                                                                                                                                Z
                                                                                                                                                                                                                                         SECURITY
                                                                                                                                                                                                           1.2                           BUFFER
                                                                                                                       JUDGES
                                                                                                                                                         1.4
                                                                                                                                                                                                         Admin.


                                                                                                                                          1
                                                                                                                       PRIVATE
                                                                                                                                                        OPLA            Security Check Area
                                                                                                                                                                                                          ICE
                                                                                                                       ENTRANCE                                                 1.1
                                                                                                                                                                        Public Entrance/                   1.3                           PERIMETE
                                                                                                                                                         1.5                 Lobby                       Admin.                          PATROL
                                                                                                                                                       Removal          Waiting/Support Area
                                                                                                                                                                                                                                         ROAD
                                                                                                                                                                                                          CDF


                                                                                                                                     2.Court                      2
                                                                                                                                                                  2.1                                Arm. L.D.                           INTAKE/



                                                                                                                                                2
                                                                                                                                     Interface                                P.  2.2
                                                                                                                                                                                   . D.         1.6                                      SERVICE
                                                                                                                                                                 EOIR
                                                                                                                                                                  O
                                                                                                                                                                              Visitation
                                                                                                                                                                                   a                                                     ROAD
                                                                                                                                     Zone               Admin.     Courts                       Staﬀ Services
                                                                                                                                     Interface Zo                                  Holding         & Trainingg          Vehiclle
                                                                                                                                                                                                                       Saally
                                                                                                                                                                                                                       Sa llypo
                                                                                                                                                                                                                          llypo
                                                                                                                                                                                                                              ortt
                                                                                                                                                            3.1                  32
                                                                                                                                                                                 3.2
                                                                                                                                                         Detention                                      4.1     Vehicle
                                                                                                                                                                              Se
                                                                                                                                                                               ecurity
                                                                                                                                                                                   ri               Processing Sallyport
                                                                                                                                                       Administration        Com
                                                                                                                                                                             C  mm
                                                                                                                                                                                mmmand
                                                                                                                                                                                     a d                                                 PERIMETE
                                                                                                                                                                                                                                         SECURITY
                                                                                                                                                                                                                                         FENCE


                                                                                                                                                                                                                     4
                                                                                                                                      E




                                                                                                                                                                                                                                E




                                                                                                                                                                                                   4.2
                                                                                                                                      N




                                                                                                                                                                                                                                N




                                                                                                                                                              3.2                            Health Services
                                                                                                                                                            Housing
                                                                                                                                      O




                                                                                                                                                                                                                                O




                                                                                                                                                           (w/dining)                                 4.3
                                                                                                                                      Z




                                                                                                                                                                                                                                Z




                                                                                                                                                                                                    Laundry
                                                                                                                                                                                                                   4.Service
                                                                                                                                                                                                   4.4             Zone


                                                                                                                                            3
                                                                                                                                                                                                Food Prep.         Restricted Detainee
                                                                                                                                      N




                                                                                                                                                                                                                                N




                                                                                                                                                                                                                   Movement
                                                                                                                                                       3.4         3.3 D.S.
                                                                                                                                      O




                                                                                                                                                                                                                                O




                                                                                                                                                       Rec.       3.6 Library                     5.2
                                                                                                                                      I




                                                                                                                                                                                                                                I




                                                                                                                                                                                               Warehouse
                                                                                                                                      S




                                                                                                                                                                                                                                S




         LEGEND
                                                                                                                                                                                              5.1
                                                                                                                                                                                                        L.D.
                                                                                                                                      N




                                                                                                                                                                                                                                N




                                                                                                                                                                                             C.S.


                                                                                                                                                                                                                     5
                                                                                                                                                                                                   5.3
                                                                                                                                      A




                                                                                                                                                                                                                                A




                                                                                                                                                              3.2
                                                                                                                                                            Housing                            Maintenance
                                                                                                                                      P




                                                                                                                                                                                                                                P




= Entry Points Into Other Areas                                                                                                                            (w/dining)
                                                                                                                                      X




                                                                                                                                                                                                                                X
                                                                                                                                      E




                                                                                                                                                                                                                                E




                                                                                                                                                                                                    5.4
                                                                                                                                                                                               Utility Plant
= Secure Door                                                                                                                        3.Detainee Living Zone                              5.Facility Support Zone
                                                                                                                                     Secure Zone With Normal Detainee Movement           Restricted Support Zone


= Circulation Pattern
                                                                                                                                                                                LEGEND




                                                                                                                                             Service Zone Diagram




                                                                        4.253
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4.1 Processing - Critical Workflow Patterns
INTRODUCTION
The diagrams on the following page illustrate some of
the most critical workflow issues and patterns of
Processing.




                                                        4.254
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                                                                 4. FUNCTIONAL REQUIREMENTS




                                4.1 Processing : Critical Workflow Patterns




1. “CRITICAL ADJACENCIES”
Processing is located within the primary secure
perimeter, adjacent to the vehicle sallyport, Health
Services, and administrative areas.




2. “INTAKE FLOW”
Processing activities are done sequentially to assure
that each activity is thoroughly performed.




3. “PHYSICAL SEPARATION”
Detainees who have not been processed should be
separated from those that have. Failure to do so
provides unprocessed detainees with the opportunity
to pass contraband.




4. “ORIENTATION”
Orientation is provided to inform detainees of their
rights and the institutional rules. Providing orientation
in the holding cells provides greater assurance that the
detainee will receive a proper orientation.




                                                      4.255
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   4.1 Processing - Room Data Sheet
     4.1.1   VEHICULAR SALLYPORT

   Function
   The Vehicular Sallyport is a secure trap for one or more
   busses or vans. All transportation of all detainees
   (inbound and outbound) takes place through the
   Vehicular Sallyport.




                                                                      Photograph




                                                                      Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet     Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                              4.256
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                                                                                                  4. FUNCTIONAL REQUIREMENTS


 4.1.1 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                     Hardware                      Glazing
• Reinforced concrete   • Sealed concrete         • Exterior grade     • Hollow metal            • Detention grade             • None
  block                                             GWB




Plumbing                HVAC                      Lighting             Power                     Security                      Communications
• Floor drain           • Typical w/exhaust       • Surface mount-     • 110V duplex outlets     • Electronic access control   • Intercom at passage door
                                                    ed Fluorescent       on 2 walls                on all doors and overhead
                                                                                                   doors or gates
                                                                                                 • Video surveillance




 4.1.1 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID          Item                                                     Vendor*             Style                 Model #                      Qty.
FURNITURE
        N/A




EQUIPMENT
        N/A




HARDWARE
       N/A




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                      4.257
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   4.1 Processing - Room Data Sheet
     4.1.2   PEDESTRIAN SALLYPORT &
             SEARCH ROOM

   Function
   This space serves a dual function - a pedestrian trap
   for temporarily confining detainees and as a secure
   place for pat-downs, search and physical inspection of
   detainees prior to moving them to a holding cell.
   Searches may take place on an individual basis or in
   small groups. The Pedestrian Sallyport and Search
   Room should be directly adjacent to the Vehicular
   Sallyport.



                                                                    Photograph




                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.258
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                                                                                                  4. FUNCTIONAL REQUIREMENTS


 4.1.2 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                     Hardware                      Glazing
• Reinforced concrete   • Sealed concrete         • Exterior grade     • Hollow metal            • Detention grade             • None
  block                                             GWB




Plumbing                HVAC                      Lighting             Power                     Security                      Communications
• Floor drain           • Typical w/exhaust       • Surface mount-     • None                    • Electronic access control   • Intercom at passage door
                                                    ed Fluorescent                                 on all doors and overhead
                                                                                                   doors or gates
                                                                                                 • Video surveillance




 4.1.2 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID          Item                                                     Vendor*             Style                 Model #                      Qty.
FURNITURE
        N/A




EQUIPMENT
        N/A




HARDWARE
       N/A




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                      4.259
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   4.1 Processing - Room Data Sheet
     4.1.3   PROCESSING COUNTER - MALE

   Function
   The Processing Counter-Male is the centerpiece to the
   Processing area. It is fixed and houses the
   identification and processing computers. All illegal
   immigrants are processed at this counter. It is a
   standing height counter made of very durable material.




                                                                    Photograph




                                                                                              Male




                                                                    Floor Plan
                                                                    Note: duplex power outlet, voice and data outlet under counter at each pro-
                                                                    cessing position.

                                                                    Provide grommets in worksurface for voice, data and power cables at all pro-
                                                                    cessing positions.




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet          Duplex Outlet            ISDN Outlet           Duress Alarm Outlet

                                                            4.260
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                                                                                                   4. FUNCTIONAL REQUIREMENTS


 4.1.3 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                     Hardware                    Glazing
• Reinforced masonry    • Sealed concrete         • GWB                 • N/A                     • N/A                        • N/A




Plumbing                HVAC                      Lighting              Power                     Security                    Communications
• N/A                   • Typical w/exhaust       • Recessed            • 2 110V duplex outlets   • N/A                        • Voice and data at each pro-
                                                    Fluorescent,          at each processing                                     cessing position
                                                    detention grade       position




 4.1.3 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                        Vendor*             Style               Model #                       Qty.
FURNITURE
        Desk Chair                                                                                                                          Varies
        Waste Receptacle                                                                                                                    Varies




EQUIPMENT




HARDWARE




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.261
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   4.1 Processing - Room Data Sheet
     4.1.4   PROCESSING COUNTER - FEMALE

   Function
   The Processing Counter-Female is the centerpiece to
   the Processing area. It is fixed and houses the
   identification and processing computers. All illegal
   immigrants are processed at this counter. It is a
   standing height counter made of very durable material.




                                                                    Photograph




                                                                                                                    Female




                                                                    Floor Plan

                                                                    Note: duplex power outlet, voice and data outlet under counter at each pro-
                                                                    cessing position.




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet          Duplex Outlet            ISDN Outlet           Duress Alarm Outlet

                                                            4.262
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                                                                                                   4. FUNCTIONAL REQUIREMENTS


 4.1.4 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                     Hardware                    Glazing
• Reinforced masonry    • Sealed concrete         • GWB                 • N/A                     • N/A                        • N/A




Plumbing                HVAC                      Lighting              Power                     Security                    Communications
• N/A                   • Typical w/exhaust       • Recessed            • 2 110V duplex outlets   • N/A                        • Voice and data at each pro-
                                                    Fluorescent,          at each processing                                     cessing position
                                                    detention grade       position




 4.1.4 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                        Vendor*             Style               Model #                       Qty.
FURNITURE




EQUIPMENT




HARDWARE




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.263
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   4.1 Processing - Room Data Sheet
     4.1.5   ICE TRANSPORTATION WORK
             AREA

   Function
   ICE Transportation work area is a space used by staff
   to arrange for the transportation of detainees. Work
   functions include, paperwork, computer use and
   telephone.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.264
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                                                                                                   4. FUNCTIONAL REQUIREMENTS


 4.1.5 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                     Hardware                    Glazing
• Reinforced masonry    • Sealed concrete         • GWB                 • N/A                     • N/A                        • N/A




Plumbing                HVAC                      Lighting              Power                     Security                    Communications
• N/A                   • Typical w/exhaust       • Recessed            • 110V duplex outlet on   • N/A                        • Voice and data on two walls
                                                    Fluorescent,          two walls
                                                    detention grade




 4.1.5 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                        Vendor*             Style               Model #                       Qty.
FURNITURE
        Desk                                                                                                                                1
        Desk Chair                                                                                                                          1
        Waste Receptacle                                                                                                                    1




EQUIPMENT




HARDWARE




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.265
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   4.1 Processing - Room Data Sheet
     4.1.6   ICE INTERVIEW ROOM

   Function
   The ICE Interview Room is an enclosed space where
   ICE Staff meet in a private setting with detainees on a
   one-to-one basis.




                                                                     Photograph




                                                                     Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                             4.266
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                                                                                                   4. FUNCTIONAL REQUIREMENTS


 4.1.6 SYSTEMS MATRIX

Walls                   Floors                    Ceiling               Doors                     Hardware                    Glazing
• Reinforced masonry    • Sealed concrete         • GWB                 • Hollow metal            • Standard, heavy-duty       • 3’x3’ bullet resistant




Plumbing                HVAC                      Lighting              Power                     Security                    Communications
• None                  • Typical w/exhaust       • Recessed            • 110V duplex outlet on   • Video surveillance         • Voice and data on one wall
                                                    Fluorescent,          two walls
                                                    detention grade




 4.1.6 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                        Vendor*             Style                  Model #                      Qty.
FURNITURE
        Guest Chair                                                                                                                           2
        36x60 Table                                                                                                                           1




EQUIPMENT




HARDWARE




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                       4.267
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   4.1 Processing - Room Data Sheet
     4.1.7   LARGE HOLDING - MALE

   Function
   Detainees being transferred to housing or being
   released from the CDF are held in a Holding Room.
   Holding Rooms are temporary, secure confinement
   areas where detainees are generally held for 10 hours
   or less. Detainees may also be held in these rooms
   prior to court hearings or medical appointments for
   groups of twelve or greater.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.268
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


 4.1.7 SYSTEMS MATRIX

Walls                   Floors                    Ceiling                Doors                     Hardware                      Glazing
• Reinforced concrete   • Sealed concrete         • Detention ceiling    • Hollow metal, deten-    • Detention grade             • Bullet resistant
  block                                                                    tion grade




Plumbing                HVAC                      Lighting               Power                     Security                      Communications
• Detention combo       • Typical w/exhaust       • Recessed             • None                    • Electronic access control   • None
  unit                                              Fluorescent,                                     on all doors and overhead
                                                    detention grade                                  doors or gates
                                                                                                   • Video surveillance




 4.1.7 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID         Item                                                       Vendor*              Style                 Model #                        Qty.
FURNITURE
        Stainless steel bench




EQUIPMENT
        Detention-Grade Toilet/Lavatory Combo Unit




HARDWARE
       N/A




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                        4.269
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   4.1 Processing - Room Data Sheet
     4.1.8   SMALL HOLDING - MALE

   Function
   Detainees being transferred to housing or being
   released from the CDF are held in a Holding Room.
   Holding Rooms are temporary, secure confinement
   areas where detainees are generally held for 10 hours
   or less. Detainees may also be held in these rooms
   prior to court hearings or medical appointments for
   groups of four to twelve or greater.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.270
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


 4.1.8 SYSTEMS MATRIX

Walls                   Floors                    Ceiling                Doors                     Hardware                      Glazing
• Reinforced concrete   • Sealed concrete         • Detention ceiling    • Hollow metal, deten-    • Detention grade             • Bullet resistant
  block                                                                    tion grade




Plumbing                HVAC                      Lighting               Power                     Security                      Communications
• Detention combo       • Typical w/exhaust       • Recessed             • None                    • Electronic access control   • None
  unit                                              Fluorescent,                                     on all doors and overhead
                                                    detention grade                                  doors or gates
                                                                                                   • Video surveillance




 4.1.8 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID         Item                                                       Vendor*              Style                 Model #                        Qty.
FURNITURE
        Stainless steel bench




EQUIPMENT
        Detention-Grade Toilet/Lavatory Combo Unit




HARDWARE
       N/A




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                        4.271
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   4.1 Processing - Room Data Sheet
     4.1.9   SEGREGATION HOLDING - MALE

   Function
   Detainees being transferred to housing or being
   released from the CDF are held in a Holding Room.
   Holding Rooms are temporary, secure confinement
   areas where detainees are generally held for 10 hours
   or less. Segregation Holding cells are single occupant
   rooms generally used for separating detainees for
   disciplinary or medical reasons.




                                                                    Photograph




                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.272
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                                                                                                      4. FUNCTIONAL REQUIREMENTS


 4.1.9 SYSTEMS MATRIX

Walls                   Floors                    Ceiling                Doors                       Hardware                      Glazing
• Reinforced concrete   • Sealed concrete         • Detention ceiling    • Hollow metal, deten-      • Detention grade             • None
  block                                                                    tion grade with vision
                                                                           panel



Plumbing                HVAC                      Lighting               Power                       Security                      Communications
• Detention combo       • Typical w/exhaust       • Recessed             • None                      • Electronic access control   • None
  unit                                              Fluorescent,                                       on all doors and overhead
                                                    detention grade                                    doors or gates
                                                                                                     • Video surveillance




 4.1.9 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID         Item                                                       Vendor*                Style                 Model #                   Qty.
FURNITURE
        Stainless steel bench




EQUIPMENT
        Detention-Grade Toilet/Lavatory Combo Unit




HARDWARE
       N/A




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                        4.273
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   4.1 Processing - Room Data Sheet
    4.1.10 LARGE HOLDING - FEMALE

   Function
   Detainees being transferred to housing or being
   released from the CDF are held in a Holding Room.
   Holding Rooms are temporary, secure confinement
   areas where detainees are generally held for 10 hours
   or less. Detainees may also be held in these rooms
   prior to court hearings or medical appointments for
   groups of twelve or greater.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.274
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


4.1.10 SYSTEMS MATRIX

Walls                   Floors                    Ceiling                Doors                     Hardware                      Glazing
• Reinforced concrete   • Sealed concrete         • Detention ceiling    • Hollow metal, deten-    • Detention grade             • Bullet resistant
  block                                                                    tion grade




Plumbing                HVAC                      Lighting               Power                     Security                      Communications
• Detention combo       • Typical w/exhaust       • Recessed             • None                    • Electronic access control   • None
  unit                                              Fluorescent,                                     on all doors and overhead
                                                    detention grade                                  doors or gates
                                                                                                   • Video surveillance




4.1.10 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID         Item                                                       Vendor*              Style                 Model #                        Qty.
FURNITURE
        Stainless steel bench




EQUIPMENT
        Detention-Grade Toilet/Lavatory Combo Unit




HARDWARE
       N/A




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                        4.275
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   4.1 Processing - Room Data Sheet
    4.1.11 SMALL HOLDING - FEMALE

   Function
   Detainees being transferred to housing or being
   released from the CDF are held in a Holding Room.
   Holding Rooms are temporary, secure confinement
   areas where detainees are generally held for 10 hours
   or less. Detainees may also be held in these rooms
   prior to court hearings or medical appointments for
   groups of four to twelve or greater.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.276
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                                                                                                    4. FUNCTIONAL REQUIREMENTS


4.1.11 SYSTEMS MATRIX

Walls                   Floors                    Ceiling                Doors                     Hardware                      Glazing
• Reinforced concrete   • Sealed concrete         • Detention ceiling    • Hollow metal, deten-    • Detention grade             • Bullet resistant
  block                                                                    tion grade




Plumbing                HVAC                      Lighting               Power                     Security                      Communications
• Detention combo       • Typical w/exhaust       • Recessed             • None                    • Electronic access control   • None
  unit                                              Fluorescent,                                     on all doors and overhead
                                                    detention grade                                  doors or gates
                                                                                                   • Video surveillance




4.1.11 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID         Item                                                       Vendor*              Style                 Model #                        Qty.
FURNITURE
        Stainless steel bench




EQUIPMENT
        Detention-Grade Toilet/Lavatory Combo Unit




HARDWARE
       N/A




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                        4.277
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   4.1 Processing - Room Data Sheet
    4.1.12 SEGREGATION HOLDING - FEMALE

   Function
   Detainees being transferred to housing or being
   released from the CDF are held in a Holding Room.
   Holding Rooms are temporary, secure confinement
   areas where detainees are generally held for 10 hours
   or less. Segregation Holding cells are single occupant
   rooms generally used for separating detainees for
   disciplinary or medical reasons.




                                                                    Photograph




                                                                    Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                            4.278
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                                                                                                      4. FUNCTIONAL REQUIREMENTS


4.1.12 SYSTEMS MATRIX

Walls                   Floors                    Ceiling                Doors                       Hardware                      Glazing
• Reinforced concrete   • Sealed concrete         • Detention ceiling    • Hollow metal, deten-      • Detention grade             • None
  block                                                                    tion grade with vision
                                                                           panel



Plumbing                HVAC                      Lighting               Power                       Security                      Communications
• Detention combo       • Typical w/exhaust       • Recessed             • None                      • Electronic access control   • None
  unit                                              Fluorescent,                                       on all doors and overhead
                                                    detention grade                                    doors or gates
                                                                                                     • Video surveillance




4.1.12 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID         Item                                                       Vendor*                Style                 Model #                   Qty.
FURNITURE
        Stainless steel bench




EQUIPMENT
        Detention-Grade Toilet/Lavatory Combo Unit




HARDWARE
       N/A




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                        4.279
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   4.1 Processing - Room Data Sheet
    4.1.13 SPECIAL CASE HOLDING - MALE

   Function
   The Special Case Holding room is used to detain and
   hold a single detainee that requires special care or
   protection. These spaces are sometimes referred to as
   rubber rooms or padded cells.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.280
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                                                                                                      4. FUNCTIONAL REQUIREMENTS


4.1.13 SYSTEMS MATRIX

Walls                   Floors                    Ceiling                Doors                       Hardware                      Glazing
• Pads                  • Padded                  • Detention ceiling    • Hollow metal, deten-      • Detention grade             • None
                                                                           tion grade with vision
                                                                           panel



Plumbing                HVAC                      Lighting               Power                       Security                      Communications
• Detention combo       • Typical w/exhaust       • Recessed             • None                      • Electronic access control   • None
  unit                                              Fluorescent,                                       on all doors and overhead
                                                    detention grade                                    doors or gates
                                                                                                     • Video surveillance




4.1.13 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                        Vendor*                Style                 Model #                   Qty.
FURNITURE
        N/A




EQUIPMENT
        Wall and floor pads




HARDWARE
       N/A




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                        4.281
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   4.1 Processing - Room Data Sheet
    4.1.14 SPECIAL CASE HOLDING - FEMALE

   Function
   The Special Case Holding room is used to detain and
   hold a single detainee that requires special care or
   protection. These spaces are sometimes referred to as
   rubber rooms or padded cells.




                                                                   Photograph




                                                                   Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet   Voice/Data Outlet      Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                           4.282
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                                                                                                      4. FUNCTIONAL REQUIREMENTS


4.1.14 SYSTEMS MATRIX

Walls                   Floors                    Ceiling                Doors                       Hardware                      Glazing
• Pads                  • Padded                  • Detention ceiling    • Hollow metal, deten-      • Detention grade             • None
                                                                           tion grade with vision
                                                                           panel



Plumbing                HVAC                      Lighting               Power                       Security                      Communications
• Detention combo       • Typical w/exhaust       • Recessed             • None                      • Electronic access control   • None
  unit                                              Fluorescent,                                       on all doors and overhead
                                                    detention grade                                    doors or gates
                                                                                                     • Video surveillance




4.1.14 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                        Vendor*                Style                 Model #                   Qty.
FURNITURE
        N/A




EQUIPMENT
        Wall and floor pads




HARDWARE
       N/A




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                        4.283
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   4.1 Processing - Room Data Sheet
    4.1.15 STAFF TOILET

   Function
   The Staff Toilet is a unisex, single use room located in
   the Processing area.




                                                                      Photograph




                                                                      Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet     Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                              4.284
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                                                                                                     4. FUNCTIONAL REQUIREMENTS


4.1.15 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                     Hardware                     Glazing
•                       •                         •                    •                         • See below                   • None




Plumbing                HVAC                      Lighting             Power                     Security                     Communications
•                       • Typical w/exhaust       • Recessed           •                         •                             •
                                                    Fluorescent




4.1.15 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*               Style                 Model #                      Qty.
FURNITURE




EQUIPMENT




HARDWARE




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.285
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                               4.286
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4.0 Service Zone    4.2 Health Service                     (H&HS Operated)


NOTE: See Health & Human Services Design Standards Publication




                                4.287
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                               4.288
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4.0 Service Zone    4.3 Laundry                        (Contractor Operated)




                                4.289
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4.3 Laundry
ORGANIZATIONAL REQUIREMENTS                                                                                                                                     FACILITY CHECK-IN

Detainees must have clothing, bedding and towels that
                                                                                                                                                                Gate House

                                                                                                                                                                                                      PROPERTY
are clean, serviceable and presentable to maintain a                                                        Staﬀ                                                Staﬀ
                                                                                                                                                                                                      LINE
                                                                                                                                                                                                      FENCE
                                                                                     1.Oﬃce                                     Public Parking
hygienic and clean living environment.
                                                                                                           Parking                                             Parking
                                                                                     Zone
                                                                                     Non-Secure Zone
                                                                                                                                                                                                      SECURITY
                                                                                                                                                                      1.2                             BUFFER
                                                                    JUDGES
                                                                                                           1.4
                                                                                                                                                                    Admin.


                                                                                           1
                                                                    PRIVATE
                                                                                                          OPLA                 Security Check Area

Contract laundry services should be investigated for all
                                                                                                                                                                      ICE
                                                                    ENTRANCE                                                          1.1
                                                                                                                              Public Entrance/                        1.3                             PERIMETER
                                                                                                           1.5                     Lobby
CDF facilities. The institution launders institutional                                                   Removal              Waiting/Support Area
                                                                                                                                                                    Admin.
                                                                                                                                                                      CDF
                                                                                                                                                                                                      PATROL
                                                                                                                                                                                                      ROAD

clothing and linen for the detainees. No dry cleaning                                2.Court                        2.1                                       Arm. L.D.                               INTAKE/



                                                                                                  2
                                                                                     Interface                                     P. 2.2 D.             1.6                                          SERVICE
services are provided to detainees or staff. Staff is not                            Zone
                                                                                     Interface Zone
                                                                                                          Admin.
                                                                                                                   EOIR
                                                                                                                       Courts      Visitation
                                                                                                                                        Holding
                                                                                                                                                         Staﬀ Services
                                                                                                                                                            & Training            Vehicle
                                                                                                                                                                                                      ROAD


provided with laundry service. Laundry items are                                                              3.1                     3.2                     4.1
                                                                                                                                                                                 Sallyport

                                                                                                           Detention                                                  Vehicle
exchanged according to the following schedule:                                                           Administration
                                                                                                                                    Security
                                                                                                                                   Command
                                                                                                                                                          Processing Sallyport                        PERIMETER
                                                                                                                                                                                                      SECURITY
                                                                                                                                                                                                      FENCE


                                                                                                                                                                               4



                                                                                       E




                                                                                                                                                                                          E
                                                                                                                                                         4.2




                                                                                       N




                                                                                                                                                                                          N
      • Institutional clothing is exchanged twice per                                                           3.2
                                                                                                              Housing
                                                                                                                                                   Health Services




                                                                                       O




                                                                                                                                                                                          O
                                                                                                             (w/dining)                                     4.3
        week.




                                                                                       Z




                                                                                                                                                                                          Z
                                                                                                                                                          Laundry
                                                                                                                                                                             4.Service
                                                                                                                                                                             Zone
      • Bed linen is exchanged once per week.
                                                                                                                                                           4.4


                                                                                             3
                                                                                                                                                        Food Prep.           Restricted Detainee




                                                                                       N




                                                                                                                                                                                          N
                                                                                                                                                                             Movement

      • Towels are exchanged twice per week.                                                             3.4            3.3 D.S.




                                                                                       O




                                                                                                                                                                                          O
                                                                                                         Rec.        3.5 Library                           5.2




                                                                                       I




                                                                                                                                                                                          I
                                                                                                                                                        Warehouse




                                                                                       S




                                                                                                                                                                                          S
                                                                                                                                                   5.1
                                                                                                                                                                 L.D.




                                                                                       N
Detainee laundry exchange occurs at the housing




                                                                                                                                                                                          N
                                                                                                                                                  C.S.


                                                                                                                                                                               5
                                                                                                                                                            5.3



                                                                                       A




                                                                                                                                                                                          A
                                                                                                                3.2
                                                                                                                                                        Maintenance
area. Soiled laundry is collected from the housing                                                            Housing


                                                                                       P




                                                                                                                                                                                          P
                                                                                                             (w/dining)

                                                                                       X




                                                                                                                                                                                          X
areas in carts and brought to a central area for                                       E




                                                                                                                                                                                          E
                                                                                                                                                             5.4
                                                                                                                                                        Utility Plant
laundering. Clean items are returned to the housing                                  3.Detainee Living Zone                                      5.Facility Support Zone
areas when the exchange stock is in need of
                                                                                    Secure Zone With Normal Detainee Movement                 Restricted Support Zone



replenishing. Separate personal laundry facilities may
be considered at the housing areas for female housing
                                                                                                                                        LEGEND

                                                                               = Main Gate Check Point             = Pedestrian Sallyport          P.    = Public             L.D. = Loading Dock


areas. It is desirable to let female detainees launder                         = Security Gate                     = External Secure Door         D.     = Detainee           C.S. = Common Support

                                                                               = Internal Secure Door              = Pedestrian Traﬃc             D.S. = Detainee Services


their own personal garments.
                                                                                 = Contractor Space Detailed

Soiled laundry must be processed separately from
clean laundry, requiring separate areas for each.
Laundry is processed by detainees and supervised by
security staff. Soiled laundry is brought into one area
for sorting and staging, transferred to the washers and
dryers, then moved to the clean laundry area to be
sorted, mended, and folded. The transportation carts
must be cleaned and sorted for return routing.

Mattresses are sanitized in place on the beds. Spare
mattresses should be stored at the warehouse.
Detainees leave mattresses in housing at the end of
their stay.


OPERATIONAL REQUIREMENTS
The central laundry should be located within the
primary secure perimeter in an area restricted from
general detainee access. It should be adjacent to the
warehouse/receiving dock.




                                                            4.290
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                                                                              4. FUNCTIONAL REQUIREMENTS




                                            Functional Requirements

 ID#             Space Name                                               Performance Criteria
4.3.1    Soiled Staging
4.3.2    Sorting
4.3.3    Laundry Equipment                         Sized for additional capacity to handle crowded conditions & expansion
4.3.4    Chemical Storage Room                     Secured room with a lockable door
4.3.5    Folding
4.3.6    Exchange Cart Make-Up
4.3.7    Cart Storage
4.3.8    Clean Storage Area                        Storage area for a 1-week supply of clean laundry is required in housing
4.3.9    Mending
4.3.10   Detainee Toilet
4.3.11   Laundry Issue
4.3.12   Service Supervisor
4.3.13   Officer Toilet
4.3.14   Janitor Closet
4.3.15   Long-Term Linen Storage
4.3.16   Receiving Dock
4.3.17   Medium Vehicle Bay
4.3.18   Large Vehicle Bay




                                        Special/Technical Requirements
   Laundry storage: 2 sf per detainee
   Personal laundry: 50 sf per machine
   A floor drain must be located in the laundry area
   Exhaust air from the laundry should be discharged directly out of the building and should not be routed to the return air
    system.
   For areas with hard water, water conditioning is recommended to extend equipment life
   Water and energy-saving equipment are advised
   Laundry equipment should be sized to handle up to seven (7) lbs. of laundry per detainee per exchange




                                                       4.291
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                               4.292
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4.0 Service Zone    4.4 Food Preparation               (Contractor Operated)




                                4.293
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4.4 Food Preparation
ORGANIZATIONAL REQUIREMENTS                                                                                                                                      FACILITY CHECK-IN

The CDF must provide each detainee with three
                                                                                                                                                                 Gate House

                                                                                                                                                                                                       PROPERTY
nutritious meals per day, of which at least two must be                                                      Staﬀ                                                Staﬀ
                                                                                                                                                                                                       LINE
                                                                                                                                                                                                       FENCE
                                                                                      1.Oﬃce                                     Public Parking
hot. The meals must be palatable and served at
                                                                                                            Parking                                             Parking
                                                                                      Zone
                                                                                      Non-Secure Zone
                                                                                                                                                                                                       SECURITY

reasonable times.                                                    JUDGES
                                                                                                            1.4                                                        1.2
                                                                                                                                                                     Admin.
                                                                                                                                                                                                       BUFFER




                                                                                            1
                                                                     PRIVATE
                                                                                                           OPLA                 Security Check Area
                                                                                                                                                                       ICE
                                                                     ENTRANCE                                                          1.1
                                                                                                                               Public Entrance/                        1.3                             PERIMETER
                                                                                                            1.5                     Lobby
Food service can be provided to the detainees in one                                                      Removal              Waiting/Support Area
                                                                                                                                                                     Admin.
                                                                                                                                                                       CDF
                                                                                                                                                                                                       PATROL
                                                                                                                                                                                                       ROAD

of three (3) ways depending on the facility setting, size,                            2.Court                        2.1                                       Arm. L.D.                               INTAKE/



                                                                                                   2
                                                                                      Interface                                     P. 2.2 D.             1.6                                          SERVICE
and security risk:                                                                    Zone
                                                                                      Interface Zone
                                                                                                           Admin.
                                                                                                                    EOIR
                                                                                                                        Courts      Visitation
                                                                                                                                         Holding
                                                                                                                                                          Staﬀ Services
                                                                                                                                                             & Training            Vehicle
                                                                                                                                                                                                       ROAD

                                                                                                                                                                                  Sallyport
                                                                                                               3.1                     3.2
                                                                                                            Detention                                          4.1     Vehicle
      • At a centralized dining location, with detainees                                                  Administration
                                                                                                                                     Security
                                                                                                                                    Command
                                                                                                                                                           Processing Sallyport                        PERIMETER
                                                                                                                                                                                                       SECURITY

        moving from their housing area to the dining                                                                                                                                                   FENCE


                                                                                                                                                                                4



                                                                                        E




                                                                                                                                                                                           E
                                                                                                                                                          4.2




                                                                                        N




                                                                                                                                                                                           N
        hall for every meal;                                                                                     3.2
                                                                                                               Housing
                                                                                                                                                    Health Services




                                                                                        O




                                                                                                                                                                                           O
                                                                                                              (w/dining)                                     4.3




                                                                                        Z




                                                                                                                                                                                           Z
                                                                                                                                                           Laundry
                                                                                                                                                                              4.Service
                                                                                                                                                                              Zone
      • At the detainees' housing area, with food deliv-
                                                                                                                                                            4.4


                                                                                              3
                                                                                                                                                         Food Prep.           Restricted Detainee




                                                                                        N




                                                                                                                                                                                           N
                                                                                                                                                                              Movement

        ered in carts or in bulk and served in the                                                        3.4            3.3 D.S.




                                                                                        O




                                                                                                                                                                                           O
                                                                                                          Rec.        3.5 Library                           5.2




                                                                                        I
        dayroom; or




                                                                                                                                                                                           I
                                                                                                                                                         Warehouse




                                                                                        S




                                                                                                                                                                                           S
                                                                                                                                                    5.1
                                                                                                                                                                  L.D.




                                                                                        N




                                                                                                                                                                                           N
                                                                                                                                                   C.S.


                                                                                                                                                                                5
                                                                                                                                                             5.3



                                                                                        A




                                                                                                                                                                                           A
                                                                                                                 3.2
                                                                                                                                                         Maintenance
      • In the cell, with food pre-trayed either at the                                                        Housing


                                                                                        P




                                                                                                                                                                                           P
                                                                                                              (w/dining)

                                                                                        X




                                                                                                                                                                                           X
        kitchen or at a sub-kitchen at the housing                                      E




                                                                                                                                                                                           E
                                                                                                                                                              5.4
                                                                                                                                                         Utility Plant
        area.                                                                         3.Detainee Living Zone                                      5.Facility Support Zone
                                                                                     Secure Zone With Normal Detainee Movement                 Restricted Support Zone



OPERATIONAL REQUIREMENTS
Food service is located within the primary secure
                                                                                                                                         LEGEND

                                                                                = Main Gate Check Point             = Pedestrian Sallyport          P.    = Public             L.D. = Loading Dock


perimeter. The food preparation area must be in the                             = Security Gate                     = External Secure Door         D.     = Detainee           C.S. = Common Support

                                                                                = Internal Secure Door              = Pedestrian Traﬃc             D.S. = Detainee Services


secure zone, restricted from general detainee access.
                                                                                  = Contractor Space Detailed
It should be located adjacent to the warehouse/receiv-
ing dock to receive food supplies. The unloading dock
for the kitchen should be within the secure perimeter
and separate from other docks. An inspection area
should be included on the dock.

The food storage area must be secure to prevent theft
of food products. A glass-enclosed knife workroom with
a secure perimeter is required in the kitchen area for
detainees using cutting utensils. All knives and sharp
utensils must be kept in a locked cabinet. A shadow
board is recommended to allow for visual accounting of
missing utensils. Separate enclosed rooms are
required in the food services area for meat cutting and
vegetable preparation.

Separate dining facilities are provided for the staff. The
area should be located within the primary secure
perimeter adjacent to the food preparation area for
ease of service.




                                                             4.294
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                                                                            4. FUNCTIONAL REQUIREMENTS




                                              Functional Requirements

 ID#              Space Name                                            Performance Criteria
Food Service
4.4.1   Preparation Area
4.4.2   Cutting Room
4.4.3   Bake Shop
4.4.4   Grill/Kettles/Steamer Area
4.4.5   Beverage Line
4.4.6   Tray Set-Up
4.4.7   Food Cart Staging
4.4.8   Dishwashing Area
4.4.9   Pot/Pan Sanitation
4.4.10  Cart and Barrel Wash
4.4.11  Soiled Return
4.4.12  Trash Disposal Area
4.4.13  Detainee Toilet
4.4.14  Secure Storage
4.4.15  Janitor Closet
4.4.16  Service Supervisor
4.4.17  Clerk
4.4.18  Lockers
4.4.19  Staff Toilet
4.4.20  Break Room
4.4.21  Toxic Storage
4.4.22  Short Term Dry Goods
4.4.23  Walk-In Refrigerator
4.4.24  Walk-In Freezer
4.4.25  Long-Term Dry Goods
4.4.26  Receiving Dock
4.4.27  Medium Vehicle Bay
4.4.28  Large Vehicle Bay




                                          Special/Technical Requirements
 Food service facilities/equipment should meet minimum standards and requirements set by qualified professional and/or
    government bodies.
 For areas with hard water, water conditioners are recommended.
 Food storage should be provided for a 4-day or longer supply of perishables.
 Food services should keep a 30-day carryover of water and food for catastrophic emergencies and a minimum supply of one
    gallon of drinking water per person per day.




                                                     4.295
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                               4.296
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             5.0 Facility Support Zone



                 5.1   Common Support (ICE Responsibility)
                 5.2   Warehouse/Supply (Contractor Responsibility)
                 5.3   Maintenance/Fleet Operations (Contractor Responsibility)
                 5.4   Central Utility Plant (Contractor Responsibility)




                                  4.297
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5.0 Facility Support Zone
The Facility Support Zone provides support to the facil-
ity, though not directly to the detainees, and generally
are not accessed or occupied by detainees. It is a zone
that is a restricted area limited to staff and service ven-
dors who provide vital services to maintain functions of
the facility.

This document covers the ICE Common Support areas
within Component 5.1 Common Support. The other
components within this zone are typically defined and
controlled by the Contract Detention Service Provider
and are not covered in this document.

The diagram on the following page illustrates the
Facility Support Zone components and the critical
adjacency requirements needed for a productive work
environment.

The following information has been provided for each
of the components:

Function
Describes the overall purpose of the component within
the CDF.

Critical Workflow Patterns
Identifies the most critical workflow patterns necessary
for efficient staff productivity.

Room Data Sheets
Provides detailed information on all spaces within the
components (i.e., function statements, photograph,
floor plan, systems, furniture, and equipment)

The components within the Facility Support Zone are
listed below:

        5.1 Common Support (ICE Operated)
        5.2 Warehouse/Supply (Contractor Operated)
        5.3 Maintenance/Fleet Operations (Contractor
            Operated)
        5.4 Central Utility Plan (Contractor Operated)




                                                              4.298
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                                                                                                    4. FUNCTIONAL REQUIREMENTS




                 5.0 Facility Support Zone : Organizational Diagram

                                                                                             FACILITY CHECK-IN
                                                                                             Gate House

                                                                                                                                   PROPERTY
                                                                                                                                   LINE
                                        Staﬀ                                                 Staﬀ                                  FENCE
                 1.Oﬃce                Parking              Public Parking                  Parking
                 Zone
                 Non-Secure Z
                            Zone
                                                                                                                                   SECURITY
                                                                                                   1.2                             BUFFER
JUDGES
                                       1.4
                                                                                                 Admin.


                       1
PRIVATE
                                      OPLA                 Security Check Area
                                                                                                   ICE
ENTRANCE                                                          1.1
                                                          Public Entrance/                         1.3                             PERIMETER
                                       1.5                     Lobby                             Admin.                            PATROL
                                     Removal              Waiting/Support Area
                                                                                                                                   ROAD
                                                                                                   CDF


                 2.Court                        2.1
                                                2                                          Arm. L.D.                               INTAKE/



                              2
                 Interface                                      P. 2.2
                                                                    . D.              1.6                                          SERVICE
                                               EOIR
                                                O
                                                               Visitation
                                                                    a                                                              ROAD
                 Zone                 Admin.       Courts                             Staﬀ Services
                 Interface Zo
                           Zone                                      Holding             & Trainingg           Vehicle
                                                                                                               Veh  iclle
                                                                                                              Sallyport
                                                                                                              S
                                                                                                              Saally
                                                                                                                a ypo ortt
                                                                                                                      o
                                          3.1                     3.2
                                                                  32
                                       Detention                                           4.1     Vehicle
                                                                                                   Vehicl
                                                                                                   V e
                                                                                                     ehiccle
                                                                                                           e
                                                                Security
                                                                Sec
                                                                  curity               Processing Sally
                                     Administration            Command
                                                               Commmmand
                                                                    m   d                         Sallyport
                                                                                                  S al por
                                                                                                    allypoort
                                                                                                           rt                      PERIMETER
                                                                                                                                   SECURITY
                                                                                                                                   FENCE


                                                                                                            4
                   E




                                                                                                                       E
                                                                                      4.2
                   N




                                                                                                                       N
                                            3.2                                 Health Services
                                          Housing
                   O




                                         (w/dining)                                      4.3                           O
                   Z




                                                                                                                       Z
                                                                                       Laundry
                                                                                                          4.Servic
                                                                                                          4.Service
                                                                                                               v e
                                                                                        4.4               Zone


                         3
                                                                                     Food Prep.           Restricted Detainee
                                                                                                                     D ain
                   N




                                                                                                                       N




                                                                                                          Movementt
                                     3.4            3.3 D.S.
                   O




                                                                                                                       O




                                     Rec.        3.5 Library                            5.2
                   I




                                                                                                                       I




                                                                                     Warehouse
                   S




                                                                                                                       S




                                                                                5.1
                                                                                              L.D.
                   N




                                                                                                                       N




                                                                               C.S.


                                                                                                            5
                                                                                         5.3
                   A




                                                                                                                       A




                                            3.2
                                          Housing                                    Maintenance
                   P




                                                                                                                       P




                                         (w/dining)
                   X




                                                                                                                       X
                   E




                                                                                                                       E




                                                                                          5.4
                                                                                     Utility Plant

                 3.Detainee Living Zone                                      5.Facility Support Zone
                Secure Zone With Normal Detainee Movement                  Restricted Support Zone




                                                                    LEGEND

           = Main Gate Check Point             = Pedestrian Sallyport           P.    = Public             L.D. = Loading Dock

           = Security Gate                     = External Secure Door          D.     = Detainee           C.S. = Common Support

           = Internal Secure Door              = Pedestrian Traﬃc              D.S. = Detainee Services




                                                           4.299
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5.0 Facility Support Zone - Space Requirements
SPACE FORECAST MATRIX                                                                 Space Phasing Formulas
The Space Requirements Summary Matrix on the
following page, identifies the spaces needed for each                 5.1 Common Support
                                                                          • None
of the functional units within the Facility Support Zone.
The matrix listed below is also designed to forecast
these needs for the planning scenarios.
                                                                      5.2 Warehouse//Supply
    1.    <200 beds
                                                                          Contractor Operated.
    2.     200 - 450 beds
    3.     450 - 900 beds
    4.     900 - 1,200 beds
    5.   1,200 - 1,500 beds                                           5.3 Maintenance/Fleet Operations
    6.   1,500 - 1,800 beds
    7.   1,800 - 2,000 beds                                               Contractor Operated.
    8.   2,000 - 3,000 beds

The bed ranges were determined to best represent the                  5.4 Central Utility Plant
capacity range for existing and planned detainee
populations.                                                              Contractor Operated.


For each planning scenario, the following information
is provided:

    - # of Users is the number of persons (staff or
      detainees) in a given space.

    - # of Spaces is the quantity of a given space.

    - Space Size NSF is the net square feet or size of a
      given space.

    - Total Size NSF is the number of spaces or quantity of
      a space times the NSF or size.

The sidebar to the right highlights some of the Space
Planning Formulas that are used for calculating areas.

SPACE CALCULATIONS/DEFINITIONS
The total Net Square Footage is the sum of all net
areas of the spaces listed. This number is multiplied by
a Net-Gross Factor (an industry factor based on space
type) to determine Gross Square Footage (GSF). This
factor is intended to account for space such as
circulation space, mechanical space, wall thicknesses,
etc., that are not programmed space.

    - Net Square Footage (NSF)
      Total clear floor area within a given room, excluding
      walls, corridors, mechanical equipment rooms, shafts,
      stairs, and chases.

    - Gross Square Footage (GSF)
      Total building area measured from outside face of
      exterior walls.


                                                              4.300
                                                                                                                               Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 1213 of 1402
                                                                                                                                                                                                                                                                                                                                                                                                                                     4. FUNCTIONAL REQUIREMENTS

Immigration and Customs Enforcement                                                                                                                                                                                 Facility Support Zone
Design Standards                                                                                                                                                                                                                       5.0


5.0 Facility Support Zone - Space Requirements Summary
CONTRACT DETENTION FACILITIES
Washington DC


                                                               200                                           4550                                          900                                           1200                                             15500                                         1800                                          2000                                          3000
        5.0
          0 FACILITY
                   Y SUPPORT
                           T ZONE           ICE
                                              E CDF                       < 200
                                                                              0 BEDS                                  200-450
                                                                                                                            0 BEDS                                  450-900
                                                                                                                                                                          0 BEDS                                  900-1200
                                                                                                                                                                                                                         0 BEDS                                   1200-1500
                                                                                                                                                                                                                                                                          0 BEDS                                1500-1800
                                                                                                                                                                                                                                                                                                                        0 BEDS                                1800-2000
                                                                                                                                                                                                                                                                                                                                                                      0 BEDS                                   3000
                                                                                                                                                                                                                                                                                                                                                                                                                  0 BEDS                         Comments
                                           STANDARD
                                                                # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size      Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total         # of     # of      Space Size   Total
 ID# SPACE
         E NAME                         NSF Unit of Measure    Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF           NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF          Users    Spaces       NSF        NSF

5.1     Commonn Support
5.1.1   ICE Common Use Mailroom         300 sf                            1          300          300                   1          300          300                   1          300          300                   1          300             300                   1          300          300                   1          300          300                   1          300          300                   1          300          300
5.1.2   ICE LAN/Phone MDF Room          200 sf                            1          200            0                   1          200            0                   1          200            0                   1          200               0                   1          200            0                   1          250            0                   1          250            0                   1          250            0
5.1.3   ICE LAN/Phone IDF Room          150 sf                            1          150            0                   1          150            0                   1          150            0                   2          150               0                   2          150            0                   2          150            0                   3          150            0                   4          150            0
                                                                                                   300                                           300                                           300                                              300                                           300                                           300                                           300                                           300
                                                              Net-Gross Factor        1.30         90       Net-Gross Factor        1.30         90       Net-Gross Factor        1.30         90       Net-Gross Factor        1.30            90       Net-Gross Factor        1.30         90       Net-Gross Factor        1.30         90       Net-Gross Factor        1.30          90      Net-Gross Factor        1.30          90
                                                              Grosss Square
                                                                          e Feet                  390       Grosss Square
                                                                                                                        e Feet                  390       Grosss Square
                                                                                                                                                                      e Feet                  390       Grosss Square
                                                                                                                                                                                                                    e Feet                     390       Grosss Square
                                                                                                                                                                                                                                                                     e Feet                  390       Grosss Square
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                                                                                                                                                                                                                                                                                                                                                                 e Feet                   390      Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                               e Feet                   390
5.2     Warehouse/Supply
        Contractor Space
                                                                                                        0                                             0                                             0                                                0                                             0                                             0                                             0                                             0
                                                              Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33                 0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0
                                                              Grosss Square
                                                                          e Feet                        0   Grosss Square
                                                                                                                        e Feet                        0   Grosss Square
                                                                                                                                                                      e Feet                        0   Grosss Square
                                                                                                                                                                                                                    e Feet                           0   Grosss Square
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                                                                                                                                                                                                                                                                                                                   e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                 e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                               e Feet                        0
5.3     Maintenance/Fleett Operations
        Contractor Space
                                                                                                        0                                             0                                             0                                                0                                             0                                             0                                             0                                             0
                                                              Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33                 0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0
                                                              Grosss Square
                                                                          e Feet                        0   Grosss Square
                                                                                                                        e Feet                        0   Grosss Square
                                                                                                                                                                      e Feet                        0   Grosss Square
                                                                                                                                                                                                                    e Feet                           0   Grosss Square
                                                                                                                                                                                                                                                                     e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                   e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                 e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                               e Feet                        0
5.4     Centrall Utilityy Plant
        Contractor Space
                                                                                                        0                                             0                                             0                                                0                                             0                                             0                                             0                                             0
                                                              Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33                 0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0   Net-Gross Factor        1.33              0
                                                              Grosss Square
                                                                          e Feet                        0   Grosss Square
                                                                                                                        e Feet                        0   Grosss Square
                                                                                                                                                                      e Feet                        0   Grosss Square
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                                                                                                                                                                                                                                                                     e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                   e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                 e Feet                        0   Grosss Square
                                                                                                                                                                                                                                                                                                                                                                                                               e Feet                        0




                                                                                                                                                                                                                                                                                                                                                                                                                                                       4.300.A
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5.0 Facility Support Zone   5.1 Common Support                    (ICE Operated)


                               Space Requirements
                               5.1.1   ICE Common Use Mailroom
                               5.1.2   ICE MDF Room
                               5.1.3   ICE IDF Room




                                       4.301
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           DHS - Immigration and Customs Enforcement
           ICE Design Standards



5.1 Common Support - Function
FUNCTION STATEMENT                                                                     Design Criteria
The primary function of Common Support is to provide
the overall facility with the space and amenities                Critical Issues
necessary to operate the facility and serve the
administrative and detention operations. Support                 9     Central location
spaces are strategically located to minimize the space           9     Involvement and guidance from the ICE IT staff
requirements and maximize the efficiency of staff and
infrastructure systems.


                                                                 Special Requirements

                                                                 9     ICE Cabling Standards




                                                                 Space Requirements

                                                                 5.1       COMMON SUPPORT

                                                                 5.1.1     ICE Common Use Mailroom
                                                                 5.1.2     ICE MDF Room
                                                                 5.1.3     ICE IDF Room




                                                         4.302
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                                              4. FUNCTIONAL REQUIREMENTS




              5.1 Common Support : Organizational Diagram




                                  N/A




                                                                                                                                    FACILITY CHECK-IN
                                                                                                                                    Gate House

                                                                                                                                                                     PROPERTY
                                                                                                                                                                     LINE
                                                                                        Staﬀ                                       Staﬀ                              FENCE
                                                                   1.Oﬃce              Parking            Public Parking          Parking
                                                                   Zone
                                                                   Non-Secure Zone
                                                                              Z
                                                                                                                                                                     SECURITY
                                                                                                                                       1.2                           BUFFER
                                                       JUDGES
                                                                                       1.4
                                                                                                                                     Admin.


                                                                        1
                                                       PRIVATE
                                                                                      OPLA            Security Check Area
                                                                                                                                       ICE
                                                       ENTRANCE                                               1.1
                                                                                                      Public Entrance/                 1.3                           PERIMETE
                                                                                       1.5                 Lobby                     Admin.                          PATROL
                                                                                     Removal          Waiting/Support Area
                                                                                                                                                                     ROAD
                                                                                                                                      CDF


                                                                   2.Court                      2.1
                                                                                                2                                  Arm. L.D.                         INTAKE/



                                                                              2
                                                                   Interface                                P. 2.2
                                                                                                                 . D.       1.6                                      SERVICE
                                                                                               EOIR
                                                                                                O
                                                                                                            Visitation
                                                                                                                 a                                                   ROAD
                                                                   Zone               Admin.     Courts                     Staﬀ Services
                                                                   Interface Zone
                                                                             Zo                                Holding         & Trainingg          Vehicle
                                                                                                                                                    Veh   iclle
                                                                                                                                                   Sallyport
                                                                                                                                                   Saallyypo
                                                                                                                                                   Sa       ortt
                                                                                                                                                            o
                                                                                          3.1                  3.2
                                                                                                               32
                                                                                       Detention                                    4.1     Vehicle
                                                                                                                                            Vehicl
                                                                                                                                            Vehic
                                                                                                                                             e clee
                                                                                                            Security
                                                                                                            Seccurity           Processing Sallyport
                                                                                     Administration        Command
                                                                                                           Commmmand
                                                                                                                m    d                     Sallypo
                                                                                                                                           Sally
                                                                                                                                            al por
                                                                                                                                                 ort
                                                                                                                                                   rt                PERIMETE
                                                                                                                                                                     SECURITY
                                                                                                                                                                     FENCE


                                                                                                                                                 4
                                                                    E




                                                                                                                                                             E




                                                                                                                               4.2
                                                                    N




                                                                                                                                                             N




                                                                                            3.2                          Health Services
                                                                                          Housing
                                                                    O




                                                                                                                                                             O




                                                                                         (w/dining)                               4.3
                                                                    Z




                                                                                                                                                             Z




                                                                                                                                Laundry
                                                                                                                                               4.Service
                                                                                                                                               4.Servic
                                                                                                                                                    v e
                                                                                                                               4.4             Zone


                                                                          3
                                                                                                                            Food Prep.         Restricted D
                                                                                                                                                          Detainee
                                                                                                                                                             ain
                                                                    N




                                                                                                                                                             N




                                                                                                                                               Movementt
                                                                                     3.4         3.3 D.S.
                                                                    O




                                                                                                                                                             O




                                                                                     Rec.       3.5 Library                   5.2
                                                                    I




                                                                                                                                                             I




                                                                                                                           Warehouse
                                                                    S




                                                                                                                                                             S




                                                                                                                          5.1
                                                                                                                                    L.D.
                                                                    N




                                                                                                                                                             N




                                                                                                                         C.S.


                                                                                                                                                 5
                                                                                                                               5.3
                                                                    A




                                                                                                                                                             A




                                                                                            3.2
                                                                                          Housing                          Maintenance
                                                                    P




                                                                                                                                                             P




                                                                                         (w/dining)
                                                                    X




                                                                                                                                                             X
                                                                    E




                                                                                                                                                             E




                                                                                                                                5.4
                                                                                                                           Utility Plant

                                                                   3.Detainee Living Zone                              5.Facility Support Zone
                                                                   Secure Zone With Normal Detainee Movement         Restricted Support Zone




                                                                                                              LEGEND



                                                                  Facility Support Zone Diagram




                               4.303
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   5.1 Common Support - Room Data Sheet
     5.1.1   ICE COMMON USE MAILROOM

   Function
   The ICE Common Use Mailroom serves all ICE staff
   and agents. All mail is sent, received, and distributed
   from this room

   The ICE Common Use Mailroom shall be centrally
   located and adjacent/close to the ICE Administration.




                                                                     Photograph




                                                                     Floor Plan




SYMBOL LEGEND:        Voice Outlet   Data Outlet    Voice/Data Outlet       Duplex Outlet   ISDN Outlet   Duress Alarm Outlet

                                                             4.304
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                                                                                                  4. FUNCTIONAL REQUIREMENTS


 5.1.1 SYSTEMS MATRIX

Walls                   Floors                    Ceiling              Doors                     Hardware                     Glazing
• Paint                 • VCT                     • Suspended          • Hollow metal            • See below                   • None
                                                    acoustical




Plumbing                HVAC                      Lighting             Power                     Security                     Communications
• None                  • Typical w/exhaust       • Recessed           • 110V duplex outlet on   • None                        • Voice and data on 2 walls
                                                    Fluorescent          ea. wall, plus as
                                                                         needed for equip-
                                                                         ment




 5.1.1 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID        Item                                                     Vendor*               Style                 Model #                      Qty.
FURNITURE
        Mailslots                                                                                                                           Varies




EQUIPMENT
        N/A




HARDWARE
       Lockset




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                     4.305
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   5.1 Common Support - Room Data Sheet
     5.1.2     ICE LAN/PHONE MDF ROOM
   Function
   The ICE Main Distribution Frame Room co-locates ICE
   LAN and phone services to the facility. This room will
   house one LAN server for ICE and OPLA and a second
   server for Public Health Services. These facilities
   (CDF’s) must be designated as multi-tenant facilities
   when planning and designing this space. Contractor
   LAN/phone requirements must not be accommodated
   in this room. If contractor requires LAN/phone space, it
   must be in a separate room.

   The LAN/Phone MDF room shall be centrally located
   within the ICE Administration area. The LAN/Phone                          Photograph
   MDF room shall not be horizontally or vertically
   adjacent to building mechanical rooms, electrical
   rooms or toilet/shower areas. Fire suppression
   systems serving this space shall be separately zoned,
   pre-action systems and shall have audible and visual
   alarms for smoke and heat.

   Specific Electrical Requirements
   Five isolated, dedicated 120 volt, 20 Amp circuits with NEMA
   5-20 quad receptacles shall be installed; two in the vicinity of
   the data rack and two in the vicinity of the telephone switch.
   If the compound has a generator, these four outlets should be
   connected to the generator. Each wall should have a
   standard duplex receptacle outlet. The duplex receptacle
   outlets are not required to be isolated, dedicated, or                     Floor Plan
   connected to a generator. One 120 volt, 20 Amp circuit with                Increase width of room to 15’ for facilities of 1,500 detainees or more.
   NEMA L5-20 locking receptacle is required in the vicinity of
   the server cabinet.
                                                                              9 All receptacles shall be isolated ground and shall be on the
   Certified electrical ground and bus required in each closet                  emergency generator
   and connected to a dedicated building ground that is                       9 3-sided cable tray required; provide for 50% access capac-
   compliant with; the ANSI/TIA/EIA 607, the Motorola R56                       ity or space for stacked tray for future growth. All V/D cable
   Standards and Guidelines, and the Nortel Meridian 1 PBX                      tray must cross electrical at 90º or be at least 12” away
   Option 11C Environmental and Power Requirements                            9 UPS for data provided by ICE within equipment
   document. If any of these documents are in conflict, then, as              9 UPS for voice - 100% for two hours
   a general principle, the more stringent requirement shall                  9 Every voice/data outlet shall have four cables (4 four pair
   apply. This ground is for communications equipment only.                     cables)
                                                                              9 Every office shall have two voice/data outlets; every cubi-
   ICE IT Specific Performance Requirements                                     cle shall have one voice/data outlet
   9 Must have capability to monitor detainee phone calls                     9 Every voice/data outlet requires an adjacent power outlet
   9 All station cable (data & voice) shall be 4 pair (see cable              9 All conduit shall include an additional pull string
     standard)                                                                9 Home run conduit not preferred unless code required
   9 Facility shall be designated as a multi-tenant facility when             9 Outlet face plates for ICE shall be different color than those
     permit is sought                                                           of the facility operator
   9 Below slab conduit between MDF & EIOR as well as MDF                     9 Cable runs & routing shall consider safety & security
     & IDF’s                                                                  9 V/D required at ICE VTC locations
   9 (2) 4” conduits + pull strings from pedestal to each EOIR,               9 Furniture (desks, credenzas) must have access to wall
     PHS & ICE MDS (demarcation points)                                         outlets through privacy screen

SYMBOL LEGEND:          Voice Outlet      Data Outlet       Voice/Data Outlet          Duplex Outlet          ISDN Outlet          Duress Alarm Outlet

                                                                      4.306
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                                                                                                   4. FUNCTIONAL REQUIREMENTS


 5.1.2 SYSTEMS MATRIX

Walls                     Floors                  Ceiling              Doors                      Hardware                      Glazing
• Full height GWB         • Anti-static VCT       • ACT-8’ high        • Hollow metal - out-      • See below                   • None
  w/wire mesh                                       min., security       ward swinging            • Keyed on ICE keying sys-
• 3/4” treated, fire                                clipped                                         tem
  retardant plywood on                                                                            • Sippher locks not allowed
  all walls from 18” to
  8’ high, painted w/
  fire retardant paint

Plumbing                  HVAC                    Lighting             Power                      Security                      Communications
• None                    • Stand alone system    • Recessed           • 110V duplex outlet on    • See below                   • None
• Overhead piping not     • Maintain 64ºF-75ºF      Fluorescent          ea. wall, plus as
  allowed                 • Maintain 30-55% RH                           needed for equip-
                          • 24/7 Operation                               ment

 5.1.2 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID         Item                                                      Vendor*              Style                 Model #                     Qty.
FURNITURE
        Computer Table                                                                                                                      1
        Desk Chair                                                                                                                          1
        Bookshelf                                                                                                                           1
        Waste Receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       Access Control




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                      4.307
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                 ICE Design Standards



   5.1 Common Support - Room Data Sheet
     5.1.3     ICE LAN/PHONE IDF ROOM

   Function
   The Intermediate Distribution Frame Room co-locates
   LAN and phone. ICE IDF Rooms are required if the
   data station cable exceeds 250 feet from MDF outlet to
   IDF outlet.

   The ICE IDF Room shall be centrally located and not
   horizontally or vertically adjacent to building
   mechanical rooms, electrical rooms or toilet/shower
   areas.

   Fire suppression systems serving this space shall be
   separately zoned, pre-action systems and shall have
   audible and visual alarms for smoke and heat.                              Photograph

   Specific Electrical Requirements
   Five isolated, dedicated 120 volt, 20 Amp circuits with NEMA
   5-20 quad receptacles shall be installed; two in the vicinity of
   the data rack and two in the vicinity of the telephone switch.
   If the compound has a generator, these four outlets should be
   connected to the generator. Each wall should have a
   standard duplex receptacle outlet. The duplex receptacle
   outlets are not required to be isolated, dedicated, or
   connected to a generator. One 120 volt, 20 Amp circuit with
   NEMA L5-20 locking receptacle is required in the vicinity of
   the server cabinet.

   Certified electrical ground and bus required in each closet
   and connected to a dedicated building ground that is
   compliant with; the ANSI/TIA/EIA 607, the Motorola R56
   Standards and Guidelines, and the Nortel Meridian 1 PBX                    Floor Plan
   Option 11C Environmental and Power Requirements
   document. If any of these documents are in conflict, then, as
   a general principle, the more stringent requirement shall
   apply. This ground is for communications equipment only.                   9 All receptacles shall be isolated ground and shall be on the
                                                                                emergency generator
   ICE IT Specific Performance Requirements                                   9 UPS for voice - 100% for two hours
   9 Must have capability to monitor detainee phone calls                     9 Every voice/data outlet shall have four cables (4 four pair
   9 All station cable (data & voice) shall be 4 pair (see cable                cables)
     standard)                                                                9 Every office shall have two voice/data outlets; every cubi-
   9 Facility shall be designated as a multi-tenant facility when               cle shall have one voice/data outlet
     permit is sought                                                         9 Every voice/data outlet requires an adjacent power outlet
   9 Below slab conduit between MDF & EIOR as well as MDF                     9 All conduit shall include an additional pull string
     & IDF’s                                                                  9 Home run conduit not preferred unless code required
   9 (2) 4” conduits + pull strings from pedestal to each EOIR,               9 Outlet face plates for ICE shall be different color than those
     PHS & ICE MDS (demarcation points)                                         of the facility operator
   9 3-sided cable tray required; provide for 50% access capac-               9 Cable runs & routing shall consider safety & security
     ity or space for stacked try for future growth. All V/D cable            9 V/D required at ICE VTC locations
     tray must cross electrical at 90º or be at least 12” away                9 Furniture (desks, credenzas) must have access to wall
   9 UPS for data provided by ICE within equipment                              outlets through privacy screen

SYMBOL LEGEND:          Voice Outlet      Data Outlet       Voice/Data Outlet         Duplex Outlet        ISDN Outlet       Duress Alarm Outlet

                                                                      4.308
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                                                                                                   4. FUNCTIONAL REQUIREMENTS


 5.1.3 SYSTEMS MATRIX

Walls                     Floors                  Ceiling              Doors                      Hardware                      Glazing
• Full height GWB         • Anti-static VCT       • ACT-8’ high        • Hollow metal - out-      • See below                   • None
  w/wire mesh                                       min., security       ward swinging            • Keyed on ICE keying sys-
• 3/4” treated, fire                                clipped                                         tem
  retardant plywood on                                                                            • Sippher locks not allowed
  all walls from 18” to
  8’ high, painted w/
  fire retardant paint

Plumbing                  HVAC                    Lighting             Power                      Security                      Communications
• None                    • Stand alone system    • Recessed           • 110V duplex outlet on    • See below                   • None
• Overhead piping not     • Maintain 64ºF-75ºF      Fluorescent          ea. wall, plus as
  allowed                 • Maintain 30-55% RH                           needed for equip-
                          • 24/7 Operation                               ment

 5.1.3 FURNITURE - EQUIPMENT - HARDWARE SCHEDULE


ID         Item                                                      Vendor*              Style                 Model #                     Qty.
FURNITURE
        Computer Table                                                                                                                      1
        Desk Chair                                                                                                                          1
        Book Shelf                                                                                                                          1
        Waste Receptacle                                                                                                                    1




EQUIPMENT
        None




HARDWARE
       Access Control




* Vendor names are listed as a point of reference for equipment specs. Equal products by other manufactures can be used.
** Lockset to be determined based on CDF facility requirements. Where an existing facility is being modified, new hardware shall be compatible with existing
   preference is for electronic keyless entry - via card readers or cipher locks. Each system must provide for key override.



                                                                      4.309
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                               4.310
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5.0 Facility Support Zone   5.2 Warehouse/Supply           (Contractor Operated)




                                     4.311
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           ICE Design Standards



5.2 Warehouse/Supply
ORGANIZATIONAL REQUIREMENTS                                                                                                                                   FACILITY CHECK-IN

The warehouse is used for storage of office supplies,
                                                                                                                                                              Gate House

                                                                                                                                                                                                    PROPERTY
paper goods, cleaning/janitorial supplies, laundry and                                                    Staﬀ                                                Staﬀ
                                                                                                                                                                                                    LINE
                                                                                                                                                                                                    FENCE
                                                                                   1.Oﬃce                                     Public Parking
linen supplies, personal hygiene supplies, office
                                                                                                         Parking                                             Parking
                                                                                   Zone
                                                                                   Non-Secure Zone
                                                                                                                                                                                                    SECURITY

furniture, extra food supplies and emergency supplies.            JUDGES
                                                                                                         1.4                                                        1.2
                                                                                                                                                                  Admin.
                                                                                                                                                                                                    BUFFER




                                                                                         1
                                                                  PRIVATE
                                                                                                        OPLA                 Security Check Area

This component is responsible for maintaining an
                                                                                                                                                                    ICE
                                                                  ENTRANCE                                                          1.1
                                                                                                                            Public Entrance/                        1.3                             PERIMETER
                                                                                                         1.5                     Lobby
inventory of supplies and ordering replacement stock                                                   Removal              Waiting/Support Area
                                                                                                                                                                  Admin.
                                                                                                                                                                    CDF
                                                                                                                                                                                                    PATROL
                                                                                                                                                                                                    ROAD

as required.                                                                       2.Court                        2.1                                       Arm. L.D.                               INTAKE/



                                                                                                2
                                                                                   Interface                                     P. 2.2 D.             1.6                                          SERVICE
                                                                                                                 EOIR
                                                                                                                                 Visitation                                                         ROAD
                                                                                   Zone                 Admin.       Courts                            Staﬀ Services
                                                                                   Interface Zone                                     Holding             & Training            Vehicle
                                                                                                                                                                               Sallyport
                                                                                                            3.1                     3.2
                                                                                                         Detention                                          4.1     Vehicle
OPERATIONAL REQUIREMENTS                                                                               Administration
                                                                                                                                  Security
                                                                                                                                 Command
                                                                                                                                                        Processing Sallyport                        PERIMETER
                                                                                                                                                                                                    SECURITY

Warehouse/Supply may be placed in one of the                                                                                                                                                        FENCE


                                                                                                                                                                             4



                                                                                     E




                                                                                                                                                                                        E
                                                                                                                                                       4.2




                                                                                     N




                                                                                                                                                                                        N
following zones:                                                                                              3.2
                                                                                                            Housing
                                                                                                                                                 Health Services




                                                                                     O




                                                                                                                                                                                        O
                                                                                                           (w/dining)                                     4.3




                                                                                     Z




                                                                                                                                                                                        Z
                                                                                                                                                        Laundry
                                                                                                                                                                           4.Service
                                                                                                                                                                           Zone
      • Secure zone restricted from general
                                                                                                                                                         4.4


                                                                                           3
                                                                                                                                                      Food Prep.           Restricted Detainee




                                                                                     N




                                                                                                                                                                                        N
                                                                                                                                                                           Movement

        detainee access.      This allows frequent                                                     3.4            3.3 D.S.




                                                                                     O




                                                                                                                                                                                        O
                                                                                                       Rec.        3.5 Library                           5.2




                                                                                     I
        movement of materials to their destination with




                                                                                                                                                                                        I
                                                                                                                                                      Warehouse




                                                                                     S




                                                                                                                                                                                        S
                                                                                                                                                 5.1
                                                                                                                                                               L.D.




                                                                                     N
        minimal crossing of the secure perimeter.




                                                                                                                                                                                        N
                                                                                                                                                C.S.


                                                                                                                                                                             5
                                                                                                                                                          5.3



                                                                                     A




                                                                                                                                                                                        A
                                                                                                              3.2
                                                                                                                                                      Maintenance
        Warehouses located in the secure zone                                                               Housing


                                                                                     P




                                                                                                                                                                                        P
                                                                                                           (w/dining)

                                                                                     X




                                                                                                                                                                                        X
        should have an inspection area located near                                  E




                                                                                                                                                                                        E
                                                                                                                                                           5.4
                                                                                                                                                      Utility Plant
        the loading dock.                                                          3.Detainee Living Zone                                      5.Facility Support Zone
                                                                                  Secure Zone With Normal Detainee Movement                 Restricted Support Zone



      • The non-secure zone by the vehicular
        entrances.      This location allows the
                                                                                                                                      LEGEND

                                                                             = Main Gate Check Point             = Pedestrian Sallyport          P.    = Public             L.D. = Loading Dock


        warehouse/supply to serve other institutions                         = Security Gate                     = External Secure Door         D.     = Detainee           C.S. = Common Support

                                                                             = Internal Secure Door              = Pedestrian Traﬃc             D.S. = Detainee Services


        located nearby. This location does not allow
                                                                               = Contractor Space Detailed
        the    use    of    detainee    labor    and
        consequently does not require a secure
        service yard.

Warehouse/Supply should be located adjacent to
laundry and maintenance for receipt and distribution of
supplies.




                                                          4.312
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                                                                               4. FUNCTIONAL REQUIREMENTS




                                             Functional Requirements

 ID#             Space Name                                                Performance Criteria
Warehouse
5.2.1   Long-Term Commissary Storage
5.2.2   Long-Term Linen Storage
5.2.3   Long-Term Food Dry Goods                    60º F temp for grains and other type goods, A/C humidity control
5.2.4   Maintenance Storage                         8-10 SF of storage is required per detainee
5.2.5   Vehicle Maintenance Storage
5.2.6   Office Goods Storage
5.2.7   Chemical Storage
5.2.8   Bulk Storage
5.2.9   Detainee Toilet
5.2.10  Service Supervisor
5.2.11  Supply Clerk Workstation
5.2.12  Officer Toilet
5.2.13  Janitor Closet                              40 SF
5.2.14  Receiving Dock                              100 SF per dock bay
5.2.15  Medium Vehicle Bay                          810 SF per space
5.2.16  Large Vehicle Bay                           1,100 SF per space




                                        Special/Technical Requirements
 The warehouse requires a minimum of two loading dock bays and parking for at least three trucks. Two additional staging
    spaces are required for other trucks. Space for trash storage should be provided at the dock and should be enclosed to
    control vermin and pests. The loading dock should have a platform 1,200-mm (4 ft) above the roadbed, with dock levelers.
    The dock apron should extend 36 meters (120 ft) from the dock edge. The dock should be covered at temperate hot/humid or
    hot/arid climates, and enclosed at temperate or cold climates. The dock canopy or ceiling should be 3,000-mm (10 ft) above
    the dock platform. Enclosed docks should have a dock seal. A canopy should extend 1,200-mm (4 ft) out from the dock over
    the back edge of the vehicle. All enclosed docks must also have a man door emergency exit.
   Warehouse/Supply must be equipped with a fire suppression system and alarm system. An eye wash station is also required
    in the warehouse.
   The exterior service yard should be well lit to accommodate unloading and loading activities.
   The warehouse storage area can be high-bay space with exposed structure and concrete floors.
   The warehouse requires a high ceiling and multiple levels of storage racks.
   A secure service yard is required for delivery vehicles to unload products at the dock.
   The vehicle sallyport must be large enough to accommodate WB-50 tractor-trailer vehicles that are 17 meters (55 ft) long.




                                                       4.313
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                               4.314
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5.0 Facility Support Zone   5.3 Maintenance/Fleet Operations (Contractor Operated)




                                      4.315
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            DHS - Immigration and Customs Enforcement
            ICE Design Standards



5.3 Maintenance/Fleet Operations
ORGANIZATIONAL REQUIREMENTS                                                                                                                                    FACILITY CHECK-IN

The CDF provides its own facility maintenance.
                                                                                                                                                               Gate House

                                                                                                                                                                                                     PROPERTY
Generally speaking, for security reasons, maintenance                                                      Staﬀ                                                Staﬀ
                                                                                                                                                                                                     LINE
                                                                                                                                                                                                     FENCE
                                                                                    1.Oﬃce                                     Public Parking
of the facility is not contracted to outside parties,
                                                                                                          Parking                                             Parking
                                                                                    Zone
                                                                                    Non-Secure Zone
                                                                                                                                                                                                     SECURITY

except for HVAC work and other specialized trades.                 JUDGES
                                                                                                          1.4                                                        1.2
                                                                                                                                                                   Admin.
                                                                                                                                                                                                     BUFFER




                                                                                          1
                                                                   PRIVATE
                                                                                                         OPLA                 Security Check Area

Staffing should provide sufficient shop capability for
                                                                                                                                                                     ICE
                                                                   ENTRANCE                                                          1.1
                                                                                                                             Public Entrance/                        1.3                             PERIMETER
                                                                                                          1.5                     Lobby
upkeep, including electrical and electronics, plumbing,                                                 Removal              Waiting/Support Area
                                                                                                                                                                   Admin.
                                                                                                                                                                     CDF
                                                                                                                                                                                                     PATROL
                                                                                                                                                                                                     ROAD

carpentry, and paint.                                                               2.Court                        2.1                                       Arm. L.D.                               INTAKE/



                                                                                                 2
                                                                                    Interface                                     P. 2.2 D.             1.6                                          SERVICE
                                                                                                                  EOIR
                                                                                                                                  Visitation                                                         ROAD
                                                                                    Zone                 Admin.       Courts                            Staﬀ Services
                                                                                    Interface Zone                                     Holding             & Training            Vehicle
The staff level for maintenance depends on the age of                                                        3.1                     3.2                     4.1
                                                                                                                                                                                Sallyport

                                                                                                          Detention                                                  Vehicle
the facility as well as the size, and the amount of work                                                Administration
                                                                                                                                   Security
                                                                                                                                  Command
                                                                                                                                                         Processing Sallyport                        PERIMETER
                                                                                                                                                                                                     SECURITY

contracted to service vendors. As a general guideline,                                                                                                                                               FENCE


                                                                                                                                                                              4



                                                                                      E




                                                                                                                                                                                         E
                                                                                                                                                        4.2




                                                                                      N




                                                                                                                                                                                         N
the facility should have one mechanic for every 80                                                             3.2
                                                                                                             Housing
                                                                                                                                                  Health Services




                                                                                      O




                                                                                                                                                                                         O
                                                                                                            (w/dining)                                     4.3
detainees or 2,800 square meters (30,000 square




                                                                                      Z




                                                                                                                                                                                         Z
                                                                                                                                                         Laundry
                                                                                                                                                                            4.Service
                                                                                                                                                                            Zone
feet). This number may be increased if the
                                                                                                                                                          4.4


                                                                                            3
                                                                                                                                                       Food Prep.           Restricted Detainee




                                                                                      N




                                                                                                                                                                                         N
                                                                                                                                                                            Movement

maintenance staff has engaged capital improvement                                                       3.4            3.3 D.S.




                                                                                      O




                                                                                                                                                                                         O
                                                                                                        Rec.        3.5 Library                           5.2




                                                                                      I
projects in addition to preventative maintenance.




                                                                                                                                                                                         I
                                                                                                                                                       Warehouse




                                                                                      S




                                                                                                                                                                                         S
                                                                                                                                                  5.1
                                                                                                                                                                L.D.




                                                                                      N




                                                                                                                                                                                         N
                                                                                                                                                 C.S.


                                                                                                                                                                              5
                                                                                                                                                           5.3



                                                                                      A




                                                                                                                                                                                         A
                                                                                                               3.2
                                                                                                             Housing                                   Maintenance


                                                                                      P




                                                                                                                                                                                         P
                                                                                                            (w/dining)

                                                                                      X




                                                                                                                                                                                         X
OPERATIONAL REQUIREMENTS                                                              E




                                                                                                                                                                                         E
                                                                                                                                                            5.4
                                                                                                                                                       Utility Plant
The maintenance component may be located inside or                                  3.Detainee Living Zone                                      5.Facility Support Zone
outside the secure perimeter. If located outside, there
                                                                                   Secure Zone With Normal Detainee Movement                 Restricted Support Zone



is less control required inside the shop, though
mechanics will be required to make frequent trips
                                                                                                                                       LEGEND

                                                                              = Main Gate Check Point             = Pedestrian Sallyport          P.    = Public             L.D. = Loading Dock


through the sallyport for service orders. It should be                        = Security Gate                     = External Secure Door         D.     = Detainee           C.S. = Common Support

                                                                              = Internal Secure Door              = Pedestrian Traﬃc             D.S. = Detainee Services


adjacent to the vehicle service area and sallyport for
                                                                                = Contractor Space Detailed
receipt and storage of bulk maintenance goods.

Maintenance located outside the secure perimeter can
more easily serve other institutions at the site.




                                                           4.316
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                                                                                 4. FUNCTIONAL REQUIREMENTS




                                              Functional Requirements

 ID#             Space Name                                                 Performance Criteria
Maintenance
5.3.1   Maintenance Supervisor Office                Office should have a window to oversee shop space
5.3.2   Craftsmen
5.3.3   Electronics/ADP Lab                          Environmentally controlled space
5.3.4   General Shop Workbench                       100 SF per station
5.3.5   Plumbing Shop                                Locked storage for pipes, fitting parts, drain snakes on carts
5.3.6   Electrical Shop                              Electronic shop bench, 100 SF per station, mostly storage
5.3.7   Paint Shop                                   Equipped with an OSHA approved paint hood and explosion proof lighting
5.3.8   HVAC Shop                                    Equipped with vacuum/pumps, collectors, rechargers and test equipment
5.3.9   Welding Shop                                 Equipped with welding hood, tank storage, 3-220 volt 3-phase elec. outlets
5.3.10  Tool Room                                    Secure room with pegboards and tool drawers for tool inventory
5.3.11  Grounds Maintenance                          Storage for mowers, roto-tiller and other equipment
5.3.12  Medium Vehicle Bay                           810 SF per space
5.3.13  Staff Toilet
5.3.14  Storage
5.3.15  Library                                      Used for equipment manuals




                                         Special/Technical Requirements
   A large bay high ceiling area is required for shops.
   Tools should be stored in a secure tool room on shadow boards to allow for quick accounting of tools.
   Tool room entrance should be under the direct visual control of the maintenance supervisor.
   Hazardous tools should be located in a secure tool storage crib located outside the secure perimeter.
   Shop areas need to be oversized for initial build out.
   Paint should be stored in a separate vented area for flammable goods storage.




                                                        4.317
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                               4.318
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5.0 Facility Support Zone   5.4 Central Utility Plant      (Contractor Operated)




                                       4.319
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5.4 Central Utility Plant
ORGANIZATIONAL REQUIREMENTS                                                                                                                                      FACILITY CHECK-IN

The spaces and equipment required for heating, air
                                                                                                                                                                 Gate House

                                                                                                                                                                                                       PROPERTY
conditioning,       power,      emergency       power,                                                       Staﬀ                                                Staﬀ
                                                                                                                                                                                                       LINE
                                                                                                                                                                                                       FENCE
                                                                                      1.Oﬃce                                     Public Parking
communications, water service and fire suppression
                                                                                                            Parking                                             Parking
                                                                                      Zone
                                                                                      Non-Secure Zone
                                                                                                                                                                                                       SECURITY

must be given special planning consideration to assure               JUDGES
                                                                                                            1.4                                                        1.2
                                                                                                                                                                     Admin.
                                                                                                                                                                                                       BUFFER




                                                                                            1
                                                                     PRIVATE
                                                                                                           OPLA                 Security Check Area

security and continuity of operation, even during
                                                                                                                                                                       ICE
                                                                     ENTRANCE                                                          1.1
                                                                                                                               Public Entrance/                        1.3                             PERIMETER
                                                                                                            1.5                     Lobby
emergency or equipment failure. Adequate                                                                  Removal              Waiting/Support Area
                                                                                                                                                                     Admin.
                                                                                                                                                                       CDF
                                                                                                                                                                                                       PATROL
                                                                                                                                                                                                       ROAD

consideration must also be given to the possible                                      2.Court                        2.1                                       Arm. L.D.                               INTAKE/



                                                                                                   2
                                                                                      Interface                                     P. 2.2 D.             1.6                                          SERVICE
impact of facility expansion and overcrowding on the                                  Zone
                                                                                      Interface Zone
                                                                                                           Admin.
                                                                                                                    EOIR
                                                                                                                        Courts      Visitation
                                                                                                                                         Holding
                                                                                                                                                          Staﬀ Services
                                                                                                                                                             & Training            Vehicle
                                                                                                                                                                                                       ROAD


physical plant and infrastructure.                                                                             3.1                     3.2                     4.1
                                                                                                                                                                                  Sallyport

                                                                                                            Detention                Security                          Vehicle
                                                                                                          Administration                                   Processing Sallyport                        PERIMETER
                                                                                                                                    Command
                                                                                                                                                                                                       SECURITY

The Central Plant and facility infrastructure will include                                                                                                                                             FENCE


                                                                                                                                                                                4



                                                                                        E




                                                                                                                                                                                           E
                                                                                                                                                          4.2




                                                                                        N




                                                                                                                                                                                           N
the following elements:                                                                                          3.2
                                                                                                               Housing
                                                                                                                                                    Health Services




                                                                                        O




                                                                                                                                                                                           O
                                                                                                              (w/dining)                                     4.3




                                                                                        Z




                                                                                                                                                                                           Z
                                                                                                                                                           Laundry
                                                                                                                                                                              4.Service
                                                                                                                                                                              Zone
      • Central Plant, including central mechanical
                                                                                                                                                            4.4


                                                                                              3
                                                                                                                                                         Food Prep.           Restricted Detainee




                                                                                        N




                                                                                                                                                                                           N
                                                                                                                                                                              Movement

        equipment for building heating and cooling,                                                       3.4            3.3 D.S.




                                                                                        O




                                                                                                                                                                                           O
                                                                                                          Rec.        3.5 Library                           5.2




                                                                                        I
        water service, water heating and conditioning,




                                                                                                                                                                                           I
                                                                                                                                                         Warehouse




                                                                                        S




                                                                                                                                                                                           S
                                                                                                                                                    5.1
                                                                                                                                                                  L.D.




                                                                                        N
        and fire suppression entrance and pumps.




                                                                                                                                                                                           N
                                                                                                                                                   C.S.


                                                                                                                                                                                5
                                                                                                                                                             5.3



                                                                                        A




                                                                                                                                                                                           A
                                                                                                                 3.2
                                                                                                               Housing                                   Maintenance


                                                                                        P




                                                                                                                                                                                           P
                                                                                                              (w/dining)

                                                                                        X




                                                                                                                                                                                           X
      • Electric power service, emergency generators                                    E




                                                                                                                                                                                           E
                                                                                                                                                              5.4
                                                                                                                                                         Utility Plant
        and fuel storage.                                                             3.Detainee Living Zone                                      5.Facility Support Zone
                                                                                     Secure Zone With Normal Detainee Movement                 Restricted Support Zone



      • Distribution closets for electrical and
        communications systems, local fan rooms for
                                                                                                                                         LEGEND

                                                                                = Main Gate Check Point             = Pedestrian Sallyport          P.    = Public             L.D. = Loading Dock


        delivery of building heating and cooling; and in                        = Security Gate                     = External Secure Door         D.     = Detainee           C.S. = Common Support

                                                                                = Internal Secure Door              = Pedestrian Traﬃc             D.S. = Detainee Services


        larger campus type institutions, water heating
                                                                                  = Contractor Space Detailed
        may also be decentralized.

      • Accessible    plumbing        service     chases
        throughout the facilities.

The user should refer to the Facility Standards of the
Public Buildings Service for general recommendations
among central energy equipment alternatives.

OPERATIONAL REQUIREMENTS
The central physical plant area should be on an                      located in the electrical section of the Central Plant or
external wall with overhead rolling doors and/or                     a unit with integral weather enclosure will be located
removable panels for accessibility for long-term                     just outside. Primary fuel storage should be outside.
maintenance of central energy equipment. Regular
access should be by means of eight-foot high double                  The telecommunications systems should have
doors. The central plant should be equipped with a                   centralized equipment room for PBX, computing
rack and pulley system for moving equipment. As a                    equipment, video switches, door control systems,
rule of thumb, provide central plant space at a ratio of             electronic     monitoring systems,    and      radio
5 percent of the total building area.                                communication systems. As a rule of thumb, provide
                                                                     equipment room area equal to one percent of the total
The primary electric power service will enter the                    building area.
facility at the Central Plant. A separate space will be
required for the main switchgear, transformation
equipment, and the distribution panelboards. The
stand-by generator for emergency power may be

                                                             4.320
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                                                                                   4. FUNCTIONAL REQUIREMENTS




                                               Functional Requirements

 ID#              Space Name                                                  Performance Criteria
Physical Plant
5.4.1    Mechanical Room
5.4.2    Electrical Room
5.4.3    Electrical Closets                           80 SF
5.4.4    Tel / Comm Room
5.4.5    Tel / Comm Closet                            80 SF
5.4.6    UPS Battery Room
5.4.7    Emergency Generator                          200 SF
5.4.8    Janitor Closet                               40 SF




                                          Special/Technical Requirements
 In addition to the Central Plant, the facility requires electrical and communication closets every 1,400 square meters (15,000
    square feet) or every 90 meters (300 feet). The telecommunication and electrical closets should be located outside of detainee
    continuously occupied areas such as dayrooms and recreation yards. Access to these closets should be under the visual
    supervision of the detention security officers. Closets on the outside of the secure perimeters should not be placed directly on
    the secure perimeter where attempts to compromise the secure perimeter may be unobserved.
   The communication closet should be a minimum of 3,000-mm (10 feet) by 2,400-mm (8 feet), with fixed plywood covering on
    two walls, and sealant on all finishes to reduce dust. The room should have a minimum of two 20-amp 110-volt outlets as well
    as convenience outlets.
   The room shall have 24-hour HVAC service.



                                                          4.321
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                               4.322
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                   Technical Requirements




                               4.323
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Technical Requirements
HANDICAPPED ACCESSIBILITY                                                   accessible to the public while providing adequate
Accommodations for the handicapped shall be                                 security measures, due to the highly sensitive and
provided in accordance with the Uniform Federal                             critical filing and archiving system and for increased
Accessibility Standards (UFAS), which identifies                            personnel security. Unique building siting and/or
                                                                            security issues and concerns may also preclude
standards for complying with accessibility provisions                       building occupancy.
contained in the Architectural Barriers Act, 42 U.S.C.
4251-4157, and/or applicable local codes, regulations                      Visitors are required to pass through a public
and laws.                                                                  access control (PAC) point or screening area com-
                                                                           prised of a guard(s), a magnetometer, and/or X-ray
FIRE PROTECTION AND LIFE SAFETY                                            equipment. Emergency exits shall be accessible to
Fire Protection and Life Safety requirements shall be in                   the public.
accordance with local statutes. Notwithstanding this
provision, the requirements shall comply with National                     Employee Entrances: Consideration shall be
Fire and Protection Association, National Fire Codes,                      given to establishing one or more separate
Occupational Safety and Health Administration                              employee entrances.
standards, and applicable local and/or national codes.
                                                                    Perimeter Security
ELECTRICAL                                                          Perimeter Security is the outer security boundary
The installation of two isolated ground duplex outlets              which surrounds the secured area, and provides the
with a limit of four isolated ground outlets per circuit            first level of control and protection. The perimeter
shall be provided per 125 square feet of space. For                 security guidelines will contain the following minimum
each position, there shall be one quadruplex outlet (or             components:
equivalent). All power wiring shall be in floor, wall, or
ceilings. No power poles are allowed. Panelboards
                                                                            Site Perimeter: The perimeter of the CDF
shall have spare circuit spaces, which shall be defined                     property shall be delineated by a minimum 6 feet
by EOIR with each space request.                                            (1800 mm) high non-secure chain link fence with
                                                                            single barbed wire outrigger, or in an urban setting,
One electrical closet per 10,000 square feet shall be                       a 6’ (1800 mm) high concrete masonry fence to
provided with sufficient ventilation. Notwithstanding                       block views. This fencing is intended to clearly
this provision, a minimum number and location of                            identify the limitations of the property to the general
outlets required by local and/or national codes shall be                    public. Appropriate fence-mounted signage shall
adhered to.                                                                 identify US Government Property and specify the
                                                                            penalties for crossing the fence without
MECHANICAL                                                                  authorization. A buffer zone of 200 feet (61 meters)
Mechanical requirements shall be provided in                                shall be provided between the perimeter fence and
accordance with the American Society of Heating,                            the primary facility perimeter in order to diminish
                                                                            visual contact between the public and secure sides.
Refrigeration and Air-Conditioning Engineers
                                                                            In urban areas, where the buffer zone or a separate
(ASHRAE) Handbook and Standards.                                            site perimeter is not attainable, other measures for
                                                                            the security and protection of the facility must be
                                                                            considered. At the site perimeter, maintain openings
PHYSICAL SECURITY                                                           in the chain link fence for vehicular site access.
Physical security guidelines have been established for
EOIR to afford an adequate level of uniform protection.                     Pedestrian Sallyport: Where separate pedestrian
Each guideline is designed to achieve a separate                            access through the primary facility perimeter is
security objective. All guidelines are mutually inclusive                   provided, gates shall be interlocked and under
                                                                            CCTV surveillance from the central control room.
and the absence of any component, will result in a
                                                                            The interlocked gates shall be operated from the
security vulnerability. These guidelines include the                        central control room.
following:
                                                                            Walls: Slab to slab walls; either concrete block with
Public Access Control                                                       drywall or plaster finish, or metal stud with drywall
                                                                            and fiberglass insulation.
        Agency requires contiguous space. Space will be


                                                            4.324
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                                                             4. FUNCTIONAL REQUIREMENTS




The wall surrounding the Ballistic Transaction            Cast-in-place concrete walls shall be a minimum 6”
Window (BTW) will be reinforced with 9-11 gauge           (150 mm) wide, minimum strength of 3,000 psi (21
steel mesh lathe. Ballistic-rated walls may be            Mpa) reinforced with #4 (No. 13 metric) reinforcing
considered where appropriate.                             bars at 8” (200 mm) on center in one direction.
                                                          Cast-in-place concrete walls that are less than 6”
Wall Construction:                                        (150 mm) wide, but no less than 4” (100 mm) wide
“High” security walls shall be constructed using          shall have a minimum strength of 5,000 psi (35
one of the following methods:                             Mpa) reinforced with W4 (MW26) welded wire fab-
                                                          ric at 4” (100 mm) on center in both directions.
Concrete masonry unit walls shall be a minimum
nominal 8” (200 mm) wide units reinforced with #4
(No. 13 metric) vertical reinforcing bar at 8” (200       Steel wall panels shall be 0.093 in. (12 gage)
mm) on center. All cells of concrete masonry units        minimum thickness A-60 galvanneal steel
shall be fully grouted with 3,000 psi (21 Mpa) grout.     conforming to ASTM A 653-CS requirements. All
                                                          structural or stiffening members shall be 0.058 in.
Precast concrete panel walls shall be a minimum           (16 gage) minimum thickness A-60 galvanneal steel
nominal 4” (100 mm) wide, minimum strength of             conforming to ASTM A 653-LFQ requirements. All
5,000 psi (35 Mpa) and reinforced with minimum            structural tubing stall be 0.115 in. (11 gage)
W4 (MW26) welded wire fabric at 4” (100 mm) on            minimum thickness steel conforming to ASTM A
center in both directions, conforming to ASTM             653-CS and ASTM A-525, G-90 galvanized
A185. Cast-in-place concrete walls shall be a mini-       requirements.
mum 6” (150 mm) wide, minimum strength of 3,000
psi (21 Mpa) reinforced with #4 (No. 13 metric) rein-     “Low” security walls shall be constructed using
forcing bars at 8” (200 mm) on center in one direc-       one of the following methods:
tion. Cast-in-place concrete walls that are less than
6” (150 mm) wide, but no less than 4” (100 mm)            Concrete masonry unit walls shall be a minimum
wide shall have a minimum strength of 5,000 psi (35       nominal 6” (150 mm) wide units. All cells of concrete
Mpa) reinforced with W4 (MW26) welded wire fab-           masonry units shall be fully grouted with 3,000 psi
ric at 4” (100 mm) on center in both directions.          (21 Mpa) grout.

Steel wall panels shall be 0.093 in. (12 gage)            Gypsum wallboard walls (partitions) shall be a
minimum thickness A-60 galvanneal steel                   minimum 5/8” (16 mm) thick gypsum wall board on
conforming to ASTM A 653-CS requirements. All             galvanized steel mesh panels 0.048” (1.2 mm)
structural or stiffening members shall be 0.058 in.       thick, 41 lbs/sf (200 kg/m) on each side of minimum
(16 gage) minimum thickness A-60 galvanneal steel         20 gauge metal studs at 16” (400 mm) on center.
conforming to ASTM A 653-LFQ requirements. All            “High”, “medium”, and “low” security walls must be
structural tubing stall be 0.115 in. (11 gage)            constructed continuously from a security floor to a
minimum thickness steel conforming to ASTM A              secure ceiling. The secure ceiling may be either a
653-CS and ASTM A-525, G-90 galvanized                    secure roof deck or a cap of secure construction
requirements.                                             built below the roof deck in high bay areas. The
                                                          continuity of the secure wall construction must be
“Medium” security walls shall be constructed              maintained by tying the wall reinforcing into the
using one of the following methods:                       secure floor and ceiling construction. When this
                                                          cannot be accomplished, a continuous #4 (No. 13)
Concrete masonry unit walls shall be a minimum            reinforcing bar shall be cast no more than 1 ½” (38
nominal 8” (200 mm) wide units reinforced with #4         mm) from the edge of the concrete unit where it
(No. 13 metric) vertical reinforcing bar at 16” (400      meets other concrete or masonry members.
mm) on center. All cells of concrete masonry units
shall be fully grouted with 3,000 psi (21 Mpa) grout.     Roofing / Ceiling Construction:
                                                          “High” security roof/ceiling construction shall be
Precast concrete panel walls shall be a minimum           constructed of the following:
nominal 4” (100 mm) wide, minimum strength of
5,000 psi (35 Mpa) and reinforced with minimum            Cast-in-place concrete slabs shall be a minimum of
W4 (MW26) welded wire fabric at 4” (100 mm) on            6” (150 mm) thick, 3,000 psi (21 Mpa) concrete with
center in both directions, conforming to ASTM             #4 (No. 13 metric) reinforcing bars at 8” (200 mm)
A185.                                                     on center in one direction. Cast-in-place concrete


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slabs that are less than 6” (150 mm) thick, but no less than 4”          Metal roof decks shall be a minimum of 12 gauge.
          (100 mm) thick shall have a minimum strength of                No additional reinforcing is required, however the
          5,000 psi (35 Mpa) reinforced with W4 (MW26)                   deck must be securely tied to the “medium”
          welded wire fabric at 4” (100 mm) on                           security walls.
          center in both directions.
                                                                         “Low” security roof/ceiling construction shall be
         Composite metal deck shall be a minimum of 4”                   constructed of the same level of security as
         (100 mm) total depth, 3,000 psi (21 Mpa) concrete,              “Medium” security described above.
         #4 (No. 13 metric) bars 8” (200 mm) on center in
         one direction. Prestressed concrete tees or hollow       Reception Areas
         core slabs shall have a concrete topping to give
         adequate cover for #4 (No. 13 metric) bars 8” (200              Ballistic Transaction Windows: A ballistic
         mm) on center in one direction.                                 transaction window (BTW), with a Level 3 ballistic
                                                                         rating (.44 Magnum) and incorporating a Natural
         Solid concrete planks shall have #4 (No. 13 metric)             Voice Channel and/or the indicated Level 3-rated
         reinforcing bars at 8” (200 mm) on center in one                center speech device, shall be installed.
         direction. No concrete topping is required.
                                                                         The Wall surrounding the BTW will be reinforced
         Metal acoustical ceiling panel shall be maximum                 with 9-11 gauge steel mesh lathe. Ballistic-rated
         security double skin metal 0.125” (3.2 mm) thick                walls may be considered where appropriate.
         with perforations.
                                                                         The Door leading from the reception area and/or
         Metal roof decks shall be a minimum of 12 gauge.                waiting room into the staff area (generally, adjacent
         No additional reinforcing is required, however the              to the BTW) will be of solid wood construction and
         deck must be securely tied to the “high” security               incorporate a keyed lockset. The door will also
         walls.                                                          incorporate hardware which will enable the
                                                                         receptionist to remotely unlock the door by pressing
         “Medium” security roof/ceiling construction shall               a button at or near the reception desk. It shall also
         be constructed of the following:                                include a door closer and a peephole

         Cast-in-place concrete slabs shall be a minimum of       Other Office Areas
         6” (150 mm) thick, 3,000 psi (21 Mpa) concrete with
         #4 (No. 13 metric) reinforcing bars at 16” (400 mm)
                                                                         Conference Rooms: For conference rooms with
         on center in one direction. Cast-in-place concrete
                                                                         power, voice, and data located at the center of the
         slabs that are less than 6” (150 mm) thick, but no
                                                                         room (in the floor), boxes shall be recessed flush
         less than 4” (100 mm) thick shall have a minimum
                                                                         with the finished floor surface material.
         strength of 5,000 psi (35 Mpa) reinforced with W4
         (MW26) welded wire fabric at 4” (100 mm) on
                                                                         All conference rooms shall have videa teleconfer-
         center in both directions.
                                                                         ence capability. Each room will require six (6) RJ
                                                                         11/RJ 45 receptacles. These may be combined in
         Composite metal deck shall be a minimum of 4”
                                                                         two duplex boxes. However, these must be adja-
         (100 mm) total depth, 3,000 psi (21 Mpa) concrete,
                                                                         cent to one another and they must be adjacent to
         #4 (No. 13 metric) bars 16” (400 mm) on center in
                                                                         one quad electrical outlet. ICE will determine final
         one direction.
                                                                         location during design.
         Prestressed concrete tees or hollow core slabs shall
                                                                         ADP Rooms: The doors of ADP rooms will be
         have a concrete topping to give adequate cover for
                                                                         secured with a push button (Trilogy) lock.
         #4 (No. 13 metric) bars 16” (400 mm) on center in
         one direction.
                                                                         File Rooms: To control access, the room shall
                                                                         have full height walls and the door will be secured
         Solid concrete planks shall have #4 (No. 13 metric)
                                                                         with a lock or access control device.
         reinforcing bars at 16” (400 mm) on center in one
         direction. No concrete topping is required.
                                                                         Furniture: Furniture shall be provided and installed
                                                                         as indicated herein. All desks and credenzas shall
         Metal acoustical ceiling panel shall be maximum
                                                                         be equipped with privacy screens/panels with
         security double skin metal 0.125” (3.2 mm) thick
                                                                         knock-out grommets for cablling.
         with perforations.
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      Restrooms: Restrooms shall be incorporated
      within court staff areas, one male and one female
      minimum. Doors to restrooms located outside court
      space shall be secured by locking hardware as
      specified by the EOIR Security Office, and
      incorporate a key bypass for building management
      access.

      Evacuation Routes: Floor plans and/or maps of
      evacuation routes for bomb threats, fires and other
      emergencies shall be strategically posted within
      office areas.

Safety Systems

      Safety systems shall be designed to meet the
      minimum requirements specified by the
      Occupational Safety and Health Administration
      (OSHA), for safe emergency egress. These
      requirements shall be coordinated with CDF facility
      security and safety requirements. This system
      includes the following.

      1. Panic release bars installed on all main entrance
      doors and stairwell doors that sound audible alarm
      when opened, as per Security Specifications.

      2. Electronic door strikes that are used on fire
      egress doors are designed to fail-safe (unlock) in
      the event of a power failure or emergency.

      3. Fail-safe capability on selected door locks are to
      work in conjunction with smoke and fire alarms in
      those instances where emergency egress is
      restricted without such a configuration.

      4. The use of fire certified or safety approved
      products.
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             5. APPENDIX



                 Reference Publications

                 Acronyms and Abbreviations

                 ICE Structured Cable Plant Standard, Version 5.1




                                 5.1
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            DHS - Immigration and Customs Enforcement
            ICE Design Standards



Reference Publications
REFERENCE DOCUMENTS                                                   ANSI/TIA/EIA - 568-B.3, Commercial
The Offeror (Contractor) will conform their facility                  Telecommunications Cabling Standard Part 3: Optical
design to the following standards, at a minimum, plus                 Fiber Cabling Components
any additional applicable standards that may be
                                                                      ANSI/TIA/EIA - 568-A, Commercial Building Standard
pertinent to the location where the facility is intended to
                                                                      for Telecommunications Pathways and Space
be built. The Offeror will be solely responsible for
complying with these standards and code                               ANSI/TIA/EIA - 598, Optical Fiber Cable Color Coding
requirements. Failure of ICE to identify particular
construction code standards that are pertinent to a                   ANSI/TIA/EIA - 606-A, Administration Standard for
particular site will not relieve the Offeror of the                   Telecommunications Infrastructure of Commercial
responsibility of meeting those criteria.                             Building

    American Correctional Association (ACA)                           ANSI/TIA/EIA - 607, Commercial Building Grounding
                                                                      and Bonding Requirements for Telecommunications
    Standards for Adult Local Detention Facilities
    3rd Addition                                                      ANSI/TIA/EIA - 758, Customer-Owned Outside Plant
                                                                      Telecommunications Cabling Standard
    American Correctional Association (2002 Standards
    Supplement)

    International Building Code, 2003                               RELATED DOCUMENTS
                                                                      Uniform Federal Accessibility Standards, 1988
    National Fire Protection Association
                                                                      Americans with Disabilities Act (ADA), Title III
    Life Safety Code 101, current edition
                                                                      American Society for Testing and Materials,
    U.S. Department of Justice
                                                                      current standards
    Immigration and Naturalization Service (Legacy)
    Service Processing Center Design Guide
                                                                      Underwriters Laboratories, Inc.
    Joint Commission on Accreditation of Healthcare
                                                                      American National Standards Institute, Inc.
    Organizations (JCAHO)
                                                                      National Association of Architectural Metal
    National Commission on Correctional Healthcare
                                                                      Manufacturers
    (NCCHC)
                                                                      Hollow Metal Manufacturers Association,
    Occupation, Safety and Health Association (OSHA)
                                                                      Standard 863-96
    ICE Detention Standards
                                                                      H.P. White Laboratory, Inc. HPW-TP-0500.02
    USICE Structured Cable Plant Standard
                                                                      WMFL Physical Attack Test
    ANSI/TIA/EIA - 526-14, Optical Power Loss
    Measurement of Installed Multimode Fiber Cable Plant
    - OFSTP-14

    ANSI/TIA/EIA - 568-B.1, Commercial Building
    Telecommunications Cabling Standard Part 1: General
    Requirements

    ANSI/TIA/EIA - 568-B.2, Commercial Building
    Telecommunications Cabling Standard Part 2: Balanced
    Twisted-Pair Cabling Components




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ACRONYMS AND ABBREVIATIONS

ACA   American Correctional Association                 manuf. manufacturer
ADA   Americans with Disabilities Act                   ME     medical Equipment
AHSA  Assistant Health Services Administrator           MRT    Medical Records Technician
BOP   Bureau of Prisons                                 NCCHC National Commission on Correctional Health
BP    blood pressure                                           Care
BI    built-in                                          NFPA National Fire Protection Association
CCTV  closed circuit television                         NP/PA Nurse Practitioner/Physicians Assistant
CD    Clinical Director                                 NSF    Net Square Feet
CDF   Contract Detention Facility                       OSHA Occupation, Safety and Health Association
IBC   International Building Code                       OTC    over-the-counter medications
CBP   Customs and Border Protection                     P      primary
DHS   U.S. Department of Homeland Security              PA     public address system
DRO   Detention and Removal Office                      PDT    Project Development Team
EOIR  Executive Office of Immigration Review            PI     performance improvement
F     furniture                                         pk     package
Fab.  Fabricators                                       S      secondary
FDA   U.S. Food and Drug Administration                 SHU    Secured Housing Unit
Flr.  floor                                             SPC    Service Processing Center
GFI   ground fault interrupter                          SSU    Short Stay Unit
GSF   Gross Square Feet                                 TB     tuberculosis
HCP   Health Carre Program                              RHIA   Registered Health Information Administrator
H.M.  hollow metal                                      RN     Registered Nurse
HS    Health Services                                   TBD    to be determined
HSA   Health Services Administrator                     USF    Usable Square Feet
Ht.   height                                            USPHS United States Public Health Service
HVAC  heating, ventilating and air conditioning         VCT    vinyl composition tile
ICE   Bureau of Immigration and Customs                 w/     with
      Enforcement                                       Wt.    weight
IGSA Inter-governmental service agreements
INS   (Legacy) Bureau of Immigration and
      Naturalization Services
DIHS Division of Immigration Health Services
DHHS U.S. Department of Health and Human
      Services
HRSA Health Resources Services Administration
JCAHO Joint Commission on Accreditation of
      Healthcare Organizations
LAN   local area network
Lav.  lavatory
LVN   Licensed Vocational Nurse
qt.   quart




                                                  5.3
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ICE Structured Cable Plant Standard




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        Structured Cable Plant
               Standard



                             Version 5.1




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1.0      INTRODUCTION

1.1      Purpose
This document has been prepared for the Immigration and Customs Enforcement (ICE) with the
specific purpose of setting standards for structured cable plants in support of Local Area
Network (LAN) and voice connectivity that will function as follows:
•     Accommodate the functional requirements of present and future information services.
•     Support a multi-product and multi-vendor environment.
•     Facilitate the planning and installation of cabling systems that will support the diverse
      communication needs of building occupants.
•     Ensure uniformity of structured wiring and hardware infrastructure installations in all ICE
      facilities.
The primary focus of this document is to define the standards for material, infrastructure, design,
installation, and certification with respect to structured cabling systems for ICE facilities. This
document shall replace, modify, or otherwise supercede previous releases of these standards. For
questions or comments regarding this document, contact the ICE Deployment Services Branch
(DSB) Installation Manager at (202) 307-5723.
An electronic version of this document resides in the ICE Intranet Enterprise Library, available
on the Office of Chief Information Officer (OCIO) Web site.

1.2      Background
Immigration and Customs Enforcement (ICE) is a component of the U.S. Department of
Homeland Security (DHS). ICE brings a unified and coordinated focus to the enforcement of
federal immigration laws, customs laws, and air security laws. ICE brings to bear all of the
considerable resources and authorities invested in it to fulfill its primary mission: to detect
vulnerabilities and prevent violations that threaten national security.
Because of increasing demands on Service resources, ICE personnel must be able to share
information rapidly and efficiently in order to succeed in fulfilling the Service mission.
In addition to this document, which establishes the cabling standards for ICE, other documents
are being developed that provide additional related information such as:
•     ICE LAN standards.
•     ICE Wide Area Network (WAN) standards.
•     Voice Communications standards.

1.3      Scope

1.3.1    System
Typical structured cabling systems include the following elements:
•     Horizontal cable.

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•     Horizontal cross-connects.
•     Transition point (optional).
•     Main cross-connect (MC).
•     Intermediate cross-connect.
•     Backbone cabling, intra and inter.
•     Workstation locations or information management outlets (IMO).
•     Remote wiring closet (RWC).
•     Main distribution frame (MDF).
•     Entrance facility (EF).
•     Grounding
•     Administration

1.3.2     Documentation
This document is intended to address the following specifications and installation practices
related to structured cable plant installation:
•     Recognized media.
•     Closet requirements, environmental and design.
•     Distribution cabling.
•     Cabling specifications and limits.
•     Installation practices.
•     Performance testing.
•     Supporting documentation.

2.0       NETWORK CABLE PLANT OBJECTIVES
The objective of this network approach is to provide ICE with a standardized, cost-effective
cable plant infrastructure that will accommodate present and future voice, video, and data
requirements. Workstation cabling infrastructure shall support bandwidth demands from
10 Megabits per second (Mbps) to Gigabit speeds. Backbone cable infrastructure shall support
bandwidth demands from Gigabit speeds and beyond. The installation of the cable plant
infrastructure shall comply with local codes, as well as, industry and Federal standards.

3.0       STRUCTURED CABLE PLANT DESIGN
The network cable plant shall utilize the following cable distribution methods to support
connectivity throughout the building:
•     Horizontal workstation cabling, which will connect the user workstation, or information
      management outlet (IMO) to the nearest Remote Wiring Closet (RWC).

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•     Where appropriate, Intra and Inter-building copper backbone cable, which provides
      connectivity between wiring centers and the MDF.
•     Work zone distribution cabling for open office space.
•     Fiber optic intra and inter-building backbone cable, which also provides connectivity
      between wiring centers and the MDF.

3.1      Structured Cable Plant Approach
This section will describe the approach to structured cabling, identify and describe the various
cable types, and provide detailed cable specifications for cable plant installation. These are
minimum specifications for new cable plant installations or major renovations. These
specifications follow the American National Standards Institute (ANSI)/Telecommunications
Industries Association (TIA)/Electronic Industries Association (EIA) recommendations, and in
addition, provide specific guidelines unique to ICE. Detailed cable plant material specifications
and overall minimum characteristics are provided in Section 4.

3.2      Horizontal Workstation Cabling
All end-user workstation locations, whether occupied or vacant, shall be cabled to the nearest
wiring center. Also, storage rooms, conference rooms and similar space not designated as
offices shall be cabled to allow for office expansion, as shown in Exhibit 1.
In general, each RWC equipment rack shall be capable of supporting a maximum of 288 data
cables. A second rack is required to support up to 288 voice cables, providing a consolidated
voice and data closet. The combined racks provide ample space for a total combined 144
workstation locations (voice and data). In smaller installations, typically less than 72
workstation locations, a single equipment rack will suffice for both voice and data termination.
To comply with ANSI/TIA/EIA-568-B.1 specification distance limits, the cable run from any
user workstation location to the nearest wiring center shall not exceed 100 meters (328 feet).
The actual length of a cable run is defined as the total combined length of the station cord,
workstation cable, and patch-panel cable. When planning or designing office space the
communications closets should be located within 90 meters of any workstation outlet. This
design approach allows the addition of patch cables and workstation cords to connect devices,
without exceeding the ANSI/TIA/EIA-568-B.1 specification distance limits.
In a building not exceeding two stories, horizontal workstation cabling may be installed to a
single point, such as a computer room, wiring center, or the MDF. This scenario may be used in
place of a creating a RWC, thus eliminating any need for backbone cabling systems. This
installation method should be utilized when cost is a constraint and the length of the cable run
does not exceed the specified distance limits.




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                                                                  Exhibit 1: Typical Office Cable Planning

                                                                                                                                Interview             Interview
       Office areas wired for future                                                                                           Waiting Room          Waiting Room
       requirements; i.e., to support
                                                                                                                                                                           Public
         printers, workstations, or                        Interview         Interview     Interview   Interview                                                          Entrance
         convert into office space.
                                                          Interview

                                           Employee
                                           Entrance



                                                                                                   General         Storage
                                                                                                   Storage
          Office       Office     Office                       Clerk
                                                                                                                             Office
                                                                                                                                            Office
                                                                             Tele
                                              Guard


                                                               Stairs
                                                                                                                               Conference
           Office                                                                                                                Room

          Office                                                                                       ADP
                                                                                                       Room        Break




          Office           Interview   Interview   Interview     Interview     Interview        Interview




                   One outlet, includes 3 or 4 cables each, all CAT5e, one or two voice, two data; configured per TIA/EIA 568A.




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Each user workstation location shall be cabled with two 4-pair, unshielded twisted pair (UTP),
Category (CAT) 5e copper cables for data transmission, that will be labeled as “Data A” and
“Data B.” The cable shall have a fire-retardant, plenum rated jacket.
Each workstation cable that is routed through a suspended ceiling area shall be secured in a
manner that will keep all cable plant off of any suspended ceiling tiles, sprinkler systems, ceiling
suspension hangers, and adhere to local and Federal building codes. Cable plant installed in
plenum environments should provide enough slack to facilitate minor construction
modifications, or cable re-locations, without the need to install new cable altogether. This
installation approach normally requires approximately 20 feet of cable slack, secured in an
appropriate manner, to ensure cable is minimized from radio frequency interference (RFI) and
electro-magnetic interference (EMI) sources. However, installed cable shall at no time exceed
the overall specifications for total lobe length of 100 meters in accordance with the
ANSI/TIA/EIA standards. If required, an independent suspension system shall be installed for
the cable plant, to keep the cables off of and away from the existing ceiling grid and fixtures.
If the building being cabled is a new installation, cable installation shall include voice wiring in
addition to data. The workstation location shall be cabled with a minimum of one 4-pair, UTP,
CAT 5e cable for voice or modem/fax services. It is recommended that two voice cables be
installed rather than a single voice cable; however, budget and overall technical requirements
will determine the need on a case-by-case basis. For planning and budgeting, two voice cables
should be used in the design phase. Voice cable(s) shall be labeled “Voice A” or “Voice A” and
“Voice B” while adhering to the labeling conventions as described in Section 12.
When routed above a suspended ceiling, horizontal cables should be routed down the inside of
walls (“fished”) wherever possible to ensure no exposed cable is visible. If walls cannot be
fished, surface mounted (external) raceway may be used to route the cable from the ceiling to the
information outlet and installed in a surface-mounted outlet box. All attempts should be made to
ensure no horizontal cable is exposed within the building area, providing a neat, professional
installation. Horizontal cables shall never be exposed to outdoor elements without being
protected in proper conduit/raceway systems and have proper lightning and bonding protection
installed.
Optical fiber cable can also be used for horizontal workstation connectivity when the following
conditions exist:
•   Distance requirements exceed the 100 meter cable-length specification.
•   Known high bandwidth/security requirements that exceed copper cable limitations and
    business case supports the installation.
•   Space inside or outside of the walls to support the minimum fiber cable bend radius.
•   Severe EMI or RFI in the copper cable plant.
•   Adequate funding.
•   Proposed fiber optic to the desktop is approved by the DSB.
If optical fiber cables are used for workstation connectivity, each workstation location shall be
cabled with a armored 4-strand, 62.5/125 micrometer (μm), graded index, multi-mode optical


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fiber cable with proper coating to meet local fire and building codes, whereas plenum is
recommended. The cable shall be labeled as described in Section 12 of this document.

3.3      Workstation Outlets
Each workstation area shall use a standard IMO (faceplate) that can support a minimum of three
dual-connection interfaces (remote jack RJ-45, ST, SC, or MTRJ connectors). Regardless of the
installation contractor, all voice and data cable shall utilize a singe Information Outlet.
Information outlets must be capable of future growth without the need to replace the entire
Information Outlet. Information outlets can be either single gang or dual gang standard size;
sizing will be determined by number of cables being installed. The data cables shall be installed
on two RJ-45 jacks.

      Exhibit 2: Workstation (IMO) Faceplates without Optical Fiber Cables, Single Gang

                Single Gang Flush                                        Single Gang Flush
              Mount Faceplate, Single                                   Mount Faceplate, Dual
                 Voice, Dual Data                                          Voice and Data


                            DATA                                                   DATA

                             A        B                                             A         B



                            Blank                                                  Blank
                            Module                                                 Module

                                  A                                                 A         B



                            VOICE                                                 VOICE




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   Exhibit 3: Workstation (IMO) Faceplates without Optical Fiber Cables, Double Gang

      Double Gang Flush Mount Faceplate                      Double Gang Flush Mount Faceplate
            Single Voice, dual data                                 Dual Voice, dual data


                 DATA                 FUTURE                             DATA                 FUTURE

                    A        B                                           A       B




                         A
                                                                          A      B




                 VOICE                                                  VOICE



Where fiber-optic cable is installed to the desktop, the corresponding IMO faceplate shall
provide space to install at least four RJ-45 jacks and at least two ST, SC, or MTRJ optical fiber
connectors (see Exhibit 4).

                        Exhibit 4: Workstation Faceplate with Optical Fiber Cables

     Double Gang Flush Mount Faceplate                       Double Gang Flush Mount Faceplate
         Fiber Optic ST connectors                               Fiber Optic SC connectors

                DATA                 FIBER                               DATA                 FIBER

                A            B                                           A       B




                 A           B                                            A      B




               VOICE                                                    VOICE




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3.4      Backbone Cabling
Intra and Inter-backbone cabling may consist of either or both copper and optical fiber cables
and are required where there exists more than one wire center. The intra and inter-backbone
shall be installed to provide structured connectivity between closets (see Exhibit 5). The
installation provides a star-topology cable infrastructure that is capable of supporting high-speed
and high bandwidth requirements between key resources in an enterprise building or campus
environment.
A multi-mode, single mode, or combination of fiber-optic backbone structure provides the means
of interconnecting all wiring closets to the MDF in a multi-segmented environment. Optical
fiber not only provides extensive bandwidth capabilities to the LAN and voice, but it also
provides a solution to the distance-related problems encountered with copper cables in large
installations and campus environments.
Copper backbone cabling is required to support voice services, however, the specifications and
designs are determined on a site-by-site basis. This is due to the variety, funding, capacity and
availability of voice services and designs. Copper backbone may also be installed to support
networking services, where distance limitations do not exceed the ANSI/TIA/EIA-568-B.1
specifications. Copper backbone cabling provides a redundant connectivity option in the event
of a catastrophic fiber failure, and shall be installed where voice and data closets are physically
separated.
Each remote wiring closet shall be connected to the MDF with a multi-strand, optical fiber
backbone cable that runs directly from the wiring center to the MDF. All strands will be
terminated with ST, SC, or MTRJ-style connectors in accordance with the ANSI/TIA/EIA
standards in rack-mounted patch panels. A minimum twelve-strand fiber shall be installed in any
facility providing connectivity between communications closets. It is estimated that 12 strands
of multi-mode fiber will meet most of the intra and inter backbone connectivity needs currently
deployed and planned for ICE facilities. Considering the myriad of site functions, building
designs, physical layout, application requirements and future technologies, backbone design is a
critical element in the planning stages. To ensure facilities are properly engineered with respect
to backbone fiber types and counts, DSB will provide engineering design in concert with local
Automated Data Processing (ADP) support personnel and facilities architects. This ensures both
short-term and long-term requirements are met in a cost-effective manner.
The optical fiber Intra and Inter-backbone cabling shall have one port per strand for cross-
connection, and will conform to the specifications in Sections 4 and 6 of this document.




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                                  Exhibit 5: Backbone Fiber Distribution




Remote
Wire Closets
(RWC)
                                                                                                   Intra-Backbone




                                                                                                  Inter-Backbone




    Main Distribution Frame (MDF)




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4.0      SPECIFICATIONS
This section provides detailed component characteristics and specifications with respect to the
materials used to install the structured cable plant.

4.1      Horizontal Cables
All cable, equipment, and materials shall meet applicable ANSI/TIA/EIA-568-B, National
Electrical Code (NEC) 770, Institute of Electrical and Electronics Engineers (IEEE) 802 and
Underwriters Laboratory (UL) Verification Program standards. All cable equipment and
materials must be manufactured by facilities that are International Organization for
Standardization (ISO) 9001 registered and certified.
•     Shall be CAT 5e rating in accordance with ANSI/TIA/EIA-568-B.2
•     Four-pair, 100-Ohm, 24 American Wire Gage (AWG).
•     The cable should have contiguous, 2-foot segment-length markers printed on the cable jacket.
      The markings must also show the applicable performance CAT 5e, as well as the fire rating
      of the cable being installed.
•     The finished cable shall be 100% plenum rated in accordance with the requirements of NEC
      Article 800, UL 444, NFPA 262, (UL 910), and applicable Canadian Standards Association
      (CSA) standards.
Note: CAT 5e cable types must meet or exceed specifications listed in Exhibit 6.

                                      Exhibit 6: 5e Cable Specifications

                                  Specification                               Category 5e
                   Frequency Range                                   1-100 MHz
                   Attenuation (maximum)                             24 dB
                   NEXT (minimum)                                    30.1 dB
                   PSNEXT (minimum)                                  27.1 dB
                   ACR (minimum)                                     6.1 dB
                   PSACR (minimum)                                   3.1 dB
                   ELFEXT (minimum)                                  17.4 dB
                   PSELFEXT (minimum)                                14.4 dB
                   Return Loss (minimum)                             10 dB
                   Propagation Delay (maximum)                       548 nanoseconds (ns)
                   Delay Skew (maximum)                              50 ns

4.2      Information Management Outlets
•     Provide ANSI/TIA/EIA symbol icons for application identification (LAN, Voice, etc).
•     Provide individual label window for cable identification.


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•     Provides a high-density design.
•     Offers solutions for secure environments.
•     Must match make and model in existing facilities.
•     Meets or exceeds ANSI/TIA/EIA CAT-5e specifications.
•     Mounts to standard electrical 2 inch and 4 inch boxes.
•     Allows all modules (jacks) to be loaded and accessed from the front. No need to remove
      faceplate.
•     Meets all Federal Communications Commission (FCC) Part 68 specifications.
•     Provides standard 110D type insertion displacement connector (IDC) Printed Circuit Board
      (PCB) mounted connector.
•     Is offered in a multitude of colors.
•     Provides interchangeability between modules.
•     Offers non-keyed RJ-45 style connectors.
•     Offers SC, ST or MTRJ interchangeable modular fiber connectors.
•     Is available in the ANSI/TIA/EIA-T568A wiring configuration.

4.3       Backbone Cabling
Backbone cabling shall be a minimum of 12-strand multi-mode fiber optic. In limited instances,
single mode fiber-optic cable may be used for distances that exceed 500 meters, in accordance
with the Institute of Electrical and Electronics Engineers (IEEE) and the Gigabit Ethernet
Alliance organizations. The IEEE 802.3z and IEEE 802.3ab published standards apply to gigabit
Ethernet and overall specifications.
CAT 5e copper backbone cabling shall meet the same specifications as stated in Section 4.1
(Horizontal Cabling), in addition to the multi-pair construction in increments of 25, 50 and 100
pair complements. Voice copper backbone cabling is not specified in this standards document
and shall be determined on a case-by-case basis. Voice copper backbone cables are not subject
to the same 100 meter distance limitations as specified for networking backbone cabling which is
the CAT 5e cable plant.

4.3.1     Intra-Building Fiber Optics
Specifications for fiber backbone cabling that will interconnect closets within a single building
or high-rise environment are defined in this section.

4.3.1.1    Multi-Mode Fiber Optics
•     62.5/125-µm optical fiber plenum (OFNP) or optical fiber riser (OFNR).
•     Maximum Attenuation: 3.5/1.0 dB km at 850/1300 nm.
•     Minimum Bandwidth: 200/500 MHz km at 850/1300 nm.
•     Tight buffered.
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•     Plenum or riser rated.

4.3.1.2    Single-Mode Fiber Optics
•     8.3/125-µm OFNP or OFNR.
•     Maximum Attenuation: 1.0/0.5 dB km at 1310/1550 nm.
•     Tight buffered.
•     Plenum or riser rated.

4.3.2     Inter-Building Fiber Optics
Specifications for fiber cable that will interconnect remote buildings in a campus environment.

4.3.2.1    Multi-Mode Fiber Optics
•     62.5/125-µm OFN, OFNP, or OFNR.
•     Maximum Attenuation: 3.5/1.0 dB km at 850/1300 nm.
•     Minimum Bandwidth: 200/500 MHz km at 850/1300 nm.
•     Loose Tube.
•     Not Rated, Plenum rated, or Riser rated.

4.3.2.2    Single-Mode Fiber Optics
•     8.3/125-µm OFN, OFNP, or OFNR.
•     Maximum Attenuation: 1.0/0.5 dB km at 1310/1550 nm.
•     Loose Tube.
•     Not Rated, Plenum rated, or Riser rated.

4.4       Patch Cables (Workstation and Patch Panel)
•     Shall conform to the ANSI/TIA/EIA CAT 5e specifications.
•     4-pair, UTP stranded cable.
•     RJ-45 connectors on both ends.
•     The patch cables shall be wired in accordance with the ANSI/TIA/EIA-568-B.2 and
      ANSI/TIA/EIA-568-B.3 specifications.
•     Certified by the manufacturer as compliant with the ANSI/TIA/EIA CAT 5e criteria.
•     Cables shall be available in a wide variety of colors and lengths.

4.5       Patch Panels
•     Shall conform to the ANSI/TIA/EIA CAT 5e specifications.
•     The patch panel wiring shall be in compliance with ANSI/TIA/EIA T568A wiring standards.

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•     Provide back wire management hardware.
•     Provide modular design to facilitate field repairs.
•     Provides standard 110D type IDC PCB mounted connector.
•     Available in low and high density configurations.
•     Meet the standard EIA-310 relay rack spacing specifications.
•     Provide RJ-45 interface.
•     Meets all FCC Part 68 specifications.
•     Available in 12, 24, 48, and 96 port capacities.
•     Match make and model within existing facilities, where possible.

4.6      Equipment Racks
•     Shall conform to the ANSI/TIA/EIA standards.
•     Conform to the standard EIA-310 mounting specification.
•     Provide pre-tapped 10-32 threading.
•     Provide a flexible modular concept.
•     Provide vertical wire management.
•     Provide floor mounting hardware except for swing gate style hardware.
•     Match make and model within existing facilities, where possible.
See Exhibit 7 for a typical rack and cabinet structure.

4.7      Cabinets and Swing Gates
•     Shall conform to the ANSI/TIA/EIA standards.
•     Conform to the standard EIA-310 mounting specification.
•     Provide pre-tapped 10-32 threading.
•     Provide a flexible modular concept.
•     Provide vertical wire management.
•     Provide floor mounting hardware except for swing gate style hardware.
•     Match make and model within existing facilities, where possible.
•     Available in widths up to 26 inches or more.
•     Available in depths up to 36 inches or more.
•     Allow fan assembly installation.
•     Lockable and offer matching key/lock design where multiple cabinets are installed.
•     Are of a welded, uni-body construction.
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•     For areas located within seismic activity, meet Zone 4 earthquake vibration test conditions in
      accordance with National Electrical Bell Standards (NEBS) document TR-NWT-000063,
      Issue 4, 1992

                               Exhibit 7: Typical Rack/Cabinet Enclosures

                                                                        26 "

                                       19 "
                                              S   D




                                                      84"




                                                                                   36"




5.0      COPPER CABLE INSTALLATION SPECIFICATIONS
This section details the specifications that are to be used when installing all copper cabling. All
work shall be ANSI/TIA/EIA–568-B, ANSI/TIA/EIA-569-A, ANSI/TIA/EIA-606-A, NEC 770
and IEEE 802 standard specification quality (as applicable).

5.1      Horizontal Cables
These are cables installed from a typical workstation location back to a central point within a
building or facility. These cables connect the IMO (jack), back to a central point, the closet. The
closet may be the MDF or an RWC. These cables shall be installed in compliance with
ANSI/TIA/EIA, building and industry practices. Cables should never be exposed nor create any
safety hazards for the public.
All copper cables shall be positioned at a minimum distance of 4 inches from any EMI device
(such as a light ballast, electrical motor, or power line). If contact is unavoidable (as in modular
furniture), the copper cables shall not run more than 5 feet in parallel with the interference-
generating medium. If traversing is necessary, all copper cables shall cross power lines and
electrical conduits at a 90-degree angle to minimize interference.
Copper cables installed in a suspended ceiling environment shall at all times be self-suspended in
the plenum air space by the use of a separate suspension system or installation in the building

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construction frame at the top of the permanent ceiling, if it exists. At no time shall cables be
secured to the suspended ceiling grid, water pipes, or electrical conduits.
All cables should be installed as far above the suspended ceiling as possible, and should be
bundled together with tie-wraps at intervals no less than 6 feet unless a dedicated cable tray
system is available to support the cable. The tie-wraps should not be installed so tight as to
"dent" or compress the cable jacket because this could create excessive crosstalk in the cables,
causing failure during the testing of the cable to meet CAT 5e specifications.

5.2      Patch Cables (Workstation)
The workstation patch cable connects the end user devices (personal computer, terminals, etc.) to
the IMO (jack). For most installations, these patch cables will be provided and left on-site for
the deployment team or local ADP to install when setting up workstations and are not included in
the overall cable plant certification. The workstation patch cable may be any length as long as
the combined length of the workstation patch cable, the horizontal workstation cabling, and the
patch-panel cable does not exceed 100 meters (328 feet). These cables are normally pre-
constructed, certified and ordered in standard one-foot incremental lengths. If the installation
vendor chooses, custom-length, certified station cables can be used.

5.3      Patch Cables (Panel)
The patch-panel cable connects the horizontal cable port to the voice and data electronics within
a central wire center or closet, typically a RWC or MDF. These cables are identical to the
workstation cables and are pre-constructed and certified by the manufacturer. It is the cable
installer’s responsibility for patching all active cable locations into active ports, unless otherwise
directed by the ICE manager or designated representative. These cables are pre-certified by the
manufacturer; therefore, it is unnecessary to include them in the cable plant certification. Wire
management and organization is important to facilitate troubleshooting, repair, and
documentation and, as such, there are key elements to ensure patch cords are properly installed.
The following requirements shall be followed for patching workstation ports to electronics:
•     The patch-panel cable may be any length, provided that the combined length of the
      workstation patch cable, the horizontal workstation cabling, and the patch-panel cable does
      not exceed 100 meters (328 feet).
•     If the installation vendor chooses, custom-length, certified station cables can be used.
•     Patch cables must be labeled and matching on both ends, in a standard one-up numeric
      convention. An example would be a closet that has 100 active workstations, thus 100 patch
      cables are installed, one for each active node, starting with cable identification (ID) number
      one and ending with ID number 100. Any support personnel would be able to view the
      station patch panel and electronics equipment to determine which specific port a particular
      station is connected.
•     Patch cable numbering shall be affixed to both ends of each patch cord approximately one
      inch from the terminator or mod plug.
•     Label IDs must be legible and produced with indelible ink. The preferred method is a printed
      label. Installers must avoid the use of materials that will distract from the appearance of the
      installation, or any temporary marking.

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•     Ensure patch cables are installed in a manner that does not require support personnel to “tug”
      or “trace” cables in order to determine the active port.
•     Cables must be dressed utilizing available horizontal and vertical wire management.
•     Patch cables should provide a neat and organized appearance, eliminating large bundles of
      cables in single locations, preventing tangles and using incorrect, or oversized cables that
      produce excess slack.
•     Cables shall never exceed the minimum bend radius or have kinks or nicks in accordance
      with the ANSI/TIA/EIA specifications.
•     Cables should utilize left and right vertical wire management to reduce cable patch
      congestion produce and even cable distribution within a given cabinet.
•     Patch cables shall never create a trip hazard or other risk to equipment, services or personnel.

5.4      Copper Cable Termination
This section applies to both the workstation and closet cable termination practices. All copper
cable terminations shall conform to ANSI/TIA/EIA-568-B standards. The key areas and
specifications are highlighted below:
•     Pair twists shall be maintained as close as possible to the point of termination. Untwisting
      shall not exceed 13mm (0.5 in.) for CAT 5e links.
•     Strip back only as much jacket as is required to terminate individual pairs.
•     All connecting hardware shall be installed to provide well-organized cable management in
      accordance with manufacturer’s guidelines.
•     All four pairs must be terminated.
•     Pin/Pair assignments shall follow the T568A configuration (see Exhibit 8).

                                  Exhibit 8: T568A Pair/Pin Assignments
                                                          Pair 2

                                                Pair 3    Pair 1     Pair 4




                                                1 2 3 4 5 6 7 8




                                                         T568 A




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6.0      INSTALLATION OF OPTICAL FIBER CABLES AND CONNECTORS
This section provides the specifications to be used when installing all optical fiber cabling.

6.1      Fiber Horizontal Workstation Cable
The fiber horizontal workstation cable connects the workstation to the wiring center. This cable
shall be four-strand, multi-mode, 62.5/125 μm, optical fiber cable with graded index 250 or 900
μm buffer. Contiguous, 2-foot, segment-length markers shall be printed on the cable jacket.
The bend radius of any optical fiber cable installed shall be at least eight times the outside
diameter of the cable. For example, a six-strand optical cable with an outside diameter of .30
inches and shall have a minimum bend radius of 2.40 inches.
Pulling tension for optical fiber cables must adhere to and not exceed manufacturer
specifications.

6.2      Backbone Fiber Cable
The optical fiber home-run backbone cable shall connect each remote wiring closet to the MDF.
This cable shall be 12-, or 24-, or more strand, multi-mode, 62.5/125 μm, optical fiber cable with
graded index, 250 or 900 μm buffer, and contiguous, 2-feet, segment-length markers printed on
the cable jacket. All Intra and Inter-backbone fiber cables shall be installed in conduit or
plenum-rated inner-duct.
Fiber-optic cable shall not share conduits with copper medium unless separation between copper
and fiber is maintained. For large campus or complex backbone fiber installations where
multiple conduits or pathways exist, fiber-optic cable shall be separated from the copper cable
installation, wherein fiber-optic cable is dedicated to one conduit, copper to another. In retrofit
or existing buildings, where pathways are insufficient to maintain separation between copper and
fiber, ICE DSB shall review and approve the design prior to installation.

6.3      Optical Fiber Cable Jacket
All overhead or above-ceiling installations shall use optical fiber cable with a plenum-graded
jacket that is marked with a UL rating of “OFNP” or equivalent. All non-air-return (non-
plenum) installations can use optical fiber cable with either a plenum or non-plenum jacket (such
as PVC) that is marked with a UL rating of “OFNR” or equivalent.

6.4      Optical Fiber Connector
The optical fiber connector for workstation or backbone connections shall follow the
ANSI/TIA/EIA standards for installation. ICE is reviewing the MTRJ as an acceptable
connector, but the use of this style will be determined on a case-by-case basis.

New buildings shall use SC or MTRJ type connectors for workstation and/or backbone
installation.

In retrofit buildings, fiber connectors should match the existing installed connectors.



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6.5      Optical Fiber Cable Termination
All optical fiber cables shall be light tested prior to installation. This is typically done while the
cable is still on spools or reels and only ensures all strands pass light prior to pulling cable into
conduits and pathways.
The minimum termination shall be four strands for a horizontal cable. When installing fiber-
optic backbone cabling, all strands will be terminated with the appropriate connectors and
capped with a dust boot. All strands shall be terminated and tested.
All optical fiber cables shall have a twenty foot storage coil (wrapped in an appropriately sized
loop for the minimum bend radius of the cable) positioned at each end, where possible before
being terminated with connectors. All intermediate slack in the optical fiber cable shall be
loosely coiled and suspended to avoid hard bends or kinks.

7.0      FACEPLATE CONFIGURATION
Workstations that are not connected to an optical fiber cable typically utilize a single-gang
faceplate that can support up to six connection ports (see Exhibits 2 and 3). When data only is
installed in the faceplate, a dual, RJ-45 module shall be installed in the top position. If a dual
gang faceplate is used, the dual RJ-45 module shall be installed in the top left position. When
voice and data are installed in the same faceplate, the dual RJ-45 information outlet shall
conform to the configuration as outlined in Exhibit 2 and 3. Voice shall be installed at the
bottom, data at the top positions of all information outlets. Blank inserts shall be installed in all
remaining positions.
Workstations that are connected to optical fiber cables shall have a double-gang faceplate and
junction box installed that can support up to 12 connection ports (see Exhibit 4).

8.0      PATCH PANELS
Patch panels, both fiber and copper are the approved methods of providing connectivity between
horizontal cables, Intra and Inter-backbone copper, fiber backbone, and common network service
devices, such as switches, PBX, routers, and other electronics.
Patch panel installation must adhere to manufacturer specifications and installed utilizing all wire
management hardware, both front and back. Panels shall be installed to best utilize both vertical
and horizontal wire managers, and should be separated by horizontal wire managers. There
should be a minimum of one horizontal wire manager for each horizontal patch panel. Panels
must be clearly marked as to the outlet designation. Labels must be of permanent indelible typed
materials.

8.1      Copper Patch Panels
Each panel will be installed to provide the maximum use of rack space. Each panel will be
mounted in an equipment rack that shall conform to the EIA-310 mounting-hole spacing
standard.
Separate patch panels will segregate “Data A”, “Data B”, “Voice A”, and “Voice B” cables. The
upper patch panel will be used for “Data A” only; the lower patch panel will be used for “Data
B” only. In addition, and depending on the number of total cables, voice cables may also share a
single standard 7-foot equipment rack, swing gate or cabinet enclosure. Exhibits 9, 10, and 11

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shall be used as a model for all new installations, and should be followed as close as possible for
major retrofits and renovations with respect to existing cable plant configurations. Deviations to
these layout exhibits shall be reviewed and approved by the DSB.

8.2      Fiber Optic Patch Panels
Optical fiber cable patch panels for workstation connections (also called fiber cabinets) shall
provide ST, SC, or MTRJ couplers. Optical fiber cable patch panels for backbone cabling (also
called fiber cabinets) shall provide SC or MTRJ couplers. The color scheme and the port
numbering scheme on the patch panel shall be consistent in any given installation to reduce
confusion and to prevent mistakes in making cross-connections. Fiber patch panels shall be
installed in standard increments of six-position, ST, SC or MTRJ, loads or interconnect couplers,
as required in each wiring closet and MDF.

9.0      EQUIPMENT RACK
There are a multitude of equipment racks and cabinets that are acceptable for use in ICE
installations. Wherever possible, separate secure communication closets are recommended and
are the preferred method for voice and data installation. In these dedicated communications
closets, open racks, cabinets and swing gates may be used to meet the needs of the installation.
When open racks or swing gates are used, they shall be located within the wiring closets, and
they shall provide structural support for the patch panels and required electronics. The open rack
will be a standard 19 inches wide by 7 feet tall when used in a floor mount configuration. When
space considerations mandate, it is acceptable to use an open, wall-mounted equipment rack
(swing gate). If a wall mount configuration is used, the rack must be hinged, and space must be
provided so that the rack can swing fully open and provide full access to the back of the rack.
All floor or wall-mounted equipment racks, cabinets and swing gates installed in earthquake-
prone geographic areas shall be installed in compliance with specific seismic guidelines,
regulations and codes. Special attention must be taken to ensure the proper installation
techniques are followed to minimize risk to electronics and cable plant, and most importantly
prevent the mounting hardware from toppling over during seismic activity.
Equipment shall be mounted on the rack via holes in the frame or by using mounting hardware
that conforms to the EIA-310 mounting-hole spacing standard. As an alternative for non-rack
devices, equipment may be placed on flat shelves that are attached to the rack. All racks shall be
secured either to the floor or wall with bolts or other fasteners that are rated to withstand the
recommended weight limits and shear loads for the rack. Each rack shall include all mounting
and assembly hardware (such as nuts and bolts) for full configuration use. When multiple racks
and/or cabinets are used and they are butted together in the closet, they shall be bolted together
for additional stability.




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                             Exhibit 9: Consolidated Closet, Voice and Data
                                                                                                                                 Horizontal Wire Management

                                                                                                                                                                                                                                                                                                                                                                                  Backbone Fiber
                                                                                                                                                                                                                                                                                                                                                                             SD


                                                                                                                                                                                               SD




Backbone Fiber
24 port minimum                                                                                                                                                                                                                                                                                                                                                                   24 port minimum
capacity                                                                                                                                                                                                                                                                                                                                                                          capacity
                                                                                                             WIRE MANAGER                                                                                                                                                                 WIRE MANAGER
                                                                                                                                                                                                                                                                                      O PEN SYSTEN ARCHITEC TUR E
                                                                                                         OPEN SYST EN ARCHITECTU RE




                                                                                                                                                                                                    PATCH PANEL
                                   PATCH PANEL

                                                                                                                                                                                                       1        2        3        4        5        6     7    8      9    10    1 1       12       13    14    15    1 6    17    18    19   20     21    22    23     24
                                     1      2     3     4     5     6    7      8     9    10       11      12      13    14     15    16     17   18    19    20     21   22     23     24




                                                                                                                                                                                                                                                                                                                                                                                   DATA Cables-A
                                                                                                                                                                                                      25       26       27       28        29      30    31    32    33    34    35       36        37    38    39    4 0    41    42    43   44     45    46    47     48
                                     25    26    27    28     29   30    31    32    33    34       35      36      37    38     39    40     41   42    43    44     45   46     47     48




Voice Cables-A
                                                                                                                                                                                                                                                                                                                                                                                   1-96
                                                                                                                                                                                                      49       50       51       52        53      54    55    56    57    58    59       60        61    62    63    6 4    65    66    67   68     69    70    71     72
                                     49    50    51    52     53   54    55    56    57    58       59      60      61    62     63    64     65   66    67    68     69   70     71     72




1-96                                 73    74    75    76     77   78    79    80    81    82       83      84      85    86     87    88     89   90    91    92     93   94     95     96
                                                                                                                                                                                                      73       74       75       76        77      78    79    80    81    82    83       84        85    86    87    8 8    89    90    91   92     93    94    95     96




                                                                                                                                                                                                                                                                                                                                                                     CAT5E
                                                                                                                                                                                   CAT5E




                                                                                                             WIRE MANAGER
                                                                                                                                                                                                                                                                                          WIRE MANAGER
                                                                                                         OPEN SYST EN ARCHITECTU RE
                                                                                                                                                                                                                                                                                      O PEN SYSTEN ARCHITEC TUR E




                                   PATCH PANEL                                                                                                                                                       PATCH PANEL

                                      97    98   99    100 101     102   103   104   105   106     107     108      109   110    111   112   113   114   115   116   117   118   119    120




                                                                                                                                                                                                                                                                                                                                                                                  DATA Cables-A
                                                                                                                                                                                                       97       98      99       100      101      102   103   104   105   106   107      108      109   110    111   112   113   114   115   116   117   118   119    120




Voice Cables-A                      121    122   123   124   125   126   127   128   129   130     131     132     133    134   135    136   137   138   139   140   141   142   143    144




                                                                                                                                                                                                                                                                                                                                                                                  97-144
                                                                                                                                                                                                      121      122      123      124      125      126   127   128   129   130   131      132      133   134   135    136   137   138   139   140   141   142   143    144




97-144                                                                                                                                                                                 CAT5E
                                                                                                                                                                                                                                                                                                                                                                     CAT5E



                                                                                                           WIRE MANAGER                                                                                                                                                                   WIRE MANAGER
                                                                                                     OPEN SY STE N ARC HITECT URE                                                                                                                                                     O PEN SYSTEN ARCHITEC TUR E




                                   PATCH PANEL
                                                                                                                                                                                                     PATCH PANEL

                                     1      2     3     4     5     6    7      8     9    10       11      12      13    14     15    16     17   18    19    20     21   22     23     24
                                                                                                                                                                                                           1        2        3        4        5    6     7     8     9    10     11       12       13    14    15    16    17    1 8   19    20    21    22    23     24




Voice Cables-B
                                     25    26    27    28     29   30    31    32    33    34       35      36      37    38     39    40     41   42    43    44     45   46     47     48
                                                                                                                                                                                                       25       26       27       28       29       30   31    32    33    34    3 5       36       37    38    39    40    41    4 2   43    44    45    46    47     48


                                                                                                                                                                                                                                                                                                                                                                                   DATA Cables-B
1-96
                                     49    50    51    52     53   54    55    56    57    58       59      60      61    62     63    64     65   66    67    68     69   70     71     72
                                                                                                                                                                                                       49       50       51       52       53       54   55    56    57    58    5 9       60       61    62    63    64    65    6 6   67    68    69    70    71     72


                                                                                                                                                                                                                                                                                                                                                                                   1-96
                                     73    74    75    76     77   78    79    80    81    82       83      84      85    86     87    88     89   90    91    92     93   94     95     96
                                                                                                                                                                                                       73       74       75       76       77       78   79    80    81    82    8 3       84       85    86    87    88    89    9 0   91    92    93    94    95     96




                                                                                                                                                                                       CAT5E
                                                                                                                                                                                                                                                                                                                                                                     CAT5E




                                                                                                    WIRE MANAGER                                                                                                                                                                          WIRE MANAGER
                                                                                                O PEN SYSTEN ARCHI TECTU RE                                                                                                                                                           O PEN SYSTEN ARCHITEC TUR E




                                                                                                                                                                                                     PATCH PANEL

                                   PATCH PANEL                                                                                                                                                         97       98      99       100      101      102   103   104   105   106   107      108      109   110    111   112   113   114   115   116   117   118   119    120




                                                                                                                                                                                                                                                                                                                                                                                   DATA Cables-B
                                      97    98   99    100 101     102   103   104   105   106     107     108      109   110    111   112   113   114   115   116   117   118   119    120




Voice Cables-B                                                                                                                                                                                        121      122      123      124      125      126   127   128   129   130   131      132      133   134   135    136   137   138   139   140   141   142   143    144




                                                                                                                                                                                                                                                                                                                                                                                   97-144
                                    121    122   123   124   125   126   127   128   129   130     131     132     133    134   135    136   137   138   139   140   141   142   143    144




97-144                                                                                                                                                                            CAT5E
                                                                                                                                                                                                                                                                                                                                                                  CAT5E




                                                                                                                                                                                                                                                                                          WIRE MANAGER
                                                                                                         WIRE MANAGER                                                                                                                                                                 O PEN SYSTEN ARCHITEC TUR E

                                                                                                   O PEN SYST EN ARCHITECTU RE




                                                                                                                                                                                                                                                                                        10/100 L2, L3
                                                                                                                                                                                                                                                                                          SWITCH
Voice Electronics                                                                                                                                                                                                                                                                                                                                                                 LAN Electronics
or patch panels


                                                                                                                                                                                                                                                                                           WIRE MANAGER
                                                                                                                                                                                                                                                                                       OP EN SY STEN ARC HITECTURE




                                                                                                                                                                                                                                                                                                                                                                                  Future Growth for
                                                                                                                                                                                                                                                                                                                                                                                  Electronics



                                                                                                                                                                                               S
                                                                                                                                                                                               D                                                                                                                                                                                   Power Strip with
                                                                                                                                                                                                                                                                     7 FOOT RACK                                                                                                   Surge Protection
                                                                               7 FOOT RACK

 Vertical Wire
 Management




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             Exhibit 10: Single Rack, Data Only (Voice and Data Not Consolidated)

                                                                                                                                                                                                                 Backbone Fiber
                                                                                                                                                                                                           SD




                                                                                                                                                                                                                 24 port minimum
                                                                                                                                                                                                                 capacity
         Horizontal                                                                                                    WIRE MANAGER
                                                                                                                   OPEN SYSTEN ARCH ITE CTU RE




         Wire                                   Patch Panel
                                                   1      2      3      4     5      6     7    8     9     10    11   12       13    14    15    16    17    18    19    20    21    22     23     24




         Management                                25     26     27    28     29    30    31    32    33   34     35   36       37    38    39    40    41    42    43    44    45    46     47     48




                                                                                                                                                                                                                 DATA Cables-A
                                                                                                                                                                                                                 1-96
                                                   49     50     51    52     53    54    55    56    57   58     59   60       61    62    63    64    65    66    67    68    69    70     71     72




                                                   73     74     75    76     77    78    79    80    81   82     83   84       85    86    87    88    89    90    91    92    93    94     95     96




                                                                                                                                                                                             CAT5E




                                                                                                                       WIRE MANAGER
                                                                                                                   OPEN SYSTEN ARCH ITE CTU RE




                                               ORTRONICS
                                                  97    98      99    100   101    102   103   104   105   106   107   108     109    110   111   112   113   114   115   116   117    118   119     120




                                                 121    122    123    124   125    126   127   128   129   130   131   132     133    134   135   136   137   138   139   140   141   142    143    144
                                                                                                                                                                                                                 DATA Cables-A
                                                                                                                                                                                                                 97-144
                                                                                                                                                                                                  CAT5E




                                                                                                                       WIRE MANAGER
                                                                                                                   OPEN SYSTEN ARCH ITE CTU RE




                                                Patch Panel

                                                   1      2      3      4     5      6     7    8     9     10    11   12       13    14    15    16    17    18    19    20    21    22     23     24




                                                   25     26     27    28     29    30    31    32    33   34     35   36       37    38    39    40    41    42    43    44    45    46     47     48


                                                                                                                                                                                                                  DATA Cables-B
                                                   49     50     51    52     53    54    55    56    57   58     59   60       61    62    63    64    65    66    67    68    69    70     71     72


                                                                                                                                                                                                                  1-96
                                                   73     74     75    76     77    78    79    80    81   82     83   84       85    86    87    88    89    90    91    92    93    94     95     96




                                                                                                                                                                                             CAT5E




                                                                                                                       WIRE MANAGER
                                                                                                                   OPEN SYSTEN ARCH ITE CTU RE




                                               Patch Panel
                                                  97    98      99    100   101    102   103   104   105   106   107   108     109    110   111   112   113   114   115   116   117    118   119     120


                                                                                                                                                                                                                  DATA Cables-B
                                                 121    122    123    124   125    126   127   128   129   130   131   132     133    134   135   136   137   138   139   140   141   142    143    144


                                                                                                                                                                                                                  97-144
                                                                                                                                                                                                   CAT5E




                                                                                                                       WIRE MANAGER
                                                                                                                   OPEN SYSTEN ARCH ITE CTU RE




                                                                                                                       10/100 L2,L3
                                                                                                                         SWITCH
                                                                                                                                                                                                                LAN Electronics

                                                                                                                       WIRE MANAGER
                                                                                                                   OPEN SYSTEN ARCH ITE CTU RE




                                                                                                                                                                                                                  Future Growth for
                                                                                                                                                                                                                  Electronics

                                                                                                                                                                                                                 Power Strip with
                                                                                                7 FOOT RACK                                                                                                      Surge Protection
          Vertical Wire
          Management




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               Exhibit 11: Consolidated Closet, Voice and Data; Share Single Rack
                                     (less than 72 locations)
                                                                                                                                                                                      SD




                                                                                                                                                                                               Backbone Fiber

    Horizontal                                                                                             PATCH PANEL
                                                                                                      OPEN SYST EN ARCH ITE CTU RE




    Wire                                       PATCH PANEL

                                                1    2       3    4    5    6    7    8    9    10   11   12        13    14     15   16   17   18   19   20   21   22   23    24




    Management                                 25    26      27   28   29   30   31   32   33   34   35   36        37    38     39   40   41   42   43   44   45   46   47    48
                                                                                                                                                                                               DATA Cables-A
                                                                                                                                                                              CAT5E



                                                                                                           PATCH PANEL
                                                                                                      OPEN SYST EN ARCH ITE CTU RE




                                               PATCH PANEL

                                                1    2       3    4    5    6    7    8    9    10   11   12        13    14     15   16   17   18   19   20   21   22   23    24




                                               25    26      27   28   29   30   31   32   33   34   35   36        37    38     39   40   41   42   43   44   45   46   47    48
                                                                                                                                                                                              DATA Cables-B
                                                                                                                                                                              CAT5E




                                                                                                           PATCH PANEL
                                                                                                      OPEN SYST EN ARCH ITE CTU RE




                                                                                                          10/100 L2, L3
                                                                                                            SWITCH
                                                                                                                                                                                                LAN Electronics

                                                                                                           PATCH PANEL
                                                                                                      OPEN SYST EN ARCH ITE CTU RE




                                                                                                                                                                                               Future Growth
                                                                                                                                                                                               Electronics
                                                                                                           PATCH PANEL
                                                                                                      OPEN SYST EN ARCH ITE CTU RE




                                             PATCH PANEL

                                                1    2       3    4    5    6    7    8    9    10   11   12        13    14     15   16   17   18   19   20   21   22   23    24




                                               25    26      27   28   29   30   31   32   33   34   35   36        37    38     39   40   41   42   43   44   45   46   47    48

                                                                                                                                                                                               Voice Backbone
                                                                                                                                                                              CAT5E




                                                                                                           PATCH PANEL
                                                                                                      OPEN SYST EN ARCH ITE CTU RE




                                             PATCH PANEL

                                                1    2       3    4    5    6    7    8    9    10   11   12        13    14     15   16   17   18   19   20   21   22   23    24




                                               25    26      27   28   29   30   31   32   33   34   35   36        37    38     39   40   41   42   43   44   45   46   47    48
                                                                                                                                                                                               Voice Cables-A
                                                                                                                                                                              CAT5E




                                                                                                           PATCH PANEL
                                                                                                      OPEN SYST EN ARCH ITE CTU RE




                                             PATCH PANEL

                                                1    2       3    4    5    6    7    8    9    10   11   12        13    14     15   16   17   18   19   20   21   22   23    24




                                               25    26      27   28   29   30   31   32   33   34   35   36        37    38     39   40   41   42   43   44   45   46   47    48              Voice Cables-B
                                                                                                                                                                              CAT5E




                                                                                                                                                                                                Future Growth
                                                                                                                                                                                                Voice

                                                                                                                                                                                              Power Strip with
                                                                                      7 FOOT RACK
                                                                                                                                                                                              Surge Protection
     Vertical Wire
     Management




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Floor mounted racks and cabinets shall have a minimum of 36 inches of clearance in front of,
behind, and on at least one side. Where space or room layouts limit the minimum clearances
required, the installation contractor shall notify the DSB or designated representative for
technical direction.
Equipment layout, specifically with respect to rack, cabinet, and swing gate location are critical
design elements that ensure future growth, maintenance and flexibility are protected. Proper
clearances also allow installers and maintenance personnel the required room to perform work
safely and ensure electronics environmental conditions are maintained.
The patch cables shall run neatly through the wire management panels above the electronics, run
down the sides of the rack, run below the electronics, and plug neatly into the respective port.
The cables between the patch panels and the electronics shall not be excessively long nor shall
they lie on the floor. The patch cables shall be secured and bundled using Velcro securing
straps.
Caution: The use of tie-wraps is not acceptable when bundling and securing patch cables on
         the rack.
A power strip with surge suppression and an on/off switch shall be mounted to the back of the
rack to supply at least six outlets for AC power (120-volt, 20-amp service).

10.0     GROUNDING
The NEC provides guidelines to ensure that electrical installations in buildings meet the
necessary safety practices to prevent electrical shock hazards to personnel, ensure fault clearance
of unintentional electrical breakdowns that could cause fire, and prevent transient voltages from
causing electrical damage to installed network components. NEC Article 800 pertains to
telecommunications industry and should be consulted for specific guidelines related to this topic.
Article 800 also has references to other articles as the need arises.
In all new buildings and major retrofit projects an independent ground bus, installed in each
communications closet, shall be provided. The independent ground bus in each closet should be
installed by a certified electrician, or properly licensed installer. The independent ground buses
are designated for, and utilized exclusively, by the communications equipment. In existing
buildings, an independent ground is certainly desirable. In general, all communications systems,
cable plant devices, equipment, and components shall be properly grounded and bonded.
All grounding shall be performed to meet the following published standards and guidelines:
•   ANSI/TIA/EIA 607
•   ANSI/IEEE C-142
•   Federal Information Processing Standard (FIPS) 94
•   NEC Articles 250 and 800
•   UL
•   ANSI CI-1978
All equipment racks, cabinets and systems must be properly connected to the independent
ground bus per the ANSI/TIA/EIA 607 specifications. It is the responsibility of the cable
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installer to connect all common closet equipment racks and cabinets to the provided ground bus.
It is also the responsibility of the cable installers to report to the ICE Program Manager any
discrepancies with respect to improper or omitted grounding systems.
For connecting equipment within the telecommunications/data wiring closets to the ground bus,
a number six wire with green insulation should be used. This ground wire should be no longer
than 30 feet.
All ground wire should be routed straight, with sweeping bends, neat, and orderly. Ground wire
should be routed in the most direct fashion possible to the equipment. Ground wires should be
supported by tie-wraps at 12-inch intervals.
The manufacturer instructions and recommendations shall be followed when grounding the
electronic equipment installed in the telecommunications/data wiring closets.

11.0     CABLE LADDERS AND FASTENERS
All cables installed in overhead spaces (such as above ceiling panels) shall be securely strapped
to ceiling slab fasteners or cable ladders that are fastened to the ceiling slab to avoid contact with
lighting equipment or drop ceiling supports. Wire management channels or cable ladders shall
be used to provide orderly arrangement of all installed cables in and around the equipment racks.
As a general rule, all cables shall be securely suspended, fastened, tied, and bundled firmly
(without damaging the cable jackets or creating kinks in the cable) to minimize the amount of
space required for cabling.

12.0     ADMINISTRATION AND LABELING CONVENTIONS
Label conventions shall apply to all sites, regardless of the number of buildings at the site. This
section describes the ICE standard labeling convention for all cable installations, whether new or
retrofit.

12.1     Building Designation
The designation for the building shall be a two to four character alphanumeric scheme.
Buildings typically have unique names/numbers, whether in multi-story complexes or in campus
environments. The first designation should represent the unique building the cable plant is wired
within. This nomenclature will rarely change throughout the life of the building and allows a
structured naming convention to be used for Inter-building backbone cable installations.

12.1.1 Floor
The designation for the floor shall be a two-digit number. If the floor is a single number such as
“4,” place a leading zero before the single-digit, for example “04.”

12.1.2 Wiring Closets
The designation for a wiring center is a single letter. The Computer Room or MDF shall always
have the wiring closet designation of “M.” Remote wiring closets that are all located on the
same floor shall be labeled A-L and N-Z (“M” is reserved for the MDF). Closets that stack
directly on top of each other shall have the same letter designation.


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12.1.3 Cable Numbers
The designation for the cable shall be a three-digit number, followed by an “A” or “B”
designation, indicating the “Data A” or “Data B” cable drop. Use leading zeros as necessary.
For example, the designation for drop #3A would become 003A.

12.2     Information Management Outlet
The IMO is the interface for the workstation cable and the horizontal workstation cable, which
terminates in a wiring closet. This is typically referred to as the “jack” in the industry, also an
enhancement to the Bell Labs Universal Service Order Code (USOC) specifications. These
specifications also referenced the RJ pin assignments. The ANSI/TIA/EIA now prefers to use
the term 8-pin modular plug or connector when describing jack pin-outs. Each information
outlet should be labeled according to the following guidelines:
The designations on single-gang and double-gang faceplates will be as follows:
•   Building (AANN, or combination).
•   Floor (NN, with a leading zero).
•   Wiring center (A).
•   Cable drop (NNN, with leading zeros).
For example: “TW-12-C-111”
where:    TW = TechWorld building
           12 = 12th floor
            C = wiring center and
          111 = cable drop #111.

12.3     Intra and Inter-Building Backbone Cables
These backbone cables interconnect wiring closets either within a building or interconnect
buildings in a campus environment.
The naming convention applies the same for Intra and Inter backbone cable labeling. Standard
nomenclature for backbone cabling shall be as follows:
•   First Building (4–6 alphanumeric characters).
•   First wiring closet (includes floor, closet and pair or strand designations).
•   Second Building (2–4 alphanumeric characters).
•   Second wiring closet (includes floor, closet and pair or strand designations).
For example, “TW801I-06-W-001 – TW800K-01-M-001”
where: TW801I = TechWorld building 801 I is the first building (origination point)
              6 = 6th floor
              W = wiring center, closet W
            001 = cable pair (copper) or strand (fiber)
       TW800K = TechWorld building 800 K is the second building (destination point)
              1 = 1st floor

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                 M      = wiring center, Main Distribution Frame
                001     = cable pair (copper) or strand (fiber).
The cable label shall be affixed to both ends of the cable, approximately 2 to 3 inches from the
termination point. Heat shrink labels are preferable. Wrap-around labels are permissible as long
as they are printed using indelible ink and the labels are easily read.

12.4     Patch Panel Patch Cables
The patch panel patch cord connects the horizontal workstation cable to the network electronics.
Patch cables in each wiring closet should be identified on each end of the patch cable in a
standard, one-up, numeric order, so that an individual patch cable can be easily identified
without having to physically “tug” the cable to follow and identify it.
The cable label shall be affixed to both ends of the cable, approximately one inch from the
termination connector or modular plug. The labels should be printed using indelible ink, and the
labels should be positioned so they can be easily read.

13.0     TEST AND DOCUMENTATION PROCEDURES
The installation contractor shall complete all testing of the cable plant. The installation
contractor is responsible for providing all personnel, equipment, instrumentation, and supplies
that are necessary to perform the required testing.

13.1     Testing of Installed Copper Cable
All installed copper cables shall be tested with a Level III cable tester to certify that the cable
conforms to ANSI/TIA/EIA-568-B specifications. The test device shall provide printed and
electronic (soft) Pass/Fail test results that show the following:
•   Electrical length in feet (accurate to 0.5 feet).
•   Cross-talk in dB for each of the four pairs.
•   End-to-end attenuation in dB for each of the four pairs.
•   Drop number.
•   Continuity (for all eight wires).
•   Capacitance
•   DC resistance
•   Impedance
•   Date of test
•   Name and model of the field tester (i.e. Fluke OMNIScanner 2).
•   Software version or level.
•   Date the field tester was last calibrated.
•   Which test was being performed (permanent link test, channel test).


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13.2     Testing of Optical Fiber Cables
Testing shall be of the optical link as specified in ANSI/TIA/EIA-568-B.3 for multi-mode fiber
optics and ANSI/TIA/EIA-526-7 method A for single-mode fiber optics. An optical fiber link is
defined as the passive cabling network between two optical cross-connects (patch panels or
outlets). This includes cable, connectors and splices but does not include active components.
The link test contains the representative connector loss at the patch panel associated with the
mating of patch cords, but does not include the performance of the connector at the equipment
interface.
If the manufacturer of cables or connecting hardware has supplied post-manufacture
performance data, copies of such data are to be included in the documentation.
Testing of installed multimode fiber cable shall meet or exceed the specifications in Exhibit 12.

                           Exhibit 12: Multimode Fiber Cable Specifications

    Horizontal Fiber                 Attenuation 850 nm                               Attenuation1300 nm
≤ 90 m                    ≤ 2.0 dB                                         ≤ 2.0 dB
    Backbone Fiber
≤ 2000 m (6560 ft)        ≤ fiber length (km) x 3.75 dB/km                ≤ fiber length (km) x 1.5 dB/km
                          + number connector pairs x 0.75 dB              + number connector pairs x 0.75 dB
                          + number of splices x 0.3 dB                    + number of splices x 0.3 dB

Testing of installed single-mode fiber cable shall meet or exceed the specifications in Exhibit 13

                          Exhibit 13: Single Mode Fiber Cable Specifications

                       Length                     Attenuation1310 nm                Attenuation1550 nm
          ≤ 90 m (295 ft)                       ≤ 2.0 dB                          ≤ 2.0 dB
          91-1000 m (3281 ft)                   ≤ 3.0 dB                          ≤ 3.0 dB
          1001-2000 m(6562 ft)                  ≤ 3.3 dB                          ≤ 3.3 dB
          2001-5000 m (16404 ft)                ≤ 4.7 dB                          ≤ 4.7 dB
Test reports shall include the following information for each cabling element tested:
•     Actual measured and maximum allowable attenuation (loss) at the specified wavelengths.
•     Reference method.
•     Number of mated connectors and number of splices (if any).
•     Actual length and maximum allowable length.
•     Group refractive index (GRI) for the type of fiber tested, if length was optically measured.
•     Tester manufacturer, model, serial number and software version.
•     Fiber ID number and project/job name.
•     Link criteria used.

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•   Overall pass/fail indication.
•   Date and time of test.
Test reports may be submitted in hardcopy , electronic, or both formats. ICE prefers these
reports to be provided in the electronic format over hardcopy.

14.0     BUILDING PATHWAYS, CONDUIT, AND CLOSETS

14.1     Closet Specifications (MDF and RWC)
Typical communications closets house common equipment required to support both voice and
data connectivity to workstations. Communication closets/rooms are typically centrally located
on the floor, and adhere to the ANSI/TIA/EIA specifications for cable lobe lengths
(e.g. maximum cable from closet to workstation will not exceed 100 meters, end-to-end).
Closets/rooms should be vertically stacked, with a sufficient number of sleeves interconnecting
each closet. All wiring centers shall comply with or support the following specifications and
requirements:

14.1.1 General Requirements
•   The space should be environmentally temperate, convenient, and professional looking.
•   The communication closets must have sufficient infrastructure required to support the variety
    of communication services provided to ICE and contractor staff. Typically this includes
    items such as conduits, cable trays, building grounding system, etc.
•   Communications closets should be designed for growth, and flexibility supporting new
    technologies without the need for major room modifications and rearrangements.

14.1.2 Environmental
•   Room should be dust free with positive air pressure where possible and meet Federal
    guidelines for specified material to reduce airborne contaminants caused by off gassing.
•   Ceilings should be finished with similar drop tiles used throughout the floor.
•   Overhead lighting sufficient to provide 80 candle feet measured five feet above the finished
    floor, is to be switched controlled and is not to be connected to communications equipment
    circuits.
•   Care must be taken to avoid structural columns, ductwork, other building structures, which
    would restrict the functionality of the space.
•   Ceiling space above communications closets should be open and clear of major Heating,
    Ventilation, and Air Conditioning (HVAC) systems and ductwork, including major motors,
    elevator motors, generators, or equipment that induce excessive EMI and/or RFI to
    communications equipment or systems.
•   Room temperature must be maintained between 65 to 85 degrees Fahrenheit, with a relative
    humidity range of 20 to 60 percent. When heat-generating equipment is placed into
    communication closets, maintaining environmental parameters is essential, thus avoiding
    down time due to equipment failures caused by equipment over heating. Where the building

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    HVAC is insufficient to maintain these parameters a standalone HVAC system should be
    considered to maintain these environmental ranges for 24 hour, 7 days a week (24/7)
    schedule.
•   Where no dedicated HVAC system is required for plenum air return buildings, there should
    be a minimum of two diffusers for fresh HVAC air intake, with a minimum of two air return
    vents, vented door and a positive air flow maintained. Buildings without air return systems
    should provide clean air 24/7. Additionally, rooms without dedicated HVAC systems should
    have a continuous airflow 24/7.

14.1.3 Construction
•   Closets vary in size depending on their function. However, minimum communications closet
    size should never be less than specified in the applicable ANSI/TIA/EIA specifications. ICE
    typical closet minimum size should be no less than 80 square feet, whereas the recommended
    size is calculated by the ANSI/TIA/EIA specifications.
•   Door locks for all communications rooms will conform to local security requirements.
•   Door must be a minimum 36 inches wide by 80 inches high. The door should swing out to
    facilitate equipment installation and provide maximum space utilization by allowing higher
    density equipment designs and configurations without the concern of lost space due to door
    travel.
•   Floor should be rated to withstand 100 pounds per square foot and should be covered with
    appropriate tile or linoleum. Carpets are not acceptable in communications closets.
•   Each communications closet should have a minimum of 2 separate 120 Volt @20A circuits
    installed for cable plant electronics. Preferred outlets are the National Electrical
    Manufacturers Association (NEMA)-20 5 quad receptacles. Outlets should be installed at
    heights that adhere to the building electrical codes, typically 18 inches above finished floor.
    Additional circuits may be required as equipment density is increased.
•   A certified electrical ground and buss shall be installed into each closet for communications
    equipment grounding and be connected to a dedicated building ground, that is compliant with
    the ANSI//TIA/EIA 607.
•   For the MDF, a pre-treated, fire-rated, plywood backboard (3/4 inches by 4 feet by 8 feet
    sheets) shall be fastened properly to the wall for riser cable control, where required.
•   All cable shall be neatly tie-wrapped and anchored every 3 feet on the backboard
•   ICE occupied floors that are contiguous, with stacked closets, should have a minimum of two
    4-inch sleeves between closets for ICE Data and Voice cables. Additional sleeves will be
    required for the building voice riser system. Where ICE data and voice cables must pass
    through communications closets not controlled by ICE or the US government, mechanical
    protection must be provided. Thin wall ridged conduit will be sufficient for this requirement.




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14.2     Conduits
Conduit installations shall comply with all ANSI/TIA/EIA-569-A specifications. Highlights of
that specification are as follows:
•   A maximum fill factor of 40% per conduit shall be adhered to for new conduits. If possible,
    installers shall avoid using those conduits that have exceeded the 40% fill factor.
•   A pull-box shall be installed every 100 feet and every two 90-degree turns.
•   All bends in the conduit must be made hydraulically to create smooth, sweeping turns.
•   All pull-boxes shall be sized to allow for the largest minimum bend radius for any of the
    cables that are used.
•   Where local codes mandate that rigid conduit must be installed from the distribution closet to
    the IMO, a minimum of one 1-inch diameter conduit from wiring center to workstation IMO
    is required. This single, 1-inch conduit will support both voice and data grade cabling to the
    workstation and requires a consolidated voice and data closet.
•   In buildings which local codes do not mandate rigid conduit from the distribution closet to
    the IMO, a minimum of one 1-inch diameter conduit from above ceiling grids to respective
    IMO is recommended. These conduits are referred to as "ring and string" within the
    industry, and typically provide a pathway for plenum cable installation into the outlet box.
    Although many local codes do not require rigid conduits for low voltage wiring, ICE DSB
    recommends the general contractor install these for each IMO.
•   Open office space (e.g., systems furniture where two or more IMOs are fed by a single
    column or feed) typically does not require conduit stubs or home-run conduits. If conduits or
    stubs are installed, then conduit sizing shall ensure fill factor does not exceed 40%.
•   A minimum of two 4-inch diameter sleeves shall be provided for vertically stacked closets.
    In open plenum environments, where access to closets are not blocked by building structures
    or fixtures, and a clear pathway exists, conduit installation is not required to interconnect
    closets. Exceptions will be made by the ICE Project Manager
•   A minimum of two 4-inch diameter conduits shall be provided in any building or campus
    environment where cable is subject to damage or there is no clear pathway for installation.
    These may be areas such as underground parking garages, outside cable routes, pathways
    through office space not under ICE control, or areas that prevent cable installation at future
    dates, such as main building lobbies, under-floor pathways, etc.
•   A minimum of two 4-inch diameter conduits between buildings in a campus environment.

15.0     DOCUMENTATION
Upon completion of the cable plant installation, a documentation package shall be completed
within 30 calendar days that shall include the following items:
•   Letter of certification from the installing organization.
•   Completed Contractor Information Form.
•   Detailed materials list.

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•   Cable plant test certification letter.
•   Electronic Copper cable test results (soft).
•   Electronic Fiber-optic cable test results (soft).
•   As-built site drawings.
All of this information shall be provided in both hardcopy and electronic formats, except as
follows:
•   Electronic Fiber test results (soft).
•   Electronic Copper test results (soft).

15.1     Letter of Certification
A letter of certification shall be supplied to the designated ICE Program Manager from the
authorized project supervisor. A sample of the recommended letter of certification is included as
Appendix B of this document. A letter of certification shall be supplied to the designated ICE
Program Manager from the authorized project supervisor. A sample of the recommended letter
of certification is included as Appendix B of this document. The letter of certification should be
submitted in electronic format using word Processing software compatible with Microsoft Word
2000 or lower.

15.2     Implementation Report
A brief implementation report shall be submitted as part of the completed documentation
package. This implementation report, at a minimum, should include the following information:
•   Installing company name and address.
•   Contract number and Task or Delivery Order, if any.
•   Beginning and ending dates of the installation project.
•   Names of personnel assigned to the installation project.
•   Installation summary, including deviations from the original task order.
•   Responsible party names, address, and phone number.
The electronic version of this report shall be submitted using word Processing software
compatible with Microsoft Word 2000 or lower. A sample implementation report is provided as
Appendix D of this document.

15.3     Detailed Materials List
A detailed materials list shall be included as part of the completed documentation package. At a
minimum, this list shall include all materials originally called for from the site survey report,
actual materials used for the installation project, and a column that shows the deviation between
the two. Any unusual deviations in required quantities should be explained in the
implementation report, as described previously.



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The detailed materials list should be completed and submitted using spreadsheet software
compatible with Microsoft Excel 2000 or lower. A sample form to be used for this list is
provided as Appendix E of this document.

15.4     Cable Plant Test Certification Letter
In lieu of the responsible installation supervisor providing a signature on each printed cable test
result, a letter of certification from the installation supervisor may be included to verify that
installation personnel doing the testing have been properly trained in the use of the test
equipment and that the test results included have been reviewed and are an accurate reflection of
the installed cable plant.
The certification letter should be submitted in electronic format as a word Processing document
compatible with Microsoft Word 2000 or lower. A sample cable plant test certification letter is
included as Appendix F of this document.

15.5     Copper Cable Test Results
Test results for all cables shall be included in electronic format (ASCII text format) within the
completed documentation package upon completion of the project. The cable test results shall be
provided in numeric order on a per closet basis for horizontal cables. All copper tie and
backbone cables shall be included as a sub-section and also numbered.

15.6     Fiber-optic backbone Cable Test Results
A hard copy of all fiber-optic cable test results shall be included as part of the completed
documentation package. Opposite ends of each fiber strand tested should be included side by
side or in direct sequential order. The fiber optic test results shall be submitted in a closet by
closet format.
The electronic trace version of the test results should also be included. If a specific executable
program is required to view the trace on a personal computer, a copy of this executable file shall
be included with the electronic files.

15.7     As-Built Site Drawings
Complete as-built site drawings of the cable plant shall be included as part of the completed
documentation package. At a minimum, the following information shall be included on the
drawing:
•   Accurate, reasonable facsimile of the building floor plan.
•   Room and area numbers assigned for identification purposes.
•   Location and designation of all wiring closets.
•   Location and designation of all information outlets installed
•   Routes for all cables, including horizontal, tie, and backbone.
•   Location of all vertical penetrations.
•   Location of horizontal penetrations through firewalls.


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•   Any special service application notes.
•   Backbone and tie cable lengths between closets.
These as-built site drawings shall be completed using computer-aided drawing software that
produces vector graphics data files, preferably AutoCAD version 2003 or lower.




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                                 Attachment A
                                   Glossary




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AC                  Alternating Current
ACR                 Attenuation to crosstalk ratio
ADP                 Automated Data Processing
ANSI                American National Standards Institute
AWG                 American Wire Gauge

CAT                 Category
CSA                 Canadian Standards Association

dB                  Decibel
DSB                 Deployment Services Branch
DO                  District Office
DHS                 Department of Homeland Security

EF                  Entrance Facility
EIA                 Electronic Industries Association
ELFEXT              Equal Level Far End Cross-talk
EMI                 Electromagnetic Interference

FCC                 Federal Communications Commission
FIPS                Federal Information Processing Standard

GRI                 group refractive index

HVAC                Heating, Ventilation, and Air Conditioning

ID                  Identification
IDC                 Insertion Displacement Connector
IEEE                Institute of Electrical and Electronics Engineers
IMO                 Information Management Outlet
ICE                 Immigration and Customs Enforcement
ISO                 International Organization for Standardization

km                  Kilometers
LAN                 local area network

μm                  Micrometer
Mbps                Megabits per second
MC                  main cross-connect
MDF                 Main Distribution Frame
MHz                 MegaHertz

NEC                 National Electrical Code
NEBS                National Electrical Bell Standards
NEMA                National Electrical Manufacturers Association
NEXT                Near End crosstalk
NFPA                National Fire Protection Agency

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ns                 Nanosecond

OFNP               Optical Fiber Plenum
OFNR               Optical Fiber Riser
OFN                Optical Fiber, not rated
OCIO               Office of Chief Information Officer
OTDR               Optical Time Domain Reflectometer

PCB                Printed Circuit Board
PS ACR             Power sum attenuation to crosstalk ratio
PS NEXT            Power sum near-end crosstalk
PS ELFEXT          Power sum

RFI                Radio Frequency Interference
RJ                 Remote Jack
RWC                Remote Wiring Closet

TIA                Telecommunications Industries Association
TR                 Technical Reference
TSB                Telecommunications Services Bulletin

UL                 Underwriter’s Laboratory
USOC               Universal Service Order Code
UTP                Unshielded Twisted Pair

WAN                Wide Area Network




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ACR                Measurement of NEXT-Attenuation
Attenuation        The decrease in magnitude of a wave as it travels through any transmitting
                   medium, such as a cable or circuitry. Attenuation is measured as a ratio or
                   as the logarithm of a ratio decibel.
CAT 5e             A type of cable passing ANSI/TIA/EIA specifications, which allows data
                   to be transmitted at 100 MHz.
Conduit            A pipe, usually metal, that runs either from floor to floor or along a floor or
                   ceiling to protect cables.
Cross-talk         A type of interference caused by audio frequencies from one line being
                   coupled into adjacent lines. The term is loosely used also to include
                   coupling at higher frequencies.
Delay Skew         The propagation delay difference between the slowest and fastest cable
                   pair.
EIA                Electronic Industries Association: the US national organization of
                   electronic manufacturers. It is responsible for the development and
                   maintenance of industry standards for the interface between data
                   processing machines and data communications equipment.
EMI                “Noise” generated in copper conductors when electromagnetic fields
                   induce current. External signals that disrupt the data transmitted on the
                   local area network or electronic device being operated.
End-To-End         A continuous connection, for example, from a workstation to a
Connection         concentrator.
FC Connector       A type of optical fiber connector identifiable by its round, screw-operated
                   locking nut. It is usually metal. Its ruggedness leads it to be widely used in
                   test equipment. (Source BICSI Telecommunications Dictionary)
FEXT               Cross-talk measured at the opposite end from which the disturbing signal is
                   transmitted.
Frequency          The number of times a periodic action occurs in a unit of time. The
                   number of cycles that an electrical current completes in one second,
                   expressed in Hertz.
Frequency Range    The range, measured in Hertz of a test signal.
Hertz              The unit of frequency, one cycle per second.
IEEE               Institute of Electrical and Electronics Engineers: An international
                   professional society that issues its own standards and is a member of ANSI
                   and ISO.
LAN                A geographically limited communications network intended for the local
                   transport of data, video, and voice. Often referred to as a customer
                   premises network.

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Loose Tube          The fiber is contained in a plastic tube for protection. To give better
                    waterproofing protection to the fiber, the space between the tubes is
                    sometimes gel-filled. Typical applications are outside installations. One
                    drawback of loose buffer construction is a larger bending radius. Gel-filled
                    cable requires the installer to spend time cleaning and drying the individual
                    cables, and cleaning up the site afterwards.
Megabits            A million bits per second: A unit of data transmission speed.
MDF                 The main distribution frame, where central networking components are
                    located. This refers to closets and large computer rooms and in most cases
                    houses the WAN equipment and circuits. These rooms are the core rooms
                    in a building or campus environment.
MTRJ connectors     The MT-RJ fiber optic couplers provide a complete system for premises
                    applications. As the name suggests, the system was designed to bring many
                    of the benefits of the RJ-45 modular plug and jack system to fiber optics:
                    small size, lower costs, easier application, and easier use.
Nanosecond          One billionth of a second (10-9 seconds).
NEXT                Crosstalk measured at the end from which the disturbing signal is
                    transmitted. Near End crosstalk is a measure of how much energy is
                    coupled at the near end in a pair that is adjacent to an energized pair, and
                    FEXT is the same measure at the far end from the transmitter. When all
                    pairs are energized, as with Gigabit Ethernet, NEXT and FEXT are
                    generated by each disturbing pair and must be power-summed to obtain a
                    true measure of the coupled energy.
OFN, OFNP,          Type of optical fiber cable construction, which stands for: general purpose,
OFNR                plenum(P) or Riser (R)
Patch Panel         A modular termination and connection point for horizontal distribution
                    cabling.
Plenum              A compartment or chamber to which one or more air ducts are connected
                    and that forms part of the air distribution system. (Source National Electric
                    Code)
Protocol            The means used to control the orderly exchange of information between
                    stations on a data link or on a communications network or system.
Propagation Delay   The amount of time that passes between when a signal is transmitted and
                    when it is received at the opposite end of a cable or cabling.
PS NEXT             Power sum near end crosstalk. Measurement
PVC                 Polyvinyl Chloride: A type of plastic material used to make cable
                    jacketing.
Return Loss         Return loss is a measure of the signal reflections occurring along a channel
                    or basic link and is related to various electrical mismatches along the
                    cabling.


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RJ-45 Keyed        An eight-conductor modular phone-style receptacle with a plastic tab on
Connector          the side. This type of connector can only be inserted into a keyed jack.
RJ-45 Non-Keyed    An eight-conductor modular phone-style receptacle without a plastic tab.
Connector          This type of connector can be inserted into either a keyed or non-keyed
                   jack.
SC connectors      Fiber connector that is duplexed into a single connector clip with both
                   transmit/receive fibers.
ST connectors      Keyed, bayonet-style connector, very commonly used
TIA                Telecommunications Industries Association: The US national organization
                   of telecommunications manufacturers. It is responsible for the
                   development of data processing machines and data communications
                   equipment.
Tight Buffered     Buffer layers of plastic and yarn material are applied over the fiber.
                   Results in a smaller cable diameter with a smaller bending radius. Typical
                   applications are patch cords and local area network connections. At least
                   one mfr. Produces this type of cable for inside/outside use.
UTP                A cable with multiple pairs of twisted insulated copper conductors bound
                   in a single sheath. An unshielded twisted pair CAT5 or 5e cable usually
                   contains four pairs of wire in a single jacket.
WAN                Wide Area Network: A network that uses common-carrier-provided lines,
                   usually to connect two or more LANs.




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                                 Attachment B
                         Sample Letter of Certification




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                                    [Use Corporate letterhead]
[Title]
Date: [Current date]
To: [Full name of individual to whom the letter is being sent]
Address            [of individual to whom letter is addressed]
Re: Cable Plant Installation
Task Order No.: [XXX-xxx]
Dear [Mr., Ms., or Dr. and last name]:
I hereby certify that the cabling installation completed for the above referenced ICE site was
completed by our firm, according to the ICE Structured Cabling Standards, on [date of
installation in Month Day, Year].
Our firm has tested each unshielded twisted pair copper cable wire (not just cable pairs) we
installed, as well as any previously installed Category 5 or 5e cable, if applicable, which will be
re-used as part of this Task Order. I hereby certify that every wire and cable was tested and
meets or exceeds the CAT 5e ANSI/TIA/EIA-568-B.2 transmission test requirements.
Our firm also tested each fiber-optic cable and strand we installed, as well as previously installed
fiber-optic cable that will be used as part of this Task Order. I hereby certify that each strand of
every cable meets or exceeds the required standards for fiber-optic cable.




[Mr., Ms., or Dr. and full name]
[Title]




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                                 Attachment C
                     Sample Contractor Information Form




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                              CONTRACTOR INFORMATION
JOB NAME: LOCATION:
DATE:            PROJECT: Cable Plant Installation
FIBER CONTRACTOR
NAME:            PHONE:
ADDRESS:
CITY, STATE, ZIP:
CONTACT NAME:
COMPLETION DATE:
SCOPE OF WARRANTY RESPONSIBILITY:
In accordance with Existing Contract


SUPPLIED MATERIALS:
In accordance with Task Order XXX-xxx
COPPER CONTRACTOR
NAME: PHONE:
ADDRESS:
CITY, STATE, ZIP:
CONTACT NAME:
COMPLETION DATE:
SCOPE OF WARRANTY RESPONSIBILITY:
In accordance with Existing Contract


SUPPLIED MATERIALS:
In accordance with Task Order XXX-xxx




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                                Attachment D
                        Sample Implementation Report




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                                    PROJECT IMPLEMENTATION REPORT
                                                SITE C
INTRODUCTION
Company A under sub-contract to Company B, and working under Task Order Number XXX-xxx, recently
performed a local cable plant installation at Site C. The project was begun on Monday July 7, 2003, and the
installation was completed on Wednesday, July 23, 2003.
PROJECT PERSONNEL
The following Company A personnel participated in the installation project at Site C:
    Mr. X       Program Manager
    Mr. Y       Task Team Leader
    Mr. Z       Senior Network Engineer
INSTALLATION SUMMARY
The network installation was completed in accordance with the Task Order, using the Site Survey Report as the
guide for project completion. In accordance with the design documentation, two buildings at the headquarters site
were cabled for a total of 52 dual cable drops. All drops were installed through a self-suspended overhead cable
routing system above the acoustic ceiling tiles in the office areas and garage of Site C.
Two wiring closets, designated wiring closet HQ-01-A and HA-01-A, serve the workstation connectivity needs for
Site C. The main building cables are identified by labels starting with HQ-01-A. The garage cable drops are
identified by labels beginning with HA-01-A. All 45 copper cable drops for closet HQ-01-A terminate on the patch
panels in the equipment racks located in room 118, which also serves as the main computer room. The seven drops
in the garage in wiring closet HA-01-A terminate on the patch panels located on the equipment rack in room 105.
A six-strand multi-mode fiber-optic cable connects wiring closet HA-01-A in the garage to wiring closet HQ-01-A
in the main building.
There were no modifications made to the design documentation from the Site Survey Report. All material was
provided and installed in accordance with the materials listing in the report.
PROJECT DOCUMENTATION
Included within the As-built documentation package, both in hard copy and electronic format, is the following
information:
Item                                     Electronic Format
Letter of Certification                  Word processing compatible with Microsoft Word for Windows (Version 97), or lower
Implementation Report                    Word processing compatible with Microsoft Word for Windows (Version 97), or lower
Contractor Information                   Word processing compatible with Microsoft Word for Windows (Version 97), or lower
Cable Plant Database                     Spreadsheet compatible with Microsoft Excel (Version 97) or lower
Detailed Materials Listing               Spreadsheet compatible with Microsoft Excel (Version 97) or lower
Cable Plant Test Results                 ASCII Text File
Active Equipment Installation Log        Spreadsheet compatible with Microsoft Excel (Version 97) or lower
As-built Site Drawings                   CAD format compatible with AutoCAD Version 2000 or lower
Wiring Closet Detail                     Raster or Vector drawing compatible with Visio Professional (Version 5.0) or AutoCAD
                                         Version 2000 or lower
CONCLUSION
The installation project was completed on Wednesday, July 23, 2003.
All materials and workmanship provided by Company A are fully warranted under the terms of the existing contract
between Company B and Company A.
Any questions concerning the project installation, documentation, and warranty may be addressed to Mr. Y of
Company A. Mr. Y can be reached at (000) 555-0000.




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                                 Attachment E
                         Sample Detailed Materials List




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                                                            Projected       Actual
Item No.                       Description                  Quantity       Quantity         Variance
     1       Wire Management Panel                             6                6                 0
     2       48 Port Patch Panel                               2                2                 0
     3       24 Port Patch Panel                               4                4                 0
     4       Single Gang Faceplate, 6-plex CAT-5e              25              25                 0
     5       Workstation Blank Insert                          50              50                 0
     6       Dual CAT-5e RJ-45 Jack, 568A, non-keyed           25              25                 0
     7       CAT-5e Cable, 24-4/P, plenum, feet              15000           15000                0
     8       Patch Cord, yellow, 14 feet                       30              30                 0
     9       Patch Cord, yellow, 10 feet                       70              70                 0
    10       Open Rack, self support, double sided             1                1                 0
    11       Rack Mount Power Outlet Strip                     2                2                 0
    12       Catalyst 4500 Chassis (6-Slot)                    1                1                 0
    13       Catalyst 4500 1300W AC Power Supply               1                1                 0
    14       Catalyst 4500 Supervisor IV                       1                1                 0
    15       Catalyst 4500 48-Port 10/100/1000 Base-T          2                2                 0
    16       1000BASE-SX "Short Wavelength" GBIC               1                1                 0
    17       WS-C3550-12T                                      1                1                 0
    18       19" Clear Vented Double Sided Rack Tray           1                1                 0
    19       0.9" x 1.5" Latching Duct, 6 foot lengths         8                8                 0
    20       Data Tab (Computer Icon) 100/PACK                 2                2                 0
    21       Fiber-optic cable, Twelve-Strand, feet           600              300              300
    22       Box Eliminators                                   50              50                 0
    23       Surface Mount Box                                 14              14                 0
    24       0.53"x1.01" Latching Duct, 6 foot lengths         14              14                 0
    25       Fiber Distribution Center                         2                2                 0
    26       FDC Connector Panel, Preloaded w/ 6 SC            2                2                 0
    27       Dual Fiber Jumper Cable, SC to SC, 3 meter        2                2                 0




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                                 Attachment F
                     Sample Cable Test Certification Letter




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                                     [Use Corporate letterhead]
Date: [Current date]
To: [Full name of individual to whom the letter is being sent]
Address: [of individual to whom letter is addressed]
Re: ICE Cable Plant Installation at Site C
Task Order No.:         [XXX-xxx]
Dear [Mr., Ms., or Dr. and last name]:
This letter is to certify that all cable test results included for the above mentioned project has
been completed by Company A personnel who have been trained, and are competent in the use
of, the required cable testing equipment.
Please accept this letter as certification of the accuracy of the test results furnished in lieu of
individual signatures on each cable test result.




[Mr., Ms., or Dr. and name]
[Title]




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              ATTACHMENT 24-27
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Attachments that were not attached as they were way too large for email.



Attachment 24 ICE EOIR Designs Standards

Attachment 25 ICE Structured Cable Plant Standards

Attachment 26 Health Service Design Standards

Attachment 27 IHSC Design Standards Supplement
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                 ATTACHMENT 28
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             "REGISTER OF WAGE DETERMINATIONS UNDER    |        U.S. DEPARTMENT OF LABOR

       THE SERVICE CONTRACT ACT          |   EMPLOYMENT STANDARDS ADMINISTRATION

By direction of the Secretary of Labor |            WAGE AND HOUR DIVISION

                                         |          WASHINGTON D.C.    20210

                                         |

                                         |

                                         |

                                         | Wage Determination No.: 2015-5603

Daniel W. Simms            Division of   |            Revision No.: 10

Director             Wage Determinations|    Date Of Last Revision: 08/02/2019

_______________________________________|____________________________________________

Note: Under Executive Order (EO) 13658 an hourly minimum wage of $10.60 for

calendar year 2019 applies to all contracts subject to the Service Contract

Act for which the contract is awarded (and any solicitation was issued) on or

after January 1 2015. If this contract is covered by the EO the contractor

must pay all workers in any classification listed on this wage determination

at least $10.60 per hour (or the applicable wage rate listed on this wage

determination if it is higher) for all hours spent performing on the contract

in calendar year 2019. The EO minimum wage rate will be adjusted annually.

Additional information on contractor requirements and worker protections under

the EO is available at www.dol.gov/whd/govcontracts.



____________________________________________________________________________________

State: California




Area: California County of Kern

____________________________________________________________________________________



           **Fringe Benefits Required Follow the Occupational Listing**



OCCUPATION CODE - TITLE                                     FOOTNOTE                RATE



01000 - Administrative Support And Clerical Occupations

  01011 - Accounting Clerk I                                                       15.38

  01012 - Accounting Clerk II                                                      17.27

  01013 - Accounting Clerk III                                                     19.32

  01020 - Administrative Assistant                                                 30.78

  01035 - Court Reporter                                                           27.43
  01041 - Customer Service Representative I                         12.60

  01042 - Customer Service Representative II                        14.17
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  01043 - Customer Service Representative III                       15.46

  01051 - Data Entry Operator I                                     13.69

  01052 - Data Entry Operator II                                    14.94

  01060 - Dispatcher Motor Vehicle                                 23.10

  01070 - Document Preparation Clerk                                15.14

  01090 - Duplicating Machine Operator                              15.14

  01111 - General Clerk I                                           14.80

  01112 - General Clerk II                                          16.15

  01113 - General Clerk III                                         18.14

  01120 - Housing Referral Assistant                                22.37

  01141 - Messenger Courier                                         14.55

  01191 - Order Clerk I                                             16.29

  01192 - Order Clerk II                                            17.79

  01261 - Personnel Assistant (Employment) I                        17.78

  01262 - Personnel Assistant (Employment) II                       19.89

  01263 - Personnel Assistant (Employment) III                      22.17

  01270 - Production Control Clerk                                  28.50

  01290 - Rental Clerk                                              13.99

  01300 - Scheduler Maintenance                                    17.94

  01311 - Secretary I                                               17.94

  01312 - Secretary II                                              20.07

  01313 - Secretary III                                             22.37

  01320 - Service Order Dispatcher                                  20.65

  01410 - Supply Technician                                         30.78

  01420 - Survey Worker                                             16.68

  01460 - Switchboard Operator/Receptionist                         13.99

  01531 - Travel Clerk I                                            13.55

  01532 - Travel Clerk II                                           14.26

  01533 - Travel Clerk III                                          15.45

  01611 - Word Processor I                                          16.07

  01612 - Word Processor II                                         18.05

  01613 - Word Processor III                                        20.19

05000 - Automotive Service Occupations

  05005 - Automobile Body Repairer Fiberglass                      21.98

  05010 - Automotive     Electrician                                21.23

  05040 - Automotive Glass Installer                                19.94

  05070 - Automotive Worker                                         19.94

  05110 - Mobile Equipment Servicer                                 17.24

  05130 - Motor Equipment Metal Mechanic                            22.54

  05160 - Motor Equipment Metal Worker                              19.94

  05190 - Motor Vehicle Mechanic                                    22.54

  05220 - Motor Vehicle Mechanic Helper                             15.81
  05250 - Motor Vehicle Upholstery Worker                              18.63

  05280 - Motor Vehicle Wrecker                                        19.94
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  05310 - Painter Automotive                                          21.23

  05340 - Radiator Repair Specialist                                   19.94

  05370 - Tire Repairer                                                14.73

  05400 - Transmission Repair Specialist                               22.54

07000 - Food Preparation And Service Occupations

  07010 - Baker                                                        14.06

  07041 - Cook I                                                       15.32

  07042 - Cook II                                                      17.73

  07070 - Dishwasher                                                   11.52

  07130 - Food Service Worker                                          12.41

  07210 - Meat Cutter                                                  14.15

  07260 - Waiter/Waitress                                              11.57

09000 - Furniture Maintenance And Repair Occupations

  09010 - Electrostatic Spray Painter                                  16.54

  09040 - Furniture Handler                                            12.87

  09080 - Furniture Refinisher                                         16.54

  09090 - Furniture Refinisher Helper                                  13.30

  09110 - Furniture Repairer Minor                                    15.21

  09130 - Upholsterer                                                  16.54

11000 - General Services And Support Occupations

  11030 - Cleaner Vehicles                                            13.82

  11060 - Elevator Operator                                            13.22

  11090 - Gardener                                                     19.51

  11122 - Housekeeping Aide                                            13.22

  11150 - Janitor                                                      13.22

  11210 - Laborer Grounds Maintenance                                 14.65

  11240 - Maid or Houseman                                             11.68

  11260 - Pruner                                                       13.87

  11270 - Tractor Operator                                             17.89

  11330 - Trail Maintenance Worker                                     14.65

  11360 - Window Cleaner                                               14.59

12000 - Health Occupations

  12010 - Ambulance Driver                                             18.87

  12011 - Breath Alcohol Technician                                    24.52

  12012 - Certified Occupational Therapist Assistant                   33.63

  12015 - Certified Physical Therapist Assistant                       29.09

  12020 - Dental Assistant                                             17.99

  12025 - Dental Hygienist                                             45.22

  12030 - EKG Technician                                               29.16

  12035 - Electroneurodiagnostic Technologist                          29.16

  12040 - Emergency Medical Technician                                 18.87

  12071 - Licensed Practical Nurse I                                   21.92
  12072 - Licensed Practical Nurse II                                 24.52

  12073 - Licensed Practical Nurse III                                27.33
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  12100 - Medical Assistant                                           14.13

  12130 - Medical Laboratory Technician                               22.72

  12160 - Medical Record Clerk                                        18.66

  12190 - Medical Record Technician                                   20.87

  12195 - Medical Transcriptionist                                    21.85

  12210 - Nuclear Medicine Technologist                               52.50

  12221 - Nursing Assistant I                                         12.45

  12222 - Nursing Assistant II                                        14.00

  12223 - Nursing Assistant III                                       15.28

  12224 - Nursing Assistant IV                                        17.15

  12235 - Optical Dispenser                                           16.75

  12236 - Optical Technician                                          21.92

  12250 - Pharmacy Technician                                         18.78

  12280 - Phlebotomist                                                18.84

  12305 - Radiologic Technologist                                     34.41

  12311 - Registered Nurse I                                          24.92

  12312 - Registered Nurse II                                         30.48

  12313 - Registered Nurse II Specialist                             30.48

  12314 - Registered Nurse III                                        43.52

  12315 - Registered Nurse III Anesthetist                           43.52

  12316 - Registered Nurse IV                                         44.22

  12317 - Scheduler (Drug and Alcohol Testing)                        30.37

  12320 - Substance Abuse Treatment Counselor                         22.03

13000 - Information And Arts Occupations

  13011 - Exhibits Specialist I                                       24.35

  13012 - Exhibits Specialist II                                      30.20

  13013 - Exhibits Specialist III                                     36.93

  13041 - Illustrator I                                               24.35

  13042 - Illustrator II                                              30.20

  13043 - Illustrator III                                             36.93

  13047 - Librarian                                                   33.42

  13050 - Library Aide/Clerk                                          16.13

  13054 - Library Information Technology Systems                      30.18

  Administrator

  13058 - Library Technician                                          21.25

  13061 - Media Specialist I                                          21.78

  13062 - Media Specialist II                                         24.35

  13063 - Media Specialist III                                        27.17

  13071 - Photographer I                                              18.00

  13072 - Photographer II                                             20.14

  13073 - Photographer III                                            24.95

  13074 - Photographer IV                                             30.52
  13075 - Photographer V                                                 36.92

  13090 - Technical Order Library Clerk                                  20.26
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  13110 - Video Teleconference Technician                                20.72

14000 - Information Technology Occupations

  14041 - Computer Operator I                                            17.85

  14042 - Computer Operator II                                           20.61

  14043 - Computer Operator III                                          22.98

  14044 - Computer Operator IV                                           25.55

  14045 - Computer Operator V                                            28.28

  14071 - Computer Programmer I                             (see 1)

  14072 - Computer Programmer II                            (see 1)

  14073 - Computer Programmer III                           (see 1)

  14074 - Computer Programmer IV                            (see 1)

  14101 - Computer Systems Analyst I                        (see 1)

  14102 - Computer Systems Analyst II                       (see 1)

  14103 - Computer Systems Analyst III                      (see 1)

  14150 - Peripheral Equipment Operator                                  17.85

  14160 - Personal Computer Support Technician                           25.55

  14170 - System Support Specialist                                      29.44

15000 - Instructional Occupations

  15010 - Aircrew Training Devices Instructor (Non-Rated)                30.78

  15020 - Aircrew Training Devices Instructor (Rated)                    37.24

  15030 - Air Crew Training Devices Instructor (Pilot)                   44.48

  15050 - Computer Based Training Specialist / Instructor                30.78

  15060 - Educational Technologist                                       39.14

  15070 - Flight Instructor (Pilot)                                      44.48

  15080 - Graphic Artist                                                 21.59

  15085 - Maintenance Test Pilot Fixed Jet/Prop                        43.41

  15086 - Maintenance Test Pilot Rotary Wing                            43.41

  15088 - Non-Maintenance Test/Co-Pilot                                  43.41

  15090 - Technical Instructor                                           22.89

  15095 - Technical Instructor/Course Developer                          28.00

  15110 - Test Proctor                                                   18.48

  15120 - Tutor                                                          18.48

16000 - Laundry Dry-Cleaning Pressing And Related Occupations

  16010 - Assembler                                                      13.13

  16030 - Counter Attendant                                              13.13

  16040 - Dry Cleaner                                                    15.02

  16070 - Finisher Flatwork Machine                                    13.13

  16090 - Presser Hand                                                  13.13

  16110 - Presser Machine Drycleaning                                  13.13

  16130 - Presser Machine Shirts                                       13.13

  16160 - Presser Machine Wearing Apparel Laundry                     13.13

  16190 - Sewing Machine Operator                                        15.65
  16220 - Tailor                                                       16.28

  16250 - Washer Machine                                              13.76
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19000 - Machine Tool Operation And Repair Occupations

  19010 - Machine-Tool Operator (Tool Room)                            27.38

  19040 - Tool And Die Maker                                           33.20

21000 - Materials Handling And Packing Occupations

  21020 - Forklift Operator                                            14.76

  21030 - Material Coordinator                                         28.50

  21040 - Material Expediter                                           28.50

  21050 - Material Handling Laborer                                    15.04

  21071 - Order Filler                                                 12.17

  21080 - Production Line Worker (Food Processing)                     14.76

  21110 - Shipping Packer                                              15.92

  21130 - Shipping/Receiving Clerk                                     15.92

  21140 - Store Worker I                                               14.84

  21150 - Stock Clerk                                                  18.24

  21210 - Tools And Parts Attendant                                    14.76

  21410 - Warehouse Specialist                                         14.76

23000 - Mechanics And Maintenance And Repair Occupations

  23010 - Aerospace Structural Welder                                  35.35

  23019 - Aircraft Logs and Records Technician                         27.59

  23021 - Aircraft Mechanic I                                          33.38

  23022 - Aircraft Mechanic II                                         35.35

  23023 - Aircraft Mechanic III                                        36.74

  23040 - Aircraft Mechanic Helper                                     23.41

  23050 - Aircraft Painter                                            31.45

  23060 - Aircraft Servicer                                            27.59

  23070 - Aircraft Survival Flight Equipment Technician                31.45

  23080 - Aircraft Worker                                              29.54

  23091 - Aircrew Life Support Equipment (ALSE) Mechanic               29.54

  I

  23092 - Aircrew Life Support Equipment (ALSE) Mechanic               33.38

  II

  23110 - Appliance Mechanic                                           27.38

  23120 - Bicycle Repairer                                             22.22

  23125 - Cable Splicer                                                40.15

  23130 - Carpenter Maintenance                                       25.15

  23140 - Carpet Layer                                                 23.85

  23160 - Electrician Maintenance                                     35.30

  23181 - Electronics Technician Maintenance I                         28.46

  23182 - Electronics Technician Maintenance II                        30.30

  23183 - Electronics Technician Maintenance III                       32.16

  23260 - Fabric Worker                                                24.02

  23290 - Fire Alarm System Mechanic                                   23.03
  23310 - Fire Extinguisher Repairer                                   22.22

  23311 - Fuel Distribution System Mechanic                            33.89
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  23312 - Fuel Distribution System Operator                            26.90

  23370 - General Maintenance Worker                                   19.66

  23380 - Ground Support Equipment Mechanic                            33.38

  23381 - Ground Support Equipment Servicer                            27.59

  23382 - Ground Support Equipment Worker                              29.54

  23391 - Gunsmith I                                                   22.22

  23392 - Gunsmith II                                                  25.71

  23393 - Gunsmith III                                                 29.06

  23410 - Heating Ventilation And Air-Conditioning                    26.80

  Mechanic

  23411 - Heating Ventilation And Air Contidioning                    28.38

  Mechanic (Research Facility)

  23430 - Heavy Equipment Mechanic                                     26.75

  23440 - Heavy Equipment Operator                                     24.53

  23460 - Instrument Mechanic                                          33.96

  23465 - Laboratory/Shelter Mechanic                                  27.38

  23470 - Laborer                                                      15.04

  23510 - Locksmith                                                    26.04

  23530 - Machinery Maintenance Mechanic                               28.48

  23550 - Machinist Maintenance                                       21.72

  23580 - Maintenance Trades Helper                                    13.65

  23591 - Metrology Technician I                                       33.96

  23592 - Metrology Technician II                                      35.96

  23593 - Metrology Technician III                                     37.37

  23640 - Millwright                                                   29.06

  23710 - Office Appliance Repairer                                    21.82

  23760 - Painter Maintenance                                         20.87

  23790 - Pipefitter Maintenance                                      26.38

  23810 - Plumber Maintenance                                         24.77

  23820 - Pneudraulic Systems Mechanic                                 29.06

  23850 - Rigger                                                       29.06

  23870 - Scale Mechanic                                               25.71

  23890 - Sheet-Metal Worker Maintenance                              29.20

  23910 - Small Engine Mechanic                                        24.78

  23931 - Telecommunications Mechanic I                                27.56

  23932 - Telecommunications Mechanic II                               29.19

  23950 - Telephone Lineman                                            31.01

  23960 - Welder Combination Maintenance                             25.85

  23965 - Well Driller                                                 30.09

  23970 - Woodcraft Worker                                             29.06

  23980 - Woodworker                                                   22.22

24000 - Personal Needs Occupations
  24550 - Case Manager                                              17.99

  24570 - Child Care Attendant                                      12.11
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  24580 - Child Care Center Clerk                                   15.10

  24610 - Chore Aide                                                13.07

  24620 - Family Readiness And Support Services                     17.99

  Coordinator

  24630 - Homemaker                                                 17.99

25000 - Plant And System Operations Occupations

  25010 - Boiler Tender                                             38.32

  25040 - Sewage Plant Operator                                     30.41

  25070 - Stationary Engineer                                       38.32

  25190 - Ventilation Equipment Tender                              25.69

  25210 - Water Treatment Plant Operator                            30.41

27000 - Protective Service Occupations

  27004 - Alarm Monitor                                             24.99

  27007 - Baggage Inspector                                         12.10

  27008 - Corrections Officer                                       42.35

  27010 - Court Security Officer                                    38.36

  27030 - Detection Dog Handler                                     13.53

  27040 - Detention Officer                                         42.35

  27070 - Firefighter                                               38.30

  27101 - Guard I                                                   12.10

  27102 - Guard II                                                  13.53

  27131 - Police Officer I                                          33.15

  27132 - Police Officer II                                         36.83

28000 - Recreation Occupations

  28041 - Carnival Equipment Operator                               14.80

  28042 - Carnival Equipment Repairer                               16.14

  28043 - Carnival Worker                                           11.34

  28210 - Gate Attendant/Gate Tender                                15.81

  28310 - Lifeguard                                                 13.15

  28350 - Park Attendant (Aide)                                     17.68

  28510 - Recreation Aide/Health Facility Attendant                 13.21

  28515 - Recreation Specialist                                     21.82

  28630 - Sports Official                                           14.08

  28690 - Swimming Pool Operator                                    18.67

29000 - Stevedoring/Longshoremen Occupational Services

  29010 - Blocker And Bracer                                        25.88

  29020 - Hatch Tender                                              25.88

  29030 - Line Handler                                              25.88

  29041 - Stevedore I                                               24.17

  29042 - Stevedore II                                              27.55

30000 - Technical Occupations

  30010 - Air Traffic Control Specialist Center (HFO)    (see 2)   44.08
30011 - Air Traffic Control Specialist Station (HFO)   (see 2)   30.40

30012 - Air Traffic Control Specialist Terminal (HFO) (see 2)    33.47
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30021 - Archeological Technician I                                19.91

30022 - Archeological Technician II                               26.44

30023 - Archeological Technician III                              27.27

30030 - Cartographic Technician                                   30.50

30040 - Civil Engineering Technician                              29.04

30051 - Cryogenic Technician I                                    28.22

30052 - Cryogenic Technician II                                   31.16

30061 - Drafter/CAD Operator I                                    19.91

30062 - Drafter/CAD Operator II                                   26.44

30063 - Drafter/CAD Operator III                                  26.80

30064 - Drafter/CAD Operator IV                                   32.98

30081 - Engineering Technician I                                  17.68

30082 - Engineering Technician II                                 20.62

30083 - Engineering Technician III                                23.07

30084 - Engineering Technician IV                                 28.59

30085 - Engineering Technician V                                  34.97

30086 - Engineering Technician VI                                 42.20

30090 - Environmental Technician                                  26.33

30095 - Evidence Control Specialist                               25.48

30210 - Laboratory Technician                                     24.11

30221 - Latent Fingerprint Technician I                           26.68

30222 - Latent Fingerprint Technician II                          29.47

30240 - Mathematical Technician                                   27.58

30361 - Paralegal/Legal Assistant I                               21.99

30362 - Paralegal/Legal Assistant II                              27.23

30363 - Paralegal/Legal Assistant III                             33.31

30364 - Paralegal/Legal Assistant IV                              40.31

30375 - Petroleum Supply Specialist                               31.16

30390 - Photo-Optics Technician                                   27.58

30395 - Radiation Control Technician                              31.16

30461 - Technical Writer I                                        29.04

30462 - Technical Writer II                                       35.52

30463 - Technical Writer III                                      42.97

30491 - Unexploded Ordnance (UXO) Technician I                    28.01

30492 - Unexploded Ordnance (UXO) Technician II                   33.89

30493 - Unexploded Ordnance (UXO) Technician III                  40.63

30494 - Unexploded (UXO) Safety Escort                            28.01

30495 - Unexploded (UXO) Sweep Personnel                          28.01

30501 - Weather Forecaster I                                      28.22

30502 - Weather Forecaster II                                     34.32

30620 - Weather Observer Combined Upper Air Or         (see 2)   26.80

Surface Programs
  30621 - Weather Observer Senior                       (see 2)    27.27

31000 - Transportation/Mobile Equipment Operation Occupations
                Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 1314 of 1402
  31010 - Airplane Pilot                                            33.89

  31020 - Bus Aide                                                  12.32

  31030 - Bus Driver                                                17.76

  31043 - Driver Courier                                            14.60

  31260 - Parking and Lot Attendant                                 12.54

  31290 - Shuttle Bus Driver                                        15.92

  31310 - Taxi Driver                                               14.07

  31361 - Truckdriver Light                                        15.92

  31362 - Truckdriver Medium                                       17.64

  31363 - Truckdriver Heavy                                        20.40

  31364 - Truckdriver Tractor-Trailer                              20.40

99000 - Miscellaneous Occupations

  99020 - Cabin Safety Specialist                                   16.53

  99030 - Cashier                                                   11.63

  99050 - Desk Clerk                                                11.92

  99095 - Embalmer                                                  25.95

  99130 - Flight Follower                                           28.01

  99251 - Laboratory Animal Caretaker I                             13.16

  99252 - Laboratory Animal Caretaker II                            14.28

  99260 - Marketing Analyst                                         29.95

  99310 - Mortician                                                 25.95

  99410 - Pest Controller                                           15.29

  99510 - Photofinishing Worker                                     14.72

  99710 - Recycling Laborer                                         25.17

  99711 - Recycling Specialist                                      30.78

  99730 - Refuse Collector                                          23.87

  99810 - Sales Clerk                                               12.02

  99820 - School Crossing Guard                                     11.89

  99830 - Survey Party Chief                                        31.70

  99831 - Surveying Aide                                            21.04

  99832 - Surveying Technician                                      28.83

  99840 - Vending Machine Attendant                                 18.54

  99841 - Vending Machine Repairer                                  23.39

  99842 - Vending Machine Repairer Helper                           19.11
____________________________________________________________________________________


                 Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 1315 of 1402
Note: Executive Order (EO) 13706 Establishing Paid Sick Leave for Federal

Contractors applies to all contracts subject to the Service Contract Act for which

the contract is awarded (and any solicitation was issued) on or after January 1

2017.   If this contract is covered by the EO the contractor must provide employees

with 1 hour of paid sick leave for every 30 hours they work up to 56 hours of paid

sick leave each year. Employees must be permitted to use paid sick leave for their

own illness injury or other health-related needs including preventive care; to

assist a family member (or person who is like family to the employee) who is ill

injured or has other health-related needs including preventive care; or for

reasons resulting from or to assist a family member (or person who is like family

to the employee) who is the victim of domestic violence sexual assault or

stalking.   Additional information on contractor requirements and worker protections

under the EO is available at www.dol.gov/whd/govcontracts.




ALL OCCUPATIONS LISTED ABOVE RECEIVE THE FOLLOWING BENEFITS:




HEALTH & WELFARE: $4.54 per hour up to 40 hours per week or $181.60 per week or

$786.93 per month




HEALTH & WELFARE EO 13706: $4.22 per hour up to 40 hours per week or $168.80 per

week or $731.47 per month*




*This rate is to be used only when compensating employees for performance on an SCA-

covered contract also covered by EO 13706 Establishing Paid Sick Leave for Federal

Contractors.   A contractor may not receive credit toward its SCA obligations for any

paid sick leave provided pursuant to EO 13706.




VACATION: 2 weeks paid vacation after 1 year of service with a contractor or

successor 3 weeks after 5 years and 4 weeks after 15 years.     Length of service

includes the whole span of continuous service with the present contractor or

successor wherever employed and with the predecessor contractors in the

performance of similar work at the same Federal facility.     (Reg. 29 CFR 4.173)
                 Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 1316 of 1402

HOLIDAYS: A minimum of ten paid holidays per year:    New Year's Day Martin Luther

King Jr.'s Birthday Washington's Birthday Memorial Day Independence Day

Labor Day Columbus Day Veterans' Day Thanksgiving Day and Christmas Day. (A

contractor may substitute for any of the named holidays another day off with pay in

accordance with a plan communicated to the employees involved.)    (See 29 CFR 4.174)




THE OCCUPATIONS WHICH HAVE NUMBERED FOOTNOTES IN PARENTHESES RECEIVE THE FOLLOWING:




1)   COMPUTER EMPLOYEES:   Under the SCA at section 8(b) this wage determination does

not apply to any employee who individually qualifies as a bona fide executive

administrative or professional employee as defined in 29 C.F.R. Part 541.     Because

most Computer System Analysts and Computer Programmers who are compensated at a rate

not less than $27.63 (or on a salary or fee basis at a rate not less than $455 per

week) an hour would likely qualify as exempt computer professionals (29 C.F.R. 541.

400) wage rates may not be listed on this wage determination for all occupations

within those job families.    In addition because this wage determination may not

list a wage rate for some or all occupations within those job families if the survey

data indicates that the prevailing wage rate for the occupation equals or exceeds

$27.63 per hour conformances may be necessary for certain nonexempt employees.       For

example if an individual employee is nonexempt but nevertheless performs duties

within the scope of one of the Computer Systems Analyst or Computer Programmer

occupations for which this wage determination does not specify an SCA wage rate

then the wage rate for that employee must be conformed in accordance with the

conformance procedures described in the conformance note included on this wage

determination.




Additionally because job titles vary widely and change quickly in the computer

industry job titles are not determinative of the application of the computer

professional exemption.    Therefore the exemption applies only to computer employees

who satisfy the compensation requirements and whose primary duty consists of:
     (1) The application of systems analysis techniques and procedures including

consulting with users to determine hardware software or system functional
                  Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 1317 of 1402
specifications;



     (2) The design development documentation analysis creation testing or

modification of computer systems or programs including prototypes based on and

related to user or system design specifications;



     (3) The design documentation testing creation or modification of computer

programs related to machine operating systems; or



     (4) A combination of the aforementioned duties the performance of which

requires the same level of skills.   (29 C.F.R. 541.400).




2)   AIR TRAFFIC CONTROLLERS AND WEATHER OBSERVERS - NIGHT PAY & SUNDAY PAY:     If you

work at night as part of a regular tour of duty you will earn a night differential

and receive an additional 10% of basic pay for any hours worked between 6pm and 6am.

 If you are a full-time employed (40 hours a week) and Sunday is part of your

regularly scheduled workweek you are paid at your rate of basic pay plus a Sunday

premium of 25% of your basic rate for each hour of Sunday work which is not overtime

(i.e. occasional work on Sunday outside the normal tour of duty is considered

overtime work).




** HAZARDOUS PAY DIFFERENTIAL **




An 8 percent differential is applicable to employees employed in a position that

represents a high degree of hazard when working with or in close proximity to

ordnance explosives and incendiary materials.   This includes work such as

screening blending dying mixing and pressing of sensitive ordnance explosives

and pyrotechnic compositions such as lead azide black powder and photoflash powder.

 All dry-house activities involving propellants or explosives.   Demilitarization

modification renovation demolition and maintenance operations on sensitive

ordnance explosives and incendiary materials.   All operations involving re-grading

and cleaning of artillery ranges.
A 4 percent differential is applicable to employees employed in a position that
                Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 1318 of 1402
represents a low degree of hazard when working with or in close proximity to

ordnance (or employees possibly adjacent to) explosives and incendiary materials

which involves potential injury such as laceration of hands face or arms of the

employee engaged in the operation irritation of the skin minor burns and the like;

minimal damage to immediate or adjacent work area or equipment being used.     All

operations involving unloading storage and hauling of ordnance explosive and

incendiary ordnance material other than small arms ammunition.     These differentials

are only applicable to work that has been specifically designated by the agency for

ordnance explosives and incendiary material differential pay.




** UNIFORM ALLOWANCE **




If employees are required to wear uniforms in the performance of this contract

(either by the terms of the Government contract by the employer by the state or

local law etc.) the cost of furnishing such uniforms and maintaining (by

laundering or dry cleaning) such uniforms is an expense that may not be borne by an

employee where such cost reduces the hourly rate below that required by the wage

determination. The Department of Labor will accept payment in accordance with the

following standards as compliance:




The contractor or subcontractor is required to furnish all employees with an

adequate number of uniforms without cost or to reimburse employees for the actual

cost of the uniforms.     In addition where uniform cleaning and maintenance is made

the responsibility of the employee all contractors and subcontractors subject to

this wage determination shall (in the absence of a bona fide collective bargaining

agreement providing for a different amount or the furnishing of contrary

affirmative proof as to the actual cost) reimburse all employees for such cleaning

and maintenance at a rate of $3.35 per week (or $.67 cents per day).     However in

those instances where the uniforms furnished are made of ""wash and wear""

materials may be routinely washed and dried with other personal garments and do

not require any special treatment such as dry cleaning daily washing or commercial

laundering in order to meet the cleanliness or appearance standards set by the terms

of the Government contract by the contractor by law or by the nature of the work

there is no requirement that employees be reimbursed for uniform maintenance costs.
** REQUEST FOR AUTHORIZATION OF ADDITIONAL CLASSIFICATION AND WAGE RATE Standard
                 Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 1319 of 1402
Form 1444 (SF-1444) **




Conformance Process:




The contracting officer shall require that any class of service employee which is

not listed herein and which is to be employed under the contract (i.e. the work to

be performed is not performed by any classification listed in the wage

determination) be classified by the contractor so as to provide a reasonable

relationship (i.e. appropriate level of skill comparison) between such unlisted

classifications and the classifications listed in the wage determination (See 29 CFR

4.6(b)(2)(i)).   Such conforming procedures shall be initiated by the contractor

prior to the performance of contract work by such unlisted class(es) of employees

(See 29 CFR 4.6(b)(2)(ii)).     The Wage and Hour Division shall make a final

determination of conformed classification wage rate and/or fringe benefits which

shall be paid to all employees performing in the classification from the first day

of work on which contract work is performed by them in the classification.      Failure

to pay such unlisted employees the compensation agreed upon by the interested

parties and/or fully determined by the Wage and Hour Division retroactive to the

date such class of employees commenced contract work shall be a violation of the Act

and this contract.     (See 29 CFR 4.6(b)(2)(v)). When multiple wage determinations are

included in a contract a separate SF-1444 should be prepared for each wage

determination to which a class(es) is to be conformed.




The process for preparing a conformance request is as follows:




1) When preparing the bid the contractor identifies the need for a conformed

occupation(s) and computes a proposed rate(s).




2) After contract award the contractor prepares a written report listing in order

the proposed classification title(s) a Federal grade equivalency (FGE) for each

proposed classification(s) job description(s) and rationale for proposed wage

rate(s) including information regarding the agreement or disagreement of the
authorized representative of the employees involved or where there is no authorized

representative the employees themselves. This report should be submitted to the
                Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 1320 of 1402
contracting officer no later than 30 days after such unlisted class(es) of employees

performs any contract work.




3) The contracting officer reviews the proposed action and promptly submits a report

of the action together with the agency's recommendations and pertinent

information including the position of the contractor and the employees to the U.S.

Department of Labor Wage and Hour Division for review (See 29 CFR 4.6(b)(2)(ii)).




4) Within 30 days of receipt the Wage and Hour Division approves modifies or

disapproves the action via transmittal to the agency contracting officer or

notifies the contracting officer that additional time will be required to process

the request.




5) The contracting officer transmits the Wage and Hour Division's decision to the

contractor.




6) Each affected employee shall be furnished by the contractor with a written copy

of such determination or it shall be posted as a part of the wage determination (See

29 CFR 4.6(b)(2)(iii)).




Information required by the Regulations must be submitted on SF-1444 or bond paper.




When preparing a conformance request the ""Service Contract Act Directory of

Occupations"" should be used to compare job definitions to ensure that duties

requested are not performed by a classification already listed in the wage

determination. Remember it is not the job title but the required tasks that

determine whether a class is included in an established wage determination.

Conformances may not be used to artificially split combine or subdivide

classifications listed in the wage determination (See 29 CFR 4.152(c)(1)).
                Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 1321 of 1402
** SERVICE CONTRACT ACT DIRECTORY OF OCCUPATIONS **




The duties of employees under job titles listed are those described in the

""Service Contract Act Directory of Occupations"" Fifth Edition (Revision 1)

dated September 2015 unless otherwise indicated."
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          Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 1340 of 1402
          "REGISTER OF WAGE DETERMINATIONS UNDER |         U.S. DEPARTMENT OF LABOR
       THE SERVICE CONTRACT ACT        | EMPLOYMENT STANDARDS ADMINISTRATION
By direction of the Secretary of Labor |         WAGE AND HOUR DIVISION
                                       |         WASHINGTON D.C. 20210
                                       |
                                       |
                                       |
                                       | Wage Determination No.: 2015-5603
Daniel W. Simms          Division of   |           Revision No.: 16
Director            Wage Determinations| Date Of Last Revision: 10/20/2021
_______________________________________|____________________________________________
Note: Under Executive Order (EO) 13658 an hourly minimum wage of $10.95 for
calendar year 2021 applies to all contracts subject to the Service Contract
Act for which the contract is awarded (and any solicitation was issued) on or
after January 1 2015. If this contract is covered by the EO the contractor
must pay all workers in any classification listed on this wage determination
at least $10.95 per hour (or the applicable wage rate listed on this wage
determination if it is higher) for all hours spent performing on the contract
in calendar year 2021. The EO minimum wage rate will be adjusted annually.
Additional information on contractor requirements and worker protections under
the EO is available at www.dol.gov/whd/govcontracts.

____________________________________________________________________________________
State: California



Area: California County of Kern
____________________________________________________________________________________

         **Fringe Benefits Required Follow the Occupational Listing**

OCCUPATION CODE - TITLE                                   FOOTNOTE              RATE

01000 - Administrative Support And Clerical Occupations
  01011 - Accounting Clerk I                                                   16.25
  01012 - Accounting Clerk II                                                  18.26
  01013 - Accounting Clerk III                                                 20.43
  01020 - Administrative Assistant                                             30.78
  01035 - Court Reporter                                                       33.19
  01041 - Customer Service Representative I                                    14.69
  01042 - Customer Service Representative II                                   16.51
  01043 - Customer Service Representative III                                  18.02
  01051 - Data Entry Operator I                                                15.06
  01052 - Data Entry Operator II                                               16.43
  01060 - Dispatcher Motor Vehicle                                            23.10
  01070 - Document Preparation Clerk                                           16.65
  01090 - Duplicating Machine Operator                                         16.65
  01111 - General Clerk I                                                      15.52
  01112 - General Clerk II                                                     16.93
  01113 - General Clerk III                                                    19.01
  01120 - Housing Referral Assistant                                           23.88
  01141 - Messenger Courier                                                    17.61
  01191 - Order Clerk I                                                        18.12
  01192 - Order Clerk II                                                       19.77
  01261 - Personnel Assistant (Employment) I                                   19.13
  01262 - Personnel Assistant (Employment) II                                  21.40
  01263 - Personnel Assistant (Employment) III                                 23.85
  01270 - Production Control Clerk                                             28.50
  01290 - Rental Clerk                                                         14.87
  01300 - Scheduler Maintenance                                               19.15
  01311 - Secretary I                                                          19.15
  01312 - Secretary II                                                         21.42
  01313 - Secretary III                                                        23.87
           Case 1:22-cv-00586-CDB
  01320 - Service  Order Dispatcher    Document 64-1   Filed 07/21/23 Page 1341 of 1402
                                                                            20.65
  01410 - Supply Technician                                                 30.78
  01420 - Survey Worker                                                     19.98
  01460 - Switchboard Operator/Receptionist                                 14.85
  01531 - Travel Clerk I                                                    13.70
  01532 - Travel Clerk II                                                   14.37
  01533 - Travel Clerk III                                                  15.60
  01611 - Word Processor I                                                  16.92
  01612 - Word Processor II                                                 19.00
  01613 - Word Processor III                                                20.64
05000 - Automotive Service Occupations
  05005 - Automobile Body Repairer Fiberglass                              22.66
  05010 - Automotive Electrician                                            22.12
  05040 - Automotive Glass Installer                                        20.19
  05070 - Automotive Worker                                                 20.19
  05110 - Mobile Equipment Servicer                                         17.96
  05130 - Motor Equipment Metal Mechanic                                    23.49
  05160 - Motor Equipment Metal Worker                                      20.19
  05190 - Motor Vehicle Mechanic                                            23.49
  05220 - Motor Vehicle Mechanic Helper                                     16.47
  05250 - Motor Vehicle Upholstery Worker                                   19.42
  05280 - Motor Vehicle Wrecker                                             20.19
  05310 - Painter Automotive                                               22.12
  05340 - Radiator Repair Specialist                                        20.19
  05370 - Tire Repairer                                                     16.70
  05400 - Transmission Repair Specialist                                    23.49
07000 - Food Preparation And Service Occupations
  07010 - Baker                                                             14.99
  07041 - Cook I                                                            15.32
  07042 - Cook II                                                           17.73
  07070 - Dishwasher                                                        12.93
  07130 - Food Service Worker                                               14.23
  07210 - Meat Cutter                                                       15.45
  07260 - Waiter/Waitress                                                   13.02
09000 - Furniture Maintenance And Repair Occupations
  09010 - Electrostatic Spray Painter                                       20.01
  09040 - Furniture Handler                                                 13.81
  09080 - Furniture Refinisher                                              20.01
  09090 - Furniture Refinisher Helper                                       15.02
  09110 - Furniture Repairer Minor                                         17.71
  09130 - Upholsterer                                                       20.01
11000 - General Services And Support Occupations
  11030 - Cleaner Vehicles                                                 15.06
  11060 - Elevator Operator                                                 15.06
  11090 - Gardener                                                          21.46
  11122 - Housekeeping Aide                                                 15.99
  11150 - Janitor                                                           15.99
  11210 - Laborer Grounds Maintenance                                      16.12
  11240 - Maid or Houseman                                                  13.64
  11260 - Pruner                                                            15.26
  11270 - Tractor Operator                                                  19.68
  11330 - Trail Maintenance Worker                                          16.12
  11360 - Window Cleaner                                                    17.39
12000 - Health Occupations
  12010 - Ambulance Driver                                                  18.87
  12011 - Breath Alcohol Technician                                         24.77
  12012 - Certified Occupational Therapist Assistant                        36.88
  12015 - Certified Physical Therapist Assistant                            35.20
  12020 - Dental Assistant                                                  17.99
  12025 - Dental Hygienist                                                  45.22
  12030 - EKG Technician                                                    34.51
  12035 - Electroneurodiagnostic Technologist                               34.51
  12040 - Emergency Medical Technician                                      18.87
  12071 - Licensed Practical Nurse I                                        22.14
  12072 - Licensed Practical Nurse II                                       24.77
           Case 1:22-cv-00586-CDB
  12073 - Licensed  Practical Nurse III Document 64-1 Filed 07/21/23   Page 1342 of 1402
                                                                             27.61
  12100 - Medical Assistant                                                  16.13
  12130 - Medical Laboratory Technician                                      25.65
  12160 - Medical Record Clerk                                               18.66
  12190 - Medical Record Technician                                          20.87
  12195 - Medical Transcriptionist                                           21.85
  12210 - Nuclear Medicine Technologist                                      53.23
  12221 - Nursing Assistant I                                                13.48
  12222 - Nursing Assistant II                                               15.16
  12223 - Nursing Assistant III                                              16.34
  12224 - Nursing Assistant IV                                               18.57
  12235 - Optical Dispenser                                                  17.42
  12236 - Optical Technician                                                 22.14
  12250 - Pharmacy Technician                                                20.08
  12280 - Phlebotomist                                                       20.22
  12305 - Radiologic Technologist                                            36.58
  12311 - Registered Nurse I                                                 25.95
  12312 - Registered Nurse II                                                31.74
  12313 - Registered Nurse II Specialist                                    31.74
  12314 - Registered Nurse III                                               47.87
  12315 - Registered Nurse III Anesthetist                                  47.87
  12316 - Registered Nurse IV                                                46.03
  12317 - Scheduler (Drug and Alcohol Testing)                               30.67
  12320 - Substance Abuse Treatment Counselor                                24.23
13000 - Information And Arts Occupations
  13011 - Exhibits Specialist I                                              24.35
  13012 - Exhibits Specialist II                                             30.20
  13013 - Exhibits Specialist III                                            36.93
  13041 - Illustrator I                                                      26.63
  13042 - Illustrator II                                                     32.98
  13043 - Illustrator III                                                    40.34
  13047 - Librarian                                                          36.52
  13050 - Library Aide/Clerk                                                 16.13
  13054 - Library Information Technology Systems                             32.98
  Administrator
  13058 - Library Technician                                                 21.25
  13061 - Media Specialist I                                                 23.80
  13062 - Media Specialist II                                                26.63
  13063 - Media Specialist III                                               29.68
  13071 - Photographer I                                                     19.80
  13072 - Photographer II                                                    22.15
  13073 - Photographer III                                                   27.45
  13074 - Photographer IV                                                    33.57
  13075 - Photographer V                                                     40.61
  13090 - Technical Order Library Clerk                                      20.26
  13110 - Video Teleconference Technician                                    21.51
14000 - Information Technology Occupations
  14041 - Computer Operator I                                                19.64
  14042 - Computer Operator II                                               22.56
  14043 - Computer Operator III                                              25.14
  14044 - Computer Operator IV                                               27.94
  14045 - Computer Operator V                                                30.94
  14071 - Computer Programmer I                           (see 1)
  14072 - Computer Programmer II                          (see 1)
  14073 - Computer Programmer III                         (see 1)
  14074 - Computer Programmer IV                          (see 1)
  14101 - Computer Systems Analyst I                      (see 1)
  14102 - Computer Systems Analyst II                     (see 1)
  14103 - Computer Systems Analyst III                    (see 1)
  14150 - Peripheral Equipment Operator                                      19.64
  14160 - Personal Computer Support Technician                               27.94
  14170 - System Support Specialist                                          30.94
15000 - Instructional Occupations
  15010 - Aircrew Training Devices Instructor (Non-Rated)                    31.76
  15020 - Aircrew Training Devices Instructor (Rated)                        38.42
           Case
  15030 - Air    1:22-cv-00586-CDB
              Crew                     Document
                    Training Devices Instructor   64-1 Filed 07/21/23
                                                (Pilot)                 Page 1343 of 1402
                                                                              46.06
  15050 - Computer Based Training Specialist / Instructor                      31.76
  15060 - Educational Technologist                                             39.14
  15070 - Flight Instructor (Pilot)                                            46.06
  15080 - Graphic Artist                                                       23.07
  15085 - Maintenance Test Pilot Fixed Jet/Prop                              46.06
  15086 - Maintenance Test Pilot Rotary Wing                                  46.06
  15088 - Non-Maintenance Test/Co-Pilot                                        46.06
  15090 - Technical Instructor                                                 24.78
  15095 - Technical Instructor/Course Developer                                30.32
  15110 - Test Proctor                                                         20.01
  15120 - Tutor                                                                20.01
16000 - Laundry Dry-Cleaning Pressing And Related Occupations
  16010 - Assembler                                                            15.31
  16030 - Counter Attendant                                                    15.31
  16040 - Dry Cleaner                                                          17.50
  16070 - Finisher Flatwork Machine                                          15.31
  16090 - Presser Hand                                                        15.31
  16110 - Presser Machine Drycleaning                                        15.31
  16130 - Presser Machine Shirts                                             15.31
  16160 - Presser Machine Wearing Apparel Laundry                           15.31
  16190 - Sewing Machine Operator                                              18.23
  16220 - Tailor                                                               18.96
  16250 - Washer Machine                                                      16.04
19000 - Machine Tool Operation And Repair Occupations
  19010 - Machine-Tool Operator (Tool Room)                                    27.38
  19040 - Tool And Die Maker                                                   33.20
21000 - Materials Handling And Packing Occupations
  21020 - Forklift Operator                                                    17.16
  21030 - Material Coordinator                                                 28.50
  21040 - Material Expediter                                                   28.50
  21050 - Material Handling Laborer                                            16.30
  21071 - Order Filler                                                         13.96
  21080 - Production Line Worker (Food Processing)                             17.16
  21110 - Shipping Packer                                                      15.92
  21130 - Shipping/Receiving Clerk                                             15.92
  21140 - Store Worker I                                                       15.79
  21150 - Stock Clerk                                                          19.04
  21210 - Tools And Parts Attendant                                            17.16
  21410 - Warehouse Specialist                                                 17.16
23000 - Mechanics And Maintenance And Repair Occupations
  23010 - Aerospace Structural Welder                                          35.35
  23019 - Aircraft Logs and Records Technician                                 27.59
  23021 - Aircraft Mechanic I                                                  33.38
  23022 - Aircraft Mechanic II                                                 35.35
  23023 - Aircraft Mechanic III                                                36.74
  23040 - Aircraft Mechanic Helper                                             23.41
  23050 - Aircraft Painter                                                    31.45
  23060 - Aircraft Servicer                                                    27.59
  23070 - Aircraft Survival Flight Equipment Technician                        31.45
  23080 - Aircraft Worker                                                      29.54
  23091 - Aircrew Life Support Equipment (ALSE) Mechanic                       29.54
  I
  23092 - Aircrew Life Support Equipment (ALSE) Mechanic                       33.38
  II
  23110 - Appliance Mechanic                                                   27.38
  23120 - Bicycle Repairer                                                     22.22
  23125 - Cable Splicer                                                        40.55
  23130 - Carpenter Maintenance                                               25.15
  23140 - Carpet Layer                                                         25.50
  23160 - Electrician Maintenance                                             35.30
  23181 - Electronics Technician Maintenance I                                 30.04
  23182 - Electronics Technician Maintenance II                                31.96
  23183 - Electronics Technician Maintenance III                               33.94
  23260 - Fabric Worker                                                        24.02
           CaseAlarm
  23290 - Fire   1:22-cv-00586-CDB
                      System Mechanic Document 64-1   Filed 07/21/23 Page 1344 of 1402
                                                                           23.03
  23310 - Fire Extinguisher Repairer                                       22.22
  23311 - Fuel Distribution System Mechanic                                40.26
  23312 - Fuel Distribution System Operator                                30.78
  23370 - General Maintenance Worker                                       21.27
  23380 - Ground Support Equipment Mechanic                                33.38
  23381 - Ground Support Equipment Servicer                                27.59
  23382 - Ground Support Equipment Worker                                  29.54
  23391 - Gunsmith I                                                       22.22
  23392 - Gunsmith II                                                      25.71
  23393 - Gunsmith III                                                     29.06
  23410 - Heating Ventilation And Air-Conditioning                        27.22
  Mechanic
  23411 - Heating Ventilation And Air Contidioning                        28.83
  Mechanic (Research Facility)
  23430 - Heavy Equipment Mechanic                                         26.75
  23440 - Heavy Equipment Operator                                         26.96
  23460 - Instrument Mechanic                                              33.96
  23465 - Laboratory/Shelter Mechanic                                      27.38
  23470 - Laborer                                                          16.30
  23510 - Locksmith                                                        29.10
  23530 - Machinery Maintenance Mechanic                                   29.46
  23550 - Machinist Maintenance                                           23.12
  23580 - Maintenance Trades Helper                                        15.37
  23591 - Metrology Technician I                                           33.96
  23592 - Metrology Technician II                                          35.96
  23593 - Metrology Technician III                                         37.37
  23640 - Millwright                                                       29.06
  23710 - Office Appliance Repairer                                        21.82
  23760 - Painter Maintenance                                             24.42
  23790 - Pipefitter Maintenance                                          29.44
  23810 - Plumber Maintenance                                             27.73
  23820 - Pneudraulic Systems Mechanic                                     29.06
  23850 - Rigger                                                           29.06
  23870 - Scale Mechanic                                                   25.71
  23890 - Sheet-Metal Worker Maintenance                                  32.24
  23910 - Small Engine Mechanic                                            24.78
  23931 - Telecommunications Mechanic I                                    30.44
  23932 - Telecommunications Mechanic II                                   32.24
  23950 - Telephone Lineman                                                31.01
  23960 - Welder Combination Maintenance                                 25.85
  23965 - Well Driller                                                     30.09
  23970 - Woodcraft Worker                                                 29.06
  23980 - Woodworker                                                       22.22
24000 - Personal Needs Occupations
  24550 - Case Manager                                                     18.73
  24570 - Child Care Attendant                                             14.17
  24580 - Child Care Center Clerk                                          17.67
  24610 - Chore Aide                                                       13.07
  24620 - Family Readiness And Support Services                            18.73
  Coordinator
  24630 - Homemaker                                                        18.73
25000 - Plant And System Operations Occupations
  25010 - Boiler Tender                                                    40.06
  25040 - Sewage Plant Operator                                            33.11
  25070 - Stationary Engineer                                              40.06
  25190 - Ventilation Equipment Tender                                     28.09
  25210 - Water Treatment Plant Operator                                   33.11
27000 - Protective Service Occupations
  27004 - Alarm Monitor                                                    24.99
  27007 - Baggage Inspector                                                13.82
  27008 - Corrections Officer                                              43.91
  27010 - Court Security Officer                                           42.20
  27030 - Detection Dog Handler                                            15.46
  27040 - Detention Officer                                                43.91
           Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23
  27070 - Firefighter                                             Page 1345 of 1402
                                                                        42.20
  27101 - Guard I                                                       13.82
  27102 - Guard II                                                      15.46
  27131 - Police Officer I                                              35.19
  27132 - Police Officer II                                             39.10
28000 - Recreation Occupations
  28041 - Carnival Equipment Operator                                   16.52
  28042 - Carnival Equipment Repairer                                   18.02
  28043 - Carnival Worker                                               13.06
  28210 - Gate Attendant/Gate Tender                                    17.57
  28310 - Lifeguard                                                     14.47
  28350 - Park Attendant (Aide)                                         19.64
  28510 - Recreation Aide/Health Facility Attendant                     14.33
  28515 - Recreation Specialist                                         24.32
  28630 - Sports Official                                               15.63
  28690 - Swimming Pool Operator                                        20.85
29000 - Stevedoring/Longshoremen Occupational Services
  29010 - Blocker And Bracer                                            28.47
  29020 - Hatch Tender                                                  28.47
  29030 - Line Handler                                                  28.47
  29041 - Stevedore I                                                   26.59
  29042 - Stevedore II                                                  30.31
30000 - Technical Occupations
  30010 - Air Traffic Control Specialist Center (HFO)   (see 2)        46.00
  30011 - Air Traffic Control Specialist Station (HFO) (see 2)         31.72
  30012 - Air Traffic Control Specialist Terminal (HFO) (see 2)        34.93
  30021 - Archeological Technician I                                    19.91
  30022 - Archeological Technician II                                   26.44
  30023 - Archeological Technician III                                  27.27
  30030 - Cartographic Technician                                       30.50
  30040 - Civil Engineering Technician                                  30.25
  30051 - Cryogenic Technician I                                        29.05
  30052 - Cryogenic Technician II                                       32.09
  30061 - Drafter/CAD Operator I                                        19.91
  30062 - Drafter/CAD Operator II                                       26.44
  30063 - Drafter/CAD Operator III                                      26.80
  30064 - Drafter/CAD Operator IV                                       32.98
  30081 - Engineering Technician I                                      18.74
  30082 - Engineering Technician II                                     21.04
  30083 - Engineering Technician III                                    23.54
  30084 - Engineering Technician IV                                     29.16
  30085 - Engineering Technician V                                      35.67
  30086 - Engineering Technician VI                                     43.15
  30090 - Environmental Technician                                      26.33
  30095 - Evidence Control Specialist                                   26.23
  30210 - Laboratory Technician                                         24.11
  30221 - Latent Fingerprint Technician I                               28.08
  30222 - Latent Fingerprint Technician II                              31.02
  30240 - Mathematical Technician                                       27.58
  30361 - Paralegal/Legal Assistant I                                   22.09
  30362 - Paralegal/Legal Assistant II                                  27.36
  30363 - Paralegal/Legal Assistant III                                 33.47
  30364 - Paralegal/Legal Assistant IV                                  40.49
  30375 - Petroleum Supply Specialist                                   32.09
  30390 - Photo-Optics Technician                                       27.58
  30395 - Radiation Control Technician                                  32.09
  30461 - Technical Writer I                                            29.04
  30462 - Technical Writer II                                           35.52
  30463 - Technical Writer III                                          42.97
  30491 - Unexploded Ordnance (UXO) Technician I                        29.24
  30492 - Unexploded Ordnance (UXO) Technician II                       35.37
  30493 - Unexploded Ordnance (UXO) Technician III                      42.40
  30494 - Unexploded (UXO) Safety Escort                                29.24
  30495 - Unexploded (UXO) Sweep Personnel                              29.24
  30501 - Weather Forecaster I                                          29.05
           Case 1:22-cv-00586-CDB
  30502 - Weather  Forecaster II      Document 64-1 Filed 07/21/23     Page 1346 of 1402
                                                                             35.34
  30620 - Weather Observer Combined Upper Air Or        (see 2)               26.80
  Surface Programs
  30621 - Weather Observer Senior                       (see 2)               27.27
31000 - Transportation/Mobile Equipment Operation Occupations
  31010 - Airplane Pilot                                                       35.37
  31020 - Bus Aide                                                             13.48
  31030 - Bus Driver                                                           19.18
  31043 - Driver Courier                                                       16.82
  31260 - Parking and Lot Attendant                                            14.29
  31290 - Shuttle Bus Driver                                                   17.04
  31310 - Taxi Driver                                                          17.03
  31361 - Truckdriver Light                                                   18.35
  31362 - Truckdriver Medium                                                  19.83
  31363 - Truckdriver Heavy                                                   20.81
  31364 - Truckdriver Tractor-Trailer                                         20.81
99000 - Miscellaneous Occupations
  99020 - Cabin Safety Specialist                                              17.25
  99030 - Cashier                                                              13.41
  99050 - Desk Clerk                                                           13.84
  99095 - Embalmer                                                             29.24
  99130 - Flight Follower                                                      29.24
  99251 - Laboratory Animal Caretaker I                                        15.93
  99252 - Laboratory Animal Caretaker II                                       17.28
  99260 - Marketing Analyst                                                    29.95
  99310 - Mortician                                                            29.24
  99410 - Pest Controller                                                      17.39
  99510 - Photofinishing Worker                                                15.36
  99710 - Recycling Laborer                                                    25.46
  99711 - Recycling Specialist                                                 30.78
  99730 - Refuse Collector                                                     24.30
  99810 - Sales Clerk                                                          14.44
  99820 - School Crossing Guard                                                14.39
  99830 - Survey Party Chief                                                   34.63
  99831 - Surveying Aide                                                       22.98
  99832 - Surveying Technician                                                 31.49
  99840 - Vending Machine Attendant                                            20.39
  99841 - Vending Machine Repairer                                             25.73
  99842 - Vending Machine Repairer Helper                                      20.97




____________________________________________________________________________________

Note: Executive Order (EO) 13706 Establishing Paid Sick Leave for Federal
Contractors applies to all contracts subject to the Service Contract Act for which
the contract is awarded (and any solicitation was issued) on or after January 1
2017. If this contract is covered by the EO the contractor must provide employees
with 1 hour of paid sick leave for every 30 hours they work up to 56 hours of paid
sick leave each year. Employees must be permitted to use paid sick leave for their
own illness injury or other health-related needs including preventive care; to
assist a family member (or person who is like family to the employee) who is ill
injured or has other health-related needs including preventive care; or for
reasons resulting from or to assist a family member (or person who is like family
to the employee) who is the victim of domestic violence sexual assault or
stalking. Additional information on contractor requirements and worker protections
under the EO is available at www.dol.gov/whd/govcontracts.
           CaseLISTED
ALL OCCUPATIONS 1:22-cv-00586-CDB    Document
                      ABOVE RECEIVE THE         64-1
                                        FOLLOWING     Filed 07/21/23
                                                  BENEFITS:            Page 1347 of 1402


HEALTH & WELFARE: $4.60 per hour up to 40 hours per week or $184.00 per week or
$797.33 per month



HEALTH & WELFARE EO 13706: $4.23 per hour up to 40 hours per week or $169.20 per
week or $733.20 per month*



*This rate is to be used only when compensating employees for performance on an SCA-
covered contract also covered by EO 13706 Establishing Paid Sick Leave for Federal
Contractors. A contractor may not receive credit toward its SCA obligations for any
paid sick leave provided pursuant to EO 13706.



VACATION: 2 weeks paid vacation after 1 year of service with a contractor or
successor 3 weeks after 5 years and 4 weeks after 15 years. Length of service
includes the whole span of continuous service with the present contractor or
successor wherever employed and with the predecessor contractors in the
performance of similar work at the same Federal facility. (Reg. 29 CFR 4.173)



HOLIDAYS: A minimum of eleven paid holidays per year: New Year's Day Martin
Luther King Jr.'s Birthday Washington's Birthday Memorial Day Juneteenth
National Independence Day Independence Day Labor Day Columbus Day Veterans'
Day Thanksgiving Day and Christmas Day. (A contractor may substitute for any of
the named holidays another day off with pay in accordance with a plan communicated
to the employees involved.) (See 29 CFR 4.174)




THE OCCUPATIONS WHICH HAVE NUMBERED FOOTNOTES IN PARENTHESES RECEIVE THE FOLLOWING:



1) COMPUTER EMPLOYEES: Under the SCA at section 8(b) this wage determination does
not apply to any employee who individually qualifies as a bona fide executive
administrative or professional employee as defined in 29 C.F.R. Part 541. Because
most Computer System Analysts and Computer Programmers who are compensated at a rate
not less than $27.63 (or on a salary or fee basis at a rate not less than $455 per
week) an hour would likely qualify as exempt computer professionals (29 C.F.R. 541.
400) wage rates may not be listed on this wage determination for all occupations
within those job families. In addition because this wage determination may not
list a wage rate for some or all occupations within those job families if the survey
data indicates that the prevailing wage rate for the occupation equals or exceeds
$27.63 per hour conformances may be necessary for certain nonexempt employees. For
example if an individual employee is nonexempt but nevertheless performs duties
within the scope of one of the Computer Systems Analyst or Computer Programmer
occupations for which this wage determination does not specify an SCA wage rate
then the wage rate for that employee must be conformed in accordance with the
conformance procedures described in the conformance note included on this wage
determination.
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Additionally because job titles vary widely and change quickly in the computer
industry job titles are not determinative of the application of the computer
professional exemption. Therefore the exemption applies only to computer employees
who satisfy the compensation requirements and whose primary duty consists of:

    (1) The application of systems analysis techniques and procedures including
consulting with users to determine hardware software or system functional
specifications;

    (2) The design development documentation analysis creation testing or
modification of computer systems or programs including prototypes based on and
related to user or system design specifications;

    (3) The design documentation testing creation or modification of computer
programs related to machine operating systems; or

    (4) A combination of the aforementioned duties the performance of which
requires the same level of skills. (29 C.F.R. 541.400).



2) AIR TRAFFIC CONTROLLERS AND WEATHER OBSERVERS - NIGHT PAY & SUNDAY PAY: If you
work at night as part of a regular tour of duty you will earn a night differential
and receive an additional 10% of basic pay for any hours worked between 6pm and 6am.
 If you are a full-time employed (40 hours a week) and Sunday is part of your
regularly scheduled workweek you are paid at your rate of basic pay plus a Sunday
premium of 25% of your basic rate for each hour of Sunday work which is not overtime
(i.e. occasional work on Sunday outside the normal tour of duty is considered
overtime work).




** HAZARDOUS PAY DIFFERENTIAL **



An 8 percent differential is applicable to employees employed in a position that
represents a high degree of hazard when working with or in close proximity to
ordnance explosives and incendiary materials. This includes work such as
screening blending dying mixing and pressing of sensitive ordnance explosives
and pyrotechnic compositions such as lead azide black powder and photoflash powder.
 All dry-house activities involving propellants or explosives. Demilitarization
modification renovation demolition and maintenance operations on sensitive
ordnance explosives and incendiary materials. All operations involving re-grading
and cleaning of artillery ranges.



A 4 percent differential is applicable to employees employed in a position that
represents a low degree of hazard when working with or in close proximity to
ordnance (or employees possibly adjacent to) explosives and incendiary materials
which involves potential injury such as laceration of hands face or arms of the
employee engaged in the operation irritation of the skin minor burns and the like;
minimal damage to immediate or adjacent work area or equipment being used. All
operations involving unloading storage and hauling of ordnance explosive and
incendiary ordnance material other than small arms ammunition. These differentials
are only applicable to work that has been specifically designated by the agency for
ordnance explosives and incendiary material differential pay.



** UNIFORM ALLOWANCE **
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If employees are required to wear uniforms in the performance of this contract
(either by the terms of the Government contract by the employer by the state or
local law etc.) the cost of furnishing such uniforms and maintaining (by
laundering or dry cleaning) such uniforms is an expense that may not be borne by an
employee where such cost reduces the hourly rate below that required by the wage
determination. The Department of Labor will accept payment in accordance with the
following standards as compliance:



The contractor or subcontractor is required to furnish all employees with an
adequate number of uniforms without cost or to reimburse employees for the actual
cost of the uniforms. In addition where uniform cleaning and maintenance is made
the responsibility of the employee all contractors and subcontractors subject to
this wage determination shall (in the absence of a bona fide collective bargaining
agreement providing for a different amount or the furnishing of contrary
affirmative proof as to the actual cost) reimburse all employees for such cleaning
and maintenance at a rate of $3.35 per week (or $.67 cents per day). However in
those instances where the uniforms furnished are made of ""wash and wear""
materials may be routinely washed and dried with other personal garments and do
not require any special treatment such as dry cleaning daily washing or commercial
laundering in order to meet the cleanliness or appearance standards set by the terms
of the Government contract by the contractor by law or by the nature of the work
there is no requirement that employees be reimbursed for uniform maintenance costs.



** REQUEST FOR AUTHORIZATION OF ADDITIONAL CLASSIFICATION AND WAGE RATE Standard
Form 1444 (SF-1444) **



Conformance Process:



The contracting officer shall require that any class of service employee which is
not listed herein and which is to be employed under the contract (i.e. the work to
be performed is not performed by any classification listed in the wage
determination) be classified by the contractor so as to provide a reasonable
relationship (i.e. appropriate level of skill comparison) between such unlisted
classifications and the classifications listed in the wage determination (See 29 CFR
4.6(b)(2)(i)). Such conforming procedures shall be initiated by the contractor
prior to the performance of contract work by such unlisted class(es) of employees
(See 29 CFR 4.6(b)(2)(ii)). The Wage and Hour Division shall make a final
determination of conformed classification wage rate and/or fringe benefits which
shall be paid to all employees performing in the classification from the first day
of work on which contract work is performed by them in the classification. Failure
to pay such unlisted employees the compensation agreed upon by the interested
parties and/or fully determined by the Wage and Hour Division retroactive to the
date such class of employees commenced contract work shall be a violation of the Act
and this contract. (See 29 CFR 4.6(b)(2)(v)). When multiple wage determinations are
included in a contract a separate SF-1444 should be prepared for each wage
determination to which a class(es) is to be conformed.



The process for preparing a conformance request is as follows:



1) When preparing the bid the contractor identifies the need for a conformed
           Case
occupation(s) and1:22-cv-00586-CDB    Document 64-1
                  computes a proposed rate(s).         Filed 07/21/23 Page 1350 of 1402


2) After contract award the contractor prepares a written report listing in order
the proposed classification title(s) a Federal grade equivalency (FGE) for each
proposed classification(s) job description(s) and rationale for proposed wage
rate(s) including information regarding the agreement or disagreement of the
authorized representative of the employees involved or where there is no authorized
representative the employees themselves. This report should be submitted to the
contracting officer no later than 30 days after such unlisted class(es) of employees
performs any contract work.



3) The contracting officer reviews the proposed action and promptly submits a report
of the action together with the agency's recommendations and pertinent
information including the position of the contractor and the employees to the U.S.
Department of Labor Wage and Hour Division for review (See 29 CFR 4.6(b)(2)(ii)).



4) Within 30 days of receipt the Wage and Hour Division approves modifies or
disapproves the action via transmittal to the agency contracting officer or
notifies the contracting officer that additional time will be required to process
the request.



5) The contracting officer transmits the Wage and Hour Division's decision to the
contractor.



6) Each affected employee shall be furnished by the contractor with a written copy
of such determination or it shall be posted as a part of the wage determination (See
29 CFR 4.6(b)(2)(iii)).



Information required by the Regulations must be submitted on SF-1444 or bond paper.



When preparing a conformance request the ""Service Contract Act Directory of
Occupations"" should be used to compare job definitions to ensure that duties
requested are not performed by a classification already listed in the wage
determination. Remember it is not the job title but the required tasks that
determine whether a class is included in an established wage determination.
Conformances may not be used to artificially split combine or subdivide
classifications listed in the wage determination (See 29 CFR 4.152(c)(1)).



** SERVICE CONTRACT ACT DIRECTORY OF OCCUPATIONS **



The duties of employees under job titles listed are those described in the
""Service Contract Act Directory of Occupations"" Fifth Edition (Revision 1)
dated September 2015 unless otherwise indicated."
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Virtual Attorney Visitation Capability

Virtual Attorney Visitation (VAV) is an established facility protocol that allows attorneys (or legal
representatives) to contact the facility and schedule video teleconference (VTC) visitation with their detainee
client(s) at least 24 hours in advance of the desired teleconference. The facility plant layout and design shall
accommodate virtual attorney visitation. The utilized space/room must be private, allowing for confidential
attorney-client conversations, and equipped with video teleconference equipment and/or tablet(s) permitting both
visual and audio communications. The room must also have a windowed door or other mechanism that allows
detainee observation for safety. While the designated space and equipment can be utilized for other purposes, it
is expected that virtual attorney visitation will be made available for at least six (6) hours each day.

Implement Virtual Attorney Visitation

The VAV program utilizes common web conferencing and videoconferencing applications to enable legal
representatives to meet with their clients or prospective clients virtually using video technology in private rooms
or booths to ensure confidentiality of communications during remote legal visits. Please note VAV does not
substitute for in-person meetings, but it does provide an alternative for attorneys to communicate with clients in a
timely and efficient manner.

In conjunction with ICE staff, create and implement procedures, in writing, through which legal representatives
can utilize an online scheduling system or dedicated email boxes to schedule legal visits or confidential legal
calls. Send written procedures to ERO for posting on the facility webpage on ICE.gov.

In conjunction with ICE staff, create and implement procedures, in writing, through which detained individuals
and legal representatives may exchange non-confidential messages (such as the use of a dedicated email
box). Send written procedures to ERO for posting on the facility webpage on ICE.gov.

In conjunction with ICE staff, create and implement procedures, in writing, through which detained individuals
and legal representatives may exchange confidential documents, such as to obtain signatures, via electronic
means. Send written procedures to ERO Communications for posting on the facility webpage on ICE.gov.

In conjunction with ICE staff, create a dedicated mailbox for legal representatives to contact case officers and
supervisors, submit G28s, and get case updates.
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Virtual Attorney Visitation Capability

Virtual Attorney Visitation (VAV) is an established facility protocol that allows attorneys (or legal
representatives) to contact the facility and schedule video teleconference (VTC) visitation with their detainee
client(s) at least 24 hours in advance of the desired teleconference. The facility plant layout and design shall
accommodate virtual attorney visitation. The utilized space/room must be private, allowing for confidential
attorney-client conversations, and equipped with video teleconference equipment and/or tablet(s) permitting both
visual and audio communications. The room must also have a windowed door or other mechanism that allows
detainee observation for safety. While the designated space and equipment can be utilized for other purposes, it
is expected that virtual attorney visitation will be made available for at least six (6) hours each day.

Implement Virtual Attorney Visitation

The VAV program utilizes common web conferencing and videoconferencing applications to enable legal
representatives to meet with their clients or prospective clients virtually using video technology in private rooms
or booths to ensure confidentiality of communications during remote legal visits. Please note VAV does not
substitute for in-person meetings, but it does provide an alternative for attorneys to communicate with clients in a
timely and efficient manner.

In conjunction with ICE staff, create and implement procedures, in writing, through which legal representatives
can utilize an online scheduling system or dedicated email boxes to schedule legal visits or confidential legal
calls. Send written procedures to ERO for posting on the facility webpage on ICE.gov.

In conjunction with ICE staff, create and implement procedures, in writing, through which detained individuals
and legal representatives may exchange non-confidential messages (such as the use of a dedicated email
box). Send written procedures to ERO for posting on the facility webpage on ICE.gov.

In conjunction with ICE staff, create and implement procedures, in writing, through which detained individuals
and legal representatives may exchange confidential documents, such as to obtain signatures, via electronic
means. Send written procedures to ERO Communications for posting on the facility webpage on ICE.gov.

In conjunction with ICE staff, create a dedicated mailbox for legal representatives to contact case officers and
supervisors, submit G28s, and get case updates.
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               Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 1368 of 1402
                                        The GEO Group, Inc.
                                       GOLDEN STATE ANNEX
                                      MCFARLAND, CALIFORNIA
                                          700 BEDS - ICE

                                                 Executive Office

                                                          NonShift     Shift 1   Shift 2   Shift 3   Relief   FTE


Facility Administrator                                      1.00                                     1.00     1.00
Assistant Facility Administrator                            1.00                                     1.00     1.00
HR Manager                                                  1.00                                     1.00     1.00
Compliance Administrator                                    1.00                                     1.00     1.00
PREA Administrator/Grievance/Disability Coordinator         1.00                                     1.00     1.00
Training Administrator                                      1.00                                     1.00     1.00
Fire & Safety Manager                                       1.00                                     1.00     1.00
                                                  Wage Determination
Executive Secretary                                         1.00                                     1.00     1.00

Executive Sub Total                                         8.00       0.00      0.00      0.00               8.00


                                                Business/Support

                                                          NonShift     Shift 1   Shift 2   Shift 3   Relief   FTE

Business Manager                                          1.00                                       1.00     1.00
                                                Wage Determination
Computer Support Technician                               1.00                                       1.00     1.00
HR Specialist                                             1.00                                       1.00     1.00
Bookkeeper                                                1.00                                       1.00     1.00
Detainee Banking Clerk                                    1.00                                       1.00     1.00
Accounts Payable/Payroll Clerk                            1.00                                       1.00     1.00
Mailroom Clerk                                            2.00                                       1.00     2.00
Warehouse Clerk                                           1.00                                       1.00     1.00
Receptionist                                              1.00                                       1.00     1.00
Janitor                                                   2.00                                       1.00     2.00
Contract Commissary

Business/Support Sub Total                                 12.00       0.00      0.00      0.00               12.00


                                                   Maintenance

                                                          NonShift     Shift 1   Shift 2   Shift 3   Relief   FTE

                                                Wage Determination
Facility Maintenance Manager                              1.00                                       1.00     1.00
General Maint Tech                                        2.00                                       1.00     2.00

Maintenance Sub Total                                       3.00       0.00      0.00      0.00               3.00
                Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 1369 of 1402
                                           The GEO Group, Inc.
                                          GOLDEN STATE ANNEX
                                         MCFARLAND, CALIFORNIA
                                             700 BEDS - ICE
                                                   Food Service

                                                         NonShift     Shift 1   Shift 2   Shift 3   Relief   FTE

Food Service Manager                                       1.00                                     1.00     1.00
                                                 Wage Determination
Cook                                                                  2.50      2.50                1.60     8.00
Food Serv/Maintenance-Accounting Clerk                     1.00                                     1.00     1.00


Food Service Sub-Total                                     2.00       2.50      2.50      0.00               10.00


                                                 Health Services

                                                         NonShift     Shift 1   Shift 2   Shift 3   Relief   FTE

Health Services Administrator                              1.00                                     1.00     1.00
Director of Nursing - RN                                   1.00                                     1.00     1.00
Administrative Assistant                                   1.00                                     1.00     1.00
Nurse Practitioner/PA                                      2.00                                     1.00     2.00
Registered Nurse II (IDC) (CC)                             1.00                                     1.00     1.00
Registered Nurse II (12 Hour Shifts)                                  2.00      1.00                2.25     6.75
Licensed Vocational Nurse III (12 Hour Shifts)                        2.00      1.00                2.25     6.75
Medical Records Clerk                                      2.00                                     1.00     2.00
Physician                                                  1.00                                     1.00     1.00
Psychologist                                               1.00                                     1.00     1.00
Dentist                                                    0.50                                     1.00     0.50
Dental Technician                                          0.50                                     1.00     0.50
Psychiatrist                                               0.30                                     1.00     0.30

Health Services Sub Total                                  11.30      4.00      2.00      0.00               24.80


                                                    Programs

                                                         NonShift     Shift 1   Shift 2   Shift 3   Relief   FTE

Programs/Volunteers Coordinator                            1.00                                     1.00     1.00
Chaplain                                                   1.00                                     1.00     1.00
                                                 Wage Determination
Classification / Case Manager                              2.00                                     1.00     2.00
Records Clerk                                              2.00                                     1.00     2.00
Library Technician                                         1.00                                     1.00     1.00
Recreation Specialist                                      1.00                                     1.00     1.00

Programs Sub Total                                         8.00       0.00      0.00      0.00               8.00
                Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 1370 of 1402
                                          The GEO Group, Inc.
                                         GOLDEN STATE ANNEX
                                        MCFARLAND, CALIFORNIA
                                            700 BEDS - ICE
                                                    Security Supervisors

                                                             NonShift     Shift 1   Shift 2   Shift 3   Relief    FTE

Supervisory Detention Captain (Chief of Security)              1.00                                     1.00      1.00
Administrative Lieutenant / Transport Lieutenant               2.00                                     1.00      2.00
Intake Lt                                                      1.00                                     1.00      1.00
Supervisory Detention Shift Lieutenant                                     1.00     1.00      1.00      1.67      5.00
                                                     Wage Determination
Security / Transport Clerk                                     2.00                                     1.00      2.00
Armory/Locksmith Officer                                       1.00                                     1.00      1.00

Security Supervisors Sub-Total                                 7.00        1.00     1.00      1.00               12.00


                                                     Detention Officers

                                                             NonShift     Shift 1   Shift 2   Shift 3   Relief    FTE

                                                     Wage Determination
Central Control                                                            2.00     2.00      1.00      1.73      8.66
Perimeter Patrol                                                           1.00     1.00      1.00      1.73      5.20
Housing Control A                                                                                       1.73      0.00
Housing A                                                                  4.00     4.00      4.00      1.73      20.78
Housing Control B                                                                                       1.73      0.00
Housing B                                                                  4.00     4.00      4.00      1.73      20.78
RHU                                                                        2.00     2.00      1.00      1.73      8.66
Intake / Release                                                           2.00     2.00      1.00      1.73      8.66
Medical                                                                    1.00     1.00      1.00      1.73      5.20
Recreation                                                                 2.00     2.00                1.73      6.93
Escort / Utility                                                           3.00     2.00      2.00      1.73      12.12
Visitation                                                                 2.00                         1.73      3.46
Laundry                                                                    1.00                         1.20      1.20
Property                                                       1.00                                     1.20      1.20
Programs                                                       1.00                                     1.20      1.20
Front Desk                                                                 1.00     1.00                1.60      3.20
Kitchen                                                                    1.00     1.00                1.73      3.46
VTC / Bailiff                                                  2.00                                     1.20      2.40
Medical Escort Officer                                         4.00                                     1.73      6.93
rounding                                                                                                          (0.05)
Officers Sub-Total                                             8.00       26.00     22.00     15.00              120.00


                                                    Transportation - GTI

                                                             NonShift     Shift 1   Shift 2   Shift 3   Relief    FTE


                                                     Wage Determination




GTI Sub Total                                                  0.00        0.00     0.00      0.00                0.00
                Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 1371 of 1402
                                    The GEO Group, Inc.
                                   GOLDEN STATE ANNEX
                                  MCFARLAND, CALIFORNIA
                                      700 BEDS - ICE

                                        TOTAL CONTRACTED


Executive Office                                        8.00       0.00     0.00      0.00                8.00
Business/Support                                        12.00      0.00     0.00      0.00                12.00
Maintenance                                             3.00       0.00     0.00      0.00                3.00
Health Services                                         11.30      4.00     2.00      0.00                24.80
Programs                                                8.00       0.00     0.00      0.00                8.00
Food Service                                            2.00       2.50     2.50      0.00                10.00
Security Supervisors                                    7.00       1.00     1.00      1.00                12.00
Detention Officers                                      8.00       26.00    22.00     15.00              120.00
Transportation                                          0.00       0.00     0.00      0.00                0.00
                                      TOTAL STAFF       59.30      33.50    27.50     16.00              197.80

                                         ABOVE & BEYOND

                                             Currently N/A



Sub-Total                                                0.00      0.00     0.00      0.00                0.00


                                     TOTAL ABOVE AND BEYOND

                                                       Non Shift   Shift1   Shift 2   Shift 3   Relief    FTE

                                                         0.00      0.00     0.00      0.00                0.00

                                         Total Staff     0.00      0.00     0.00      0.00      0.00      0.00

                                      TOTAL GEO AUTHORIZED

                                                       Non Shift   Shift1   Shift 2   Shift 3   Relief    FTE

Executive Office                                         8.00      0.00     0.00      0.00                 8.00
Business/Support                                        12.00      0.00     0.00      0.00                12.00
Maintenance                                             3.00       0.00     0.00      0.00                3.00
Health Services                                         11.30      4.00     2.00      0.00                24.80
Programs                                                8.00       0.00     0.00      0.00                8.00
Food Service                                            2.00       2.50     2.50      0.00                10.00
Security Supervisors                                     7.00      1.00     1.00      1.00                12.00
Detention Officers                                      8.00       26.00    22.00     15.00              120.00
Transportation                                           0.00      0.00      0.00      0.00                0.00
                                         Total Staff    59.30      33.50    27.50     16.00              197.80
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                   Case 1:22-cv-00586-CDB Document 64-1 Filed 07/21/23 Page 1374 of 1402
            "REGISTER OF WAGE DETERMINATIONS UNDER |         U.S. DEPARTMENT OF LABOR
         THE SERVICE CONTRACT ACT        | EMPLOYMENT STANDARDS ADMINISTRATION
  By direction of the Secretary of Labor |         WAGE AND HOUR DIVISION
                                         |         WASHINGTON D.C. 20210
                                         |
                                         |
                                         |
                                         | Wage Determination No.: 2015-5603
  Daniel W. Simms          Division of   |           Revision No.: 20
  Director            Wage Determinations| Date Of Last Revision: 06/27/2022
  _______________________________________|____________________________________________

  Note: Contracts subject to the Service Contract Act are generally required to
  pay at least the applicable minimum wage rate required under Executive Order
  14026 or Executive Order 13658.

  _____________________________________________________________________________________
  |If the contract is entered into on or |With certain exceptions Executive Order      |
  |after January 30 2022 or the         |14026 applies to the contract.              |
  |contract is renewed or extended (e.g. |The contractor must pay all covered workers |
  |an option is exercised) on or after    |at least $15.00 per hour (or the applicable |
  |January 30 2022:                      |wage rate listed on this wage determination|
  |                                       |if it is higher) for all hours spent          |
  |                                       |performing on the contract in 2022.           |
  ________________________________________|____________________________________________
  |If the contract is entered into on or |With certain exceptions Executive Order      |
  |after January 30 2022 or the         |13658 applies to the contract.              |
  |2022 and the contract is not renewed |The contractor must pay all covered workers |
  |or extended on or after January 30    |at least $11.25 per hour (or the applicable |
  |2022:                                  |wage rate listed on this wage determination|
  |                                       |if it is higher) for all hours spent          |
  |                                       |performing on the contract in 2022.           |
  _____________________________________________________________________________________

  The applicable Executive Order minimum wage rate will be adjusted annually. Additional
  information on contractor requirements and worker protections under the Executive Orders
  is available at https://www.dol.gov/agencies/whd/government-contracts.
  ____________________________________________________________________________________
  State: California

  Area: California County of Kern
  ____________________________________________________________________________________

                   **Fringe Benefits Required Follow the Occupational Listing**

  OCCUPATION CODE - TITLE                                        FOOTNOTE           RATE

  01000 - Administrative Support And Clerical Occupations
    01011 - Accounting Clerk I                                                     17.39
    01012 - Accounting Clerk II                                                    19.51
    01013 - Accounting Clerk III                                                   21.83
    01020 - Administrative Assistant                                               30.78
    01035 - Court Reporter                                                         36.51
    01041 - Customer Service Representative I                                      16.05
    01042 - Customer Service Representative II                                     17.51
    01043 - Customer Service Representative III                                    19.65
    01051 - Data Entry Operator I                                                  15.60
    01052 - Data Entry Operator II                                                 17.02
    01060 - Dispatcher Motor Vehicle                                              23.10
    01070 - Document Preparation Clerk                                             18.12
    01090 - Duplicating Machine Operator                                           18.12
    01111 - General Clerk I                                                        16.11
    01112 - General Clerk II                                                       17.58
    01113 - General Clerk III                                                      19.73

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    01120 - Housing  Referral Assistant Document 64-1    Filed 07/21/23 Page 1375 of 1402
                                                                              23.88
    01141 - Messenger Courier                                                 17.61
    01191 - Order Clerk I                                                     18.12
    01192 - Order Clerk II                                                    19.77
    01261 - Personnel Assistant (Employment) I                                19.13
    01262 - Personnel Assistant (Employment) II                               21.40
    01263 - Personnel Assistant (Employment) III                              23.85
    01270 - Production Control Clerk                                          28.50
    01290 - Rental Clerk                                                      16.30
    01300 - Scheduler Maintenance                                            19.15
    01311 - Secretary I                                                       19.15
    01312 - Secretary II                                                      21.42
    01313 - Secretary III                                                     23.87
    01320 - Service Order Dispatcher                                          20.65
    01410 - Supply Technician                                                 30.78
    01420 - Survey Worker                                                     20.46
    01460 - Switchboard Operator/Receptionist                              14.85***
    01531 - Travel Clerk I                                                 14.23***
    01532 - Travel Clerk II                                                14.95***
    01533 - Travel Clerk III                                                  16.15
    01611 - Word Processor I                                                  16.92
    01612 - Word Processor II                                                 19.00
    01613 - Word Processor III                                                20.64
  05000 - Automotive Service Occupations
    05005 - Automobile Body Repairer Fiberglass                              24.93
    05010 - Automotive Electrician                                            22.12
    05040 - Automotive Glass Installer                                        20.19
    05070 - Automotive Worker                                                 20.19
    05110 - Mobile Equipment Servicer                                         17.96
    05130 - Motor Equipment Metal Mechanic                                    23.49
    05160 - Motor Equipment Metal Worker                                      20.19
    05190 - Motor Vehicle Mechanic                                            23.49
    05220 - Motor Vehicle Mechanic Helper                                     16.47
    05250 - Motor Vehicle Upholstery Worker                                   19.42
    05280 - Motor Vehicle Wrecker                                             20.19
    05310 - Painter Automotive                                               22.12
    05340 - Radiator Repair Specialist                                        20.19
    05370 - Tire Repairer                                                     16.91
    05400 - Transmission Repair Specialist                                    23.49
  07000 - Food Preparation And Service Occupations
    07010 - Baker                                                             15.93
    07041 - Cook I                                                            16.51
    07042 - Cook II                                                           19.11
    07070 - Dishwasher                                                     14.00***
    07130 - Food Service Worker                                            14.31***
    07210 - Meat Cutter                                                       16.98
    07260 - Waiter/Waitress                                                14.00***
  09000 - Furniture Maintenance And Repair Occupations
    09010 - Electrostatic Spray Painter                                       20.01
    09040 - Furniture Handler                                              13.81***
    09080 - Furniture Refinisher                                              20.01
    09090 - Furniture Refinisher Helper                                       15.02
    09110 - Furniture Repairer Minor                                         17.71
    09130 - Upholsterer                                                       20.01
  11000 - General Services And Support Occupations
    11030 - Cleaner Vehicles                                                 15.06
    11060 - Elevator Operator                                                 15.06
    11090 - Gardener                                                          22.58
    11122 - Housekeeping Aide                                                 15.99
    11150 - Janitor                                                           15.99
    11210 - Laborer Grounds Maintenance                                      17.15
    11240 - Maid or Houseman                                               14.25***
    11260 - Pruner                                                            16.37
    11270 - Tractor Operator                                                  20.70
    11330 - Trail Maintenance Worker                                          17.15
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    11360 - Window Cleaner               Document 64-1   Filed 07/21/23 Page 1376 of 1402
                                                                              17.39
  12000 - Health Occupations
    12010 - Ambulance Driver                                                  18.87
    12011 - Breath Alcohol Technician                                         25.71
    12012 - Certified Occupational Therapist Assistant                        36.88
    12015 - Certified Physical Therapist Assistant                            36.83
    12020 - Dental Assistant                                                  18.03
    12025 - Dental Hygienist                                                  46.93
    12030 - EKG Technician                                                    37.96
    12035 - Electroneurodiagnostic Technologist                               37.96
    12040 - Emergency Medical Technician                                      18.87
    12071 - Licensed Practical Nurse I                                        22.98
    12072 - Licensed Practical Nurse II                                       25.71
    12073 - Licensed Practical Nurse III                                      28.66
    12100 - Medical Assistant                                                 17.62
    12130 - Medical Laboratory Technician                                     25.65
    12160 - Medical Record Clerk                                              20.20
    12190 - Medical Record Technician                                         22.60
    12195 - Medical Transcriptionist                                          21.85
    12210 - Nuclear Medicine Technologist                                     53.23
    12221 - Nursing Assistant I                                            13.83***
    12222 - Nursing Assistant II                                              15.54
    12223 - Nursing Assistant III                                             16.96
    12224 - Nursing Assistant IV                                              19.03
    12235 - Optical Dispenser                                                 17.95
    12236 - Optical Technician                                                22.98
    12250 - Pharmacy Technician                                               21.38
    12280 - Phlebotomist                                                      20.22
    12305 - Radiologic Technologist                                           37.12
    12311 - Registered Nurse I                                                27.16
    12312 - Registered Nurse II                                               33.22
    12313 - Registered Nurse II Specialist                                   33.22
    12314 - Registered Nurse III                                              40.20
    12315 - Registered Nurse III Anesthetist                                 40.20
    12316 - Registered Nurse IV                                               48.18
    12317 - Scheduler (Drug and Alcohol Testing)                              31.85
    12320 - Substance Abuse Treatment Counselor                               24.23
  13000 - Information And Arts Occupations
    13011 - Exhibits Specialist I                                             24.35
    13012 - Exhibits Specialist II                                            30.20
    13013 - Exhibits Specialist III                                           36.93
    13041 - Illustrator I                                                     26.63
    13042 - Illustrator II                                                    32.98
    13043 - Illustrator III                                                   40.34
    13047 - Librarian                                                         36.52
    13050 - Library Aide/Clerk                                                17.68
    13054 - Library Information Technology Systems                            32.98
    Administrator
    13058 - Library Technician                                                21.25
    13061 - Media Specialist I                                                23.80
    13062 - Media Specialist II                                               26.63
    13063 - Media Specialist III                                              29.68
    13071 - Photographer I                                                    19.80
    13072 - Photographer II                                                   22.15
    13073 - Photographer III                                                  27.45
    13074 - Photographer IV                                                   33.57
    13075 - Photographer V                                                    40.61
    13090 - Technical Order Library Clerk                                     22.20
    13110 - Video Teleconference Technician                                   22.15
  14000 - Information Technology Occupations
    14041 - Computer Operator I                                               19.64
    14042 - Computer Operator II                                              22.56
    14043 - Computer Operator III                                             25.14
    14044 - Computer Operator IV                                              27.94
    14045 - Computer Operator V                                               30.94
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    14071 - Computer  Programmer I       Document 64-1 Filed(see07/21/23
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    14072 - Computer Programmer II                          (see 1)
    14073 - Computer Programmer III                         (see 1)
    14074 - Computer Programmer IV                          (see 1)
    14101 - Computer Systems Analyst I                      (see 1)
    14102 - Computer Systems Analyst II                     (see 1)
    14103 - Computer Systems Analyst III                    (see 1)
    14150 - Peripheral Equipment Operator                                         19.64
    14160 - Personal Computer Support Technician                                  27.94
    14170 - System Support Specialist                                             30.94
  15000 - Instructional Occupations
    15010 - Aircrew Training Devices Instructor (Non-Rated)                       31.85
    15020 - Aircrew Training Devices Instructor (Rated)                           38.53
    15030 - Air Crew Training Devices Instructor (Pilot)                          46.19
    15050 - Computer Based Training Specialist / Instructor                       31.85
    15060 - Educational Technologist                                              39.14
    15070 - Flight Instructor (Pilot)                                             46.19
    15080 - Graphic Artist                                                        25.15
    15085 - Maintenance Test Pilot Fixed Jet/Prop                               46.19
    15086 - Maintenance Test Pilot Rotary Wing                                   46.19
    15088 - Non-Maintenance Test/Co-Pilot                                         46.19
    15090 - Technical Instructor                                                  24.78
    15095 - Technical Instructor/Course Developer                                 30.32
    15110 - Test Proctor                                                          20.01
    15120 - Tutor                                                                 20.01
  16000 - Laundry Dry-Cleaning Pressing And Related Occupations
    16010 - Assembler                                                             16.41
    16030 - Counter Attendant                                                     16.41
    16040 - Dry Cleaner                                                           18.75
    16070 - Finisher Flatwork Machine                                           16.41
    16090 - Presser Hand                                                         16.41
    16110 - Presser Machine Drycleaning                                         16.41
    16130 - Presser Machine Shirts                                              16.41
    16160 - Presser Machine Wearing Apparel Laundry                            16.41
    16190 - Sewing Machine Operator                                               19.53
    16220 - Tailor                                                                20.31
    16250 - Washer Machine                                                       17.19
  19000 - Machine Tool Operation And Repair Occupations
    19010 - Machine-Tool Operator (Tool Room)                                     29.86
    19040 - Tool And Die Maker                                                    36.19
  21000 - Materials Handling And Packing Occupations
    21020 - Forklift Operator                                                     17.89
    21030 - Material Coordinator                                                  28.50
    21040 - Material Expediter                                                    28.50
    21050 - Material Handling Laborer                                             17.93
    21071 - Order Filler                                                       14.56***
    21080 - Production Line Worker (Food Processing)                              17.89
    21110 - Shipping Packer                                                       17.48
    21130 - Shipping/Receiving Clerk                                              17.48
    21140 - Store Worker I                                                        16.29
    21150 - Stock Clerk                                                           19.64
    21210 - Tools And Parts Attendant                                             17.89
    21410 - Warehouse Specialist                                                  17.89
  23000 - Mechanics And Maintenance And Repair Occupations
    23010 - Aerospace Structural Welder                                           37.68
    23019 - Aircraft Logs and Records Technician                                  29.40
    23021 - Aircraft Mechanic I                                                   35.57
    23022 - Aircraft Mechanic II                                                  37.68
    23023 - Aircraft Mechanic III                                                 39.14
    23040 - Aircraft Mechanic Helper                                              24.94
    23050 - Aircraft Painter                                                     33.51
    23060 - Aircraft Servicer                                                     29.40
    23070 - Aircraft Survival Flight Equipment Technician                         33.51
    23080 - Aircraft Worker                                                       31.48
    23091 - Aircrew Life Support Equipment (ALSE) Mechanic                        31.48
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    23092 - Aircrew Life Support Equipment (ALSE) Mechanic                35.57
    II
    23110 - Appliance Mechanic                                            29.86
    23120 - Bicycle Repairer                                              22.22
    23125 - Cable Splicer                                                 44.61
    23130 - Carpenter Maintenance                                        27.53
    23140 - Carpet Layer                                                  28.05
    23160 - Electrician Maintenance                                      35.30
    23181 - Electronics Technician Maintenance I                          30.34
    23182 - Electronics Technician Maintenance II                         32.30
    23183 - Electronics Technician Maintenance III                        34.29
    23260 - Fabric Worker                                                 26.20
    23290 - Fire Alarm System Mechanic                                    23.03
    23310 - Fire Extinguisher Repairer                                    24.24
    23311 - Fuel Distribution System Mechanic                             40.26
    23312 - Fuel Distribution System Operator                             30.78
    23370 - General Maintenance Worker                                    21.92
    23380 - Ground Support Equipment Mechanic                             35.57
    23381 - Ground Support Equipment Servicer                             29.40
    23382 - Ground Support Equipment Worker                               31.48
    23391 - Gunsmith I                                                    24.24
    23392 - Gunsmith II                                                   28.05
    23393 - Gunsmith III                                                  31.69
    23410 - Heating Ventilation And Air-Conditioning                     27.22
    Mechanic
    23411 - Heating Ventilation And Air Contidioning                     28.83
    Mechanic (Research Facility)
    23430 - Heavy Equipment Mechanic                                      28.51
    23440 - Heavy Equipment Operator                                      28.78
    23460 - Instrument Mechanic                                           33.96
    23465 - Laboratory/Shelter Mechanic                                   29.86
    23470 - Laborer                                                       17.93
    23510 - Locksmith                                                     29.86
    23530 - Machinery Maintenance Mechanic                                29.63
    23550 - Machinist Maintenance                                        23.12
    23580 - Maintenance Trades Helper                                     16.91
    23591 - Metrology Technician I                                        33.96
    23592 - Metrology Technician II                                       35.96
    23593 - Metrology Technician III                                      37.37
    23640 - Millwright                                                    31.69
    23710 - Office Appliance Repairer                                     21.82
    23760 - Painter Maintenance                                          24.42
    23790 - Pipefitter Maintenance                                       31.15
    23810 - Plumber Maintenance                                          29.34
    23820 - Pneudraulic Systems Mechanic                                  31.69
    23850 - Rigger                                                        31.69
    23870 - Scale Mechanic                                                28.05
    23890 - Sheet-Metal Worker Maintenance                               32.24
    23910 - Small Engine Mechanic                                         24.78
    23931 - Telecommunications Mechanic I                                 30.44
    23932 - Telecommunications Mechanic II                                32.24
    23950 - Telephone Lineman                                             34.11
    23960 - Welder Combination Maintenance                              25.85
    23965 - Well Driller                                                  31.69
    23970 - Woodcraft Worker                                              31.69
    23980 - Woodworker                                                    24.24
  24000 - Personal Needs Occupations
    24550 - Case Manager                                                  19.09
    24570 - Child Care Attendant                                       14.50***
    24580 - Child Care Center Clerk                                       18.08
    24610 - Chore Aide                                                 14.35***
    24620 - Family Readiness And Support Services                         19.09
    Coordinator
    24630 - Homemaker                                                     19.09
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  25000 - Plant And1:22-cv-00586-CDB     Document 64-1 Filed 07/21/23
                     System Operations Occupations                      Page 1379 of 1402
    25010 - Boiler Tender                                                      40.46
    25040 - Sewage Plant Operator                                              33.11
    25070 - Stationary Engineer                                                40.46
    25190 - Ventilation Equipment Tender                                       28.37
    25210 - Water Treatment Plant Operator                                     33.11
  27000 - Protective Service Occupations
    27004 - Alarm Monitor                                                      24.99
    27007 - Baggage Inspector                                               14.87***
    27008 - Corrections Officer                                                44.89
    27010 - Court Security Officer                                             42.20
    27030 - Detection Dog Handler                                              16.64
    27040 - Detention Officer                                                  44.89
    27070 - Firefighter                                                        42.20
    27101 - Guard I                                                         14.87***
    27102 - Guard II                                                           16.64
    27131 - Police Officer I                                                   35.19
    27132 - Police Officer II                                                  39.10
  28000 - Recreation Occupations
    28041 - Carnival Equipment Operator                                        17.71
    28042 - Carnival Equipment Repairer                                        19.31
    28043 - Carnival Worker                                                 14.00***
    28210 - Gate Attendant/Gate Tender                                         17.57
    28310 - Lifeguard                                                       14.47***
    28350 - Park Attendant (Aide)                                              19.64
    28510 - Recreation Aide/Health Facility Attendant                       14.33***
    28515 - Recreation Specialist                                              24.32
    28630 - Sports Official                                                    15.63
    28690 - Swimming Pool Operator                                             22.35
  29000 - Stevedoring/Longshoremen Occupational Services
    29010 - Blocker And Bracer                                                 28.65
    29020 - Hatch Tender                                                       28.65
    29030 - Line Handler                                                       28.65
    29041 - Stevedore I                                                        26.76
    29042 - Stevedore II                                                       30.50
  30000 - Technical Occupations
    30010 - Air Traffic Control Specialist Center (HFO)   (see 2)             47.44
    30011 - Air Traffic Control Specialist Station (HFO) (see 2)              32.72
    30012 - Air Traffic Control Specialist Terminal (HFO) (see 2)             36.03
    30021 - Archeological Technician I                                         19.91
    30022 - Archeological Technician II                                        26.44
    30023 - Archeological Technician III                                       27.27
    30030 - Cartographic Technician                                            30.50
    30040 - Civil Engineering Technician                                       30.25
    30051 - Cryogenic Technician I                                             29.05
    30052 - Cryogenic Technician II                                            32.09
    30061 - Drafter/CAD Operator I                                             19.91
    30062 - Drafter/CAD Operator II                                            26.44
    30063 - Drafter/CAD Operator III                                           26.80
    30064 - Drafter/CAD Operator IV                                            32.98
    30081 - Engineering Technician I                                           19.05
    30082 - Engineering Technician II                                          21.38
    30083 - Engineering Technician III                                         23.92
    30084 - Engineering Technician IV                                          29.63
    30085 - Engineering Technician V                                           36.25
    30086 - Engineering Technician VI                                          43.85
    30090 - Environmental Technician                                           26.33
    30095 - Evidence Control Specialist                                        26.23
    30210 - Laboratory Technician                                              24.11
    30221 - Latent Fingerprint Technician I                                    28.41
    30222 - Latent Fingerprint Technician II                                   31.39
    30240 - Mathematical Technician                                            27.58
    30361 - Paralegal/Legal Assistant I                                        23.03
    30362 - Paralegal/Legal Assistant II                                       28.53
    30363 - Paralegal/Legal Assistant III                                      34.90
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    30364 - Paralegal/Legal  Assistant IV Document 64-1 Filed 07/21/23   Page 1380 of 1402
                                                                               42.22
    30375 - Petroleum Supply Specialist                                          32.09
    30390 - Photo-Optics Technician                                              27.58
    30395 - Radiation Control Technician                                         32.09
    30461 - Technical Writer I                                                   29.04
    30462 - Technical Writer II                                                  35.52
    30463 - Technical Writer III                                                 42.97
    30491 - Unexploded Ordnance (UXO) Technician I                               30.15
    30492 - Unexploded Ordnance (UXO) Technician II                              36.48
    30493 - Unexploded Ordnance (UXO) Technician III                             43.72
    30494 - Unexploded (UXO) Safety Escort                                       30.15
    30495 - Unexploded (UXO) Sweep Personnel                                     30.15
    30501 - Weather Forecaster I                                                 29.05
    30502 - Weather Forecaster II                                                35.34
    30620 - Weather Observer Combined Upper Air Or        (see 2)               26.80
    Surface Programs
    30621 - Weather Observer Senior                       (see 2)               27.27
  31000 - Transportation/Mobile Equipment Operation Occupations
    31010 - Airplane Pilot                                                       36.48
    31020 - Bus Aide                                                          13.48***
    31030 - Bus Driver                                                           19.18
    31043 - Driver Courier                                                       16.82
    31260 - Parking and Lot Attendant                                         14.29***
    31290 - Shuttle Bus Driver                                                   17.04
    31310 - Taxi Driver                                                          17.03
    31361 - Truckdriver Light                                                   18.35
    31362 - Truckdriver Medium                                                  19.83
    31363 - Truckdriver Heavy                                                   22.75
    31364 - Truckdriver Tractor-Trailer                                         22.75
  99000 - Miscellaneous Occupations
    99020 - Cabin Safety Specialist                                              17.79
    99030 - Cashier                                                           14.00***
    99050 - Desk Clerk                                                           15.22
    99095 - Embalmer                                                             29.24
    99130 - Flight Follower                                                      30.15
    99251 - Laboratory Animal Caretaker I                                        17.52
    99252 - Laboratory Animal Caretaker II                                       19.01
    99260 - Marketing Analyst                                                    29.95
    99310 - Mortician                                                            29.24
    99410 - Pest Controller                                                      18.59
    99510 - Photofinishing Worker                                                15.84
    99710 - Recycling Laborer                                                    25.46
    99711 - Recycling Specialist                                                 30.78
    99730 - Refuse Collector                                                     24.30
    99810 - Sales Clerk                                                       14.44***
    99820 - School Crossing Guard                                                15.83
    99830 - Survey Party Chief                                                   38.09
    99831 - Surveying Aide                                                       25.28
    99832 - Surveying Technician                                                 34.64
    99840 - Vending Machine Attendant                                            21.63
    99841 - Vending Machine Repairer                                             27.30
    99842 - Vending Machine Repairer Helper                                      21.63




  ***Workers in this classification may be entitled to a higher minimum wage under
  Executive Order 14026 ($15.00 per hour) or 13658 ($11.25 per hour). Please see the
  Note at the top of the wage determination for more information. Please also note
  that the minimum wage requirements of Executive Order 14026 and 13658 are not
  currently being enforced as to contracts or contract-like instruments entered into
  with the federal government in connection with seasonal recreational services or
  seasonal recreational equipment rental for the general public on federal lands.
  ____________________________________________________________________________________
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  Contractors applies to all contracts subject to the Service Contract Act for which
  the contract is awarded (and any solicitation was issued) on or after January 1
  2017. If this contract is covered by the EO the contractor must provide employees
  with 1 hour of paid sick leave for every 30 hours they work up to 56 hours of paid
  sick leave each year. Employees must be permitted to use paid sick leave for their
  own illness injury or other health-related needs including preventive care; to
  assist a family member (or person who is like family to the employee) who is ill
  injured or has other health-related needs including preventive care; or for
  reasons resulting from or to assist a family member (or person who is like family
  to the employee) who is the victim of domestic violence sexual assault or
  stalking. Additional information on contractor requirements and worker protections
  under the EO is available at www.dol.gov/whd/govcontracts.

  ALL OCCUPATIONS LISTED ABOVE RECEIVE THE FOLLOWING BENEFITS:

  HEALTH & WELFARE: $4.80 per hour up to 40 hours per week or $192.00 per week or
  $832.00 per month

  HEALTH & WELFARE EO 13706: $4.41 per hour up to 40 hours per week or $176.40 per
  week or $764.40 per month*

  *This rate is to be used only when compensating employees for performance on an SCA-
  covered contract also covered by EO 13706 Establishing Paid Sick Leave for Federal
  Contractors. A contractor may not receive credit toward its SCA obligations for any
  paid sick leave provided pursuant to EO 13706.

  VACATION: 2 weeks paid vacation after 1 year of service with a contractor or
  successor 3 weeks after 5 years and 4 weeks after 15 years. Length of service
  includes the whole span of continuous service with the present contractor or
  successor wherever employed and with the predecessor contractors in the
  performance of similar work at the same Federal facility. (Reg. 29 CFR 4.173)

  HOLIDAYS: A minimum of eleven paid holidays per year: New Year's Day Martin
  Luther King Jr.'s Birthday Washington's Birthday Memorial Day Juneteenth
  National Independence Day Independence Day Labor Day Columbus Day Veterans'
  Day Thanksgiving Day and Christmas Day. (A contractor may substitute for any of
  the named holidays another day off with pay in accordance with a plan communicated
  to the employees involved.) (See 29 CFR 4.174)



  THE OCCUPATIONS WHICH HAVE NUMBERED FOOTNOTES IN PARENTHESES RECEIVE THE FOLLOWING:

  1) COMPUTER EMPLOYEES: This wage determination does not apply to any individual
  employed in a bona fide executive administrative or professional capacity as
  defined in 29 C.F.R. Part 541. (See 41 C.F.R. 6701(3)). Because most Computer
  Systems Analysts and Computer Programmers who are paid at least $27.63 per hour (or
  at least $684 per week if paid on a salary or fee basis) likely qualify as exempt
  computer professionals under 29 U.S.C. 213(a)(1) and 29 U.S.C. 213(a)(17) this wage
  determination may not include wage rates for all occupations within those job
  families. In such instances a conformance will be necessary if there are nonexempt
  employees in these job families working on the contract.

  Job titles vary widely and change quickly in the computer industry and are not
  determinative of whether an employee is an exempt computer professional. To be
  exempt computer employees who satisfy the compensation requirements must also have
  a primary duty that consists of:

      (1) The application of systems analysis techniques and procedures including
  consulting with users to determine hardware software or system functional
  specifications;

      (2) The design development documentation analysis creation testing or
  modification of computer systems or programs including prototypes based on and
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             user or                    Document 64-1
                     system design specifications;       Filed 07/21/23 Page 1382 of 1402
      (3) The design documentation testing creation or modification of computer
  programs related to machine operating systems; or

      (4) A combination of the aforementioned duties the performance of which
  requires the same level of skills. (29 C.F.R. 541.400).

  Any computer employee who meets the applicable compensation requirements and the
  above duties test qualifies as an exempt computer professional under both section
  13(a)(1) and section 13(a)(17) of the Fair Labor Standards Act. (Field Assistance
  Bulletin No. 2006-3 (Dec. 14 2006)). Accordingly this wage determination will not
  apply to any exempt computer employee regardless of which of these two exemptions is
  utilized.

  2) AIR TRAFFIC CONTROLLERS AND WEATHER OBSERVERS - NIGHT PAY & SUNDAY PAY: If you
  work at night as part of a regular tour of duty you will earn a night differential
  and receive an additional 10% of basic pay for any hours worked between 6pm and 6am.
   If you are a full-time employed (40 hours a week) and Sunday is part of your
  regularly scheduled workweek you are paid at your rate of basic pay plus a Sunday
  premium of 25% of your basic rate for each hour of Sunday work which is not overtime
  (i.e. occasional work on Sunday outside the normal tour of duty is considered
  overtime work).


  ** HAZARDOUS PAY DIFFERENTIAL **

  An 8 percent differential is applicable to employees employed in a position that
  represents a high degree of hazard when working with or in close proximity to
  ordnance explosives and incendiary materials. This includes work such as
  screening blending dying mixing and pressing of sensitive ordnance explosives
  and pyrotechnic compositions such as lead azide black powder and photoflash powder.
   All dry-house activities involving propellants or explosives. Demilitarization
  modification renovation demolition and maintenance operations on sensitive
  ordnance explosives and incendiary materials. All operations involving re-grading
  and cleaning of artillery ranges.

  A 4 percent differential is applicable to employees employed in a position that
  represents a low degree of hazard when working with or in close proximity to
  ordnance (or employees possibly adjacent to) explosives and incendiary materials
  which involves potential injury such as laceration of hands face or arms of the
  employee engaged in the operation irritation of the skin minor burns and the like;
  minimal damage to immediate or adjacent work area or equipment being used. All
  operations involving unloading storage and hauling of ordnance explosive and
  incendiary ordnance material other than small arms ammunition. These differentials
  are only applicable to work that has been specifically designated by the agency for
  ordnance explosives and incendiary material differential pay.

  ** UNIFORM ALLOWANCE **

  If employees are required to wear uniforms in the performance of this contract
  (either by the terms of the Government contract by the employer by the state or
  local law etc.) the cost of furnishing such uniforms and maintaining (by
  laundering or dry cleaning) such uniforms is an expense that may not be borne by an
  employee where such cost reduces the hourly rate below that required by the wage
  determination. The Department of Labor will accept payment in accordance with the
  following standards as compliance:

  The contractor or subcontractor is required to furnish all employees with an
  adequate number of uniforms without cost or to reimburse employees for the actual
  cost of the uniforms. In addition where uniform cleaning and maintenance is made
  the responsibility of the employee all contractors and subcontractors subject to
  this wage determination shall (in the absence of a bona fide collective bargaining
  agreement providing for a different amount or the furnishing of contrary
  affirmative proof as to the actual cost) reimburse all employees for such cleaning
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  and maintenance  1:22-cv-00586-CDB
                     a rate of $3.35 per Document  64-1cents
                                         week (or $.67   Filed 07/21/23
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  those instances where the uniforms furnished are made of ""wash and wear""
  materials may be routinely washed and dried with other personal garments and do
  not require any special treatment such as dry cleaning daily washing or commercial
  laundering in order to meet the cleanliness or appearance standards set by the terms
  of the Government contract by the contractor by law or by the nature of the work
  there is no requirement that employees be reimbursed for uniform maintenance costs.

  ** REQUEST FOR AUTHORIZATION OF ADDITIONAL CLASSIFICATION AND WAGE RATE Standard
  Form 1444 (SF-1444) **

  Conformance Process:

  The contracting officer shall require that any class of service employee which is
  not listed herein and which is to be employed under the contract (i.e. the work to
  be performed is not performed by any classification listed in the wage
  determination) be classified by the contractor so as to provide a reasonable
  relationship (i.e. appropriate level of skill comparison) between such unlisted
  classifications and the classifications listed in the wage determination (See 29 CFR
  4.6(b)(2)(i)). Such conforming procedures shall be initiated by the contractor
  prior to the performance of contract work by such unlisted class(es) of employees
  (See 29 CFR 4.6(b)(2)(ii)). The Wage and Hour Division shall make a final
  determination of conformed classification wage rate and/or fringe benefits which
  shall be paid to all employees performing in the classification from the first day
  of work on which contract work is performed by them in the classification. Failure
  to pay such unlisted employees the compensation agreed upon by the interested
  parties and/or fully determined by the Wage and Hour Division retroactive to the
  date such class of employees commenced contract work shall be a violation of the Act
  and this contract. (See 29 CFR 4.6(b)(2)(v)). When multiple wage determinations are
  included in a contract a separate SF-1444 should be prepared for each wage
  determination to which a class(es) is to be conformed.

  The process for preparing a conformance request is as follows:

  1) When preparing the bid the contractor identifies the need for a conformed
  occupation(s) and computes a proposed rate(s).

  2) After contract award the contractor prepares a written report listing in order
  the proposed classification title(s) a Federal grade equivalency (FGE) for each
  proposed classification(s) job description(s) and rationale for proposed wage
  rate(s) including information regarding the agreement or disagreement of the
  authorized representative of the employees involved or where there is no authorized
  representative the employees themselves. This report should be submitted to the
  contracting officer no later than 30 days after such unlisted class(es) of employees
  performs any contract work.

  3) The contracting officer reviews the proposed action and promptly submits a report
  of the action together with the agency's recommendations and pertinent
  information including the position of the contractor and the employees to the U.S.
  Department of Labor Wage and Hour Division for review (See 29 CFR 4.6(b)(2)(ii)).

  4) Within 30 days of receipt the Wage and Hour Division approves modifies or
  disapproves the action via transmittal to the agency contracting officer or
  notifies the contracting officer that additional time will be required to process
  the request.

  5) The contracting officer transmits the Wage and Hour Division's decision to the
  contractor.

  6) Each affected employee shall be furnished by the contractor with a written copy
  of such determination or it shall be posted as a part of the wage determination (See
  29 CFR 4.6(b)(2)(iii)).

  Information required by the Regulations must be submitted on SF-1444 or bond paper.

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  When preparing                        Document
                   conformance request the         64-1
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  Occupations"" should be used to compare job definitions to ensure that duties
  requested are not performed by a classification already listed in the wage
  determination. Remember it is not the job title but the required tasks that
  determine whether a class is included in an established wage determination.
  Conformances may not be used to artificially split combine or subdivide
  classifications listed in the wage determination (See 29 CFR 4.152(c)(1)).

  ** SERVICE CONTRACT ACT DIRECTORY OF OCCUPATIONS **

  The duties of employees under job titles listed are those described in the
  ""Service Contract Act Directory of Occupations"" Fifth Edition (Revision 1)
  dated September 2015 unless otherwise indicated."




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MEMO FOR: *(2*URXS ,QF
FROM:           Ms. 1DWDVKD71JX\HQ, Contracting Officer
                ICE Office of Acquisition (OAQ)
                Detention, Compliance and Removals (DCR)

SUBJECT:        Transgender Care

. Transgender Care

This guidance complements existing ICE detention standards, ICE Policy 11062; Sexual Abuse and
Assault Prevention and Intervention (SAAPI) (May 22, 2014), and the requirements of the U.S.
Department of Homeland Security (DHS) regulation titled, “Standards to Prevent, Detect, and Respond to
Sexual Abuse and Assault in Confinement Facilities,”79 Fed. Reg. 13,100 (Mar. 7, 2014), hereafter DHS
PREA Standards.

ICE will provide a respectful, safe, and secure environment for all non-citizens, including those
individuals who identify as transgender and who are generally at a higher risk of victimization in
detention. Discrimination or harassment of any kind based on a non-citizen’s actual or perceived sexual
orientation or gender identity is strictly prohibited. SEE ATTACHMENTS 2(a)-- Best Practices for the
Care of Transgender Non-citizens in Detention; 2(b)--Sample Contract Attachments; and 2(c)--
Transgender Classification and Care Committee Determination Question Guide and Individualized
Detention Plan (Template).




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ATTACHMENT 2 – Transgender Care

The contractor shall meet transgender care requirements, including the establishment and operation of a
multidisciplinary Transgender Classification and Care Committee, responsible for constructing an
individualized detention plan for each self-identified transgender non-citizen in detention. To further
support you with implementation, identification, and care requirements, ICE is providing Best Practices
and a Transgender Question Determination Guide and Individualized Detention Plan (Template).

    x   ATTACHMENT 2(a)--Best Practices for the Care of Transgender Non-citizens in Detention
    x   ATTACHMENT 2(b)--Sample Contract Attachments X, Y, Z—Transgender Care
    x   ATTACHMENT 2(c)--Transgender Classification and Care Committee Determination Question
        Guide and Individualized Detention Plan (Template)




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ATTACHMENT 2(a) - Best Practices for the Care of Transgender Non-citizens in Detention


NOTICE: ICE Transgender Care policies and procedures apply regardless of when a detained non-
citizen discloses their transgender identity.

Intake: The facility should update local data systems used to capture non-citizen information or develop
a separate process, as needed, to record a non-citizen’s self-identification as transgender. If at any time
during the intake process facility staff determine additional privacy is needed, to the extent practicable,
staff should make appropriate accommodations to converse with the non-citizen in private.

Staff Communication: All facility staff communication with a detained non-citizen should be conducted
in a language and manner the non-citizen understands. Facility staff should interact with transgender non-
citizens in a manner that is professional, respectful, and courteous. Facility staff should refer to
transgender non-citizens by their preferred pronouns and chosen name, where known and applicable, to
promote a respectful and stable environment. If common practice is to refer to non-citizens by last name,
then facility staff may do so. The individual’s preferred name and pronouns should be documented in
their Individualized Detention Plan (see below) and detention file.
Privacy: A non-citizen’s self-identification as transgender is considered sensitive information; it should
not be shared with other non-citizens or staff who do not have a need to know the information and should
not be used to the non-citizen’s detriment.
INDIVIDUALIZED ASSESSMENT
Transgender Classification and Care Committee: The facility shall establish a Transgender
Classification and Care Committee (TCCC) comprised of a facility medical and behavioral health
representative (this may be two positions, one representing medical care and another representing
behavioral health, should ERO and the facility desire); facility classification supervisor; the IHSC Field
Medical Coordinator (FMC); ERO Lesbian, Gay, Bisexual, Transgender, Queer/Questioning and Intersex
(LGBTQI+) Field Liaison; and a supervisory representative designated by the Field Office Director
(FOD)- this person may also be the ERO LGBTQI+ Field Liaison.
The TCCC can also include other facility and ERO staff members as desired, including, where available,
a contracted ERO Custody and Resource Coordinator (CRC). The TCCC shall be chaired jointly by a
representative from the facility and an ERO representative, preferably the ERO LGBTQI+ Field Liaison.
Detainee Preferences and Requests: Any communication between facility representative(s) and a non-
citizen should be in a language and manner the non-citizen can understand. During their initial meeting
with the transgender non-citizen, the facility medical and/or behavioral health representative(s) and/or the
contracted ERO CRC may choose to use the provided Determination Question Guide template (see
Attachment 3) to record the non-citizen’s preferences. If the facility chooses not to use this template, the
facility shall record preferences using a template of their choice. A copy of the non-citizen’s responses
shall be kept in the non-citizen’s detention file. The results of this interview, including the non-citizen’s
preferences and requests, should be shared during the TCCC meeting (see below).
TCCC Assessment Considerations: As part of the transgender classification assessment, the TCCC
should, at a minimum, consider: the non-citizen 's self-identification; record and available documentation,
including forms and notes from initial processing, medical/behavioral health records, booking records,
identification documents, etc.; and observations provided by medical or behavioral health
representative(s), to include those based upon the latest Diagnostic and Statistical Manual of Mental
Disorders (DSM) criteria for the diagnosis of Gender Dysphoria.


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TCCC Individualized Detention Plan: Aside from safety or security concerns, the TCCC should try
where feasible to accommodate the non-citizen’s preferences. The facility may choose to use the provided
Individualized Detention Plan (IDP) template (see Attachment 3) to record their decisions. If the facility
chooses not to use this template, the facility shall record decisions using a template of their choice. The
final IDP shall be forwarded to the facility classification supervisor soon after the TCCC meeting. A copy
of the IDP should be kept in the non-citizen’s detention file to be used for future reference and/or
inquiries, as needed. A summary of the IDP should also be provided to the non-citizen The facility may
choose to use the provided Detention Plan- Non-citizen Summary template (see Attachment 3) or a
template of their choice.
Housing: The TCCC shall generally consider housing the transgender non-citizen according to their
preference, including by their gender identity, sex assigned at birth, in protective custody, or in an ICE
dedicated housing unit for transgender non-citizens. Placement into administrative segregation due to a
non-citizen’s identification as transgender should be used only as a last resort and when no other housing
option exists. When making the housing decision, the TCCC shall consider the safety and security of the
non-citizen, other non-citizens, and the facility staff.
All detained transgender non-citizens should be provided with a reasonably private environment for
bathing and toilet facilities, consistent with privacy and security considerations afforded to other non-
citizens in detention. This is particularly important for this population, as some transgender non-citizens
may have undergone surgical procedures as part of their transition.
SECURITY
Searches: Consistent with PBNDS 2011 and U.S. Department of Homeland Security (DHS) policies and
standards, including the DHS Prison Rape Elimination Act (PREA), searches of transgender non-citizens
shall be performed by an officer of the same gender/gender identity as the non-citizen (e.g., a transgender
woman (male to female) should be searched by a female officer). Further, per PBNDS 2011, special care
should be taken to ensure non-citizens are strip searched in private. As always, searches should be
conducted in a professional and respectful way, in the least restrictive manner possible, and consistent
with security needs. At no time shall any search be conducted solely for the purpose of determining a
non-citizen’s biological sex.
DETAINEE SERVICES AND CARE
Medical Care: Initial medical screening at the facility shall inquire into a non-citizen’s gender self-
identification and history of transition-related care. Further, transgender non-citizens who were already
receiving hormone therapy when taken into ICE custody shall have continued access to such treatment;
all transgender non-citizens shall have access to behavioral health care and other transgender-related
health care and medication (including hormone therapy) based on medical need and eligibility (regardless
of the level of services received or lack of services prior to detention). Any treatment shall follow
accepted guidelines regarding medically necessary transition related care.
TRAINING, PROGRAMMING, AND RESOURCES
Lesbian, Gay, Bisexual, Transgender, Queer/Questioning, Intersex + (LGBTQI+) Subject Matter
Expert and Primary Point of Contact: The facility shall designate certain personnel as a resource to
consult when transgender-related issues and needs arise. The name and contact information of the
designated employee should be provided to ERO. ICE will also designate a local ERO field office liaison
to serve as a resource for the facility. The name and contact information of the designated employee will
be provided to the facility. The facility should coordinate questions and/or matters related to transgender
non-citizens with the designated ERO field liaison.


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Training: To ensure competency in their assigned duties, facility staff (including health care) who will
interact with transgender detainees should receive specialized training geared toward this population.
While ERO may provide in-person and/or webinar training related to transgender sensitivity and detainee
care and specific instruction on the provisions of transgender care (to include applicable ICE standards
and DHS PREA provisions), the facility shall provide applicable training to its staff, particularly health
care staff and others assigned to work in unit where transgender non-citizens will be housed. ERO may
also offer the facility a training DVD addressing medical care of transgender patients. The facility shall
facilitate access for trainers to the facility grounds, as needed.
Custody and Resource Coordinator: As feasible, ERO will hire and assign a contracted Custody and
Resource Coordinator (CRC) to the facility. The ERO CRC has a degree in social work, or related field, is
fluent in Spanish, and is experienced in providing specialized services to vulnerable populations. The
name and contact information of the contracted ERO CRC will be provided to the facility. The facility
shall facilitate access for the ERO CRC to the facility grounds and non-citizens, as needed. ERO and
facility staff may also rely on the ERO CRC for various functions, including assisting non-citizens with
removal or release planning, addressing facility concerns/questions about specific non-citizens, and
conducting informal programming for detained non-citizens.
Transgender Programming: The facility shall provide the transgender population equal access to
programming and services made available to other populations at the facility. In addition to programming
provided by the facility, ERO may identify and engage with local non-government organization (NGO),
academic, and other partners to provide programming suitable for the detained transgender population.
ERO may also rely on the contracted CRC to conduct informal programming for this population. The
facility should facilitate access for the ERO CRC and provider(s) to the facility grounds and non-citizens,
as needed.




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ATTACHMENT 2(b)


Transgender Requirement

The service provider shall comply with the following requirements related to the care and custody of
transgender non-citizens:

1) Intake: Upon arrival at the detention facility, intake personnel shall review the non-citizen’s
record and documentation. If the record indicates the non-citizen’s gender identity differs from
his/her biological sex, intake personnel shall only ask questions related to gender identity when such
information is necessary to ensure the safety and security of other non-citizens and staff. In addition,
the facility shall ensure that sensitive information, such as the non-citizen’s gender identity, is not
used to the non-citizen’s detriment by facility personnel or other non-citizens.

    a. Intake personnel shall accurately record the non-citizen as transgender. The non-citizen shall
       be treated as a protective custody non-citizen for the duration of the intake process.

    b. The non-citizen shall be temporarily housed (i.e., in a location away from the general
       population, to include in a medical unit or protective custody) for no more than 72 hours
       (excluding weekends, holidays, and exigent circumstances) until classification, housing, and
       other needs can be assessed by a Transgender Classification and Care Committee as
       delineated below. In particular, placement into administrative segregation due to a non-
       citizen’s identification as transgender should be used only as a last resort and when no other
       viable housing options exist.

2) Transgender Classification and Care Committee
    a. The facility shall create and operate a Transgender Classification and Care Committee
       (TCCC).

    b. In facilities staffed by the ICE Health Service Corps (IHSC):

        i) The TCCC shall be comprised of a dedicated facility medical representative, facility mental
        health representative, a facility classification supervisor, the Enforcement and Removal
        Operations (ERO) Lesbian, Gay, Bisexual, Transgender, and Intersex (LGBTI) Field Liaison,
        and a supervisory representative designated by the Field Office Director FOD) (the
        supervisory representative from the ERO FOD can be the ERO LGBTI Field Liaison).


        ii) The TCCC may utilize remote forms of communication (i.e., phone or video
        teleconference) to facilitate meetings and other activities.

    c. For facilities not staffed by IHSC:

        i) The TCCC shall include the IHSC Field Medical Coordinator (FMC), in addition to a
        dedicated facility medical representative, a facility mental health representative, a facility
        classification supervisor, the ERO LGBTI Field Liaison, and a supervisory representative
        designated by the FOD (at the FOD's discretion, the supervisory representative can include
        the ERO LGBTI Field Liaison).
    d. The TCCC shall be chaired jointly by a representative from the facility and an ERO
       representative, preferably the ERO LGBTI Field Liaison.
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     e. The facility staff members, including medical and mental health personnel, will have
        appropriate training and experience in working with transgender persons.

3) Transgender Classification and Care Committee Determinations:
     a. Meeting with the Non-citizen: In preparation for the TCCC meeting, the TCCC designated
        facility medical representative(s) shall meet with the non-citizen as soon as practicable after
        the non-citizen’s arrival to the facility to gather information necessary to solicit the non-
        citizen' s preferences and requests with regard to housing, searches 1, and other matters. The
        ERO LGBTI Field Liaison may also participate in any meeting with the non-citizen. The
        communication between the TCCC representative(s) and the non-citizen shall be in a
        language and manner the non-citizen can understand and should be conducted using the
        TCCC Determination Question Guide provided at the conclusion of this document.

     b. Meeting of the TCCC: The TCCC shall meet and provide a classification assessment no later
        than 72 hours (excluding weekends, holidays, and emergencies) after the non-citizen’s arrival
        to the facility to assess medical, psychological, housing, and other needs.

     c. Classification Assessment: As part of the transgender classification assessment, the TCCC
        shall, at a minimum, consider:

           i) The non-citizen’s self-identification.

           ii) An assessment of the effect of possible placements on the non-citizen’s health and safety,
           conducted by a medical or mental health professional (which may coincide with the full
           medical assessment done in accordance with the applicable ICE detention standards).

           iii) The non-citizen’s record and available documentation, including forms and notes from
           initial processing, medical/mental health records, booking records, identification documents,
           etc.; and

           iv) Observations provided by medical or mental health representative(s), to include those
           based upon the latest Diagnostic and Statistical Manual of Mental Disorders (DSM) criteria
           for the diagnosis of Gender Dysphoria.

     d. Detention Plan: Once the TCCC determines the non-citizen’s transgender classification, the
        TCCC shall construct an individualized Detention Plan for each transgender non-citizen. As
        part of its Detention Plan assessment, the TCCC shall, at a minimum, consider:

           i) All records and prior assessments, including medical/mental health records, and an
           assessment of the effects of any housing placement on the non-citizen’s health and safety that
           has been conducted by a medical or mental health professional.

           ii) The non-citizen’s preferences and requests.
           iii) The non-citizen’s self-assessment of his or her safety needs (i.e., does the non-citizen feel
           threatened or at risk of harm?).
           iv) The non-citizen’s documented criminal history and past and/or current behavior.
           v) The TCCC's determination of the non-citizen’s safety/security needs, including

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  Whenever practicable, the non-citizen’s request should be honored but not to the detriment of the safety and security of the facility or facility
staff.
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  documented and self-reported history of sexual assault, victimization, or predatory behavior.

   vi) The non-citizen’s physical, medical, or mental health, or special needs.

   vii) Privacy issues, including showers, single cell sleeping arrangements, etc.

   viii) Available beds and/or housing.

   ix) Whether the housing assignment would pose a safety risk to other non-citizens (See
   Section 3.e.ii "Safety, Security, and Privacy"); and

    x) Effects of housing assignment on resources, including facility staff.

e. Requirements within the Detention Plan: Consistent with existing ICE policy and detention
   standards, the individualized Detention Plan shall, at a minimum, contain the following
   requirements:

    i) Housing Assignment: Options to include:
           a. General housing consistent with the non-citizen’s biological sex.
           b. General housing consistent with the non-citizen’s gender identity.
           c. A protective custody unit; or
           d. Medical or administrative segregation.

    ii) Safety. Security and Privacy: The TCCC shall address the safety, security, and privacy
    needs for both the transgender non-citizen and the general detention population when
    assessing the housing assignment. Discussion(s) may include guidance on appropriate
    staffing levels in the housing option assigned (e.g., single or shared cell, or dormitory
    housing).

    iii) Hygiene: Consistent with ICE detention standards, facility staff shall ensure that
    transgender non-citizens are able to maintain acceptable personal hygiene practices
    consistent with their gender identity and that ensure their safety. Transgender non-citizens
    shall be provided the opportunity to shower in a setting that ensures safety and privacy.
    iv) Clothing and Commissary: Transgender non-citizens will be provided undergarments
    consistent with their gender identity as assessed by the TCCC. Transgender non-citizens
    shall be issued standard detention attire consistent with their assigned housing unit.
    Transgender non-citizens shall also be allowed to possess or purchase through the
    commissary those hygiene and personal items that are consistent with their Detention Plan.
    v) Searches: As prescribed by standard 2.10 of lCE's 2011 Performance-Based National
    Detention Standards (PENDS), the transgender non-citizen’s preference as to the gender of
    the officer that will perform any necessary pat-down and strip searches will be considered
    by the TCCC when drafting the Detention Plan and followed by detention facility staff
    accordingly. Also, with regards to strip searches only, and pursuant to standard 2. IO of
    lCE's 2011 PENDS, special care should be taken to ensure that transgender non-citizens are
    searched in private. Searches shall be conducted in a professional and respectful manner,
    and in the least restrictive manner possible, consistent with security needs. Pursuant to DHS
    PREA Standards, at no time shall any search be conducted solely for the purpose of
    determining a non-citizen’s biological sex. Requests for transgender non-citizens to remove
    appearance related items such as prosthetics, clothing that conveys gender identity, wigs,

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   and cosmetics shall be consistent with requirements for the removal of similar items for
   other non-transgender non-citizens. All strip searches shall be documented.
      vi) Staff Communication: Detention facility staff shall refer to transgender non-citizens by
      their preferred pronouns.
      vii) Medical Care: Pursuant to existing ICE detention standards, transgender non-citizens
      who were already receiving hormone therapy when taken into ICE custody shall have
      continued access to hormone therapy; those who have not yet begun treatment will be
      assessed and treated, if deemed medically necessary and safe in the context of their other
      medical conditions. All transgender non-citizens shall have access to continued mental
      health care and other transgender-related health care based on medical need. Medical care
      for transgender non-citizens shall be provided by qualified and appropriate medical
      professionals and administered pursuant to the applicable ICE detention standards.
f.   Decision: The TCCC will attempt to reach consensus on all decisions.
      i) The TCCC shall retain summary notes of each meeting to document persons attending and
      conclusions reached. A copy of the notes shall be placed in the non-citizen' s detention file.
      ii) Absent extraordinary circumstances, a written Detention Plan by the TCCC for the non-
      citizen, including housing assignment, shall be forwarded to the facility classification
      supervisor within 72 hours (excluding weekends, holidays, and emergencies) of the non-
      citizen’s arrival at the facility, and maintained in the non-citizen’s detention file; a copy of
      the plan and housing assignment shall also be provided to the non-citizen.
g. Implementation of Detention Plan: The classification supervisor shall notify line staff of the
   TCCC's Detention Plan and housing assignment decision.
     i) Detention facility staff shall follow the Detention Plan outlined by the TCCC. If a detention
     facility staff member identifies a safety or security risk posed by the TCCC's plan? the staff
     member must inform the TCCC directly or must notify his/her supervisor as soon as
     practicable, and that supervisor must notify the TCCC. The TCCC shall review the case and
     make adjustments to the Detention Plan, if necessary, within 72 hours (excluding weekends,
     holidays, and emergencies) of receiving notification.
     ii) In the case of an immediate threat to the safety or security of the transgender non-citizen
     or others, the detention facility staff may make a temporary change(s) to the TCCC's plan (to
     include housing assignment) but should notify the TCCC as soon as possible. Only the TCCC
     can approve permanent change(s) to the Detention Plan.
     ii) In the case of an immediate threat to the safety or security of the transgender non-citizen
     or others, the detention facility staff may make a temporary change(s) to the TCCC's plan (to
     include housing assignment) but should notify the TCCC as soon as possible. Only the TCCC
     can approve permanent change(s) to the Detention Plan.
h. Reassessment: The TCCC shall reassess a transgender non-citizen’s Detention Plan and
   housing assignment after 30 days following the initial determination and then every 60 days
   thereafter or at any other time if additional relevant information becomes known or
            3following any incident of victimization or threats to safety experienced by the non-
   citizen. As part of its reassessment, the TCCC shall, at a minimum, consider:
     i) Changes in the trans gender non-citizen' s housing preferences.
     ii) Variations in the non-citizen’s medical and/or mental health status.

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      iii) Safety/security of the non-citizen, other non-citizens, and/or facility staff. Further
      Guidance Regarding the Care of Transgender Non-citizens

        iv) Any threats to safety experienced by the non-citizen.

        v) Continued availability of housing; and

        vi) The detention facility's documented concerns.

TCCC Determination Questions Guide
In preparation for the TCCC meeting, the designated facility medical representative(s), shall meet
with the detainee no later than 72 hours (excluding weekends, holidays, and emergencies) after the
detainee's arrival to the facility to gather information necessary to verify the transgender
classification, and to solicit detainee's preferences and requests with regards to housing, searches, and
other matters. The ERO LGBTI Field Liaison may also participate in any meeting with the detainee.
SEE – Transgender Classification and Care Committee Determination Question Guide (Template)




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PREA and PBNDS Requirements Related to Transgender Non-citizens

Pursuant to Section 3(e) of this memorandum, applicable requirements from ICE detention standards
and the DHS PREA Standards include:

a) Classification and Housing
   i) At facilities governed by the DHS PREA Standards or PBNDS 2011, facility staff must
  consider the non-citizen’s gender self-identification and an assessment of the effects of placement
  on the non-citizen’s health and safety, when making classification and housing decisions for
  transgender or intersex non-citizens. A medical or mental health professional must be consulted as
  soon as practicable on this assessment. The facility may not base placement decisions solely on
  identity documents or the physical anatomy of the non-citizen; rather, a non-citizen’s self-
  identification and self-assessment of safety needs must always be taken into consideration as well.
  ii) At facilities governed by PBNDS 2008 or NDS, and which use ICE's Non-citizen
  Classification System, facility staff must take into consideration and document whether a non-
  citizen requires protective custody to ensure his/her safety and wellbeing, such as because of
  perceived or actual sexual orientation or gender identity.
b) Showering and Privacy
  i) At facilities governed by the DHS PREA Standards, transgender and intersex non-citizens must
  be given the opportunity to shower separately from other non-citizens when operationally feasible.
  ii) At facilities governed by PBNDS 2011 or PBNDS 2008, transgender non-citizens must be
  provided with a reasonably private environment for bathing and toilet facilities, in accordance
  with safety and security needs.
c) Personal Hygiene and Grooming
  i) The detention standards do not restrict the provision of gender appropriate clothing. In general,
  brassieres should be provided to individuals who request them, as appropriate.
  ii) At facilities governed by PBNDS 2011 or PBNDS 2008, transgender non-citizens should be
  allowed freedom in personal grooming, and access to commissary items (including those
  appropriate for the non-citizen’s identified gender) absent a valid safety, security, or medical
  concern that is fully justified and documented.
d) Medical Care
  i) At facilities governed by PBNDS 2011, initial medical screening must inquire into a transgender
  non-citizen’s gender self-identification and history of transition-related care. Transgender non-
  citizens who were already receiving hormone therapy when taken into ICE custody shall be
  provided continued access, and all transgender non-citizens must have access to mental health
  care and other transgender-related health care and medication (such as hormone therapy) based on
  medical need. Treatment must follow accepted guidelines regarding medically necessary
  transition-related care.




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Definitions

The following definitions apply for purposes of this agreement only:

1. Biological Sex. An individual's biological status as either male or female, typically assigned at
birth, and associated primarily with physical attributes such as chromosomes, hormone prevalence,
and external and internal anatomy.

2. Non-citizen. An individual detained in ERO custody.

3. Detention Plan. A plan for a transgender non-citizen, constructed by the Transgender
Classification and Care Committee at an ICE detention facility with instructions for how to address
issues including, but not limited to, housing, clothing, showering, grooming, name and pronoun use,
recreation, programming, escort, transportation, searches, privacy, etc.

4. Diagnostic and Statistical Manual of Mental Disorders (DSM). The standard classification of
mental disorders used by mental health professionals in the United States as published by the
American Psychiatric Association. DSM-5 (Fifth Edition) is the most current edition of the drafting
of this guidance.

5. Gender Affirming Surgery. Surgical alteration of male or female genitals, or the reshaping, by
any surgical procedure, of a male body into a body with female appearance, or vice versa. Also
referred to as "sex reassignment surgery (SRS)," "gender reassignment surgery (ORS)," or by other
names. Note: gender affirming surgery is the preferred name.

6. Gender Dysphoria. Medical diagnosis in the American Psychiatric Association's DSM-5 that
describes the distress that may accompany the incongruence between an individual's experienced or
expressed gender and the individual's biological sex. This was previously known as Gender Identity
Disorder.

7. Gender Expression. The ways in which an individual communicates/displays his/her gender
identity to others; a combination of appearance, demeanor, and behavior.

8. Gender Identity. An individual's internal sense of being a man, woman, or another gender. It is
not necessarily based on the individual's biological sex or on the individual's sexual orientation.
Because gender identity is internal, it is not necessarily visible to others, but may be externally
manifested in the individual's appearance, behavior, demeanor, or other aspects of the individual's
life.

9. Gender Non-Conforming. Having an appearance or manner that does not conform to traditional
societal gender expectations.
10. Intersex. Having sexual or reproductive anatomy or chromosomal pattern that do not seem to fit
typical definitions of male or female. Intersex medical conditions are sometimes referred to as
disorders of sex development.

11. LGBTI. The acronym for Lesbian, Gay, Bisexual, Transgender, and lntersex.

12. Sexual Orientation. A pattern of romantic, emotional, physical, and/or sexual attraction towards
members of the same, opposite, or both sexes. Includes homosexuality, heterosexuality, and
bisexuality.


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13. Transgender. A person whose gender identity (i.e., internal sense of feeling male or female) is
different from the sex assigned to the person at birth.

14. Transgender Classification and Care Committee (TCCC). The detention facility committee
that gathers information and assesses the gender identity of the non-citizen and produces and
regularly assesses a Detention Plan for a transgender non-citizen.

15. Transgender man. An individual who is a biological female and has a gender identity as a man.
16. Transgender woman. An individual who is a biological male and has a gender identity
as a woman.

17. Transition. The process by which an individual changes his/her gender from that assigned at
birth to one with which he/she now identifies. This may include making personal, legal, and medical
changes to his/her gender, such as changing his/her name and/or gender on legal documents;
undergoing hormone therapy; and/or undergoing one or more forms of surgery.




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ATTACHMENT 2(c)

        Transgender Classification and Care Committee Determination Question Guide
                                         (Template)

Name:
A#:
Instructions: The Transgender Classification and Care Committee’s (TCCC) designated facility medical and/or
behavioral health representative(s) shall meet with the non-citizen prior to the TCCC meeting (i.e., no later than 72
hours, excluding weekends, holidays, and emergencies) to gather information necessary to the TCCC’s
deliberations. A copy of the non-citizen’s responses during this meeting shall be kept in their detention file. Any
communication between the TCCC representative(s) and the non-citizen should be in a language and manner the
non-citizen can understand.

 Administrative Information
 Who administered this Question Guide? Click here to enter text.
 When was this guide administered? Click here to enter a date.

 Personal Information
 Do you identify as transgender? Choose an item.
 Do you go by or use any other name(s)? Click here to enter text.
 What pronoun(s) do you prefer others use to refer to you? Choose an item.

 Medical Issues
 Prior to coming here, were you taking any hormonal medications? Click here to enter text.
 If yes, what were they? Click here to enter text.
 If yes, how often were you taking them? Click here to enter text.
 If yes, were they prescribed by a doctor? Click here to enter text.
 If no, would you like to be assessed for hormone treatment? Click here to enter text.

 Hygiene and Grooming
 Do you prefer to wear clothing for men or women? Click here to enter text.
 Are there any specific clothing items that you need that have not been provided? Click here to enter text.
 Are there any specific personal hygiene items that you need that have not been provided? Click here to enter text.

 Housing
 In general, would you prefer to be housed with females, males, or in a dedicated transgender housing unit?
 Choose an item.
 Do you feel you are at risk for your safety based on your gender identity? Choose an item.
 Would you feel safer being housed with males or females? Choose an item.
 Would you feel safer being housed with people who are transgender? Choose an item.
 Would you feel safer being housed in a cell with someone else or by yourself? Choose an item.

 Programming
 Do you feel comfortable being around male non-citizens during group activities? Choose an item.
 Do you feel comfortable being around female non-citizens during group activities? Choose an item.
 If no to any of the above, would you prefer to be separated from males, females, or both? Choose an item.
 Do you feel that complete separation or specific types of safeguards (e.g., staff escort) would address your
 concerns? Choose an item.
 If yes, what types of safeguards do you feel you require? Click here to enter text.




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Searches
Do you have a preference for whether a male or female officer searches you? Choose an item.
If yes, what would you prefer? Choose an item.

Other Items
Is there anything else we should know about you related to being transgender? Click here to enter text.
Are there any other specific precautions and/or accommodations you think you would like to have to ensure your
safety and welfare while at this facility? Click here to enter text.




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                                Individualized Detention Plan (Template)

Name:
A#:
Instructions: The Transgender Classification and Care Committee (TCCC) facility Chair, or their designee, shall
fill out all the Individualized Detention Plan (IDP) fields below in accordance with all records and assessments, as
appropriate. The IDP, once completed, shall be kept in the non-citizen’s file with all other records. A copy shall be
forwarded to the facility classification supervisor; a summary of the IDP (see below) can also be provided to the
non-citizen. The IDP should be continually reassessed and/or revised, as needed, with updates in Section 7 below.

 Section 1: TCCC Personnel Information
 Facility Name:                                             AOR:
 Name of TCCC Chair: Click here to enter text.              Title of TCCC Chair: Click here to enter text.
 TCCC Chair Phone: Click here to enter text.                TCCC Chair Email: Click here to enter text.

 Section 2: Detainee Information
 Non-citizen (Legal) Name:                                             Preferred Name (If different): Click here to
                                                                       enter text.
 Preferred Pronouns: Choose an item.       A#:                         Preferred Housing: Choose an item.

 Preference for the Gender of the Officer Conducting a Search Choose an item.
 Does non-citizen fear of being harmed in detention? Choose an item.
 If yes, please explain: Click here to enter text.
 Does non-citizen have a self-reported history of sexual assault? Choose an item.
 If yes, please explain: Click here to enter text.
 Does non-citizen have a self-reported history of victimization? Choose an item.
 If yes, please explain: Click here to enter text.
 Does non-citizen have a self-reported history of predatory behavior? Choose an item.
 If yes, please explain: Click here to enter text.
 Does non-citizen have a documented criminal history? Choose an item.
 If yes, please explain: Click here to enter text.

 Section 3: Housing Assignment and Safety Needs
 Housing assignment selected:

 Reason for assignment:


 Will this assignment require safety accommodations?
 If yes, please list safety accommodations:


 Section 4: Hygiene and Clothing
 Hygiene needs indicated by the non-citizen:

 Hygiene items provided:

 Hygiene items available via Commissary:



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Accommodations for non-citizen showering:

Undergarments provided:
Clothing provided consistent with Gender Identity:



Section 5: Medical and Mental Health
Subpart A: Hormone Therapy
Was the non-citizen receiving hormone therapy prior to entering the facility? Choose an item.
If yes, how long had the non-citizen been receiving hormone therapy? Click here to enter text.
If yes, how often did the non-citizen take hormones (i.e., every day)? Click here to enter text.
If yes, was the non-citizen’s hormone therapy regimen prescribed by a doctor? Choose an item.
If no, has the non-citizen been assessed for hormone treatment? Choose an item.

If the non-citizen has been assessed for hormone therapy, what was the result? Choose an item.

Who conducted the assessment? Click here to enter text.
Subpart B: Medical Care
Is other transgender-related medical care (including hormone therapy) now required? Choose an item.
If yes, what kind of care is required and how will it be provided? Click here to enter text.
Subpart C: Mental Health Care
Is other transgender-related behavioral health care required? Choose an item.
If yes, what kind of care is required and how will it be provided? Click here to enter text.

Section 6: Comments and Approval
Subpart A: TCCC Chair or Designee Comments and Approval Required where consensus is reached.
Please include any additional comments, including a justification for housing assignment:
Click here to enter text.
Before signing this document, please verify that the above information is correct.

TCCC Chair or Designee name and title:           Date:

______________________
          Signature
TCCC Chair or Designee name and title:           Date:
______________________
          Signature
Subpart B: LGBTQI+ Field Liaison or Designee Comments and Approval (For ICE Use Only)
Required only if consensus is not reached.
Please include any additional comments:
Click here to enter text.
Before signing this document, please verify that the above information is correct.
ERO LGBTQI+ Field Liaison or Designee: ___________________________
________________________________
                                                      Printed name                                 Signature
Date: _______________

Section 7: Updates
Updates                                                                                  Date of Update




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               Individualized Detention Plan – Non-citizen Summary (Template)
Name:
A#:
Per the Transgender Care Memorandum, transgender non-citizens are entitled to a copy of their
Individualized Detention Plan (IDP). This summary contains non-sensitive information from the IDP. If
you need to access sensitive information such as medical care or behavioral health care, please consult
your Deportation Officer, or call the Detention Reporting and Information Line (DRIL) at 1-888-351-
4024. Language assistance for the DRIL is available as needed.

 Section 1: Housing Assignment and Safety Needs
 Housing assignment selected:

 Reason for assignment:
 Will this assignment require safety accommodations?
 If yes, please list safety accommodations:

 Section 2: Hygiene and Clothing
 Hygiene needs indicated by the detainee:

 Hygiene items provided:

 Hygiene items available via Commissary:

 Accommodations for detainee showering:

 Undergarments provided:

 Clothing provided consistent with Gender Identity:


 Section 3: TCCC Chair or Designee Name, Title, and Date of Plan Approval

 TCCC Chair or Designee:             Date:

 TCCC Chair or Designee:             Date:



 Section 4: Updates
 Updates                                                                        Date of Update




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